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               Exhibit 13
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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
  ____________________________________
                                       )
  DANIEL ROBERT, et al.                )
                                       )
              Plaintiffs,              )
                                       )
              v.                       )    Civil Action No. 1:21-cv-02228-RM
                                       )
  LLOYD AUSTIN, et al.,                )
                                       )
              Defendants.              )
  ____________________________________ )

                     DECLARATION OF COLONEL MICHELE SOLTIS

         I, Colonel Michele Soltis, hereby state and declare as follows:

         1.      I am currently employed by the U.S. Army as the Director of the Public Health

  Directorate for the Office of The Surgeon General/U.S. Army Medical Command

  (OTSG/USAMEDCOM), located in Falls Church, Virginia. I have held this position since March

  2020. I previously served as the Preventive Medicine Staff Physician for this same office since

  September 2016. My responsibilities include supervising public health subject matter experts and

  advising The Surgeon General (TSG)/USAMEDCOM Commanding General on all aspects of

  public health practice at the population level. Our office develops and coordinates strategic Army

  public health policies, publications, and programs to optimize readiness and promote force health

  protection initiatives. Our office advocates for public health activities, provides oversight for

  public health programs, and promotes the public health interests and initiatives of

  OTSG/USAMEDCOM. Since 2016, as part of my duties, I have reviewed requests from Soldiers

  for administrative immunization exemptions to accommodate religious beliefs, which are

  processed through OTSG to TSG for action under existing Army Regulations, to include the Multi-

  Service Regulation (AR 40–562, BUMEDINST 6230.15B, AFI 48–110_IP, CG COMDTINST
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  M6230.4G), “Immunizations and Chemoprophylaxis for the Prevention of Infectious Diseases,”

  dated October 7, 2013 and Army Regulation 600-20, “Army Command Policy,” dated July 24,

  2020. In addition, I consult with other Military Health System healthcare providers, Public Health

  Emergency Officers, and Senior Leaders to detail, clarify, and apply evidence-based, public health

  recommendations from the Centers for Disease Control and Prevention, the United States

  Preventive Services Task Force, and other organizations to Department of Defense Service

  Member and beneficiary populations.

         2.      I am generally aware of the allegations set forth in the pleadings filed in this matter.

  This declaration is based on my personal knowledge, as well as knowledge made available to me

  during the routine execution of my official duties. Attached to this declaration are authentic copies

  of relevant military regulations, instructions, and directives, referenced throughout.

                     Mandatory Coronavirus Disease 2019 (COVID-19) Vaccination

         3.      On August 24, 2021, the Secretary of Defense issued a memorandum directing the

  Secretaries of the Military Departments to immediately begin full vaccination of all members of

  the Armed Forces under Department of Defense (DoD) authority on active duty or in the Ready

  Reserve, including the National Guard, who are not fully vaccinated against COVID-19 (Secretary

  of Defense Memorandum, “Mandatory Coronavirus Disease 2019 Vaccination of Department of

  Defense Service Members,” dated August 24, 2021). The purpose of the directive is to protect the

  health of the force, optimize readiness, and defend the Nation. To date, there have been more than

  387,500 cases of COVID-19 and more than 595 deaths associated with COVID-19 reported across

  the DoD. As of this time, 251,698 of those cases and 75 COVID-associated deaths have been

  reported    among      Service     members.       (“DoD      COVID-19        Cumulative       Totals,”

  https://www.defense.gov/Explore/Spotlight/Coronavirus-DOD-Response/, accessed November



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  16, 2021). Persons who have not been fully vaccinated against COVID-19 are at higher risk of

  serious illness, hospitalization, and death. They are also at increased risk of post-COVID

  conditions (i.e., long-COVID or long-haul COVID). Under the directive, Service members are

  considered fully vaccinated two weeks after completing the second dose of a two-dose COVID-

  19 vaccine series (e.g., Moderna or Pfizer-BioNTech (COMIRNATY®) vaccines) or two weeks

  after receiving a single-dose COVID-19 vaccine (e.g., Johnson & Johnson/ Janssen vaccine).

  Those with a history of previous COVID-19 infection are not considered fully vaccinated.

         4.      In accordance with the directive, mandatory vaccination against COVID-19 will

  only use vaccines that received full licensure from the U.S. Food and Drug Administration (FDA),

  in accordance with FDA-approved labeling and guidance. The directive authorizes the Military

  Departments to promulgate appropriate guidance to execute the stated objectives. It further directs

  that mandatory vaccination requirements will be implemented consistent with DoD Instruction

  (DoDI) 6205.02, “DoD Immunization Program,” dated July 23, 2019. Finally, the directive states

  that Military Departments should use existing policies and procedures to manage the mandatory

  vaccination of Service members to the extent practicable, and that mandatory vaccination of

  Service members will be subject to any identified contraindications, as well as any administrative

  or other exemptions established in Military Department policy.

                                Command Authority to Immunize Soldiers

         5.      The Military Vaccination Program, and associated Army immunization programs,

  which include the processes and procedures by which vaccines and vaccinations are managed, as

  well as those by which vaccines are administered and exemption requests are reviewed and

  adjudicated, are implemented in accordance with several DoD, Defense Health Agency (DHA),

  Multi-Service, and Army Instructions, Regulations, and other publications. In particular, Army



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  Regulation (AR) 600-20, “Army Command Policy,” dated July 24, 2020, authorizes Commanders

  to administer immunizations to Soldiers required by the Multi-Service Regulation (AR 40–562,

  BUMEDINST 6230.15B, AFI 48–110_IP, CG COMDTINST M6230.4G), “Immunizations and

  Chemoprophylaxis for the Prevention of Infectious Diseases,” dated October 7, 2013, or “other

  legal directive,” unless Soldiers are medically or administratively exempted from the

  immunization requirements. AR 600-20, paragraph 5-4.g.(2) states Commanders will continually

  educate Soldiers “concerning the intent and rationale behind both routine and theater-specific or

  threat-specific military immunization requirements.” The paragraph also notes, “The intent of this

  authorization is to protect the health and overall effectiveness of the command, as well as the health

  and medical readiness of the individual Soldier.”

         6.      In more than 18 years of serving as an active duty preventive medicine physician,

  I have not experienced, nor do I have knowledge of a Commander involuntarily immunizing a

  Soldier. On September 14, 2021, the U.S. Army implemented the Secretary of Defense’s recent

  directive by way of Fragmentary Order 5 (FRAGO 5) to Headquarters Department of the Army

  (HQDA) Execution Order (EXORD) 225-21, “COVID-19 Steady State Operations.” 1                      Per

  FRAGO 5, paragraph 3.D.8.B.4., involuntary (i.e., forcible) COVID-19 immunization is

  prohibited.

                  Army Implementation Order for Mandatory COVID-19 Vaccination

         7.       Pursuant to FRAGO 5, per paragraph 3.B.3., every Soldier who is not otherwise

  exempt will be fully vaccinated against COVID-19 to ensure Soldiers and units are ready to fight



  1
    The Army has since published FRAGOs 6-10, which include various additions and
  modifications to FRAGO 5. Although none of those orders alter the substantive requirements of
  the provisions of FRAGO 5 cited throughout this declaration, FRAGOs 6-10 are attached to this
  declaration for completeness. To the extent that FRAGOs 6-10 include notable procedural
  changes, they are cited accordingly below.
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  and win. As the order makes clear in paragraph 3.B.3., “[t]his is a readiness, health, and welfare

  priority for the total Army.” Paragraph 3.B.3 further states that because the Secretary of Defense

  has issued a lawful order, “the Army has a responsibility to ensure good order and discipline.”

         8.      Per FRAGO 5, paragraph 3.B.3.A.1., the Army is executing the mandatory

  COVID-19 vaccination order in two phases: phase 1 began immediately, and phase 2 will begin

  “on order.” In accordance with paragraph 3.D.8., the Army will conduct mandatory COVID-19

  vaccination operations of unvaccinated Soldiers with the FDA-approved Pfizer/Comirnaty®

  vaccine, and continue voluntary vaccination with other vaccines authorized for emergency use.

  Soldiers are considered fully vaccinated two weeks after completion of a two-dose vaccine series

  or two weeks after receiving a single-dose vaccine. Per paragraph 3.D.8.B.1., Commanders will

  vaccinate all Soldiers who are not otherwise exempt. Soldiers requesting an exemption are not

  required to receive the vaccine pending the final decision on their exemption request, which is

  discussed in more detail below. Likewise, paragraph 3.D.8.B.1.F. notes Commanders will not take

  adverse action against Soldiers with pending exemption requests, which is also discussed in more

  detail below. Finally, per paragraph 3.D.8.B.4., there will be no involuntary (i.e., forcible)

  immunizations.

         9.      As for the process itself, FRAGO 5 paragraph 3.D.8.B.5. notes that if a Soldier

  declines immunization, the Commander will counsel the Soldier in writing, then direct the Soldier

  to view a mandatory educational video on the benefits of the vaccine. Following the mandatory

  video, the Soldier’s immediate Commander “will order the Soldier to comply with the order to

  receive the vaccine.” Paragraph 3.D.8.B.5.A. states if the Soldier declines again, the immediate

  Commander will direct the Soldier to meet with a medical professional (i.e., physician, physician

  assistant, or nurse practitioner) to further discuss the benefits of vaccination and address the



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  Soldier’s concerns. The Soldier’s immediate Commander will then order the Soldier again to

  receive the vaccine. If the Soldier declines immunization again, the Commander will consult with

  their servicing legal advisor.

                                   Immunization Exemptions and Procedures

         10.     Soldiers may request exemptions from immunizations based on certain

  circumstances. There are two types of exemptions: medical and administrative. FRAGO 5,

  paragraph 3.D.8.B.6.A. states that for medical exemptions, healthcare providers will determine a

  medical exemption based on the health of the vaccine candidate and the nature of the immunization

  under consideration. Per the Multi-Service Regulation (AR 40–562, BUMEDINST 6230.15B,

  AFI 48–110_IP, CG COMDTINST M6230.4G), paragraph 2-6.a., medical exemptions may be

  temporary (up to 365 days) or permanent. Per paragraphs 2-6.a.(1)(a)-(c) of this same Regulation,

  general examples of medical exemptions include (1) the underlying health condition of the vaccine

  candidate (e.g., based on immune competence, pharmacologic or radiation therapy, pregnancy

  and/or previous adverse response to immunization), (2) evidence of immunity based on serologic

  tests, documented infection, or similar circumstances, and (3) if an individual’s clinical case is not

  readily definable.

         11.     Exemptions are not presumptive in nature, but rather are granted after review of an

  individual’s circumstances and the nature of the request on a case-by-case basis. For example, as

  stated in FRAGO 9, paragraph 3.D.8.B.6, Soldiers with previous infections or positive serology

  are not automatically exempt from full vaccination requirements and should consult with their

  healthcare provider. A Defense Health Agency Immunization Healthcare Division Information

  Paper entitled, “Why can’t documentation of COVID-19 disease or serology results meet the

  mandatory requirement?” and dated October 2, 2021, notes examples of circumstances where our



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  immune systems do not mount long-lasting immunity from natural disease, to include influenza,

  pertussis (whooping cough), and rotavirus, among others. As such, re-infection with such

  pathogens is possible. Multiple serotypes of certain pathogens may also make determination of a

  protective serologic level more difficult. Furthermore, the Paper notes the mere presence of

  antibodies against a disease does not equate to immunity and that, “[t]he medical immune

  exemption does not apply to SARS-CoV-2 infection like it does to other infections, like measles,

  where there are decades (or more) of data on the durability of immunity, and the viral

  characteristics (i.e., long incubation time, involvement of the reticuloendothelial system) allow for

  a sterilizing immunity to persist.” The Paper does acknowledge that “[w]ith time, there may be

  evidence for durable immunity to SARS-CoV-2.”

         12.     Per FRAGO 5, paragraph 3.D.8.B.6.A., for all medical exemptions, Soldiers should

  consult with their healthcare provider. If the provider indicates a temporary exemption is valid,

  he or she will approve it. If, on the other hand, no temporary exemption is identified, the provider

  will disapprove the request and administer the vaccine if the Soldier agrees to voluntarily receive

  it. If the Soldier declines to be vaccinated by the healthcare provider, the Soldier will be referred

  back to his or her Commander for further action. Appropriate exemption codes indicating

  temporary or permanent reasons for medical exemption are to be annotated in the individual’s

  Service-specific Immunization Tracking System. Any adverse events following receipt of a

  vaccine are to be reported to the Department of Health and Human Services’ Vaccine Adverse

  Event Reporting System (VAERS). Medical exemption codes are to be revoked if they are no

  longer clinically warranted.

         13.     As stated in FRAGO 5, paragraph 3.D.8.B.6.A.1. and 3.D.8.B.6.A.2., the approval

  authority for permanent medical exemptions is TSG. TSG has delegated this authority to Regional



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  Health Command-Commanding Generals (RHC-CG), with no further delegation authorized. All

  requests for permanent medical exemptions must be staffed to the RHC-CG with the healthcare

  provider’s recommendation either to approve or deny the permanent exemption. If the RHC-CG

  disapproves a permanent medical exemption, the Soldier can appeal to TSG, who is the final appeal

  authority. If TSG disapproves the permanent medical exemption and the Soldier still refuses

  vaccination, the Commander will consult with his or her legal advisor.

         14.     The provisions of FRAGOs 5, 6, and 9 also address the procedures for Soldiers to

  submit requests for religious exemptions. Most notably, FRAGO 6, paragraph 3.D.8.B.6.B.

  implements the procedures outlined in Appendix P-2b of AR 600-20, which discusses

  requirements for processing requests for religious exemptions from immunizations. In particular,

  Soldiers who believe their religious practices conflict with immunization requirements may

  request an exemption through command channels, which is then processed from their company or

  immediate Commander through their battalion, brigade, division, and General Court-Martial

  Convening Authority Commanders (typically a General Officer) to TSG.                 Intermediate

  Commanders are not permitted to approve or deny requests for religious exemptions from

  immunizations. Exemption requests are submitted in memorandum format. AR 600-20, Appendix

  P-2.b.(1) notes requests must include the Soldier’s name, rank, military occupational specialty,

  and a description of the religious tenet or belief that is contrary to the immunization. Other

  documentation, such as a letter from a religious leader, is optional, but may assist Commanders in

  evaluating the request.

         15.     Per AR 600-20, Appendix P-2.b.(2), once such a request is submitted, the

  Commander will arrange for an in-person or telephonic interview between the Soldier and the

  assigned unit chaplain. The chaplain must provide a memorandum that summarizes the interview



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   and addresses the religious basis and sincerity of the Soldier’s request. The chaplain is not required

   to recommend approval or disapproval, but may do so. Memoranda from other chaplains or

   religious leaders may accompany the request as optional attachments, but do not meet the

   requirement for interview by the assigned unit chaplain.

          16.     Additionally, when a religious exemption request is submitted, a licensed

   healthcare provider must counsel the Soldier to ensure that he or she is making an informed

   decision. Pursuant to AR 600-20, Appendix P-2.b.(3), the healthcare provider should address, at

   a minimum, specific information about the disease concerned; specific vaccine information,

   including the benefits and risks of vaccination; and the potential risks of infection that may be

   incurred by unimmunized individuals. AR 600-20, Appendix P-2.b.(4) notes that likewise, the

   Soldier’s immediate Commander must counsel the Soldier and recommend approval or denial of

   the exemption request. The Commander must also counsel the Soldier that noncompliance with

   immunization requirements may adversely impact deployability, assignment, or international

   travel, and that the exemption may be revoked under imminent risk conditions.

          17.     Consistent with that policy, FRAGO 6, paragraph 3.D.8.B.6.B, notes TSG is the

   only approval or disapproval authority for religious immunization exemption requests and the

   Assistant Secretary of the Army for Manpower and Reserve Affairs (ASA (M&RA)) is the final

   appeal authority. Per FRAGO 9, paragraph 3.D.8.B.6.B.2., exemption request packets are routed

   through the chain of command to TSG for decision. The immediate Commander, through the

   General Court-Martial Convening Authority, must review the request and recommend approval or

   denial to TSG, and must address the factors of military necessity described below. A legal review

   must also be conducted prior to forwarding the request. Upon completion, the packet must be

   uploaded into the Army’s system of record for tracking such requests to TSG. FRAGO 5,



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   paragraph 3.D.8.B.6.C. states that as with medical exemption requests, Soldiers with pending

   requests for religious immunization exemptions are temporarily deferred from immunization,

   pending the disposition of their request or any appeal of a denied request.

           18.     As for the criteria by which religious exemption requests are resolved, AR 600-20

   sets forth the Army’s policy. As stated in paragraph 5-6.a. of that Regulation, “The Army places

   a high value on the rights of its Soldiers to observe tenets of their respective religions or to observe

   no religion at all; while protecting the civil liberties of its personnel to the greatest extent possible,

   consistent with its military requirements.” Thus, pursuant to federal law and Department of

   Defense Instruction (DoDI) 1300.17, “Religious Liberty in the Military Services,” dated

   September 1, 2020, requests for religious accommodations from a military policy, practice, or duty

   that substantially burdens a Soldier’s exercise of religion may be denied only when the government

   action furthers a compelling government interest and is the least restrictive means of furthering

   that compelling government interest. Per AR 600-20, paragraph 5-6.a.(2), it is the Soldier’s

   responsibility to demonstrate he or she has a sincerely held religious belief and that the government

   policy, practice, or duty substantially burdens their religious exercise. As it relates to the religious

   exemption process described above, that is accomplished through the Soldier’s request and the

   chaplain’s interview.

           19.     If the Soldier demonstrates a sincerely held religious belief and a substantial burden

   on his or her religious exercise, the Commander must then demonstrate how the government action

   furthers a compelling government interest and is the least restrictive means of furthering that

   interest. As reflected in AR 600-20, paragraph 5-6.a.(4), a religious exercise includes any exercise

   of religion, whether or not compelled by, or central to, a system of religious belief. Likewise,

   compelling governmental interests may include safety, health, good order, discipline, uniformity,



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   national security, and mission accomplishment. All requests for religious exemptions must be

   assessed on a case-by-case basis. Likewise, each request must be considered based on its unique

   facts, the nature of the requested religious exemption, the effect of approval or denial on the

   Soldier’s exercise of religion, and the effect of approval or denial on military necessity. Per AR

   600-20, Appendix P-2.b.(5), TSG will approve or disapprove each religious exemption request

   and return the decision to the Soldier’s Commander through command channels, at which point

   the Soldier may appeal to the ASA (M&RA) for a final decision. As with the exemption request

   itself, the chaplain’s review, and the chain of command’s recommendations, all decisions by TSG

   and the ASA (M&RA) are memorialized in memorandum format, not specific forms.

          20.     The authorities described above are also set forth in Army Directive 2021-33,

   “Approval and Appeal Authorities for Military Medical and Administrative Immunization

   Exemptions” dated September 24, 2021. In addition, FRAGO 5 (Annex XX) contains a depiction

   of the exemption process described above, as well as sample counseling statements (Annexes NN

   and OO) for Commanders to use if a Soldier initially declines immunization. FRAGO 5,

   paragraphs 3.D.8.B.1. and 3.D.8.B.4. again note that Soldiers requesting an exemption are not

   required to receive the COVID-19 vaccine pending the final decision on their exemption request

   and that involuntary (i.e., forcible) immunizations are prohibited.

                                       Adverse Administrative Actions

          21.     As described above, the Army is providing Soldiers the opportunity to seek medical

   and administrative, to include religious, exemptions from the requirement to be vaccinated.

   However, for those who are not going to seek an exemption or who have their exemption requests

   denied and still refuse to be immunized, the Army has outlined a phased approach for the

   administration of adverse actions in furtherance of the maintenance of good order and discipline



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   and the health of the force, which will be considered and adjudicated on a case-by-case basis. As

   explained in paragraph 3.D.8.B.1. of FRAGO 5, only certain adverse administrative actions are

   authorized during phase 1 for Soldiers who refuse the mandatory COVID-19 vaccine. Any other

   adverse action based solely on COVID-19 vaccine refusal is withheld during this phase.

          22.     FRAGO 5, paragraph 3.D.8.B.1.D. states that in particular, Commanders must

   request a General Officer Memorandum of Reprimand (GOMOR) be initiated for all Soldiers

   refusing the vaccine who are not pending a final decision regarding an exemption request. The

   processes and procedures for issuing a GOMOR are governed by paragraph 3-5 of Army

   Regulation (AR) 600-37, “Unfavorable Information,” dated October 2, 2020. In short, GOMORs

   may be filed permanently in a Soldier’s Army Military Human Resources Records (AMHRR), or

   temporarily in his or her “local” file to later be destroyed. Either way, paragraphs 3-5 and 3-7 of

   this same Regulation detail substantive and procedural due process requirements that must be

   satisfied prior to any filing decision being made, including notification to the Soldier and an

   opportunity to respond.

          23.     AR 600-37, paragraphs 6-3, 7-1, and 7-7 note Soldiers may appeal a decision to file

   a GOMOR in their AMHRR, or request to transfer it to the restricted portion of their personnel

   file, to the Department of the Army Suitability Evaluation Board (DASEB), which has the

   authority to revise, alter, or remove the unfavorable information if it is determined to be untrue or

   unjust. AR 600-37, para. 6-2. Further, a Soldier may appeal an adverse DASEB decision to the

   Army Board for Correction of Military Records (ABCMR). Chapter 2 of Army Regulation 15-

   185, “Army Board for Correction of Military Records,” dated March 31, 2006, contains the policy

   and procedures for applying to the ABCMR for the purpose of correcting military records.

   Pursuant to 10 U.S.C. §1552, and per AR 15-185, paragraph 2-2a., the ABCMR may correct



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   Department of the Army records, including GOMORs, in order to remove an error or injustice.

   This includes the authority to remove a GOMOR entirely from a Soldier’s records, which would

   eliminate future consideration of the removed record by promotion or other selection boards.

          24.     Again, however, per FRAGO 5, paragraph 3.D.8.B.1.F., Commanders will not take

   adverse action against Soldiers with pending exemption requests as discussed above.

                                       ***************************

          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
   and correct.

          Executed on November 19th, 2021, in Falls Church, Virginia




                                                    SOLTIS.MICHELE.A         Digitally signed by
                                                                             SOLTIS.MICHELE.AYN.1039840827
                                                    YN.1039840827            Date: 2021.11.19 18:16:03 -05'00'

                                                    Michele A. Soltis
                                                    Colonel, Medical Corps, U.S. Army
                                                    Director, Public Health Directorate
                                                    Office of The Surgeon General/
                                                    U.S. Army Medical Command
                                                    Falls Church, Virginia




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        &RPPDQGLQJ*HQHUDO86$UP\,QVWDOODWLRQ0DQDJHPHQW&RPPDQG SDUDV±E±I±E±E±G 

   R   5HTXLUHVFRPPDQGOHDGHUVKLSWRWUHDW6ROGLHUVDQG'HSDUWPHQWRIWKH$UP\&LYLOLDQVZLWKGLJQLW\DQGUHVSHFWDW
        DOOWLPHV SDUD±F 

   R   &ODULILHVWKHZULWWHQDEEUHYLDWLRQIRUWKHJUDGHRI³6SHFLDOLVW´ WDEOH ± QRWH 
                                                                                       




   R   8SGDWHVUROHVDQGUHVSRQVLELOLWLHVIRUFRPPDQGRILQVWDOODWLRQV SDUD±E 

   R   &ODULILHVSROLF\RQDVVXPSWLRQVRIFRPPDQGGXULQJWKHWHPSRUDU\DEVHQFHRIWKHFRPPDQGHU SDUDV±D  ±
        G± DQG ±  
                            




   R   $GGVSROLF\IRUFRPPDQGRILQVWDOODWLRQVDFWLYLWLHVDQGXQLWVRQ-RLQWEDVHV SDUD ±  
                                                                                                       




   R   &ODULILHVSROLF\RQWKHUROHRIWKHUHYLHZLQJFRPPDQGHUUHJDUGLQJGHVLJQDWLRQRIMXQLRULQWKHVDPHJUDGHWR
        FRPPDQG SDUD±F 




   
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   R   $GGVDQGRUXSGDWHVWKH$UP\¶V5HDG\DQG5HVLOLHQWHIIRUWVLQWKHIROORZLQJPDQQHU'HILQHV5HDG\DQG5HVLOLHQW
        6WUDWHJLF2EMHFWLYHVPRGLILHVWKH5HDG\DQG5HVLOLHQW*RYHUQDQFH6WUXFWXUHDQGUHDOLJQVUHVSRQVLELOLWLHV FKDS
         

   R   &ODULILHVPLOLWDU\DXWKRULW\IRUFRUUHFWLYHWUDLQLQJ SDUD ±                 




   R   $GGVSROLF\WKDWFRPPDQGHUVZLOOQRWLI\WKHSURYRVWPDUVKDORIILFH 'LUHFWRURI(PHUJHQF\6HUYLFHV RUSURYRVW
        PDUVKDORIPLOLWDU\SURWHFWLYHRUGHUVLQYROYLQJ6ROGLHUV SDUD±H 

   R   $GGVSROLF\UHJDUGLQJFRPPDQGHU¶VDFWLRQVWRZDUGGHVHUWHUV SDUD±I 

   R   $GGVSROLF\RQH[WUHPLVWRUJDQL]DWLRQVF\EHUDFWLYLW\DQGVRFLDOPHGLD SDUD±K 

   R   &ODULILHVWKDWIUDWHUQL]DWLRQSROLF\GRHVQRWDSSO\WRPDUULHGSHUVRQV SDUD±F  D 

   R   ,QFRUSRUDWHV 'R',  DQG $UP\ 'LUHFWLYH  ±  3URWHFWLQJ $JDLQVW 3URKLELWHG 5HODWLRQV 'XULQJ
                                                                                              




        5HFUXLWLQJDQG(QWU\/HYHO7UDLQLQJZKLFKSURKLELWVUHODWLRQVKLSVEHWZHHQUHFUXLWHUVDQGUHFUXLWVDQGWUDLQHUV
        DQGWUDLQHHV SDUD ±  
                                




   R   $GGVRQOLQHPLVFRQGXFWWRKDUDVVPHQW KD]LQJEXOO\LQJRUGLVFULPLQDWRU\KDUDVVPHQW  SDUD±                                                    




   R   &ODULILHV WKH UHSRUWLQJ LQYHVWLJDWLRQ DQG GDWD UHFRUGLQJ RI KDUDVVPHQW FDVHV SXUVXDQW WR 'R', 
        +DUDVVPHQWDQG3UHYHQWLRQDQG5HVSRQVHLQWKH$UPHG)RUFHV SDUDV±F 

   R   &ODULILHV 7KH $UP\ +DUDVVPHQW 3UHYHQWLRQ DQG  5HVSRQVH 3URJUDP KD]LQJ EXOO\LQJ DQG GLVFULPLQDWRU\
        KDUDVVPHQW DQGLQFRUSRUDWHV$UP\'LUHFWLYH ± ,PSURYLQJWKH(IIHFWLYHQHVVRI(VVHQWLDODQG,PSRUWDQW
                                                                      




        $UP\3URJUDPV6H[XDO+DUDVVPHQW$VVDXOW5HVSRQVHDQG3UHYHQWLRQ(TXDO2SSRUWXQLW\6XLFLGH3UHYHQWLRQ
        $OFRKRODQG'UXJ$EXVH3UHYHQWLRQDQG5HVLOLHQFH SDUDV±  ± FKDS                                    




   R   $GGVSROLF\WKDW$UP\LQGLYLGXDOVUHSRUWKDUDVVPHQW KD]LQJEXOO\LQJDQGGLVFULPLQDWRU\KDUDVVPHQW WRWKHLU
        FRPPDQGHUVXSHUYLVRUWKH0LOLWDU\(TXDO2SSRUWXQLW\RUODZHQIRUFHPHQW SDUD±I 

   R   $GGVSROLF\WKDWFRPPDQGHUVQRWLI\6ROGLHUVRIUHTXLUHPHQWVLQWKH'RPHVWLF9LROHQFH$PHQGPHQWWRWKH*XQ
        &RQWURO$FWRI SDUD±F  

   R   $GGVSROLF\IRUFRPPDQGUHVSRQVLELOLW\XQGHUWKHODZRIZDU SDUD ±                                                     




   R   $GGVSROLF\IRUSHUVRQQHOUHFRYHU\DQGFRGHRIFRQGXFWWUDLQLQJ SDUD ±                                                         




   R   $GGVSROLF\IRUFRPEDWLQJWUDIILFNLQJLQSHUVRQV SDUD±                 




   R   $GGV'HSDUWPHQWRIWKH$UP\&LYLOLDQ([SHGLWLRQDU\:RUNIRUFHWRWKHOLVWRIWKRVHZKRPD\QHHGD)DPLO\FDUH
        SODQ SDUD ± 
                       




   R   $GGVSROLF\RQWKHDVVLVWDQFHUROHRI)DPLO\UHDGLQHVVVHUYLFHVLQGHYHORSLQJ)DPLO\FDUHSODQV SDUD±U 

   R   $GGVSROLF\IRUFRPPDQGDVSHFWVRIPHGLFDOUHDGLQHVVDQGPHGLFDOFDUH SDUD±                                                             




   R   ,QFRUSRUDWHV$UP\'LUHFWLYH ± 5HYLVHG%UHDVWIHHGLQJDQG/DFWDWLRQ6XSSRUWSROLF\ SDUD ±  
                                                                                                                                                                    




   R   ,QFRUSRUDWHV$UP\'LUHFWLYHV ± 3URFHVVLQJ5HOLJLRXV$FFRPPRGDWLRQ5HTXHVWV5HTXLULQJD:DLYHUWR
                                                    




        $UP\ 8QLIRUP RU *URRPLQJ 3ROLF\ DQG $UP\ 'LUHFWLYH  ±  $SSURYDO 'LVDSSURYDO DQG (OHYDWLRQ RI
                                                                                                                      




        5HTXHVWVIRU5HOLJLRXV$FFRPPRGDWLRQ SDUD ±     




   R   $GGVSROLF\RQ%HWWHU2SSRUWXQLWLHVIRU6LQJOH6ROGLHUV SDUD ±                                  




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   R   $GGVSROLF\RQWKH6ROGLHUIRU/LIH7UDQVLWLRQ$VVLVWDQFH3URJUDP 6)/ ± 7$3 IRU6ROGLHUVDQG'HSDUWPHQWRI               




        WKH$UP\&LYLOLDQV SDUD ±  
                                           




   R   8SGDWHVSROLF\RQFRPSODLQWVRUDFFXVDWLRQVDJDLQVWPLOLWDU\SHUVRQQHOLQDFFRUGDQFHZLWK$5 ±  SDUD ±                                                        




   R   8SGDWHV SROLF\ RQ WKH 0LOLWDU\ :KLVWOHEORZHU 3URWHFWLRQ $FW LQ DFFRUGDQFH ZLWK  86&  DQG 'R''
         SDUD ±  
                                   




   R   ,QFRUSRUDWHV $UP\ 'LUHFWLYH  ±  3URKLELWLRQ RI 5HWDOLDWLRQ $JDLQVW 6ROGLHUV IRU 5HSRUWLQJ D &ULPLQDO
                                                                               




        2IIHQVH SDUD ±  
                               




   R   &ODULILHVSROLF\RQSROLWLFDODFWLYLWLHVDVFRQWDLQHGLQ'R'' SDUD ± DQGDSS%                                      




   R   $GGVSROLF\RQWKH,QVLGHU7KUHDW3URJUDP SDUD±                                                      




   R   $GGVSROLF\RQULVNPDQDJHPHQW  ±                                 




   R   $GGVSROLF\IRURSHUDWLRQVVHFXULW\ SDUD ±                                           




   R   $GGVSROLF\IRUWKH$GRSWLRQ5HLPEXUVHPHQW3URJUDP SDUD ±                                                    




   R   8SGDWHV$UP\0LOLWDU\(TXDO2SSRUWXQLW\3ROLF\ FKDS 

   R   ,QFRUSRUDWHV$UP\'LUHFWLYH ±  ±3ULRULWL]LQJ(IIRUWV5HDGLQHVVDQG/HWKDOLW\ 8SGDWH  FKDS 
                                                                                          




   R   5HPRYHVVH[XDOKDUDVVPHQWIURPWKH0LOLWDU\(TXDO2SSRUWXQLW\3URJUDP IRUPHUO\GLVFXVVHGLQFKDS 

   R   8SGDWHV SROLF\ RQ WKH 0LOLWDU\ (TXDO 2SSRUWXQLW\ DQG +DUDVVPHQW KD]LQJ EXOO\LQJ RU GLVFULPLQDWRU\
        KDUDVVPHQW &RPSODLQW3URFHVVLQJ6\VWHP SDUD ±                                                    




   R   ,QFRUSRUDWHV $UP\ 'LUHFWLYH  ±  ,PSOHPHQW $UP\ +HULWDJH 0RQWK LQ WKH 0LOLWDU\ (TXDO 2SSRUWXQLW\
                                                                               




        3URJUDP SDUD±M  

   R   $GGVSROLF\RQWKH6H[XDO+DUDVVPHQW$VVDXOW5HVSRQVHDQG3UHYHQWLRQ3URJUDP FKDS 

   R   ,QFRUSRUDWHV 'R',  ,QYHVWLJDWLRQ RI $GXOW 6H[XDO $VVDXOW LQ WKH 'HSDUWPHQW RI 'HIHQVH DQG 'R',
        6H[XDO$VVDXOW3UHYHQWLRQDQG5HVSRQVH 6$35 3URJUDP3URFHGXUHV SDUD ±                                                             




   R   $GGV6H[XDO$VVDXOW,QFLGHQW5HVSRQVH2YHUVLJKW5HSRUWUHTXLUHPHQWVDQGLQFRUSRUDWHV'R''6H[XDO
        $VVDXOW3UHYHQWLRQDQG5HVSRQVH 6$35 3URJUDPDQG'R',6H[XDO$VVDXOW3UHYHQWLRQDQG5HVSRQVH
        6$35 3URJUDP3URFHGXUHV SDUD ±                                       




   R   ,QFRUSRUDWHV$UP\'LUHFWLYH ± $VVHVVLQJ2IILFHUVDQG1RQFRPPLVVLRQHG2IILFHUVRQ)RVWHULQJ&OLPDWHV
                                                           




        RI'LJQLW\DQG5HVSHFWDQGRQ$GKHULQJWRWKH6H[XDO+DUDVVPHQW$VVDXOW5HVSRQVHDQG3UHYHQWLRQ3URJUDP
         SDUD±R  

   R   ,QFRUSRUDWHV$UP\'LUHFWLYH ± 6XLWDELOLW\&ULWHULDIRU0LOLWDU\3HUVRQQHOLQ6SHFLILHG3RVLWLRQV SDUDV±
                                                               




        Q  DQG±R  

   R   3UHVFULEHV'$)RUP 6H[XDO+DUDVVPHQW&RPSODLQW DQG'$)RUP ±  6H[XDO+DUDVVPHQW&RPSODLQW                                    




        5HVROXWLRQ$VVHVVPHQW  SDUDV±\  DQG±Q  

   R   ,QFRUSRUDWHV$UP\'LUHFWLYH ± &RPPDQG(QJDJHPHQWWR3UHYHQW5HWDOLDWLRQ SDUD± DQGDSS+ 
                                                                                                                                                                  




   R   $GGVSROLF\RQPLOLWDU\HTXDORSSRUWXQLW\SURIHVVLRQDOVWDIILQJ DSS& 



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   R   $GGVSROLF\RQPLOLWDU\HTXDORSSRUWXQLW\WUDLQLQJDQGHGXFDWLRQ DSS' 

   R   ,QFRUSRUDWHV$UP\'LUHFWLYH ± $UP\&RPPDQG&OLPDWH$VVHVVPHQWV DSS( 
                                                            




   R   ,QFRUSRUDWHV$UP\'LUHFWLYH ±  ±3ULRULWL]LQJ(IIRUWV²5HDGLQHVVDQG/HWKDOLW\ 8SGDWH  DSS( 
                                                                                  




   R   8SGDWHVSROLF\RQWKH6H[XDO$VVDXOW5HYLHZ%RDUGIRUXQUHVWULFWHGUHSRUWVRIVH[XDODVVDXOW DSS) 

   R   $GGV'HSDUWPHQWRI'HIHQVH6H[XDO$VVDXOW$GYRFDWH&HUWLILFDWLRQ3URJUDPUHTXLUHPHQWV DSS* 

   R   ,QFRUSRUDWHV $UP\ 'LUHFWLYH  ±  ([SHGLWH 7UDQVIHU RU 5HDVVLJQPHQW 3URFHGXUHV IRU 9LFWLPV RI 6H[XDO
                                                                        




        $VVDXOW SDUD ± DQGDSS, 
                          




   R   $GGVFRPPDQGHU¶VFULWLFDOLQIRUPDWLRQUHTXLUHPHQW V  DSS- 

   R   8SGDWHVFRQILGHQWLDOLW\JXLGHOLQHVIRUUHVWULFWHGXQUHVWULFWHGUHSRUWLQJ DSS/ 

   R   $GGVLQVSHFWRUJHQHUDODFWLYLWLHVLQVXSSRUWRIWKHFRPPDQGHU DSS2 

   R   ,QFRUSRUDWHV'$3DP ±  KHUHE\VXSHUVHGHG  DSS4 
                                            




   R   $GGVDQLQWHUQDOFRQWUROHYDOXDWLRQ DSS4 

   R   ,GHQWLILHVDIXQFWLRQDOSURSRQHQWIRUDOOFRPPDQGSROLFLHVIRUZKLFKWKH'LUHFWRUDWHRI0LOLWDU\3HUVRQQHO3ROLF\
        'HSXW\&KLHIRI6WDII* ±  '$3( ± 03& LVQRWWKHSULPDU\VXEMHFWPDWWHUH[SHUW WKURXJKRXW 
                                                                      




   R   ,QFRUSRUDWHV$UP\'LUHFWLYH ± 6H[XDO+DUDVVPHQW$VVDXOW5HVSRQVHDQG3UHYHQWLRQ3URJUDPLQ,QLWLDO
                                                                




        0LOLWDU\7UDLQLQJ WKURXJKRXW 

   R   ,QFRUSRUDWHV$UP\'LUHFWLYH ± $UP\3ROLF\RQ0LOLWDU\6HUYLFHRI7UDQVJHQGHU6ROGLHUV WKURXJKRXW 
                                                            




   R   ,QFRUSRUDWHV $UP\ 'LUHFWLYH  ±  ,QFOXVLRQ RI 6H[XDO 2ULHQWDWLRQ LQ WKH 0LOLWDU\ (TXDO 2SSRUWXQLW\
                                                                            




        3URJUDP WKURXJKRXW 




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       +HDGTXDUWHUV                                                                                        $UP\5HJXODWLRQ ±                                           




       'HSDUWPHQWRIWKH$UP\
       :DVKLQJWRQ'&
       -XO\                                                                                       (IIHFWLYH-XO\
                                                               3HUVRQQHO*HQHUDO
                                                        $UP\&RPPDQG3ROLF\
                                                      &RPPDQGSHUVRQQHO DQG DOO $UP\ &RU
                                                                                                             $UP\ LQWHUQDO FRQWURO SURFHVV
                                                      UHFWLRQV6\VWHPSULVRQHUVLQFDUFHUDWHGLQ
                                                                                                             7KLV UHJXODWLRQ FRQWDLQV LQWHUQDO FRQWURO
                                                      $UP\ &RUUHFWLRQV 6\VWHP IDFLOLWLHV
                                                                                                             SURYLVLRQV LQ DFFRUGDQFH ZLWK $5  ±
                                                      &KDSWHUVDQGDQGDSSHQGL[(DSSO\WR
                                                                                                                                                                                            




                                                                                                             DQG LGHQWLILHV NH\ LQWHUQDO FRQWUROV WKDW
                                                      PHPEHUVRIWKH$UP\1DWLRQDO*XDUGRI
                                                                                                             PXVWEHHYDOXDWHG DSS4 
                                                      WKH8QLWHG6WDWHVZKHQRQDFWLYHGXW\7L
                                                      WOHRUGHUVIRUGD\VRUPRUH,QDOO            6XSSOHPHQWDWLRQ 6XSSOHPHQWDWLRQ
                                                      RWKHU FDVHV PHPEHUV RI WKH $UP\ 1D             RI WKLV UHJXODWLRQ DQG HVWDEOLVKPHQW RI
                                                      WLRQDO*XDUGDUHJRYHUQHGE\UHJXODWLRQV              FRPPDQGDQGORFDOIRUPVDUHSURKLELWHG
                                                      LVVXHGE\WKH&KLHI1DWLRQDO*XDUG%X                ZLWKRXW SULRU DSSURYDO IURP WKH 'HSXW\
                                                      UHDX FRQVLVWHQW ZLWK &KLHI 1DWLRQDO              &KLHI RI 6WDII *±  '$3( ± 03  
                                                                                                                                                                     




                                                      *XDUG%XUHDX¶VDXWKRULWLHVXQGHU86&               $UP\ 3HQWDJRQ :DVKLQJWRQ '&
                                                      86&DQG'R''                  ± 
                                                                                                                           




                                                      ,WDOVRDSSOLHVZKHUHVWDWHGWR'HSDUWPHQW
                                                                                                            6XJJHVWHG LPSURYHPHQWV 8VHUV
                                                      RI WKH $UP\ &LYLOLDQV 3RUWLRQV RI WKLV
                                                                                                             DUH LQYLWHG WR VHQG FRPPHQWV DQG VXJ
   +LVWRU\ 7KLVSXEOLFDWLRQLVDQDGPLQLV          UHJXODWLRQWKDWSUHVFULEHVSHFLILFFRQGXFW
                                                                                                             JHVWHG LPSURYHPHQWV RQ '$ )RUP 
   WUDWLYHUHYLVLRQ7KHSRUWLRQVDIIHFWHGE\        DUHSXQLWLYHDQGYLRODWLRQVRIWKHVHSUR
                                                                                                              5HFRPPHQGHG &KDQJHV WR 3XEOLFDWLRQV
   WKLV DGPLQLVWUDWLYH UHYLVLRQ DUH OLVWHG LQ   YLVLRQVPD\VXEMHFWRIIHQGHUVWRQRQMXGL
                                                                                                             DQG %ODQN )RUPV  GLUHFWO\ WR 'HSXW\
   WKHVXPPDU\RIFKDQJH                            FLDORUMXGLFLDODFWLRQXQGHUWKH8QLIRUP
                                                                                                             &KLHI RI 6WDII *±  '$3( ± 03  
                                                      &RGH RI 0LOLWDU\ -XVWLFH 7KH HTXDO RS
                                                                                                                                                                     




   6XPPDU\ 7KLVUHJXODWLRQLPSOHPHQWV                                                                     $UP\ 3HQWDJRQ :DVKLQJWRQ '&
                                                      SRUWXQLW\WHUPVIRXQGLQWKHJORVVDU\DUH
   'R',  'R',  'R',                                                                     ± RUE\HPDLOWRXVDUP\SHQWD
                                                      DSSOLFDEOH RQO\ WR XQLIRUPHG SHUVRQQHO
                                                                                                                           




    'R',  'R',                                                                  JRQKTGDGFVJPE[FRPPDQGSRO
                                                      $5  ± DQG $5  ± FRQWDLQV
                                                                                                             LF\#PDLOPLO
                                                                                                    




   'R',  'R',  'R',              VLPLODU WHUPV WKDW DUH DSSOLFDEOH WR 'H
    'R',  'R',           SDUWPHQWRIWKH$UP\&LYLOLDQV                      &RPPLWWHHPDQDJHPHQW $5±                                           




   'R''  'R''  'R''                                                                      UHTXLUHVWKHSURSRQHQWWRMXVWLI\HVWDEOLVK
   DQG'R''$OVRLWSUH            3URSRQHQWDQGH[FHSWLRQDXWKRULW\
                                                                                                             LQJFRQWLQXLQJ FRPPLWWHH V  FRRUGLQDWH
   VFULEHV WKH SROLF\ DQG UHVSRQVLELOLW\ RI     7KH SURSRQHQW RI WKLV UHJXODWLRQ LV WKH
                                                                                                             GUDIWSXEOLFDWLRQVDQGFRRUGLQDWHFKDQJHV
   FRPPDQGZKLFKLQFOXGHWKH$UP\5HDG\             'HSXW\ &KLHI RI 6WDII *±  7KH SURSR
                                                                                                             LQFRPPLWWHHVWDWXVZLWKWKH2IILFHRIWKH
                                                                                          




   DQG 5HVLOLHQW &DPSDLJQ 3ODQ PLOLWDU\         QHQWKDV WKH DXWKRULW\ WR DSSURYH H[FHS
                                                                                                             $GPLQLVWUDWLYH$VVLVWDQWWRWKH6HFUHWDU\
   GLVFLSOLQH DQG FRQGXFW WKH $UP\ (TXDO       WLRQVRUZDLYHUVWRWKLVUHJXODWLRQWKDWDUH
                                                                                                             RI WKH $UP\ 'HSDUWPHQW RI WKH $UP\
   2SSRUWXQLW\3URJUDPDQGWKH$UP\6H[             FRQVLVWHQWZLWKFRQWUROOLQJODZDQGUHJX
                                                                                                             &RPPLWWHH        0DQDJHPHQW          2IILFH
   XDO +DUDVVPHQW$VVDXOW 5HVSRQVH DQG            ODWLRQV7KHSURSRQHQWPD\GHOHJDWHWKLV
                                                                                                              $$53 ± =$ $UP\3HQWDJRQ:DVK
                                                      DSSURYDO DXWKRULW\ LQ ZULWLQJ WR D GLYL
                                                                                                                               




   3UHYHQWLRQ 3URJUDP 7KH GD\ DG                                                                    LQJWRQ '& ±  )XUWKHU LI LW LV
                                                      VLRQFKLHIZLWKLQWKHSURSRQHQWDJHQF\RU
                                                                                                                                                       




   YDQFHGSXEOLFDWLRQUHTXLUHPHQWKDVEHHQ                                                                  GHWHUPLQHG WKDW DQ HVWDEOLVKHG ³JURXS´
   ZDLYHG EHFDXVH WKH UHYLVLRQ LPSOHPHQWV        LWVGLUHFWUHSRUWLQJXQLWRUILHOGRSHUDWLQJ
                                                                                                             LGHQWLILHGZLWKLQWKLVUHJXODWLRQODWHUWDNHV
   SUHYLRXVO\SXEOLVKHGODZ'R'GLUHFWLYHV          DJHQF\LQWKHJUDGHRIFRORQHORUWKHFLYLO
                                                                                                             RQ WKH FKDUDFWHULVWLFV RI D FRPPLWWHH DV
   DQGLQVWUXFWLRQVDQG$UP\GLUHFWLYHVWKDW        LDQ HTXLYDOHQW PD\ UHTXHVW D ZDLYHU WR
                                                                                                             IRXQG LQ $5  ± WKHQ WKH SURSRQHQW
                                                      WKLV UHJXODWLRQ E\ SURYLGLQJ MXVWLILFDWLRQ
                                                                                                                                       




   QHHG WR EH FRQVROLGDWHG DQG FRPPXQL                                                                 ZLOO IROORZ $5  ±  UHTXLUHPHQWV IRU
   FDWHGWRWKHILHOGDVVRRQDVSRVVLEOH           WKDW LQFOXGHV D IXOO DQDO\VLV RI WKH H[
                                                                                                                                                               




                                                                                                             HVWDEOLVKLQJDQGFRQWLQXLQJWKHJURXSDVD
                                                      SHFWHG EHQHILWV DQG PXVW LQFOXGH IRUPDO
   $SSOLFDELOLW\ 7KLV UHJXODWLRQ DSSOLHV                                                                FRPPLWWHH
                                                      UHYLHZ E\ WKH DFWLYLW\¶V VHQLRU OHJDO RI
   WRWKH5HJXODU$UP\WKH$UP\1DWLRQDO            ILFHU$OOZDLYHUUHTXHVWVZLOOEHHQGRUVHG           'LVWULEXWLRQ 7KLVUHJXODWLRQLVDYDLOD
   *XDUG$UP\ 1DWLRQDO *XDUG RI WKH              E\WKHFRPPDQGHURUVHQLRUOHDGHURIWKH              EOH LQ HOHFWURQLF PHGLD RQO\ DQG LV LQ
   8QLWHG 6WDWHV DQG WKH 86 $UP\ 5H         UHTXHVWLQJDFWLYLW\DQGIRUZDUGHGWKURXJK             WHQGHG IRU WKH 5HJXODU $UP\ WKH $UP\
   VHUYHXQOHVVRWKHUZLVHVWDWHG,WDOVRDS        WKHLU KLJKHU KHDGTXDUWHUV WR WKH SROLF\          1DWLRQDO*XDUG$UP\1DWLRQDO*XDUGRI
   SOLHV WR DOO DVVLJQHG DWWDFKHG RU RSHUD   SURSRQHQW5HIHUWR$5 ±IRUVSHFLILF
                                                                                                           WKH8QLWHG6WDWHVDQGWKH86$UP\5H
   WLRQDOO\FRQWUROOHG86$UP\&RUUHFWLRQV         JXLGDQFH                                             VHUYH


                                                                                                                                                                                                  
    7KLVUHJXODWLRQVXSHUVHGHV$5GDWHG1RYHPEHU'$3DPGDWHG0D\7KHIROORZLQJ$UP\'LUHFWLYHVUHVFLQGXSRQ
   SXEOLFDWLRQRIWKLVUHJXODWLRQ$'GDWHG2FWREHU$'GDWHG-XO\$'GDWHG6HSWHPEHU$'
   GDWHG'HFHPEHU$'GDWHG-XQH$'GDWHG0DUFK$'GDWHG2FWREHU$'
   GDWHG1RYHPEHU$'GDWHG-XQH$'GDWHG2FWREHU$'GDWHG1RYHPEHUDQG$'
   GDWHG0D\
                                                            $5±-XO\                                                                                                           L
                                                        81&/$66,),('
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   &RQWHQWV²&RQWLQXHG




   &RQWHQWV /LVWHGE\SDUDJUDSKDQGSDJHQXPEHU 

   &KDSWHU
   ,QWURGXFWLRQSDJH
   3XUSRVH± SDJH
                          




   5HIHUHQFHVDQGIRUPV± SDJH                                                                         




   ([SODQDWLRQRIDEEUHYLDWLRQVDQGWHUPV± SDJH                                                                                                               




   5HVSRQVLELOLWLHV± SDJH                               




   5HFRUGVPDQDJHPHQW UHFRUGNHHSLQJ UHTXLUHPHQWV± SDJH                                                                                                                                                                                      




   &RPPDQG± SDJH        




   0LOLWDU\JUDGHDQGUDQN± SDJH                                                                                  




   3UHFHGHQFHEHWZHHQ6ROGLHUVDQGRWKHU6HUYLFHPHPEHUVVHUYLQJZLWKWKH$UP\± SDJH                                                                                                                                                                                               




   3UHFHGHQFHEHWZHHQPHPEHUVRIWKH$UP\DQGPHPEHUVRIIRUHLJQPLOLWDU\VHUYLFHVVHUYLQJZLWKWKH
     $UP\± SDJH
                          




   &KDSWHU
   &RPPDQG3ROLFLHVSDJH
   &KDLQRIFRPPDQG± SDJH                                                            




   2SHQGRRUSROLFLHV ± SDJH                                                     




   3HUIRUPDQFHFRXQVHOLQJ± SDJH                                                                                       




   6WDIIRUWHFKQLFDOFKDQQHOV ± SDJH                                                                                             




   &RPPDQGRILQVWDOODWLRQVDFWLYLWLHVDQGXQLWV ± SDJH                                                                                                                                         




   &RPPDQGRILQVWDOODWLRQVDFWLYLWLHVDQGXQLWVRI-RLQWEDVHV ± SDJH                                                                                                                                                                                         




   6SHFLDOW\LPPDWHULDOFRPPDQGV± SDJH                                                                                                               




   'HVLJQDWLRQRIMXQLRULQWKHVDPHJUDGHWRFRPPDQG± SDJH                                                                                                                                                                                      




   'HDWKGLVDELOLW\UHWLUHPHQWUHDVVLJQPHQWRUDEVHQFHRIWKHFRPPDQGHU± SDJH                                                                                                                                                                                        




   $EVHQFHRUGLVDELOLW\RIDOORIILFHUVRIDXQLW± SDJH                                                                                                                            




   (PHUJHQF\FRPPDQG± SDJH                                                                          




   )XQFWLRQVRIDQLQGLYLGXDOLQWHPSRUDU\FRPPDQG± SDJH                                                                                                                                                                    




   5HVSRQVLELOLW\RIVXFFHVVRU± SDJH                                                                                                




   6HSDUDWHFRPPDQGVRIWKH$UP\VHUYLQJWRJHWKHU± SDJH                                                                                                                                                                 




   6HSDUDWHFRPPDQGVRIWKHVHYHUDOPLOLWDU\VHUYLFHVRIWKH8QLWHG6WDWHVVHUYLQJWRJHWKHU± SDJH                                                                                                                                                                                       




   ,QHOLJLELOLW\IRUFRPPDQGRISRVWRUDFWLYLW\± SDJH                                                                                                                          




   5HVWULFWLRQV± SDJH         




   5HOLHIIRUFDXVH± SDJH                         




   1RQFRPPLVVLRQHGRIILFHUVXSSRUWFKDQQHO ± SDJH                                                                                                                   




   &KDSWHU
   5HDG\DQG5HVLOLHQWSDJH
   *HQHUDO± SDJH
                      




   7KH$UP\5HDG\DQG5HVLOLHQWVWUDWHJLFJRYHUQDQFHSURFHVV ± SDJH                                                                                                                                                                                          




   5HVSRQVLELOLWLHV± SDJH                              




   &KDSWHU
   0LOLWDU\'LVFLSOLQHDQG&RQGXFWSDJH
   0LOLWDU\GLVFLSOLQH± SDJH                                            




   2EHGLHQFHWRRUGHUV± SDJH                                                            




   0LOLWDU\FRXUWHV\± SDJH                                  




   6ROGLHUFRQGXFW± SDJH                       




   0DLQWHQDQFHRIRUGHU ± SDJH                                                                   




   ([HUFLVLQJPLOLWDU\DXWKRULW\± SDJH                                                                                                       




   'LVFLSOLQDU\SRZHUVRIWKHFRPPDQGLQJRIILFHU± SDJH                                                                                                                                               




   6HWWOHPHQWRIORFDODFFRXQWVRQFKDQJHRIVWDWLRQ± SDJH                                                                                                                                                           




   &LYLOVWDWXVRIPHPEHUVRIWKH86$UP\5HVHUYH± SDJH                                                                                                                                                                        




                                                                                                                                                                            $5±-XO\                                                                                                   L
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                                      365
   &RQWHQWV²&RQWLQXHG


   3DUWLFLSDWLRQLQVXSSRUWRIFLYLOLDQODZHQIRUFHPHQWDJHQFLHV ± SDJH                                                                                                                                                                                                                                                        




   0HPEHUVKLSFDPSDLJQV± SDJH                                                                              




   ([WUHPLVWRUJDQL]DWLRQVDQGDFWLYLWLHV± SDJH                                                                                                                                                




   $UP\ODQJXDJHSROLF\ ± SDJH                                                             




   5HODWLRQVKLSVEHWZHHQ6ROGLHUVRIGLIIHUHQWJUDGHV± SDJH                                                                                                                                                                                                                                    




   2WKHUSURKLELWHGUHODWLRQVKLSV± SDJH                                                                                            




   )UDWHUQL]DWLRQ ± SDJH               




   6WDQGDUGVRIFRQGXFW± SDJH                                                  




   (PSOR\PHQWDQGYROXQWHHUZRUNRIVSRXVH± SDJH                                                                                                                                                                                       




   7KH$UP\+DUDVVPHQW3UHYHQWLRQDQG5HVSRQVH3URJUDP KD]LQJEXOO\LQJDQGGLVFULPLQDWRU\KDUDVV
     PHQW ± SDJH
                               




   ,QIRUPDOIXQGV± SDJH                    




   0LVXVHRIJRYHUQPHQWWUDYHOFKDUJHFDUGV± SDJH                                                                                                                                                                              




   'RPHVWLF9LROHQFH$PHQGPHQWWRWKH*XQ&RQWURO$FWRI± SDJH                                                                                                                                                                                                                                                                    




   6HOIUHSRUWLQJRIFULPLQDOFRQYLFWLRQVE\RIILFHUVDQGVHQLRUHQOLVWHGPHPEHUV± SDJH                                                                                                                                                                                                                                                                




   &RPPDQGUHVSRQVLELOLW\XQGHUWKHODZRIZDU ± SDJH                                                                                                                                                                                                      




   3HUVRQQHOUHFRYHU\DQGFRGHRIFRQGXFWWUDLQLQJ± SDJH                                                                                                                                                                                                                           




   &RPEDWLQJWUDIILFNLQJLQSHUVRQV ± SDJH                                                                                                         




   &KDSWHU
   2WKHU5HVSRQVLELOLWLHVRI&RPPDQGSDJH
   *HQHUDO± SDJH
                           




   $UP\)DPLO\UHDGLQHVV ± SDJH                                                                         




   )DPLO\FDUHSODQV ± SDJH                             




   &RPPDQGDVSHFWVRIPHGLFDOUHDGLQHVVDQGPHGLFDOFDUH ± SDJH                                                                                                                                                                                                                                                     




   %UHDVWIHHGLQJDQGODFWDWLRQVXSSRUWSROLF\ ± SDJH                                                                                                                                                                                




   $FFRPPRGDWLQJUHOLJLRXVSUDFWLFHV± SDJH                                                                                                                                  




   8QLWPHPRULDOFHUHPRQLHVDQGVHUYLFHVSROLF\± SDJH                                                                                                                                                                                                               




   %HWWHU2SSRUWXQLWLHVIRU6LQJOH6ROGLHUV ± SDJH                                                                                                                                                              




   6ROGLHUIRU/LIH±7UDQVLWLRQ$VVLVWDQFH3URJUDP± SDJH                                                                                                                                                                                                                     




   )HGHUDO3DUHQW/RFDWRU6HUYLFH± SDJH                                                                                                    




   &RPSODLQWVRUDFFXVDWLRQVDJDLQVWPLOLWDU\SHUVRQQHO ± SDJH                                                                                                                                                                                                                                         




   0LOLWDU\:KLVWOHEORZHU3URWHFWLRQ$FW± SDJH                                                                                                                                                             




   5HWDOLDWLRQ± SDJH       




   $SSHDUDQFHEHIRUHFRQJUHVVLRQDOFRPPLWWHHV ± SDJH                                                                                                                                                                                                   




   3ROLWLFDODFWLYLWLHV± SDJH                              




   3URKLELWLRQRIPLOLWDU\ODERUXQLRQV± SDJH                                                                                                                              




   2QSRVWGLVWULEXWLRQRIQRQJRYHUQPHQWSULQWHGPDWHULDOV± SDJH                                                                                                                                                                                                                                                      




   ,QVLGHU7KUHDW3URJUDP± SDJH                                                                    




   5LVNPDQDJHPHQW± SDJH                                   




   2SHUDWLRQVVHFXULW\ ± SDJH                                      




   $GRSWLRQ5HLPEXUVHPHQW3URJUDP± SDJH                                                                                                                                




   &KDSWHU
   0LOLWDU\(TXDO2SSRUWXQLW\3ROLF\DQG3URJUDPSDJH
   3XUSRVH± SDJH
                               




   0LOLWDU\HTXDORSSRUWXQLW\SROLFLHV± SDJH                                                                                                                        




   0LOLWDU\HTXDORSSRUWXQLW\SURIHVVLRQDOVWDIILQJ± SDJH                                                                                                                                                                                                                   




   0LOLWDU\HTXDORSSRUWXQLW\WUDLQLQJDQGHGXFDWLRQ± SDJH                                                                                                                                                                                                                                  




   &RPPDQGFOLPDWHDVVHVVPHQW± SDJH                                                                                                     




   0LOLWDU\(TXDO2SSRUWXQLW\DQG+DUDVVPHQW&RPSODLQW3URFHVVLQJ6\VWHP ± SDJH                                                                                                                                                                                                                                                                 




   5HWDOLDWLRQ3UHYHQWLRQDQG5HVSRQVH± SDJH                                                                                                                                            




   0LOLWDU\HTXDORSSRUWXQLW\GHILQLWLRQV± SDJH                                                                                                                                                     




   5DFLDODQGHWKQLFFDWHJRULHV± SDJH                                                                               




   0LOLWDU\(TXDO2SSRUWXQLW\3URJUDPDQG+DUDVVPHQW3UHYHQWLRQDQG5HVSRQVH3URJUDPUHVSRQVLELOL
     WLHV± SDJH
               




                                                                                                                                                                                                                                   $5±-XO\                                                                                                           LL
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   &RQWHQWV²&RQWLQXHG


   &KDSWHU
   6H[XDO+DUDVVPHQW$VVDXOW5HVSRQVHDQG3UHYHQWLRQ3URJUDPSDJH
   6FRSH± SDJH                            




   3ROLF\± SDJH                               




   3XUSRVH± SDJH                                      




   3URJUDPHOLJLELOLW\± SDJH                                                          




   5HVSRQVLELOLWLHV± SDJH                                             




   3URJUDPIXQGDPHQWDOV± SDJH                                                                




   6H[XDOKDUDVVPHQW± SDJH                                                       




   6H[XDO+DUDVVPHQW&RPSODLQW3URFHVVLQJ6\VWHP± SDJH                                                      




   6H[XDODVVDXOW± SDJH                                      




   5HWDOLDWLRQLQUHVSRQVHWRUHSRUWVRIVH[XDODVVDXOWDQGVH[XDOKDUDVVPHQW± SDJH                                             




   &RPPDQGHUDFWLRQVXSRQQRWLILFDWLRQRIDVH[XDODVVDXOW ± SDJH                                                  




   $SSHQGL[HV
   $5HIHUHQFHVSDJH
   %3ROLWLFDO$FWLYLWLHVSDJH
   &0LOLWDU\(TXDO2SSRUWXQLW\3URIHVVLRQDO6WDIILQJSDJH
   '0LOLWDU\(TXDO2SSRUWXQLW\DQG+DUDVVPHQW7UDLQLQJDQG(GXFDWLRQSDJH
   (&RPPDQG&OLPDWH$VVHVVPHQWSDJH
   )6H[XDO$VVDXOW5HYLHZ%RDUGIRU8QUHVWULFWHG5HSRUWVRI6H[XDO$VVDXOWSDJH
   *'HSDUWPHQWRI'HIHQVH6H[XDO$VVDXOW$GYRFDWH&HUWLILFDWLRQ3URJUDP5HTXLUHPHQWV7UDLQLQJDQG$GGLWLRQDO
     6NLOO,GHQWLILHU$VVLJQPHQWSDJH
   +5HWDOLDWLRQ3UHYHQWLRQDQG5HVSRQVHSDJH
   ,([SHGLWHG7UDQVIHU9LFWLP5HTXHVWVSDJH
   -6H[XDO+DUDVVPHQW$VVDXOW5HVSRQVHDQG3UHYHQWLRQ&RPPDQGHU¶V&ULWLFDO,QIRUPDWLRQ5HTXLUH
      PHQW V SDJH
   .6H[XDO$VVDXOW,QFLGHQW5HVSRQVH2YHUVLJKW5HSRUWSDJH
   /&RQILGHQWLDOLW\*XLGHOLQHVIRU5HVWULFWHG8QUHVWULFWHG5HSRUWLQJSDJH
   06H[XDO+DUDVVPHQW$VVDXOW5HVSRQVHDQG3UHYHQWLRQ+RWOLQHSDJH
   16H[XDO+DUDVVPHQW$VVDXOW5HVSRQVHDQG3UHYHQWLRQ3URJUDP2UJDQL]DWLRQ,QVSHFWLRQ3URJUDPSDJH
   2,QVSHFWRU*HQHUDO$FWLYLWLHVLQ6XSSRUWRIWKH&RPPDQGHUSDJH
   35HOLJLRXV$FFRPPRGDWLRQSDJH
   4,QWHUQDO&RQWURO(YDOXDWLRQSDJH

   7DEOH/LVW

   7DEOH ± *UDGHV$UP\SDJH
                                 




   7DEOH ± &RPSDUDEOHJUDGHVDPRQJWKH6HUYLFHVSDJH
                                 




   7DEOH(± &RPPDQG&OLPDWH$VVHVVPHQWJXLGDQFHSDJH
                                         




   7DEOH*± 4XDOLILFDWLRQVSDJH
                                             




   7DEOH,± 9LFWLPWUDQVIHUSURFHVVHVSDJH
                             




   7DEOH.± 6H[XDO$VVDXOW,QFLGHQW5HVSRQVH2YHUVLJKWUHSRUWUHSRUWLQJUHVSRQVLELOLWLHVSDJH
                                             




   7DEOH3 ±3URFHVVIRU*HQHUDO&RXUW0DUWLDO&RQYHQLQJ$XWKRULW\XQLIRUPDQGJURRPLQJUHTXHVWVDQGDOOZDLYHU
                                     




     UHTXHVWVSDJH




                                                                                                             $5±-XO\           LLL
Case 1:21-cv-02228-RM-STV Document 37-14 Filed 11/23/21 USDC Colorado Page 24 of
                                      365
   &RQWHQWV²&RQWLQXHG


   )LJXUH/LVW

   )LJXUH ± &RPPDQGDQGVXSSRUWUHODWLRQVKLSVDW86$UP\0DWHULHO&RPPDQGPDQDJHGLQVWDOODWLRQVSDJH
                  




   )LJXUH ± $VVXPSWLRQRIFRPPDQGSDJH
                  




   )LJXUH ± $SSRLQWPHQWRIFRPPDQGHUSDJH
                  




   )LJXUH ± &RPPDQGUHODWLRQVKLSVDW-RLQWEDVHVSDJH
                  




   )LJXUH± -RLQW%DVH0DQDJHPHQW2YHUVLJKW6WUXFWXUHSDJH
                  




   )LJXUH2± 5LJKWRI6ROGLHUVWRSUHVHQWFRPSODLQWVWRWKHLQVSHFWRUJHQHUDOSDJH
                      




   )LJXUH2± 5LJKWRI6ROGLHUVWRSUHVHQWFRPSODLQWVWRWKHLQVSHFWRUJHQHUDO²&RQWLQXHGSDJH
                      




   )LJXUH2± 5LJKWRI'HSDUWPHQWRIWKH$UP\&LYLOLDQHPSOR\HHVWRSUHVHQWFRPSODLQWVWRWKHLQVSHFWRUJHQ
                      




     HUDOSDJH
   )LJXUH2± 5LJKWRI'HSDUWPHQWRIWKH$UP\&LYLOLDQHPSOR\HHVWRSUHVHQWFRPSODLQWVWRWKHLQVSHFWRUJHQHUDO²
                      




     &RQWLQXHGSDJH

   *ORVVDU\




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   &KDSWHU
   ,QWURGXFWLRQ

   ±3XUSRVH
   7KLVUHJXODWLRQSUHVFULEHVWKHSROLFLHVDQGUHVSRQVLELOLWLHVRIFRPPDQGZKLFKLQFOXGHWKH$UP\5HDG\DQG5HVLOLHQW
   &DPSDLJQ3ODQPLOLWDU\GLVFLSOLQHDQGFRQGXFWWKH$UP\0LOLWDU\(TXDO2SSRUWXQLW\ 0(2 3URJUDPWKH$UP\
   +DUDVVPHQW3UHYHQWLRQDQG5HVSRQVH3URJUDPDQGWKH$UP\6H[XDO+DUDVVPHQW$VVDXOW5HVSRQVHDQG3UHYHQWLRQ
    6+$53 3URJUDP

   ±5HIHUHQFHVDQGIRUPV
   6HHDSSHQGL[$

   ±([SODQDWLRQRIDEEUHYLDWLRQVDQGWHUPV
   6HHWKHJORVVDU\

   ±5HVSRQVLELOLWLHV
   'HWDLOHGUHVSRQVLELOLWLHVDUHOLVWHGDQGGHVFULEHGLQVHSDUDWHFKDSWHUVXQGHUVSHFLILFSURJUDPVDQGFRPPDQGIXQFWLRQV
   7KLVSDUDJUDSKRXWOLQHVJHQHUDORURYHUDUFKLQJUHVSRQVLELOLWLHV
      D7KH3ULQFLSDO2IILFLDOVRI+HDGTXDUWHUV'HSDUWPHQWRIWKH$UP\ +4'$ GLUHFWSROLFLHVSURJUDPVDQGUH
   VRXUFHVLQVXSSRUWRIFRPPDQGUHVSRQVLELOLWLHV
      E7KH$VVLVWDQW6HFUHWDU\RIWKH$UP\ ,QVWDOODWLRQV(QHUJ\DQG(QYLURQPHQW  $6$ ,( ( LVUHVSRQVLEOHIRU
   VHWWLQJWKH VWUDWHJLFGLUHFWLRQIRUDQGHQVXULQJWKDW$UP\SROLFLHVDQGSURJUDPVUHODWHGWRLQVWDOODWLRQVLQFOXGLQJ
   $UP\UHDOHVWDWHMRLQWEDVLQJPLOLWDU\FRQVWUXFWLRQHQHUJ\DQGZDWHUVHFXULW\DQGVXVWDLQDELOLW\DQGWKHHQYLURQPHQW
   VDIHW\DQGRFFXSDWLRQDOKHDOWKDUHH[HFXWHGFRQVLVWHQWZLWKODZUHJXODWLRQDQGSROLF\,QDGGLWLRQWKH$6$ ,( ( 
   LVUHVSRQVLEOHIRURYHUVLJKWRIWKHH[HFXWLRQIXQFWLRQVSHUIRUPHGE\WKH&RUSVRI(QJLQHHUVUHODWHGWRWKH$UP\¶V
   PLOLWDU\FRQVWUXFWLRQUHDOSURSHUW\UHDOHVWDWHHQHUJ\DQGHQYLURQPHQWDOVDIHW\DQGRFFXSDWLRQDOKHDOWKSURJUDPV
      F7KH$VVLVWDQW6HFUHWDU\IRUWKH$UP\ 0DQSRZHUDQG5HVHUYH$IIDLUV  $6$ 0 5$ LVUHVSRQVLEOHIRUVHWWLQJ
   WKHVWUDWHJLFGLUHFWLRQIRUDQGHQVXULQJ$UP\SROLFLHVSODQVDQGSURJUDPVIRUSHUVRQQHOIRUFHVWUXFWXUHPDQSRZHU
   PDQDJHPHQWWRWDOIRUFHPDQDJHPHQWWRWDOIRUFHSROLF\WUDLQLQJPLOLWDU\DQGSHUVRQQHOUHDGLQHVV5HVHUYHDIIDLUV
   DQG$UP\SURWHFWLRQDUHH[HFXWHGFRQVLVWHQWZLWKODZUHJXODWLRQDQGSROLF\,QDGGLWLRQWKH$6$ 0 5$ LVVSH
   FLILFDOO\UHVSRQVLEOHIRUWKH(TXDO(PSOR\PHQW2SSRUWXQLW\ ((2 DQG0(23URJUDPVDQGPRUDOHZHOIDUHUHFUHD
   WLRQ 0:5 DQG)DPLO\VXSSRUWSURJUDPV
      G7KH9LFH&KLHIRI6WDII$UP\ 9&6$ WDVNVWKH$UP\6WDII $567$) DVQHFHVVDU\WRFRRUGLQDWHWKHUHDGLQHVV
   DQGUHVLOLHQF\RIWKHIRUFH
      H7KH'HSXW\&KLHIRI6WDII* ±  '&6*±  KDV$567$)UHVSRQVLELOLW\IRUGHYHORSLQJDQGH[HFXWLQJ$UP\
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   VWUDWHJ\SROLF\SODQVDQGSURJUDPVWKDWUHODWHWR²
        &KDLQRIFRPPDQG VHHSDUD ± GHVLJQDWLRQRIMXQLRULQWKHVDPHJUDGHWRFRPPDQG VHH SDUD±  DQG
                                                                                                                             




   DVVXPSWLRQRIFRPPDQGE\WKH VHQLRUUHJXODUO\DVVLJQHG6ROGLHUV ZKHQWKHFRPPDQGHUGLHVLVGLVDEOHGUHVLJQV
   UHWLUHVRULVDEVHQW VHHSDUD±  
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        7KH$UP\5HDG\DQG5HVLOLHQW3ODQ VHHFKDS 
        ([WUHPLVWRUJDQL]DWLRQVDQGDFWLYLWLHV VHHSDUD ±  UHODWLRQVKLSVEHWZHHQ6ROGLHUVRIGLIIHUHQWJUDGH VHH
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   SDUD± DQGRWKHUSURKLELWHGUHODWLRQVKLSV VHHSDUD±  
                                                                                                     




        3ROLWLFDODFWLYLWLHV VHHSDUD±  )DPLO\FDUHSODQV VHHSDUD±  DQGDFFRPPRGDWLRQRIUHOLJLRXVSUDFWLFHV
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    VHHSDUD±    




        7KH$UP\6+$533URJUDP VHHSDUD ±                             




      I7KH'HSXW\&KLHIRI6WDII* ±  '&6*±  KDV$567$)UHVSRQVLELOLW\IRUSODQQLQJGHYHORSLQJLPSOHPHQW
                                                                                 




   LQJUHVRXUFLQJRYHUVHHLQJDQGHYDOXDWLQJWKHH[HFXWLRQRIVWUDWHJLHVSROLFLHVSODQVDQGSURJUDPVIRUWKHGHOLYHU\
   RILQVWDOODWLRQVHUYLFHVDQGLQIUDVWUXFWXUHWRVXSSRUWUHDGLQHVV7KH'&6*± ZLOO²                              




        $GYLVHWKH$6$ ,( ( RQSODQQLQJGHYHORSLQJSROLF\UHVRXUFLQJLPSOHPHQWLQJDQGHYDOXDWLQJ²
       D &RPSUHKHQVLYHLQVWDOODWLRQPDQDJHPHQWRSHUDWLRQVIDFLOLWLHV LQYHVWPHQWHQYLURQPHQWDOSURJUDPVH[FHVVLQ
   VWDOODWLRQSURSHUW\UHDOSURSHUW\PDQDJHPHQWPDVWHUSODQQLQJMRLQWEDVLQJDQGHQHUJ\DQGZDWHUVHFXULW\DQGVXV
   WDLQDELOLW\
       E $UP\KRXVLQJQRQWDFWLFDOYHKLFOHVSXEOLFDQGSULYDWHSDUWQHUVKLSVLQVWDOODWLRQVDIHW\DQGLQVWDOODWLRQORJLV
   WLFV



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                                                                     $5±-XO\                                     
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       $GYLVHWKH$6$ 0 5$ RQSODQQLQJGHYHORSLQJSROLF\UHVRXUFLQJLPSOHPHQWLQJDQGHYDOXDWLQJ0:5
   SURJUDPVQRQDSSURSULDWHGIXQGLQVWUXPHQWDOLWLHVDQG6ROGLHUDQG)DPLO\UHDGLQHVVSURJUDPV
     J7KH&RPPDQGLQJ*HQHUDO$UP\0DWHULHO&RPPDQG $0& LVUHVSRQVLEOHIRUWKHH[HFXWLRQDQG GHOLYHU\RI
   6ROGLHU&LYLOLDQDQG)DPLO\SURJUDPVDQGVHUYLFHVDWWKHLQVWDOODWLRQLQVXSSRUWRIWRWDOIRUFH5HDGLQHVVDQG5HVLOL
   HQFH,QVWDOODWLRQ0DQDJHPHQW&RPPDQG ,0&20 LVDPDMRUVXERUGLQDWHFRPPDQGWR$0&
     K&RPPDQGLQJ*HQHUDOVRI$UP\FRPPDQGV $&20V $UP\VHUYLFHFRPSRQHQWFRPPDQGV $6&&V &KLHI
   1DWLRQDO*XDUG%XUHDX &1*% &KLHI$UP\5HVHUYHDQGRUGLUHFWUHSRUWLQJXQLWV '58V LPSOHPHQWSROLFLHVDQG
   SURJUDPVZLWKLQWKHLUUHVSHFWLYHFRPPDQGVWRVXSSRUWWKHUHDGLQHVVDQGUHVLOLHQFHRIWKHIRUFH
     L&RPPDQGHUVDWDOOOHYHOVZLOOLPSOHPHQWDQGHQIRUFHWKHFKDLQRIFRPPDQGDQG$UP\FRPPDQGSROLFLHV

   ±5HFRUGVPDQDJHPHQW UHFRUGNHHSLQJ UHTXLUHPHQWV
   7KHUHFRUGVPDQDJHPHQWUHTXLUHPHQWIRUDOOUHFRUGQXPEHUVDVVRFLDWHGIRUPVDQGUHSRUWVUHTXLUHGE\WKLVUHJXODWLRQ
   DUHDGGUHVVHGLQWKH$UP\5HFRUGV5HWHQWLRQ6FKHGXOH$UP\ 556 ± $ 'HWDLOHGLQIRUPDWLRQIRUDOOUHODWHGUHFRUG
                                                                             




   QXPEHUV IRUPV DQG UHSRUWV DUH ORFDWHG LQ $UP\ 5HFRUGV ,QIRUPDWLRQ 0DQDJHPHQW 6\VWHP $5,06 556 ± $ DW
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   KWWSVZZZDULPVDUP\PLO,IDQ\UHFRUGQXPEHUVIRUPVDQGUHSRUWVDUHQRWFXUUHQWDGGUHVVHGDQGRUSXEOLVKHG
   FRUUHFWO\LQ$5,06556± $VHH'$3DP ± IRUJXLGDQFH
                                                   




   ±&RPPDQG
      D3ULYLOHJHWRFRPPDQG&RPPDQGLVH[HUFLVHGE\YLUWXHRIRIILFHDQGWKHVSHFLDODVVLJQPHQWRIPHPEHUVRIWKH
   $UPHG)RUFHVRIWKH8QLWHG6WDWHVKROGLQJPLOLWDU\JUDGHZKRDUHHOLJLEOHWRH[HUFLVHFRPPDQG$FRPPDQGHULV
   WKHUHIRUHDFRPPLVVLRQHGRUZDUUDQWRIILFHU :2 ZKRE\YLUWXHRIJUDGHDQGDVVLJQPHQWH[HUFLVHVSULPDU\FRP
   PDQGDXWKRULW\RYHUDPLOLWDU\RUJDQL]DWLRQRUDSUHVFULEHGWHUULWRULDODUHDWKDWLVUHFRJQL]HGDVDFRPPDQGXQGHU
   SHUWLQHQWRIILFLDOGLUHFWLYHV7KHSULYLOHJHWRFRPPDQGLVQRWOLPLWHGVROHO\E\EUDQFKRI6HUYLFHH[FHSWDVLQGLFDWHG
   LQFKDSWHU$FLYLOLDQRWKHUWKDQWKH3UHVLGHQWDV&RPPDQGHULQ&KLHI RU1DWLRQDO&RPPDQG$XWKRULW\ PD\QRW
   H[HUFLVHFRPPDQG+RZHYHUD'$&LYLOLDQPD\EHGHVLJQDWHGWRH[HUFLVHJHQHUDOVXSHUYLVLRQRYHUDQ$UP\LQVWDO
   ODWLRQRUDFWLYLW\ IRUH[DPSOH'XJZD\3URYLQJ*URXQG 
      E(OHPHQWVRIFRPPDQG7KH NH\HOHPHQWVRIFRPPDQGDUH DXWKRULW\DQGUHVSRQVLELOLW\)RUPDODXWKRULW\ IRU
   FRPPDQGLVGHULYHGIURPWKHSROLFLHVSURFHGXUHVDQGSUHFHGHQWVSUHVHQWHGLQFKDSWHUVWKURXJK
      F&KDUDFWHULVWLFVRIFRPPDQGOHDGHUVKLS7KHFRPPDQGHULVUHVSRQVLEOHIRUDOODVSHFWVRIXQLWUHDGLQHVV7UDLQ
   LQJLVWKHFRUQHUVWRQHRIXQLWUHDGLQHVVDQGPXVWEHWKHFRPPDQGHU¶VWRSSHDFHWLPHSULRULW\(VWDEOLVKLQJDSRVLWLYH
   OHDGHUVKLSFOLPDWHZLWKLQWKHXQLWDQGGHYHORSLQJGLVFLSOLQHGDQGFRKHVLYHXQLWVFRQWULEXWHVWRFRPEDWUHDGLQHVVDQG
   VHWVWKHWRQHIRUVRFLDODQGGXW\UHODWLRQVKLSVDQGUHVSRQVLELOLWLHVZLWKLQWKHFRPPDQG$VWKHSULPDU\XQLWWUDLQHUV
   FRPPDQGHUVPXVWGHYHORSWKHLUOHDGHUVWRH[WUDFWWKHJUHDWHVWWUDLQLQJYDOXHIURPHYHU\RSSRUWXQLW\LQHYHU\DFWLYLW\
   LQRUGHUWREXLOGFRPEDWUHDGLQHVVDQGSUHSDUHWKHLUXQLWVDQG6ROGLHUVWRUDSLGO\GHSOR\DQGDFFRPSOLVKWKHLUGHFLVLYH
   DFWLRQPLVVLRQV&RPPDQGHUVUHPDLQUHVSRQVLEOHIRUWKHSURIHVVLRQDOGHYHORSPHQWRIWKHLU6ROGLHUVDWDOOUDQNV&RP
   PDQGHUVDQGRWKHUOHDGHUVZLOOWUHDWWKHLUVXERUGLQDWHVZLWKGLJQLW\DQGUHVSHFWDWDOOWLPHVDQGHVWDEOLVKDFRPPDQG
   DQGRUJDQL]DWLRQDOFOLPDWHWKDWHPSKDVL]HVWKHGXW\RIRWKHUVWRDFWLQDVLPLODUPDQQHUWRZDUGWKHLUVXERUGLQDWHVLQ
   DFFRPSOLVKLQJWKHXQLWPLVVLRQ
        &RPPDQGHUVDQGRWKHUOHDGHUVFRPPLWWHGWRWKHSURIHVVLRQDO$UP\(WKLFSURPRWHDSRVLWLYHHQYLURQPHQW,I
   OHDGHUVVKRZOR\DOW\WRWKHLU6ROGLHUVWKH $UP\DQGWKHQDWLRQWKH\HDUQWKHOR\DOW\RIWKHLU6ROGLHUV,IOHDGHUV
   FRQVLGHUWKHLU6ROGLHUV¶DQG'$&LYLOLDQV¶QHHGVDQGFDUHIRUWKHLUZHOOEHLQJDQGLIWKH\GHPRQVWUDWHJHQXLQHFRQ
   FHUQWKHVHOHDGHUVEXLOGDSRVLWLYHFRPPDQGFOLPDWH
        'XW\LVREHGLHQWDQGGLVFLSOLQHGSHUIRUPDQFH6ROGLHUVZLWKDVHQVHRIGXW\DFFRPSOLVKWDVNVJLYHQWKHPVHL]H
   RSSRUWXQLWLHVIRUVHOILPSURYHPHQWDQGDFFHSWUHVSRQVLELOLW\IURPWKHLUVXSHULRUV6ROGLHUVOHDGHUDQGOHGDOLNHZRUN
   WRJHWKHUWRDFFRPSOLVKWKHPLVVLRQUDWKHUWKDQIHHGWKHLUVHOILQWHUHVW
        ,QWHJULW\LVDZD\RIOLIH'HPRQVWUDWHGLQWHJULW\LVWKHEDVLVIRUGHSHQGDEOHFRQVLVWHQWLQIRUPDWLRQGHFLVLRQ
   PDNLQJDQGGHOHJDWLRQRIDXWKRULW\
        3URIHVVLRQDOO\FRPSHWHQWOHDGHUVZLOOGHYHORSUHVSHFWIRUWKHLUDXWKRULW\E\²
       D 6WULYLQJWRGHYHORSPDLQWDLQDQGXVHWKHIXOOUDQJHRIKXPDQSRWHQWLDOLQWKHLURUJDQL]DWLRQ7KLVSRWHQWLDOLV
   DFULWLFDOIDFWRULQHQVXULQJWKDWWKHRUJDQL]DWLRQLVFDSDEOHRIDFFRPSOLVKLQJLWVPLVVLRQ
       E *LYLQJWURRSVFRQVWUXFWLYHLQIRUPDWLRQRQWKHQHHGIRUDQGSXUSRVHRIPLOLWDU\GLVFLSOLQH$UWLFOHV $UW LQWKH
   8QLIRUP&RGHRI0LOLWDU\-XVWLFH 8&0- WKDWUHTXLUHH[SODQDWLRQ ZLOOEHSUHVHQWHGLQVXFKD ZD\ WRHQVXUHWKDW
   6ROGLHUVDUHIXOO\DZDUHRIWKHFRQWUROVDQGREOLJDWLRQVLPSRVHGRQWKHPE\YLUWXHRIWKHLUPLOLWDU\6HUYLFH VHH8&0-
   $UW 
       F 3URSHUO\WUDLQLQJWKHLU6ROGLHUVDQGHQVXULQJWKDWERWK6ROGLHUVDQGHTXLSPHQWDUHLQWKHSURSHUVWDWHRIUHDGL
   QHVVDWDOOWLPHV &RPPDQGHUV PXVWDVVHVVWKHFRPPDQGFOLPDWH SHULRGLFDOO\WRDQDO\]HWKHKXPDQGLPHQVLRQRI



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   FRPEDWUHDGLQHVV6ROGLHUVPXVWEHFRPPLWWHGWRDFFRPSOLVKLQJWKHPLVVLRQWKURXJKWKHXQLWFRKHVLRQGHYHORSHGDV
   D UHVXOW RI D KHDOWK\ OHDGHUVKLS FOLPDWH HVWDEOLVKHG E\ WKH FRPPDQG /HDGHUV DW DOO OHYHOV SURPRWH WKH LQGLYLGXDO
   UHDGLQHVVRIWKHLU6ROGLHUVE\GHYHORSLQJFRPSHWHQFHDQGFRQILGHQFHLQWKHLUVXERUGLQDWHV,QDGGLWLRQWREHLQJPHQ
   WDOO\SK\VLFDOO\WDFWLFDOO\DQGWHFKQLFDOO\FRPSHWHQW6ROGLHUVPXVWKDYHFRQILGHQFHLQWKHPVHOYHVWKHLUHTXLSPHQW
   WKHLUSHHUVDQGWKHLUOHDGHUV$OHDGHUVKLSFOLPDWHLQZKLFKDOO6ROGLHUVDQG'$&LYLOLDQVDUHWUHDWHGZLWKIDLUQHVV
   MXVWLFHDQGHTXLW\ZLOOEHFUXFLDOWRGHYHORSPHQWRIWKLVFRQILGHQFHZLWKLQ6ROGLHUV&RPPDQGHUVDUHUHVSRQVLEOHIRU
   GHYHORSLQJGLVFLSOLQHGDQGFRKHVLYHXQLWVVXVWDLQHGDWWKHKLJKHVWUHDGLQHVVOHYHOSRVVLEOH&RPPDQG&OLPDWH$V
   VHVVPHQWV &&$V ZLOOEHFRQGXFWHGLQDFFRUGDQFHZLWKDSSHQGL[(
        G 5HTXLUHPHQWRIH[HPSODU\FRQGXFW 6HFWLRQ7LWOH8QLWHG6WDWHV&RGH 86& $OOFRPPDQG
   LQJRIILFHUVDQGRWKHUVLQDXWKRULW\LQWKH$UP\DUHUHTXLUHG²
       7RVKRZLQWKHPVHOYHVDJRRGH[DPSOHRIYLUWXHKRQRUSDWULRWLVPDQGVXERUGLQDWLRQ
       7REHYLJLODQWLQLQVSHFWLQJWKHFRQGXFWRIDOOSHUVRQVZKRDUHSODFHGXQGHUWKHLUFRPPDQG
       7RJXDUGDJDLQVWDQGVXSSUHVVDOOGLVVROXWHDQGLPPRUDOSUDFWLFHVDQGWRFRUUHFWDFFRUGLQJWRWKHODZVDQG
   UHJXODWLRQVRIWKH$UP\DOOSHUVRQVZKRDUHJXLOW\RIWKHP
       7RWDNHDOOQHFHVVDU\DQGSURSHUPHDVXUHVXQGHUWKHODZVUHJXODWLRQVDQGFXVWRPVRIWKH$UP\WRSURPRWH
   DQGVDIHJXDUGWKHPRUDOHWKHSK\VLFDOZHOOEHLQJDQGWKHJHQHUDOZHOIDUHRIWKHRIILFHUVDQGHQOLVWHGSHUVRQVXQGHU
   WKHLUFRPPDQGRUFKDUJH
       G$VVLJQPHQWDQGFRPPDQG6ROGLHUVDUHDVVLJQHGWRVWDWLRQVRUXQLWVZKHUHWKHLUVHUYLFHVDUHUHTXLUHG7KHFRP
   PDQGLQJRIILFHUWKHQDVVLJQVDSSURSULDWHGXWLHV:LWKRXWRUGHUVIURPSURSHUDXWKRULW\D6ROGLHUPD\ RQO\DVVXPH
   FRPPDQGZKHQHOLJLEOHDFFRUGLQJWRFKDSWHU

   ±0LOLWDU\JUDGHDQGUDQN
      D0LOLWDU\UDQNDPRQJRIILFHUVRIWKHVDPHJUDGHRURIHTXLYDOHQWJUDGHLVGHWHUPLQHGE\FRPSDULQJGDWHVRIUDQN
   $QRIILFHUZKRVHGDWHRIUDQN '25 LVHDUOLHUWKDQWKH'25RIDQRWKHURIILFHURIWKHVDPHRUHTXLYDOHQWJUDGHLV
   VHQLRUWRWKDWRIILFHU VHH86& *UDGHDQGSUHFHGHQFHRIUDQNFRQIHUVHOLJLELOLW\WRH[HUFLVHFRPPDQGRU
   DXWKRULW\LQWKH86PLOLWDU\ZLWKLQOLPLWVSUHVFULEHGE\ODZ
      E*UDGHLVJHQHUDOO\KHOGE\YLUWXHRIRIILFHRUSRVLWLRQLQWKH$UP\)RUH[DPSOHVHFRQGOLHXWHQDQW /7 FDSWDLQ
     &37 VHUJHDQWILUVWFODVV 6)& FKLHIZDUUDQWRIILFHUWZR &: DUHJUDGHV7DEOH± VKRZVWKHJUDGHVLQWKH$UP\
                                                                                                    




   LQRUGHURIWKHLUSUHFHGHQFH,WLQGLFDWHVWKHJURXSLQJRIJUDGHVLQWRFODVVHVSD\JUDGHVWLWOHVRIDGGUHVVDQGDEEUH
   YLDWLRQV
      F7KHSD\JUDGHLVDOVRDQDEEUHYLDWHGQXPHULFDOGHYLFHZLWKXVHIXODSSOLFDWLRQVLQSD\PDQDJHPHQWSHUVRQQHO
   DFFRXQWLQJDXWRPDWHGGDWDRUJDQL]DWLRQDQGRWKHUDGPLQLVWUDWLYHILHOGV+RZHYHUWKHQXPHULFDOSD\JUDGHZLOOQRW
   EHXVHGDVDIRUPRIDGGUHVVRUWLWOHLQSODFHRIWKHSURSHUWLWOHRIDGGUHVVRIJUDGH$6ROGLHUKROGLQJWKHQXPHULFDO
   SD\JUDGHRI( ± ZLOOEHDGGUHVVHGDV³6HUJHDQW´QRWDV³( ± ´ VHHWDEOH±  
                                                                                      




      G$OOFKDSODLQVDUHDGGUHVVHGDV³&KDSODLQ´UHJDUGOHVVRIPLOLWDU\JUDGHRUSURIHVVLRQDOWLWOH:KHQDFKDSODLQLV
   DGGUHVVHGLQZULWLQJJUDGHLVLQGLFDWHGLQSDUHQWKHVHVIRUH[DPSOH&KDSODLQ 0DMRU -RKQ)'RH
      H&RQIHUULQJKRQRUDU\WLWOHVRIPLOLWDU\JUDGHXSRQ'$&LYLOLDQVLVSURKLELWHG+RZHYHUKRQRUDU\WLWOHVDOUHDG\
   FRQIHUUHGZLOOQRWEHZLWKGUDZQ
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 7DEOH ±
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 *UDGHV$UP\² &RQWLQXHG     




 *HQHUDORIILFHUV
 *UDGH*HQHUDORIWKH$UP\
 3D\JUDGH6SHFLDO
 7LWOHRIDGGUHVV*HQHUDO
 $EEUHYLDWLRQ*$
 *UDGH*HQHUDO
 3D\JUDGH2 ±    




 7LWOHRIDGGUHVV*HQHUDO
 $EEUHYLDWLRQ*(1
 *UDGH/LHXWHQDQW*HQHUDO
 3D\JUDGH2 ±     




 7LWOHRIDGGUHVV*HQHUDO
 $EEUHYLDWLRQ/7*
 *UDGH0DMRU*HQHUDO




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 7DEOH ±
            




 *UDGHV$UP\² &RQWLQXHG           




 3D\JUDGH2 ±       




 7LWOHRIDGGUHVV*HQHUDO
 $EEUHYLDWLRQ0*
 *UDGH%ULJDGLHU*HQHUDO
 3D\JUDGH2 ±       




 7LWOHRIDGGUHVV*HQHUDO
 $EEUHYLDWLRQ%*
 6HQLRUILHOGJUDGHRIILFHUV
 *UDGH&RORQHO
 3D\JUDGH2 ±       




 7LWOHRIDGGUHVV&RORQHO
 $EEUHYLDWLRQ&2/
 )LHOGJUDGHRIILFHUV
 *UDGH/LHXWHQDQW&RORQHO
 3D\JUDGH2 ±       




 7LWOHRIDGGUHVV&RORQHO
 $EEUHYLDWLRQ/7&
 *UDGH0DMRU
 3D\JUDGH2 ±       




 7LWOHRIDGGUHVV0DMRU
 $EEUHYLDWLRQ0$-
 &RPSDQ\JUDGHRIILFHUV
 *UDGH&DSWDLQ
 3D\JUDGH2 ±       




 7LWOHRIDGGUHVV&DSWDLQ
 $EEUHYLDWLRQ&37
 *UDGH)LUVW/LHXWHQDQW
 3D\JUDGH2 ±       




 7LWOHRIDGGUHVV/LHXWHQDQW
 $EEUHYLDWLRQ/7
 *UDGH6HFRQG/LHXWHQDQW
 3D\JUDGH2 ±       




 7LWOHRIDGGUHVV/LHXWHQDQW
 $EEUHYLDWLRQ/7
 6HQLRUILHOGJUDGHZDUUDQWRIILFHUV
 *UDGH&KLHI:DUUDQW2IILFHU)LYH
 3D\JUDGH: ±               




 7LWOHRIDGGUHVV&KLHI0U0UV0LVV0V
 $EEUHYLDWLRQ&:
 )LHOGJUDGHZDUUDQWRIILFHUV
 *UDGH&KLHI:DUUDQW2IILFHU)RXU
 3D\JUDGH: ±               




 7LWOHRIDGGUHVV&KLHI0U0UV0LVV0V
 $EEUHYLDWLRQ&:
 *UDGH&KLHI:DUUDQW2IILFHU7KUHH
 3D\JUDGH: ±               




 7LWOHRIDGGUHVV&KLHI0U0UV0LVV0V
 $EEUHYLDWLRQ&:
 &RPSDQ\JUDGHZDUUDQWRIILFHUV
 *UDGH&KLHI:DUUDQW2IILFHU7ZR




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 7DEOH ±
              




 *UDGHV$UP\² &RQWLQXHG             




 3D\JUDGH: ±                 




 7LWOHRIDGGUHVV&KLHI0U0UV0LVV0V
 $EEUHYLDWLRQ&:
 *UDGH:DUUDQW2IILFHU2QH
 3D\JUDGH: ±                 




 7LWOHRIDGGUHVV0U0UV0LVV0V
 $EEUHYLDWLRQ:2
 &DGHWV
 *UDGH&DGHW860LOLWDU\$FDGHP\
 3D\JUDGH6SHFLDO
 7LWOHRIDGGUHVV0U0UV0LVV0V&DGHW
 $EEUHYLDWLRQ&'7
 *UDGH&DGHW6HQLRU$GYDQFHG5HVHUYH2IILFHU¶V7UDLQLQJ&RUSV 527& 
 3D\JUDGH6SHFLDO
 7LWOHRIDGGUHVV0U0UV0LVV0V&DGHW
 $EEUHYLDWLRQ&'7
 &DQGLGDWHV
 *UDGH2IILFHU&DQGLGDWH
 3D\JUDGH6SHFLDO
 7LWOHRIDGGUHVV&DQGLGDWH
 $EEUHYLDWLRQ2&
 *UDGH:DUUDQW2IILFHU&DQGLGDWH
 3D\JUDGH6SHFLDO
 7LWOHRIDGGUHVV&DQGLGDWH
 $EEUHYLDWLRQ:2& 
 (QOLVWHGQRQFRPPLVVLRQHGRIILFHUV
 *UDGH6HUJHDQW0DMRURIWKH$UP\
 3D\JUDGH( ±         




 7LWOHRIDGGUHVV6HUJHDQW0DMRU
 $EEUHYLDWLRQ60$
 *UDGH&RPPDQG6HUJHDQW0DMRU
 3D\JUDGH( ±         




 7LWOHRIDGGUHVV6HUJHDQW0DMRU
 $EEUHYLDWLRQ&60
 *UDGH6HUJHDQW0DMRU
 3D\JUDGH( ±         




 7LWOHRIDGGUHVV6HUJHDQW0DMRU
 $EEUHYLDWLRQ6*0
 *UDGH)LUVW6HUJHDQW
 3D\JUDGH( ±         




 7LWOHRIDGGUHVV)LUVW6HUJHDQW
 $EEUHYLDWLRQ6*
 *UDGH0DVWHU6HUJHDQW
 3D\JUDGH( ±         




 7LWOHRIDGGUHVV6HUJHDQW
 $EEUHYLDWLRQ06*
 *UDGH6HUJHDQW)LUVW&ODVV
 3D\JUDGH( ±         




 7LWOHRIDGGUHVV6HUJHDQW
 $EEUHYLDWLRQ6)&
 *UDGH6WDII6HUJHDQW




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 7DEOH ±    




 *UDGHV$UP\² &RQWLQXHG           




 3D\JUDGH( ±           




 7LWOHRIDGGUHVV6HUJHDQW
 $EEUHYLDWLRQ66*
 *UDGH6HUJHDQW
 3D\JUDGH( ±           




 7LWOHRIDGGUHVV6HUJHDQW
 $EEUHYLDWLRQ6*7
 *UDGH&RUSRUDO
 3D\JUDGH( ±           




 7LWOHRIDGGUHVV&RUSRUDO
 $EEUHYLDWLRQ&3/
 -XQLRUHQOLVWHG6ROGLHUV
 *UDGH6SHFLDOLVW
 3D\JUDGH( ±           




 7LWOHRIDGGUHVV6SHFLDOLVW
 $EEUHYLDWLRQ63&
 *UDGH3ULYDWHILUVWFODVV
 3D\JUDGH( ±           




 7LWOHRIDGGUHVV3ULYDWH
 $EEUHYLDWLRQ3)&
 *UDGH3ULYDWH
 3D\JUDGH( ±           




 7LWOHRIDGGUHVV3ULYDWH
 $EEUHYLDWLRQ39
 *UDGH3ULYDWH
 3D\JUDGH( ±           




 7LWOHRIDGGUHVV3ULYDWH
 $EEUHYLDWLRQ39
   /HJHQG
   7KHIROORZLQJDFURQ\PVKDYHEHHQLQWURGXFHG
   %ULJDGLHUJHQHUDO %* 
   &DGHW &'7 
   &RORQHO &2/ 
   &KLHIZDUUDQWRIILFHUIRXU &: 
   &KLHIZDUUDQWRIILFHUILYH &: 
   )LUVWOLHXWHQDQW /7 
   )LUVWVHUJHDQW 6* 
   &RPPDQGVHUJHDQWPDMRU &60 
   &KLHIZDUUDQWRIILFHUWKUHH &: 
   *HQHUDO *(1 
   /LHXWHQDQWFRORQHO /7& 
   /LHXWHQDQWJHQHUDO /7* 
   0DMRU 0$- 
   0DMRUJHQHUDO 0* 
   0DVWHUVHUJHDQW 06* 
   2IILFHUFDQGLGDWH 2& 
   3ULYDWHHQOLVWHGRQH 39 
   3ULYDWHHQOLVWHGWZR 39 
   3ULYDWHILUVWFODVV 3)& 
   6SHFLDOLVW 63& 
   6HUJHDQW 6*7 
   6WDII6HUJHDQW 66* 
   6HUJHDQW)LUVW&ODVV 6)& 
   6HUJHDQW0DMRURIWKH$UP\ 60$ 
   :DUUDQWRIILFHUFDQGLGDWH :2& 
   :DUUDQWRIILFHURQH :2 
   1RWHV
   
    2WKHUDEEUHYLDWLRQVDXWKRUL]HGIRUXVHLQFRUUHVSRQGHQFHZLWKWKHJHQHUDOSXEOLFDQGDJHQFLHVRXWVLGH'HSDUWPHQWRI'HIHQVH 'R' RQLGHQWLILFD
   WLRQFDUGVDQGLQSHUVRQDOFRUUHVSRQGHQFHDUHOLVWHGLQ$5 ± 
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       3HUVRQQHOIRUPDOO\VHOHFWHGE\'$IRUSDUWLFLSDWLRQLQWKH&RPPDQG6HUJHDQWV0DMRU3URJUDP
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       $OO(±VQRWIRUPDOO\VHOHFWHGIRUWKH&RPPDQG6HUJHDQWV0DMRU3URJUDP




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    6SHFLDOLVWZLOOUDQNLPPHGLDWHO\EHORZFRUSRUDO7KLVGRHVQRWUHTXLUHRUMXVWLI\FKDQJHWRWDEOHRIRUJDQL]DWLRQDQGHTXLSPHQWRUWDEOHRIGLVWULEXWLRQ
   DQGDOORZDQFHV 7'$ 
   
       6SHFLDOLVWDQGLWVDEEUHYLDWLRQ 63& ZLOOEHXVHGLQZULWWHQFRUUHVSRQGHQFH


   ±3UHFHGHQFHEHWZHHQ6ROGLHUVDQGRWKHU6HUYLFHPHPEHUVVHUYLQJZLWKWKH$UP\
   0HPEHUVRIRWKHU6HUYLFHVVHUYLQJZLWKWKH$UP\KDYHHTXDOVWDWXVZLWK$UP\6ROGLHUVRIHTXLYDOHQWJUDGH &RP
   SDUDEOHJUDGHVDPRQJWKH6HUYLFHVDUHVKRZQLQWDEOH±                     




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 7DEOH ±    




 &RPSDUDEOHJUDGHVDPRQJWKH6HUYLFHV ²&RQWLQXHG        




 $UP\                                     $LU)RUFH                                  0DULQH&RUSV                      1DY\

 2IILFHUV

 *HQHUDORIWKH$UP\                      *HQHUDORIWKH$LU)RUFH                   ²                                 )OHHW$GPLUDO

 *HQHUDO                                  *HQHUDO                                    *HQHUDO                           $GPLUDO

 /LHXWHQDQW*HQHUDO                       /LHXWHQDQW*HQHUDO                         /LHXWHQDQW*HQHUDO                9LFH$GPLUDO

 0DMRU*HQHUDO                            0DMRU*HQHUDO                              0DMRU*HQHUDO                     5HDU$GPLUDO 8 

 %ULJDGLHU*HQHUDO                        %ULJDGLHU*HQHUDO                          %ULJDGLHU*HQHUDO                 5HDU$GPLUDO / 

 &RORQHO                                  &RORQHO                                    &RORQHO                           &DSWDLQ

 /LHXWHQDQW&RORQHO                       /LHXWHQDQW&RORQHO                         /LHXWHQDQW&RORQHO                &RPPDQGHU

 0DMRU                                    0DMRU                                      0DMRU                             /LHXWHQDQW&RPPDQGHU

 &DSWDLQ                                  &DSWDLQ                                    &DSWDLQ                           /LHXWHQDQW

 )LUVW/LHXWHQDQW                         )LUVW/LHXWHQDQW                           )LUVW/LHXWHQDQW                  /LHXWHQDQW -XQLRU*UDGH 

 6HFRQG/LHXWHQDQW                        6HFRQG/LHXWHQDQW                          6HFRQG/LHXWHQDQW                 (QVLJQ

 &KLHI:DUUDQW2IILFHU)LYH               ²                                          &KLHI:DUUDQW2IILFHU)LYH        &KLHI:DUUDQW2IILFHU)LYH

 &KLHI:DUUDQW2IILFHU)RXU               ²                                          &KLHI:DUUDQW2IILFHU)RXU        &KLHI:DUUDQW2IILFHU)RXU

 &KLHI:DUUDQW2IILFHU7KUHH              ²                                          &KLHI:DUUDQW2IILFHU7KUHH       &KLHI:DUUDQW2IILFHU7KUHH

 &KLHI:DUUDQW2IILFHU7ZR                ²                                          &KLHI:DUUDQW2IILFHU7ZR         &KLHI:DUUDQW2IILFHU7ZR

 :DUUDQW2IILFHU2QH                      ²                                          :DUUDQW2IILFHU2QH               ²

 &DGHWV

 &DGHW                                    &DGHW                                      ²                                 0LGVKLSPDQ

 (QOLVWHG

 6HUJHDQW0DMRURIWKH$UP\               &KLHI0DVWHU6HUJHDQWRIWKH               6HUJHDQW0DMRURIWKH0DULQH      0DVWHU&KLHI3HWW\2IILFHURIWKH
                                           $LU)RUFH                                  &RUSV                             1DY\

 &RPPDQG6HUJHDQW0DMRU                   &RPPDQG&KLHI0DVWHU                       6HUJHDQW0DMRU                    &RPPDQG0DVWHU&KLHI3HWW\
                                           6HUJHDQW                                                                      2IILFHU

 6HUJHDQW0DMRU                           &KLHI0DVWHU6HUJHDQW                      0DVWHU*XQQHU\6HUJHDQW           0DVWHU&KLHI3HWW\2IILFHU

 )LUVW6HUJHDQW                           6HQLRU0DVWHU6HUJHDQW                     )LUVW6HUJHDQW                    6HQLRU&KLHI3HWW\2IILFHU

 0DVWHU6HUJHDQW                          ²                                         0DVWHU6HUJHDQW                   ²

 6HUJHDQW)LUVW&ODVV                     0DVWHU6HUJHDQW                            *XQQHU\6HUJHDQW                  &KLHI3HWW\2IILFHU




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 7DEOH ±      




 &RPSDUDEOHJUDGHVDPRQJWKH6HUYLFHV ²&RQWLQXHG
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 $UP\                          $LU)RUFH                        0DULQH&RUSV                 1DY\

 6WDII6HUJHDQW                7HFKQLFDO6HUJHDQW               6WDII6HUJHDQW               3HWW\2IILFHU)LUVW&ODVV

 6HUJHDQW                      6WDII6HUJHDQW                   6HUJHDQW                     3HWW\2IILFHU6HFRQG&ODVV

 &RUSRUDO                      ²                                &RUSRUDO                     3HWW\2IILFHU7KLUG&ODVV

 6SHFLDOLVW                    6HQLRU$LUPDQ                    ²                            ²

 3ULYDWH)LUVW&ODVV           $LUPDQ)LUVW&ODVV               /DQFH&RUSRUDO               6HDPDQ

 3ULYDWH                       $LUPDQ                           3ULYDWH)LUVW&ODVV          6HDPDQ$SSUHQWLFH

 3ULYDWH                       $LUPDQ%DVLF                     3ULYDWH                      6HDPDQ5HFUXLW


   ± 3UHFHGHQFHEHWZHHQPHPEHUVRIWKH$UP\DQGPHPEHUVRIIRUHLJQPLOLWDU\VHUYLFHVVHUYLQJ
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   ZLWKWKH$UP\
   0HPEHUVRI IRUHLJQ PLOLWDU\ VHUYLFHV VHUYLQJ ZLWKWKH $UP\ KDYHHTXDOVWDWXV ZLWK $UP\ PHPEHUVRIHTXLYDOHQW
   JUDGH:KHQDXWKRUL]HGE\WKH3UHVLGHQWRUWKH6HFUHWDU\RI'HIHQVHPHPEHUVRIIRUHLJQPLOLWDU\6HUYLFHVHUYLQJ
   ZLWKWKH $UP\ PD\H[HUFLVH RSHUDWLRQDORUWDFWLFDOFRQWURORYHU$UP\ XQLWVEXWWKH\ PD\QRWSHUIRUPLQKHUHQWO\
   JRYHUQPHQWDOIXQFWLRQVWRLQFOXGHH[HUFLVLQJFRPPDQGRYHU6ROGLHUVRIWKH86$UP\RUVXSHUYLVLQJ'HSDUWPHQW
   RIWKH$UP\&LYLOLDQV

   &KDSWHU
   &RPPDQG3ROLFLHV

   ±&KDLQRIFRPPDQG
      D7KHFKDLQRIFRPPDQGDVVLVWVFRPPDQGHUVDWDOOOHYHOVWRDFKLHYHWKHLUSULPDU\IXQFWLRQRIDFFRPSOLVKLQJWKH
   XQLW¶VDVVLJQHGPLVVLRQZKLOHFDULQJIRUSHUVRQQHODQGSURSHUW\LQWKHLUFKDUJH$VLPSOHDQGGLUHFWFKDLQRIFRPPDQG
   IDFLOLWDWHVWKHWUDQVPLWWDORIRUGHUVIURPWKHKLJKHVWWRWKHORZHVWOHYHOVLQDPLQLPXPRIWLPHDQGZLWKWKHOHDVWFKDQFH
   RIPLVLQWHUSUHWDWLRQ7KHFRPPDQGFKDQQHOH[WHQGVXSZDUGLQWKHVDPHPDQQHUIRUPDWWHUVUHTXLULQJRIILFLDOFRP
   PXQLFDWLRQIURPVXERUGLQDWHWRVHQLRU
      E&RPPDQGHUVDUHUHVSRQVLEOHIRUHYHU\WKLQJWKHLUFRPPDQGGRHVRUIDLOVWRGR+RZHYHUFRPPDQGHUVVXEGLYLGH
   UHVSRQVLELOLW\DQGDXWKRULW\DQGDVVLJQSRUWLRQVRIERWKWRYDULRXVVXERUGLQDWHFRPPDQGHUVDQGVWDIIPHPEHUV,QWKLV
   ZD\DSURSHUGHJUHHRIUHVSRQVLELOLW\EHFRPHVLQKHUHQWLQHDFKFRPPDQGHFKHORQ&RPPDQGHUVGHOHJDWHVXIILFLHQW
   DXWKRULW\WR6ROGLHUVLQWKHFKDLQRIFRPPDQGWRDFFRPSOLVKWKHLUDVVLJQHGGXWLHVDQGFRPPDQGHUVPD\KROGWKHVH
   6ROGLHUVUHVSRQVLEOHIRUWKHLUDFWLRQV&RPPDQGHUVZKRDVVLJQUHVSRQVLELOLW\DQGDXWKRULW\WRWKHLUVXERUGLQDWHVVWLOO
   UHWDLQWKHRYHUDOOUHVSRQVLELOLW\IRUWKHDFWLRQVRIWKHLUFRPPDQGV
      F3URSHUXVHRIWKHFKDLQRIFRPPDQGLVYLWDOWRWKHRYHUDOOHIIHFWLYHQHVVRIWKH$UP\&RPPDQGHUVPXVWDFTXDLQW
   DOOWKHLU6ROGLHUV ZLWKLWVH[LVWHQFHDQGSURSHUIXQFWLRQ(IIHFWLYHFRPPXQLFDWLRQEHWZHHQVHQLRUDQGVXERUGLQDWH
   6ROGLHUVZLWKLQWKHFKDLQRIFRPPDQGLVFUXFLDOWRWKHSURSHUIXQFWLRQLQJRIDOOXQLWV7KHUHIRUH6ROGLHUVZLOOXVHWKH
   FKDLQRIFRPPDQGZKHQFRPPXQLFDWLQJLVVXHVDQGSUREOHPVWRWKHLUOHDGHUVDQGFRPPDQGHUV

   ±2SHQGRRUSROLFLHV
   &RPPDQGHUVZLOOSXEOLVKDQRSHQGRRUFRPPDQGSROLF\VWDWHPHQWZLWKLQWKHLUFRPPDQGV6ROGLHUVDUHUHVSRQVLEOH
   IRUHQVXULQJWKDWWKHFRPPDQGHULVPDGHDZDUHRISUREOHPVWKDWDIIHFWGLVFLSOLQHPRUDOHDQGPLVVLRQHIIHFWLYHQHVV
   DQGDQRSHQGRRUSROLF\DOORZVPHPEHUVRIWKHFRPPDQGWRSUHVHQWIDFWVFRQFHUQVDQGSUREOHPVRIDSHUVRQDORU
   SURIHVVLRQDOQDWXUHRURWKHULVVXHVWKDWWKH6ROGLHUKDVEHHQXQDEOHWRUHVROYH7KHWLPLQJFRQGXFWDQGVSHFLILFSUR
   FHGXUHVRIWKHRSHQGRRUSROLF\DUHGHWHUPLQHGE\WKHFRPPDQGHU7KH\DUHUHVSRQVLEOHIRUHQVXULQJWKDW6ROGLHUVDUH
   DZDUHRIWKHFRPPDQG¶VRSHQGRRUSROLF\




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   ±3HUIRUPDQFHFRXQVHOLQJ
   &RPPDQGHUVZLOOHQVXUHWKDWDOOPHPEHUVRIWKHLUFRPPDQGUHFHLYHWLPHO\SHUIRUPDQFHFRXQVHOLQJ(IIHFWLYHSHU
   IRUPDQFHFRXQVHOLQJDQGIHHGEDFNSURYLGHGWRRIILFHUVQRQFRPPLVVLRQHGRIILFHUV 1&2 HQOLVWHG6ROGLHUVDQG'$
   &LYLOLDQKHOSVWRHQVXUHWKDWWKH\DUHSUHSDUHGWRFDUU\RXWWKHLUGXWLHVHIILFLHQWO\DQGDFFRPSOLVKWKHPLVVLRQ
      D6ROGLHUV$5  ±  FRQWDLQV FRXQVHOLQJ UHTXLUHPHQWV LQ FRQMXQFWLRQ ZLWK WKH HYDOXDWLRQ UHSRUWLQJ V\VWHPV
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   8QLWFRPPDQGHUV ZLOOGHWHUPLQHWKHWLPLQJDQGVSHFLILF PHWKRGVXVHGWRSURYLGH JXLGDQFH DQGGLUHFWLRQWKURXJK
   FRXQVHOLQJ$73 ±SURYLGHVDGYLFHDQGPDNHVVXJJHVWLRQVFRQFHUQLQJHIIHFWLYHFRXQVHOLQJ3URYLGLQJUHJXODU
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   DQGHIIHFWLYHSHUIRUPDQFHFRXQVHOLQJWRDOO6ROGLHUVQRWMXVWWKRVHZKRVHSHUIRUPDQFHIDLOVWRPHHWXQLWVWDQGDUGVLV
   DFRPPDQGIXQFWLRQ$OOFRPPDQGHUVZLOOHQVXUHWKDWWKHLUVXERUGLQDWHFRPPDQGHUVKDYHLPSOHPHQWHGDQGDUHPDLQ
   WDLQLQJDQHIIHFWLYHSHUIRUPDQFHFRXQVHOLQJSURJUDP
      E'HSDUWPHQWRIWKH$UP\&LYLOLDQ&RPPDQGHUVZLOOUHIHUWRWKHDSSOLFDEOHFLYLOLDQSHUIRUPDQFHPDQDJHPHQW
   SROLFLHVDQGUHJXODWLRQ IRUH[DPSOH'R',9ROXPH'R',9ROXPH IRUUHTXLUHPHQWVIRU
   SURYLGLQJ'$&LYLOLDQSHUIRUPDQFHIHHGEDFNGXULQJWKHLUSHUIRUPDQFHF\FOH$OOFRPPDQGHUVZLOOHQVXUHWKDWWKHLU
   VXERUGLQDWHOHDGHUVKDYHLPSOHPHQWHGDQGDUHPDLQWDLQLQJDQHIIHFWLYHSHUIRUPDQFHPDQDJHPHQWSURJUDP

   ±6WDIIRUWHFKQLFDOFKDQQHOV
   6WDIIRUWHFKQLFDOFKDQQHOVPD\EHXVHGIRUVHQGLQJUHSRUWVLQIRUPDWLRQRULQVWUXFWLRQVQRWLQYROYLQJYDULDWLRQVIURP
   FRPPDQGSROLF\DQGGLUHFWLYHV

   ±&RPPDQGRILQVWDOODWLRQVDFWLYLWLHVDQGXQLWV
      D5HVSRQVLELOLW\ 1RUPDOO\ WKH VHQLRU UHJXODUO\ DVVLJQHG $UP\ RIILFHU SUHVHQW IRU GXW\ LV UHVSRQVLEOH IRU WKH
   FRPPDQGRIXQLWVH[FHSWDVVKRZQLQSDUDJUDSKV±D± DQG± 
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      E&RPPDQGRILQVWDOODWLRQV&RPPDQGRI$UP\LQVWDOODWLRQVLVVXEMHFWWRSROLFLHVSURFHGXUHVDQGUHJXODWLRQV
   SURPXOJDWHGE\+4'$
        $VHQLRUFRPPDQGHU 6& GHVLJQDWHGE\$UP\VHQLRUOHDGHUVKLSH[HUFLVHVFRPPDQGRI$UP\LQVWDOODWLRQV
   7KH &RPPDQG DXWKRULW\ RYHU WKH LQVWDOODWLRQ GHULYHV IURP WKH 7LWOH  DXWKRULW\ RI WKH 6HFUHWDU\ RI WKH $UP\
    6(&$50< RYHULQVWDOODWLRQV7KLVLVDGLUHFWGHOHJDWLRQRIFRPPDQGDXWKRULW\IRUWKHLQVWDOODWLRQWRWKH6&7KH
   FRPPDQG DXWKRULW\ RI WKH 6& LQFOXGHV DOO DXWKRULWLHV LQKHUHQW LQ FRPPDQG LQFOXGLQJ WKH DXWKRULW\ WR HQVXUH WKH
   PDLQWHQDQFHRIJRRGRUGHUDQGGLVFLSOLQHIRUWKHLQVWDOODWLRQ
        $UP\LQVWDOODWLRQVDUHLGHQWLILHGLQRQHRIWZRFDWHJRULHVDVIROORZV
       D $UP\ LQVWDOODWLRQV PDQDJHG E\ $0& DQG $0& XQLWV ZKLFK LQFOXGH *DUULVRQ &RPPDQGV ,0&20 'LUHF
   WRUDWHVDQG,0&20+HDGTXDUWHUV,QVWDOODWLRQVWKDW$0&PDQDJHVDUHGLVFXVVHGLQSDUDJUDSK±E  G 
       E $UP\LQVWDOODWLRQVQRWPDQDJHGE\$0&,QVWDOODWLRQVWKDWDUHQRWPDQDJHGE\$0&DUHGLVFXVVHGLQSDUD
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   7KHPLVVLRQRIWKH6&LVWRFDUHIRU6ROGLHUV)DPLOLHVDQG'$&LYLOLDQVDQGWRHQDEOHXQLWUHDGLQHVV:KLOHWKH
   GHOHJDWLRQRIVHQLRUFRPPDQGDXWKRULW\LVGLUHFWIURP+4'$WKH6&ZLOOURXWLQHO\UHVROYHLQVWDOODWLRQLVVXHVZLWK
   $0& QRUPDOO\WKURXJK$0&¶VVXERUGLQDWHRUJDQL]DWLRQV DQGDVQHHGHGWKHDVVRFLDWHG$&20$6&&RU'58
   7KH6&¶VKLJKHUKHDGTXDUWHUV $&20$6&&RU'58 RQEHKDOIRI+4'$ZLOOPDLQWDLQRYHUVLJKWRIWKH6&ZKLOH
   H[HFXWLQJLQVWDOODWLRQPLVVLRQV7KH6&XVHVWKHJDUULVRQFRPPDQGDVWKHSULPDU\RUJDQL]DWLRQWRSURYLGHVHUYLFHV
   DQGUHVRXUFHVWRFXVWRPHUVLQVXSSRUWRIDFFRPSOLVKLQJWKLVPLVVLRQ$OODSSOLFDEOHFRPPDQGVVXSSRUWWKH6&LQWKH
   H[HFXWLRQRI6&UHVSRQVLELOLWLHVWKHUHIRUHWKH6&LVWKHFRPPDQGHUVXSSRUWHGE\$0&¶V*DUULVRQ&RPPDQGDQG
   DIILOLDWHG,0&20'LUHFWRURWKHULQVWDOODWLRQVHUYLFHSURYLGHUVDQGWHQDQWVDVGHSLFWHGLQILJXUH± &RPPDQGDQG
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   6XSSRUW5HODWLRQVKLSVDW$0&PDQDJHG,QVWDOODWLRQV7KH6&²
      ,VQRUPDOO\DGXDOKDWWHGSRVLWLRQ:KHQWKLVRFFXUVWKHFRPPDQGHUH[HUFLVHVGLVFUHWHDXWKRULWLHVDVWKH6&
   DQGDVDPLVVLRQFRPPDQGHU7KH6&UHVSRQVLELOLWLHVDQGDXWKRULWLHVDUHLQVWDOODWLRQIRFXVHGWKHUHVSRQVLELOLWLHVDQG
   DXWKRULWLHVDVWKHPLVVLRQFRPPDQGHUDUHPLVVLRQIRFXVHG
      &DQLQUDUHFDVHVEHDQ+4'$DSSRLQWHG'$&LYLOLDQLQVWHDGRIDXQLIRUPHG6&ZKRZLOOKDYHWKH6&UROHV
   DQGUHVSRQVLELOLWLHVH[FHSWIRU8&0-DQGFRPPDQGDXWKRULW\,QWKHVHLQVWDQFHVWKHLQGLYLGXDOZLOOEHUHIHUUHGWRDV
   WKHVHQLRUPDQDJHU%HIRUHWKHDSSRLQWPHQWRIWKHVHQLRUPDQDJHUFRPPDQGDQG8&0-DXWKRULWLHVIRUWKHLQVWDOODWLRQ
   ZLOOEHVSHFLILHG
      ,VUHVSRQVLEOHIRUV\QFKURQL]LQJDQGLQWHJUDWLQJ$UP\SULRULWLHVDQGLQLWLDWLYHVDWWKHLQVWDOODWLRQ
      ([HUFLVHVWKHGXWLHVDQGUHVSRQVLELOLWLHVRIWKHLQVWDOODWLRQFRPPDQGHUZKHUHWKDWWLWOHLVPHQWLRQHGLQWKH86&
   RU'R'RU$UP\SROLFLHVH[FHSWRQLQVWDOODWLRQVGHVLJQDWHGWREHPDQDJHGXQGHU'R'-RLQW%DVLQJ*XLGDQFH




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      ([HUFLVHVWKHGXWLHVDQGUHVSRQVLELOLWLHVRIWKHVHQLRUFRPPDQGHUZKHQWKDWWLWOHLVPHQWLRQHGLQ$UP\UHJXOD
   WLRQVH[FHSWIRUUHJXODWLRQVLQYROYLQJRSHUDWLRQDOGXWLHVDQGUHVSRQVLELOLWLHV0LVVLRQFRPPDQGHUVZLOOUHWDLQRSHUD
   WLRQDOGXWLHVDQGUHVSRQVLELOLWLHV
      0D\GHOHJDWHDVQHFHVVDU\XQOHVVSURKLELWHGE\ODZUHJXODWLRQRU+4'$JHQHUDORUGHUVDVVLJQHGGXWLHVDQG
   UHVSRQVLELOLWLHVWRWKHJDUULVRQFRPPDQGHU *& VXERUGLQDWH*2VRURWKHU*2VZLWKLQWKHDUHDRIUHVSRQVLELOLW\ZLWK
   WKHDJUHHPHQWRIWKHSDUHQWRUJDQL]DWLRQVRIWKRVH*2V6XFKGHOHJDWLRQZLOOEHPDGHLQZULWLQJDQGVSHFLILFDOO\VWDWH
   WKHGXWLHVDQGUHVSRQVLELOLWLHVGHOHJDWHGDQGWKHWHUPLQDWLRQGDWHRIWKHGHOHJDWLRQ6&VDUHQRWDXWKRUL]HGWRFKDQJH
   UDWLQJFKDLQVIRU*&VRUGHOHJDWHJHQHUDOFRXUWPDUWLDOFRQYHQLQJDXWKRULW\ *&0&$ 
      (VWDEOLVKHVLQVWDOODWLRQSULRULWLHVEHWZHHQDOOUHVLGHQWDQGVXSSRUWHGXQLWV
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      2YHUVHHVWKHEDVHRSHUDWLRQVHUYLFHVDQGFDSDELOLWLHVSURYLGHGWRFXVWRPHUV(QVXUHVWKRVHVHUYLFHVDUHSURYLGHG
   ZLWKLQWKH+4'$JXLGDQFHGHVLJQDWHGSULRULWLHVDQGDSSURYHG$UP\VWDQGDUGVDQGFRRUGLQDWHVZLWKWKH *DUULVRQ
   &RPPDQGHUDQGDVQHHGHGZLWKWKH,0&20'LUHFWRURU$0&WRWDLORUWKH+4'$DSSURYHGPLQLPXPFDSDELOLW\
   OHYHOVDVUHTXLUHG HLWKHUKLJKHURUORZHU ZLWKLQDYDLODEOHUHVRXUFHVWREHVWPHHWORFDOPLVVLRQUHTXLUHPHQWV
      $SSURYHVDQGVXEPLWVWKHLQVWDOODWLRQPDVWHUSODQFRQVLVWHQWZLWK+4'$ORQJUDQJHSODQVDQGJRDOVWKURXJK
   $0&¶VUHVSHFWLYH,0&20'LUHFWRUWRWKH$&20V$6&&VRU'58V)RU$0&PDQDJHGLQVWDOODWLRQVWKH6&FRO
   ODERUDWHVZLWKWKH*DUULVRQ&RPPDQGHUDQG,0&20'LUHFWRUEHIRUHWKH6&VXEPLWVWKHLQVWDOODWLRQPDVWHUSODQ
      $SSURYHVWKH0LOLWDU\&RQVWUXFWLRQ$UP\DQG0LOLWDU\&RQVWUXFWLRQ$UP\5HVHUYHSURMHFWSULRULW\OLVWDWWKH
   LQVWDOODWLRQOHYHO)RU$0&PDQDJHGLQVWDOODWLRQVWKH6&FROODERUDWHVZLWKWKH*DUULVRQ&RPPDQGHUDQG,0&20
   'LUHFWRUEHIRUHWKH6&DSSURYHVWKHSURMHFWSULRULW\OLVWIRUWKHLQVWDOODWLRQ7KH,0&20'LUHFWRUZLOOFRQVROLGDWH
   DQGSULRULWL]HWKH6&HVWDEOLVKHGSULRULWLHVIRUWKHLUDOLJQHGLQVWDOODWLRQVDQGZLOOJDLQDSSURSULDWH$&20$6&&RU
   '58DJUHHPHQWEHIRUHVXEPLVVLRQWR&RPPDQGHU$0&6HH$5 ± IRUDGGLWLRQDOLQIRUPDWLRQDERXWPLOLWDU\
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   FRQVWUXFWLRQSURJUDPVPDVWHUSODQQLQJDQGIDFLOLWLHVRSHUDWLRQVDQGPDQDJHPHQW
      5HYLHZVDQGDSSURYHVWKHSULRULWL]DWLRQRI)DPLO\DQGLQVWDOODWLRQSURJUDPVFRQVLVWHQWZLWKODZUHJXODWLRQ
   DQG SROLF\ )RU $0&PDQDJHG LQVWDOODWLRQV WKH 6& FROODERUDWHV ZLWK WKH *DUULVRQ &RPPDQGHU DQG WKH ,0&20
   'LUHFWRUDWHEHIRUHWKH6&DSSURYHVH[HFXWLRQRI)DPLO\DQGLQVWDOODWLRQSURJUDPV7KH,0&20'LUHFWRUZLOOFRQ
   VROLGDWHDQGSULRULWL]HWKH6&HVWDEOLVKHGSULRULWLHVIRUWKHLUDOLJQHGLQVWDOODWLRQVDQGZLOOJDLQDSSURSULDWH$&20
   $6&&RU'58DJUHHPHQWEHIRUHVXEPLVVLRQWR$0&
      ,VLQFRRUGLQDWLRQZLWKWKH,0&20'LUHFWRUUHVSRQVLEOHIRUWKH)3RILQVWDOODWLRQVDQGIDFLOLWLHVXQGHUKLVRU
   KHUFRQWURO6&VZLOOHQVXUHORFDOLPSOHPHQWDWLRQRI)3FRQGLWLRQVLVFRPSOLDQWZLWKWKH$6&&PLQLPXPEDVHOLQH
   ZKLOHDVVXPLQJDQDGHTXDWH)3SRVWXUHQHFHVVDU\WRSURWHFWSHUVRQQHODQGRWKHUYLWDODVVHWVIURPORFDOWKUHDWV&RP
   PDQGVZLWKSHUVRQQHOUHVLGLQJRQLQVWDOODWLRQVUHJDUGOHVVRIPLOLWDU\VHUYLFHRUZKHWKHURQDSHUPDQHQWRUWHPSRUDU\
   EDVLVZLOOVXSSRUWDQGFRPSO\ZLWKWKH)3GLUHFWLYHVRIWKH6&
      0D\EHGHVLJQDWHGDVD *&0&$SXUVXDQWWR8&0- $UW  D 6&V ZKRDUH QRW DXWKRUL]HGWRFRQYHQHD
   JHQHUDOFRXUWPDUWLDOSXUVXDQWWR8&0-$UWDQGZKRWKH6(&$50<KDVGHVLJQDWHGDVD*&0&$PD\UHTXHVW
   GHVLJQDWLRQDVD*&0&$SXUVXDQWWR$5 ± SDUDJUDSK ±  D 
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      6XEPLWDSSHDOVIURPDGPLQLVWUDWLYHDFWLRQVWDNHQDJDLQVWLQGLYLGXDO6ROGLHUVWKURXJK$&20$6&&RU'58
   FKDQQHOVXQOHVVRWKHUZLVHVSHFLILHGLQ$UP\UHJXODWLRQV7KHWHUPV³QH[WVXSHULRUDXWKRULW\´³QH[WKLJKHUDXWKRULW\´
   ³QH[WKLJKHUFRPPDQGHU´DQG³QH[WKLJKHUKHDGTXDUWHUV´DVXVHGLQRWKHU$UP\UHJXODWLRQVPHDQ$&20$6&&
   RU'58FRPPDQGHURUKHDGTXDUWHUV
      :LOO IROORZ FRPPDQG UHVSRQVLELOLWLHV IRU WKH 7RWDO $UP\ 6SRQVRUVKLS 3URJUDP LQ DFFRUGDQFH ZLWK $5
    ± ±
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      6HUYHVDVWKHVHQLRU$UP\UHSUHVHQWDWLYHWRWKHVXUURXQGLQJFRPPXQLW\
      ,VGHOHJDWHGDVDQLQWHJUDOSDUWRIKLVFRPPDQGDXWKRULW\RYHUVLJKWDXWKRULW\ LQFOXGLQJSURMHFWSULRULWL]DWLRQ 
   RIDOOLQVWDOODWLRQSXEOLFZRUNVDFWLYLWLHV'HWDLOHGGHVFULSWLRQVRIDSSURYDOOLPLWVDQGSURMHFWPDQDJHPHQWDUHLQ$5
    ± $5 ± DQGRWKHUIDFLOLWLHVHQJLQHHULQJSXEOLFDWLRQV VHH$5 ± IRUDFRPSOHWHOLVW 
                                                                                               




      6HQLRUUDWHVWKH*&2QLQVWDOODWLRQVZKHUHWKDWLVQRWSUDFWLFDODQH[FHSWLRQWRWKLVUHJXODWLRQVKRXOGEHRE
   WDLQHG
      &RQVLVWHQWZLWKDSSOLFDEOHODZVDQGSROLFLHVRYHUVHHVFRRUGLQDWHVDQGGHFRQIOLFWVUHVRXUFHVWRVXSSRUWPR
   ELOL]DWLRQRSHUDWLRQVRQWKHLQVWDOODWLRQHVWDEOLVKHVLQVWDOODWLRQSULRULWLHVDQGHQVXUHVPRELOL]HGXQLWVDUHVXSSRUWHG
   WRPHHWGHSOR\PHQWUHTXLUHPHQWV7KHVHHIIRUWVPD\UHTXLUHWKH6&WRUHDFKRXWWR$0& IRUJHQHUDOVXSSRUW RUWR
   WKH6&¶V$&20$6&&RU'58 IRUFRPPDQGVXSSRUW 
       E *DUULVRQFRPPDQGHU7KH*&LVDPLOLWDU\RIILFHU/7&2± RU&2/2± VHOHFWHGE\+4'$7KH*&FRP
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   PDQGVWKHJDUULVRQLVWKH6&¶VVHQLRUH[HFXWLYHIRU LQVWDOODWLRQDFWLYLWLHVLVUDWHGE\WKH,0&20'LUHFWRUDQGLV
   VHQLRUUDWHGE\WKH6&7KH*&DQG,0&20RUJDQL]DWLRQVDUHWKHSULPDU\RUJDQL]DWLRQVWRSURYLGHVHUYLFHVWRWKH



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   FXVWRPHUV7KH*&LVUHVSRQVLEOHIRUWKHGD\WRGD\RSHUDWLRQDQGSURYLVLRQRIEDVHVXSSRUWVHUYLFHVZKLFKLQFOXGHV
   RYHUVLJKWRI*RYHUQPHQWRZQHGOHDVHGDQGSULYDWL]HGKRXVLQJDQGRWKHUVHUYLFHVQHFHVVDU\WRPDLQWDLQLQVWDOODWLRQ
   UHDGLQHVV7KH *&HQVXUHVWKDWLQVWDOODWLRQVHUYLFHVDQGFDSDELOLWLHVDUHSURYLGHGLQDFFRUGDQFHZLWK $UP\VHQLRU
   OHDGHUSULRULWLHV+4'$GLUHFWHGSURJUDPV$UP\VWDQGDUGPLQLPXPFDSDELOLW\OHYHOVDQG6&DQG,0&20JXLG
   DQFH7KH*&SURYLGHVDGGLWLRQDOVXSSRUWLQDFFRUGDQFHZLWK+4'$GLUHFWLYHVDQGSURYLGHVUHLPEXUVDEOHVHUYLFHVLQ
   DFFRUGDQFHZLWKPHPRUDQGD RIDJUHHPHQWDQGRULQVWDOODWLRQVXSSRUWDJUHHPHQWVDVUHTXLUHGE\$5 ± 7KH*&                              




   GHOLYHUV6ROGLHUDQG)DPLO\5HDGLQHVVDQGLQVWDOODWLRQSURJUDPVFRRUGLQDWHVDQGLQWHJUDWHVWKHGHOLYHU\RIVXSSRUW
   IURPRWKHUVHUYLFHSURYLGHUVDQGREWDLQV6&DSSURYDORIWKHLQVWDOODWLRQPDVWHUSODQ,QVRPHFDVHVWKHVHQLRURIILFLDO
   RQDQLQVWDOODWLRQPD\EHWKHJDUULVRQPDQDJHU$JDUULVRQPDQDJHU WKH'$&LYLOLDQHTXLYDOHQWRID*& KDVWKH
   VDPHUHVSRQVLELOLW\DQGDXWKRULW\DVWKHPLOLWDU\FRXQWHUSDUWH[FHSWIRU8&0-DQGFRPPDQGDXWKRULW\%HIRUHWKH
   DSSRLQWPHQWRIWKHJDUULVRQPDQDJHUFRPPDQGDQG8&0-DXWKRULWLHVIRUWKHJDUULVRQZLOOEHVSHFLILHG7KH*&RU
   JDUULVRQPDQDJHU²
      5HSUHVHQWVWKH$UP\DQGWKHLQVWDOODWLRQLQWKHVXUURXQGLQJFRPPXQLW\DVGLUHFWHGE\WKH6&
      6HUYHVDVWKH$UP\¶VLQVWDOODWLRQOHYHOUHSUHVHQWDWLYHLQWKH5HVLGHQWLDO&RPPXQLWLHV,QLWLDWLYH¶VRSHUDWLQJHQ
   WLW\RQEHKDOIRIWKH$VVLVWDQW6HFUHWDU\RIWKH$UP\ ,QVWDOODWLRQV(QHUJ\DQG(QYLURQPHQW 
      $SSURYHVDQGLVVXHVJDUULVRQSROLFLHVLQDFFRUGDQFHZLWKUHVSHFWLYH$UP\UHJXODWLRQVRULQVWDOODWLRQOHYHOSRO
   LFLHVLQYROYLQJWHQDQWXQLWVDVGLUHFWHGE\WKH6&
      ,PSOHPHQWVSROLFLHVIRU'$&LYLOLDQVDVVLJQHGWRWKHJDUULVRQRQWKHLQVWDOODWLRQVXEMHFWWRVDWLVIDFWLRQRIDQ\
   DSSOLFDEOHODERUUHODWLRQVREOLJDWLRQV
      'HYHORSVDQGLPSOHPHQWVDQ,QWHJUDWHG3URWHFWLRQ3ODQLQFRUSRUDWLQJWKHIXQFWLRQDOHOHPHQWVRIWKH$UP\3UR
   WHFWLRQ3URJUDP VXFKDVDQWLWHUURULVPFULWLFDOLQIUDVWUXFWXUHULVN PDQDJHPHQW HPHUJHQF\ PDQDJHPHQW SK\VLFDO
   VHFXULW\ODZHQIRUFHPHQWILUHDQGSURWHFWLRQVHUYLFHVDQGFRQWLQXLW\RIRSHUDWLRQV 
      6XSSRUWVPRELOL]DWLRQVWDWLRQUHTXLUHPHQWV
      ,QWHJUDWHVDOOLQVWDOODWLRQVHUYLFHVRQWKHLQVWDOODWLRQIURPDOOVHUYLFHSURYLGHUV
       F $&20$6&&RU'58FRPPDQGHUV2Q$0&PDQDJHGLQVWDOODWLRQVWKHFRPPDQGHUVZLOO²
      3URYLGH WR $0& D SULRULWL]HG OLVW RI 0LOLWDU\ &RQVWUXFWLRQ $UP\ DQG 0LOLWDU\ FRQVWUXFWLRQ $UP\ 5HVHUYH
   SURMHFWVDQGUHTXLUHPHQWVWKDWDIIHFWVXERUGLQDWHXQLWVWRVXSSRUWWKHGHYHORSPHQWRIWKHPLOLWDU\FRQVWUXFWLRQSURJUDP
   DQGWKHSURJUDPREMHFWLYHPHPRUDQGXP 320 
      3URYLGH$0&ZLWKVXERUGLQDWHPLVVLRQSULRULW\UHTXLUHPHQWVIRUPLOLWDU\FRQVWUXFWLRQDQGEDVHRSHUDWLRQV
      ,GHQWLI\WR$0&WKURXJKWKHEDVHRSHUDWLRQVSURFHVVDQGRWKHUUHTXLUHPHQWVGHYHORSPHQWSURFHVVHVWKHUH
   TXLUHGOHYHOVRIJDUULVRQVXSSRUWQHHGHGWRPHHWPLVVLRQUHTXLUHPHQWVDVZHOODVDQ\VXSSRUWUHTXLUHPHQWV&ROODER
   UDWHZLWK,0&20LQGHYHORSLQJJDUULVRQVXSSRUWUHTXLUHPHQWV
      (YDOXDWHWKHHIIHFWLYHQHVVRILQVWDOODWLRQVHUYLFHVDQGVXSSRUWDQGSDUWLFLSDWHLQWKHSULRULWL]DWLRQRIWKHVHVHU
   YLFHVDQGVXSSRUW
      (QVXUHWKHPRELOL]DWLRQRIVXERUGLQDWHVDVVSHFLILHGLQ$5 ± DQG$UP\H[HFXWLYHRUGHUV
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      3URYLGHSULRULWL]DWLRQUHTXLUHPHQWVIRULQIRUPDWLRQWHFKQRORJ\ ,7 DQGWUDLQLQJHQDEOHUVXSSRUWWR,0&20
      6XSSRUWDQGFRPSO\ZLWKWKH)3DFWLRQVRIWKHJDUULVRQDVGLUHFWHGE\WKH6&LIWKH\KDYHSHUVRQQHOUHVLGLQJRQ
   LQVWDOODWLRQVZKHWKHURQDSHUPDQHQWRUWHPSRUDU\EDVLV
      )ROORZFRPPDQGUHVSRQVLELOLWLHVIRUWKH7RWDO$UP\6SRQVRUVKLS3URJUDPDVVWDWHGLQ$5 ±  ±DQGUHODWHG
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   RIILFLDOJXLGDQFH
      3URYLGH$0&SURWHFWLRQUHTXLUHPHQWVIRUFULWLFDOLQIUDVWUXFWXUHORFDWHGRQDQGRII$0&PDQDJHGLQVWDOODWLRQV
      3URYLGHLQVWDOODWLRQVHUYLFHVDQGVXSSRUWLQGLUHFWVXSSRUWRIWKH$UP\6& $'53DQG)0 ±  0RGLIL                      




   FDWLRQVWRLQVWDOODWLRQVHUYLFHDQGVXSSRUWOHYHOVE\WKHVHRUJDQL]DWLRQVZLOOEHFRRUGLQDWHGWKURXJKWKH6&DQGWKH
   UHVSHFWLYH$&20$6&&'58RURWKHUFRPPDQGEHIRUHLPSOHPHQWDWLRQRQWKHLQVWDOODWLRQ6HHILJXUH±                                              




       G ,QVWDOODWLRQVPDQDJHGE\$UP\0DWHULHO&RPPDQG7KH6(&$50<GHVLJQDWHG,0&20DVDPDMRUVXERUGL
   QDWHFRPPDQGRI$UP\0DWHULHO&RPPDQG $0& SXUVXDQWWR*HQHUDO2UGHUV1R ± 5HDVVLJQPHQWRIWKH
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   86$UP\,QVWDOODWLRQ0DQDJHPHQW&RPPDQGDVD0DMRU6XERUGLQDWH&RPPDQGRIWKH86$UP\0DWHULDO&RP
   PDQG86$UP\(QYLURQPHQWDO&RPPDQGLVDVXERUGLQDWHFRPPDQGRI,0&20$0&PDQDJHV$UP\JDUULVRQV
   DVVLJQHGWRLWH[HFXWHVLQVWDOODWLRQUHDGLQHVVPLVVLRQVSURYLGHVHTXLWDEOHLQVWDOODWLRQEDVHRSHUDWLRQVVHUYLFHVDQG
   IDFLOLWLHV RSWLPL]HV UHVRXUFHV VXVWDLQV WKH HQYLURQPHQW DQG HQKDQFHV WKH ZHOOEHLQJ RI WKH PLOLWDU\ FRPPXQLW\
   $0&LQWHJUDWHVDQGGHOLYHUVVXSSRUWWRHQDEOHUHDGLQHVVZLWKLQWKHVWUDWHJLFVXSSRUWDUHDIRUDJOREDOO\UHVSRQVLYH
   $UP\WKURXJKWKHVXSSRUWLQJUHODWLRQVKLSVLOOXVWUDWHGLQILJXUH± 
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      ,0&20DVDVXERUGLQDWHFRPPDQGWR$0&FRPPDQGVWKHJDUULVRQVDVVLJQHGWRLW
      ,0&20DQGLWVVXERUGLQDWHRUJDQL]DWLRQVDUHLQGLUHFWVXSSRUW $'53 ± DQG)0±  WRWKH6&RQ$0&
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   PDQDJHGLQVWDOODWLRQV$VWURQJFROODERUDWLYHUHODWLRQVKLSEHWZHHQWKH6&DQG,0&20'LUHFWRULVUHTXLUHG'LUHFWRUV
   DUHWKHILUVW6HQLRU([HFXWLYH6HUYLFH 6(6 PHPEHUVLQWKH,0&20RUJDQL]DWLRQDOVWUXFWXUHDQGPXVWNQRZDQG



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   PDLQWDLQDSRVLWLYHFRPPXQLFDWLRQVWUHDPZLWK6&VLQWKHLUUHJLRQ'LUHFWRUVFDQKHOSVKDSHH[SHFWDWLRQVIRULQVWDO
   ODWLRQ VXSSRUW DQQRXQFH DQG H[SODLQ HPHUJLQJ ,0&20 SROLF\ DQGFKDQJHV DQG EH WKH IRFDO SRLQW IRU UHVROYLQJ
   FRQIOLFWLQJSULRULWLHV7KH6&FRPPDQGVWKHLQVWDOODWLRQEXWIXQGLQJDQGSURFHVVHVIRUPRVWEDVHRSHUDWLRQVIORZ
   WKURXJK,0&20
      7KH*&LVUDWHGE\WKH,0&20'LUHFWRUDQGVHQLRUUDWHGE\WKH6&
      $0&WKURXJK,0&20HQVXUHVFRPSOLDQFHZLWK+4'$GLUHFWHGSURJUDPVDQG$UP\VWDQGDUGPLQLPXPFD
   SDELOLW\OHYHOV$0&VWDIIVDQGFRRUGLQDWHVZLWK+4'$IXQGLQJUHTXHVWVIRUJDUULVRQVXSSRUWUHTXLUHPHQWVLGHQWLILHG
   E\$&20V$6&&VRU'58VWKDWDUHQRWLQFOXGHGLQEDVHRSHUDWLRQVVHUYLFHV7KHFRPPDQGDQGVXSSRUWUHODWLRQ
   VKLSVEHWZHHQ+4'$$0&,0&20WKH$&20$6&&RU'58DQGWKH6&DUHVKRZQLQILJXUH ± $GGLWLRQ         




   DOO\,0&20²
      D (VWDEOLVKHVWKHRUJDQL]DWLRQVDQGSURFHGXUHVIRUJDUULVRQSXEOLFZRUNVRSHUDWLRQVDQGIXQFWLRQVDGGUHVVHGLQ
   WKLVUHJXODWLRQ
      E 0DQDJHVDQGLQWHJUDWHVWKHGHOLYHU\RIIDFLOLWLHVHQJLQHHULQJVHUYLFHVDFURVVJDUULVRQVWRHQVXUHFRQVLVWHQWTXDO
   LW\ZLWKRSWLPDOFXVWRPHUVDWLVIDFWLRQ
      F ,QWHJUDWHVVDIHW\DQGULVNPDQDJHPHQWLQDOOLQVWDOODWLRQRSHUDWLRQV IRUH[DPSOHIDFLOLWLHVXWLOLWLHVQRQWDFWLFDO
   YHKLFOHVHTXLSPHQWSODQQLQJDQGGHVLJQDQGFRPPXQLW\DFWLYLWLHVDQGRSHUDWLRQV 




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           )LJXUH±&RPPDQGDQGVXSSRUWUHODWLRQVKLSVDW86$UP\0DWHULHO&RPPDQGPDQDJHGLQVWDOODWLRQV
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       H $UP\0DWHULDO&RPPDQGLQGXVWULDOEDVHLQVWDOODWLRQVDUHPDQDJHGLQFRPSOLDQFHZLWK$5 ± DQGRWKHU
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   DSSURSULDWHLQGXVWULDOEDVHDXWKRULWLHV
       I $UP\LQVWDOODWLRQVQRWPDQDJHGE\$0&7KH6&LVGHVLJQDWHGLQDFFRUGDQFHZLWKSDUDJUDSKV±E  D DQG
   ±E  I 7KH6&UROHVDQGUHVSRQVLELOLWLHVDUHWKHVDPHDVIRUDOORWKHU$UP\LQVWDOODWLRQV
      $UP\1DWLRQDO*XDUG $51* LQVWDOODWLRQVIDFLOLWLHVDQGVLWHVDUHPDQDJHGLQFRPSOLDQFHZLWK1DWLRQDO*XDUG
   %XUHDX 1*% UHTXLUHPHQWVE\FRPPDQGHUVWKURXJKLQGLYLGXDO863URSHUW\DQG)LVFDO2IILFHUV
      86$UP\0LOLWDU\6XUIDFH'HSOR\PHQWDQG'LVWULEXWLRQ&RPPDQGSHUIRUPVWHUPLQDOPDQDJHPHQWVHUYLFHV
   DVWKH$6&&IRU867UDQVSRUWDWLRQ&RPPDQGXQGHUWKHDXWKRULW\RI'R''DQGRWKHUDSSURSULDWHDXWKRUL
   WLHV
      86$UP\7UDLQLQJDQG'RFWULQH&RPPDQG 75$'2& 527&GHWDFKPHQWVDQGUHFUXLWLQJVLWHVGRQRWSUR
   YLGHJDUULVRQVXSSRUWIXQFWLRQVDQGGRQRWKDYHJDUULVRQDFWLYLWLHV
      86$UP\&RUSVRI(QJLQHHUVIXQGHGLQVWDOODWLRQVDQGVHSDUDWHIDFLOLWLHVQRWRQ$0&PDQDJHGLQVWDOODWLRQV
   DUHPDQDJHGLQDFFRUGDQFHZLWK)HGHUDOODZ$5 ± DQGRWKHUDSSURSULDWHUHJXODWLRQV
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       J &KDQJHRIVHQLRUFRPPDQGHU
      3HUPDQHQWFKDQJH&RPPDQGHUVRI$&20V FRQWLQHQWDO8QLWHG6WDWHV &2186 $6&&V &2186DQGRXW
   VLGH&2186 2&2186 DQG'58V &2186 PD\UHTXHVWDSHUPDQHQWFKDQJHRI6&VIURPWKH+4'$*HQHUDO
   0DQDJHPHQW2IILFH '$&6 ± *20 IRUWKH&6$¶VDSSURYDO
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      7HPSRUDU\FKDQJH:KHQFRPPDQGHUVDUHWHPSRUDULO\DEVHQWIURPWKHLQVWDOODWLRQLQFOXGLQJIRUGHSOR\PHQW
   6&VPD\UHPDLQLQFRPPDQGRILQVWDOODWLRQVRUPD\UHOLQTXLVKFRPPDQGDQGGHVLJQDWHDQDFWLQJFRPPDQGHUDIWHU
   FRRUGLQDWLRQZLWKWKHDSSOLFDEOH$&20$6&&RU'58FRPPDQGHU:KHQGHVLJQDWLQJDQDFWLQJFRPPDQGHUWKH
   6&ZLOOQRWLI\VHQLRU$UP\OHDGHUVKLS$0&,0&20DQGDIIHFWHGPLVVLRQFRPPDQGV'HVLJQDWLRQRIDQDFWLQJ
   FRPPDQGHUZLOOEHLQDFFRUGDQFHZLWKWKHSURFHGXUHVHVWDEOLVKHGLQWKLVUHJXODWLRQIRUDSSRLQWLQJDFWLQJFRPPDQGHUV
      F8QLIRUP&RGHRI0LOLWDU\-XVWLFHDXWKRULW\8&0-DXWKRULW\ZLOOEHJRYHUQHGE\$5 ± 
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      G&RPPDQGE\FRPPDQGHUVLQWKHJUDGHRIOLHXWHQDQWJHQHUDO$UP\FRPPDQGHUVLQWKHJUDGHRIOLHXWHQDQWJHQ
   HUDORUDERYHPD\QRWDVVXPHFRPPDQGRI$UP\LQVWDOODWLRQVH[FHSWZKHQWKHLQVWDOODWLRQVHUYHVDVWKHORFDWLRQIRU
   DFRUSVRUKLJKHUKHDGTXDUWHUV7KH&6$PXVWDSSURYHH[FHSWLRQVWRWKLVSROLF\DQG+4'$ '$&6± *20 ZLOOLVVXH
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   RUGHUVWRLPSOHPHQWWKHH[FHSWLRQ
      H$QQRXQFHPHQWRIDVVXPSWLRQRIFRPPDQG$VVXPSWLRQRIFRPPDQGZLOOEHDQQRXQFHGLQDPHPRUDQGXPDQG
   ZLOOFRQWDLQWKHLQIRUPDWLRQLQILJXUH± $SSRLQWPHQWRUGHUVWKDWDSSO\WRRQO\WKUHHDQGIRXUVWDU*2VDUHVKRZQ
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   LQILJXUH± 6&GHVLJQDWLRQZLOOEHLQGLFDWHGRQWKHLQGLYLGXDO¶VSHUPDQHQWFKDQJHRIVWDWLRQ 3&6 RUGHUVSXEOLVKHG
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   E\WKH*HQHUDO2IILFHU0DQDJHPHQW2IILFH




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        2UDODVVXPSWLRQRIFRPPDQG2UDODVVXPSWLRQRIFRPPDQGPD\EHXVHGE\XQLWVQRWXVLQJRUGHUVRURWKHU
   GRFXPHQWDWLRQWRDQQRXQFHDVVXPSWLRQRIFRPPDQG RUZKHQRWKHUFLUFXPVWDQFHVQHFHVVLWDWH2UDODVVXPSWLRQRI
   FRPPDQGVKRXOGEHIROORZHGE\DQDVVXPSWLRQRIFRPPDQGPHPRUDQGXPDVH[SHGLWLRXVO\DVSRVVLEOH
        'LVWULEXWLRQ 'LVWULEXWLRQ ZLOO EH OLPLWHG WR RQH FRS\ WR HDFK SHUVRQ FRQFHUQHG VXERUGLQDWH FRPPDQGV RU
   HOHPHQWVLQWHUHVWHGFRPPDQGVRUDJHQFLHVDQGWKHQH[WKLJKHUKHDGTXDUWHUV$FRS\ZLOOEHSODFHGLQWKHILOHVRI
   WKHLVVXLQJFRPPDQGDQGRUWKHDIIHFWHGFRPPDQG:KHQD*2RU*2GHVLJQHHDVVXPHVSHUPDQHQWFRPPDQGRQH
   FRS\ZLOOEHSURYLGHGWR*HQHUDO2IILFHU0DQDJHPHQW2IILFH2IILFHRIWKH&KLHIRI6WDII '$&6 ± *20 $UP\
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   3HQWDJRQ:DVKLQJWRQ'& ± 
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        )LOLQJ2UJDQL]DWLRQVDQGXQLWVJRYHUQHGE\$5 ±  ± ZLOOILOHRQHFRS\RIWKHDVVXPSWLRQGRFXPHQWXQGHU
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   RUJDQL]DWLRQDOKLVWRU\ILOHV'LVSRVLWLRQLVVKRZQLQWKRVHGRFXPHQWV
        &RUUHFWLRQDQGDPHQGPHQWV$VVXPSWLRQRIFRPPDQGGRFXPHQWVZLOOEHDPHQGHGUHVFLQGHGRUUHYRNHGE\
   SXEOLVKLQJWKHFRUUHFWLQIRUPDWLRQLQDQRWKHUDVVXPSWLRQRIFRPPDQGGRFXPHQW7KHGRFXPHQWFRQWDLQLQJWKHFRU
   UHFWLRQZLOOSURSHUO\LGHQWLI\ E\GDWH WKHGRFXPHQWEHLQJFRUUHFWHGDQGVWDWHWRZKRPLWSHUWDLQV7KHDPHQGHG
   GRFXPHQWZLOOEHGLVWULEXWHGDQGILOHGDVDSSURSULDWH
      I2SWLPXPOHQJWKRIFRPPDQGWRXUV7KHRSWLPXPOHQJWKRIFRPPDQGWRXUVZLOOEHEDVHGRQWKHQHHGVRIWKH
   $UP\VWDELOLW\ZLWKLQXQLWVQHHGIRURIILFHUVZLWKFRPPDQGH[SHULHQFHDQGDYDLODELOLW\RISHUVRQQHO1RUPDORSWL
   PXPFRPPDQGWRXUVDUHDVIROORZV
        5HJXODU$UP\
       D )RUFRPSDQ\JUDGHPRQWKVZLWKDPLQLPXPRIPRQWKV
       E )RUILHOGJUDGHQRUPDOFRPPDQGWRXUOHQJWKIRUEDWWDOLRQEULJDGHFRPPDQGHUVLVWRPRQWKVRUFRLQFLGHV
   ZLWKWRXUOHQJWKIRUVKRUWWRXUDQGPD\EHDVORQJDVPRQWKVRUPRUHIRUOLIHF\FOHPDQQHGXQLWV&RPPDQGHUVZKR
   KDYHFRPSOHWHGRUPRUHPRQWKVRIFRPPDQGDVRIGD\VEHIRUHWKHXQLW¶VPLVVLRQUHDGLQHVVH[HUFLVHRUFXOPL
   QDWLQJSUHGHSOR\PHQWH[HUFLVHZLOOUHOLQTXLVKFRPPDQG2IILFHUVZKRVXUSDVVPRQWKVEHFDXVHRIGHSOR\PHQW
   ZLOOUHOLQTXLVKFRPPDQGWRGD\VDIWHUUHGHSOR\PHQW([WHQVLRQVRUFXUWDLOPHQWVZLOOEHFRRUGLQDWHGWKURXJK
   WKHRIILFHU¶V$&20$6&&RU'58DQGWKHQZLWKWKH&RORQHO0DQDJHPHQW2IILFH '$&6 ± &02 IRU&2/VRUWKH
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   &RPPDQG0DQDJHPHQW'LYLVLRQ86$UP\+XPDQ5HVRXUFHV&RPPDQG +5& IRU/7&V
       F &RPPDQGLQJJHQHUDOV &*V  0*RUDERYH LQFRRUGLQDWLRQZLWKWKH&*+5&PD\FXUWDLORUH[WHQGILHOG
   JUDGHFRPPDQGWRXUVXSWRGD\V7KH$&20$6&&RU'58FRPPDQGHULQFRRUGLQDWLRQZLWKWKH&*+5&
   PD\FXUWDLORUH[WHQGILHOGJUDGHFRPPDQGWRXUIRUWRGD\V7KH&6$PXVWDSSURYHFXUWDLOPHQWVDQGH[WHQVLRQV
   RIILHOGJUDGHFRPPDQGWRXUVIRUPRUHWKDQGD\VRUIRUDQ\H[WHQVLRQVRIILHOGJUDGHFRPPDQGEH\RQGWKHQRUPDO
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       G 7KHSROLF\LQSDUDJUDSK±I  E GRHVQRWDSSO\WRFRPPDQGVWKDWKDYHHVWDEOLVKHGWRPRQWKWRXU
   OHQJWKVRUWR$UP\$FTXLVLWLRQ&RUSVFRPPDQGV
       H ,QRYHUVHDVDUHDVZKHUHWKHWRXUOHQJWKSUHYHQWVVXFKWHQXUHRIFRPPDQGWKHFRPPDQGWRXUZLOOFRLQFLGHZLWK
   WKHRYHUVHDVWRXU
       I $&2/ZLOOQRWQRUPDOO\KROGDEDWWDOLRQOHYHOFRPPDQG$FFRUGLQJO\LIDSURPRWDEOH 3 /7&VHUYLQJDVD
   EDWWDOLRQFRPPDQGHUKDVDSURMHFWHGSURPRWLRQGDWHGXULQJWKHFRPPDQGWRXU$&20$6&&RU'58FRPPDQGHUV
   ZLOOFRRUGLQDWHZLWK+5&WRVFKHGXOHDFKDQJHRIFRPPDQGGDWHDVFORVHDVSRVVLEOHWRWKHSURMHFWHGSURPRWLRQGDWH
   RIWKHRIILFHU,QFDVHVZKHQWKHFKDQJHRIFRPPDQGZRXOGDGYHUVHO\DIIHFWDVLJQLILFDQWRSHUDWLRQDOUHTXLUHPHQWWKH
   $&20$6&&RU'58FRPPDQGHUZLOOVXEPLWDUHTXHVWWKURXJKWKH&RORQHO0DQDJHPHQW2IILFHWRWKH9LFH&KLHI
   RI6WDII$UP\IRUDQH[FHSWLRQWRSROLF\
        $UP\5HVHUYH$UP\5HVHUYHFRPPDQGWRXUVDUHJRYHUQHGE\$5 ±                            




      J&RPPDQGE\JHQHUDORIILFHUV([FHSWDVLQGLFDWHGLQ SDUDJUDSK ± D*2ZLOOQRWEHDVVLJQHGWKURXJKWKH
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   *HQHUDO2IILFHU0DQDJHPHQW2IILFH2IILFHRIWKH&KLHIRI6WDII '$&6 ± *20 ZLWKRXWWKHSULRUDSSURYDORIWKH
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   &6$
      K&RPPDQGRIGHQWDOXQLWV7KHVHQLRU'HQWDO&RUSVRIILFHUDVVLJQHGRUDWWDFKHGWRDGHQWDOWDEOHRIRUJDQL]DWLRQ
   DQGHTXLSPHQWXQLWGHSOR\HGWRUHFHLYHDQGWUHDWSDWLHQWVZLOODVVXPHFRPPDQGRIWKDWXQLWXQWLOSURSHUO\UHOLHYHG
      L&RPPDQGRIYHWHULQDU\XQLWV7KHVHQLRUYHWHULQDU\RIILFHUDVVLJQHGRUDWWDFKHGWRDYHWHULQDU\XQLWGHSOR\HGWR
   FDUHIRU*RYHUQPHQWRZQHGDQLPDOVIRUIRRGLQVSHFWLRQUHVSRQVLELOLWLHVDQGRUIRUFLYLFDFWLRQSURJUDPVZLOODV
   VXPHFRPPDQGRIWKDWXQLWXQWLOSURSHUO\UHOLHYHG
      M&RPPDQGRI5HJXODU$UP\WUDLQLQJXQLWV$UP\1DWLRQDO*XDUGRIWKH8QLWHG6WDWHV $51*86 RIILFHUV ZKHQ
   DFWLYDWHGXQGHU86& DQG86$UP\5HVHUYH 86$5 RIILFHUVVHUYLQJRQDFWLYHGXW\RUDFWLYHGXW\IRUWUDLQLQJ
   XQGHU86&PD\EHDVVLJQHGDVDFWLQJFRPPDQGHUVRI5HJXODU$UP\ 5$ WUDLQLQJXQLWVGXULQJDQQXDOWUDLQLQJ
   7KLVLQFOXGHVDXWKRULW\XQGHUWKH8&0-XQOHVVZLWKKHOGE\FRPSHWHQWDXWKRULW\6&VLPSOHPHQWLQJWKHDXWKRULW\
   JUDQWHGE\WKLVSDUDJUDSKZLOOHQVXUHWKDW²
        3DUDJUDSKV ± DQG±DUHIROORZHG
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        86$5RUJDQL]DWLRQVKDYHDGHTXDWHO\WUDLQHGWKHLUFRPPDQGHUVDFFRUGLQJWRWKH0DQXDOIRU&RXUWV0DUWLDO
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        86$5FRPPDQGHUVUHFHLYHRULHQWDWLRQUHJDUGLQJWKHDGPLQLVWUDWLRQRIPLOLWDU\MXVWLFHDWWKHLQVWDOODWLRQDQG
   XQLWOHYHOV
        1HFHVVDU\DWWDFKPHQWRUGHUVGLUHFWLRQRIWKH3UHVLGHQWLDODXWKRULW\DVVXPSWLRQRIDFWLQJFRPPDQGOHWWHUDG
   PLQLVWUDWLYHPHDVXUHVDQGDSSHDOFKDQQHOVDUHDFFRPSOLVKHG
        6WDIIRUFRPPDQGMXGJHDGYRFDWHVPRQLWRUWKHIDLUDQGMXVWDGPLQLVWUDWLRQRIPLOLWDU\MXVWLFH
      N$FWLYH*XDUG5HVHUYHSHUVRQQHO$FWLYH*XDUG5HVHUYH $*5 SHUVRQQHOPD\EHDVVLJQHGGXWLHV IRUH[DPSOH
   VHUYHDVFRPSDQ\FRPPDQGHUVRI5$XQLWVLQ86$UP\5HFUXLWLQJ&RPPDQG WKDW²
        6XSSRUWRSHUDWLRQVRUPLVVLRQVDVVLJQHGLQZKROHRULQSDUWWR5&V
        6XSSRUWRSHUDWLRQVRUPLVVLRQVSHUIRUPHGRUWREHSHUIRUPHGE\DXQLWFRPSRVHGRIHOHPHQWVIURPPRUHWKDQ
   RQHFRPSRQHQWRIWKHVDPH$UPHG)RUFHRUDMRLQWIRUFHVXQLWWKDWLQFOXGHVRQHRUPRUH86$5XQLWVRUDPHPEHU
   RID86$5ZKRVH86$5DVVLJQPHQWLVLQDSRVLWLRQLQDQHOHPHQWRIWKHMRLQWIRUFHVXQLW
        $GYLVHWKH6HFUHWDU\RI'HIHQVHWKH6HFUHWDULHVRIWKHPLOLWDU\GHSDUWPHQWVWKH-RLQW&KLHIVRI6WDIIDQGWKH
   FRPPDQGHUVRIWKHXQLILHGFRPEDWDQWFRPPDQGUHJDUGLQJ5&PDWWHUV
      O$OO&RPPDQGHUV²
        &RPPDQGHUVDUHUHTXLUHGWRIXOILOODSSOLFDEOHODERUUHODWLRQVREOLJDWLRQVEHIRUHLPSOHPHQWLQJSROLF\IRU'$
   &LYLOLDQVFRYHUHGE\FROOHFWLYHEDUJDLQLQJDJUHHPHQWV
        &RPPDQGHUV DUH UHPLQGHG WKDW $5  ±  UHTXLUHV WKDW FRPSODLQWV DJDLQVW D SURPRWDEOH &2/ DQ DFWLYH RU
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   UHWLUHG*2,*VRIDQ\FRPSRQHQWPHPEHUVRIWKH6(6RUH[HFXWLYHVFKHGXOHSHUVRQQHOZLOOEHIRUZDUGHGWRWKH
   'HSDUWPHQWRIWKH$UP\,QVSHFWRU*HQHUDO¶V,QYHVWLJDWLRQ'LYLVLRQ 6$,* ± ,1                   




        &RPPDQGHUVZLOOFRQGXFW&&$VDWWKHRXWVHWRIDQGSHULRGLFDOO\GXULQJWKHFRPPDQGWHQXUH VHHDSS( 
        &RPPDQGHUVDUHUHPLQGHGWKDW$5 ± DQG$5 ± SUHVFULEHSURFHGXUHVIRUWUDQVIHURIYLFWLPVRI
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   VH[XDODVVDXOW5HTXHVWVIRUWUDQVIHUVDQGWUDQVIHUV PXVWEH DFFRPSOLVKHG ZLWKLQ WKHWLPHIUDPHVLQFOXGHGLQWKHVH
   UHJXODWLRQV

   ±&RPPDQGRILQVWDOODWLRQVDFWLYLWLHVDQGXQLWVRI-RLQWEDVHV
      D7KHVHQLRUDXWKRULW\IRU$UP\FRPPDQGVDQGXQLWVRQLQVWDOODWLRQVGHULYHVIURPWKH6HFUHWDU\RIWKH$UP\DQG
   WKH&KLHIRI6WDIIRIWKH$UP\7KHDSSRLQWPHQWLVXVXDOO\GHVLJQDWHGWRWKHVHQLRU8QLWHG6WDWHV$UP\FRPPDQGHU
   DVVLJQHGIRUGXW\,QKHUHQWLQWKHDSSRLQWPHQWLVWKHUHVSRQVLELOLW\IRUWKHXQLW\RIHIIRUWRIDOO$UP\FRPPDQGVDQG




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   XQLWVRQWKHLQVWDOODWLRQV$FFRUGLQJO\$UP\FRPPDQGVDQGXQLWVRIMRLQWEDVHVKDYHDWPLQLPXPDWDFWLFDORSHUD
   WLRQWDFWLFDOFRQWUROFRPPDQGUHODWLRQVKLSWRWKHVHQLRU$UP\FRPPDQGHU
      E7LWOH86&FRPPDQGLQJRI-RLQWEDVHV'R'MRLQWEDVLQJJXLGDQFHVHWVIRUWKWKHSROLF\IRURSHUDWLQJDMRLQW
   EDVH7KHGHVLJQDWHGVXSSRUWLQJ OHDG FRPSRQHQWLVUHVSRQVLEOHIRUGRFXPHQWLQJIRUFHUHTXLUHPHQWVIRUMRLQWEDVH
   RUJDQL]DWLRQVWUXFWXUHLQFOXGLQJDMRLQWEDVHFRPPDQGHU -%& ELOOHW VHH ILJ±  7KH-%&LVUHVSRQVLEOHIRUWKH
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   GHOLYHU\RILQVWDOODWLRQVXSSRUWWRDOOFRPSRQHQWVERWK'R'DQGQRQ'R'WHQDQWV7KH-%&UHSRUWVWRWKHQH[WHFKHORQ
   RIWKHVXSSRUWLQJFRPSRQHQW¶VLQVWDOODWLRQVXSSRUWRUJDQL]DWLRQ7KH-RLQW0DQDJHPHQW2YHUVLJKW6WUXFWXUH -026 
   HVWDEOLVKHGE\'R'¶VMRLQWEDVLQJJXLGDQFHSURYLGHVDJRYHUQLQJERG\WKDWZLOOUHVROYHFRQIOLFWVLQYROYLQJODQGDQG
   IDFLOLWLHVXVHLQVWDOODWLRQVXSSRUWFRVWVFRPSHWLQJGHPDQGVIRULQVWDOODWLRQUHVRXUFHVDQGWRWDOREOLJDWRU\DXWKRULW\
   WUDQVIHUV$MRLQWEDVH02$IRUHDFKVHSDUDWHMRLQWEDVHVLJQHGE\WKH9&6$DQGWKHRWKHU6HUYLFHFRPSRQHQWV¶
   9&6$VSURYLGHVWKHIUDPHZRUNIRUFRPSRQHQWUHODWLRQVKLSV
      F$XWKRULWLHV UROHV DQG UHVSRQVLELOLWLHV IRU MRLQW EDVHV$XWKRULWLHV UROHV DQG UHVSRQVLELOLWLHV IRU MRLQW EDVHV
   ZKHUH WKH $UP\LVWKHVXSSRUWLQJFRPSRQHQW VXFKDV-RLQW%DVH /HZLV0F&RUGDQG-RLQW%DVH0\HU+HQGHUVRQ
   +DOODUHH[HFXWHGLQDFFRUGDQFHZLWKSDUDJUDSK± WRWKHH[WHQWWKH\GRQRWFRQIOLFWZLWK'R'MRLQWEDVLQJUHTXLUH
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   PHQWV%DVHRSHUDWLRQVHUYLFHVDQG86&DXWKRULWLHVUROHVDQGUHVSRQVLELOLWLHVIRULQVWDOODWLRQVZKHUHWKH$UP\LV
   WKHVXSSRUWHGFRPSRQHQWUHVLGHZLWKWKHVXSSRUWLQJFRPSRQHQW,QVXFKFDVHVWKHVHQLRU$UP\FRPPDQGHULVGHVLJ
   QDWHGDVWKH6HQLRU$UP\(OHPHQW&RPPDQGHU 6$(& DQGIXOILOOVWKHUROHVDQGUHVSRQVLELOLWLHVRQWKHLQVWDOODWLRQ
   DVGHILQHGLQWKLVSDUDJUDSK,QUDUHFDVHVWKHVHQLRU$UP\UHSUHVHQWDWLYHLVD'$&LYLOLDQ,QWKLVFDVHWKHLQGLYLGXDO
   ZLOOEHUHIHUUHGWRDVWKHVHQLRU$UP\PDQDJHU3ULRUWRWKHDSSRLQWPHQWRIWKHVHQLRU$UP\PDQDJHUFRPPDQGDQG
   8&0-DXWKRULWLHVIRUWKH$UP\FRPPDQGVDQGXQLWVZLOOEHVSHFLILHG8QOHVVSURKLELWHGE\ODZRUUHJXODWLRQWKH
   6$(& RU VHQLRU $UP\ PDQDJHU PD\ GHOHJDWH LQ ZULWLQJ LQVWDOODWLRQ UROHV WR DQ DSSURSULDWHOHYHO VXERUGLQDWH RU
   RIILFHUVVHQLRUQRQFRPPLVVLRQHGRIILFHUV'$&LYLOLDQVLQWDFWLFDOFRQWUROXQLWVZLWKWKHFRQFXUUHQFHIURPWKHLUXQLW¶V
   KLJKHUKHDGTXDUWHUV




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   PHQWV,QWKHHYHQWRIDGLVFUHSDQF\EHWZHHQWKLVUHJXODWLRQDQGWKH'R'SROLFLHVDQGSURFHGXUHVIRU-RLQWEDVHVWKH
   'R'SROLF\RUSURFHGXUHWDNHVSUHFHGHQFH
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   -0267KHILUVWDYHQXHLVWKURXJKUHSUHVHQWDWLRQRQWKH-RLQW%DVH3DUWQHUVKLS&RXQFLODQGWKHMRLQWEDVHLQVWDOODWLRQ
   FROODERUDWLRQ IRUXPV PDQGDWHG E\ 'R' 7KH VHFRQG DYHQXH LV WKURXJK WKH VXSSRUW FRPPDQG UHODWLRQVKLS ZLWK
   ,0&20'LUHFWRUVZKRUHSUHVHQW$UP\LQWHUHVWVRQWKH,QWHUPHGLDWH&RPPDQG6XPPLWDQGZKHQQHFHVVDU\FDQ
   HOHYDWH6$(&MRLQWEDVHLVVXHVWRWKH0LOLWDU\'HSDUWPHQWOHYHOIRUUHVROXWLRQ
        )RU$UP\LQWHUHVWVDQGHTXLWLHVRQMRLQWEDVHVZKHUHWKH$UP\LVWKHVXSSRUWHGFRPSRQHQWWKH6$(&LVWKH
   VXSSRUWHGFRPPDQGDQGWKH,0&20'LUHFWRULVWKHVXSSRUWLQJFRPPDQG
      H6HQLRU$UP\(OHPHQW&RPPDQGHUUROHVDQGUHVSRQVLELOLWLHV
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   PLQLVWUDWLYHDFWLRQVWDNHQE\WKH6$(&SHUWDLQLQJWRLQGLYLGXDO6ROGLHUVDQG'$&LYLOLDQVZLOOIORZWKURXJK$&20
   $6&&RU'58FKDQQHOVXQOHVVRWKHUZLVHVSHFLILHGLQ$UP\UHJXODWLRQV7KHWHUPVQH[WVXSHULRUDXWKRULW\QH[W
   KLJKHUDXWKRULW\QH[WKLJKHUFRPPDQGHUDQGQH[WKLJKHUKHDGTXDUWHUVDVXVHGLQRWKHU$UP\UHJXODWLRQVPHDQ
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        (VWDEOLVK DQG V\QFKURQL]H EDVH RSHUDWLRQV DQG LQVWDOODWLRQ PLVVLRQ UHDGLQHVV SULRULWLHV DPRQJ $UP\ FRP
   PDQGVXQLWVDQGUHVLGHQWV&RPPXQLFDWHWKH$UP\¶VSULRULWLHVWRWKH-%&$0&DQGWKHVXSSRUWLQJ,0&20'L
   UHFWRU
        (QVXUHWKH$UP\KDVDSSURSULDWHUHSUHVHQWDWLRQDQGDQDFWLYHYRLFHDWDOO'R'PDQGDWHGMRLQWEDVHIRUXPV
   VXFKDVUHDOSURSHUW\PRUDOHDQGZHOIDUHDQGIRUFHSURWHFWLRQDQGLQDOOILQDQFLDOUHYLHZVWRLQIRUPWKH-%&¶VGHFL
   VLRQF\FOHV
        5HYLHZWKHMRLQWEDVHSHUIRUPDQFHRXWSXWWRHQVXUHWKHGHOLYHU\RIEDVHRSHUDWLRQVDQGLQVWDOODWLRQPLVVLRQ
   UHDGLQHVVVHUYLFHVPHHWWKHQHHGVRIWKH$UP\PLVVLRQ6ROGLHUV)DPLOLHVDQG'$&LYLOLDQV3DUWLFLSDWHVLQXSGDWHV
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        $SSURYHWKH$UP\ VLQSXWLQWRWKHMRLQWEDVHPDVWHUSODQ
        3ULRULWL]HDQGVXEPLW$UP\FRPPDQGV¶DQGXQLWV¶UHVWRUDWLRQDQGPRGHUQL]DWLRQQHHGVPLQRUPLOLWDU\FRQ
   VWUXFWLRQSURMHFWVDQGPLOLWDU\FRQVWUXFWLRQSURMHFWV
        $GYLVH WKH -%& $0& DQG ,0&20 'LUHFWRU RQ QHZ RU FKDQJHG EDVH RSHUDWLRQV DQG LQVWDOODWLRQ PLVVLRQ
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        0DLQWDLQJRRGRUGHUDQGGLVFLSOLQH
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   SURYLGHV VHUYLFHV WKDW DUH LQKHUHQWO\ $UP\ PLVVLRQ DQG ZDUILJKWHU UHODWHG DV ZHOO DV $UP\FHQWULF VHUYLFHV H[
   FOXGHGH[HPSWHGIRUWUDQVIHUE\'R' VHHILJ ± IRURUJDQL]DWLRQUHODWLRQVKLSVRQMRLQWEDVHV 
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   ,0&20'LUHFWRUDQGVHQLRUUDWHGE\WKH6$(&7KH$6$FRPPDQGHULVUHVSRQVLEOHIRUGD\WRGD\RSHUDWLRQVDQG
   PDQDJHPHQWRI$UP\VSHFLILFEDVHRSHUDWLRQVHUYLFHVLQDFFRUGDQFHZLWK+4'$SURJUDPV$UP\VWDQGDUGVDQGWKH
   6$(&¶VLQWHQW6HUYLFHWRRWKHUHQWLWLHVPD\EHSURYLGHGRQDUHLPEXUVDEOHEDVLV
        7KH$6$FRPPDQGHUPD\EHGHVLJQDWHGDVDVXPPDU\FRXUWVPDUWLDOFRQYHQLQJDXWKRULW\RUVSHFLDOFRXUWV
   PDUWLDOFRQYHQLQJDXWKRULW\ 63&0&$ IRUWKH$UP\XQLWVDQGDFWLYLWLHVLQWKHDUHDRIUHVSRQVLELOLW\,QUDUHFDVHV
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   UHIHUUHGWRDVWKH$6$PDQDJHU$Q$6$PDQDJHUKDVWKHVDPHUHVSRQVLELOLW\DQGDXWKRULW\DVDQ$6$FRPPDQGHU
   ZLWKWKHH[FHSWLRQRI8&0-DQGFRPPDQGDXWKRULW\3ULRUWRWKHDSSRLQWPHQWRIDQ$6$PDQDJHUFRPPDQGDQG
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   7KHVHQLRURIILFHUUHJXODUO\DVVLJQHGDQGSUHVHQWIRUGXW\ZLWKORJLVWLFDOFRPPDQGV RUFRPPXQLFDWLRQ]RQHKHDG
   TXDUWHUVVHFWLRQVDQGDUHDV DQGVLPLODUVSHFLDOW\LPPDWHULDOFRPPDQGVZLOODVVXPHFRPPDQGRIWKHRUJDQL]DWLRQ
    7KLVSURYLVLRQDSSOLHVXQOHVVWKHVHQLRURIILFHULVLQHOLJLEOHXQGHUSDUDV± RU ± 
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      D:KHQWZRRUPRUHFRPPLVVLRQHGRIILFHUVRIWKHVDPHJUDGHERWKRIZKRPDUHHOLJLEOHWRFRPPDQGDUHDV
   VLJQHGWRGXW\LQWKHVDPHFRPPDQGRURUJDQL]DWLRQWKH3UHVLGHQWPD\DVVLJQWKHFRPPDQGRIIRUFHVZLWKRXWUHJDUG
   WRVHQLRULW\E\'25
      E*2VDUHDXWKRUL]HGWRDQQRXQFHE\GLUHFWLRQRIWKH3UHVLGHQWWKHGHVLJQDWLRQRIRQHRIVHYHUDORIILFHUVRIWKH
   VDPHJUDGHZLWKLQDFRPPDQGXQGHUWKHLUMXULVGLFWLRQDVDFRPPDQGHUWKHUHRIVXEMHFWWRWKHIROORZLQJFRQGLWLRQV
        7KLVUHIHUVWR*2VFRPPDQGLQJ$&20V$6&&VRU'58VDUPLHVFRUSVLQVWDOODWLRQVGLYLVLRQVVHSDUDWH
   EULJDGHVUHJLRQDOVXSSRUWFRPPDQGV 56&V DQGKHDGVRI'$VWDIIDJHQFLHV7KLVPD\EHGRQHZLWKRXWUHJDUGWR
   UHODWLYHVHQLRULW\ 6HHSDUDV± DQG± IRUSROLF\RQ*2V :KHQDQRIILFHUZKRLVMXQLRUE\'25LVGHVLJQDWHGWR
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   FRPPDQGDPHPRUDQGXPZLOOEHXVHGWRDQQRXQFHWKHDSSRLQWPHQWDQGZLOOFRQWDLQWKHLQIRUPDWLRQVKRZQLQILJXUH
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   DMXQLRURIILFHUWRDVWDIISRVLWLRQWKDWUHTXLUHVVXSHUYLVLQJDQGFRQWUROOLQJDFWLYLWLHVRIDQRIILFHUVHQLRUE\'25,Q
   VWDIIVXSHUYLVRU\SRVLWLRQVFRPPDQGHUVPDNHVXFKDSSRLQWPHQWVPHUHO\E\GHVLJQDWLRQLQDPHPRUDQGXP


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      F&RPPDQGHUVZLOOQRWXVHWKH3UHVLGHQWLDODXWKRULW\FLWHGLQWKLVSDUDJUDSKWRDSSRLQWDMXQLRUPHPEHUDVWKHLU
   RZQVXFFHVVRUHLWKHUWHPSRUDULO\RUSHUPDQHQWO\,QVRPHFDVHVDFRPPDQGHUKDYLQJDXWKRULW\XQGHUWKLVSDUDJUDSK
   PD\ILQGLWSUHIHUDEOHWRSODFHDMXQLRUPHPEHULQKLVRUKHUSRVLWLRQWHPSRUDULO\DVDFWLQJFRPPDQGHU,IVRDUHTXHVW
   VWDWLQJWKHFLUFXPVWDQFHVDQGDVNLQJIRUWKHDSSRLQWPHQWWREHPDGHZLOOEHVHQWWRWKHQH[WKLJKHUFRPPDQGHUKDYLQJ
   DXWKRULW\XQGHUWKLVSDUDJUDSK7KHQH[WKLJKHUFRPPDQGHUZLOOUHYLHZWKHUHTXHVWDQGDSSURYHRUGLVDSSURYHWKH
   UHTXHVW&RPPDQGHUVZLOOQRWLVVXHDEODQNHWGHVLJQDWLRQZLWKRXWSULRUDSSURYDOIURPWKH$&20$6&&RU'58
   FRPPDQGHUDQGLQFDVHVLQYROYLQJ*2VFRRUGLQDWLRQZLWKWKH*HQHUDO2IILFHU0DQDJHPHQW2IILFH '$&6 ± *20                   




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   KDVEHHQDXWKRUL]HG
      G7KHDXWKRULW\LQWKLVSDUDJUDSKZLOOQRWEHXVHGWRDVVLJQFRPPDQGIXQFWLRQVWRFKDSODLQVRUXQOHVVDXWKRUL]HG
   E\WKH6(&$50<RUWKHLUDSSRLQWHHWRRIILFHUVRIWKH$UP\0HGLFDO'HSDUWPHQW $0('' H[FHSWDVDXWKRUL]HG
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   LW\WR1&2VE\WKHLUVHQLRUV7KLVSROLF\DSSOLHVZKHWKHUWKHVHQLRULVDQRIILFHU:2RUDQRWKHU1&2

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   PDQGHURIDKHDGTXDUWHUVDQGKHDGTXDUWHUVHOHPHQWGLHVEHFRPHVGLVDEOHGUHWLUHVLVUHDVVLJQHGRULVWHPSRUDULO\
   DEVHQWLQDQ\VWDWXVRWKHUWKDQSUHVHQWIRUGXW\WKHVHQLRUUHJXODUO\DVVLJQHG$UP\6ROGLHUZLOODVVXPHFRPPDQG
         ,IWKHFRPPDQGHURIDKHDGTXDUWHUVDQGKHDGTXDUWHUVHOHPHQWGLHVEHFRPHVGLVDEOHGUHWLUHVLVUHDVVLJQHGRU
   LV WHPSRUDULO\ DEVHQW LQ DQ\ VWDWXV RWKHU WKDQ SUHVHQW IRU GXW\ WKH VHQLRU UHJXODUO\ DVVLJQHG $UP\ 6ROGLHU RI WKH
   SDUWLFXODUKHDGTXDUWHUVDQGKHDGTXDUWHUVHOHPHQWZKRSHUIRUPVGXWLHVZLWKLQWKHHOHPHQWZLOODVVXPHFRPPDQG)RU
   H[DPSOHLIDGLYLVLRQKHDGTXDUWHUVDQGKHDGTXDUWHUVFRPSDQ\FRPPDQGHULVWHPSRUDULO\DEVHQWWKHH[HFXWLYHRIILFHU
   DVWKHVHQLRUUHJXODUO\DVVLJQHG$UP\6ROGLHUZKRSHUIRUPVGXWLHVZLWKLQWKHKHDGTXDUWHUVFRPSDQ\ZRXOGDVVXPH
   FRPPDQGUDWKHUWKDQWKHGLYLVLRQFRPPDQGHU
         6HQLRUUHJXODUO\DVVLJQHG$UP\6ROGLHUUHIHUV LQRUGHURISULRULW\ WRRIILFHUV:2VFDGHWV1&2VVSHFLDOLVWV
   RUSULYDWHVSUHVHQWIRUGXW\XQOHVVWKH\DUHLQHOLJLEOHXQGHUSDUDJUDSKV ± RU± 7KH\DVVXPHFRPPDQGXQWLO
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   UHOLHYHGE\SURSHUDXWKRULW\H[FHSWDVSURYLGHGLQSDUDJUDSK±F$VVXPSWLRQRIFRPPDQGXQGHUWKHVHFRQGLWLRQV
   LVDQQRXQFHGSHUSDUDJUDSK± +RZHYHUWKHDQQRXQFHPHQWZLOOLQGLFDWHDVVXPSWLRQDVDFWLQJFRPPDQGHUXQOHVV
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   GHVLJQDWHGDVSHUPDQHQWE\WKHSURSHUDXWKRULW\,WLVQRWQHFHVVDU\WRUHVFLQGWKHDQQRXQFHPHQWGHVLJQDWLQJDQDFWLQJ
   FRPPDQGHUWRDVVXPHGXWLHVRIWKHFRPPDQGHUGXULQJWKHWHPSRUDU\DEVHQFHRIWKHUHJXODUO\DVVLJQHGFRPPDQGHU
   LIWKHDQQRXQFHPHQWJLYHVWKHWLPHHOHPHQWLQYROYHG$UHVFLQGLQJDQQRXQFHPHQWLVUHTXLUHGLIWKHWHPSRUDU\DV
   VXPSWLRQRIFRPPDQGLVIRUDQLQGHILQLWHSHULRG
       E3ULQFLSDORIILFLDOVRIWKH+HDGTXDUWHUV'HSDUWPHQWRIWKH$UP\2QWKHGHDWKGLVDELOLW\RUWHPSRUDU\DEVHQFH
   RIDSULQFLSDORIILFLDORI+4'$WKH6(&$50<ZLOOGHVLJQDWHDQDFWLQJSULQFLSDORIILFLDO7KLVGRHVQRWDSSO\WR
   WKRVHSULQFLSDORIILFLDOVRI+4'$ZKRDUH3UHVLGHQWLDOO\DSSRLQWHGDQG6HQDWHFRQILUPHG7KHVXFFHVVLRQRI3UHVL
   GHQWLDOO\DSSRLQWHGDQG6HQDWHFRQILUPHGSRVLWLRQVLVJRYHUQHGE\WKH)HGHUDO9DFDQFLHV5HIRUP$FW
       F&RPPDQGHUVRI$UP\FRPPDQGV$UP\VHUYLFHFRPSRQHQWFRPPDQGVRUGLUHFWUHSRUWLQJXQLWV$FRPPDQGHU
   RIDQ $&20 $6&&RU'58 PD\FRQWLQXHWRGLVFKDUJH WKH IXQFWLRQVRIFRPPDQG ZKLOHDEVHQW IURPWKHOLPLWV
   WKHUHRILI²
         6XFKDEVHQFHLVIRUDVKRUWSHULRGRQO\
         7KHFRPPDQGHUKDVUHDVRQDEOHFRPPXQLFDWLRQZLWKWKH$&20$6&&RU'58KHDGTXDUWHUV
         7KHDEVHQFHLVQRWFDXVHGE\SK\VLFDOGLVDELOLW\
       G*HQHUDORIILFHUV'XULQJWKHWHPSRUDU\DEVHQFHRIWKHUHJXODUO\DVVLJQHG*2FRPPDQGHU$&20V$6&&VRU
   '58VDUHDXWKRUL]HGWRDVVLJQ*2VXQGHUWKHLUFRPPDQGWRWKHYDFDQWFRPPDQGSRVLWLRQ

   ±$EVHQFHRUGLVDELOLW\RIDOORIILFHUVRIDXQLW
   2QGHDWKGLVDELOLW\RUDEVHQFHRIDOORIILFHUV WRLQFOXGH:WR: RIDXQLWQRUPDOO\FRPPDQGHGE\DQRIILFHUWKH
   DSSURSULDWHFRPPDQGHURIWKHQH[WKLJKHUFRPPDQGSHUPDQHQWO\DVVLJQVDQRIILFHUWRFRPPDQGSUHIHUDEO\RIWKH
   EUDQFKWRZKLFKWKHXQLWEHORQJV+LJKHUFRPPDQGHUVVKRXOGFRQWLQXHWRVHHNRXWRIILFHUVWRVHUYHLQWKLVUROHEHIRUH
   GHIHUULQJWRWKHSHUPDQHQWDVVLJQPHQWRIQRQRIILFHUV3HQGLQJDVVLJQPHQWDQGDUULYDORIWKHQHZFRPPDQGHUDFDGHW
   1&2VSHFLDOLVWRUSULYDWHUHJXODUO\DVVLJQHGWRWKHXQLWZLOOH[HUFLVHWHPSRUDU\FRPPDQG5HVWULFWLRQVRQDVVXPLQJ
   FRPPDQGLQSDUDJUDSKV± DQG± DSSO\$VVXPSWLRQRIFRPPDQGZLOOEHDVQRWHGLQSDUDJUDSK ± 
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   ±(PHUJHQF\FRPPDQG
   7KHVHQLRURIILFHU:2FDGHW1&2RUMXQLRUHQOLVWHG6ROGLHUDPRQJWURRSVDWWKHVFHQHRIDQHPHUJHQF\ZLOODVVXPH
   WHPSRUDU\FRPPDQGDQGFRQWURORIWKH6ROGLHUVSUHVHQW7KHVHSURYLVLRQVDOVRDSSO\WRWURRSVVHSDUDWHGIURPWKHLU
   SDUHQWXQLWVXQGHUEDWWOHILHOGFRQGLWLRQV7KHVHQLRUSHUVRQHOLJLEOHIRUFRPPDQGZKHWKHURIILFHURUHQOLVWHGZLWKLQ
   DSULVRQHURIZDUFDPSRUDPRQJDJURXSRISULVRQHUVRIZDURUDJURXSRISHUVRQQHOGHWDLQHGE\KRVWLOHIRUFHVRU
   HOHPHQWVZLOODVVXPHFRPPDQGDFFRUGLQJWRJUDGHDQG'25VHQLRULW\ZLWKRXWUHJDUGWR6HUYLFH

   ±)XQFWLRQVRIDQLQGLYLGXDOLQWHPSRUDU\FRPPDQG
   $FRPPDQGHULQWHPSRUDU\FRPPDQGZLOOQRWH[FHSWLQXUJHQWFDVHVDOWHURUDQQXOWKHVWDQGLQJRUGHUVRIWKHSHU
   PDQHQW FRPPDQGHU ZLWKRXW DXWKRULW\ IURP WKH QH[W KLJKHU FRPPDQG 7HPSRUDU\ FRPPDQG LV GHILQHG WR LQFOXGH
   FRPPDQGDVVXPHGXQGHUFRQGLWLRQVRXWOLQHGLQSDUDJUDSKV ± ± DQG± 6XFKFRPPDQGHUVZLOOEHFRQVLG
                                                                                 




   HUHGWHPSRUDU\XQWLOGHVLJQDWHGDVSHUPDQHQWRUXQWLOUHSODFHGE\WKHSURSHUDSSRLQWLQJDXWKRULW\

   ±5HVSRQVLELOLW\RIVXFFHVVRU
   $FRPPDQGHUZKRVXFFHHGVWRDQ\FRPPDQGRUGXW\DVVXPHVWKHGXWLHVRIKLVRUKHUSUHGHFHVVRU7KHVXFFHVVRUZLOO
   DVVXPHUHVSRQVLELOLW\IRUDOORUGHUVLQIRUFHDQGDOOWKHSXEOLFSURSHUW\DQGIXQGVSHUWDLQLQJWRWKHFRPPDQG

   ±6HSDUDWHFRPPDQGVRIWKH$UP\VHUYLQJWRJHWKHU
      D:KHQVHSDUDWHFRPPDQGVRIWKH86$UP\MRLQ RUSHUIRUPGXW\ WRJHWKHUWKHVHQLRURIILFHUSUHVHQWIRUGXW\
   RQIXOOWLPHGXW\LQWKHDFWLYHPLOLWDU\VHUYLFHRIWKH8QLWHG6WDWHVZLWKWKHFRPPDQGVFRQFHUQHGZLOOFRPPDQGWKH
   IRUFHVXQOHVVRWKHUZLVHGLUHFWHGE\WKH3UHVLGHQW+HRUVKHPXVWQRWEHLQHOLJLEOHXQGHUSDUDJUDSK ± RU±
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      E86&VWDWHV:KHQDQ\SDUWRIWKH1DWLRQDO*XDUGWKDWLVQRWLQ)HGHUDOVHUYLFHSDUWLFLSDWHVLQDQHQ
   FDPSPHQWPDQHXYHURURWKHUH[HUFLVHIRULQVWUXFWLRQWRJHWKHUZLWKWURRSVLQ)HGHUDOVHUYLFHWKHFRPPDQGRIWKH
   SRVWDLUEDVHRURWKHUSODFHZKHUHLWLVKHOGDQGRIWKHWURRSVLQ)HGHUDOVHUYLFHRQGXW\WKHUHUHPDLQVZLWKWKH
   RIILFHUVLQ)HGHUDOVHUYLFHZKRFRPPDQGWKDWSODFHDQGWKH)HGHUDOWURRSVRQGXW\WKHUHZLWKRXWUHJDUGWRWKHJUDGH
   RU'25RIWKHRIILFHUVRIWKH1DWLRQDO*XDUGQRWLQ)HGHUDOVHUYLFHZKRDUHWHPSRUDULO\SDUWLFLSDWLQJLQWKHH[HUFLVH
      F:KHQ86$5XQLWVWDNHSDUWLQDFWLYHGXW\IRUWUDLQLQJRUDQQXDOWUDLQLQJDWDSRVWWKHFRPPDQGRIWKDWSRVW
   UHPDLQVZLWKWKHRIILFHUVQRUPDOO\LQFRPPDQG7KLVSURYLVLRQDSSOLHVUHJDUGOHVVRIWKHUDQNRIWKHRIILFHUVRIWKH
   86$5XQLWZKRDUHWHPSRUDULO\WDNLQJSDUWLQWUDLQLQJWKHUH

   ±6HSDUDWHFRPPDQGVRIWKHVHYHUDOPLOLWDU\VHUYLFHVRIWKH8QLWHG6WDWHVVHUYLQJWRJHWKHU
      D:KHQVHSDUDWHFRPPDQGVRIWKHVHYHUDOPLOLWDU\VHUYLFHVMRLQ RUSHUIRUPGXW\ WRJHWKHURUSHUVRQQHORIDQRWKHU
   6HUYLFHVHUYHZLWKWKH$UP\RSHUDWLRQDOFRQWUROE\DQRIILFHURIRQH6HUYLFHRYHUWKHXQLWVRUPHPEHUVRIWKHRWKHU
   6HUYLFHVPD\EHJLYHQE\DJUHHPHQWEHWZHHQWKH6HUYLFHVFRQFHUQHGRUDVGLUHFWHGE\WKH1DWLRQDO&RPPDQG$X
   WKRULW\E\WKH FRPPDQGHURID XQLILHGFRPPDQGWR ZKLFKWKHVHSDUDWH FRPPDQGVDUHDVVLJQHGRUE\DJUHHPHQW
   EHWZHHQWZRRUPRUHFRPPDQGHUVRIXQLILHGFRPPDQGVWRZKLFKWKHVHSDUDWHFRPPDQGVDUHDVVLJQHG:KHQWKH
   GLIIHUHQWFRPPDQGVRIWKH$UP\1DY\$LU)RUFH0DULQH&RUSVDQG&RDVW*XDUGMRLQRUVHUYHWRJHWKHUWKHRIILFHU
   KLJKHVWLQJUDGHLQWKH$UP\1DY\$LU)RUFH0DULQH&RUSVRU&RDVW*XDUGZKRLVRWKHUZLVHHOLJLEOHWRFRPPDQG
   ZLOOFRPPDQGDOOWKRVHIRUFHVXQOHVVRWKHUZLVHGLUHFWHGE\WKH3UHVLGHQW VHH86& 
      E8QOHVVRWKHUZLVHGLUHFWHGE\SURSHUDXWKRULW\LQWKHRSHUDWLRQDOFKDLQRIFRPPDQGWKHFRPPDQGHURIWKHMRLQW
   IRUFHVH[HUFLVHVRSHUDWLRQDOFRQWURORIWKHIRUFHVRIHDFK6HUYLFH7KLVZLOOEHGRQHWKURXJKWKHFRPPDQGHURIHDFK
   FRPSRQHQWZKRZLOOUHWDLQUHVSRQVLELOLW\IRUVXFKLQWUDVHUYLFHPDWWHUVDVDGPLQLVWUDWLRQGLVFLSOLQHLQWHUQDORUJDQL
   ]DWLRQDQGXQLWWUDLQLQJ2UGLQDULO\DQDFFXVHGZLOOQRWEHWULHGE\DFRXUWPDUWLDOFRQYHQHGE\DPHPEHURIDGLI
   IHUHQW$UPHG)RUFHXQOHVVWKHDFFXVHGFDQQRWEHGHOLYHUHGWRWKHLURZQ6HUYLFHZLWKRXWPDQLIHVWLQMXU\WRWKH$UPHG
   )RUFHV+RZHYHUFRPPDQGHUVRIXQLILHGFRPEDWDQWFRPPDQGVPD\FRQYHQHFRXUWVPDUWLDORYHUPHPEHUVRIDQ\RI
   WKH$UPHG)RUFHVDQGFRPPDQGHUVRIMRLQWFRPPDQGVRUMRLQWWDVNIRUFHVPD\FRQYHQHJHQHUDOFRXUWVPDUWLDOIRU
   WKHWULDORIPHPEHUVRIDQ\RIWKH$UPHG)RUFHVDVVLJQHGRUDWWDFKHGWRWKHLUFRPPDQGZKHQVSHFLILFDOO\HPSRZHUHG
   WRFRQYHQHJHQHUDOFRXUWVPDUWLDOE\WKH3UHVLGHQWRU6HFUHWDU\RI'HIHQVHXQGHU8&0-$UW D   VHH0&0
   5XOHIRU&RXUWV0DUWLDO 5&0  H 

   ±,QHOLJLELOLW\IRUFRPPDQGRISRVWRUDFWLYLW\
   $SHUVRQZLOOEHFRQVLGHUHGLQHOLJLEOHIRUFRPPDQGRIDQLQVWDOODWLRQDSRVWRUDFWLYLW\ZKHQ²
     D4XDUWHUHGWKHUHEXWKDVDKHDGTXDUWHUVRURIILFHHOVHZKHUH
     E$VWXGHQWDWD6HUYLFHVFKRRORU'$&LYLOLDQLQVWLWXWLRQRUXQGHUJRLQJLQGLYLGXDOWUDLQLQJLQVWUXFWLRQRUWHP
   SRUDU\GXW\ 7'< HQURXWHWRDSRVWZKHUHWKH\DUHQRWDSDUWRIWKHFRPPDQG
     F1RWSHUPDQHQWO\DVVLJQHGDQGRUWKHXQLWLQYROYHGLVQRWSHUPDQHQWO\DVVLJQHGWRWKHSRVW


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      G$VVLJQHGSULPDULO\DVDSHUPDQHQWPHPEHURIDERDUG
      H3URKLELWHGIURPDVVXPLQJFRPPDQGE\VWDWXWHRUE\SDUDJUDSK±       




      I$VVLJQHGVSHFLILFGXW\DERDUGDPLOLWDU\YHVVHORUDLUFUDIWZKHUHWKHRIILFHU¶VSDUWLFXODUGXW\VSHFLDOW\RUPLOL
   WDU\RFFXSDWLRQDOVSHFLDOW\ 026  GRHVQRWWHFKQLFDOO\TXDOLI\KLPRU KHUWRDVVXPH WKHGXW\RIVKLS¶V PDVWHURU
   DLUFUDIWFRPPDQGHU
      J,QDUUHVW DSHUVRQXQGHUDUUHVWLVLQHOLJLEOHWRH[HUFLVHFRPPDQGRIDQ\NLQG 

   ±5HVWULFWLRQV
      D2IILFHUVRQGXW\LQ'HSDUWPHQWRIWKH$UP\6WDIIDJHQFLHV2IILFHUVRQGXW\RUGHWDLOHGWRDQ\RIWKH6HUYLFHV
   RUVWDIIDJHQFLHVDQGEXUHDXVRI'$ LQFOXGLQJKHDGVWKHUHRI ZLOOQRWQRUPDOO\DVVXPHFRPPDQGRIWURRSVRWKHUWKDQ
   WKRVHRIWKH6HUYLFHVWDIIRUEXUHDXVZKHUHWKH\DUHRQGXW\([FHSWLRQVPXVWEHGLUHFWHGE\SURSHUDXWKRULW\
      E2IILFHUVRIWKH$UP\0HGLFDO'HSDUWPHQW
        2IILFHUVRIWKH$0(''PD\H[HUFLVHFRPPDQGZLWKLQWKH$0(''DFFRUGLQJWR$5 ±                                     




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   DXWKRUL]HGE\WKH6(&$50<FRPPDQGHUVRI$&20V$6&&V'58V$UP\JURXSVDUPLHVFRUSVGLYLVLRQVRU
   FRPSDUDEOHXQLWVFKLHIVRIWKHPLOLWDU\VHUYLFHVRUKHDGVRIRWKHU'$VWDIIDJHQFLHV
      F&KDSODLQV$FKDSODLQKDVUDQNZLWKRXWFRPPDQG$OWKRXJKFKDSODLQVPD\QRWH[HUFLVHFRPPDQGWKH\PD\
   H[HUFLVHRSHUDWLRQDOVXSHUYLVLRQDQGFRQWURO
      G&RPPDQGLQJRIILFHURIWURRSVRQWUDQVSRUWV0LOLWDU\SHUVRQQHOHPEDUNLQJRQ0LOLWDU\6HDOLIW&RPPDQGYHV
   VHOV DUH DYDLODEOH IRU FRPPDQG GXW\ XQOHVV RWKHUZLVH LQGLFDWHG LQ WKHLU WUDYHO RUGHUV RU SUHFOXGHG IURP DVVXPLQJ
   FRPPDQGE\UHDVRQRIWKHLUEUDQFKRI6HUYLFH*2VZLOOEHH[FOXGHGIURPWKLVUHTXLUHPHQW'HVLJQDWLRQRIFRORQHOV
   ZLOOEHDWWKHGLVFUHWLRQRIWKHWHUPLQDOFRPPDQGHU
      H86$UP\5HVHUYHXQLWFRPPDQGHUV7KHDXWKRULW\GHOHJDWHGXQGHUSDUDJUDSK± ZLOODSSO\LQWKHIROORZLQJ    




   FDVHVZKHQLWLVQRWSUDFWLFDOWRDVVLJQWKHVHQLRURIILFHUWRFRPPDQG
        :KHQWKH86$5RIILFHUVHOHFWHGWRFRPPDQGD86$5XQLWZKLOHLQ5HVHUYHGXW\WUDLQLQJVWDWXVLVMXQLRULQ
   '25WRRWKHURIILFHUVRIWKHVDPHJUDGHDVVLJQHGWRWKDWXQLW VHH$5 ±  ±                       




        :KHQ D 86$5 XQLW LV RUGHUHG WR DFWLYH GXW\ DQG WKH DVVLJQHG XQLW FRPPDQGHU LV MXQLRU LQ '25 WR RWKHU
   DVVLJQHGRIILFHUVRIWKHVDPHJUDGH VHH$5 ±  ±  
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      I:DUUDQWRIILFHUV:KHQDVVLJQHGGXWLHVDVVWDWLRQXQLWRUGHWDFKPHQWFRPPDQGHU:2VDUHYHVWHGZLWKDOOWKH
   SRZHUVXVXDOO\H[HUFLVHGE\RWKHUFRPPLVVLRQHGRIILFHUV VHH'$3DP ± IRUH[FHSWLRQV 
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      J3DUWLDOO\GLVDEOHGRIILFHUV3DUWLDOO\GLVDEOHGRIILFHUVFRQWLQXHGRQDFWLYHGXW\XQGHU$5 ± ZLOOEHDV                 




   VLJQHGWRSRVLWLRQVLQZKLFKWKHLUVSHFLDOTXDOLILFDWLRQVPDNHWKHPRISDUWLFXODUYDOXHWRWKH6HUYLFH6XFKRIILFHUV
   ZLOOQRWEHDVVLJQHGWRFRPPDQGSRVLWLRQVXQOHVVWKHDVVLJQLQJDXWKRULW\GHWHUPLQHVWKDWWKHSHUVRQ²
        +DVWKHPHGLFDO SK\VLFDO FDUHHUSRWHQWLDOWRVHUYHLQFRPEDWVLWXDWLRQV
        $EOHWRVHUYHXQWLOWKHDJHIRUPDQGDWRU\UHWLUHPHQW
      K,QVSHFWRUVJHQHUDO$QRIILFHUGHWDLOHGWRGXW\DVDQLQVSHFWRUJHQHUDO ,* ZLOOQRWDVVXPHFRPPDQGRIWURRSV
   ZKLOHVRGHWDLOHG+RZHYHUDQ,*LVQRWSUHFOXGHGIURPDVVXPLQJWHPSRUDU\FRPPDQGRIDQRUJDQL]DWLRQLIKHRU
   VKH²
        ,VWKHQH[WVHQLRUUHJXODUO\DVVLJQHG$UP\RIILFHURIWKHRUJDQL]DWLRQ
        ,VQRWRWKHUZLVHLQHOLJLEOH
        +DVEHHQUHOLHYHGIURPGHWDLODVDQ,*GXULQJWKHSHULRGRIWHPSRUDU\FRPPDQG
      L3URJUDPH[HFXWLYHRIILFHUV:LWKWKHH[FHSWLRQRIWKH&*86$UP\&RUSVRI(QJLQHHUVDQGWKH&*86
   $UP\6SDFHDQG0LVVLOH'HIHQVH&RPPDQGDQRIILFHUDVVLJQHGDVDSURJUDPH[HFXWLYHRIILFHUZLOOQRWDVVXPHFRP
   PDQGRIWURRSVLQVWDOODWLRQVRUDFWLYLWLHVZKLOHVRDVVLJQHG5HTXHVWVIRUH[FHSWLRQVIRU*2VRWKHUWKDQWKRVHVSHF
   LILHGDERYHZLOOEHVXEPLWWHGWR*HQHUDO2IILFHU0DQDJHPHQW2IILFH '$&6 ± *20 $UP\3HQWDJRQ:DVKLQJ
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   WRQ'& ± 
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      M3URIHVVRUVDWWKH860LOLWDU\$FDGHP\2IILFHUVDSSRLQWHGDVSHUPDQHQWSURIHVVRUVDWWKH860LOLWDU\$FDG
   HP\ 860$ H[HUFLVHFRPPDQGRQO\LQWKHDFDGHPLFGHSDUWPHQWVRIWKH860$

   ±5HOLHIIRUFDXVH
      D:KHQDKLJKHUUDQNLQJFRPPDQGHUORVHVFRQILGHQFHLQDVXERUGLQDWHFRPPDQGHU¶VDELOLW\WRFRPPDQGGXHWR
   PLVFRQGXFWSRRUMXGJPHQWWKHVXERUGLQDWH¶VLQDELOLW\WRFRPSOHWHDVVLJQHGGXWLHVRUIRURWKHUVLPLODUUHDVRQVWKH
   KLJKHUUDQNLQJFRPPDQGHUKDVWKHDXWKRULW\WRUHOLHYHWKHVXERUGLQDWHFRPPDQGHU5HOLHILVQRUPDOO\SUHFHGHGZLWK
   IRUPDOFRXQVHOLQJE\WKHFRPPDQGHURUVXSHUYLVRUXQOHVVVXFKDFWLRQLVQRWGHHPHGDSSURSULDWHRUSUDFWLFDOXQGHU
   WKHFLUFXPVWDQFHV$OWKRXJKDQ\FRPPDQGHUPD\WHPSRUDULO\VXVSHQGDVXERUGLQDWHIURPFRPPDQGILQDODFWLRQWR
   UHOLHYHDQRIILFHUIURPDQ\FRPPDQGSRVLWLRQZLOOQRWEHWDNHQXQWLODIWHUZULWWHQDSSURYDOLVREWDLQHGIURPWKHILUVW



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                                                   $5±-XO\                                                                   
Case 1:21-cv-02228-RM-STV Document 37-14 Filed 11/23/21 USDC Colorado Page 48 of
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   *2 WRLQFOXGHRQHIURFNHGWRWKHJUDGHRI%* LQWKHFKDLQRIFRPPDQGRIWKHRIILFHUEHLQJUHOLHYHG$Q\DFWLRQ
   SXUSRUWLQJ WR ILQDOO\ UHOLHYH DQ RIILFHU IURP DQ\ FRPPDQG SRVLWLRQ SULRU WR WKH UHTXLUHG ZULWWHQ DSSURYDO ZLOO EH
   FRQVLGHUHGIRUDOOSXUSRVHVDVDWHPSRUDU\VXVSHQVLRQIURPDVVLJQHGGXWLHVUDWKHUWKDQDILQDOUHOLHIIURPFRPPDQG
   IRUFDXVH,ID*2 WRLQFOXGHRQHIURFNHGWRWKHJUDGHRI%* LVWKHUHOLHYLQJRIILFLDOQRIXUWKHUDSSURYDORIWKHUHOLHI
   DFWLRQLVUHTXLUHGKRZHYHUWKHSURYLVLRQVRI$5 ± FRQFHUQLQJWKHDGPLQLVWUDWLYHUHYLHZRIUHOLHIUHSRUWVUHPDLQ
                                                                            




   DSSOLFDEOH
      E:KHQDFRPPDQGHUORVHVFRQILGHQFHLQD&60¶VDELOLW\WRSHUIRUPGXWLHVGXHWRDQ\RIWKHUHDVRQVRXWOLQHGLQ
   VXESDUDJUDSK±DWKHSURFHGXUHVLQ$5 ± PXVWEHIROORZHG
                                                            




      F,IDUHOLHIIRUFDXVHLVFRQWHPSODWHGRQWKHEDVLVRIDQLQYHVWLJDWLRQXQGHU$5 ± WKHUHIHUUDODQGFRPPHQW
                                                                                                       




   SURFHGXUHVRIWKDWUHJXODWLRQPXVWEHIROORZHGEHIRUHLQLWLDWLQJRUGLUHFWLQJWKHUHOLHI7KLVGRHVQRWSUHFOXGHDWHP
   SRUDU\VXVSHQVLRQIURPDVVLJQHGGXWLHVSHQGLQJFRPSOHWLRQRIWKHSURFHGXUDOVDIHJXDUGVFRQWDLQHGLQ$5 ± $Q\         




   DFWLRQSXUSRUWLQJWRLQLWLDWHRUGLUHFWDUHOLHIIRUFDXVHRQWKHEDVLVRIDQLQYHVWLJDWLRQXQGHU$5 ± WDNHQSULRUWR
                                                                                                                     




   FRPSOHWLRQRIWKHSURFHGXUDOVDIHJXDUGVRI$5 ± ZLOOEHFRQVLGHUHGIRUDOOSXUSRVHVDVDWHPSRUDU\VXVSHQVLRQ
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   IURPDVVLJQHGGXWLHV

   ±1RQFRPPLVVLRQHGRIILFHUVXSSRUWFKDQQHO
      D7KH1&2VXSSRUWFKDQQHO OHDGHUVKLSFKDLQ SDUDOOHOVDQGFRPSOHPHQWVWKHFKDLQRIFRPPDQG,WLVDFKDQQHO
   RIFRPPXQLFDWLRQDQGVXSHUYLVLRQIURPWKH&60WRWKH6*DQGWKHQWRRWKHU1&2VDQGHQOLVWHGSHUVRQQHORIWKH
   XQLW&RPPDQGHUVZLOOGHILQHWKHUHVSRQVLELOLWLHVDQGDXWKRULW\RIWKHLU1&2VWRWKHLUVWDIIVDQGVXERUGLQDWHV7KLV
   1&2VXSSRUWFKDQQHOZLOODVVLVWWKHFKDLQRIFRPPDQGLQDFFRPSOLVKLQJWKHIROORZLQJ
        7UDQVPLWWLQJLQVWLOOLQJDQGHQVXULQJWKHHIILFDF\RIWKHSURIHVVLRQDO$UP\(WKLF
        3ODQQLQJDQGFRQGXFWLQJWKHGD\WRGD\XQLWRSHUDWLRQVZLWKLQSUHVFULEHGSROLFLHVDQGGLUHFWLYHV
        7UDLQLQJHQOLVWHG6ROGLHUVLQWKHLU026DVZHOODVLQWKHEDVLFVNLOOVDQGDWWULEXWHVRID6ROGLHU
        6XSHUYLVLQJXQLWSK\VLFDOILWQHVVWUDLQLQJDQGHQVXULQJWKDWXQLW6ROGLHUVFRPSO\ZLWKWKHZHLJKWDQGDSSHDU
   DQFHVWDQGDUGVRI$5 ± DQG$5 ± 
                                                 




        7HDFKLQJ6ROGLHUVWKHKLVWRU\RIWKH$UP\WRLQFOXGHPLOLWDU\FXVWRPVFRXUWHVLHVDQGWUDGLWLRQV
        &DULQJIRULQGLYLGXDO6ROGLHUVDQGWKHLU)DPLOLHVERWKRQDQGRIIGXW\
        7HDFKLQJ6ROGLHUVWKHPLVVLRQRIWKHXQLWDQGGHYHORSLQJLQGLYLGXDOWUDLQLQJSURJUDPVWRVXSSRUWWKHPLVVLRQ
        $FFRXQWLQJIRUDQGPDLQWDLQLQJLQGLYLGXDODUPVDQGHTXLSPHQWRIHQOLVWHG6ROGLHUVDQGXQLWHTXLSPHQWXQGHU
   WKHLUFRQWURO
        $GPLQLVWHULQJDQGPRQLWRULQJWKH1RQFRPPLVVLRQHG2IILFHU¶V'HYHORSPHQW3URJUDPDQGRWKHUXQLWWUDLQLQJ
   SURJUDPV
        $FKLHYLQJDQGPDLQWDLQLQJFRXUDJHFDQGRUFRPSHWHQFHFRPPLWPHQWDQGFRPSDVVLRQ
        )RVWHULQJ LQLWLDWLYHV WKURXJK WKH 1&2 VXSSRUW FKDQQHO WKDW HQFRXUDJH ILUVWOLQH DQG MXQLRU OHDGHUV WR WDNH
   UHVSRQVLELOLW\IRUEXLOGLQJDWHDPLQDFOLPDWHRIUHVSHFWDQGWUXVW
      E'$3DP ± DQG7& ± FRQWDLQVSHFLILFLQIRUPDWLRQFRQFHUQLQJWKHUHVSRQVLELOLWLHVFRPPDQGIXQF
                                         




   WLRQVDQGVFRSHRI1&2GXWLHV
        6HUJHDQW0DMRURIWKH$UP\7KLVLVWKHVHQLRU6*0JUDGHDQGGHVLJQDWHVWKHVHQLRUHQOLVWHGSRVLWLRQRIWKH
   $UP\7KH6*0LQWKLVSRVLWLRQVHUYHVDVWKHVHQLRUHQOLVWHGDGYLVRUDQGFRQVXOWDQWWRWKH6(&$50<DQG&6$DQG
   DGYLVHVVHQLRU$UP\OHDGHUVKLSRQPDWWHUVDIIHFWLQJPDQQLQJHTXLSSLQJWUDLQLQJTXDOLW\RIOLIHDQGRWKHUSROLFLHV
   DQGSURJUDPVWKDWPD\DIIHFWWKH$UP\
        &RPPDQGVHUJHDQWPDMRU7KLVSRVLWLRQWLWOHGHVLJQDWHVWKHVHQLRU1&2RIWKHFRPPDQGDWEDWWDOLRQRUKLJKHU
   OHYHOV7KH\FDUU\RXWSROLFLHVHQIRUFHVWDQGDUGVDQGDGYLVHWKHFRPPDQGHURQWKHSHUIRUPDQFHWUDLQLQJDSSHDUDQFH
   DQGFRQGXFWRIHQOLVWHG6ROGLHUV7KH&60DGPLQLVWHUVWKHXQLW1RQFRPPLVVLRQHG2IILFHU¶V'HYHORSPHQW3URJUDP
        )LUVWVHUJHDQW7KHSRVLWLRQRI6*GHVLJQDWHVWKHVHQLRU1&2DWFRPSDQ\OHYHO7KH6*RIDVHSDUDWHFRP
   SDQ\ RU HTXLYDOHQW OHYHO RUJDQL]DWLRQ DGPLQLVWHUV WKH XQLW 1RQFRPPLVVLRQHG 2IILFHU¶V 3URIHVVLRQDO 'HYHORSPHQW
   3URJUDP
        3ODWRRQVHUJHDQW7KHSODWRRQ6*7LVWKHNH\DVVLVWDQWDQGDGYLVRUWRWKHSODWRRQOHDGHU,QWKHDEVHQFHRIWKH
   SODWRRQOHDGHUWKHSODWRRQ6*7OHDGVWKHSODWRRQ
        6HFWLRQVTXDGDQGWHDPOHDGHUV7KHVHGLUHFWOHDGHUVDUHWKH1&2VUHVSRQVLEOHDWWKLVOHYHO
      F1&2GLVFLSOLQDU\SROLFLHVDUHVKRZQEHORZ
        1&2VDUHLPSRUWDQWWRPDLQWDLQLQJGLVFLSOLQHLQWKH$UP\7KHSROLFLHVSUHVFULEHGLQWKLVVXESDUDJUDSKVKRXOG
   EHFRQVLGHUHGWRJHWKHUZLWKWKHSURYLVLRQVRIFKDSWHURIWKLVUHJXODWLRQ$5 ± DQGWKH0&0
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       D 1&2VKDYHWKHDXWKRULW\WRDSSUHKHQGSHUVRQVVXEMHFWWRWKH8&0-SXUVXDQW8&0-$UW5&0 E DQG
   FKDSWHU




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                                                       $5±-XO\                                                   
Case 1:21-cv-02228-RM-STV Document 37-14 Filed 11/23/21 USDC Colorado Page 49 of
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       E 1&2VPD\EHDXWKRUL]HGE\WKHLUFRPPDQGHUVWRRUGHUHQOLVWHG6ROGLHUVRIWKHFRPPDQGLQJRIILFHU¶VFRPPDQG
   RUHQOLVWHG6ROGLHUVVXEMHFWWRWKHDXWKRULW\RIWKDWFRPPDQGLQJRIILFHULQWRDUUHVWRUFRQILQHPHQWSXUVXDQWWR8&0-
   $UWDQG5&0 E 
        1&2V GR QRW KDYH DXWKRULW\ WR LPSRVH QRQMXGLFLDO SXQLVKPHQW RQ RWKHU HQOLVWHG 6ROGLHUV XQGHU WKH 0&0
    8&0- $UW   +RZHYHU WKH FRPPDQGHU PD\ DXWKRUL]H DQ 1&2 LQ WKH JUDGH RI 6)& RU DERYH SURYLGHG VXFK
   SHUVRQLVVHQLRUWRWKH6ROGLHUEHLQJQRWLILHGWRGHOLYHUWKH'$)RUP 5HFRUGRI3URFHHGLQJVXQGHU$UWLFOH
   8&0- DQGLQIRUPWKH6ROGLHURIKLVRUKHUULJKWV,QFDVHVRIQRQMXGLFLDOSXQLVKPHQWWKHUHFRPPHQGDWLRQVRI1&2V
   VKRXOGEHVRXJKWDQGFRQVLGHUHGE\WKHXQLWFRPPDQGHUV
        $V HQOLVWHG OHDGHUV RI 6ROGLHUV 1&2V DUH HVVHQWLDO WR IXUWKHULQJ WKH HIILFLHQF\ RI WKH FRPSDQ\ EDWWHU\ RU
   WURRS7KLVIXQFWLRQ LQFOXGHV SUHYHQWLQJLQFLGHQWVWKDW PDNH LWQHFHVVDU\WRUHVRUWWRWULDOE\FRXUWVPDUWLDORUWKH
   LPSRVLWLRQRIQRQMXGLFLDOSXQLVKPHQW7KXV1&2VDUHDVVLVWDQWVWRFRPPDQGHUVLQDGPLQLVWHULQJPLQRUQRQSXQLWLYH
   FRUUHFWLYHDFWLRQVDVIRXQGLQ$5 ± DQG3DUW9RIWKH0&01RQSXQLWLYHPHDVXUHVDUHQRWQRQMXGLFLDOSXQ
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   LVKPHQW
        ,QWDNLQJFRUUHFWLYHDFWLRQ ZLWKUHJDUGWRVXERUGLQDWHV 1&2V ZLOOEHJXLGHGE\DQGREVHUYHWKHSULQFLSOHV
   OLVWHGLQFKDSWHU
      G1&2SUHURJDWLYHVDQGSULYLOHJHVDUHVKRZQEHORZ1&2VZLOO²
        )XQFWLRQRQO\LQVXSHUYLVRU\UROHVRQZRUNGHWDLOVDQGRQO\DV1&2VRIWKHJXDUGRQJXDUGGXW\H[FHSWZKHQ
   WHPSRUDU\SHUVRQQHOVKRUWDJHVUHTXLUHWKH1&2WRDFWLYHO\SDUWLFLSDWHLQWKHZRUNGHWDLO
        %HJUDQWHGVXFKSULYLOHJHVDVRUJDQL]DWLRQVDQG6&VDUHFDSDEOHRIJUDQWLQJDQGFRQVLGHUSURSHUWRHQKDQFHWKH
   SUHVWLJHRIWKHLUHQOLVWHGWURRSOHDGHUV

   &KDSWHU
   5HDG\DQG5HVLOLHQW

   ±*HQHUDO
      D7KH'HSXW\&KLHIRI6WDII* ±  '$3( ± $5 H[HFXWHVWKH5HDG\DQG5HVLOLHQWUHTXLUHPHQWVXQGHUWKHVXSHU
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   YLVLRQRIWKH$VVLVWDQW6HFUHWDU\RIWKH$UP\0DQSRZHUDQG5HVHUYH$IIDLUV $6$0 5$ $UP\3HQWDJRQ
   :DVKLQJWRQ'& ± 
                                




      E7KH$UP\UHTXLUHVLQQRYDWLYHDQGDGDSWLYHOHDGHUVRIFKDUDFWHUDQGFRKHVLYHWHDPVRIILWUHVLOLHQWLQGLYLGXDOV
   ZKRDUHFRPPLWWHGWRWKH$UP\3URIHVVLRQDQGDEOHWRWKULYHLQFRQGLWLRQVRIFRPSOH[LW\DQGXQFHUWDLQW\7RVXVWDLQ
   WKLVYLVLRQWKH$UP\SURYLGHVFRPPDQGHUVDQGOHDGHUVUHDG\DQGUHVLOLHQWFDSDELOLWLHVHQDEOLQJWKHPWRVWUHQJWKHQ
   UHVLOLHQF\DQGLPSURYHUHDGLQHVV6XVWDLQLQJSHUVRQDOUHDGLQHVVLVDQHFHVVDU\FRPSRQHQWRIPDLQWDLQLQJWKHUHDGLQHVV
   RIWKH)RUFH3HUVRQDOUHDGLQHVVLVDQLQGLYLGXDO¶VSK\VLFDOSV\FKRORJLFDOVRFLDOVSLULWXDODQG)DPLO\SUHSDUHGQHVV
   WRVWUHQJWKHQLQGLYLGXDOUHDGLQHVVDQGSURPRWHDFXOWXUHRIWUXVWIRXQGHGRQWKH$UP\9DOXHV
      F7KH$UP\KDVLPSOHPHQWHGDKROLVWLFFRPSUHKHQVLYHSUHYHQWLRQPRGHOWRVWUHQJWKHQ6ROGLHUVEXLOGSURWHFWLYH
   IDFWRUVDQGIRVWHUDFXOWXUHRIWUXVWWRSURPRWHGHSOR\DELOLW\VXFFHVVIXOVHUYLFHDQGXQLWFRKHVLRQ7KHSUHYHQWLRQ
   PRGHOHPSRZHUV$UP\OHDGHUVWRJDLQDKROLVWLFSLFWXUHRISHUVRQDOUHDGLQHVVIURPHQWU\WRHQGRIVHUYLFHDQGWDLORU
   DQGRSHUDWLRQDOL]HUHVRXUFHVDQGWUDLQLQJEDVHGRQLGHQWLILHGRSSRUWXQLWLHVDQGHYLGHQFHLQIRUPHGSUDFWLFHVWKDWIRFXV
   RQVWUHQJWKHQLQJWKHIRUFH7KH$UP\LVDOVRIRFXVHGRQLPSURYLQJUHDGLQHVVRIWKH$UP\WKURXJKWKHGHYHORSPHQW
   DQGHQKDQFHPHQWRIVFLHQFHDQGUHVHDUFKGDWDFROOHFWLRQDQGDQDO\VLVVWUDWHJLFFRPPXQLFDWLRQVWUDLQLQJDQGSROL
   FLHVWKDWDUHGHVLJQHGWRLPSURYHLQGLYLGXDOUHDGLQHVVDQGUHVLOLHQFHDQGPLQLPL]HVXLFLGHEHKDYLRUVIRU6ROGLHUV'$
   &LYLOLDQVDQG)DPLOLHV
      G5KDVIRXUVWUDWHJLFREMHFWLYHV²
        6XVWDLQHGSHUVRQDOUHDGLQHVVWRPHHWRSHUDWLRQDOUHTXLUHPHQWV
        6XVWDLQDYDOXHVEDVHGRUJDQL]DWLRQRIWUXVWHG$UP\SURIHVVLRQDOV
        (QKDQFHGYLVLELOLW\RISHUVRQDOUHDGLQHVVWKURXJKRXWDFDUHHU
        5PDQDJHPHQWWKDWHQDEOHVSHUVRQDOUHDGLQHVV

   ±7KH$UP\5HDG\DQG5HVLOLHQWVWUDWHJLFJRYHUQDQFHSURFHVV
   7KH5JRYHUQDQFHSURFHVVLVRQHE\ZKLFKLQGLYLGXDOSURJUDPVDQGSURFHVVHVWKDWRQFHRSHUDWHG LQGHSHQGHQWO\
   SURYLGHVHQLRUOHDGHUVKLSZLWKDFROODERUDWLYHV\QWKHVLVRILQIRUPDWLRQWRRYHUVHHLGHQWLI\DQGFULWLFDOO\DVVHVVWKH
   DWWULEXWHVRISHUVRQDOUHDGLQHVVDVZHOODVJDSVDQGSRWHQWLDOVROXWLRQVWKDWHQKDQFH5H[HFXWLRQ7KHSURFHVVHYDO
   XDWHV DQG VWUHQJWKHQV WKH $UP\ WKURXJK D FRPSUHKHQVLYH VWUDWHJ\ WKDW XWLOL]HV IHHGEDFN DQG PHWULFV WKDW VXSSRUW
   WLPHO\GHFLVLRQVLGHQWLILHVV\QFKURQL]HVDQGLPSURYHVHIILFLHQFLHVDQGDOORFDWHVWKHDSSURSULDWHUHVRXUFHVQHHGHGWR
   LQFUHDVHWKHUHDGLQHVVRIWKH)RUFH2YHUDOO5JRYHUQDQFHVWUHDPOLQHVDQGIDFLOLWDWHVFRPPXQLFDWLRQDQGSURYLGHV




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   RSSRUWXQLWLHVWRLPSOHPHQWHPHUJLQJSUDFWLFHVUDSLGO\WKURXJKRXWWKH$UP\7KHJRYHUQDQFHSURFHVVFRQVLVWVRIPXO
   WLSOH HQWLWLHV LQFOXGLQJ EXW QRW OLPLWHG WR WKH 6HQLRU &RPPDQGHUV¶ 5HDG\ DQG 5HVLOLHQW &RXQFLO &5&  DQG
   $&20$6&&'58'LUHFWRU$51*&5&
      D$WLQVWDOODWLRQVWKH&5&LVDFRPPXQLW\OHYHOJRYHUQLQJERG\FKDLUHGE\WKH6&WRSURYLGHDFRPSUHKHQVLYH
   DSSURDFKWRUHDGLQHVVDQGUHVLOLHQFH7KH&5&LVWKHSODWIRUPWRGHWHUPLQHSULRULWL]HDQGHOHYDWHLVVXHVWKDWLPSDFW
   SHUVRQDOUHDGLQHVVDQGKHDOWKRIWKHLQVWDOODWLRQDVZHOODVLGHQWLI\JDSVDQGRYHUODSVLQFDSDELOLWLHVDQGVHUYLFHVWR
   HQVXUHDSSURSULDWHUHVRXUFHVDUHDOLJQHGWRLGHQWLILHGREMHFWLYHV
      E7KH $&20$6&&'58'LUHFWRU $51* &5& LV D IRUXP LQ ZKLFK FRPPDQGHUV DVVHVV SHUVRQDO UHDGLQHVV
   DFURVVWKHFRPPDQGSURYLGHJXLGDQFHDQGHVWDEOLVKSULRULWLHVLQVXSSRUWRIRSHUDWLRQDOREMHFWLYHV
      F7KHUHDUHVXSSRUWLQJ5IRUXPVDW+4'$7KHVHLQFOXGHWKH&RXQFLORI&RORQHOVFKDLUHGE\WKH'&6* ±        




   7KH6XUJHRQ*HQHUDO 76* DQGWKH'&6* ± DQGWKH*HQHUDO2IILFHU6WHHULQJ&RPPLWWHHFKDLUHGE\WKH'&6
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   *± 76*DQGWKH'&6* ± 7KHVXSSRUWLQJJRYHUQLQJSURFHVVSURYLGHVDQDYHQXHWKURXJKZKLFKFKDOOHQJHVDQG
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   HPHUJLQJSUDFWLFHVDUHDFWLRQHGE\$567$)LQVXSSRUWRI5LQLWLDWLYHV

   ±5HVSRQVLELOLWLHV
      D7KH6(&$50<HVWDEOLVKHVJXLGDQFHWRHQVXUH$UP\SROLF\SURJUDPVSURFHVVHVV\VWHPVDQGUHVRXUFHVDUH
   HIIHFWLYHO\WDUJHWHGWRSURPRWH7RWDO$UP\UHDGLQHVV
      E7KH&6$HQVXUHVWKHUHDGLQHVVRIWKH)RUFHE\WKHHIIHFWLYHDQGWLPHO\LPSOHPHQWDWLRQRISROLF\SURJUDPDQG
   EXGJHWGHFLVLRQVQHFHVVDU\WRHQDEOHWKH$UP\¶V5HIIRUWV
      F7KH$6$ 0 5$ RYHUVHHVWKHLPSOHPHQWDWLRQDQGH[HFXWLRQRIWKLVFKDSWHUWRHQVXUHFRPSOLDQFHZLWK'R'
   DQG$UP\SROLF\
      G7KH9&6$²
        6XSHUYLVHVWKH$567$)LQWKHLUFRRUGLQDWHGHIIRUWVWRGHYHORSDQLQWHJUDWHGDQGKROLVWLFDSSURDFKWRHQDEOH
   WKHUHVLOLHQFHDQGUHDGLQHVVRIWKH)RUFH
        $GYLVHVWKH6(&$50<DQG&6$RQUHFRPPHQGDWLRQVDQGLVVXHVUHODWHGWR5
      H7KHRIILFHRIWKH$6$ 0 5$ SURYLGHVVWUDWHJLFJXLGDQFHDQGPDQDJHPHQWRIKXPDQFDSLWDOPLOLWDU\DQG
   '$&LYLOLDQDFURVVDOO$UP\FRPSRQHQWVDQGSURYLGHVVWUDWHJLFJXLGDQFHIRU5FRPPLWWHHV
      I7KH'&6*± LVWKHSURSRQHQWIRUSHUVRQDOUHDGLQHVVDQGUHVLOLHQFHDQGLVUHVSRQVLEOHIRULQWHJUDWLQJDOO5
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   FDSDELOLWLHVLGHQWLI\LQJDQGGHYHORSLQJSROLF\FKDQJHVQHFHVVDU\WRDFKLHYHWKH$UP\¶V5HQGVWDWH5HVSRQVLELOLWLHV
   LQFOXGHWKHIROORZLQJ
        6HUYHVDVSURSRQHQWIRU5
        (VWDEOLVKHVFRPSOLDQFHUHTXLUHPHQWVJXLGDQFHIRU5LQLWLDWLYHV
        $SSRLQWVD5GLUHFWRU
        3URYLGHVVWDIIDQGDGPLQLVWUDWLYHVXSSRUWDQGFRRUGLQDWHVWKHDJHQGDIRUDQGFRQGXFWVPHHWLQJVRIWKH$UP\
   5&RXQFLO
        0DLQWDLQVDQGXSGDWHVWKHWRROVQHFHVVDU\WRHQVXUHDKROLVWLFDSSURDFKWRLQWHJUDWHGVWUDWHJLFSODQQLQJIRU5
   HIIRUWV
        5HSUHVHQWVWKHKROLVWLFSHUVSHFWLYHRI$UP\5LQLWLDWLYHVLQWKHSODQQLQJSURJUDPPLQJEXGJHWLQJDQGH[H
   FXWLRQSURFHVV
      J$567$)SULQFLSDOVSURYLGHVWUDWHJLFRYHUVLJKWDQGGLUHFW $UP\ ZLGHSROLF\SURJUDPVDQGRUVHUYLFHV DQG
   DVVRFLDWHGUHVRXUFHVLQVXSSRUWRI5JRDOVDQGRXWFRPHV
      K$&20$6&&'58FRPPDQGHUV86$5DQG$51*
        2QDQRQJRLQJEDVLVPRQLWRUDQGVXEPLWWRWKH'&6* ± UHTXLUHGUHSRUWVRQLQVWDOODWLRQUHJLRQDODQGFRP
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   PDQGSHUVRQDOUHDGLQHVVWUHQGVDQGLQLWLDWLYHVWRDVVLVWLQLGHQWLI\LQJHPHUJLQJSUDFWLFHV
        5HTXHVWDVVLVWDQFHIURPWKH86$UP\3XEOLF+HDOWK&RPPDQGZLWK&5&VDVQHHGHG
        3URYLGHDGGLWLRQDOUHSRUWVWR+4'$DVUHTXLUHG
        5HTXLUHVXERUGLQDWH FRPPDQGHUVWR XVH5REMHFWLYHVDVWKH IRFDOSRLQWIRUWKHLUULVNUHGXFWLRQDQGKHDOWK
   SURPRWLRQHIIRUWV
        (PSKDVL]H5WUDLQLQJWRWKDWZKLFKEXLOGVSK\VLFDOSV\FKRORJLFDOVRFLDOVSLULWXDODQG)DPLO\SUHSDUHGQHVV
   PLOLWDU\OLIH
      L'LUHFWRU$UP\5HVLOLHQFH'LUHFWRUDWH $5' ²
        3URYLGHVVWUDWHJLFJXLGDQFHDQGIUDPHZRUNIRUSROLFLHVSODQVWUDLQLQJDQGFDSDELOLWLHVIRUDOOUHOHYDQWPDWWHUV
   SHUWDLQLQJWR$UP\5WRLQFOXGH5JRYHUQDQFH
        5HFHLYHVLQSXWUHSRUWVDQGLVVXHVIURP$&20$6&&DQG'58FRPPDQGHUVDQG$51*
        3URYLGHVIHHGEDFNWR$UP\VHQLRUOHDGHUVDQGDVVRFLDWHGDXGLHQFHVWKURXJKUHFXUULQJIRUXPVDVUHTXLUHG




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       &RQGXFWVDQDO\VLVDQGPDNHVUHFRPPHQGDWLRQVWRJRYHUQDQFHERGLHVDGGUHVVLQJWKHLQWHJUDWLRQDQGV\QFKUR
   QL]DWLRQRISROLF\SURJUDPVWUDLQLQJUHVRXUFHVDQGVWUDWHJLFPHVVDJLQJLQVXSSRUWRI5
       0RQLWRUV53RUWIROLRSURJUDPVDQGRYHUVHHELHQQLDOUHYLHZRIWKH53RUWIROLR

   &KDSWHU
   0LOLWDU\'LVFLSOLQHDQG&RQGXFW

   ±0LOLWDU\GLVFLSOLQH
      D0LOLWDU\GLVFLSOLQHLVIRXQGHGXSRQVHOIGLVFLSOLQHUHVSHFWIRUSURSHUO\FRQVWLWXWHGDXWKRULW\DQGWKHHPEUDFLQJ
   RIWKHSURIHVVLRQDO$UP\(WKLFZLWKLWVVXSSRUWLQJLQGLYLGXDOYDOXHV0LOLWDU\GLVFLSOLQHLVLQVWLOOHGWKURXJKSRVLWLYH
   OHDGHUVKLSUHLQIRUFLQJWKHUHJXODWRU\VWDQGDUGVIRUSHUVRQQHODQGWKHWUDLQLQJUHDGLQHVVVWDQGDUGVIRULQGLYLGXDODQG
   FROOHFWLYHWDVNVWRJHWKHUUHVXOWLQJLQDPHQWDODWWLWXGHDERXWSURSHUFRQGXFWDQGREHGLHQFHWRODZIXOPLOLWDU\DXWKRU
   LW\
      E:KLOHPLOLWDU\GLVFLSOLQHLVWKHUHVXOWRIHIIHFWLYHWUDLQLQJLWLVDIIHFWHGE\HYHU\IHDWXUHRIPLOLWDU\OLIH,WLV
   PDQLIHVWHGLQLQGLYLGXDOVDQGXQLWVE\FRKHVLRQERQGLQJDQGDVSLULWRIWHDPZRUNE\VPDUWQHVVRIDSSHDUDQFHDQG
   DFWLRQE\FOHDQOLQHVVDQGPDLQWHQDQFHRIGUHVVHTXLSPHQWDQGTXDUWHUVE\GHIHUHQFHWRVHQLRUVDQGPXWXDOUHVSHFW
   EHWZHHQVHQLRUDQGVXERUGLQDWHSHUVRQQHOE\WKHSURPSWDQGZLOOLQJH[HFXWLRQRIERWKWKHOHWWHUDQGWKHVSLULWRIWKH
   OHJDORUGHUVRIWKHLUODZIXOFRPPDQGHUVDQGE\IDLUQHVVMXVWLFHDQGHTXLW\IRUDOO6ROGLHUVUHJDUGOHVVRIUDFHFRORU
   VH[ LQFOXGLQJJHQGHULGHQWLW\ QDWLRQDORULJLQUHOLJLRQDQGVH[XDORULHQWDWLRQ
      F&RPPDQGHUVDQGRWKHUOHDGHUVZLOOPDLQWDLQGLVFLSOLQHDFFRUGLQJWRWKHSROLFLHVRIWKLVFKDSWHUDSSOLFDEOHODZV
   DQGUHJXODWLRQVDQGWKHRUGHUVRIVHQLRUV

   ±2EHGLHQFHWRRUGHUV
   $OOSHUVRQQHOLQWKH$UP\DUHUHTXLUHGWRVWULFWO\REH\DQGSURPSWO\H[HFXWHWKHOHJDORUGHUVRIWKHLUODZIXOVHQLRUV

   ±0LOLWDU\FRXUWHV\
      D&RXUWHV\DPRQJPHPEHUVRIWKH$UPHG)RUFHVLVYLWDOWRPDLQWDLQLQJPLOLWDU\GLVFLSOLQH5HVSHFWWRVHQLRUV
   ZLOOEHH[WHQGHGDWDOOWLPHV VHH$5 ±  
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      E7KHDFWLRQVRIPLOLWDU\SHUVRQQHOZLOOUHIOHFWUHVSHFWWRERWKWKHQDWLRQDODQWKHPDQGWKHQDWLRQDOFRORUV7KH
   FRXUWHVLHVOLVWHGLQ$5 ± VKRXOGEHUHQGHUHGWKHQDWLRQDOFRORUVDQGQDWLRQDODQWKHPDWSXEOLFHYHQWVZKHWKHU
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   WKH6ROGLHULVRIIRURQGXW\ZKHWKHUKHRUVKHLVLQRURXWRIXQLIRUP,QWHQWLRQDOGLVUHVSHFWWRWKHQDWLRQDOFRORUVRU
   QDWLRQDODQWKHPLVFRQGXFWSUHMXGLFLDOWRJRRGRUGHUDQGGLVFLSOLQHDQGGLVFUHGLWVWKH$UP\

   ±6ROGLHUFRQGXFW
      D(QVXULQJ WKH SURSHU FRQGXFW RI 6ROGLHUV LV D IXQFWLRQ RI FRPPDQG &RPPDQGHUV DQG OHDGHUV LQ WKH $UP\
   ZKHWKHURQRURIIGXW\RULQDOHDYHVWDWXVZLOO²
        (QVXUHDOO6ROGLHUVSUHVHQWDQHDWPLOLWDU\DSSHDUDQFH
        7DNHDSSURSULDWHDFWLRQFRQVLVWHQWZLWK$UP\UHJXODWLRQVLQDQ\FDVHZKHUHD6ROGLHU¶VFRQGXFWYLRODWHVJRRG
   RUGHUDQGPLOLWDU\GLVFLSOLQH
      E2QSXEOLFFRQYH\DQFHVLQWKHDEVHQFHRIPLOLWDU\SROLFH 03 WKHSHUVRQLQFKDUJHRIWKHFRQYH\DQFHZLOOEH
   DVNHGWRQRWLI\WKHQHDUHVW03DQGDUUDQJHWRKDYHWKHPLIQHFHVVDU\WDNHFXVWRG\RIPLOLWDU\SHUVRQQHO,QVHULRXV
   VLWXDWLRQVVXFKDVSK\VLFDODVVDXOWWKHSHUVRQLQFKDUJHRIWKHFRQYH\DQFHZLOOEHDVNHGWRVWRSDWWKHILUVWRSSRUWXQLW\
   DQGUHTXHVWORFDOSROLFHDVVLVWDQFH,QDOOVXFKFDVHVWKHORFDOSROLFHZLOOEHDGYLVHGWRWHOHSKRQHWKHQHDUHVW$UP\
   SRVWRU$UP\KHDGTXDUWHUV
      F:KHQDQRIIHQVHHQGDQJHULQJWKHUHSXWDWLRQRIWKH$UP\LVFRPPLWWHGHOVHZKHUH QRWRQDSXEOLFFRQYH\DQFH 
   DQG03DUHQRWDYDLODEOHFLYLOLDQSROLFHZLOOEHUHTXHVWHGWRWDNHDSSURSULDWHDFWLRQ
      G:KHQWKH 03LV QRWSUHVHQW WKH VHQLRURIILFHU:2RU1&2SUHVHQW ZLOOREWDLQWKH6ROGLHU¶V QDPH JUDGH
   RUJDQL]DWLRQDQGVWDWLRQ7KHLQIRUPDWLRQDQGDVWDWHPHQWRIWKHFLUFXPVWDQFHVZLOOEHVHQWWRWKH6ROGLHU¶VFRP
   PDQGLQJRIILFHUZLWKRXWGHOD\,IWKH6ROGLHULVWXUQHGRYHUWRWKHFLYLOLDQSROLFHWKHDERYHLQIRUPDWLRQZLOOEHVHQW
   WRWKHFLYLOLDQSROLFHIRUWUDQVPLWWDOWRWKHSURSHUPLOLWDU\DXWKRULWLHV
      H7KH'LUHFWRURI(PHUJHQF\6HUYLFHV '(6 3URYRVW0DUVKDO2IILFH 302 ZLOOFRQGXFWFULPLQDOKLVWRU\FKHFNV
   DQGSURYLGHPRQWKO\UHSRUWVWREULJDGHOHYHOFRPPDQGHUVRIQHZO\DVVLJQHG6ROGLHUV7KH'(6302ZLOOFRPSLOH
   WKH EULJDGHOHYHO URVWHUV DQG SURYLGH D FRQVROLGDWHG OLVW WR WKH 86 $UP\ &ULPLQDO ,QYHVWLJDWLRQ &RPPDQG
    86$&,'& 86$&,'&ZLOOFKHFNWKHQHZO\DVVLJQHG6ROGLHUVDJDLQVW$UP\ODZHQIRUFHPHQWGDWDEDVHVDQGSURYLGH




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   UHVXOWVWRWKHLQVWDOODWLRQ'(6302YLDWKH86$&,'&6KDUH3RLQWSRUWDOPRQWKO\7KHLQVWDOODWLRQ '(6302ZLOO
   WKHQGLVWULEXWHLQGLYLGXDOFULPLQDOKLVWRU\UHSRUWVWRWKH6ROGLHU¶VEULJDGHOHYHOFRPPDQGHU
        &RPPDQGHUVZLOOXVHWKHLQIRUPDWLRQLQWKHUHSRUWVWRHQVXUHWKDWLIUHTXLUHG6ROGLHUVDUHLQFRPSOLDQFHZLWK
   SDUDJUDSK ±  WKH 'RPHVWLF 9LROHQFH $PHQGPHQW WR WKH *XQ &RQWURO $FW RI  NQRZQ DV WKH /DXWHQEHUJ
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   $PHQGPHQW DQGKDYHFRPSOHWHG'')RUP 1RWLFHRI5HOHDVH$FNQRZOHGJHPHQWRI&RQYLFWHG6H[2IIHQGHU
   5HJLVWUDWLRQ5HTXLUHPHQWV DVUHTXLUHGE\$5 ± 
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        &RPPDQGHUVZLOOQRWLQLWLDWHMXGLFLDORUDGYHUVHDGPLQLVWUDWLYHDFWLRQVEDVHGVROHO\RQWKHLQIRUPDWLRQLQFULP
   LQDOKLVWRU\UHSRUWV&RPPDQGHUVZLOOFRQVXOWZLWKWKHLUVHUYLFLQJOHJDODGYLVRUIRUDVVLVWDQFHLQGHWHUPLQLQJDYDLODEOH
   RSWLRQVDQGZLOOQRWUHWDLQFULPLQDOKLVWRU\UHSRUWVDIWHUWKH6ROGLHUOHDYHVWKHXQLW

   ±0DLQWHQDQFHRIRUGHU
   $UP\DQG0DULQH&RUSV03$LU)RUFHVHFXULW\SROLFHDQGPHPEHUVRIWKH1DY\DQG&RDVW*XDUGVKRUHSDWUROVDUH
   DXWKRUL]HG DQG GLUHFWHG WR DSSUHKHQG $UPHG )RUFHV PHPEHUV ZKR FRPPLW RIIHQVHV SXQLVKDEOH XQGHU WKH 8&0-
   2IILFHUV:2V1&2VDQGSHWW\RIILFHUVRIWKH$UPHG)RUFHVDUHDXWKRUL]HGDQGGLUHFWHGWRTXHOODOOTXDUUHOVIUD\V
   DQGGLVRUGHUVDPRQJSHUVRQVVXEMHFWWRPLOLWDU\ODZDQGWRDSSUHKHQGSDUWLFLSDQWV7KRVHH[HUFLVLQJWKLVDXWKRULW\
   VKRXOGGRVRZLWKMXGJPHQWDQGWDFW3HUVRQQHOVRDSSUHKHQGHGZLOOEHUHWXUQHGWRWKHMXULVGLFWLRQRIWKHLUUHVSHFWLYH
   6HUYLFHDVVRRQDVSUDFWLFDO&RQILQHPHQWRIIHPDOHVZLOOEHDFFRUGLQJWR$5 ±     




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      D0LOLWDU\DXWKRULW\LVH[HUFLVHGSURPSWO\ILUPO\FRXUWHRXVO\DQGIDLUO\&RPPDQGHUVVKRXOGFRQVLGHUQRQSXQL
   WLYHFRUUHFWLYHPHDVXUHVEHIRUHGHFLGLQJWRLPSRVHQRQMXGLFLDOSXQLVKPHQW7ULDOE\FRXUWPDUWLDOLVRUGLQDULO\LQDS
   SURSULDWHIRUPLQRURIIHQVHVXQOHVVOHVVHUIRUPVRIDGPLQLVWHULQJGLVFLSOLQHZRXOGEHLQHIIHFWLYH VHH0&03DUW9
   DQG$5±  1RQSXQLWLYHFRUUHFWLYHPHDVXUHVDUHWKHSULPDU\WRROVIRUWHDFKLQJSURSHUVWDQGDUGVRIFRQGXFWDQG
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   SHUIRUPDQFHDQGGRQRWFRQVWLWXWHSXQLVKPHQWQRUDUHWKH\UHTXLUHGDVDILUVWVWHSWRZDUGQRQMXGLFLDOSXQLVKPHQW
   ,QFOXGHGDPRQJQRQSXQLWLYHPHDVXUHVDUHGHQLDORISDVVRURWKHUSULYLOHJHVFRXQVHOLQJDGPLQLVWUDWLYHUHGXFWLRQLQ
   JUDGHDGPLQLVWUDWLYHUHSULPDQGVDQGDGPRQLWLRQVH[WUDWUDLQLQJEDUWRFRQWLQXHGVHUYLFHDQGPLOLWDU\RFFXSDWLRQDO
   VSHFLDOW\ 026  UHFODVVLILFDWLRQ 6RPH RI WKH DGPLQLVWUDWLYH FRUUHFWLYH DFWLRQV FLWHG PD\ GHWHULRUDWH LQWR KD]LQJ
   DQGRUEXOO\LQJWKHUHIRUHFRPPDQGHUVVKRXOGPRQLWRUZKHWKHUWKHGLVFLSOLQDU\HIIRUWVRIWKHLUVXERUGLQDWHVDUHDS
   SURSULDWH
      E2QHRIWKHPRVWHIIHFWLYHQRQSXQLWLYHFRUUHFWLYHPHDVXUHVLVH[WUDWUDLQLQJRULQVWUXFWLRQ)RUH[DPSOHLI6RO
   GLHUVDSSHDULQDQLPSURSHUXQLIRUPWKH\DUHUHTXLUHGWRFRUUHFWLWLPPHGLDWHO\LIWKH\GRQRWPDLQWDLQWKHLU*RYHUQ
   PHQWKRXVLQJDUHDSURSHUO\WKH\PXVWFRUUHFWWKHGHILFLHQF\LQDWLPHO\PDQQHU,I6ROGLHUVKDYHWUDLQLQJGHILFLHQFLHV
   WKH\ZLOOEHUHTXLUHGWRWDNHH[WUDWUDLQLQJRULQVWUXFWLRQLQVXEMHFWVUHODWHGWRWKHVKRUWFRPLQJ
        7KHWUDLQLQJRULQVWUXFWLRQJLYHQWRD6ROGLHUWRFRUUHFWGHILFLHQFLHVPXVWEHDSSURSULDWHO\WDLORUHGWRFXULQJWKH
   GHILFLHQF\,WPXVWEHRULHQWHGWRLPSURYLQJWKH6ROGLHU¶VSHUIRUPDQFHLQWKHLUSUREOHPDUHD%ULHISK\VLFDOH[HUFLVHV
   DUHDQDFFHSWDEOHIRUPRIFRUUHFWLYHWUDLQLQJIRUPLQRUDFWVRILQGLVFLSOLQH IRUH[DPSOHUHTXLULQJWKH6ROGLHUWRGR
   SXVKXSVIRUDUULYLQJODWHWRIRUPDWLRQ VRORQJDVLWGRHVQRWYLRODWHWKH$UP\¶VSROLFLHVSURKLELWLQJKD]LQJEXOO\LQJ
   DQGXQODZIXOSXQLVKPHQW
        &RUUHFWLYHPHDVXUHVPD\EHWDNHQDIWHUQRUPDOGXW\KRXUV6XFKPHDVXUHVDVVXPHWKHQDWXUHRIWUDLQLQJRU
   LQVWUXFWLRQQRWSXQLVKPHQW&RUUHFWLYHWUDLQLQJVKRXOGFRQWLQXHRQO\XQWLOWKHWUDLQLQJGHILFLHQF\LVRYHUFRPH$X
   WKRULW\WRXVHLWLVSDUWRIWKHLQKHUHQWSRZHUVRIFRPPDQG
        &DUHVKRXOGEHWDNHQDWDOOOHYHOVRIFRPPDQGWRHQVXUHWKDWWUDLQLQJDQGLQVWUXFWLRQDUHQRWXVHGLQDQRSSUHV
   VLYHPDQQHUWRHYDGHWKHSURFHGXUDOVDIHJXDUGVLQKHUHQWWRWKHLPSRVLWLRQRIQRQMXGLFLDOSXQLVKPHQW'HILFLHQFLHV
   VDWLVIDFWRULO\FRUUHFWHGE\PHDQVRIWUDLQLQJDQGLQVWUXFWLRQZLOOQRWEHQRWHGLQWKHRIILFLDOUHFRUGVRIWKH6ROGLHUV
   FRQFHUQHG

   ±'LVFLSOLQDU\SRZHUVRIWKHFRPPDQGLQJRIILFHU
      D&RPPDQGHUVH[HUFLVHEURDGGLVFLSOLQDU\SRZHUVLQIXUWKHUDQFHRIWKHLUFRPPDQGUHVSRQVLELOLWLHV'LVFUHWLRQ
   IDLUQHVVDQGVRXQGMXGJPHQWDUHHVVHQWLDOLQJUHGLHQWVRIPLOLWDU\MXVWLFH
      E&RPPDQGHUVZLOOIDPLOLDUL]HWKHPVHOYHVZLWKWKHLUSRZHUVDQGUHVSRQVLELOLWLHVDVRXWOLQHGLQ0&0$5 ±       




   $5 ± $5 ± DQGRWKHUDXWKRULWLHV/HJDODGYLFHLVDYDLODEOHIURPVXSSRUWLQJMXGJHDGYRFDWHV
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      F'LVFLSOLQDU\PHDVXUHVDUHWDLORUHGWRVSHFLILFRIIHQVHVDQGLQGLYLGXDORIIHQGHUV&RPPDQGHUVZLOOQHLWKHUGLUHFW
   VXERUGLQDWHVWRWDNHSDUWLFXODUGLVFLSOLQDU\DFWLRQVQRUXQQHFHVVDULO\UHVWULFWWKHGLVFLSOLQDU\DXWKRULW\RIVXERUGLQDWHV
    VHH8&0-$UWDQG$5 ± UHJDUGLQJWKHSURSHUH[HUFLVHRIDXWKRULW\E\FRPPDQGHUV 
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      G,QDFFRUGDQFHZLWKWKHUHTXLUHPHQWVDQGWLPHOLPLWVOLVWHGLQ$5 ± FRPPDQGHUVZLOOVXEPLWD'$)RUP
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    &RPPDQGHU¶V5HSRUWRI'LVFLSOLQDU\RU$GPLQLVWUDWLYH$FWLRQ IROORZLQJRIIHQVHQRWLILFDWLRQIURPWKH302



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                                                  $5±-XO\                                                       
Case 1:21-cv-02228-RM-STV Document 37-14 Filed 11/23/21 USDC Colorado Page 53 of
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   '(6 RU 86$&,'& &RPPDQGHUV ZLOO UHIHU WR $UP\ ODZHQIRUFHPHQW RIILFLDOV 03 LQYHVWLJDWLRQ RU 86$&,'& 
   DOOHJDWLRQVWKDWDQDVVLJQHG6ROGLHUFRPPLWWHGDFULPHWKDWIDOOVRXWVLGHRIWKHFRPPDQGHU¶VLQYHVWLJDWLYHSXUYLHZ
   ,QDFFRUGDQFHZLWK$5 ± DQG$5 ± LIDFRPPDQGHUKDVUHDVRQWREHOLHYHWKDWD6ROGLHUDVVLJQHGWRWKHLU
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   XQLWKDVFRPPLWWHGDFULPLQDORIIHQVHWKDWFRPPDQGHUZLOOGHFLGHWKHDSSURSULDWHDXWKRULW\WRKDQGOHWKHLQYHVWLJDWLRQ
        &RPPDQGHUVZLOOUHSRUWGLVSRVLWLRQRIRIIHQVHVLQYHVWLJDWHGGXULQJDFRPPDQGLQYHVWLJDWLRQRULQTXLU\XQGHU
   WKHLUDXWKRULW\ PHHWLQJWKHUHSRUWLQJUHTXLUHPHQWVRI $5  ±  ZKHQ D PLOLWDU\ODZHQIRUFHPHQWDFWLYLW\LVQRW
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   LQYROYHG&RPPDQGHUVZLOOHQVXUHWKHUHLVUHDVRQWREHOLHYHDQRIIHQVHKDVEHHQFRPPLWWHGDQGWKDWWKHSHUVRQWREH
   LGHQWLILHGDVWKHRIIHQGHUFRPPLWWHGLW&RPPDQGHUVZLOOFRPSOHWHD'$)RUPZKHQWKH\REWDLQOHJDOUHYLHZ
   RIWKHLQYHVWLJDWLRQRULQTXLU\DQGGHWHUPLQHWRWDNHDFWLRQ RUQRDFWLRQ DJDLQVWWKHRIIHQGHUDERXWDQLQFLGHQW(PDLO
   WKHFRPSOHWHGDQGVLJQHG'$)RUPZLWKWKHUHTXLUHGVXSSRUWLQJGRFXPHQWV UHFRUGRIFRPPDQGHU¶VLQTXLU\
   8&0-$UWRUFRXUWPDUWLDOSDSHUZRUN WRWKHVXSSRUWLQJLQVWDOODWLRQ302'(6)RUFRPPDQGVQRWRQDQLQVWDO
   ODWLRQRUFRPPDQGVRQDMRLQWEDVHWKHVXSSRUWLQJ302'(6FDQEHIRXQGLQ$5 ±              




        7KHFRPPDQGHUZLOOFRPSOHWHDQGVLJQ'$)RUP ± 5 5HSRUWRI8QIDYRUDEOH,QIRUPDWLRQIRU6HFXULW\
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   'HWHUPLQDWLRQ LQDFFRUGDQFHZLWK$5 ± 7KH'$)RUP ± 5PXVWLQFOXGHWKHUHVXOWVUHFRUGHGRQWKH'$
                                                                                              




   )RUPDVZHOODVWKHFRPPDQGHU¶VUHFRPPHQGDWLRQIRUVHFXULW\UHOLDELOLW\7KHVHFXULW\PDQDJHUZLOOVXEPLWWKH
   '$)RUP ± 5WRWKH'HSDUWPHQWRI'HIHQVH&HQWUDO$GMXGLFDWLRQ)DFLOLW\ 'R'&$) YLDWKH-RLQW3HUVRQQHO
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   $GMXGLFDWLRQ6\VWHP -3$6 RUVXFFHVVRUV\VWHP
      H&RPPDQGHUVZLOOQRWLI\'(6302RI'')RUPV 0LOLWDU\3URWHFWLYH2UGHU 032 LQYROYLQJWKHLU6RO
   GLHUV7KH'(6302ZLOOQRWLI\WKHPLOLWDU\DQGORFDOFLYLOLDQODZHQIRUFHPHQW
      I&RPPDQGHUVDUHUHVSRQVLEOHWRWDNHSURSHUDGPLQLVWUDWLYHDFWLRQUHJDUGLQJ6ROGLHUVZKRKDYHGHVHUWHG&ODVVL
   ILFDWLRQRID6ROGLHUDVDGHVHUWHULVEDVHGRQLQWHQWDQGQRWWKHWLPHWKH6ROGLHUKDVEHHQDEVHQWIURPKLVRUKHUXQLW
   KRZHYHUWKHWLPHD6ROGLHUKDVEHHQDEVHQWPD\EHXVHGDVDIDFWRUZKHQGHWHUPLQLQJLQWHQW$FRPPDQGHUVKRXOG
   VHHNWKHDGYLFHDQGFRXQVHORIWKHLUOHJDODGYLVRUZKHQGHWHUPLQLQJLQWHQWWREHDGHVHUWHU&RPPDQGHUVZLOOFRQVLGHU
   WKH FLUFXPVWDQFHV VXUURXQGLQJ XQDXWKRUL]HG DEVHQFHV DQG UHTXHVW ZDUUDQWV YLD '' )RUP  'HVHUWHU$EVHQWHH
   :DQWHGE\WKH$UPHG)RUFHV DVGLUHFWHGLQ$5 ± DQGLQ'R',IRUKLJKULVN6ROGLHUVZKRGHVHUWWR
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   DYRLGSURVHFXWLRQRIFKDUJHVRUZKHQWKHFRPPDQGHUEHOLHYHVWKHUHLVDULVNWKDWWKH6ROGLHUPD\FRPPLWYLROHQW
   DFWVRUKDUPWKHPVHOYHVRURWKHUV
      J'XDOKDWWLQJ03OHDGHUVDVWKHLQVWDOODWLRQ'(67KHLQVWDOODWLRQ6&PD\HOHFWWRDVVLJQWKHVHQLRU03EULJDGH
   RUEDWWDOLRQFRPPDQGHUWRVHUYHDVWKHSURYRVWPDUVKDORIILFHUDQG'(6$VWKH'(6WKLVRIILFHUDGYLVHVDQGVXSSRUWV
   VHQLRULQVWDOODWLRQDQG*&VRQLVVXHVUHODWLQJWRSURWHFWLRQDQGLQVWDOODWLRQHPHUJHQF\VHUYLFHV([FHSWLRQWRWKLV
   PD\RFFXULQWKHRYHUVHDVDUHDVJHRJUDSKLFDOO\GLVSHUVHGUHJLRQVDQGORFDWLRQVZKHUHPLOLWDU\EULJDGHVDQGEDWWDO
   LRQVDUHQRWORFDWHG

   ±6HWWOHPHQWRIORFDODFFRXQWVRQFKDQJHRIVWDWLRQ
   7RHQVXUHRUJDQL]DWLRQVDQGLQGLYLGXDOVKDYHSURSHUO\VHWWOHGWKHLUDFFRXQWVFRPPDQGHUVZLOO²
      D0DNHDUHDVRQDEOHHIIRUWWRVHWWOHORFDODFFRXQWVRIWKHLURUJDQL]DWLRQVEHIRUHPRYHPHQW
      E7DNHDFWLRQWRSURPSWO\VHWWOHRUJDQL]DWLRQDODFFRXQWVZLWKORFDOILUPVZKHQXQDEOHWRVHWWOHEHIRUHPRYHPHQW
      F7DNHDFWLRQDVQHHGHGZKHQ6ROGLHUVXQGHUWKHLUFRPPDQGIDLOWRFOHDUWKHLUSHUVRQDODFFRXQWVEHIRUHGHSDUWXUH
   IURPWKHLUVWDWLRQV7KLVLQFOXGHVFRQVLGHUDWLRQXQGHU8&0-$UWVDRU:KHQLQGHEWHGQHVVLQIRU
   PDWLRQLVUHFHLYHGDIWHUD6ROGLHUGHSDUWVIURPWKHVWDWLRQFRQVXOWWKHVHUYLFLQJMXGJHDGYRFDWH

   ±&LYLOVWDWXVRIPHPEHUVRIWKH86$UP\5HVHUYH
      D7KH86$5PHPEHUVQRWVHUYLQJRQDFWLYHGXW\DUHQRWIRUPRVWSXUSRVHVFRQVLGHUHGRIILFHUVRUHPSOR\HHVRI
   WKH8QLWHG6WDWHVVROHO\E\UHDVRQRIWKHLU5HVHUYHVWDWXV7KH\PD\DFFHSWDFLYLOLDQRIILFHRUSRVLWLRQLQWKHIHGHUDO
   VHUYLFHDQGUHFHLYHWKHSD\RIWKDWRIILFHRUSRVLWLRQLQDGGLWLRQWRDQ\SD\DQGDOORZDQFHVWKH\PD\EHHQWLWOHGWR
   XQGHUWKHODZVJRYHUQLQJPHPEHUVRI5&V
      E$PHPEHURIWKH86$5QRWVHUYLQJRQDFWLYHGXW\PD\JHQHUDOO\SUDFWLFHKLVRUKHUFLYLOLDQSURIHVVLRQRU
   RFFXSDWLRQEHIRUHRULQFRQQHFWLRQZLWKDQ\GHSDUWPHQWRIWKH)HGHUDO*RYHUQPHQWXQOHVVSURKLELWHGE\ODZ VHH
   86& 
      F&RQIOLFWRILQWHUHVWODZVLPSRVHOLPLWDWLRQVRQDFWLYLWLHVLQZKLFKSHUVRQVPD\HQJDJHDIWHUWHUPLQDWLQJDFWLYH
   GXW\RUHPSOR\PHQWE\WKH 8QLWHG6WDWHV $ 5HVHUYLVW ZKRKDVKDQGOHGDJRYHUQPHQW PDWWHU ZLOO QRW ZKLOHLQD
   FLYLOLDQVWDWXVUHSUHVHQWDQ\SDUW\RWKHUWKDQWKHJRYHUQPHQWLQFRQQHFWLRQZLWKWKHVDPHSDUWLFXODUPDWWHU VHH
   86& :KLOHKDQGOLQJJRYHUQPHQWPDWWHUVUHVHUYLVWVZLOOQRWWDNHDQ\GLUHFWRULQGLUHFWDFWLRQLQDSDUWLFXODU
   PDWWHULQZKLFKWKH\KDYHDQRXWVLGHILQDQFLDOLQWHUHVW VHH86&DQG'R' ± 5                




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      G$51*DQG86$56ROGLHUVPD\DFFHSWDQGEHSDLGIRUFLYLOHPSOR\PHQWZLWKDQ\IRUHLJQJRYHUQPHQWZKHQ
   DSSURYHGE\WKH6(&$50<DQGWKH6HFUHWDU\RI6WDWH7KLVLQFOXGHVDQ\FRQFHUQFRQWUROOHGLQZKROHRULQSDUWE\D
   IRUHLJQJRYHUQPHQW$5± LVXVHGIRUSURFHVVLQJDSSOLFDWLRQV
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   ±3DUWLFLSDWLRQLQVXSSRUWRIFLYLOLDQODZHQIRUFHPHQWDJHQFLHV
      D0LOLWDU\VXSSRUWRIFLYLOLDQODZHQIRUFHPHQWLVJRYHUQHGE\WKH3RVVH&RPLWDWXV$FW 86& DQG'R',
   &RPPDQGHUVZLOOQRWVDQFWLRQXVHRIPLOLWDU\SHUVRQQHOLQVXSSRUWRIFLYLOLDQODZHQIRUFHPHQWDJHQFLHVLQ
   WKHVWDWHVWKH'LVWULFWRI&ROXPELDWKH&RPPRQZHDOWKRI3XHUWR5LFRRU8QLWHG6WDWHV7HUULWRULHVH[FHSWZKHQ
   DXWKRUL]HGE\ODZ%HFDXVHWKLVLVDFRPSOH[DUHD RIWKHODZFRPPDQGHUVDQGODZHQIRUFHPHQWSHUVRQQHOVKRXOG
   FRQVXOWZLWKWKHLUVHUYLFLQJMXGJHDGYRFDWHRUOHJDODGYLVRU
      E0LOLWDU\SHUVRQQHOPD\UHSRUWFULPHVRURWKHUVXVSLFLRXVDFWLYLWLHVWRFLYLOLDQSROLFHDJHQFLHVRUFRRSHUDWHZLWK
   FLYLOLDQDXWKRULWLHVLQWKHLUFDSDFLWLHVDVSULYDWHFLWL]HQV0LOLWDU\ODZHQIRUFHPHQWSHUVRQQHOPD\H[FKDQJHLQIRU
   PDWLRQZLWKFLYLOLDQDXWKRULWLHVDFFRUGLQJWR$5 ± 
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   ±0HPEHUVKLSFDPSDLJQV
   '$UHFRJQL]HVDQGEHQHILWVIURPWKHDFWLYLWLHVRIPDQ\ZRUWK\RUJDQL]DWLRQVDVVRFLDWLRQVDQGFOXEV0DQ\RIWKHVH
   RUJDQL]DWLRQVHQMR\FORVHKLVWRULFDOWLHVZLWKWKHPLOLWDU\FRPPXQLW\DQGDUHFRPSRVHGODUJHO\RIDFWLYHRUUHWLUHG
   PLOLWDU\ SHUVRQQHO 7KH '$ VXSSRUW RI SULYDWH RUJDQL]DWLRQV LV VWULFWO\ UHJXODWHG E\ 'R',  DQG 'R'
    ± 5
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       D,QVXSSRUWLQJVXFKRUJDQL]DWLRQVDQGDVVRFLDWLRQVSRVWFRPPDQGHUVDQGKHDGVRI'$VWDIIDJHQFLHVZLOO²
         (QVXUHPHPEHUVKLSDPRQJSHUVRQQHOXQGHUWKHLUMXULVGLFWLRQLVWUXO\YROXQWDU\
         3URKLELWDQ\SUDFWLFH WKDWLQYROYHVRULPSOLHVFRPSXOVLRQFRHUFLRQLQIOXHQFHRUUHSULVDOLQWKHFRQGXFWRI
   PHPEHUVKLSFDPSDLJQV7KLVSURKLELWLRQLQFOXGHVUHSHDWHGRULHQWDWLRQVPHHWLQJVRUVLPLODUFRXQVHOLQJRISHUVRQV
   ZKRKDYHFKRVHQQRWWRMRLQDIWHUJLYHQDFKDQFHWRGRVR,WDOVRLQFOXGHVXVLQJPHPEHUVKLSVWDWLVWLFVLQVXSSRUWRI
   VXSHUYLVRU\LQIOXHQFH
         3URKLELWDQ\SUDFWLFHWKDWLQYROYHVRULPSOLHV'$VSRQVRUVKLSRUHQGRUVHPHQWRIWKHRUJDQL]DWLRQDQGLWVDFWLY
   LWLHV
         3URKLELWWKHXVHRIJRYHUQPHQWSURSHUW\IDFLOLWLHVRUVHUYLFHV IRUH[DPSOHJROIFRXUVHPHPEHUVKLSDVDQ
   LQGXFHPHQWWRMRLQDSULYDWHRUJDQL]DWLRQ
       E7KLVSROLF\GRHV QRWSURKLELWFRPPDQGHUV IURPLQIRUPLQJSHUVRQQHO ZLWKRXWFRHUFLRQ DERXW PHPEHUVKLSLQ
   VXFKRUJDQL]DWLRQV:KHQGRLQJVRFRPPDQGHUVZLOOHQVXUHWKH\GRQRWIDYRURQHRUJDQL]DWLRQRYHURWKHUV

   ±([WUHPLVWRUJDQL]DWLRQVDQGDFWLYLWLHV
   3DUWLFLSDWLRQLQH[WUHPLVWRUJDQL]DWLRQVDQGDFWLYLWLHVE\$UP\SHUVRQQHOLVLQFRQVLVWHQWZLWKWKHUHVSRQVLELOLWLHVRI
   PLOLWDU\VHUYLFH,WLVWKHSROLF\RIWKH8QLWHG6WDWHV$UP\WRSURYLGH(2DQGIDLUWUHDWPHQWIRUDOO6ROGLHUVZLWKRXW
   UHJDUGWRUDFHFRORUVH[ LQFOXGLQJJHQGHULGHQWLW\ QDWLRQDORULJLQUHOLJLRQRUVH[XDORULHQWDWLRQ(QIRUFHPHQWRI
   WKLVSROLF\LVDUHVSRQVLELOLW\RIFRPPDQGLVYLWDOO\LPSRUWDQWWRXQLWFRKHVLRQDQGPRUDOHDQGLVHVVHQWLDOWRWKH
   $UP\¶VDELOLW\WRDFFRPSOLVKLWVPLVVLRQ,WLVWKHFRPPDQGHU¶VUHVSRQVLELOLW\WRPDLQWDLQJRRGRUGHUDQGGLVFLSOLQH
   LQ WKH XQLW (YHU\ FRPPDQGHU KDV WKH LQKHUHQW DXWKRULW\ WR WDNH DSSURSULDWH DFWLRQV WR DFFRPSOLVK WKLV JRDO 7KLV
   SDUDJUDSKLGHQWLILHVSURKLELWHGDFWLRQVE\6ROGLHUVLQYROYLQJH[WUHPLVWRUJDQL]DWLRQVGLVFXVVHVWKHDXWKRULW\RIWKH
   FRPPDQGHUWRHVWDEOLVKRWKHUSURKLELWLRQVDQGHVWDEOLVKHVWKDWYLRODWLRQVRISURKLELWLRQVFRQWDLQHGLQWKLVSDUDJUDSK
   RUWKRVHHVWDEOLVKHGE\DFRPPDQGHUPD\UHVXOWLQSURVHFXWLRQXQGHUYDULRXVSURYLVLRQVRIWKH8&0-7KLVSDUDJUDSK
   PXVWEHXVHGLQFRQMXQFWLRQZLWK'R',
      D3DUWLFLSDWLRQ0LOLWDU\SHUVRQQHOPXVWUHMHFWSDUWLFLSDWLRQLQH[WUHPLVWRUJDQL]DWLRQVDQGDFWLYLWLHV([WUHPLVW
   RUJDQL]DWLRQVDQGDFWLYLWLHVDUHRQHVWKDWDGYRFDWH²
         5DFLDOVH[ LQFOXGLQJJHQGHULGHQWLW\ VH[XDORULHQWDWLRQRUHWKQLFKDWUHGRULQWROHUDQFH
         &UHDWLQJRUHQJDJLQJLQGLVFULPLQDWLRQEDVHGRQUDFHFRORUVH[ LQFOXGLQJJHQGHULGHQWLW\ QDWLRQDORULJLQ
   UHOLJLRQRUVH[XDORULHQWDWLRQ
         7KHXVHRIIRUFHRUYLROHQFHRUXQODZIXOPHDQVWRGHSULYHLQGLYLGXDOVRIWKHLUULJKWV XQGHUWKH8QLWHG6WDWHV
   &RQVWLWXWLRQRUWKHODZVRIWKH8QLWHG6WDWHVRUDQ\6WDWH
         6XSSRUWIRUWHUURULVWRUJDQL]DWLRQVRUREMHFWLYHV
         7KHXVHRIXQODZIXOYLROHQFHRUIRUFHWRDFKLHYHJRDOVWKDWDUHSROLWLFDOUHOLJLRXVGLVFULPLQDWRU\RULGHRORJLFDO
   LQQDWXUH
         ([SUHVVLQJDGXW\WRHQJDJHLQYLROHQFHDJDLQVW'R'RUWKH8QLWHG6WDWHVLQVXSSRUWRIDWHUURULVWRUH[WUHPLVW
   FDXVH




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         6XSSRUWIRUSHUVRQVRURUJDQL]DWLRQVWKDWSURPRWHRUWKUHDWHQWKHXQODZIXOXVHRIIRUFHRUYLROHQFHRUFULPLQDO
   DFWLYLW\
         (QFRXUDJLQJPLOLWDU\RUFLYLOLDQSHUVRQQHOWRYLRODWHODZVRUGLVREH\ODZIXORUGHUVRUUHJXODWLRQVIRUWKHSXU
   SRVHRIGLVUXSWLQJPLOLWDU\DFWLYLWLHV VXEYHUVLRQ 
         3DUWLFLSDWLQJLQDFWLYLWLHVDGYRFDWLQJRUWHDFKLQJWKHRYHUWKURZRIWKH86*RYHUQPHQWE\IRUFHRUYLROHQFH
   RUVHHNLQJWRDOWHUWKHIRUPRIJRYHUQPHQWE\XQFRQVWLWXWLRQDOPHDQV VHGLWLRQ 
       E3URKLELWLRQV6ROGLHUVDUHSURKLELWHGIURPWKHIROORZLQJDFWLRQVLQVXSSRUWRIH[WUHPLVWRUJDQL]DWLRQVRUDFWLY
   LWLHV3HQDOWLHVIRUYLRODWLRQVRIWKHVHSURKLELWLRQVLQFOXGHWKHIXOOUDQJHRIVWDWXWRU\DQGUHJXODWRU\VDQFWLRQVERWK
   FULPLQDO 8&0- DQGDGPLQLVWUDWLYH
         3DUWLFLSDWLQJLQSXEOLFGHPRQVWUDWLRQVRUUDOOLHV
         $WWHQGLQJDPHHWLQJRUDFWLYLW\ZLWKWKHNQRZOHGJHWKDW WKHPHHWLQJRUDFWLYLW\LQYROYHVDQH[WUHPLVWFDXVH
   ZKHQ²
        D :KHWKHURQRURIIGXW\
        E :KHWKHULQRURXWRIXQLIRUP
        F ,QDIRUHLJQFRXQWU\ ZKHWKHURQRURIIGXW\RULQRURXWRIXQLIRUP 
        G ,WFRQVWLWXWHVDEUHDFKRIODZDQGRUGHU
        H ,WLVOLNHO\WRUHVXOWLQYLROHQFH
        I ,QYLRODWLRQRIRIIOLPLWVVDQFWLRQV
        J ,QYLRODWLRQRIDFRPPDQGHU¶VRUGHU
         )XQGUDLVLQJDFWLYLWLHV
         5HFUXLWLQJRUWUDLQLQJPHPEHUV LQFOXGLQJHQFRXUDJLQJRWKHU6ROGLHUVWRMRLQ 
         &UHDWLQJRUJDQL]LQJRUWDNLQJDYLVLEOHOHDGHUVKLSUROHLQVXFKDQRUJDQL]DWLRQRUDFWLYLW\
         'LVWULEXWLQJ OLWHUDWXUH RQ RU RII D PLOLWDU\ LQVWDOODWLRQ WKH SULPDU\ SXUSRVH DQG FRQWHQW RI ZKLFK FRQFHUQV
   DGYRFDF\RUVXSSRUWRIH[WUHPLVWFDXVHVRUJDQL]DWLRQVRUDFWLYLWLHVDQGLWDSSHDUVWKDWWKHOLWHUDWXUHSUHVHQWVDFOHDU
   GDQJHUWRWKHOR\DOW\GLVFLSOLQHRUPRUDOHRIPLOLWDU\SHUVRQQHORUWKHGLVWULEXWLRQZRXOGPDWHULDOO\LQWHUIHUHZLWKWKH
   DFFRPSOLVKPHQWRIDPLOLWDU\PLVVLRQ
         5HFHLYLQJILQDQFLDODVVLVWDQFHIURPDSHUVRQRURUJDQL]DWLRQZKRDGYRFDWHVWHUURULVPWKHXQODZIXOXVHRIIRUFH
   RUYLROHQFHWRXQGHUPLQHRUGLVUXSW86PLOLWDU\RSHUDWLRQVVXEYHUVLRQRUVHGLWLRQ
      F&RPPDQGDXWKRULW\&RPPDQGHUVKDYHWKHDXWKRULW\WRSURKLELWPLOLWDU\SHUVRQQHOIURPHQJDJLQJLQRUSDUWLF
   LSDWLQJLQDQ\RWKHUDFWLYLWLHVWKDWWKHFRPPDQGHUGHWHUPLQHVZLOODGYHUVHO\DIIHFWUHDGLQHVVJRRGRUGHUDQGGLVFL
   SOLQHRUPRUDOHZLWKLQWKHFRPPDQG7KLVLQFOXGHVEXWLVQRWOLPLWHGWRWKHDXWKRULW\WRRUGHUWKHUHPRYDORIV\PEROV
   IODJVSRVWHUVRURWKHUGLVSOD\V IURPEDUUDFNVWRSODFHDUHDVRUDFWLYLWLHVRIIOLPLWV VHH $5 ±  RUWRRUGHU
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   6ROGLHUVQRWWRSDUWLFLSDWHLQWKRVHDFWLYLWLHVWKDWDUHFRQWUDU\WRJRRGRUGHUDQGGLVFLSOLQHRUPRUDOHRIWKHXQLWRUSRVH
   DWKUHDWWRKHDOWKVDIHW\DQGVHFXULW\RIPLOLWDU\SHUVRQQHORUDPLOLWDU\LQVWDOODWLRQ
       G&RPPDQGRSWLRQV&RPPDQGHU¶VRSWLRQVIRUGHDOLQJZLWKD6ROGLHU¶VYLRODWLRQRIWKHSURKLELWLRQVLQFOXGHVWKH
   IROORZLQJ
         8&0-DFWLRQ²3RVVLEOHSXQLWLYHDUWLFOHVLQFOXGHWKHIROORZLQJ
        D 8&0-$UW²)DLOXUHWRREH\DODZIXOJHQHUDORUGHURUUHJXODWLRQ
        E 8&0-$UW²5LRWRUEUHDFKRISHDFH
        F 8&0-$UW²3URYRNLQJVSHHFKHVRUJHVWXUHV
        G 8&0-$UW±&RQGXFWXQEHFRPLQJDQRIILFHU
        H 8&0-$UW ²*HQHUDODUWLFOHVSHFLILFDOO\FRQGXFW ZKLFKLVSUHMXGLFLDOWRJRRGRUGHUDQGGLVFLSOLQHRU
   VHUYLFHGLVFUHGLWLQJ
         ,QYROXQWDU\VHSDUDWLRQIRUXQVDWLVIDFWRU\SHUIRUPDQFHRUPLVFRQGXFWRUIRUFRQGXFWGHHPHGSUHMXGLFLDOWRJRRG
   RUGHUDQGGLVFLSOLQHRUPRUDOH
         5HFODVVLILFDWLRQDFWLRQVRUEDUWRFRQWLQXHGVHUYLFHDFWLRQVDVDSSURSULDWH
         2WKHUDGPLQLVWUDWLYHRUGLVFLSOLQDU\DFWLRQGHHPHGDSSURSULDWHE\WKHFRPPDQGHUEDVHGRQWKHVSHFLILFIDFWV
   DQGFLUFXPVWDQFHVRIWKHSDUWLFXODUFDVH
       H&RPPDQG UHVSRQVLELOLW\$Q\ 6ROGLHU LQYROYHPHQW ZLWK RU LQ DQ H[WUHPLVW RUJDQL]DWLRQ RU DFWLYLW\ VXFK DV
   PHPEHUVKLSUHFHLSWRIOLWHUDWXUHRUSUHVHQFHDWDQHYHQW FRXOGWKUHDWHQWKHJRRGRUGHUDQGGLVFLSOLQHRIDXQLW,Q
   DQ\FDVHRIDSSDUHQW6ROGLHULQYROYHPHQWZLWKRULQH[WUHPLVWRUJDQL]DWLRQVRUDFWLYLWLHVZKHWKHURUQRWLQYLRODWLRQ
   RIWKHSURKLELWLRQVLQSDUDJUDSK±EFRPPDQGHUVZLOOWDNHSRVLWLYHDFWLRQVWRHGXFDWH6ROGLHUVSXWWLQJWKHPRQ
   QRWLFHRIWKHSRWHQWLDODGYHUVHHIIHFWVWKDWSDUWLFLSDWLRQLQYLRODWLRQRI$UP\SROLF\PD\KDYHXSRQJRRGRUGHUDQG
   GLVFLSOLQHLQWKHXQLWDQGXSRQWKHLUPLOLWDU\VHUYLFH7KHVHSRVLWLYHDFWLRQVLQFOXGHVWKHIROORZLQJ
         (GXFDWLQJ6ROGLHUVUHJDUGLQJWKH$UP\¶V0(2SROLF\&RPPDQGHUVZLOODGYLVH6ROGLHUVWKDWH[WUHPLVWRUJDQ
   L]DWLRQV¶JRDOVDUHLQFRQVLVWHQWZLWK$UP\JRDOVEHOLHIVDQGYDOXHVFRQFHUQLQJ0(27KHH[WUHPLVWRUJDQL]DWLRQV



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   DQGDFWLYLWLHVEORFNRILQVWUXFWLRQZKHQSUHVHQWHGE\0(2SURIHVVLRQDOVZLOORQO\ EHFRQGXFWHGE\'HIHQVH(2
   0DQDJHPHQW,QVWLWXWH '(20, JUDGXDWHFXUUHQWO\VHUYLQJLQDQDXWKRUL]HG0(2SURIHVVLRQDOELOOHW7KHVWDQGDUG
   L]HGSODQRILQVWUXFWLRQDQGWUDLQLQJVOLGHVDUHORFDWHGRQWKH&HQWUDO$UP\5HJLVWU\DQGPD\QRWEHVXSSOHPHQWHG
   ZLWK RWKHUWUDLQLQJ PDWHULDORUVOLGHV 7KH WUDLQLQJ ZLOOEHYHWWHGE\WKHFRPPDQGHU RUWKHLUUHSUHVHQWDWLYH DIWHU
   REWDLQLQJDORFDOOHJDOUHYLHZSULRUWRSUHVHQWDWLRQRIWKHWUDLQLQJ
        &RPPDQGHUVZLOOHQVXUH6ROGLHUVXQGHUVWDQGWKHLGHQWLILFDWLRQRIH[WUHPLVWRUJDQL]DWLRQVRUDFWLYLWLHVLVWKH
   UHVSRQVLELOLW\RI86$&,'&
        &RPPDQGHUVZLOOUHSRUWDOOLQFLGHQWVSHUWDLQLQJWRH[WUHPLVWDFWLYLWLHVWRWKH86$&,'&DQGVHUYLFLQJOHJDO
   DGYLVRU
        $GYLVLQJ6ROGLHUVWKDWDQ\SDUWLFLSDWLRQLQH[WUHPLVWRUJDQL]DWLRQVRUDFWLYLWLHV²
       D :LOOEHWDNHQLQWRFRQVLGHUDWLRQZKHQHYDOXDWLQJWKHLURYHUDOOGXW\SHUIRUPDQFHWRLQFOXGHDSSURSULDWHUHPDUNV
   RQHYDOXDWLRQUHSRUWV RIILFHUHYDOXDWLRQUHSRUWV 2(5V DQGQRQFRPPLVVLRQHGRIILFHUHYDOXDWLRQUHSRUWV 1&2(5V 
   ZKLFKLQFOXGH'$)RUP ±  ±  &RPSDQ\*UDGH3ODWH 22:2&: 2IILFHU(YDOXDWLRQ5HSRUW '$
                                                                      




   )RUP ±  ±  )LHOG*UDGH3ODWH 22&:&: 2IILFHU(YDOXDWLRQ5HSRUW '$)RUP ±  ±  6WUDWHJLF
                                                                                                                                                                                      




   *UDGH3ODWH 2 2IILFHU(YDOXDWLRQ5HSRUW DQG'$)RUP ± ±  6WUDWHJLF*UDGH3ODWH*HQHUDO2IILFHU(YDOXD             




   WLRQ5HSRUW KHUHDIWHUUHIHUUHGWRFROOHFWLYHO\DV³'$)RUP ± VHULHV RIILFHUHYDOXDWLRQUHSRUW 2(5 ´RU³2(5´ 
                                                                                                                        




   7KLV DOVR LQFOXGHV '$ )RUP  ± ±  1&2 (YDOXDWLRQ 5HSRUW 6*7  '$ )RUP  ±  ± 1&2 (YDOXDWLRQ
                                                                                                                                                                      




   5HSRUW 66*± 6*06* '$)RUP ± ±  1&2(YDOXDWLRQ5HSRUW &606*0 KHUHDIWHUUHIHUUHGWRFROOHF
                                                                                                    




   WLYHO\DV³'$)RUP ± VHULHV QRQFRPPLVVLRQHGRIILFHUHYDOXDWLRQUHSRUW 1&2(5 ´RU³1&2(5´7KLVDOVR
                                                        




   LQFOXGHV'$)RUP 6HUYLFH6FKRRO$FDGHPLF(YDOXDWLRQ5HSRUW DQG'$)RUP ±  &LYLOLDQ,QVWLWXWLRQ                                                  




   $FDGHPLF(YDOXDWLRQ5HSRUW KHUHDIWHUUHIHUUHGWRFROOHFWLYHO\DVDFDGHPLFHYDOXDWLRQUHSRUWV  '$)RUP ±                                                                                




   VHULHV'$)RUP ± VHULHV'$)RUPDQG'$)RUP ± DUHKHUHDIWHUUHIHUUHGWRFROOHFWLYHO\DV³HYDO
                                                                                                                                              




   XDWLRQUHSRUWV´ 
       E :LOOEHWDNHQLQWRFRQVLGHUDWLRQZKHQVHOHFWLRQVIRUSRVLWLRQVRIOHDGHUVKLSDQGUHVSRQVLELOLW\DUHPDGH
       F 0D\UHVXOWLQWKHVXVSHQVLRQRUUHYRFDWLRQRIVHFXULW\FOHDUDQFHVRUDFFHVVWRJRYHUQPHQWRZQHG,7V\VWHPV
   DVDSSURSULDWH
       G 0D\UHVXOWLQUHFODVVLILFDWLRQDFWLRQVRUEDUWRFRQWLQXHGVHUYLFHDFWLRQVDVDSSURSULDWH
       H :LOOUHVXOWLQEHLQJUHSRUWHGWRODZHQIRUFHPHQWDXWKRULWLHV
        7KHFRPPDQGHURIDQ$UP\LQVWDOODWLRQRURWKHU$UP\FRQWUROOHGIDFLOLW\ZLOOSURKLELWDQ\GHPRQVWUDWLRQRU
   DFWLYLW\RQWKHLQVWDOODWLRQRUIDFLOLW\WKDWFRXOGUHVXOWLQLQWHUIHUHQFHZLWKRUSUHYHQWLRQRIRUGHUO\DFFRPSOLVKPHQWRI
   WKH PLVVLRQ RI WKH LQVWDOODWLRQ RU IDFLOLW\ RU SUHVHQW D FOHDU GDQJHU WR OR\DOW\ GLVFLSOLQH RU PRUDOH RI WKH WURRSV
   )XUWKHUVXFKFRPPDQGHUVZLOOGHQ\UHTXHVWVIRUWKHXVHRI$UP\FRQWUROOHGIDFLOLWLHVE\LQGLYLGXDOVRUJURXSVWKDW
   HQJDJHLQGLVFULPLQDWRU\SUDFWLFHVRUIRUDFWLYLWLHVLQYROYLQJVXFKSUDFWLFHV
        6XVSHFWHGDIILOLDWLRQRULQYROYHPHQWLQH[WUHPLVWDFWLYLWLHV PD\FRPH WRWKH DWWHQWLRQRID FRPPDQGHULQD
   QXPEHURIZD\VLQFOXGLQJUHSRUWVWKURXJKWKHFKDLQRIFRPPDQGDQRQ\PRXVFDOOVRUSHUVRQDOREVHUYDWLRQ$FRP
   PDQGHUUHFHLYLQJVXFKLQIRUPDWLRQVKRXOGFRQVXOWZLWKWKHLUVHUYLFLQJ-XGJH$GYRFDWHRQKRZWRSURFHHG&RPPDQG
   HUV ZKR LGHQWLI\ LQGLYLGXDOV DV H[WUHPLVWV ZLOO DW D PLQLPXP FRXQVHO WKH LQGLYLGXDO RQ $UP\ SROLF\ FRQFHUQLQJ
   H[WUHPLVP&RPPDQGHUVPD\DOVRFRQVLGHUWDNLQJRWKHUDFWLRQHLWKHUDGPLQLVWUDWLYHRUMXGLFLDODVOLVWHGLQSDUDJUDSK
   ±G
      I5HSRUWLQJUHTXLUHPHQW&RPPDQGHUVZLOOQRWLI\WKHVXSSRUWLQJFRXQWHULQWHOOLJHQFHRUJDQL]DWLRQLQFDVHVZKHUH
   WKH\NQRZRUVXVSHFWWKDW6ROGLHUVDUHHQJDJLQJLQWKHDFWLYLWLHVVSHFLILHGLQSDUDJUDSKV±D  WR  RUZKHQWKH\
   EHFRPHDZDUHRIDQ\RIWKHDFWLYLWLHVRUEHKDYLRUVGHILQHGLQ$5 ± ,ID6ROGLHUSRVVHVVHVDVHFXULW\FOHDUDQFH                         




   FRPPDQGHUVZLOOHQVXUHWKHVHFXULW\PDQDJHUUHFRUGVWKHGHURJDWRU\LQIRUPDWLRQDVDQLQFLGHQWUHSRUWLQWKH-3$6
    RUVXEVHTXHQWV\VWHP LQDFFRUGDQFHZLWK$5 ±                                                       




      J&ULPLQDOJDQJVDQGDFWLYLW\3DUWLFLSDWLRQLQFULPLQDOJDQJVDQGDFWLYLWLHVE\$UP\SHUVRQQHOLVLQFRQVLVWHQW
   ZLWK WKH UHVSRQVLELOLWLHV RI PLOLWDU\ VHUYLFH 7KLV VXESDUDJUDSK LGHQWLILHV SURKLELWHG DFWLRQV E\ 6ROGLHUV LQYROYLQJ
   FULPLQDOJDQJVGLVFXVVHVWKHDXWKRULW\RIWKHFRPPDQGHUWRHVWDEOLVKRWKHUSURKLELWLRQVDQGHVWDEOLVKHVWKDWYLRODWLRQV
   RI SURKLELWLRQV FRQWDLQHG LQ WKLV SDUDJUDSK RU WKRVH HVWDEOLVKHG E\ D FRPPDQGHU PD\ UHVXOW LQ SURVHFXWLRQ XQGHU
   YDULRXVSURYLVLRQVRIWKH8&0-
        &ULPLQDOJDQJVDQGDFWLYLWLHVDUHRQHVWKDWDGYRFDWHWKHSODQQLQJRUFRPPLVVLRQRIRQHRUPRUHFULPLQDORI
   IHQVHVE\SHUVRQVZKRVKDUHDJURXSLGHQWLW\DQGPD\VKDUHDFRPPRQQDPHVORJDQWDWWRRVJUDIILWLFORWKLQJVW\OH
   RUFRORURURWKHUVKDUHGFKDUDFWHULVWLFVOLNHWKHXVHRIYLROHQFHDQGLQWLPLGDWLRQWRIXUWKHULWVFULPLQDOREMHFWLYHV
        3DUWLFLSDWLRQFRPPDQGDXWKRULW\FRPPDQGRSWLRQVDQGFRPPDQGUHVSRQVLELOLW\DUHDGGUHVVHGDERYHLQSDU
   DJUDSK±        




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        6ROGLHUVDUHSURKLELWHGIURPDFWLYHSDUWLFLSDWLRQLQJDQJVRUWKHLUDFWLYLWLHV3HQDOWLHVIRUYLRODWLRQVRIWKHVH
   SURKLELWLRQVLQFOXGHWKHIXOOUDQJHRIVWDWXWRU\DQGUHJXODWRU\VDQFWLRQVERWKFULPLQDO 8&0- DQGDGPLQLVWUDWLYHDV
   OLVWHGLQSDUDJUDSK±G%HORZDUHH[DPSOHVRIDFWLYHSDUWLFLSDWLRQWKDWDUHVSHFLILFWRFULPLQDOJDQJV
       D .QRZLQJO\ZHDULQJJDQJFRORUVRUFORWKLQJ
       E +DYLQJWDWWRRVRUERG\PDUNLQJVDVVRFLDWHGZLWKFULPLQDOJDQJV
       F (QJDJLQJLQDFWLYLWLHVLQIXUWKHUDQFHRIWKHREMHFWLYHRIVXFKJDQJVRURUJDQL]DWLRQVWKDWDUHGHWULPHQWDOWRJRRG
   RUGHUGLVFLSOLQHRUPLVVLRQDFFRPSOLVKPHQW
      K([WUHPLVWRUJDQL]DWLRQVFULPLQDOJDQJVDQGDVVRFLDWHGF\EHUDFWLYLW\DQGVRFLDOPHGLD$UP\SHUVRQQHODUH
   UHVSRQVLEOHIRUFRQWHQWWKH\SXEOLVKRQDOOSHUVRQDODQGSXEOLFLQWHUQHWGRPDLQVWRLQFOXGHVRFLDOPHGLDVLWHVEORJV
   DQGRWKHUZHEVLWHV3DUWLFLSDWLRQLQLQWHUQHWVLWHVVSRQVRUHGE\H[WUHPLVWRUJDQL]DWLRQVDQGDFWLYLWLHVLVLQFRQVLVWHQW
   ZLWKWKHUHVSRQVLELOLWLHVRIPLOLWDU\VHUYLFH$UP\SHUVRQQHOZKRPDLQWDLQDSUHVHQFHRQWKHLQWHUQHWFRXOGEHSHU
   FHLYHGDVUHSUHVHQWDWLYHVRIWKH$UP\7KLVSDUDJUDSKLGHQWLILHVSURKLELWHGDFWLRQVE\6ROGLHUVLQYROYLQJSDUWLFLSDWLRQ
   LQF\EHUDFWLYLWLHVVSRQVRUHGE\RUSURPRWLQJH[WUHPLVWRUJDQL]DWLRQVRUFULPLQDOJDQJVDQGWKHXVHRIVRFLDOPHGLDWR
   SURPRWHDFWLYLWLHVDVVRFLDWHGZLWKH[WUHPLVPDQGFULPLQDOJDQJVGLVFXVVHVWKHDXWKRULW\RIWKHFRPPDQGHUWRHVWDE
   OLVKRWKHUSURKLELWLRQVDQGHVWDEOLVKHVWKDWYLRODWLRQVRISURKLELWLRQVFRQWDLQHGLQWKLVSDUDJUDSKRUWKRVHHVWDEOLVKHG
   E\DFRPPDQGHUPD\UHVXOWLQSURVHFXWLRQXQGHUYDULRXVSURYLVLRQVRIWKH8&0-
        3DUWLFLSDWLRQ0LOLWDU\SHUVRQQHOPXVWUHMHFWSDUWLFLSDWLRQLQH[WUHPLVWRUJDQL]DWLRQVDQGDVVRFLDWHGF\EHUDF
   WLYLWLHV([WUHPLVWRUJDQL]DWLRQVDQGFULPLQDOJDQJVDUHGHVFULEHGLQSDUDJUDSKV±DDQG±J
        3URKLELWLRQV6ROGLHUVDUHSURKLELWHGIURPHQJDJLQJLQF\EHUUHODWHGDFWLYLWLHVLQVXSSRUWRIH[WUHPLVWRUJDQL
   ]DWLRQVRUFULPLQDOJDQJV3HQDOWLHVIRUYLRODWLRQVRIWKHVHSURKLELWLRQVLQFOXGHWKHIXOOUDQJHRIVWDWXWRU\DQGUHJXOD
   WRU\VDQFWLRQVERWKFULPLQDO 8&0- DQGDGPLQLVWUDWLYH([DPSOHVRISURKLELWHGF\EHUUHODWHGDFWLYLWLHVLQFOXGH
       D 3DUWLFLSDWLQJLQWKHSURPRWLRQRIGHPRQVWUDWLRQVRUUDOOLHVWKURXJKWKHXVHRIF\EHUDFWLYLWLHVDQGVRFLDOPHGLD
       E 3URPRWLRQRIDPHHWLQJRUDFWLYLW\WKURXJKWKHXVHRIF\EHUDFWLYLWLHVDQGRUVRFLDOPHGLDZLWKWKHNQRZOHGJH
   WKDWWKHPHHWLQJRUDFWLYLW\LQYROYHVDQH[WUHPLVWFDXVH
       F )XQGUDLVLQJDFWLYLWLHVXVLQJF\EHUDFWLYLW\RUVRFLDOPHGLD
       G 5HFUXLWLQJRUWUDLQLQJPHPEHUV LQFOXGLQJHQFRXUDJLQJRWKHU6ROGLHUVWRMRLQ XVLQJF\EHUDFWLYLW\RUVRFLDO
   PHGLD
       H &UHDWLQJRUJDQL]LQJRUWDNLQJDYLVLEOHOHDGHUVKLSUROHLQVXFKDF\EHURUVRFLDOPHGLDDFWLYLW\
       I 3URPRWLQJLQIRUPDWLRQWKURXJKF\EHUDFWLYLW\WKHSULPDU\SXUSRVHDQGFRQWHQWRIZKLFKFRQFHUQVDGYRFDF\RU
   VXSSRUWRIH[WUHPLVWFDXVHVRUJDQL]DWLRQVRUDFWLYLWLHVDQGLWDSSHDUVWKDWWKHLQIRUPDWLRQSUHVHQWVDFOHDUGDQJHUWR
   WKHOR\DOW\GLVFLSOLQHRUPRUDOHRIPLOLWDU\SHUVRQQHORUWKHGLVWULEXWLRQZRXOGPDWHULDOO\LQWHUIHUHZLWKWKHDFFRP
   SOLVKPHQWRIDPLOLWDU\PLVVLRQ
       J %URZVLQJRUYLVLWLQJLQWHUQHW:HEVLWHVRUHQJDJLQJLQF\EHUDFWLYLWLHVZKHQRQGXW\ZLWKRXWRIILFLDOVDQFWLRQ
   WKDWSURPRWHRUDGYRFDWHYLROHQFHGLUHFWHGDJDLQVWWKH86RU'R'RUWKDWSURPRWHLQWHUQDWLRQDOWHUURULVPRUWHUURULVW
   WKHPHV
        &RPPDQGDXWKRULW\&RPPDQGHUVKDYHWKHDXWKRULW\WRSURKLELWPLOLWDU\SHUVRQQHOIURPHQJDJLQJLQRUSDU
   WLFLSDWLQJLQDQ\F\EHURUVRFLDOPHGLDDFWLYLWLHVWKDWWKHFRPPDQGHUGHWHUPLQHVZLOODGYHUVHO\DIIHFWJRRGRUGHUDQG
   GLVFLSOLQHRUPRUDOHZLWKLQWKHFRPPDQG7KLVLQFOXGHVEXWLVQRWOLPLWHGWRWKHDXWKRULW\WRRUGHUWKHUHPRYDORI
   LPDJHVV\PEROVIODJVODQJXDJHRURWKHUGLVSOD\VIURPVRFLDOPHGLDDQGLQWHUQHWGRPDLQVRUWRRUGHU6ROGLHUVQRW
   WRSDUWLFLSDWHLQF\EHUDQGVRFLDOPHGLDDFWLYLWLHVWKDWDUHFRQWUDU\WRJRRGRUGHUDQGGLVFLSOLQHRUPRUDOHRIWKHXQLW
   RUSRVHDWKUHDWWRKHDOWKVDIHW\DQGRSHUDWLRQDOVHFXULW\RIPLOLWDU\SHUVRQQHORUDPLOLWDU\LQVWDOODWLRQ
        &RPPDQGRSWLRQV&RPPDQGHU¶VRSWLRQVIRUGHDOLQJZLWKD6ROGLHU¶VYLRODWLRQRIWKHVHSURKLELWLRQVLQFOXGH²
       D 8&0-DFWLRQ²3RVVLEOHSXQLWLYHDUWLFOHVLQFOXGHWKHIROORZLQJ
      8&0-$UW²)DLOXUHWRREH\DODZIXOJHQHUDORUGHURUUHJXODWLRQ
      8&0-$UW²5LRWRUEUHDFKRISHDFH
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      8&0-$UW²&RQGXFWXQEHFRPLQJDQRIILFHU
      8&0- $UW ²*HQHUDO DUWLFOH VSHFLILFDOO\ FRQGXFW ZKLFK LV SUHMXGLFLDO WR JRRG RUGHU DQG GLVFLSOLQH RU
   VHUYLFHGLVFUHGLWLQJ
       E ,QYROXQWDU\VHSDUDWLRQIRUXQVDWLVIDFWRU\SHUIRUPDQFHRUPLVFRQGXFWRUIRUFRQGXFWGHHPHGSUHMXGLFLDOWRJRRG
   RUGHUDQGGLVFLSOLQHRUPRUDOH
       F 5HFODVVLILFDWLRQDFWLRQVRUEDUWRUHHQOLVWPHQWDFWLRQVDVDSSURSULDWH
       G 2WKHUDGPLQLVWUDWLYHRUGLVFLSOLQDU\DFWLRQGHHPHGDSSURSULDWHE\WKHFRPPDQGHUEDVHGRQWKHVSHFLILFIDFWV
   DQGFLUFXPVWDQFHVRIWKHSDUWLFXODUFDVHWRLQFOXGHUHPRYDORIDFFHVVWRJRYHUQPHQWRZQHG,7V\VWHPV
      L&RPPDQGUHVSRQVLELOLW\&RPPDQGUHVSRQVLELOLW\LVDGGUHVVHGLQSDUDJUDSK±H




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       M6RFLDOPHGLDRUF\EHUDFWLYLW\&RPPDQGHUVRIDQ$UP\LQVWDOODWLRQRURWKHU$UP\FRQWUROOHGIDFLOLW\KDYHWKH
   DXWKRULW\WRSURKLELWDQ\VRFLDOPHGLDRUF\EHUDFWLYLW\WKDWFRXOGUHVXOWLQLQWHUIHUHQFHZLWKRUSUHYHQWLRQRIRUGHUO\
   DFFRPSOLVKPHQWRIWKHPLVVLRQRIWKHLQVWDOODWLRQRUIDFLOLW\RUSUHVHQWDFOHDUGDQJHUWROR\DOW\GLVFLSOLQHRUPRUDOH
   RIWKHWURRSV)XUWKHUVXFKFRPPDQGHUVZLOOGHQ\UHTXHVWVIRUWKHXVHRI$UP\FRQWUROOHGIDFLOLWLHVE\LQGLYLGXDOVRU
   JURXSVWKDWHQJDJHLQGLVFULPLQDWRU\SUDFWLFHVRUIRUDFWLYLWLHVLQYROYLQJVXFKSUDFWLFHV
       N3UHYHQWLYHDFWLYLWLHV
         &RPPDQGHUVVKRXOGUHPDLQDOHUWIRUVLJQVRIIXWXUHSURKLELWHGDFWLYLWLHV7KH\VKRXOGLQWHUYHQHHDUO\SULPDULO\
   WKURXJKFRXQVHOLQJZKHQREVHUYLQJVXFKVLJQVHYHQWKRXJKWKHVLJQVPD\QRWULVHWRDFWLYHDGYRFDF\RUDFWLYHSDU
   WLFLSDWLRQRUPD\QRWWKUHDWHQJRRGRUGHUDQGGLVFLSOLQHEXWRQO\VXJJHVWVXFKSRWHQWLDO7KHJRDORIHDUO\LQWHUYHQWLRQ
   LVWRPLQLPL]HWKHULVNRIIXWXUHSURKLELWHGDFWLYLWLHV
         ([DPSOHVRIVXFKVLJQVZKLFKLQWKHDEVHQFHRIWKHDFWLYHDGYRFDF\RUDFWLYHSDUWLFLSDWLRQFRXOGLQFOXGH
   PHUH PHPEHUVKLSLQFULPLQDOJDQJVDQGH[WUHPLVWRUJDQL]DWLRQV6LJQVFRXOGDOVRLQFOXGHSRVVHVVLRQRIOLWHUDWXUH
   DVVRFLDWHGZLWKVXFKJDQJVRURUJDQL]DWLRQVRUZLWKUHODWHGLGHRORJ\GRFWULQHRUFDXVHV:KLOHPHUHPHPEHUVKLSRU
   SRVVHVVLRQRIOLWHUDWXUHQRUPDOO\LVQRWSURKLELWHGLWPD\PHULWIXUWKHULQYHVWLJDWLRQDQGSRVVLEO\FRXQVHOLQJWRHP
   SKDVL]HWKHLPSRUWDQFHRIDGKHUHQFHWRWKH$UP\¶VYDOXHVDQGWRHQVXUHWKDWWKH6ROGLHUXQGHUVWDQGVZKDWDFWLYLWLHV
   DUHSURKLELWHG
       O/HJDODGYLFHDQGFRXQVHO&RPPDQGHUVVKRXOGVHHNWKHDGYLFHDQGFRXQVHORIWKHLUOHJDODGYLVRUZKHQWDNLQJ
   DFWLRQVSXUVXDQWWRWKLVSROLF\

   ±$UP\ODQJXDJHSROLF\
   (QJOLVKLVWKHRSHUDWLRQDOODQJXDJHRIWKH$UP\6ROGLHUVPXVWPDLQWDLQVXIILFLHQWSURILFLHQF\LQ(QJOLVKWRSHUIRUP
   WKHLUPLOLWDU\GXWLHV7KHLURSHUDWLRQDOFRPPXQLFDWLRQVPXVWEHXQGHUVWRRGE\HYHU\RQHZKRKDVDQRIILFLDOQHHGWR
   NQRZWKHLUFRQWHQWDQGWKHUHIRUHZLOOQRUPDOO\EHLQ(QJOLVK+RZHYHUFRPPDQGHUVPD\QRWUHTXLUH6ROGLHUVWR
   XVH(QJOLVKXQOHVVVXFKXVHLVFOHDUO\QHFHVVDU\DQGSURSHUIRUWKHSHUIRUPDQFHRIPLOLWDU\IXQFWLRQV$FFRUGLQJO\
   FRPPDQGHUVPD\QRWUHTXLUHWKHXVHRI(QJOLVKIRUSHUVRQDOFRPPXQLFDWLRQVWKDWDUHXQUHODWHGWRPLOLWDU\IXQFWLRQV

   ±5HODWLRQVKLSVEHWZHHQ6ROGLHUVRIGLIIHUHQWJUDGHV
      D7KHWHUPRIILFHUXVHGLQWKLVSDUDJUDSKLQFOXGHVERWKFRPPLVVLRQHGDQG:2VXQOHVVRWKHUZLVHVWDWHG7KH
   WHUP³QRQFRPPLVVLRQHGRIILFHU´UHIHUVWRD6ROGLHULQWKHJUDGHRIFRUSRUDOWR&606*07KHWHUP³MXQLRUHQOLVWHG
   6ROGLHU´UHIHUVWRD6ROGLHULQWKHJUDGHRISULYDWHWRVSHFLDOLVW7KHSURYLVLRQVRIWKLVSDUDJUDSKDSSO\WRERWKUHOD
   WLRQVKLSVEHWZHHQ6ROGLHUVLQWKH5$DQG86$5DQGEHWZHHQ6ROGLHUVDQGSHUVRQQHORIRWKHUPLOLWDU\VHUYLFHV
      E6ROGLHUVRIGLIIHUHQWJUDGHVPXVWEHFRJQL]DQWWKDWWKHLULQWHUDFWLRQVGRQRWFUHDWHDQDFWXDORUFOHDUO\SUHGLFWDEOH
   SHUFHSWLRQRIXQGXHIDPLOLDULW\EHWZHHQDQRIILFHUDQGDQHQOLVWHG6ROGLHURUEHWZHHQDQ1&2DQGDMXQLRUHQOLVWHG
   6ROGLHU([DPSOHVRIIDPLOLDULW\EHWZHHQ6ROGLHUVWKDWPD\EHFRPH³XQGXH´FDQLQFOXGHUHSHDWHGYLVLWVWREDUVQLJKW
   FOXEVHDWLQJHVWDEOLVKPHQWVRUKRPHVEHWZHHQDQRIILFHUDQGDQHQOLVWHG6ROGLHURUDQ1&2DQGDMXQLRUHQOLVWHG
   6ROGLHUH[FHSWIRUVRFLDOJDWKHULQJVWKDWLQYROYHDQHQWLUHXQLWRIILFHRUZRUNVHFWLRQ$OOUHODWLRQVKLSVEHWZHHQ
   6ROGLHUVRIGLIIHUHQWJUDGHVDUHSURKLELWHGLIWKH\²
        &RPSURPLVHRUDSSHDUWRFRPSURPLVHWKHLQWHJULW\RIVXSHUYLVRU\DXWKRULW\RUWKHFKDLQRIFRPPDQG
        &DXVHDFWXDORUSHUFHLYHGSDUWLDOLW\RUXQIDLUQHVV
        ,QYROYHRUDSSHDUWRLQYROYHWKHLPSURSHUXVHRIJUDGHRUUDQNRUSRVLWLRQIRUSHUVRQDOJDLQ
        $UHRUDUHSHUFHLYHGWREHH[SORLWDWLYHRUFRHUFLYHLQQDWXUH
        &UHDWH DQ DFWXDO RU FOHDUO\ SUHGLFWDEOH DGYHUVH LPSDFW RQ GLVFLSOLQH DXWKRULW\ PRUDOH RU WKH DELOLW\ RI WKH
   FRPPDQGWRDFFRPSOLVKLWVPLVVLRQ
      F&HUWDLQW\SHVRISHUVRQDOUHODWLRQVKLSVEHWZHHQRIILFHUVDQGHQOLVWHG6ROGLHUVRU1&2VDQGMXQLRUHQOLVWHG6RO
   GLHUVDUHSURKLELWHG3URKLELWHGUHODWLRQVKLSVLQFOXGHWKHIROORZLQJ
        2QJRLQJEXVLQHVVUHODWLRQVKLSVEHWZHHQRIILFHUVDQGHQOLVWHGSHUVRQQHORU1&2VDQGMXQLRUHQOLVWHG6ROGLHUV
   7KLV SURKLELWLRQ GRHV QRW DSSO\ WR ODQGORUGWHQDQW UHODWLRQVKLSV RU WR RQHWLPH WUDQVDFWLRQV VXFK DV WKH VDOH RI DQ
   DXWRPRELOHRUKRXVHEXWGRHVDSSO\WRERUURZLQJRUOHQGLQJPRQH\FRPPHUFLDOVROLFLWDWLRQDQGDQ\RWKHUW\SHRI
   RQJRLQJ ILQDQFLDO RU EXVLQHVV UHODWLRQVKLS %XVLQHVV UHODWLRQVKLSV EHWZHHQ 1&2V DQG MXQLRU HQOLVWHG 6ROGLHUV WKDW
   H[LVWDWWKHWLPHWKLVSROLF\EHFRPHVHIIHFWLYHDQGWKDWZHUHDXWKRUL]HGXQGHUSUHYLRXVO\H[LVWLQJUXOHVDQGUHJXODWLRQV
   DUHH[HPSWSURYLGHGWKHLQGLYLGXDOVDUHQRWLQWKHVDPHXQLWRUFKDLQRIFRPPDQGDQGWKHUHODWLRQVKLSGRHVQRWPHHW
   WKHFULWHULDOLVWHGLQSDUDJUDSKV±E  WKURXJK  ,QWKHFDVHRI$51*RU86$5SHUVRQQHOWKLVSURKLELWLRQGRHV
   QRWDSSO\WRUHODWLRQVKLSVWKDWH[LVWGXHWRWKHLUFLYLOLDQRFFXSDWLRQRUHPSOR\PHQW
        'DWLQJVKDUHGOLYLQJDFFRPPRGDWLRQVRWKHUWKDQWKRVHGLUHFWHGE\RSHUDWLRQDOUHTXLUHPHQWVDQGLQWLPDWHRU
   VH[XDOUHODWLRQVKLSVEHWZHHQRIILFHUVDQGHQOLVWHGSHUVRQQHORU1&2VDQGMXQLRUHQOLVWHG6ROGLHUV7KLVSURKLELWLRQ
   GRHVQRWDSSO\WRWKHIROORZLQJ



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       D 0DUULDJHVEHWZHHQDQRIILFHUDQGDQHQOLVWHGPHPEHURUDQ1&2DQGDMXQLRUHQOLVWHG6ROGLHU+RZHYHUZKHQ
   HYLGHQFHRIIUDWHUQL]DWLRQEHWZHHQDQRIILFHUDQGHQOLVWHGPHPEHURUDQ1&2DQGDMXQLRUHQOLVWHG6ROGLHUSULRUWR
   WKHLUPDUULDJHH[LVWVWKHLUPDUULDJHGRHVQRWSUHFOXGHDSSURSULDWHFRPPDQGDFWLRQEDVHGRQWKHSULRUIUDWHUQL]DWLRQ
   &RPPDQGHUVKDYHDZLGHUDQJHRIUHVSRQVHVDYDLODEOHLQFOXGLQJFRXQVHOLQJUHSULPDQGRUGHUWRFHDVHDUHODWLRQVKLS
   SULRUWRPDUULDJHUHDVVLJQPHQWDGPLQLVWUDWLYHDFWLRQRUDGYHUVHDFWLRQ&RPPDQGHUVPXVWFDUHIXOO\FRQVLGHUDOORI
   WKHIDFWVDQGFLUFXPVWDQFHVLQUHDFKLQJDGLVSRVLWLRQWKDWLVDSSURSULDWH*HQHUDOO\WKHFRPPDQGHUVKRXOGWDNHWKH
   PLQLPXPDFWLRQQHFHVVDU\WRHQVXUHWKDWWKHQHHGVRIJRRGRUGHUDQGGLVFLSOLQHDUHVDWLVILHG
       E 6LWXDWLRQV LQ ZKLFK D UHODWLRQVKLS WKDW FRPSOLHV ZLWK WKLV SROLF\ ZRXOG PRYH LQWR QRQFRPSOLDQFH GXH WR D
   FKDQJHLQVWDWXVRIRQHRIWKHPHPEHUV IRULQVWDQFHDFDVHZKHUHWZRMXQLRUHQOLVWHGPHPEHUVDUHGDWLQJDQGRQHLV
   VXEVHTXHQWO\FRPPLVVLRQHGRUVHOHFWHGWREHD:2FRPPLVVLRQHGRIILFHURU1&2 ,QUHODWLRQVKLSVZKHUHRQHRI
   WKHHQOLVWHGPHPEHUVKDVHQWHUHGLQWRDSURJUDPLQWHQGHGWRUHVXOWLQDFKDQJHLQKLVRUKHUVWDWXVIURPHQOLVWHGWR
   RIILFHURUMXQLRUHQOLVWHG6ROGLHUWR1&2WKHFRXSOHPXVWWHUPLQDWHWKHUHODWLRQVKLSSHUPDQHQWO\RUPDUU\ZLWKLQ
   \HDURIWKHGDWHRIWKHDSSRLQWPHQWRUWKHFKDQJHLQVWDWXVRFFXUV
       F 3HUVRQDOUHODWLRQVKLSVEHWZHHQPHPEHUVRIWKH$51*RU86$5ZKHQWKHUHODWLRQVKLSSULPDULO\H[LVWVGXHWR
   FLYLOLDQDFTXDLQWDQFHVKLSVXQOHVVWKHLQGLYLGXDOVDUHRQDFWLYHGXW\ RWKHUWKDQDQQXDOWUDLQLQJ RQIXOOWLPH1DWLRQDO
   *XDUG'XW\ )71*'  RWKHUWKDQDQQXDOWUDLQLQJ RUVHUYLQJDVDGXDOVWDWXVPLOLWDU\WHFKQLFLDQ
       G 3HUVRQDOUHODWLRQVKLSVEHWZHHQPHPEHUVRIWKH5$DQGPHPEHUVRIWKH$51*RU86$5ZKHQWKHUHODWLRQVKLS
   SULPDULO\H[LVWVGXHWRFLYLOLDQDVVRFLDWLRQDQGWKH86$5PHPEHULVQRWRQDFWLYHGXW\ RWKHUWKDQDQQXDOWUDLQLQJ 
   RQ)71*' RWKHUWKDQDQQXDOWUDLQLQJ RUVHUYLQJDVDGXDOVWDWXVPLOLWDU\WHFKQLFLDQ
       H 6ROGLHUV DQG OHDGHUV VKDUH UHVSRQVLELOLW\ IRU HQVXULQJ WKDW WKHVH SHUVRQDO UHODWLRQVKLSV GR QRW LQWHUIHUH ZLWK
   JRRGRUGHUDQGGLVFLSOLQH&RPPDQGHUVZLOOHQVXUHWKDWSHUVRQDOUHODWLRQVKLSVWKDWH[LVWEHWZHHQ6ROGLHUVRIGLIIHUHQW
   JUDGHVHPDQDWLQJIURPWKHLUFLYLOLDQFDUHHUVZLOOQRWLQIOXHQFHWUDLQLQJUHDGLQHVVRUSHUVRQQHODFWLRQV
        *DPEOLQJEHWZHHQRIILFHUVDQGHQOLVWHGSHUVRQQHORU1&2VDQGMXQLRUHQOLVWHG6ROGLHUV
      G7KHVHSURKLELWLRQVDUHQRWLQWHQGHGWRSUHFOXGHXQLWEDVHGQRUPDOWHDPEXLOGLQJRUDFWLYLW\EDVHGRQLQWHUDFWLRQ
   ZKLFKRFFXUVLQWKHFRQWH[WRIFRPPXQLW\EDVHGUHOLJLRXVRUIUDWHUQDODVVRFLDWLRQVVXFKDVVFRXWLQJ\RXWKRUDGXOW
   VSRUWVOHDJXHVRUWHDPVPHPEHUVKLSLQRUJDQL]DWLRQVVXFKDVWKH0DVRQVRU(ONVUHOLJLRXVDFWLYLWLHVLQFOXGLQJFKDSHO
   FKXUFKV\QDJRJXHPRVTXHRUUHOLJLRXVHGXFDWLRQ)DPLO\JDWKHULQJVXQLWEDVHGVRFLDOIXQFWLRQVRUDWKOHWLFHYHQWV
      H$OOPLOLWDU\SHUVRQQHOVKDUHWKHUHVSRQVLELOLW\IRUPDLQWDLQLQJSURIHVVLRQDOUHODWLRQVKLSV+RZHYHULQDQ\UHOD
   WLRQVKLSEHWZHHQ6ROGLHUVRIGLIIHUHQWJUDGHRUUDQNWKHVHQLRUPHPEHULVJHQHUDOO\LQWKHEHVWSRVLWLRQWRWHUPLQDWH
   RUOLPLWWKHH[WHQWRIWKHUHODWLRQVKLS1HYHUWKHOHVVDOOPHPEHUVPD\EHKHOGDFFRXQWDEOHIRUUHODWLRQVKLSVWKDWYLRODWH
   WKLVSROLF\
      I&RPPDQGHUVVKRXOGVHHNWRSUHYHQWLQDSSURSULDWHRUXQSURIHVVLRQDOUHODWLRQVKLSVWKURXJKSURSHUWUDLQLQJDQG
   SHUVRQDOOHDGHUVKLS&RPPDQGHUVKDYHDZLGHUDQJHRIUHVSRQVHVDYDLODEOHVKRXOGLQDSSURSULDWHUHODWLRQVKLSVRFFXU
   7KHVHUHVSRQVHVPD\LQFOXGHFRXQVHOLQJUHSULPDQGRUGHUWRFHDVHUHDVVLJQPHQWRUDGYHUVHDFWLRQ3RWHQWLDODGYHUVH
   DFWLRQPD\LQFOXGHRIILFLDOUHSULPDQGDGYHUVHHYDOXDWLRQUHSRUW V QRQMXGLFLDOSXQLVKPHQWVHSDUDWLRQEDUWRFRQ
   WLQXHGVHUYLFHSURPRWLRQGHQLDOGHPRWLRQDQGFRXUWVPDUWLDO&RPPDQGHUVPXVWFDUHIXOO\FRQVLGHUDOORIWKHIDFWV
   DQGFLUFXPVWDQFHVLQUHDFKLQJDGLVSRVLWLRQWKDWLVZDUUDQWHGDSSURSULDWHDQGIDLU

   ±2WKHUSURKLELWHGUHODWLRQVKLSV
      D$UP\SHUVRQQHOZLOOWUHDWHDFKSURVSHFWDSSOLFDQWUHFUXLWDQGWUDLQHHZLWKGLJQLW\DQGUHVSHFWDVWKH\SXUVXH
   WKHLUDVSLUDWLRQRIVHUYLQJLQWKHPLOLWDU\$UP\SROLF\SURKLELWVLQDSSURSULDWHUHODWLRQVEHWZHHQUHFUXLWHUVDQGSUR
   VSHFWVDSSOLFDQWVDQGRUUHFUXLWVDQGEHWZHHQWUDLQHUVSURYLGLQJHQWU\OHYHOWUDLQLQJRUSHUPDQHQWSDUW\SHUVRQQHO
   DQGWUDLQHHV
      E,QDSSURSULDWHUHODWLRQVKLSVDQGSURKLELWHGDFWLYLWLHVEHWZHHQUHFUXLWHUVDQGSURVSHFWVDSSOLFDQWVDQGRUUHFUXLWV
   DQGEHWZHHQWUDLQHUVSURYLGLQJHQWU\OHYHOWUDLQLQJRUSHUPDQHQWSDUW\SHUVRQQHODQGWUDLQHHVDUHQRWSHUPLWWHGDQG
   DSSURSULDWHDFWLRQZLOOEHWDNHQ9LRODWLRQVPD\EHVXEMHFWWRSXQLVKPHQWXQGHUWKH8&0-DQGRUDGYHUVHDGPLQLV
   WUDWLYH DFWLRQ '$ &LYLOLDQV DUH VXEMHFW WR DGPLQLVWUDWLYH RU GLVFLSOLQDU\ DFWLRQV XQGHU DSSOLFDEOH )HGHUDO ODZ DQG
   UHJXODWLRQ
      F7KHVHSURKLELWLRQVDSSO\IURPWKHILUVWFRQWDFWEHWZHHQDUHFUXLWDQGUHFUXLWHUWKURXJKHQWU\OHYHOWUDLQLQJDQG
   IRUPRQWKVDIWHUWKHWUDLQHHFRPSOHWHVHQWU\OHYHOWUDLQLQJ7KLVOLVWLVQRWDOOLQFOXVLYH7UDLQLQJFRPPDQGV IRU
   H[DPSOH75$'2&$0(''&HQWHUDQG6FKRRODQG86$UP\5HFUXLWLQJ&RPPDQG DUHDXWKRUL]HGWRSXEOLVK
   VXSSOHPHQWDOUHJXODWLRQVWRSDUDJUDSK±F  ZKLFKIXUWKHUGHWDLOSURKLELWHGFRQGXFWZLWKLQWKHLUUHVSHFWLYHRU
   JDQL]DWLRQV
        5HFUXLWHUVSHUPDQHQWSDUW\SHUVRQQHODQGWUDLQHUVSURYLGLQJHQWU\OHYHOWUDLQLQJZLOOQRW²
       D 'HYHORSDWWHPSWWRGHYHORSRUFRQGXFWDSHUVRQDOLQWLPDWHRUVH[XDOUHODWLRQVKLSZLWKDQ\SURVSHFWDSSOL
   FDQWUHFUXLWRUWUDLQHH7KHVHUHODWLRQVKLSVLQFOXGHEXWDUHQRWOLPLWHGWRGDWLQJKDQGKROGLQJNLVVLQJHPEUDFLQJ



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   FDUHVVLQJDQGHQJDJLQJLQVH[XDODFWLYLWLHV3URKLELWHGSHUVRQDOLQWLPDWHRUVH[XDOUHODWLRQVKLSVLQFOXGHWKRVHUHOD
   WLRQVKLSVFRQGXFWHGLQSHUVRQWKURXJKDWKLUGSHUVRQRUYLDFDUGVOHWWHUVHPDLOVWHOHSKRQHFDOOVLQVWDQWPHVVDJLQJ
   YLGHRSKRWRJUDSKVVRFLDOPHGLDVRFLDOQHWZRUNLQJDQGDQ\RWKHUPHDQVRIFRPPXQLFDWLRQ
        E 8VHUDQNRUSRVLWLRQWKUHDWVSUHVVXUHRUSURPLVHRIUHWXUQRIIDYRUVRUIDYRUDEOHWUHDWPHQWLQDQDWWHPSWWR
   JDLQVH[XDOIDYRUVIURPDQ\SURVSHFWDSSOLFDQWUHFUXLWRUWUDLQHH
        F 0DNHVH[XDODGYDQFHVWRZDUGRUVHHNRUDFFHSWVH[XDODGYDQFHVRUIDYRUVIURPDQ\SURVSHFWDSSOLFDQWUH
   FUXLW RU WUDLQHH ,Q DGGLWLRQ UHFUXLWHUV DQG WUDLQHUV ZLOO UHSRUW DOO RIIHUV RI VH[XDO IDYRUV RU VH[XDO DGYDQFHV DQ\
   SURVSHFWDSSOLFDQWUHFUXLWRUWUDLQHHPDNHVWRWKHLUFKDLQRIFRPPDQG
        G $OORZDQ\SURVSHFWDSSOLFDQWUHFUXLWRUWUDLQHHWRHQWHUWKHLUGZHOOLQJ
        H (VWDEOLVKDFRPPRQKRXVHKROGZLWKDQ\SURVSHFWDSSOLFDQWUHFUXLWRUWUDLQHH WKDWLVWKH\ZLOOQRWVKDUHWKH
   VDPHOLYLQJDUHDLQDQDSDUWPHQWKRXVHRURWKHUGZHOOLQJ 7KLVSURKLELWLRQGRHVQRWLQFOXGHIDFLOLWLHVRSHQWRDOO
   PHPEHUVRIDKRPHRZQHUVDVVRFLDWLRQRUDOOWHQDQWVLQDQDSDUWPHQWFRPSOH[
        I $OORZDQ\SURVSHFWDSSOLFDQWUHFUXLWRUWUDLQHHWRHQWHUWKHLUSULYDWHO\RZQHGYHKLFOHV([FHSWLRQVDUHSHUPLW
   WHGIRURIILFLDOEXVLQHVVZKHQWKHVDIHW\RUZHOIDUHRIWKHSURVSHFWDSSOLFDQWUHFUXLWRUWUDLQHHLVDWULVN5HFUXLWHUV
   DQGWUDLQHUVZLOOUHSRUWDOOVXFKLQVWDQFHVWRWKHLUFKDLQRIFRPPDQGDVVRRQDVSUDFWLFDEOH
        J 3URYLGHDOFRKROWRRUFRQVXPHDOFRKROZLWKDQ\SURVSHFWDSSOLFDQWUHFUXLWRUWUDLQHHRQDSHUVRQDOVRFLDO
   EDVLV7KLVSURKLELWLRQGRHVQRWDSSO\WRWKHSUDFWLFHRISDUWLFLSDWLRQLQUHOLJLRXVVHUYLFHVULWHVRUULWXDOV
        K $WWHQGVRFLDOJDWKHULQJVFOXEVEDUVWKHDWHUVRUVLPLODUHVWDEOLVKPHQWVRQDSHUVRQDOVRFLDOEDVLVZLWKDQ\
   SURVSHFWDSSOLFDQWUHFUXLWRUWUDLQHH
        L *DPEOHZLWKDQ\SURVSHFWDSSOLFDQWUHFUXLWRUWUDLQHH
        M /HQGPRQH\WRERUURZPRQH\IURPRURWKHUZLVHEHFRPHLQGHEWHGWRRUE\DQ\SURVSHFWDSSOLFDQWUHFUXLWRU
   WUDLQHH
        N 6ROLFLWGRQDWLRQVIURPDQ\SURVSHFWDSSOLFDQWUHFUXLWRUWUDLQHH
        O +LUHRURWKHUZLVHHPSOR\LQDQRIILFLDORUSHUVRQDOFDSDFLW\DQ\SURVSHFWDSSOLFDQWUHFUXLWRUWUDLQHH IRU
   H[DPSOHIRUEDE\VLWWLQJRUPDLQWHQDQFHMREV 
        P $FFHSWSHUVRQDOJRRGVLQDQRIILFLDORUSHUVRQDOFDSDFLW\IURPDQ\SURVSHFWDSSOLFDQWUHFUXLWRUWUDLQHHIRU
   VWRUDJHRUDQ\RWKHUUHDVRQ
        Q 3DUWLFLSDWHLQFORVHGGRRUGLVFXVVLRQVZLWKDQ\SURVSHFWDSSOLFDQWUHFUXLWRUWUDLQHH5HFUXLWHUVDQGWUDLQHUV
   ZLOONHHSGRRUVRSHQZKHQPHHWLQJZLWKSURVSHFWVDSSOLFDQWVUHFUXLWVDQGWUDLQHHVH[FHSWZKHQ²
       $QRWKHUSHUVRQDWOHDVW\HDUVRIDJHRUROGHULVSUHVHQW
       %HFDXVHRIWKHSUR[LPLW\RIRWKHUVLWLVQHFHVVDU\WRSURWHFWSHUVRQDOO\LGHQWLILDEOHVHQVLWLYHRUFRQILGHQWLDO
   LQIRUPDWLRQ WKHVHFORVHGGRRUVHVVLRQVZLOOEHVKRUWLQGXUDWLRQ RU
       7KHGHVLJQRIWKHRIILFHLVVXFKWKDWWKHGRRURSHQVWRDSXEOLFDUHDZKHUHWKHRIILFHLVOHIWXQSURWHFWHGIURPWKH
   HOHPHQWVRUDOORZVXQZDQWHGSXEOLFLQWHUDFWLRQ,QWKHVHFDVHVWKHGRRUZLOOEHOHIWXQORFNHGDQGFOHDUO\PDUNHGWKDW
   LWLVRSHQIRUEXVLQHVVDQGYLVLWRUVDUHZHOFRPH
         5HFUXLWVRUWUDLQHHVZLOOQRW²
        D 'HYHORSDWWHPSWWRGHYHORSRUFRQGXFWDSHUVRQDOLQWLPDWHRUVH[XDOUHODWLRQVKLSZLWKDUHFUXLWHUSHUPDQHQW
   SDUW\SHUVRQQHORUWUDLQHU7KHVHUHODWLRQVKLSVLQFOXGHEXWDUHQRWOLPLWHGWRGDWLQJKDQGKROGLQJNLVVLQJHPEUDFLQJ
   FDUHVVLQJDQGHQJDJLQJLQVH[XDODFWLYLWLHV3URKLELWHGSHUVRQDOLQWLPDWHRUVH[XDOUHODWLRQVKLSVLQFOXGHWKRVHUHOD
   WLRQVKLSVFRQGXFWHGLQSHUVRQWKURXJKDWKLUGSDUW\RUYLDFDUGVOHWWHUVHPDLOVWHOHSKRQHFDOOVLQVWDQWPHVVDJLQJ
   YLGHRSKRWRJUDSKVVRFLDOPHGLDVRFLDOQHWZRUNLQJRUDQ\RWKHUPHDQVRIFRPPXQLFDWLRQ
        E 0DNHVH[XDODGYDQFHVWRZDUGRUVHHNRUDFFHSWVH[XDODGYDQFHVRUIDYRUVIURPDUHFUXLWHUSHUPDQHQWSDUW\
   SHUVRQQHORUWUDLQHU
        F $OORZDQ\UHFUXLWHUSHUPDQHQWSDUW\SHUVRQQHORUWUDLQHUWRHQWHUWKHLUGZHOOLQJRUSULYDWHO\RZQHGYHKLFOHV
   H[FHSWWRFRQGXFWRIILFLDOEXVLQHVV([FHSWLRQVDUHSHUPLWWHGIRURIILFLDOEXVLQHVV ZKHQWKHVDIHW\RU ZHOIDUHRID
   UHFUXLWHURUWUDLQHULVDWULVN
        G (VWDEOLVKDFRPPRQKRXVHKROGZLWKDUHFUXLWHUSHUPDQHQWSDUW\SHUVRQQHORUWUDLQHU WKDWLVZLOOQRWVKDUH
   WKHVDPHOLYLQJDUHDLQDQDSDUWPHQWKRXVHRURWKHUGZHOOLQJ 7KLVSURKLELWLRQGRHVQRWLQFOXGHIDFLOLWLHVRSHQWRDOO
   PHPEHUVRIDKRPHRZQHUVDVVRFLDWLRQRUDOOWHQDQWVLQDQDSDUWPHQWFRPSOH[
        H &RQVXPHDOFRKROZLWKDUHFUXLWHURUWUDLQHURQDSHUVRQDOVRFLDOEDVLV
        I $WWHQGVRFLDOJDWKHULQJVFOXEVEDUVWKHDWHUVRUVLPLODUHVWDEOLVKPHQWVRQDSHUVRQDOVRFLDOEDVLVZLWKDUH
   FUXLWHURUWUDLQHU
        J *DPEOHZLWKDUHFUXLWHUSHUPDQHQWSDUW\SHUVRQQHORUWUDLQHU
        K /HQGPRQH\WRERUURZPRQH\IURPRURWKHUZLVHEHFRPHLQGHEWHGWRRUE\DUHFUXLWHUSHUPDQHQWSDUW\SHU
   VRQQHORUWUDLQHU




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      G$WDPLQLPXPDQGDVUHTXLUHGWKHUHFUXLWWUDLQHHUHFUXLWHUSHUPDQHQWSDUW\SHUVRQQHORUWUDLQHUZLOOFRPSOHWH
   WKHIROORZLQJDGPLQLVWUDWLYHDFWLRQV&RPPDQGHUVPD\DGGUHTXLUHPHQWVWRWKLVOLVW
        $GPLQLVWUDWLYHUHTXLUHPHQWVIRUUHFUXLWHUVDQGUHFUXLWV
       D %HIRUHSHUIRUPLQJUHFUXLWHUGXWLHVUHFUXLWHUVZLOOVLJQD'')RUP 5HFUXLWHU7UDLQHU3URKLELWHG$FWLYL
   WLHV$FNQRZOHGJPHQW WRDFNQRZOHGJHWKHLUXQGHUVWDQGLQJRIWKHSURKLELWLRQVOLVWHGLQSDUDJUDSK±F  DQGWKHLU
   UHVSRQVLELOLWLHVWRDYRLGWKHSURKLELWHGLQDSSURSULDWHEHKDYLRUVDQGUHODWLRQVRXWOLQHGLQWKLVUHJXODWLRQ5HFUXLWHUV
   ZLOO UHFHUWLI\ WKH '' )RUP  DQQXDOO\ 7KH '' )RUP  ZLOO EH ORFDOO\ ILOHG DQG NHSW IRU  \HDU DIWHU WKH
   UHFUXLWHUKDVOHIWWKHXQLW
       E 'XULQJWKHLQLWLDOYLVLWUHFUXLWHUVZLOOSURYLGHDOODSSOLFDQWVZLWKFRQWDFWLQIRUPDWLRQWKH\FDQXVHWRQRWLI\
   VRPHRQHLIWKH\EHOLHYHWKHLUUHFUXLWHUKDVDFWHGLPSURSHUO\
       F 1RODWHUWKDQWKHILUVWYLVLWZLWKDUHFUXLWHUDIWHUDUHFUXLW VHQWU\LQWRWKH'HOD\HG(QWU\3URJUDP '(3 )XWXUH
   6ROGLHU3URJUDP'HOD\HG7UDLQLQJ3URJUDPRU5HFUXLW6XVWDLQPHQW3URJUDPDUHFUXLWPXVWVLJQD'')RUP
    5HFUXLW7UDLQHH 3URKLELWHG $FWLYLWLHV $FNQRZOHGJPHQW   WR DFNQRZOHGJH WKHLU XQGHUVWDQGLQJ RI WKH SURKLELWLRQV
   OLVWHGLQSDUDJUDSK±F  7KH'')RUPZLOOEHILOHGLQWKHUHFUXLW VHQOLVWPHQW(OHFWURQLF5HFRUGV6\VWHP
   DQGNHSWLQDFFRUGDQFHZLWKV\VWHPSROLF\
       G ([FHSWLRQVPD\EHJUDQWHGWRDFFRPPRGDWHUHODWLRQVKLSVWKDWH[LVWHGEHIRUHWKHUHFUXLWVWDUWHGWKHUHFUXLWLQJ
   SURFHVV7KHVHUHODWLRQVKLSVLQFOXGHEXWDUHQRWOLPLWHGWR)DPLO\PHPEHUV2QO\WKHUHFUXLWHU VFRPPDQGHULQWKH
   UDQNRI0$-RUKLJKHURUDKLJKHUOHYHODXWKRULW\KDVWKHDXWKRULW\WRDSSURYHWKHVHH[FHSWLRQV5HFUXLWHUVPXVW
   UHTXHVW WKH H[FHSWLRQ LQ ZULWLQJ WR WKHLU FRPPDQGHU +LJKHU OHYHO FRPPDQGHUV PD\ ZLWKKROG WKLV DXWKRULW\ IURP
   VXERUGLQDWHFRPPDQGHUV$OOH[FHSWLRQVZLOOEHGRFXPHQWHGRQ'')RUPDQG'$)RUPDVDSSOLFDEOH
        $GPLQLVWUDWLYHUHTXLUHPHQWVIRUWUDLQHUVWUDLQHHVDQGSHUPDQHQWSDUW\SHUVRQQHO
       D 7UDLQHUVSURYLGLQJHQWU\OHYHOWUDLQLQJZLOOVLJQD'')RUPWKDWDFNQRZOHGJHVWKHLUXQGHUVWDQGLQJRIWKH
   SURKLELWLRQVOLVWHGLQSDUDJUDSK±F  DQGWKHLUUHVSRQVLELOLWLHVUHJDUGLQJWKHSROLFLHVWRDYRLGWKHLQDSSURSULDWH
   EHKDYLRUVDQGUHODWLRQVRXWOLQHGLQWKLVGLUHFWLYH7KH'')RUPZLOOEHUHFHUWLILHGDQQXDOO\7KHIRUPZLOOEH
   ORFDOO\ILOHGDQGNHSWIRU\HDUDIWHUWKHWUDLQHUKDVOHIWWKHXQLW
       E $WWKHRQVHWRIWKHILUVWWUDLQLQJVHVVLRQWUDLQHUVZLOOEULHIWUDLQHHVRQWKHSROLFLHVLQWKLVUHJXODWLRQDQGSURYLGH
   LQIRUPDWLRQWKDWWUDLQHHVFDQXVHWRFRQWDFWVRPHRQHLQOHDGHUVKLSLIWKH\ZLVKWRUHSRUWDQ\LVVXHUHODWHGWRDWUDLQHU V
   LQDSSURSULDWHFRQGXFW
       F 7UDLQHHVZLOOVLJQD'')RUPWRDFNQRZOHGJHWKHLUXQGHUVWDQGLQJDQGUHVSRQVLELOLWLHVDVRXWOLQHGLQWKLV
   UHJXODWLRQQRODWHUWKDQWKHILUVWGD\RIHQWU\OHYHOWUDLQLQJ7KH'')RUPZLOOEHORFDOO\ILOHGDQGNHSWXQWLO
   PRQWKVDIWHUWKHWUDLQHHKDVOHIWWKHXQLW
       G ([FHSWLRQVPD\EHJUDQWHGWRDFFRPPRGDWHUHODWLRQVKLSVWKDWH[LVWHGEHIRUHWKHWUDLQHHVWDUWHGIRUPDOWUDLQLQJ
   $QH[FHSWLRQPD\EHSHUPLWWHGIRU)DPLO\PHPEHUV&RPPDQGHUVIRUWKHWUDLQHURUSHUPDQHQWSDUW\SHUVRQQHODQG
   WUDLQHHZLOODSSURYHWKHH[FHSWLRQIRULWWRDSSO\WRERWKSDUWLHV2QO\WKHWUDLQHU VRUSHUPDQHQWSDUW\SHUVRQQHO¶VDQG
   WUDLQHH VFRPPDQGHUVLQWKH UDQNRI0$-RUKLJKHURUKLJKHUOHYHODXWKRULW\ KDYH WKH DXWKRULW\WRDSSURYHWKHVH
   H[FHSWLRQV+LJKHUOHYHOFRPPDQGHUVPD\ZLWKKROGWKLVDXWKRULW\IURPVXERUGLQDWHFRPPDQGHUV7UDLQHUVSHUPDQHQW
   SDUW\SHUVRQQHODQGWUDLQHHVPXVWUHTXHVWWKHH[FHSWLRQLQZULWLQJWRWKHLUFRPPDQGHU$OOH[FHSWLRQVZLOOEHGRFX
   PHQWHGRQ'')RUPDQG'$)RUPDVDSSOLFDEOH
        6SHFLDOFRQVLGHUDWLRQ7KHSROLF\LQWKLVUHJXODWLRQLVQRWLQWHQGHGWRHOLPLQDWHDOORSSRUWXQLWLHVIRUWUDLQHUDQG
   WUDLQHHH[WHUQDOFODVVURRPSURIHVVLRQDOGHYHORSPHQWDQGPHQWRUVKLSEHFDXVHWKHVHRSSRUWXQLWLHVDUHLPSRUWDQWWRWKH
   OHDUQLQJSURFHVV/HDGHUVDUHUHVSRQVLEOHIRUVHWWLQJWKHULJKWFRPPDQGFOLPDWHDQGSURYLGLQJJXLGHOLQHVIRURXWVLGH
   WKHFODVVURRPPHQWRULQJDQGWHDPEXLOGLQJDFWLYLWLHV7KHSURKLELWLRQVOLVWHGLQSDUDJUDSKV ±F  DQG±F  
   UHODWHGWRSULYDWHGZHOOLQJVSULYDWHO\RZQHGYHKLFOHVDOFRKRODQGVRFLDOJDWKHULQJVGRQRWDSSO\WRFRPPDQGDX
   WKRUL]HGSURJUDPVVXFKDVWKH0LOLWDU\$FDGHP\ V&DGHW6SRQVRUVKLSRU&KDUDFWHU'HYHORSPHQWSURJUDPVRURWKHU
   VLPLODUVRFLDOGHYHORSPHQWSURJUDPVZLWKLQ527&SURJUDPVZKLFKSURYLGHEUHDGWKDQGGHSWKWRWKHHGXFDWLRQRI
   IXWXUHOHDGHUV7KHSURKLELWLRQVLQSDUDJUDSKV±F  DQG±F  UHODWHGWRDOFRKRODQGVRFLDOJDWKHULQJVDOVRGR
   QRWDSSO\WRFRPPDQGDXWKRUL]HGXQLWVRFLDOHYHQWVVXFKDVXQLWGLQLQJLQRXWHYHQWVKROLGD\UHFHSWLRQVRUKDLODQG
   IDUHZHOO HYHQWV RU LQFOXVLYH JURXS VRFLDO IXQFWLRQV VXFK DV WKRVH E\ WHDP VTXDG RU SODWRRQ WR ZKLFK DOO JURXS
   PHPEHUVDUHLQYLWHG7KHSROLF\LQWKLVGLUHFWLYHZLOOQRWLQIULQJHXSRQWKHULJKWWRWKHIUHHH[HUFLVHRIUHOLJLRQIRU
   WUDLQHUVDQGWUDLQHHV
      H6XEVWDQWLDWHGYLRODWLRQVRIDFWLRQVLGHQWLILHGLQSDUDJUDSKV±F  DQG±F  E\DQ\PLOLWDU\UHFUXLWHURU
   PLOLWDU\WUDLQHUSURYLGLQJHQWU\OHYHOWUDLQLQJZLOOUHTXLUHWKH6ROGLHUWREHSURFHVVHGIRUDGPLQLVWUDWLYHVHSDUDWLRQ
   IURPWKH$UP\XQOHVVWKH6ROGLHULVRWKHUZLVHSXQLWLYHO\GLVFKDUJHGRUGLVPLVVHGIURPWKH$UP\IRUWKHYLRODWLRQDV
   SDUWRIDFRXUWPDUWLDOVHQWHQFH7KHUHTXLUHPHQWWRLQLWLDWHDGPLQLVWUDWLYHSURFHVVLQJGRHVQRWPHDQWKDWWKHUHVXOWRI
   WKDWSURFHVVLQJPXVWEHDGPLQLVWUDWLYHGLVFKDUJHWKHVSHFLILFIDFWVRIHDFKLQGLYLGXDOFDVHZLOOGHWHUPLQHZKHWKHU
   DGPLQLVWUDWLYHGLVFKDUJHLVDSSURSULDWH,QDOORWKHUILQGLQJVRIZURQJGRLQJIRUDFWLRQVLGHQWLILHGLQSDUDJUDSKV ±



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   F  DQG±F  FRPPDQGHUVZLOOWDNHDSSURSULDWHDFWLRQ,IWKHVHSDUDWLRQDXWKRULW\DSSURYHVUHWHQWLRQWKH\
   PD\LQLWLDWHDFWLRQIRU6HFUHWDULDOSOHQDU\VHSDUDWLRQDXWKRULW\XQGHU$5 ± RU$5 ± DVDSSURSULDWH
                                                                                                                                            




        )LQGLQJVRIZURQJGRLQJIRUDFWLRQVLGHQWLILHGLQSDUDJUDSK±F  DJDLQVWDQ\PLOLWDU\UHFUXLWHUSHUPDQHQW
   SDUW\SHUVRQQHORUPLOLWDU\WUDLQHUSURYLGLQJHQWU\OHYHOWUDLQLQJZLOOUHVXOWLQWKHUHFUXLWHUSHUPDQHQWSDUW\SHUVRQQHO
   RUWUDLQHUEHLQJKHOGDFFRXQWDEOHDWWKHGLVFUHWLRQRIWKHLUFRPPDQGHU
        '$&LYLOLDQVZKRYLRODWH±F  PD\EHVXEMHFWWRDGPLQLVWUDWLYHRUGLVFLSOLQDU\DFWLRQXSWRDQGLQFOXGLQJ
   UHPRYDOIURPIHGHUDOVHUYLFH
        &RQWUDFWHPSOR\HHVZLWKVXEVWDQWLDWHGYLRODWLRQVRISDUDJUDSK±F   FKDUJHVVXSSRUWHGE\DSUHSRQGHUDQFH
   RIWKHHYLGHQFH WKHFRPPDQGWRZKRPWKHFRQWUDFWRUSURYLGHVUHFUXLWLQJRUWUDLQLQJVHUYLFHVZLOOLPPHGLDWHO\FRQ
   WDFWWKHFRJQL]DQWFRQWUDFWLQJRIILFHUIRUWKHFRQWUDFW7KHFRPPDQGVKRXOGQRWWDNHGLVFLSOLQDU\DFWLRQDJDLQVWHLWKHU
   WKHFRQWUDFWRURUWKHFRQWUDFWRUHPSOR\HH7KHFRQWUDFWLQJRIILFHUKDVDXWKRULW\WRWDNHVXFKDFWLRQDJDLQVWWKHFRQ
   WUDFWRUDVLVZDUUDQWHGXQGHUWKHFRQWUDFWWRWKHH[WHQWWKDWDVXEVWDQWLDWHGYLRODWLRQE\WKHFRQWUDFWRU VHPSOR\HHLV
   GHHPHGDYLRODWLRQRIWKHWHUPVDQGFRQGLWLRQVRIWKHFRQWUDFWRU VFRQWUDFWZLWKWKH$UP\

   ±)UDWHUQL]DWLRQ
   9LRODWLRQVRISDUDJUDSKV±E±FDQG± PD\EHSXQLVKHGXQGHUWKH8&0-
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   ±6WDQGDUGVRIFRQGXFW
   3XEOLFVHUYLFHLVDSXEOLFWUXVW'$SHUVRQQHOKDYHDUHVSRQVLELOLW\WRWKH8QLWHG6WDWHV*RYHUQPHQWDQGLWVFLWL]HQV
   WRSODFHOR\DOW\WRWKH&RQVWLWXWLRQODZVDQGHWKLFDOSULQFLSOHVDERYHSULYDWHJDLQ7KHSHUIRUPDQFHRIWKHLUGXWLHV
   VKRXOGEHLQNHHSLQJZLWKWKHKLJKHVWWUDGLWLRQRIPLOLWDU\DQGFLYLOLDQVHUYLFHWRWKH86*RYHUQPHQW
      D*XLGDQFH6WDQGDUGVRIFRQGXFWUHTXLUHGRI6ROGLHUVDQG'$&LYLOLDQVDUHSUHVFULEHGE\3DUW7LWOH
   &RGHRI)HGHUDO5HJXODWLRQVDQG'R' ± 57KHVHUHJXODWLRQVSURYLGH$UP\SHUVRQQHOZLWKJXLGDQFHRQD
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   PXOWLWXGHRIHWKLFDOLVVXHVLQFOXGLQJWKHDYRLGDQFHRIFRQIOLFWVRILQWHUHVWVEHWZHHQWKHLUFRPPHUFLDOILQDQFLDOLQWHU
   HVWVDQGWKHLURIILFLDOGXWLHV
      E$QQXDOHWKLFVWUDLQLQJ&RPPDQGHUVDWDOOOHYHOVZLOOHQVXUHWKDWDOO$UP\SHUVRQQHOUHTXLUHGWRILOHDSXEOLF
   ILQDQFLDOGLVFORVXUHUHSRUWDFRQILGHQWLDOILQDQFLDOGLVFORVXUHUHSRUWDQGFRQWUDFWLQJRIILFHUVFRPSOHWHDQQXDOHWKLFV
   WUDLQLQJDVUHTXLUHGE\'R' ± 5DQG3DUW7LWOH&RGHRI)HGHUDO5HJXODWLRQV
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   ±(PSOR\PHQWDQGYROXQWHHUZRUNRIVSRXVH
      D7KH$UP\DIILUPVWKHULJKWVRIDVSRXVHRID6ROGLHUWRSXUVXHDQGKROGDMREDWWHQGVFKRRORUSHUIRUPYROXQWHHU
   VHUYLFHVRQRURIIDPLOLWDU\LQVWDOODWLRQ1R'$RIILFLDOZLOOGLUHFWO\RULQGLUHFWO\LPSHGHRURWKHUZLVHLQWHUIHUHZLWK
   WKHVH ULJKWV 0RUHRYHU QR '$ RIILFLDO ZLOO XVH WKH SUHIHUHQFHV DQG UHTXLUHPHQWV RI WKH $UP\ RU DQ\ RWKHU 'R'
   FRPSRQHQWWRLQIOXHQFHWKHHPSOR\PHQWHGXFDWLRQDORUYROXQWHHUVHUYLFHGHFLVLRQVRIDVSRXVH1HLWKHUZLOOVXFK
   GHFLVLRQRIDVSRXVHQRUWKHPDULWDOVWDWXVRIWKH6ROGLHUDIIHFWIDYRUDEO\RUDGYHUVHO\WKHSHUIRUPDQFHHYDOXDWLRQV
   DVVLJQPHQWVRUSURPRWLRQRSSRUWXQLWLHVRIWKH6ROGLHU
        ,QGLVFKDUJLQJWKHLUUHVSRQVLELOLWLHVPHPEHUVRIPLOLWDU\SURPRWLRQFRQWLQXDWLRQDQGVLPLODUSHUVRQQHOVHOHF
   WLRQERDUGVDUHSURKLELWHGIURPFRQVLGHULQJWKHPDULWDOVWDWXVRID6ROGLHURUWKHHPSOR\PHQWHGXFDWLRQDORUYROXQ
   WHHUVHUYLFHDFWLYLWLHVRID6ROGLHU¶VVSRXVH$5 ± DQG$5 ± ± SURYLGHVSHFLILFSROLFLHVJRYHUQLQJERDUG
                                                                                                          




   FRQGXFW
        3HUVRQQHOGHFLVLRQVLQFOXGLQJWKRVHUHODWHGWRWKHDVVLJQPHQWVRI6ROGLHUVZLOOQRWEHDIIHFWHGIDYRUDEO\RU
   DGYHUVHO\E\WKHHPSOR\PHQWHGXFDWLRQDORUYROXQWHHUVHUYLFHVDFWLYLWLHVRID6ROGLHU¶VVSRXVHRUVROHO\E\UHDVRQ
   RID6ROGLHU¶VPDULWDOVWDWXV$5 ± $5 ± $5 ± $5 ± DQG$5 ± SURYLGHVSHFLILF
                                                                                                                                              




   SROLFLHV([FHSWLRQVPD\EH²
       D 1HFHVVDU\WRDOOHYLDWHWKHSHUVRQDOKDUGVKLSRID6ROGLHURUVSRXVHXSRQWKHUHTXHVWRIWKH6ROGLHUFRQFHUQHG
   VXFKDVZKHQD)DPLO\PHPEHUUHTXLUHVVSHFLDOL]HGPHGLFDOWUHDWPHQWRUHGXFDWLRQDOSURYLVLRQVRUVLPLODUSHUVRQDO
   SUHIHUHQFHDFFRPPRGDWLRQV
       E 1HHGHGWRIDFLOLWDWHWKHDVVLJQPHQWRIGXDOPLOLWDU\FRXSOHVLQWKH$UP\0DUULHG&RXSOHV3URJUDPWRWKHVDPH
   JHRJUDSKLFDUHD
       F 5HTXLUHGE\ODZVXFKDVLQVWDQFHVLQ ZKLFKDSURKLELWHGFRQIOLFWRILQWHUHVW PD\H[LVWEHWZHHQWKHRIILFLDO
   GXWLHVRID6ROGLHUDQGWKHHPSOR\PHQWRIWKH6ROGLHU¶VVSRXVH'R' ± 5SURYLGHVVSHFLILFSROLFLHV                       




       G 0DGHE\WKH$VVLVWDQW6HFUHWDU\RI'HIHQVH 3HUVRQQHODQG5HDGLQHVV ZLWKWKHFRQFXUUHQFHRIWKHJHQHUDO
   FRXQVHORQDFDVHE\FDVHEDVLVIRUUHDVRQVRIQDWLRQDOVHFXULW\WKDWPDULWDOVWDWXVLVDQHVVHQWLDODVVLJQPHQWTXDOL
   ILFDWLRQIRUSDUWLFXODUPLOLWDU\ELOOHWVRUSRVLWLRQV
        3HUIRUPDQFH DSSUDLVDOV RQ 6ROGLHUV LQFOXGLQJ RIILFHU DQG HQOLVWHG HYDOXDWLRQV UHSRUWV ZLOO QRW FRQWDLQ DQ\
   LQIRUPDWLRQUHJDUGLQJWKHHPSOR\PHQWHGXFDWLRQDORUYROXQWHHUVHUYLFHDFWLYLWLHVRIWKH6ROGLHU¶VVSRXVHRUUHIOHFW



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   IDYRUDEO\RUDGYHUVHO\RQWKHPHPEHUEDVHGVROHO\RQWKH6ROGLHU¶VPDULWDOVWDWXV$5 ± SURYLGHVVSHFLILFSROL
                                                                                                           




   FLHV
      E9LRODWLRQVRIWKLVSROLF\SURYLGHDEDVLVIRUGLVFLSOLQDU\DFWLRQXQGHUWKH8&0-LQDGGLWLRQWRDSSURSULDWHDG
   PLQLVWUDWLYHVDQFWLRQV

   ±7KH$UP\+DUDVVPHQW3UHYHQWLRQDQG5HVSRQVH3URJUDP KD]LQJEXOO\LQJDQG
   GLVFULPLQDWRU\KDUDVVPHQW 
   7KH$UP\LVDYDOXHVEDVHGRUJDQL]DWLRQZKHUHHYHU\RQHLVH[SHFWHGWRGRZKDWLVULJKWE\WUHDWLQJDOOSHUVRQVDVWKH\
   VKRXOGEHWUHDWHG²ZLWKGLJQLW\DQGUHVSHFW$UP\SHUVRQQHODUHH[SHFWHGWRWUHDWDOOSHRSOHZLWKUHVSHFWLQDOODVSHFWV
   RIOLIHDQGIRUPVRIFRPPXQLFDWLRQ IRUH[DPSOHRQOLQHRULQSHUVRQ )XUWKHUPRUH$UP\SHUVRQQHOHVSHFLDOO\WKRVH
   HQWUXVWHGZLWKWKHPDQWOHRIOHDGHUVKLSZLOOOHDGE\H[DPSOHDQGGRZKDWLVULJKWWRSUHYHQWDEXVLYHWUHDWPHQWRI
   RWKHUV )DLOXUH WR GR VR EULQJV GLVFUHGLW RQ WKH $UP\ DQG PD\ KDYH VWUDWHJLF LPSOLFDWLRQV +D]LQJ EXOO\LQJ DQG
   GLVFULPLQDWRU\ KDUDVVPHQW RI SHRSOH RU WKHLU SURSHUW\ LV SURKLELWHG DOOHJDWLRQV RI KDUDVVPHQW ZLOO EH DGGUHVVHG
   VZLIWO\LQGLYLGXDOO\DQGLQOLJKWRIWKHLUFLUFXPVWDQFHV+D]LQJEXOO\LQJRQOLQHPLVFRQGXFWDQGRWKHUDFWVRIPLV
   FRQGXFWXQGHUPLQHWUXVW YLRODWHRXUHWKLFDQGQHJDWLYHO\LPSDFWFRPPDQGFOLPDWHDQGUHDGLQHVV 3DUDJUDSKV±
   D  WKURXJK  DUHSXQLWLYHDQGYLRODWRUVPD\EHSXQLVKHGXQGHUWKH8&0-RUVXEMHFWWRDGPLQLVWUDWLYHDFWLRQ
   &RPPDQGHUVZLOOVHHNWKHDGYLFHDQGFRXQVHORIWKHLUOHJDODGYLVRUZKHQWDNLQJDFWLRQVSXUVXDQWWRWKLVSDUDJUDSK
   7KLVSROLF\GRHVQRWDSSO\WR'$&LYLOLDQHPSOR\HHVZLVKLQJWRILOHDKDUDVVPHQWFRPSODLQWWKH\VKRXOGVHHNDVVLV
   WDQFHIURPWKHLUDSSURSULDWHVHUYLFLQJ((2RIILFHLQDFFRUGDQFHZLWK'R'''R',9ROXPH
   6HFWLRQRI7LWOH8QLWHG6WDWHV&RGH 86& $5± DQG$5 ± 
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   KD]H6ROGLHUV ZLWKRXWDSURSHUPLOLWDU\DXWKRULW\RURWKHUJRYHUQPHQWDOSXUSRVHEXWZLWKDQH[XVWRPLOLWDU\VHUYLFH
   SK\VLFDOO\RUSV\FKRORJLFDOO\LQMXUHVRUFUHDWHVDULVNRISK\VLFDORUSV\FKRORJLFDOLQMXU\WR6ROGLHUVIRUWKHSXUSRVH
   RILQLWLDWLRQLQWRDGPLVVLRQLQWRDIILOLDWLRQZLWKFKDQJHLQVWDWXVRUSRVLWLRQZLWKLQRUDFRQGLWLRQIRUFRQWLQXHG
   PHPEHUVKLSLQDQ\PLOLWDU\RU'$&LYLOLDQRUJDQL]DWLRQ+D]LQJFDQEHFRQGXFWHGWKURXJKWKHXVHRIHOHFWURQLFGH
   YLFHVRUFRPPXQLFDWLRQVDQGE\RWKHUPHDQVLQFOXGLQJVRFLDOPHGLDDVZHOODVLQSHUVRQ
       D +D]LQJLVHYDOXDWHGE\DUHDVRQDEOHSHUVRQVWDQGDUGDQGLQFOXGHVEXWLVQRWOLPLWHGWRWKHIROORZLQJZKHQ
   SHUIRUPHGZLWKRXWSURSHUPLOLWDU\DXWKRULW\RURWKHUJRYHUQPHQWDOSXUSRVHV
      $Q\IRUPRILQLWLDWLRQRUFRQJUDWXODWRU\DFWWKDWLQYROYHVSK\VLFDOO\VWULNLQJEHDWLQJSDGGOLQJZKLSSLQJRU
   EXUQLQJDQRWKHUSHUVRQLQDQ\PDQQHURUWKUHDWHQLQJWRGRWKHVDPH
      3UHVVLQJDQ\REMHFWLQWRDQRWKHUSHUVRQ¶VVNLQUHJDUGOHVVRIZKHWKHULWSLHUFHVWKHVNLQVXFKDV³SLQQLQJ´RU
   ³WDFNLQJRQ´RIUDQNLQVLJQLDDYLDWRUZLQJVMXPSZLQJVGLYHULQVLJQLDEDGJHVPHGDOVRUDQ\RWKHUREMHFW
      2UDORUZULWWHQEHUDWLQJRIDQRWKHUSHUVRQZLWKWKHSXUSRVHRIEHOLWWOLQJRUKXPLOLDWLQJ
      (QFRXUDJLQJDQRWKHUSHUVRQWRHQJDJHLQLOOHJDOKDUPIXOGHPHDQLQJRUGDQJHURXVDFWV
      3OD\LQJDEXVLYHRUPDOLFLRXVWULFNV
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      &RQILQHPHQWWRUHVWULFWHGDUHDVLVRODWLRQRUVOHHSGHSULYDWLRQ
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      %UDQGLQJKDQGFXIILQJGXFWWDSLQJWDWWRRLQJVKDYLQJJUHDVLQJRUSDLQWLQJDQRWKHUSHUVRQ
      6XEMHFWLQJDQRWKHUSHUVRQWRH[FHVVLYHRUDEXVLYHXVHRIZDWHUDQG
      )RUFLQJDQRWKHUSHUVRQWRFRQVXPHIRRGDOFRKROGUXJVRUDQ\RWKHUVXEVWDQFH
       E 6ROLFLWLQJ FRHUFLQJ RU NQRZLQJO\ SHUPLWWLQJ DQRWKHU WR SDUWLFLSDWH VROLFLW RU FRHUFH VXFK FRQGXFW PD\ EH
   FRQVLGHUHGKD]LQJ6ROGLHUVZLOOEHKHOGUHVSRQVLEOHIRUDQDFWRIKD]LQJHYHQLIWKHUHZDVDFWXDORULPSOLHGFRQVHQW
   IURPWKHYLFWLPZLWKRXWUHJDUGWRWKH6HUYLFHUDQNVWDWXVRUSRVLWLRQRIWKHYLFWLP
        %XOO\LQJ$IRUPRIKDUDVVPHQWWKDWLQFOXGHVDFWVRIDJJUHVVLRQE\6ROGLHUVRU'$&LYLOLDQHPSOR\HHVZLWKD
   QH[XVWRPLOLWDU\VHUYLFHZLWKWKHLQWHQWRIKDUPLQJD6ROGLHUHLWKHUSK\VLFDOO\RUSV\FKRORJLFDOO\ZLWKRXWSURSHU
   PLOLWDU\DXWKRULW\RURWKHUJRYHUQPHQWDOSXUSRVH%XOO\LQJLVWKHH[SRVXUHRIDQLQGLYLGXDORUJURXSWRSK\VLFDODQGRU
   HPRWLRQDODJJUHVVLRQZLWKWKHLQWHQWWRFDXVHGLVWUHVVRUKDUP%XOO\LQJPD\LQYROYHWKHVLQJOLQJRXWRIDQLQGLYLGXDO
   IURPKLVRUKHUFRZRUNHUVRUXQLWIRUULGLFXOHEHFDXVHKHRUVKHLVFRQVLGHUHGGLIIHUHQWRUZHDN,WRIWHQLVLQGLUHFWRU
   VXEWOHLQQDWXUHDQGLQYROYHVDQLPEDODQFHRISRZHUEHWZHHQWKHDJJUHVVRUDQGWKHYLFWLP%XOO\LQJFDQEHFRQGXFWHG
   WKURXJKWKHXVHRIHOHFWURQLFGHYLFHVRUFRPPXQLFDWLRQVDQGE\RWKHUPHDQVLQFOXGLQJVRFLDOPHGLDDVZHOODVLQ
   SHUVRQ
       D %XOO\LQJLVHYDOXDWHGE\DUHDVRQDEOHSHUVRQVWDQGDUGDQGLQFOXGHVEXWLVQRWOLPLWHGWRWKHIROORZLQJZKHQ
   SHUIRUPHGZLWKRXWDSURSHUPLOLWDU\DXWKRULW\RURWKHUJRYHUQPHQWDOSXUSRVH
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      ,QWLPLGDWLQJWHDVLQJQDPHFDOOLQJPRFNHU\WKUHDWVRIYLROHQFHKDUDVVPHQWWDXQWLQJVRFLDOH[FOXVLRQLVRODW
   LQJPDQLSXODWLQJEODFNPDLOLQJDQGVSUHDGLQJUXPRUVLQZKLFKWKHUHLVRIWHQDSRZHUGLIIHUHQWLDOZKHWKHUE\UDQN
   SRVLWLRQSK\VLFDOVWDWXUHVRFLDOVWDQGLQJRURWKHUPHDVXUHVEHWZHHQWKHDJJUHVVRU RQHRUPRUH DQGWKHYLFWLP RQH
   RUPRUH 
      2UDORUZULWWHQEHUDWLQJRIDQRWKHUSHUVRQZLWKWKHSXUSRVHRIEHOLWWOLQJRUKXPLOLDWLQJ
      (QFRXUDJLQJDQRWKHUSHUVRQWRHQJDJHLQLOOHJDOKDUPIXOGHPHDQLQJRUGDQJHURXVDFWV
      3OD\LQJDEXVLYHRUPDOLFLRXVWULFNV
      %UDQGLQJKDQGFXIILQJGXFWWDSLQJWDWWRRLQJVKDYLQJJUHDVLQJSDLQWLQJKLWWLQJVSLWWLQJVKRYLQJDQRWKHUSHU
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      6XEMHFWLQJDQRWKHUSHUVRQWRH[FHVVLYHRUDEXVLYHXVHRIZDWHU
      )RUFLQJDQRWKHUSHUVRQWRFRQVXPHIRRGDOFRKROGUXJVRUDQ\RWKHUVXEVWDQFHDQG
      'HJUDGLQJRUGDPDJLQJDQRWKHU¶VSURSHUW\RUUHSXWDWLRQ
       E 6ROLFLWLQJ FRHUFLQJ RU NQRZLQJO\ SHUPLWWLQJ DQRWKHU WR SDUWLFLSDWH VROLFLW RU FRHUFH VXFK FRQGXFW PD\ EH
   FRQVLGHUHGEXOO\LQJ6ROGLHUVZLOOEHKHOGUHVSRQVLEOHIRUDQDFWRIEXOO\LQJHYHQLIWKHUHZDVDFWXDORULPSOLHGFRQVHQW
   IURPWKHYLFWLPZLWKRXWUHJDUGWRWKH6HUYLFHUDQNVWDWXVRUSRVLWLRQRIWKHYLFWLP
        'LVFULPLQDWRU\KDUDVVPHQW$IRUPRIKDUDVVPHQWWKDWLVXQZHOFRPHFRQGXFWEDVHGRQUDFHFRORUUHOLJLRQ
   VH[ LQFOXGLQJJHQGHULGHQWLW\ QDWLRQDORULJLQRUVH[XDORULHQWDWLRQ
        2WKHUDFWVRIPLVFRQGXFW0LVFRQGXFWPD\RUPD\QRWPHHWWKHGHILQLWLRQVDERYHIRUKD]LQJRUEXOO\LQJ\HW
   PD\YLRODWHWKHGLJQLW\DQGUHVSHFWRIRWKHUV$GGLWLRQDOO\DFWVRIUHSULVDORUUHWDOLDWLRQDVGHILQHGLQSDUDJUDSK±     




   RURWKHUSROLF\UHJXODWLRQRUODZDQGRUYLRODWLRQVDJDLQVWSHUVRQVDVRXWOLQHGLQWKH8&0-PD\YLRODWHWKHSURYLVLRQV
   RIWKLVSDUDJUDSK
       D +DUDVVPHQWLVSURKLELWHGLQDOOFLUFXPVWDQFHVDQGHQYLURQPHQWVLQFOXGLQJRIIGXW\DQG³XQRIILFLDO´XQLWIXQF
   WLRQVDQGVHWWLQJV
       E +DUDVVPHQWLVQRWOLPLWHGWRVXSHULRUVXERUGLQDWHUHODWLRQVKLSV7KH\PD\RFFXUEHWZHHQSHHUVRUXQGHUFHUWDLQ
   FLUFXPVWDQFHVPD\LQYROYHDFWLRQVGLUHFWHGWRZDUGVHQLRUSHUVRQQHOE\WKRVHMXQLRULQUDQNJUDGHRUSRVLWLRQWR
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       F ,QFLGHQWVLQYROYLQJVH[XDODVVDXOWKDUDVVPHQWRUGLVFULPLQDWLRQPXVWEHDGGUHVVHGLQDFFRUGDQFHZLWKWKHIXOO
   GLVSOD\RIODZVUHJXODWLRQVDQGSROLFLHVSHUWDLQLQJWRVXFKDOOHJDWLRQV,QDOOFDVHVDSSURSULDWHUHVSRQGLQJDQGLQ
   YHVWLJDWLYHSURFHGXUHVZLOOEHIROORZHG
        2QOLQH PLVFRQGXFW7KH XVH RI HOHFWURQLF FRPPXQLFDWLRQ WR LQIOLFW KDUP (OHFWURQLF FRPPXQLFDWLRQ LV WKH
   WUDQVIHURILQIRUPDWLRQ VLJQVZULWLQJLPDJHVVRXQGVRUGDWD WUDQVPLWWHGE\FRPSXWHUSKRQHRURWKHUHOHFWURQLF
   GHYLFH(OHFWURQLFFRPPXQLFDWLRQVLQFOXGHEXWDUHQRWOLPLWHGWRWH[WPHVVDJHVHPDLOVFKDWVLQVWDQWPHVVDJLQJ
   VFUHHQVDYHUV EORJV VRFLDO PHGLD VLWHV HOHFWURQLF GHYLFH DSSOLFDWLRQV DQG :HEYLGHR FRQIHUHQFLQJ ([DPSOHV RI
   RQOLQHPLVFRQGXFWLQFOXGHEXWDUHQRWOLPLWHGWRKD]LQJEXOO\LQJKDUDVVPHQWGLVFULPLQDWRU\KDUDVVPHQWVWDONLQJ
   UHWDOLDWLRQRUDQ\RWKHUW\SHVRIPLVFRQGXFWWKDWXQGHUPLQHVGLJQLW\DQGUHVSHFW:KHQXVLQJHOHFWURQLFFRPPXQLFD
   WLRQGHYLFHV$UP\SHUVRQQHOVKRXOGDSSO\³7KLQN7\SHDQG3RVW´³7KLQN´DERXWWKHPHVVDJHEHLQJFRPPXQLFDWHG
   DQGZKRFRXOGSRWHQWLDOO\YLHZLW³7\SH´DFRPPXQLFDWLRQWKDWLVFRQVLVWHQWZLWK$UP\YDOXHVDQG³3RVW´RQO\WKRVH
   PHVVDJHVWKDWGHPRQVWUDWHGLJQLW\DQGUHVSHFWIRUVHOIDQGRWKHUV
       D &RPPDQGHUVDQGOHDGHUVDUHWRUHLQIRUFHDFOLPDWHZKHUHFXUUHQWDQGIXWXUH$UP\SHUVRQQHOLQFOXGLQJ6ROGLHUV
   DQG'$&LYLOLDQHPSOR\HHVXQGHUVWDQGWKDWRQOLQHPLVFRQGXFWLVLQFRQVLVWHQWZLWK$UP\YDOXHVDQGZKHUHRQOLQH
   UHODWHGLQFLGHQWVDUHSUHYHQWHGUHSRUWHGDQGZKHUHQHFHVVDU\DGGUHVVHGDWWKHORZHVWSRVVLEOHOHYHO
       E 3HUVRQQHOH[SHULHQFLQJRUZLWQHVVLQJRQOLQHPLVFRQGXFWVKRXOGSURPSWO\UHSRUWPDWWHUVWRWKHFKDLQRIFRP
   PDQGVXSHUYLVLRQ$OWHUQDWLYHDYHQXHVIRUUHSRUWLQJDQGLQIRUPDWLRQLQFOXGH)DPLO\6XSSRUW6HUYLFHV0LOLWDU\(TXDO
   2SSRUWXQLW\(TXDO(PSOR\PHQW2SSRUWXQLW\6H[XDO+DUDVVPHQW$VVDXOW5HVSRQVHDQG3UHYHQWLRQDQG$UP\/DZ
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        7KHLPSRVLWLRQRIQHFHVVDU\RUSURSHUGXWLHVDQGWKHUHTXLUHPHQWRIWKHLUSHUIRUPDQFHGRHVQRWYLRODWHWKLV
   SROLF\HYHQWKRXJKWKHGXWLHVPD\EHDUGXRXVKD]DUGRXVRUERWK+DUDVVPHQWGRHVQRWLQFOXGHSURSHUO\GLUHFWHG
   FRPPDQGDFWLYLWLHVWKDWVHUYHD OHJLWLPDWH SXUSRVHRUWKHUHTXLVLWHWUDLQLQJDFWLYLWLHVUHTXLUHGWRSUHSDUH IRUVXFK
   DFWLYLWLHV:KHQDXWKRUL]HGE\WKHFKDLQRIFRPPDQGDQGRU RSHUDWLRQDOO\UHTXLUHGWKHIROORZLQJDFWLYLWLHVGRQRW
   FRQVWLWXWHKD]LQJRUEXOO\LQJ
       D 7KHSK\VLFDODQGPHQWDOKDUGVKLSVDVVRFLDWHGZLWKRSHUDWLRQVRURSHUDWLRQDOWUDLQLQJ
       E /DZIXOSXQLVKPHQWLPSRVHGSXUVXDQWWRWKH8&0-
       F $GPLQLVWUDWLYHFRUUHFWLYHPHDVXUHVLQFOXGLQJYHUEDOUHSULPDQGVDQGFRPPDQGDXWKRUL]HGSK\VLFDOH[HUFLVHV
       G ([WUDPLOLWDU\LQVWUXFWLRQRUFRUUHFWLYHWUDLQLQJWKDWLVDYDOLGH[HUFLVHRIPLOLWDU\DXWKRULW\LQWHQGHGWRFRUUHFW
   D6ROGLHU¶VGHILFLHQWSHUIRUPDQFHLQDFFRUGDQFHZLWKSDUDJUDSK ±      




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        7UDGLWLRQDOHYHQWV0DQ\WLPHKRQRUHGFXVWRPVRIWKH$UP\LQFOXGHWUDGLWLRQDOHYHQWVWKDWFHOHEUDWHSHUVRQDO
   PLOHVWRQHVDQGSURIHVVLRQDODFKLHYHPHQWV7KHVHHYHQWVDUHSDUWRIRXUKHULWDJHDQGLQFOXGHKDLOVDQGIDUHZHOOVSUR
   PRWLRQDQGJUDGXDWLRQFHUHPRQLHVDQGRWKHURIILFLDOFRPPDQGIXQFWLRQV:KHQSURSHUO\RUJDQL]HGDQGVXSHUYLVHG
   WKHVHHYHQWVVHUYHWRHQKDQFH PRUDOHHVSULWGHFRUSVSULGHSURIHVVLRQDOLVPDQGXQLWFRKHVLYHQHVV7KHFKDLQRI
   FRPPDQGZLOOHQVXUHWKHVHWUDGLWLRQVDQGFXVWRPVDUHFDUULHGRXWLQDFFRUGDQFHZLWKWKHPRUDOSULQFLSOHVRIWKH$UP\
   (WKLFDQGUHLQIRUFHDSRVLWLYHSURIHVVLRQDOFOLPDWHZLWKLQWKH$UP\FXOWXUHRIWUXVW
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        5HLQIRUFHDFOLPDWH ZKHUHFXUUHQWDQGIXWXUH $UP\SHUVRQQHO XQGHUVWDQGWKDWKDUDVVPHQW LQFOXGLQJRQOLQH
   PLVFRQGXFWHURGHPLVVLRQUHDGLQHVVE\GLPLQLVKLQJGLJQLW\DQGUHVSHFWDQGQHJDWLYHO\LPSDFWVPRUDOH
        +ROGOHDGHUVDWDOOOHYHOVDSSURSULDWHO\DFFRXQWDEOHIRUIRVWHULQJDFOLPDWHRILQFOXVLRQZLWKLQWKHLURUJDQL]D
   WLRQVWKDWVXSSRUWVGLYHUVLW\LVIUHHIURPKDUDVVPHQWDQGGRHVQRWWROHUDWHUHWDOLDWLRQIRUWKRVHUHSRUWLQJKDUDVVPHQW
   DOOHJDWLRQV
        3XEOLVKDQGSRVWZULWWHQFRPPDQGSROLF\LPSOHPHQWLQJ7KH$UP\+DUDVVPHQW3UHYHQWLRQDQG5HVSRQVH3UR
   JUDP6WDWHPHQWVZLOOEHFRQVLVWHQWZLWKWKH$UP\SROLF\LQFOXGHWKHORFDOFRPPDQG¶VFRPPLWPHQWWRSUHYHQWLQJ
   KDUDVVPHQW LQFOXGLQJKD]LQJEXOO\LQJGLVFULPLQDWRU\KDUDVVPHQWRQOLQHPLVFRQGXFWDQGRWKHUPLVFRQGXFW 7KH\
   ZLOO DOVR LQFOXGH LQIRUPDWLRQ UHJDUGLQJ KRZ WR LGHQWLI\ WKH W\SHV RI KDUDVVPHQW KD]LQJ EXOO\LQJ GLVFULPLQDWRU\
   KDUDVVPHQWRQOLQHPLVFRQGXFWDQGRWKHUPLVFRQGXFW DQG$UP\VWDQGDUGGHILQLWLRQVDVRXWOLQHGLQSDUDV±D  
   WKURXJK  7KHSROLF\ZLOOUHDIILUPWKDWVXFKDFWVRIKDUDVVPHQWDUHSURKLELWHGZLOOH[SODLQKRZDQGZKHUHWRILOH
   FRPSODLQWVDQGZLOOVWDWHWKDWDOOFRPSODLQDQWVDQGYLFWLPVZLOOEHSURWHFWHGIURPDFWVRUWKUHDWVRIUHSULVDODQGRU
   UHWDOLDWLRQ(DFK $&20 $6&&'58LQVWDOODWLRQXQLWDJHQF\DQGDFWLYLW\GRZQWRFRPSDQ\WURRSRUEDWWHU\
   OHYHOZLOOSXEOLVKDKDUDVVPHQWSROLF\&RPPDQGHUVPXVWFRQVXOWZLWKWKHLUOHJDODGYLVRUSULRUWRSXEOLVKLQJ
        2QDQDQQXDOEDVLVFRPPDQGHUVZLOOFRQGXFWKDUDVVPHQWWUDLQLQJLQFRPELQDWLRQZLWKWKHLUDQQXDO0(2WUDLQ
   LQJUHTXLUHPHQWLQDFFRUGDQFHZLWK$5 ± 7UDLQLQJZLOORFFXUDWDOOOHYHOVIURPDFFHVVLRQVWRWKHDVVXPSWLRQ
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   RIVHQLRUOHDGHUUDQNDQGSRVLWLRQ&RPPDQGSDUWLFLSDWLRQDQGHPSKDVLVLVFUXFLDOLQWKLVHIIRUW+DUDVVPHQWSUHYHQ
   WLRQDQGUHVSRQVHWUDLQLQJDQGHGXFDWLRQSURJUDPVDWDOOOHYHOVZLOOLQFOXGH²
       D 5ROHVDQGUHVSRQVLELOLWLHVRI6ROGLHUVLQFOXGLQJIRVWHULQJDFXOWXUHIHHIURPKDUDVVPHQW
       E ,QIRUPDWLRQRQKRZWRLGHQWLI\W\SHVRIKDUDVVPHQWDQG$UP\GHILQLWLRQV
       F 2SWLRQVDQGSURFHGXUHVIRUVXEPLWWLQJLQIRUPDOIRUPDODQGDQRQ\PRXVKDUDVVPHQWFRPSODLQWV
       G ,QIRUPDWLRQUHJDUGLQJKRZWRLGHQWLI\DQGUHSRUWUHWDOLDWLRQLQDFFRUGDQFHZLWKWKH$UP\¶V5HWDOLDWLRQ6WUDWHJ\
       H ,QIRUPDWLRQUHJDUGLQJKRZWRLGHQWLI\DQGUHSRUWUHSULVDOLQDFFRUGDQFHZLWK'R''
       I ,QIRUPDWLRQUHJDUGLQJE\VWDQGHULQWHUYHQWLRQWRHQVXUH6ROGLHUVKDYHWKHVNLOOVWRUHFRJQL]HZKHQWRLQWHUYHQH
   DQGWKHWRROVQHFHVVDU\WRLPSOHPHQWWKHLQWHUYHQWLRQ
       J ,QIRUPDWLRQUHJDUGLQJDQ\DGPLQLVWUDWLYHRUGLVFLSOLQDU\DFWLRQWKDWFRXOGEHWDNHQ
       K ,QFOXGHH[DPSOHVRIKD]LQJEXOO\LQJDQGGLVFULPLQDWRU\KDUDVVPHQWDQGLOOXVWUDWHKRZWKHVHEHKDYLRUVQHJD
   WLYHO\LPSDFWWKHPLVVLRQ
       L 9LFWLPULJKWVDQGUHVRXUFHV
        &RQGXFWFRPSOLDQFHUHYLHZVRQDQDQQXDOEDVLVWRLQFOXGH²
       D $VVHVVPHQWRIVXERUGLQDWHFRPPDQGHUV¶LPSDUWLDOLW\WLPHOLQHVVDQGVXIILFLHQF\RIUHVSRQVHWRKDUDVVPHQW
   FRPSODLQWV
       E $VVHVVPHQWRIVXERUGLQDWHFRPPDQGHUV¶H[HFXWLRQRIKDUDVVPHQW KD]LQJEXOO\LQJDQGGLVFULPLQDWRU\KDU
   DVVPHQW SUHYHQWLRQWUDLQLQJ
       F $VVHVVPHQWRIVXERUGLQDWHFRPPDQGHUV¶RUJDQL]DWLRQDOFOLPDWHSXUVXDQWWRDSSHQGL[($VVHVVPHQWVZLOOFRQ
   VLGHUZKHWKHURUJDQL]DWLRQVDUHIUHHIURPKDUDVVPHQW KD]LQJEXOO\LQJDQGGLVFULPLQDWRU\KDUDVVPHQW DQG6ROGLHUV
   DUHWUHDWHGZLWKGLJQLW\DQGUHVSHFW
       G $VVHVVPHQWRIWKHHIIHFWLYHQHVVRIVXERUGLQDWHFRPPDQGHUV¶SROLFLHVDQGSURJUDPVLQUHGXFLQJLQFLGHQWVRI
   KDUDVVPHQWDQGSURYLGLQJDSSURSULDWHYLFWLPVHUYLFHVFDUHDQGVXSSRUW
        (QVXUHSURJUDPVLQFRUSRUDWHDWDPLQLPXPORQJWHUPJRDOVREMHFWLYHVDQGPLOHVWRQHVUHVXOWVRULHQWHGSHU
   IRUPDQFHPHDVXUHVWRDVVHVVHIIHFWLYHQHVVDQGFRPSOLDQFHVWDQGDUGVIRUSURPRWLQJVXSSRUWLQJDQGHQIRUFLQJSROL
   FLHVSODQVDQGSURJUDPV




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        &ROOHFWVDVVHVVHVDQGDQDO\]HVLQIRUPDWLRQDQGGDWDUHJDUGLQJKDUDVVPHQWFRPSODLQWVUHFHLYHGE\WKHFRP
   PDQGDQGFRPSLOHVDQGVXEPLWVTXDUWHUO\0(2GDWDEDVHUHSRUWVRQDTXDUWHUO\EDVHV SULRUWRGD\VDIWHUHDFKILVFDO
   TXDUWHU LQSUHSDUDWLRQIRU+4'$GDWDSXOO
        5HSRUWDOOHJDWLRQVRIFULPLQDOEHKDYLRUWRODZHQIRUFHPHQWDXWKRULWLHV,QYHVWLJDWLRQVRIVXFKDOOHJDWLRQVDUH
   UHFRUGHGDQGWUDFNHGLQWKH$UP\/DZ(QIRUFHPHQW5HSRUWLQJDQG7UDFNLQJ6\VWHP $/(576 LQDFFRUGDQFHZLWK
   $5 ± DQG$5 ± 7KLVUHJXODWLRQGRHVQRWDOWHUWKHLQYHVWLJDWLYHDXWKRULW\RUUHVSRQVLELOLW\RI$UP\ODZ
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   HQIRUFHPHQWRIILFLDOV
        5HSRUWDOOHJDWLRQV DOOFRPSRQHQWV DJDLQVWDSURPRWDEOH&2/DQDFWLYHRUUHWLUHG*2,*RIDQ\FRPSRQHQW
   PHPEHUVRIWKH6(6RUH[HFXWLYHVFKHGXOHSHUVRQQHOWRWKH,QYHVWLJDWLRQV'LYLVLRQ86$UP\,QVSHFWRU*HQHUDO
   $JHQF\ 6$,* ± ,1 3HQWDJRQ:DVKLQJWRQ'& ± E\UDSLGEXWFRQILGHQWLDOPHDQVZLWKLQZRUNLQJGD\V
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   RIUHFHLSWZKHQSUDFWLFDEOH7KHFRPSODLQWPD\EHHPDLOHGWRWKH+4'$,* VLQYHVWLJDWLRQVPDLOER[DWXVDUP\SHQ
   WDJRQKTGDRWLJPE[VDLJLQRIILFH#PDLOPLOLQRUGHUWRSURYLGHWLPHO\VXEPLVVLRQ
        ,ID6ROGLHUSRVVHVVHVDVHFXULW\FOHDUDQFHFRPPDQGHUVZLOOHQVXUHWKHVHFXULW\PDQDJHUUHFRUGVWKHVXEVWDQ
   WLDWHGYLRODWLRQVRIWKLVSDUDJUDSKDVDQLQFLGHQWUHSRUWLQWKH-3$6 RUVXEVHTXHQWV\VWHP LQDFFRUGDQFHZLWK$5
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        (QVXUH0(2GDWDEDVHLVXSGDWHGRQDTXDUWHUO\EDVHV SULRUWRGD\VDIWHUHDFKILVFDOTXDUWHU LQSUHSDUDWLRQ
   RU+4'$GDWDSXOO
      G7UDFNLQJDQGUHSRUWLQJ²
        +DUDVVPHQWFRPSODLQWVZLOOEHSURFHVVHGWKURXJKWKHFRPPDQG0(23URJUDPXVLQJWKH0(2DQG+DUDVVPHQW
   &RPSODLQW3URFHVVLQJ6\VWHP VHHSDUD ±          




        7UDFNLQJDQGUHSRUWLQJRIFULPLQDOEHKDYLRULQYLRODWLRQRIWKLVSDUDJUDSKZLOOEHFRQVROLGDWHGE\WKH2IILFHRI
   WKH3URYRVW0DUVKDO*HQHUDODQG27-$*WKHQIRUZDUGHGWRWKH+4'$0(2SROLF\RIILFHRQDTXDUWHUO\EDVLV
        +DUDVVPHQWFRPSODLQWVDJDLQVW6ROGLHUVUHSRUWHGYLD((2FKDQQHOVLQDFFRUGDQFHZLWK$5 ± ZLOOEH     




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      HKRXUKRWOLQH6HHSDUDJUDSK± 
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      I,QGLYLGXDOUHSRUWLQJ$UP\SHUVRQQHOVKRXOGUHSRUWKDUDVVPHQW KD]LQJEXOO\LQJGLVFULPLQDWRU\KDUDVVPHQW 
   WRWKHLUFRPPDQGHUVXSHUYLVRUWKH0(2RUODZHQIRUFHPHQW,QGLYLGXDOVVKRXOGUHSRUWFDVHVRIVH[XDODVVDXOWDQG
   VH[XDOKDUDVVPHQWDVGHVFULEHGLQFKDSWHU
      J,QGLYLGXDOLQIRUPDWLRQ$UP\SHUVRQQHO PD\VHHNLQIRUPDWLRQ IURPWKH IROORZLQJDJHQFLHV)DPLO\ VXSSRUW
   VHUYLFHV0(2RIILFH((2RIILFHODZHQIRUFHPHQWDQGWKH$UP\6+$53SURIHVVLRQDO7KHVHDJHQFLHVZLOOUHIHU
   FRPSODLQDQWVWRWKHFRPPDQGHURUODZHQIRUFHPHQWWRILOHDFRPSODLQWSHUWDLQLQJWRKDUDVVPHQW
      K*XLGDQFH,QGLYLGXDOVVKRXOG²
        3URPSWO\UHSRUWPDWWHUVWRWKHFKDLQRIFRPPDQGVXSHUYLVLRQRUWKHLU0(2SURIHVVLRQDOLIWKH\H[SHULHQFHRU
   ZLWQHVVDQ\LQFLGHQWVRIKDUDVVPHQW KD]LQJEXOO\LQJGLVFULPLQDWRU\KDUDVVPHQWRQOLQHPLVFRQGXFWRURWKHUDFWVRI
   PLVFRQGXFW 
        &RQGXFW WKHPVHOYHV LQ DFFRUGDQFH ZLWK WKLV SDUDJUDSK DQG WUHDW DOO SHUVRQV DV WKH\ VKRXOG EH WUHDWHG ZLWK
   GLJQLW\DQGUHVSHFW
        ,QWHUYHQHRUSUHYHQWKDUDVVPHQWLIVDIHWRGRVRVXFKWKDWLQFLGHQWVDUHDGGUHVVHGDWWKHORZHVWSRVVLEOHOHYHO

   ±,QIRUPDOIXQGV
   +4'$3ULQFLSDO2IILFLDOVDQGFRPPDQGHUV PD\DXWKRUL]H LQIRUPDO IXQGV([DPSOHVRILQIRUPDO IXQGVDUHRIILFH
   FRIIHHFXSDQGIORZHUDQGDQQXDOSLFQLFIXQGV7KHVHIXQGVDUHVXEMHFWWRWKHIROORZLQJJXLGHOLQHV
      D8VHLVOLPLWHGWRH[SHQVHVFRQVLVWHQWZLWKWKHSXUSRVHDQGIXQFWLRQRIWKHIXQG
      E2QO\RQHLQGLYLGXDOLVWREHUHVSRQVLEOHIRUIXQGFXVWRG\DFFRXQWLQJDQGGRFXPHQWDWLRQ$QQXDOO\WKLVLQGL
   YLGXDO¶VVXSHUYLVRULVDGYLVHGRIWKHIXQG¶VILQDQFLDOVWDWXV
      F2SHUDWLRQRIWKHIXQGZLOOEHFRQVLVWHQWZLWK$UP\9DOXHVDQG'R' ± 5        




      G)XQGUDLVLQJVROLFLWDWLRQVFRQGXFWHGE\RUJDQL]DWLRQVFRPSRVHGRI'$&LYLOLDQHPSOR\HHVDQGRUPHPEHUVRI
   WKH8QLIRUPHG6HUYLFHVDPRQJWKHLURZQPHPEHUVIRURUJDQL]DWLRQDOVXSSRUWRUIRUWKHEHQHILWRIVSHFLILFPHPEHU
   ZHOIDUHIXQGVDUHSHUPLWWHGKRZHYHUVXFKHIIRUWVVKRXOGEHOLPLWHGLQQXPEHUDQGVFRSHGXULQJWKHRIILFLDO&RPELQHG
   )HGHUDO&DPSDLJQDQG$UP\(PHUJHQF\5HOLHIIXQGUDLVLQJSHULRGVLQRUGHUWRPLQLPL]HFRPSHWLWLRQZLWK&RPELQHG
   )HGHUDO&DPSDLJQ$UP\(PHUJHQF\5HOLHI

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   7KHIXQFWLRQDOSURSRQHQWIRUSROLF\RQWKHPLVXVHRIJRYHUQPHQWWUDYHOFKDUJHFDUGVLVWKH$VVLVWDQW6HFUHWDU\RIWKH
   $UP\ )LQDQFLDO0DQDJHPHQWDQG&RPSWUROOHU  $6$ )0 & 0HPEHUVRIWKH$UP\DUHSURYLGHGJRYHUQPHQW
   WUDYHOFKDUJHFDUGVWRIDFLOLWDWHRIILFLDOWUDYHODQGRIILFLDOWUDYHOUHODWHGH[SHQVHVDZD\IURPWKH6ROGLHU¶VRIILFLDO



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   GXW\VWDWLRQ,QGLYLGXDODFFRXQWDELOLW\IRUWKHPDQDJHPHQWRIWKHJRYHUQPHQWWUDYHOFKDUJHFDUGLVYLWDOIRUWKHFRQ
   WLQXHGVXFFHVVRIWKHJRYHUQPHQWFKDUJHFDUGSURJUDP3HUVRQDOXVH PLVXVHDEXVHRUIUDXGRIWKHWUDYHOFDUGLV
   SURKLELWHG
      D'HILQLWLRQ0LVXVHRIDJRYHUQPHQWFKDUJHFDUGLQFOXGHVDQ\LPSURSHURUIUDXGXOHQWXVHRIDJRYHUQPHQWWUDYHO
   FKDUJHFDUGLQFOXGLQJDQ\XVHDWHVWDEOLVKPHQWVRUIRUSXUSRVHVWKDWDUHLQFRQVLVWHQWZLWKWKHRIILFLDOEXVLQHVVRIWKH
   $UP\RUZLWKDSSOLFDEOHVWDQGDUGVRIFRQGXFW([DPSOHVRIPLVXVHFDQLQFOXGHEXWDUHQRWOLPLWHGWR D H[SHQVHV
   UHODWHGWRDGXOWHQWHUWDLQPHQWDQGJDPEOLQJ LQFOXGLQJWKRVHH[SHQVHVGLVFRYHUHGE\,QVSHFWRU*HQHUDODXGLWV  E 
   SXUFKDVHVIRUSHUVRQDOIDPLO\RUKRXVHKROGSXUSRVHVH[FHSWIRUDXWKRUL]HG3&6H[SHQVHV F FDVKZLWKGUDZDOVRU
   DGYDQFHVXVHGGXULQJQRQWUDYHOSHULRGVRUQRWUHODWHGWRRIILFLDOJRYHUQPHQWWUDYHOUHTXLUHPHQWVDUHQRWDXWKRUL]HG
    LQFOXGHVEXWLVQRWOLPLWHGWRDQ\ZLWKGUDZDORIDFUHGLWEDODQFHUHPDLQLQJRQWKHFDUG  G LQWHQWLRQDOIDLOXUHWRSD\
   XQGLVSXWHGFKDUJHVLQDWLPHO\PDQQHUDQG H FDVKZLWKGUDZDOVRUDGYDQFHVWDNHQPRUHWKDQWKUHHZRUNLQJGD\V
   SULRUWRRIILFLDOJRYHUQPHQWWUDYHO
      E6FRSH*RYHUQPHQWFKDUJHFDUGVDUHWREHXVHGLQDFFRUGDQFHZLWKWKH'R'*RYHUQPHQW7UDYHO&KDUJH&DUG
   5HJXODWLRQV 6HH'R',9ROXPHDQGWKHWHUPVRIWKHDSSOLFDWLRQDJUHHPHQWIRUWKHJRYHUQPHQWWUDYHO
   FKDUJHFDUG 8VHRIWKHJRYHUQPHQWWUDYHOFKDUJHFDUGLVPDQGDWRU\XQOHVVDQH[FHSWLRQDSSOLHV
      F&RPPDQGUHVSRQVLELOLWLHV(QIRUFHPHQWRIWKLVSROLF\ LVDUHVSRQVLELOLW\RIFRPPDQGHUV DWDOO OHYHOV&RP
   PDQGHUVZLOOHQVXUHWKDWDOO6ROGLHUVLVVXHGJRYHUQPHQWWUDYHOFKDUJHFDUGVDUHSURSHUO\FRXQVHOHGRQWKHDSSURSULDWH
   XVHRIWKHFKDUJHFDUG7KHEHVWZD\WRFXUWDLOFKDUJHFDUGPLVXVHLVWRSUHYHQWLWWKURXJKSURSHUVHOHFWLRQRIFDUG
   KROGHUVWUDLQLQJDQGOHDGHUVKLSE\H[DPSOH&RPPDQGHUVZLOOIXUWKHUPRQLWRUXVHRIWKHJRYHUQPHQWWUDYHOFKDUJH
   FDUGWRGHWHFWDEXVHDQGWDNHDSSURSULDWHFRUUHFWLYHRUGLVFLSOLQDU\DFWLRQ
      G&RPPDQGRSWLRQV7KLVSDUDJUDSKLVSXQLWLYHZLWKUHJDUGVWR6ROGLHUV9LRODWRUVRIWKLVSROLF\PD\EHVXEMHFW
   WR8&0-RUDGPLQLVWUDWLYHDFWLRQ&RPPDQGHUVVKRXOGVHHNWKHDGYLFHDQGFRXQVHORIWKHLUOHJDODGYLVRUZKHQWDNLQJ
   DFWLRQVSXUVXDQWWRWKLVSDUDJUDSK
      H2IILFLDOWUDYHOUHODWHGH[SHQVHV:KLOHWKHVHFDUGVZLOOEHXVHGRQO\IRUUHLPEXUVDEOHH[SHQVHVDVVRFLDWHGZLWK
   RIILFLDOWUDYHOWKHIROORZLQJ ZKLOHQRWUHLPEXUVDEOH DUHFRQVLGHUHGWREHUHODWHGWRRIILFLDOWUDYHO7KHUHIRUHWKH
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        7KHFDUGKROGHUZKLOHLQDWUDYHOVWDWXVPD\XVHWKHFDUGIRUQRQUHLPEXUVDEOHLQFLGHQWDOWUDYHOH[SHQVHVVXFK
   DVUHQWDOPRYLHVSHUVRQDOWHOHSKRQHFDOOVH[HUFLVHIHHVDQGEHYHUDJHVZKHQWKHVHFKDUJHVDUHSDUWRIDURRPELOOLQJ
   RUPHDODQGDUHUHDVRQDEOH
        7KHWUDYHOHUZLOOSD\IRULQFLGHQWDOQRQUHLPEXUVDEOHSHUVRQDOH[SHQVHVDVSDUWRIWKHQRUPDOELOOLQJSURFHVV

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   $PHQGPHQWPDNHVLWXQODZIXOIRUDQ\SHUVRQWRWUDQVIHULVVXHVHOORURWKHUZLVHGLVSRVHRIILUHDUPVRUDPPXQLWLRQ
   WRDQ\SHUVRQZKRPKHRUVKHNQRZVRUKDVUHDVRQDEOHFDXVHWREHOLHYHKDVEHHQFRQYLFWHGRIDPLVGHPHDQRUFULPH
   RIGRPHVWLFYLROHQFH,WLVDOVRXQODZIXOIRUDQ\SHUVRQZKRKDVEHHQFRQYLFWHGRIDPLVGHPHDQRUFULPHRIGRPHVWLF
   YLROHQFHWRUHFHLYHDQ\ILUHDUPRUDPPXQLWLRQWKDWKDVEHHQVKLSSHGRUWUDQVSRUWHGLQLQWHUVWDWHRUIRUHLJQFRPPHUFH
   7KLVFKDSWHUDSSOLHVWRDOO6ROGLHUVWKURXJKRXWWKHZRUOGLQFOXGLQJWKRVHLQKRVWLOHILUHDUHDV
      E'HILQLWLRQV)RUWKHSXUSRVHRIWKLVSDUDJUDSKRQO\WKHIROORZLQJGHILQLWLRQVDSSO\
        &ULPHRIGRPHVWLFYLROHQFH$QRIIHQVHWKDWLQYROYHVWKHXVHRUDWWHPSWHGXVHRISK\VLFDOIRUFHRUWKUHDWHQHG
   XVHRIDGHDGO\ZHDSRQFRPPLWWHGE\DFXUUHQWRUIRUPHUVSRXVHSDUHQWRUJXDUGLDQRIWKHYLFWLPE\DSHUVRQZLWK
   ZKRPWKHYLFWLPVKDUHVDFKLOGLQFRPPRQE\DSHUVRQZKRLVFRKDELWLQJZLWKRUKDVFRKDELWHGZLWKWKHYLFWLPDVD
   VSRXVHSDUHQWRUJXDUGLDQRUE\DSHUVRQZKRZDVVLPLODUO\VLWXDWHGWRDVSRXVHSDUHQWRUJXDUGLDQRIWKHYLFWLP
   3HUVRQVZKRDUHVLPLODUO\VLWXDWHGWRDVSRXVHLQFOXGHWZRSHUVRQVZKRDUHUHVLGLQJDWWKHVDPHORFDWLRQLQDQLQWLPDWH
   UHODWLRQVKLSZLWKWKHLQWHQWWRPDNHWKDWSODFHWKHLUKRPH
        4XDOLI\LQJFRQYLFWLRQ$6WDWHRU)HGHUDOFRQYLFWLRQIRUDPLVGHPHDQRUFULPHRIGRPHVWLFYLROHQFHDQGDQ\
   JHQHUDORUVSHFLDOFRXUWPDUWLDOIRUDQRIIHQVHWKDWRWKHUZLVHPHHWVWKHHOHPHQWVRIDFULPHRIGRPHVWLFYLROHQFHHYHQ
   WKRXJKQRWFODVVLILHGDVDPLVGHPHDQRURUIHORQ\$TXDOLI\LQJFRQYLFWLRQGRHVQRWLQFOXGHDVXPPDU\FRXUWPDUWLDO
   FRQYLFWLRQ RU WKH LPSRVLWLRQ RI QRQMXGLFLDO SXQLVKPHQW XQGHU 8&0- $UW  %\ 'R' SROLF\ D 6WDWH RU )HGHUDO
   FRQYLFWLRQIRUDIHORQ\FULPHRIGRPHVWLF YLROHQFHDGMXGJHGRQRUDIWHU1RYHPEHU ZLOOEHFRQVLGHUHGD
   TXDOLI\LQJFRQYLFWLRQIRUSXUSRVHVRIWKLVUHJXODWLRQDQGZLOOEHVXEMHFWWRDOOWKHUHVWULFWLRQVDQGSURKLELWLRQVRIWKLV
   UHJXODWLRQ$SHUVRQZLOOQRWEHFRQVLGHUHGWRKDYHDTXDOLI\LQJFRQYLFWLRQXQOHVVWKHFRQYLFWHGRIIHQGHUZDVUHSUH
   VHQWHGE\FRXQVHORUNQRZLQJO\DQGLQWHOOLJHQWO\ZDLYHGWKHULJKWWRFRXQVHODQGLIHQWLWOHGWRKDYHWKHFDVHWULHGE\
   DMXU\WKHFDVHZDVDFWXDOO\WULHGE\DMXU\RUWKHSHUVRQNQRZLQJO\DQGLQWHOOLJHQWO\ZDLYHGWKHULJKWWRKDYHWKH
   FDVHWULHGE\DMXU\DQGWKHFRQYLFWLRQKDVQRWEHHQH[SXQJHGRUVHWDVLGHRUWKHFRQYLFWHGRIIHQGHUKDVQRWEHHQ




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   SDUGRQHGIRUWKHRIIHQVHRUKDGFLYLOULJKWVUHVWRUHGXQOHVVWKHSDUGRQH[SXQJHPHQWRUUHVWRUDWLRQRIFLYLOULJKWV
   SURYLGHVWKDWWKHSHUVRQPD\QRWVKLSWUDQVSRUWSRVVHVVRUUHFHLYHILUHDUPV
        6HFXULW\FOHDUDQFH,IDFRPSOHWHGVHFXULW\FOHDUDQFHLQYHVWLJDWLRQUHYHDOVWKDWD6ROGLHUKDVDTXDOLI\LQJFRQ
   YLFWLRQWKHQWKHLQYHVWLJDWLRQZLOOEHUHIHUUHGWRWKH6ROGLHU¶VFKDLQRIFRPPDQGIRUDSSURSULDWHDFWLRQFRQVLVWHQW
   ZLWKWKLVUHJXODWLRQ
        &RPPDQGHU
       D 8QOHVVRWKHUZLVHVWDWHGWKHFRPPDQGHUZLWKUHVSRQVLELOLW\LVWKHVHQLRUFRPPDQGHU'HOHJDWLRQRIDXWKRULW\
   LVDXWKRUL]HG
       E )RUWKH86$5XQOHVVRWKHUZLVHVWDWHGWKHFRPPDQGHULVWKHILUVWJHQHUDORIILFHULQFRPPDQGRIWKHDSSURSUL
   DWH5HVHUYHFRPPDQG IRUH[DPSOHWK0LVVLRQ6XSSRUW&RPPDQGWK0LVVLRQ6XSSRUW&RPPDQGRU86$UP\
   &LYLO$IIDLUVDQG3V\FKRORJLFDO2SHUDWLRQV&RPPDQG 'HOHJDWLRQRIDXWKRULW\LVDXWKRUL]HG
      F&RPPDQGHU¶VUHVSRQVLELOLWLHV
        7KHFRPPDQGHUZLOOHQVXUHWKDWDOO6ROGLHUVZKRKDYHDTXDOLI\LQJFRQYLFWLRQDUHQRWLILHGWKDWLWLVXQODZIXO
   WRSRVVHVVVKLSWUDQVSRUWRUUHFHLYHILUHDUPVDQGDPPXQLWLRQDVSURKLELWHGLQWKLVUHJXODWLRQ
        &RPSDQ\DQGEDWWHU\OHYHOFRPPDQGHUVZLOOHQVXUHWKDW6ROGLHUVLQSURFHVVLQJWRWKHLUXQLWDUHQRWLILHGRIWKH
   IROORZLQJUHTXLUHPHQWVLQWKH'RPHVWLF9LROHQFH$PHQGPHQWWRWKH*XQ&RQWURO$FW²
       D ,WLV XQODZIXO IRUDQ\SHUVRQWRWUDQVIHULVVXHVHOO RURWKHUZLVHGLVSRVHRI ILUHDUPVRUDPPXQLWLRQWRDQ\
   SHUVRQ ZKRP KHRUVKHNQRZVRUKDVUHDVRQWREHOLHYHKDVEHHQFRQYLFWHGRIDPLVGHPHDQRUFULPHRIGRPHVWLF
   YLROHQFH
       E ,WLVXQODZIXOIRUDQ\SHUVRQZKRKDVEHHQFRQYLFWHGRIDPLVGHPHDQRUFULPHRIGRPHVWLFYLROHQFHWRUHFHLYH
   DQ\ILUHDUPRUDPPXQLWLRQWKDWKDVEHHQVKLSSHGRUWUDQVSRUWHGLQLQWHUVWDWHRUIRUHLJQFRPPHUFH
       F 6ROGLHUVKDYHDQDIILUPDWLYHFRQWLQXLQJREOLJDWLRQWRLQIRUPFRPPDQGHUVRUVXSHUYLVRUVLIWKH\KDYHRUODWHU
   REWDLQDFRQYLFWLRQRIDPLVGHPHDQRUFULPHRIGRPHVWLFYLROHQFH
       G 6ROGLHUVZKRUHSRUWDFRQYLFWLRQRIDPLVGHPHDQRUFULPHRIGRPHVWLFYLROHQFHZLOOEHDVNHGE\FRPSDQ\DQG
   EDWWHU\OHYHOFRPPDQGHUVWRFRPSOHWH'')RUP 4XDOLILFDWLRQWR3RVVHVV)LUHDUPVRU$PPXQLWLRQ 6ROGLHUV
   ZLOOEHQRWLILHGWKDWQHLWKHUWKHLQIRUPDWLRQQRUHYLGHQFHJDLQHGE\ILOOLQJRXWWKH'')RUPPD\EHXVHGDJDLQVW
   WKHPLQDQ\FULPLQDOSURVHFXWLRQVIRUDYLRODWLRQRI86&LQFOXGLQJSURVHFXWLRQXQGHUWKH8&0-EDVHGRQD
   YLRODWLRQRI86&IRUFRQGXFWWKDWRFFXUUHGSULRUWRFRPSOHWLRQRIWKH'')RUP&RPSDQ\DQGEDWWHU\
   OHYHOFRPPDQGHUVZLOOILOHWKH'')RUPLQWKH6ROGLHU VORFDOPLOLWDU\SHUVRQQHOILOHLQDFFRUGDQFHZLWK$5
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   ILUHDUPVRUDPPXQLWLRQDUHVWRUHGLVVXHGGLVSRVHGRUWUDQVSRUWHG
        7KH VHQLRUFRPPDQGHU ZLOOHQVXUHWKDWSROLF\DQGSURFHGXUHVDUHLQSODFHWRHQIRUFHWKHSURYLVLRQVRIWKLV
   FKDSWHULISULYDWHO\RZQHGILUHDUPVRUDPPXQLWLRQDUHSHUPLWWHGLQJRYHUQPHQWTXDUWHUV7KHVHQLRUFRPPDQGHUZLOO
   DOVRHQVXUHWKDWSROLF\DQGSURFHGXUHVDUHLQSODFHLQ0:5DFWLYLWLHVDQGRWKHUJRYHUQPHQWVSRQVRUHGRUVDQFWLRQHG
   DFWLYLWLHVRQWKHLULQVWDOODWLRQWKDWHQJDJHLQWKHWUDQVIHURUVDOHRIILUHDUPVRUDPPXQLWLRQ
        7KH VHQLRU FRPPDQGHU ZLOO HQVXUH WKDW SURFHGXUHV DUH LPSOHPHQWHG WR WUDFN GRPHVWLF YLROHQFH DUUHVWV DQG
   FRQYLFWLRQVLQWKHFLYLOLDQFRPPXQLW\7KHVHSURFHGXUHVVKRXOGLQFOXGHUHJXODUFRRUGLQDWLRQZLWKORFDOODZHQIRUFH
   PHQWDQGMXGLFLDODJHQFLHV
        ,IDFRPPDQGHUNQRZVRUKDVUHDVRQDEOHFDXVHWREHOLHYHWKDWD6ROGLHUKDVDTXDOLI\LQJFRQYLFWLRQWKHQWKH
   FRPPDQGHUVKRXOGWDNHDOOUHDVRQDEOHDFWLRQWRLQYHVWLJDWH6ROGLHUVZLWKTXDOLI\LQJFRQYLFWLRQVPXVWEHLGHQWLILHG
   DQGUHSRUWHGWR+4'$WRHQVXUHFRPSOLDQFHZLWKWKHODZ$FRPPDQGHUDWDQ\OHYHOPD\LQLWLDWHWKHLQYHVWLJDWLRQ
   E\RUGHULQJWKH6ROGLHUWRFRPSOHWH'')RUP6ROGLHUVZKRKDYHRUPD\KDYHDTXDOLI\LQJFRQYLFWLRQVKRXOG
   EHUHIHUUHGWRD7ULDO'HIHQVH6HUYLFH 7'6 DWWRUQH\$7'6DWWRUQH\ZLOODOVREHDYDLODEOHWRDVVLVWWKH6ROGLHULQ
   VHHNLQJH[SXQJHPHQWRIDTXDOLI\LQJFRQYLFWLRQRUDSDUGRQ
        ,IDFRPPDQGHUNQRZVRUKDVUHDVRQDEOHFDXVHWREHOLHYHWKDWD6ROGLHUKDVDTXDOLI\LQJFRQYLFWLRQWKHQKHRU
   VKHZLOOLPPHGLDWHO\UHWULHYHDOOJRYHUQPHQWLVVXHGILUHDUPVDQGDPPXQLWLRQDQGDGYLVHWKH6ROGLHUWRFRQVXOWZLWK
   DOHJDODVVLVWDQFHDWWRUQH\IRUJXLGDQFHRQODZIXOGLVSRVDORUVDOHRIDQ\SULYDWHO\RZQHGILUHDUPVDQGDPPXQLWLRQ
   ,QGLYLGXDOVZLWKTXDOLI\LQJFRQYLFWLRQVDUHH[HPSWIURPZHDSRQVTXDOLILFDWLRQLQDFFRUGDQFHZLWK$5 ± DQGZLOO
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   QRWEHDVVLJQHGLQGLYLGXDOZHDSRQVRUDPPXQLWLRQ
        $FFRPPRGDWLRQ'RPHVWLFYLROHQFHLVLQFRPSDWLEOH ZLWK $UP\9DOXHV+RZHYHU6ROGLHUV ZLOOEHJLYHQD
   UHDVRQDEOHWLPHWRVHHNH[SXQJHPHQWRIRUWRREWDLQDSDUGRQIRUDTXDOLI\LQJFRQYLFWLRQDQGPD\UHTXHVWWRH[WHQG
   XSWRRQH\HDUIRUWKDWSXUSRVH7KHIROORZLQJIDFWRUVZLOOEHFRQVLGHUHGLQWKHFRPPDQGHU¶VGHWHUPLQDWLRQRIWKH
   DPRXQWRIWLPHJUDQWHGWRVHHNH[SXQJHPHQWRUSDUGRQ
       D :KHWKHUWKH6ROGLHUDWWHPSWHGWRFRQFHDOKLVFRQYLFWLRQ,QQRHYHQWZLOO6ROGLHUVEHDFFRPPRGDWHGZKRKDYH
   PDGHIDOVHVWDWHPHQWVRQWKH'')RUP



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       E :KHWKHUILUHDUPVRUGHDGO\ZHDSRQVZHUHXVHGLQWKHRIIHQVHWKDWIRUPHGWKHEDVLVIRUWKH6ROGLHU¶VGRPHVWLF
   YLROHQFHFRQYLFWLRQ
       F :KHWKHUWKHFRQYLFWLRQLVUHFHQWRUUHPRWHLQWLPH
       G :KHWKHUWKHUHZHUHLQFLGHQWVRIGRPHVWLFYLROHQFHEHIRUHRUDIWHUWKHTXDOLI\LQJFRQYLFWLRQ,QQRHYHQWZLOO
   6ROGLHUVEHDFFRPPRGDWHGZKRKDYHPRUHWKDQRQHTXDOLI\LQJFRQYLFWLRQ
       H :KHWKHUVHULRXVLQMXU\ZDVFDXVHGGXULQJWKHFULPHRIGRPHVWLFYLROHQFH
       I :KHWKHUWKH6ROGLHUFRRSHUDWHGZLWKODZHQIRUFHPHQWRULQYHVWLJDWLQJDXWKRULWLHV
       J :KHWKHUFLUFXPVWDQFHVVXJJHVWWKHSUREDELOLW\RIIXWXUHLQFLGHQWVRIGRPHVWLFYLROHQFH
       K :KHWKHUWKH6ROGLHUKDVH[SUHVVHGUHPRUVHRUUHJUHWRUKDVHQWHUHGFRXQVHOLQJ
       L :KHWKHUWKH6ROGLHUKDVVDWLVILHGWKHMXGJPHQWRIWKHFRXUW
       M 7KHOHQJWKDQGFKDUDFWHURIVHUYLFHRIWKH6ROGLHUWKHDELOLW\DQGSRWHQWLDORIWKH6ROGLHUDQGWKHQHHGVRIWKH
   $UP\IRUWKHVNLOOVRIWKH6ROGLHU
       N :KHWKHUDFFRPPRGDWLRQRIWKH6ROGLHULVFRQVLVWHQWZLWKDFWLRQVWDNHQLQVLPLODUFDVHV
       O :KHWKHUDFFRPPRGDWLRQRIWKH6ROGLHUZRXOGEHFRQVLVWHQWZLWKJRRGRUGHUDQGGLVFLSOLQHDQGSXEOLFVDIHW\
        &RPPDQGHUVPXVWGHWDLO6ROGLHUVZKRPWKH\KDYHUHDVRQWREHOLHYHKDYHDTXDOLI\LQJFRQYLFWLRQWRPHDQLQJIXO
   GXWLHVWKDWGRQRWUHTXLUHEHDULQJ ZHDSRQVRUDPPXQLWLRQ&RPPDQGHUV PD\UHDVVLJQ6ROGLHUVWRORFDO7'$XQLW
   SRVLWLRQVWKDWGHQ\WKHPDFFHVVWRZHDSRQVDQGDPPXQLWLRQ&RPPDQGHUVZLOOQRWDSSRLQWRUDVVLJQ6ROGLHUVZLWK
   TXDOLI\LQJFRQYLFWLRQVWROHDGHUVKLSVXSHUYLVRU\RUSURSHUW\DFFRXQWDELOLW\SRVLWLRQVWKDWZRXOGUHTXLUHDFFHVVWR
   ILUHDUPVRUDPPXQLWLRQ
      G3HUVRQQHOSROLFLHV
        (QOLVWPHQWUHHQOLVWPHQW(QOLVWPHQWRIDSSOLFDQWVZLWKDTXDOLI\LQJFRQYLFWLRQLVSURKLELWHGDQGQRZDLYHUV
   ZLOOEHDSSURYHG6ROGLHUVZLWKDTXDOLI\LQJFRQYLFWLRQZLOOEHEDUUHGIURPUHHQOLVWPHQWDQGDUHQRWHOLJLEOHIRUWKH
   LQGHILQLWHUHHQOLVWPHQWSURJUDP6ROGLHUVLQWKHLQGHILQLWHUHHQOLVWPHQWSURJUDPZLOOEHJLYHQDQH[SLUDWLRQRIWHUPRI
   VHUYLFHQRWWRH[FHHGPRQWKVIURPWKHGDWH+4'$LVQRWLILHGRIWKHTXDOLI\LQJFRQYLFWLRQ(QOLVWPHQWDQGUHHQ
   OLVWPHQWSROLF\DQGSURFHGXUHVIRU5$DUHSURYLGHGLQ$5 ± 5HHQOLVWPHQWSROLF\DQGSURFHGXUHVIRU86$5
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   DUHSURYLGHGLQ$5 ± $SSOLFDQWVZKRKDYHHQOLVWHGLQWKH'(3ZKRDUHIRXQGWRKDYHDTXDOLI\LQJFRQYLFWLRQ
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   ZLOOEHVHSDUDWHGIURPWKH'(3
        &RPPLVVLRQLQJDSSRLQWPHQW$SSOLFDQWVZLWKDTXDOLI\LQJFRQYLFWLRQZLOOQRWEHDSSURYHGIRUFRPPLVVLRQLQJ
   LQDFFRUGDQFHZLWK$5 ± 2IILFHUVZLWKDTXDOLI\LQJFRQYLFWLRQZLOOEHVHSDUDWHGQRODWHUWKDQPRQWKVIURP
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   WKHGDWH+4'$LVQRWLILHGRIWKHTXDOLI\LQJFRQYLFWLRQ
        )ODJV6ROGLHUVZLWKDTXDOLI\LQJFRQYLFWLRQZLOOEHGHQLHGIDYRUDEOHSHUVRQQHODFWLRQLQDFFRUGDQFHZLWK$5
   ± ±7KHIODJPD\EHUHPRYHGLIWKHTXDOLI\LQJFRQYLFWLRQLVH[SXQJHGRUVHWDVLGHE\FRPSHWHQWDXWKRULW\
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        $WWHQGDQFHDW6HUYLFHVFKRROV6ROGLHUVZLWKDTXDOLI\LQJFRQYLFWLRQDUHQRWDXWKRUL]HGWRDWWHQGDQ\6HUYLFH
   VFKRROZKHUHLQVWUXFWLRQZLWKILUHDUPVRUDPPXQLWLRQLVSDUWRIWKHFXUULFXOXP&RPPDQGHUVZLOOFRXQVHO6ROGLHUV
   WKDWLQDELOLW\WRFRPSOHWHVHUYLFHVFKRROVPD\DIIHFWIXWXUHSURPRWLRQRUUHWHQWLRQ6ROGLHUVZLWKDTXDOLI\LQJFRQYLF
   WLRQPD\QRWDWWHQGDQ\VFKRROWKDWUHTXLUHVDQDFWLYHGXW\VHUYLFHREOLJDWLRQ$5 ± DQG$5 ± DSSO\                                  




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   EHLQVWUXFWHGWKDWDSSURSULDWHFRQVLGHUDWLRQVKRXOGEHJLYHQWRTXDOLI\LQJFRQYLFWLRQVLQHYDOXDWLQJWKH6ROGLHU¶VSR
   WHQWLDOIRUIXWXUHVHUYLFH
        3URPRWLRQ(QOLVWHG6ROGLHUVZLWKDTXDOLI\LQJFRQYLFWLRQPD\QRWEHSURPRWHGWRWKHQH[WKLJKHUJUDGHLQ
   DFFRUGDQFHZLWK$5 ±  ± 2IILFHUVZLWKDTXDOLI\LQJFRQYLFWLRQPD\QRWEHSURPRWHGWRWKHQH[WKLJKHUJUDGH
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   LQDFFRUGDQFHZLWK$5 ± DQG$5 ±  ±                                   




        6HSDUDWLRQUHWHQWLRQSROLF\2IILFHUVRQDFWLYHGXW\PD\UHTXHVWUHOHDVHIURPDFWLYHGXW\VXEPLWUHTXHVWVIRU
   XQTXDOLILHGUHVLJQDWLRQRUEHSURFHVVHGIRUHOLPLQDWLRQXQGHUWKHSURYLVLRQVRI$5 ±  ± 7KH86$5RIILFHUV                         




   QRWRQDFWLYHGXW\PD\VXEPLWUHTXHVWVIRUXQTXDOLILHGUHVLJQDWLRQRUEHSURFHVVHGIRULQYROXQWDU\VHSDUDWLRQLQDF
   FRUGDQFHZLWK$5 ± (QOLVWHG6ROGLHUVRQDFWLYHGXW\PD\UHTXHVWYROXQWDU\VHSDUDWLRQIRUWKHFRQYHQLHQFHRI
                                          




   WKH JRYHUQPHQW XQGHU 6HFUHWDULDO SOHQDU\ DXWKRULW\ DV VSHFLILHG LQ $5  ± 7KH\ DOVR PD\ EH SURFHVVHG IRU
                                                                                                                          




   LQYROXQWDU\GLVFKDUJHXQGHUWKHPLVFRQGXFWSURYLVLRQVRI$5 ± RQWKHEDVLVRIWKHPLVFRQGXFWWKDWUHVXOWHGLQ
                                                                                                                  




   WKHTXDOLI\LQJFRQYLFWLRQRUIRULQYROXQWDU\VHSDUDWLRQXQGHU6HFUHWDULDOSOHQDU\DXWKRULW\LIWKHFRPPDQGHUGRHVQRW
   EHOLHYHWKDWGLVFKDUJHIRUPLVFRQGXFWLVZDUUDQWHG7KHPLVFRQGXFWDQG6HFUHWDULDOSOHQDU\DXWKRULW\SURYLVLRQVRI
   $5 ± DOVRDSSO\WRYROXQWDU\RULQYROXQWDU\VHSDUDWLRQRI86$5HQOLVWHG6ROGLHUVQRWRQDFWLYHGXW\7KH
                              




   IRUHJRLQJVHSDUDWLRQSURYLVLRQVGRQRWDSSO\WR6ROGLHUVZLWKLQVWDWXWRU\PLOLWDU\UHWLUHPHQWVDQFWXDULHV
        0RELOL]DWLRQGHSOR\PHQW$OO6ROGLHUVNQRZQWRKDYHRUZKRPFRPPDQGHUVKDYHUHDVRQDEOHFDXVHWREHOLHYH
   KDYHDTXDOLI\LQJFRQYLFWLRQDUHQRWPRELOL]DWLRQDVVHWVDQGDUHQRQGHSOR\DEOHIRUPLVVLRQVWKDWUHTXLUHSRVVHVVLRQ
   RIILUHDUPVRUDPPXQLWLRQ




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                                                                                      $5±-XO\                                               
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        $VVLJQPHQW$OO6ROGLHUVZLOOFRPSOHWHD'')RUPSULRUWRUHFHLSWRI3&6RUGHUV6ROGLHUVZLWKDTXDOL
   I\LQJFRQYLFWLRQDUHQRWHOLJLEOHIRURYHUVHDVVHUYLFHLQDFFRUGDQFHZLWK$5 ± $VVLJQPHQWRI6ROGLHUVZLWKD
                                                                                                                     




   TXDOLI\LQJFRQYLFWLRQZLOOEHUHVWULFWHGLQDFFRUGDQFHZLWK$5 ±  ±DQG$5 ± 6ROGLHUVZLWKDTXDOLI\LQJ
                                                                                                                         




   FRQYLFWLRQZLOOQRWEHDSSURYHGIRUHQWU\LQWRWKH$*53URJUDPLQDFFRUGDQFHZLWK$5 ±                                                




        (YDOXDWLRQUHSRUWV$TXDOLI\LQJFRQYLFWLRQLVDQDSSURSULDWHVXEMHFWIRUFRPPHQWLQDQHYDOXDWLRQUHSRUWLQ
   DFFRUGDQFHZLWK$5 ±        




        ³6DQFWXDU\VWDWXWHV7KLVUHJXODWLRQDQGLWVSROLFLHVDUH VXEMHFWWRWKHVDQFWXDU\SURYLVLRQVRI86&
    D  D  & DQG
      H5HSRUWLQJUHTXLUHPHQWV
        &RPPDQGHUVZLOODGG6ROGLHUVLGHQWLILHGDVQRQGHSOR\DEOHXQGHUWKLVFKDSWHUWRXQLWVWDWXVUHSRUWV3HUVRQQHO
   LGHQWLILHGZLOOEHDGGHGWRWKHQRQGHSOR\DEOHWRWDOXQGHUWKHFRGH³/´LQDFFRUGDQFHZLWK$5 ±  FRPPDQGHU¶V                                                      




   XQLWVWDWXVUHSRUW 
        7KHDFWLYH5$ZLOOUHSRUWTXDOLI\LQJFRQYLFWLRQVXVLQJDVVLJQPHQWFRQVLGHUDWLRQFRGH/ /DXWHQEHUJ$PHQG
   PHQW $UP\5HVHUYHZLOOHQWHU/DXWHQEHUJGDWDDV$6* ± &216/LQWKH7RWDO$UP\3HUVRQQHO'DWD%DVH5H
                                                                             




   VHUYHGDWDEDVHWDEOH,$)± 75HIHUWRFXUUHQWPLOLWDU\SHUVRQQHOPHVVDJHVIRUIXUWKHUJXLGDQFH
                                          




        7KH $51* 'LUHFWRUDWH 1* ± $5+± 6  ZLOO UHSRUW IRU$51* 86$5& ZLOO UHSRUW IRU WKH 86$5 %LDQQXDO
                                                        




   UHSRUWVZLOOEHPDGH -DQXDU\ DQG -XO\ WRWKH'&6*±  '$3( ± 03( 7KH,QGLYLGXDO5HDG\5HVHUYH ,55 
                                                                                                           




   6WDQGE\5HVHUYHDQG5HWLUHG5HVHUYHDUHQRWVXEMHFWWRUHSRUWLQJUHTXLUHPHQWV

   ±6HOIUHSRUWLQJRIFULPLQDOFRQYLFWLRQVE\RIILFHUVDQGVHQLRUHQOLVWHGPHPEHUV
      D$OO86$UP\FRPPLVVLRQHGRIILFHUV:2VDQGHQOLVWHGPHPEHUVDERYHWKHJUDGHRI( ± ZLOOUHSRUWLQZULW                                      




   LQJDQ\FRQYLFWLRQRIVXFKPHPEHUIRUYLRODWLRQRIDFULPLQDOODZRIWKH8QLWHG6WDWHV²ZKHWKHURUQRWWKHPHPEHU
   LVRQDFWLYHGXW\RULQDFWLYHGXW\DWWKHWLPHRIWKHFRQGXFWZKLFKSURYLGHVWKHEDVLVIRUWKHFRQYLFWLRQ7KHPHPEHU
   ZLOOUHSRUWXVLQJHLWKHUD'$)RUP 3HUVRQQHO$FWLRQ RUDPHPRUDQGXP VHH$5 ± ±  5HSRUWLQJLVUH                                                




   TXLUHGIRUDQ\FULPLQDOFRQYLFWLRQDQQRXQFHGRQRUDIWHU0DUFK
      E7KHUHSRUWZLOOEHPDGHWRWKH6ROGLHU¶VFRPPDQGHUZLWKLQGD\VRIWKHGDWHWKHFRQYLFWLRQLVDQQRXQFHG
   HYHQLIVHQWHQFHKDVQRWEHHQLPSRVHGRUWKH6ROGLHULQWHQGVWRDSSHDOWKHFRQYLFWLRQ
      F86$56ROGLHUVQRWRQDFWLYHGXW\EXWLQDQDFWLYHVWDWXVZLOOVXEPLWUHSRUWVXQGHUWKLVSROLF\DWWKHILUVWGULOO
   SHULRGDIWHUWKHGDWHWKHFRQYLFWLRQLVDQQRXQFHGRUZLWKLQGD\VRIWKHGDWHWKHFRQYLFWLRQLVDQQRXQFHGZKLFKHYHU
   LVHDUOLHUHYHQLIVHQWHQFHKDVQRWEHHQLPSRVHGRUWKH6ROGLHULQWHQGVWRDSSHDOWKHFRQYLFWLRQ
      G6ROGLHUV LQ WKH ,55 ZLOO VXEPLW WKHLU UHSRUW WR WKH &RPPDQGHU 86 $UP\ +XPDQ 5HVRXUFHV &RPPDQG
    $+5&± 3'5± +   6SHDUKHDG 'LYLVLRQ $YHQXH )RUW .QR[ .<  ± RU E\ HPDLO WR
                                                                                                                                 




   XVDUP\NQR[KUFPE[WDJGDVNKUF#PDLOPLOZLWKLQGD\VRIWKHGDWHWKHFRQYLFWLRQLVDQQRXQFHG
      H7KHZULWWHQUHSRUWZLOOEHRQD'$)RUPRULQPHPRUDQGXPIRUPDWDQGLQFOXGH6ROGLHU¶VQDPHUDQN
   XQLWRIDVVLJQPHQWGDWHRIRIIHQVH V VSHFLILHGQDWXUHRIWKHRIIHQVH FKDUJHGRIIHQVHV V SODFHDQGGDWHRIWULDO
   UHVXOWRIWKHWULDOVHQWHQFH LIDYDLODEOHDWWKHWLPHRIFRQYLFWLRQ DQGDQ\RWKHUVXSSRUWLQJGRFXPHQWV,QDGGLWLRQD
   FRS\RIWKHFRQYLFWLRQDQGVHQWHQFLQJGRFXPHQWVZLOOEHVXEPLWWHGZLWKWKHUHSRUW6ROGLHUVPD\LQFOXGHVWDWHPHQWV
   RIH[WHQXDWLRQRUPLWLJDWLRQZLWKWKHLUUHSRUW6WDWHPHQWVRIH[WHQXDWLRQRUPLWLJDWLRQPD\EHXVHGE\WKHLUFKDLQRI
   FRPPDQGDQGWKH*&0&$LQGHWHUPLQLQJWKHILOLQJGLVSRVLWLRQRIWKHFRQYLFWLRQDVRXWOLQHGLQSDUDJUDSK±J
      I8QGHUVWDQGLQJVHOIUHSRUWLQJWHUPLQRORJ\²
        &RQYLFWLRQ)RUWKHSXUSRVHVRIWKLVSROLF\WKHWHUP³FRQYLFWLRQ´LQFOXGHVDSOHDRUILQGLQJRIJXLOW\DSOHD
   RIQROR FRQWHQGHUH SOHDRIQRFRQWHVW±SOHDGJXLOW\WRWKHFKDUJH V  ZLWKRXWDGPLWWLQJJXLOW DQGDOORWKHUDFWLRQV
   WDQWDPRXQWWRDILQGLQJRIJXLOW\LQFOXGLQJDGMXGLFDWLRQZLWKKHOGGHIHUUHGSURVHFXWLRQHQWU\LQWRDGXOWRUMXYHQLOH
   SUHWULDOLQWHUYHQWLRQSURJUDPVDQGDQ\VLPLODUGLVSRVLWLRQRIFKDUJHV
        &ULPLQDO/DZRIWKH8QLWHG6WDWHV,QFOXGHVDQ\FRQYLFWLRQRI)HGHUDOFULPLQDOODZRUWKHODZRIDQ\6WDWH
   GLVWULFWFRPPRQZHDOWKWHUULWRULHVRUHTXLYDOHQWFULPLQDOODZRURUGLQDQFHDQGDQ\FULPLQDOODZRURUGLQDQFHRIDQ\
   FRXQW\SDULVKPXQLFLSDOLW\RUORFDOVXEGLYLVLRQRIDQ\VXFKDXWKRULW\RWKHUWKDQPRWRUYHKLFOHYLRODWLRQVWKDWGR
   QRWUHTXLUHDFRXUWDSSHDUDQFH
        6XVSHQVLRQRIIDYRUDEOHSHUVRQQHODFWLRQV6XVSHQVLRQRIIDYRUDEOHSHUVRQQHODFWLRQVLVPDQGDWRU\ZKHQDQ
   LQYHVWLJDWLRQ IRUPDORULQIRUPDO LVLQLWLDWHGRQD6ROGLHUE\PLOLWDU\RUFLYLOLDQDXWKRULWLHV
      J8SRQUHFHLSWRIDUHSRUWRIDFULPLQDOFRQYLFWLRQWKHFRPPDQGHUZLOOIRUZDUGWKDWUHSRUWWRWKH63&0&$DQG
   ZLOOLQFOXGHDQ\VWDWHPHQWVRIH[WHQXDWLRQRUPLWLJDWLRQLISURYLGHG7KH63&0&$ZLWKWKHDVVLVWDQFHRIWKHVHUYLF
   LQJMXGJHDGYRFDWHZLOOREWDLQDQDXWKHQWLFDWHGFRS\RIWKHFRQYLFWLRQDQGWKHVHQWHQFHLIDYDLODEOHIURPFLYLOLDQ
   DXWKRULWLHVDQGDOODYDLODEOHVXSSRUWLQJHYLGHQFH$IWHUUHYLHZWKH63&0&$ZLOOIRUZDUGWKHDXWKHQWLFDWHGFRQYLF
   WLRQ DQGVHQWHQFHLIDYDLODEOH DORQJZLWKDQ\VXSSRUWLQJHYLGHQFHDQGVWDWHPHQWVRIH[WHQXDWLRQRUPLWLJDWLRQLI
   SURYLGHGWRWKH*&0&$ZLWKDUHFRPPHQGDWLRQRQZKHWKHUWRILOHWKHFRQYLFWLRQLQWKH6ROGLHU¶VRIILFLDOPLOLWDU\



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                                                              $5±-XO\                                                                                          
Case 1:21-cv-02228-RM-STV Document 37-14 Filed 11/23/21 USDC Colorado Page 71 of
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   SHUVRQQHO ILOH LQ DFFRUGDQFH ZLWK $5  ±  &RPPDQGHUV DW DOO OHYHOV PD\ FRQVLGHU WKH FRQYLFWLRQ IRU RIILFLDO
                                                                                          




   SXUSRVHVWRLQFOXGHEXWQRWOLPLWHGWRHYDOXDWLRQUHSRUWVDVVLJQPHQWVVHOHFWLRQIRUVFKRROVDZDUGVLQLWLDWLRQRI
   VHSDUDWLRQDQGVXVSHQVLRQRIVHFXULW\FOHDUDQFHDQGDFFHVVWRJRYHUQPHQWRZQHG,7V\VWHPV,IWKHFRPPDQGHULQL
   WLDWHVVHSDUDWLRQDFWLRQWKHFDVHZLOOEHSURFHVVHGWKURXJKWKHFKDLQRIFRPPDQGWRWKHVHSDUDWLRQDXWKRULW\IRUDS
   SURSULDWHDFWLRQ
      K,QDFFRUGDQFHZLWK$5 ± FRPPDQGHUVZLOOIRUZDUGDFRS\RIWKH'$)RUPLQFOXGLQJDOODWWDFK
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   PHQWVDQGDQ\VWDWHPHQWVRIH[WHQXDWLRQRUPLWLJDWLRQSURYLGHGE\WKH6ROGLHUWRWKH'R'&$) $UP\'LYLVLRQ 
   XVLQJGHURJDWRU\LQIRUPDWLRQUHSRUWLQJSURFHGXUHVLQWKH-3$67KHUHSRUWZLOOLQFOXGHWKHFRPPDQGHU¶VUHFRPPHQ
   GDWLRQUHJDUGLQJUHWHQWLRQRUUHYRFDWLRQRIWKH6ROGLHU¶VVHFXULW\FOHDUDQFH
      L,QWKHHYHQWDFRPPDQGHURUPLOLWDU\ODZHQIRUFHPHQWRIILFLDOUHFHLYHVLQIRUPDWLRQWKDWDFRYHUHGPHPEHURI
   WKH$UPHG)RUFHVXQGHUWKHMXULVGLFWLRQRIDQRWKHUPLOLWDU\GHSDUWPHQWKDVEHFRPHVXEMHFWWRDFRQYLFWLRQIRUZKLFK
   DUHSRUWLVUHTXLUHGE\WKLVVHFWLRQWKHFRPPDQGHURUPLOLWDU\ODZHQIRUFHPHQWRIILFLDOUHFHLYLQJVXFKLQIRUPDWLRQ
   ZLOOIRUZDUGLWWRWKH PHPEHU¶VLPPHGLDWH FRPPDQGHU,IWKH PHPEHU¶VLPPHGLDWHFRPPDQGHUFDQQRWEHUHDGLO\
   LGHQWLILHGWKHFRPPDQGHURUPLOLWDU\ODZHQIRUFHPHQWRIILFLDOUHFHLYLQJWKHLQIRUPDWLRQZLOOIRUZDUGLWWRWKHDSSUR
   SULDWH6HUYLFHSRLQWRIFRQWDFWOLVWHGEHORZ²
        86 $UP\ $UP\ 2SHUDWLRQV &HQWHU  $UP\ 3HQWDJRQ :DVKLQJWRQ '&  ±                                                                                              




    ± '61± 
                            




        860DULQH&RUSVDFWLYHGXW\&RPPDQGDQWRIWKH0DULQH&RUSV +40& ± -$0 0DULQH&RUSV3HQWD                                                                   




   JRQ:DVKLQJWRQ'& ±   ±                                                   




        86 0DULQH&RUSV5HVHUYH6WDII-XGJH $GYRFDWH0DULQH&RUSV0RELOL]DWLRQ&RPPDQG$QGUHZV
   5RDG%XLOGLQJ.DQVDV&LW\02 ±  ±  ± ±                                                           




        86$LU)RUFH+HDGTXDUWHUV$LU)RUFH3HUVRQQHO&HQWHU $)3&'3,6,0 6SHFLDO3URJUDPV2IILFH&
   6WUHHW:HVW5DQGROSK$LU)RUFH%DVH7; ±   ± '61±                                                                                              




        861DY\DFWLYHGXW\&RPPDQGHU1DY\3HUVRQQHO 3(5 ±  ,QWHJULW\'ULYH0LOOLQJWRQ71                                  




   2IILFHUV  ± '61 ± 6HQLRUHQOLVWHG   ± '61 ± 
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        861DY\5HVHUYH&RPPDQGHU1DY\3HUVRQQHO&RPPDQG 3(56 ±  ,QWHJULW\'ULYH0LOOLQJWRQ71                                                     




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   ±&RPPDQGUHVSRQVLELOLW\XQGHUWKHODZRIZDU
   &RPPDQGHUVDUHOHJDOO\UHVSRQVLEOHIRUZDUFULPHVWKH\SHUVRQDOO\FRPPLWRUGHUFRPPLWWHGRUNQRZRUVKRXOGKDYH
   NQRZQDERXWDQGWDNHQRDFWLRQWRSUHYHQWVWRSRUSXQLVK,QRUGHUWRSUHYHQWODZRIZDUYLRODWLRQVFRPPDQGHUVDUH
   UHTXLUHGWRWDNHDOOIHDVLEOHPHDVXUHVZLWKLQWKHLUSRZHUWRSUHYHQWRUUHSUHVVEUHDFKHVRIWKHODZRIZDUIURPEHLQJ
   FRPPLWWHGE\VXERUGLQDWHVRURWKHUSHUVRQVVXEMHFWWRWKHLUFRQWURO7KHVHPHDVXUHVLQFOXGHUHTXLUHPHQWVWRWUDLQWKHLU
   6ROGLHUVRQWKHODZRIODQGZDUIDUHLQYHVWLJDWHVXVSHFWHGRUDOOHJHGYLRODWLRQVUHSRUWYLRODWLRQVRIWKHODZRIZDU
   DQGWDNHDSSURSULDWHFRUUHFWLYHDFWLRQVZKHQYLRODWLRQVDUHVXEVWDQWLDWHG

   ±3HUVRQQHOUHFRYHU\DQGFRGHRIFRQGXFWWUDLQLQJ
   &RPPDQGHUVDWDOOOHYHOVDUHUHVSRQVLEOHIRUPDLQWDLQLQJFRPSOLDQFHIRUWKH$UP\¶V3HUVRQQHO5HFRYHU\3URJUDPLQ
   DFFRUGDQFHZLWK$5 ± WRSUHYHQWRUUHGXFHDQ\ VWUDWHJLFDGYDQWDJHRXUHQHPLHVPD\JDLQGXHWRDWDFWLFDO
                                                  




   HYHQWLQYROYLQJWKHLVRODWLRQRI$UP\SHUVRQQHO

   ±&RPEDWLQJWUDIILFNLQJLQSHUVRQV
   &RPPDQGHUVDUHUHVSRQVLEOHIRUPDLQWDLQLQJFRPSOLDQFHIRUWKH'R'&RPEDWLQJ7UDIILFNLQJLQ3HUVRQV3URJUDPLQ
   DFFRUGDQFHZLWK'R',DQG$UP\SROLF\DVH[SODLQHGLQ6HFUHWDU\&KLHIRI6WDIIDQG6HUJHDQW0DMRURIWKH
   $UP\0HPRUDQGXPGDWHG-XO\6XEMHFW&RPEDWLQJ7UDIILFNLQJLQ3HUVRQVDQGLPSOHPHQWHGLQ$5 ±                                                                                                  




   7UDIILFNLQJLQSHUVRQVRIWHQFDOOHGKXPDQWUDIILFNLQJLVGHILQHGDVUHFUXLWPHQWWUDQVSRUWDWLRQWUDQVIHUKDUERULQJ
   RUUHFHLSWRISHUVRQVE\PHDQVRIWKUHDWXVHRIIRUFHFRHUFLRQDEGXFWLRQIUDXGGHFHSWLRQDEXVHRUH[SORLWDWLRQ
   7UDIILFNLQJ LQ SHUVRQV LV D JUDYH YLRODWLRQ RI KXPDQ ULJKWV +XPDQ WUDIILFNLQJ LV D ZRUOGZLGH FULPLQDO WKUHDW WR
   VHFXULW\FLYLOULJKWVDQGVWDELOLW\DQGDGLUHFWWKUHDWWRRXUQDWLRQDOIRUHLJQSROLF\JRDOV




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   &KDSWHU
   2WKHU5HVSRQVLELOLWLHVRI&RPPDQG

   ±*HQHUDO
   7KLVFKDSWHUGLVFXVVHVDGGLWLRQDOUHVSRQVLELOLWLHVFRQFHUQLQJFHUWDLQ6ROGLHUDFWLYLWLHVDQGSUDFWLFHVZKRVHUHJXODWLRQ
   LVDQLQKHUHQWDVSHFWRIFRPPDQG

   ±$UP\)DPLO\UHDGLQHVV
   &RPPDQGHUVKDYHDQREOLJDWLRQWRPDLQWDLQ$UP\)DPLO\UHDGLQHVV
      D&RQFHSW
        )DPLO\UHDGLQHVVLVWKHVWDWHRIEHLQJSUHSDUHGWRHIIHFWLYHO\QDYLJDWHWKHFKDOOHQJHVRIGDLO\OLYLQJH[SHULHQFHG
   LQWKHXQLTXHFRQWH[WRIWKH$UP\$SUHSDUHG$UP\)DPLO\XQGHUVWDQGVWKHFKDOOHQJHVWKH\PD\IDFHLVDZDUHRI
   VXSSRUWLYHUHVRXUFHVDYDLODEOHWRWKHPKDVWKHVNLOOVQHHGHGWRIXQFWLRQLQWKHIDFHRIFKDOOHQJHVDQGXVHVWKRVHVNLOOV
   DQGUHVRXUFHVWRPDQDJHFKDOOHQJHV
        7KH'&6*± LVVXHVLPSOHPHQWLQJJXLGDQFHDQGGHYHORSVSURJUDPVHVWDEOLVKHVDQGDGPLQLVWHUVWKHUHVRXUF
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   LQJWKURXJKWKHEXGJHWSURFHVVLQVXSSRUWRIWKH)DPLO\5HDGLQHVVV\VWHPLQFOXGLQJEXWQRWOLPLWHGWR6ROGLHUDQG
   )DPLO\TXDOLW\RIOLIHDQG0:5SURJUDPVDQGVHUYLFHVSURYLGHGWRJDUULVRQVDQGJHRJUDSKLFDOO\GLVSHUVHGPHPEHUV
   RIWKH7RWDO$UP\
       D 7KHW\SHDQGOHYHORI)DPLO\UHDGLQHVVVHUYLFHVSURYLGHGIRFXVRQWKUHHGRPDLQVPRELOL]DWLRQDQGGHSOR\PHQW
   UHDGLQHVVPRELOLW\DQGILQDQFLDOUHDGLQHVVDQGSHUVRQDODQG)DPLO\OLIHUHDGLQHVV
       E )DPLO\UHDGLQHVVVHUYLFHVZLOOEHSURYLGHGWKURXJKDV\VWHPWKDWPD[LPL]HVDQHWZRUNRIDJHQFLHVSURJUDPV
   VHUYLFHVDQGLQGLYLGXDOVLQDFROODERUDWLYHPDQQHUWRSURPRWH$UP\)DPLO\UHDGLQHVV
      E5HVSRQVLELOLWLHV
        +HDGVRI+4'$VWDIIDJHQFLHV DQGILHOGRSHUDWLQJDJHQFLHVLIDSSURSULDWH DUHUHVSRQVLEOHIRU$UP\ZLGH
   SROLFLHVSODQVDQGLQLWLDWLYHVZLWKLQWKHLUDUHDVRISURSRQHQF\SHUWDLQLQJWRWKH)DPLO\UHDGLQHVVV\VWHP
        7KH&*$0&WKURXJK&*,0&20ZLOO²
       D 3URYLGHJXLGDQFHWHFKQLFDODVVLVWDQFHDQGFRQVXOWDWLRQWRVXSSRUWWKHH[HFXWLRQDQGGHOLYHU\RI6ROGLHUDQG
   )DPLO\UHDGLQHVVSURJUDPVDQGVHUYLFHV
       E ,GHQWLI\QHHGVDQGGHVLJQDQGFRQGXFW$UP\ZLGH6ROGLHU)DPLO\PHPEHUDQGVXUYLYRUWUDLQLQJDQGDZDUHQHVV
   HYHQWV
       F 'HWHUPLQHUHTXLUHPHQWVDQGGHYHORSWUDLQLQJIRULQGLYLGXDOVUHVSRQVLEOHIRU)DPLO\SURJUDPH[HFXWLRQ
       G 3URYLGHFRQVXOWDWLRQDQGOLDLVRQZLWKWKH$51*DQG86$5WRHQVXUHLQWHUDFWLRQDQGV\QFKURQL]DWLRQDPRQJ
   5$DQG86$5FRQFHUQLQJ)DPLO\DVVLVWDQFHDQGUHDGLQHVVLVVXHV
        $UP\1DWLRQDO*XDUG
       D 7KH1*%LVWKH$UP\¶VOHDGDJHQF\IRUWKHHVWDEOLVKPHQWDQGH[HFXWLRQRI)DPLO\DVVLVWDQFHIRU$51*6RO
   GLHUVDWDOOOHYHOVRIFRQWLQJHQF\DQGPRELOL]DWLRQ
       E 7KH&KLHI1*%WKURXJKWKH1*%)DPLO\30ZLOO²
      3URYLGHSROLF\JXLGDQFHWHFKQLFDODVVLVWDQFHDQGFRQVXOWDWLRQWRVXSSRUWWKHGHYHORSPHQWDQGLPSOHPHQWDWLRQ
   RI)DPLO\UHDGLQHVVSURJUDPVDQGVHUYLFHVZLWKLQWKH$51*
      ,GHQWLI\GHVLJQDQGSURYLGH$51*6ROGLHUVDQG)DPLO\PHPEHUVWUDLQLQJDQGDZDUHQHVVVXSSRUW
      'HYHORSWUDLQLQJIRULQGLYLGXDOVUHVSRQVLEOHIRU)DPLO\SURJUDPH[HFXWLRQZLWKLQWKH$51*
        7KH&KLHI$UP\5HVHUYH &$5 WKURXJKWKH2IILFHRIWKH&$5)DPLO\30ZLOO²
       D 3URYLGHSROLF\JXLGDQFHWHFKQLFDODVVLVWDQFHDQGFRQVXOWDWLRQWRVXSSRUWWKHGHYHORSPHQWDQGLPSOHPHQWDWLRQ
   RISURJUDPVDQGVHUYLFHVZLWKLQWKH86$5
       E ,GHQWLI\GHVLJQDQGSURYLGH86$56ROGLHUDQG)DPLO\PHPEHUWUDLQLQJDQGDZDUHQHVVVXSSRUW
       F 'HYHORSWUDLQLQJIRULQGLYLGXDOVUHVSRQVLEOHIRU)DPLO\SURJUDPH[HFXWLRQZLWKLQWKH86$5
       G (QVXUHWKDWUHJLRQDOUHDGLQHVVFRPPDQGVKDYHVWDIIHGWKHFHQWUDOL]HG)DPLO\UHDGLQHVVRIILFHWRPHHWDVVLJQHG
   GXWLHVDQGUHVSRQVLELOLWLHV
        $&20$6&&RU'58FRPPDQGHUVZLOOSURYLGHDQHQYLURQPHQWWKDWHQFRXUDJHVDQHIIHFWLYH)DPLO\UHDGL
   QHVVV\VWHPDQGZLOODWDPLQLPXP²
       D (QVXUHFRPPDQGHPSKDVLVDWWKHXQLWOHYHO
       E ,GHQWLI\DQGLQSXWILVFDODQGSHUVRQQHOUHVRXUFHUHTXLUHPHQWVIRUSURJUDPVDQGVHUYLFHVDVSDUWRIWKHFRPPDQG
   RSHUDWLQJEXGJHWSURFHVV
       F 3URYLGHIRU6ROGLHU'$&LYLOLDQVXUYLYRUUHWLUHHDQG)DPLO\PHPEHUSDUWLFLSDWLRQLQTXDOLW\RIOLIHPDWWHUV
       G (QVXUHLQFOXVLRQRIVLQJOH6ROGLHUVLQTXDOLW\RIOLIHSURJUDPVLQLWLDWLYHV




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        86$5&&2186$UP\LQVWDOODWLRQ-RLQW)RUFHV+HDGTXDUWHUV -)+4 56&FRPPDQGHUVDWDOOOHYHOVZLOOSUR
   YLGHDQHQYLURQPHQWWKDWHQFRXUDJHVDQHIIHFWLYH)DPLO\UHDGLQHVVV\VWHPDQGZLOODWDPLQLPXP²
       D (QVXUHFRPPDQGHPSKDVLVWRWKHXQLWOHYHO
       E (QVXUHWKHDSSRLQWPHQWRID)DPLO\UHDGLQHVVOLDLVRQSRLQWRIFRQWDFWDVDQDGGLWLRQDOGXW\LQHDFKXQLWEHORZ
   LQVWDOODWLRQ-)+456&OHYHO
       F ,GHQWLI\DQGLQSXWILVFDODQGSHUVRQQHOUHVRXUFHUHTXLUHPHQWVIRUSURJUDPVDQGVHUYLFHVDVSDUWRIWKHFRPPDQG
   RSHUDWLQJEXGJHWSURFHVV
       G 3URYLGHIRU6ROGLHU'$&LYLOLDQUHWLUHHDQG)DPLO\PHPEHUDZDUHQHVVRIDYDLODEOHSURJUDPVDQGVHUYLFHV
       H 3URYLGHIRU6ROGLHU'$&LYLOLDQUHWLUHHDQG)DPLO\PHPEHUDFFHVVWRHQWLWOHPHQWV)DPLO\SURJUDPVDQG
   )DPLO\VHUYLFHVIRUZKLFKWKH\DUHHOLJLEOH
       I 3URYLGHIRU6ROGLHU'$&LYLOLDQUHWLUHHDQG)DPLO\PHPEHUSDUWLFLSDWLRQLQTXDOLW\RIOLIHSURJUDPV
       J (QVXUHLQFOXVLRQRIVLQJOH6ROGLHUVLQTXDOLW\RIOLIHSURJUDPVDQGLQLWLDWLYHV
       K ,QVWDOODWLRQV-)+4VZLOOHQVXUHIDFLOLWDWHDSSURSULDWHFRRUGLQDWLRQRISURJUDPDQGVHUYLFHHOHPHQWVIRUDOOFRP
   SRQHQWVZLWKLQWKHLUJHRJUDSKLFDODUHDRIUHVSRQVLELOLW\GXULQJSHDFHWLPHDQGDWDQ\OHYHORIFRQWLQJHQF\RUPRELOL
   ]DWLRQ
        8QLWFRPPDQGHUVDWDOOOHYHOVZLOOSURYLGHDQHQYLURQPHQWWKDWHQFRXUDJHVDQHIIHFWLYH)DPLO\UHDGLQHVVV\V
   WHPDQGZLOODWDPLQLPXP²
       D $SSRLQWD)DPLO\UHDGLQHVVOLDLVRQSRLQWRIFRQWDFWDVDQDGGLWLRQDOGXW\
       E &RPSOHWH DQ DQQXDO )DPLO\ UHDGLQHVV HYDOXDWLRQ DQG HQVXUH VXERUGLQDWH FRPPDQGV FRPSOHWH WKHLU )DPLO\
   UHDGLQHVVHYDOXDWLRQVDQQXDOO\3URYLGHSUHGHSOR\PHQWVXVWDLQPHQWDQGUHXQLRQEULHILQJVDVUHTXLUHGE\URWDWLRQDO
   DVVLJQPHQWV
       F 3URYLGHIRU6ROGLHUDQG)DPLO\PHPEHUDZDUHQHVVRIDYDLODEOHSURJUDPVDQGVHUYLFHV
       G 3URYLGHIRU6ROGLHUDQG)DPLO\PHPEHUDFFHVVWRHQWLWOHPHQWV)DPLO\SURJUDPVDQG)DPLO\VHUYLFHVIRUZKLFK
   WKH\DUHHOLJLEOH
       H $FWLYHO\HQJDJHLQWKHVSRQVRUVKLSRIQHZ6ROGLHUV)DPLOLHV<RXWKDQG'$&LYLOLDQVDUULYLQJWRWKHLUXQLWV
       I (QVXUHWKHSURSHUGRFXPHQWLQJDQGPRQLWRULQJRISHUVRQDODIIDLUVUHDGLQHVVRI6ROGLHUVWRLQFOXGH)DPLO\FDUH
   SODQV VHHSDUD ±  
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       J (QVXUHLQFOXVLRQRIVLQJOHSHUVRQQHOLQTXDOLW\RIOLIHSURJUDPVDQGLQLWLDWLYHV
       K 0DLQWDLQDVDSSURSULDWHWRWKH QHHGVRIWKHLU XQLWVDXQLW 6ROGLHUDQG)DPLO\ 5HDGLQHVV*URXS 6)5*  WR
   HQFRXUDJHVHOIVXIILFLHQF\DPRQJLWVPHPEHUVE\SURYLGLQJLQIRUPDWLRQUHIHUUDODVVLVWDQFHDQGPXWXDOVXSSRUW5H
   IHUWR$5 ± DSSHQGL[-IRULQIRUPDWLRQSHUWDLQLQJWR6)5*IXQGUDLVLQJUHSRUWLQJDQGLQIRUPDOIXQGVDFWLYLWLHV
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        $UP\&RPPXQLW\6HUYLFH'LUHFWRUVZLOO²
       D $GYLVHWKHFRPPDQGHUFRQFHUQLQJWKHLPSDFWRISURJUDPVDQGVHUYLFHVRQUHWHQWLRQUHDGLQHVVWUDLQLQJDQG
   URWDWLRQDODVVLJQPHQWV
       E &RRUGLQDWHWKHGHYHORSPHQWRISURJUDPVDQGVHUYLFHVDFFRUGLQJWRQHHGVDVVHVVPHQW
       F &RRUGLQDWHWKHGHYHORSPHQWRIUHVRXUFHUHTXLUHPHQWVWRVXSSRUWSURJUDPVDQGVHUYLFHV
       G &RRUGLQDWHSXEOLFFRPPXQLW\HPSOR\HUDZDUHQHVVDQGVXSSRUWRISURJUDPVDQGVHUYLFHV
       H 6HUYHDVFRPPDQGOLDLVRQZLWKPLOLWDU\DQGFLYLOLDQDJHQFLHVLQYROYHGLQUHVRXUFLQJDQGVXSSRUWLQJSURJUDPV
   DQGVHUYLFHV
        6ROGLHUVEHDUSULPDU\UHVSRQVLELOLW\IRUWKHLURZQLQGLYLGXDOUHDGLQHVVDQGUHVLOLHQF\DQGWKDWRIWKHLU)DPLOLHV
   $WDPLQLPXP6ROGLHUVZLOO²
       D .HHSWKHPVHOYHVDQGWKHLU)DPLOLHVLQIRUPHGFRQFHUQLQJNH\ XQLW SHUVRQQHOLQIRUPDWLRQEHQHILWVDQGSUR
   JUDPV
       E 6XSSRUWDQGZKHUHDSSURSULDWHHQFRXUDJHWKHLU)DPLO\PHPEHUVWRSDUWLFLSDWHLQSURJUDPVVHUYLFHVDQGDF
   WLYLWLHVWKDWGHYHORSVWUHQJWKHQDQGVXVWDLQWKHTXDOLW\RIOLIHDQGZHOOEHLQJRIDOOPHPEHUVRIWKH$UP\)DPLO\IRU
   H[DPSOH6ROGLHUDQG)DPLO\5HDGLQHVV*URXSVGHSOR\PHQWF\FOHVXSSRUWWUDLQLQJDQG$UP\)DPLO\WHDPEXLOGLQJ

   ±)DPLO\FDUHSODQV
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        &RPPDQGHUVRYHUVHH PLVVLRQUHDGLQHVVDQGGHSOR\DELOLW\DVWKH\DIIHFW5$DQG86$56ROGLHUV ZKRDUH
   VLQJOHSDUHQWVGXDOPLOLWDU\FRXSOHVZLWKGHSHQGHQW)DPLO\PHPEHUVPDUULHGZLWKFXVWRG\RUMRLQWFXVWRG\RIFKLO
   GUHQZKRVHQRQFXVWRGLDOELRORJLFDORUDGRSWLYHSDUHQWLVQRWWKHFXUUHQWVSRXVHRIWKH6ROGLHURUZKRRWKHUZLVHEHDUV
   VROHUHVSRQVLELOLW\IRUWKHFDUHRIFKLOGUHQXQGHUWKHDJHRIRURWKHUVXQDEOHWRFDUHIRUWKHPVHOYHVLQWKHDEVHQFH
   RIWKH6ROGLHURUSULPDULO\UHVSRQVLEOHIRUGHSHQGHQW)DPLO\PHPEHUV3ODQVPXVWEHPDGHWRHQVXUH)DPLO\PHPEHUV
   DUHSURSHUO\DQGDGHTXDWHO\FDUHGIRUZKHQDQ5$6ROGLHULVGHSOR\HGRQ7'<RURWKHUZLVHQRWDYDLODEOHGXHWR
   PLOLWDU\ UHTXLUHPHQWV 86$5 6ROGLHUV ZLOO LPSOHPHQW )DPLO\ FDUH SODQV GXULQJ DQ\ SHULRG RI DEVHQFH IRU DQQXDO



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   WUDLQLQJUHJXODUO\VFKHGXOHGXQLWWUDLQLQJDVVHPEOLHVHPHUJHQF\PRELOL]DWLRQDQGGHSOR\PHQWRURWKHUW\SHRIDFWLYH
   GXW\0HPEHUVRIWKH'HSDUWPHQWRI'HIHQVH([SHGLWLRQDU\&LYLOLDQ:RUNIRUFHZKRPHHWWKHFULWHULDLQ$5 ±                 




   PXVWGHYHORSDQGPDLQWDLQDFXUUHQW)DPLO\FDUHSODQLQDFFRUGDQFHZLWK'R',
        '$)RUP )DPLO\&DUH3ODQ LVQRWDOHJDOGRFXPHQWWKDWFDQFKDQJHDFRXUWPDQGDWHGFXVWRGLDODUUDQJH
   PHQWQRUFDQLWLQWHUIHUH ZLWKDSDUHQW¶VULJKWWRFXVWRG\RIWKHLUFKLOG,WVVROHSXUSRVHLVWRGRFXPHQWIRU$UP\
   SXUSRVHVWKHSODQE\ZKLFK6ROGLHUVZLOOSURYLGHIRUWKHFDUHRIWKHLU)DPLO\PHPEHUVZKHQPLOLWDU\RUFLYLOLDQGXWLHV
   SUHYHQW WKHP IURP GRLQJ VR ,W ZLOO LQFOXGH SURRI WKDW JXDUGLDQV DQG HVFRUWV KDYH EHHQ WKRURXJKO\ EULHIHG RQ WKH
   UHVSRQVLELOLWLHVWKH\ZLOODVVXPHDQGWKHSURFHGXUHVIRUDFFHVVLQJPLOLWDU\DQGFLYLOLDQIDFLOLWLHVDQGVHUYLFHVRQEHKDOI
   RIWKH)DPLO\PHPEHUVRIWKH6ROGLHU,WZLOODWWHVWWKDWWKHJXDUGLDQDQGHVFRUWDJUHHGWRSURYLGHFDUHDQGKDYHEHHQ
   SURYLGHGDOOQHFHVVDU\OHJDODXWKRULW\DQGPHDQVWRGRVR,WZLOOLQFOXGHSURRIWKDWWKH6ROGLHUKDVREWDLQHGFRQVHQW
   WRWKHSODQQHGGHVLJQDWLRQRIJXDUGLDQVKLSIURPDOOSDUWLHVZLWKDOHJDOLQWHUHVWLQWKHFXVWRG\DQGFDUHRIWKHPLQRU
   FKLOGRUSURRIWKDWUHDVRQDEOHHIIRUWVKDYHEHHQPDGHWRREWDLQFRQVHQWWRVXFKGHVLJQDWLRQ
        $WDPLQLPXPSURRIZLOOFRQVLVWRIWKHIROORZLQJDWWDFKPHQWVWR'$)RUP
       D '$)RUP 3RZHURI$WWRUQH\ RUHTXLYDOHQWGHOHJDWLRQRIOHJDOFRQWURO
       E '$)RUP &HUWLILFDWHRI$FFHSWDQFHDV*XDUGLDQRU(VFRUW 
       F '')RUP ±  $SSOLFDWLRQIRU,GHQWLILFDWLRQ&DUG'((56(QUROOPHQW IRUHDFK)DPLO\PHPEHU
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   1RWH$5 ±  ± GLUHFWVWKDWLGHQWLILFDWLRQFDUGVZLOOEHLVVXHGIRUFKLOGUHQXQGHUDJHZKRUHVLGHZLWKDVLQJOH
                                               




   SDUHQWRUGXDOPLOLWDU\FRXSOH
       G '')RUP $XWKRUL]DWLRQWR6WDUW 6WRSRU&KDQJH DQ$OORWPHQW IRUDFWLYHGXW\RUUHWLUHGSHUVRQQHO
   XQVLJQHGXQWLOGHSOR\PHQWRURWKHUSURRIRIILQDQFLDOVXSSRUWDUUDQJHPHQWV
       H $OHWWHURILQVWUXFWLRQWRWKHJXDUGLDQHVFRUW VHH'$)RUP )DPLO\&DUH3ODQ&RXQVHOLQJ&KHFNOLVW 
       I ,IDSSURSULDWH'$)RUP 3DUHQWDO&RQVHQW DVHYLGHQFHRIFRQVHQWWRWKH)DPLO\FDUHSODQIURPDOOSDUWLHV
   ZLWKDOHJDOLQWHUHVWLQWKHFXVWRG\RIWKHPLQRUFKLOG
        6ROGLHUV DUH UHVSRQVLEOH IRU LPSOHPHQWLQJ WKH )DPLO\ FDUH SODQ DQG WKXV HQVXULQJ WKH FDUH RI WKHLU )DPLO\
   PHPEHUV:KHQRSHUDWLRQDORUVHFXULW\FRQVLGHUDWLRQVSUHYHQWWKHPIURPLPSOHPHQWLQJWKHSODQLWZLOOEHXVHGE\
   DSSURSULDWHPLOLWDU\RUFLYLOLDQDXWKRULWLHVWRREWDLQFDUHIRUVXFK)DPLO\PHPEHUV'$)RUPPD\EHH[HFXWHG
   DWDQ\WLPHZKHQFRQGLWLRQVZDUUDQWDQG)DPLO\FDUHLVQHFHVVDU\GXHWRWKHUHTXLUHGPLOLWDU\DEVHQFHRIWKH6ROGLHU
      E&RPPDQGHUVRI5$DQG86$56ROGLHUVUHJDUGOHVVRIWKHPHPEHUV¶UDQNZLOOFRQGXFWRUDUUDQJHIRU)DPLO\
   FDUHSODQFRXQVHOLQJDQGUHTXLUHD)DPLO\FDUHSODQEHFRPSOHWHGZKHQDQ\RIWKHIROORZLQJDSSO\
        $SUHJQDQWPHPEHUZKR²
       D +DVQRVSRXVHLVGLYRUFHGZLGRZHGRUVHSDUDWHGRULVUHVLGLQJZLWKRXWKHUVSRXVH
       E ,VPDUULHGWRDQRWKHU6ROGLHURIDQ5$RU86$5RIDQ\6HUYLFH $UP\$LU)RUFH1DY\0DULQHVRU&RDVW
   *XDUG 
        $6ROGLHUZKRKDVQRVSRXVHRULVUHVLGLQJDSDUWIURPKLVRUKHUVSRXVHZKRKDVMRLQWRUIXOOOHJDOFXVWRG\DV
   ZHOODVSK\VLFDOFXVWRG\RIRQHRUPRUH)DPLO\PHPEHUVXQGHUWKHDJHRIRUZKRKDVDGXOW)DPLO\PHPEHUV
   LQFDSDEOHRIVHOIFDUHUHJDUGOHVVRIDJH
        $6ROGLHUZKRLVGLYRUFHGDQGZKRKDVYLVLWDWLRQULJKWVE\FRXUWGHFUHHWKDWDOORZV)DPLO\PHPEHUVWREH
   VROHO\LQWKHPHPEHU¶VFDUHLQH[FHVVRIFRQVHFXWLYHGD\V
        $6ROGLHUZKRVHVSRXVHLVLQFDSDEOHRIVHOIFDUHRULVRWKHUZLVHSK\VLFDOO\PHQWDOO\RUHPRWLRQDOO\GLVDEOHG
   VRDVWRUHTXLUHVSHFLDOFDUHRUDVVLVWDQFH
        $6ROGLHUFDWHJRUL]HGDVKDOIRIDGXDOPLOLWDU\FRXSOHRIWKH5$RU86$5RIDQ\6HUYLFH $UP\$LU)RUFH
   1DY\0DULQHVRU&RDVW*XDUG ZKRLVPDUULHGWRD6ROGLHUZKRKDVMRLQWRUIXOOOHJDOFXVWRG\RIRQHRUPRUH)DPLO\
   PHPEHUVXQGHUDJHRUZKRKDVDGXOW)DPLO\PHPEHUVLQFDSDEOHRIVHOIFDUHUHJDUGOHVVRIDJH
      F6ROGLHUVPXVWDUUDQJHIRUWKHFDUHRIWKHLU)DPLO\PHPEHUVLQRUGHUWREH²
        $YDLODEOHIRUGXW\ZKHQDQGZKHUHWKHQHHGVRIWKH$UP\GLFWDWH
        $EOHWRSHUIRUPDVVLJQHGPLOLWDU\RUFLYLOLDQGXWLHVZLWKRXWLQWHUIHUHQFHRI)DPLO\UHVSRQVLELOLWLHV
      G(QOLVWHG 6ROGLHUV ZLOO EH FRXQVHOHG RQ YROXQWDU\ DQG LQYROXQWDU\ VHSDUDWLRQ ZKHQHYHU SDUHQWKRRG LQWHUIHUHV
   ZLWKPLOLWDU\UHVSRQVLELOLWLHV VHH'$)RUP XQGHUSURYLVLRQRI²
        $5 ± IRU5$6ROGLHUV
                                     




        $5 ± IRU$51*DQG86$56ROGLHUV
                                     




        $5 ± IRU$51*DQG86$56ROGLHUV
                                     




      H2IILFHUVZLOOEHFRXQVHOHGRQYROXQWDU\DQGLQYROXQWDU\VHSDUDWLRQVZKHQHYHUSDUHQWKRRGLQWHUIHUHVZLWKPLOL
   WDU\UHVSRQVLELOLWLHV VHH'$)RUP XQGHUSURYLVLRQRI²
        $5 ±  ± IRU5$86$5$51*6ROGLHUVDQGRIILFHUVVHUYLQJRQDFWLYHGXW\RURQDFWLYHGXW\IRUWUDLQLQJ
                                                   




   IRUDSHULRGLQH[FHVVRIGD\V



   
                                                                 $5±-XO\                                          
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        $5 ± IRU$51*DQG86$56ROGLHUVH[FHSWIRURIILFHUVVHUYLQJRQDFWLYHGXW\RURQDFWLYHGXW\IRU
                      




   WUDLQLQJIRUDSHULRGLQH[FHVVRIGD\V
      I3UHJQDQW6ROGLHUV ZKRPHHWWKHFULWHULDHVWDEOLVKHGLQSDUDJUDSK±E  ZLOOEHFRXQVHOHG²
        ,QWKH5$DFFRUGLQJWR$5 ±  ±IRURIILFHUVDQG$5 ± IRUHQOLVWHG6ROGLHUV
                                                                                                   




        ,QWKH$51*DQG86$5DFFRUGLQJWR$5 ±                              




        2Q FRVWV RI PDWHUQLW\ FDUH REWDLQHG IURP FLYLOLDQ VRXUFHV DQG WKH OLPLWDWLRQV FRQFHUQLQJ PDWHUQLW\ FDUH LQ
   PLOLWDU\PHGLFDOIDFLOLWLHV
        8VLQJ'$)RUPDVVRRQDVSUHJQDQF\LVLGHQWLILHGEXWQRODWHUWKDQGD\VSULRUWRWKHH[SHFWHGGDWHRI
   ELUWKRIWKHFKLOG3UHJQDQW6ROGLHUVVKRXOGUHFHLYH)DPLO\FDUHSODQFRXQVHOLQJDWWKHWLPHRISUHJQDQF\FRXQVHOLQJ
   WRHQVXUHWKH6ROGLHULVLQIRUPHGRIWKHUHVSRQVLELOLWLHVLIVKHFKRRVHVWRUHPDLQRQDFWLYHGXW\
        7KDWWKH\PXVWFRPSOHWHDQGKDYHDQDSSURYHG'$)RUPVKRZLQJWKHLULQWHQWLRQVIRU)DPLO\FDUHQR
   ODWHUWKDQGD\VSULRUWRWKHGDWHRIWKHELUWKRIWKHFKLOG'$)RUPDQG'$)RUPRURWKHUJXDUGLDQVKLS
   GRFXPHQWV'')RUP ±DQG'')RUPZLOOEHFRPSOHWHGDQG'$)RUPUHFHUWLILHGQRODWHUWKDQ
                                    




   GD\VIROORZLQJWKHGDWHRIELUWKRIWKHFKLOG
      J7KHXQLWFRPPDQGHURUVXSHUYLVRU²
        0D\GHVLJQDWHDQDXWKRUL]HGUHSUHVHQWDWLYHWRFRQGXFW)DPLO\FDUHSODQFRXQVHOLQJXVLQJ'$)RUPDQG
   WRLQLWLDODQGVLJQWKHFRXQVHOLQJIRUPLQWKHFRPPDQGHU¶VEHKDOI7KHFRPPDQGHURUDXWKRUL]HGUHSUHVHQWDWLYHZLOO
   XVH'$)RUP )DPLO\&DUH3ODQ3UHOLPLQDU\6FUHHQLQJ WRLGHQWLI\WKRVHPHPEHUVZKRVH)DPLO\FDUHSODQPD\
   EHDWULVNIRUIDLOXUHLQWKHHYHQWWKHSODQLVDFWLYDWHGDQGZKRVKRXOGFRQVXOWZLWKDQDWWRUQH\
        ,VWKHVROHDSSURYLQJDXWKRULW\IRU'$)RUP7KLVUHVSRQVLELOLW\ZLOOQRWEHGHOHJDWHG
        0D\DXWKRUL]HDQDGGLWLRQDOGD\V GD\VWRWDOIURPGDWHRIFRXQVHOLQJ WRDOO5$6ROGLHUVDQGGD\V 
   GD\VWRWDOIURPWKHGDWHRIFRXQVHOLQJ WRDOO86$56ROGLHUVIRUFRPSOHWLRQLQFOXGLQJVXEPLVVLRQDQGILQDODSSURYDO
   RI'$)RUPZLWKDWWHQGDQWGRFXPHQWV
        (QVXUH WKDW DOO UHTXLUHG GRFXPHQWV DUH LQ RUGHU DQG PXVW EH VDWLVILHG WKDW WKH )DPLO\ FDUH SODQ PHHWV WKH
   UHTXLUHPHQWVDQGDSSHDUVWREHZRUNDEOHDQGGXUDEOH
        6KRXOGGLVDSSURYH'$)RUPLIWKHUHTXLUHGDWWDFKPHQWVDUHQRWSUHVHQWXQOHVVH[WHQXDWLQJFLUFXPVWDQFHV
   H[LVW
        0D\FRQVLGHUH[WHQXDWLQJFLUFXPVWDQFHVLQDSSURYLQJ'$)RUPEXWPXVWXQGHUVWDQGWKDWWKH6ROGLHULV
   FRQVLGHUHGQRQGHSOR\DEOHXQWLOD)DPLO\FDUHSODQLVYDOLGDWHGDQGDSSURYHG
        0XVWDGHTXDWHO\WHVWWKHYDOLGLW\DQGGXUDELOLW\RIWKH)DPLO\FDUHSODQWRLQFOXGHFRQWDFWLQJWKHGHVLJQDWHG
   JXDUGLDQ V SULRUWRILQDODSSURYDORUUHFHUWLILFDWLRQ
        :LOOSURYLGHWKH6ROGLHUGD\VIURPGDWHRIWKHILUVWGLVDSSURYDOWRVXEPLWDGGLWLRQDOGRFXPHQWDWLRQRUHYL
   GHQFHWRVXSSRUWWKH)DPLO\FDUHSODQ
        :LOOSURYLGHWKH6ROGLHUDUHDVRQDEOHSHULRGRIWLPHWRDWWHPSWWRUHZRUND)DPLO\FDUHSODQIRXQGWREHGHIL
   FLHQWDWWLPHRIPRELOL]DWLRQSURFHVVLQJIRURYHUVHDVPRYHPHQWRUGHSOR\PHQW2UGLQDULO\D6ROGLHUZLOOEHDIIRUGHG
   DWOHDVWGD\VWRFRUUHFWGHILFLHQFLHVLQDSODQXQOHVVDVKRUWHUSHULRGLVVSHFLILHGE\WKHXQLWFRPPDQGHUGXHWRWKH
   XUJHQF\DQGRUQDWXUHRIWKHGHSOR\PHQWRUGXHWRWKHQDWXUHRIWKHGHILFLHQFLHV
        0D\DXWKRUL]HOHDYHSHU$5 ±  ± IRUDGHSOR\HG6ROGLHUWRUHWXUQKRPHZKHQFLUFXPVWDQFHVEH\RQGWKH
                                                                       




   6ROGLHU¶VFRQWUROSUHFOXGHWKHGHVLJQDWHGJXDUGLDQIURPH[HUFLVLQJWKRVHUHVSRQVLELOLWLHV
        6KRXOGFRQVLGHULQLWLDWLQJDEDUWRUHHQOLVWPHQWDJDLQVW6ROGLHUVZKRIDLOWRSURSHUO\PDQDJHSHUVRQDOPDULWDO
   RU)DPLO\DIIDLUVRUZKRIDLOWRSURYLGHRUPDLQWDLQDGHTXDWH)DPLO\FDUHSODQV
        6KRXOGFRQVLGHULQLWLDWLQJLQYROXQWDU\VHSDUDWLRQSURFHHGLQJVDJDLQVW6ROGLHUVZKRIDLOWRSURYLGHDQGPDLQ
   WDLQDGHTXDWH)DPLO\FDUHSODQV
        6KRXOGWDNHDFWLRQWRHQVXUHWKH\DUHDZDUHRIRWKHUVLWXDWLRQVWKDWPD\FUHDWHFKDQJHVLQWKHVWDWXVRIWKHLU
   6ROGLHUVZLWKUHJDUGWRWKH6ROGLHU¶VUHVSRQVLELOLW\WRVXSSRUW)DPLO\PHPEHUV7KHVHLQFOXGHEXWDUHQRWOLPLWHGWR
   WKHIROORZLQJ
       D 'HDWKRUGLVDELOLW\RIVSRXVH
       E /HJDOVHSDUDWLRQZKHQLQLWLDODJUHHPHQWVKDYHLGHQWLILHGWKH6ROGLHUDVFXVWRGLDOSDUHQWRUJXDUGLDQRIRQHRU
   PRUH)DPLO\PHPEHUV
       F 'LYRUFHSURFHHGLQJVDZDUGLQJMRLQWRUIXOOFXVWRG\RI)DPLO\PHPEHUVWRWKH6ROGLHU
       G &RXUWGHFUHHVDZDUGLQJYLVLWDWLRQULJKWVWRWKH6ROGLHUIRUPRUHWKDQGD\V
       H $GRSWLRQ
       I $VVXPSWLRQRIIRVWHUFDUHUHVSRQVLELOLWLHV
       J *XDUGLDQVKLSDJUHHPHQWIRUFKLOGUHQRUDGXOWVLQFDSDEOHRIVHOIFDUHWRWHPSRUDULO\RUSHUPDQHQWO\UHVLGHZLWK
   WKH6ROGLHU




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                                                                             $5±-XO\                             
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       K ([WHQGHGSHULRGVRIDEVHQFHE\WKHVSRXVHIRUVLWXDWLRQVLQFOXGLQJEXWQRWOLPLWHGWRVFKRROLQJKRVSLWDOL]D
   WLRQDQGHPSOR\PHQW
       L ([SLUDWLRQRIFXUUHQWSRZHURIDWWRUQH\FKDQJHLQJXDUGLDQVKLSGXHWR3&6FKDQJHRIWHPSRUDU\FDUHSURYLGHU
        :LOOUHYLHZFRSLHVRIDOOFKLOGFXVWRG\RUGHUVRUPDULWDOVHSDUDWLRQDJUHHPHQWVFXUUHQWO\LQHIIHFWWRHQVXUH
   WKH)DPLO\FDUHSODQLVQRWLQFRQVLVWHQWZLWKDQ\VXFKOHJDOGRFXPHQWV,IWKH)DPLO\FDUHSODQLVLQFRQVLVWHQWZLWK
   DQ\H[LVWLQJFRXUWRUGHUVGHFUHHVRUPDULWDOVHSDUDWLRQDJUHHPHQWVRULIWKHFRPPDQGHUFDQQRWGHWHUPLQHLIDQLQ
   FRQVLVWHQF\ H[LVWV WKH FRPPDQGHU ZLOO VHHN DGYLFH IURP WKH VHUYLFLQJ OHJDO RIILFH DQG PD\ DGYLVH WKH 6ROGLHU WR
   FRQWDFWDOHJDODVVLVWDQFHDWWRUQH\RUDQDWWRUQH\WKH\KDYHUHWDLQHGDWQRH[SHQVHWRWKHJRYHUQPHQW
        :LOOHQVXUHFRQVHQWKDVEHHQREWDLQHGSXUVXDQWWR'$)RUPXQGHUDSSURSULDWHFLUFXPVWDQFHVRUSURRI
   RIQRWLFHDQGRUUHDVRQDEOHHIIRUWVKDYLQJEHHQPDGHWRREWDLQFRQVHQWWRWKH)DPLO\FDUHSODQIURPDOOSDUWLHVKDYLQJ
   DOHJDOLQWHUHVWLQWKHFXVWRG\DQGFDUHRIWKHPLQRUFKLOG,IFRQVHQWKDVEHHQGHQLHGWKHFRPPDQGHUZLOOVHHNDGYLFH
   IURPWKHVHUYLFLQJOHJDORIILFHDQGPD\DGYLVHWKH6ROGLHUWRFRQWDFWDOHJDODVVLVWDQFHDWWRUQH\RUDQDWWRUQH\WKH\
   KDYHUHWDLQHGDWQRH[SHQVHWRWKHJRYHUQPHQW
      K7KH,55,QGLYLGXDO0RELOL]DWLRQ$XJPHQWHH6WDQGE\5HVHUYH&DWHJRU\,DQG,,UHWLUHHVDQGLQDFWLYH$51*
   SHUVRQQHOZKRPHHWWKHFULWHULDRXWOLQHGLQSDUDJUDSK±E  WKURXJK±E  DUHUHTXLUHGWRPDLQWDLQYDOLG)DPLO\
   FDUHSODQVWRHQVXUHWKHLUDYDLODELOLW\IRUDFWLYHGXW\GXULQJDPRELOL]DWLRQ7KHUHIRUH²
        7KH&*+5&ZLOOHVWDEOLVKVSHFLILFSURFHGXUHVIRUFRXQVHOLQJVXEPLVVLRQYDOLGDWLRQDQGUHFHUWLILFDWLRQRI
   )DPLO\FDUHSODQVIRU86$5SHUVRQQHODQGFDWHJRU\,DQG,,UHWLUHHV
        7KH&1*%ZLOOHVWDEOLVKVSHFLILFSURFHGXUHVIRUWKHFRXQVHOLQJVXEPLVVLRQYDOLGDWLRQDQGUHFHUWLILFDWLRQRI
   )DPLO\FDUHSODQVIRULQDFWLYH$51*SHUVRQQHO
      L$OOPDUULHG6ROGLHUVZKRKDYH)DPLO\PHPEHUVDUHHQFRXUDJHGWRFRPSOHWHDQGPDLQWDLQD)DPLO\FDUHSODQ
   HYHQLIQRWVSHFLILFDOO\UHTXLUHGWRGRVRE\WKLVUHJXODWLRQ7RGRVRDVVLVWVWKHVSRXVHFRPPDQGHUUHDUGHWDFKPHQW
   FRPPDQGHU)DPLO\DVVLVWDQFHFHQWHURUQH[WRINLQSURYLGLQJFDUHIRUGHSHQGHQW)DPLO\PHPEHUVLQWKHHYHQWWKH
   VSRXVHLVLQMXUHGLOOLQFDSDFLWDWHGRURWKHUZLVHXQDEOHWRSURYLGHFDUHIRUWKHGHSHQGHQW)DPLO\PHPEHU&RXQVHOLQJ
   RIVXFKLVDOVRHQFRXUDJHG
      M6ROGLHUVPXVWXVHWKHXWPRVWFDUHDQGFRQVLGHUDWLRQLQWKHGHVLJQDWLRQRIJXDUGLDQVWRFDUHIRU)DPLO\PHPEHUV
        7KH SDUHQWRIDQ\ PLQRU FKLOGUHQ QRUPDOO\KDVD VXSHULRUULJKWWRWKHFXVWRG\RIWKH PLQRUFKLOGUHQ,IWKH
   6ROGLHUGHVLJQDWHVDQLQGLYLGXDORWKHUWKDQDSDUHQWIRUJXDUGLDQVKLSLQWKH)DPLO\FDUHSODQWKH6ROGLHUPHPEHUPXVW
   DWWHPSWWRWKHJUHDWHVWH[WHQWSRVVLEOHWRREWDLQFRQVHQWIURPWKHSDUHQWWRVXFKGHVLJQDWLRQXVLQJWKH'$)RUP
       D ,I WKLV LQGLYLGXDO GRHV QRW FRQVHQW WKH 6ROGLHU VKRXOG H[SODLQ WKH DEVHQFH RI VXFK FRQVHQW LQ ZULWLQJ DQG
   DFNQRZOHGJHWKHDYDLODELOLW\RIOHJDOFRXQVHOWRGLVFXVVWKHDVVRFLDWHGULVNVDQGWKHEHVWSRVVLEOHFRXUVHVRIDFWLRQ
    LQFOXGLQJWKHSRVVLELOLW\RILQFRUSRUDWLQJWKH)DPLO\FDUHSODQLQWRDWHPSRUDU\RUGHUE\DFRXUWRIFRPSHWHQWMXULV
   GLFWLRQ 
       E :KLOHVXFKFRQVHQWLVQRWELQGLQJXSRQDFRXUWRIODZLWGHPRQVWUDWHVWKHRWKHUSDUHQWLVDZDUHRIWKHFXVWRGLDO
   DUUDQJHPHQWVVHWIRUWKLQWKH)DPLO\FDUHSODQDQGDJUHHVZLWKWKRVHDUUDQJHPHQWV6KRXOGD6ROGLHUGHVLJQDWHDSHUVRQ
   FRQWUDU\WRWKHSURYLVLRQVRIDQH[LVWLQJ)DPLO\ODZOHJDOGRFXPHQW VXFKDVDGLYRUFHGHFUHHFRXUWRUGHURUPDULWDO
   VHSDUDWLRQDJUHHPHQW WKH6ROGLHUVKRXOGVHHNOHJDODVVLVWDQFHWRPRGLI\WKHOHJDOGRFXPHQW
        *XDUGLDQVVKRXOGEHSHUVRQVWRZKRPWKH6ROGLHUZRXOGKDYHQRUHVHUYDWLRQVHQWUXVWLQJWKHWRWDOZHOIDUHRI
   KLVRUKHUFKLOGRURWKHU)DPLO\PHPEHU*XDUGLDQVVKRXOGEHSHUVRQVZKRDUHDEOHWRH[HUFLVHWKDWUHVSRQVLELOLW\RYHU
   H[WHQGHGSHULRGVRIWLPHLIQHFHVVDU\
        6ROGLHUVKDYHWKHUHVSRQVLELOLW\WRWKRURXJKO\EULHIJXDUGLDQVRQDUUDQJHPHQWVPDGHE\WKH6ROGLHUORFDWLRQ
   RIDOOSHUWLQHQWGRFXPHQWVDQGSURFHGXUHVIRUDFFHVVLQJPLOLWDU\DQGFLYLOLDQIDFLOLWLHVVHUYLFHVHQWLWOHPHQWVDQG
   EHQHILWVRQEHKDOIRIWKHGHSHQGHQWDQGHOLJLEOH)DPLO\PHPEHUV*XDUGLDQVVKRXOGEHPDGHDZDUHWKDWVXFKGHVLJ
   QDWLRQGRHVQRWDXWKRUL]HWKHPDFFHVVWRDQ\RIWKHPLOLWDU\IDFLOLWLHVVHUYLFHVHQWLWOHPHQWRUEHQHILWVIRUSHUVRQDO
   XVHEXWRQO\DVWKHDJHQWIRUWKHGHSHQGHQWDQGHOLJLEOH)DPLO\PHPEHUVIRUZKRPWKH\KDYHEHHQGHVLJQDWHGJXDUG
   LDQ6&VDUHDXWKRUL]HGWRLVVXHDJHQWV¶OHWWHUVWRGHVLJQDWHGJXDUGLDQVXSRQUHTXHVWDQGSUHVHQWDWLRQRISURSHUGRFX
   PHQWDWLRQ VXFKDV'$)RUP'$)RUPFKLOGUHQ¶VLGHQWLILFDWLRQFDUGVRUDSSOLFDWLRQIRUVDPH 
        ,IWKHJXDUGLDQLVORFDWHGLQDQRYHUVHDVDUHDRWKHUWKDQZKHUHWKH6ROGLHULVVWDWLRQHGWKH)DPLO\PHPEHU¶V
   DWWHQGDQFHDW'R'GHSHQGHQWVFKRROVDQGRWKHUVFKRROVPD\UHTXLUHDQH[FHSWLRQWRSROLF\EHFDXVHRIWKHODFNRI
   FRPPDQGVSRQVRUVKLS7KH6ROGLHUDQGRUJXDUGLDQPXVWUHTXHVWWKHH[FHSWLRQLWLVQRWDXWRPDWLF
        6ROGLHUVPXVWDWWHPSWWRWKHJUHDWHVWH[WHQWSRVVLEOHWRLQIRUPWKHQRQFXVWRGLDOELRORJLFDORUDGRSWLYHSDUHQW
   RIKLVRUKHUFKLOGUHQDVDSSOLFDEOHDQGDVIDULQDGYDQFHDVSUDFWLFDEOHRIKLVRUKHULPSHQGLQJDEVHQFHGXHWRPLOLWDU\
   RUGHUV
      N7KHIROORZLQJSURFHGXUHVZLOOEHXVHGIRUFRPSOHWLQJ'$)RUPDQG'$)RUP)RUDOODVVLJQPHQWV
   &2186DQG2&2186




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        7KH'$)RUPZLOOEHXVHGIRUFRXQVHOLQJ6ROGLHUVZKRIDOOLQWRFDWHJRULHVRXWOLQHGLQSDUDJUDSK±E
   DVVRRQDVSRVVLEOHXSRQDUULYDODWWKHXQLWRIDVVLJQPHQWDQGLWZLOOEHLQLWLDOHGDQGVLJQHG²
       D 'XULQJXQLWLQSURFHVVLQJDIWHUDQ\HYHQWUHTXLULQJFRPSOHWLRQRID)DPLO\FDUHSODQRUDWSUHGHSOR\PHQW
   SURFHVVLQJ
       E %\SUHJQDQW6ROGLHUVQRODWHUWKDQGD\VSULRUWRWKHH[SHFWHGGDWHRIELUWKRIWKHFKLOG
       F %\VLQJOHSDUHQWVSDUHQWVH[HUFLVLQJFXVWRG\SXUVXDQWWRDFRXUWRUGHURUPDULWDOVHSDUDWLRQDJUHHPHQWSDUHQWV
   UHVLGLQJDSDUWIURPWKHLUVSRXVHDQGGXDOPLOLWDU\FRXSOHVZLWK)DPLO\PHPEHUV
       G %\ ERWK PHPEHUV RI WKH GXDOPLOLWDU\ FRXSOH DQG WKH UHVSHFWLYH FRPPDQGHUV RU GHVLJQDWHG UHSUHVHQWDWLYH
    7KLVDVVXUHVERWKXQLWFRPPDQGHUVWKDW6ROGLHUVDQGWKHLUPLOLWDU\VSRXVHVKDYHPDGHQHFHVVDU\DUUDQJHPHQWVIRU
   WKHHVFRUWWHPSRUDU\DQGSULPDU\JXDUGLDQVKLSUHVSRQVLELOLWLHVIRU)DPLO\PHPEHU'XDOPLOLWDU\FRXSOH6ROGLHUV
   ZLWK)DPLO\PHPEHUVZLOOEHFRXQVHOHGWRJHWKHUZKHQSUDFWLFDEOH 
       H %\WKHXQLWFRPPDQGHURUDGHVLJQDWHGUHSUHVHQWDWLYHDQGKHOGLQWKHXQLWVXVSHQVHILOHVSHQGLQJFRPSOHWLRQ
   RI'$)RUP ,WZLOOEHUHWXUQHGWRWKH6ROGLHUZKHQQRORQJHUQHHGHGIRUVXVSHQVHDFWLRQ 
        7KH'$)RUPZLOOEH²
       D &RPSOHWHGDQGDSSURYHGZLWKLQGD\VIRU5$6ROGLHUVDQGGD\VIRU$51*DQG86$56ROGLHUVIURPWKH
   GDWHRIFRXQVHOLQJ
       E 6LJQHGE\ERWKPHPEHUVRIDGXDOPLOLWDU\FRXSOHDQGLISRVVLEOHE\ERWKFRPPDQGHUV7KHVDPHSODQVKRXOG
   EHVXEPLWWHGE\ERWKPHPEHUVRIWKHGXDOPLOLWDU\FRXSOHDQGQHLWKHUPHPEHUVKRXOGEHLGHQWLILHGLQWKHSODQDVWKH
   WHPSRUDU\RUORQJWHUPJXDUGLDQ2QFHERWKFRPPDQGHUVKDYHDSSURYHGDQGVLJQHGWKHSODQWKHFRPPDQGHUZKRVH
   6ROGLHULVOHDVWOLNHO\WRGHSOR\VKRXOGUHWDLQWKHRULJLQDOSODQDQGIRUZDUGDFRS\RIWKHFRPSOHWHSODQWRWKHRWKHU
   FRPPDQGHU,IERWKPHPEHUVDUHHTXDOO\OLNHO\WRGHSOR\EXWRQHLVD6ROGLHUDQGWKHVSRXVHLVDPHPEHURIDQRWKHU
   6HUYLFHWKHRULJLQDOSODQVKRXOGEHNHSWRQILOHLQWKH6ROGLHU¶VXQLWDQGDFRS\IRUZDUGHGWRWKHVSRXVH¶VXQLW,IERWK
   DUH6ROGLHUVDQGHTXDOO\OLNHO\WRGHSOR\LWLVLQFRQVHTXHQWLDOZKLFKFRPPDQGHUKDVWKHRULJLQDOFRS\RIWKHSODQ
       F 5HFHUWLILHGDWOHDVWDQQXDOO\E\LQLWLDOLQJDQGGDWLQJWKH'$)RUP7KLVPXVWEHGRQHGXULQJWKHDQQLYHU
   VDU\RIWKH6ROGLHU¶VELUWKPRQWKDIWHUDQ\FKDQJHRIFLUFXPVWDQFHUHTXLULQJDFKDQJH LQWKH)DPLO\FDUHSODQRU
   ZKHQHYHUWKH6ROGLHULVPRELOL]HGGHSOR\HGRUSURFHVVHGIRUSUHGHSOR\PHQW&RPPDQGHUVVKRXOGHQVXUHWKDWDOO
   LQIRUPDWLRQLVFXUUHQWDQGDOOGRFXPHQWVDUHVWLOOXSWRGDWHDQGOHJDOO\YDOLG
        2&2186DVVLJQPHQWDQGGHSOR\PHQWSURFHGXUHVDUHDVIROORZV
       D $OO6ROGLHUVLQFDWHJRULHVRXWOLQHGLQ SDUDJUDSK±EZKRUHFHLYHDVVLJQPHQWLQVWUXFWLRQVIRUDQ2&2186
   DVVLJQPHQWZLOOEHFRXQVHOHGDJDLQDQGKDYHWKHLU'$)RUPUHFHUWLILHGQRODWHUWKDQGD\VEHIRUHWKHILQDO
   RXWSURFHVVLQJGDWHDWWKHORVLQJLQVWDOODWLRQ,IDQDGHTXDWH)DPLO\FDUHSODQLVQRWVXEPLWWHGZLWKLQGD\VWKH
   6ROGLHULVQRWFRQVLGHUHGGHSOR\DEOHZLOOQRWGHSDUWWKHFRPPDQGDQGWKHFRPPDQGHUZLOOFRQVLGHULQLWLDWLQJLQYRO
   XQWDU\VHSDUDWLRQSURFHHGLQJ$FRS\RIWKHDSSURYHG'$)RUPZLOOEHILOHGLQWKH6ROGLHU¶VRXWSURFHVVLQJILOH
   7KHORVLQJXQLWFRPPDQGHUZLOOUHWDLQDFRS\IRUGD\VDIWHUWKH6ROGLHUGHSDUWV
       E 6ROGLHUVZLOODUUDQJHIRUDQHVFRUWDQGWUDQVSRUWDWLRQIRU)DPLO\PHPEHUVDQGDJXDUGLDQLQ&2186RU8QLWHG
   6WDWHVWHUULWRU\WRFDUHIRUWKHLU)DPLO\PHPEHUVLQWKHHYHQWWKHLU)DPLO\PHPEHUVDUHHYDFXDWHGIURP2&2186,I
   QRQFRPEDWDQW HYDFXDWLRQ RSHUDWLRQ SURFHGXUHV DUH QRW LQLWLDWHG DQG 6ROGLHUV DUH DOHUWHG IRU GHSOR\PHQW 6ROGLHUV
   UHVLGLQJLQJRYHUQPHQWTXDUWHUVPD\UHTXHVWDSSURYDOIRUJXDUGLDQVWRUHVLGHLQWKRVHTXDUWHUVLQWKHLUDEVHQFH1RQ
   FRPEDWDQWHYDFXDWLRQRSHUDWLRQVWDQGLQJRSHUDWLRQVVKRXOGPDNHPD[LPXPXVHRI)DPLO\FDUHSODQVWRHQVXUHVXF
   FHVVIXORSHUDWLRQV6ROGLHUVPD\DOVRUHTXHVWWKDWWKH\DVDVLQJOHSDUHQWRURQHPHPEHURIDGXDOPLOLWDU\FRXSOHEH
   DXWKRUL]HGWRSHUVRQDOO\HVFRUW)DPLO\PHPEHUVEDFNWR&2186ORFDWHGJXDUGLDQ7KH\ZLOOEHJLYHQWKHRSSRUWXQLW\
   SURYLGHGWLPHDOORZVDQGDGYDQFHGUHWXUQRUHDUO\UHWXUQRI)DPLO\PHPEHUSDSHUZRUNLVLQLWLDWHGSHUORFDOFRPPDQG
   SROLFHVWKH-RLQW7UDYHO5HJXODWLRQDQG'HSDUWPHQWRI'HIHQVH)RUHLJQ&OHDUDQFH*XLGHJXLGDQFH
       F 6ROGLHUVXQDEOHWRSURYLGHWKHXQLWFRPPDQGHUZLWKWKHUHTXLUHG'$)RUPDQGDWWHQGDQWGRFXPHQWVZLOO
   EHLQHOLJLEOHIRURYHUVHDVDVVLJQPHQW7KH\VKRXOGEHFRQVLGHUHGIRUSURFHVVLQJIRUVHSDUDWLRQIURPWKH$UP\3ROLFLHV
   UHJDUGLQJHOLJLELOLW\IRURYHUVHDVDVVLJQPHQWDUHFRQWDLQHGLQ$5 ± 
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       G (QOLVWHG6ROGLHUVZLWKRXWDGHTXDWH)DPLO\FDUHSODQVVKRXOGEHFRQVLGHUHGIRUVHSDUDWLRQSURFHVVLQJE\WKHLU
   XQLWFRPPDQGHUV
       H 7KH86$56ROGLHUVSHUIRUPLQJGXW\RQDQDFWLYHGXW\VWDWXV DQQXDOWUDLQLQJDFWLYHGXW\IRUWUDLQLQJDFWLYH
   GXW\IRUVSHFLDOZRUNWHPSRUDU\WRXURIDFWLYHGXW\DQG$*5 2&2186ZLOOUHFHUWLI\'$)RUPZLWKDWWHQGDQW
   GRFXPHQWVEHIRUHHPEDUNDWLRQWRVKRZWKDWDGHTXDWHFDUHIRUWKHLU)DPLO\PHPEHUVKDVEHHQSURYLGHGIRUGXULQJ
   WKHLUDEVHQFHDQGLQWKHHYHQWWKDWWKHLUUHWXUQWR&2186LVGHOD\HG6ROGLHUVXQDEOHWRSURYLGHWKHUHTXLUHGGRFX
   PHQWDWLRQZLOOQRWGHSOR\WRSHUIRUPDQQXDOWUDLQLQJ2&2186
      O'$)RUPZLWKDWWDFKPHQWVZLOOEHILOHGLQWKHXQLWILOHVDQGGHVWUR\HGGD\VDIWHUWKH6ROGLHUGHSDUWVRQ
   3&6RUGHUV,Q&2186DQG2&2186LIWKH3&6PRYHLVD³VDPHLQVWDOODWLRQPRYHDQGWKH6ROGLHUFDQPDLQWDLQ
   WKHVDPH)DPLO\FDUHSODQWKH6ROGLHUZLOOEHDOORZHGWRWDNHWKHRULJLQDO'$)RUPWRWKHJDLQLQJXQLWDQGQHHG



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   QRWJHQHUDWH D QHZ'$)RUP7KH JDLQLQJFRPPDQGHUVKRXOGFHUWLI\WKHH[LVWLQJ'$ )RUPZKHQWKH
   6ROGLHUDUULYHVLQWKHQHZXQLW
        3URYLGHDFRS\RIWKH'$)RUPWRWKH6ROGLHUGXDOPLOLWDU\FRXSOHVSRXVHDQGGXDOPLOLWDU\VSRXVH¶V
   FRPPDQGHU
        3ODFHDFRS\RIWKH'$)RUPLQWKHRXWSURFHVVLQJUHFRUGWKDWDFFRPSDQLHVWKHGHSDUWLQJ6ROGLHUWRWKH
   JDLQLQJXQLW
        (QVXUHWKDWLQWKHHYHQWRIGHSOR\PHQWWKH)DPLO\FDUHSODQILOHVUHPDLQZLWKWKHUHDUGHWDFKPHQWRULIQR
   UHDUGHWDFKPHQWUHPDLQVZLWKWKH)DPLO\DVVLVWDQFHFHQWHUVHUYLFLQJWKHGHSDUWLQJXQLW$51*DQG86$5FRPPDQG
   HUVZLOOHQVXUH)DPLO\FDUHSODQILOHVDUHWUDQVIHUUHGWR-)+4RUWKH56&EHIRUHGHSDUWLQJKRPHVWDWLRQ
      P$FRS\RI'$)RUPZLWKFRSLHVRI'$)RUPDQG'$)RUPDQGRURWKHUDSSURSULDWH GRFX
   PHQWVZLOOEHSURYLGHGWRWKH&KLOGDQG<RXWK6HUYLFHV3URJUDPLIWKH&KLOGDQG<RXWK6HUYLFHVFHUWLILHG)DPLO\
   FKLOGFDUHSURYLGHULVGHVLJQDWHGDVWHPSRUDU\JXDUGLDQ$5 ± UHTXLUHVWKDWDFRS\RI'$)RUPEHRQILOH
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   DWWKHPLOLWDU\&KLOG'HYHORSPHQW&HQWHULIWKH6ROGLHU¶V)DPLO\PHPEHUVDUHHQUROOHGLQWKHGD\FDUHRUH[WHQGHG
   FDUHSURJUDP
      Q&RPPDQGHUVDQGVXSHUYLVRUVZLOOVWUHVVWKHREOLJDWLRQRI6ROGLHUVWRERWKWKHPDQGWRWKHLU)DPLO\PHPEHUV
   0RUHRYHUWKH\ZLOOHQVXUH6ROGLHUVXQGHUVWDQGWKH\ZLOOQRWUHFHLYHVSHFLDOFRQVLGHUDWLRQLQGXW\DVVLJQPHQWVRUGXW\
   VWDWLRQVEDVHGRQWKHLUUHVSRQVLELOLWLHVIRU)DPLO\PHPEHUVXQOHVVHQUROOHGLQWKH([FHSWLRQDO)DPLO\0HPEHU3UR
   JUDP VHH$5 ± IRUPRUHLQIRUPDWLRQ 
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      R&RPPDQGHUVZLOOHQFRXUDJH6ROGLHUVWRFRQVXOWZLWKDOHJDODVVLVWDQFHDWWRUQH\DERXWKDYLQJDZLOOSUHSDUHG
   7KH)DPLO\FDUHSODQGRHVQRWUHTXLUHDZLOODQG6ROGLHUVZLOOQRWEHRUGHUHGWRREWDLQDZLOO:KHQDZLOOLVSUHSDUHG
   LWZLOOQRWEHUHWDLQHGLQWKHXQLWILOHV6ROGLHUVZLOOEHHQFRXUDJHGEXWQRWUHTXLUHGWRHQVXUHWKDWLQIRUPDWLRQUHJDUG
   LQJWKHORFDWLRQRID6ROGLHU¶VZLOOLVFRQWDLQHGLQWKH)DPLO\FDUHSODQ
      S&RPPDQGHUVZLOOHQVXUHWKDW6ROGLHUVZKRDUHUHTXLUHGWRKDYHD)DPLO\FDUHSODQLQDFFRUGDQFHZLWKSDUDJUDSK
   ±EFRPSO\ZLWKWKHUHTXLUHPHQW&RPPDQGHUVZLOOXWLOL]H$UP\KXPDQUHVRXUFHVGDWDV\VWHPVVXFKDVWKHHOHF
   WURQLFPLOLWDU\SHUVRQQHORIILFHWKH86$5$XWRPDWLRQ6\VWHPWKH,QWHJUDWHG3HUVRQQHODQG3D\6\VWHP$UP\DQG
   RWKHUKXPDQUHVRXUFHFRPSXWHUL]HGV\VWHPVLQDGGLWLRQWRORFDOXQLWUHFRUGVWRLGHQWLI\6ROGLHUVUHTXLUHGWRKDYHD
   )DPLO\FDUHSODQ
      T0D[LPXPIHDVLEOHWHVWLQJRIWKHYDOLGLW\DQGGXUDELOLW\RI)DPLO\FDUHSODQVZLOOEHDFFRPSOLVKHG IRUH[DPSOH
   GXULQJH[HUFLVHVDOHUWVSUHGHSOR\PHQWSURFHVVLQJPRELOL]DWLRQGHSOR\PHQWDQQXDOWUDLQLQJDQGRWKHUXQLWDFWLYL
   WLHV WRHQVXUHLQIRUPDWLRQLQD6ROGLHU¶V'$)RUPLVDFFXUDWHFXUUHQWDQGH[HFXWDEOH)DPLO\FDUHSODQVIRXQG
   WREHLQYDOLGGXULQJWKHDERYHWHVWLQJZLOOEHUHYLVHGUHFHUWLILHGZLWKLQGD\VRIWKHILQGLQJ)RU$51*DQG86$5
   6ROGLHUVLWZLOOEHUHYLVHGUHFHUWLILHGZLWKLQGD\VXQOHVVPRELOL]DWLRQPLVVLRQUHTXLUHPHQWVSUHFOXGHDXWKRUL]LQJ
   WKDWDPRXQWRIWLPH
      U$VUHTXHVWHGE\WKHFRPPDQGHUVRU6ROGLHUV)DPLO\UHDGLQHVVVHUYLFHVSURYLGHDVVLVWDQFHLQGHYHORSLQJ)DPLO\
   FDUHSODQVLQDFFRUGDQFHZLWK'R',

   ±&RPPDQGDVSHFWVRIPHGLFDOUHDGLQHVVDQGPHGLFDOFDUH
   7KHSURSRQHQWIRUSUHYHQWLRQDJDLQVWGLVHDVHDQGLQMXU\LVWKH276*+RZHYHUFRPPDQGHUVDWDOOOHYHOVDUHUHVSRQ
   VLEOHDQGDFFRXQWDEOHIRUWKHKHDOWKRIWKHLUFRPPDQGLQDFFRUGDQFHZLWK$5 ± DQG'$3DP ± 5ROHVRIWKH
                                                                                                             




   FRPPDQGHUZLWKUHVSHFWWRPHGLFDOUHDGLQHVVDQGPHGLFDOFDUHLQFOXGHWKHIROORZLQJ²
      D3UHYHQWLYHPHGLFLQH(QVXUHWKDWWKHKHDOWKRIDOOSHUVRQQHOLQWKHLUFRPPDQGLVVXVWDLQHGDQGSURWHFWHGLQDOO
   PLOLWDU\DFWLYLWLHVWKURXJKDJJUHVVLYHLPSOHPHQWDWLRQRISUHYHQWLYHPHGLFLQHDFWLYLWLHV&RPPDQG3UHYHQWLYH0HGL
   FLQH3URJUDPUHVSRQVLELOLWLHVLQFOXGH²
        7UDLQLQJRQSUHYHQWLRQRIGLVHDVHDQGLQMXU\ DVGHWHUPLQHGE\WKHFRPPDQGHU 
        +D]DUGFRQWURO
        3URSHUXVHRISHUVRQDOSURWHFWLYHPHDVXUHVDQGSURWHFWLYHFORWKLQJDQGHTXLSPHQW
        ,PPXQL]DWLRQDQGFKHPRSURSK\OD[LV
        +HDOWKULVNDQGKD]DUGFRPPXQLFDWLRQ
        :RUNVLWHRFFXSDWLRQDOKHDOWKDQGHQYLURQPHQWDOKHDOWKVXUYHLOODQFH
        :RUNSODFHYLROHQFHSUHYHQWLRQ
        ,QFRUSRUDWLRQRIHOHPHQWVRISUHYHQWLYHPHGLFLQHLQWRFRQWLQJHQF\DQGRSHUDWLRQDOSODQV
      E,PSURYLQJDQGVXVWDLQLQJ3URYLGHOHDGHUVKLSDQGSHUVRQDOH[DPSOHLQLPSURYLQJDQGVXVWDLQLQJLQGLYLGXDODQG
   XQLWKHDOWKDQGILWQHVV
      F5LVNPDQDJHPHQW0LQLPL]HKHDOWKULVNVXVLQJ$UP\FRPSRVLWHULVNPDQDJHPHQWSULQFLSOHV
      G&RPPDQGHUV¶UHVSRQVLELOLWLHVZLWKUHVSHFWWRPHGLFDOUHDGLQHVV6HH$5 ± DQG'$3DP ± IRUUHIHU
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   HQFH&RPPDQGHUVDUHUHVSRQVLEOHWR²



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                                                 $5±-XO\                                                 
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        &RQWLQXRXVO\ PHDVXUH DQGDVVHVVWKH PLVVLRQUHDGLQHVVVWDWXVRIWKHLUXQLWVRURUJDQL]DWLRQV IRUVLJQLILFDQW
   FKDQJHV VHH$5 ±       




        (QVXUH6ROGLHUV¶PHGLFDOILWQHVVVWDQGDUGVDUHPHWIRUWKHSXUSRVHVRIDSSOLFDWLRQWRFRXUVHVFRQWLQXDWLRQLQ
   WKHLU026VIRUJHRJUDSKLFDODUHDDVVLJQPHQWVDQGIRUGHSOR\PHQW
        $VVHVV6ROGLHUV¶SK\VLFDOSURILOHVDQGDVVLJQPHQWOLPLWDWLRQVDJDLQVWWKHGXWLHVRIWKHLUJUDGHVDQG026VDQG
   GHWHUPLQHLQGLYLGXDODVVLJQPHQWRUGXWLHVWREHSHUIRUPHGWRLQFOXGHGHSOR\PHQW5HTXHVWUHYLHZVDQGUHFRQVLGHUD
   WLRQVRISK\VLFDOSURILOHVLQRUGHUWRGHWHUPLQHWKHPRVWDSSURSULDWHVWDWXVIRUDYDLODELOLW\DQGGHSOR\DELOLW\ VHH'$
   3DP ±  
               




        (QVXUH6ROGLHUVFRPSOHWHDQQXDOSHULRGLFKHDOWKDVVHVVPHQWVDQGGHSOR\PHQWUHODWHGKHDOWKDVVHVVPHQWV
      H1HFHVVDU\PHGLFDOFDUH$6ROGLHURQDFWLYHGXW\RUDFWLYHGXW\IRUWUDLQLQJZLOOXVXDOO\EHUHTXLUHGWRVXEPLW
   WRPHGLFDOFDUHFRQVLGHUHGQHFHVVDU\WRSUHVHUYHKLVRUKHUOLIHDOOHYLDWHXQGXHVXIIHULQJRUSURWHFWRUPDLQWDLQWKH
   KHDOWKRIRWKHUV&RPPDQGHUVPD\RUGHUWKHH[DPLQDWLRQRIDQ\6ROGLHULQWKHLUFRPPDQGZKHQZDUUDQWHGIRUGHWHU
   PLQLQJD6ROGLHU¶VILWQHVVWRSHUIRUPWKHLUPLOLWDU\GXWLHVZLWKRUZLWKRXWOLPLWDWLRQVLQFOXGLQJDVVLJQPHQWRUGH
   SOR\PHQWWRFHUWDLQJHRJUDSKLFDUHDV$GHWHUPLQDWLRQLIKRVSLWDOL]DWLRQRIWKH6ROGLHULVDSSURSULDWHZLOOEHPDGHE\
   PLOLWDU\PHGLFDOSURYLGHUV
      I%HKDYLRUDOKHDOWKHYDOXDWLRQUHTXLUHPHQWV:KHQDFRPPDQGHUGHWHUPLQHVLWLVQHFHVVDU\WRUHIHUD6ROGLHUIRU
   DEHKDYLRUDOKHDOWKHYDOXDWLRQLWLVWKHFRPPDQGHU VUHVSRQVLELOLW\WRHQVXUHFRPSOLDQFHZLWKWKHDGPLQLVWUDWLYHSUR
   YLVLRQVRI'R',ZKLFKHVWDEOLVKSURFHGXUHVWRSURWHFWWKHULJKWVRI6ROGLHUVWRLQFOXGHZKLVWOHEORZHUSURWHF
   WLRQV 'R',  DVVLJQV UHVSRQVLELOLW\ DQG SUHVFULEHVSURFHGXUHV IRU FRPPDQGHUV IRU WKH UHIHUUDO HYDOXDWLRQ
   WUHDWPHQWDQGDGPLQLVWUDWLYHPDQDJHPHQWRI6ROGLHUVZKRPD\UHTXLUHEHKDYLRUDOKHDOWKHYDOXDWLRQSV\FKLDWULFKRV
   SLWDOL]DWLRQDQGRUDVVHVVPHQWRIULVNIRUSRWHQWLDOO\GDQJHURXVEHKDYLRU
      J&RPPDQGDXWKRULW\PHGLFDOFDUHZLWKRUZLWKRXWWKH6ROGLHU¶VSHUPLVVLRQ
        (PHUJHQF\PHGLFDOFDUH(PHUJHQF\PHGLFDOFDUHGHILQHGDVLPPHGLDWHLQWHUYHQWLRQWRSUHYHQWWKHORVVRI
   OLIHOLPEVLJKWRUERG\WLVVXHRUWRSUHYHQWXQGXHVXIIHULQJPD\EHSHUIRUPHG7KLVLVGHWHUPLQHGE\WKHDWWHQGLQJ
   SK\VLFLDQ
        ,PPXQL]DWLRQV&RPPDQGHUVZLOOHQVXUHWKDW6ROGLHUVDUHFRQWLQXDOO\HGXFDWHGFRQFHUQLQJWKHLQWHQWDQGUD
   WLRQDOHEHKLQGERWKURXWLQHDQGWKHDWHUVSHFLILFRUWKUHDWVSHFLILFPLOLWDU\LPPXQL]DWLRQUHTXLUHPHQWV,PPXQL]DWLRQV
   UHTXLUHGE\$5 ± RURWKHUOHJDOGLUHFWLYHPD\EHJLYHQLQYROXQWDULO\ H[FHSWDVSUHVFULEHGLQSDUD± RUSDUD
                                                                                                                      




   3±EUHJDUGLQJUHOLJLRXVDFFRPPRGDWLRQ 7KHLQWHQWRIWKLVDXWKRUL]DWLRQLVWRSURWHFWWKHKHDOWKDQGRYHUDOOHIIHF
   WLYHQHVVRIWKHFRPPDQGDVZHOODVWKHKHDOWKDQGPHGLFDOUHDGLQHVVRIWKHLQGLYLGXDO6ROGLHU,QFDVHVZKHUHLQYRO
   XQWDU\LPPXQL]DWLRQLVEHLQJFRQVLGHUHGWKHIROORZLQJSURFHGXUHVDQGOLPLWDWLRQVDSSO\
       D 8QGHUQRUPDOFLUFXPVWDQFHVDFWLRQVZLOOQRWEHWDNHQWRLQYROXQWDULO\LPPXQL]H6ROGLHUV,ID6ROGLHUGHFOLQHV
   WREHLPPXQL]HGWKHFRPPDQGHUZLOO²
      (QVXUHWKDWWKH6ROGLHUXQGHUVWDQGVWKHSXUSRVHRIWKHYDFFLQH
      (QVXUHWKDWWKH6ROGLHUKDVEHHQDGYLVHGRIWKHSRVVLELOLW\WKDWWKHGLVHDVHPD\EHQDWXUDOO\SUHVHQWLQDSRVVLEOH
   DUHDRIRSHUDWLRQRUPD\EHXVHGDVDELRORJLFDOZHDSRQDJDLQVWWKH8QLWHG6WDWHVDQGLWVDOOLHV
      (QVXUHWKDWWKH6ROGLHULVHGXFDWHGDERXWWKHYDFFLQHDQGKDVEHHQDEOHWRGLVFXVVDQ\REMHFWLRQVZLWKPHGLFDO
   DXWKRULWLHV
      &RXQVHOWKH6ROGLHULQZULWLQJWKDWKHRUVKHLVOHJDOO\UHTXLUHGWREHLPPXQL]HGWKDWLIWKH6ROGLHUFRQWLQXHV
   WRUHIXVHWREHLPPXQL]HGWKDWKHRUVKHZLOOEHOHJDOO\RUGHUHGWRGRVRDQGWKDWIDLOXUHWRREH\WKHRUGHUPD\UHVXOW
   LQ8&0-DQGRUDGPLQLVWUDWLYHDFWLRQIRUIDLOXUHWRREH\DODZIXORUGHU 8&0-$UW DVGHHPHGDSSURSULDWHE\
   WKHFRPPDQGHU
      2UGHUWKH6ROGLHUWRUHFHLYHWKHLPPXQL]DWLRQ
       E ,IDIWHUDQ\RIWKHVWHSVOLVWHGLQSDUDJUDSK±J  D D6ROGLHUHOHFWVWREHLPPXQL]HGDGYHUVHDFWLRQZLOO
   QRWQRUPDOO\EHWDNHQEDVHGVROHO\RQWKHLQLWLDOGHFOLQDWLRQ
       F :KHQD*&0&$RUWKHGHOHJDWHGUHSUHVHQWDWLYHGHWHUPLQHVWKDWFRQGLWLRQVRILPPLQHQWWKUHDWH[LVW ZKHUHWKH
   WKUHDWRIQDWXUDOO\RFFXUULQJGLVHDVHRUXVHRIELRORJLFDOZHDSRQVLVUHDVRQDEO\SRVVLEOH 6ROGLHUVPD\EHLQYROXQWDU
   LO\LPPXQL]HG,QYROXQWDU\LPPXQL]DWLRQ V ZLOOQRWEHRUGHUHGE\DFRPPDQGHUEHORZWKH*&0&$XQOHVVDXWKRULW\
   WRGRVRKDVEHHQSURSHUO\GHOHJDWHGE\WKH*&0&$3ULRUWRRUGHULQJLQYROXQWDU\LPPXQL]DWLRQVDOORIWKHVWHSV
   RXWOLQHGLQSDUDJUDSK±J  D VKRXOGEHIROORZHGDQGGRFXPHQWHGVLWXDWLRQSHUPLWWLQJ,QSHUIRUPLQJWKLVGXW\
   XQLWSHUVRQQHOZLOORQO\XVHWKHDPRXQWRIIRUFHQHFHVVDU\WRDVVLVWPHGLFDOSHUVRQQHOLQDGPLQLVWHULQJWKHLPPXQL]D
   WLRQ
        ,VRODWLRQDQGTXDUDQWLQH,VRODWLRQDQGTXDUDQWLQHIRUFDVHVRIVXVSHFWHGRUSURYHQFRPPXQLFDEOHGLVHDVHPD\
   EHDSSURSULDWH
        'HWHQWLRQ'HWHQWLRQRQFORVHGZDUGVPD\EHUHTXLUHGZKHQQHHGHGWRHQVXUHSURSHUPHGLFDOVXSHUYLVLRQRU
   WRSURWHFWWKH6ROGLHURURWKHUVIURPKDUPIXODFWV



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        0HGLFDOFDUHIRUEHKDYLRUDOGLVRUGHUV0HGLFDOFDUHUHODWHGWRWKHEHKDYLRUDOGLVRUGHUVRI6ROGLHUVZKRDUH
   IRXQGLQFRPSHWHQWE\DPHGLFDOERDUGPD\EHJLYHQSURYLGHGOLIHRUKHDOWKLVQRWOLNHO\WREHHQGDQJHUHGE\VXFK
   SURFHGXUHVRUFDUH 7KLVSURYLVLRQDOVRDSSOLHVLIWKH6ROGLHULVEHOLHYHGLQFRPSHWHQWDQGPHGLFDOERDUGDFWLRQLV
   SHQGLQJ 7KHVH6ROGLHUVPD\DOVREHJLYHQURXWLQHPHGLFDOFDUHQHHGHGWRWUHDWPLQRUDLOPHQWV
        'LDJQRVWLFPHGLFDOFDUH0HGLFDOFDUHRIDGLDJQRVWLFQDWXUHPD\EHXQGHUWDNHQLQRUGHUWRGHWHUPLQHZKHWKHU
   DVLWXDWLRQH[LVWVWKDWZRXOGDXWKRUL]HRWKHUPHGLFDOFDUHWREHSHUIRUPHG
        3K\VLFDODQGRWKHUH[DPLQDWLRQV3K\VLFDOH[DPLQDWLRQVDQGDVVRFLDWHGSURFHGXUHVDQGGHQWDORUUDGLRORJLFDO
   H[DPLQDWLRQVPD\EHUHTXLUHGZKHQRQHRUPRUHRIWKHIROORZLQJDSSO\
       D 5HTXLUHGE\ODZRUUHJXODWLRQ
       E $XWKRUL]HGWREHSHUIRUPHGZLWKRXWFRQVHQWE\ODZRURWKHUUHJXODWLRQV
       F 'LUHFWHGE\DQLQGLYLGXDO¶VFRPPDQGHURURWKHUDSSURSULDWHRIILFLDOLQRUGHUWRGHWHUPLQHWKHLQGLYLGXDO¶VILW
   QHVVIRUGXW\
        2EWDLQLQJHYLGHQFH1RWKLQJLQWKLVSDUDJUDSKOLPLWVWKHDXWKRULW\RIDSSURSULDWHRIILFLDOVWRRUGHUWKHSHUIRU
   PDQFHRIPHGLFDOSURFHGXUHVIRUWKHSXUSRVHRIREWDLQLQJHYLGHQFHZLWKRXWWKHFRQVHQWRIWKHLQGLYLGXDOFRQFHUQHG
   DQGZLWKRXWERDUGDFWLRQLQFDVHVZKHUHVXFKSURFHGXUHVDUHDXWKRUL]HGXQGHURWKHUUHJXODWLRQVRUWKH0LOLWDU\5XOHV
   RI(YLGHQFH 05( 0&0
      K5HIXVDOWRVXEPLWWRPHGLFDOFDUHRWKHUWKDQFDUHGHVFULEHGLQSDUDJUDSK±J
        6ROGLHUVZKRUHIXVHWRVXEPLW RUZKRVHFRXUWDSSRLQWHGJXDUGLDQRURWKHUOHJDOUHSUHVHQWDWLYHREMHFWV WRUHF
   RPPHQGHGPHGLFDOFDUHZLOOEHUHIHUUHGWRDPHGLFDOERDUG
        6ROGLHUVZLOOEHUHIHUUHGWRDPHGLFDOERDUGLIWKH\UHIXVHWRVXEPLWWRGHQWDOFDUHDQGRUUDGLRJUDSKLF ;UD\ 
   SURFHGXUHVGHHPHGQHFHVVDU\E\WKHLQVWDOODWLRQGHQWDOVXUJHRQWRFUHDWHGHQWDOUHFRUGDQGSDQRJUDSKLFUHFRUGVRIWKH
   RUDOGHQWLWLRQWR²
       D $LGLQUHPDLQVLGHQWLILFDWLRQ
       E 7UHDWGHQWDOFRQGLWLRQVMXGJHGWREHSUHMXGLFLDOWRPLOLWDU\RSHUDWLRQVRUGHSOR\PHQWEHFDXVHWKH\UHTXLUHXU
   JHQWRUHPHUJHQWGHQWDOWUHDWPHQWRUDUHH[SHFWHGWRUHTXLUHXUJHQWRUHPHUJHQWWUHDWPHQWZLWKLQWKHQH[WPRQWKV
        :KHQD6ROGLHUUHIXVHVWRVXEPLWWRUHFRPPHQGHGFDUHEHFDXVHRIUHOLJLRXVSUDFWLFHVWKHSURYLVLRQVRISDUD
   JUDSK ± DSSO\
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      L0HGLFDOERDUGSURFHHGLQJVZKHQPHGLFDOFDUHRWKHUWKDQFDUHGHVFULEHGLQSDUDJUDSKJLVUHIXVHGIRURWKHU
   WKDQUHOLJLRXVUHDVRQV
        7KH%'(FRPPDQGHUZLOOFRQYHQHDPHGLFDOERDUGWRDVVHVVDQ\UHTXHVWWRZLWKKROGUHFRPPHQGHGPHGLFDO
   WUHDWPHQWIRURWKHUWKDQUHOLJLRXVUHDVRQVUHIXVDORIPHGLFDOFDUHRQWKHJURXQGVRIUHOLJLRQZLOOEHKDQGOHGLQDF
   FRUGDQFH ZLWK DSSHQGL[ 3 7KH ERDUG ZLOO EH FKDLUHG E\ D 0HGLFDO &RUSV RIILFHU DQG VKRXOG LQFOXGH DW OHDVW RQH
   PHPEHUZLWKPHGLFDOH[SHUWLVHUHJDUGLQJWKHPHGLFDOFDUHEHLQJFRQVLGHUHG$OOERDUGPHPEHUVZLOOEHRIILFHUVRU
   IXOOWLPHHPSOR\HHVRIWKH)HGHUDO*RYHUQPHQW
        7KHERDUGZLOOSUHSDUHDUHSRUWZKLFKLQFOXGHVWKHIROORZLQJLQIRUPDWLRQ
       D 7KHPHPEHUVKLSRIWKHERDUG
       E 3URSRVHGWUHDWPHQWWRUHOLHYHLQFDSDFLW\DQGDLGWKH6ROGLHU¶VUHWXUQWRGXW\VWDWXV
       F 7KHQHHGIRUWKHWUHDWPHQWLQFOXGLQJZKHWKHUWKHSURSRVHGWUHDWPHQWLVDQHVWDEOLVKHGSURFHGXUHWKDWTXDOLILHG
   DQGH[SHULHQFHGSK\VLFLDQVRUGLQDULO\ZRXOGUHFRPPHQGDQGXQGHUWDNH
       G $QDVVHVVPHQWRIWKHOLNHO\PHGLFDORXWFRPHDQGSRWHQWLDOULVNVWRWKH6ROGLHU¶VKHDOWKRIZLWKKROGLQJWUHDW
   PHQWEDVHGRQWKH6ROGLHU¶VDJHDQGJHQHUDOSK\VLFDOFRQGLWLRQ
       H $QDVVHVVPHQWRIWKHSRVVLEOHHIIHFWVRIZLWKKROGLQJWUHDWPHQWRQWKHKHDOWKRIRWKHUVDQGWKHPLOLWDU\PHGLFDO
   V\VWHP
       I (YLGHQFHWKDWWKH6ROGLHUZDVJLYHQWKHRSSRUWXQLW\WRDSSHDUEHIRUHWKHFRPPLWWHH LQSHUVRQDQGVXEPLWD
   ZULWWHQVWDWHPHQW,IFLUFXPVWDQFHVGRQRWSHUPLWWKH6ROGLHUWRDSSHDULQSHUVRQRUVXEPLWDZULWWHQVWDWHPHQW RU
   ERWK RUWKH6ROGLHUGHFOLQHVWRDSSHDULQSHUVRQRUVXEPLWDZULWWHQVWDWHPHQWWKHQWKHERDUGZLOOLQFOXGHWKLVLQIRU
   PDWLRQLQWKHUHSRUW$Q\ZULWWHQVWDWHPHQWVXEPLWWHGZLOOEHDWWDFKHGWRWKHUHSRUWDVDQHQFORVXUH
       J $UHFRPPHQGDWLRQDVWRZKHWKHUWKHPHGLFDOWUHDWPHQWVKRXOGEHJLYHQRYHUWKH6ROGLHU¶VREMHFWLRQWRSURWHFW
   WKH6ROGLHU¶VKHDOWKHQDEOHWKH6ROGLHUWRSHUIRUPKLVRUKHUGXWLHVSURSHUO\DQGRUSURWHFWWKHKHDOWKRIRWKHUVRULQ
   WKHFDVHRIDPHQWDOO\LQFRPSHWHQW6ROGLHUDVWDWHPHQWDVWRZKHWKHUFRPSXOVRU\WUHDWPHQWLVPHGLFDOO\QHFHVVDU\
   DQG ZDUUDQWHGE\WKHFLUFXPVWDQFHV*HQHUDOO\UHIXVDORI PHGLFDOFDUHLVFRQVLGHUHGXQUHDVRQDEOHXQOHVVWKHUHLV
   VXEVWDQWLDO HYLGHQFH WKDW WKH WUHDWPHQW LV PHGLFDOO\ LQDGYLVDEOH +RZHYHU LQ GHFLGLQJ ZKHWKHU UHIXVDO RI PHGLFDO
   WUHDWPHQWLQFOXGLQJVXUJHU\LVUHDVRQDEOHRUXQUHDVRQDEOHWKHERDUGVKRXOGFRQVLGHUDPRQJRWKHUWKLQJV²
      ([LVWLQJPHGLFDOUHVHDUFKDQGHYLGHQFHWKDWWKHSK\VLFDORUPHQWDOWUHDWPHQWLVPHGLFDOO\LQDGYLVDEOH
      3UHYLRXVXQVXFFHVVIXORSHUDWLRQVDQGSURFHGXUHV
      $Q\VSHFLDOULVNVLQYROYHGLQWKHSURSRVHGPHGLFDOWUHDWPHQW



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        6ROGLHUVPD\KDYHDUHSUHVHQWDWLYH$UHSUHVHQWDWLYHZLOOEHDSSRLQWHGIRU6ROGLHUVEHOLHYHGWREHLQFRPSHWHQW
   7KHUHSUHVHQWDWLYHQHHGQRWEHOHJDOO\TXDOLILHG7KHUHSRUWZLOOLQFOXGHWKHUDWLRQDOHIRUDQ\GHWHUPLQDWLRQRILQFRP
   SHWHQF\7KHFRPPDQGHUZLOOFRRUGLQDWHZLWKWKH07)DQGOHJDODGYLVRUWRGHWHUPLQHDQDSSURSULDWHUHSUHVHQWDWLYH
   VXFKDVD)DPLO\PHPEHURUSDWLHQWDGYRFDWH
      M5HVXOWVRIPHGLFDOERDUGSURFHHGLQJV
        7KHUHVXOWVRIWKHERDUGSURFHHGLQJV ZLOOEH SURYLGHGWRWKH 6ROGLHUWKURXJKWKH 6ROGLHU¶VLPPHGLDWHFRP
   PDQGHU7KH6ROGLHUZLOOEHRIIHUHGDQRSSRUWXQLW\WRDFFHSWWKHUHFRPPHQGHGPHGLFDOFDUH
        ,IWKH6ROGLHUVWLOOUHIXVHVWKH0HGLFDO&RUSVRIILFHUVHUYLQJDVWKHPHGLFDOERDUGFKDLUZLOOIRUZDUGWKHPHGLFDO
   ERDUGSURFHHGLQJVWRWKH2IILFHRIWKH6XUJHRQ*HQHUDO '$6* ± +6± $6 $UOLQJWRQ%OYG)DOOV&KXUFK9$
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        7KH6XUJHRQ*HQHUDO 76* ZLOOHLWKHUDSSURYHRUGLVDSSURYHWKHPHGLFDOERDUGSURFHHGLQJVDQGUHWXUQWKHP
   WRWKH0HGLFDO&RUSVRIILFHUVHUYLQJDVWKHPHGLFDOERDUGFKDLU
        ,I76*DSSURYHVWKHPHGLFDOERDUGSURFHHGLQJVWKH6ROGLHUZLOODJDLQEHJLYHQWKHFKDQFHWRDFFHSWWUHDWPHQW
   ,IWKH6ROGLHUSHUVLVWVLQUHIXVLQJWKHPHGLFDOFDUHWKHPDWWHUZLOOEHUHIHUUHGWRWKH6ROGLHU¶V63&0&$&RSLHVRI
   WKHPHGLFDOERDUGSURFHHGLQJVZLOOEHSURYLGHG,IWKH63&0&$RUGHUVWKH6ROGLHUWRVXEPLWWRWUHDWPHQWDQGWKH
   6ROGLHUUHIXVHVWRREH\WKHFRPPDQGHUPD\WDNH²
       D 'LVFLSOLQDU\DFWLRQDFFRUGLQJWR0&0
       E $GPLQLVWUDWLYHDFWLRQWRVHSDUDWHWKH6ROGLHUIURPVHUYLFHWKURXJKUHWLUHPHQWGLVFKDUJHRURWKHUOHJDOPHDQV

   ±%UHDVWIHHGLQJDQGODFWDWLRQVXSSRUWSROLF\
      D([WHQVLYHPHGLFDOUHVHDUFKKDVGRFXPHQWHGWKDWEUHDVWIHHGLQJKDVVLJQLILFDQWKHDOWKQXWULWLRQDOLPPXQRORJLF
   GHYHORSPHQWDOHPRWLRQDOVRFLDODQGHFRQRPLFEHQHILWVIRUERWKPRWKHUDQGFKLOG,QOLJKWRIWKHVHEHQHILWVFRP
   PDQGHUV DUH UHVSRQVLEOH IRU QRWLI\LQJ DOO 6ROGLHUV RI WKLV EUHDVWIHHGLQJ DQG ODFWDWLRQ VXSSRUW SROLF\ GXULQJ LQLWLDO
   SUHJQDQF\FRXQVHOLQJ&RPPDQGHUVZLOOFRXQVHODOOSUHJQDQW6ROGLHUVDVUHTXLUHGE\$5 ± ± RU$5 ± 
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      E6ROGLHUVZKRZDQWWREUHDVWIHHGXSRQUHWXUQWRGXW\ZLOOQRWLI\WKHLUFKDLQRIFRPPDQGDVVRRQDVSRVVLEOH7KLV
   QRWLILFDWLRQDOORZVFRPPDQGHUVWRGHWHUPLQHKRZWREHVWVXSSRUWWKH6ROGLHUDQGHQVXUHDZRUNSODFHZLWKDSSURSULDWH
   VSDFHIRUH[SUHVVLQJPLON/DFWDWLRQVXSSRUWLQFOXGLQJFRXQVHOLQJDQGHTXLSPHQWLVDYDLODEOHWKURXJK07)VDQG7UL
   6HUYLFH0HGLFDO&DUH 75,&$5( 
      F&RPPDQGHUV ZLOOGHVLJQDWH D SULYDWH VSDFHRWKHUWKDQ DUHVWURRP ZLWKORFNLQJFDSDELOLWLHV IRUD6ROGLHUWR
   EUHDVWIHHGRUH[SUHVVPLON7KLVVSDFHPXVWLQFOXGHDSODFHWRVLWDIODWVXUIDFH RWKHUWKDQWKHIORRU WRSODFHWKHSXPS
   RQDQHOHFWULFDORXWOHWDQGDFFHVVWRDVDIHZDWHUVRXUFHZLWKLQUHDVRQDEOHGLVWDQFHIURPWKHODFWDWLRQVSDFH
      G&RPPDQGHUVZLOOHQVXUHWKDW6ROGLHUVKDYHDGHTXDWHWLPHWRH[SUHVVPLONEXWPXVWEHDZDUHWKDWHDFK6ROGLHU V
   VLWXDWLRQLVXQLTXH7KHWLPHUHTXLUHGWRH[SUHVVEUHDVWPLONYDULHVDQGGHSHQGVRQVHYHUDOIDFWRUVLQFOXGLQJWKHDJH
   RIWKHLQIDQWDPRXQWRIPLONSURGXFHGTXDOLW\RIWKHSXPSDQGGLVWDQFHWKHSXPSLQJORFDWLRQLVIURPWKHZRUNSODFH
   DVZHOODVKRZFRQYHQLHQWO\ORFDWHGWKHZDWHUVRXUFHLVIURPWKHSXPSORFDWLRQ)RUH[DPSOHQHZPRWKHUVFRPPRQO\
   H[SUHVVPLONHYHU\WRKRXUVIRUWRPLQXWHVEXWWKLVWLPHIUDPHPD\FKDQJHDVWKHFKLOGDJHV:KHQDFKLOG
   LVPRQWKVROGDQGEHJLQVHDWLQJVROLGIRRGVWKHQXPEHURIEUHDNVD6ROGLHUQHHGVWREUHDVWIHHGRUH[SUHVVPLONPD\
   GHFUHDVH/DFWDWLRQVXSSRUWSHUVRQQHODWPLOLWDU\WUHDWPHQWIDFLOLWLHVRUWKURXJK75,&$5(DUHDYDLODEOHWRKHOS6RO
   GLHUVGHYHORSLQGLYLGXDOL]HGSODQV&RPPDQGHUVZLOOSURYLGHUHDVRQDEOHODFWDWLRQEUHDNVIRU6ROGLHUVIRUDWOHDVW
   \HDUDIWHUWKHFKLOG VELUWK
      H6ROGLHUV ZKR DUH EUHDVWIHHGLQJ RU H[SUHVVLQJ PLON UHPDLQ HOLJLEOH IRU ILHOG WUDLQLQJ PRELOLW\ H[HUFLVHV DQG
   GHSOR\PHQW DIWHUFRPSOHWLQJWKHLUSRVWSDUWXPGHSOR\PHQWGHIHUPHQWSHULRG 'XULQJILHOGWUDLQLQJDQGPRELOLW\H[
   HUFLVHVFRPPDQGHUVZLOOSURYLGHSULYDWHVSDFHIRU6ROGLHUVWRH[SUHVVPLON,IWKH6ROGLHU RUGHVLJQDWHGSHUVRQQHO 
   FDQQRW WUDQVSRUW H[SUHVVHG PLON WR JDUULVRQ WKH 6ROGLHU V FRPPDQGHU ZLOO SHUPLW KHU WKH VDPH WLPH DQG VSDFH WR
   H[SUHVVDQGGLVFDUGKHUEUHDVWPLONZLWKWKHLQWHQWWRPDLQWDLQSK\VLRORJLFDOFDSDELOLW\IRUODFWDWLRQ&RPPDQGHUV
   VKRXOGZRUNZLWKWKHVXSSRUWLQJPHGLFDORIILFHUWRGHWHUPLQHZKHWKHUPLONVWRUDJHDQGRUWUDQVSRUWDWLRQZLOOEHIHD
   VLEOHGXULQJWKHH[HUFLVH &RPPDQGHUV ZLOOFRXQVHO6ROGLHUVWRGLVFXVVWKHSRWHQWLDOULVNVEHQHILWVRIVWRULQJ PLON
   GXULQJILHOGWUDLQLQJDQGPRELOLW\H[HUFLVHVZLWKWKHLUPHGLFDOSURYLGHU

   ±$FFRPPRGDWLQJUHOLJLRXVSUDFWLFHV
     D3ROLF\
       7KH$UP\SODFHVDKLJKYDOXHRQWKHULJKWVRILWV6ROGLHUVWRREVHUYHWHQHWVRIWKHLUUHVSHFWLYHUHOLJLRQVRUWR
   REVHUYHQRUHOLJLRQDWDOOZKLOHSURWHFWLQJWKHFLYLOOLEHUWLHVRILWVSHUVRQQHOWRWKHJUHDWHVWH[WHQWSRVVLEOHFRQVLVWHQW
   ZLWKLWVPLOLWDU\UHTXLUHPHQWV




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        3XUVXDQWWR6HFWLRQEERI7LWOH8QLWHG6WDWHV&RGHDQG'R',UHTXHVWVIRUUHOLJLRXVDFFRP
   PRGDWLRQV IURPD PLOLWDU\SROLF\SUDFWLFHRUGXW\WKDWVXEVWDQWLDOO\EXUGHQVD 6ROGLHU¶V WRLQFOXGH PLOLWDU\SULV
   RQHU¶V  H[HUFLVH RI UHOLJLRQ PD\ EH GHQLHG RQO\ ZKHQ WKH PLOLWDU\ SROLF\ SUDFWLFH RU GXW\ IXUWKHUV D FRPSHOOLQJ
   JRYHUQPHQWLQWHUHVWDQGLVWKHOHDVWUHVWULFWLYHPHDQVRIIXUWKHULQJWKDWFRPSHOOLQJJRYHUQPHQWLQWHUHVW,WLVWKH6RO
   GLHU¶VUHVSRQVLELOLW\WRGHPRQVWUDWHKHRUVKHKDVDVLQFHUHO\KHOGUHOLJLRXVEHOLHIDQGWKDWWKHJRYHUQPHQWSROLF\
   SUDFWLFHRUGXW\VXEVWDQWLDOO\EXUGHQVWKHLUUHOLJLRXVH[HUFLVH,IWKH6ROGLHUGHPRQVWUDWHVDVLQFHUHO\KHOGUHOLJLRXV
   EHOLHIDQGDVXEVWDQWLDOEXUGHQWRWKHLUUHOLJLRXVH[HUFLVHWKHFRPPDQGHUPXVWWKHQGHPRQVWUDWHKRZZK\WKHJRY
   HUQPHQWDFWLRQIXUWKHUVDFRPSHOOLQJJRYHUQPHQWLQWHUHVWDQGLVWKHOHDVWUHVWULFWLYHPHDQVRIIXUWKHULQJWKDWLQWHUHVW
        5HTXHVWVIRUUHOLJLRXVDFFRPPRGDWLRQVIURPDPLOLWDU\SROLF\SUDFWLFHRUGXW\WKDWDUHQRWVLQFHUHO\EDVHGRQ
   DUHOLJLRXVEHOLHIRUWKDWGRQRWVXEVWDQWLDOO\EXUGHQD6ROGLHU¶VH[HUFLVHRIUHOLJLRQVKRXOGQRWEHHYDOXDWHGXVLQJWKH
   FRPSHOOLQJ JRYHUQPHQW LQWHUHVW VWDQGDUG SUHVFULEHG LQ D   8QGHU WKHVH FLUFXPVWDQFHV FRPPDQGHUV DUH RQO\ UH
   TXLUHGWREDODQFHWKHQHHGVRIWKH6ROGLHUDJDLQVWWKHQHHGVRIPLVVLRQDFFRPSOLVKPHQW
        $UHOLJLRXVH[HUFLVHLQFOXGHVDQ\H[HUFLVHRIUHOLJLRQZKHWKHURUQRWFRPSHOOHGE\RUFHQWUDOWRDV\VWHPRI
   UHOLJLRXV EHOLHI &RPSHOOLQJ JRYHUQPHQW LQWHUHVWV FRXOG SRWHQWLDOO\ LQFOXGH VDIHW\ KHDOWK JRRG RUGHU GLVFLSOLQH
   XQLIRUPLW\1DWLRQDO6HFXULW\DQGPLVVLRQDFFRPSOLVKPHQW$OOUHTXHVWVIRUDFFRPPRGDWLRQRIUHOLJLRXVSUDFWLFHV
   ZLOOEHDVVHVVHGRQDFDVHE\FDVHEDVLV(DFKUHTXHVWPXVWEHFRQVLGHUHGEDVHGRQLWVXQLTXHIDFWVWKHQDWXUHRIWKH
   UHTXHVWHGUHOLJLRXVDFFRPPRGDWLRQWKHHIIHFWRIDSSURYDORUGHQLDORQWKH6ROGLHU¶VH[HUFLVHRIUHOLJLRQDQGWKHHIIHFW
   RI DSSURYDO RU GHQLDO RQ PLOLWDU\ QHFHVVLW\ $FFRPPRGDWLRQ RI D 6ROGLHU¶V UHOLJLRXV SUDFWLFHV PXVW EH H[DPLQHG
   DJDLQVWPLOLWDU\QHFHVVLW\DQGFDQQRWEHJXDUDQWHHGDWDOOWLPHV6RPHUHOLJLRXVSUDFWLFHVVXFKDVGLHWDU\DQGZRUVKLS
   SUDFWLFHVGRQRWQHHGDUHTXHVWIRUDZDLYHURISROLF\DQGFDQEHDFFRPPRGDWHGE\LPPHGLDWHFRPPDQGHUV
      E5HVSRQVLELOLWLHV
        7KH$6$ 0 5$ ZLOORYHUVHHWKHLPSOHPHQWDWLRQDQGH[HFXWLRQRIWKLVSDUDJUDSKWRHQVXUHFRPSOLDQFHZLWK
   'R'DQG$UP\SROLF\
        7KH'&6*± ZLOOGHYHORSSROLF\RQWKHDFFRPPRGDWLRQRIUHOLJLRXVSUDFWLFHVZLWKLQWKH$UP\
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        7KHIROORZLQJZLOOHQVXUHWKDWHYHU\SURVSHFWLYHHQOLVWHG6ROGLHU WRLQFOXGHUHHQOLVWPHQW FDGHWDQGFRP
   PLVVLRQHGRIILFHULVLQIRUPHGRIWKH$UP\¶VUHOLJLRXVDFFRPPRGDWLRQSROLF\DVVHWIRUWKLQWKLVUHJXODWLRQDQGIXU
   WKHUPRUHWKDWUHFUXLWVDQGFDQGLGDWHVIRURIILFHUSURGXFLQJSURJUDPVDFNQRZOHGJHLQZULWLQJWKDWWKH\KDYHEHHQVR
   LQIRUPHG
       D 7KH&*86$UP\5HFUXLWLQJ&RPPDQG IRUHQOLVWHG6ROGLHUDQG$0(''RIILFHUDFFHVVLRQV 
       E 7KH&*75$'2& IRU527&FDGHWV:2&VDQG2&V 
       F 7KH-XGJH$GYRFDWH*HQHUDO IRUMXGJHDGYRFDWHRIILFHUDFFHVVLRQV 
       G 7KH&KLHIRI&KDSODLQV IRUFKDSODLQRIILFHUDFFHVVLRQV 
       H 6XSHULQWHQGHQW860$ IRU860$FDGHWV 
        7KH&KLHIRI&KDSODLQVZLOOVHUYHDVDGYLVRUWRWKH'&6* ± RQPDWWHUVSHUWDLQLQJWRUHOLJLRXVDFFRPPRGD
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   WLRQ7KH2IILFHRIWKH&KLHIRI&KDSODLQVZLOOGHYHORSDQGSXEOLVKWUDLQLQJRQWKHSURFHVVIRUUHTXHVWLQJDQGUHFHLYLQJ
   UHOLJLRXVDFFRPPRGDWLRQV7KHWUDLQLQJZLOOEHUHYLHZHGE\WKH2IILFHRI7KH-XGJH$GYRFDWH*HQHUDOSULRUWRSXE
   OLFDWLRQ
        7KH&*75$'2&ZLOOHQVXUHWKDWWUDLQLQJRQWKHSURYLVLRQVRIWKLVFKDSWHULVLQFRUSRUDWHGLQSUHFRPPDQG
   WUDLQLQJSURYLGHGWREULJDGHFRPPDQGHUV
      F3UH$FFHVVLRQUHTXHVWV,QGLYLGXDOVLQWHQGLQJWRHQWHUVHUYLFHPD\VXEPLWDSUHDFFHVVLRQUHTXHVWIRUUHOLJLRXV
   DFFRPPRGDWLRQUHODWHGWRXQLIRUPDQGJURRPLQJDQGLQLWLDOLPPXQL]DWLRQVUHTXLUHGDW0(36XVLQJWKHSURFHGXUHV
   LQDSSHQGL[3
        $SUHDFFHVVLRQUHTXHVWLVGHILQHGDVDUHTXHVWEHIRUHDQ\RIWKHIROORZLQJRFFXUFRQWUDFWLQJIRUHQOLVWPHQW
   FRQWUDFWLQJLQD6HQLRU527&SURJUDPDFFHSWLQJDSSRLQWPHQWWRWKH8QLWHG6WDWHV0LOLWDU\$FDGHP\ 860$ RU
   DFFHSWLQJDSSRLQWPHQWWKURXJKGLUHFWFRPPLVVLRQ
        7KHFKDLQRIFRPPDQGURXWLQJIRUSUHDFFHVVLRQVUHTXHVWVZLOOEHHVWDEOLVKHGE\HDFKDFFHVVLRQVDJHQF\DQG
   FRPPDQGXSWKURXJKWKH*&0&$OHYHO6HHDSSHQGL[3
        )RUSUHDFFHVVLRQUHTXHVWVUHTXLULQJ+4'$DFWLRQWKHSURFHGXUHVIRUUHTXHVWLQJDZDLYHUUHODWHGWRXQLIRUP
   DQGJURRPLQJSROLF\RUPHGLFDOSROLF\DVRXWOLQHGLQDSSHQGL[3DSSO\
      G7\SHVRI5HTXHVWV5HTXHVWVIRUUHOLJLRXVDFFRPPRGDWLRQJHQHUDOO\IDOOLQWRILYHPDMRUDUHDVZRUVKLSSUDFWLFHV
   GLHWDU\SUDFWLFHVPHGLFDOFDUH LQFOXGLQJLPPXQL]DWLRQV ZHDUDQGDSSHDUDQFHRIWKHXQLIRUPDQGSHUVRQDODSSHDU
   DQFHDQGJURRPLQJSUDFWLFHV3URFHGXUHVDQGDSSURYDODXWKRULWLHVYDU\GHSHQGLQJRQWKHW\SHRIDFFRPPRGDWLRQ6HH
   DSSHQGL[3IRUDGGLWLRQDOSURFHVVLQJLQIRUPDWLRQIRUHDFKFDWHJRU\RIUHTXHVW
        :RUVKLSSUDFWLFHV6RPHUHOLJLRXVJURXSVKDYHZRUVKLSSUDFWLFHVWKDWFRQIOLFWZLWKWKH6ROGLHU¶VQRUPDODYDLO
   DELOLW\IRUGXW\IRUH[DPSOHZRUVKLSRQGD\VRWKHUWKDQ6DWXUGD\RU6XQGD\DKRXU6DEEDWKRUVSHFLDOKRO\GD\V




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   RUSHULRGV:KLOHPDQ\ZRUVKLSSUDFWLFHVFDQEHDFFRPPRGDWHGLQIRUPDOO\RWKHUVPD\UHTXLUHDIRUPDODFFRPPR
   GDWLRQUHTXHVW:RUVKLSSUDFWLFHVLQYROYLQJWKHXVHRISURKLELWHGVXEVWDQFHVUHTXLUHDZDLYHURI$UP\SROLF\DQGFDQ
   RQO\EHDSSURYHGE\WKH6(&$50<RUGHVLJQHH
        'LHWDU\SUDFWLFHV6RPHUHOLJLRXVJURXSVKDYHEHOLHIVWKDWSURKLELWWKHHDWLQJRIVSHFLILFIRRGVRUSUHVFULEHD
   FHUWDLQ PDQQHU LQ ZKLFK IRRG PXVW EH SUHSDUHG 0DQ\ GLHWDU\ UHTXLUHPHQWV FDQ EH DFFRPPRGDWHG XVLQJ H[LVWLQJ
   DXWKRUL]HGUHVRXUFHV$6ROGLHUZLWKDFRQIOLFWEHWZHHQWKHGLHWSURYLGHGE\WKH$UP\DQGWKDWUHTXLUHGE\UHOLJLRXV
   SUDFWLFHPD\DOVRUHTXHVWDQH[FHSWLRQWRSROLF\WRUDWLRQVHSDUDWHO\
        0HGLFDOFDUH6RPHUHOLJLRXVSUDFWLFHVFRQIOLFWZLWKQRUPDO$UP\PHGLFDOSURFHGXUHV7KHVHSUDFWLFHVLQFOXGH
   EHOLHIVLQVHOIFDUHDQGSURKLELWLRQVDJDLQVWLPPXQL]DWLRQVEORRGWUDQVIXVLRQV RUVXUJHU\ $FFRPPRGDWLRQVFRQ
   FHUQLQJPHGLFDOFDUHDOZD\VUHTXLUHFRRUGLQDWLRQEHWZHHQXQLWFRPPDQGHUDQGDSSURSULDWHKHDOWKFDUHSURYLGHU
        :HDUDQGDSSHDUDQFHRIWKHXQLIRUP
       D 5HOLJLRXVLWHPV0DQ\6ROGLHUVZHDURUFDUU\MHZHOU\DSSDUHORUDUWLFOHVZLWKUHOLJLRXVVLJQLILFDQFH KHUHDIWHU
   UHIHUUHGWRDVUHOLJLRXVLWHPV 6RPHGLVFUHHWUHOLJLRXVLWHPVVXFKDVD \DUPXONHQHFNODFHRUPHWDOEUDFHOHWDUH
   DXWKRUL]HGIRUZHDULQXQLIRUPRULQFLYLOLDQFORWKHVRQGXW\ZLWKRXWVXEPLWWLQJDUHOLJLRXVDFFRPPRGDWLRQUHTXHVW
   2WKHUUHOLJLRXVLWHPVVXFKDVDKLMDERUWXUEDQUHTXLUHDUHOLJLRXVDFFRPPRGDWLRQUHTXHVWXVLQJSURFHGXUHVLQ DS
   SHQGL[3
       E 0RGHVW\6RPH6ROGLHUVKDYHUHOLJLRXVRUFXOWXUDOSUDFWLFHVZKLFK HQFRXUDJHJUHDWHUERG\FRYHUDJHWKDQLV
   SURYLGHGE\FHUWDLQXQLIRUPYDULDWLRQV IRUH[DPSOHVXPPHU$UP\3K\VLFDO)LWQHVV8QLIRUP $3)8 &RPPDQGHUV
   PD\LQIRUPDOO\DXWKRUL]HZHDURIDGGLWLRQDORUDOWHUQDWLYHXQLIRUPLWHPV5HTXHVWVWRZHDUDSSDUHOWKDWLVQRWDXWKRU
   L]HGE\$5 ± RU'$3DP ± UHTXLUHDUHOLJLRXVDFFRPPRGDWLRQUHTXHVWXVLQJWKHZDLYHUUHTXHVWSURFHGXUHV
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   LQDSSHQGL[3 )RUH[DPSOHFRPPDQGHUVPD\DXWKRUL]HD6ROGLHUWRZHDUWKHSDQWVRUORQJVOHHYHVKLUWRIWKH$UP\
   3K\VLFDO)LWQHVV8QLIRUP $3)8 EXWDUHTXHVWWRZHDUXQDXWKRUL]HGDSSDUHOWRFRYHUDUPVDQGOHJVZRXOGUHTXLUH
   DFWLRQE\WKH6(&$50<RUGHVLJQHH 
       F $SSHDUDQFHDQG*URRPLQJ7KH$UP\¶VDSSHDUDQFHDQGJURRPLQJVWDQGDUGVDUHFRQWDLQHGLQ$5 ± 6RO      




   GLHUVPXVWUHTXHVWDUHOLJLRXVDFFRPPRGDWLRQWRHQJDJHLQUHOLJLRXVDSSHDUDQFHDQGJURRPLQJSUDFWLFHVUHJDUGOHVV
   RIZKHWKHUWKHSUDFWLFHLVDGGUHVVHGLQ$5 ± 
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      H5HTXHVWSURFHGXUHVDQGDSSURYDODXWKRULWLHV
        5HTXHVWVIRUUHOLJLRXVDFFRPPRGDWLRQDUHSURFHVVHGXQGHUGLVWLQFWDSSURYDOFKDQQHOVGHSHQGLQJRQWKHW\SH
   RIDFFRPPRGDWLRQUHTXHVWHG
       D :RUVKLS PRGHVW\ DQG GLHWDU\ SUDFWLFHV8QLW FRPPDQGHUV DUH WKH GHVLJQDWHG GHFLVLRQ DXWKRULW\ IRU PRVW
   ZRUVKLSDQGGLHWDU\SUDFWLFHVDVRXWOLQHGEHORZLQFOXGLQJSURFHGXUHVIRUDSSHDO
       E 0HGLFDOSUDFWLFHV8QLWFRPPDQGHUVLQFRQVXOWDWLRQZLWK07)FRPPDQGHUVDQGRUWKHLUDVVLJQHGPHGLFDO
   DGYLVRU WKDWLVEULJDGHVXUJHRQ DUHWKHGHVLJQDWHGGHFLVLRQDXWKRULW\IRUPHGLFDOSUDFWLFHVZKLFKGRQRWLQYROYH
   H[HPSWLRQIURPLPPXQL]DWLRQ76*LVWKHGHFLVLRQDXWKRULW\IRULPPXQL]DWLRQH[HPSWLRQVDQGDSSHDOVFRQFHUQLQJ
   GLVDSSURYHGUHOLJLRXVDFFRPPRGDWLRQVIRURWKHUPHGLFDOSUDFWLFHV
       F 8QLIRUPDQGJURRPLQJSUDFWLFHV6RPHXQLIRUPDQGJURRPLQJUHTXHVWVPD\EHDSSURYHGRUGLVDSSURYHGE\
   WKH *&0&$ $Q\ UHTXHVW ZKLFK UHTXLUHV D ZDLYHU RI $UP\ SROLF\ PD\ RQO\ EH DSSURYHG RU GLVDSSURYHG E\ WKH
   6(&$50<RUGHVLJQHH
        8QOHVVRWKHUZLVHVWDWHGFRPPDQGHUVVKRXOGFRQVLGHUWKHIROORZLQJIDFWRUVZKHQFRQVLGHULQJDUHTXHVWIRUWKH
   SXUSRVHVRIDGHFLVLRQRUUHFRPPHQGDWLRQ
       D 7KH LPSRUWDQFHRI PLOLWDU\UHTXLUHPHQWVLQWHUPVRI PLVVLRQDFFRPSOLVKPHQW LQFOXGLQJ PLOLWDU\UHDGLQHVV
   XQLWFRKHVLRQJRRGRUGHUGLVFLSOLQHKHDOWKDQGVDIHW\
       E 7KHUHOLJLRXVLPSRUWDQFHRIWKHDFFRPPRGDWLRQWRWKHUHTXHVWRU
       F 7KHFXPXODWLYHLPSDFWRIUHSHDWHGDFFRPPRGDWLRQVRIDVLPLODUQDWXUH
       G 7KHPHDVXUDEOHHIIHFWLIDQ\RIJUDQWLQJWKHVLQJOHDFFRPPRGDWLRQUHTXHVWHGWRLQFOXGHZKHWKHULWUHVXOWVLQ
   WKHVDQFWLRQHGGLVFULPLQDWLRQRIRWKHU6ROGLHUV
       H $OWHUQDWLYHPHDQVDYDLODEOHWRPHHWWKHUHTXHVWHGDFFRPPRGDWLRQ
       I 3UHYLRXVWUHDWPHQWRIWKHVDPHRUVLPLODUUHTXHVWVLQFOXGLQJWUHDWPHQWRIVLPLODUUHTXHVWVLIPDGHIRURWKHUWKDQ
   UHOLJLRXVUHDVRQV
      I&RQWLQXDWLRQRIDFFRPPRGDWLRQ
        $SSURYHGDFFRPPRGDWLRQVSHUWDLQLQJWRZRUVKLSSUDFWLFHVGLHWDU\SUDFWLFHVPHGLFDOFDUHDQGPRGHVW\FRQ
   FHUQV DUH WHPSRUDU\ DQG VXEMHFW WR PRGLILFDWLRQ RU UHYRFDWLRQ E\ LPPHGLDWH FRPPDQGHUV LQ DFFRUGDQFH ZLWK WKH
   SURYLVLRQVRISDUD±D  
        $SSURYHGDFFRPPRGDWLRQVSHUWDLQLQJWRWKHIROORZLQJIDLWKSUDFWLFHVFRQWLQXHWKURXJKRXWD6ROGLHU¶VFDUHHU
   ZHDURIDKLMDEZHDURIDEHDUGDQGWKHZHDURIDWXUEDQRUXQGHUWXUEDQSDWNDZLWKXQFXWEHDUGDQGXQFXWKDLU




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   $OWKRXJKVXEMHFWWRWKH VXVSHQVLRQSURFHGXUHVEHORZWKHVHDFFRPPRGDWLRQV PD\QRWEHSHUPDQHQWO\UHYRNHGRU
   PRGLILHGXQOHVVDXWKRUL]HGE\WKH6(&$50<RUGHVLJQHH
       D 2QFHDSSURYHGUHOLJLRXV DFFRPPRGDWLRQVDUHVXEMHFWWR*&0&$UHYLHZDWDQ\WLPHIRUKHDOWKDQGVDIHW\
   FRQVLGHUDWLRQV
       E 7KH*&0&$RIWKHJDLQLQJFRPPDQGZLOOUHYLHZDQDSSURYHGUHOLJLRXVDFFRPPRGDWLRQXSRQWKH6ROGLHU¶V
   SHUPDQHQWFKDQJHRIVWDWLRQ
       F 7KH*&0&$ZLOOUHYLHZDQDSSURYHGUHOLJLRXVDFFRPPRGDWLRQZKHQD6ROGLHUUHFODVVLILHVLQWRDQHZRUVHF
   RQGDU\026
        6XVSHQVLRQRIQRQWHPSRUDU\DFFRPPRGDWLRQV
       D :KHQDQDFFRPPRGDWHG6ROGLHU V*&0&$LGHQWLILHVDVSHFLILFDQGFRQFUHWHWKUHDWWRKHDOWKDQGVDIHW\EDVHG
   RQWKHDFFRPPRGDWLRQ VXFKDVWKUHDWRIH[SRVXUHWRWR[LFFKHPLFDOELRORJLFDOUDGLRORJLFDOQXFOHDU &%51 DJHQWV
   WKDWPD\PHULWDKHLJKWHQHGSURWHFWLYHSRVWXUH WKH*&0&$DIWHUFRQVXOWDWLRQZLWKWKH6WDII-XGJH$GYRFDWHZLOO
   QRWLI\ WKH 6ROGLHU RI WKH QHHG WR VXVSHQG WKH UHOLJLRXV DFFRPPRGDWLRQ WKH EDVLV IRU WKH VXVSHQVLRQ WKH GDWH WKH
   VXVSHQVLRQZLOOOLNHO\JRLQWRHIIHFWDQGWKH6ROGLHU VULJKWWRDSSHDO,IWKH6ROGLHUUHTXHVWVDQDSSHDOWKH6ROGLHU
   ZLOO KDYH  GD\V WR VXEPLW PDWWHUV WR WKH 2IILFH RI WKH '&6 * ±  &RPPDQG 3ROLF\ 'LYLVLRQ DW XVDUP\SHQWD
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   JRQKTGDGFVJPE[FRPPDQGSROLF\#PDLOPLO7KHDFFRPPRGDWLRQZLOOQRWEHVXVSHQGHGEHIRUHWKH6(&$50<
   RUGHVLJQHHWDNHVDFWLRQRQWKHDSSHDO
       E ,QH[LJHQWFLUFXPVWDQFHVLQYROYLQJDQLPPLQHQWWKUHDWWRKHDOWKDQGVDIHW\WKH*&0&$PD\VKRUWHQWKHWLPH
   IRUDSSHDODQGLQXUJHQWFLUFXPVWDQFHVPD\UHTXLUHLPPHGLDWHVXVSHQVLRQRIWKHDFFRPPRGDWLRQ7KH*&0&$ZLOO
   QRWLI\ WKH 2IILFH RI WKH '&6 * ±  &RPPDQG 3ROLF\ 'LYLVLRQ RI WKH GHFLVLRQ DQG LWV EDVLV DV VRRQ DV SRVVLEOH DW
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   XVDUP\SHQWDJRQKTGDGFVJPE[FRPPDQGSROLF\#PDLOPLO
       F 7KH*&0&$ZLOOUHLQVWDWHWKHVXVSHQGHGDFFRPPRGDWLRQZKHQWKHVSHFLILFDQGFRQFUHWHWKUHDWWRKHDOWKDQG
   VDIHW\DVDUHVXOWRIWKHDFFRPPRGDWLRQQRORQJHUH[LVWV6HHDSSHQGL[3IRUVXVSHQVLRQSURFHGXUHV
   1RWH$QDFFRPPRGDWLRQIRUDEHDUGPD\EHWHPSRUDULO\VXVSHQGHGZKHQDVSHFLILFDQGFRQFUHWHWKUHDWRIH[SRVXUH
   WRWR[LF&%51DJHQWVH[LVWVWKDWUHTXLUHVDOO6ROGLHUVWREHFOHDQVKDYHQLQFOXGLQJWKRVHZLWKPHGLFDOSURILOHV)RO
   ORZLQJWKHVXVSHQVLRQSURFHGXUHVRIWKLVSDUDJUDSKFRPPDQGHUVPD\UHTXLUHD6ROGLHUWRVKDYHLIWKHXQLWLVLQRU
   DERXWWRHQWHUDUHDOWDFWLFDOVLWXDWLRQZKHUHXVHRISURWHFWLYHPDVNLVDFWXDOO\UHTXLUHGDQGZKHUHWKHLQDELOLW\WR
   VDIHO\XVHWKHPDVNFRXOGHQGDQJHUWKH6ROGLHUDQGWKHXQLW$6ROGLHUPD\ZHDUDEHDUGZKLOHSDUWLFLSDWLQJLQWUDLQLQJ
   RUWDFWLFDOVLPXODWLRQVGHVLJQHGWRHQVXUHWKDWWKH6ROGLHULVIXOO\IDPLOLDUZLWKXVHRIWKHSURWHFWLYHPDVN
      J6HSDUDWLRQ3URFHGXUHV$QHQOLVWHG6ROGLHUZKRVHUHOLJLRXVSUDFWLFHVFDQQRWEHDFFRPPRGDWHGFRQVLVWHQWZLWK
   PLOLWDU\ QHFHVVLW\ PD\UHTXHVWVHSDUDWLRQIURPWKH $UP\ XQGHUWKHSURYLVLRQVRI $5 ± &RPPLVVLRQHGRU
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   :2V ZKR UHTXHVW VHSDUDWLRQ IRU UHDVRQV RI UHOLJLRXV DFFRPPRGDWLRQ ZLOO IROORZ WKH DSSOLFDWLRQ IRU UHOHDVH IURP
   DFWLYHGXW\DVSUHVFULEHGLQ$5 ±  ±  IRURWKHUWKDQ5$ RUDSSO\IRUDQXQTXDOLILHGUHVLJQDWLRQDVRXWOLQHGLQ
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   $5 ±  ±  IRU5$ $OOSHUVRQQHOVHSDUDWHGRUGLVFKDUJHGIURPWKH86$UP\EHFDXVHRIFRQIOLFWEHWZHHQWKHLU
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   UHOLJLRXVSUDFWLFHVDQGPLOLWDU\UHTXLUHPHQWVZLOOEHVXEMHFWWRUHFRXSPHQWRI)HGHUDOIXQGVDVRXWOLQHGLQUHIHUHQFHG
   UHJXODWLRQV
   1RWH1RWKLQJLQWKLVUHJXODWLRQZLOOEHFRQVWUXHGWROLPLWWKHDXWKRULW\RIFRPPDQGHUVWRHQIRUFHVWDQGDUGVE\PHDQV
   RIDOODSSOLFDEOHSURYLVLRQVRIWKH8&0-ZKLOHUHTXHVWVDQGDSSHDOVDUHEHLQJSURFHVVHG6ROGLHUVDUHREOLJDWHGWR
   DGKHUHWRRUGHUVDQGVWDQGDUGVVHWE\WKHLULPPHGLDWHFRPPDQGHUV

   ±8QLWPHPRULDOFHUHPRQLHVDQGVHUYLFHVSROLF\
   8QLWPHPRULDOFHUHPRQLHVDQGVHUYLFHVVKRZUHVSHFWWRWKHVHUYLFHRI6ROGLHUVZKRKDYHGLHGDQG RIIHUVXSSRUWWR
   XQLWVXUYLYRUV7KHVHPHPRULDOHYHQWVDVVLVWVXUYLYLQJ6ROGLHUVLQGHDOLQJZLWKWKHUHDOLWLHVRIGHDWKDQGKRQRUWKH
   PLOLWDU\VHUYLFHDQGWKHFRQWULEXWLRQWKH6ROGLHUPDGHZKLOHLQXQLIRUP7KHXQLWPHPRULDOHYHQWDOORZVVXUYLYLQJ
   6ROGLHUVDPHDQVIRUH[SUHVVLQJWKHLUJULHIDQGDVVLVWVLQWKHKHDOLQJSURFHVV
      D&RPPDQGUHVSRQVLELOLWLHV([FHSWDVSUHVFULEHGLQSDUDJUDSK±EFRPPDQGHUVZLOOFRQGXFWDPHPRULDOHYHQW
    PHPRULDOFHUHPRQ\RUPHPRULDOVHUYLFH IRUHYHU\6ROGLHUZKRGLHVZKLOHDVVLJQHGWRWKHLUXQLWUHJDUGOHVVRIWKH
   PDQQHURIGHDWKWRLQFOXGHVXLFLGHV&RPPDQGHUVZLOODOVRQRWLI\WKHLUVXSSRUWLQJ&DVXDOW\$VVLVWDQFH&HQWHURIWKH
   WLPHDQGSODFHRIXQLWPHPRULDOHYHQWV
      E&RPPDQGH[FHSWLRQV8QLWFRPPDQGHUVPD\UHTXHVWDQH[FHSWLRQWRSROLF\QRWWRFRQGXFWDPHPRULDOHYHQW
   WKURXJKWKHLUFRPPDQGFKDQQHOV
        7KHILUVW*2LQWKHFKDLQRIFRPPDQGPD\DSSURYHWKHH[FHSWLRQRQO\ZKHQ²
        7KHGHFHDVHG6ROGLHUKDVEHHQFRQYLFWHGRIDFDSLWDORIIHQVHXQGHU)HGHUDORU6WDWHODZIRUZKLFKWKHSHUVRQ
   ZDVVHQWHQFHGWRGHDWKRUOLIHLPSULVRQPHQWZLWKRXWSDUROHRU



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        7KHGHFHDVHG6ROGLHUKDVEHHQFRQYLFWHGRIDVHULRXVRIIHQVHZKLFKLVGHILQHGDVDPLOLWDU\RUFLYLOLDQRIIHQVH
   ZKLFKLISURVHFXWHGXQGHUWKH8&0-FRXOGEHSXQLVKHGE\FRQILQHPHQWRIPRQWKVRUPRUHDQGRUDSXQLWLYHGLV
   FKDUJHRU
        7KHGHFHDVHG6ROGLHULVIRXQGE\WKH*2WRKDYHFRPPLWWHGDQRIIHQVHDVGHVFULEHGLQSDUDJUDSK±E  DQG
   KDVQRWEHHQFRQYLFWHGRIVXFKRIIHQVHDIWHUUHIHUUDOWRDFRXUWPDUWLDOE\UHDVRQRIVXFK6ROGLHUQRWEHLQJDYDLODEOH
   IRUWULDOGXHWRGHDWKRUIOLJKWWRDYRLGSURVHFXWLRQRU
        :KHQWKHFLUFXPVWDQFHVVXUURXQGLQJWKH6ROGLHU¶VGHDWKRURWKHUFLUFXPVWDQFHVVXUURXQGLQJWKH6ROGLHU¶VVHU
   YLFHDUHIRXQGE\WKH*2WREHVXFKWKDWWRSURYLGHDPHPRULDOHYHQWZRXOGEULQJGLVFUHGLWXSRQWKH$UP\
      F(OHPHQWVRIWKHPHPRULDOHYHQWV5HFRJQL]LQJWKHPLOLWDU\VHUYLFHRIWKH6ROGLHUSURYLGHVKHDOLQJDQGUHQHZDO
   IRUWKHOLYLQJ7KHRSSRUWXQLW\WRSURYLGHFORVXUHIRUPHPEHUVRIWKHXQLWLVRIIHUHGGXULQJDPHPRULDOHYHQW&RP
   PDQGHUVKDYHGLVFUHWLRQWRVFDOHGRZQDPHPRULDOHYHQWWRRIIHUFORVXUHWRXQLWPHPEHUVZKLOHQRWJODPRUL]LQJWKH
   PDQQHURIGHDWKZKHQD6ROGLHUGLHVE\VXLFLGH7KHFRPPDQGHU¶VGHFLVLRQUHJDUGLQJZKHQWRFRQGXFWDPHPRULDO
   FHUHPRQ\RUDPHPRULDOVHUYLFHLVGHSHQGHQWXSRQPDQ\IDFWRUVWRLQFOXGHWKHXQLWPLVVLRQWDFWLFDOVLWXDWLRQDQG
   WKHZLVKHVRI)DPLO\PHPEHUVLQWKHORFDODUHD
        0HPRULDOFHUHPRQ\$PHPRULDOFHUHPRQ\LVDFRPPDQGSURJUDPZLWKDFHUHPRQLDORULHQWDWLRQ$VDFRP
   PDQGSURJUDPDWWHQGDQFHRI6ROGLHUVDWDPHPRULDOFHUHPRQ\PD\EHPDGHPDQGDWRU\$OWKRXJKWKHUHDUHUHOLJLRXV
   DVSHFWVWRWKHPHPRULDOFHUHPRQ\VXFKDVDQLQYRFDWLRQDQGEHQHGLFWLRQWKHPDMRUIRFXVZLOOEHRQPLOLWDU\WULEXWHV
   DQGKRQRUV$PHPRULDOFHUHPRQ\PD\LQFOXGHWKHIROORZLQJSUHOXGHSRVWLQJRIWKHFRORUVQDWLRQDODQWKHPLQYR
   FDWLRQPHPRULDOWULEXWHUHDGLQJVDGGUHVVPHPRULDOSUD\HUVVLOHQWWULEXWHRUUROOFDOOPXVLFEHQHGLFWLRQILULQJRI
   YROOH\VDQGVRXQGLQJRIWDSV7KH6ROGLHU¶VUHPDLQVDUHQRWSUHVHQWIRUWKLVFHUHPRQ\
        0HPRULDOVHUYLFH$PHPRULDOVHUYLFHLVDFRPPDQGSURJUDPZLWKDUHOLJLRXVRULHQWDWLRQ$PHPRULDOVHUYLFH
   VKRXOGEHVHQVLWLYHWRWKHGHFHDVHG6ROGLHU¶VIDLWKJURXSDQGWKHQHHGVRIWKH6ROGLHUVZKRYROXQWDULO\DWWHQG$WWHQG
   DQFHRIXQLWVDQG6ROGLHUVPD\EHHQFRXUDJHGDQGVXSSRUWHGE\FRPPDQGEXWZLOOQRWEHPDGHPDQGDWRU\$PH
   PRULDOVHUYLFHPD\LQFOXGHWKHIROORZLQJSUHOXGHLQYRFDWLRQVFULSWXUHUHDGLQJPHGLWDWLRQSUD\HUVLOHQWWULEXWHRU
   UROOFDOODQGEHQHGLFWLRQ7KH6ROGLHU¶VUHPDLQVDUHQRWSUHVHQWIRUWKLVVHUYLFH
      G&RPEDWWKHDWHUPHPRULDOHYHQWV&RPPDQGHUVRIXQLWVGHSOR\HGWRFRPEDWWKHDWHUVRURWKHUFRQWLQJHQF\RS
   HUDWLRQVPD\FRQGXFWDPHPRULDOHYHQWLQWKHWKHDWHUDVWKHWDFWLFDOVLWXDWLRQSHUPLWVDQGDQRWKHUHYHQWXSRQUHWXUQWR
   KRPHVWDWLRQ
      H)DPLO\ PHPEHU DWWHQGDQFH$V SDUW RI 7RWDO $UP\ 6WURQJ XQLW FRPPDQGHUV DUH FKDUJHG ZLWK HQVXULQJ WKH
   )DPLOLHV RI WKHLU IDOOHQ 6ROGLHUV DUH PDGH WR IHHO D SDUW RI WKH $UP\ IRU DV ORQJ DV WKH\ GHVLUH 7R WKDW HQG XQLW
   FRPPDQGHUVZLOOLQIRUP)DPLO\PHPEHUVRIWKHGHFHDVHG6ROGLHUDERXWDQ\XQLWPHPRULDOHYHQWWKDWLVFRQGXFWHGLQ
   DGHSOR\HGHQYLURQPHQWDQGZLOOLQYLWHWKH6ROGLHU¶V)DPLO\WRDWWHQGXQLWPHPRULDOHYHQWVDWWKHKRPHVWDWLRQ
        )DPLO\ PHPEHUV ZLOO QRW EH LQYLWHG WR XQLW PHPRULDO HYHQWV LQ D GHSOR\HG HQYLURQPHQW GXH WR RSHUDWLRQDO
   FRQVLGHUDWLRQV
        0HPRULDOHYHQWORFDWLRQVDUHOLPLWHGWR&2186$ODVND+DZDLL86WHUULWRULHVDQGWKHODVWSHUPDQHQWGXW\
   VWDWLRQRIWKHGHFHDVHG6ROGLHU
        (OLJLEOHUHODWLYHVDVGHILQHGLQWKH-RLQW7UDYHOUHJXODWLRQ -75 DUHDXWKRUL]HG*RYHUQPHQWIXQGHGWUDYHODQG
   WUDQVSRUWDWLRQDOORZDQFHVIRURQHURXQGWULSWRWKHLQVWDOODWLRQRUXQLWPHPRULDOVHUYLFHDWDORFDWLRQRWKHUWKDQWKH
   EXULDOFHUHPRQ\ORFDWLRQ7KLVLVLQDGGLWLRQWRDQ\WUDYHODQGWUDQVSRUWDWLRQDOORZDQFHVSURYLGHGIRUDWWHQGDQFHDW
   WKHEXULDOFHUHPRQ\&RPPDQGHUVKDYHWKHGLVFUHWLRQWRLQYLWHHOLJLEOH)DPLO\PHPEHUVWRDQDGGLWLRQDOXQLWPHPR
   ULDOHYHQWLIPRUHWKDQRQHHYHQWLVFRQGXFWHG+RZHYHUWUDYHODQGWUDQVSRUWDWLRQDOORZDQFHVPD\EHSURYLGHGXQGHU
   WKH-75IRUWUDYHORIHOLJLEOHUHODWLYHVWRRQO\RQHPHPRULDOVHUYLFHIRUWKHGHFHDVHGPHPEHU7KLVWUDYHOPXVWEH
   FRPSOHWHGZLWKLQ\HDUVRIWKH6ROGLHU¶VGHDWKXQOHVVWKH6HUYLFH6HFUHWDU\ZDLYHVWKHWLPHOLPLWDWLRQ
        ,QH[WHQGLQJWKLVLQYLWDWLRQFRPPDQGHUVVKRXOGIDFWRULQWKH)DPLO\¶VSDUWLFXODUFLUFXPVWDQFHVVRWKDWWKHXQLW
   PHPRULDOHYHQWWRZKLFK)DPLOLHVDUHLQYLWHGGRHVQRWFRQIOLFWZLWKRWKHUNH\HYHQWVVXFKDVWKH'LJQLILHG7UDQVIHU
   RI5HPDLQVDW'RYHU$LU)RUFH%DVHRUWKHGHFHDVHG6ROGLHU¶VIXQHUDOVHUYLFH2YHUVHDVFRPPDQGHUVDQGFRPPDQGHUV
   ZKRLQYLWHG)DPLO\PHPEHUVZKRGRQRWUHVLGHDWWKHRYHUVHDVORFDWLRQVKRXOGSODQIRUVXIILFLHQWOHDGWLPHLQH[WHQG
   LQJWKHLQYLWDWLRQWRHQDEOH)DPLOLHVWRREWDLQRUXSGDWHSDVVSRUWGRFXPHQWVSULRUWRWUDYHOLQJWRWKHHYHQW
        &RPPDQGHUVZLOOFRRUGLQDWHWKURXJKWKHLUVXSSRUWLQJ&DVXDOW\$VVLVWDQFH&HQWHUIRUDLGLQGHFRQIOLFWLQJWKH
   VFKHGXOLQJ RI XQLW PHPRULDO HYHQWV WKDW PD\ FRLQFLGH ZLWK NH\ )DPLO\ HYHQWV VXFK DV WKH 'LJQLILHG 7UDQVIHU RI
   5HPDLQVRUWKHGHFHDVHG6ROGLHUVIXQHUDOVHUYLFH&DVXDOW\$VVLVWDQFH&HQWHUVZLOODVVLVWLQLGHQWLI\LQJDOOHOLJLEOH
   )DPLO\PHPEHUVZKRVKRXOGEHLQYLWHGREWDLQLQJWKHODVWNQRZQFRQWDFWLQIRUPDWLRQDYDLODEOHLQWKH'HIHQVH&DVX
   DOW\,QIRUPDWLRQ3URFHVVLQJ6\VWHPIRUHDFKHOLJLEOH)DPLO\PHPEHUDQGSUHSDULQJLQYLWDWLRQDOWUDYHODXWKRUL]DWLRQV
   XQGHUWKH2SHQ$OORWPHQWIXQGVLWHDFHQWUDOO\PDQDJHGIXQGFLWHPDLQWDLQHGE\WKH&DVXDOW\DQG0RUWXDU\$IIDLUV
   2SHUDWLRQV 'LYLVLRQ IRU WKRVH HOLJLEOH UHODWLYHV DV GHILQHG LQ WKH -75 ZKR DFFHSW DQ LQYLWDWLRQ WR XQLW PHPRULDO
   HYHQWV



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        ,QYLWDWLRQDOWUDYHODXWKRUL]DWLRQVZLOOQRWH[FHHGDXWKRUL]DWLRQIRUGD\VRISHUGLHPDQGWKHWLPHQHFHVVDU\WR
   WUDYHOWRDQGIURPWKHHYHQW8VHRIDUHQWDOFDUIRULQDQGDURXQGWUDQVSRUWDWLRQZKLOHDWWKHPHPRULDOHYHQWLVQRWD
   UHLPEXUVDEOHH[SHQVH
        &RPPDQGHUVZLOOHQVXUHWKHSURYLVLRQRIDQ\LQDQGDURXQGWUDQVSRUWDWLRQUHTXLUHGIRU)DPLO\PHPEHUDWWHQG
   DQFHDWWKH PHPRULDOHYHQW DVVLVW)DPLOLHV ZLWK PDNLQJDOOWUDYHODQGKRWHODUUDQJHPHQWVSURYLGHXQLWHVFRUWVDV
   QHHGHGDQGHQVXUHDOOHOLJLEOHUHODWLYHVUHFHLYHDVVLVWDQFHLQILOLQJDWUDYHOFODLPIRUUHLPEXUVHPHQWRIDXWKRUL]HG
   H[SHQGLWXUHVXSRQFRPSOHWLRQRIWKHWUDYHO
      I1RQPLOLWDU\PHPRULDOHYHQWV&RPPDQGHUVPD\DOVRFRQGXFWQRQPLOLWDU\PHPRULDOHYHQWVIRUGHFHDVHGLPPH
   GLDWH)DPLO\PHPEHUVRI6ROGLHUVDVVLJQHGWRWKHLUXQLWVWRUHFRJQL]HWKH)DPLO\PHPEHU¶VFRQWULEXWLRQWRWKHXQLW
   DQGPLOLWDU\FRPPXQLW\ZKHQDSSURSULDWH³,PPHGLDWH)DPLO\PHPEHUV´DUHGHILQHGDVWKH6ROGLHU¶VVSRXVHFKLOGUHQ
    WRLQFOXGHVWHSFKLOGUHQ DQGSDUHQWV WRLQFOXGHVWHSSDUHQWV 
      J0HPRULDOHYHQWVXSSRUW&RPPDQGHUVDWDOOOHYHOVPXVWHQVXUHXQLWPHPRULDOHYHQWVDUHFRQGXFWHGLQUHFRJQL
   WLRQRIWKHGHFHDVHG6ROGLHU¶VPLOLWDU\VHUYLFHDQGRQEHKDOIRIDJUDWHIXO1DWLRQ

   ±%HWWHU2SSRUWXQLWLHVIRU6LQJOH6ROGLHUV
       D%HWWHU2SSRUWXQLWLHVIRU6LQJOH6ROGLHUV %266 LVDFRPPDQGHU¶VSURJUDP7KH%2663URJUDPSURYLGHVWKH
   HQYLURQPHQWIRUOHDGHUVWRDIIHFWWKHVLQJOH6ROGLHU¶VZHOOEHLQJVDIHW\HGXFDWLRQUHFUHDWLRQDQGRYHUDOOUHVLOLHQF\
   ,W LV SDUDPRXQW WKDW FRPPDQGHUV DQG OHDGHUV UHDOL]H WKDW WKHLU VXSSRUW RI WKH %266 3URJUDP LQGLUHFWO\ SURPRWHV
   SRVLWLYHEHKDYLRUZKLOHGHWHUULQJXQGHVLUDEOHDFWLYLWLHVZLWKLQWKHVLQJOH6ROGLHUSRSXODWLRQ&RPPDQGHUVPXVWDOVR
   XQGHUVWDQGWKDWDOWKRXJKORFDO%266SURJUDPVDQG%266UHSUHVHQWDWLYHVDUHUHVSRQVLEOHIRULGHQWLI\LQJTXDOLW\RI
   OLIHLVVXHVLWLVWKHFRPPDQGHUDQGOHDGHUVKLSZKRDUHVROHO\UHVSRQVLEOHIRUHQVXULQJWKDWWKHVLQJOH6ROGLHUSRSXOD
   WLRQLVUHSUHVHQWHGVXSSRUWHGDQGLQWHJUDWHGZLWKLQDOOHIIRUWVSULRULWLHVDWWKHLUUHVSHFWLYHOHYHORIFRPPDQG&RP
   PDQGHQJDJHPHQWPDQDJHPHQWDQGPRQLWRULQJRIVLQJOH6ROGLHUV¶SURJUDP V DUHDQDVVRFLDWHGWDVNDQGUHVSRQVL
   ELOLW\RI6ROGLHUVDQGOHDGHUVDOLNH
       E5HJDUGOHVVRIJHRJUDSKLFORFDWLRQRUVWDWXVWKH%2663URJUDPUHFHLYHVILVFDOJXLGDQFHIURP,0&20)DPLO\
   DQG0:5VHUYLFHV ,0&20* ±  /RFDOJDUULVRQFRPPDQGWHDPVZLOOHQVXUHWKDWWKHLU%2663URJUDPGHYHORSV
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   DQGH[HFXWHVDQDQQXDOEXGJHW6XSSOHPHQWDOIXQGLQJZKHQDYDLODEOHFDQEHUHTXHVWHGIURP,0&20* ± *DUULVRQV        




   ZLOOSURYLGHDLGDQGVXSSRUWWRSURJUDPVIRUUHFUHDWLRQOHLVXUHDQGRSSRUWXQLWLHVIRUFRPPXQLW\VHUYLFHWKURXJKRQ
   DQGRIILQVWDOODWLRQSDUWQHUVKLSV&RPPDQGWHDPVZLOOHQVXUHDQGHQDEOHVLQJOH6ROGLHUV¶DELOLW\WRSDUWLFLSDWHLQJDU
   ULVRQKRVWHGOLIHVNLOOWUDLQLQJVZKHQWKHRSSRUWXQLWLHVDUHSUHVHQW&RPPDQGWHDPVZLOODOVRHQFRXUDJHFRPPDQG
   GHVLJQDWHGVLQJOH6ROGLHU%266UHSUHVHQWDWLYHVWRSDUWLFLSDWHLQWKH$UP\)DPLO\$FWLRQ3ODQSURFHVV

   ±6ROGLHUIRU/LIH±7UDQVLWLRQ$VVLVWDQFH3URJUDP
      D7KH7UDQVLWLRQ6ROGLHU/LIH&\FOHLVIRFXVHGRQWKHIROORZLQJIRXUJRDOV
         7HDFK6ROGLHUVWREH6ROGLHUVILUVW
         5HWDLQTXDOLW\6ROGLHUVLQWKHWRWDOIRUFHDQGVXSSRUWWKHDOOYROXQWHHUIRUFH
         'HYHORSFDUHHUUHDGLQHVVVNLOOVZKLOHLQWURGXFLQJ6ROGLHUVWRWKHPDQ\EHQHILWVWKH$UP\KDVWRRIIHUDQG
         3UHSDUHOHDGHUVWRPHQWRUHOLJLEOH6ROGLHUVWRDFKLHYHFDUHHUUHDGLQHVVSULRUWRWUDQVLWLRQIURPDFWLYHGXW\
      E&RPPDQGHUVDUHUHVSRQVLEOHIRUWKH6ROGLHUIRU/LIH±7UDQVLWLRQ$VVLVWDQFH3URJUDP 6)/± 7$3 ZLWKLQWKHLU
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   XQLWVDQGZLOOLQWHJUDWHWUDQVLWLRQSUHSDUHGQHVVLQWKHLUSURIHVVLRQDOGHYHORSPHQWDQGFRXQVHOLQJSURJUDPVDQGHQVXUH
   DOOHOLJLEOH6ROGLHUVDFFRPSOLVK7UDQVLWLRQ6ROGLHU/LIH&\FOHDQG6)/ ± 7$3UHODWHGWDVNVDVRXWOLQHGLQ$5 ± 
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         &RPPDQGHUVZLOOHQVXUHDOO6ROGLHUVDUHFRXQVHOHGRQWKHLUSURIHVVLRQDODQGSHUVRQDOGHYHORSPHQWJRDOVZLWKLQ
   WKH$UP\DQGHVWDEOLVKPLOLWDU\DQGFLYLOLDQFDUHHUJRDOV&RPPDQGHUVVKRXOGHQFRXUDJH6ROGLHUVWKURXJKRXWWKHLU
   FDUHHUVWRZRUNWRZDUGWKHLUHGXFDWLRQDORURFFXSDWLRQDOJRDOVWKURXJKWUDGLWLRQDOHGXFDWLRQWHFKQLFDOWUDLQLQJ026
   FUHGHQWLDOLQJDQGPLOLWDU\H[SHULHQFH
         &RPPDQGHUVZLOOHQVXUHDOOOHDGHUVIXOILOOWKHLUFULWLFDOUHVSRQVLELOLW\WRGHYHORSIXWXUHOHDGHUVZKRDUHSUH
   SDUHGWRPHHWWRPRUURZ VFKDOOHQJHV0HQWRULQJLVDQHVVHQWLDOFRPSRQHQWRIWKLVGHYHORSPHQW0HQWRULQJUHTXLUHV
   WDNLQJDGYDQWDJHRIDQ\RSSRUWXQLW\WRWHDFKFRXQVHORUFRDFKWREXLOGVNLOOVDQGFRQILGHQFHLQWKHPHQWRUHG7RDLG
   LQ WKH PHQWRUVKLS DQG FDUHHU PDQDJHPHQW  SURFHVV WKH $UP\ KDV GHYHORSHG DQG LPSOHPHQWHG WKH $UP\ &DUHHU
   7UDFNHUDQ$UP\OHDGHUVKLSGHYHORSPHQWWRROWKDWXVHVWKHSURIHVVLRQDOGHYHORSPHQWPRGHODQGSURYLGHVDFRPPRQ
   SLFWXUH RI WUDLQLQJ DQG H[SHULHQFH 8VHG SURSHUO\ WKLV WRRO IDFLOLWDWHV VWUXFWXUHG PHQWRUVKLS DQG FDQ EH XVHG DQG
   UHYLVHGE\VXFFHVVLYHPHQWRUVDVRIILFHUVDQG6ROGLHUVSURJUHVVLQH[SHULHQFH
      F7KH ILQDO SKDVH RI WKH 7UDQVLWLRQ 6ROGLHU /LIH &\FOH LV WKH WUDQVLWLRQ SKDVH 'XULQJ WKH WUDQVLWLRQ SKDVH WKH
   6)/± 7$3SURYLGHVVHUYLFHVGHVLJQHGWRGHOLYHUDZRUOGFODVVWUDQVLWLRQDVVLVWDQFHSURJUDPWKDWZLOOSUHSDUH6RO
          




   GLHUV'$&LYLOLDQVUHWLUHHVDQG6ROGLHUV )DPLO\PHPEHUVIRUDQHZFDUHHUDQGFRQQHFW6ROGLHUVZLWKHPSOR\HUV
   SULPHGWRKLUHYHWHUDQV7KH6)/± 7$3HQVXUHVDOOHOLJLEOHWUDQVLWLRQLQJ6ROGLHUVKDYHWKHNQRZOHGJHVNLOOVDQGVHOI
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   FRQILGHQFHQHFHVVDU\WREHFRPSHWLWLYHDQGVXFFHVVIXOLQWKHJOREDOZRUNIRUFHDQGWRDFKLHYHWKHLUSRVWPLOLWDU\VHU
   YLFH JRDOV 7KH 6)/± 7$3 KHOSV DIIHFWHG 6ROGLHUV '$ &LYLOLDQV UHWLUHHV DQG 6ROGLHUV  )DPLO\ PHPEHUV WR PDNH
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   LQIRUPHGFDUHHUGHFLVLRQVWKURXJKEHQHILWVFRXQVHOLQJDQGHPSOR\PHQWDVVLVWDQFHIRUDVXFFHVVIXOWUDQVLWLRQ
        6)/± 7$3LVDFRPPDQGHU VSURJUDP%\HQFRXUDJLQJDQGVXSSRUWLQJHOLJLEOH6ROGLHUVWRVWDUW6)/ ± 7$3VHU
                                                                                                                       




   YLFHVHDUO\FRPPDQGHUV&60V6*VDQGILUVWOLQHVXSHUYLVRUVHQVXUHHOLJLEOH6ROGLHUVDUHDEOHWRPDNHLQIRUPHG
   GHFLVLRQVUHJDUGLQJWKHLUFDUHHUWUDQVLWLRQV
        &RPPDQGHUVDUHHVVHQWLDOPHPEHUVRIWKHLQVWDOODWLRQWUDQVLWLRQFRXQFLOOHGE\WKH6&WRDVVXUHUHVRXUFHV
   SROLFLHVJXLGDQFHDQGSURFHVVHVDUHLQSODFHWRVXSSRUWDFFHVVDQGVHUYLFHVIRUWUDQVLWLRQLQJSHUVRQQHO7KHLQVWDOODWLRQ
   WUDQVLWLRQFRXQFLOUHSUHVHQWVWKHFRPPDQG VLQWHUHVWDQGFROODERUDWLRQZLWKLQWHUQDODQGH[WHUQDOSDUWQHUVDQGVHWVD
   FRPPDQGFOLPDWHWKDWVHQGVWKHPHVVDJHWUDQVLWLRQLQJ6ROGLHUVDUHYDOXHG

   ±)HGHUDO3DUHQW/RFDWRU6HUYLFH
   86&UHTXLUHVWKDWFXUUHQWDGGUHVVHVRI6ROGLHUVEHDYDLODEOHWRWKH)HGHUDO3DUHQW/RFDWRU6HUYLFH7KH'HIHQVH
   (QUROOPHQW(OLJLELOLW\5HSRUWLQJ6\VWHP '((56 VHUYHVDV'R'¶VFHQWUDOL]HGSHUVRQDOORFDWRUVHUYLFH&RPPDQGHUV
   ZLOOHQVXUHWKDWDOO6ROGLHUVXSGDWHQHZUHVLGHQWLDODGGUHVVHVRQWKH'((56ZLWKLQGD\VDIWHUWKHQHZDGGUHVVLV
   HVWDEOLVKHG 6ROGLHUV DVVLJQHG RYHUVHDV RU ZKRVH UHVLGHQWLDO DGGUHVV VKRXOG QRW EH GLVFORVHG LQ WKH FRPPDQGHU¶V
   MXGJPHQWEHFDXVHRIVHFXULW\RUVDIHW\FRQFHUQVZLOOSURYLGHDGXW\DGGUHVVWR'((56

   ±&RPSODLQWVRUDFFXVDWLRQVDJDLQVWPLOLWDU\SHUVRQQHO
      D*XLGHOLQHVIRULPSOHPHQWDWLRQ7KHSROLFLHVRXWOLQHGLQWKLVSDUDJUDSKDUHLQWHQGHGWRSURYLGHEURDGDQGJHQHUDO
   JXLGDQFH&RPSODLQWVWRWKH$UP\,*DUHJRYHUQHGE\$5 ±$FFXVDWLRQVRIDFULPLQDOQDWXUHDUHUHSRUWHGDQG
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   LQYHVWLJDWHGDFFRUGLQJWR$5 ± RU$5 ± &RPSODLQWVE\6ROGLHUVLQYROYLQJKDUDVVPHQW KD]LQJEXOO\LQJ
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   GLVFULPLQDWRU\KDUDVVPHQW IROORZWKHSURFHGXUHVVHWIRUWKLQSDUDJUDSK± DQGFKDSWHU&RPSODLQWVE\6ROGLHUV
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   DQG)DPLO\PHPEHUVLQYROYLQJGLVFULPLQDWLRQEDVHGXSRQUDFHFRORUVH[ LQFOXGLQJJHQGHULGHQWLW\ QDWLRQDORULJLQ
   UHOLJLRQDQGVH[XDORULHQWDWLRQIROORZWKHSURFHGXUHVVHWIRUWKLQFKDSWHU&RPSODLQWVE\6ROGLHUVDQG)DPLO\PHP
   EHUVLQYROYLQJVH[XDOKDUDVVPHQWIROORZWKHSURFHGXUHVVHWIRUWKLQ FKDSWHU&RPSODLQWVRIZURQJGRLQJPDGHE\
   6ROGLHUVDJDLQVWWKHLUFRPPDQGHUSXUVXDQWWR8&0-$UWVKRXOGEHSUHSDUHGVXEPLWWHGDQGUHVROYHGIROORZLQJ
   WKHJXLGDQFHLQ$5 ± &RPSODLQWVRUDFFXVDWLRQVWKDWIDOOZLWKLQWKH86&SHUWDLQLQJWRPLOLWDU\ZKLVWOH
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   EORZHUUHSULVDODUHDGGUHVVHGLQ'R''DQG$5 ±                         




      E&RPPDQGUHVSRQVLELOLWLHV:KHQFRPPDQGHUVDUHDSSULVHGRIFRPSODLQWVRUDFFXVDWLRQVDJDLQVWPLOLWDU\SHU
   VRQQHOWKH\DUHH[SHFWHGWRLQTXLUHLQWRWKHPDWWHUDQGDWWHPSWDUHVROXWLRQ:KHQDZULWWHQFRPSODLQWRUDFFXVDWLRQ
   LVUHFHLYHGDJDLQVWPLOLWDU\SHUVRQQHO&2VRIXQLWVRULQVWDOODWLRQVZLOOWDNHDFWLRQDVQRWHGEHORZ $OOFRPSODLQWV
   ZLOOEHDFNQRZOHGJHGDQGRUGRFXPHQWHGLQZULWLQJ
        &RPSODLQWVDJDLQVWDVHQLRURIILFLDO$Q\DOOHJDWLRQVRILPSURSULHW\RUPLVFRQGXFW LQFOXGLQJFULPLQDODOOHJD
   WLRQV DJDLQVWD*2DSURPRWDEOH&2/DPHPEHURIWKH6HQLRU([HFXWLYH6HUYLFHDQGDQ\RWKHU'$&LYLOLDQHP
   SOR\HHRIFRPSDUDEOHJUDGHRUSRVLWLRQZLOOEHUHSRUWHGWRWKH'$,*¶V,QYHVWLJDWLRQV'LYLVLRQZLWKLQGD\VRIUHFHLSW
   LQDFFRUGDQFHZLWK$5 ±                




        &RPSODLQWVIRUZDUGHGIURPKLJKHUKHDGTXDUWHUV
       D :KHQILQDODFWLRQRQDFRPSODLQWUHFHLYHGIURPKLJKHUKHDGTXDUWHUVIRULQYHVWLJDWLRQDQGDUHSRUWRIILQGLQJV
   LVFRPSOHWHGWKHFRPSODLQWZLOOEHUHWXUQHGWRWKDWKHDGTXDUWHUV,WZLOOEHDFFRPSDQLHGE\WKHUHSRUWRILQYHVWLJDWLRQ
   8QOHVVDKLJKHUKHDGTXDUWHUVUHVHUYHGGHFLVLRQRQWKHGLVSRVLWLRQRIWKHFRPSODLQWRUDFFXVDWLRQSHQGLQJUHFHLSWRI
   LQYHVWLJDWLRQWKHFDVHZLOOEHGLVSRVHGRIDWWKHORZHVWOHYHOKDYLQJDXWKRULW\FRQVLVWHQWZLWKWKHJUDYLW\RIWKHFDVH
   :KHQKLJKHUKHDGTXDUWHUVKDVUHVHUYHGWKHULJKWWRDSSURYHGLVSRVLWLRQRIWKHFDVHWKHUHSRUWRILQYHVWLJDWLRQZLOOEH
   UHWXUQHGDQGILQDODFWLRQ ZLWKKHOGSHQGLQJGLVSRVLWLRQLQVWUXFWLRQV+LJKHUKHDGTXDUWHUV QRUPDOO\ ZLOOUHVHUYHWKH
   ULJKWRIILQDOGLVSRVLWLRQRQO\LQFDVHVLQYROYLQJFRPSOH[LVVXHVRUFDVHVWKHFRPPDQGHUGHVLUHVLQWKHLQWHUHVWRI
   MXVWLFHWRHQVXUHXQLIRUPKDQGOLQJWKURXJKRXWWKHFRPPDQG
       E &RPSODLQWVUHFHLYHGDIWHUD6ROGLHULVWUDQVIHUUHGZLOOEHIRUZDUGHGWRWKH6ROGLHU¶VJDLQLQJRUJDQL]DWLRQ7KH
   KHDGTXDUWHUVVHQGLQJWKHFRPSODLQWZLOOEHDGYLVHGRIWKHUHVXOWVRIWKHFRPPDQGHU¶VLQYHVWLJDWLRQ
        &RPSODLQWVUHFHLYHGE\XQLWVRULQVWDOODWLRQV:KHQZDUUDQWHGWKHFRPSODLQWZLOOEHLQYHVWLJDWHG,IWKHFRP
   PDQGHUEHOLHYHVWKHFRPSODLQWGRHVQRWZDUUDQWDQLQYHVWLJDWLRQWKHVWDWHPHQWGRHVQRWZDUUDQWLQYHVWLJDWLRQZLOO
   EHUHFRUGHGRQWKHFRPSODLQWDORQJZLWKDQH[SODQDWLRQRIWKHFRPPDQGHU¶VUDWLRQDOHIRUQRWLQLWLDWLQJDQLQYHVWLJD
   WLRQIROORZHGE\WKHLQLWLDOVRIWKHFRPPDQGHURUDQRIILFHUGHVLJQDWHGE\WKHFRPPDQGHU7KHFRPSODLQDQWZLOOEH
   DGYLVHGDGHFLVLRQZDVPDGHWKDWIXUWKHUDFWLRQRQWKHFRPSODLQWLVQRWZDUUDQWHG6XFKFRPSODLQWVZLOOEHPDLQWDLQHG
   DQGGLVSRVHGRISHU$5 ±  ±                   




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        &RPSODLQWVFRQFHUQLQJUHWLUHGSHUVRQQHO&RPPDQGHUVVKRXOGVHHNDGYLFHIURPWKHLUVHUYLFLQJOHJDODGYLVRU
   ZKHQWKH\UHFHLYHFRPSODLQWVRUDFFXVDWLRQVDJDLQVWUHWLUHGPLOLWDU\SHUVRQQHOQRWRQDFWLYHGXW\1RUPDOO\VXFK
   FRPSODLQWVVKRXOGEHIRUZDUGHGWRWKH&RPPDQGHU+5&
      F3URWHFWHGFRPPXQLFDWLRQ&RPPDQGHUVDQGVXSHUYLVRUVDUHSURKLELWHGIURPLQLWLDWLQJDQ\W\SHRIGLVFLSOLQDU\
   RUDGYHUVHDFWLRQDJDLQVWDQ\6ROGLHUEHFDXVHWKHLQGLYLGXDOPDGHDSURWHFWHGFRPPXQLFDWLRQWRDQ\UHFLSLHQWLGHQWL
   ILHGLQ86&WRLQFOXGHSURYLGLQJWHVWLPRQ\DWDFRXUWPDUWLDO)RUGHILQLWLRQVRISURWHFWHGFRPPXQLFDWLRQV
   DQGUHFLSLHQWVVHHSDUDJUDSK± 
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      G)DOVHVWDWHPHQWV.QRZLQJO\IDOVHVWDWHPHQWVDUHH[FHSWHGIURPWKHSURKLELWLRQLQSDUDJUDSK±F3HUVRQV
   ZKR PDNH VXFK NQRZLQJO\ IDOVH VWDWHPHQWV DUH SRWHQWLDOO\ VXEMHFW WR FRXUWPDUWLDO RU RWKHU GLVFLSOLQDU\ PHDVXUHV
    6ROGLHUV WRSURVHFXWLRQE\FLYLODXWKRULWLHVRUWRDGPLQLVWUDWLYHRUGLVFLSOLQDU\DFWLRQXQGHUDSSOLFDEOHFLYLOLDQSHU
   VRQQHOUHJXODWLRQV
      H8QIDYRUDEOHLQIRUPDWLRQ8QIDYRUDEOHLQIRUPDWLRQFRQFHUQLQJD6ROGLHUZLOOQRWEHILOHGLQWKHLUUHFRUGH[FHSW
   DVSURYLGHGLQ$5 ± 
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   ±0LOLWDU\:KLVWOHEORZHU3URWHFWLRQ$FW
   '$SHUVRQQHODUHSURKLELWHGIURPUHVWULFWLQJD6ROGLHU¶VODZIXOFRPPXQLFDWLRQZLWKD0HPEHURI&RQJUHVVRUDQ,*
   DQG IURP WDNLQJ DFWV RI UHSULVDO DJDLQVW D 6ROGLHU IRU PDNLQJ SUHSDULQJ WR PDNH RU EHLQJ SHUFHLYHG DV PDNLQJ D
   SURWHFWHGFRPPXQLFDWLRQ VHH86&DQG'R'' 7KHSURYLVLRQVRISDUDJUDSK± DUHSXQLWLYHDQG
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   YLRODWLRQVPD\EHSXQLVKHGXQGHU8&0-$UW
      D1RSHUVRQZLOOUHVWULFWDPHPEHURIWKH$UPHG6HUYLFHVIURPODZIXOO\FRPPXQLFDWLQJZLWKD0HPEHURI&RQ
   JUHVVRUDQ,*
      E1RSHUVRQZLOOWDNHDQXQIDYRUDEOHSHUVRQQHODFWLRQRUZLWKKROGRUWKUHDWHQWRZLWKKROGDIDYRUDEOHSHUVRQQHO
   DFWLRQDVDUHSULVDODJDLQVWDPHPEHURIWKH$UPHG)RUFHVIRUPDNLQJRUSUHSDULQJRUEHLQJSHUFHLYHGDVPDNLQJRU
   SUHSDULQJWRPDNHDSURWHFWHGFRPPXQLFDWLRQ$SURWHFWHGFRPPXQLFDWLRQLQFOXGHV
        $Q\ODZIXOFRPPXQLFDWLRQZLWKD0HPEHURI&RQJUHVVRUDQ,*
        $FRPPXQLFDWLRQGHVFULEHGLQSDUDJUDSK±E  WKDWLVPDGH SUHSDUHGRUSHUFHLYHGWREHPDGH WRD0HP
   EHURI&RQJUHVVDQ,*DPHPEHURID'R'DXGLWLQVSHFWLRQLQYHVWLJDWLRQRUODZHQIRUFHPHQWRUJDQL]DWLRQDQ\
   SHUVRQ RU RUJDQL]DWLRQ LQ WKH FKDLQ RI FRPPDQG D FRXUWPDUWLDO SURFHHGLQJ RU DQ\ RWKHU SHUVRQ RU RUJDQL]DWLRQ
   GHVLJQDWHGSXUVXDQWWRUHJXODWLRQVRURWKHUHVWDEOLVKHGDGPLQLVWUDWLYHSURFHGXUHVIRUVXFKFRPPXQLFDWLRQVRU
        7HVWLPRQ\RURWKHUZLVHSDUWLFLSDWLQJLQRUDVVLVWLQJLQDQLQYHVWLJDWLRQRUSURFHHGLQJUHODWHGWRDSURWHFWHG
   FRPPXQLFDWLRQRUILOLQJFDXVLQJWREHILOHGSDUWLFLSDWLQJLQRURWKHUZLVHDVVLVWLQJLQDQDFWLRQEURXJKWXQGHUWKH
   0LOLWDU\:KLVWOHEORZHU5HSULVDO$FWRU
        $ FRPPXQLFDWLRQ LQ ZKLFK D PHPEHU RI WKH $UPHG )RUFHV FRPSODLQV RI RU GLVFORVHV LQIRUPDWLRQ WKDW WKH
   PHPEHUUHDVRQDEO\EHOLHYHVFRQVWLWXWHVHYLGHQFHRIDQ\RIWKHIROORZLQJ
       D $YLRODWLRQRIODZRUUHJXODWLRQLQFOXGLQJDODZRUUHJXODWLRQSURKLELWLQJUDSHVH[XDODVVDXOWRUFHUWDLQRWKHU
   VH[XDOPLVFRQGXFWVH[XDOKDUDVVPHQWRUXQODZIXOGLVFULPLQDWLRQ
       E *URVVPLVPDQDJHPHQWDJURVVZDVWHRIIXQGVDQDEXVHRIDXWKRULW\RUDVXEVWDQWLDODQGVSHFLILFGDQJHUWR
   SXEOLFKHDOWKRUVDIHW\RU
       F $WKUHDWE\DQRWKHUPHPEHURIWKH$UPHG)RUFHVRUHPSOR\HHRIWKH)HGHUDO*RYHUQPHQWWKDWLQGLFDWHV D
   GHWHUPLQDWLRQRULQWHQWWRNLOORUFDXVHVHULRXVERGLO\LQMXU\WRPHPEHUVRIWKH$UPHG)RUFHVRUFLYLOLDQVRUGDPDJH
   WRPLOLWDU\)HGHUDORUFLYLOLDQSURSHUW\
      F$FRPPXQLFDWLRQXQGHUSDUDJUDSK± E  GRHVQRWORVHSURWHFWHGVWDWXVEHFDXVH²
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        7KHFRPPXQLFDWLRQLVPDGHWRDSHUVRQZKRSDUWLFLSDWHGLQDQDFWLYLW\WKDWWKHPHPEHUUHDVRQDEO\EHOLHYHVWR
   EHFRYHUHGLQSDUDJUDSK±E  
        7KHFRPPXQLFDWLRQUHYHDOHGLQIRUPDWLRQWKDWKDGSUHYLRXVO\EHHQGLVFORVHG
        2IWKHPHPEHU¶VPRWLYHIRUPDNLQJWKHFRPPXQLFDWLRQ
        7KHFRPPXQLFDWLRQZDVQRWPDGHLQZULWLQJ
        7KHFRPPXQLFDWLRQZDVPDGHZKLOHWKHPHPEHUZDVRIIGXW\RU
        7KHFRPPXQLFDWLRQZDVPDGHGXULQJWKHQRUPDOFRXUVHRIGXWLHVRIWKHPHPEHU
      G)RUWKHGHILQLWLRQRISHUVRQQHODFWLRQVHH'R''DQG86&
      H,IWKHDOOHJDWLRQRIUHSULVDOLVPDGHNQRZQWRDQ\DJHQF\DXWKRUL]HGLQWKLVUHJXODWLRQWRUHFHLYHFRPSODLQWVWKH
   DJHQF\ZLOOUHIHUWKHFRPSODLQDQWWRDQ,*
      I7KH6ROGLHUVXEMHFWWRUHSULVDO WKHFRPSODLQDQW PXVWPDNHDILUVWSHUVRQFRPSODLQWWRDQ,*ZLWKLQ\HDURI
   EHFRPLQJDZDUHRIWKHSHUVRQQHODFWLRQWDNHQRUWKUHDWHQHGWKDWWKH\EHOLHYHWRKDYHEHHQLQUHSULVDORUWKHFRPSODLQW
   PD\EHGLVPLVVHGDVXQWLPHO\6ROGLHUVVKRXOGILOHWKHFRPSODLQWZLWKWKHLUVXSSRUWLQJ,*KRZHYHUWKHFRPSODLQDQW
   PD\VXEPLWWKHFRPSODLQWGLUHFWO\WR$VVLVWDQFH'LYLVLRQ86$UP\,*$JHQF\RUWR'R',*:KLOHWKH0LOLWDU\



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   :KLVWOHEORZHU3URWHFWLRQ$FWSURYLGHV6ROGLHUVSURWHFWLRQIURPDFWVRIUHSULVDOE\WKHFKDLQRIFRPPDQGLWGRHVQRW
   UHOLHYH6ROGLHUVRIUHVSRQVLELOLW\IRUWKHLURZQSHUIRUPDQFHFRQGXFWDQGEHKDYLRU
      J7KHFKDLQRIFRPPDQGZLOOHQVXUH6ROGLHUVDUHSURWHFWHGIURPUHSULVDORUUHWDOLDWLRQIRUSURWHFWHGFRPPXQLFD
   WLRQV,IDFRPSODLQDQWEULQJVKLVRUKHUFRPSODLQWWRWKHFRPPDQGHUWKHFRPPDQGHUVKRXOGUHIHUWKHFRPSODLQWWR
   WKHVXSSRUWLQJ,*7KHFKDLQRIFRPPDQGUHWDLQVWKHDXWKRULW\DQGUHVSRQVLELOLW\WRWDNHDFWLRQVDSSURSULDWHIRUWKH
   FLUFXPVWDQFHVHYHQWKRXJKWKRVHDFWLRQVPD\EHVXEMHFWWRUHYLHZE\DQ,*LQDZKLVWOHEORZHUUHSULVDOLQYHVWLJDWLRQ
   6KRXOGDQDOOHJDWLRQRIZKLVWOHEORZHUUHSULVDOEHVXEVWDQWLDWHGWKHFRPSODLQDQWPD\VXEPLWWKHUHVXOWVRIWKHLQYHV
   WLJDWLRQWRWKH$UP\%RDUGIRU&RUUHFWLRQRI0LOLWDU\5HFRUGVWRFRUUHFWWKH UHFRUG$GGLWLRQDOO\WKH DSSURSULDWH
   FRPPDQGZLOOEHSURYLGHGWKHUHVXOWVRIWKHLQYHVWLJDWLRQDQGPXVWUHSRUWDFWLRQVWDNHQDJDLQVWWKHUHSULVLQJRIILFLDOV
   DVUHTXLUHGE\'R''DQG$5 ±      




   ±5HWDOLDWLRQ
       D1R6ROGLHUPD\UHWDOLDWHDJDLQVWDYLFWLPDQDOOHJHGYLFWLPRUDQRWKHUPHPEHURIWKH$UPHG)RUFHVEDVHGRQ
   WKDWLQGLYLGXDO¶VUHSRUWLQJRUSODQQLQJWRUHSRUWDFULPLQDORIIHQVHRUGLVFRXUDJHWKHLQGLYLGXDOIURPUHSRUWLQJDFULP
   LQDORIIHQVH
       E7KHSURYLVLRQVRISDUDJUDSK± DUHSXQLWLYHDQGYLRODWLRQVPD\EHSXQLVKHGXQGHUWKH8&0-
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       F'HILQLWLRQV²
         6XEMHFWWRPRUHVSHFLILFJXLGDQFHIURPWKH'R'IRUWKHSXUSRVHVRIWKLVSDUDJUDSK ±³UHWDOLDWLRQ´LVGH
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   ILQHGDV
        D $Q\SHUVRQVXEMHFWWRWKH8&0-ZKRZURQJIXOO\WDNHVRUWKUHDWHQVWRWDNHDQDGYHUVHSHUVRQQHODFWLRQRU
   ZURQJIXOO\ZLWKKROGVRUWKUHDWHQVWRZLWKKROGDIDYRUDEOHSHUVRQQHODFWLRQZLWKWKHLQWHQWWRGLVFRXUDJHRUUHWDOLDWH
   DJDLQVWDQ\SHUVRQIRUUHSRUWLQJRUSODQQLQJWRUHSRUWDFULPLQDORIIHQVHRUPDNLQJRUSODQQLQJWRPDNHDSURWHFWHG
   FRPPXQLFDWLRQ 6HH$UWLFOH8&0-   
        E $FWVRIFUXHOW\RSSUHVVLRQRUPDOWUHDWPHQW DVWKHVHWHUPVDUHGHVFULEHGLQ8&0-$UW FRPPLWWHGDJDLQVW
   DYLFWLPDQDOOHJHGYLFWLPRUDQRWKHUPHPEHURIWKH$UPHG)RUFHVE\SHHUVRURWKHUSHUVRQVEHFDXVHWKHLQGLYLGXDO
   UHSRUWHGDFULPLQDORIIHQVHRUZDVEHOLHYHGWRKDYHUHSRUWHGDFULPLQDORIIHQVH
         3HUVRQQHODFWLRQLVGHILQHGLQ'R''DVDQ\DFWLRQWDNHQDJDLQVWDPHPEHURIWKH$UPHG)RUFHVWKDW
   DIIHFWVRUKDVWKHSRWHQWLDOWRDIIHFWWKDWPHPEHU¶VFXUUHQWSRVLWLRQRUFDUHHU6XFKDFWLRQVLQFOXGHDSURPRWLRQD
   GLVFLSOLQDU\RURWKHUFRUUHFWLYHDFWLRQDWUDQVIHURUUHDVVLJQPHQWDSHUIRUPDQFHHYDOXDWLRQDGHFLVLRQRQSD\EHQH
   ILWVDZDUGVRUWUDLQLQJUHOLHIRUUHPRYDOVHSDUDWLRQGLVFKDUJHUHIHUUDOIRUPHQWDOKHDOWKHYDOXDWLRQVXQGHU'R',
   DQGDQ\RWKHUVLJQLILFDQWFKDQJHLQGXWLHVRUUHVSRQVLELOLWLHVLQFRQVLVWHQWZLWKWKHPHPEHU¶VJUDGH
       G$OOHJDWLRQVRIUHWDOLDWLRQGHVFULEHGLQSDUDJUDSK±F  D ZLOOEHUHIHUUHGWRDQGLQYHVWLJDWHGE\WKHDSSUR
   SULDWH,*LQDFFRUGDQFHZLWKUHIHUHQFHV'R''DQG$5 ±         




       H$OOHJDWLRQVRIUHSULVDOGHVFULEHGLQSDUDJUDSKV±F  D DQGIDOOZLWKLQWKHSURYLVLRQVDGGUHVVHGLQSDUDJUDSK
    ± VKRXOGEHUHIHUUHGWRDQ,*:KHQWKHFRPSODLQWLVSUHVHQWHGWRDQ,*E\DILUVWSHUVRQFRPSODLQDQWWKHDOOHJD
                  




   WLRQZLOOEHLQYHVWLJDWHGE\DQDSSURSULDWH,*LQDFFRUGDQFHZLWK'R''DQG$5 ± $Q,*ZLOOQRWDFFHSW
                                                                                                      




   DWKLUGSHUVRQFRPSODLQWRIUHSULVDO
       I:KHQWKH86$&,'&LQLWLDWHVDVH[XDODVVDXOWLQYHVWLJDWLRQLWZLOODOVRLQLWLDWHDQGFRQGXFWVXEVHTXHQWLQYHVWL
   JDWLRQVUHODWHGWRVXVSHFWHGFULPLQDODFWVUHODWHGWRUHWDOLDWLRQDJDLQVWWKHVH[XDODVVDXOWYLFWLPVXFKDVSK\VLFDODV
   VDXOWVWKUHDWVDQGGDPDJHWRSURSHUW\&RPSODLQDQWVDQGRUWKHLUFRPPDQGHUVKRXOGLPPHGLDWHO\QRWLI\86$&,'&
   ZKHQHYHUWKHYLFWLPRIDQXQUHVWULFWHGVH[XDODVVDXOWLVWKUHDWHQHGDVVDXOWHGRUVXIIHUVSURSHUW\GDPDJHVXEVHTXHQW
   WRWKHLUFRPSODLQWRIDVH[XDODVVDXOW6KRXOGD6ROGLHUGHVLUHWRILOHDZKLVWOHEORZHUUHSULVDOFRPSODLQWXQGHU86&
   'R''DVGHVFULEHGLQSDUDJUDSK ± WKH6ROGLHUPXVWSUHVHQWWKHFRPSODLQWWRDQ,*
                                                              




       J$OOUHSRUWVRIUHWDOLDWRU\EHKDYLRU LQFOXGLQJUHWDOLDWRU\SHUVRQQHODFWLRQVRVWUDFLVPDQGRIIHQVHVDULVLQJXQGHU
   WKH8&0- PXVWEHLQYHVWLJDWHGLQFOXGLQJDFWLRQVDJDLQVWRWKHULQGLYLGXDOV IRUH[DPSOH)DPLO\PHPEHUV LQWHQGHG
   WRKDUPRULQIOXHQFHD6ROGLHU
         5HSRUWVRIUHWDOLDWRU\SHUVRQQHODFWLRQVSUHVHQWHGWRDQ,*XQGHU86&E\WKHLQGLYLGXDOVXEMHFWWRWKH
   UHWDOLDWRU\SHUVRQQHODFWLRQ ZLOOEHLQYHVWLJDWHGE\WKHDSSURSULDWH,*LQDFFRUGDQFHZLWK'R''DQG$5
   ±             




         5HSRUWVRIUHWDOLDWRU\EHKDYLRUIDOOLQJRXWVLGHWKHGHILQLWLRQVLQWKLVGLUHFWLYHWKDWLQFOXGHRIIHQVHVXQGHUWKH
   8&0- VXFKDVVWDONLQJGDPDJHRISURSHUW\FRPPXQLFDWLQJDWKUHDWREVWUXFWLRQRIMXVWLFHDVVDXOWDQGVRRQ ZLOO
   EHUHIHUUHGWR86$&,'&IRULQLWLDWLRQRIDFULPLQDOLQYHVWLJDWLRQ
         5HSRUWVRIUHWDOLDWRU\EHKDYLRUWKDWDQ,*RU86$&,'&GRQRWDFFHSWIRULQYHVWLJDWLRQZLOOEHUHIHUUHGWRDQG
   LQYHVWLJDWHGE\WKHFRPSODLQDQW¶VFKDLQRIFRPPDQGRUVXSHUYLVRURUE\DQ\RWKHUDSSURSULDWHLQYHVWLJDWLYHDJHQF\
   RUJDQL]DWLRQRUHQWLW\




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                                                       $5±-XO\                                          
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        $SSURSULDWHGIXQGFLYLOLDQHPSOR\HHVPD\JHQHUDOO\SUHVHQWZKLVWOHEORZHUUHSULVDODOOHJDWLRQVWRHLWKHUWKH
   2IILFHRI6SHFLDO&RXQVHORU'R',*1RQDSSURSULDWHGIXQGHPSOR\HHVDQGDSSURSULDWHGIXQGHPSOR\HHVLQWKHLQ
   WHOOLJHQFHFRPPXQLW\PD\VXEPLWUHSULVDOFRPSODLQWVWR'R',*6HH$5 ±                  




      K&RPPDQGHUVVKRXOGFRQVXOWZLWKWKHLUVHUYLFLQJOHJDODGYLVRUDQGRU,*IRUJXLGDQFHRQLPSOHPHQWDWLRQRIWKLV
   SROLF\DWWKHFRPPDQGOHYHO

   ±$SSHDUDQFHEHIRUHFRQJUHVVLRQDOFRPPLWWHHV
   7KHIXQFWLRQDOSURSRQHQWIRUSROLF\RQDSSHDUDQFHVEHIRUHFRQJUHVVLRQDOFRPPLWWHHVLVWKH+4'$&KLHIRI/HJLVOD
   WLYH/LDLVRQ7KH'$ZLOOSURYLGHPD[LPXPLQIRUPDWLRQDERXWLWVRSHUDWLRQDQGDFWLYLWLHVWRFRQJUHVVLRQDOFRPPLW
   WHHV7KLVLQIRUPDWLRQLVVXEMHFWWR$5± :KHQDVNHGWRDSSHDUEHIRUHDFRQJUHVVLRQDOFRPPLWWHH$UP\PLOLWDU\
                                                      




   SHUVRQQHOZLOOFRRUGLQDWHZLWKWKH&KLHIRI/HJLVODWLYH/LDLVRQ2IILFHRIWKH6(&$50<IRUJXLGDQFHRUDVVLVWDQFH
   &RRUGLQDWLRQ ZLOOEH DFFRPSOLVKHG ZLWK WKH $6$ )0 & RQ PDWWHUVSHUWDLQLQJWRWKH EXGJHW6HH $5 ± IRU          




   DGGLWLRQDOJXLGDQFH

   ±3ROLWLFDODFWLYLWLHV
   7KH'&6*± LVUHVSRQVLEOHIRUSROLF\RQ6ROGLHUSDUWLFLSDWLRQLQSROLWLFDODFWLYLWLHVDVFRQWDLQHGLQ86&
                     




   DQG'R''DVIROORZV
      D2EOLJDWLRQV DV D FLWL]HQ6ROGLHUV DUH H[SHFWHG WR FDUU\ RXW WKHLU REOLJDWLRQV DV FLWL]HQV +RZHYHU ZKLOH RQ
   DFWLYHGXW\6ROGLHUV LQFOXGLQJIXOOWLPH$51* DUHSURKLELWHGLQFHUWDLQFDVHVIURPHQJDJLQJLQFHUWDLQSROLWLFDO
   DFWLYLWLHV7KHIROORZLQJSULQFLSOHVDSSO\
        $6ROGLHURQDFWLYHGXW\PD\²
       D 5HJLVWHUYRWHDQGH[SUHVVWKHLUSHUVRQDORSLQLRQRQSROLWLFDOFDQGLGDWHVDQGLVVXHVEXWQRWDVDUHSUHVHQWDWLYH
   RIWKH$UP\
       E 0DNHPRQHWDU\FRQWULEXWLRQVWRDSROLWLFDORUJDQL]DWLRQ
       F $WWHQGSDUWLVDQDQGQRQSDUWLVDQSROLWLFDOPHHWLQJVRUUDOOLHVDVDVSHFWDWRUZKHQQRWLQXQLIRUP
        $6ROGLHURQDFWLYHGXW\ZLOOQRW²
       D 8VHWKHLURIILFLDODXWKRULW\RULQIOXHQFHIRULQWHUIHULQJZLWKDQHOHFWLRQDIIHFWLQJWKHFRXUVHRURXWFRPHRIDQ
   HOHFWLRQVROLFLWLQJYRWHVIRUDSDUWLFXODUFDQGLGDWHRULVVXHRUUHTXLULQJRUVROLFLWLQJSROLWLFDOFRQWULEXWLRQVIURPRWK
   HUV
       E %H D FDQGLGDWH IRU RU KROG FLYLO RIILFH H[FHSW XQGHU WKH FRQGLWLRQV VHW IRUWK LQ WKLV UHJXODWLRQ DQG 'R''
   
       F 3DUWLFLSDWHLQSDUWLVDQSROLWLFDOPDQDJHPHQWFDPSDLJQVRUFRQYHQWLRQVH[FHSWDVDXWKRUL]HGE\DSSHQGL[%
   DQG'R''
       G 0DNHFDPSDLJQFRQWULEXWLRQVWRDQRWKHUPHPEHURIWKH$UPHG)RUFHVVHUYLQJRQDFWLYHGXW\
        $SSHQGL[%SURYLGHVJXLGHOLQHVDQGH[DPSOHVRISHUPLVVLEOHDQGSURKLELWHGSROLWLFDODFWLYLWLHV
      E3DUWLFLSDWLRQLQORFDOQRQSDUWLVDQSROLWLFDODFWLYLWLHV6HHSDUDJUDSK% ±             




      F&DQGLGDWHIRUHOHFWLYHRIILFH$PHPEHURQDFWLYHGXW\RUXQGHUDFDOORURUGHUWRDFWLYHGXW\IRUPRUHWKDQ
   GD\VPD\QRW²
        &DPSDLJQDVDQRPLQHHRUDVDFDQGLGDWHIRUQRPLQDWLRQIRUFLYLORIILFHH[FHSWDVDXWKRUL]HGLQWKLVUHJXODWLRQ
   :KHQFLUFXPVWDQFHVZDUUDQWWKH6(&$50<PD\SHUPLWWKH6ROGLHUWRILOHVXFKHYLGHQFHRIQRPLQDWLRQRUFDQGLGDF\
   IRUQRPLQDWLRQDVPD\EHUHTXLUHGE\ODZ6XFKSHUPLVVLRQZLOOQRWDXWKRUL]HDFWLYLW\ZKLOHRQDFWLYHGXW\WKDWLV
   RWKHUZLVHSURKLELWHGE\WKLVUHJXODWLRQ'R''RU)HGHUDOVWDWXWHV$Q\UHTXHVWIRUSHUPLVVLRQWRILOHRUUXQ
   DVDFDQGLGDWHPXVWEHVXEPLWWHGDVDPHPRUDQGXPWKURXJKWKHFKDLQRIFRPPDQGWRWKH6(&$50<6XFKSHUPLV
   VLRQLV JUDQWHGVSDULQJO\EHFDXVHLWUXQVFRXQWHUWRWKHWUDGLWLRQDOFRQFHSWWKDW 6ROGLHUVRQDFWLYHGXW\VKRXOGQRW
   HQJDJHLQSDUWLVDQSROLWLFDODFWLYLW\5HTXHVWVVKRXOGEHVXEPLWWHGDWOHDVWPRQWKVSULRUWRDQ\ILOLQJGHDGOLQHDQG
   FRQIRUPWR'R''$Q\ILOLQJGHDGOLQHVKRXOGEHH[SODLQHGLQWKHUHTXHVWPHPRUDQGXP5HTXHVWVVKRXOGEH
   VXEPLWWHGWRWKH6(&$50<WKURXJKWKHFKDLQRIFRPPDQGZLWKHDFKOHYHORIFRPPDQGSURYLGLQJDUHFRPPHQGDWLRQ
   WRWKH6(&$50<
        %HFRPHDFDQGLGDWHIRUDQ\FLYLORIILFHZKLOHVHUYLQJDQLQLWLDOWRXURIDFWLYHGXW\RUDWRXURIDFWLYHGXW\WKDW
   WKHPHPEHUDJUHHGWRSHUIRUPDVDFRQGLWLRQRIUHFHLYLQJVFKRROLQJRURWKHUWUDLQLQJZKROO\RUSDUWO\DW86*RYHUQ
   PHQWH[SHQVH
      G(OHFWLRQRUDSSRLQWPHQWWRFLYLORIILFH
        ([FHSWDVDXWKRUL]HGE\WKLVUHJXODWLRQRURWKHUZLVHSURYLGHGIRUE\ODZRU'R'SROLF\²
        1RPHPEHURQDFWLYHGXW\RUXQGHUDFDOORURUGHUWRDFWLYHGXW\IRUPRUHWKDQGD\VPD\KROGRUH[HUFLVH
   WKHIXQFWLRQRIFLYLORIILFHVLQWKH86*RYHUQPHQWWKDWLVDQHOHFWLYHRIILFHUHTXLUHVDQDSSRLQWPHQWE\WKH3UHVLGHQW
   ZLWKWKHDGYLFHDQGFRQVHQWRIWKH6HQDWHRULVDSRVLWLRQRQWKHH[HFXWLYHVFKHGXOHXQGHU86&WKURXJK



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                                                          $5±-XO\                                                   
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   86&$UHWLUHGUHJXODUPHPEHURUD86$5PHPEHURQDFWLYHGXW\XQGHUDFDOORURUGHUWRDFWLYHGXW\IRU
   GD\VRUIHZHUPD\KROGDQGH[HUFLVHWKHIXQFWLRQVRIDFLYLORIILFHSURYLGHGWKHUHLVQRLQWHUIHUHQFHZLWKWKHSHUIRU
   PDQFHRIPLOLWDU\GXW\
        $PHPEHUPD\KROGDQGH[HUFLVHWKHIXQFWLRQRIDFLYLORIILFHLQWKH86*RYHUQPHQWWKDWLVGHVFULEHGLQ
   SDUDJUDSK±G  ZKHQDVVLJQHGRUGHWDLOHGWRVXFKRIILFHWRSHUIRUPVXFKIXQFWLRQVSURYLGHGWKHDVVLJQPHQWRU
   GHWDLOGRHVQRWLQWHUIHUHZLWKPLOLWDU\GXWLHV
        1RPHPEHURQDFWLYHGXW\PD\KROGRUH[HUFLVHWKHIXQFWLRQRIFLYLORIILFHVLQWKHJRYHUQPHQWRID6WDWHWKH
   'LVWULFWRI&ROXPELDDWHUULWRU\SRVVHVVLRQRUFRPPRQZHDOWKRIWKH8QLWHG6WDWHVRULQDQ\SROLWLFDOVXEGLYLVLRQ
   WKHUHRIXQOHVVRWKHUZLVHDXWKRUL]HGE\'R''RUE\ODZ$UHWLUHGUHJXODURU86$5PHPEHURQDFWLYHGXW\
   XQGHUDFDOORURUGHUWRDFWLYHGXW\IRUPRUHWKDQGD\VPD\KROGEXWZLOOQRWH[HUFLVHWKHIXQFWLRQVRIDFLYLO
   RIILFHDVVHWRXWLQ'R''DVORQJDVWKHKROGLQJRIVXFKRIILFHLVQRWSURKLELWHGXQGHUWKHODZVRIWKH6WDWH
   WKH'LVWULFWRI&ROXPELDDWHUULWRU\SRVVHVVLRQRUFRPPRQZHDOWKRIWKH8QLWHG6WDWHVRUDQ\SROLWLFDOVXEGLYLVLRQ
   WKHUHRIDQGWKH6(&$50<JUDQWVSHUPLVVLRQDIWHUGHWHUPLQLQJWKDWKROGLQJVXFKRIILFHGRHVQRWLQWHUIHUHZLWKWKH
   SHUIRUPDQFHRIPLOLWDU\GXWLHV5HTXHVWVIRUSHUPLVVLRQWRKROGEXWQRWH[HUFLVHWKHIXQFWLRQVRIDQRIILFHVKRXOG
   VXEPLWWHGWRWKH6(&$50<WKURXJKWKHFKDLQRIFRPPDQGZLWKHDFKOHYHORIFRPPDQGSURYLGLQJDUHFRPPHQGDWLRQ
   WRWKH6(&$50<DQGVKRXOGEHVXEPLWWHGLPPHGLDWHO\XSRQQRWLFHRIPRELOL]DWLRQRURUGHUV
        $6ROGLHURQDFWLYHGXW\PD\VHUYHDVDUHJXODURUUHVHUYHFLYLOLDQODZHQIRUFHPHQWRIILFHURUDVDPHPEHURI
   DFLYLOLDQILUHRUUHVFXHVTXDG6XFKVHUYLFH ZLOOEHLQDSULYDWHFDSDFLW\ZLOOQRWLQYROYHWKHH[HUFLVHRIPLOLWDU\
   DXWKRULW\DQGZLOOQRWLQWHUIHUHZLWKWKHSHUIRUPDQFHRIPLOLWDU\GXWLHV
        $VORQJDVWKH\DUHQRWXQGHUDFDOORURUGHUWRDFWLYHGXW\IRUPRUHWKDQGD\V5HVHUYHHQOLVWHGPHPEHUV
   DQGRIILFHUVPD\KROGSDUWLVDQDQGQRQSDUWLVDQFLYLORIILFHLIVXFK RIILFHLVKHOGLQDSULYDWHFDSDFLW\DQGGRHVQRW
   LQWHUIHUHZLWKWKHSHUIRUPDQFHRIPLOLWDU\GXWLHV$GGLWLRQDOO\HQOLVWHGPHPEHUVRQDFWLYHGXW\PD\VHHNDQGKROG
   QRQSDUWLVDQFLYLORIILFHDVDQRWDU\SXEOLFRUPHPEHURIDVFKRROERDUGQHLJKERUKRRGSODQQLQJFRPPLVVLRQRUVLPLODU
   ORFDODJHQWDVORQJDVVXFKRIILFHLVKHOGLQDSULYDWHFDSDFLW\DQGGRHVQRWLQWHUIHUHZLWKWKHSHUIRUPDQFHRIPLOLWDU\
   GXWLHV$Q\ZDUUDQWRUFRPPLVVLRQHGRIILFHURQDFWLYHGXW\PD\VHHNKROGDQGH[HUFLVHWKHIXQFWLRQVRIDQRQSDUWLVDQ
   FLYLORIILFHRQDQLQGHSHQGHQWVFKRROERDUGWKDWLVORFDWHGH[FOXVLYHO\RQDPLOLWDU\UHVHUYDWLRQSURYLGHGWKHRIILFHLV
   KHOGLQDQRQPLOLWDU\FDSDFLW\DQGWKHUHLVQRLQWHUIHUHQFHZLWKWKHSHUIRUPDQFHRIPLOLWDU\GXWLHV
        $6ROGLHUHOHFWHGRUDSSRLQWHGWRDSURKLELWHGFLYLORIILFHPD\UHTXHVWUHWLUHPHQWDQGZLOOEHUHWLUHGLIHOLJLEOH
   IRUUHWLUHPHQW,IWKH6ROGLHUGRHVQRWUHTXHVWRULVQRWHOLJLEOHIRUUHWLUHPHQWWKH6ROGLHUZLOOEHGLVFKDUJHGRUUHOHDVHG
   IURPDFWLYHGXW\DVGHWHUPLQHGE\WKH6(&$50<
        7KHVHSDUDWLRQDQGUHWLUHPHQWUHTXLUHPHQWVDERYHGRQRWDSSO\LIWKHPHPEHUGHFOLQHVWRVHUYHLQWKHSURKLE
   LWHGRIILFHLIWKH6(&$50<GHWHUPLQHVWKDWWKHPHPEHUVKRXOGQRWEHUHOHDVHGIURPDFWLYHGXW\EDVHGRQWKHQHHGV
   RIWKH$UP\RULIWKHPHPEHULV²
       D 2EOLJDWHGWRIXOILOODQDFWLYHGXW\VHUYLFHFRPPLWPHQW
       E 6HUYLQJRUKDVEHHQLVVXHGRUGHUVWRVHUYHLQDQDUHDWKDWLVRYHUVHDVUHPRWHDFRPEDW]RQHRUDKRVWLOHILUH
   SD\DUHD
       F 2UGHUHGWRUHPDLQRQDFWLYHGXW\ZKLOHWKHVXEMHFWRIDQLQYHVWLJDWLRQRULQTXLU\
       G $FFXVHGRIDQRIIHQVHXQGHUWKH8&0-86&&KDSWHURUVHUYLQJDVHQWHQFHRUSXQLVKPHQWIRUVXFK
   RIIHQVH
       H 3HQGLQJDQDGPLQLVWUDWLYHVHSDUDWLRQDFWLRQRUSURFHHGLQJV
       I ,QGHEWHGWRWKH8QLWHG6WDWHV
       J ,QWKH86$5DQGVHUYLQJLQYROXQWDULO\XQGHUDFDOORURUGHUWRDFWLYHGXW\WKDWVSHFLILHVDSHULRGRIDFWLYHGXW\
   RIPRUHWKDQGD\VGXULQJDSHULRGRIGHFODUHGZDURUQDWLRQDOHPHUJHQF\RURWKHUSHULRGZKHQDXQLWRULQGLYLGXDO
   RIWKH$51*RU86$5KDVEHHQLQYROXQWDULO\FDOOHGRURUGHUHGWRDFWLYHGXW\DVDXWKRUL]HGE\ODZ
       K ,QYLRODWLRQRIWKLVUHJXODWLRQRUDQRUGHURURWKHUUHJXODWLRQSURKLELWLQJWKH6ROGLHUIURPDVVXPLQJRUH[HUFLVLQJ
   WKHIXQFWLRQRIFLYLORIILFH
        $6ROGLHUZKRUHIXVHVWRGHFOLQHWRVHUYHLQDSURKLELWHGFLYLORIILFHDIWHUEHLQJGHQLHGVHSDUDWLRQRUUHWLUHPHQW
   XQGHUWKLVFKDSWHUPD\EHVXEMHFWWRGLVFLSOLQDU\RUDGYHUVHDGPLQLVWUDWLYHDFWLRQ
        1RDFWLRQVXQGHUWDNHQE\D6ROGLHULQFDUU\LQJRXWDVVLJQHGPLOLWDU\GXWLHVZLOOEHLQYDOLGDWHGVROHO\E\YLUWXH
   RIWKH6ROGLHUKDYLQJYLRODWHGWKHSURYLVLRQVRIWKLVFKDSWHU

   ±3URKLELWLRQRIPLOLWDU\ODERUXQLRQV
      D,QFRPSDWLELOLW\ZLWKPLOLWDU\VHUYLFH
        6ROGLHUVPXVWEHSUHSDUHGWRILJKWDQGLIQHFHVVDU\SODFHWKHLURZQSHUVRQDOVDIHW\LQMHRSDUG\LQRUGHUWR
   GHIHQGWKH&RQVWLWXWLRQRIWKH8QLWHG6WDWHVDQGWKHLUIHOORZFLWL]HQV7KHUHIRUHGLVFLSOLQHDQGSURPSWREHGLHQFHWR
   WKH ODZIXORUGHUVRI VHQLRUVDUH HVVHQWLDODQGWLPHKRQRUHGHOHPHQWVRI WKH $PHULFDQ PLOLWDU\WUDGLWLRQ)URPWKH



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   HDUOLHVW$UWLFOHVRI:DUODZVDQGUHJXODWLRQVKDYHSURKLELWHGFRQGXFWGHWULPHQWDOWRWKHPLOLWDU\FKDLQRIFRPPDQG
   DQGODZIXOPLOLWDU\DXWKRULW\
        8QLRQL]DWLRQRI6ROGLHUVLVLQFRPSDWLEOHZLWKWKHPLOLWDU\FKDLQRIFRPPDQG,WZRXOGXQGHUPLQHWKHUROH
   DXWKRULW\DQGSRVLWLRQRIWKHFRPPDQGHU,WZRXOGLPSDLUWKHPRUDOHDQGUHDGLQHVVRIWKH$UP\7KHUHIRUH6ROGLHUV
   ZLOOQRWSDUWLFLSDWHLQODERUPDQDJHPHQWQHJRWLDWLRQRUFROOHFWLYHEDUJDLQLQJXQOHVVSDUWRIWKHLURIILFLDOGXWLHVZLWK
   UHVSHFWWRFLYLOLDQHPSOR\HHVLQUHFRJQL]HGEDUJDLQLQJXQLWV1RUZLOOWKH\WDNHSDUWLQVWULNHVVORZGRZQSLFNHWLQJ
   RURWKHUWUDGLWLRQDOIRUPVRIMREDFWLRQV
      E5HVSRQVLELOLWLHV6&V ZLOO UHSRUW DFWLYLWLHV SURKLELWHG E\ WKLV UHJXODWLRQ LPPHGLDWHO\ WR '&6 * ±           




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                                                




   EHVHQWWRLQWHUPHGLDWHFRPPDQGHUV
      F3URKLELWHGDFWLYLWLHV
        (QUROOPHQWDQGPHPEHUVKLS
       D $PHPEHURIWKH$UP\NQRZLQJRIWKHDFWLYLWLHVRIDSDUWLFXODUPLOLWDU\ODERURUJDQL]DWLRQPD\QRW²
      -RLQRUPDLQWDLQPHPEHUVKLSLQVXFKDQRUJDQL]DWLRQ
      $WWHPSWWRHQUROODQRWKHUPHPEHURIWKH$UPHG)RUFHVDVDPHPEHURIVXFKDQRUJDQL]DWLRQ
       E 1RSHUVRQRQDPLOLWDU\LQVWDOODWLRQDQGQRPHPEHURIWKH$UPHG)RUFHVPD\HQUROOLQDPLOLWDU\ODERURUJDQ
   L]DWLRQRUVROLFLWRUDFFHSWGXHVRUIHHVIRUVXFKDQRUJDQL]DWLRQIURPDQ\PHPEHURIWKH$UPHG)RUFHV
        1HJRWLDWLRQRUEDUJDLQLQJ
       D 1RSHUVRQRQDPLOLWDU\LQVWDOODWLRQDQGQRPHPEHURIWKH$UPHG)RUFHVPD\QHJRWLDWHRUEDUJDLQRUDWWHPSW
   WKURXJKDQ\FRHUFLYHDFWWRQHJRWLDWHRUEDUJDLQZLWKDQ\FLYLOLDQRIILFHURUHPSOR\HHRUDQ\PHPEHURIWKH$UPHG
   )RUFHVRQEHKDOIRIPHPEHUVRIWKH$UPHG)RUFHVFRQFHUQLQJWKHWHUPVRUFRQGLWLRQVRIVHUYLFHRIVXFKPHPEHUV
       E 1RPHPEHURIWKH$UPHG)RUFHVDQGQRFLYLOLDQRIILFHURUHPSOR\HHPD\QHJRWLDWHRUEDUJDLQRQEHKDOIRI
   WKH86*RYHUQPHQWFRQFHUQLQJWKHWHUPVRUFRQGLWLRQVRIPLOLWDU\VHUYLFHRIPHPEHUVRIWKH$UPHG)RUFHVZLWK
   DQ\SHUVRQZKRUHSUHVHQWVRUSXUSRUWVWRUHSUHVHQWPHPEHUVRIWKH$UPHG)RUFHV
        6WULNHVRURWKHUFRQFHUWHGODERUDFWLRQV
       D 1RSHUVRQRQDPLOLWDU\LQVWDOODWLRQDQGQRPHPEHURIWKH$UPHG)RUFHVPD\RUJDQL]HRUDWWHPSWWRRUJDQL]H
   RU SDUWLFLSDWH LQ DQ\ VWULNH SLFNHWLQJ PDUFK GHPRQVWUDWLRQ RU RWKHU VLPLODU IRUP RI FRQFHUWHG DFWLRQ LQYROYLQJ
   PHPEHUVRIWKH$UPHG)RUFHVWKDWLVGLUHFWHGDJDLQVWWKHJRYHUQPHQWRIWKH8QLWHG6WDWHVDQGWKDWLVLQWHQGHGWR
   LQGXFHDQ\'$&LYLOLDQRIILFHURUHPSOR\HHRUDQ\PHPEHURIWKH$UPHG)RUFHVWR²
      1HJRWLDWHRUEDUJDLQ ZLWK DQ\SHUVRQDERXWWKHWHUPVRUFRQGLWLRQVRIVHUYLFH RIDQ\PHPEHURIWKH $UPHG
   )RUFHV
      5HFRJQL]HDQ\PLOLWDU\ODERURUJDQL]DWLRQDVDUHSUHVHQWDWLYHRILQGLYLGXDOPHPEHUVRIWKH$UPHG)RUFHVLQ
   FRQQHFWLRQZLWKDQ\FRPSODLQWRUJULHYDQFHRIDQ\VXFKPHPEHUDULVLQJRXWRIWKHWHUPVRUFRQGLWLRQVRIVHUYLFHRI
   VXFKPHPEHULQWKH$UPHG)RUFHV
      0DNHFKDQJHVLQWKHWHUPVRUFRQGLWLRQVRIPLOLWDU\VHUYLFHLQWKH$UPHG)RUFHVRILQGLYLGXDOPHPEHUVRIWKH
   $UPHG)RUFHV
       E 1RSHUVRQPD\XVHDQ\PLOLWDU\LQVWDOODWLRQIRUDQ\PHHWLQJPDUFKSLFNHWLQJGHPRQVWUDWLRQRURWKHUVLPLODU
   DFWLYLW\IRUWKHSXUSRVHRIHQJDJLQJLQDQ\DFWLYLW\SURKLELWHGE\WKLVSDUDJUDSK
       F 1RPHPEHURIWKH$UPHG)RUFHVDQGQRFLYLOLDQRIILFHURUHPSOR\HHPD\SHUPLWRUDXWKRUL]HWKHXVHRIDQ\
   PLOLWDU\LQVWDOODWLRQIRUDQ\PHHWLQJPDUFKSLFNHWLQJGHPRQVWUDWLRQRURWKHUVLPLODUDFWLYLW\WKDWLVIRUWKHSXUSRVH
   RIHQJDJLQJLQDQ\DFWLYLW\SURKLELWHGE\WKLVSDUDJUDSK
        5HSUHVHQWDWLRQ$PLOLWDU\ODERURUJDQL]DWLRQPD\QRWUHSUHVHQWRUDWWHPSWWRUHSUHVHQWDQ\PHPEHURIWKH
   $UPHG)RUFHVEHIRUHDQ\FLYLOLDQRIILFHURUHPSOR\HHRUDQ\PHPEHURIWKH$UP\LQFRQQHFWLRQZLWKDQ\JULHYDQFH
   RUFRPSODLQWRIDQ\VXFKPHPEHUDULVLQJRXWRIWKHWHUPVRUFRQGLWLRQVRIVHUYLFHRIVXFKPHPEHURIWKH$UP\
        9LRODWLRQVRISROLF\9LRODWLRQVRIWKLVSROLF\SURYLGHDEDVLVIRUGLVFLSOLQDU\DFWLRQXQGHU8&0-LQDGGLWLRQ
   WRDSSURSULDWHDGPLQLVWUDWLYHVDQFWLRQV
      G3HUPLWWHGDFWLYLWLHV
        7KLVUHJXODWLRQZLOOQRWOLPLWWKHULJKWVRI6ROGLHUVWR²
       D %HORQJWRODZIXORUJDQL]DWLRQVRWKHUWKDQPLOLWDU\ODERURUJDQL]DWLRQV
       E 3UHVHQWFRPSODLQWVWKURXJKHVWDEOLVKHGPLOLWDU\FKDQQHOV
       F 6HHNRUUHFHLYHLQIRUPDWLRQRUFRXQVHOLQJIURPDXWKRUL]HGVRXUFHV
       G %HUHSUHVHQWHGE\DXWKRUL]HGFRXQVHOLQDQ\OHJDORUTXDVLOHJDOSURFHHGLQJDFFRUGLQJWRDSSOLFDEOHODZVDQG
   UHJXODWLRQV
       H 3HWLWLRQWKH&RQJUHVVIRUUHGUHVVRIJULHYDQFHV
       I 7DNH RWKHUDGPLQLVWUDWLYH DFWLRQIRUDGPLQLVWUDWLYHRUMXGLFLDOUHOLHIDVLVDXWKRUL]HG E\DSSOLFDEOHODZVDQG
   UHJXODWLRQV



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        7KLVUHJXODWLRQGRHVQRWSUHYHQWHOLJLEOH'$&LYLOLDQVIURPEHORQJLQJWRRUEHLQJUHSUHVHQWHGE\ODERUXQLRQV
      H0DNLQJGHWHUPLQDWLRQV
        7RGHWHUPLQHLIDQRUJDQL]DWLRQLVDPLOLWDU\ODERURUJDQL]DWLRQDQGYLRODWHVWKLVUHJXODWLRQWKHIROORZLQJZLOO
   EHHYDOXDWHG
       D ,WVKLVWRU\DQGRSHUDWLRQ
       E ,WVFRQVWLWXWLRQDQGE\ODZV
       F 7KHHYLGHQFHJDWKHUHGIRUDQ\VXVSHFWHGSURKLELWHGDFW
        7R GHWHUPLQH LI D SHUVRQ EHORQJV WR D PLOLWDU\ ODERU RUJDQL]DWLRQ DQG LV LQ YLRODWLRQ RI WKLV UHJXODWLRQ WKH
   IROORZLQJZLOOEHHYDOXDWHG
       D 7KHLUKLVWRU\DQGFRQGXFW
       E 7KHHYLGHQFHJDWKHUHGIRUDQ\VXVSHFWHGSURKLELWHGDFW
        7RGHWHUPLQHLIDSHUVRQ DFWHGIRUD PLOLWDU\ODERURUJDQL]DWLRQ ZKHQ WKH\FRPPLWWHGD SURKLELWHGDFW WKH
   IROORZLQJZLOOEHFRQVLGHUHG
       D 7KHIUHTXHQF\RIVXFKDFWV
       E 7KHSRVLWLRQRIWKHSHUVRQLQWKHRUJDQL]DWLRQ
       F ,IWKHDFWVZHUHNQRZQDQGFRQGHPQHGRUGLVDYRZHGE\WKHRUJDQL]DWLRQ¶VOHDGHUVKLS
      I*DWKHULQJLQIRUPDWLRQ3HUVRQQHOJDWKHULQJLQIRUPDWLRQDERXWSHUVRQVDQGRUJDQL]DWLRQVWRPDNHWKHGHWHUPL
   QDWLRQVUHTXLUHGE\WKLVFKDSWHUPXVWVWULFWO\FRPSO\ZLWK$5 ± &RXQWHULQWHOOLJHQFHRUVHFXULW\LQYHVWLJDWLRQ
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   SHUVRQQHOPD\QRWJDWKHUVXFKLQIRUPDWLRQ7KHRUJDQL]DWLRQLWVHOIVKRXOGEHFRQVLGHUHGWKHSULPDU\VRXUFHRILQIRU
   PDWLRQ

   ±2QSRVWGLVWULEXWLRQRIQRQJRYHUQPHQWSULQWHGPDWHULDOV
       D7KHIXQFWLRQDOSURSRQHQWIRUSROLF\UHJDUGLQJRQSRVWGLVWULEXWLRQRIQRQJRYHUQPHQWSULQWHGPDWHULDOVLVWKH
   2IILFHRIWKH&KLHIRI3XEOLF$IIDLUV 6$3$ ± ='$         




       E$FFHVVWRQHZVDQGSXEOLFDWLRQV7KHPDLQWHQDQFHRIOR\DOW\GLVFLSOLQHDQGPRUDOHDPRQJ6ROGLHUVLVHVVHQWLDO
   LIWKH$UP\LVWRSURYLGHDUHOLDEOHDQGHIIHFWLYHPLOLWDU\IRUFHUHVSRQVLYHWRWKHQDWLRQDOVHFXULW\PLVVLRQVDVVLJQHG
   SXUVXDQWWRODZIXODXWKRULW\$WWKHVDPHWLPH6ROGLHUVDUHJHQHUDOO\HQWLWOHGWRIUHHDFFHVVWRQHZVDQGSXEOLFDWLRQV
       F3ROLF\6&VZLOOHQFRXUDJHDQGSURPRWHWKHDYDLODELOLW\RIERRNVSHULRGLFDOVDQGRWKHUSULQWHGPDWHULDOVWKDW
   SUHVHQWDZLGHUDQJHRIYLHZSRLQWVRQSXEOLFLVVXHVWR6ROGLHUV6XFKPHGLDVKRXOGLQFOXGHWKRVHHPSKDVL]LQJWKH
   VWDQGDUGVRIOR\DOW\SDWULRWLVPDQGGLVFLSOLQHWKDWDUHFRPPRQWRWKH$UPHG)RUFHV+RZHYHU6&VZLOOQRWH[FHSW
   DVSURYLGHGLQWKLVSDUDJUDSKDQGLQ$5 ± WDNHDFWLRQWRFRQWURORUUHVWULFWGLVVHPLQDWLRQRISULQWHGPDWHULDOV
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   HYHQLIWKH\DUHEHOLHYHGWREHLQSRRUWDVWHRUXQIDLUO\FULWLFDORIJRYHUQPHQWSROLFLHVRURIILFLDOV7KH6&ZLOOEH
   JXLGHG E\ WKH SULQFLSOH WKDW H[FHSW LQ FDVHV LQ ZKLFK D SXEOLFDWLRQ FRQVWLWXWHV D FOHDU GDQJHU WR PLOLWDU\ OR\DOW\
   GLVFLSOLQHRUPRUDOHRUVSHFLILFDOO\YLRODWHVWKHODZRUUHJXODWRU\DXWKRULW\PLOLWDU\SHUVRQQHODUHHQWLWOHGWRWKHVDPH
   IUHHDFFHVVWRSXEOLFDWLRQVDVDUHRWKHUFLWL]HQV
       G'LVWULEXWLRQRXWOHWV$6&PD\LPSRVHDUHTXLUHPHQWWKDWGLVWULEXWLRQRISULQWHGPDWHULDOVPD\QRWEHPDGH
   H[FHSW WKURXJK UHJXODUO\ HVWDEOLVKHG DQG DSSURYHG GLVWULEXWLRQ RXWOHWV XQOHVV SULRU DSSURYDO LV REWDLQHG IURP WKH
   FRPPDQGHURUDXWKRUL]HGUHSUHVHQWDWLYH$5 ± DQG$5 ± SURYLGHIXUWKHUH[SODQDWLRQDQGJXLGDQFH7KH6&
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   PD\ZLWKRXWLQIRUPLQJKLJKHUKHDGTXDUWHUVRU'$LQDGYDQFHWDNHDSSURSULDWHDFWLRQWRSUHYHQWWKHGLVWULEXWLRQRI
   QRQ'R'FRPPHUFLDOSXEOLFDWLRQVE\SHUVRQVZKRKDYHQRWREWDLQHGWKHUHTXLUHGDSSURYDORUKDYHQRWFRPSOLHGZLWK
   WKLVUHJXODWLRQ$5± DQG$5 ± ([FHSWZKHQWKHSXEOLFDWLRQLQTXHVWLRQLVSXEOLVKHGSULPDULO\IRUDGYHU
                                                 




   WLVLQJRUSURPRWLRQDOSXUSRVHVDGHQLDORIDUHTXHVWIRUGLVWULEXWLRQZLOOEHUHSRUWHGDVUHTXLUHGLQSDUDJUDSK±H
       H5HVWULFWLRQVRQGLVVHPLQDWLRQ,ILWDSSHDUVWKDWDSXEOLFDWLRQSUHVHQWVDFOHDUGDQJHUWRWKHOR\DOW\GLVFLSOLQH
   RUPRUDOHRI6ROGLHUVWKH6&PD\ZLWKRXWSULRUDSSURYDORIKLJKHUKHDGTXDUWHUVGHOD\GLVWULEXWLRQRQSURSHUW\VXE
   MHFWWRWKH6&¶VFRQWURO7KH6&ZLOOFRQVLGHUZKHWKHUWKHDFWRIUHVWULFWLRQZLOOLQLWVHOIUHVXOWLQWKHSXEOLFDWLRQLQ
   TXHVWLRQDFKLHYLQJQRWRULHW\GLQFUHDVHGFLUFXODWLRQWRPLOLWDU\SHUVRQQHOWKURXJKRIISRVWVRXUFHV
         7KH6&¶VGLUHFWLYHWRGHOD\GLVWULEXWLRQZLOOEHLQZULWLQJ
         &RQFXUUHQWO\ZLWKLPSRVLQJDGHOD\DXWKRUL]HGDERYHWKH6&ZLOOLQIRUPE\WHOHSKRQHWKHQH[WPDMRUFRP
   PDQGHUDQG&KLHIRI3XEOLF$IIDLUV 6$3$ ± ='$ :DVKLQJWRQ'& ± 
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         :KHQDGHOD\LQGLVVHPLQDWLRQRIDSXEOLFDWLRQWKURXJKHLWKHURIILFLDORUXQRIILFLDORXWOHWVLVLPSRVHGE\WKH
   6&WKH6&ZLOOZLWKLQZRUNLQJGD\VWKHUHDIWHU²
        D 5HYLHZWKHSXEOLFDWLRQLQTXHVWLRQ
        E 3UHSDUHDZULWWHQUHFRPPHQGDWLRQWR+4'$WKDWSURYLGHVWKHEDVLFIDFWVIRUWKHGHWHUPLQDWLRQWKDWGLVWULEXWLRQ
   RIWKHVXEMHFWSXEOLFDWLRQZRXOGSUHVHQWDFOHDUGDQJHUWRWKHOR\DOW\GLVFLSOLQHRUPRUDOHRIWKH6ROGLHUVRQKLVRU
   KHULQVWDOODWLRQ




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       F 6HQG WKH UHFRPPHQGDWLRQ WRJHWKHU ZLWK D FRS\ RI WKH VXEMHFW SXEOLFDWLRQ WR &KLHI RI 3XEOLF $IIDLUV
    6$3$± ='$ :DVKLQJWRQ'& ± $SSURSULDWHLQIRUPDWLRQFRSLHVVKRXOGDOVREHSURYLGHGWRLQWHUPHGLDWH
                                                                            




   KHDGTXDUWHUV
        5HSRUWVUHTXLUHGLQSDUDJUDSK±H  DQG  DUHH[HPSWUHSRUWV
        7KHGHOD\LQGLVWULEXWLRQZLOOUHPDLQLQIRUFHXQWLODGHWHUPLQDWLRQWRDSSURYHRUGLVDSSURYHWKHUHTXHVWLVPDGH
   E\+4'$
      I'LVWULEXWLRQRIFRPPHUFLDOSXEOLFDWLRQV2QSRVWGLVWULEXWLRQRIFRPPHUFLDOSXEOLFDWLRQVZLOOEHUHVWULFWHGDV
   GHILQHGLQ$5 ± $OOFRPPHUFLDOSXEOLFDWLRQVGLVWULEXWHGIUHHRIFKDUJHZLOOQRWFDUU\DQ\DGYHUWLVHPHQWWKDW
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   LPSOLHVGLVFULPLQDWLRQZLWKUHJDUGWRWKHUDFHFRORUVH[ LQFOXGLQJJHQGHULGHQWLW\ QDWLRQDORULJLQUHOLJLRQRUVH[XDO
   RULHQWDWLRQRIWKHSXUFKDVHUXVHU RUSDWURQ7KHSXEOLFDWLRQZLOOSODFHLWVUHDGHUVDQGDGYHUWLVHUVRQQRWLFHRIWKLV
   UHTXLUHPHQWE\LQFOXGLQJLQDSURPLQHQWORFDWLRQWKHIROORZLQJ(YHU\WKLQJDGYHUWLVHGLQWKLVSXEOLFDWLRQPXVWEH
   PDGHDYDLODEOHIRUSXUFKDVHXVHRUSDWURQDJHZLWKRXWUHJDUGWRWKHUDFHFRORUVH[ LQFOXGLQJJHQGHULGHQWLW\ QD
   WLRQDORULJLQUHOLJLRQRUVH[XDORULHQWDWLRQRIWKHSXUFKDVHUXVHURUSDWURQ
      J'LVWULEXWLRQRIFRPPDQGLQIRUPDWLRQQHZVSDSHUV7KHGLVWULEXWLRQRIFRPPDQGLQIRUPDWLRQQHZVSDSHUV HL
   WKHU$UP\IXQGHGRUFLYLOLDQHQWHUSULVH ZLOOEHJRYHUQHGE\$5 ± 'LVWULEXWLRQWKURXJKRIILFLDOFKDQQHOVZLOO
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   EHDXWKRUL]HG

   ±,QVLGHU7KUHDW3URJUDP
   &RPPDQGHUVKDYHDQREOLJDWLRQWRVXSSRUWWKH$UP\,QVLGHU7KUHDW3URJUDP
      D3XUSRVH
        7KH$UP\,QVLGHU7KUHDW3URJUDPPDQDJHGE\WKH$6$ 0 5$ DQGWKH'&6* ± DQGH[HFXWHGE\WKH           




   $UP\3URWHFWLRQ'LUHFWRUDWH '$02 ± $3 LQDFFRUGDQFHZLWK'R''DQG$5 ± LVDQLQWHJUDWHG'H
                                                                                                                                           




   SDUWPHQWDOHIIRUWWRHQKDQFHWKH$UP\¶VDELOLW\WRSUHYHQWGHWHFWGHWHUDQGPLWLJDWHULVNSRVHGE\LQVLGHUVZKRPD\
   UHSUHVHQWDWKUHDWWRQDWLRQDOVHFXULW\
        7RHQDEOHWKLVHIIRUWWKH$UP\,QVLGHU7KUHDW3URJUDPFRRUGLQDWHVHQWHUSULVHZLGHHIIRUWVWRVFUHHQDQGFOHDU
   SHUVRQQHOSURWHFW$UP\QHWZRUNVVHFXUH$UP\LQVWDOODWLRQVVKDUHLQVLGHUWKUHDWLQIRUPDWLRQHVWDEOLVKDFHQWUDOL]HG
   LQVLGHUWKUHDWDQDO\WLFDOFDSDELOLW\DQGWUDLQUHSRUWDQGUHVSRQGWRSRWHQWLDOLQVLGHUWKUHDWV
      E'HILQLWLRQV
        $Q³LQVLGHUWKUHDW´LVGHILQHGDVWKHWKUHDWWKDWDQ³LQVLGHU´ZLOOXVHKLVRUKHUDXWKRUL]HGDFFHVVZLWWLQJO\RU
   XQZLWWLQJO\WRGRKDUPWRWKHVHFXULW\RIWKH8QLWHG6WDWHV7KLVWKUHDWFDQLQFOXGHGDPDJHWKURXJKHVSLRQDJHWHUURU
   LVPXQDXWKRUL]HGGLVFORVXUHRIQDWLRQDOVHFXULW\LQIRUPDWLRQRUWKURXJKWKHORVVRUGHJUDGDWLRQRIDQ$UP\UHVRXUFH
   RUFDSDELOLW\
        $Q³LQGLFDWRU´LVDQDFWLRQHYHQWRUEHKDYLRUWKDWSRLQWVRXWRUVKRZVDVLJQV\PSWRPRULPSOLFDWLRQRID
   SRWHQWLDOULVNDQGZKLFKUHIOHFWVLQWHQWRUFDSDELOLW\WKDWPD\FRQVWLWXWHDZLWWLQJRUXQZLWWLQJLQVLGHUWKUHDW
      F&RRUGLQDWLRQ&RPPDQGHUVRI$&20V$6&&VDQG+4'$'58VZLOOFRRUGLQDWHDQGV\QFKURQL]HWKHLULQ
   VLGHUWKUHDWHIIRUWWKURXJKH[LVWLQJSURWHFWLRQIRUXPVVXFKDVWKH3URWHFWLRQ([HFXWLYH&RPPLWWHHLQDFFRUGDQFHZLWK
   $5±             




      G,QVLGHU7KUHDW+XE7KH$UP\PDLQWDLQVDFHQWUDOL]HGLQVLGHUWKUHDWDQDO\VLVDQGUHSRUWLQJFDSDELOLW\NQRZQ
   DVWKH$UP\,QVLGHU7KUHDW³+XE´7KH,QVLGHU7KUHDW+XESURYLGHVDFRPPDQGHUDQDVVHVVPHQWRILQVLGHUWKUHDWULVN
   EDVHGRQREVHUYDEOHLQGLFDWRUVWRLQIRUPFRPPDQGGHFLVLRQV7KHDVVHVVPHQWFRUUHODWHGIURPDYDLODEOH*RYHUQPHQW
   LQIRUPDWLRQWDNHVDKROLVWLFDSSURDFKJLYLQJFRQWH[WWRWKHLQGLFDWRUVDQGDQ\SDWWHUQRIEHKDYLRU,QSUHSDULQJWKH
   DVVHVVPHQWWKH,QVLGHU7KUHDW+XEPHWKRGLFDOO\JDWKHUVLQWHJUDWHVDQGDQDO\]HVLQIRUPDWLRQIURPDYDULHW\RIDS
   SURYHG*RYHUQPHQWLQIRUPDWLRQVRXUFHV)XUWKHUWKH,QVLGHU7KUHDW+XEFRRUGLQDWHVVXEMHFWPDWWHUH[SHUWDQDO\VLV
   IRULWVDVVHVVPHQWVLQDUHDVLQFOXGLQJODZHQIRUFHPHQWFRXQWHULQWHOOLJHQFHVHFXULW\EHKDYLRUDOVFLHQFHVDQGOHJDO
      H5HVSRQVLELOLWLHV
        &RPPDQGHUVZLOO²
       D 5HPDLQYLJLODQWDQGHQFRXUDJHYLJLODQFHLQWKHLUFRPPDQGVIRUSRWHQWLDOWKUHDWVDQGRWKHUULVNVIURPLQVLGHUV
       E $FWWRPLWLJDWHULVNIURPLQVLGHUV
       F 'HYHORSDQGHQIRUFHSROLFLHVWKDWGHWHUWKUHDWVDQGPLWLJDWHULVNSURWHFWLQJ$UP\UHVRXUFHVLQIRUPDWLRQSHU
   VRQQHODQGFDSDELOLWLHV&RPPDQGHUVZLOOUHJXODUO\DVVHVVWKHHIIHFWLYHQHVVRISROLFLHVDQGDFWLYLWLHVGXULQJUHJXODU
   FRPPDQGLQVSHFWLRQV$UP\3URWHFWLRQ3URJUDP$VVHVVPHQWVRUVLPLODUDFWLYLWLHV
       G (QVXUH FRPSOLDQFH ZLWK UHSRUWLQJ UHTXLUHPHQWV IRU LQIRUPDWLRQ UHODWHG WR LQVLGHU WKUHDWV DV IRXQG LQ $5
    ± $5 ± DQG$5 ± 
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       H 5HGXFHYXOQHUDELOLWLHVWKURXJKLQFUHDVLQJDZDUHQHVVRIWKUHDWLQGLFDWRUVDQGUHSRUWLQJSURFHGXUHVE\HQVXULQJ
   FRPSOLDQFHZLWKUHTXLUHGWKUHDWDZDUHQHVVWUDLQLQJLQDFFRUGDQFHZLWK$5 ± LQIRUPDWLRQDVVXUDQFHWUDLQLQJLQ
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   DFFRUGDQFHZLWK$5 ± DQGDQWLWHUURULVPDZDUHQHVVWUDLQLQJLQDFFRUGDQFHZLWK$5 ± 
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                                      365
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        I $V DSSURSULDWHUHTXHVW DVVHVVPHQW VXSSRUW IURP WKH ,QVLGHU 7KUHDW +XE WKURXJK WKHLU GHVLJQDWHG FRPPDQG
   UHSUHVHQWDWLYH$FRPPDQGHUPD\VXEPLWDUHTXHVWIRUDVVLVWDQFHWRWKH$UP\,QVLGHU7KUHDW+XEZKHQWKH\UHDVRQ
   DEO\FRQFOXGHEDVHGRQREVHUYDEOHLQGLFDWRUVWKDWDQLQVLGHUPLJKWZLWWLQJO\RUXQZLWWLQJO\FRPPLW²
       $QDFWLQFRQWUDYHQWLRQRIODZRUSROLF\WKDWUHVXOWHGLQRUPLJKWUHVXOWLQKDUPWKURXJKWKHORVVRUGHJUDGDWLRQ
   RIJRYHUQPHQWRUFRPSDQ\LQIRUPDWLRQUHVRXUFHVRUFDSDELOLWLHVRU
       $GHVWUXFWLYHDFWZKLFKPD\LQFOXGHSK\VLFDOKDUPWRDQRWKHULQWKHZRUNSODFH$&20$6&&'58DQGILHOG
   RSHUDWLQJ DJHQF\ DSSURYHG UHSUHVHQWDWLYHV PD\ VXEPLW UHTXHVWV IRU DVVLVWDQFH YLD 1,351(7 DW XVDUP\SHQWD
   JRQKTGDGFVJ ± ± PE[JLQWKXEUHSRUWVFHOO#PDLOPLO RU 6,351(7 DW XVDUP\SHQWDJRQKTGDGFVJ
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    ±  ± PE[JLQWKXEUHSRUWVFHOO#PDLOVPLOPLO7KH,QVLGHU7KUHDW+XEZLOOQRWDFFHSWUHTXHVWVIRUVXSSRUWWR
                            




   LQIRUPDQXQUHODWHGSURFHVV VXFKDVDQDGPLQLVWUDWLYHVHSDUDWLRQSURFHHGLQJ WRXQUHDVRQDEO\WDUJHWD6ROGLHURUIRU
   DQ\RWKHUXQODZIXOSXUSRVH)XUWKHUDUHTXHVWIRUDVVLVWDQFHVKRXOGQRWEH PDGHLIWKH PDWWHUKDVEHHQRWKHUZLVH
   UHSRUWHGWR$UP\FRXQWHULQWHOOLJHQFH
         7RHQDEOHFRPPDQGHUVWKH$UP\,QVLGHU7KUHDW+XEZLOO²
        D 3URYLGHFRPPDQGHUVUHDG\DFFHVVWR$UP\,QVLGHU7KUHDW+XEFDSDELOLWLHVWKURXJKWKHLUFRPPDQGVLQFOXGLQJ
   SURYLGLQJVXEMHFWPDWWHUH[SHUWLVHDGYLFHDQGUHFRPPHQGDWLRQVUHODWLQJWRDSRWHQWLDOLQVLGHUWKUHDW
        E 7DNHDSURDFWLYHDSSURDFKWRDLGFRPPDQGHUVLQFRXQWHULQJLQVLGHUWKUHDWVEHIRUHWKH\EHFRPHDFWLYHRURSHU
   DWLRQDOL]HG,IWKH$UP\LGHQWLILHVDSRWHQWLDOLQVLGHUWKUHDWWKH$UP\,QVLGHU7KUHDW+XEZLOOSURYLGHFRPPDQGHUV
   RUWKHLU'$&LYLOLDQHTXLYDOHQWVZLWKKROLVWLFULVNDVVHVVPHQWVWRHQDEOHPRUHWLPHO\DQGLQIRUPHGLQYHVWLJDWLYHDQG
   FRPPDQGUHVSRQVHV:LWKWKHLUDVVHVVPHQWVWKH$UP\,QVLGHU7KUHDW+XEZLOOLQFOXGHUHFRPPHQGHGFRPPDQGDF
   WLRQVDQGPD\LQFOXGHDGGLWLRQDOUHOHYDQWLQIRUPDWLRQDVDXWKRUL]HGE\ODZRUSROLF\
       I3RLQW RI FRQWDFW7KH SURSRQHQW IRU WKH $UP\ ,QVLGHU 7KUHDW 3URJUDP DQG WKH DVVRFLDWHG +XE LV WKH '&6
   *± * ± $UP\3URWHFWLRQ '$02 ± $3 $UP\3HQWDJRQ:DVKLQJWRQ'& ± 
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   ±5LVNPDQDJHPHQW
      D7KHIXQFWLRQDOSURSRQHQWIRUULVNPDQDJHPHQWLVWKH'LUHFWRURI7KH$UP\6WDII&RPPDQGHUVDWDOOOHYHOVDUH
   UHVSRQVLEOHDQGDFFRXQWDEOHIRUULVNPDQDJHPHQWWUDLQLQJLQDFFRUGDQFHZLWK$5 ± DQG'$3DP ± 5LVN
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   PDQDJHPHQWDGGUHVVHVWKHIXOOVSHFWUXPRI$UP\WUDLQLQJDQGRSHUDWLRQVLQGLYLGXDODQGFROOHFWLYHGD\WRGD\DFWLYL
   WLHVDQGHYHQWVDQGEDVHRSHUDWLRQVIXQFWLRQVWRLGHQWLI\DQGDVVHVVKD]DUGVULVNVGHYHORSDQGLPSOHPHQWFRQWUROV
   PDNHGHFLVLRQVDQGHYDOXDWHRXWFRPHV,WEOHQGVWDFWLFDOWKUHDWEDVHGULVNVZLWKDFFLGHQWDOKD]DUGEDVHGULVNV
      E/HDGHUVDQGPDQDJHUVDUHUHVSRQVLEOHIRULQWHJUDWLQJULVNPDQDJHPHQWLQWRDOO$UP\SURFHVVHVDQGRSHUDWLRQV
   6DIHW\DQGRFFXSDWLRQDOKHDOWKVWDIIVZLOOSURYLGHULVNPDQDJHPHQWWUDLQLQJWRROVDQGRWKHUUHODWHGDVVLVWDQFH5LVN
   UHGXFWLRQWKURXJKDSSOLFDWLRQRIFRQWUROVE\WUDLQLQJSURFHGXUHVFDXWLRQVDQGZDUQLQJVKHOSUHGXFHDFFLGHQWSURED
   ELOLW\
      F&RPPDQGHUVZLOOHQVXUHWKDWWKHULVNPDQDJHPHQWSURFHVVLVLQFRUSRUDWHGLQWRWUDLQLQJSODQV

   ±2SHUDWLRQVVHFXULW\
   &RPPDQGHUVDWDOOOHYHOVDUHUHVSRQVLEOHIRUPDLQWDLQLQJDQDFWLYHRSHUDWLRQVVHFXULW\ 236(& SURJUDPLQDFFRUG
   DQFHZLWK$5 ± )RU236(&WREHHIIHFWLYHDOO$UP\SHUVRQQHOPXVWEHDZDUHRI236(&DQGXQGHUVWDQGKRZ
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   236(&FRPSOHPHQWVWUDGLWLRQDOVHFXULW\SURJUDPV$OOSHUVRQQHOPXVWNQRZKRZWRDSSO\DQGSUDFWLFH236(&LQ
   WKHSHUIRUPDQFHRIWKHLUGDLO\WDVNV236(&PXVWEHFRPHDPLQGVHWZLWKLQDOO$UP\SHUVRQQHODQGEHSHUIRUPHGDV
   VHFRQG QDWXUH 7R DFFRPSOLVK WKLV OHYHO RI 236(& YLJLODQFH 236(& SURJUDPV PXVW EH DFWLRQ DQG MRERULHQWHG
   HQDEOLQJWKHZRUNIRUFHWRSXWLQWRSUDFWLFHWKHNQRZOHGJHDQGWDFWLFVWHFKQLTXHVDQGSURFHGXUHVDQGPD[LPL]HWKH
   XVHRIOHVVRQVOHDUQHGWRLOOXVWUDWH236(&REMHFWLYHVDQGUHTXLUHPHQWV$5 ± DGGUHVVHVWKUHHOHYHOVRIFHUWLILFD
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   WLRQUHTXLUHPHQWV

   ±$GRSWLRQ5HLPEXUVHPHQW3URJUDP
      D8QLWFRPPDQGHUVZLOOVHUYHDVUHYLHZLQJRIILFLDOVWRHYDOXDWHDQGDSSURYHVXEPLVVLRQRISD\PHQWFODLPVIRU
   UHLPEXUVHPHQWE\6ROGLHUV8QLWFRPPDQGHUVZLOODVVLVW6ROGLHUVZLWK'')RUP 5HLPEXUVHPHQW5HTXHVWIRU
   $GRSWLRQ([SHQVHV UHYLHZWKHUHTXLUHGGRFXPHQWVDQGYHULI\DQGVLJQWKH'')RUP
      E$SSOLFDWLRQVIRUUHLPEXUVHPHQW PXVWLQFOXGHGRFXPHQWVDVRXWOLQHGLQ'R',DQGGRFXPHQWDWLRQWR
   VXEVWDQWLDWHUHDVRQDEOHDQGQHFHVVDU\H[SHQVHV
      F&RPPDQGHUVZLOOIRUZDUGWKH'')RUPDQGFODLPDSSOLFDWLRQSDFNDJHZLWKRULJLQDOVLJQDWXUHVRIERWKWKH
   PHPEHUDQGWKH YHULI\LQJRIILFLDOWRWKH'HIHQVH )LQDQFH DQG $FFRXQWLQJ 6HUYLFH ')$6 'LJLWDOVLJQDWXUHVDUH
   SUHIHUUHG DQG FRPSOHWHG SDFNHWV PD\ EH VXEPLWWHG HOHFWURQLFDOO\ WR ')$6 ± &/ &HQWHU GIDVFOHYHODQG
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   RKMIOPE[DGRSWLRQUHLPEXUVHVPHQWFOH#PDLOPLO0DQXDOO\VLJQHG'')RUPDQGFODLPVDSSOLFDWLRQSDFNHWV
   PD\EH PDLOHGWR'HIHQVH )LQDQFHDQG$FFRXQWLQJ 6HUYLFH&OHYHODQG&HQWHU &RGH-)/$'$ (DVW1LQWK



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   6WUHHW&OHYHODQG2+6ROGLHUVVKRXOGUHWDLQDFRS\RIWKHFODLPDSSOLFDWLRQSDFNDJHDQGFRPSOHWHG'')RUP
   
      G7KH GHVLJQDWHG +4'$ SRLQW RI FRQWDFW LV '&6 * ±  'LUHFWRUDWH RI 0LOLWDU\ 3HUVRQQHO 0DQDJHPHQW
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    '030 ± 03&  &RPPDQG 3ROLF\ 'LYLVLRQ XVDUP\SHQWDJRQKTGDGFVJPE[FRPPDQGSROLF\#PDLOPLO
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   ±  ± &RPPDQGSROLF\ZLOODFWDVDFRQGXLWIRUGLUHFWLQJ6ROGLHUVDQGRUFRPPDQGHUVWRWKHDSSURSULDWH
                                




   DJHQFLHVIRUDVVLVWDQFH²
        &RPPDQGHUVQHHGLQJDVVLVWDQFHZLWKYHULI\LQJWKHFODLPDSSOLFDWLRQSDFNHWDQG'')RUPVKRXOGFRQWDFW
   '&6*±  '$3( ± 03& &RPPDQG3ROLF\'LYLVLRQIRUDVVLVWDQFH XVDUP\SHQWDJRQKTGDGFVJPE[FRPPDQG
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   SROLF\#PDLOPLO ± ±                            




        6ROGLHUV QHHGLQJ DVVLVWDQFH ZLWK IDFLOLWDWLQJ DGRSWLRQV ZLOO EH UHIHUUHG WR 0LOLWDU\ 2QH6RXUFH
    KWWSZZZPLOLWDU\RQHVRXUFHPLOIDPLO\DQGUHODWLRQVKLSVSDUHQWLQJ±  ±  OHJDODVVLVWDQFHDQGWKHLUOR
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   FDO$UP\&RPPXQLW\6HUYLFH&HQWHU7KHVHDJHQFLHVZLOOUHIHU6ROGLHUVWRDSSURSULDWHDJHQFLHVIRUDVVLVWDQFH
        6ROGLHUVQHHGLQJDVVLVWDQFHZLWKTXHVWLRQVFRQFHUQLQJOHDYHSURFHGXUHVLQFRQMXQFWLRQZLWKDGRSWLQJDFKLOG
   LQDFFRUGDQFHZLWK'R',DQG$5 ±  ± ZLOOEHUHIHUUHGWRWKH+5& $+5& ± 3')± , /HDYHDQG3DVV
                                                                                                                                        




   3ROLF\VHFWLRQ XVDUP\NQR[KUFPE[WDJGOHDYHDQGSDVVSROLF\#PDLOPLO ±  ±                               




        6ROGLHUVQHHGLQJDVVLVWDQFHZLWKFODLPDSSOLFDWLRQSDFNHWVWKDWKDYHEHHQVXEPLWWHGWR')$6IRUSD\PHQWZLOO
   EHUHIHUUHGWRWKH')$6 ± &/&HQWHU GIDVFOHYHODQGRKMIOPE[DGRSWLRQUHLPEXUVHVPHQWFOH#PDLOPLO 
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   &KDSWHU
   0LOLWDU\(TXDO2SSRUWXQLW\3ROLF\DQG3URJUDP

   ±3XUSRVH
      D7KH0(23URJUDPIRUPXODWHVGLUHFWVDQGVXVWDLQVDFRPSUHKHQVLYHHIIRUWWRPD[LPL]HKXPDQSRWHQWLDODQG
   WRHQVXUHIDLUWUHDWPHQWIRUDOO6ROGLHUVEDVHGVROHO\RQPHULWSHUIRUPDQFHDQGSRWHQWLDOLQVXSSRUWRIUHDGLQHVV0(2
   SKLORVRSK\LVEDVHGRQIDLUQHVVMXVWLFHDQGHTXLW\&RPPDQGHUVDUHUHVSRQVLEOHIRUVXVWDLQLQJDSRVLWLYH(2FOLPDWH
   ZLWKLQWKHLUXQLWV6SHFLILFDOO\WKHJRDOVRIWKH0(23URJUDPDUHWR²
        %XLOGDQGPDLQWDLQDFRKHVLYHFRPEDWUHDG\$UP\ZKLFKLVIRFXVHGDQGGHWHUPLQHGWRDFFRPSOLVKLWVPLVVLRQ
        3URYLGHVXSSRUWWR6ROGLHUVERWKRQDQGRIISRVWDQGZLWKLQWKHOLPLWVRIWKHODZVRIORFDOLWLHVVWDWHVDQGKRVW
   QDWLRQV
        (QVXUH0(2H[LVWVIRUDOO6ROGLHUV
        (QVXUHHYHU\6ROGLHULVWUHDWHGZLWKGLJQLW\DQGUHVSHFW
        6XSSRUWFRPPDQGHUVDWDOOOHYHOVDQG0(2SURIHVVLRQDOV (230V(26*0V(2DGYLVRUVDQG(2VSHFLDOLVWV
    5$86$5 DQG(2/HDGHUV (2/V ZKRDUHUHVSRQVLEOHIRUWKHH[HFXWLRQRI0(2SROLFLHVLQWKHLUXQLWVRUJDQL]D
   WLRQVDQGDJHQFLHV
      E&RPPDQGHUVDUHDOVRUHVSRQVLEOHIRUWKH'$&LYLOLDQ(TXDO(PSOR\PHQW2SSRUWXQLW\ ((2 3URJUDPZKLFK
   SURYLGHVHTXDORSSRUWXQLW\LQHPSOR\PHQWIRUDOO'$&LYLOLDQVDQGSURKLELWVGLVFULPLQDWLRQLQHPSOR\PHQWEHFDXVH
   RIUDFHFRORUUHOLJLRQVH[QDWLRQDORULJLQDJHGLVDELOLW\JHQHWLFLQIRUPDWLRQRUUHSULVDO&RPPDQGHUVDUHUHVSRQ
   VLEOHIRUVXVWDLQLQJDSRVLWLYH((2FOLPDWH ZLWKLQWKHLU ZRUNSODFHLQDFFRUGDQFH ZLWKDSSOLFDEOHODZDQG)HGHUDO
   UHJXODWLRQVVSHFLILFUHVSRQVLELOLWLHVDQGFRPSODLQWSURFHGXUHVDUHRXWOLQHGLQ$5 ± DQG$5 ±                                    




   ±0LOLWDU\HTXDORSSRUWXQLW\SROLFLHV
      D&RPPDQGHUVDQGRUJDQL]DWLRQDOOHDGHUVZLOOIRVWHUDQGPDLQWDLQSRVLWLYHFRPPDQGFOLPDWHV$SRVLWLYHFRP
   PDQGFOLPDWHLVDQHQYLURQPHQWIUHHIURPSHUVRQDOVRFLDORULQVWLWXWLRQDOEDUULHUVWKDWSUHYHQW6ROGLHUVIURPULVLQJ
   WRWKHKLJKHVWOHYHORIUHVSRQVLELOLW\IRUZKLFKWKH\DUHTXDOLILHG6ROGLHUVDUHHYDOXDWHGRQLQGLYLGXDOPHULWSHUIRU
   PDQFH DQG SRWHQWLDO 7KH HYDOXDWLRQV RI FRPPDQGHUV ZLOO LQFOXGH DQ DVVHVVPHQW RI WKHLU FRPSOLDQFH ZLWK 0(2
   SROLF\
      E7KH $UP\ ZLOO SURYLGH DQ HQYLURQPHQW WKDW LV IUHH RI XQODZIXO GLVFULPLQDWLRQ 'LVFULPLQDWLRQ RFFXUV ZKHQ
   VRPHRQHRUDJURXSRISHRSOHLVKDUDVVHGLQWLPLGDWHGLQVXOWHGKXPLOLDWHGRULVWUHDWHGOHVVIDYRUDEO\WKDQDQRWKHU
   SHUVRQ RU JURXS EHFDXVH RI WKHLU UDFH FRORU VH[ WR LQFOXGH JHQGHU LGHQWLW\  QDWLRQDO RULJLQ UHOLJLRQ RU VH[XDO
   RULHQWDWLRQ,WLQFOXGHVXVHRIGLVSDUDJLQJWHUPVZLWKUHVSHFWWRDSHUVRQ¶VUDFHFRORUVH[ WRLQFOXGHJHQGHULGHQWLW\ 
   QDWLRQDORULJLQUHOLJLRQRUVH[XDORULHQWDWLRQZKLFKFRQWULEXWHVWRDKRVWLOHZRUNHQYLURQPHQW
      F:KHQGLVFULPLQDWLRQLVDOOHJHGFRPPDQGHUVZLOOWDNHLPPHGLDWHDQGDSSURSULDWHDFWLRQWRLQYHVWLJDWHWKHDOOH
   JDWLRQVDQGFRUUHFWDQ\XQODZIXOGLVFULPLQDWRU\SUDFWLFHV,QVXEVWDQWLDWHGFDVHVFRPPDQGHUVZLOOFRQVLGHUDSSUR
   SULDWHGLVFLSOLQDU\DFWLRQ




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      G7KH FKDLQ RI FRPPDQG ZLOO SURPRWH VXSSRUW DQG HQIRUFH 0(2 DQG +DUDVVPHQW 3UHYHQWLRQ DQG 5HVSRQVH
   SROLF\DQGSURJUDPV7KHFKDLQRIFRPPDQGKDVSULPDU\UHVSRQVLELOLW\IRULGHQWLI\LQJDQGFRUUHFWLQJGLVFULPLQDWRU\
   KDUDVVPHQW
      H7KH RSHUDWLRQDOODQJXDJH RIWKH $UP\ LV(QJOLVK&RPPDQGHUV PD\UHTXLUH $UP\SHUVRQQHOWRXVH(QJOLVK
   ZKHQSHUIRUPLQJRIILFLDOGXWLHVEXWPD\QRWUHTXLUHWKHXVHRI(QJOLVKIRUSHUVRQDOFRPPXQLFDWLRQVZKLFKDUHXQUH
   ODWHGWRRIILFLDOGXWLHV
      I9LRODWLRQVRI0(2DQG+DUDVVPHQW3UHYHQWLRQDQG5HVSRQVHSROLFLHVPD\UHVXOWLQGLVFLSOLQDU\DFWLRQXQGHU
   WKH8&0-$UWVRU
      J6ROGLHUVDUHUHTXLUHGWRIROORZSROLFLHVERWKRQDQGRIISRVWGXULQJGXW\DQGQRQGXW\KRXUV
      K3ROLFLHVDSSO\WRZRUNOLYLQJDQGUHFUHDWLRQDOHQYLURQPHQWV LQFOXGLQJERWKRQDQGRIISRVWKRXVLQJ 
      L0HPEHUVRIWKH$UP\ZLOOQRW²
        5HWDOLDWHDJDLQVWDPHPEHUZKRILOHVDGLVFULPLQDWLRQRUKDUDVVPHQWFRPSODLQW
        .QRZLQJO\PDNHDIDOVHDFFXVDWLRQRIGLVFULPLQDWLRQ
        :KLOHLQDVXSHUYLVRU\RUFRPPDQGSRVLWLRQFRQGRQHRULJQRUHGLVFULPLQDWLRQKDUDVVPHQWGLVSDUDJLQJWHUPV
   RUKRVWLOHZRUNHQYLURQPHQW

   ±0LOLWDU\HTXDORSSRUWXQLW\SURIHVVLRQDOVWDIILQJ
   6HHDSSHQGL[&

   ±0LOLWDU\HTXDORSSRUWXQLW\WUDLQLQJDQGHGXFDWLRQ
   6HHDSSHQGL['

   ±&RPPDQGFOLPDWHDVVHVVPHQW
   6HHDSSHQGL[(

   ±0LOLWDU\(TXDO2SSRUWXQLW\DQG+DUDVVPHQW&RPSODLQW3URFHVVLQJ6\VWHP
      D$WWHPSWVVKRXOGEHPDGHWRUHVROYHFRQFHUQVDWWKHORZHVWSRVVLEOHOHYHOZLWKLQDQRUJDQL]DWLRQ,IORZOHYHO
   UHVROXWLRQIDLOVWKHVLWXDWLRQHVFDODWHVRULVWRRPDOLFLRXVWRUHVROYHDWDORZOHYHOWKHFRPSODLQWSURFHVVLQJV\VWHP
   GHILQHVDSURFHVVIRUUHVROXWLRQ6ROGLHUV LQFOXGLQJ'(3 FDGHWVDQG)DPLO\PHPEHUV LQDFFRUGDQFHZLWK'R''
    PD\XWLOL]HWKHFRPSODLQWSURFHVVLQJV\VWHP&RPSODLQWVIURP'$&LYLOLDQV WRLQFOXGHWKRVHDJDLQVW6RO
   GLHUV DOOHJLQJGLVFULPLQDWLRQDQGRUKDUDVVPHQWZLOOEHKDQGOHGLQDFFRUGDQFHZLWKWKHSROLFLHVDQGSURFHGXUHVFRQ
   WDLQHGLQ$5 ± DQG$5 ±RUDVGHVFULEHGLQVHSDUDWH'R'DQG'$SROLF\RUDVSURYLGHGIRULQDQ\
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   DSSOLFDEOHFROOHFWLYHEDUJDLQLQJDJUHHPHQW
      E(QWHULQJWKHFRPSODLQWVSURFHVVLQJV\VWHP7KHFRPSODLQWSURFHVVLQJV\VWHPDGGUHVVHVFRPSODLQWVWKDWDOOHJH
   XQODZIXOGLVFULPLQDWLRQRQWKHEDVLVRIUDFHFRORUVH[ WRLQFOXGHJHQGHULGHQWLW\ QDWLRQDORULJLQUHOLJLRQRUVH[XDO
   RULHQWDWLRQDQGKDUDVVPHQWZKLFKLQFOXGHVKD]LQJEXOO\LQJDQGRWKHUGLVFULPLQDWRU\KDUDVVPHQW&RQFHUQVUDLVHG
   DQGRUUHVROYHGRXWVLGHRIWKHFRPSODLQWSURFHVVLQJV\VWHPDUHFRQVLGHUHGSUREOHPUHVROXWLRQRUOHDGHUVKLSDFWLRQV
   DQGDUHQRWFRQVLGHUHG0(2RUKDUDVVPHQWFRPSODLQWV,QFLGHQWVLQYROYLQJDOOHJDWLRQVRIFULPLQDOEHKDYLRU WKDWLV
   YLRODWLRQVRI8&0- ZLOOEHUHSRUWHGRUUHIHUUHGWRODZHQIRUFHPHQW
        $QRQ\PRXVFRPSODLQW
       D &RPSODLQWVZKHUHWKHFRPSODLQDQWUHPDLQVXQLGHQWLILHGPD\EHKDQGOHGDVHLWKHUDQLQIRUPDORUDIRUPDOFRP
   SODLQWDQGHQWHUHGLQ0(2GDWDEDVHDVVXFK7KHFRPPDQGHUZLOOGHWHUPLQHLIVXIILFLHQWLQIRUPDWLRQLVSURYLGHGWR
   SURFHHGDVHLWKHUDQLQIRUPDORUIRUPDOFRPSODLQW7KHFRPPDQGHUZLOOEHLGHQWLILHGDVWKHFRPSODLQDQWRQWKH'$
   )RUP (TXDO2SSRUWXQLW\DQG+DUDVVPHQW&RPSODLQW)RUP DQGLQ0(2GDWDEDVH,IWKHFRPSODLQWLVSURFHVVHG
   DVDQLQIRUPDOFRPSODLQWWKHFRPPDQGHUZLOOGHWHUPLQHLILQIRUPLQJWKHHQWLUHFRPPDQGRUSDUWRIWKHRUJDQL]DWLRQ
   RIWKHDFWLRQVWDNHQLVDSSURSULDWH,IGXULQJWKHLQIRUPDORUIRUPDOSURFHVVRIDQDQRQ\PRXVFRPSODLQWWKHLGHQWLW\
   RIWKHDFWXDOFRPSODLQDQWLVUHYHDOHGWKHFRPSODLQDQWZLOOEHHGLWHGLQ0(2GDWDEDVHDQGWKHDFWXDOFRPSODLQDQW
   ZLOOEHSURYLGHGWKHUHTXLVLWHIROORZXSDFWLRQV '$)RUP ±  (TXDO2SSRUWXQLW\DQG+DUDVVPHQW&RPSODLQW
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   5HVROXWLRQ$VVHVVPHQW)RUP 
       E $FWLRQVWDNHQUHJDUGLQJDQRQ\PRXVFRPSODLQWV ZLOOGHSHQGXSRQWKHH[WHQWRILQIRUPDWLRQSURYLGHGLQWKH
   DQRQ\PRXVFRPSODLQW,IDQDQRQ\PRXVFRPSODLQWFRQWDLQVVXIILFLHQWLQIRUPDWLRQWRSHUPLWWKHLQLWLDWLRQRIDQLQYHV
   WLJDWLRQWKHLQYHVWLJDWLRQZLOOEHLQLWLDWHGE\WKHFRPPDQGLQJRIILFHURUVXSHUYLVRULQDFFRUGDQFHZLWKWKLVLQVWUXFWLRQ
   ,IDQDQRQ\PRXVFRPSODLQWGRHVQRWFRQWDLQVXIILFLHQWLQIRUPDWLRQWRSHUPLWWKHLQLWLDWLRQRIDQLQYHVWLJDWLRQWKH
   LQIRUPDWLRQVKRXOGEHGRFXPHQWHGLQD0HPRUDQGXPIRU5HFRUGDQGPDLQWDLQHGRQILOHLQDFFRUGDQFHZLWKGLVSRVL
   WLRQLQVWUXFWLRQVDQGWKHFHQWUDOSRLQWRIFRQWDFWUHVSRQVLEOHIRUSURFHVVLQJGLVFULPLQDWLRQDQGKDUDVVPHQWFRPSODLQWV
   7KH0HPRUDQGXPIRU5HFRUGVKRXOGFRQWDLQWKHIROORZLQJLQIRUPDWLRQLIDYDLODEOHGDWHDQGWLPHWKHLQIRUPDWLRQ



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   ZDVUHFHLYHGDGHWDLOHGGHVFULSWLRQRIWKHIDFWVDQGFLUFXPVWDQFHVLQFOXGHGLQWKHFRPSODLQWGDWHDQGWLPHWKHFRP
   SODLQWZDVUHVROYHGDQGE\ZKRPDQGDQ\RWKHUSHUWLQHQWLQIRUPDWLRQ
        ,QIRUPDOFRPSODLQW
       D $QLQIRUPDOFRPSODLQWLVRQHWKDWD6ROGLHUFDGHWRU)DPLO\PHPEHUGRHVQRWZLVKWRILOHLQZULWLQJRQD'$
   )RUP,QIRUPDOFRPSODLQWVPD\EHUHVROYHGGLUHFWO\E\WKHFRPSODLQDQWDGGUHVVLQJWKHRIIHQGLQJSDUW\DSHHU
   RUDQRWKHUSHUVRQLQRURXWVLGHWKHFRPSODLQDQW VFKDLQRIFRPPDQGRU1&2FKDLQRIFRPPDQGRUWKH0(2SURIHV
   VLRQDO7KRVHLVVXHVWKDWFDQEHWDNHQFDUHRILQIRUPDOO\PLJKWEHUHVROYHGWKURXJKSUREOHPLGHQWLILFDWLRQDQGFODUL
   ILFDWLRQRILVVXHVGLVFXVVLRQUHFRJQLWLRQRILQDSSURSULDWHRUPLVOHDGLQJEHKDYLRUDQGDZLOOLQJQHVVWRFKDQJH$F
   WLRQVDQGUHVROXWLRQVWDNHQ ZLWKRWKHUVEHIRUHLQYROYLQJFRPPDQGHUVRU0(2SURIHVVLRQDOVDUHQRWWUDFNHGLQWKH
   0(2GDWDEDVHQRUUHYLHZHGE\WKH0(2SURIHVVLRQDO:KHQSUDFWLFDODQLQIRUPDOFRPSODLQWVKRXOGEHUHVROYHG
   ZLWKLQFDOHQGDUGD\V
       E 8SRQUHFHLSWRIDZULWWHQRURUDOLQIRUPDOFRPSODLQWWKHFRPPDQGHURU0(2SURIHVVLRQDOZLOO²
      /LVWHQWRWKHFRPSODLQDQWDQGILQGRXWDVPXFKDVSRVVLEOHFRQFHUQLQJWKHFRPSODLQW
      $GYLVHWKHFRPSODLQDQWRI²
      D 7KHLUULJKWVDQGUHVSRQVLELOLWLHVLQDFFRUGDQFHZLWK'R',
      E 6XSSRUWVHUYLFHVWKDWDUHDYDLODEOHWRKHOSUHVROYHWKHLVVXHVDVDSSURSULDWHERWKRQDQGRIISRVW KHDOWKFDUH
   FRXQVHOLQJ 032V DQG &32V FKDSODLQV OHJDO DVVLVWDQFH DQG XQLW RU LQVWDOODWLRQ WUDLQHG PHGLDWRUV IRU DOWHUQDWLYH
   GLVSXWHUHVROXWLRQ 
      F 7KHSURWHFWHGQDWXUHRIWKHFRPPXQLFDWLRQZKLFKZLOORQO\EHVKDUHGZLWKWKRVHZKRKDYHDOHJLWLPDWHQHHG
   WRNQRZ
      G %RWKWKHLQIRUPDODQGIRUPDOFRPSODLQWSURFHVVHV
      H 7KDWWKHFRPSODLQDQWPD\FKRRVHWRUHVROYHWKHFRPSODLQWWKURXJKIDFLOLWDWLRQLQWHUYHQWLRQFRXQVHOLQJDQGRU
   WUDLQLQJ
       F :LWKLQFDOHQGDUGD\VRIFRPSODLQWUHFHLSW DWWKHQH[W087$ ± RURWKHUUHJXODUO\VFKHGXOHGWUDLQLQJIRU
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   $UP\5HVHUYH7386ROGLHUV PHPEHUVRIWKHFKDLQRIFRPPDQGDVVLVWLQJZLWKLQIRUPDOFRPSODLQWUHVROXWLRQZLOO
   LQIRUPWKHLU0(2SURIHVVLRQDORIWKHLQLWLDWLRQRILQIRUPDOFRPSODLQWDVVLVWDQFHHIIRUWV
       G ,IWKHFRPPDQGHUUHFHLYHVWKHFRPSODLQWDQGFKRRVHVWRUHVROYHWKHVLWXDWLRQWKURXJKFRPPDQGHU¶VLQTXLU\
   DQGRU$5 ± LQYHVWLJDWLRQZLWKRXWWKHDVVLVWDQFHRIWKH0(2SURIHVVLRQDOWKHFRPPDQGHUZLOODOVRLQIRUPWKH
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   0(2SURIHVVLRQDOZLWKLQWKUHHFDOHQGDUGD\VRIWKHUHFHLSWRIWKHLQIRUPDOFRPSODLQWDQGWKHVXEVHTXHQWUHVROXWLRQ
   HIIRUWV
       H &RPPDQGHUVRU0(2SURIHVVLRQDOVZLOOSUHSDUHDQ0)5ZKLFKZLOOLQFOXGHLQIRUPDWLRQLQGLFDWLQJWKHQDWXUH
   RIWKHFRPSODLQWDQGLGHQWLI\LQJSHUWLQHQWLQIRUPDWLRQWRDVVLVWLQWKHLGHQWLILFDWLRQRIWKHRUJDQL]DWLRQ¶VFRPPDQG
   FOLPDWH
       I 7KH0(2SURIHVVLRQDOZLOOLQSXWLQIRUPDOFRPSODLQWLQIRUPDWLRQLQWR0(2GDWDEDVHQRODWHUWKDQFDOHQGDU
   GD\V 5$ RUQH[W087$±  86$5 IURPGDWHRIUHFHLSW
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       J 8SRQFRPSOHWLRQRIWKHUHVROXWLRQHIIRUWVWKHFRPSODLQDQWPD\²
      $FFHSWLQIRUPDOUHVROXWLRQRUFRQWLQXHGHIIRUWVDWUHVROXWLRQ
      5HQGHUDIRUPDOFRPSODLQW
      'HFOLQHWRSXUVXHFRPSODLQW
       K 7KH0(2SURIHVVLRQDOZLOOUHWDLQWKHLQIRUPDOFRPSODLQWUHFRUGVIRU\HDUVIURPWKHGDWHRIFRPSODLQWUH
   FHLSW
        )RUPDOFRPSODLQW
       D $IRUPDOFRPSODLQWLVRQHWKDWDFRPSODLQDQWILOHVLQZULWLQJXVLQJD'$)RUPDQGVZHDUVWRWKHDFFXUDF\
   RIWKHLQIRUPDWLRQ)RUPDOFRPSODLQWVUHTXLUHVSHFLILFDFWLRQVDUHVXEMHFWWRWLPHOLQHVDQGUHTXLUHGRFXPHQWDWLRQRI
   WKHDFWLRQVWDNHQ,IDFRPSODLQWLVILOHGDJDLQVWDSURPRWDEOH&2/DQDFWLYHRUUHWLUHG*2LQVSHFWRUVJHQHUDORIDQ\
   FRPSRQHQWPHPEHUVRIWKH6(6RUH[HFXWLYHVFKHGXOHSHUVRQQHOWKHDOOHJDWLRQZLOOEHWUDQVIHUUHGGLUHFWO\WRWKH
   ,QYHVWLJDWLRQV'LYLVLRQ86$UP\,QVSHFWRU*HQHUDO$JHQF\ 6$,* ± ,1 3HQWDJRQ:DVKLQJWRQ'& ± 
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   E\UDSLGEXWFRQILGHQWLDOPHDQVZLWKLQZRUNLQJGD\VRIUHFHLSWZKHQSUDFWLFDO7KHFRPSODLQWZLOOEHHPDLOHGWRWKH
   '$,*¶VLQYHVWLJDWLRQVPDLOER[DWXVDUP\SHQWDJRQKTGDRWLJPE[VDLJLQRIILFH#PDLOPLOLQRUGHUWRSURYLGHWLPHO\
   VXEPLVVLRQ
       E 0(2DQGKDUDVVPHQWFRPSODLQWVDUHUHFHLYHGE\0(2SURIHVVLRQDOV 0(2300(26*00(2DGYLVRU
   0(2VSHFLDOLVW RU 5$86$5 FRPPDQGHUV&RPSODLQWVFDQQRWEHUHFHLYHGE\(2/V
       F :LWKLQFDOHQGDUGD\VRIFRPSODLQWUHFHLSW VDPHIRU86$5 0(2SURIHVVLRQDOVZLOOUHIHUFRPSODLQWWRWKH
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       G ,QIRUP$&20$6&&'580(230RIDQ\FRPSODLQWVWRLQFOXGHWKRVHWKDWPD\SRWHQWLDOO\OHDYHWKH$UP\
   FKDLQRIFRPPDQGIRUSURFHVVLQJ8SRQUHFHLSWRIDIRUPDOFRPSODLQWWKH0(2SURIHVVLRQDORUFRPPDQGHUDVVLVWLQJ
   WKHFRPSODLQDQWZLOO²
      /LVWHQWRWKHFRPSODLQDQWDQGILQGRXWDVPXFKDVSRVVLEOHFRQFHUQLQJWKHFRPSODLQW
      $GYLVHWKHFRPSODLQDQWRI²
      D 6XSSRUWVHUYLFHVWKDWDUHDYDLODEOHWRKHOSUHVROYHWKHLVVXHVDVDSSURSULDWHERWKRQDQGRIISRVW KHDOWKFDUH
   FRXQVHOLQJ 032V DQG &32V FKDSODLQV OHJDO DVVLVWDQFH DQG XQLW RU LQVWDOODWLRQ WUDLQHG PHGLDWRUV IRU DOWHUQDWLYH
   GLVSXWHUHVROXWLRQ 
      E 7KHSURWHFWHGQDWXUHRIWKHFRPPXQLFDWLRQZKLFKZLOORQO\EHVKDUHGZLWKWKRVHZKRKDYHDOHJLWLPDWHQHHG
   WRNQRZ IRUH[DPSOHWKH0(2SURIHVVLRQDOFRPPDQGHU 
      F %RWKWKHLQIRUPDODQGIRUPDOFRPSODLQWSURFHVVHV
      G 7KHQHFHVVLW\WRUHVROYHWKHFRPSODLQWLQGD\VRUOHVVZKHQSUDFWLFDO
      H 7KHLPSRUWDQFHRIGHVFULELQJWKHLQFLGHQW V LQDVPXFKGHWDLODVSRVVLEOHWRDVVLVWLQWKHLQYHVWLJDWLYHSURFHVV
      I 7KDWWKHFRPSODLQDQWPD\FKRRVHWRUHVROYHWKHFRPSODLQWWKURXJKIDFLOLWDWLRQLQWHUYHQWLRQFRXQVHOLQJDQGRU
   WUDLQLQJ
      J .QRZLQJO\VXEPLWWLQJDIDOVHFRPSODLQW DFRPSODLQWFRQWDLQLQJLQIRUPDWLRQRUDOOHJDWLRQVWKDWWKHFRPSODLQW
   NQHZWREHIDOVH PD\EHSXQLVKDEOHXQGHUWKH8&0-
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        6SHFLI\WKHDOOHJHGFRQFHUQ
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        7KHFRPSODLQDQWZLOODOVRVWDWHWKH(2EDVLVRIWKHFRPSODLQW WKDWLVGLVFULPLQDWLRQEDVHGXSRQUDFHFRORU
   VH[ LQFOXGLQJJHQGHULGHQWLW\ QDWLRQDORULJLQUHOLJLRQVH[XDORULHQWDWLRQRUKDUDVVPHQW KD]LQJEXOO\LQJRURWKHU
   GLVFULPLQDWRU\KDUDVVPHQW 
      L ,Q'$)RUP³5HTXHVWHG5HPHG\´WKHFRPSODLQDQWZLOOHQWHUWKHUHTXHVWHGUHVROXWLRQZKLFKWKHFRP
   PDQGHUPD\WDNHLQWRFRQVLGHUDWLRQXSRQFRPSOHWLRQRIWKHLQTXLU\RULQYHVWLJDWLRQDQGZKHQFRQVLGHULQJUHVROXWLRQ
   DFWLRQV7KHLQIRUPDWLRQLQWKLVEORFNFDQYDU\LQWHUPVRIWKHFRPSODLQDQW VH[SHFWDWLRQVRIWKHLQYHVWLJDWLYHSURFHVV
   ,IH[SHFWDWLRQVWKDWDUHQRWOLNHO\WREHPHWFRPHWRWKHVXUIDFHWKH\VKRXOGEHGLVSHOOHGE\WKH0(2SURIHVVLRQDORU
   FRPPDQGHU GXULQJUHFHLSWRIWKHFRPSODLQW WKURXJKDQH[SODQDWLRQRIWKHSRWHQWLDODQGWKHSRVVLEOHRXWFRPHV
        7LPHOLPLWWRILOHIRUPDOFRPSODLQW&RPSODLQDQWV6ROGLHUVKDYHFDOHQGDUGD\V VDPHIRU86$5 IURPWKH
   GDWHRIWKHDOOHJHGLQFLGHQWLQZKLFKWRILOHDIRUPDOFRPSODLQW7KLVWLPHOLPLWLVHVWDEOLVKHGWRVHWUHDVRQDEOHSDUDP
   HWHUVIRUWKHLQTXLU\RULQYHVWLJDWLRQDQGUHVROXWLRQRIFRPSODLQWVWRLQFOXGHHQVXULQJWKHDYDLODELOLW\RIZLWQHVVHV
   DFFXUDWHUHFROOHFWLRQRIHYHQWVDQGWLPHO\UHVROXWLRQRUUHPHGLDODFWLRQ,IDFRPSODLQWLVUHFHLYHGDIWHUFDOHQGDU
   GD\VWKHFRPPDQGHUPD\FRQGXFWDQLQYHVWLJDWLRQLQWRWKHDOOHJDWLRQVRUDSSRLQWDQLQYHVWLJDWLQJRIILFHU,QGHFLGLQJ
   ZKHWKHUWRFRQGXFWDQLQYHVWLJDWLRQWKHFRPPDQGHUVKRXOGFRQVLGHUWKHUHDVRQIRUWKHGHOD\WKHDYDLODELOLW\RIZLW
   QHVVHVDQGZKHWKHUDFRPSOHWHDQGIDLULQTXLU\RULQYHVWLJDWLRQFDQEHFRQGXFWHG
       D $FRPSODLQWVKRXOGEHILOHGDWWKHORZHVWHFKHORQRIFRPPDQG %DWWDOLRQ&RPSDQ\RUHTXLYDOHQWFRPPDQG 
   WRHQVXUHWKHFRPSODLQDQWUHFHLYHVDWKRURXJKH[SHGLWLRXVDQGXQELDVHGLQYHVWLJDWLRQRIWKHDOOHJDWLRQV'HSHQGLQJ
   RQWKHYDULRXVDVSHFWVRIWKHFRPSODLQWDQGLQGLYLGXDOVLQYROYHGWKDWORZHVWOHYHOFRPPDQGHUPD\QRWEHWKHLPPH
   GLDWHFRPSDQ\RUHYHQEDWWDOLRQOHYHOFRPPDQGHURIWKHVXEMHFW
       E 0(2SURIHVVLRQDOWDNLQJWKHFRPSODLQWZLOOQRWLI\WKHFRPPDQGHUDWWKHLUOHYHO IRUH[DPSOHEULJDGH0(2
   SURIHVVLRQDOZLOOQRWLI\WKHEULJDGHFRPPDQGHUIRUDOOFRPSODLQWVILOHGDWWKHEDWWDOLRQRUFRPSDQ\OHYHORUHTXLYD
   OHQW 
       F 7KHFRPPDQGHUPXVWZRUNWRUHVROYHXQGHUO\LQJFDXVHVRIDOOFRPSODLQWV
       G 7KHFRPPDQGHURUDFRPPLVVLRQHGRIILFHUZLOOKDYHWKHFRPSODLQDQWVZHDUWRWKHFRQWHQWVRIVWDWHPHQW V 
   FRQWDLQHGLQWKHIRUPDOFRPSODLQWDQGDVVRFLDWHGGRFXPHQWVE\DGPLQLVWHULQJRUKDYLQJDSHUVRQDXWKRUL]HGWRDG
   PLQLVWHURDWKVLQDFFRUGDQFHZLWK8&0-$UWDGPLQLVWHUVXFKDQRDWKWRWKHFRPSODLQDQW
       H 7KH0(2SURIHVVLRQDOZLOODVVHPEOHWKHFRPSODLQWGRFXPHQWDWLRQIRUSURYLVLRQDQGEULHILQJ DQH[SODQDWLRQ
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   FKDLQ RI FRPPDQGVXSHUYLVRU\ FKDLQ DQG ZLWQHVVHV 7KH 0(2 SURIHVVLRQDO ZLOO NHHS D FRS\ RI WKH FRPPDQGHU
   DFNQRZOHGJHG'$)RUPRQILOHDQGVXVSHQVHWKHFRPSODLQWIRUIROORZXSZLWKWKHFRPPDQGHUFRPSODLQDQW
   DQGVXEMHFWLQGD\V QH[W 087$ ± IRU86$5 HYHU\ GD\V QH[W087$ ±  IRU86$5 WKHUHDIWHUXQWLO WKH
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   FRPSODLQWLVUHVROYHGDQGGD\V WZR087$ GD\V ±IRU86$5 DIWHUWKHFRPPDQGHU¶VILQDOGHFLVLRQRQWKH
   FRPSODLQW)ROORZXSDFWLYLWLHVZLOOEHDQQRWDWHGRQ'$)RUP ± DQGSURYLGHGWRWKHFRPPDQGHUQRODWHUWKDQ
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   GD\V QH[W087$± IRU86$5 DIWHUFRPSOHWLRQRIIROORZDVVHVVPHQWQRWWRH[FHHGGD\V WZR087$ 
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   GD\V ±IRU86$5 DIWHUWKHFRPPDQGHU¶VILQDOGHFLVLRQRQWKHFRPSODLQW
       I 7KH0(2SURIHVVLRQDOZLOOGUDIWUHFRPPHQGHGTXHVWLRQVIRUWKHLQYHVWLJDWLQJRIILFHUWRREWDLQDQVZHUVWRGXU
   LQJWKHLULQYHVWLJDWLRQ
       J 7KH 0(2 SURIHVVLRQDO ZLOO HQWHU WKH LQLWLDO FRPSODLQW LQIRUPDWLRQ LQWR WKH 0(2 GDWDEDVH QR ODWHU WKDQ 
   FDOHQGDUGD\V 5$ DQGQH[W087$±  86$5 IURPGDWHRIUHFHLSWIURPWKHFRPPDQGHU
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       K $UP\5HVHUYH6ROGLHUVRQDFWLYHGXW\DUHVXEMHFWWRWKHDFWLYHGXW\FRPSODLQWWLPHOLQH
        $FWLRQVRIWKHFRPPDQGHUXSRQUHFHLSWRIFRPSODLQW
       D 8SRQUHFHLSWRIDFRPSODLQWWKHFRPPDQGHUZLOO²
      (QVXUH WKDW WKH FRPSODLQDQW KDV EHHQ VZRUQ WR WKH FRPSODLQW '$ )RUP   ,I QRW WKH FRPPDQGHU ZLOO
   DGPLQLVWHUWKHRDWKDQGDQQRWDWHLWRQ'$)RUP
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      ,QIRUPWKHFRPSODLQDQWDQGVXEMHFWRIWKHFRPPHQFHPHQWRIWKHLQYHVWLJDWLRQ
      )RUZDUGZLWKLQFDOHQGDUGD\V FDOHQGDUGD\VIRU86$5DVZHOO WKHFRPSODLQWRUDGHWDLOHGGHVFULSWLRQRI
   WKHDOOHJDWLRQ V WRWKHILUVW63&0&$LQWKHFKDLQRIFRPPDQGZKHQWKHFRPSODLQWLVSURFHVVHGDWWKHEDWWDOLRQRU
   FRPSDQ\OHYHORUWKHILUVW*&0&$ZKHQWKHFRPSODLQWLVSURFHVVHGDWWKHEULJDGHOHYHO7KHGHVFULSWLRQZLOOLQFOXGH
   DFNQRZOHGJPHQWRIUHFHLSWRIWKHIRUPDOFRPSODLQWDQGWKHFRPPHQFHPHQWRIDFRPPDQGHU¶VLQTXLU\RUDSSRLQWPHQW
   RIDQLQYHVWLJDWLQJRIILFHUWRFRQGXFWWKHLQYHVWLJDWLRQ ZLWKLQGD\V WKUHH087$ GD\V ±IRU86$5 IURP
   DFNQRZOHGJPHQWLQ'$)RUPZKHQPLVVLRQSHUPLWV7KHOHJDOVXIILFLHQF\UHYLHZZLOOEHFRQGXFWHGZLWKLQ
   FDOHQGDUGD\VIURPWKHGDWHWKHLQYHVWLJDWLRQLVFRPSOHWHG
       E 7KHFRPPDQGHUZLOOHLWKHUFRQGXFWDQLQYHVWLJDWLRQSHUVRQDOO\RULPPHGLDWHO\DSSRLQWDQLQYHVWLJDWLQJRIILFHU
   DFFRUGLQJWRWKHSURYLVLRQVRI$5 ± ,QYHVWLJDWLRQVZLOOIROORZWKHFRPSODLQWWLPHOLQHSUHVFULEHGLQ SDUDJUDSK
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   OHYHOFRPPDQGHULQWKHFKDLQRIFRPPDQGWRDSSRLQWWKHLQYHVWLJDWLQJRIILFHU
       F 7KHFRPPDQGHUZLOOHVWDEOLVKDQGLPSOHPHQWDUHSULVDOSODQWRSURWHFWWKHFRPSODLQDQWVDQ\QDPHGZLWQHVVHV
   DQGWKHVXEMHFWVIURPDFWVRIUHSULVDO7KHUHSULVDOSODQRIDFWLRQVZLOOLQFOXGHDVDPLQLPXPVSHFLILHGPHHWLQJVDQG
   GLVFXVVLRQVE\DSSURSULDWHSHUVRQQHOZLWKWKHFRPSODLQDQWVVXEMHFWVQDPHGZLWQHVVHVDQGVHOHFWHGPHPEHUVRIWKH
   FKDLQRIFRPPDQGDQGWKLUGSDUW\LQGLYLGXDOV7KHFRPPDQGHUZLOOSURYLGHDFRS\RIWKHH[HFXWHGSODQWRWKHLQYHV
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      &RQWHQWRIWKHGLVFXVVLRQVZLWKWKHDERYHQDPHGLQGLYLGXDOVZLOOLQFOXGH²
      D 7KHGHILQLWLRQRIUHWDOLDWLRQDQGUHSULVDOZLWKH[DPSOHVRIVXFKEHKDYLRU
      E 7KH$UP\ VSROLF\SURKLELWLQJUHWDOLDWLRQDQGUHSULVDO
      F 7KHFRPSODLQDQW VULJKWVDQGH[WHQWRIZKLVWOHEORZHUSURWHFWLRQDIIRUGHGFRPSODLQDQWVZLWQHVVHVDQGWKHVXE
   MHFWVXQGHU'R''
      G (QFRXUDJHPHQWWRDOOWKHDIRUHPHQWLRQHGLQGLYLGXDOVWRUHSRUWLQFLGHQWVDQGRUWKUHDWVRIUHWDOLDWLRQDQGUHSULVDO
      H 7KHSURFHGXUHVWRUHSRUWDFWVDQGRUWKUHDWVRIUHWDOLDWLRQDQGUHSULVDOWKHFRQVHTXHQFHVUHWDOLDWLRQDQGRIUH
   SULVDO
      I 3RVVLEOHVDQFWLRQVDJDLQVWYLRODWRUV
      J $UHPLQGHURIWKHUROHVDQGUHVSRQVLELOLWLHVRIWKHOHDGHUVKLSLQWKHSUHYHQWLRQRIUHWDOLDWLRQDQGUHSULVDODQG
   SURWHFWLRQRIDOOSDUWLHVLQYROYHG
      K 7KHFRPPDQG VVXSSRUWRIDWKRURXJKH[SHGLWLRXVDQGXQELDVHGLQYHVWLJDWLRQDQGJRRGIDLWKLQDWWHPSWLQJWR
   UHVROYHWKHFRPSODLQW
      L 7KHQHHGWRWUHDWDOOSDUWLHVLQDSURIHVVLRQDOPDQQHUERWKGXULQJDQGIROORZLQJWKHFRQGXFWRIWKHLQYHVWLJDWLRQ
      'LVFUHWLRQZLOOEHXVHGWRGHWHUPLQHWKHH[WHQWRILQIRUPDWLRQSURYLGHGDQGWKHQXPEHUVRISHUVRQQHODGGUHVVHG
   LQWKHGLVFXVVLRQVZLWKWKHFKDLQRIFRPPDQGDQGFRZRUNHUV,QYHVWLJDWLQJRIILFHUVZLOOWUHDWDOOWKRVHWKH\LQWHUYLHZ
   SURIHVVLRQDOO\DQGFRXUWHRXVO\DQGZLOOOLPLWWKHLUGLVFXVVLRQWRRQO\WKRVHLVVXHVUHODWLQJWRWKHVSHFLILFFRPSODLQW
       G 7KHFRPPDQGHUZLOOSURYLGHDSURJUHVVUHSRUWWRWKH63&0&$RU*&0&$FRPPDQGHUHYHU\GD\V QH[W
   087$± DQGHYHU\087$± WKHUHDIWHUIRU86$5 WKHUHDIWHUXQWLOWKHLQYHVWLJDWLRQLVFRPSOHWH7KHHQWLUHFRP
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   SODLQWSURFHVVZLOOEHFRPSOHWHZLWKLQGD\V WKUHH087$ GD\V ±IRU86$5 
       H ,IGXHWRH[WHQXDWLQJFLUFXPVWDQFHVLWEHFRPHVLPSRVVLEOHWRFRQGXFWDFRPSOHWHLQYHVWLJDWLRQZLWKLQWKH
   FDOHQGDUGD\VDOORZHG WKUHH087$ GD\V IRU86$5 WKDWFRPPDQGHUPD\REWDLQDQH[WHQVLRQLQZULWLQJIURP
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   H[WUHPHFLUFXPVWDQFHVDFRPPDQGHUPD\REWDLQDQDGGLWLRQDOH[WHQVLRQLQZULWLQJIURPWKH*&0&$QRWWRH[FHHG
   FDOHQGDUGD\V WKUHH087$ GD\V   IRU86$5  &RPPDQGHUVRI $&20 V $6&& VRU'58 V RQO\  PD\




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   GHOHJDWHH[WHQVLRQDSSURYDODXWKRULW\WR$&20$6&&'58'HSXW\&RPPDQGLQJ*HQHUDO&KLHIRI6WDIIRUVXE
   RUGLQDWHJHQHUDORIILFHU8SRQUHFHLSWRIDQDSSURYHGH[WHQVLRQWKHFRPPDQGHUPXVWLQIRUPWKHFRPSODLQDQWDQG
   VXEMHFW RI WKH H[WHQVLRQ LWV GXUDWLRQ DQG WKH UHDVRQV IRU ZKLFK LW ZDV UHTXHVWHG )DLOXUH WR DGKHUH WR SUHVFULEHG
   WLPHOLQHVZLOOUHVXOWLQDXWRPDWLFUHIHUUDORIWKHFRPSODLQWWRWKHQH[WKLJKHUHFKHORQFRPPDQGHUIRULQYHVWLJDWLRQDQG
   UHVROXWLRQ
      F&RQGXFWRIWKHLQYHVWLJDWLRQ
        ,QYHVWLJDWLRQ7KHSXUSRVHRIDQ\LQYHVWLJDWLRQRIXQODZIXOGLVFULPLQDWLRQDQGKDUDVVPHQWLVWRGHWHUPLQHWR
   WKHPD[LPXPH[WHQWSRVVLEOHZKDWDFWXDOO\RFFXUUHGWRDVVHVVWKHYDOLGLW\RIDOOHJDWLRQVPDGHE\WKHFRPSODLQDQWWR
   DGYLVHWKHFRPPDQGHURIDQ\OHDGHUVKLSRUPDQDJHPHQWFRQFHUQVWKDWPLJKWFRQWULEXWHWRSHUFHSWLRQVRIXQODZIXO
   GLVFULPLQDWLRQDQGKDUDVVPHQWSRRUFRPPDQGFOLPDWHDQGWRUHFRPPHQGDSSURSULDWHFRUUHFWLYHDFWLRQV7KHDS
   SRLQWLQJDXWKRULW\LVUHVSRQVLEOHIRUHQVXULQJWKHLQYHVWLJDWLRQLVFRPSOHWHWKRURXJKDQGXQELDVHG
        ,QLWLDODFWLRQV7KHFRPPDQGHUZKRDFWVDVWKHDSSRLQWLQJDXWKRULW\ZLOOSURYLGHWKHLQYHVWLJDWLQJRIILFHUD
   FRS\RIRUGHUVDVVLJQLQJWKHPDVWKHLQYHVWLJDWLQJRIILFHUDQGWKHLQLWLDWHG'$)RUPZKLFKLGHQWLILHVWKHFRP
   SODLQDQWVVXEMHFWVDQGOLVWVWKHDOOHJDWLRQVWREHLQYHVWLJDWHG7KHLQYHVWLJDWLQJRIILFHUZLOOUHYLHZ$5 ± DQG$5
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   DQLQWHUYLHZHHZKRLVVXVSHFWHGRIFRPPLWWLQJDYLRODWLRQRIWKH8&0-
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   WHPSWWRLQWHUYLHZHYHU\LQGLYLGXDOZKRPD\KDYHILUVWKDQGNQRZOHGJHRIWKHIDFWVVXUURXQGLQJWKHYDOLGLW\RIWKH
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   KDYH UHOHYDQW LQIRUPDWLRQ FRQFHUQLQJ WKH UHODWLRQVKLS EHWZHHQ WKH FRPSODLQDQW DQG WKH VXEMHFW 7KH LQYHVWLJDWLQJ
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   DOOHJHG LQFLGHQW ,I QHHGHG SULRU WR WKH FRQFOXVLRQ RI WKH LQYHVWLJDWLRQ WKH LQYHVWLJDWLQJ RIILFHU VKRXOG FRQGXFW D
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   ZLWQHVVHV IRU FODULILFDWLRQ RI FRQIOLFWLQJ VWDWHPHQWV 6KRXOG XQLW SROLFLHV RU SURFHGXUHV EH FDOOHG LQWR TXHVWLRQ DV
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   RQ'$)RUP 5LJKWV:DUQLQJ3URFHGXUH:DLYHU&HUWLILFDWH 
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   RUUHIXWHWKHWHVWLPRQ\RIWKHFRPSODLQDQWVXEMHFWRUQDPHGZLWQHVVHVFKDLQRIFRPPDQGRUWKLUGSDUW\SHUVRQQHO
   7KHVHGRFXPHQWVPD\LQFOXGHFRSLHVRIXQLWDQGSHUVRQQHOUHFRUGVWRLQFOXGHUHFRUGVDQGURVWHUVRI0(2WUDLQLQJ
   FRQGXFWHGDQGDWWHQGHGE\WKHDOOHJHGVXEMHFW7KHLQYHVWLJDWLQJRIILFHUZLOODOVRSURFXUHDFRS\RIWKHFRPPDQGHU V
   UHSULVDOSODQIRULQFOXVLRQLQWKHILQDOUHSRUWRILQYHVWLJDWLRQ
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   QRWHFRQFHUQVRUREVHUYDWLRQVRIXQLWSROLF\SURFHGXUHVDQGLQGLYLGXDOOHDGHUVKLSRUPDQDJHPHQWWHFKQLTXHVWKDW
   PD\KDYHDQHJDWLYHHIIHFWXSRQXQLWFOLPDWHDQGFRQWULEXWHWRGLVFULPLQDWRU\RUKDUDVVLQJEHKDYLRUV
        ,QYHVWLJDWLYHILQGLQJVDQGUHFRPPHQGDWLRQV:KHQWKHLQYHVWLJDWLRQLVFRPSOHWHGWKH LQYHVWLJDWLQJRIILFHU
   PXVWUHYLHZWKHHYLGHQFHGHWHUPLQHLIWKHLQYHVWLJDWLRQDGHTXDWHO\DGGUHVVHVDOOHJDWLRQVPDNHIDFWXDOILQGLQJVDERXW
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   FRPSODLQWVVXEMHFWVQDPHGZLWQHVVHVFKDLQRIFRPPDQGRUWKLUGSDUW\SHUVRQQHO
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        6WDQGDUGRISURRI)LQGLQJVRIVXEVWDQWLDWHGFRPSODLQWVZLOOPHHWWKHVWDQGDUGRISURRIRIWKH³SUHSRQGHUDQFH
   RIWKHHYLGHQFH´VWDQGDUG7KLVPHDQVWKDWWKHILQGLQJVPXVWEHVXSSRUWHGE\DJUHDWHUZHLJKWRIHYLGHQFHWKDQVXS
   SRUWVDFRQWUDU\FRQFOXVLRQWKDWLVHYLGHQFHWKDWDIWHUFRQVLGHULQJHYHU\WKLQJWKDWLVSUHVHQWHGSRLQWVWRRQHSDUWLF
   XODUFRQFOXVLRQDVEHLQJPRUHFUHGLEOHDQGSUREDEOHWKDQDQ\RWKHUFRQFOXVLRQ7KH³ZHLJKWRIWKHHYLGHQFHLVQRW
   GHWHUPLQHGE\WKHQXPEHURIZLWQHVVHVRUYROXPHRIH[KLELWVEXWE\FRQVLGHULQJDOOWKHHYLGHQFHDQGHYDOXDWLQJVXFK
   IDFWRUVDVWKHZLWQHVV VGHPHDQRURSSRUWXQLW\IRUNQRZOHGJHLQIRUPDWLRQSRVVHVVHGDELOLW\WRUHFDOODQGUHODWHHYHQWV
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        /HJDOUHYLHZ7KHLQYHVWLJDWLQJRIILFHUZLOOVXEPLWWKHFRPSOHWHGLQYHVWLJDWLRQWRWKHVHUYLFLQJ6-$RUOHJDO
   DGYLVRUIRUDGHWHUPLQDWLRQRIOHJDOVXIILFLHQF\2QFHWKHOHJDOUHYLHZLVFRPSOHWHWKHLQYHVWLJDWLQJRIILFHUZLOOVXEPLW
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      G$FWLRQVE\WKHFRPPDQGHUXSRQUHFHLSWRIWKHUHSRUWRIWKHLQYHVWLJDWLRQ2QFHWKHOHJDOUHYLHZLVFRPSOHWHG
   WKHFRPPDQGHUZLOOGHFLGHZKHWKHUIXUWKHULQYHVWLJDWLRQLVQHFHVVDU\RUZKHWKHUWRDSSURYHDOORUSDUWRIWKHILQGLQJV
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        $FWLRQVWRUHVROYHFRPSODLQWV$FRPSODLQWLVUHVROYHGE\DFWLRQWRUHVWRUHEHQHILWVDQGSULYLOHJHVORVWEHFDXVH
   RI XQODZIXO GLVFULPLQDWLRQ RU KDUDVVPHQW 3XQLWLYH RU DGPLQLVWUDWLYH DFWLRQV DJDLQVW D VXEMHFW GR QRW QHFHVVDULO\
   FKDQJH RIIHQGLQJ EHKDYLRUV RU UHFWLI\ WKH VLWXDWLRQ IRU WKH LQGLYLGXDO FRPSODLQDQW RU XQLW &RPPDQGHUV ZLOO WDNH
   FRUUHFWLYHDFWLRQWRSUHFOXGHUHFXUUHQFHRIGLVFULPLQDWRU\RUKDUDVVLQJFRQGXFWDQGDGGUHVVDQ\PDQDJHPHQWGHIL
   FLHQFLHVRURWKHUFRQWULEXWLQJIDFWRUVWKDWFDXVHGWKHDOOHJDWLRQVWREHUDLVHG&RPPDQGHUVZLOODOVRORRNDWWKHFDXVHV
   RIZK\FRPSODLQDQWVUHQGHUHGFRPSODLQWVWKDWZHUHQRWVXEVWDQWLDWHGE\WKHLQYHVWLJDWLQJRIILFHUDQGRUFRPPDQGHU
   $FWLRQVWDNHQ RUWREHWDNHQ E\WKHFRPPDQGHUDQGWKHFKDLQRIFRPPDQGZLOOEHDQQRWDWHGRQ'$)RUP
   6SHFLILFDFWLRQVWDNHQDJDLQVWWKHVXEMHFWZLOOQRWEHDQQRWDWHGRQWKHIRUP7KLVLQIRUPDWLRQZLOOEHGLVFXVVHGRUDOO\
   ZLWKWKHFRPSODLQDQW7KHFRPPDQGHUZLOODOVRLQIRUPWKHFRPSODLQDQWDQGWKHVXEMHFWRIWKHFRPSODLQWRIWKHLUULJKW
   WRDSSHDODQGPDNHWKHPDZDUHRIWLPHOLQHVDQGSURFHGXUHVWRILOHWKDWDSSHDO VHHSDUD±  7KHFRPSODLQDQWDQG
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   VXEMHFWZLOOVLJQDQGGDWHWKH'$)RUP3DUW,,,WRDFNQRZOHGJHUHFHLYLQJWKLVLQIRUPDWLRQ7KLVDFNQRZOHGJ
   PHQWGRHVQRWQHFHVVDULO\VLJQLI\WKHFRPSODLQDQW VRUVXEMHFW¶VDJUHHPHQWZLWKWKHILQGLQJVRUDFWLRQVWDNHQWRUHVROYH
   WKHFRPSODLQW&RQVLVWHQWZLWKWKHOLPLWDWLRQVRIWKH3ULYDF\$FWDQGRWKHUDSSOLFDEOHVWDWXWHVWKHFRPPDQGHUZLOO
   SURYLGHERWKWKHFRPSODLQDQWDQGVXEMHFWZLWKDPHPRUDQGXPWKDWVXPPDULHVWKHUHVXOWVRIWKHLQYHVWLJDWLRQLQFOXGLQJ
   ZKHWKHUWKHDOOHJDWLRQVZHUHVXEVWDQWLDWHG,QIRUPDWLRQDERXWVSHFLILFDGYHUVHDFWLRQVWDNHQDJDLQVWDQLQGLYLGXDOLV
   JHQHUDOO\QRWGLVFORVHGXQOHVVVXFKLQIRUPDWLRQLVDPDWWHURISXEOLFUHFRUGRUZKHQRWKHUZLVHUHTXLUHGWREHUHOHDVHG
   E\VWDWXWH8SRQUHTXHVWWKHFRPSODLQDQWVKRXOGEHSURYLGHGDFRS\RIWKHLQYHVWLJDWLQJRIILFHU¶VUHSRUWUHGDFWHGDV
   QHFHVVDU\WRFRPSO\ZLWKWKH3ULYDF\$FWDQGRWKHUDSSOLFDEOHODZVDQGUHJXODWLRQV
       D $FWLRQVXSRQVXEVWDQWLDWHGFRPSODLQW$VXEVWDQWLDWHGGLVFULPLQDWLRQRUKDUDVVPHQWFRPSODLQWLVDFRPSODLQW
   WKDWDIWHUWKHFRPSOHWLRQRIDQLQTXLU\RULQYHVWLJDWLRQSURYLGHVHYLGHQFHWRLQGLFDWHWKDWWKHFRPSODLQDQWZDVPRUH
   OLNHO\WKDQQRWWUHDWHGGLIIHUHQWO\EHFDXVHRIWKHLUUDFHFRORUVH[ LQFOXGLQJJHQGHULGHQWLW\ QDWLRQDORULJLQUHOLJLRQ
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      $GPLQLVWUDWLYHDFWLRQ6XEMHFWVRIVXEVWDQWLDWHGFRPSODLQWZLOODVDPLQLPXPXQGHUJRFRXQVHOLQJE\DPHP
   EHURIWKHFKDLQRIFRPPDQG&RPPDQGHUVKDYHWKHIXOOUDQJHRIDGPLQLVWUDWLYHDFWLRQVDYDLODEOHWRWKHPWRGHDOZLWK
   YLRODWRUVRIWKH$UP\0(2DQGKDUDVVPHQWSROLFLHVWRLQFOXGHGLVFKDUJHIURPWKH6HUYLFHEDUWRUHHQOLVWPHQWDG
   YHUVHSHUIRUPDQFHHYDOXDWLRQVDQGRUVSHFLILFFRPPHQWVFRQFHUQLQJQRQVXSSRUWRI0(2((23URJUDPVRQHYDOXD
   WLRQUHSRUWVUHOLHIIRUFDXVHDGPLQLVWUDWLYHUHGXFWLRQDGPRQLWLRQUHSULPDQGDGPLQLVWUDWLYHZLWKKROGLQJRISULYL
   OHJHVDQGUHKDELOLWDWLYHWUDQVIHUWRDQRWKHUXQLW&RPPDQGHUVVKRXOGGHWHUPLQHZKHWKHUWKHFRPSODLQDQWGHVLUHVWR
   EHWUDQVIHUUHGWRDQRWKHUXQLWEXWWKH\VKRXOGQRWFDXVHWKHFRPSODLQDQWWREHUHYLFWLPL]HGE\UHTXLULQJWKDWWKH\EH
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      8QLIRUP&RGHRI0LOLWDU\-XVWLFH9LRODWRUVRI$UP\SROLFLHVRQ0(2DQGKDUDVVPHQWZKRVHFRQGXFWYLRODWHV
   DSXQLWLYHDUWLFOHRIWKH8&0-PD\EHFKDUJHGDQGSURVHFXWHG1RQMXGLFLDOSXQLVKPHQWV IRUH[DPSOH8&0-$UW
    ZLOOEHKDQGOHGLQDFFRUGDQFHZLWK$5 ± 
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       E $FWLRQVXSRQDQXQVXEVWDQWLDWHGFRPSODLQW$QXQVXEVWDQWLDWHGFRPSODLQWLVRQHIRUZKLFKWKHSUHSRQGHUDQFH
   RIHYLGHQFH WKDWLVWKH JUHDWHUZHLJKWRIHYLGHQFH GRHVQRWVXSSRUWDQGYHULI\WKDWWKHDOOHJHGGLVFULPLQDWLRQRU
   KDUDVVPHQW KD]LQJEXOO\LQJGLVFULPLQDWRU\KDUDVVPHQW RFFXUUHG,QWKLVVLWXDWLRQWKHFRPPDQGHUVKRXOGGHWHUPLQH
   ZKHWKHUWKHDOOHJDWLRQVWKRXJKXQVXEVWDQWLDWHGPLJKWEHLQGLFDWLYHRISUREOHPVLQWKHXQLWWKDWUHTXLUHUHVROXWLRQ
   WKURXJK WUDLQLQJ LQLWLDWLYHV RU RWKHU OHDGHUVKLS DFWLRQV 6KRXOG WKH FRPSODLQW EH IRXQG XQVXEVWDQWLDWHG WKH FRP
   PDQGHUZLOOQRWLI\WKHFRPSODLQDQWDQGVXEMHFWLQZULWLQJ '$)RUP 7KHFRPSODLQDQWDQGVXEMHFWZLOOVLJQ
   DQGGDWHWKH'$)RUPWRDFNQRZOHGJHUHFHLYLQJWKLVLQIRUPDWLRQ7KLVDFNQRZOHGJPHQWGRHVQRWQHFHVVDULO\
   VLJQLI\WKHFRPSODLQDQW VRUVXEMHFW¶VDJUHHPHQWZLWKWKHDFWLRQVWDNHQ&RPPDQGHUVZLOOLQIRUPFRPSODLQDQWVDQG
   VXEMHFWVRIWKHDYDLODELOLW\RIDILQDOLQYHVWLJDWLYHUHSRUWDQGWKHLUULJKWWRUHTXHVWDFRS\RIWKHILQDOLQYHVWLJDWLYH
   UHSRUWUHGDFWHGDVQHFHVVDU\WRFRPSO\ZLWKWKH3ULYDF\$FWDQGDQ\RWKHUDSSOLFDEOHODZVDQGUHJXODWLRQV)UHHGRP
   RI,QIRUPDWLRQ$FWUHTXHVWVZLOOEHSURFHVVHGLQDFFRUGDQFHZLWK'R'0
       F $FWLRQVWRUHVROYHFRPSODLQWV$FWLRQVWRUHVROYHFRPSODLQWVVKRXOGIRFXVRQFKDQJLQJLQDSSURSULDWHEHKDYLRU
   RIRIIHQGLQJSHUVRQQHODQGDYRLGWDUJHWLQJWKHFRPSODLQDQW7KHFRPSODLQDQW VDVVLJQPHQWMREDQGRUVWDWXVVKRXOG
   QRWEHDIIHFWHGXQOHVVWKH\UHTXHVWVXFKDUHPHG\7KHFKDLQRIFRPPDQGZLOODGPLQLVWHUVXFKDUHPHG\RQO\DIWHU
   ZHLJKLQJWKHLPSDFWRQUHDGLQHVVRQWKH6ROGLHUDQGXQLW8OWLPDWHO\WKHFRPPDQGHUZLOOHOLPLQDWHXQGHUO\LQJFDXVHV
   RIDOOFRPSODLQWV0RUHPHPEHUVRIWKHXQLWRWKHUWKDQFRPSODLQDQWDQGVXEMHFWDUHDIIHFWHGE\FRPSODLQWVHVSHFLDOO\
   WKRVHWKDWJRXQUHVROYHG
        )HHGEDFN7KHFRPPDQGHUZLOOSURYLGHZULWWHQIHHGEDFNWRWKHFRPSODLQDQWDQGWKHVXEMHFWRQWKHVWDWXVRI
   WKHLQYHVWLJDWLRQ)HHGEDFNZLOOEHSURYLGHGHYHU\FDOHQGDUGD\V QH[W087$ ± DQGHYHU\087$± WKHUHDIWHU
                                                                                                                       




   IRU86$5 XQWLODFWLRQVWRUHVROYHWKHFRPSODLQWDUHWDNHQ '$)RUP 7KLVUHVSRQVLELOLW\ZLOOQRWEHGHOHJDWHG
   )HHGEDFNVKRXOGEHFRQVLVWHQWZLWKWKHOLPLWDWLRQVRIWKH3ULYDF\$FWDQGWKH)2,$&RPPDQGHUVZLOOLQIRUPWKH
   VHUYLFLQJ0(2SURIHVVLRQDORIWKHSURYLVLRQVRIIHHGEDFNVRLWFDQEHHQWHUHGLQ0(2GDWDEDVH
      H$SSHDOVSURFHVV,IWKHFRPSODLQDQWRUVXEMHFWSHUFHLYHVWKHLQYHVWLJDWLRQIDLOHGWRUHYHDODOOUHOHYDQWIDFWVWR
   VXEVWDQWLDWHWKHDOOHJDWLRQVRUWKDWWKHDFWLRQVWDNHQE\WKHFRPPDQGRQWKHLUEHKDOIZHUHLQVXIILFLHQWWRUHVROYHWKH
   FRPSODLQWERWKWKHFRPSODLQDQWDQGWKHVXEMHFWKDYHWKHULJKWWRVXEPLWDQDSSHDO7KHFRPSODLQDQWPD\QRWDSSHDO
   WKHDFWLRQVWDNHQDJDLQVWWKHVXEMHFWLIDQ\ZHUHWDNHQ7KHILUVWDSSHDOOHYHOLVWKHILUVWFRPPDQGHULQWKHFKDLQRI
   FRPPDQGZLWK63&0&$:KHQFRPSODLQWLVSURFHVVHGDWWKH63&0&$ EULJDGHOHYHO WKHDSSHDOZLOOEHSURFHVVHG
   ZLWKWKHILUVWFRPPDQGHULQWKHFKDLQRIFRPPDQGZLWK*&0&$7KHVHFRQGDQGILQDODSSHDOZLOOEHIRUZDUGHGWR
   WKH$&20$6&&RU'58FRPPDQGHUZLWK*&0&$,IWKHILUVWOHYHODSSHDOZDVSURFHVVHGDWWKH$&20$6&&
   '58OHYHOWKHQWKHVHFRQGDQGILQDODSSHDOZLOOEHIRUZDUGHGWRWKH'HSDUWPHQWRIWKH$UP\$VVLVWDQW6HFUHWDU\RI
   WKH$UP\ $6$ 0DQSRZHUDQG5HVHUYHV$IIDLUV 0 5$ E\WKH$&20$6&&RU'58FRPPDQGHU7KH$6$
   0 5$RURWKHUGHVLJQDWHGRIILFLDOZLOOGHFLGHWKHILQDODSSHDOEDVHGRQWKHZULWWHQUHFRUGDQGDQ\ZULWWHQDUJXPHQWV
   VXEPLWWHGZLWKWKHDSSHDO7KHILQDODSSHDODXWKRULW\PD\VXVWDLQRURYHUUXOHWKHILQGLQJ V RUUHPDQGWKHPDWWHUIRU
   IXUWKHUIDFWILQGLQJ*HRJUDSKLFDOO\UHPRWHXQLWVILHOGRSHUDWLQJDJHQFLHVDQGYDULRXVRWKHURUJDQL]DWLRQV LQFOXGLQJ
   WHQDQWXQLWVRQWKHLQVWDOODWLRQ ZLOOSURPXOJDWH028VEHWZHHQWKH6HQLRU&RPPDQGHUDQGWKHLUXQLWV7KHVHGRFX
   PHQWVZLOOVHUYHWRSURYLGHWKHQHFHVVDU\JXLGDQFHWRXQLWSHUVRQQHOIRUWKHFRXUVHVRIDFWLRQWREHWDNHQZLWKDSSHDOV
   0(2DQGKDUDVVPHQWDSSHDOVWKDWPD\OHDYHWKH$UP\FKDLQRIFRPPDQG IRURWKHU6HUYLFHV ZLOOEHIRUZDUGHGWR
   WKH'&6*± ZLWKDSSHOODWHDXWKRULW\WR$6$0 5$ZLWKFRRUGLQDWLRQ+4'$0(23ROLF\%UDQFK
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        7KHILUVWDQGVHFRQGDSSHDOUHTXHVWPXVWEHSUHVHQWHGZLWKLQFDOHQGDUGD\V QH[W087$ ± IRU86$5 IRO
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   ORZLQJQRWLILFDWLRQRIWKHUHVXOWVRILQYHVWLJDWLRQDQGDFNQRZOHGJPHQWRIWKHDFWLRQVRIWKHFRPPDQGWRUHVROYHWKH
   FRPSODLQWRUWKHUHVXOWVRIWKHILUVWDSSHDO7KHFRPSODLQDQWRUVXEMHFWPXVWSURYLGHDEULHIVWDWHPHQWWKDWLGHQWLILHV
   WKHEDVLVRIWKHDSSHDO7KLVZLOOEHGRQHLQZULWLQJRQWKH'$)RUPDQGZLOOEHUHWXUQHGWRWKHFRPPDQGHULQ
   WKHFKDLQRIFRPPDQGZKRHLWKHUFRQGXFWHGWKHLQYHVWLJDWLRQRUDSSRLQWHGWKHLQYHVWLJDWLQJRIILFHURUWKHFRPPDQGHU
   ZKRFRQGXFWHGWKHILUVWDSSHDO
        2QFHWKHILUVWRUVHFRQGDSSHDOLVLQLWLDWHGE\WKHFRPSODLQDQWRUDQGVXEMHFWWKHFRPPDQGHUKDVFDOHQGDU
   GD\V VDPHIRU86$5 WRUHIHUWKHDSSHDOWRWKHDSSHOODWHDXWKRULW\
        7KHILUVWDQGVHFRQGDSSHOODWHDXWKRULWLHVKDYHFDOHQGDUGD\V WZR087$ GD\V ±IRU86$5 WRUHYLHZ
   WKHFDVHDFWRQWKHDSSHDODQGSURYLGHZULWWHQIHHGEDFNFRQVLVWHQWZLWK3ULYDF\$FWDQG)2,$OLPLWDWLRQVWRWKH
   FRPSODLQDQWRUVXEMHFWRQWKHUHVXOWVRIWKHDSSHDO7KHILQDODSSHOODWHDXWKRULW\GHFLVLRQLVILQDO
        ,ID6ROGLHU3&6VDQGILOHVDFRPSODLQWWKHJDLQLQJXQLWZLOOLQWDNHWKHFRPSODLQWDQGWUDQVIHUWKHFRPSODLQWWR
   WKHORVLQJXQLWIRUSURFHVVLQJ0(2SURIHVVLRQDOVIURPERWKFRPPDQGVZLOOZRUNFORVHO\WRHQVXUHDFRPSODLQWLV
   KDQGOHGLQDFFRUGDQFHZLWK$UP\SROLF\




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                                                   $5±-XO\                                                   
Case 1:21-cv-02228-RM-STV Document 37-14 Filed 11/23/21 USDC Colorado Page 104 of
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      I)ROORZXSDVVHVVPHQW7KH0(2SURIHVVLRQDOZLOOFRQGXFWDIROORZXSDVVHVVPHQWRIDOOIRUPDOGLVFULPLQDWLRQ
   FRPSODLQWV7KHIROORZXSDVVHVVPHQWZLOOEHFRPSOHWHGIRUERWKVXEVWDQWLDWHGDQGXQVXEVWDQWLDWHGFRPSODLQWVZLWKLQ
   FDOHQGDUGD\V QH[W087$± IRU86$5 IROORZLQJWKHILQDOGHFLVLRQUHQGHUHGRQWKHFRPSODLQW7KHSXUSRVHRI
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   WKHDVVHVVPHQWLVWRPHDVXUHWKHHIIHFWLYHQHVVRIWKHDFWLRQVWDNHQDQGWRGHWHFWDQGGHWHUDQ\DFWVRUWKUHDWVRIUHSULVDO
   7KH0(2SURIHVVLRQDOZLOODOVRDVVHVVWKHFRPSODLQDQW VVDWLVIDFWLRQZLWKWKHSURFHGXUHVIROORZHGLQWKHFRPSODLQW
   SURFHVVWRLQFOXGHWLPHOLQHVVVWDIIUHVSRQVLYHQHVVDQGKHOSIXOQHVVUHVROXWLRQRIWKHFRPSODLQWDQGHQVXUHUHSULVDO
   GLGQRWRFFXU7KHILQGLQJVRIWKLVDVVHVVPHQWZLOOEHDQQRWDWHGRQ'$)RUP ± DQGPDLQWDLQHGE\WKH0(2
                                                                                                       




   SURIHVVLRQDO7KH0(2SURIHVVLRQDOZLOOSUHVHQWILQGLQJVDQGUHFRPPHQGDWLRQVWRWKHFRPPDQGHUIRUIXUWKHUFRQVLG
   HUDWLRQDFWLRQZLWKLQFDOHQGDUGD\V QH[W087$±IRU86$5 $IWHUWKHFRPPDQGHUUHYLHZVWKH0(2SURIHVVLRQDO
   ILQGLQJV DQG UHFRPPHQGDWLRQV WKH FRPPDQGHU ZLOO GHWHUPLQH ZLWKLQ  FDOHQGDU GD\V QH[W 087$±IRU 86$5 
   ZKHWKHUDQ\IXUWKHUDFWLRQVDUHUHTXLUHG7KH'$)RUP ± LVDWWDFKHGWRWKHRULJLQDOFRPSODLQWILOHDQGHQWHUHG
                                                                            




   LQWR0(2GDWDEDVH
      J'RFXPHQWDWLRQUHSRUWLQJRIIRUPDOFRPSODLQWV
        $IWHUWKHFRPSODLQDQW VFDVHLVFORVHGWKH0(2SURIHVVLRQDOZLOOILOHWKHHQWLUHFRPSODLQWSDFNHWE\WKH0(2
   GDWDEDVHFDVHQXPEHU7KH0(2SURIHVVLRQDOZLOOXSGDWHDQGFORVHRXWWKHFRPSODLQWLQ0(2GDWDEDVH
        7KH0(2SURIHVVLRQDOZLOOUHWDLQVWKHFRPSODLQWILOHIRU\HDUVIURPWKHGDWHRIWKHFRPPDQGHUVLJQLQJWKH
   '$)RUP ± XVLQJWKH$UP\5HFRUG,QIRUPDWLRQ0DQDJHPHQW6\VWHP
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        ,QDGGLWLRQWRWKHFRPSOHWHG'$)RUPDQG'$)RUP ± WKH0(2SURIHVVLRQDOZLOOUHWDLQWKHIRO
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   ORZLQJLQIRUPDWLRQ XVLQJWKH0)5IRUPDW IRUHDFKFDVH
       D &RPSOHWHUHSRUWRILQYHVWLJDWLRQWRLQFOXGHZULWWHQUHYLHZE\0(2SURIHVVLRQDODQGVHUYLFLQJOHJDODGYLVRU
       E 7KHVWDWXVRUUHVXOWVRIDQ\MXGLFLDODFWLRQQRQMXGLFLDOSXQLVKPHQWRURWKHUDFWLRQWDNHQWRUHVROYHWKHFDVH
        7KHFRPPDQGHUSURFHVVLQJWKHFRPSODLQWLQYROYLQJ5HVHUYHDQGRU$51*6ROGLHUVZLOOVHQGDQLQIRUPDWLRQ
   FRS\RIWKHLQIRUPDWLRQLQSDUDJUDSK±LWRWKH$UP\5HVHUYH+HDGTXDUWHUV¶0(2'LUHFWRUDWHDQGRUWKH1*%¶V
   0(2ZLWKLQGD\VRIWKHILQDODFWLRQWDNHQE\WKHFRPPDQGHU
      K$FWLRQVDJDLQVW6ROGLHUVVXEPLWWLQJIDOVHFRPSODLQWV6ROGLHUVZKRNQRZLQJO\VXEPLWDIDOVH0(2FRPSODLQW
    DFRPSODLQWFRQWDLQLQJLQIRUPDWLRQRUDOOHJDWLRQVWKDWWKHFRPSODLQDQWNQHZWREHIDOVH PD\EHSXQLVKHGXQGHUWKH
   8&0-
      L&RPSODLQWSURFHGXUHVIRU$UP\5HVHUYH6ROGLHUVVHUYLQJLQWKH,QGLYLGXDO5HDG\5HVHUYH
        &RPSODLQWILOHGGXULQJDFWLYHGXW\WRXU&RPSODLQWSURFHGXUHVZLOOUHPDLQWKHVDPHDVIRUDFWLYHGXW\SHUVRQ
   QHO5$DQG86$5FRPPDQGHUVXSRQUHFHLYLQJDFRPSODLQWIURPPHPEHUVRIWKH,55RULQGLYLGXDOPRELOL]DWLRQ
   DXJPHQWHHIURP6ROGLHUVSHUIRUPLQJDFWLYHGXW\IRUVSHFLDOZRUNRUWHPSRUDU\WRXURIDFWLYHGXW\RUIURPDQ\86$5
   6ROGLHUZKRLVQRWDPHPEHURID738ZLOOPDNHHYHU\DWWHPSWWRUHVROYHWKHFRPSODLQWSULRUWRWKHFRPSOHWLRQRI
   WKH6ROGLHU VDFWLYHGXW\WRXU&RPPDQGHUVZLOOQRWLI\WKHLUFRPPDQG0(2SURIHVVLRQDOIRUDVVLVWDQFHDQGGRFXPHQ
   WDWLRQLQWR0(2GDWDEDVH
       D 7LPHOLQHV6KRXOGWKHFRPSODLQWEHILOHGEXWQRWUHVROYHGSULRUWRWKH6ROGLHU VUHOHDVHIURPDFWLYHGXW\WKH
   WLPHOLQHVZLOOEHPRGLILHG7KH5$RU86$5FRPPDQGHUZLOOKDYHFDOHQGDUGD\VIURPWKHILOLQJRIWKHFRPSODLQW
   WRQRWLI\WKHFRPSODLQDQWRIWKHUHVXOWVRIWKHLQYHVWLJDWLRQDFWLRQVWDNHQWRUHVROYHWKHFRPSODLQW
       E $SSHDOV7KHFRPSODLQDQWDQGVXEMHFWRIWKHFRPSODLQWZLOOKDYHFDOHQGDUGD\VIURPQRWLILFDWLRQRIWKH
   UHVXOWV RI WKH LQYHVWLJDWLRQ WR ILOH D ILUVW OHYHO DSSHDO 7KHFRPSODLQDQW DQG VXEMHFW RI WKH FRPSODLQW ZLOO KDYH 
   FDOHQGDUGD\VIURPQRWLILFDWLRQRIWKHUHVXOWVIRUWKHILUVWOHYHODSSHDOWRILOHDVHFRQGDQGILQDODSSHDO$SSHDOVILOHG
   PRUHWKDQFDOHQGDUGD\VDIWHUQRWLILFDWLRQVPXVWEHDFFRPSDQLHGE\DZULWWHQH[SODQDWLRQRIWKHUHDVRQVIRUGHOD\
   7KHFRPPDQGHUKDVWKHGLVFUHWLRQWRFRQVLGHUDQDSSHDOEDVHGRQLWVPHULWV
       F )LQDOQRWLILFDWLRQ7KHILUVWDQGVHFRQGILQDODSSHDOQRWLILFDWLRQVRIWKHFRPPDQGHU VGHFLVLRQZLOOEHSURYLGHG
   WRWKHFRPSODLQDQWDQGVXEMHFWRIWKHFRPSODLQWZLWKLQIRUPDWLRQFRSLHVSURYLGHGWRWKHQH[WKLJKHUKHDGTXDUWHUVDQG
   WKH$UP\5HVHUYH+HDGTXDUWHUV0(2'LUHFWRUDWH ZLWKLQFDOHQGDUGD\VRIWKHUHFHLSWRIWKHDSSHDOV7KHILQDO
   DSSHDO*&0&$PD\VXVWDLQRURYHUUXOHWKHILQGLQJ V RUUHPDQGWKHPDWWHUIRUIXUWKHUIDFWILQGLQJ
        &RPSODLQWILOHGVXEVHTXHQWWRUHOHDVHIURPDFWLYHGXW\,QWKHHYHQWWKHFRPSODLQWLVILOHGDIWHUWKHDFWLYHGXW\
   WRXUKDVHQGHGWKHFRPSODLQDQWDQGVXEMHFWVZLOOILOHDVZRUQFRPSODLQWRQ'$)RUPWRWKHDFWLYHGXW\WRXU
   FRPPDQGHU8SRQWKHUHFHLSWRI'$)RUPWKHDFWLYHGXW\WRXUFRPPDQGHUZLOOIRUZDUGWKHFRPSODLQWWRWKH
   DSSURSULDWHFRPPDQGHURIWKHVXEMHFWRIWKHFRPSODLQWDFWLYHGXW\XQLWIRULQYHVWLJDWLRQ
       D 7LPHOLQHV7KDWFRPPDQGHUZLOOKDYHFDOHQGDUGD\VIURPGDWHRIUHFHLSWRIWKHFRPSODLQWWRFRQGXFWDQ
   LQYHVWLJDWLRQDQGWRSURYLGHIHHGEDFNWRWKH FRPSODLQDQWDQGVXEMHFW ([WHQVLRQV QRWWRH[FHHGDQDGGLWLRQDO
   FDOHQGDUGD\V WZR087$ GD\V ±IRU86$5 PD\EHJUDQWHGE\KLJKHUHFKHORQFRPPDQGHU 




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       E $SSHDOV&RPSODLQDQWDQGVXEMHFWRIWKHFRPSODLQWZLOOKDYHFDOHQGDUGD\VIURPQRWLILFDWLRQRIWKHUHVXOWV
   RILQYHVWLJDWLRQWRDSSHDOGHFOLQHDSSHDO$SSHDOVILOHGPRUHWKDQFDOHQGDUGD\VDIWHUQRWLILFDWLRQPXVWEHDFFRP
   SDQLHGE\D ZULWWHQH[SODQDWLRQRIWKHUHDVRQVIRUGHOD\7KHFRPPDQGHUKDVWKHGLVFUHWLRQWRFRQVLGHUDQDSSHDO
   EDVHGRQLWVPHULWV
       F )LQDOGHFLVLRQ:LWKLQFDOHQGDUGD\VRIUHFHLSWRIDSSHDOWKHFRPPDQGHUZLOOSURYLGHQRWLILFDWLRQRIILQDO
   GHFLVLRQWRWKHFRPSODLQDQWDQGVXEMHFWRIWKHFRPSODLQWQH[WKLJKHUKHDGTXDUWHUVDQG$UP\5HVHUYH+HDGTXDUWHUV¶
   0(2'LUHFWRUDWH
      M0LOLWDU\(TXDO2SSRUWXQLW\DQG+DUDVVPHQW+RXU+RWOLQH
        3XUSRVH7RGHILQHUROHVDQGUHVSRQVLELOLWLHVRIWKH0(2DQG+DUDVVPHQWORFDOKRWOLQHV7KH0(2DQG+DU
   DVVPHQWORFDOKRWOLQHVSURYLGHVLQIRUPDWLRQRQ0(2DQG+DUDVVPHQWSROLFLHVDQGSURFHGXUHVRQKRZDQGZKHUH
   WRILOHFRPSODLQWVWKHEHKDYLRUVWKDWFRQVWLWXWHGLVFULPLQDWLRQDQGKDUDVVPHQWDQGLQIRUPDWLRQDERXWWKH'R'6DIH
   +HOSOLQHIRUVH[XDODVVDXOWDQGWKH6+$53 $&20$6&&'58DQG6HQLRU&RPPDQGHUKRWOLQHSKRQHQXPEHUV
   7KHKRWOLQHLVDQDGGLWLRQDODYHQXHIRU6ROGLHUVWRDQRQ\PRXVO\UHSRUWLQFLGHQWVRI0(2DQG+DUDVVPHQW
        3ROLF\
       D 5HTXLUHPHQWV IRU  0LOLWDU\ (TXDO 2SSRUWXQLW\ DQG +DUDVVPHQW ORFDO KRWOLQHV SHU 'R',  DQG
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      6HQLRU&RPPDQGHUVZLOOKDYHDQLQVWDOODWLRQ0(2DQGKDUDVVPHQW KD]LQJEXOO\LQJGLVFULPLQDWRU\KDU
   DVVPHQW KRWOLQH
      (DFK6HQLRU&RPPDQGHUZLOOKDYHDORFDO0(2DQG+DUDVVPHQWUHVSRQVHKRWOLQHSKRQHQXPEHUSRVWHGRQ
   LQVWDOODWLRQDQGFRPPDQGHU¶VZHEVLWHVDQGEXOOHWLQERDUGVWRHQVXUHLPPHGLDWH0(2DQG+DUDVVPHQWDVVLVWDQFH
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   VLRQVUHTXLUHGWRWKH$&20$6&&'58DQG86$5FRPPDQGRULQVWDOODWLRQKRWOLQHSKRQHLQIRUPDWLRQSRVWHG
   RQWKH+4'$0(2ZHEVLWH
      $OOFRPPDQGHUVZLOOFRRUGLQDWHZLWKWKHLUDSSURSULDWHZHEVLWHDGPLQLVWUDWRUVWRHQVXUHWKDWWKHLURIILFLDO$UP\
   ZHEVLWHVFRPSO\&RPPDQGVDQGLQVWDOODWLRQVDUHUHVSRQVLEOHIRUXSGDWLQJWKHLUFRPPDQGSDJHVWKURXJKFRRUGLQDWLRQ
   ZLWK&KLHI,QIRUPDWLRQ2IILFHU* ± RUDSSURSULDWHZHEVLWHDGPLQLVWUDWRU
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       E $&20$6&&'5886$5DQG6HQLRU&RPPDQGHUZLOO²
      3XEOLVKSROLF\JRYHUQLQJSURFHGXUHVUHTXLUHGWRHQVXUHDFFXUDF\RILQVWDOODWLRQDQGVXERUGLQDWHZHEVLWHVDQG
   PDLQWDLQLQJDFFXUDWHVXERUGLQDWHKRWOLQHSKRQHQXPEHUV
      (QVXUH $&20 $6&& '58 86$5 0(2 3URJUDP 0DQDJHU 30V  DGYLVHV WKH '$6$ 0 5$ (,$ 0(2
   3URJUDPRIILFHZLWKLQEXVLQHVVGD\ZKHQ UHYLVLRQVDUHUHTXLUHGWRWKHFRPPDQGDQGLQVWDOODWLRQ0(2DQG
   +DUDVVPHQWKRWOLQHSKRQHQXPEHUV
      &RPPDQGHUVDQG0(2SURIHVVLRQDOVZLOOLQFOXGHPDLQWDLQLQJDFFXUDWH0(2DQG+DUDVVPHQWKRWOLQHSKRQH
   QXPEHULQIRUPDWLRQDVDQDJHQGDLWHPIRUDQQXDO6$9V
       F 5ROHVDQGUHVSRQVLELOLWLHVIRUDQVZHULQJ0LOLWDU\(TXDO2SSRUWXQLW\DQG+DUDVVPHQWKRWOLQHV
      7KHLQVWDOODWLRQ0(2DQG+DUDVVPHQWKRWOLQHUHVSRQVHSKRQHFDOOVPXVWRQO\EHDQVZHUHGE\0(23UR
   IHVVLRQDOV QRW(2/V ZKRDUHFXUUHQWO\VHUYLQJLQDXWKRUL]HG0(2WRXURIGXW\ELOOHWVZKHQFDOOVFDQQRWEHDQVZHUHG
   LPPHGLDWHO\WKH0(2SURIHVVLRQDOZLOOUHVSRQGZLWKLQKRXUV7KHVHQLRUFRPPDQGHUZLOOEHUHVSRQVLEOHIRUHQ
   VXULQJWKDW0(2DQG+DUDVVPHQWKRWOLQHUHVSRQGHUVKDYHWKHFXUUHQWOLVWLQJRIVXERUGLQDWHXQLWLQIRUPDWLRQVR
   WKDWWKH\FDQFRRUGLQDWHDVUHTXLUHG6XERUGLQDWHOHYHOSKRQHLQIRUPDWLRQZLOOQRWXQGHUDQ\FLUFXPVWDQFHVEH
   SRVWHGRQRIILFLDO$UP\ZHEVLWHV
      &RPPDQGVZLOOHQVXUHZULWWHQSURFHGXUHVDUHLQSODFHIRU0(2DQG+DUDVVPHQWKRWOLQHVDQGHQVXUH0(2
   SURIHVVLRQDOVDUHWUDLQHGRQSURFHGXUHV
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   JUHHWLQJUHTXLUHG7KHJUHHWLQJPXVWDOVRDGYLVHVFDOOHUVWKHOLYHFULVLVVXSSRUWLVDYDLODEOHE\FDOOLQJWKH'R'6DIH
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   WKLVLV QDPH  0(2SURIHVVLRQDO DW RUJDQL]DWLRQLGHQWLILHG 3OHDVHOHDYHPHDPHVVDJHZLWK\RXUQDPHDQGSKRQH
   QXPEHU DQG , ZLOO UHWXUQ \RXU FDOO ZLWKLQ  KRXUV )RU LPPHGLDWH KHOS IRU VH[XDO DVVDXOW FRQWDFW WKH 'R' 6DIH
   +HOSOLQHDW ± ± ±RUIRUVH[XDOKDUDVVPHQWFRQWDFWWKH6+$53KRWOLQHDW ORFDOQXPEHU ´
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      :KHQUHVSRQGLQJWR0(2DQG+DUDVVPHQWSKRQHFDOOVWKHUHVSRQGHUZLOOLGHQWLI\WKHPVHOYHVWKHLUUROHDQG
   ORFDWLRQVXFKDV³+HOORWKLVLV QDPH  0(2SURIHVVLRQDO DW RUJDQL]DWLRQLGHQWLILHG +RZPD\,KHOS\RX"´
      'HVFULEHWKHTXDOLW\FRQWUROUHTXLUHPHQWV
      D $&20$6&&'58DQG86$5FRPPDQGHUVZLOOFRQGXFWTXDUWHUO\4&WHVWFDOOVWRDPLQLPXPRISHUFHQW
   RIWKHWRWDOLQYHQWRU\RI0(2DQG+DUDVVPHQWKRWOLQHSKRQHQXPEHUVZLWKLQWKHLUUHVSHFWLYHFRPPDQGV
      E $&20$6&&'58DQG86$5FRPPDQGHUVZLOOVXEPLWDTXDUWHUO\UHSRUWRIFRPPDQGLQVWDOODWLRQWHVWFDOOV
   PDGHWRWKH0(2DQG+DUDVVPHQWKRWOLQHWRLQFOXGHLQVWDOODWLRQRUJDQL]DWLRQDQGWHOHSKRQHQXPEHUVWR$6$



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   0 5$(,$0(23URJUDPRIILFHQRODWHUWKDQWKHWKGD\IROORZLQJWKHHQGRIWKHTXDUWHU7KLVLQFOXGHVPDNLQJ
   WHVWFDOOVDQGHQVXULQJDFFXUDF\RIDOO0(2DQG+DUDVVPHQWKRWOLQHSKRQHQXPEHUVZLWKWKH$&20$6&&'58
   DQG86$5IRRWSULQW
      F 7KH+4'$0(23URJUDP6WDIIZLOOSURYLGHD4&UHSRUWWHPSODWHWR$&20V$6&&V'58VDQG86$5V
   ,QIRUPDWLRQUHFHLYHGIURP$&20V$6&&VRU'58VQRWXVLQJWKHWHPSODWHRUWKDWDUHLQFRPSOHWHZLOOEHVHQWEDFN
   WRWKHFRPPDQGIRUFRUUHFWLRQV7HVWFDOOSRSXODWLRQZLOOEHHVWDEOLVKHGDQGGRFXPHQWHGRQHDFKTXDUWHU¶VUHSRUW
      G 7KH'$0(23URJUDPZLOOFRPSLOHLQIRUPDWLRQVXEPLWWHGE\WKH$&20V$6&&V'58VDQG86$5VLQWRD
   PHPRUDQGXPUHSRUWZLWKVXSSRUWHQFORVXUHVDQGSURYLGHWKHUHSRUWWRWKH'$6$0 5$(,$QRODWHUWKDQWKHWK
   GD\IROORZLQJWKHHQGRIWKHTXDUWHU,IWKHWKLVDKROLGD\RUZHHNHQGWKHUHSRUWDQGVXSSRUWHQFORVXUHVDUHGXHWKH
   QH[WEXVLQHVVGD\
      5HVSRQVLELOLW\7KH'$6$0 5$(,$0(23URJUDPRIILFHZLOO²
      D ,QGHSHQGHQWO\FRQGXFWTXDUWHUO\4&FKHFNVRIWKHFRPPDQGDQGLQVWDOODWLRQ0(2DQG+DUDVVPHQWKRWOLQH
   UHVSRQVHSKRQHQXPEHUVSRVWHGRQWKH+4'$0(2ZHEVLWHDQGFRRUGLQDWHILQGLQJVZLWK$&20V$6&&V'58V
   DQG86$530V&KDQJHVWRWKHLQVWDOODWLRQ0(2DQG+DUDVVPHQWKRWOLQHSKRQHQXPEHUVZLOORQO\EHPDGH
   XSRQFRQFXUUHQFHIURPWKH$&20$6&&RU'58RU86$5
      E 1RWLI\WKH'$6$0 5$(,$XQGHUDQ\RIWKHIROORZLQJFRQGLWLRQVIRUFRQVHFXWLYHTXDUWHUV DQ0(2DQG
   +DUDVVPHQWLQFRUUHFWKRWOLQHSKRQHQXPEHUKDVQRWEHHQUHFRQFLOHGE\WKHFRPPDQGLQVWDOODWLRQRU WKHFRPPDQG
   GRHVQRWVXEPLWDTXDUWHUO\4&UHSRUWDVSUHVFULEHGLQWKLVSROLF\7KH'$6$0 5$(,$ZLOOFRQWDFWWKHVHQLRU
   UHVSRQVLEOH*2GLUHFWO\
      F &RQVROLGDWHWKHUHVXOWVRIWKH+4'$0(23URJUDP$&20V$6&&V'58VDQG86$5V¶4&WHVWLQJRI0(2
   DQG+DUDVVPHQWKRWOLQHSKRQHQXPEHUVDQGUHSRUWWKHUHVXOWVWRWKH$6$0 5$TXDUWHUO\ZLWKQHJDWLYHILQGLQJV
   RQO\,IWKHKRWOLQHVDUHDQVZHUHGRUFDOOVUHWXUQHGZLWKLQWKHDSSURSULDWHWLPHIUDPHWKH'$6$0 5$(,$DQG
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      N9LFWLP6XSSRUW3URJUDP
        0(2SURIHVVLRQDOVPXVWHQVXUHFRPSODLQDQWVDUHSURYLGHGDGHTXDWHSURWHFWLRQDQGFDUHDQGLQIRUPHGDERXW
   DYDLODEOHVXSSRUWUHVRXUFHVLQFOXGLQJ²
       D (QVXUH FRPSODLQDQWV DUH SURYLGHG DGHTXDWH SURWHFWLRQ DQG FDUH DQG LQIRUPHG DERXW DYDLODEOH VXSSRUW UH
   VRXUFHVLQFOXGLQJ(PHUJHQF\PHGLFDODQGVXSSRUWVHUYLFHV
       E 3XEOLFDQGSULYDWHSURJUDPVWKDWDUHDYDLODEOHWRSURYLGHFRXQVHOLQJWUHDWPHQWDQGRWKHUVXSSRUW
       F 2UJDQL]DWLRQVDQGHQWLWLHVRQDQGRIIEDVHWKDWSURYLGHYLFWLPDQGZLWQHVVVHUYLFHVDQGVXSSRUW
        &RPSODLQWVLQD-RLQW6HUYLFHHQYLURQPHQW
       D 0(2SURIHVVLRQDOVPXVWHQVXUHWKDWGLVFULPLQDWLRQDQGKDUDVVPHQWFRPSODLQWVDUHSURFHVVHGWKURXJKWKHFRP
   PDQGRU6HUYLFHWKDWKDVDGPLQLVWUDWLYHFRQWURORUGLVFLSOLQDU\DXWKRULW\RUDFRPELQDWLRQWKHUHRIRYHUWKHDOOHJHG
   RIIHQGHU
       E (QVXUHWKDW-RLQWFRPPDQGHUVIRUZDUGWKHFRPSODLQWZLWKDGHWDLOHGGHVFULSWLRQRIWKHIDFWVDQGFLUFXPVWDQFHV
   WRWKHQH[WVXSHULRURIILFHULQWKHDOOHJHGRIIHQGHU¶VFKDLQRIFRPPDQGZKRLVDXWKRUL]HGWRFRQYHQHDJHQHUDOFRXUW
   PDUWLDO
       F 5HTXLUHWKHDOOHJHGRIIHQGHU¶VFRPPDQGHURUVXSHUYLVRUWRSURYLGHXSGDWHVDVDSSURSULDWHWRWKHFRPSODLQ
   DQW¶VFRPPDQGHURUVXSHUYLVRUXSRQUHFHLSWRIFRPSODLQWWKURXJKILQDOGLVSRVLWLRQ
       G (QVXUHXSRQFRPSOHWLRQDQGILQDOGLVSRVLWLRQRIWKHFRPSODLQWWKDWWKHFRPSODLQDQW¶VFRPPDQGHUDQGWKHRI
   IHQGHU¶VFRPPDQGHUDUHLQIRUPHGRIWKHILQDOGLVSRVLWLRQIRUSURSHUWUDFNLQJGRFXPHQWDWLRQILOHPDLQWHQDQFHDQG
   UHFRUGVPDQDJHPHQWSXUSRVHV
       H 5HVSRQGWRLQFLGHQWVRIKDUDVVPHQWDQGFRPSO\ZLWKLQYHVWLJDWLRQWLPHOLQHVDQGQRWLILFDWLRQUHTXLUHPHQWVHV
   WDEOLVKHGLQWKLVLVVXDQFH
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   PDQGRU6HUYLFHWKDWKDVDGPLQLVWUDWLYHFRQWURORUGLVFLSOLQDU\DXWKRULW\RUDFRPELQDWLRQWKHUHRIRYHUWKHVXEMHFW
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        (QVXUHWKDW-RLQWFRPPDQGHUVIRUZDUGWKHFRPSODLQWZLWKDGHWDLOHGGHVFULSWLRQRIWKHIDFWVDQGFLUFXPVWDQFHV
   WRWKHQH[WVXSHULRURIILFHULQWKHDOOHJHGVXEMHFWFKDLQRIFRPPDQGZKRLVDXWKRUL]HGWRFRQYHQHDJHQHUDOFRXUW
   PDUWLDO
        5HTXLUHWKHDOOHJHGVXEMHFWFRPPDQGHURUVXSHUYLVRUWRSURYLGHXSGDWHVDVDSSURSULDWHWRWKHFRPSODLQDQW¶V
   FRPPDQGHURUVXSHUYLVRUXSRQUHFHLSWRIFRPSODLQWWKURXJKILQDOGLVSRVLWLRQ
        (QVXUHXSRQFRPSOHWLRQ DQGILQDOGLVSRVLWLRQRIWKHFRPSODLQW WKDWWKHFRPSODLQDQW¶VFRPPDQGHU DQGWKH
   VXEMHFWFRPPDQGHUDUHLQIRUPHGRIWKHILQDOGLVSRVLWLRQIRUSURSHUWUDFNLQJGRFXPHQWDWLRQILOHPDLQWHQDQFHDQG
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   UHTXLUHPHQWVHVWDEOLVKHGLQWKLVLVVXDQFH

   ±5HWDOLDWLRQ3UHYHQWLRQDQG5HVSRQVH
      D7KH0(2SURIHVVLRQDOZLOOLQIRUPWKHFRPPDQGHULIWKH6ROGLHUZLVKHVWRSXUVXHDFWLRQUHODWLQJWRUHSRUWHG
   FRQGXFWWKDWGRHVQRWIDOOXQGHUWKHMXULVGLFWLRQRIWKH,*RU0LOLWDU\&ULPLQDO,QYHVWLJDWLRQ2UJDQL]DWLRQ 0&,2 
   $OOHJDWLRQVRIUHWDOLDWLRQRUUHSULVDOIDOOZLWKLQWKHMXULVGLFWLRQRIWKH,*LQDFFRUGDQFHZLWK86&DQGDV
   VXFKDQLQYHVWLJDWLYHGHWHUPLQDWLRQZLOOEHPDGHE\WKH,*'HSHQGLQJRQWKHIDFWVRIWKHFDVHRVWUDFLVPPDOWUHDW
   PHQWRURWKHUUHWDOLDWRU\EHKDYLRUPD\IDOOZLWKLQWKHMXULVGLFWLRQRIWKH,*LIIRUH[DPSOHLWLVGHWHUPLQHGWKDWWKH\
   DUHLQH[WULFDEO\OLQNHGWRUHVWULFWLRQRUUHSULVDO
      E7KHFRPPDQGHUZLOOWKHQGHFLGHZKHWKHUWRUHIHUWKHUHSRUWIRULQYHVWLJDWLRQE\ODZHQIRUFHPHQWRUVHHNZKHWKHU
   WRUHVROYHLWWKURXJKRWKHUDSSURSULDWHLQYHVWLJDWLYHPHDQV IRUH[DPSOH$5 ± LQYHVWLJDWLRQRUWKURXJKFRRUGLQD
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   WLRQZLWKD6SHFLDO9LFWLPV¶&RXQVHO 69& RUDPLOLWDU\OHJDODVVLVWDQFHDWWRUQH\LIWKHYLFWLPLVUHSUHVHQWHGE\RQH 
      F:KHQUHIHUUHGWRDFRPPDQGIRULQYHVWLJDWLRQDQLQGLYLGXDOLQGHSHQGHQWRIWKHRULJLQDWLQJXQLWRURUJDQL]DWLRQ
   RIWKHUHSRUWHGUHWDOLDWLRQZLOOLQYHVWLJDWHWKHUHWDOLDWLRQUHSRUWVUHIHUUHGWRWKHFRPPDQG
      G7KHFKDLQRIFRPPDQGZLOOHQVXUHWKDWWKH0(2SURIHVVLRQDODQG6ROGLHUUHPDLQLQIRUPHGWKURXJKRXWWKHSUR
   FHVV
      H7KH0(2SURIHVVLRQDOZLOOZRUNZLWKWKH6ROGLHUPDNLQJDYDLODEOHDOWHUQDWLYHPHDQVIRUWKH6ROGLHUWRUHVROYH
   WKHUHWDOLDWLRQ
      I/HJDODVVLVWDQFHSHUVRQQHODUHDYDLODEOHWRKHOSWKH6ROGLHULQDYDULHW\RIZD\VVXFKDVFRPPXQLFDWLQJZLWKWKH
   UHSRUWHGUHWDOLDWRUYHUEDOO\RULQZULWLQJWRDGGUHVVWKH6ROGLHUVFRQFHUQVUHTXHVWLQJLQWHUYHQWLRQIURPDFRZRUNHU
   XWLOL]LQJWKH6ROGLHU¶VFKDLQRIFRPPDQGRURWKHUPHDQVRIDFWLRQ
      J:KHUHYHUDSSURSULDWHDQGGHVLUHG0(2SURIHVVLRQDOPD\DVVLVWZLWKFRRUGLQDWLQJUHVROXWLRQDWWKHORZHVWDS
   SURSULDWHOHYHO
      K7KH0(2SURIHVVLRQDOPD\VHUYHDVDUHVRXUFHDQGFRRUGLQDWHZLWKFRPPDQGOHJDODVVLVWDQFHDWWRUQH\VRU6-$
   WRDGGUHVV6ROGLHUVTXHVWLRQV
      L7KH0(2SURIHVVLRQDOZLOOQRWLI\WKHDSSURSULDWHOHYHORIFRPPDQGRIWKHUHWDOLDWLRQUHSRUWDVVRRQDVSRVVLEOH
   ,IWKHUHWDOLDWLRQUHSRUWLVDJDLQVWWKHLPPHGLDWHFRPPDQGHURUILUVWOLQHVXSHUYLVRUWKHQWKHQH[WOHYHORIFRPPDQG
   ZLOOEHQRWLILHGDQGDVVXPHUHVSRQVLELOLW\IRUWKHFDVH
      M7KH0(2SURIHVVLRQDOZLOOPDNHHYHU\HIIRUWWRSURYLGHXSGDWHVWRFRPPDQGHUVZKRVHSHUVRQQHODUHLQYROYHG
   LQDUHWDOLDWLRQUHSRUWDQGRUUHWDOLDWLRQLQYHVWLJDWLRQ
      N7KHFRPPDQGHU V RIWKH6ROGLHU V RURWKHU6ROGLHUVZKRLVDVXEMHFWRIDUHWDOLDWLRQUHSRUW ZLOOSURYLGHLQ
   ZULWLQJDFDVHVWDWXVDQGDOOGLVSRVLWLRQGDWDWRLQFOXGHDQ\DGPLQLVWUDWLYHRUMXGLFLDODFWLRQWDNHQVWHPPLQJIURPD
   UHWDOLDWLRQLQYHVWLJDWLRQWRWKH0(2SURIHVVLRQDO,IWKH0(2SURIHVVLRQDOKDVFRQFHUQVDERXWYLRODWLQJSULYLOHJHG
   FRPPXQLFDWLRQVWKH0(2SURIHVVLRQDOZLOOFRQVXOWZLWKWKHVHUYLFLQJ6-$RIILFHSULRUWRQRWLI\LQJFRPPDQG
      O6ROGLHUV ZKR UHSRUW UHWDOLDWLRQ DVVRFLDWHG ZLWK ILOLQJ D KDUDVVPHQW FRPSODLQW RU EHLQJ D XQLIRUPHG ZLWQHVV
   E\VWDQGHURUILUVWUHVSRQGHUUHODWHGWRWKHKDUDVVPHQWFRPSODLQWZLOOEHDIIRUGHGWKHRSSRUWXQLW\WRFRPPXQLFDWH
   ZLWK D *2 LQ WKHLU FKDLQ RI FRPPDQG UHJDUGLQJ FDUHHUUHODWHG LPSDFWV DQG DGPLQLVWUDWLYH VHSDUDWLRQ DFWLRQV WKH\
   SHUFHLYHWREHDVVRFLDWHGZLWKWKHFRPSODLQWRULQYROYHPHQWLQWKHLQFLGHQW0(2SURIHVVLRQDOVZLOOQRWLI\6ROGLHU
   FRPSODLQDQWVRIKDUDVVPHQWDVZHOODVXQLIRUPHGZLWQHVVHVE\VWDQGHUVDQGILUVWUHVSRQGHUVRIWKLVSROLF\SURYLVLRQ

   ±0LOLWDU\HTXDORSSRUWXQLW\GHILQLWLRQV
   6HHJORVVDU\VHFWLRQ,, WHUPV 

   ±5DFLDODQGHWKQLFFDWHJRULHV
   5HIHUWR'R''IRUUDFHRUSRSXODWLRQJURXSDQGHWKQLFJURXSUHSRUWLQJFRGHV

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   UHVSRQVLELOLWLHV
   &RPPDQGHUVVXSHUYLVRUVDQGPDQDJHUVDWDOOOHYHOVDUHUHVSRQVLEOHIRUSUHYHQWLQJDQGDSSURSULDWHO\UHVSRQGLQJWR
   LQFLGHQWVRIGLVFULPLQDWLRQ&RPPDQGHUVDUHUHVSRQVLEOHIRUWKHH[HFXWLRQRIWKH0(23URJUDP7KH$UP\¶V+DU
   DVVPHQW3UHYHQWLRQDQG5HVSRQVH3URJUDPDQGWKHFOLPDWHLQWKHLURUJDQL]DWLRQV
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   6HFUHWDU\LQDOO0(2DQG+DUDVVPHQW3UHYHQWLRQDQGUHVSRQVHSROLFLHVDQGFRPSOLDQFHPDWWHUV




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        (QVXUHDOOSHUVRQQHOKDYH0(2SDUWLFLSDWHLQRFFXSDWLRQDOVSHFLDOWLHVDQGGXW\ORFDWLRQVLQDFFRUGDQFHZLWK
   DSSOLFDEOHODZDQG'R'SROLF\
        3URYLGHOHDGHUVKLSRSSRUWXQLWLHVDQGHTXLWDEOHDVVLJQPHQWSURFHVVHVIRUDOOSHUVRQQHO
      E7KH'HSXW\$VVLVWDQW6HFUHWDU\RIWKH$UP\ '$6$ (TXLW\DQG,QFOXVLRQ$JHQF\ ( ,$ ZLOO²
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        (QVXUHDGHTXDWHUHVRXUFHVDQGWUDLQLQJDUHDYDLODEOHWRHIIHFWLYHO\H[HFXWHWKH$UP\0(23URJUDPDQG7KH
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        'HYHORS$UP\ ZLGHSROLFLHVSODQVDQGLQLWLDWLYHVSHUWDLQLQJ WRWKH $UP\0(23URJUDPDQG7KH $UP\¶V
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        (VWDEOLVKVHOHFWLRQFULWHULDLQFRRUGLQDWLRQZLWKWKH'&6* ± DQG&*+5&IRU$UP\DQG$UP\5HVHUYH
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   SHUVRQQHOWRDWWHQGWKH'HIHQVH(TXDO2SSRUWXQLW\0DQDJHPHQW,QVWLWXWH '(20, 
        6HUYHDVWKH$UP\¶VPHPEHURIWKH'(20,%RDUGRI$GYLVRUV
      F7KH,QVSHFWRU*HQHUDO 7,* ZLOOSURFHVVDQGLQYHVWLJDWHDOO0(2DQGKDUDVVPHQWFRPSODLQWVILOHGDJDLQVWD
   SURPRWDEOH&2/DQDFWLYHRUUHWLUHG*2,*VRIDQ\FRPSRQHQWPHPEHUVRIWKH6(6RUH[HFXWLYHVFKHGXOHSHUVRQ
   QHO&RPPDQGHUVDQGILHOG,*VUHFHLYLQJVXFKFRPSODLQWVZLOOUHSRUWWKHPWRWKH,*ZLWKLQZRUNLQJGD\VRIUHFHLSW
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      G7KH'HSXW\$VVLVWDQW6HFUHWDU\RIWKH$UP\ '$6$ (TXLW\DQG,QFOXVLRQ$JHQF\ ( ,$ WKURXJKWKH&KLHI
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        'HYHORSDQGGLVVHPLQDWH$UP\ZLGHSROLFLHVIRU0(23URJUDPDQG7KH$UP\¶V+DUDVVPHQW3UHYHQWLRQDQG
   5HVSRQVH3URJUDPDQGFRPSOLDQFHUHTXLUHPHQWV
        3URYLGHIXQFWLRQDOH[SHUWLVHDQGSROLF\JXLGDQFHFODULILFDWLRQDQGGLUHFWLRQWR$&20$6&&DQG'580(2
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   3UHYHQWLRQDQG5HVSRQVH3URJUDP
        5HVSRQGWR0(2DQGKDUDVVPHQWUHODWHGFRQJUHVVLRQDODQGKLJKOHYHOLQTXLULHV
        (QVXUHDOO0(2SURIHVVLRQDOVPDLQWDLQDQGXSGDWHWKH0(2GDWDEDVH
        (QVXUH 0(2GDWD LVFRPSOHWHDFFXUDWHDQGXSWRGDWHLQVXSSRUWRIKHDGTXDUWHUV $UP\UHSRUWLQJUHTXLUH
   PHQWV
        $QDO\]HWUHQGGDWDDQGLGHQWLI\DUHDVRIFRQFHUQZLWKUHVSHFWWRFRPPDQGFOLPDWHIRU$UP\VHQLRUOHDGHUVKLS
        $VVHVVWKH$UP\0(23URJUDPDQG7KH$UP\¶V+DUDVVPHQW3UHYHQWLRQDQG5HVSRQVH3URJUDPE\UHYLHZLQJ
   LQSXWIURP$&20$6&&RU'58DVUHFRUGHGLQWKH0(2GDWDEDVH3URYLGHRYHUVLJKWRIWKH0(2DQGKDUDVVPHQW
   FRPSODLQWSURFHVVHYDOXDWHLWVHIIHFWLYHQHVVDQGWDNHFRUUHFWLYHDFWLRQRULQLWLDWHSURJUDPLPSURYHPHQWVDVQHHGHG
        0DQDJHSURJUDPPLQJDQGLPSOHPHQWDWLRQRIWKH$UP\¶V0(23URJUDPDQG7KH$UP\¶V+DUDVVPHQW3UH
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   UHSUHVHQWDWLYHWRWKH'(20,
        8SGDWHDQGPDLQWDLQIRUPVIRUGRFXPHQWLQJIRUPDOFRPSODLQWSURFHVVWRLQFOXGHSUHGHFLVLRQXSGDWHVDQG
   SRVWGHFLVLRQIROORZXSVLQDFFRUGDQFHZLWKWKH3ULYDF\$FWRI
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   DVVPHQW3UHYHQWLRQDQG5HVSRQVH3URJUDPSROLFLHVDQGSURJUDPV
        (VWDEOLVKVWDIISRVLWLRQVZLWKWKH$UP\5HVHUYHDQGPDNHUHVRXUFHVDYDLODEOHWRDGHTXDWHO\FDUU\RXW0(2
   3URJUDPDQG7KH$UP\¶V+DUDVVPHQW3UHYHQWLRQDQG5HVSRQVH3URJUDPUHTXLUHPHQWV
        6HOHFW5HVHUYHSHUVRQQHOWRDWWHQGWKH'(20,
        (VWDEOLVKWKH$UP\¶V0(23URJUDPDQG7KH$UP\¶V+DUDVVPHQW3UHYHQWLRQDQG5HVSRQVH3URJUDPWUDLQLQJ
   IRUXQLWVRUJDQL]DWLRQDQGDJHQFLHVDQG30(FRXUVHVFRQVLVWHQWZLWK+4'$SROLF\DQGFRPPDQGQHHGV
      I7KH&*86$UP\)RUFHV&RPPDQG )256&20 DQG&*86$UP\3DFLILFDUHUHVSRQVLEOHIRUWKHRYHUVLJKW
   DQGHYDOXDWLRQRIVXERUGLQDWHGLUHFWUHSRUWLQJFRPPDQG0(23URJUDPDQG7KH$UP\¶V+DUDVVPHQW3UHYHQWLRQDQG
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        'HYHORS0(2DQG+DUDVVPHQW3UHYHQWLRQDQG5HVSRQVHLQVWUXFWLRQDQGDVVRFLDWHGWUDLQLQJPDWHULDOVIRUXVH
   LQWKHDFFHVVLRQLQLWLDOHQWU\WUDLQLQJEDVHLQ30(FRXUVHVDQGWKURXJKRXWWKH$UP\7UDLQLQJZLOOEHGHYHORSHGLQ
   DFFRUGDQFHZLWK$5 ± ZLOOEHLQWHUDFWLYHGLVFXVVLRQEDVHGDQGHYDOXDWHGYLDWHVWVRUH[DPLQDWLRQV
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   VFKRROVDQGWUDLQLQJFRXUVHV
        (YDOXDWHWKHHIIHFWLYHQHVVRIUHTXLUHG0(2DQG+DUDVVPHQW3UHYHQWLRQDQG5HVSRQVHHGXFDWLRQDQGWUDLQLQJ
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        3URYLGH0(2DQG+DUDVVPHQW3UHYHQWLRQDQG5HVSRQVHLQVWUXFWLRQDOPDWHULDOVWRVFKRROVQRWXQGHUWKHMXULV
   GLFWLRQRI75$'2&7KHVHVFKRROVLQFOXGHEXWDUHQRWOLPLWHGWR7KH-XGJH$GYRFDWH*HQHUDO¶V/HJDO&HQWHUDQG
   6FKRRO$0(''&HQWHUDQG6FKRRO,*&RXUVHWKH860$DQGWKH86$UP\:DU&ROOHJH
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   VRQQHODWWHQGLQJWKH0(2$GYLVRUV&RXUVHDW'(20,
        0DLQWDLQDQRIILFLDO$UP\0(2WUDLQLQJZHEVLWHZLWKWUDLQLQJPDWHULDOVUHVRXUFHVDQGWRROV
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   VRQQHOV\VWHPV
        'HWHUPLQHWUDLQLQJVHDWVDW'(20,IRUWKHDQQXDO6WUXFWXUH0DQQLQJDQG'HFLVLRQ5HYLHZIRUWKH320\HDUV
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   0(2GXW\UHSUHVHQWVDQLQYHVWPHQWLQWKHVH6ROGLHUVWKDWZLOOFRQWLQXHWREHQHILWWKH$UP\ORQJDIWHUWKHLU(2GXW\
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      L&RPPDQGHUV RUHTXLYDOHQW DWDOOOHYHOVZLOO²
        3URPRWHDSRVLWLYHFRPPDQGFOLPDWHWKURXJKSHUVRQDOH[DPSOHDQGFRPPDQGHPSKDVLV
        (VWDEOLVK HIIHFWLYH 0(2 DQG +DUDVVPHQW 3UHYHQWLRQ DQG 5HVSRQVH REMHFWLYHV DQG HQVXUH DSSOLHG LQ HYHU\
   FRPPDQGSROLF\DFWLRQDQGSURJUDPDWDOOOHYHOVRIFRPPDQG
        3XEOLVKDQGHQIRUFH0(2DQG+DUDVVPHQW3UHYHQWLRQDQG5HVSRQVHSROLF\OHWWHUVZKLFKDGGUHVVHVWKHIROORZ
   LQJSUHYHQWLRQRIGLVFULPLQDWLRQDQGKDUDVVPHQWUHVROXWLRQRIFRPSODLQWVSURKLELWHGUHSULVDOUHWDOLDWLRQDQGKDU
   DVVPHQW LQDFFRUGDQFHZLWKSDUD±  
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        (QVXUH WKDW0(2DQGKDUDVVPHQWFRPSODLQWVDUHSURPSWO\LQYHVWLJDWHGLQDIDLULPSDUWLDOPDQQHUDQGDUH
   DSSURSULDWHO\ UHVROYHG ZLWKRXW IHDU RI UHSULVDO LQWLPLGDWLRQ RU UHWDOLDWLRQ 6HH SDUDJUDSK ±  IRU SURFHGXUHV DQG
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   WLPHOLQHVIRUSURFHVVLQJ0(2DQGKDUDVVPHQWFRPSODLQWV
        &RQGXFWFRPSODLQWUHVROXWLRQDVVHVVPHQWVXVLQJ'$)RUP ± ZLWKWKHFRPSODLQDQW V 0DNHGLVFULPL
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   QDWLRQDQGKDUDVVPHQWSUHYHQWLRQDVSHFLDOLQWHUHVWLWHPLQWKHFRPPDQG¶VLQVSHFWLRQSURJUDP(QVXUHFRPSODLQDQWV
   DQGVXEMHFWVDUHSURYLGHGIHHGEDFNLQIRUPDWLRQDERXWWKHVWDWXVDQGRXWFRPHRIWKHFRPSODLQW IRUH[DPSOHZKRLV
   LQYHVWLJDWLQJSURMHFWHGFRPSOHWLRQGDWHZKHWKHUWKHDOOHJDWLRQVZHUHVXEVWDQWLDWHGDQGDQ\FRPPDQGHU¶VDFWLRQV
   WDNHQ ,QIRUPFRPSODLQDQWVDQGVXEMHFWVRIWKHDYDLODELOLW\RIDILQDOLQYHVWLJDWLYHUHSRUWDQGWKHLUULJKWWRUHTXHVWD
   FRS\RIWKHILQDOLQYHVWLJDWLYHUHSRUWUHGDFWHGDVQHFHVVDU\WRFRPSO\ZLWKWKH3ULYDF\$FWDQGDQ\RWKHUDSSOLFDEOH
   ODZVDQGUHJXODWLRQV)UHHGRPRI,QIRUPDWLRQ$FWUHTXHVWVZLOOEHSURFHVVHGLQDFFRUGDQFHZLWK'R'0
        $VVHVVWKHRUJDQL]DWLRQDOFOLPDWHDQGDWWKHRXWVHWDQGSHULRGLFDOO\GXULQJFRPPDQGWHQXUH VHHDSS( 
        (QVXUHDSSURSULDWHFRQILGHQWLDOLW\PHDVXUHVDUHLQSODFHIRUFOLPDWHDVVHVVPHQW
        3UHYHQWGLVFULPLQDWLRQLQDGPLQLVWUDWLYHDQGGLVFLSOLQDU\SURFHHGLQJV
        3URYLGHFRQVLVWHQWDQGIDLUFDUHHUDFWLRQVDFURVVDOOJUDGHV
        $VVLJQMREVHGXFDWLRQRSSRUWXQLWLHVDQGVSHFLDOSURJUDPVEDVHGRQPHULWSHUIRUPDQFHDQGSRWHQWLDO3UR
   YLGHDZDUGVDQGUHFRJQLWLRQEDVHGRQWKHVDPHFULWHULD
        (QWHUPDQGDWRU\SHUIRUPDQFHHYDOXDWLRQGDWDLQDFFRUGDQFHZLWK$5 ± DQG'$3DP ± 
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        3URYLGHDGHTXDWHIDFLOLWLHVORJLVWLFDOVXSSRUWDQGUHVRXUFHVWRHIIHFWLYHO\PDQDJHDQGRSHUDWHWKH0(23UR
   JUDPHIIHFWLYHO\(2IDFLOLWLHVPXVWEHHDVLO\DFFHVVLEOHSUHVHQWDZHOFRPLQJDWPRVSKHUHDQGHQVXUHSULYDF\
        3URYLGHDQQXDO0(2DQG+DUDVVPHQW3UHYHQWLRQDQG5HVSRQVHWUDLQLQJLQDFFRUGDQFHZLWKDSSHQGL['DQG
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        $VVLJQ0(2SURIHVVLRQDOVDQG(2/VWRGHSOR\ZLWKWKHXQLW
        5HSRUWDOOIRUPDOLQIRUPDODQGDQRQ\PRXV0(2DQGKDUDVVPHQWFRPSODLQWVDOOHJHGRQGLVFULPLQDWLRQEDVHG
   RQUDFHFRORUVH[ WRLQFOXGHJHQGHULGHQWLW\ QDWLRQDORULJLQUHOLJLRQRUVH[XDORULHQWDWLRQDQGKDUDVVPHQWLQYROYLQJ
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      M&RPPDQGHUVRI$&20V$6&&VDQG'58VFRUSVGLYLVLRQVDQGEULJDGHV RUHTXLYDOHQW ZLOO²
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        5DWHRUVHQLRUUDWHWKH0(2SURIHVVLRQDODQGHQVXUHHYDOXDWLRQVDQGUHFRUGEULHIVZLOOUHIOHFWWKHSULQFLSDO
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        (QVXUHPDQQLQJGRFXPHQWVDFFXUDWHO\UHIOHFWWKHFRUUHFWGXW\SRVLWLRQWLWOHDQGVNLOOUHTXLUHPHQWV
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   VLJQHGGXWLHVWKDWPD\VXEVHTXHQWO\GLVTXDOLI\WKHPIURPPDNLQJRUDVVLVWLQJLQLPSDUWLDOLQTXLULHVRULQYHVWLJDWLRQV
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   LPSDUWLDOIDFWILQGHU7KHUHVWULFWLRQVLQWKLVVHFWLRQDUHQRWLQWHQGHGWRH[FOXGH0(2SURIHVVLRQDOVIURP3HUIRUPLQJ
   PDQDJHPHQWIXQFWLRQVQRUPDOIRURIILFHUVDQGQRQFRPPLVVLRQHGRIILFHUVVXFKDVSDUWLFLSDWLQJLQWKHEXGJHWSURFHVV
   DQGFRQWULEXWLQJWRJRDOVHWWLQJIRUWKHFRPPDQG
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   DQG5HVSRQVH3URJUDPUHTXLUHPHQWV$UP\+HULWDJH0RQWKDFWLYLWLHVFRQWLQXLQJHGXFDWLRQRIFRPPDQG0(2SUR
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        ,QYROYHSXEOLFDIIDLUVSHUVRQQHODWHYHU\OHYHORIFRPPDQGLQSODQQLQJDQGVKDULQJFRPPDQGLQIRUPDWLRQRQ
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        $6&&$&20DQG'58FRPPDQGHUVZLOODOORFDWHDGHTXDWHUHFRUGVKROGLQJDUHDVSDFHIRUORQJWHUPVWRUDJH
   RIWKHLUUHVSHFWLYHXQLWV¶FORVHG0(2DQGKDUDVVPHQWFRPSODLQWUHFRUGILOHV0DLQWDLQILOHVIRU\HDUVIURPFDVH
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       D $UP\+HULWDJH0RQWKDFWLYLWLHVDUHFRQGXFWHGWRUHFRJQL]HGLYHUVLW\SURPRWHFRKHVLRQWHDPZRUNDQG(VSULW
   GH&RUSVZLWKLQWKHWRWDO$UP\IRUFH7KHVHDFWLYLWLHVIRVWHUDFXOWXUHRIHTXLW\DQGLQFOXVLRQDQGHQKDQFHKHULWDJH
   DZDUHQHVVDQGXQGHUVWDQGLQJ7KHVHDFWLYLWLHVVKRXOGDOVRSURPRWHXQGHUVWDQGLQJWHDPZRUNKDUPRQ\SULGHDQG
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       E &RPPDQGHUVZLOOLQFRUSRUDWHDVWDWHPHQWLQWKHLU0(2SROLF\WKDWVWDWHVDOOSHUVRQQHOGHVLULQJWRSDUWLFLSDWH
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      N%DWWDOLRQDQGFRPSDQ\ RUHTXLYDOHQW FRPPDQGHUVZLOO²
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        (QVXUHWKH(2/VDWWHQGWKH(TXDO2SSRUWXQLW\/HDGHUV&RXUVH (2/& SULRUWRSHUIRUPLQJWKHLUGXWLHV
      O0(2SURIHVVLRQDOV (230V(26*0V(2DGYLVRUVDQG(2VSHFLDOLVWV 5$86$5 DWDOOOHYHOVZLOO²
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   VSRQVH3URJUDPSROLFLHVDUHDVRIFRQFHUQDQGSURFHVVHV6HUYHDVFRPPDQG¶VVXEMHFWPDWWHUH[SHUWIRUSROLFLHVDQG
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   SROLFLHVDQGDSSOLFDEOHODZ
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   PHQW3UHYHQWLRQDQG5HVSRQVH3URJUDPDUHSURSHUO\UHVRXUFHG
        &RRUGLQDWHZLWK+4'$0(2RIILFHRQKLJKYLVLELOLW\ QDWLRQDOQHZVZRUWK\ FRPSODLQWV $&20$6&&RU
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        &RPPXQLFDWHZLWKRWKHUDJHQFLHVKDYLQJFROODWHUDOUHVSRQVLELOLWLHVDQGLQWHUHVWVLQDQHIIRUWWRPD[LPL]HOLP
   LWHGILVFDODQGSHUVRQQHOUHVRXUFHVZKLOHSURYLGLQJWKHEHVWSRVVLEOHVHUYLFH7KHVHRIILFHVPD\LQFOXGHEXWQRWOLPLWHG
   WR((23XEOLF$IIDLUV2IILFH 3$2 0386$&,'&6-$&KDSODLQ,*DQGRIIEDVHORFDORUJDQL]DWLRQV




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   SURIHVVLRQDOFRQVLGHUVEHFRPLQJDPHPEHURIVXFKRUJDQL]DWLRQVLQWKHLUSULYDWHFDSDFLW\WKH\PXVWFRRUGLQDWHZLWK
   WKHVHUYLFLQJOHJDODGYLVRUWRSUHFOXGHSRVVLEOHFRQIOLFWVRILQWHUHVW
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        $QDO\]H WUHQG GDWD LGHQWLI\ SUREOHP DUHDV DQG UHFRPPHQG VROXWLRQV IRU FRPPDQG VHQLRU OHDGHUVKLS DWD
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        $VVLVWFRPPDQGHUVZLWKWKH&&$VDQGGHYHORSPHQWRIUHVSRQVLYHDFWLRQSODQVZKLFKPLWLJDWHRUHOLPLQDWH
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   FHVVLQJJXLGDQFHWRVXERUGLQDWH0(2SURIHVVLRQDODVUHTXLUHG
        'HYHORS0(2DQG+DUDVVPHQW3UHYHQWLRQDQG5HVSRQVHFRPPDQGSROLF\DQGJXLGDQFHLQDFFRUGDQFHZLWK
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   PHQWUHODWHGLQFLGHQWVWKDWPD\UHVXOWLQPHGLDFRYHUDJHRUKDYHDFRQJUHVVLRQDOLQWHUHVW
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   6H[XDO+DUDVVPHQW$VVDXOW5HVSRQVHDQG3UHYHQWLRQ3URJUDP

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   HGXFDWLRQDQGWUDLQLQJUHVSRQVHFDSDELOLW\YLFWLPVXSSRUWUHSRUWLQJSURFHGXUHVDQGDSSURSULDWHDFFRXQWDELOLW\WKDW
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   &RPPDQGHUVDUHUHVSRQVLEOHIRUWKHVXFFHVVRIWKH6+$533URJUDPLQFOXGLQJSUHYHQWLRQDQQXDOWUDLQLQJDFWLYLWLHV
   FRPSOLDQFHZLWKUHTXLUHGUHVSRQVHDFWLRQVZKHQDFWVRIVH[XDOKDUDVVPHQWRUVH[XDODVVDXOWDUHUHSRUWHGDQGYLFWLP
   VXSSRUW&RPPDQGHUVDUHUHVSRQVLEOHIRUFUHDWLQJFOLPDWHVWKDWHQFRXUDJHLQGLYLGXDOVWRLQWHUYHQHWRFRUUHFWPLVFRQ
   GXFWDQGEHKDYLRUWKDWFRXOGOHDGWRVH[XDOKDUDVVPHQWDQGVH[XDODVVDXOWDWWKHHDUOLHVWRSSRUWXQLW\DQGWRWUXVWWKHLU
   FKDLQRIFRPPDQGWRWDNHDSSURSULDWHDFWLRQZKHQUHSRUWVRIVH[XDOKDUDVVPHQWDQGVH[XDODVVDXOWDUHPDGH7KH
   6+$533URJUDPDVVLVWVFRPPDQGHUVDWDOOOHYHOVLQH[HFXWLQJWKHLU6+$53UHVSRQVLELOLWLHVWRSUHYHQWDQGUHVSRQG
   WRVH[XDOKDUDVVPHQWVH[XDODVVDXOWDQGDVVRFLDWHGUHWDOLDWRU\EHKDYLRUV6+$5330V6$5&V6+$53YLFWLPDG
   YRFDWHV 6+$539$V YLFWLPUHSUHVHQWDWLYHV 95V DQG6+$537UDLQLQJ,QVWUXFWRUVVXSSRUWWKHFRPPDQGHUZLWK
   WUDLQLQJDQGWUDFNLQJUHTXLUHPHQWVSURJUDPPDQDJHPHQWVH[XDODVVDXOWVH[XDOKDUDVVPHQWDQGDVVRFLDWHGUHWDOLD
   WRU\EHKDYLRUUHVSRQVHDQGFDVHFRRUGLQDWLRQ

   ±3URJUDPHOLJLELOLW\
      D7KH6+$533URJUDPSURYLGHVDVVLVWDQFHWR²
        6ROGLHUVDQGWKHLUGHSHQGHQW)DPLO\PHPEHUVZKRDUH\HDUVDQGROGHU
       D $)DPLO\PHPEHUGRHVQRWORVHWKHLUULJKWWRILOHDUHVWULFWHGUHSRUWLIWKH\DUHDOVRD'$&LYLOLDQ
       E $6ROGLHUPD\ILOHDVH[XDOKDUDVVPHQWFRPSODLQWRQEHKDOIRID)DPLO\PHPEHU
        6ROGLHUVZKRUHSRUWEHLQJVH[XDOO\DVVDXOWHGSULRUWRHQWU\LQWRWKH$UP\5HSRUWVRISULRUWRPLOLWDU\VHUYLFH
   VH[XDODVVDXOWZLOOEHKDQGOHGLQDFFRUGDQFHZLWKWKHSURFHGXUHVIRUUHVWULFWHGDQGXQUHVWULFWHGUHSRUWVRXWOLQHGLQWKLV
   UHJXODWLRQDQGDSSOLFDEOH'R'SROLF\DVDSSURSULDWHEDVHGRQWKHW\SHRIUHSRUWPDGH UHVWULFWHGRUXQUHVWULFWHG 
        $51*DQG86$56ROGLHUVZKRDUHVH[XDOO\DVVDXOWHGZKHQSHUIRUPLQJDFWLYHVHUYLFHDVGHILQHGLQ86&
    G DQGLQDFWLYHGXW\WUDLQLQJ,IUHSRUWLQJDVH[XDODVVDXOWWKDWRFFXUUHGSULRUWRRUZKLOHQRWSHUIRUPLQJDFWLYH
   VHUYLFHRULQDFWLYHWUDLQLQJ$51*DQG86$5PHPEHUVZLOOEHHOLJLEOHWRUHFHLYHWLPHO\DFFHVVWR6+$53DGYRFDF\
   VHUYLFHVIURPD6$5&DQG6+$539$RU95DQGWKHDSSURSULDWHQRQPHGLFDOUHIHUUDOV$51*DQG86$5PHPEHUV
   DOVRKDYHDFFHVVWRD6SHFLDO9LFWLPV¶&RXQVHODQGDUHHOLJLEOHWRILOHDUHVWULFWHGRUXQUHVWULFWHGUHSRUW86$5PHP
   EHUVFDQUHSRUWDWDQ\WLPHDQGGRQRWKDYHWRZDLWWRVWDUWDFWLYHVHUYLFHRUEHLQLQDFWLYHVWDWXVWRILOHWKHLUUHSRUW
        7KHIROORZLQJQRQPLOLWDU\LQGLYLGXDOVZKRH[SHULHQFHVH[XDODVVDXOWDUHRQO\HOLJLEOHIRUOLPLWHGHPHUJHQF\
   PHGLFDOFDUHVHUYLFHVDWD07)DQGWRPDNHDQXQUHVWULFWHGUHSRUW7KHOLVWHGQRQPLOLWDU\LQGLYLGXDOVZLOODOVREH
   RIIHUHGOLPLWHG6+$53VHUYLFHVGHILQHGDVDVVLVWDQFHIURPWKH6$5&DQGD6+$539$RU95ZKLOHXQGHUJRLQJ
   HPHUJHQF\FDUH
       D '$&LYLOLDQVDQGWKHLU)DPLO\PHPEHUV\HDUVRIDJHDQGROGHUZKHQWKH\DUHVWDWLRQHGRUSHUIRUPLQJGXWLHV
   2&2186DQGHOLJLEOHIRUWUHDWPHQWLQWKH07)DWPLOLWDU\LQVWDOODWLRQVRUIDFLOLWLHV2&2186+RZHYHU6+$53
   SURIHVVLRQDOVFDQDVVLVWDOO'$&LYLOLDQVZLWKLGHQWLI\LQJDSSURSULDWHFLYLOLDQVH[XDODVVDXOWUHVRXUFHV
       E 86FLWL]HQ'R'FRQWUDFWRUSHUVRQQHOZKHQWKH\DUHDXWKRUL]HGWRDFFRPSDQ\WKH$UPHG)RUFHVLQ2&2186
   FRQWLQJHQF\RSHUDWLRQVDQGWKHLU86FLWL]HQHPSOR\HHV
       F $OOYLFWLPVZKRFRQWDFW6+$53SURIHVVLRQDOVIRUDVVLVWDQFHUHJDUGOHVVRIWKHLUPLOLWDU\VWDWXVZLOOEHJLYHQ
   DOOQHFHVVDU\DVVLVWDQFHVXSSRUWDQGDFFHVVWRUHVRXUFHVSHUPLWWHGE\ODZDQGSROLF\
      E7KLVSROLF\GRHVQRWDSSO\WRYLFWLPVRIVH[XDODVVDXOWSHUSHWUDWHGE\DVSRXVHRULQWLPDWHSDUWQHUDVGHILQHGLQ
   'R',RU)DPLO\PHPEHUVXQGHUWKHDJHRIZKRDUHVH[XDOO\DVVDXOWHG7KH)DPLO\$GYRFDF\3URJUDP
   DVGHVFULEHGLQ'R'09ROXPHV ± DQG$5 ± SURYLGHVWKHIXOOUDQJHRIVHUYLFHVWRWKRVHLQGLYLGXDOV
                                                                   




   :KHQVH[XDODVVDXOWRUVH[XDOKDUDVVPHQWRFFXUVDVDUHVXOWRIGRPHVWLFDEXVHRULQYROYHVFKLOGDEXVH6+$53SUR
   IHVVLRQDOVZLOOUHIHUWKHYLFWLPWRWKH)DPLO\$GYRFDF\3URJUDP

   ±5HVSRQVLELOLWLHV
   &RPPDQGHUV VXSHUYLVRUV DQG PDQDJHUV DW DOO OHYHOV DUH UHVSRQVLEOH IRU WKH HIIHFWLYH LPSOHPHQWDWLRQ RI 6+$53
   3ROLF\DQGH[HFXWLRQRIWKH6+$533URJUDP0LOLWDU\DQG'$&LYLOLDQRIILFLDOVDWHDFKPDQDJHPHQWOHYHOZLOODG
   YRFDWHD VWURQJ6+$533URJUDPDQGSURYLGHHGXFDWLRQDQGDQQXDOWUDLQLQJWKDW ZLOOHQDEOHWKHP WRSUHYHQWDQG
   DSSURSULDWHO\UHVSRQGWRVH[XDOKDUDVVPHQWDQGVH[XDODVVDXOW&RPPDQGHUVDUHWKHFHQWHURIJUDYLW\IRUH[HFXWLRQRI



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   WKH6+$533URJUDP&RPPDQGHUVDQGOHDGHUVDUHUHVSRQVLEOHIRUWKHFOLPDWHLQWKHLURUJDQL]DWLRQV2WKHUDJHQFLHV
   DQGLQGLYLGXDOVLQFOXGLQJ,*0(2SURYRVWPDUVKDORIILFHU6-$RUFKDSODLQZLOOUHIHU6ROGLHUVWRDVHUYLFLQJIXOO
   WLPHEULJDGH6$5&WRILOHDIRUPDOFRPSODLQW
      D7KH$6$ 0 5$ ZLOO²
        3URYLGHRYHUVLJKWIRUSROLFLHVGRFWULQHSODQVDQGLQLWLDWLYHVSHUWDLQLQJWRWKH6+$533URJUDP$UP\ZLGH
        6HUYHDVWKHWDVNLQJDXWKRULW\IRU$567$)FRRUGLQDWLRQDQGLQWHJUDWLRQRIDOO6+$533URJUDPLQLWLDWLYHVDQG
   VWDIILQJDFWLRQV
        6XSSRUW'R'OHYHOUHTXLUHPHQWPHHWLQJVZLWK$UP\UHSUHVHQWDWLRQ
      E7KH'&6*± ZLOOLQFRQMXQFWLRQZLWK* ±  '$02)0= )RUFH0DQDJHPHQWHVWDEOLVKDQGDVVLJQSHU
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   VRQQHOWRWKHVWDIIRUJDQL]DWLRQRIWKH'&6* ± $5'DQGWKH6+$533URJUDP$UP\ZLGH
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      F7KH'&6*± $5''LUHFWRUZLOO²
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        %HUHVSRQVLEOHIRU$UP\ZLGHSROLFLHVGRFWULQHSODQVLQLWLDWLYHVRYHUDOOLPSOHPHQWDWLRQHYDOXDWLRQDQGDV
   VHVVPHQWSHUWDLQLQJWRWKH6+$533URJUDP
        &RRUGLQDWHZLWK$567$)RIILFHVDQGDJHQFLHVLQGHYHORSLQJSROLFLHVWKDWUHGXFHVH[XDOKDUDVVPHQWDQGVH[XDO
   DVVDXOWVWUHDPOLQHUHSRUWLQJHVWDEOLVKFRKHVLYHSURFHGXUHVWRVXSSRUWYLFWLPVHVWDEOLVKLQYHVWLJDWLYHSURFHGXUHVDQG
   DOORWKHUDVSHFWVRIWKH6+$533URJUDP
        ,PSOHPHQWDQGPDLQWDLQSROLFLHVWRHQVXUHWKHFRPSOHWLRQRIUHTXLVLWH6+$53WUDLQLQJEDFNJURXQGVFUHHQLQJ
   '± 6$$&3FHUWLILFDWLRQ WRLQFOXGHUHYRFDWLRQRIFHUWLILFDWLRQ DQGSURSHUDSSRLQWPHQWRIDOO6+$53SURIHVVLRQDOV
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        (VWDEOLVKDQGPDLQWDLQD6+$533URJUDP&DPSDLJQ3ODQIXOO\DOLJQHGZLWKWKH'R'VWUDWHJ\IRUWKH6H[XDO
   $VVDXOW3UHYHQWLRQDQG5HVSRQVH 6$35 3URJUDPDQGWKH+DUDVVPHQW3UHYHQWLRQDQG5HVSRQVHLQWKH$UPHG)RUFHV
        6XSSRUWWKH$UP\&DPSDLJQ3ODQREMHFWLYHVDQGLQLWLDWLYHVUHODWHGWRWKH6+$533URJUDP
        5HYLHZ6+$533URJUDPWUDLQLQJPDWHULDOVLQFOXGLQJYLGHRVEURFKXUHVDQGDQ\RWKHUPDUNHWLQJPDWHULDOV
        ([HUFLVHDXWKRULW\IRUWKH$UP\¶V6+$533URJUDPPDQDJHPHQWIXQFWLRQV
        0DLQWDLQDQGHYDOXDWH6+$53UHSRUWLQJGDWDEDVHV\VWHPVDQGDOOFDVHOHYHOGDWD
        0DLQWDLQDQGXSGDWHSROLF\IRUVHOHFWLRQFULWHULDLQDFFRUGDQFHZLWKEDFNJURXQGVFUHHQLQJVUHTXLUHPHQWVIRU
   DOO6+$53SURIHVVLRQDOV VHHDSS* 
        0DQDJHDQGPDLQWDLQWKH6+$532UJDQL]DWLRQDO,QVSHFWLRQ3URJUDP
        0DQDJHDQGEXGJHWWKHDQQXDO6+$53DZDUGV
        ,PSOHPHQWUHTXLUHPHQWVDQGHVWDEOLVKVHOHFWLRQFULWHULDIRU6+$53SURIHVVLRQDOVDWDOOOHYHOV
        3URYLGHRYHUVLJKWIRUFRRUGLQDWLRQRI6+$533URJUDPWUDLQLQJUHTXLUHPHQWVZLWKWKH&*75$'2&IRUDOO
   6ROGLHUVDQG'$&LYLOLDQVWKURXJKRXWWKH$UP\
        &RRUGLQDWHZLWK'&6* ± DQG75$'2&WRHQVXUH6+$53WUDLQLQJUHTXLUHPHQWVDUHLQFRUSRUDWHGLQWR
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        (VWDEOLVKDQGPDLQWDLQRYHUVLJKWRIDOO6+$53EXGJHWDFWLRQVIRU5$$51*DQG86$5&RRUGLQDWHZLWK
   WKH$UP\%XGJHW2IILFHDQG'&6* ± WRHQVXUHDGHTXDWH6+$53IXQGLQJDQGLQWHJUDWLRQRIDOO6+$533URJUDP
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   UHODWHGDFWLYLWLHVWKURXJKFRRUGLQDWLRQZLWK6+$53$567$)SURSRQHQWV
        ,GHQWLI\WKHILVFDODQGSHUVRQQHOUHVRXUFHVQHFHVVDU\WRLPSOHPHQWPRQLWRUDQGHYDOXDWHWKH6+$533UR
   JUDPDQGUHSRUWWKHVHUHVRXUFHWRWDOVDQQXDOO\DVUHTXLUHGWRWKHRIILFHRIWKH8QGHU6HFUHWDU\RI'HIHQVHIRU3HU
   VRQQHODQG5HDGLQHVV
        3UHSDUHDQGVXEPLW6+$533URJUDPUHSRUWVWKURXJKWKH$6$ 0 5$ RIILFHWRWKH'R'6$35RIILFHDV
   UHTXLUHGE\'R'''R',DQG'R',
        0RQLWRUVH[XDOKDUDVVPHQWVH[XDODVVDXOWDQGDVVRFLDWHGUHWDOLDWRU\EHKDYLRUGDWDWUHQGVDQG6+$53SHU
   IRUPDQFH,GHQWLI\DQGUHSRUWHPHUJLQJWUHQGVDQGSHUIRUPDQFHWR$UP\OHDGHUVKLSDVUHTXLUHG
        3UHSDUH DQG FRPPXQLFDWH DQQXDO JXLGDQFH DV UHTXLUHG IRU WKH FROOHFWLRQ RI LQSXW IURP GHVLJQDWHG $UP\
   RUJDQL]DWLRQVWRVXSSRUWWKHSUHSDUDWLRQRIDQQXDOUHSRUWVDQGDVVHVVPHQWV
        $SSURYHDQGPRQLWRU6H[XDO+DUDVVPHQW,QWHJUDWHG&DVH5HSRUWLQJ6\VWHP ,&56 DQG'6$,'DFFHVV
        3UHSDUHPRQWKO\,&56UHSRUWV
        3UHSDUHPRQWKO\'6$,'FRPPDQGUHSRUWV ZLWKRXWSHUVRQDOO\LGHQWLILDEOHLQIRUPDWLRQ 3,, DQGGLVWULEXWH
   WR$&20$6&&'58DQG86$56+$5330V
        3UHSDUH PRQWKO\ '6$,' 4& UHSRUWV DQG FRPPDQG GDWD TXDOLW\ PHWULFV UHSRUWV'LVWULEXWH UHSRUWV WR OHDG
   6$5&VDQG$&20$6&&'58DQG86$56+$5330V
        0DLQWDLQWKH+4'$6+$53'6$,'+HOS'HVNDQGDVVLVW$UP\'6$,'XVHUV
        &RRUGLQDWH'6$,'FKDQJHUHTXHVWVZLWKWKH'R'6$35RIILFHWRLPSURYH'6$,'XWLOLW\
        0DLQWDLQWKH+4'$6+$53,&56+HOS'HVNWRDVVLVW$UP\,&56XVHUV
        $QDO\]HDQGLGHQWLI\WUHQGVUHODWHGWR6+$53TXHVWLRQVFRQWDLQHGLQWKH&&$




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        3URYLGHVWUDWHJLFFRPPXQLFDWLRQVPDUNHWLQJDZDUHQHVVRXWUHDFKDQGOHDGHUVKLSVXSSRUWWRWKH$567$)
   WKH$UP\OHDGHUVKLSDQG$&20V
        3XEOLFL]HWKH'R'6DIH+HOSOLQHWKURXJKPDUNHWLQJPDWHULDOVDQGRWKHUFRPPXQLFDWLRQVDQGRXWUHDFKSURG
   XFWV
      G7KH&*$0&WKURXJKWKH&*,0&20ZLOO²
        (QVXUH028V02$VH[LVWZLWKFLYLOLDQODZHQIRUFHPHQWDJHQFLHVHVWDEOLVKLQJUHODWLRQVKLSVDQGDOORZLQJIRU
   RSHQOLQHVRIFRPPXQLFDWLRQEHWZHHQLQVWDOODWLRQODZHQIRUFHPHQWDQGFLYLOLDQODZHQIRUFHPHQWIRULQIRUPDWLRQVKDU
   LQJUHJDUGLQJVH[XDODVVDXOWVXEMHFWVDQGYLFWLPV
        ,QFRQMXQFWLRQZLWKWKHJDUULVRQFRPPDQGHUHQVXUHDYDLODELOLW\RIUHVRXUFHVUHTXLUHGWRVXSSRUWPLOLWDU\SUR
   WHFWLYH RUGHUV 032V  DQG DGYLVH RQ FLYLOLDQ WHPSRUDU\ UHVWUDLQLQJ RUGHUV 752V  DQG FLYLOLDQ SURWHFWLRQ RUGHUV
    &32V DQGHQWHU032VLQWRWKH1DWLRQDO&ULPH,QIRUPDWLRQ&HQWHU
        6XSSRUWUHTXLUHPHQWVUHODWHGWREDFNJURXQGVFUHHQLQJVIRU6+$53SURIHVVLRQDOSRVLWLRQV
        (QVXUHWKH)DPLO\$GYRFDF\3URJUDPFRRUGLQDWHVZLWKWKH6$5&UHJDUGLQJDGXOWYLFWLPVRIVH[XDODVVDXOWQRW
   FRPPLWWHGE\DQLQWLPDWHSDUWQHU VHH$5 ± IRUGHILQLWLRQRILQWLPDWHSDUWQHU 
                                                         




        (QVXUH WKDW WKH '(6 SHUVRQQHO UHFHLYH 6+$53 ILUVW UHVSRQGHU WUDLQLQJ IRU UHVSRQGLQJ WR YLFWLPV RI VH[XDO
   DVVDXOWDVZHOODVWUDLQLQJRQYLFWLPDVVLVWDQFHDQGUHVRXUFHVLQDFFRUGDQFHZLWK'R',
      H7KH3URYRVW0DUVKDO*HQHUDOZLOO²
        'HYHORSODZHQIRUFHPHQWSROLF\IRUWKHLQYHVWLJDWLRQRIUHSRUWVRIVH[XDODVVDXOW
        'HYHORSODZHQIRUFHPHQWSROLF\IRUWKHLQYHVWLJDWLRQRIUHSRUWVRIYLRODWLRQVRIWKH8&0-WKDWPHHWWKHGHIL
   QLWLRQRIVH[XDOKDUDVVPHQW
        (VWDEOLVKSURFHGXUHVIRUHQVXULQJSROLF\FRPSOLDQFHLQDOOVH[XDODVVDXOWLQYHVWLJDWLRQVWKURXJKRXWWKH$UP\
      I7KH&*86$&,'&ZLOO²
        'HYHORSDQGLPSOHPHQWFULPLQDOLQYHVWLJDWLRQSURFHGXUHVIRUWKHLPPHGLDWHLQYHVWLJDWLRQRIDOOUHSRUWVRIVH[
   XDODVVDXOW
        (VWDEOLVKSURFHGXUHVIRU86$&,'&VSHFLDODJHQWVWRVXSSRUWWKH6+$533URJUDP
        (QVXUH DGHTXDWH VWDIILQJ RI WKH VH[XDO DVVDXOW LQYHVWLJDWRU DQG WKH VSHFLDO YLFWLP FDSDELOLW\ WKURXJKRXW WKH
   $UP\
        (QVXUHLQVWDOODWLRQ86$&,'&RIILFHVWKURXJKWKH86$UP\&ULPH5HFRUGV&HQWHUVXSSRUWWKHFRPSOHWLRQ
   RIEDFNJURXQGFKHFNVIRU6+$53SURIHVVLRQDOV
        6XSHUYLVHDFWLYLWLHVDWWKH86$UP\&ULPLQDO,QYHVWLJDWLRQ/DERUDWRU\WRHIILFLHQWO\DQGHIIHFWLYHO\SURFHVV
   HYLGHQFHIURPVH[XDODVVDXOWFDVHV
        (VWDEOLVK FULPLQDO LQYHVWLJDWLRQ SURFHVVHV DQG SURFHGXUHV IRU LQYHVWLJDWLQJ VH[XDO DVVDXOWV WKDW DUH ZLWKLQ
   86$&,'&LQYHVWLJDWLYHDXWKRULW\DQGMXULVGLFWLRQLQDFFRUGDQFHZLWK$5 ± DQG'R',
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        (QVXUH86$&,'&SURYLGHVLQSXWWRWKHFRPPDQGHU¶V6H[XDO$VVDXOW,QFLGHQW5HVSRQVH2YHUVLJKW 6$,52 
   UHSRUW
        (QVXUHZKHQ86$&,'&LQLWLDWHVDVH[XDODVVDXOWLQYHVWLJDWLRQLWDOVRLQLWLDWHVDQGFRQGXFWVVXEVHTXHQWLQYHV
   WLJDWLRQVUHODWHGWRVXVSHFWHGUHWDOLDWLRQDJDLQVWWKHVH[XDODVVDXOWYLFWLPZLWQHVVHVDQGE\VWDQGHUVZKRLQWHUYHQHG
   LQDFFRUGDQFHZLWK'R',LQFOXGLQJSK\VLFDODVVDXOWVWKUHDWVDQGGDPDJHWRSURSHUW\
        (QVXUH86$&,'&SURYLGHVVXSSRUWWR6H[XDO$VVDXOW5HYLHZ%RDUG 6$5% WKURXJKRXWWKH$UP\
        (QVXUH DW OHDVW RQH 86$&,'& DJHQW DW HDFK RIILFH LV GHVLJQDWHG DV WKH 86$&,'& VH[XDO DVVDXOW OLDLVRQ
   UHVSRQVLEOHIRUFRRUGLQDWLQJZLWKWKH6$5&IRUDOOVH[XDODVVDXOWFDVHVLQYHVWLJDWHGE\RULQYROYLQJ86$&,'&7KH
   VH[XDODVVDXOWOLDLVRQZLOO²
       D ,PPHGLDWHO\QRWLI\WKH6$5&RIDOOUHSRUWVRIDGXOWVH[XDODVVDXOW
       E $WDPLQLPXPSURYLGHWKH6$5&ZLWKWKHGDWDQHFHVVDU\IRUWKH6$5&WRRSHQWKHFDVHLQ'6$,'LILWLV
   EHLQJ LQYHVWLJDWHG E\ 86$&,'& D ODZ HQIRUFHPHQW UHSRUW ZLWK DVVLJQHG RU WR EH DVVLJQHG FULPH UHFRUGV FHQWHU
   QXPEHU 86$&,'&LQYHVWLJDWLRQQXPEHUGDWHRIUHSRUWWR86$&,'&YLFWLP¶VIXOOQDPHDQG661
       F &RRUGLQDWHZLWKWKHOHDG6$5&DWOHDVWPRQWKO\WRUHFRQFLOHWKH$/(576GDWDUHJDUGLQJVH[XDODVVDXOWLQYHV
   WLJDWLRQVZLWKXQUHVWULFWHGUHSRUWFDVHGDWDLQ'6$,'/DUJHLQVWDOODWLRQVPD\QHHGWRPHHWPRUHIUHTXHQWO\
       G $VVLVWWKHOHDG6$5&ZLWKUHFRQFLOLQJGLVFUHSDQFLHVLQYROYLQJLQYHVWLJDWLRQVLGHQWLILHGLQWKHPRQWKO\'6$,'
   4&UHSRUWSURYLGHGE\WKH'&6* ± $5'DQGDVVLVWZLWKFDSWXULQJUHWDOLDWLRQGDWDLIDSSOLFDEOH
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       H $VVLVWWKHOHDG6$5&LQREWDLQLQJWKHFLYLOLDQODZHQIRUFHPHQWDJHQF\FDVHQXPEHUIRUVH[XDODVVDXOWVWKDW
   86$&,'&ZLOOQRWLQYHVWLJDWHYLDDQDVVLJQHGFULPHUHFRUGVFHQWHUQXPEHUHGFDVH IRUH[DPSOHDQRQ'R'DIILOLDWHG
   FLYLOLDQVH[XDOO\DVVDXOWVD6ROGLHURIIWKHLQVWDOODWLRQ ,QWKHVHFDVHV86$&,'&ZLOOQRWSURYLGHDFDVHQXPEHUDQG
   ZLOODGYLVHWKHOHDG6$5&WKDWWKHLQYHVWLJDWLYHDJHQF\LVFLYLOLDQODZHQIRUFHPHQWDJHQF\DQGQRW86$&,'&
        ,GHQWLI\ DQG SURYLGH 86$&,'& DJHQWV WR DWWHQG WKH DGYDQFHG VH[XDO DVVDXOW WUDLQLQJ WKURXJK WKH 8QLWHG
   6WDWHV$UP\0LOLWDU\3ROLFH6FKRRO



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        5HTXHVWFKDQJHVWRFXUULFXOXPWKURXJKWKHFULWLFDOWDVNVHOHFWLRQERDUGIRUWKHDGYDQFHGVH[XDODVVDXOWWUDLQLQJ
   WRHQVXUHDOOWUDLQLQJUHIOHFWVFXUUHQWSROLF\DQGOHJDOUHTXLUHPHQWV
        &RQGXFWSHULRGLFHYDOXDWLRQVRIODZHQIRUFHPHQWDQGLQYHVWLJDWLYHVHUYLFHVUHODWHGWRVH[XDODVVDXOWFDVHV
        (QVXUH86$&,'&SURYLGHVVH[XDODVVDXOWFDVHGDWDWR6$5&VIRUHQWU\LQWR'6$,'ZLWKLQKRXUVRIWKH
   LQLWLDOUHSRUW
        3URYLGHWKHGDWD OLVWHGEHORZWRWKH'&6* ± $5'(DFKUHSRUWZLOOEHSUHSDUHGDVSUHVFULEHGLQ'R',
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   ²
       D 4XDUWHUO\$UP\VH[XDODVVDXOWGDWD
       E $QQXDO$UP\VH[XDODVVDXOWGDWD
        6XEPLWDQQXDOUHSRUWVLQDFFRUGDQFHZLWK'$JXLGDQFHWRWKH'&6* ± $5'       




        3URYLGHVH[XDODVVDXOWLQYHVWLJDWLYHGDWDWRWKH'&6* ± $5'DVQHHGHG
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        3URYLGHWKH'&6*± $5'ZHHNO\XSGDWHVRIQHZO\RSHQHGVH[XDODVVDXOWLQYHVWLJDWLRQVDOLVWRIODZHQ
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   IRUFHPHQWUHSRUWQXPEHUVRQDOOVH[XDODVVDXOWLQYHVWLJDWLRQVRSHQHGLQHDFKTXDUWHUDOLVWRIODZHQIRUFHPHQWUHSRUW
   QXPEHUVRQDOOVH[XDODVVDXOWLQYHVWLJDWLRQVFORVHGLQHDFKTXDUWHUDQGTXDUWHUO\GDWDPDWULFHV
      J7KH6XUJHRQ*HQHUDO 76* ZLOO²
        (VWDEOLVKDQGLPSOHPHQWPHGLFDOSROLF\SURFHGXUHVDQGSURWRFROVWKDWDUHFXOWXUDOO\DQGJHQGHUVHQVLWLYHIRU
   WKHWUHDWPHQWDQGFDUHRIVH[XDODVVDXOWYLFWLPV
        (VWDEOLVKDQGPDLQWDLQUHJXODWRU\JXLGDQFHDQGSURWRFROVIRUVH[XDODVVDXOWPHGLFDOIRUHQVLFH[DPLQHUV 6$0
   )(V WKDWLQFOXGHFRQVLGHUDWLRQRI6WDWHORFDODQGKRVWQDWLRQUHTXLUHPHQWV
        3URYLGHJXLGDQFHWR07)FRPPDQGHUVRQZKDWPHGLFDOWUHDWPHQWLQIRUPDWLRQPD\EHSURYLGHGWRWKH6$5&
   RU9$WRDVVLVWLQWKHFRRUGLQDWLRQRIVHUYLFHV
        &RQGXFWEHKDYLRUDOKHDOWKVFUHHQLQJVIRU6ROGLHUVVHOHFWHGIRUIXOOWLPH6+$53SURIHVVLRQDOSRVLWLRQV
        &RRUGLQDWHWKHRYHUDOOHYDOXDWLRQDQGDVVHVVPHQWRIVH[XDODVVDXOWVXSSRUWVHUYLFHVSURYLGHGE\07)VZLWK
   '+$
        (QVXUH ZKHUH DSSURSULDWH 028V02$V ZLWK QRQPLOLWDU\ DJHQFLHV SURYLGH DQ DGHTXDWH VH[XDO DVVDXOW UH
   VSRQVH
        ,QFRRUGLQDWLRQZLWK'+$SURYLGHJXLGDQFHWR07)FRPPDQGHUVRQZKDWSURFHGXUHVWRKDYHLQSODFHZKHUHE\
   6ROGLHUV)DPLO\PHPEHUVDJHRUROGHUDQG'$&LYLOLDQVHOLJLEOHIRUWUHDWPHQWLQDQ07)ZKRUHSRUWWKH\ZHUH
   VH[XDOO\DVVDXOWHGDUHDEOHWRUHFHLYHFRQILGHQWLDOFDUHDQGWUHDWPHQW
        &RRUGLQDWHZLWK'+$WRHVWDEOLVKDQGVXSSRUWPHGLFDOSHUVRQQHOUHTXLUHPHQWVIRUUHVSRQVHWRVH[XDODVVDXOWV
   LQDFFRUGDQFHZLWK'R',DQGUHFRJQL]HG6$0)(VWDQGDUGVWKURXJKRXWWKH$UP\
        (QVXUH$UP\PHGLFDOSHUVRQQHOUHFHLYHWUDLQLQJIRUUHVSRQGLQJWRYLFWLPVRIVH[XDODVVDXOWDVZHOODVWUDLQLQJ
   RQYLFWLPDVVLVWDQFHDQGUHVRXUFHVDQGUHODWHGPHGLFDOUHTXLUHPHQWVLQDFFRUGDQFHZLWK'R',
        (QVXUHWKH$UP\0HGLFDO'HSDUWPHQW $0('' &HQWHUDQG6FKRRO6$0)(WUDLQLQJFXUULFXOXPUHIOHFWVEHVW
   SUDFWLFHVDQGVWDQGDUGVRIFDUH
        &RQGXFWSHULRGLFHYDOXDWLRQVRIPHGLFDOVHUYLFHVSURYLGHGWRVH[XDODVVDXOWYLFWLPV
        6XEPLWDQQXDOUHSRUWVLQDFFRUGDQFHZLWK'$JXLGDQFHWRWKH'&6* ± $5'          




      K7KH&KLHIRI&KDSODLQVZLOO²
        3URYLGHSROLF\DQGJXLGDQFHH[SODLQLQJWKDWZKLOH&KDSODLQ&RUSVSHUVRQQHOGRQRWVHUYHDV6+$53SURIHV
   VLRQDOVWKH\SURYLGHFULWLFDOVXSSRUWWRWKH6+$53SURJUDPSURYLGLQJSDVWRUDOFDUHDQGFRXQVHOLQJWRYLFWLPVDQGLQ
   UHJDUGWR6+$53UHIHUUDOV
        $GYLVH'&6*± DQG75$'2&RQEDVHOLQHILUVWUHVSRQGHUWUDLQLQJSURSHUO\H[SODLQLQJ²
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       D &KDSODLQ&RUSVUROHVDQGUHVSRQVLELOLWLHVDQGSULYLOHJHGFRPPXQLFDWLRQVVXSSRUWLQJYLFWLPVRIVH[XDOKDUDVV
   PHQWDQGDVVDXOWDQG
       E &KDSODLQVHUYLFHRQD6$5%
      L7KH-XGJH$GYRFDWH*HQHUDOZLOO²
        ,QFRRUGLQDWLRQZLWKWKH'&6* ± $5'VXSSRUWWKHGHYHORSPHQWDQGLPSOHPHQWDWLRQRISROLF\SURFHGXUHV
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   DQGSURWRFROVWKDWVXSSRUWYLFWLPVRIVH[XDODVVDXOWVH[XDOKDUDVVPHQWDQGDVVRFLDWHGUHWDOLDWRU\EHKDYLRU
        6XSSRUW WKH '&6 * ±  $5' ZLWK OHJDO UHYLHZV LQSXW DQG DGYLFH UHODWHG WR WKH H[HFXWLRQ RI WKH 6+$53
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   3URJUDP
        3URYLGHJXLGDQFHRQWKHIDLUDQGFRPSHWHQWLQYHVWLJDWLRQFRXQVHODQGSURVHFXWLRQRIVH[XDODVVDXOWV
        ,PSOHPHQWWKH69&3URJUDPLQVXSSRUWRIVH[XDODVVDXOWYLFWLPV(QVXUHFRPSHWHQWFRXQVHODUHDVVLJQHGWR
   UHSUHVHQWHOLJLEOHVH[XDODVVDXOWYLFWLPV
        %HUHVSRQVLEOHIRUHVWDEOLVKLQJSHUVRQQHOUHTXLUHPHQWVDQGPDQQLQJWKHIROORZLQJFULWLFDOOHJDOSRVLWLRQV69&
   VSHFLDOYLFWLPSURVHFXWRUVVSHFLDOYLFWLP1&2VDQGVSHFLDOYLFWLPZLWQHVVOLDLVRQV




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        $SSRLQWOHJDOSHUVRQQHODV7-$*GHHPVQHFHVVDU\DXWKRUL]HGWRHQWHUVH[XDODVVDXOWGLVSRVLWLRQLQIRUPDWLRQ
   LQWR'6$,'
        %HUHVSRQVLEOHIRUHVWDEOLVKLQJSHUVRQQHOUHTXLUHPHQWVDQGPDQQLQJWKHIROORZLQJFULWLFDOOHJDOSRVLWLRQV69&
   VSHFLDOYLFWLPSURVHFXWRUVSHFLDOYLFWLP1&2VSHFLDOYLFWLPZLWQHVVOLDLVRQVDQGSDUDOHJDOV
        $SSRLQWOHJDOSHUVRQQHODV7-$*GHHPVQHFHVVDU\DXWKRUL]HGWRHQWHUVH[XDODVVDXOWLQIRUPDWLRQLQWR'6$,'
        6XEPLWLQSXWIRUDQQXDOUHSRUWLQDFFRUGDQFHZLWK'$JXLGDQFHWRWKH'&6* ± $5'   




        (QVXUHWKHWLPHO\HQWU\DQGYDOLGDWLRQRI27-$*FDVHGLVSRVLWLRQVDQGFDVHV\QRSVLVGDWDLQWR'6$,'
        (QVXUH-XGJH$GYRFDWH*HQHUDO¶V&RUSVPHPEHUVUHFHLYHDSSURSULDWHWUDLQLQJDVUHTXLUHGE\'R',
   VXSHUYLVH7-$*¶V/HJDO&HQWHUDQG6FKRROFXUULFXOXPGHYHORSPHQWWRHQVXUHVH[XDOKDUDVVPHQWDQGVH[XDODVVDXOW
   WUDLQLQJUHIOHFWVFXUUHQWSROLF\DQGOHJDOUHTXLUHPHQWV
        &RQGXFWSHULRGLFHYDOXDWLRQVRIOHJDOVHUYLFHVUHODWHGWRVH[XDOKDUDVVPHQWDQGVH[XDODVVDXOWFDVHV
      M7KH,QVSHFWRU*HQHUDOZLOO²
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   GLUHFWHGE\WKHDSSURSULDWHDXWKRULW\
        ,GHQWLI\QRQFRPSOLDQFHDQDO\]HVLJQLILFDQWLQGLFDWRUVRIGHILFLHQFLHVDQGLGHQWLI\UHVSRQVLELOLW\IRUFRUUHFWLYH
   DFWLRQ
        3URYLGHVXSSRUWLQHVWDEOLVKLQJVWDQGDUGVIRUWKH6+$533URJUDP6$9DQG2UJDQL]DWLRQ,QVSHFWLRQ3URJUDP
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        6XSSRUWUHTXLUHPHQWVUHODWHGWREDFNJURXQGVFUHHQLQJVIRU6+$53SURIHVVLRQDOV
        &RQGXFWSHULRGLFDVVHVVPHQWVRIPHWULFVWRGHWHUPLQHLIVHUYLFHVDUHEHLQJSURYLGHGWRYLFWLPVRIVH[XDODVVDXOW
   DQGVH[XDOKDUDVVPHQWDQGFRPSODLQDQWVRIVH[XDOKDUDVVPHQWLQDFFRUGDQFHZLWK'$DQG'R'SROLF\DQGODZ
        6XEPLWLQSXWIRUDQQXDOUHSRUWVWRWKH'&6* ± $5'
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        6XEPLWLQSXWIRUTXDUWHUO\UHWDOLDWLRQGDWDFDOO
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      N7KH&KLHI1DWLRQDO*XDUG%XUHDXZLOO²
        'HYHORSPRQLWRUDQGHYDOXDWHWKHLPSOHPHQWDWLRQRIWKH6+$533URJUDPDQGSROLFLHVZLWKLQWKH1DWLRQDO
   *XDUG%XUHDXDQGEHSUHSDUHGWRPRGLI\DSSURDFKHVLIQHFHVVDU\WRHQVXUHFRPSOLDQFHZLWKWKH6+$533URJUDP
   DQGSROLFLHV
        3URYLGH6+$53VHUYLFHVIRU$51*PHPEHUVZKRDUHVH[XDOO\DVVDXOWHGZKHQSHUIRUPLQJDFWLYHVHUYLFHDV
   GHILQHGLQ86&DQGLQDFWLYHGXW\WUDLQLQJ
        6WDQGDUGL]HSROLF\DQGSURFHGXUDOJXLGHOLQHVWKDWFRPSO\ZLWKDOO5$SROLFLHVRQVH[XDOKDUDVVPHQWDQGVH[XDO
   DVVDXOW
        (QVXUHSROLFLHVDQGSURFHGXUHVDUHLQSODFHWRHQVXUHWKDWDOOILUVWUHVSRQGHUVFRQWDFWWKH6$5&LPPHGLDWHO\
   ZKHQDYLFWLPFRPHVIRUZDUG
        (QVXUHSURFHGXUHVDUHLQSODFHIRU$51*XQLWVWRSURFHVVUDSLGOLQHRIGXW\ /2' GHWHUPLQDWLRQVIRU$51*
   6ROGLHUVHOLJLEOHWRPDNHVH[XDODVVDXOWUHSRUWV
        (QVXUHWKHVHUYLFLQJOHJDORIILFHDVVLVWVWKH6$5&IRU/2'GHWHUPLQDWLRQV7KH6$5&ZLOOH[HUFLVHFDUHWR
   SURWHFWFRYHUHGFRPPXQLFDWLRQVE\GLVFORVLQJRQO\QRQLGHQWLI\LQJLQIRUPDWLRQ
        'LUHFWWKDWFRPPDQGHUVRI$51*6ROGLHUVZKRDUHVH[XDOO\DVVDXOWHGZKLOHRQ7LWOHRUGHUVDQGZKRILOH
   XQUHVWULFWHGUHSRUWVPXVWWRWKHH[WHQWDOORZHGE\ODZDQGUHJXODWLRQXSGDWHWKHYLFWLP¶VKRPHVWDWH7LWOHFRP
   PDQGHURQDOORQJRLQJLQYHVWLJDWLYHPHGLFDODQGOHJDOSURFHHGLQJVDQGDQ\DFWLRQVWDNHQE\WKH5$DJDLQVWVXEMHFWV
   ZKRUHPDLQRQ7LWOHRUGHUV
        0RQLWRUWKHH[HFXWLRQRIWKH6+$533URJUDPLQDOOFRPPDQGVDJHQFLHVDQGDFWLYLWLHVXQGHUWKHFRPPDQGHUV¶
   MXULVGLFWLRQ
        (QVXUH6ROGLHUVKDYHDFFHVVWRDZHOOFRRUGLQDWHGDQGKLJKO\UHVSRQVLYH6+$533URJUDP
        (QVXUHWKDWDOOFRPPDQGVXVHWKH'R'6DIH+HOSOLQHDVWKHVROH'R'KRWOLQHWRSURYLGHFULVLVLQWHUYHQWLRQ
   IDFLOLWDWH YLFWLPUHSRUWLQJWKURXJKFRQQHFWLRQWRWKHQHDUHVW6$5&DQGSURYLGHRWKHUUHVRXUFHVDVZDUUDQWHG7KH
   'R'6DIH+HOSOLQHGRHVQRWUHSODFHORFDOEDVHDQGLQVWDOODWLRQ6$5&6+$539$RU95FRQWDFWLQIRUPDWLRQ
        3UHSDUHDQGVXEPLWE\WKHWKRIWKHPRQWKWKH4&DXGLWUHSRUWIRUVH[XDOKDUDVVPHQWDQGVH[XDODVVDXOW
   UHVSRQGHULQIRUPDWLRQSRVWHGRQWKH'R'6DIH+HOSOLQHDQG4&DXGLWUHSRUWVIRUWKHVXERUGLQDWHLQVWDOODWLRQ
   VH[XDODVVDXOWUHVSRQGHULQIRUPDWLRQ0DLQWDLQPRQLWRUDQGUHSRUWLQFRUUHFWLQIRUPDWLRQDQG6$5&DQG6+$539$
   QRQUHVSRQVHFDOOVQRWUHWXUQHGZLWKLQPLQXWHV
        6XEPLWH[SHGLWHGWUDQVIHUUHSRUWVWRWKH'&6* ± $5'E\WKHWKRIWKHFORVHRIHDFKILVFDO\HDUTXDUWHU
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        (QVXUH IXOOWLPH DQG FROODWHUDO GXW\ 6+$53 SURIHVVLRQDOV DUH DSSRLQWHG LQ ZULWLQJ WUDLQHG FHUWLILHG DQG
   SUHSDUHGWRSHUIRUPWKHLUGXWLHVLQJDUULVRQDQGGHSOR\HGHQYLURQPHQWV
        (VWDEOLVKDQQXDO6+$53WUDLQLQJLQXQLWVDQG30(FRQVLVWHQWZLWK+4'$SROLF\



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        (QVXUH6ROGLHUVUHFHLYHDQQXDOSUHGHSOR\PHQWDQGSRVWGHSOR\PHQW6+$53WUDLQLQJ
        (QVXUH6+$53WUDLQLQJLVFRQGXFWHGZLWKLQWKHILUVWGD\VRIDFFHVVLRQ
        3URYLGHWKH'&6*± $5''LUHFWRUZLWKWKH320DQGDPLG\HDUDQGDQQXDOUHSRUWIRUWKH\HDURIH[HFXWLRQ
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   EXGJHWLQIRUPDWLRQIRUWKH6+$533URJUDP
        %XGJHWIRU6+$53HGXFDWLRQRXWUHDFKDQGDZDUHQHVVDFWLYLWLHVDQGPDWHULDOV WKDWLV6H[XDO$VVDXOW$ZDUH
   QHVVDQG3UHYHQWLRQ0RQWK 6$$30 2XWUHDFKDQGDZDUHQHVVPDWHULDOVDXWKRUL]HGIRUSURFXUHPHQWLQFOXGH EXW
   DUHQRWOLPLWHGWRSHQVPDJQHWVNH\IREVDQGVRIRUWK3XUFKDVHDJHQWVZLOOFRQVXOWZLWKWKHLUVHUYLFLQJOHJDORIILFH
   WRHQVXUHSURSHUXVHRIDSSURSULDWHGIXQGVZKHQPDNLQJVXFKSXUFKDVHV
        3URYLGHJXLGDQFHDQGUHVRXUFHVIRU6$$30DFWLYLWLHV
        (QIRUFHWKHHQWU\RIVH[XDODVVDXOWGDWDLQWR'6$,'DQGWKHHQWU\RIVH[XDOKDUDVVPHQWGDWDLQWR,&56ZLWKLQ
   UHTXLUHGWLPHOLQHV
        ,QFOXGHWKH6+$533URJUDPDVSDUWRIWKHLQVSHFWLRQSURJUDPDQGFRQGXFWSHULRGLFHYDOXDWLRQVRIWKH6+$53
   3URJUDP
      O7KH&KLHIRIWKH$UP\5HVHUYHVZLOO²
        'HYHORSLPSOHPHQWDQGPRQLWRUWKH6+$533URJUDPDQGDSSOLFDEOHSROLFLHV7KH86$5PD\EHUHTXLUHGWR
   PRGLI\DSSURDFKHVWRHQVXUHFRPSOLDQFHZLWKWKH6+$533URJUDPDQGSROLFLHVLQWKLVUHJXODWLRQ
        3URYLGH6+$53VHUYLFHVIRU$UP\5HVHUYHPHPEHUVZKRDUHVH[XDOO\DVVDXOWHGZKHQSHUIRUPLQJDFWLYHVHU
   YLFHDVGHILQHGLQ86&DQGLQDFWLYHGXW\WUDLQLQJ
        6WDQGDUGL]HSROLF\DQGSURFHGXUDOJXLGHOLQHVWKDWFRPSO\ZLWKDOO5$SROLFLHVRQVH[XDOKDUDVVPHQWDQGVH[XDO
   DVVDXOW
        (QVXUHSROLFLHVDQGSURFHGXUHVDUHLQSODFHIRUDOOILUVWUHVSRQGHUVWRFRQWDFWWKH6$5&ZKHQDYLFWLPFRPHV
   IRUZDUG
        (QVXUHSURFHGXUHVDUHLQSODFHIRU86$5XQLWVWRSURFHVVUDSLG/2'GHWHUPLQDWLRQVIRU86$56ROGLHUVHOLJLEOH
   WRPDNHVH[XDODVVDXOWUHSRUWV
       D 7KH6$5&ZLOOEULHIWKHVHLQGLYLGXDOVRQUHVWULFWHGUHSRUWLQJSROLFLHVDQGWKHOLPLWDWLRQVRIGLVFORVXUHRIFRY
   HUHGFRPPXQLFDWLRQV
       E 7KH6$5&VKRXOGFRQVXOWZLWKWKHLUVHUYLFLQJOHJDORIILFHIRUDVVLVWDQFHH[HUFLVLQJFDUHWRSURWHFWFRYHUHGDQG
   SULYLOHJHGFRPPXQLFDWLRQVE\GLVFORVLQJRQO\QRQLGHQWLI\LQJLQIRUPDWLRQ
        0RQLWRUWKHH[HFXWLRQRIWKH6+$533URJUDPLQDOOFRPPDQGVDJHQFLHVDQGDFWLYLWLHVXQGHUWKH&$5¶VDUHD
   RIUHVSRQVLELOLW\
        (QVXUH6ROGLHUVKDYHDFFHVVWRDZHOOFRRUGLQDWHGDQGKLJKO\UHVSRQVLYH6+$533URJUDP
        (QVXUHWKDWDOOFRPPDQGVXVHWKH'R'6DIH+HOSOLQHDVWKH'R'UHVRXUFHWRSURYLGHFULVLVLQWHUYHQWLRQIDFLO
   LWDWHYLFWLPUHSRUWLQJWKURXJKFRQQHFWLRQWRWKHQHDUHVW6$5&DQGRWKHUUHVRXUFHVDVZDUUDQWHG7KH'R'6DIH+HOS
   OLQHGRHVQRWUHSODFHORFDOEDVHDQGLQVWDOODWLRQ6$5&RU6+$539$RU95FRQWDFWLQIRUPDWLRQ
        3UHSDUHDQGVXEPLWWRWKH'&6* ± $5''LUHFWRUE\WKHWKRIWKHPRQWKWKH4&DXGLWUHSRUWVIRUVH[XDO
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   KDUDVVPHQWDQGVH[XDODVVDXOWUHVSRQGHULQIRUPDWLRQSRVWHGRQWKH'R'6DIH+HOSOLQH KWWSVVDIHKHOSOLQHRUJ DQG
   LQVWDOODWLRQ4&DXGLWUHSRUWVIRUUHVSRQGHULQIRUPDWLRQ
        0DLQWDLQPRQLWRUDQGUHSRUWLQFRUUHFWLQIRUPDWLRQDQG6$5&DQG6+$539$QRQUHVSRQVHFDOOVQRWUH
   WXUQHGZLWKLQPLQXWHV3KRQHQXPEHUFKDQJHVZLOOEHUHSRUWHGWRWKH5&6+$5330DQG'&6* ± $5'ZLWKLQ     




   EXVLQHVVGD\
        6XEPLWH[SHGLWHGWUDQVIHUUHSRUWVWRWKH'&6* ± $5'RIILFHE\WKHWKRIWKHFORVHRIHDFKILVFDO\HDU
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   TXDUWHU
        (QVXUH IXOOWLPH DQG FROODWHUDO GXW\ 6+$53 SURIHVVLRQDOV DUH DSSRLQWHG LQ ZULWLQJ WUDLQHG FHUWLILHG DQG
   SUHSDUHGWRSHUIRUPWKHLUGXWLHVERWKLQJDUULVRQDQGGHSOR\HGHQYLURQPHQWV
        (VWDEOLVK6+$53WUDLQLQJLQXQLWVDQG30(FRQVLVWHQWZLWK+4'$SROLF\
        (QVXUH6ROGLHUVUHFHLYHDQQXDOSUHGHSOR\PHQWDQGSRVWGHSOR\PHQW6+$53WUDLQLQJ
        3URYLGHWKH'&6*± $5'ZLWKWKH320DQGDPLG\HDUDQGDQQXDOUHSRUWIRUWKH\HDURIH[HFXWLRQEXGJHW
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   LQIRUPDWLRQIRUWKH6+$533URJUDP
        %XGJHWIRU6+$53HGXFDWLRQRXWUHDFKDQGDZDUHQHVVDFWLYLWLHVDQGPDWHULDOV WKDWLV6$$30 2XWUHDFK
   DQGDZDUHQHVVPDWHULDOVDXWKRUL]HGIRUSURFXUHPHQWLQFOXGHEXWDUHQRWOLPLWHGWRSHQVPDJQHWVNH\IREVDQGVR
   IRUWK3XUFKDVHDJHQWVZLOOFRQVXOWZLWKWKHLUVHUYLFLQJOHJDORIILFHWRHQVXUHSURSHUXVHRIDSSURSULDWHGIXQGVZKHQ
   PDNLQJVXFKSXUFKDVHV
        3URYLGHJXLGDQFHDQGUHVRXUFHVIRU6$$30DFWLYLWLHV
        (QIRUFHWKHHQWU\RIVH[XDODVVDXOWGDWDLQWR'6$,'DQGWKHHQWU\RIVH[XDOKDUDVVPHQWGDWDLQWR,&56ZLWKLQ
   UHTXLUHGWLPHOLQHV




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        ,QFOXGHWKH6+$533URJUDPDVSDUWRIWKHLQVSHFWLRQSURJUDPDQGFRQGXFWSHULRGLFHYDOXDWLRQVRI6+$53
   3URJUDPLPSOHPHQWDWLRQDQGFRPSOLDQFH
        (QVXUHWKH6+$5330UHYLHZVWKHPRQWKO\'6$,'4&UHSRUWVSURYLGHGE\WKH'&6* ± $5'DQGHQIRUFHV
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   HUURUFRUUHFWLRQDQGUHFRQFLOLDWLRQRI PLVVLQJ86$&,'&VH[XDODVVDXOWFDVHLQYHVWLJDWLRQGDWD1RWH,QRUGHUIRU
   HUURUVWREHFOHDUHGIURPWKH4&UHSRUWFRUUHFWLRQVPXVWEHPDGHQRODWHUWKDQWKHWKRIWKHPRQWK
        6XEPLWDQQXDOUHSRUWVLQDFFRUGDQFHZLWK'$JXLGDQFHWRWKH'&6* ± $5'
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      P7KH&*86$UP\75$'2&ZLOO²
        'HYHORSPDQDJHDQGH[HFXWHWKHIXQFWLRQVRIWKH86$UP\6+$53$FDGHP\LQFRRUGLQDWLRQZLWK'&6
   *± $5'DQG27-$*
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        'HYHORSDQGPDQDJHWKH6+$53SURIHVVLRQDOWUDLQLQJFRXUVHV
        'HYHORSDQGPDQDJHDOO6+$537UDLQLQJ6XSSRUW3DFNDJHV
        7UDLQ86$&,'&DJHQWVWRLQYHVWLJDWHVH[XDODVVDXOWWKURXJKWKHDGYDQFHGVH[XDODVVDXOWWUDLQLQJDWWKH8QLWHG
   6WDWHV$UP\0LOLWDU\3ROLFH6FKRRO
        6XSHUYLVHFXUULFXOXPGHYHORSPHQWRIWKHVSHFLDOYLFWLPVFRXUVHWDXJKWDWWKH86$UP\0LOLWDU\3ROLFH6FKRRO
        'HYHORSDQGSURYLGHRYHUVLJKWIRUPLOLWDU\ODZHQIRUFHPHQWDGYDQFHGVH[XDODVVDXOWLQYHVWLJDWLRQDQGVHQVL
   WLYLW\WUDLQLQJGXULQJEDVLFFRXUVHVDQQXDOWUDLQLQJDQGVXEVHTXHQWSURIHVVLRQDOGHYHORSPHQWFRXUVHVWDXJKWDWWKH
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        'HYHORSDQGSURYLGHRYHUVLJKWIRULQLWLDO6+$53WUDLQLQJSUHHQWU\WUDLQLQJDQGSURIHVVLRQDOHGXFDWLRQIRU
   UHFUXLWHUVDQGGULOOVHUJHDQWV
        (QVXUH6+$53WUDLQLQJFRQGXFWHGGXULQJLQLWLDOPLOLWDU\WUDLQLQJ ,07 LVFRQGXFWHGZLWKLQWKHILUVWGD\V
   RIHDFKWUDLQLQJF\FOH
       D (QVXUH,076ROGLHUVDUHLQVWUXFWHGRQDQGKDYHDFFHVVWRVH[XDODVVDXOWUHSRUWLQJWRLQFOXGHWKH'R'
   6DIH+HOSOLQHDQGLQVWDOODWLRQ6+$53KRWOLQH
       E ,QHQYLURQPHQWVZKHUH,07WUDLQLQJLVFRQGXFWHGHYDOXDWHSURFHVVHVWRDGGUHVVVH[XDOKDUDVVPHQWDQGVH[XDO
   DVVDXOW
        (QVXUHWKDWGULOOVHUJHDQWVDUHQRWDSSRLQWHGDV6+$53SURIHVVLRQDOVRXWVLGHRIWUDLQHHXQLWV'ULOO6HUJHDQWV
   ZLOOQRWSURYLGHDGYRFDF\VHUYLFHVRXWVLGHRIWUDLQHHXQLWV
        &RRUGLQDWHGHVLJQDWLRQRIWKHDSSURSULDWHDGGLWLRQDOVNLOOLGHQWLILHU $6, ZLWK+5&
        (QVXUHVWDIILQJUHTXLUHGWRPDQDJHDQGRSHUDWHWKH86$UP\6+$53WUDLQLQJDFDGHP\
        ,PSOHPHQWDQGWUDFN 6+$53WUDLQLQJ IRUDOO6ROGLHUV'$ &LYLOLDQVDQG)DPLO\ PHPEHUVWKURXJKRXWWKH
   $UP\¶VOLIHF\FOHRIWUDLQLQJ LQVWLWXWLRQDORSHUDWLRQDODQGVHOIVWXG\ 
        &RQGXFW DQG HYDOXDWH WKH HIIHFWLYHQHVV RI UHTXLUHG 6+$53 HGXFDWLRQ DQG WUDLQLQJ LQ 75$'2& 6HUYLFH
   VFKRROVDQGWUDLQLQJFHQWHUV
        &RQGXFW6+$53WUDLQLQJDWDOOOHYHOVRI,07DQG30(WRLQFOXGH527&EULJDGHDQGEDWWDOLRQSUHFRPPDQG
   FRXUVHVWKH86$UP\:DU&ROOHJHDQGDWDOOOHYHOVRIWKH'$&LYLOLDQ(GXFDWLRQ6\VWHP
        (QVXUHWKDWDOO6+$53WUDLQLQJDQGHGXFDWLRQFRXUVHVDUHUHYLHZHGDQGDSSURYHGE\'&6* ± $5'DQG   




   27-$*$OOWUDLQLQJFRQWDLQLQJVH[XDOKDUDVVPHQWPXVWDOVREHUHYLHZHGE\'(20,
      Q7KH&*+XPDQ5HVRXUFHV&RPPDQGZLOO²
        6XSSRUWDQGFRQGXFWVXLWDELOLW\FHQWUDOL]HGVFUHHQLQJVIRU6+$53SRVLWLRQV$WWKHUHTXHVWRI'&6* ± $5'    




   RU86$UP\6+$53WUDLQLQJDFDGHP\ZLOOSURYLGHUHVXOWVRIEDFNJURXQGVFUHHQLQJV
        3URFHVV\HDUWRXUVWDELOL]DWLRQDFWLRQVIRU6ROGLHUVILOOLQJIXOOWLPH6$5&DQG6+$539$SRVLWLRQV
        ([HFXWH3&6H[SHGLWHGWUDQVIHUUHTXHVWVLQDFFRUGDQFHZLWK$5 ± DQG$5 ± 
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       D 3URYLGHDTXDUWHUO\UHSRUWWRWKH'&6*± $5'RQWKHQXPEHURI3&6H[SHGLWHGWUDQVIHUUHTXHVWVDQGQRQ
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   3&6H[SHGLWHGWUDQVIHUUHTXHVWVWKDWFURVV$&20V$6&&VDQG'58VWKDWKDYHDSSURYHGDQGGHQLHG
       E 3URFHVVH[SHGLWHGWUDQVIHUVVDIHW\PRYHVDQGFRPSDVVLRQDWHUHDVVLJQPHQWVDVSHUFRPPDQGHUV¶UHTXHVWVWR
   SURYLGHIRUYLFWLPV¶VDIHW\DQGUHFRYHU\
        $SSO\DQGPDLQWDLQUHFRUGVIRUWKH6+$53$6,³%´DQG³+´EDVHGRQVXFFHVVIXOFRPSOHWLRQRI6+$53
   WUDLQLQJ
       D 3URFHVV$6,UHYRFDWLRQVDVQHFHVVDU\
       E 3URYLGHDQQXDO$6,UHSRUWWRWKH'&6*± $5'
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        )RU6ROGLHUVZKRDUHYLFWLPVRIVH[XDODVVDXOWZKRKDYHUHTXHVWHGUHYLHZE\D*&0&$RIDVHSDUDWLRQDFWLRQ
   LQLWLDWHGZLWKLQ\HDURIWKHILQDOGLVSRVLWLRQRIWKHLUVH[XDODVVDXOWFDVHHQVXUHD*2ZLWK*&0&$DXWKRULW\UHYLHZV
   WKHFDVH
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        ,PPHGLDWHO\QRWLI\WKH6$5&DQG86$&,'&XSRQUHFHLSWRILQIRUPDWLRQRIDVH[XDODVVDXOWIURPDQ\VRXUFH
   LQFOXGLQJDWKLUGSDUW\$FRPPDQGHUZLOOQRWFRQGXFWDQ\LQWHUQDOLQTXLULHVRULQYHVWLJDWLRQVRIVH[XDODVVDXOWVRU
   GHOD\LPPHGLDWHO\FRQWDFWLQJ86$&,'&ZKLOHDWWHPSWLQJWRDVVHVVWKHFUHGLELOLW\RIWKHUHSRUW
        (QVXUHDOOHOLJLEOHYLFWLPVDQGFRPSODLQDQWVKDYHDFFHVVWRDZHOOFRRUGLQDWHGDQGKLJKO\UHVSRQVLYH6+$53
   3URJUDP
        0HHWZLWKWKH6$5&ZLWKLQGD\VRIWDNLQJFRPPDQGIRURQHRQRQH6+$53EULHILQJ7KHWUDLQLQJZLOO
   LQFOXGHDWUHQGVEULHIIRUWKHXQLWDQGDUHDRIUHVSRQVLELOLW\WKHFRQILGHQWLDOLW\DQG³RIILFLDOQHHGWRNQRZ´UHTXLUH
   PHQWVIRUERWKXQUHVWULFWHGDQGUHVWULFWHGUHSRUWLQJDQGWKHUHTXLUHPHQWVRIWKH6$,52UHSRUW
       D (QVXUHWKHFKDSODLQDQGVHQLRUHQOLVWHG 6*&60 DGYLVRUSDUWLFLSDWHLQWKHEULHILQJZLWKWKHFRPPDQGHU
       E 7KHFRPPDQGHUZLOOFRQWDFWWKHVHUYLFLQJOHJDODGYLVRUIRUWUDLQLQJRQOHJDOUHVSRQVLELOLWLHVUHODWHGWRUHSRUWV
   RIVH[XDODVVDXOWDQGKDUDVVPHQW
        3XEOLVKDFRPPDQGSROLF\IRU6+$53IRUHDFKXQLWDQGDJHQF\GRZQWRFRPSDQ\WURRSRUEDWWHU\OHYHO8QLWV
   ZLOOHQVXUHWKHFRPPDQGSROLF\IRU6+$53LVLQDFFRUGDQFHZLWKEULJDGHRUHTXLYDOHQWFRPPDQGSROLFLHV
       D (QVXUHWKDW6+$53SROLF\PHPRUDQGXPVDQGDOLVWRIYLFWLPVHUYLFHUHVRXUFHVDUHSRVWHGRQWKHXQLWEXOOHWLQ
   ERDUGV
       E 3ROLF\PHPRUDQGXPVZLOOLQFOXGHDQRYHUYLHZRIWKHFRPPDQG¶VFRPPLWPHQWWRWKH6+$533URJUDPYLF
   WLPV¶ULJKWVWKHGHILQLWLRQVRIVH[XDODVVDXOWDQGVH[XDOKDUDVVPHQWDYDLODEOHUHVRXUFHVWRVXSSRUWYLFWLPVDQGFRP
   SODLQDQWVVSHFLILFVWDWHPHQWVWKDWVH[XDODVVDXOWLVDFULPLQDORIIHQVHWKDWLVSXQLVKDEOHXQGHUWKH8&0-DQGRWKHU
   )HGHUDODQGORFDOFLYLOLDQODZVWKDWVH[XDOKDUDVVPHQWDQGUHWDOLDWRU\EHKDYLRUPD\EHSXQLVKDEOHXQGHUWKH8&0-
   DQGWKDWVH[XDOKDUDVVPHQWVH[XDODVVDXOWDQGUHWDOLDWRU\EHKDYLRUDUHLQFRPSDWLEOHZLWK$UP\YDOXHV
       F (QVXUHWKHYLFWLPVHUYLFHVUHVRXUFHVLQFOXGHWKH'R'6DIH+HOSOLQHQXPEHULQVWDOODWLRQ6+$53KRWOLQH
   DQGWKHQDPHVDQGFRQWDFWLQIRUPDWLRQRIWKHUHVSRQVLEOH6$5&DQG9$
        (QVXUHWKDWDVVLJQHGSHUVRQQHOWRLQFOXGH5&SHUVRQQHOXQGHUWKHLUFRPPDQGDUHWUDLQHGRQ6+$53SROLF\
        ,QFRUSRUDWHXQLWOHYHO6+$53DQQXDOWUDLQLQJLQWRWKHRYHUDOOWUDLQLQJIRUWKHXQLWDQGGRFXPHQWWKHWUDLQLQJ
   RQXQLWWUDLQLQJVFKHGXOHV
       D $QQXDO6+$53WUDLQLQJZLOOEHFRQGXFWHGIDFHWRIDFHXVLQJWKHDSSURYHG'HSDUWPHQWRIWKH$UP\6+$53
   $QQXDO7UDLQLQJ6XSSRUW3DFNDJHDYDLODEOHRQWKH$UP\7UDLQLQJ1HWZRUN&RPPDQGHUVZLOOGHWHUPLQHWKHGXUDWLRQ
   ORFDWLRQDQGPHDQVIRUFRQGXFWLQJWUDLQLQJ8QLWOHDGHUVZLOOOHDGWKHWUDLQLQJZLWKWKHDVVLVWDQFHRIFHUWLILHG6+$53
   SURIHVVLRQDOV
       E &RPPDQGHUVZLOOUHWDLQUHFRUGVRI6ROGLHUV¶6+$53WUDLQLQJ
        (QVXUH6ROGLHUVUHFHLYH6+$53SUHGHSOR\PHQWDQGSRVWGHSOR\PHQWWUDLQLQJ
        &RQGXFWDQQXDO6+$53WUDLQLQJIRUPLOLWDU\DQG'$&LYLOLDQVDQGRIIHU6+$53DQQXDOWUDLQLQJWR)DPLO\
   PHPEHUVDJHDQGRYHU(QVXUHGHSOR\HG'$&LYLOLDQVUHFHLYHSUHGHSOR\PHQWDQGSRVWGHSOR\PHQW6+$53WUDLQ
   LQJ
        &RQGXFWSHULRGLFDVVHVVPHQWVRIWKHFRPPDQG¶V6+$533URJUDPIRUSURJUDPLPSURYHPHQW
        (QVXUHFRPSUHKHQVLYHDQGDFFXUDWHVH[XDODVVDXOWGDWDLVSURYLGHGWR6$5&VIRUHQWU\LQWR'6$,'
        &RQWLQXDOO\PRQLWRUWKHXQLWDQGDVVHVV6+$53SROLF\LPSOHPHQWDWLRQDWDOOOHYHOVZLWKLQWKHDUHDRIUHVSRQ
   VLELOLW\,GHQWLI\SUREOHPVRUSRWHQWLDOSUREOHPVIRUFRPPDQGHU¶VXSGDWH
        (QVXUHWKDWFRPPDQGFOLPDWHVXUYH\VDUHFRQGXFWHGDQGWKDWWKHLUTXHVWLRQVDQGUHVXOWVDUHFRRUGLQDWHGZLWK
   WKH6$5&
        &RQWLQXDOO\DVVHVVWKHFRPPDQGFOLPDWHWKURXJKYDULRXVPHWKRGV IRUH[DPSOHIRFXVJURXSVVXUYH\VWDONLQJ
   ZLWK6ROGLHUV 
        3XEOLVKFRQWDFWLQIRUPDWLRQRI6$5&V6+$539$VDQG95VDQGSURYLGHWDNHDZD\LQIRUPDWLRQVXFKDV
   WHOHSKRQHQXPEHUVIRUXQLWDQGLQVWDOODWLRQSRLQWVRIFRQWDFWERRNOHWVDQGLQIRUPDWLRQRQDYDLODEOHYLFWLPVHUYLFHV
        (PSKDVL]H6+$53LQDOOKROLGD\VDIHW\PHPRVDQGEULHILQJV
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        (QVXUHWKDWDOOXQLWVKDYHD6+$53UHVSRQVHFDSDELOLW\KRXUVDGD\GD\VDZHHN
        (QVXUH6+$53SURIHVVLRQDOVKDYHWKHFRPPXQLFDWLRQ WKDWLVFHOOSKRQHVKDUHGEHWZHHQRQFDOO6+$53
   SURIHVVLRQDOV DQGDXWKRUL]HGWUDQVSRUWDWLRQ WKDWLV703 UHVRXUFHVQHHGHGWRDFFRPSOLVKDVVLJQHGWDVNV
        8VHJRRGMXGJPHQWDQGGLVFUHWLRQLQSURYLGLQJIDFLOLWLHVWRHQVXUHSULYDF\DQGFRQILGHQWLDOLW\IRU6$5&VDQG
   RWKHU6+$53SURIHVVLRQDOVWRUHVSRQGWRDQGVXSSRUWFRPSODLQDQWVDQGYLFWLPV
        5HLQIRUFHVXSSRUWIRU032V752VDQG&32V
        (QVXUHDZDUHQHVVRIWKH6+$533URJUDPDQGSXEOLFL]HRQDQGRIISRVWFULVLVUHVSRQVHUHVRXUFHVDYDLODEOH
   WRDVVLVWFRPSODLQDQWVDQGYLFWLPV
        (VWDEOLVKDQGHQIRUFHSURFHGXUHVWRSURWHFW6$5&V6+$539$VDQG95VIURPUHWDOLDWLRQUHSULVDORVWUD
   FLVP LQWLPLGDWLRQ RU PDOWUHDWPHQW UHODWHG WR WKH H[HFXWLRQ RI WKHLU GXWLHV DQG UHVSRQVLELOLWLHV 8QLW FRPPDQGHUV



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   DQGRUVXSHUYLVRUVZLOOQRWLQWHUIHUHZLWKRURWKHUZLVHDWWHPSWWRQHJDWLYHO\LQIOXHQFH6+$53SURIHVVLRQDOVLQWKH
   SHUIRUPDQFHRIWKHLUGXWLHV
         (VWDEOLVKDQGHQIRUFHSURFHGXUHVWRSURWHFWZLWQHVVHVDQGE\VWDQGHUVZKRLQWHUYHQHWRSUHYHQWRUUHSRUWVH[XDO
   DVVDXOWRUVH[XDOKDUDVVPHQWIURPUHWDOLDWLRQUHSULVDORVWUDFLVPLQWLPLGDWLRQRUPDOWUHDWPHQW,PPHGLDWHO\QRWLI\
   86$&,'&ZKHQHYHUWKHYLFWLPRIDVH[XDODVVDXOWZLWQHVVHVRUE\VWDQGHUZKRLQWHUYHQHVLVWKUHDWHQHGDVVDXOWHG
   RUVXIIHUVSURSHUW\GDPDJH
         1RWLI\WKH'&6* ± $5'LQZULWLQJRIDQ\FKDQJHLQD6+$53SURIHVVLRQDOSRVLWLRQ
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         (QVXUHWKDWDQDSSRLQWPHQWRID6ROGLHURU'$&LYLOLDQWRD6+$53SURIHVVLRQDOSRVLWLRQGRHVQRWFUHDWHD
   FRQIOLFWRILQWHUHVW RUWKHDSSHDUDQFHRIDFRQIOLFWRILQWHUHVW ZLWKRWKHUGXW\DVVLJQPHQWV &RPPDQGHUV ZLOOQRW
   DSSRLQW6ROGLHUVSHUIRUPLQJWKHIROORZLQJGXWLHVWRDQ\SRVLWLRQZLWKLQWKH6+$533URJUDPPLOLWDU\HTXDORSSRU
   WXQLW\SURIHVVLRQDO(2/((2FKDSODLQFKDSODLQ¶VDVVLVWDQWOHJDORIILFHURUSDUDOHJDO
         (QVXUHVHUYLFLQJ6$5&VKDYHUHDVRQDEO\GLUHFWDQGXQLPSHGHGDFFHVVWRWKHLPPHGLDWHFRPPDQGHURIWKH
   YLFWLPRIDVH[XDODVVDXOWZLWKUHJDUGWRUHVSRQVH
         8SRQOHDUQLQJRIDVH[XDODVVDXOWIURPDYLFWLPRUDWKLUGSDUW\IROORZWKHOLVWRIDFWLRQVLQSDUDJUDSK±       




         8SRQOHDUQLQJRIDQDFWRIVH[XDOKDUDVVPHQWZLWKLQWKHFRPPDQGHU¶VSXUYLHZWRLQYHVWLJDWHIURPWKHFRP
   SODLQDQWYLFWLPRUDWKLUGSDUW\DOOFRPPDQGHUVZLOOHQVXUHDQLQYHVWLJDWLRQLVFRPSOHWHGLQDFFRUGDQFHZLWK'R',
   DQGWKLVUHJXODWLRQ
         (QVXUHDOO6+$53SURIHVVLRQDOVXQGHUWKHLUFRPPDQGDUHDSSURSULDWHO\VFUHHQHGWUDLQHGDQGFHUWLILHGEHIRUH
   EHLQJDSSRLQWHGWRWKHLUSRVLWLRQV
         3URYLGHLQIRUPDWLRQWRWKHOHDG6$5&UHJDUGLQJFRPPDQGDFWLRQVDQGGLVSRVLWLRQVLQUHVSRQVHWRUHSRUWVRI
   UHWDOLDWRU\EHKDYLRUWDUJHWLQJYLFWLPVRIVH[XDODVVDXOWFRPSODLQDQWVRIVH[XDOKDUDVVPHQW6$5&V6+$539$V
   95VILUVWUHVSRQGHUVZLWQHVVHVDQGE\VWDQGHUVZKRLQWHUYHQHGXSRQUHTXHVW
         2IILFLDOVDXWKRUL]HGWRDSSURYHWKHXVHRIDSSURSULDWHGIXQGVPD\RFFDVLRQDOO\XVHDSSURSULDWHGIXQGVZKHQ
   LWLVQHFHVVDU\WRDGYDQFHOHJLWLPDWHDJHQF\JRDOVDQGSROLFLHVDVRSSRVHGWRVLPSO\DWWUDFWLQJDWWHQWLRQWRWKHDJHQF\
   DQGLWVSURJUDPV3ULRUWRWKHH[SHQGLWXUHLWVKRXOGEHUHYLHZHGE\DSSURSULDWHRIILFLDOVWRGHWHUPLQHWKHSDUWLFXODU
   IDFWXDOFLUFXPVWDQFHVLQZKLFKWKHFRPPDQGFDQGHPRQVWUDWHWKDWWKHLWHPZLOOGLUHFWO\DGYDQFH6+$53¶VVWDWXWRU\
   PLVVLRQDQGREMHFWLYH$XWKRUL]LQJRIILFLDOZLOOFRQVXOWZLWKWKHLUVHUYLFLQJOHJDORIILFHWRHQVXUHSURSHUXVHRIDSSUR
   SULDWHGIXQGVZKHQPDNLQJSXUFKDVHVFRQVLVWHQWZLWKWKLVSDUDJUDSK
         6XSSRUWLQYHVWLJDWLRQVE\SURYLGLQJDFFHVVWRLQIRUPDWLRQDVDSSURSULDWHWRHQVXUHWKDWLQYHVWLJDWLRQVDUH
   LPSDUWLDODQGWLPHO\
         (QWHUPDQGDWRU\SHUIRUPDQFHHYDOXDWLRQGDWDLQDFFRUGDQFHZLWK$5 ± DQG'$3DP ± 
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       S,QDGGLWLRQWRWKHUHVSRQVLELOLWLHVOLVWHGDERYHDOOEDWWDOLRQFRPPDQGHUVZLOO²
         (QVXUHWKHDSSRLQWPHQWRIRQHWUDLQHGDQGFHUWLILHGFROODWHUDOGXW\6$5&DQGRQHWUDLQHGDQGFHUWLILHGFROODW
   HUDOGXW\6+$539$
         3UHSDUHWKH6$,52 VHHDSS. IRUDOOXQUHVWULFWHGUHSRUWVRIVH[XDODVVDXOWZLWKLQSXWIURP86$&,'&DQG
   WKH6$5&LQDFFRUGDQFHZLWK'R',
       T,QDGGLWLRQWRWKHUHVSRQVLELOLWLHVOLVWHGLQSDUDJUDSK±RDOOEULJDGHDQGEULJDGHHTXLYDOHQWFRPPDQGHUVZLOO
   HQVXUHWKHDSSRLQWPHQWRIRQHIXOOWLPH6$5&DQGRQHIXOOWLPH6+$539$
       U,Q DGGLWLRQ WR WKH UHVSRQVLELOLWLHV OLVWHG LQ SDUDJUDSK ±R DOO FRPPDQGHUV IRU HFKHORQV DERYH EULJDGH ZLOO
   HQVXUHWKHDSSRLQWPHQWRIRQHWUDLQHGDQGFHUWLILHGFROODWHUDOGXW\6$5&
       V,QDGGLWLRQWRWKHUHVSRQVLELOLWLHVOLVWHGLQSDUDJUDSK±RDOOJDUULVRQFRPPDQGHUVZLOO²
         (QVXUHWKHDSSRLQWPHQWRIRQHIXOOWLPH6$5&DQGRQHIXOOWLPH6+$539$
         (QVXUHDYDLODELOLW\RIORJLVWLFDOVXSSRUWIRU6+$53SURIHVVLRQDOVDQGDFWLYLWLHVDVDSSURSULDWH
         'HYHORSDSRVWZLGHFRPPXQLW\HGXFDWLRQSURJUDPWR²
        D ,QIRUPDOOSHUVRQQHODERXWWKHVHULRXVQHVVRIVH[XDODVVDXOWDQGVH[XDOKDUDVVPHQWLQFOXGLQJWKHFDXVHVHI
   IHFWVDQGUHPHGLHV
        E 3XEOLFL]HSURFHGXUHVIRUUHSRUWLQJVH[XDODVVDXOWDQGVH[XDOKDUDVVPHQWDQGDYDLODEOHVHUYLFHV
        F (PSKDVL]HWKHLPSRUWDQFHRIWRWDOFRPPXQLW\LQYROYHPHQWLQWKH6+$533URJUDP
        G 3XEOLFL]HWKHLQVWDOODWLRQ6+$53+RWOLQHDQGLQIRUPDWLRQRQWKHDYDLODELOLW\RILQVWDOODWLRQDQGFRPPX
   QLW\VH[XDOKDUDVVPHQWDQGVH[XDODVVDXOWUHVRXUFHV
        H 3XEOLFL]HWKH'R'6DIH+HOSOLQH
        I 3DUWLFLSDWHLQDQGSURYLGHORJLVWLFDOVXSSRUWIRU6$$30
       W,QDGGLWLRQWRWKHUHVSRQVLELOLWLHVOLVWHGLQSDUDJUDSK± DOO6&VZLOO²
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      5HTXLUHWKHOHDG6$5&WRUHYLHZWKH+4'$PRQWKO\4&UHSRUWVDQGFRRUGLQDWH ZLWKEULJDGH 6$5&VDQG
   86$&,'&WRHQVXUHHUURUVDUHUHVROYHGDQGPLVVLQJFRUUHFWGDWDDUHHQWHUHGLQWR'6$,'XSRQUHFHLSWRIWKHPRQWKO\
   4&UHSRUW5HTXLUHOHDG6$5&VWRLPPHGLDWHO\LQIRUP'&6*$5'RIDQ\XQUHVROYHGHUURUV
   1RWH,QRUGHUIRUHUURUVWREHFOHDUHGIURPWKH4&UHSRUWFRUUHFWLRQVZLOOEHPDGHQRODWHUWKDQWKHWKRIWKHPRQWK
        (QVXUHWKDWDVDIHW\DVVHVVPHQWLVFRQGXFWHGIRUDOOYLFWLPVZKRUHSRUWDVH[XDODVVDXOW
        &KDLUWKHPRQWKO\LQVWDOODWLRQ6$5% PD\EHGHOHJDWHGWRDGHSXW\FRPPDQGHU LPSOHPHQWSURFHGXUHVDQG
   VWDQGDUGVRIRSHUDWLRQVDQGDFWLRQVIRUUHSRUWVRIUHWDOLDWLRQUHSULVDORVWUDFLVPRUPDOWUHDWPHQWWRSURWHFWWKHYLFWLP
        (QVXUHVHUYLFLQJ6$5&VKDYHUHDVRQDEO\GLUHFWDQGXQLPSHGHGDFFHVVWRKLPRUKHU
        (QVXUH WKDW LQIRUPDWLRQ PDLQWDLQHG RQ WKH 'R' 6DIH +HOSOLQH LV DFFXUDWH DQG UHYLVLRQV DUH UHSRUWHG WR WKH
   $&20$6&&DQG'58ZLWKLQEXVLQHVVGD\5HYLVLRQVQRWUHIOHFWHGZLWKLQEXVLQHVVGD\VDUHUHDGGUHVVHGWR
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        +DYHDQLQVWDOODWLRQ6+$53KRWOLQH&DOOVWRWKHLQVWDOODWLRQ6+$53KRWOLQHQXPEHUQRWLPPHGLDWHO\
   DQVZHUHGPXVWEHUHWXUQHGZLWKLQPLQXWHV
        7KHLQVWDOODWLRQ6+$53KRWOLQHQXPEHUZLOOEHSXEOLVKHGRQWKH'R'6DIH+HOSOLQHZHEVLWHDQGZLOOEH
   DFFHVVLEOHWKURXJKWKH6DIH+HOSOLQH
        5HTXLUHWKHOHDG6$5&WREHSUHVHQWGXULQJHDFK6$5%WRFRFKDLUHDFK6$5%DQGWRDGGUHVVDFWLRQVWDNHQ
   WRUHVROYHDOO'6$,'GDWDHUURUVDQGUHFRQFLOLDWLRQRI86$&,'&VH[XDODVVDXOWFDVHLQYHVWLJDWLRQVUHSRUWHGDVPLVVLQJ
   IURP'6$,'RQWKHPRQWKO\4&UHSRUW
        'HVLJQDWHSHUVRQQHOZKRDUHUHVSRQVLEOHIRUFRQGXFWLQJDVDIHW\DVVHVVPHQWIRUHDFKUHSRUWHGVH[XDODVVDXOW
   YLFWLP7KH6&ZLOOHQVXUHWKDWWKHVHSHUVRQQHODUHWUDLQHGWRSHUIRUPDVDIHW\DVVHVVPHQWFRGLI\WKLVGHVLJQDWLRQLQ
   WKHLQVWDOODWLRQ6+$53VWDQGDUGRSHUDWLQJSURFHGXUH
        (QVXUHDYLFWLP¶VLPPHGLDWHFRPPDQGHUSURYLGHVPRQWKO\XSGDWHVWRYLFWLPVRIDVH[XDODVVDXOWZKRILOHG
   DQXQUHVWULFWHGUHSRUWUHJDUGLQJWKHFXUUHQWVWDWXVRIDQ\RQJRLQJLQYHVWLJDWLYHPHGLFDOOHJDORUDQ\RWKHUUHTXHVW
   PDGHE\WKHYLFWLPRUFRPPDQGSURFHHGLQJVUHJDUGLQJWKHVH[XDODVVDXOWXQWLOWKHILQDOGLVSRVLWLRQRIWKHUHSRUWHG
   DVVDXOW7KLVLVDQRQGHOHJDEOHFRPPDQGHUGXW\7KHPRQWKO\XSGDWHZLOORFFXUZLWKLQKRXUVDIWHUWKH6$5%
        (QVXUHFRRUGLQDWHGH[HFXWLRQRIWKH6+$533URJUDPDFURVVDOOFRPPDQGVDQGRUJDQL]DWLRQVWRLQFOXGHDOO
   VXERUGLQDWHDQGWHQDQWXQLWVRQLQVWDOODWLRQVDQGLQGHSOR\HGDUHDVZLWKDSULPDU\IRFXVRQGHOLYHULQJDVHDPOHVV
   WLPHO\DQGHIILFLHQWSURFHVVIRUFRPSODLQDQWVDQGYLFWLPV
        &RQVLGHUORFDWLQJWKH6+$53RIILFHLQDQDUHDQHDUWKHFKDSODLQ¶VRIILFHLIIHDVLEOHWRHQVXUHHDVLHUDFFHVV
   IRUYLFWLPVDQGFRPSODLQDQWVLQDQHQYLURQPHQWWKDWLVOHVVFRPSURPLVLQJRUUHVWULFWLYHIRUUHSRUWLQJ
      X$OO$&20$6&&DQG'58FRPPDQGHUVZLOO²
        'HYHORSDQGLVVXHFRPPDQGSROLF\JXLGDQFHRQ6+$533URJUDPUHTXLUHPHQWVSUHYHQWLRQRIVH[XDOKDUDVV
   PHQWVH[XDODVVDXOWDQGUHWDOLDWRU\EHKDYLRUUHVSRQVHVWDQGDUGVIRUUHSRUWVDQGFRPSODLQWVDVZHOODVWKHVWDQGDUGV
   RIFDUHIRUWUHDWPHQWRIYLFWLPVDQGFRPSODLQDQWV
        ,VVXH FRPPDQG SROLF\ WKDW LQ D GHSOR\HG HQYLURQPHQW XQLWV ZLOO FRQGXFW 6$5%V DW WKH DSSURSULDWH OHYHO
   WKRXJKQRORZHUWKDQEULJDGHOHYHO
        (QVXUHDFRPPDQGHU¶VFULWLFDOLQIRUPDWLRQUHTXLUHPHQW &&,5 LVSUHSDUHGZKHQUHTXLUHG VHHIRUPDWLQDSS
   -  7KH &&,5 ZLOO EH FRPSOHWHG DQG IRUZDUGHG WR WKH $UP\ 2SHUDWLRQV &HQWHU $2&  DQG '&6 * ±                   




    '$3( ± 03(± 3& 3HUVRQQHO&RQWLQJHQF\ &HOO 3&&  ZLWKLQKRXUVRIFRPPDQGQRWLILFDWLRQRIWKH WULJJHULQJ
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   HYHQW
        (QVXUHWKHDVVLJQPHQWRIIXOOWLPH6$5&VDQG6+$539$VDWWKHEULJDGH RUHTXLYDOHQW OHYHO
        (QVXUHWKHDVVLJQPHQWRIWUDLQHGDQGFHUWLILHGFROODWHUDOGXW\6$5&V6+$539$VDQG95VDWWKHEDWWDOLRQ
    RUHTXLYDOHQW OHYHO
        $FWDVDSSURYDODXWKRULW\IRUWKHDVVLJQPHQWRIFRPSDQ\OHYHOWUDLQHGDQGFHUWLILHGFROODWHUDOGXW\6+$53
   9$VIRUH[FHSWLRQDOVLWXDWLRQVVXFKDVJHRJUDSKLFDOGLVSHUVLRQRUODUJHXQLWV
        0RQLWRUWKHH[HFXWLRQRIWKH6+$533URJUDPLQDOOFRPPDQGVDJHQFLHVDQGDFWLYLWLHV LQFOXGLQJ86$5DQG
   $51*XQLWVZKHQPRELOL]HG XQGHUWKHLUMXULVGLFWLRQ
        (QVXUHDOOHOLJLEOHYLFWLPVDQGFRPSODLQDQWVKDYHDFFHVVWRDZHOOFRRUGLQDWHGDQGKLJKO\UHVSRQVLYH6+$53
   3URJUDP
        (QVXUHWKDWDOOFRPPDQGVSURPRWHDQGPDLQWDLQDFFXUDWHLQIRUPDWLRQRQWKH'R'6DIH+HOSOLQHDQGWKHLQVWDO
   ODWLRQ6+$53KRWOLQHWRSURYLGHFULVLVLQWHUYHQWLRQIDFLOLWDWHYLFWLPUHSRUWLQJWKURXJKFRQQHFWLRQWRWKHQHDUHVW
   6$5&DQGRWKHUILUVWUHVSRQGHUUHVRXUFHV
        3UHSDUHDQGVXEPLWE\WKHWKRIHDFKPRQWKWRWKH'&6* ± $5'WHVWFDOOUHSRUWVIRUVH[XDOKDUDVVPHQW
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   DQGVH[XDODVVDXOWUHVSRQGHULQIRUPDWLRQSRVWHGRQWKH'R'6DIH+HOSOLQHKWWSVVDIHKHOSOLQHRUJDQG4&DXGLWUH
   SRUWVVXEPLWWHGE\$&20V$6&&VDQG'58VIRULQVWDOODWLRQVH[XDODVVDXOWUHVSRQGHULQIRUPDWLRQ0DLQWDLQ



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   PRQLWRUDQGUHSRUWLQFRUUHFWLQIRUPDWLRQDQGFDOOVWR6$5&V6+$539$VDQG95WKDWDUHQRWLPPHGLDWHO\DQ
   VZHUHGRUUHWXUQHGZLWKLQPLQXWHV3KRQHQXPEHUFKDQJHVZLOOEHUHSRUWHGZLWKLQEXVLQHVVGD\
        (QVXUHWKDW028V02$VDUHLQSODFHZKHUHFLYLOLDQDJHQFLHVRUPLOLWDU\VHUYLFHVDUHXVHGDVVXSSRUWVHU
   YLFHV
        (QVXUHFRPSOLDQFHZLWK$5 ± ±(QJDJHGVSRQVRUVKLSDQGPHQWRUVKLSSURJUDPVFDQEHHIIHFWLYHSUH
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   YHQWLRQPHDVXUHV
        (QVXUHVH[XDODVVDXOWUHVSRQVHVHUYLFHVDUHSURYLGHGWRVLVWHU6HUYLFHXQLWVWKDWDUHVWDWLRQHGZLWKLQWKHDUHD
   RIUHVSRQVLELOLW\
        'HYHORSSURJUDPSROLF\JXLGDQFHDQGRWKHULQIRUPDWLRQIRUFRPPDQGHUVDQGVXSHUYLVRUV6+$53SURIHV
   VLRQDOVDQGILUVWUHVSRQGHUV3URYLGHSURJUDPGLUHFWLRQDQGJXLGDQFHWRDOOFRQFHUQLQJUHSRUWLQJSURFHGXUHVFRQIL
   GHQWLDOLW\WUDLQLQJVDIHW\WLSVDQGUHVRXUFHV
        7UDFNWKHGLVSRVLWLRQRIDOOVH[XDOKDUDVVPHQWDQGVH[XDODVVDXOWFDVHVDQGHQVXUHFRPPDQGHUVSURYLGHWKH
   GLVSRVLWLRQRIVH[XDODVVDXOWLQYHVWLJDWLRQVWR86$&,'&LQDWLPHO\PDQQHULQDFFRUGDQFHZLWK$5 ±     




        8VHWKH2UJDQL]DWLRQ,QVSHFWLRQ3URJUDP 2,3 FKHFNOLVWWRHQVXUH6+$533URJUDPFRPSOLDQFHDQGHIIHF
   WLYHQHVV
        (QVXUHDOO6+$53SURIHVVLRQDOVDUHRQDFRPPDQGDSSRLQWPHQWPHPR7KH6$5&30DQG7UDLQLQJ,Q
   VWUXFWRUDSSRLQWPHQWPHPRVZLOOEHVLJQHGE\WKHILUVW*26(6LQWKHLUFKDLQRIFRPPDQGWKHDSSRLQWPHQWPHPR
   IRUD6+$539$RU95ZLOOEHVLJQHGE\WKHLUEULJDGHFRPPDQGHU 2 ±  7KHPHPRZLOODFNQRZOHGJHWKH6+$53
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   SURIHVVLRQDOKDVDFXUUHQW'± 6$$&3FHUWLILFDWLRQDFOHDUHGEDFNJURXQGVFUHHQLQJDQGLVDXWKRUL]HGWRSURYLGHYLFWLP
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   DGYRFDF\VHUYLFHV
        $SSRLQWDIXOOWLPH6+$5330WRRYHUVHHWKH$&20$6&&DQG'586+$533URJUDPWRLQFOXGHUHSRUW
   LQJGDWDFROOHFWLRQDVVHVVPHQWVVWDWLVWLFVWUHQGDQDO\VHVDQGFRRUGLQDWLRQRIVWDIISURSRQHQWVDVZHOODVRWKHUUH
   TXLUHPHQWVDVQHFHVVDU\
        (QVXUHWKH6+$5330KDVDUHFRUGRIHYHU\6+$53SURIHVVLRQDOLQWKHFRPPDQG7KHVHUHFRUGVZLOOLQFOXGH
   FRSLHVRIWKHQRPLQDWLRQVFUHHQLQJFKHFNOLVW IRU6ROGLHUV FOHDUHGVFUHHQLQJ IRU'$&LYLOLDQV WUDLQLQJFHUWLILFDWH
   $6, IRU6ROGLHUV '± 6$$&3FHUWLILFDWLRQDQGDSSRLQWPHQWPHPR
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        (QVXUH6+$53DQQXDOSUHGHSOR\PHQWDQGSRVWGHSOR\PHQWWUDLQLQJLVFRQGXFWHGDQGWUDFNHG
        (QVXUHFRPPDQGHUVDQGVHQLRUHQOLVWHG &60V6*0V6* UHFHLYHD6+$53EULHILQJZLWKLQGD\VRI
   DVVXPLQJFRPPDQGRUFKDQJHRIUHVSRQVLELOLW\
        ,QWHJUDWHVH[XDOKDUDVVPHQWDQGVH[XDODVVDXOWDZDUHQHVVLQWRQHZFRPHURULHQWDWLRQEULHILQJVDQGSURYLGH
   FRQWDFWLQIRUPDWLRQIRUDOO6+$533URJUDPUHVSRQVHDJHQFLHV
        (QVXUH6+$53)LUVW5HVSRQGHUDQQXDOWUDLQLQJLVFRQGXFWHGDQGWUDFNHG
        (QVXUH6+$53)RXQGDWLRQ&RXUVHPRELOHWUDLQLQJWHDPVFRRUGLQDWHZLWKWKHLQVWDOODWLRQOHDG6$5&WRVFKHG
   XOHDQGUHVRXUFHWKHKRXU6+$53PRELOHWUDLQLQJFRXUVHV
        (QVXUH$UP\7UDLQLQJ5HTXLUHPHQWVDQG5HVRXUFH6\VWHP $7556 HQWU\IRU6+$53SURIHVVLRQDOVUHTXLUHG
   WRDWWHQGWUDLQLQJDWWKH6+$53$FDGHP\
        3URYLGHDQGPRQLWRUUHVRXUFHVWRHQDEOHVXERUGLQDWHFRPPDQGVWRDFKLHYHFRPSOLDQFHZLWK6+$533URJUDP
   SROLF\
        %XGJHWIRU6+$53HGXFDWLRQRXWUHDFKDQGDZDUHQHVVDFWLYLWLHVDQGPDWHULDOV WKDWLV6$$30 2XWUHDFK
   DQGDZDUHQHVVPDWHULDOVDXWKRUL]HGIRUSURFXUHPHQWLQFOXGHEXWDUHQRWOLPLWHGWRSHQVPDJQHWVNH\IREVDQGVR
   IRUWK
        3URYLGH'&6* ± $5'ZLWKWKH320DQGDPLG\HDUDQGDQQXDOUHSRUWIRUWKH\HDURIH[HFXWLRQEXGJHW
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   LQIRUPDWLRQIRUWKH6+$533URJUDP
        (QVXUHDOO6+$53SURIHVVLRQDOVLQVXERUGLQDWHXQLWVKDYHDFFHVVWRWKHFRPPXQLFDWLRQ WKDWLVFHOOSKRQH
   VKDUHGEHWZHHQRQFDOO6+$53SURIHVVLRQDOV DQGDXWKRUL]HGWUDQVSRUWDWLRQ WKDWLVWKH703 UHVRXUFHVQHHGHGWR
   DFFRPSOLVKDQGWRUHVSRQGWRVH[XDOKDUDVVPHQWDQGVH[XDODVVDXOWFDVHV
        3URYLGHJXLGDQFHDQGUHVRXUFHVIRUDOO6$$30DFWLYLWLHV
        (QVXUHVH[XDODVVDXOWGDWDLVHQWHUHGLQWR'6$,'DQGVH[XDOKDUDVVPHQWGDWDLVHQWHUHGLQWR,&56
        ,QFOXGHWKH6+$533URJUDPDVSDUWRIWKH2,3LQQRQGHSOR\HGDQGGHSOR\HGHQYLURQPHQWV
        6XEPLWDQQXDOUHSRUWVLQDFFRUGDQFHZLWK'$JXLGDQFHWRWKH'&6* ± $5'   




        (QVXUH$&20$6&&DQG'586+$5330VUHYLHZ PRQWKO\'6$,'4&UHSRUWVSURYLGHGE\WKH'&6
   *± $5'DQGHQIRUFHHUURUFRUUHFWLRQDQGUHFRQFLOLDWLRQRIPLVVLQJ86$&,'&VH[XDODVVDXOWFDVHLQYHVWLJDWLRQGDWD
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   1RWH,QRUGHUIRUHUURUVWREHFOHDUHGIURPWKH4&UHSRUWFRUUHFWLRQVZLOOEHPDGHQRODWHUWKDQWKHWKRIWKHPRQWK
      (QVXUH$&20$6&&DQG'586+$5330VVXEPLWTXDUWHUO\UHWDOLDWRU\EHKDYLRUUHSRUWVWRWKH'&6* ±            




   $5'



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        (QVXUH6&VDWHDFK$UP\LQVWDOODWLRQDSSRLQWRQRUGHUVDOHDG6$5&
        (QVXUH6&VUHYLHZGXULQJHDFK6$5%DFWLRQVWDNHQWRUHVROYHDOO'6$,'GDWDHUURUVDQGWKHUHFRQFLOLDWLRQ
   RI86$&,'&VH[XDODVVDXOWFDVHLQYHVWLJDWLRQVUHSRUWHGDVPLVVLQJIURP'6$,'RQWKHPRQWKO\'6$,'4&UHSRUW
   SURYLGHGWROHDG6$5&VE\WKH'&6* ± $5'
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      Y$OO6+$53SURIHVVLRQDOV 30V6$5&V6+$539$V95VDQG7UDLQLQJ,QVWUXFWRUV IXOOWLPHSDUWWLPHDQG
   FROODWHUDO GXW\ PXVW KDYH D FOHDUHG EDFNJURXQG VFUHHQLQJ KDYH DWWHQGHG WKH DSSURSULDWH WUDLQLQJ KDYH DQ DFWLYH
   '± 6$$&3FHUWLILFDWLRQDQGDQDSSURSULDWHO\VLJQHGDSSRLQWPHQWPHPR,QWKHHYHQWWKDWDQLQGLYLGXDO¶VFHUWLILFDWLRQ
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   H[SLUHVRULVUHYRNHGWKH\DUHQRORQJHUDXWKRUL]HGWRVHUYHLQDQ\6+$53SRVLWLRQRUSHUIRUPDQ\6+$53GXWLHV
   XQWLOWKHLU'± 6$$&3FHUWLILFDWLRQLVUHDXWKRUL]HG30VDQG7UDLQLQJLQVWUXFWRUVDUHQRWRUGLQDULO\DXWKRUL]HGWRFDUU\
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   DFDVHORDGEXWDUHGLUHFWHGWRUHIHUDYLFWLPWRD6$5&IRU6+$53VHUYLFHV$Q\6+$53SRVLWLRQQRWLQFOXGHGLQWKLV
   UHJXODWLRQUHTXLUHVWKHDSSURYDORIWKH'&6* ± $5''LUHFWRU$OO6+$53SURIHVVLRQDOVZLOO²
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        3HUIRUPWKHLUGXWLHVLQDFFRUGDQFHZLWKWKHHWKLFDOVWDQGDUGVLQ'R',DQG'R',DWDOOWLPHV
   7KHVHVWDQGDUGVDSSO\WRDOOLQWHUDFWLRQVZLWKDQGLQWHUFHVVLRQVIRUYLFWLPVRIVH[XDODVVDXOWFRPSODLQDQWVRIVH[XDO
   KDUDVVPHQWDQGWKRVHZKRUHSRUWUHWDOLDWLRQ
        $VVLVWZLWK6+$53DQQXDOSUHGHSOR\PHQWDQGSRVWGHSOR\PHQWWUDLQLQJ
      Z6H[XDO+DUDVVPHQW$VVDXOW5HVSRQVHDQG3UHYHQWLRQSURJUDPPDQDJHUV$&20V$6&&VDQG'58VZLOOGHV
   LJQDWHD30WRRYHUVHHWKHSURJUDPE\SURYLGLQJUHSRUWDVVHVVPHQWVVWDWLVWLFVDQGWUHQGDQDO\VLVDQGFRRUGLQDWLQJ
   ZLWKVWDIISURSRQHQWV3ULPDU\IXQFWLRQVDUHDVVHVVPHQWDQGHQVXULQJFRPSOLDQFHZLWK'R'DQG$UP\SROLF\6HUYHV
   DVSULQFLSOHDGYLVRUWRWKHFRPPDQGHUIRUDOOPDWWHUVUHODWLQJWRWKHLPSOHPHQWDWLRQRIWKH6+$533URJUDP5HVSRQ
   VLEOHIRUWKHRYHUVLJKWDQGFRRUGLQDWLRQRIWKH6+$533URJUDPWKURXJKRXWWKHDUHDRIUHVSRQVLELOLW\8SGDWHVWKH&*
   DQGPDMRUVXERUGLQDWHFRPPDQGVRQFKDQJHVWRJXLGDQFHSROLF\DQGSURFHGXUHV$OO6+$5330VZLOO²
        2EWDLQDQGPDLQWDLQH[SHUWLVHLQSURFHGXUHVDQGLVVXHVUHODWHGWRSUHYHQWLRQUHVSRQVHYLFWLPDGYRFDF\UH
   SRUWLQJLQYHVWLJDWLYHSURFHGXUHVDQGGHFLVLRQSRLQWVUHODWHGWRVH[XDOKDUDVVPHQWDQGVH[XDODVVDXOW
        %HWKRURXJKO\IDPLOLDUZLWK6+$53DQG6+$53UHODWHGSROLFLHV$UP\DQG'R'UHJXODWLRQVDQGDSSOLFDEOH
   ORFDO6WDWH)HGHUDODQGKRVWQDWLRQODZV
        ,PSOHPHQWFRPPDQGHU¶VJXLGDQFHRQWKHH[HFXWLRQRIWKH6+$533URJUDPXQGHUWKHFRJQL]DQFHRIWKH'&6
   *± $5'
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        (QVXUH+5&EDFNJURXQGVFUHHQLQJDQGFRQILUP6+$53WUDLQLQJDXWKRUL]DWLRQZLWKWKH6+$53$FDGHP\IRU
   DOO6+$53SURIHVVLRQDOVZLWKLQWKHLUFRPPDQG
        (QVXUHUHVFUHHQLQJDQGUHFHUWLILFDWLRQDWDSSOLFDEOHLQWHUYDOVRIDOO6+$53SURIHVVLRQDOVZLWKLQWKHLUFRP
   PDQG
        0DLQWDLQUHFRUGVIRUDOO6+$53SURIHVVLRQDOVLQWKHLUFRPPDQG7KHVHUHFRUGVZLOOLQFOXGHFRSLHVRIWKHQRP
   LQDWLRQVFUHHQLQJFKHFNOLVW IRU6ROGLHUV FOHDUHGVFUHHQLQJ IRU'$&LYLOLDQV WUDLQLQJFHUWLILFDWH$6, IRU6ROGLHUV 
   '± 6$$&3FHUWLILFDWLRQDQGDSSRLQWPHQWPHPR
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        &RQGXFW RQJRLQJ DVVHVVPHQW WR HQVXUH FRQVLVWHQF\ DQG HIIHFWLYHQHVV RI WKH 6+$53 3URJUDP FRPSODLQDQW
   VHUYLFHVDQGYLFWLPFDUHWKURXJKRXWWKHFRPPDQG
        5HIHU6ROGLHUVUHSRUWLQJVH[XDOKDUDVVPHQWWRDIXOOWLPHEULJDGH6$5&
        (QVXUHWKH'&6* ± $5'UHFHLYHVWKHLQIRUPDWLRQDQGGRFXPHQWDWLRQQHFHVVDU\WRJUDQWDFFHVVWR'6$,'
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   DQG,&56WR6$5&VZLWKLQWKHLUFRPPDQG
        (QVXUHFROODERUDWLRQRIDOONH\6+$53VWDNHKROGHUV
        'HYHORSPHFKDQLVPVWRHQVXUHFRPSOLDQFHZLWK'R'DQG$UP\SROLF\DQGIRUDFFRXQWDELOLW\WKURXJKRXWWKH
   FRPPDQG
        6HUYHDVDOLDLVRQDQGFRQGXLWIRULQIRUPDWLRQIORZWRDQGIURP'&6* ± $5'
                                                                                             




        3URYLGHJXLGDQFHRQSURJUDPLPSOHPHQWDWLRQZLWKLQDUHDRIUHVSRQVLELOLW\
        0RQLWRUDQGHYDOXDWHFRPSOLDQFHZLWKSROLF\
        0RQLWRUDQGDVVHVVWUDLQLQJUHTXLUHPHQWVWKURXJKRXWWKHLUFRPPDQG
        3HUVRQDOO\HQVXUHWKDWDOO6+$53WUDLQLQJFRQGXFWHGFRUUHFWO\VWDWHVWKHODZ
        0DLQWDLQ FRJQL]DQFH RI GD\WRGD\ RSHUDWLRQ DQG UHSRUWLQJ UHTXLUHPHQWV IRU WKH FRPPDQG 3UHSDUH 320
   VXEPLVVLRQVVSHQGLQJSODQVDQGPDQQLQJUHTXLUHPHQWVVXEPLVVLRQVDVUHTXLUHGE\'&6* ± $5'       




        6XEPLWTXDUWHUO\DQGPLG\HDUUHYLHZEXGJHWH[HFXWLRQDQGGHYLDWLRQUHSRUWVWRWKH'&6*$5'
        &RQGXFW6+$533URJUDPDVVHVVPHQWVPRQLWRUWUHQGVLGHQWLI\V\VWHPLFLVVXHVDQGEHVWSUDFWLFHVGHYHORS
   DSSURSULDWHFRUUHFWLYHDFWLRQVDVQHFHVVDU\
        &RQGXFWURXWLQHDVVHVVPHQWVRI6+$53KRWOLQHVDQGFRPPDQGZHEVLWHVDVVLVWLQIDFLOLWDWLQJFRUUHFWLYH
   DFWLRQV
        )DFLOLWDWHGHYHORSPHQWDQGFROODERUDWLRQRI6+$53SXEOLFDZDUHQHVVFDPSDLJQV
        $VVXPHWKHGXWLHVRID6$5&RU6+$539$LIQHHGHG



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                                                     $5±-XO\                                                 
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       D (QVXUHSURJUDPFRQWLQXLW\LQWKHHYHQWRIDSRVLWLRQYDFDQF\
       E &RRUGLQDWHDQGSDUWLFLSDWHLQWKH6$5%DVDOHDG6$5&6$5&RU6+$539$LIQHHGHG
        7UDFNDQGUHSRUWH[SHGLWHGWUDQVIHUUHTXHVWVDQGHQVXUHFRPSOLDQFHZLWKDSSHQGL[,
        ,IWKHDUHDRIUHVSRQVLELOLW\LQFOXGHVD6+$53UHVRXUFHFHQWHU²
       D 2YHUVHH6+$53UHVRXUFHFHQWHUFRPSOLDQFHZLWKDSSOLFDEOHSROLF\UHJXODWLRQVDQGJXLGDQFH
       E &RRUGLQDWHWKHUHVRXUFLQJDQGVXVWDLQPHQWRIWKH6+$53UHVRXUFHFHQWHU
      [7KH6$5&LVD'$&LYLOLDQRU6ROGLHUZKRUHSRUWVGLUHFWO\WRWKH6&IRUPDWWHUVFRQFHUQLQJVH[XDOKDUDVVPHQW
   VH[XDODVVDXOW6$5&VZLOOEHDQ1&2 6)&RUKLJKHU RU'$&LYLOLDQ JHQHUDOVFKHGXOH *6 RUKLJKHU 7KH
   DSSRLQWLQJDXWKRULW\IRU6$5&VLVWKHILUVW*2RU6(6LQWKHQRPLQDWHG6$5&¶VFKDLQRIFRPPDQG
        $OO6$5&VDUHDXWKRUL]HGWRSHUIRUPYLFWLPDGYRFDWHGXWLHV,WLVDGYDQWDJHRXVWKDW6$5&VKDYHH[SHULHQFH
   DVD9$
        )RU6$5&VWKDWRSHUDWHZLWKLQGHSOR\DEOHFRPPDQGVWKDWDUHQRWDWWDFKHGWRDQLQVWDOODWLRQWKH\PXVWKDYH
   DFFHVVWRWKH6&IRUWKHGHSOR\DEOHFRPPDQG
        $OO6$5&VZLOO²
       D 6HUYHDVWKHSRLQWRIFRQWDFWIRUFRRUGLQDWLQJFDUHWRHQVXUHWKDWVH[XDOKDUDVVPHQWDQGVH[XDODVVDXOWYLFWLPV
   UHFHLYHDSSURSULDWHDQGUHVSRQVLYHFDUH
       E (QVXUHDGYRFDF\VHUYLFHVDUHDYDLODEOHKRXUVDGD\GD\VDZHHNIRUDOOYLFWLPVHOLJLEOHIRU6+$53VHU
   YLFHV
      6$5&VZLOOUHVSRQGRUGLUHFWD6+$539$RU95WRUHVSRQGWRHYHU\UHVWULFWHGDQGXQUHVWULFWHGUHSRUWRI
   VH[XDODVVDXOW7KHUHVSRQVHZLOOEHLQSHUVRQXQOHVVRWKHUZLVHUHTXHVWHGE\WKHYLFWLP
      ,QVRPHVLWXDWLRQVDVH[XDODVVDXOWYLFWLPPD\UHFHLYHPHGLFDOFDUHDQGD6$)(RXWVLGHRIDPLOLWDU\LQVWDOODWLRQ
   XQGHUDQ028RU02$ZLWKORFDOSULYDWHRUSXEOLFVHFWRUHQWLWLHV,QWKHVHFDVHVSXUVXDQWWRWKH028RU02$WKH
   6$5&ZLOOEHQRWLILHGDQGD6$5&6+$539$RU95ZLOOUHVSRQG
       F &RRUGLQDWHDQGHVWDEOLVKUHODWLRQVKLSVZLWKFLYLOLDQUHVRXUFHVRIISRVWLQRUGHUWRUHIHUYLFWLPVWRQRQPLOLWDU\
   DIILOLDWHGUHVRXUFHVVKRXOGWKHYLFWLPFKRRVHWRXVHWKHP
       G (QVXUHYLFWLPVHUYLFHVDUHLQSODFHWRSURYLGHLQIRUPDWLRQDQGHPRWLRQDOVXSSRUWGXULQJDGPLQLVWUDWLYHPHGL
   FDOLQYHVWLJDWLYHDQGOHJDOSURFHGXUHVWKDWYLFWLPVXQGHUVWDQGWKHSURFHVVHVLQYROYHGDQGWKDWGDWDZLOOEHFROOHFWHG
   UHSRUWHGDQGPDLQWDLQHGRQFDVHV
       H (QVXUHVH[XDODVVDXOWYLFWLPVDUHSURSHUO\DGYLVHGRIWKHUROHDQGDYDLODELOLW\RIDYLFWLPDGYRFDWHDQGYLFWLPV¶
   ULJKWV
       I (QVXUHVH[XDODVVDXOWYLFWLPVDUHSURSHUO\DGYLVHGRIWKHLUSRWHQWLDOHOLJLELOLW\IRUDQ69&E\FRRUGLQDWLQJZLWK
   WKH VHUYLFLQJ OHJDO RIILFH UHJDUGLQJ 69& VHUYLFHV DVVLVWDQFH SURYLGHG E\ D 6$5& DQG DVVLVWDQFH SURYLGHG E\ D
   6+$539$RU95DVVRRQDVWKH\VHHNDVVLVWDQFHIURPD6$5&6+$539$RU9586$&,'&9:/RUWULDO
   FRXQVHO
      /HJDODVVLVWDQFHDQG6+$53VHUYLFHVDUHRSWLRQDODQGPD\EHGHFOLQHGLQZKROHRULQSDUWDWDQ\WLPH
      ,QIRUPDWLRQUHJDUGLQJWKHDYDLODELOLW\RIDQ69&ZLOOEHSURYLGHGWRDYLFWLPEHIRUH86$&,'&RUWULDOFRXQVHO
   LQWHUYLHZVRUUHTXHVWVDQ\VWDWHPHQWIURPWKHYLFWLP
      $VVLVWDQFHIURPDQ69&6$5&6+$539$RU95DUHDYDLODEOHZKHWKHUDYLFWLPKDVPDGHDUHVWULFWHGRU
   XQUHVWULFWHGUHSRUW
       J 0DLQWDLQOLDLVRQVZLWKWKHSURYRVWPDUVKDORIILFHU86$&,'&PHGLFDODQGOHJDOVHUYLFHVDQGFRPPDQGHUVWR
   IDFLOLWDWHLPPHGLDWHUHVSRQVHWRDQGDFFXUDWHUHSRUWLQJRIVH[XDODVVDXOWV
       K $VVLVWFRPPDQGHUVLQGHYHORSLQJHVWDEOLVKLQJDQGLPSOHPHQWLQJSUHYHQWLRQVWUDWHJLHVDFWLYLWLHVSURJUDPV
   DQGHIIRUWV
       L (QVXUHDOOXQUHVWULFWHGUHSRUWVRIVH[XDODVVDXOWGRFXPHQWHGZLWKDVLJQHG'')RUP 9LFWLP5HSRUWLQJ
   3UHIHUHQFH 6WDWHPHQW  DUH UHSRUWHG WR 86$&,'& LPPHGLDWHO\ 7KH 6$5& ZLOO DOVR LQIRUP WKH 6& DQG WKH ILUVW
   /7&2± LQWKHYLFWLP¶VFKDLQRIFRPPDQGRIDQXQUHVWULFWHGUHSRUWZLWKLQKRXUVRIUHFHLSW
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       M 7UDFNVHUYLFHVSURYLGHGWRYLFWLPVRIVH[XDODVVDXOWIURPLQLWLDOUHSRUWRIVH[XDODVVDXOWWKURXJKGLVSRVLWLRQDQG
   UHVROXWLRQRUXQWLOWKHYLFWLPQRORQJHUZLVKHVWRUHFHLYH6+$53VHUYLFHV,ID6$5&LVQRWDXWKRUL]HGWRKDYHDFFHVV
   WR '6$,' WKH\ ZLOO FRRUGLQDWH ZLWK WKH ILUVW IXOOWLPH EULJDGHOHYHO 6$5& LQ WKHLU FKDLQ RI FRPPDQG WR HQVXUH
   VHUYLFHVDUHSURSHUO\WUDFNHG
      (QWHULQIRUPDWLRQLQWR'6$,'ZLWKLQKRXUVRIWKHUHSRUWRIVH[XDODVVDXOW,QGHSOR\HGORFDWLRQVWKDWKDYH
   LQWHUQHWFRQQHFWLYLW\LVVXHVWKHWLPHIUDPHLVH[WHQGHGWRKRXUV
      0DLQWDLQLQ'6$,'DQDFFRXQWRIWKHVHUYLFHVUHIHUUHGWRDQGUHTXHVWHGE\WKHYLFWLPIRUDOOUHSRUWHGVH[XDO
   DVVDXOWV IURPWKHWLPHRIWKHLQLWLDOUHSRUWWKURXJKWKH ILQDOFDVHGLVSRVLWLRQRU XQWLOWKHYLFWLP QRORQJHUGHVLUHV
   VHUYLFHV,IWKHYLFWLPUHTXHVWV6+$53VHUYLFHVIURPWKH6$5&RU6+$539$DIWHUWKHLU6+$53FDVHKDVEHHQ
   FORVHGWKHFDVHLVUHRSHQHGDQGDGGUHVVHGDWWKH6$5%



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       N 6DIHJXDUGFRQILGHQWLDOFRPPXQLFDWLRQVSHUWDLQLQJWRYLFWLPV,WLVLPSHUDWLYHIRUWKHLQWHJULW\RIWKH6+$53
   3URJUDPWKDWVWHSVEHWDNHQWRSUHYHQWXQDXWKRUL]HGUHDGLQJSULQWLQJUHWDLQLQJFRS\LQJRUGLVVHPLQDWLRQRILQIRU
   PDWLRQPHVVDJHVRUFRUUHVSRQGHQFHUHYHDOLQJSHUVRQDOO\LGHQWLILDEOHLQIRUPDWLRQLQDFFRUGDQFHZLWKH[LVWLQJUXOHV
   DQGUHJXODWLRQV
       O 0DLQWDLQWKHVLJQHG'')RUPLQDVHFXUHILOHFDELQHWXQGHUGRXEOHORFNDQGNH\
       P (QVXUHDOO6+$533URJUDPUHFRUGVDUHPDLQWDLQHGXQGHUGRXEOHORFNDQGNH\
       Q 0DLQWDLQDFRS\WKHLUDSSRLQWPHQWPHPR
       R 0DLQWDLQUHFRUGVVKRZLQJFHUWLILFDWLRQDV6$5&DQGFRPSOHWLRQRIDOOUHTXLUHGWUDLQLQJ
       S (QVXUHWKH6+$5330UHFHLYHVDFRS\RIWKHDSSRLQWPHQWPHPR' ± 6$$&3FHUWLILFDWLRQ'')RUP
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    'HSDUWPHQWRI'HIHQVH6H[XDO$VVDXOW$GYRFDWH&HUWLILFDWLRQ3URJUDP ' ± 6$$&3 $SSOLFDWLRQ3DFNHWIRU1HZ
                                                                                             




   $SSOLFDQWV SDFNHWDQGDOOHYLGHQFHRIFRPSOHWLQJWKHUHTXLUHGLQLWLDOWUDLQLQJDQGFRQWLQXLQJHGXFDWLRQ
       T 0DLQWDLQDURVWHURIFHUWLILHG9$VZLWKLQWKHFRPPDQG
       U (QVXUHWKDWQR6+$53FDVHLVFRQYHUWHGIURPUHVWULFWHGWRXQUHVWULFWHGZLWKRXWVLJQHGSHUPLVVLRQIURPWKH
   YLFWLP GRFXPHQWHG RQ D '' )RUP  ,I 86$&,'& RSHQV DQ LQYHVWLJDWLRQ EDVHG RQ D WKLUGSDUW\ UHSRUW WKDW
   LQYHVWLJDWLRQZLOOEHLQFOXGHGLQ'6$,'DVDFDVHLQ³2SHQZLWK/LPLWHG,QIRUPDWLRQ´VWDWXVHYHQLILWLVDGXSOLFDWH
   RIDUHVWULFWHGUHSRUW,IWKHYLFWLPGHFLGHVDWDODWHUGDWHWRFRQYHUWWKHUHVWULFWHGUHSRUWWRDQXQUHVWULFWHGUHSRUWWKH
   6$5&ZLOOPDNHDSSURSULDWHFKDQJHVWRWKHUHVWULFWHGUHSRUWLQ'6$,'DQGFRQWDFWWKH'&6* ± $5'KHOSGHVNWR
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   UHPRYHWKHGXSOLFDWHUHSRUWLQ'6$,'
       V 6HUYHDVD9$LIUHTXHVWHG
       W &RRUGLQDWHDOOFRPPXQLFDWLRQZLWKWKH'&6* ± $5'WKURXJKWKHLU$&20$6&&DQG'5830
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       X $WWHQGWKHPRQWKO\6$5%UHJDUGOHVVLIWKH\KDYHDQRSHQFDVH
       Y &ROODWHUDO GXW\6$5&VDVVLJQHGWR PLOLWDU\SROLFHXQLWV PXVW QRWSURYLGH6$5&RU9$ VHUYLFHVRXWVLGH RI
   PLOLWDU\SROLFHXQLWV,IDYLFWLPZKRLVQRWDQ03GLVFORVHVDVH[XDODVVDXOWRUDFWRIVH[XDOKDUDVVPHQWWRD6+$53
   SURIHVVLRQDOZLWKLQDQ03XQLWWKDW6+$53SURIHVVLRQDOPXVWUHIHUWKHYLFWLPWRD6+$53SURIHVVLRQDOZKRFDQ
   SURYLGHVHUYLFHVWRWKDWYLFWLP
      \,QDGGLWLRQWRDOOWKH6$5&GXWLHVOLVWHGLQSDUDJUDSK±YEULJDGHDQGEULJDGHHTXLYDOHQW6$5&VZLOO²
        $FFHSWDQGSURFHVVLQIRUPDOIRUPDODQGDQRQ\PRXVVH[XDOKDUDVVPHQWFRPSODLQWV7KLVUHVSRQVLELOLW\FDQQRW
   EHGHOHJDWHGWRD9$
        $VVLVW DQG VXSSRUW VH[XDO KDUDVVPHQW FRPSODLQDQWV DQG YLFWLPV LQ DFFRUGDQFH ZLWK 'R''  'R',
   DQG'R',&RPSODLQDQWVDQGYLFWLPVZLOOEHSURYLGHGDGHTXDWHSURWHFWLRQDQGFDUHDQGLQIRUPHG
   DERXWDYDLODEOHVXSSRUWUHVRXUFHVLQFOXGLQJ
       D 0LOLWDU\DQGFLYLOLDQHPHUJHQF\PHGLFDODQGVXSSRUWVHUYLFHV
       E 3XEOLFDQGSULYDWHSURJUDPVWKDWDUHDYDLODEOHWRSURYLGHFRXQVHOLQJWUHDWPHQWDQGRWKHUVXSSRUW
       F 2UJDQL]DWLRQVDQGHQWLWLHVRQDQGRIIEDVHWKDWSURYLGHYLFWLPDQGZLWQHVVVHUYLFHVDQGVXSSRUW
        (QVXUHIRUPDODQGDQRQ\PRXVVH[XDOKDUDVVPHQWFRPSODLQWVDUHSURSHUO\GRFXPHQWHGRQ'$)RUP 6H[
   XDO+DUDVVPHQW&RPSODLQW DQGHQWHUHGLQWR,&56
        7UDFNDWDPLQLPXPZKDWVXERUGLQDWHXQLWVUHTXLUH6+$53SURIHVVLRQDOVWKHURVWHURIWUDLQHGDQGFHUWLILHG
   6+$53SURIHVVLRQDOVWKHVWDWXVRIWKHLU' ± 6$$&3FHUWLILFDWLRQWKHFRQWLQXLQJHGXFDWLRQWKH\KDYHFRPSOHWHGDQG
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   WKHLUURWDWLRQGDWHV 3&6DQGH[SLUDWLRQWHUPRIVHUYLFH XVLQJ'6$,'
        (QVXUHHQWU\RIFDVHGDWDLQWR'6$,'ZLWKLQKRXUVRIWKHYLFWLPVLJQLQJD'')RUP)RUGHSOR\HG
   ORFDWLRQVGDWDVKRXOGEHHQWHUHGZLWKLQKRXUVRIYLFWLPUHVSRQVH
        0DLQWDLQLQ'6$,'DQDFFRXQWRIWKHVHUYLFHVUHIHUUHGWRDQGUHTXHVWHGE\WKHYLFWLPIURPPHGLFDOWUHDWPHQW
   WKURXJKFRXQVHOLQJDQGIURPWKHWLPHRIWKHLQLWLDOUHSRUWWKURXJKWKHILQDOFDVHGLVSRVLWLRQRUXQWLOWKHYLFWLPQR
   ORQJHUGHVLUHVVHUYLFHV8SGDWHHDFKYLFWLP¶VFDVHLQ'6$,'ZLWKLQKRXUVRIUHFHLSWRIQHZLQIRUPDWLRQFOLHQW
   FRQWDFWDQG6$5%XQWLOWKH6+$53FDVHLVFORVHG
      ]2QLQVWDOODWLRQVZLWKPRUHWKDQRQH6$5&WKH6&ZLOODSSRLQWDOHDG6$5&,WLVQRWUHTXLUHGWRKLUHRUDSSRLQW
   DQLQGLYLGXDOVSHFLILFDOO\WRILOOWKHUROHRIOHDG6$5&DQ\H[LVWLQJ6$5&RQWKHLQVWDOODWLRQFDQEHDSSRLQWHGDVWKH
   OHDG6$5&7KH6&VKRXOGVHOHFWD)XOO7LPH6$5&DVVLJQHGWRWKHLUFRPPDQGDVWKHOHDG6$5&7KHOHDG6$5&
   LVVXSSRUWHGE\DQG ZRUNVLQFROODERUDWLRQ ZLWK WKH VXSSRUWLQJ6+$5330DVDSSURSULDWH,QDGGLWLRQWRDOOWKH
   6$5&GXWLHVOLVWHGLQSDUDJUDSKV±[WKHOHDG6$5&ZLOO²
        6HUYHDVWKHFRFKDLURIWKH6$5%FRPSLOH6$5%DJHQGDDQGHQVXUHDOOUHWDOLDWLRQFDVHVDUHWUDFNHGXQWLO
   UHVROYHG
        5HYLHZWKH+4'$PRQWKO\4&UHSRUWVDQGFRRUGLQDWHZLWKEULJDGH6$5&VDQG86$&,'&WRHQVXUHHUURUV
   DUHUHVROYHGDQGPLVVLQJFRUUHFWHGGDWDLVHQWHUHGLQWR'6$,'XSRQUHFHLSWRIWKHPRQWKO\4&UHSRUW/HDG6$5&V
   ZLOOLPPHGLDWHO\LQIRUPWKH'&6* ± $5'RIDQ\XQUHVROYHGHUURUV
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   1RWH,QRUGHUIRUHUURUVWREHFOHDUHGIURPWKH4&UHSRUWFRUUHFWLRQVZLOOEHPDGHQRODWHUWKDQWKHWKRIWKHPRQWK
        $WHDFK6$5%DGGUHVVDFWLRQVWDNHQWRUHVROYHDOO'6$,'GDWDHUURUVDQGUHFRQFLOLDWLRQRI86$&,'&VH[XDO
   DVVDXOWFDVHLQYHVWLJDWLRQVUHSRUWHGDVPLVVLQJIURP'6$,'RQWKHPRQWKO\4&UHSRUW
        &ROOHFWDQGUHSRUWUHWDOLDWLRQGDWDWRWKH6+$5330
        6XSSRUWWKH6&WHQDQWFRPPDQGHUVDQGRWKHU6$5&VWRHQVXUHDQLQWHJUDWHGDQGWUDQVSDUHQWUHVSRQVHFDSD
   ELOLW\DQGV\VWHPDFFRXQWDELOLW\
        6XSSRUW6$5&VLQWKHLUHIIRUWVWRSURYLGHTXDOLW\YLFWLPFDUH
        (VWDEOLVKDVWDQGDUGRSHUDWLQJSURFHGXUHIRUFROOHFWLQJWKHUHTXLUHGLQIRUPDWLRQIRU'6$,'
        ,QFRQVXOWDWLRQDQGFRRUGLQDWLRQZLWKWKH6-$IRUWKH6&DQGRWKHUFRQFHUQHGSDUWLHV IRUH[DPSOH86$&,'&
   KHDOWKFDUHSHUVRQQHO HQVXUH028VDUHHVWDEOLVKHGZLWKRIISRVWQRQPLOLWDU\IDFLOLWLHVRUDJHQFLHVDVDSSURSULDWHIRU
   YLFWLPFDUHDQGFRPSOLDQFHZLWKWKHUHVWULFWHGUHSRUWLQJRSWLRQ
        ,QWKHDEVHQFHRID30SUHSDUHV320VXEPLVVLRQVVSHQGSODQVDQGPDQQLQJUHTXLUHPHQWVVXEPLVVLRQVDV
   UHTXLUHGE\'&6* ± $5'
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      DD,QDGGLWLRQWRWKH6$5&GXWLHVOLVWHGLQSDUDJUDSK± FROODWHUDOGXW\6$5&VZLOO²
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        5HIHU6ROGLHUVUHSRUWLQJVH[XDOKDUDVVPHQWWRWKHIXOOWLPHEULJDGHOHYHO6$5&
        3URYLGHWKHEULJDGH6$5&ZLWK6+$53UHODWHGGDWDDQGFDVHLQIRUPDWLRQDVUHTXHVWHG
        &ROODERUDWHZLWKWKHIXOOWLPHEULJDGHOHYHO6$5&VDQGWKHOHDG6$5&WRH[SHGLWHWKHIORZRILQIRUPDWLRQWR
   DQGIURPWKHILHOGDQGWRHQVXUHTXDOLW\YLFWLPFDUH
      EE6+$539$VDUH'$&LYLOLDQVRU6ROGLHUVWUDLQHGWRSURYLGHDGYRFDF\VHUYLFHVWRYLFWLPVRIVH[XDODVVDXOWDQG
   FRPSODLQDQWVDQGYLFWLPVRIVH[XDOKDUDVVPHQW7KH6+$539$ZLOOEHDQ1&2 66*RUKLJKHU RU'$&LYLOLDQ
    *6± RUKLJKHU 7KH6+$539$UHSRUWVGLUHFWO\WRWKHLU6$5&IRUVH[XDODVVDXOWDQGVH[XDOKDUDVVPHQWFDVHV7KH
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   6+$539$ZLOO²
        (VWDEOLVKFRQWDFWZLWKHDFKYLFWLPZKRUHSRUWVWKDWDQDFWRIVH[XDODVVDXOWRUVH[XDOKDUDVVPHQWRFFXUUHGLI
   WKHYLFWLPLVUHFHSWLYHWRVXFKFRQWDFW$GYLVHHDFKYLFWLPRIWKHUROHDQGDYDLODELOLW\RIDYLFWLPDGYRFDWHYLFWLP
   ULJKWVDQGKLVRUKHUSRWHQWLDOULJKWWRDQ69&E\FRRUGLQDWLQJZLWKWKHVHUYLFLQJOHJDORIILFHUHJDUGLQJ69&VHUYLFHV
   7KHYLFWLPDORQHZLOOGHFLGHZKHWKHUWRDFFHSWWKHRIIHURIYLFWLPDGYRFDF\VHUYLFHVDQGRUDQ69&
        $GYLVHYLFWLPVRQWKHLURSWLRQVIRUUHVWULFWHGDQGXQUHVWULFWHGUHSRUWLQJZKHQDVVLJQHGDVH[XDODVVDXOWDQGFDVH
   E\WKH6$5&HQVXUHYLFWLPDFNQRZOHGJHVLQZULWLQJWKHLUSUHIHUHQFHIRUUHVWULFWHGRUXQUHVWULFWHGUHSRUWLQJXVLQJ''
   )RUP
       D ,IWKHYLFWLPFKRRVHVWKHUHVWULFWHGUHSRUWLQJRSWLRQWKH6+$539$ZLOOHQVXUHWKHYLFWLPZLWKWKHLUFRQVHQW
   LVWDNHQWRDKHDOWKFDUHSURYLGHULQOLHXRIUHSRUWLQJWKHVH[XDODVVDXOWWRODZHQIRUFHPHQWRUFRPPDQG
       E ,IWKHYLFWLPFKRRVHVWKHXQUHVWULFWHGUHSRUWLQJRSWLRQWKH6+$539$ZLOOLPPHGLDWHO\QRWLI\WKH6$5&ZKR
   ZLOOLPPHGLDWHO\QRWLI\86$&,'&
       F ,IWKHYLFWLPFKRRVHVWKHUHVWULFWHGUHSRUWLQJRSWLRQWKH6+$539$ZLOOSURYLGHLQIRUPDWLRQWRWKH6$5&
   ZKRZLOOLQWXUQIRUWKHSXUSRVHVRISXEOLFVDIHW\DQGFRPPDQGUHVSRQVLELOLW\UHSRUWWKHVH[XDODVVDXOWZLWKRXWLQIRU
   PDWLRQWKDWFRXOGUHDVRQDEO\OHDGWRSHUVRQDOLGHQWLILFDWLRQRIWKHYLFWLPWRWKH6&ZLWKLQKRXUVIURPWKHWLPHWKH
   YLFWLPVLJQHGWKH'')RUP1RRWKHUQRWLILFDWLRQWRDQ\RWKHUFRPPDQGHUZLOOWDNHSODFH
        %HLQIRUPHGDERXWVHUYLFHVDYDLODEOHWRVH[XDODVVDXOWYLFWLPVRQWKHLQVWDOODWLRQDVZHOODVLQWKHVXUURXQGLQJ
   FRPPXQLW\7KH6+$539$ZLOOPDLQWDLQDZDUHQHVVRIDJHQFLHVWKDWSURYLGHVXFKVHUYLFHVEHLQJNQRZOHGJHDEOH
   RIWKHORFDWLRQWHOHSKRQHQXPEHUFRQILGHQWLDOLW\SROLFLHVDQGSURFHGXUHVIRUDFFHVVLQJVHUYLFHDWWKHVHDJHQFLHV
        3URYLGHFULVLVLQWHUYHQWLRQUHIHUUDOVDQGRQJRLQJHPRWLRQDOVXSSRUWWRVH[XDODVVDXOWDQGVH[XDOKDUDVVPHQW
   YLFWLPV6HUYLFHVPXVWEHQRQFOLQLFDOLQQDWXUH7KHYLFWLPKDVWKHULJKWWRLQGHSHQGHQWO\GHWHUPLQHZKHWKHUWRDFFHSW
   WKHRIIHURI9$VHUYLFHV7KH6+$539$PXVWEHVHQVLWLYHWRWKHQHHGVRIHDFKYLFWLPDQGWDLORUVHUYLFHVWRPHHW
   WKRVHQHHGV
        3URYLGHLQLWLDOLQIRUPDWLRQWRYLFWLPVRQWKHLUULJKWVWRLQFOXGHWKHULJKWWRUHIXVHVHUYLFHVDQGH[SODLQWKH
   VFRSHDQGOLPLWDWLRQVRIWKH6+$539$¶VUROHDVDQDGYRFDWH
        ,PPHGLDWHO\LQIRUPWKH6$5&XSRQUHFHLYLQJDUHSRUWRIVH[XDODVVDXOWRUVH[XDOKDUDVVPHQWWKH6$5&ZLOO
   SURYLGHVXSSRUWDQGDVVLVWDQFHWRWKH6+$539$LQFOXGLQJOLDLVLQJZLWKFRPPDQGHUV86$&,'&DQGRWKHU)LUVW
   5HVSRQGHUV
        $FFRPSDQ\WKHYLFWLPGXULQJLQYHVWLJDWLYHLQWHUYLHZVDQGPHGLFDOH[DPLQDWLRQVXQOHVVWKHYLFWLPFKRRVHV
   QRWWRXVHWKH6+$539$¶VVHUYLFHV7KH6+$539$ZLOOQRWPDNHGHFLVLRQVIRUWKHYLFWLPSURYLGHOHJDODGYLFH
   RULQWHUIHUHZLWKWKHOHJLWLPDWHRSHUDWLRQVRIPHGLFDOLQYHVWLJDWLYHDQGMXGLFLDOSURFHVVHV
        &RRUGLQDWHDFWLYLWLHVZLWKWKH6$5&WRHQVXUHWKHEHVWVHUYLFHVDUHSURYLGHGWRYLFWLPVDQGWRDYRLGGXSOLFDWLRQ
   RIVHUYLFHV




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        3URYLGHXSGDWHVUHJDUGLQJYLFWLPV¶FRQFHUQVDQGVWDWXVWRWKH6$5&DWDQLQWHUYDOGHWHUPLQHGE\WKH6$5&RU
   PRUHIUHTXHQWO\LIWKHVLWXDWLRQZDUUDQWV
        3URYLGHRQFDOOVHUYLFHVDIWHUQRUPDOGXW\KRXUVWRYLFWLPVRIVH[XDODVVDXOWDVQHHGHG)XOO\LQIRUPWKH6$5&
   RIDOODFWLYLWLHVWKDWRFFXUUHGGXULQJWKHRQFDOOGXW\SHULRGZLWKLQWKHILUVWKRXUVRIWKHQH[WGXW\GD\
        3URYLGHHGXFDWLRQDQGWUDLQLQJRQWKHVXEMHFWRIVH[XDODVVDXOWWR95V6+$539$VDQGRWKHUVDVUHTXLUHG
        6DIHJXDUGGRFXPHQWVLQWKHLUSRVVHVVLRQDQGDOZD\VEHLQJPLQGIXORIWKHYLFWLPV¶ULJKWWRFRQILGHQWLDOLW\
   XQWLOWKHGRFXPHQWVFDQEHWXUQHGRYHUWRWKH6$5&
        $WWHQGRQJRLQJWUDLQLQJDVUHTXLUHGRUUHFRPPHQGHGE\WKH6$5&
        $VVLVWRWKHU6+$539$VLQWKHSHUIRUPDQFHRIWKHLUGXWLHVDVGLUHFWHGE\WKH6$5&
        5HIHU6ROGLHUVUHSRUWLQJVH[XDOKDUDVVPHQWWRWKHIXOOWLPHEULJDGHOHYHO6$5&
        &RRUGLQDWHDOOFRPPXQLFDWLRQZLWKWKH'&6* ± $5'WKURXJKWKHLU6$5&DQG30
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        &ROODWHUDO GXW\ 6+$53 9$V DVVLJQHG WR PLOLWDU\ SROLFH XQLWV DQG PXVW QRW SURYLGH 6+$53 9$ VHUYLFHV
   RXWVLGHRIPLOLWDU\SROLFHXQLWVLIDYLFWLPZKRLVQRWDQ03GLVFORVHVDVH[XDODVVDXOWRUDFWRIVH[XDOKDUDVVPHQWWR
   D6+$53SURIHVVLRQDOZLWKLQDQ03XQLWWKDW6+$53SURIHVVLRQDOPXVWUHIHUWKHYLFWLPWRD6+$53SURIHVVLRQDO
   ZKRFDQSURYLGHVHUYLFHVWRWKDWYLFWLP
      FF95VDUH'$&LYLOLDQV *6 ± DQGDERYH ZKRKDYHYROXQWHHUHGIRUDQGDUHDSSRLQWHGWRSHUIRUPFROODWHUDO
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   6+$539$GXWLHV95VSURYLGHDVVLVWDQFHDQGUHIHUUDOVWRYLFWLPVRIVH[XDODVVDXOWDQGVH[XDOKDUDVVPHQWXQGHUWKH
   JXLGDQFH DQG RYHUVLJKW RI WKH SDUHQW RUJDQL]DWLRQ¶V DVVLJQHG IXOOWLPH OHYHO 9$ 7KH\ DOVR UHFHLYH JXLGDQFH DQG
   DVVLVWDQFHIURPWKHSDUHQWRUJDQL]DWLRQ¶V6$5&95VDUHVXEMHFWWRWKHVDPHVFUHHQLQJDQGFHUWLILFDWLRQUHTXLUHPHQWV
   DV6+$539$V95VZLOO²
        ,QFRRUGLQDWLRQZLWKWKH6+$539$DVVHVVWKHXUJHQF\RIFDVHVGHYHORSVDSURSRVHGSODQIRUDVVLVWDQFHDQG
   LPSOHPHQWVWKHSODQDIWHUWKH6+$539$¶VDSSURYDO
        3HUIRUPYLFWLPDGYRFDF\GXWLHVDVUHTXLUHGDQGUHTXHVWHG
        5HIHU6ROGLHUVUHSRUWLQJVH[XDOKDUDVVPHQWWRWKHIXOOWLPHEULJDGH6$5&
        3ULRULWL]H6+$53GXWLHVZKHQUHTXLUHGWREHSHUIRUPHGRYHUWKH95¶VIXOOWLPHGXWLHV
      GG7UDLQLQJ,QVWUXFWRUVDUH'$&LYLOLDQV*6 ± RUKLJKHU7UDLQHUVPXVWFRPSOHWHWKH6$5&9$&DUHHU&RXUVH
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   DQGWKH6+$537UDLQHU&RXUVH$QDSSURYHGH[FHSWLRQWRSROLF\VLJQHGE\WKH'LUHFWRU'&6* ± $5'LVUHTXLUHG
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   IRU6ROGLHUVWRDWWHQGWKH6+$537UDLQHU&RXUVH7UDLQLQJ,QVWUXFWRUVZLOO²
        7UDLQ6+$53SURIHVVLRQDOVWKURXJKWKH6+$53)RXQGDWLRQ&RXUVH
        3URYLGHLQSXWWRWKHPRGLILFDWLRQRIFXUUHQW6+$53WUDLQLQJPDWHULDOVWRPHHWQHZDQGUHYLVHGPLVVLRQRE
   MHFWLYHV
        6XSSRUW6+$53DQQXDOSUHGHSOR\PHQWDQGSRVWGHSOR\PHQWWUDLQLQJDVUHTXLUHG
        0DLQWDLQFXUUHQWH[SHUWNQRZOHGJHRIWKH6+$533URJUDPDQGUHODWHGSROLF\SURFHVVHVDQGSURFHGXUHV
        3UHSDUHVWXGHQWUHFRUGV
        &RRUGLQDWHDOOFRPPXQLFDWLRQZLWKWKH'&6* ± $5'WKURXJKWKHLU30
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   ±3URJUDPIXQGDPHQWDOV
      D&RPPDQGHUVDQGVXSHUYLVRUVDWHDFKPDQDJHPHQWOHYHOPXVWFKDPSLRQDVWURQJ6+$533URJUDPDQGSURYLGH
   HIIHFWLYHHGXFDWLRQDQG6+$53DQQXDOWUDLQLQJIRUDOO6ROGLHUVDQG'$&LYLOLDQV&RPPDQGHUVDUHUHVSRQVLEOHIRU
   HQVXULQJDOOVXSHUYLVRUVDQGOHDGHUVXQGHUVWDQGWKHLU6+$53UHVSRQVLELOLWLHV
      E&RPPDQGHUVZKRUHFHLYHRUEHFRPHDZDUHRIDIRUPDORULQIRUPDOFRPSODLQWRIVH[XDOKDUDVVPHQWZLOOLQLWLDWH
   DFRPPDQGHU¶VLQTXLU\RU$5 ± LQYHVWLJDWLRQ,IWKHFRPSODLQWRIVH[XDOKDUDVVPHQWGHVFULEHVDVH[EDVHGRIIHQVH
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   SXQLVKDEOHXQGHUWKH8&0-WKHFRPPDQGHUZLOOUHIHUWKHFRPSODLQWWR86$&,'&IRULQYHVWLJDWLRQLPPHGLDWHO\
      F&RPPDQGHUVZKREHFRPHDZDUHRIUHSRUWHGRUVXVSHFWHGVH[XDODVVDXOWLQFOXGLQJUHSRUWVIURPDWKLUGSDUW\
   ZLOOLPPHGLDWHO\FRQWDFWWKH6$5&DQG86$&,'&&RPPDQGHUVZLOOQRWLQLWLDWHDQ\$5 ± LQYHVWLJDWLRQLQWR
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   UHSRUWVRIVH[XDODVVDXOWDQGZLOOFRQWDFWWKHLUVHUYLFLQJOHJDORIILFHIRUFRQVXOWDWLRQLILWLVXQFOHDUZKHWKHUDUHSRUWHG
   DFWLVVH[XDOKDUDVVPHQWRUVH[XDODVVDXOW
      G&RPPDQGHUV ZLOO QRW PDNH FUHGLELOLW\ DVVHVVPHQWV DV D SUHFXUVRU WR IRUZDUGLQJ UHSRUWV RI VH[XDO DVVDXOW WR
   86$&,'&RULQLWLDWLQJDXWKRUL]HGFRPPDQGLQYHVWLJDWLRQVLQWRFRPSODLQWVRIVH[XDOKDUDVVPHQW
      H&RPPDQGHUVZLOOHQIRUFHSULYDF\SURWHFWLRQV$OOFRPSODLQWVRIVH[XDOKDUDVVPHQWDQGUHSRUWVRIVH[XDODVVDXOW
   ZLOOEHKDQGOHGZLWKGLVFUHWLRQWRPDLQWDLQFRQILGHQWLDOLW\
      I7KH6$5%LVDGGUHVVHGLQDSSHQGL[)
      J'± 6$$&3FHUWLILFDWLRQUHTXLUHPHQWVDUHDGGUHVVHGLQDSSHQGL[*
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      K&RQILGHQWLDOLW\JXLGHOLQHVIRUUHVWULFWHGXQUHVWULFWHGUHSRUWLQJDUHDGGUHVVHGLQDSSHQGL[/




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   ±6H[XDOKDUDVVPHQW
      D7LWOH86&GHILQHVWKHWHUP³VH[XDOKDUDVVPHQW´WRPHDQDQ\RIWKHIROORZLQJ
        &RQGXFWWKDWLQYROYHVXQZHOFRPHVH[XDODGYDQFHVUHTXHVWVIRUVH[XDOIDYRUVDQGGHOLEHUDWHRUUHSHDWHGRI
   IHQVLYHFRPPHQWVRUJHVWXUHVRIDVH[XDOQDWXUHZKHQ²
       D 6XEPLVVLRQWRVXFKFRQGXFWLVPDGHHLWKHUH[SOLFLWO\RULPSOLFLWO\DWHUPRUFRQGLWLRQRIDSHUVRQ¶VMRESD\RU
   FDUHHURU
       E 6XEPLVVLRQWRRUUHMHFWLRQRIVXFKFRQGXFWE\DSHUVRQLVXVHGDVDEDVLVIRUFDUHHURUHPSOR\PHQWGHFLVLRQV
   DIIHFWLQJWKDWSHUVRQRU
       F 6XFKFRQGXFWKDVWKHSXUSRVHRUHIIHFWRIXQUHDVRQDEO\LQWHUIHULQJZLWKDQLQGLYLGXDO¶VZRUNSHUIRUPDQFHRU
   FUHDWHVDQLQWLPLGDWLQJKRVWLOHRURIIHQVLYHZRUNLQJHQYLURQPHQWDQG
       G ,VVRVHYHUHRUSHUYDVLYHWKDWDUHDVRQDEOHSHUVRQZRXOGSHUFHLYHDQGWKHYLFWLPGRHVSHUFHLYHWKHHQYLURQPHQW
   DVKRVWLOHRURIIHQVLYH
        $Q\XVHRUFRQGRQDWLRQE\DQ\SHUVRQLQDVXSHUYLVRU\RUFRPPDQGSRVLWLRQRIDQ\IRUPRIVH[XDOEHKDYLRU
   WRFRQWUROLQIOXHQFHRUDIIHFWWKHFDUHHUSD\RUMRERIDPHPEHURIWKH$UPHG)RUFHVRUD&LYLOLDQHPSOR\HHRIWKH
   'R'
        $Q\GHOLEHUDWHRUUHSHDWHGXQZHOFRPHYHUEDOFRPPHQWRUJHVWXUHRIDVH[XDOQDWXUHE\DQ\PHPEHURIWKH
   $UPHG)RUFHVRU&LYLOLDQHPSOR\HHRIWKH'R'
      E7KHUHLVQRUHTXLUHPHQWIRUFRQFUHWHSV\FKRORJLFDOKDUPWRWKHFRPSODLQDQWIRUEHKDYLRUWRFRQVWLWXWHVH[XDO
   KDUDVVPHQW %HKDYLRU LV VXIILFLHQW WR FRQVWLWXWH VH[XDO KDUDVVPHQW LI LW LV VR VHYHUH RU SHUYDVLYH WKDW D UHDVRQDEOH
   SHUVRQZRXOGSHUFHLYHDQGWKHFRPSODLQDQWGRHVSHUFHLYHWKHHQYLURQPHQWDVKRVWLOHRURIIHQVLYH
      F6H[XDOKDUDVVPHQWFDQRFFXUWKURXJKHOHFWURQLFFRPPXQLFDWLRQVLQFOXGLQJVRFLDOPHGLDRWKHUIRUPVRIFRP
   PXQLFDWLRQDQGLQSHUVRQ
      G7KHXVHRIGLVSDUDJLQJDQGRUVH[XDOL]HGWHUPVPD\FRQWULEXWHWRDQXQODZIXOKRVWLOHHQYLURQPHQWDQGWKXVZLOO
   QRWEHWROHUDWHG/HDGHUVDWDOOOHYHOVZLOOSURWHFWWKHLUWHDPVDJDLQVWVH[XDOKDUDVVPHQWDQGSURDFWLYHO\HQVXUHWKDW
   WKHLUHQYLURQPHQWVDUHIUHHIURPDOOIRUPVRIVH[XDOKDUDVVPHQW
      H7KLVSDUDJUDSKLVSXQLWLYHDQGYLRODWLRQVPD\EHSXQLVKHGXQGHU8&0-$UW/HDGHUVZKRIDLOWRDGGUHVV
   FRPSODLQWVRUGRFXPHQWVH[XDOKDUDVVPHQWPD\DOVREHVXEMHFWWRSXQLWLYHDQGRUDGYHUVHDGPLQLVWUDWLYHDFWLRQ
      I&DWHJRULHVRIVH[XDOKDUDVVPHQW²
        9HUEDO([DPSOHVRIYHUEDOVH[XDOKDUDVVPHQWPD\LQFOXGHWHOOLQJVH[XDOMRNHVXVLQJVH[XDOO\H[SOLFLWSUR
   IDQLW\WKUHDWVVH[XDOO\RULHQWHGFDGHQFHVRUVH[XDOFRPPHQWVZKLVWOLQJLQDVH[XDOO\VXJJHVWLYHPDQQHUDQGGH
   VFULELQJFHUWDLQDWWULEXWHVRIRQH¶VSK\VLFDODSSHDUDQFHLQDVH[XDOPDQQHU9HUEDOVH[XDOKDUDVVPHQWPD\DOVRLQFOXGH
   XVLQJWHUPVRIHQGHDUPHQWVXFKDVKRQH\³EDEH³VZHHWKHDUW³GHDU³VWXGRU³KXQNLQUHIHUULQJWR6ROGLHUV
   '$&LYLOLDQFRZRUNHUVRU)DPLO\PHPEHUV
        1RQYHUEDO([DPSOHVRIQRQYHUEDOVH[XDOKDUDVVPHQWPD\LQFOXGHFRUQHULQJRUEORFNLQJDSDVVDJHZD\LQ
   DSSURSULDWHO\RUH[FHVVLYHO\VWDULQJDWVRPHRQHEORZLQJNLVVHVZLQNLQJRUOLFNLQJRQH¶VOLSVLQDVXJJHVWLYHPDQQHU
   1RQYHUEDOVH[XDOKDUDVVPHQWDOVRLQFOXGHVRIIHQVLYHSULQWHGPDWHULDO IRUH[DPSOHGLVSOD\LQJVH[XDOO\RULHQWHGSLF
   WXUHVRUFDUWRRQV XVLQJHOHFWURQLFFRPPXQLFDWLRQVDVGHILQHGLQSDUDJUDSK ± RUVHQGLQJVH[XDOO\RULHQWHGID[HV
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   QRWHVRUOHWWHUV
        3K\VLFDOFRQWDFW([DPSOHVRISK\VLFDOVH[XDOKDUDVVPHQWPD\LQFOXGHWRXFKLQJSDWWLQJSLQFKLQJEXPSLQJ
   JUDEELQJNLVVLQJRUSURYLGLQJXQVROLFLWHGEDFNRUQHFNUXEV7KHUHLVVLJQLILFDQWRYHUODSEHWZHHQWKDWSK\VLFDOFRQ
   WDFWZKLFKFRQVWLWXWHVVH[XDODVVDXOWDQGWKDWSK\VLFDOFRQWDFWZKLFKFRQVWLWXWHVVH[XDOKDUDVVPHQW,IWKH6$5&UH
   FHLYLQJWKHVH[XDOKDUDVVPHQWFRPSODLQWGHWHUPLQHVWKDWWKHYLFWLPGHVFULEHVVH[XDODVVDXOWDQGQRWVH[XDOKDUDVV
   PHQWWKH6$5&ZLOODGYLVHWKHYLFWLPWKDWWKHXQZDQWHGSK\VLFDOFRQWDFWZLOOEHKDQGOHGDVDVH[XDODVVDXOWDGYLVH
   HDFKYLFWLPRIWKHUROHDYDLODELOLW\RIDYLFWLPDGYRFDWHWKHLUYLFWLPULJKWVWKHLUSRWHQWLDOULJKWWRDQ69&ZLWK69&
   HOLJLELOLW\GHWHUPLQHGE\FRRUGLQDWLQJZLWKWKHVHUYLFLQJOHJDORIILFHUHJDUGLQJ69&VHUYLFHVH[SODLQWKHYLFWLP¶V
   RSWLRQVIRUUHVWULFWHGDQGXQUHVWULFWHGUHSRUWLQJDQGFOHDUO\GHVFULEHWKHUHTXLUHGUHVSRQVHSURWRFROIRUHDFKW\SHRI
   UHSRUWLQJRSWLRQ8QZDQWHGSK\VLFDOWRXFKLQJWKDWGRHVQRWPHHWWKHOHJDOGHILQLWLRQRIVH[XDODVVDXOWPD\VWLOOEH
   DGGUHVVHGXVLQJWKHVH[XDOKDUDVVPHQWFRPSODLQWSURFHVV
      J7\SHVRIVH[XDOKDUDVVPHQW²
        4XLGSURTXR³4XLGSURTXR´LVD/DWLQWHUPPHDQLQJWKLVIRUWKDW7KLVWHUPUHIHUVWRFRQGLWLRQVSODFHGRQ
   DSHUVRQ¶VFDUHHURUWHUPVRIHPSOR\PHQWLQUHWXUQIRUIDYRUV([DPSOHVLQFOXGHGHPDQGLQJVH[XDOIDYRUVLQH[FKDQJH
   IRUDSURPRWLRQDZDUGRUIDYRUDEOHDVVLJQPHQW$QH[DPSOHZRXOGEHD6ROGLHUZKRLVQRWUHFRPPHQGHGIRUSUR
   PRWLRQDQGZKREHOLHYHVWKDWKLVRUKHUVTXDGOHDGHUUHFRPPHQGHGDQRWKHU6ROGLHULQKLVRUKHUVTXDGIRUSURPRWLRQ
   RQWKHEDVLVRISURYLGHGRUSURPLVHGVH[XDOIDYRUVQRWXSRQPHULWRUDELOLW\
        +RVWLOHHQYLURQPHQW$KRVWLOHHQYLURQPHQWWRLQFOXGHWKHZRUNHQYLURQPHQWFDQRFFXUZKHQ6ROGLHUVRU'$
   &LYLOLDQVDUHVXEMHFWHGWRRIIHQVLYHXQZDQWHGDQGXQVROLFLWHGFRPPHQWVRUFRQGXFWRIDVH[XDOQDWXUH$QDEXVLYH



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   RUKRVWLOHHQYLURQPHQWQHHGQRWUHVXOWLQFRQFUHWHSV\FKRORJLFDOKDUPWRWKHYLFWLPEXWUDWKHUQHHGRQO\EHVRVHYHUH
   RUSHUYDVLYH WKDWD UHDVRQDEOHSHUVRQZRXOGSHUFHLYHDQGWKHYLFWLPGRHVSHUFHLYHWKHHQYLURQPHQWDVKRVWLOHRU
   RIIHQVLYH$KRVWLOHHQYLURQPHQWEULQJVWKHWRSLFRIVH[RUJHQGHULQWRWKHHQYLURQPHQWLQDQ\RQHRIDQXPEHURI
   IRUPV&RQGXFWFRQVLGHUHGXQGHUWKHKRVWLOHHQYLURQPHQWGHILQLWLRQJHQHUDOO\LQFOXGHVQRQYLROHQWJHQGHUELDVHGVH[
   XDOEHKDYLRUV IRUH[DPSOHWKHXVHRIGHURJDWRU\JHQGHUELDVHGWHUPVFRPPHQWVDERXWERG\SDUWVVXJJHVWLYHSLF
   WXUHVDQGH[SOLFLWMRNHV 

   ±6H[XDO+DUDVVPHQW&RPSODLQW3URFHVVLQJ6\VWHP
      D6ROGLHUV LQFOXGLQJ'(3 FDGHWVDQG)DPLO\PHPEHUVDJHGDQGRYHUPD\ILOHDVH[XDOKDUDVVPHQWFRPSODLQW
   ZLWKWKH%'(6$5&&RPSODLQWVIURP'$&LYLOLDQSHUVRQQHO WRLQFOXGHWKRVHDJDLQVW6ROGLHUV UHSRUWLQJVH[XDO
   KDUDVVPHQWZLOOEHKDQGOHGLQDFFRUGDQFHZLWKWKHSURFHGXUHVFRQWDLQHGLQ$5 ± $5 ± RUDVGHVFULEHG
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   LQVHSDUDWH'R'DQG'$SROLF\RUDVSURYLGHGIRULQDQ\DSSOLFDEOHFROOHFWLYHEDUJDLQLQJDJUHHPHQW
      E$OWKRXJKWKHSURFHVVLQJRIVH[XDOKDUDVVPHQWFRPSODLQWVWKURXJKWKHFKDLQRIFRPPDQGDQG6$5&LVVWURQJO\
   HQFRXUDJHGLWZLOOQRWVHUYHDVWKHRQO\FKDQQHODYDLODEOHWR6ROGLHUV)DPLO\PHPEHUVWRUHVROYHRUVHHNJXLGDQFH
   RQKRZWRDGGUHVVVH[XDOKDUDVVPHQW6$5&VDUHRQO\UHVSRQVLEOHIRUSURFHVVLQJDQGWUDFNLQJLQ,&56WKRVHFRP
   SODLQWVWKH\KDYHEHHQPDGHDZDUHRI$FWLRQVDQGUHVROXWLRQVH[WHUQDOWRWKHFRPPDQGHURUIXOOWLPHEULJDGH6$5&
   ZLOOQRWEHWUDFNHGRUGRFXPHQWHGE\WKH6$5&RUHQWHUHGLQWR,&56&RPPDQGHUVZLOOQRWSUHFOXGH6ROGLHUVIURP
   XVLQJDOWHUQDWLYHDJHQFLHVWRSURYLGHJXLGDQFHUHJDUGLQJKRZWRDGGUHVVVH[XDOKDUDVVPHQWGLUHFWO\
      F&RQFHUQVUDLVHGDQGRUUHVROYHGRXWVLGHRIWKH6+$53SURJUDPE\WKHFRPSODLQDQWRUDQRWKHURUJDQL]DWLRQLQ
   GLYLGXDO DUH FRQVLGHUHG SUREOHP UHVROXWLRQ RU OHDGHUVKLS DFWLRQV DQG DUH QRW FRQVLGHUHG VH[XDO KDUDVVPHQW FRP
   SODLQWV&RPSODLQWVLQYROYLQJUHSRUWVRIFULPLQDOEHKDYLRU WKDWLVYLRODWLRQVRI8&0- ZLOOEHUHSRUWHGRUUHIHUUHG
   WRODZHQIRUFHPHQW
      G7KHSHUVRQRUDJHQF\DVVLVWLQJWKH6ROGLHUPD\EHDEOHWRUHVROYHWKHLVVXHZKLOHPDLQWDLQLQJFRQILGHQWLDOLW\
   :KLOHFRQILGHQWLDOLW\VKRXOGEHDWWHPSWHGLWZLOOQHLWKHUEHJXDUDQWHHGQRUSURPLVHGWRWKHFRPSODLQDQWE\DJHQFLHV
   RWKHUWKDQWKHFKDSODLQRUDODZ\HU,IWKHFRPSODLQDQWGLVFXVVHVDFRPSODLQWRIVH[XDOKDUDVVPHQWLQYROYLQJFULPLQDO
   VH[XDORIIHQVHVZLWK6$5&6+$539$RU95PHGLFDOSHUVRQQHORUFKDSODLQVWKHFRPSODLQDQWKDVQRWORVWWKHLU
   DELOLW\WRILOHDUHVWULFWHGVH[XDODVVDXOWUHSRUW 8QOHVVGLVFXVVHG ZLWKSHUVRQQHORWKHUZLVHDEOHWRSUHVHUYH WKH UH
   VWULFWHGUHSRUWLQJRSWLRQUHSRUWVRIVH[XDORIIHQVHVZLOOEHUHIHUUHGWR86$&,'&DVVXFKFRQGXFWPD\YLRODWHWKH
   8&0-,IDQ\FRPSODLQWVRIVH[XDOKDUDVVPHQWGHVFULEHVH[XDODVVDXOWOHDGHUVZLOOSURYLGHWKH6ROGLHUDQLPPHGLDWH
   RSSRUWXQLW\WRVSHDNZLWKD6$5&
      H7KHUHDUHWKUHHZD\V6ROGLHUVFDQVXEPLWDVH[XDOKDUDVVPHQWFRPSODLQW²
        )RUPDOO\LQZULWLQJRQ'$)RUP
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        $QRQ\PRXVO\E\DQ\PHDQVIURPDQXQLGHQWLILHGFRPSODLQDQW
      I7KHUHDUHWKUHHFRPSODLQWSURFHVVLQJW\SHV²
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   FRPPDQGHUIRUHYDOXDWLRQDQGHQWHUHGLQWR,&56
        ,QIRUPDOO\ZKHQWKHFRPSODLQDQWDQGRUWKHIXOOWLPHEULJDGH6$5&DGGUHVVUHVROXWLRQDWWKHORZHVWOHYHOZLWK
   GRFXPHQWDWLRQLQ,&56DQGRQDORFDOO\ILOHGPHPRUDQGXPRIUHFRUG
        )RUPDOO\ZKHQWKH%'(FRPPDQGHULQLWLDWHVDQLQYHVWLJDWLRQGLVSRVLWLRQDQGUHVROXWLRQDUHDGGUHVVHGDWWKH
   FRPPDQGOHYHODQGFRPSODLQWSURFHVVLQJLVGRFXPHQWHGLQ,&56
      J$OOVH[XDOKDUDVVPHQWFRPSODLQWVZLOOEHDGGUHVVHGUHJDUGOHVVRIWKHOHYHODWZKLFKWKH\DUHUHSRUWHG6+$53
   SURIHVVLRQDOVLQFOXGLQJ6+$539$VWUDLQHGDQGFHUWLILHGFROODWHUDOGXW\6$5&V7UDLQLQJ,QVWUXFWRUVDQG30VZLOO
   UHIHUVH[XDOKDUDVVPHQWFRPSODLQDQWVWRWKHLUVHUYLFLQJIXOOWLPHEULJDGHRUHTXLYDOHQW6$5&
      K'$&LYLOLDQVIRUPHUHPSOR\HHVDSSOLFDQWVIRUHPSOR\PHQWDQGVRPHFRQWUDFWHPSOR\HHVPD\ILOHWKHLUFRP
   SODLQWVRIVH[XDOKDUDVVPHQWXQGHUWKH((2FRPSODLQWSURFHVV7KH'$&LYLOLDQ((2FRPSODLQWSURFHVVLVFRQWDLQHG
   LQ$5 ± 6+$53SURIHVVLRQDOVDSSURDFKHGE\'$&LYLOLDQVFRQFHUQLQJDVH[XDOKDUDVVPHQWFRPSODLQWVKRXOG
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   DVVLVWWKHPLQILQGLQJWKHDSSURSULDWHVHUYLFLQJ((2RIILFH
        '$&LYLOLDQFRPSODLQDQWVPD\PDNHDFRPSODLQWGLUHFWO\WRWKHFRPPDQGHUZKRZLOOWKHQLQLWLDWHDQLQYHVWL
   JDWLRQ
        7KH6$5&ZLOOQRWSURYLGH6+$53VHUYLFHVLQWKHVHFDVHVDVNWKHFRPSODLQDQWWRILOORXWD'$)RUP
   RUHQWHUWKHFRPSODLQWLQWR,&56
        7KH6+$53SURIHVVLRQDOVVKRXOGSURYLGHLQIRUPDWLRQWR'$&LYLOLDQVDQGUHIHUWKHPWRWKH((22IILFH
      L)DPLO\PHPEHUVDJHGDQGRYHUDUHHOLJLEOHIRU6+$53VHUYLFHVZKHQWKH\DUHYLFWLPVRIVH[XDOKDUDVVPHQW
        )DPLO\PHPEHUVPD\ILOHFRPSODLQWVZLWKD6$5&
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      M6H[XDO KDUDVVPHQW FRPSODLQWV LQ D -RLQW 6HUYLFH HQYLURQPHQW ZLOO IROORZ LQVWUXFWLRQV FRQWDLQHG LQ 'R',
   
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        $QDQRQ\PRXVFRPSODLQWLVGHILQHGDVDUHSRUWRIVH[XDOKDUDVVPHQWUHJDUGOHVVRIWKHPHDQVRIWUDQVPLVVLRQ
   IURPDQXQNQRZQRUXQLGHQWLILHGVRXUFH7KHLQGLYLGXDOUHSRUWLQJWKHLQIRUPDWLRQLVQRWUHTXLUHGWRGLYXOJHDQ\3,,
   &RPPDQGHUVZLOOSXEOLFL]HDQGHQDEOHDQRQ\PRXVUHSRUWLQJWKURXJKRUJDQL]DWLRQDOKRWOLQHVHPDLORURIILFLDOWHOH
   SKRQHOLQHV$QRQ\PRXVUHSRUWVRIVH[XDOKDUDVVPHQWRFFXUULQJLQFRQILQHPHQWIDFLOLWLHVLQYROYLQJPLOLWDU\LQPDWHV
   ZLOODGKHUHWRUHTXLUHPHQWVRIWKH3ULVRQ5DSH(OLPLQDWLRQ$FWRI 35($ 
        $OODQRQ\PRXVFRPSODLQWVHYHQWKRVHWKDWFDQQRWEHLQYHVWLJDWHGZLOOEHUHIHUUHGWRWKHVXEMHFW¶V%'(FRP
   PDQGHUIRUHYDOXDWLRQDQGHQWHUHGLQWR,&56
        $FWLRQVWDNHQUHJDUGLQJDQRQ\PRXVFRPSODLQWV ZLOOGHSHQGXSRQWKHH[WHQWRILQIRUPDWLRQSURYLGHGLQWKH
   DQRQ\PRXVFRPSODLQW,IDQDQRQ\PRXVFRPSODLQWFRQWDLQVVXIILFLHQWLQIRUPDWLRQWRSHUPLWWKHLQLWLDWLRQRIDQLQYHV
   WLJDWLRQ VXFKDVZKRFRPPLWWHGWKHDFW V ZKDWWKHDJJULHYLQJEHKDYLRULVZKHQWKHDFW V RFFXUUHGZKHUHWKHDFW V 
   RFFXUUHGXQLW V RIDVVLJQPHQWIRUWKHFRPSODLQDQWDQGWKHVXEMHFW WKHFRPPDQGHUZLOOLQLWLDWHDQLQTXLU\RULQYHV
   WLJDWLRQLQDFFRUGDQFH ZLWKWKLVLQVWUXFWLRQ,IDQDQRQ\PRXVFRPSODLQWGRHVQRWFRQWDLQVXIILFLHQWLQIRUPDWLRQWR
   SHUPLWWKHLQLWLDWLRQRIDQLQYHVWLJDWLRQWKHFRPSODLQWZLOOEHGRFXPHQWHGLQD0HPRUDQGXPIRU5HFRUGDQGPDLQ
   WDLQHGE\WKHEULJDGH6$5&XQGHUGRXEOHORFNDQGNH\7KH0HPRUDQGXPIRU5HFRUGVKRXOGFRQWDLQWKHIROORZLQJ
   LQIRUPDWLRQLIDYDLODEOHGDWHDQGWLPHWKHLQIRUPDWLRQZDVUHFHLYHGDGHWDLOHGGHVFULSWLRQRIWKHIDFWVDQGFLUFXP
   VWDQFHVLQFOXGHGLQWKHFRPSODLQWGDWHDQGWLPHWKHFRPSODLQWZDVUHVROYHGDQGE\ZKRPDQ\RWKHUSHUWLQHQWLQIRU
   PDWLRQDQGVLJQHGE\WKHFRPPDQGHU
        )XOOWLPHEULJDGH6$5&VZLOOSURFHVVWKH'$)RUPIRUDQRQ\PRXVFRPSODLQWVIRUZKLFKWKHFRPPDQGHU
   GLUHFWVDIRUPDOLQYHVWLJDWLRQ7KHFRPPDQGHU¶VLQIRUPDWLRQXWLOL]HGLQWKH&RPSODLQDQWVHFWLRQRIWKHIRUPZKHQ
   SURFHVVLQJDQDQRQ\PRXVFRPSODLQW
      P,QIRUPDOFRPSODLQWV
        $QLQIRUPDOVH[XDOKDUDVVPHQWFRPSODLQWLVDFRPSODLQWWKDWDFRPSODLQDQWGRHVQRWZLVKWRILOHLQZULWLQJRQ
   D'$)RUP7\SLFDOO\WKRVHLVVXHVWKDWFDQEHWDNHQFDUHRILQIRUPDOO\FDQEHUHVROYHGWKURXJKGLVFXVVLRQ
   SUREOHPLGHQWLILFDWLRQDQGFODULILFDWLRQRIWKHLVVXHV7KH6$5&ZLOOSURYLGHLQIRUPDWLRQUHJDUGLQJVXSSRUWVHUYLFHV
   WKDWDUHDYDLODEOHWRKHOSUHVROYHWKHFRPSODLQWDVDSSURSULDWHERWKRQDQGRIISRVW KHDOWKFDUHFRXQVHOLQJFKDS
   ODLQVOHJDODVVLVWDQFHDQGXQLWRULQVWDOODWLRQWUDLQHGPHGLDWRUVIRUDOWHUQDWLYHGLVSXWHUHVROXWLRQ 7KH6$5&UHFHLY
   LQJWKHFRPSODLQWZLOOQRWSURYLGHPHGLDWLRQWKHPVHOYHVEXWFDQUHIHUWKHFRPSODLQDQWRUYLFWLPWRDQRWKHUPHGLDWRU
   6$5&VZKRUHFHLYHRUGLVFXVVLQIRUPDOUHVROXWLRQRIVH[XDOKDUDVVPHQWFRPSODLQWVZLOOPDLQWDLQDPHPRUDQGXPRI
   UHFRUGUHJDUGLQJWKHFRPSODLQWDQGUHVROXWLRQDFWLRQVWDNHQ7KH6$5&ZLOOHQVXUHWKDWWKHFRPSODLQDQWXQGHUVWDQGV
   WKDWLIDFRPPDQGHULVLQIRUPHGRIDFRPSODLQWRIVH[XDOKDUDVVPHQWE\WKHFRPSODLQDQWRUDQRWKHUSDUW\WKHFRP
   PDQGHUZLOOLQTXLUHLQWRWKHPDWWHU
        ,IWKHFRPPDQGHULQYHVWLJDWHVDQLQIRUPDOFRPSODLQWWKH6$5&ZLOOLQIRUPWKHFRPSODLQDQW7KHFRPSODLQDQW
   PD\WKHQGHFLGHQRWWRSXUVXHWKHFRPSODLQWRUFRPSOHWHD'$)RUP,IWKHFRPSODLQDQWGRHVQRWILOORXWD'$
   )RUPDQ0)5ZLWKRXW3,,ZLOOEHILOHGE\WKH6$5&ORFDOO\GHWDLOLQJWKHFRPSODLQWDQGWKHUHVSRQVHWRWKDW
   FRPSODLQW7KH6$5&ZLOODOVRHQWHUWKHUHOHYDQWLQIRUPDWLRQLQWR,&56
        6$5&VDUHRQO\UHVSRQVLEOHIRUSURFHVVLQJDQGWUDFNLQJLQ,&56WKRVHLQIRUPDOFRPSODLQWVWKH\KDYHEHHQ
   PDGHDZDUHRI$FWLRQVDQGUHVROXWLRQVH[WHUQDOWRWKHFRPPDQGHURUIXOOWLPHEULJDGHOHYHO6$5&LQFOXGLQJUH
   TXHVWVIRUGLUHFWUHVROXWLRQZLOOQRWEHWUDFNHGRUGRFXPHQWHGE\WKH6$5&RUHQWHUHGLQWR,&56,IWKHFRPSODLQDQW
   LVQRWVDWLVILHGE\WKHUHVROXWLRQSURYLGHGE\DQLQIRUPDOFRPSODLQWRUDUHTXHVWIRUGLUHFWUHVROXWLRQWKHFRPSODLQDQW
   PD\ILOHDIRUPDOFRPSODLQW
        $QLQIRUPDOFRPSODLQWLVQRWVXEMHFWWRUHJXODWRU\WLPHOLQHVVVWDQGDUGVEXWVKRXOGEHUHVROYHGZLWKLQFDO
   HQGDUGD\VRIWKHFRPSODLQWUHFHLSW:KHQLQYROYHG6$5&VZLOOXSGDWHQDPHGFRPSODLQDQWVDQGYLFWLPVZLWKLQWKH
   OLPLWDWLRQVRIWKH3ULYDF\$FWDQGWKH)2,$RQWKHSURJUHVVRIWKHFRPSODLQWVWDWXVHYHU\GD\VIURPFRPSODLQW
   UHFHLSWXQWLOLWLVFORVHG:LWKLQGD\VRIEHLQJLQIRUPHGRIWKHUHVROXWLRQWKHFRPSODLQDQWZLOODFFHSWLQIRUPDO
   UHVROXWLRQDFWLRQVVXEPLWDIRUPDOFRPSODLQWRUGHFOLQHWRSXUVXHWKHFRPSODLQWIXUWKHU
        6ROGLHUVPD\PDNHDUHTXHVWIRUGLUHFWUHVROXWLRQLIWKHLUGHVLUHGUHPHG\IRUWKHDJJULHYLQJEHKDYLRUFDQEH
   DFKLHYHGWKURXJKOHDGHUVKLSDFWLRQVSHHULQWHUYHQWLRQFRXQVHOLQJRUWUDLQLQJ5HTXHVWVIRUGLUHFWUHVROXWLRQFDQEH
   PDGHWRDQ\RQHLQDVXSHUYLVRU\SRVLWLRQLQFOXGLQJ1&2VDQGRIILFHUVZKRDUHQRWLQFRPPDQG5HTXHVWVIRUGLUHFW
   UHVROXWLRQDUHQRWUHTXLUHGWREHFRRUGLQDWHGZLWKWKH6$5&RUHQWHUHGLQWR,&56
        8SRQ UHFHLSW RI D ZULWWHQ RU RUDO LQIRUPDO FRPSODLQW WKH EULJDGH 6$5& ZLOO ILQG RXW DV PXFK DV SRVVLEOH
   FRQFHUQLQJWKHFRPSODLQW



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       D 6$5&VZLOOLQYLWHWKHFRPSODLQDQWWRSURYLGHDVPXFKLQIRUPDWLRQDVWKHFRPSODLQDQWLVDEOHWRZLWKRXWDVNLQJ
   GHWDLOHGTXHVWLRQVRUSUHVVXULQJWKHFRPSODLQDQWIRUUHVSRQVHV
       E 6$5&VZLOOXVHFULVLVLQWHUYHQWLRQDQGDFWLYHOLVWHQLQJVNLOOVWRJDWKHULQIRUPDWLRQLQDPDQQHUWKDWZLOOQRWUH
   WUDXPDWL]HWKHFRPSODLQDQW
       F ,QIRUPWKHFRPSODLQDQWRI²
      7KHLUULJKWVLQDFFRUGDQFHZLWK'R',
      6XSSRUWVHUYLFHVWKDWDUHDYDLODEOHWRKHOSUHVROYHWKHLVVXHVDVDSSURSULDWHERWKRQDQGRIISRVW KHDOWKFDUH
   FRXQVHOLQJ032V752VDQG&32VFKDSODLQVOHJDODVVLVWDQFHDQGXQLWRULQVWDOODWLRQWUDLQHGPHGLDWRUVIRUDOWHU
   QDWLYHGLVSXWHUHVROXWLRQ 
      7KHSURWHFWHGQDWXUHRIWKHFRPPXQLFDWLRQ
      %RWKWKHLQIRUPDODQGIRUPDOFRPSODLQWSURFHVVHV
      7KDWWKHFRPSODLQDQWPD\FKRRVHWRUHVROYHWKHFRPSODLQWWKURXJKIDFLOLWDWLRQLQWHUYHQWLRQFRXQVHOLQJDQGRU
   WUDLQLQJ
      6$5&VFDQDWWKHYLFWLP¶VUHTXHVWDVVLJQD6+$539$ZKRFDQSURYLGHFULVLVLQWHUYHQWLRQUHIHUUDOVVDIHW\
   SODQQLQJDQGDFFRPSDQLPHQWWRLQWHUYLHZVDQGDSSRLQWPHQWV
        ,IWKHFRPPDQGHUUHFHLYHVWKHFRPSODLQWDQGFKRRVHVWRUHVROYHWKHVLWXDWLRQWKURXJKFRPPDQGHU¶VLQTXLU\
   DQGRU$5 ± LQYHVWLJDWLRQZLWKRXWWKHDVVLVWDQFHRIWKH6$5&WKHFRPPDQGHUZLOOLQIRUPWKH6$5&ZLWKLQWKUHH
                      




   FDOHQGDUGD\VRIWKHUHFHLSWRIWKHFRPSODLQWDQGWKHVXEVHTXHQWUHVROXWLRQHIIRUWV
        6$5&VZLOOSUHSDUHDQ0)5ZKLFKZLOOLQFOXGHLQIRUPDWLRQLQGLFDWLQJWKHQDWXUHRIWKHFRPSODLQWDQGLGHQ
   WLI\LQJSHUWLQHQWLQIRUPDWLRQWRDVVLVWLQWKHLGHQWLILFDWLRQRIWKHRUJDQL]DWLRQ¶VFRPPDQGFOLPDWH6$5&VZLOOPDLQ
   WDLQWKH0)5XQGHUGRXEOHORFNDQGNH\
        7KH6$5&ZLOOHQWHULQIRUPDOFRPSODLQWLQIRUPDWLRQLQWR,&56QRODWHUWKDQFDOHQGDUGD\V 5$ DQGQH[W
   087$±  86$5 IURPWKHGDWHRIUHFHLSW
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        8SRQFRPSOHWLRQRIWKHUHVROXWLRQHIIRUWVWKHFRPSODLQDQWPD\±
       D $FFHSWLQIRUPDOUHVROXWLRQRUFRQWLQXHGHIIRUWVDWUHVROXWLRQ
       E 5HQGHUDIRUPDOFRPSODLQW
       F 'HFOLQHWRSXUVXHFRPSODLQW
        7KH6$5&ZLOOUHWDLQWKHLQIRUPDOFRPSODLQWUHFRUGVIRU\HDUVIURPWKHGDWHRIFRPSODLQWUHFHLSW
      Q)RUPDOVH[XDOKDUDVVPHQWFRPSODLQWV
        6ROGLHUV DUH HQFRXUDJHG WR ILOH IRUPDO FRPSODLQWV ZLWKLQ  FDOHQGDU GD\V IURP WKH GDWH RI WKH DJJULHYLQJ
   EHKDYLRU7KLVZLOOIDFLOLWDWHWKHLQYHVWLJDWLRQDQGUHVROXWLRQRIWKHVHFRPSODLQWV
        ,QFDVHVZKHUHWKHFRPSODLQDQWDQGVXEMHFWDUHLQGLIIHUHQWXQLWVFRPSODLQWVPD\KDYHWREHHOHYDWHGWRWKH
   ILUVWFRPPDQGHULQWKHFKDLQRIFRPPDQGDWEULJDGHOHYHORUDERYHZKRKDVFRPPDQGDXWKRULW\RYHUERWKWKHFRP
   SODLQDQWDQGWKHVXEMHFW&RPSODLQDQWFRQILGHQWLDOLW\ZLOOEHSURWHFWHGWRWKHPD[LPXPH[WHQWSRVVLEOH
        7KHUHDUHWZRPHFKDQLVPVE\ZKLFKFRPSODLQWVRIVH[XDOKDUDVVPHQWDUHUHFRUGHGE\WKHVHUYLFLQJIXOOWLPH
   EULJDGH6$5&DVIRUPDOFRPSODLQWV
       D '$)RUP6ROGLHUVFDQILOHIRUPDOVH[XDOKDUDVVPHQWFRPSODLQWVRQWKH'$)RUPGRFXPHQWLQJWKH
   QDWXUHRIWKHFRPSODLQWDQGWKHUHTXHVWHGUHPHGLHV$GGLWLRQDOO\ZKHQDQDQRQ\PRXVFRPSODLQWLVHOHYDWHGWRWKH
   FRPPDQGHUDQGWKHFRPPDQGHUGHWHUPLQHVWKDWWKHFRPSODLQWFRQWDLQVHQRXJKLQIRUPDWLRQWRFRQGXFWDQLQYHVWLJD
   WLRQWKHVHDQRQ\PRXVFRPSODLQWVZLOOEHSURFHVVHGIRUPDOO\DQGZLOOEHGRFXPHQWHGRQWKH'$)RUP
       E (QWU\LQ,&56$Q\LQIRUPDOFRPSODLQWLQYHVWLJDWHGE\WKHFRPPDQGHUZLOOXQOHVVWKHFRPSODLQDQWILOHVD
   IRUPDOFRPSODLQWRQWKH'$)RUPEHHQWHUHGLQWR,&56DVDIRUPDOFRPSODLQWZLWKWKHFRPPDQGHUHQWHUHGDV
   WKHFRPSODLQDQW
        7KHIXOOWLPHEULJDGH6$5&ZLOOUHIHUDOOIRUPDOFRPSODLQWVWRWKH%'(FRPPDQGHULPPHGLDWHO\7KHFRP
   PDQGHU ZLOO KDYH WKH FRPSODLQDQW VZHDU WR WKH FRQWHQWV RI WKH VWDWHPHQW V  FRQWDLQHG LQ WKH IRUPDO FRPSODLQW E\
   DGPLQLVWHULQJDQRDWKWRWKHFRPSODLQDQWLQDFFRUGDQFHZLWKWKLVUHJXODWLRQ$WWKDWWLPHWKHFRPPDQGHUZLOOLQIRUP
   WKHFRPSODLQDQWRIWKHSRWHQWLDODGYHUVHFRQVHTXHQFHVWRNQRZLQJO\VXEPLWWLQJDIDOVHFRPSODLQWWKDWLVDFRPSODLQW
   FRQWDLQLQJLQIRUPDWLRQWKDWWKHFRPSODLQDQWNQHZWREHIDOVH)DOVHFRPSODLQWVPD\EHSXQLVKDEOHXQGHUWKH8&0-
        8SRQUHFHLSWRIDFRPSODLQWFRPPDQGHUVZLOOFRPPHQFHRUFDXVHWKHFRPPHQFHPHQWRIDQLQYHVWLJDWLRQRU
   LQTXLU\ZLWKLQKRXUVDQGZLOOIRUZDUGWKHFRPSODLQWWRWKHILUVWFRPPDQGHULQWKHFKDLQRIFRPPDQGZLWK*&0&$
   ZLWKLQKRXUVRIUHFHLSW7KHLQYHVWLJDWLRQZLOOEHFRQGXFWHGDWWKHOHYHOZKLFKDWKRURXJKH[DPLQDWLRQRIWKHIDFWV
   FDQEHDFKLHYHG7RWKHH[WHQWSUDFWLFDEOHLQYHVWLJDWLRQVVKRXOGEHFRPSOHWHGQRODWHUWKDQFDOHQGDUGD\VDIWHUWKH
   GDWHRQZKLFKWKHLQYHVWLJDWLRQLVLQLWLDWHG:LWKLQFDOHQGDUGD\VRILQLWLDWLRQRIDQLQYHVWLJDWLRQRULQTXLU\FRP
   PDQGHUVZLOOIRUZDUGDSURJUHVVUHSRUWRUILQDOUHSRUWRIWKHLQYHVWLJDWLRQWRWKH*&0&$3URJUHVVUHSRUWVZLOOEH
   VXEPLWWHGWRWKHFRPPDQGHUHYHU\FDOHQGDUGD\VXQWLOFRPSOHWLRQ&RPSODLQWVLQYROYLQJDQLQYHVWLJDWLRQUHTXLUH
   DUHYLHZIRUOHJDOVXIILFLHQF\EHIRUHWKH\DUHFRPSOHWH)LQDOUHSRUWVZLOOLQFOXGHWKHUHVXOWVRIWKHLQYHVWLJDWLRQDV



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   ZHOODVWKHDSSRLQWLQJDXWKRULW\¶VDFWLRQVWDNHQRQWKHILQGLQJVDQGUHFRPPHQGDWLRQVRIWKHLQYHVWLJDWLRQ&RPPDQG
   HUVZLOOIRUZDUGILQDOLQYHVWLJDWLYHUHSRUWVWRWKH*&0&$
        7KHVHUYLFLQJEULJDGH6$5&ZLOOSURYLGHFRPSODLQDQWVDQGYLFWLPVZLWKLQIRUPDWLRQDERXWWKHLQYHVWLJDWLYH
   SURFHVVDQGYLFWLPVXSSRUWUHVRXUFHVDYDLODEOH7KH%'(&RPPDQGHUZLOOXSGDWHQDPHGFRPSODLQDQWVDQGYLFWLPV
   RQWKHSURJUHVVRIWKHLQYHVWLJDWLRQHYHU\GD\VIURPWKHGDWHRIFRPSODLQWUHFHLSWXQWLOWKHFDVHLVFORVHG%'(
   &RPPDQGHUVZLOOSURYLGHLQIRUPDWLRQDERXWWKHVWDWXVDQGRXWFRPHVRIWKHFRPSODLQWIRUH[DPSOHZKRLVLQYHVWL
   JDWLQJ SURMHFWHG FRPSOHWLRQ GDWH LQTXLU\LQYHVWLJDWLRQ ILQGLQJV DQG XSRQ FRPPDQG GHFLVLRQ D VXEVWDQWLDWHG RU
   XQVXEVWDQWLDWHGGHWHUPLQDWLRQ:KHQSURSHUO\UHTXHVWHGDQGXSRQSURSHUOHJDOUHYLHZ DQGDSSURYDOIURPWKHDS
   SRLQWLQJDXWKRULW\WKHFRPSODLQDQWPD\EHSURYLGHGDUHGDFWHGFRS\RIWKHUHVXOWVRIWKHLQYHVWLJDWLRQ,QIRUPDWLRQ
   DERXWVSHFLILFDGYHUVHDFWLRQVWDNHQDJDLQVWDQLQGLYLGXDOLVJHQHUDOO\QRWGLVFORVHGXQOHVVVXFKLQIRUPDWLRQLVDPDWWHU
   RISXEOLFUHFRUGRUZKHQRWKHUZLVHUHTXLUHGWREHUHOHDVHGE\VWDWXWH8SRQFRPSOHWLRQRIWKHILQDOUHSRUWFRPSODLQ
   DQWV ZLOO EH LQIRUPHG ZKHWKHU WKH FRPSODLQW ZDV VXEVWDQWLDWHG RU QRW 7KH FRPSODLQDQW PD\ DFFHSW RU DSSHDO WKH
   ILQGLQJVRUGHFOLQHWRSXUVXHWKHFRPSODLQWIXUWKHU7KHVHUYLFLQJIXOOWLPHEULJDGHOHYHO6$5&ZLOOIROORZXSRQWKH
   UHVROXWLRQVWDWXVZLWKWKHFRPSODLQDQWEHWZHHQWRGD\VDIWHUFDVHFORVXUH)ROORZXSLVVXHVLQFOXGHDQ\UHWDOLD
   WLRQUHSULVDOWKHFRPSODLQDQWZDVVXEMHFWHGWRDVZHOODVZKHWKHUWKHXQZDQWHGEHKDYLRUVWRSSHG)ROORZXSDFWLRQV
   ZLOOEHGRFXPHQWHGRQ'$)RUP ±  6H[XDO+DUDVVPHQW&RPSODLQW5HVROXWLRQ$VVHVVPHQW 
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        )XOOWLPHEULJDGH6$5&VDUHUHTXLUHGWRHQWHUDOOIRUPDOVH[XDOKDUDVVPHQWFRPSODLQWVLQ,&566$5&VZLOO
   HQVXUHWKDWDOOUHTXLUHGGDWDHOHPHQWVDUHFROOHFWHGDQGDFFXUDWHO\GRFXPHQWHG6XEVWDQWLDWHGFRPSODLQWVZLOOEHDF
   FRPSDQLHGE\DZULWWHQUHSRUWRILQYHVWLJDWLRQRURWKHUGRFXPHQWGHWDLOLQJWKHHYLGHQFHDQGILQGLQJVDVZHOODVWKH
   FRPPDQGHU¶VGHWHUPLQDWLRQDQGVLJQDWXUH&RPPDQGHUVZLOOFRPSO\ZLWK$5 ± ZKHQUHSRUWVRILQYHVWLJDWLRQDUH
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   WREHXVHGDVWKHEDVLVIRUDGPLQLVWUDWLYHDFWLRQ&RPPDQGHUVZLOOFRQVXOWOHJDOFRXQVHOSULRUWRLQLWLDWLQJDQ\DGPLQ
   LVWUDWLYHDFWLRQ
        8SRQUHFHLSWRIDIRUPDOFRPSODLQW²
       D 7KH6$5&ZLOOLQYLWHWKHFRPSODLQDQWWRSURYLGHDVPXFKLQIRUPDWLRQDVWKHFRPSODLQDQWLVDEOHWRZLWKRXW
   DVNLQJGHWDLOHGTXHVWLRQVRUSUHVVXULQJWKHFRPSODLQDQWIRUUHVSRQVHV
       E 6$5&VZLOOXVHWKHLUFULVLVLQWHUYHQWLRQDQGDFWLYHOLVWHQLQJVNLOOVWRJDWKHULQIRUPDWLRQLQDPDQQHUWKDWZLOO
   QRWUHWUDXPDWL]HWKHFRPSODLQDQW 6$5&VDUH QRWLQYHVWLJDWRUVDQGRQO\QHHGD OLPLWHGDPRXQWRILQIRUPDWLRQWR
   LQIRUPWKH%'(FRPPDQGHURIWKHFRPSODLQWDQGHQWHUDFDVHLQWR,&56
       F 6$5&VPXVWQRWVZHDUWKHFRPSODLQDQWWRWKHLUVWDWHPHQW
       G 6$5&VZLOODVNTXHVWLRQVUHJDUGLQJWKHFRPSODLQDQW¶VDFFRXQWRIHYHQWVDVQHFHVVDU\WRVZHDUDIILUPDFRP
   SODLQDQWWRWKHLUFRPSODLQWDVFHUWDLQHQRXJKLQIRUPDWLRQWREULHIWKH*&0&$DQG,2RQWKHQDWXUHRIWKHFRPSODLQW
   DQGHQVXUHWKHFRPSODLQDQWLVHPRWLRQDOO\DQGSK\VLFDOO\VDIHDVZHOODVLQIRUPHGRIUHVRXUFHVDYDLODEOHWRVXSSRUW
   WKHPWKURXJKWKHLQYHVWLJDWLRQSURFHVV&RPPDQGHUVDUHUHPLQGHGWKDWWKHFRPSODLQDQWZLOOEHDVNHGWKHVHTXHVWLRQV
   SHUKDSVVHYHUDOWLPHVE\WKH,2
       H ,QIRUPWKHFRPSODLQDQWRI²
      6XSSRUWVHUYLFHVWKDWDUHDYDLODEOHWRKHOSUHVROYHWKHLVVXHVDVDSSURSULDWHERWKRQDQGRIISRVW KHDOWKFDUH
   FRXQVHOLQJ 032V DQG &32V FKDSODLQV OHJDO DVVLVWDQFH DQG XQLW RU LQVWDOODWLRQ WUDLQHG PHGLDWRUV IRU DOWHUQDWLYH
   GLVSXWHUHVROXWLRQ 
      7KHSURWHFWHGQDWXUHRIWKHFRPPXQLFDWLRQZKLFKZLOORQO\EHVKDUHGZLWKWKRVHZKRKDYHDOHJLWLPDWHQHHG
   WRNQRZ IRUH[DPSOH6$5&FRPPDQGHU 
      7KHIRUPDOFRPSODLQWSURFHVV
      6$5&VFDQDWWKHYLFWLP¶VUHTXHVWDVVLJQD6+$539$ZKRFDQSURYLGHFULVLVLQWHUYHQWLRQUHIHUUDOVVDIHW\
   SODQQLQJDQGDFFRPSDQLPHQWWRLQWHUYLHZVDQGDSSRLQWPHQWV
      7KHLPSRUWDQFHRIXQGHUVWDQGLQJWKHFRPSODLQDQW¶VGHVLUHGUHVROXWLRQRUUHPHG\
      ,Q'$)RUPWKHFRPSODLQDQWZLOO²
      D 6SHFLI\WKHFRQFHUQ
      E 3URYLGHWKHQDPHVRIWKHSDUWLHVLQYROYHGDQGZLWQHVVHV
      F 'HVFULEHWKHDJJULHYLQJDFW V EHKDYLRU V 
      G ,QGLFDWHWKHGDWH V RIWKHDJJULHYLQJDFW V EHKDYLRU V 
      2Q'$)RUPWKHFRPSODLQDQWZLOOHQWHUWKHUHTXHVWHGUHVROXWLRQZKLFKWKHFRPPDQGHUPD\WDNHLQWR
   FRQVLGHUDWLRQXSRQFRPSOHWLRQRIWKHLQTXLU\RULQYHVWLJDWLRQDQGZKHQFRQVLGHULQJUHVROXWLRQDFWLRQV7KHLQIRU
   PDWLRQLQWKLVEORFNFDQYDU\LQWHUPVRIWKHFRPSODLQDQW VH[SHFWDWLRQVRIWKHLQYHVWLJDWLYHSURFHVV,IH[SHFWDWLRQV
   WKDWDUHQRWOLNHO\WREHPHWFRPHWRWKHVXUIDFHWKH\VKRXOGEHGLVSHOOHGE\WKH6$5&RUFRPPDQGHU GXULQJUHFHLSW
   RIWKHFRPSODLQW WKURXJKDQH[SODQDWLRQRIWKHSRWHQWLDODQGWKHSRVVLEOHRXWFRPHV
       I 7KH%'(FRPPDQGHUZLOOHVWDEOLVKDQGLPSOHPHQWDSODQWRSURWHFWWKHFRPSODLQDQWDQ\QDPHGZLWQHVVHVDQG
   WKHVXEMHFWIURPDFWVRIUHWDOLDWLRQDQGUHSULVDO7KHUHWDOLDWLRQDQGUHSULVDOSUHYHQWLRQSODQZLOOLQFOXGHDWDPLQLPXP



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   DFRPPDQGPHHWLQJZLWKWKHVXEMHFW7KHSODQZLOODOVRLQFOXGHVHSDUDWHPHHWLQJVDQGGLVFXVVLRQVZLWKWKHIXOOWLPH
   6$5&WKHFRPSODLQDQWQDPHGZLWQHVVHVDQGQHFHVVDU\PHPEHUVRIWKHFKDLQRIFRPPDQGDQGFRZRUNHUV'LVFUH
   WLRQ ZLOO EH XVHG WR GHWHUPLQH WKH H[WHQW RI LQIRUPDWLRQ SURYLGHG DQG WKH QXPEHUV RI SHUVRQQHO DGGUHVVHG LQ WKH
   GLVFXVVLRQVZLWKWKHFKDLQRIFRPPDQGDQGFRZRUNHUV
      &RQWHQWRIWKHGLVFXVVLRQVZLWKWKHDERYHQDPHGLQGLYLGXDOVZLOOLQFOXGH²
      D 7KHGHILQLWLRQVRIUHWDOLDWLRQDQGUHSULVDOZLWKH[DPSOHVRIVXFKEHKDYLRU
      E 7KH $UP\¶VSROLF\SURKLELWLQJUHWDOLDWLRQDQGUHSULVDO WKHFRPSODLQDQW¶VULJKWVDQGH[WHQWRI ZKLVWOHEORZHU
   SURWHFWLRQDIIRUGHGFRPSODLQDQWVZLWQHVVHVDQGWKHVXEMHFWXQGHU'R''
      F (QFRXUDJHPHQWWRDOOWKHDIRUHPHQWLRQHGLQGLYLGXDOVWRUHSRUWLQFLGHQWVDQGRUWKUHDWVRIUHWDOLDWLRQDQGUHSULVDO
      G 7KHSURFHGXUHVWRUHSRUWDFWVDQGRUWKUHDWVRIUHWDOLDWLRQDQGUHSULVDO
      H 7KHFRQVHTXHQFHVRIUHWDOLDWLRQDQGUHSULVDO
      I 3RVVLEOHVDQFWLRQVDJDLQVWYLRODWRUV
      J $UHPLQGHURIWKHUROHVDQGUHVSRQVLELOLWLHVRIWKHOHDGHUVKLSLQWKHSUHYHQWLRQRIUHWDOLDWLRQDQGUHSULVDODQG
   SURWHFWLRQRIDOOSDUWLHVLQYROYHG
      K 7KHFRPPDQG¶VVXSSRUWRIDWKRURXJKH[SHGLWLRXVDQGXQELDVHGLQYHVWLJDWLRQDQGJRRGIDLWKLQDWWHPSWLQJWR
   UHVROYHWKHFRPSODLQW
      L 7KHQHHGWRWUHDWDOOSDUWLHVLQDSURIHVVLRQDOPDQQHUERWKGXULQJDQGIROORZLQJWKHFRQGXFWRIWKHLQYHVWLJDWLRQ
      &RQWHQWRIWKHZULWWHQSODQZLOOLQFOXGHDFWLRQVWREHDFFRPSOLVKHGDQGDQQRWDWLRQRIQDPHVRISHUVRQQHODG
   GUHVVHG7KHFRPPDQGHUZLOOLQLWLDODQGGDWHDFWLRQVDVFRPSOHWHGDQGSURYLGHDFRS\RIWKHSODQWRWKHLQYHVWLJDWLQJ
   RIILFHUDQGEULJDGH6$5&
      D 7KHLQYHVWLJDWLQJRIILFHUZLOOLQFOXGHWKHFRPPDQGHU¶VSODQWRSUHYHQWUHSULVDODVDQH[KLELWLQWKHLQYHVWLJDWLYH
   ILQGLQJV
      E 7KH6$5&ZLOOUHWDLQDFRS\RIWKHFRPPDQGHU¶VSODQWRSUHYHQWUHWDOLDWLRQDQGUHSULVDOZLWKWKHFRPSOHWHG
   FDVHILOHDQGXVHWKHSODQWRFRQGXFWIROORZXSDVVHVVPHQWRIWKHFRPSODLQW
        &RQGXFWLQJWKHLQYHVWLJDWLRQ
       D 7KHFRPPDQGHUZLOOGHWHUPLQHZKHWKHUWKHLQYHVWLJDWLRQZLOOEHDQLQYHVWLJDWLRQZLWKDSSRLQWPHQWRIDQLQ
   YHVWLJDWLQJRIILFHURUDQLQIRUPDOLQTXLU\GLUHFWHGE\WKHFRPPDQGHU&RPPDQGHUVDWDOOOHYHOVVKRXOGFRQVXOWWKHLU
   VHUYLFLQJOHJDORIILFHRQLQTXLU\DQGLQYHVWLJDWLRQSURFHGXUHVDQGVWDQGDUGV
       E $OOFRPPDQGHUVZKRUHFHLYHDFRPSODLQWRIVH[XDOKDUDVVPHQWWKDWLQFOXGHVXQZDQWHGSK\VLFDOFRQWDFWWKDWLV
   QRWFOHDUO\VH[XDODVVDXOWZLOOFRRUGLQDWHZLWKWKHLUVHUYLFLQJOHJDORIILFHFRQFHUQLQJWKHGHWHUPLQDWLRQDVWRZKHWKHU
   WKHSK\VLFDOFRQWDFWZLOOEHUHSRUWHGWR86$&,'&$Q\GRXEWVZLOOEHUHVROYHGLQIDYRURIUHSRUWLQJWKHSK\VLFDO
   FRQWDFWWR86$&,'&(YHU\YLFWLPUHSRUWRIVH[XDODVVDXOWWRWKHFKDLQRIFRPPDQGZLOOEHUHSRUWHGWR86$&,'&
       F &RPPDQGHUVZKRDFWDVWKHDSSRLQWLQJDXWKRULW\ZLOOSURYLGHWKHLQYHVWLJDWLQJRIILFHUDFRS\RIRUGHUVDVVLJQ
   LQJKLPRUKHUDVWKHLQYHVWLJDWLQJRIILFHUDQGWKHLQLWLDWHG'$)RUPZKLFKLGHQWLILHVWKHFRPSODLQDQWDQGOLVWV
   WKHFRPSODLQWVWREHLQYHVWLJDWHG7KHLQYHVWLJDWLQJRIILFHUZLOOUHYLHZ$5 ± DQG$5 ± WRUHYLHZSURFHGXUHV
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   DSSOLFDEOHWRWKHFRQGXFWRIWKHLQYHVWLJDWLRQ
       G 7KH LQYHVWLJDWLQJRIILFHU ZLOO PHHW ZLWKWKHVHUYLFLQJ 6-$RUOHJDODGYLVRUWRUHYLHZ KRZ WKH LQYHVWLJDWLRQ
   VKRXOGEHFRQGXFWHGXQGHU$5 ± DQG$5 ± 7KHGLVFXVVLRQVKRXOGLQFOXGHWKHVSHFLILFUHTXLUHPHQWVRIERWK
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   UHJXODWLRQVDGYLFHRQKRZLQYHVWLJDWLRQVDUHFRQGXFWHGDQGDGYLFHRQKRZWRTXHVWLRQDQLQWHUYLHZHHZKRLVVXV
   SHFWHGRIFRPPLWWLQJDYLRODWLRQRIWKH8&0-
       H 7KHLQYHVWLJDWLQJRIILFHU WKHFRPPDQGHURUDSSRLQWHGLQYHVWLJDWLQJRIILFHU ZLOOPHHWZLWKWKH6$5&SULRUWR
   FRQGXFWLQJWKHLQYHVWLJDWLRQ7KHLQYHVWLJDWLRQRIILFHU PXVWQRWFRQVXOW ZLWKWKHVDPH6$5& ZKRWRRNWKHLQLWLDO
   FRPSODLQWRULVSURYLGLQJDVVLVWDQFHWRWKHFRPSODLQDQW7KH6$5&ZLOODVVLVWWKHLQYHVWLJDWLQJRIILFHULQWKHGHYHO
   RSPHQWRITXHVWLRQVWREHDGGUHVVHGWRWKHFRPSODLQDQWWKHVXEMHFWDQGDQ\ZLWQHVVHVRUWKLUGSDUWLHV7KH6$5&ZLOO
   UHPDLQDYDLODEOHWRWKHLQYHVWLJDWLQJRIILFHUIRUFRQVXOWDWLRQDQGDVVLVWDQFHWKURXJKRXWWKHFRQGXFWRIWKHLQYHVWLJDWLRQ
       I 7KH LQYHVWLJDWLQJ RIILFHU VKRXOG LQWHUYLHZ HYHU\ LQGLYLGXDO ZKR PD\ KDYH ILUVWKDQG NQRZOHGJH RI WKH IDFWV
   VXUURXQGLQJWKHYDOLGLW\RIWKHFRPSODLQW7KHLQYHVWLJDWLQJRIILFHUVKRXOGDOVRLQWHUYLHZHYHU\RQHZKRFDQVXEVWDQ
   WLDWHWKHUHODWLRQVKLSRUFRUURERUDWHWKHUHODWLRQVKLSEHWZHHQWKHFRPSODLQDQWDQGWKHVXEMHFW7KHLQYHVWLJDWLQJRIILFHU
   VKRXOGLQWHUYLHZWKHSHUVRQZKRLQLWLDOO\UHFHLYHGWKHIRUPDOFRPSODLQWWKHFRPSODLQDQW V DQ\QDPHGZLWQHVVHV
   DQGWKHVXEMHFW
       J 7KHLQYHVWLJDWLQJRIILFHUVKRXOGQRUPDOO\LQWHUYLHZWKHVXEMHFWDIWHULQWHUYLHZLQJRWKHUZLWQHVVHVVRWKDWKHRU
   VKHZLOOKDYHDFRPSOHWHXQGHUVWDQGLQJRIWKHUHSRUWHGLQFLGHQW,IQHHGHGSULRUWRWKHFRQFOXVLRQRIWKHLQYHVWLJDWLRQ
   WKHLQYHVWLJDWLQJRIILFHUVKRXOGFRQGXFWDVHFRQGLQWHUYLHZRIWKHFRPSODLQDQWDQGWKHVXEMHFW
       K 7KH LQYHVWLJDWLQJ RIILFHU PD\ FKRRVH WR UHLQWHUYLHZ FHUWDLQ ZLWQHVVHV IRU FODULILFDWLRQ RI FRQIOLFWLQJ VWDWH
   PHQWV6KRXOGXQLWSROLFLHVRUSURFHGXUHVEHFDOOHGLQWRTXHVWLRQDVFRQWULEXWLQJIDFWRUVWRSHUFHSWLRQVRIXQODZIXO
   GLVFULPLQDWLRQRUKRVWLOHHQYLURQPHQWWKHLQYHVWLJDWLQJRIILFHUZLOOLQWHUYLHZUHVSRQVLEOHPHPEHUVRIWKHFKDLQRI



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   FRPPDQG,WPD\EHDGYLVDEOHWRLQWHUYLHZFRZRUNHUVRIWKHFRPSODLQDQWDQGWKHVXEMHFWIRUNQRZOHGJHWKH\PD\
   KDYHDERXWWKHUHSRUWHGLQFLGHQWVRUWKHUHODWLRQVKLSWKDWH[LVWVEHWZHHQWKHFRPSODLQDQWDQGVXEMHFW
       L ,IZKHQLQWHUYLHZLQJDQ\6ROGLHULQFOXGLQJWKHVXEMHFWWKHLQYHVWLJDWLQJRIILFHUUHDVRQDEO\VXVSHFWVWKDWWKH
   LQGLYLGXDOKDVFRPPLWWHGDQRIIHQVHLQYLRODWLRQRIWKH8&0-WKHLQYHVWLJDWLQJRIILFHUPXVWDGYLVHWKH6ROGLHURI
   KLVKHUULJKWVXQGHU8&0-$UW,QYHVWLJDWLQJRIILFHUVVKRXOGFRQVXOWZLWKWKHLUVHUYLFLQJMXGJHDGYRFDWHRUOHJDO
   DGYLVRUEHIRUHJLYLQJ8&0-$UWULJKWVZDUQLQJVDQGVKRXOGUHFRUGWKHVXVSHFW¶VHOHFWLRQRQ'$)RUP,I
   WKH 6ROGLHU EHLQJ TXHVWLRQHG DVNV IRU D ODZ\HU WKDW LV DVVHUWV KLV RU KHU ULJKW WR FRXQVHO  TXHVWLRQLQJ PXVW VWRS
   LPPHGLDWHO\DQGWKHLQWHUYLHZPXVWEHWHUPLQDWHG4XHVWLRQLQJPD\UHVXPHRQO\LQWKHSUHVHQFHRIDODZ\HULIWKH
   6ROGLHULQLWLDWHVIXUWKHUGLVFXVVLRQRULIWKH6ROGLHUKDVFRQVXOWHGZLWKDODZ\HUDQGWKHUHDIWHUZDLYHVKLVKHUULJKWV
   SXUVXDQWWRDSURSHUULJKWVDGYLVHPHQW6LPLODUO\TXHVWLRQLQJRID6ROGLHUPXVWVWRSLPPHGLDWHO\LID6ROGLHULQGLFDWHV
   WKHGHVLUHWRUHPDLQVLOHQW2QFHWKLVULJKWLVDVVHUWHGTXHVWLRQLQJPD\UHVXPHRQO\LIWKH6ROGLHULQLWLDWHVIXUWKHU
   TXHVWLRQLQJRULIDIWHUDQDSSURSULDWHLQWHUYDOWKH6ROGLHUZDLYHVKLVRUKHUULJKWVSXUVXDQWWRDSURSHUULJKWVDGYLVH
   PHQW 6HH8&0-$UW05(DQG0&0 
       M 7KHLQYHVWLJDWLQJRIILFHUVKRXOGVHFXUHFRSLHVRIDQ\GRFXPHQWVWKDWPLJKWVXEVWDQWLDWHRUUHIXWHWKHWHVWLPRQ\
   RIWKHFRPSODLQDQWVXEMHFWRUQDPHGZLWQHVVHV7KHVHGRFXPHQWVPD\LQFOXGHFRSLHVRIXQLWDQGSHUVRQQHOUHFRUGV
   DQGWKHFRPSODLQDQW¶VSHUVRQDOGRFXPHQWV
       N :KHQ WKH LQYHVWLJDWLRQ LV FRPSOHWHG WKH LQYHVWLJDWLQJ RIILFHU VKRXOG UHYLHZ WKH HYLGHQFH GHWHUPLQH LI WKH
   LQYHVWLJDWLRQDGHTXDWHO\DGGUHVVHVWKHFRPSODLQWPDNHIDFWXDOILQGLQJVDERXWZKDWRFFXUUHGDQGSURYLGHUHFRPPHQ
   GDWLRQVFRQVLVWHQWZLWKWKHILQGLQJV'XULQJWKHFRXUVHRIWKHLQYHVWLJDWLRQWKHLQYHVWLJDWLYHRIILFHUVKRXOGQRWHFRQ
   FHUQVRUREVHUYDWLRQVRIXQLWSROLF\SURFHGXUHVDQGLQGLYLGXDOOHDGHUVKLSRUPDQDJHPHQWWHFKQLTXHVWKDWPD\KDYH
   DG\VIXQFWLRQDOHIIHFWXSRQXQLWFOLPDWHDQGIRVWHUGLVFULPLQDWRU\EHKDYLRUDQGRUDKRVWLOHHQYLURQPHQW
       O ,IWKHVXEMHFWRIWKHFRPSODLQWLVDSURPRWDEOHFRORQHORUDQ6(6WKHFRPPDQGHUZLOOUHIHUWKHFRPSODLQWWRWKH
   ,*IRULQYHVWLJDWLRQSHU$5 ± 7KH,*LVQRWVXEMHFWWRWKHWLPHOLQHVVHWIRULQ'R',RU86&
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   7KHVHFDVHVZLOOQRWEHHQWHUHGLQWRWKH,QWHJUDWHG&DVH5HSRUWLQJ6\VWHPE\WKH6$5&EXWFRPSODLQDQWVDUHVWLOO
   HOLJLEOHIRUYLFWLPDGYRFDF\VHUYLFHV
       P 7KHFRPPDQGHUZKRLQLWLDOO\UHFHLYHGWKHFRPSODLQWPXVWQRWLI\FRPSODLQDQWVZKHQDQLQYHVWLJDWLRQEHJLQV
   SURYLGHWKHPLQIRUPDWLRQDERXWWKHLQYHVWLJDWLRQSURFHVVDQGYLFWLPVXSSRUWUHVRXUFHVDYDLODEOHRQDQGRIIEDVH
   DQGDQ\DSSHDOULJKWV:KHQWKHLQYHVWLJDWLRQLVFRPSOHWHWKHFRPPDQGHUPXVWQRWLI\WKHFRPSODLQDQWZKHWKHUWKH
   FRPSODLQWZDVVXEVWDQWLDWHGRUXQVXEVWDQWLDWHG
       Q 7KHLQYHVWLJDWLRQPXVWEHFRPSOHWHGZLWKLQFDOHQGDUGD\VRIUHFHLSW,IWKHLQYHVWLJDWLRQLVQRWFRPSOHWHG
   ZLWKLQGD\VWKHFRPPDQGHU PXVWVXEPLWD UHSRUWRQWKH SURJUHVV PDGHLQFRPSOHWLQJWKHLQYHVWLJDWLRQWRWKH
   *&0&$DQGHYHU\FDOHQGDUGD\VDIWHUWKDWXQWLOWKHLQYHVWLJDWLRQLVFRPSOHWHG
       R 8SRQFRPSOHWLRQRIWKHLQYHVWLJDWLRQDILQDOUHSRUWRIWKHLQYHVWLJDWLRQPXVWEHVXEPLWWHGLQFOXGLQJDQ\DFWLRQ
   WDNHQWRWKH*&0&$$OOUHSRUWVRILQYHVWLJDWLRQVRIVH[XDOKDUDVVPHQWPXVWKDYHDOHJDOUHYLHZEHIRUHWKH\DUH
   VXEPLWWHGWRWKH*&0&$7KHIROORZLQJLWHPVDUHUHTXLUHGHQFORVXUHVWRWKHUHSRUWSUHVHQWHGWRWKHDSSRLQWLQJDX
   WKRULW\
      2UGHUVRIDSSRLQWPHQWDVLQYHVWLJDWLQJRIILFHU
      &RS\RIWKH'$)RUPZLWKDWWDFKHGFRQWLQXDWLRQVKHHWV
      &RS\RIWKHFRPSOHWHGLQLWLDOHGFRPPDQGHU¶VSODQWRSUHYHQWUHSULVDO
      /LVWRITXHVWLRQVGHYHORSHGZLWKWKH0(2SURIHVVLRQDO
      6WDWHPHQWVV\QRSVHVRILQWHUYLHZVZLWKFRPSODLQDQW V QDPHGZLWQHVVHVDQGVXEMHFW V DQGUHOHYDQWPHPEHUV
   RIWKHFKDLQ V RIFRPPDQG
      &RSLHVRIVXSSRUWLQJGRFXPHQWV
      'HVFULSWLRQDVVHVVPHQWRIXQLWSROLFLHVSURFHGXUHVWKDWPD\KDYHFRQWULEXWHGWRVH[XDOKDUDVVPHQWZLWKLQWKH
   XQLW
      :ULWWHQDSSURYDORIQH[WKLJKHUHFKHORQFRPPDQGHUIRUDQ\DSSURYHGH[WHQVLRQV
      :ULWWHQH[SODQDWLRQRIH[WHQXDWLQJFLUFXPVWDQFHVWKDWSUHYHQWHGWKHLQYHVWLJDWLQJRIILFHUIURPLQWHUYLHZLQJDQ\
   QDPHGZLWQHVVHVFRPSODLQDQWVRUVXEMHFWV
       S $FWLRQVE\WKHFRPPDQGHUXSRQUHFHLSWRIWKHUHSRUWRIWKHLQYHVWLJDWLRQ2QFHWKHOHJDOUHYLHZLVFRPSOHWHG
   WKHFRPPDQGHUZLOOGHFLGHZKHWKHUIXUWKHULQYHVWLJDWLRQLVQHFHVVDU\RUZKHWKHUWRDSSURYHRUGLVDSSURYHDOORUSDUW
   RIWKHILQGLQJVDQGUHFRPPHQGDWLRQV
      R$FWLRQVWRUHVROYHFRPSODLQWV$FRPSODLQWLVUHVROYHGE\DFWLRQWRUHVWRUHEHQHILWVDQGSULYLOHJHVORVWEHFDXVH
   RIVH[XDOKDUDVVPHQW3XQLWLYHRUDGPLQLVWUDWLYHDFWLRQVDJDLQVWDVXEMHFWGRQRWQHFHVVDULO\FKDQJHRIIHQGLQJEHKDY
   LRUVRUUHFWLI\WKHVLWXDWLRQIRUWKHLQGLYLGXDOFRPSODLQDQWRUXQLW&RPPDQGHUVZLOOWDNHFRUUHFWLYHDFWLRQWRSUHFOXGH
   UHFXUUHQFHRIVH[XDOKDUDVVPHQWDQGDGGUHVVDQ\PDQDJHPHQWGHILFLHQFLHVRURWKHUFRQWULEXWLQJIDFWRUVWKDWFDXVHG
   WKHFRPSODLQWWREHILOHG&RPPDQGHUVVKRXOGUHYLHZWKHLQYHVWLJDWLRQWRDVVHVVIDFWRUVRUSHUFHSWLRQVWKDWPD\KDYH



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   FRQWULEXWHGWRWKHUHSRUWLQJRIDQXQVXEVWDQWLDWHGFRPSODLQW7KHFRPPDQGHUZLOODOVRLQIRUPWKHFRPSODLQDQWDQG
   WKH VXEMHFWRIWKHFRPSODLQWRIWKHLUULJKWWRDSSHDODQGPDNHWKHPDZDUHRIWLPHOLQHVDQGSURFHGXUHVWRILOHWKDW
   DSSHDO&RQVLVWHQWZLWKWKHOLPLWDWLRQVRIWKH3ULYDF\$FWDQGWKH)2,$WKHFRPPDQGHUZLOOSURYLGHWKHFRPSODLQDQW
   DQGVXEMHFWZLWKDPHPRUDQGXPWKDWVXPPDULHVWKHUHVXOWVRIWKHLQYHVWLJDWLRQ
      S)HHGEDFN7KHFRPPDQGHUZLOOSURYLGHZULWWHQIHHGEDFNWRWKHFRPSODLQDQWDQGWKHVXEMHFWRQWKHVWDWXVRIWKH
   LQYHVWLJDWLRQ)HHGEDFNZLOOEHSURYLGHGHYHU\FDOHQGDUGD\V QH[W087$ ± DQGHYHU\087$± WKHUHDIWHUIRU
                                                                                                                




   86$5 XQWLODFWLRQVWRUHVROYHWKHFRPSODLQWDUHWDNHQ7KLVUHVSRQVLELOLW\ZLOOQRWEHGHOHJDWHG)HHGEDFNVKRXOGEH
   FRQVLVWHQWZLWKWKHOLPLWDWLRQVRIWKH3ULYDF\$FWDQGWKH)2,$&RPPDQGHUVZLOOLQIRUPWKHVHUYLFLQJ6$5&6$5&
   ZKRUHFHLYHGWKHLQLWLDOFRPSODLQWRIWKHSURYLVLRQVRIIHHGEDFNVRLWFDQEHHQWHUHGLQWR,&56
      T$FWVRIVH[XDOKDUDVVPHQWWKDWYLRODWHRWKHUSURYLVLRQVRIWKH8&0-
        &HUWDLQUHSRUWHGDFWVRIVH[XDOPLVFRQGXFWDUHLQYHVWLJDWHGE\86$&,'&RURWKHU0LOLWDU\&ULPLQDO,QYHVWL
   JDWLRQ2UJDQL]DWLRQ 0&,2 UDWKHUWKDQDFRPPDQGHU,IDQLQYHVWLJDWLRQUHYHDOVWKDWDQDFWLQLWLDOO\UHSRUWHGDVVH[XDO
   KDUDVVPHQWLVDQDFWRIVH[XDOPLVFRQGXFWWKHFRPPDQGHUZLOOKDOWWKHLQYHVWLJDWLRQDQGUHIHUWKHFDVHWR86$&,'&
   RURWKHU0&,2
        $Q\DFWRIVH[XDOKDUDVVPHQWDVGHILQHGLQSDUDJUDSK ± PD\UHVXOWLQSXQLWLYHDFWLRQ'$&LYLOLDQVZKR
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   FRPPLWDQDFWRIVH[XDOKDUDVVPHQWPD\EHVXEMHFWWRGLVFLSOLQDU\DQGRUDGPLQLVWUDWLYHDFWLRQDFFRUGLQJWRDSSUR
   SULDWHFLYLOLDQSHUVRQQHOUHJXODWLRQV
       D 9LFWLPVRIVWDONLQJDQGVH[XDOPLVFRQGXFWPD\EHHOLJLEOHIRUH[SHGLWHGWUDQVIHUV
       E 9LFWLPVRIZURQJIXOEURDGFDVWRUGLVWULEXWLRQRILQWLPDWHYLVXDOLPDJHVPD\QRWEHHOLJLEOHIRUH[SHGLWHGWUDQV
   IHUVEXWDUHHOLJLEOHIRURWKHUWUDQVIHUV IRUH[DPSOHFRPSDVVLRQDWHUHDVVLJQPHQWRUDVDIHW\PRYH WRHQVXUHWKHLU
   VDIHW\DQGSURWHFWWKHLUZHOOEHLQJ
        6$5&VFDQDVVLVWWKHYLFWLPE\FRRUGLQDWLQJZLWKWKHVHUYLFLQJOHJDORIILFHUHJDUGLQJ69&VHUYLFHVDQGSURYLGH
   DVVLVWDQFHWRWKHYLFWLPLQREWDLQLQJDQ032752VDQGRU&32
        ,ID8&0-RIIHQVH WKDWDOVR PHHWVWKHGHILQLWLRQRIVH[XDO KDUDVVPHQWLVFRPPLWWHGE\D FXUUHQWRUIRUPHU
   LQWLPDWHSDUWQHURIWKHYLFWLP6+$53SURIHVVLRQDOVZLOOFRRUGLQDWHZLWKWKH)DPLO\$GYRFDF\3URJUDP
      U$SSHDOSURFHVV
        %RWKWKHFRPSODLQDQWDQGWKHVXEMHFW V PD\VXEPLWDQDSSHDOWRWKH*&0&$KRZHYHUWKLVDSSHDOSURFHVVLV
   QRWDSSOLFDEOHWRFRPPDQGDFWLRQXQGHU8&0-
        ,IWKHFRPSODLQDQWSHUFHLYHVWKHLQYHVWLJDWLRQIDLOHGWRUHYHDODOOUHOHYDQWIDFWVWRVXEVWDQWLDWHWKHFRPSODLQWRU
   WKDWWKHDFWLRQVWDNHQE\WKHFRPPDQGRQWKHLUEHKDOIZHUHLQVXIILFLHQWWRUHVROYHWKHFRPSODLQWWKHFRPSODLQDQWKDV
   WKHULJKWWRDSSHDOWRWKHQH[WKLJKHUFRPPDQGHULQWKHLUFKDLQRIFRPPDQGZLWK*&0&$7KHFRPSODLQDQWPD\QRW
   DSSHDOWKHDFWLRQWDNHQDJDLQVWWKHSHUSHWUDWRULIDQ\LVWDNHQ,IVXEMHFW V RIWKHFRPSODLQWSHUFHLYHWKDWWKHLQYHVWL
   JDWLRQKDVIDLOHGWRUHYHDODOOUHOHYDQWIDFWVWRSURYHWKHLULQQRFHQFHWKH\KDYHWKHULJKWWRDSSHDOWRWKHQH[WKLJKHU
   FRPPDQGHULQWKHLUFKDLQRIFRPPDQGZLWK*&0&$7KHVHGRFXPHQWVZLOOVHUYHWRSURYLGHWKHQHFHVVDU\JXLGDQFH
   WRXQLWSHUVRQQHOIRUWKHFRXUVHVRIDFWLRQWREHWDNHQZLWKDSSHDOV$SSHDOVWKDWPD\SRWHQWLDOO\OHDYHWKH$UP\FKDLQ
   RIFRPPDQGZLOOEHIRUZDUGHGWRWKH'&6* ±  '$3(±$5 IRUUHVROXWLRQ7KHFRPSODLQDQWPD\DFFHSWWKHFRP
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   PDQGGHWHUPLQDWLRQVXEPLWDQDSSHDORUGHFOLQHWRSXUVXHWKHFRPSODLQWIXUWKHU7KHVXEMHFWPD\DFFHSWWKHFRP
   PDQGGHWHUPLQDWLRQRUVXEPLWDQDSSHDO&RPSODLQDQWDSSHDOVRIXQVXEVWDQWLDWHGFRPSODLQWVZLOOEHPDGHWKURXJK
   WKHVHUYLFLQJIXOOWLPHEULJDGHOHYHO6$5&7KLVFRPPXQLFDWLRQZLOOFOHDUO\VWDWHLQZULWLQJWKHEDVLVRIWKHDSSHDO
   DQGZLOOEHPDGHZLWKLQGD\VRIQRWLILFDWLRQRIWKHILQGLQJV$SSHDOVPDGHDIWHUGD\VIURPQRWLILFDWLRQPD\EH
   UHMHFWHGDVXQWLPHO\$SSHDOVZLOOEHHOHYDWHGWRWKHQH[WKLJKHUFRPPDQGHURIWKHGHFLVLRQDXWKRULW\LQWKHRULJLQDO
   FRPSODLQW$SSHDOVZLOOIROORZWKHIRUPDOFRPSODLQWSURFHVVZKHUHLQWKHQH[WKLJKHUFRPPDQGHUZLWK*&0&$HYDO
   XDWHVWKHFRPSODLQWIRUOHJDOVXIILFLHQF\DQGPD\FKRRVHWRFRQGXFWDQRWKHULQYHVWLJDWLRQRUFRPPDQGHUVLQTXLU\
        7KHDSSHDOZLOOEHVXEPLWWHGZLWKLQFDOHQGDUGD\V DWWKHQH[W087$± GULOOSHULRGIRU86$5 IROORZLQJ
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   QRWLILFDWLRQRIWKHUHVXOWVRILQYHVWLJDWLRQDQGDFNQRZOHGJPHQWRIWKHDFWLRQVRIWKHFRPPDQGWRUHVROYHWKHFRPSODLQW
   7KHFRPSODLQDQWZLOOSURYLGHDEULHIVWDWHPHQWWKDWLGHQWLILHVWKHEDVLVRIWKHDSSHDO7KLVZLOOEHGRQHLQZULWLQJRQ
   '$)RUP3DUW9,7KH'$)RUPZLOOEHUHWXUQHGWRWKHFRPPDQGHULQWKHFKDLQRIFRPPDQGZKRHLWKHU
   FRQGXFWHGWKHLQYHVWLJDWLRQRUDSSRLQWHGWKHLQYHVWLJDWLQJRIILFHU
        2QFHWKHDSSHDOLVLQLWLDWHGE\WKHFRPSODLQDQWWKHFRPPDQGHUKDVWKUHHFDOHQGDUGD\V RURQH087$ ± GULOO
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   SHULRGIRU86$5V WRUHIHUWKHDSSHDOWRWKHQH[WKLJKHUFRPPDQGHUZLWK*&0&$ RU6&IRUWKRVHWHQDQWXQLWVZLWK
   D028WKDWGHVLJQDWHDQDSSHOODWHDXWKRULW\ 
        7KHFRPPDQGHUWRZKLFKWKHDSSHDOLVPDGHKDVFDOHQGDUGD\V RUWKUHH087$ ± SHULRGVIRU86$5V WR
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   UHYLHZWKHFDVHDQGDFWRQWKHDSSHDO WKDWLVDSSURYHLWGHQ\LWRUFRQGXFWDQDGGLWLRQDOLQYHVWLJDWLRQ 1RODWHUWKDQ
   WKHWKFDOHQGDUGD\IROORZLQJUHFHLSWRIWKHDSSHDO RUDSSURSULDWH5&WLPHOLQHV WKLVFRPPDQGHU ZLOOSURYLGH
   ZULWWHQIHHGEDFNFRQVLVWHQWZLWK3ULYDF\$FWDQG)UHHGRPRI,QIRUPDWLRQ$FW )2,$ OLPLWDWLRQVWRWKHFRPSODLQDQW
   RQWKHUHVXOWVRIWKHDSSHDO



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       6H[XDO KDUDVVPHQW FRPSODLQWV LQ D -RLQW 6HUYLFH HQYLURQPHQW ZLOO IROORZ LQVWUXFWLRQV FRQWDLQHG LQ 'R',
   

   ±6H[XDODVVDXOW
   6H[XDODVVDXOWLVDFULPH6H[XDODVVDXOWLVLQWHQWLRQDOVH[XDOFRQWDFWFKDUDFWHUL]HGE\XVHRIIRUFHWKUHDWVLQWLPLGD
   WLRQRUDEXVHRIDXWKRULW\RUZKHQWKHYLFWLPGRHVQRWRUFDQQRWFRQVHQW7KHWHUPLQFOXGHVDEURDGFDWHJRU\RIVH[XDO
   RIIHQVHVFRQVLVWLQJRIWKHIROORZLQJ8&0-RIIHQVHVUDSHVH[XDODVVDXOWDJJUDYDWHGVH[XDOFRQWDFWDEXVLYHVH[XDO
   FRQWDFWRUDWWHPSWVWRFRPPLWWKHVHDFWV7KHUHDUHWZRUHSRUWLQJRSWLRQVIRUVH[XDODVVDXOWUHVWULFWHGUHSRUWLQJDQG
   XQUHVWULFWHGUHSRUWLQJ
      D8QUHVWULFWHGUHSRUWLQJ
        7KLVUHSRUWLQJRSWLRQWULJJHUVDQLQYHVWLJDWLRQFRPPDQGQRWLILFDWLRQDQGDOORZVDSHUVRQZKRUHSRUWVVH[XDO
   DVVDXOWWRDFFHVVKHDOWKFDUHWUHDWPHQWDQGWKHDVVLJQPHQWRID6$5&DQGD6+$539$RU95:KHQDVH[XDODVVDXOW
   LVUHSRUWHGWKURXJKXQUHVWULFWHGUHSRUWLQJD6$5& ZLOOEHQRWLILHGDQGUHVSRQGRUGLUHFWD6+$539$RU95WR
   UHVSRQGRIIHUWKHYLFWLPHPHUJHQF\KHDOWKFDUHDQGDQRSWLRQDOIRUHQVLFH[DPH[SODLQWKHFRQWHQWVRIWKH'')RUP
   DQGUHTXHVWWKDWWKHYLFWLPHOHFWDUHSRUWLQJRSWLRQRQWKHIRUP,IWKHYLFWLPHOHFWVWKHXQUHVWULFWHGUHSRUWLQJ
   RSWLRQDYLFWLPPD\QRWFKDQJHIURPDQXQUHVWULFWHGWRDUHVWULFWHGUHSRUWRQFHLWLVUHSRUWHGWR86$&,'&,IWKH
   XQUHVWULFWHGRSWLRQLVHOHFWHGWKHFRPSOHWHG'')RUP ,QLWLDO,QIRUPDWLRQIRU9LFWLPVDQG:LWQHVVHVRI&ULPH 
   ZKLFKVHWVRXWYLFWLPV¶ULJKWVDQGSRLQWVRIFRQWDFWZLOOEHGLVWULEXWHGWRWKHYLFWLPLQXQUHVWULFWHGUHSRUWLQJFDVHVE\
   'R'ODZHQIRUFHPHQWDJHQWV
        $YLFWLPFDQGLVFORVHWKDWWKH\DUHWKHYLFWLPRIDVH[XDODVVDXOWWRD6$5&6+$539$95+&3FRPPDQG
   DXWKRULWLHVRURWKHUV7KHYLFWLPZLOOKDYHDFFHVVWRPHGLFDOWUHDWPHQWDQGFRXQVHOLQJVXSSRUWDQGFRQVLGHUDWLRQIRU
   SURWHFWLRQRUGHUVDQGH[SHGLWHGWUDQVIHUV,IWKHYLFWLPFKRRVHVWRILOHDQXQUHVWULFWHGUHSRUWWKH6$5&6+$539$
   RU95+&3FKDLQRIFRPPDQGDQGODZHQIRUFHPHQWZLOOEHQRWLILHGWKDWWKHFULPHZDVUHSRUWHG$QRIILFLDOLQYHV
   WLJDWLRQZLOOEHWULJJHUHGDQGWKHVXEMHFWPD\EHSURVHFXWHG$OOXQUHVWULFWHGUHSRUWVZLOOEHUHIHUUHGWR86$&,'&
   UHJDUGOHVVRIVHYHULW\2QFHDYLFWLPILOHVDQXQUHVWULFWHGUHSRUWLWFDQQRWEHFRQYHUWHGWRDUHVWULFWHGUHSRUW,IDWDQ\
   WLPHDYLFWLPGHFOLQHVWRSDUWLFLSDWHLQDQLQYHVWLJDWLRQRUSURVHFXWLRQWKDWGHFLVLRQVKRXOGEHKRQRUHGE\FRPPDQG
   HUVLQYHVWLJDWRUVDQGDOORWKHUSHUVRQQHOLQYROYHGLQWKHFDVH
        $ FRPPDQGHU ZKR UHFHLYHV DQ XQUHVWULFWHG UHSRUW RI D VH[XDO DVVDXOW ZLOO LPPHGLDWHO\ UHIHU WKH PDWWHU WR
   86$&,'&$FRPPDQGHUFDQQRWLQYHVWLJDWHDQ\UHSRUWRIVH[XDODVVDXOWRUGHOD\LPPHGLDWHO\FRQWDFWLQJ86$&,'&
        ,IDVXSHUYLVRURID6ROGLHUEHFRPHVDZDUHRIDVH[XDODVVDXOWLQYROYLQJD6ROGLHUWKHVXSHUYLVRULVUHTXLUHGWR
   LQIRUPWKH6ROGLHU¶VFRPPDQGHULPPHGLDWHO\
        &RPPDQGHUVZLOOSURYLGHILQDOGLVSRVLWLRQRIVH[XDODVVDXOWFDVHVLQDFFRUGDQFHZLWK$5 ±        




      E5HVWULFWHGUHSRUWLQJ
        7KLVUHSRUWLQJRSWLRQGRHVQRWWULJJHUDQLQYHVWLJDWLRQ7KH6&LVQRWLILHGDVH[XDODVVDXOWKDVEHHQUHSRUWHG
   EXWLVQRWJLYHQWKHYLFWLP¶VQDPHRURWKHU3,,5HVWULFWHGUHSRUWLQJDOORZV6ROGLHUVDQG)DPLO\PHPEHUVDJHDQG
   ROGHUZKRDUHVH[XDODVVDXOWYLFWLPVWRFRQILGHQWLDOO\GLVFORVHWKHDVVDXOWWRVSHFLILHGLQGLYLGXDOV 6$5&6+$53
   9$RU95 DQGUHFHLYHKHDOWKFDUHWUHDWPHQWDQGWKHDVVLJQPHQWRID6$5&DQG6+$539$RU95$VH[XDODVVDXOW
   YLFWLPFDQUHSRUWGLUHFWO\WRD6$5&ZKRZLOOUHVSRQGRUGLUHFWD6+$539$RU95WRUHVSRQGRIIHUWKHYLFWLP
   KHDOWKFDUHWUHDWPHQWDQGDVH[XDODVVDXOWIRUHQVLFH[DPLQDWLRQ 6$)( DQGH[SODLQWRWKHYLFWLPWKHUHVRXUFHVDYDLO
   DEOHWKURXJKWKH'')RUPZKHUHWKHUHSRUWLQJRSWLRQLVHOHFWHG7KHUHVWULFWHGUHSRUWLQJRSWLRQLVRQO\DYDLODEOH
   WR6ROGLHUVDQG)DPLO\PHPEHUVDJHGDQGROGHU'$&LYLOLDQVZLVKLQJWRILOHDUHVWULFWHGUHSRUWVKRXOGFRQVXOW
   ZLWKD6$5&6+$539$RU6+$5395,IDYLFWLPHOHFWVWKLVUHSRUWLQJRSWLRQDYLFWLPPD\FRQYHUWDUHVWULFWHG
   UHSRUWWRDQXQUHVWULFWHGUHSRUWDWDQ\WLPH7KHFRQYHUVLRQWRDQXQUHVWULFWHGUHSRUWZLOOEHGRFXPHQWHGZLWKDVLJQD
   WXUHE\WKHYLFWLPDQGWKHVLJQDWXUHRIWKH6$5&RU6+$539$RU95LQ WKHDSSURSULDWHEORFNRQWKH'')RUP
   
        7KHYLFWLPFDQFRQILGHQWLDOO\GLVFORVHDQGUHSRUWDVH[XDODVVDXOWWRD6$5&6+$539$95RU+&37KH
   YLFWLPZLOOKDYHDFFHVVWRPHGLFDOWUHDWPHQWLQFOXGLQJHPHUJHQF\FDUHFRXQVHOLQJDQGWKHDVVLJQPHQWRID6$5&
   DQG6+$539$RU95ZLWKRXWWULJJHULQJDQRIILFLDOLQYHVWLJDWLRQRUSURVHFXWLRQRIWKHVXEMHFW,IWKHYLFWLPFKRRVHV
   WRILOHDUHVWULFWHGUHSRUWWKH6&ZLOOUHFHLYHQRQLGHQWLI\LQJLQIRUPDWLRQLQGLFDWLQJDVH[XDODVVDXOWKDVEHHQUHSRUWHG
        ,IWKHYLFWLPWHOOVVRPHRQHRXWVLGHRIWKHUHVWULFWHGUHSRUWLQJFKDLQ IRUH[DPSOHDIULHQG)DPLO\PHPEHU
   URRPPDWHRURWKHUV WKHQWKH\FDQVWLOOHOHFWWRVXEPLWDUHVWULFWHGUHSRUWKRZHYHULIWKHSHUVRQWRZKRPWKHYLFWLP
   FRQILGHGWKHLQIRUPDWLRQLVLQWKHYLFWLP¶VFKDLQRIFRPPDQGRUPLOLWDU\ODZHQIRUFHPHQWWKHUHSRUWFDQQRWEHUH
   VWULFWHG,IWKHIULHQG)DPLO\PHPEHUURRPPDWHRURWKHUSHUVRQWRZKRPWKHYLFWLPFRQILGHGWKHLQIRUPDWLRQUHSRUWV
   WKHVH[XDODVVDXOWWRWKHFKDLQRIFRPPDQGRUODZHQIRUFHPHQWDQRIILFLDOLQYHVWLJDWLRQZLOOEHLQLWLDWHG
        )RUUHVWULFWHGDQGXQUHVWULFWHGUHSRUWLQJSXUSRVHVDUHSRUWFDQEHPDGHWRKHDOWKFDUHSHUVRQQHOEXWKHDOWKFDUH
   SHUVRQQHO ZLOO WKHQ LPPHGLDWHO\ FRQWDFW WKH 6$5& RU 6+$53 9$ WR H[SODLQ DQG FRPSOHWH WKH '' )RUP 



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   +HDOWKFDUHSHUVRQQHOFDQSUHVHUYHWKHUHVWULFWHGUHSRUWLQJRSWLRQGLVFORVXUHVWRWKHPGRQRWWULJJHUDQLQYHVWLJDWLRQ
   +HDOWKFDUHSHUVRQQHOPD\QRWDVVLVWZLWKWKH'')RUP
       8QOHVVD'')RUPLVILOHGZLWKD6$5&DUHSRUWWRD&KDSODLQRU69&ZLOOQRWUHVXOWLQWKHUHQGHULQJRI
   6+$53VHUYLFHVRULQYHVWLJDWLYHDFWLRQEHFDXVHRIWKHSULYLOHJHVDVVRFLDWHG ZLWKVSHDNLQJWRWKHVHLQGLYLGXDOV $
   &KDSODLQRU69&VKRXOGDGYLVHWKHYLFWLPWRFRQVXOWZLWKD6$5&WRXQGHUVWDQGWKHIXOOVFRSHRIVHUYLFHVDYDLODEOH
   DQGIDFLOLWDWHZLWKWKHYLFWLP¶VFRQVHQWFRQWDFWZLWKD6$5&

   ±5HWDOLDWLRQLQUHVSRQVHWRUHSRUWVRIVH[XDODVVDXOWDQGVH[XDOKDUDVVPHQW
      D6$5&V6+$539$VDQG95VZLOOLQIRUPYLFWLPVRIWKHUHVRXUFHVDYDLODEOHWRUHSRUWLQVWDQFHVRIUHWDOLDWLRQ
   UHSULVDORVWUDFLVPPDOWUHDWPHQWVH[XDOKDUDVVPHQWRUWRUHTXHVWDWUDQVIHURUVHHNDQ032,IWKHUHWDOLDWRU\EH
   KDYLRULVFULPLQDOLQQDWXUHDQGWKHYLFWLPILOHGDQXQUHVWULFWHGUHSRUWWKHFULPHVKRXOGEHLPPHGLDWHO\UHSRUWHGWR
   86$&,'&HYHQLIWKHFULPHLVQRWVRPHWKLQJQRUPDOO\UHSRUWHGWR86$&,'& IRUH[DPSOHYLFWLP¶VSHUVRQDOYHKLFOH
   ZDVGHIDFHG 9LFWLPVFDQVHHNDVVLVWDQFHRQKRZWRUHSRUWUHWDOLDWRU\EHKDYLRUE\UHTXHVWLQJDVVLVWDQFHIURP²
        $6$5&6+$539$RU95WRUHSRUWDVH[XDODVVDXOWRUVH[XDOKDUDVVPHQW
        $6$5&RQDGLIIHUHQWLQVWDOODWLRQZKLFKFDQEHIDFLOLWDWHGE\WKH'R'6DIH+HOSOLQH
        ,PPHGLDWHFRPPDQGHU
        $FRPPDQGHURXWVLGHWKHLUFKDLQRIFRPPDQG
        (2SURIHVVLRQDO
        $*2LIWKHUHWDOLDWLRQUHSULVDORVWUDFLVPRUPDOWUHDWPHQWLQYROYHVWKHDGPLQLVWUDWLYHVHSDUDWLRQRIYLFWLPV
   ZLWKLQ\HDURIWKHILQDOGLVSRVLWLRQRIWKHLUVH[XDODVVDXOWFDVH
        $*2LIWKHYLFWLPEHOLHYHVWKDWWKHUHKDVEHHQDQLPSDFWRQWKHLUPLOLWDU\FDUHHUEHFDXVHWKH\UHSRUWHGDVH[XDO
   DVVDXOWRUVRXJKWPHQWDOKHDOWKWUHDWPHQWIRUWUDXPDWKDWWKHYLFWLPEHOLHYHVLVDVVRFLDWHGZLWKWKHVH[XDODVVDXOW7KH
   YLFWLPPD\GLVFXVVWKHLPSDFWZLWKWKH*2
        7ULDOFRXQVHO9LFWLP:LWQHVV$VVLVWDQFH3URJUDP69&LIWKHYLFWLPLVHOLJLEOHIRURQHSXUVXDQWWR86&
   HRUDOHJDODVVLVWDQFHDWWRUQH\
        ,*LQYRNLQJZKLVWOHEORZHUSURWHFWLRQV
        &RPPDQGHURU6$5&WRUHTXHVWDVDIHW\WUDQVIHURUDQ032752DQGRU&32LIWKHYLFWLPLVLQIHDUIRU
   WKHLUVDIHW\
        86$&,'&LIWKHUHWDOLDWLRQWDNHVWKHIRUPRIDQDFWWKDWLVFULPLQDOLQQDWXUHDQGWKHYLFWLPILOHGDQXQUH
   VWULFWHGUHSRUW
       D 6$5&V6+$539$VDQG95VZLOOSURYLGHVXSSRUWWRYLFWLPVRIVH[XDODVVDXOWDQGFRPSODLQDQWVRIVH[XDO
   KDUDVVPHQW ZKR DUH WDUJHWV RI UHWDOLDWRU\ EHKDYLRU XQWLO WKH UHVSRQVH WR WKH UHWDOLDWRU\ EHKDYLRU KDV UHDFKHG ILQDO
   GLVSRVLWLRQ
       E 6+$53SURIHVVLRQDOVZLOODVVLVWFRPPDQGHUVZLWKUHWDOLDWLRQSUHYHQWLRQHIIRUWV
      E:KHQ86$&,'&LQLWLDWHVDVH[XDODVVDXOWLQYHVWLJDWLRQLWZLOODOVRLQLWLDWHDQGFRQGXFWVXEVHTXHQWLQYHVWLJD
   WLRQVUHODWHGWRVXVSHFWHGUHWDOLDWLRQDJDLQVWWKHVH[XDODVVDXOWYLFWLPWRLQFOXGHSK\VLFDODVVDXOWVWKUHDWVDQGGDPDJH
   WRSURSHUW\9LFWLPVDQGRUWKHLUFRPPDQGHUVKRXOGLPPHGLDWHO\QRWLI\86$&,'&ZKHQHYHUWKHYLFWLPRIVH[XDO
   DVVDXOWLVWKUHDWHQHGDVVDXOWHGRUVXIIHUVSURSHUW\GDPDJHVXEVHTXHQWWRWKHLUXQUHVWULFWHGUHSRUWRIDVH[XDODVVDXOW
      F&RPPDQGHUV ZLOO HVWDEOLVK SURFHGXUHV WR SURWHFW DOO ILUVW UHVSRQGHUV ERWK FLYLOLDQV DQG 6ROGLHUV DV ZHOO DV
   ZLWQHVVHV DQG E\VWDQGHUV ZKR LQWHUYHQHG WR SUHYHQW D VH[XDO DVVDXOW RU DFW RI VH[XDO KDUDVVPHQW IURP UHWDOLDWLRQ
   UHSULVDORVWUDFLVPRUPDOWUHDWPHQWUHODWHGWRWKHH[HFXWLRQRIWKHLUGXWLHVDQGUHVSRQVLELOLWLHV
      G&RPPDQGHUV VKRXOG FRQVXOW ZLWK WKHLU VHUYLFLQJ OHJDO DGYLVRU DQGRU ,* IRU JXLGDQFH RQ LPSOHPHQWDWLRQ RI
   SROLF\UHJDUGLQJUHSRUWVRIUHWDOLDWRU\EHKDYLRUV

   ±&RPPDQGHUDFWLRQVXSRQQRWLILFDWLRQRIDVH[XDODVVDXOW
   &RPPDQGHUVKDYHVLJQLILFDQWOHDGHUVKLSUHVSRQVLELOLW\IRUDFWLRQVDIWHUDUHSRUWRIVH[XDODVVDXOW7KHYLFWLP¶VFRP
   PDQGHUZLOOHQVXUHWKHIROORZLQJDFWLRQVDUHWDNHQLQUHVSRQVHWRDQXQUHVWULFWHGUHSRUWRIVH[XDODVVDXOW²
      D(QVXUHWKHSK\VLFDOVDIHW\RIWKHYLFWLP²GHWHUPLQHLIWKHVXEMHFWLVVWLOOQHDUE\DQGLIWKHYLFWLPQHHGVSURWHF
   WLRQ
      E'HWHUPLQHLIWKHYLFWLPQHHGVRUGHVLUHVHPHUJHQF\PHGLFDOFDUH
      F1RWLI\WKH6$5&DQG86$&,'&DVVRRQDVWKHYLFWLP¶VLPPHGLDWHVDIHW\LVHQVXUHG
      G$GYLVHWKHYLFWLPRIWKHQHHGWRSUHVHUYHHYLGHQFH IRUH[DPSOHE\QRWEDWKLQJVKRZHULQJRUZDVKLQJFORWK
   LQJ 
      H0DNHDSSURSULDWHDGPLQLVWUDWLYHDQGORJLVWLFDOFRRUGLQDWLRQIRUPRYHPHQWRIYLFWLPWRUHFHLYHFDUH ,QYROYH
   WKH PLQLPXP QXPEHU RI SHUVRQQHO SRVVLEOH DQG RQO\ RQ D QHHGWRNQRZ EDVLV  ,I QHHGHG DVVLVW ZLWK RU SURYLGH
   LPPHGLDWHPLOLWDU\WUDQVSRUWDWLRQIRUWKHYLFWLPWRWKHKRVSLWDORURWKHUDSSURSULDWHWUHDWPHQWIDFLOLW\



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      I$VNLIWKHYLFWLPQHHGVDVXSSRUWSHUVRQ IRUH[DPSOHDSHUVRQDOIULHQGRU)DPLO\PHPEHU6+$539$FKDS
   ODLQ WRLPPHGLDWHO\MRLQWKHYLFWLP(QVXUHWKHYLFWLPXQGHUVWDQGVWKHDYDLODELOLW\RIYLFWLPDGYRFDF\DQGWKHEHQHILWV
   RIDFFHSWLQJDGYRFDF\DQGVXSSRUW
      J1RWLI\WKHFKDSODLQLIWKHYLFWLPUHTXHVWVSDVWRUDOFRXQVHOLQJRUDVVLVWDQFH
      K$GYLVHWKHYLFWLPWKDWKHRUVKHPD\EHHOLJLEOHIRUDQ69&
      L1RWLI\PLOLWDU\SROLFHLQVWDOODWLRQSURYRVWPDUVKDO VHH$5 ±  WKHVHUYLFLQJOHJDORIILFHDQGFRPPDQGHUV
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   LQWKHFKDLQRIFRPPDQG DVDSSURSULDWH ZLWKLQKRXUV DVVRRQDVWKHYLFWLP¶VVDIHW\LVHVWDEOLVKHGDQGYLFWLP¶V
   PHGLFDOWUHDWPHQWSURFHGXUHVDUHLQPRWLRQ DQG²
        6WULFWO\OLPLWWKHGHWDLOVUHJDUGLQJWKHVH[XDODVVDXOWWRRQO\WKRVHSHUVRQQHOZKRKDYHDOHJLWLPDWHQHHGWR
   NQRZVSHFLILFDOO\WKRVHZKRDUHLQYROYHGLQWKHLQYHVWLJDWLRQRULQHQVXULQJWKHYLFWLP¶VVDIHW\DQGFDUH
        7DNHDFWLRQWRVDIHJXDUGWKHYLFWLPIURPDQ\IRUPDORULQIRUPDOLQYHVWLJDWLYHLQWHUYLHZVRULQTXLULHVH[FHSW
   E\WKRVHSHUVRQQHOZKRPD\KDYHD³QHHGWRNQRZ´LQFOXGLQJEXWQRWOLPLWHGWRWKH86$&,'&LQYHVWLJDWRU V DQG
   WULDOFRXQVHO
        &ROOHFWRQO\WKHQHFHVVDU\LQIRUPDWLRQ IRUH[DPSOHYLFWLP¶VLGHQWLW\ORFDWLRQDQGWLPHRIWKHVH[XDODVVDXOW
   QDPHDQGRUGHVFULSWLRQRIRIIHQGHU V 'RQRWDVNGHWDLOHGTXHVWLRQVDQGRUSUHVVXUHWKHYLFWLPIRUUHVSRQVHV
        'RQRWFRQGXFW$5 ± LQYHVWLJDWLRQVRUVLPLODULQTXLULHVWRGHWHUPLQHLIDVH[XDODVVDXOWRFFXUUHG
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        &ROODERUDWHFORVHO\ZLWKWKH6$5&OHJDOPHGLFDODQGFKDSODLQRIILFHVDQGRWKHUVHUYLFHSURYLGHUVWRHQVXUH
   WLPHO\FRRUGLQDWHGDQGDSSURSULDWHUHVSRQVHVWRVH[XDODVVDXOWLVVXHVDQGFRQFHUQV
      M(QVXUHWKHYLFWLPLVPDGHDZDUHRIDQGHQFRXUDJHGWRH[HUFLVHWKHLURSWLRQVGXULQJHDFKSKDVHRIWKHPHGLFDO
   LQYHVWLJDWLYHDQGOHJDOSURFHVVHV
      N(QVXUH86$&,'&QRWLILHVYLFWLPVDQGZLWQHVVHVRIWKHLUULJKWVWKURXJKDFRPSOHWHG'')RUP 6HH$5
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      O3URYLGHHPRWLRQDOVXSSRUWWRWKHYLFWLPLQFOXGLQJ²
        7KURXJKRXWWKHLQYHVWLJDWLRQFRQVXOWZLWKWKHYLFWLPDQGWRWKHH[WHQWSUDFWLFDEOHDFFRPPRGDWHWKHYLFWLP¶V
   ZLVKHVUHJDUGLQJVDIHW\KHDOWKDQGVHFXULW\DVORQJDVQHLWKHUDFULWLFDOPLVVLRQQRUDIXOODQGFRPSOHWHLQYHVWLJDWLRQ
   LVFRPSURPLVHG
        /LVWHQHQJDJHLQTXLHWVXSSRUWRIWKHYLFWLPDVQHHGHG%HDYDLODEOHLQWKHZHHNVDQGPRQWKVIROORZLQJWKH
   VH[XDODVVDXOWDQGHQVXUHWKHYLFWLPWKDWWKH\FDQUHO\RQWKHFRPPDQGHU¶VVXSSRUW
        (PSKDVL]HWRWKHYLFWLPWKHDYDLODELOLW\RIDGGLWLRQDODYHQXHVRIVXSSRUWUHIHUWRDYDLODEOHFRXQVHOLQJUHVRXUFHV
   DQGRWKHUYLFWLPVHUYLFHV
        (QVXUHWKDWYLFWLPVRIVH[XDODVVDXOWUHFHLYHVHQVLWLYHFDUHDQGVXSSRUWDQGGRQRWH[SHULHQFHVHFRQGDU\YLF
   WLPL]DWLRQDVDUHVXOWRIPDNLQJDUHSRUW
        $VDSSURSULDWHUHIHUWKHYLFWLP¶V)DPLO\WRDYDLODEOHUHVRXUFHV WKDWLVFRXQVHOLQJUHVRXUFHVLQIRUPDWLRQDQG
   PHGLFDOFDUH 
        &RQWLQXHWRPRQLWRUWKHYLFWLP¶VZHOOEHLQJSDUWLFXODUO\LIWKHUHDUHDQ\LQGLFDWLRQVRIVXLFLGDOLGHDWLRQDQG
   HQVXUHDSSURSULDWHLQWHUYHQWLRQRFFXUVDVQHHGHG
      P(QVXUHWKHSK\VLFDOVDIHW\RIWKHYLFWLP
        ,IQHHGHGFRQIHUZLWKYLFWLP¶V+&3 V DQGEDVHGRQWKHLUUHFRPPHQGDWLRQGHWHUPLQHWKHQHHGIRURURWKHU
   DGPLQLVWUDWLYHRUFRQYDOHVFHQWOHDYHRSWLRQVLQDFFRUGDQFHZLWK$5 ±  ± 
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        'HWHUPLQHLIWKHYLFWLPGHVLUHVRUQHHGVD³QRFRQWDFW´RUGHURUDQ032WREHLVVXHGSDUWLFXODUO\LIWKHYLFWLP
   DQGWKHVXEMHFWDUHDVVLJQHGWRWKHVDPHFRPPDQGXQLWGXW\ORFDWLRQRUOLYLQJTXDUWHUV&RRUGLQDWLRQZLWKRWKHU
   FRPPDQGHUVPD\EHQHFHVVDU\LIWKHVXEMHFWLVDVVLJQHGWRDGLIIHUHQWFRPPDQGHU032VDUHDQHIIHFWLYHWRROIRU
   FRPPDQGHUVWRPDLQWDLQWKHVDIHW\RIYLFWLPVDQGZLWQHVVHV&RSLHVRIWKH'')RUP 0LOLWDU\3URWHFWLYH2UGHU
    032 ZLOOEHSURYLGHGWRWKHYLFWLPVXEMHFWDQGWRWKHPLOLWDU\SROLFHIRUHQWU\LQWRIHGHUDOGDWDEDVHV
       D (QVXUHWKDWZKHQDQ032KDVEHHQLVVXHGWKDWWKHSURWHFWHGYLFWLPLVLQIRUPHGLQDWLPHO\PDQQHURIWKHLU
   RSWLRQWRUHTXHVWWUDQVIHUIURPWKHFRPPDQGWRZKLFKKHRUVKHLVDVVLJQHG VHHDSS,IRUH[SHGLWHGWUDQVIHUSURFH
   GXUHV ,QDGGLWLRQWKHSHUVRQVHHNLQJWKH032ZLOOEHDGYLVHGWKDWWKH032LVQRWHQIRUFHDEOHE\FLYLOLDQDXWKRULWLHV
   RIISRVW9LFWLPVGHVLULQJSURWHFWLRQRIIEDVHVKRXOGEHDGYLVHGWRVHHND&32
       E (QVXUHWKDWDSSURSULDWHFLYLOLDQDXWKRULWLHVDUHQRWLILHGRIWKHLVVXDQFHRIDSURWHFWLYHRUGHUDQGWKHLQGLYLGXDOV
   LQYROYHGLQWKDWRUGHULQWKHHYHQWDQ032KDVEHHQLVVXHGDJDLQVWDPHPEHURIWKH$UPHG)RUFHVDQGDQ\LQGLYLGXDO
   LQYROYHGLQWKHRUGHUGRHVQRWUHVLGHRQDPLOLWDU\LQVWDOODWLRQDWDQ\WLPHGXULQJWKHGXUDWLRQRIWKH032
        'HWHUPLQHWKHQHHGIRUWHPSRUDU\UHDVVLJQPHQWWRDQRWKHUXQLWGXW\ORFDWLRQRUOLYLQJTXDUWHUVRQWKHLQVWDO
   ODWLRQRIWKHYLFWLPRUWKHVXEMHFWEHLQJLQYHVWLJDWHGZRUNLQJZLWKWKHVXEMHFWFRPPDQGHULIGLIIHUHQWWKDQWKHYLFWLP¶V
   FRPPDQGHUXQWLOWKHUHLVDILQDOOHJDOGLVSRVLWLRQRIWKHVH[XDODVVDXOWUHSRUWDQGRUWKHYLFWLPLVQRORQJHULQGDQJHU
        &RRUGLQDWHZLWKVH[XDODVVDXOWUHVSRQVHDJHQFLHVDQGWKHFKDLQRIFRPPDQG LQYROYHDVIHZSHRSOHDVSRVVLEOH
   DQGRQO\RQD QHHGWRNQRZEDVLVSURWHFWLQJWKHYLFWLP¶VSULYDF\ WRGHWHUPLQHLIWKHYLFWLP¶VFRQGLWLRQZDUUDQWV



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   UHGHSOR\PHQWRUUHDVVLJQPHQWXQWLOILQDOOHJDOGLVSRVLWLRQRIWKHVH[XDODVVDXOWFDVHDQGRUWKHYLFWLPLVQRORQJHULQ
   GDQJHU
      Q3URWHFWWKHYLFWLP¶VOHJDOULJKWV
        ,QIRUPWKHYLFWLPRIWKHLUULJKWWRUHTXHVWDQH[SHGLWHGWUDQVIHU
        ,QIRUPWKHYLFWLPRIWKHUHVRXUFHVLQWKHDWHUWKDWDUHDYDLODEOHWKURXJKWKH9LFWLP:LWQHVV$VVLVWDQFH3URJUDP
    VHH$5 ±  
                  




        (QVXUHWKHYLFWLPXQGHUVWDQGVWKHDYDLODELOLW\RIRWKHUUHIHUUDORUJDQL]DWLRQVVWDIIHG ZLWKSHUVRQQHOZKRFDQ
   H[SODLQWKHPHGLFDOLQYHVWLJDWLYHDQGOHJDOSURFHVVHVDQGDGYLVHWKHYLFWLPRIKLVRUKHUYLFWLPVXSSRUWULJKWV
        &RQVXOW ZLWK VHUYLFLQJ OHJDO RIILFH DV QHHGHG WR GHWHUPLQH ZKHQ DQG KRZ EHVW WR GLVSRVH RI WKH YLFWLP¶V
   FROODWHUDOPLVFRQGXFWLIDQ\
       D $EVHQWH[WHQXDWLQJRURYHUULGLQJFRQVLGHUDWLRQVZKLFKLQWKHFRPPDQGHU¶VMXGJPHQWPDNHLWLQDSSURSULDWHWR
   GHOD\WDNLQJDFWLRQWKHFRPPDQGHUVKRXOGFRQVLGHUGHIHUULQJGLVFLSOLQHIRUVXFKYLFWLPPLVFRQGXFWXQWLODOOLQYHVWL
   JDWLRQV DUH FRPSOHWHG DQG WKH VH[XDO DVVDXOW UHSRUW KDV EHHQ UHVROYHG &RPPDQGHUV VKRXOG WDNH LQWR DFFRXQW WKH
   WUDXPDWRDYLFWLPDQGGLVSRVHRIFROODWHUDOPLVFRQGXFWLQDPDQQHUWKDWHQFRXUDJHVUHSRUWLQJRIVH[XDODVVDXOWVDQG
   WKHFRQWLQXHGFRRSHUDWLRQRIWKHYLFWLP.HHSLQPLQGWKHLPSOLFDWLRQVRIWKLVGHFLVLRQRQVSHHG\WULDODQGRUVWDWXWH
   RIOLPLWDWLRQV
       E &RQVXOWZLWKWKHVHUYLFLQJOHJDORIILFHDQGQRWLI\WKHDVVLJQHG6$5&EHIRUHWDNLQJDQ\DGPLQLVWUDWLYHRUGLV
   FLSOLQDU\DFWLRQDIIHFWLQJWKHYLFWLP
        $YRLG DXWRPDWLF VXVSHQVLRQ RU UHYRFDWLRQ RI D VHFXULW\ FOHDUDQFH DQGRU $UP\ 6XLWDELOLW\ 3URJUDP DFFHVV
   XQGHUVWDQGLQJWKDWWKHYLFWLPPD\EHVDWLVIDFWRULO\WUHDWHGIRUKLVKHUUHODWHGWUDXPDZLWKRXWFRPSURPLVLQJKLVKHU
   VHFXULW\FOHDUDQFHRU353&RQVLGHUWKHQHJDWLYHLPSDFWWKDWVXVSHQVLRQRIDYLFWLP¶VVHFXULW\FOHDUDQFHRUPD\KDYH
   RQEXLOGLQJDFOLPDWHRIWUXVWDQGFRQILGHQFHLQWKH$UP\¶VVH[XDODVVDXOWUHSRUWLQJV\VWHPEXWPDNHILQDOGHWHUPL
   QDWLRQEDVHGRQHVWDEOLVKHGQDWLRQDOVHFXULW\VWDQGDUGV VHH$5 ± DQG'R' ±5 
                                                                                                     




        5HPLQGSHUVRQQHOWKDWGLVFXVVLRQRIDVH[XDODVVDXOWPLJKWFRPSURPLVHDQLQYHVWLJDWLRQ
        'RQRWDOORZ6ROGLHUVWREHUHWDOLDWHGDJDLQVWIRUUHSRUWLQJVH[XDODVVDXOW
        'LVFRXUDJH PHPEHUV IURP SDUWLFLSDWLQJ LQ JRVVLS RU JUDSHYLQH VSHFXODWLRQ DERXW WKH FDVH RU LQYHVWLJDWLRQ
   ,QVWUXFWXQLW PHPEHUVWR ZDLWXQWLODOOWKHIDFWVDUH NQRZQDQGILQDOGLVSRVLWLRQRIWKHUHSRUWKDVRFFXUUHGEHIRUH
   UHDFKLQJFRQFOXVLRQV
        $GYLVHWKRVHZKRPD\KDYHNQRZOHGJHRIWKHHYHQWVOHDGLQJXSWRRUVXUURXQGLQJWKHVH[XDODVVDXOWWRIXOO\
   FRRSHUDWHZLWKDQ\LQYHVWLJDWLRQLQYROYHG
        0D\ FRQVLGHU VRPH IRUP RI XQLW WUDLQLQJ RU KDYH DQ RXWVLGH H[SHUW DGGUHVV WKH XQLW UHJDUGLQJ SUHYHQWLYH
   PHDVXUHVDVZHOODVVRPHRIWKHHPRWLRQDORUSV\FKRORJLFDOIHHOLQJVWKDWPD\PDQLIHVWWKHPVHOYHVDIIHFWWKHXQLW
   DQGUHTXLUHWKHXQLW¶VUHVSRQVHGXULQJWKHFRXUVHRIWKHLQYHVWLJDWLRQ
        &RQWLQXRXVO\PRQLWRUWKHXQLW¶VRYHUDOOFOLPDWHWRHQVXUHQHLWKHUWKHYLFWLPQRUWKHVXEMHFWLVEHLQJRVWUDFL]HG
   7DNHDFWLRQVWRSUHYHQWRUJDQL]DWLRQDOVSOLQWHULQJ
      R&RPPDQGHUVRIVXEMHFWVRIVH[XDODVVDXOWLQYHVWLJDWLRQVZLOOHQVXUHWKHIROORZLQJDFWLRQVDUHWDNHQLQUHVSRQVH
   WRDQXQUHVWULFWHGUHSRUWRIVH[XDODVVDXOW²
        1RWLI\ WKH 6$5& DQG 86$&,'& LPPHGLDWHO\ DIWHU UHFHLYLQJ D UHSRUW RI D VH[XDO DVVDXOW LQFLGHQW 'R QRW
   FRQGXFWDQ\LQGHSHQGHQWLQYHVWLJDWLRQVRIVH[XDODVVDXOWUHSRUWV
        $YRLGTXHVWLRQLQJWKHVXEMHFWDERXWWKHVH[XDODVVDXOWWRWKHH[WHQWSRVVLEOHEHFDXVHGRLQJVRPD\MHRSDUGL]H
   WKHFULPLQDOLQYHVWLJDWLRQ+RZHYHULITXHVWLRQLQJGRHVRFFXUDGYLVHWKH6ROGLHUUHSRUWHGIRUFRPPLWWLQJD8&0-
   RIIHQVHRIKLVRUKHUULJKWVXQGHU$UWLFOHRI86&&KDSWHU
        $Q\FRQWDFW ZLWKD6ROGLHUVXVSHFWHGRIDVH[XDODVVDXOW PD\LQYROYH UXOHVDQGSURFHGXUHVWKDWHQVXUHGXH
   SURFHVVRIODZDQGDUHXQLTXHWRWKHPLOLWDU\FULPLQDOMXVWLFHV\VWHP&RPPDQGHUVDQGRWKHUFRPPDQGUHSUHVHQWDWLYHV
   VKRXOGFRQWDFWWKHVHUYLFLQJOHJDORIILFHIRUJXLGDQFH
        6DIHJXDUGWKHVXEMHFW¶VULJKWVDQGSUHVHUYHWKHLQWHJULW\RIDIXOODQGFRPSOHWHLQYHVWLJDWLRQLQFOXGLQJOLPLWD
   WLRQVRQDQ\IRUPDORULQIRUPDOLQYHVWLJDWLYHLQWHUYLHZVRULQTXLULHVE\SHUVRQQHORWKHUWKDQWKRVHE\SHUVRQQHOZLWK
   DOHJLWLPDWHQHHGWRNQRZ
        6WULFWO\OLPLWLQIRUPDWLRQSHUWLQHQWWRDQLQYHVWLJDWLRQWRWKRVHZKRKDYHDOHJLWLPDWHQHHGWRNQRZ
        (QVXUHSURFHGXUHVDUHLQSODFHWRLQIRUPWKHVXEMHFWDVDSSURSULDWHDERXWWKHLQYHVWLJDWLYHDQGOHJDOSURFHVVHV
   WKDWPD\EHLQYROYHG
        &RQVXOWZLWKWKHVHUYLFLQJOHJDORIILFHIRUJXLGDQFHRQFRQVXOWLQJZLWKYLFWLPUHJDUGLQJMXULVGLFWLRQDOSUHIHU
   HQFHSUHWULDOGLVSRVLWLRQDQGRWKHUPLOLWDU\MXVWLFHDFWLRQV
        (QVXUHSURFHGXUHVDUHLQSODFHWRLQIRUPWKHVXEMHFWDERXWDYDLODEOHFRXQVHOLQJVXSSRUW$VDSSURSULDWHUHIHU
   WKHVXEMHFWWRDYDLODEOHFRXQVHOLQJUHVRXUFHVDQGRWKHUVHUYLFHV




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        :LWKWKHEHQHILWRIWKH6$5&VHUYLFLQJOHJDORIILFHOHJDODQGRULQYHVWLJDWLYHDGYLFHGHWHUPLQHWKHQHHGIRU
   D032&RSLHVRIWKH'')RUPZLOOEHSURYLGHGWRWKHYLFWLPDQGVXEMHFW
        0RQLWRU WKH ZHOOEHLQJ RI WKH VXEMHFW SDUWLFXODUO\ IRU DQ\ LQGLFDWLRQV RI VXLFLGDO LGHDWLRQ DQG KRPLFLGDO
   WHQGHQFLHVDQGWRHQVXUHDSSURSULDWHLQWHUYHQWLRQRFFXUVLILQGLFDWHG
        )ODJ VXVSHQGIDYRUDEOHSHUVRQQHODFWLRQV DQ\6ROGLHUXQGHUFKDUJHVUHVWUDLQWRULQYHVWLJDWLRQIRUVH[XDO
   DVVDXOWLQDFFRUGDQFHZLWK$5 ± ± DQGVXVSHQGWKH6ROGLHU¶VVHFXULW\FOHDUDQFHLQDFFRUGDQFHZLWK$5 ± 
                                                                                                                              




        ,IWKHVXEMHFWLVDIRUHLJQQDWLRQDORUIURPDFRDOLWLRQIRUFHFRQIHUZLWKVHUYLFLQJOHJDORIILFHRQUHVSRQVLELO
   LWLHVRSWLRQVDQGYLFWLPV¶ULJKWV
        7DNHDSSURSULDWHDFWLRQWRSUHYHQWUHWDOLDWLRQDJDLQVW6ROGLHUVZKRILOHFRPSODLQWVRUUHSRUWDFWVRIVH[XDO
   KDUDVVPHQWDQGVH[XDODVVDXOW
        'LVFRXUDJHPHPEHUVIURPSDUWLFLSDWLQJLQJRVVLSRUJUDSHYLQHVSHFXODWLRQDERXWWKHFDVHRULQYHVWLJDWLRQ
   ,QVWUXFWXQLW PHPEHUVWR ZDLWXQWLODOOWKHIDFWVDUH NQRZQDQGILQDOGLVSRVLWLRQRIWKHUHSRUWKDVRFFXUUHGEHIRUH
   UHDFKLQJFRQFOXVLRQV
        5HPLQGPHPEHUVWKDWGLVFXVVLRQRIDVH[XDODVVDXOWPLJKWFRPSURPLVHDQHQVXLQJLQYHVWLJDWLRQ
        (PSKDVL]HWKDWWKHVXEMHFWLVSUHVXPHGLQQRFHQWXQWLOSURYHQJXLOW\
        $GYLVHWKRVHZKRPD\KDYHNQRZOHGJHRIWKHHYHQWVOHDGLQJXSWRRUVXUURXQGLQJWKHVH[XDODVVDXOWWRIXOO\
   FRRSHUDWHZLWKDQ\LQYHVWLJDWLRQLQYROYHG
        &RQVLGHUVRPHIRUPRIXQLWWUDLQLQJRUKDYHDQRXWVLGHH[SHUWDGGUHVVWKHXQLWUHJDUGLQJSUHYHQWLYHPHDVXUHV
   DVZHOODVVRPHRIWKHHPRWLRQDORUSV\FKRORJLFDOIHHOLQJVWKDWPD\PDQLIHVWWKHPVHOYHVDIIHFWWKHXQLWDQGUHTXLUH
   WKHXQLW¶VUHVSRQVHGXULQJWKHFRXUVHRIWKHLQYHVWLJDWLRQ
        &RQWLQXRXVO\PRQLWRUWKHXQLW¶VRYHUDOOFOLPDWHWRHQVXUHQHLWKHUWKHYLFWLPQRUWKHVXEMHFWLVEHLQJRVWUDFL]HG
   7DNHDFWLRQVWRSUHYHQWRUJDQL]DWLRQDOVSOLQWHULQJ
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                                                        $5±-XO\                                                 
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   $SSHQGL[$
   5HIHUHQFHV
   6HFWLRQ,
   5HTXLUHG3XEOLFDWLRQV
   $5 ±
               




   3URFHGXUHVIRU$GPLQLVWUDWLYH,QYHVWLJDWLRQVDQG%RDUGVRI2IILFHUV &LWHGLQSDUD±F 
   $5 ±
               




   $UP\&\EHUVHFXULW\ &LWHGLQSDUD±H  G  
   $5 ±
               




   0LOLWDU\-XVWLFH &LWHGLQSDUD±E  D  
   $5 ±
               




   $UP\)RRG3URJUDP FLWHGLQSDUD3±E 
   $5 ±
               




   ,PPXQL]DWLRQVDQG&KHPRSURSK\OD[LVIRUWKH3UHYHQWLRQRI,QIHFWLRXV'LVHDVHV &LWHGLQSDUD±J   
   $5 ±     




   0LOLWDU\3ROLFH,QYHVWLJDWLRQV &LWHGLQSDUD±D 
   $5 ±      




   &ULPLQDO,QYHVWLJDWLRQ$FWLYLWLHV &LWHGLQSDUD±G 
   $5 ±      




   (YLGHQFH3URFHGXUHV &LWHGLQSDUD/±D   
   $5 ±     




   3HUVRQQHO6HFXULW\3URJUDP &LWHGLQSDUD±G   
   $5 ±     




   7KUHDW$ZDUHQHVVDQG5HSRUWLQJ3URJUDP &LWHGLQSDUD±I 
   $5 ±      




   7KH$UP\3URWHFWLRQ3URJUDP &LWHGLQSDUD±D   
   $5 ±     




   $QWLWHUURULVP &LWHGLQSDUD±H  H  
   $5 ± ± 
                         




   2IILFHU7UDQVIHUVDQG'LVFKDUJHV &LWHGLQSDUD±G   
   $5 ±     




   $UP\6XLWDELOLW\3URJUDP &LWHGLQSDUD*±D 
   $5 ±     




   6ROGLHUIRU/LIH±7UDQVLWLRQ$VVLVWDQFH3URJUDP &LWHGLQSDUD±E 
   $5 ± 
                   




   )RUHLJQ*RYHUQPHQW(PSOR\PHQW &LWHGLQSDUD±G 
   $5 ±      




   (YDOXDWLRQ5HSRUWLQJ6\VWHP &LWHGLQSDUD±D 
   $5 ±      




   :HDUDQG$SSHDUDQFHRI$UP\8QLIRUPVDQG,QVLJQLD &LWHGLQSDUD±D   
   'HSDUWPHQWRI'HIHQVH)RUHLJQ&OHDUDQFH*XLGH
   $YDLODEOHDWKWWSVZZZIFJSHQWDJRQPLOIFJFIP  &LWHGLQSDUD±N  E  
   'R'± 5                 




   -RLQW(WKLFV5HJXODWLRQ -(5  $YDLODEOHDWKWWSVZZZHVGZKVPLO  &LWHGLQSDUD±F 




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   'R''
   'HSDUWPHQWRI'HIHQVH0LOLWDU\(TXDO2SSRUWXQLW\ 0(2 3URJUDP $YDLODEOHDWKWWSVZZZHVGZKVPLO  &LWHG
   LQWLWOHSDJH 
   'R''
   7KH'R',QVLGHU7KUHDW3URJUDP $YDLODEOHDWKWWSVZZZHVGZKVPLO  &LWHGLQWLWOHSDJH 
   'R''
   6H[XDO $VVDXOW 3UHYHQWLRQ DQG 5HVSRQVH 6$35  3URJUDP $YDLODEOH DW KWWSVZZZHVGZKVPLO  &LWHG LQ WLWOH
   SDJH 
   'R''
   0LOLWDU\:KLVWOHEORZHU3URWHFWLRQ $YDLODEOHDWKWWSVZZZHVGZKVPLO  &LWHGLQWLWOHSDJH 
   'R',
   3URFHGXUHV DQG 6XSSRUW IRU 1RQ)HGHUDO (QWLWLHV $XWKRUL]HG WR 2SHUDWH RQ 'R' ,QVWDOODWLRQV $YDLODEOH DW
   KWWSVZZZHVGZKVPLO  &LWHGLQSDUD ±  
                                                  




   'R',
   +DUDVVPHQW 3UHYHQWLRQ DQG 5HVSRQVH LQ WKH $UPHG )RUFHV $YDLODEOH DW KWWSVZZZHVGZKVPLO  &LWHG LQ WLWOH
   SDJH 
   'R',
   $FFRPPRGDWLRQRI5HOLJLRXV3UDFWLFHV:LWKLQWKH0LOLWDU\6HUYLFHV $YDLODEOHDWKWWSVZZZHVGZKVPLO  &LWHG
   LQWLWOHSDJH 
   'R',
   +DQGOLQJ 'LVVLGHQW DQG 3URWHVW $FWLYLWLHV $PRQJ 0HPEHUV RI WKH $UPHG )RUFHV                    $YDLODEOH DW
   KWWSVZZZHVGZKVPLO  &LWHGLQWLWOHSDJH 
   'R',9ROXPH
   &RPPHUFLDO 7UDYHO 0DQDJHPHQW 'R' *RYHUQPHQW 7UDYHO &KDUJH &DUG *7&&  3URJUDP $YDLODEOH DW
   KWWSVZZZHVGZKVPLO  &LWHGLQSDUD±E 
   'R',
   0HQWDO+HDOWK(YDOXDWLRQVRI0HPEHUVRIWKH 0LOLWDU\6HUYLFHV $YDLODEOHDW KWWSVZZZHVGZKVPLO  &LWHGLQ
   SDUD±I 
   'R',
   6H[XDO$VVDXOW3UHYHQWLRQDQG5HVSRQVH 6$35 3URJUDP3URFHGXUHV $YDLODEOHDWKWWSVZZZHVGZKVPLO  &LWHG
   LQWLWOHSDJH 
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   'HIHQVH6H[XDO$VVDXOW$GYRFDWH&HUWLILFDWLRQ3URJUDP ' ± 6$$&3  $YDLODEOHDWKWWSVZZZHVGZKVPLO  &LWHG
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   LQWLWOHSDJH 
   'R'*RYHUQPHQW7UDYHO&KDUJH&DUG5HJXODWLRQV
   $YDLODEOHDWKWWSVZZZGHIHQVHWUDYHOGRGPLO  &LWHGLQSDUD±E 
   -RLQW7UDYHO5HJXODWLRQ
    $YDLODEOHDWKWWSZZZGHIHQVHWUDYHOGRGPLO  &LWHGLQSDUD±N  E  
   0DQXDOIRU&RXUWV±0DUWLDO 0&0 
   HGLWLRQ $YDLODEOHDWKWWSVMVFGHIHQVHJRY  &LWHGLQSDUD±M   

   6HFWLRQ,,
   5HODWHG3XEOLFDWLRQV
   $UHODWHGSXEOLFDWLRQLVDVRXUFHRIDGGLWLRQDOLQIRUPDWLRQ7KHXVHUGRHVQRWKDYHWRUHDGLWWRXQGHUVWDQGWKLVUHJX
   ODWLRQ'R'SXEOLFDWLRQVFDQEHIRXQGDW KWWSVZZZHVGZKVPLO86&VFDQEH IRXQGDWKWWSXVFRGHKRXVHJRY
   &)5VFDQEHIRXQGDWKWWSVZZZJRYLQIRJRY 
   $' ±
               




   ,PSURYLQJWKH(IIHFWLYHQHVVRI(VVHQWLDODQG,PSRUWDQW$UP\3URJUDPV 6H[XDO+DUDVVPHQW$VVDXOW5HVSRQVHDQG
   3UHYHQWLRQ(TXDO2SSRUWXQLW\6XLFLGH3UHYHQWLRQ$OFRKRODQG'UXJ$EXVH3UHYHQWLRQDQG5HVLOLHQFH



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                                                      $5±-XO\                                        
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   $'3
   7KH$UP\
   $'3 ±                  




   $UP\/HDGHUVKLS
   $'53 ±                              




   7KH2SHUDWLRQV3URFHVV
   $5 ± 
                  




   /HJLVODWLYH/LDLVRQ
   $5 ± 
                  




   ,QVWDOODWLRQ$JUHHPHQWV
   $5 ±              




   $UP\&RPPDQGV$UP\6HUYLFH&RPSRQHQW&RPPDQGVDQG'LUHFW5HSRUWLQJ8QLWV
   $5 ±               




   0DQDJHUV¶,QWHUQDO&RQWURO3URJUDP
   $5 ±               




   'HSDUWPHQWRIWKH$UP\)HGHUDO$GYLVRU\&RPPLWWHH0DQDJHPHQW3URJUDP
   $5 ±              




   'HSDUWPHQWRIWKH$UP\,QWHUJRYHUQPHQWDODQG,QWUDJRYHUQPHQWDO&RPPLWWHH0DQDJHPHQW3URJUDP
   $5 ±               




   ,QVSHFWRU*HQHUDO$FWLYLWLHVDQG3URFHGXUHV
   $5 ±              




   7KH$UP\3ULYDF\3URJUDP
   $5 ±              




   $UP\3XEOLVKLQJ3URJUDP
   $5 ±              




   3UHSDULQJDQG0DQDJLQJ&RUUHVSRQGHQFH
   $5 ± ± 
                                                 




   7KH$UP\5HFRUGV,QIRUPDWLRQ0DQDJHPHQW6\VWHP $5,06 
   $5 ±              




   /LWLJDWLRQ
   $5 ±               




   &RPSRVLWLRQ0LVVLRQDQG)XQFWLRQVRIWKH$UP\0HGLFDO'HSDUWPHQW
   $5 ±               




   0HGLFDO'HQWDODQG9HWHULQDU\&DUH
   $5 ±               




   $UP\3XEOLF+HDOWK3URJUDP
   $5 ±              




   0HGLFDO5HFRUG$GPLQLVWUDWLRQDQG+HDOWK&DUH'RFXPHQWDWLRQ
   $5 ±             




   3DWLHQW$GPLQLVWUDWLRQ
   $5 ±               




   1XFOHDU6XUHW\
   $5 ±               




   &KHPLFDO6XUHW\
   $5 ±                         




   7KH$FWLYH*XDUG5HVHUYH3URJUDP



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                                                       $5±-XO\                 
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   $5 ± 
              




   6HUYLFH2EOLJDWLRQV0HWKRGVRI)XOILOOPHQW3DUWLFLSDWLRQ5HTXLUHPHQWVDQG(QIRUFHPHQW3URFHGXUHV
   $5 ± 
              




   $SSRLQWPHQWRI&RPPLVVLRQHGDQG:DUUDQW2IILFHUVRIWKH$UP\
   $5 ± 
              




   3URPRWLRQRI&RPPLVVLRQHG2IILFHUVDQG:DUUDQW2IILFHUV2WKHUWKDQ*HQHUDO2IILFHUV
   $5 ± 
              




   6HSDUDWLRQRI2IILFHUV
   $5 ± 
              




   (QOLVWHG$GPLQLVWUDWLYH6HSDUDWLRQV
   $5 ± 
              




   $VVLJQPHQWV$WWDFKPHQWV'HWDLOVDQG7UDQVIHUV
   $5 ± 
              




   86$UP\5HVHUYH5HHQOLVWPHQW3URJUDP
   $5 ± 
              




   $UP\5HVHUYH/DQGDQG)DFLOLWLHV0DQDJHPHQW
   $5 ± 
              




   $UP\&KDSODLQ&RUSV$FWLYLWLHV
   $5 ± 
              




   $EVHQWHH'HVHUWHU$SSUHKHQVLRQ3URJUDPDQG6XUUHQGHURI0LOLWDU\3HUVRQQHOWR&LYLOLDQ/DZ(QIRUFHPHQW$JHQFLHV
   $5 ± 
              




   %LRORJLFDO6HOHFW$JHQWVDQG7R[LQV6HFXULW\3URJUDP
   $5 ± 231$9,167$$), ±0&2'&20'7,167(
                                               




   $UPHG)RUFHV'LVFLSOLQDU\&RQWURO%RDUGVDQG2II,QVWDOODWLRQ/LDLVRQDQG2SHUDWLRQV
   $5 ± 
              




   /DZ(QIRUFHPHQW5HSRUWLQJ
   $5 ± 
              




   7KH$UP\&RUUHFWLRQV6\VWHP
   $5 ± 
              




   (QYLURQPHQWDO3URWHFWLRQDQG(QKDQFHPHQW
   $5 ± 
              




   3HUVRQDO&RPPHUFLDO6ROLFLWDWLRQRQ$UP\,QVWDOODWLRQV
   $5 ± 
              




   0LOLWDU\0RUDOH:HOIDUHDQG5HFUHDWLRQ3URJUDPVDQG1RQDSSURSULDWHG)XQG,QVWUXPHQWDOLWLHV
   $5 ± 
              




   $UP\8QLW6WDWXV5HSRUWLQJDQG)RUFH5HJLVWUDWLRQ&RQVROLGDWHG3ROLFLHV
   $5 ± 
              




   $UP\7UDLQLQJDQG/HDGHU'HYHORSPHQW
   $5 ± 
              




   2IILFHU$FWLYH'XW\6HUYLFH2EOLJDWLRQV
   $5 ± 
              




   7KH$UP\3XEOLF$IIDLUV3URJUDP
   $5 ± 
              




   $UP\,QIRUPDWLRQ6HFXULW\3URJUDP
   $5 ± 
              




   $FTXLVLWLRQDQG6WRUDJHRI,QIRUPDWLRQ&RQFHUQLQJ1RQDIILOLDWHG3HUVRQVDQG2UJDQL]DWLRQV



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                                                 $5±-XO\                                   
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   $5 ± 
              




   7KH$UP\6DIHW\3URJUDP
   $5 ± 
              




   $UP\)DFLOLWLHV0DQDJHPHQW
   $5 ± 
              




   3HUVRQQHO5HFRYHU\
   $5 ± 
              




   2SHUDWLRQV6HFXULW\
   $5 ± 
              




   7KH$UP\3HUVRQQHO'HYHORSPHQW6\VWHP
   $5 ± ± 
                        




   6XVSHQVLRQRI)DYRUDEOH3HUVRQQHO$FWLRQV )ODJ 
   $5 ± ± 
                        




   3HUVRQQHO$FFRXQWLQJDQG6WUHQJWK5HSRUWLQJ
   $5 ± ± 
                        




   7KH7RWDO$UP\6SRQVRUVKLS3URJUDP
   $5 ± ± 
                        




   /HDYHVDQG3DVVHV
   $5 ± ± 
                        




   5HDVVLJQPHQW
   $5± ±             




   ,GHQWLILFDWLRQ&DUGVIRU0HPEHUVRIWKH8QLIRUPHG6HUYLFHV7KHLU)DPLO\0HPEHUVDQG2WKHU(OLJLEOH3HUVRQQHO
   $5 ± ± 
                        




   (QOLVWHG3URPRWLRQVDQG5HGXFWLRQV
   $5 ± ± 
                        




   2IILFHU3URPRWLRQV
   $5 ± ± 
                        




   $UP\0LOLWDU\+XPDQ5HVRXUFH5HFRUGV0DQDJHPHQW
   $5 ± 
              




   7KH$UP\%RG\&RPSRVLWLRQ3URJUDP
   $5 ± 
              




   6DOXWHV+RQRUVDQG&RXUWHV\
   $5 ± 
              




   )XQGUDLVLQJZLWKLQWKH'HSDUWPHQWRIWKH$UP\
   $5 ± 
              




   8QIDYRUDEOH,QIRUPDWLRQ
   $5 ± 
              




   $UP\+HDOWK3URPRWLRQ
   $5 ± 
              




   5HJXODU$UP\DQG5HVHUYH&RPSRQHQWV(QOLVWPHQW3URJUDP
   $5 ± 
              




   $UP\5HWHQWLRQ3URJUDP
   $5 ± 
              




   $UP\&RPPXQLW\6HUYLFH
   $5 ± 
              




   &KLOG'HYHORSPHQW6HUYLFHV



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                                             $5±-XO\                                        
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   $5 ± 
                        




   7KH$UP\)DPLO\$GYRFDF\3URJUDP
   $5 ± 
                        




   ([FHSWLRQDO)DPLO\0HPEHU3URJUDP
   $5 ± 
                        




   2YHUVHDV6HUYLFH
   $5 ± 
                        




   2IILFHU$VVLJQPHQW3ROLFLHV'HWDLOVDQG7UDQVIHUV
   $5 ± 
                        




   (QOLVWHG$VVLJQPHQWVDQG8WLOL]DWLRQ0DQDJHPHQW
   $5 ± 
                        




   $GYDQFHG(GXFDWLRQ3URJUDPVDQG5HTXLUHPHQWVIRU0LOLWDU\3HUVRQQHO
   $5 ± 
                        




   'LVDELOLW\(YDOXDWLRQIRU5HWHQWLRQ5HWLUHPHQWRU6HSDUDWLRQ
   $5 ± 
                        




   $FWLYH'XW\(QOLVWHG$GPLQLVWUDWLYH6HSDUDWLRQV
   $5 ± 
                        




   $UP\&DVXDOW\3URJUDP
   $5 ± 
                        




   'HSDUWPHQWRIWKH$UP\([SHGLWLRQDU\&LYLOLDQ:RUNIRUFHDQG&LYLOLDQ'HSOR\PHQWVLQ6XSSRUWRI0LOLWDU\&RQ
   WLQJHQF\DQG(PHUJHQF\2SHUDWLRQV
   $5 ± 
                        




   (TXDO(PSOR\PHQW2SSRUWXQLW\DQG'LYHUVLW\
   $5 ± 
                        




   (TXDO(PSOR\PHQW2SSRUWXQLW\'LVFULPLQDWLRQ&RPSODLQWV
   $5 ± 
                        




   3HUVRQQHO5HODWLRQVDQG6HUYLFHV *HQHUDO 
   $5 ± 
                        




   $UP\,QGXVWULDO%DVH3URFHVV
   $73 ±
                




   7KH&RXQVHOLQJ3URFHVV
   &1*%,
   1DWLRQDO*XDUG'LVFULPLQDWLRQ&RPSODLQW3URJUDP $YDLODEOHDWKWWSVZZZQJESGFDUP\PLO 
   &7$ ±             




   &ORWKLQJDQG,QGLYLGXDO(TXLSPHQW
   &7$ ±             




   )LHOGDQG*DUULVRQ)XUQLVKLQJVDQG(TXLSPHQW $YDLODEOHDWKWWSVIPVZHEDUP\PLO 
   '$3DP ±                       




   *XLGHWR5HFRUGNHHSLQJLQWKH$UP\
   '$3DP ±                        




   $UP\3XEOLF+HDOWK3URJUDP
   '$3DP ±                            




   'HIHQVH5HDGLQHVV5HSRUWLQJ6\VWHP$UP\3URFHGXUHV
   '$3DP ±                           




   5LVN0DQDJHPHQW




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                                                 $5±-XO\                                 
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   '$3DP ± 
                   




   2IILFHU3URIHVVLRQDO'HYHORSPHQWDQG&DUHHU0DQDJHPHQW
   '$3DP ± 
                   




   0LOLWDU\+XPDQ5HVRXUFHV0DQDJHPHQW$GPLQLVWUDWLYH3URFHGXUHV
   '$3DP ± 
                   




   7KH'HSDUWPHQWRIWKH$UP\$IILUPDWLYH$FWLRQ3ODQ
   '$3DP ± 
                   




   0LOLWDU\2FFXSDWLRQDO&ODVVLILFDWLRQDQG6WUXFWXUH
   '$3DP ± 
                   




   (YDOXDWLRQ5HSRUWLQJ6\VWHP
   '$3DP ± 
                   




   *XLGHWRWKH:HDUDQG$SSHDUDQFHRI$UP\8QLIRUPVDQG,QVLJQLD
   'R'5HWDOLDWLRQ3UHYHQWLRQDQG5HVSRQVH6WUDWHJ\,PSOHPHQWDWLRQ3ODQ
   $YDLODEOHKWWSZZZVDSUPLO
   'R'0
   ,PSOHPHQWDWLRQRIWKH+HDOWK,QVXUDQFH3RUWDELOLW\DQG$FFRXQWDELOLW\$FW +,3$$ 3ULYDF\5XOHLQ'R'+HDOWK
   &DUH3URJUDPV
   'R''
   3ROLWLFDO$FWLYLWLHVE\0HPEHUVRIWKH$UPHG)RUFHV
   'R''
   'R'&LYLOLDQ(TXDO(PSOR\PHQW2SSRUWXQLW\ ((2 3URJUDP
   'R''(
   'R'/DZRI:DU3URJUDP
   'R''
   8QLWHG6WDWHV7UDQVSRUWDWLRQ&RPPDQG 8675$16&20 
   'R',
   9LFWLPDQG:LWQHVV$VVLVWDQFH3URFHGXUHV
   'R',
   3URWHFWLQJ$JDLQVW,QDSSURSULDWH5HODWLRQV'XULQJ5HFUXLWLQJDQG(QWU\/HYHO7UDLQLQJ
   'R',
   &RPPLVVLRQHG2IILFHU3URPRWLRQ3URJUDP3URFHGXUHV
   'R',
   'HVHUWLRQDQG8QDXWKRUL]HG$EVHQFH 8$ 
   'R',
   (QOLVWHG$GPLQLVWUDWLYH6HSDUDWLRQV
   'R',
   &RPPLVVLRQHG2IILFHU$GPLQLVWUDWLYH6HSDUDWLRQV
   'R',
   'R'$GRSWLRQ5HLPEXUVHPHQW3ROLF\
   'R',
   )DPLO\&DUH3ODQV
   'R',
   'R'&LYLOLDQ3HUVRQQHO0DQDJHPHQW6\VWHP
   'R',
   &RPEDWLQJ7UDIILFNLQJLQ3HUVRQV &7,3 




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                                               $5±-XO\                                  
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   'R',
   'HIHQVH6XSSRUWRI&LYLOLDQ/DZ(QIRUFHPHQW$JHQFLHV
   'R',
   'R'3HUVRQQHO6HFXULW\3URJUDP 363 
   'R',
   &RXQWHULQWHOOLJHQFH6XSSRUWWR)RUFH3URWHFWLRQ
   'R',
   &RXQWHULQJ(VSLRQDJH,QWHUQDWLRQDO7HUURULVPDQGWKH&RXQWHULQWHOOLJHQFH &, ,QVLGHU7KUHDW
   'R',
   ,QYHVWLJDWLRQRI$GXOW6H[XDO$VVDXOWLQWKH'HSDUWPHQWRI'HIHQVH
   'R',
   (VWDEOLVKPHQWRI6SHFLDO9LFWLP,QYHVWLJDWLRQDQG3URVHFXWLRQ 69,3 &DSDELOLW\ZLWKLQWKH0LOLWDU\&ULPLQDO,QYHV
   WLJDWLYH2UJDQL]DWLRQV 0&,26 
   'R',
   6WDQGDUGVIRU9LFWLP$VVLVWDQFH6HUYLFHVLQWKH0LOLWDU\&RPPXQLW\
   'R'0
   3URFHGXUHVIRUWKH'R'3HUVRQQHO6HFXULW\3URJUDP 363 
   'R'09RO
   )DPLO\$GYRFDF\3URJUDP )$3 )$36WDQGDUGV
   'R'09RO
   )DPLO\$GYRFDF\3URJUDP )$3 &KLOG$EXVHDQG'RPHVWLF$EXVH,QFLGHQW5HSRUWLQJ6\VWHP
   'R'09RO
   )DPLO\ $GYRFDF\ 3URJUDP )$3  &OLQLFDO &DVH 6WDII 0HHWLQJ &&60  $QG ,QFLGHQW 'HWHUPLQDWLRQ &RPPLWWHH
    ,'& 
   'R'09RO
   )DPLO\$GYRFDF\3URJUDP )$3 *XLGHOLQHVIRU&OLQLFDO,QWHUYHQWLRQIRU3HUVRQV5HSRUWHG$V'RPHVWLF$EXVHUV
   'R'0 ±09ROXPH
                         




   'HIHQVH,QFLGHQW%DVHG5HSRUWLQJ6\VWHP ',%56 'DWD6HJPHQWVDQG(OHPHQWV
   +DQGERRNV
   $YDLODEOHDWKWWSVZZZRSPJRY 
   -RLQW5HVROXWLRQRI&RQJUHVV
   :RPHQ¶V(TXDOLW\'D\ $YDLODEOHDWKWWSVZZZJRYLQIRJRY 
   05(
   &RQIHVVLRQVDQGDGPLVVLRQV $YDLODEOHDWKWWSVMVFGHIHQVHJRY 
   05(
   /DZ\HUFOLHQWSULYLOHJH $YDLODEOHDWKWWSVMVFGHIHQVHJRY 
   05(
   &RPPXQLFDWLRQVWRFOHUJ\ $YDLODEOHDWKWWSVMVFGHIHQVHJRY 
   05(
   3V\FKRWKHUDSLVWSDWLHQWSULYLOHJH $YDLODEOHDWKWWSVMVFGHIHQVHJRY 
   05(
   9LFWLPDGYRFDWHYLFWLPSULYLOHJH $YDLODEOHDWKWWSVMVFGHIHQVHJRY 
   1*5 ± 
                 




   (TXDO 2SSRUWXQLW\ 3URJUDP LQ WKH $UP\ 1DWLRQDO *XDUG $YDLODEOH DW KWWSZZZQJESGFQJEDUP\PLOSXEOLFD
   WLRQVKWP 
   1*5 ± 
                 




   (IILFLHQF\DQG3K\VLFDO)LWQHVV%RDUGV $YDLODEOHDWKWWSZZZQJESGFQJEDUP\PLOSXEOLFDWLRQVKWP 



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                                                $5±-XO\                                        
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   3/ ±          




   &LYLO5LJKWV$FWRI $YDLODEOHDWKWWSVZZZVVDJRY 
   3/ ±          




   1DWLRQDO%ODFN$IULFDQ$PHULFDQ+LVWRU\0RQWK $YDLODEOHDWKWWSVZZZVVDJRY 
   3/ ±                 




   +HDOWK,QVXUDQFH3RUWDELOLW\DQG$FFRXQWDELOLW\$FWRI $YDLODEOHDWKWWSZZZVVDJRY 
   3/ ±                 




   )HGHUDO9DFDQFLHV5HIRUP$FWRI $YDLODEOHDWKWWSVZZZVVDJRY 
   3/ ±                  




   3ULVRQ5DSH(OLPLQDWLRQ$FWRI 35($  $YDLODEOHDWKWWSVZZZVVDJRY 
   7& ± 
                   




   1RQFRPPLVVLRQHG2IILFHU*XLGH
   7& ±                




   &RPPDQGHU¶V(TXDO2SSRUWXQLW\+DQGERRN
   &)5WKURXJK
   *LIWV%HWZHHQ(PSOR\HHV
   &)5
   )HGHUDO6HFWRU(TXDO(PSOR\PHQW2SSRUWXQLW\
   &)53DUW
   6H[XDO$VVDXOW3UHYHQWLRQDQG5HVSRQVH3URJUDP3URFHGXUHV
   86&D
   5HFRUGVPDLQWDLQHGRQLQGLYLGXDOV
   86&
   3RVLWLRQVDWOHYHO,
   86&
   3UHVLGHQWLDODXWKRULW\WRSODFHSRVLWLRQVDWOHYHO,9DQG9
   86&
   0LOLWDU\OHDYH5HVHUYHVDQG1DWLRQDO*XDUGVPHQ
   86&
   $UPHG)RUFHV
   86&&KDSWHU
   ,QVXUUHFWLRQ
   86&&KDSWHU
   8QLIRUP&RGHRI0LOLWDU\-XVWLFH
   86&&KDSWHU
   1DWLRQDO*XDUG0HPEHUVLQ)HGHUDO6HUYLFH
   86&D
   (QKDQFHGDXWKRULW\IRUVHOHFWLYHHDUO\GLVFKDUJHV
   86&
   6HOHFWLRQRIUHJXODURIILFHUVIRUFRQWLQXDWLRQRQDFWLYHGXW\
   86&
   5DQNFRPPLVVLRQHGRIILFHUVRIWKH$UPHG)RUFHV
   86&
   &RPPDQGZKHQGLIIHUHQWFRPPDQGVRI$UP\1DY\$LU)RUFH0DULQH&RUSVDQG&RDVW*XDUGMRLQ
   86&
   $UW&RQWHPSWWRZDUGRIILFLDOV



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                                                $5±-XO\                           
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   86&
   $UW5REEHU\
   86&
   'XWLHVRIILFHUVRQDFWLYHGXW\SHUIRUPDQFHRIFLYLOIXQFWLRQVUHVWULFWHG
   86&
   3URWHFWHGFRPPXQLFDWLRQVSURKLELWLRQRIUHWDOLDWRU\SHUVRQQHODFWLRQV
   86&H
   6SHFLDO9LFWLPV¶&RXQVHOIRUYLFWLPVRIVH[UHODWHGRIIHQVHV
   86&
   (QOLVWHGPHPEHUVUHWHQWLRQDIWHUFRPSOHWLRQRIRUPRUHEXWOHVVWKDQ\HDUVRIVHUYLFH
   86&
   0HPEHUVRQWHPSRUDU\GLVDELOLW\UHWLUHGOLVWUHWXUQWRDFWLYHGXW\SURPRWLRQ
   86&
   &RPSODLQWVRIVH[XDOKDUDVVPHQWLQYHVWLJDWLRQE\FRPPDQGLQJRIILFHUV
   86&
   5HTXLUHPHQWRIH[HPSODU\FRQGXFW
   86&
   9LFH&KLHIRIWKH1DWLRQDO*XDUG%XUHDX
   86&
   5HVHUYHFRPSRQHQWVJHQHUDOO\
   86&
   5HDG\5HVHUYH
   86&
   5HDG\5HVHUYHPHPEHUVQRWDVVLJQHGWRRUSDUWLFLSDWLQJVDWLVIDFWRULO\LQXQLWV
   86&
   6HOHFWHG5HVHUYHDQGFHUWDLQ,QGLYLGXDO5HDG\5HVHUYHPHPEHUVRUGHUWRDFWLYHGXW\RWKHUWKDQGXULQJZDURUQD
   WLRQDOHPHUJHQF\
   86&
   5HVHUYHVRQDFWLYHGXW\ZLWKLQWZR\HDUVRIUHWLUHPHQWHOLJLELOLW\OLPLWDWLRQRQUHOHDVHIURPDFWLYHGXW\
   86&
   $FWLYLWLHVRIRIILFHUVDQGHPSOR\HHVLQFODLPVDJDLQVWDQGRWKHUPDWWHUVDIIHFWLQJWKH*RYHUQPHQW
   86&
   5HVWULFWLRQVRQIRUPHURIILFHUVHPSOR\HHVDQGHOHFWHGRIILFLDOVRIWKHH[HFXWLYHDQGOHJLVODWLYHEUDQFKHV
   86&
   $FWVDIIHFWLQJDSHUVRQDOILQDQFLDOLQWHUHVW
   86&
   3ODFHRIVROLFLWDWLRQ
   86&
   8QODZIXODFWV
   86&
   8VHRI$UP\DQG$LU)RUFHDVSRVVHFRPLWDWXV 3RVVH&RPLWDWXV$FW 
   86&
   'HILQLWLRQV
   86&
   $JHOLPLWV




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                                                  $5±-XO\                                      
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   86&
   )HGHUDO6WDWHUHODWLRQVKLS
   86&
   $XWKRUL]DWLRQRIDSSURSULDWLRQV
   86&
   1DWLRQDO*XDUG
   86&
   5HJXODWLRQV
   86&
   &RPPDQGGXULQJMRLQWH[HUFLVHVZLWK)HGHUDOWURRSV
   86&
   $VLDQ3DFLILF$PHULFDQ+HULWDJH0RQWK
   86&
   )HGHUDO3DUHQW/RFDWRU6HUYLFH
   86&EE
   &RQJUHVVLRQDOILQGLQJVDQGGHFODUDWLRQRISXUSRVHV
   86&EE±
   )UHHH[HUFLVHRIUHOLJLRQSURWHFWHG
   86&EE±
   'HILQLWLRQV
   86&EE±
   $SSOLFDELOLW\
   86&EE±
   (VWDEOLVKPHQWFODXVHXQDIIHFWHG
   86&
   /LPLWDWLRQVRQFRQWULEXWLRQVDQGH[SHQGLWXUHV

   6HFWLRQ,,,
   3UHVFULEHG)RUPV
   8QOHVV RWKHUZLVH LQGLFDWHG '$ )RUPV DUH DYDLODEOH RQ WKH $UP\ 3XEOLVKLQJ 'LUHFWRUDWH ZHEVLWH
    KWWSVDUP\SXEVDUP\PLO  '' )RUPV DUH DYDLODEOH RQ WKH 2IILFH RI WKH 6HFUHWDU\ RI 'HIHQVH ZHEVLWH
    KWWSVZZZHVGZKVPLOGLUHFWLYHVIRUPV 
   '$)RUP
   )DPLO\&DUH3ODQ&RXQVHOLQJ&KHFNOLVW 3UHVFULEHGLQSDUD±D  H  
   '$)RUP
   )DPLO\&DUH3ODQ 3UHVFULEHGLQSDUD±D   
   '$)RUP
   &HUWLILFDWHRI$FFHSWDQFHDV*XDUGLDQRU(VFRUW 3UHVFULEHGLQSDUD±D  E  
   '$)RUP
   3RZHURI$WWRUQH\ 3UHVFULEHGLQSDUD±D  D  
   '$)RUP
   (TXDO2SSRUWXQLW\DQG+DUDVVPHQW&RPSODLQW)RUP 3UHVFULEHGLQSDUD±E  D  
   '$)RUP ± 
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   (TXDO2SSRUWXQLW\DQG+DUDVVPHQW&RPSODLQW5HVROXWLRQ$VVHVVPHQW)RUP 3UHVFULEHGLQSDUD±E  D  
   '$)RUP
   3DUHQWDO&RQVHQW 3UHVFULEHGLQSDUD±D  I  




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   '$)RUP
   )DPLO\&DUH3ODQ3UHOLPLQDU\6FUHHQLQJ 3UHVFULEHGLQSDUD±J   
   '$)RUP
   6H[XDO+DUDVVPHQW&RPSODLQW 3UHVFULEHGLQSDUD±\   
   '$)RUP ±         




   6H[XDO+DUDVVPHQW&RPSODLQW5HVROXWLRQ$VVHVVPHQW 3UHVFULEHGLQSDUD±Q   

   6HFWLRQ,9
   5HIHUHQFHG)RUPV
   8QOHVV RWKHUZLVH LQGLFDWHG '$ )RUPV DUH DYDLODEOH RQ WKH $UP\ 3XEOLVKLQJ 'LUHFWRUDWH ZHEVLWH
   KWWSVDUP\SXEVDUP\PLO  '' )RUPV DUH DYDLODEOH RQ WKH 2IILFH RI WKH 6HFUHWDU\ RI 'HIHQVH ZHEVLWH
   KWWSVZZZHVGZKVPLOGLUHFWLYHVIRUPV 
   '$)RUP ± 
                    




   ,QWHUQDO&RQWURO(YDOXDWLRQ&HUWLILFDWLRQ
   '$)RUP ±  ± 
                                




   &RPSDQ\*UDGH3ODWH 22:2&: 2IILFHU(YDOXDWLRQ5HSRUW
   '$)RUP ±  ± 
                                




   )LHOG*UDGH3ODWH 22&:&: 2IILFHU(YDOXDWLRQ5HSRUW
   '$)RUP ±  ± 
                                




   6WUDWHJLF*UDGH3ODWH 2 2IILFHU(YDOXDWLRQ5HSRUW
   '$)RUP ±  ± 
                                




   6WUDWHJLF*UDGH3ODWH*HQHUDO2IILFHU(YDOXDWLRQ5HSRUW
   '$)RUP
   6HUYLFH6FKRRO$FDGHPLF(YDOXDWLRQ5HSRUW
   '$)RUP ±         




   &LYLOLDQ,QVWLWXWLRQ$FDGHPLF(YDOXDWLRQ5HSRUW
   '$)RUP ±         




   5HSRUWRI3URFHHGLQJVE\,QYHVWLJDWLQJ2IILFHU
   '$)RUP
   5HFRPPHQGHG&KDQJHVWR3XEOLFDWLRQVDQG%ODQN)RUPV
   '$)RUP ±  ±             




   1&2(YDOXDWLRQ5HSRUW 6*7 
   '$)RUP ±  ±             




   1&2(YDOXDWLRQ5HSRUW 66* ± 6*06*      




   '$)RUP ±  ±             




   1&2(YDOXDWLRQ5HSRUW &606*0 
   '$)RUP
   5HFRUGRI3URFHHGLQJVXQGHU$UWLFOH8&0-
   '$)RUP
   5LJKWV:DUQLQJ3URFHGXUH:DLYHU&HUWLILFDWH
   '$)RUP
   3HUVRQQHO$FWLRQ
   '$)RUP
   &RPPDQGHU¶V5HSRUWRI'LVFLSOLQDU\RU$GPLQLVWUDWLYH$FWLRQ
   '$)RUP ± 5        




   5HSRUWRI8QIDYRUDEOH,QIRUPDWLRQIRU6HFXULW\'HWHUPLQDWLRQ




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                                                  $5±-XO\                                    
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   '')RUP
   'HVHUWHU$EVHQWHH:DQWHGE\WKH$UPHG)RUFHV
   '')RUP ± 
                     




   $SSOLFDWLRQIRU,GHQWLILFDWLRQ&DUG'((56(QUROOPHQW
   '')RUP
   $XWKRUL]DWLRQWR6WDUW6WRSRU&KDQJHDQ$OORWPHQW
   '')RUP
   5HLPEXUVHPHQW5HTXHVWIRU$GRSWLRQ([SHQVHV
   '')RUP
   ,QLWLDO,QIRUPDWLRQIRU9LFWLPVDQG:LWQHVVHVRI&ULPH
   '')RUP
   4XDOLILFDWLRQWR3RVVHVV)LUHDUPVRU$PPXQLWLRQ
   '')RUP
   1RWLFHRI5HOHDVH$FNQRZOHGJHPHQWRI&RQYLFWHG6H[2IIHQGHU5HJLVWUDWLRQ5HTXLUHPHQWV
   '')RUP
   0LOLWDU\3URWHFWLYH2UGHU 032 
   '')RUP
   9LFWLP5HSRUWLQJ3UHIHUHQFH6WDWHPHQW
   '')RUP
   'HSDUWPHQW RI 'HIHQVH 6H[XDO $VVDXOW $GYRFDWH &HUWLILFDWLRQ 3URJUDP ' ± 6$$&3  $SSOLFDWLRQ 3DFNHW IRU 1HZ
                                                                                        




   $SSOLFDQWV
   '')RUP ± 
                     




   'HSDUWPHQWRI'HIHQVH6H[XDO$VVDXOW$GYRFDWH&HUWLILFDWLRQ3URJUDP ' ± 6$$&3 $SSOLFDWLRQ3DFNHWIRU5HQHZDO
                                                                                




   $SSOLFDQWV
   '')RUP
   5HFUXLWHU7UDLQHU3URKLELWHG$FWLYLWLHV$FNQRZOHGJPHQW
   '')RUP
   5HFUXLW7UDLQHH3URKLELWHG$FWLYLWLHV$FNQRZOHGJPHQW
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                                               $5±-XO\                                           
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   $SSHQGL[%
   3ROLWLFDO$FWLYLWLHV

   %±3XUSRVH
   7KLVDSSHQGL[JLYHVVSHFLILFJXLGDQFHRQWKRVHSROLWLFDODFWLYLWLHVWKDWDUHSHUPLWWHGRUSURKLELWHG

   %±([DPSOHVRISHUPLVVLEOHSROLWLFDODFWLYLW\
   $6ROGLHURQDFWLYHGXW\PD\²
      D5HJLVWHUYRWHDQGH[SUHVVDSHUVRQDORSLQLRQRQSROLWLFDOFDQGLGDWHVDQGLVVXHVDVDSULYDWHFLWL]HQEXWQRWDV
   DUHSUHVHQWDWLYHRIWKH$UPHG)RUFHV
      E3URPRWHDQGHQFRXUDJHRWKHU6ROGLHUVWRH[HUFLVHWKHLUYRWLQJIUDQFKLVHLIVXFKSURPRWLRQGRHVQRWFRQVWLWXWH
   DQDWWHPSWWRLQIOXHQFHRULQWHUIHUHZLWKWKHRXWFRPHRIDQHOHFWLRQ
      F-RLQ D SDUWLVDQ RU QRQSDUWLVDQ SROLWLFDO FOXE DQG DWWHQG LWV PHHWLQJV ZKHQ QRW LQ XQLIRUP VXEMHFW WR WKH UH
   VWULFWLRQVLQSDUDJUDSK%±G
      G6HUYH DV DQ HOHFWLRQ RIILFLDO LI VXFK VHUYLFH LV QRW DV D UHSUHVHQWDWLYH RI D SDUWLVDQ SROLWLFDO SDUW\ GRHV QRW
   LQWHUIHUHZLWKPLOLWDU\GXWLHVLVSHUIRUPHGZKHQQRWLQXQLIRUPDQGKDVWKHSULRUDSSURYDORIWKH6(&$50<
      H6LJQDSHWLWLRQIRUVSHFLILFOHJLVODWLYHDFWLRQRUDSHWLWLRQWRSODFHDFDQGLGDWH¶VQDPHRQDQ RIILFLDOHOHFWLRQ
   EDOORWLIWKHVLJQLQJGRHVQRWREOLJDWHWKH6ROGLHUWRHQJDJHLQSDUWLVDQSROLWLFDODFWLYLW\DQGLVGRQHDVDSULYDWHFLWL]HQ
   DQGQRWDVDUHSUHVHQWDWLYHRIWKH$UPHG)RUFHV
      I:ULWHDOHWWHUWRWKHHGLWRURIDQHZVSDSHUH[SUHVVLQJWKH6ROGLHU¶VSHUVRQDOYLHZVRQSXEOLFLVVXHVRUSROLWLFDO
   FDQGLGDWHVLIVXFKDFWLRQLVQRWSDUWRIDQRUJDQL]HGOHWWHUZULWLQJFDPSDLJQRUDVROLFLWDWLRQRIYRWHVIRURUDJDLQVWD
   SROLWLFDOSDUW\RUSDUWLVDQSROLWLFDOFDXVHRUFDQGLGDWH,IWKHOHWWHULGHQWLILHVWKHPHPEHUDVRQDFWLYHGXW\ RULIWKH
   PHPEHULVRWKHUZLVHUHDVRQDEO\LGHQWLILHGDVDPHPEHURIWKH$UPHG)RUFHV WKHOHWWHUVKRXOGFOHDUO\VWDWHWKDWWKH
   YLHZVH[SUHVVHGDUHWKRVHRIWKHLQGLYLGXDORQO\DQGQRWWKRVHRIWKH'HSDUWPHQWRI'HIHQVH
      J0DNHPRQHWDU\FRQWULEXWLRQVWRDSROLWLFDORUJDQL]DWLRQSDUW\RUFRPPLWWHHIDYRULQJDSDUWLFXODUFDQGLGDWHRU
   VODWHRIFDQGLGDWHVVXEMHFWWRWKHOLPLWDWLRQVXQGHU86&DQG86&
      K'LVSOD\DSROLWLFDOVWLFNHURQWKH6ROGLHU¶VSULYDWHYHKLFOH
      L$WWHQGSDUWLVDQDQGQRQSDUWLVDQSROLWLFDOIXQGUDLVLQJDFWLYLWLHVPHHWLQJVUDOOLHVGHEDWHVFRQYHQWLRQVRUDFWLY
   LWLHVDVDVSHFWDWRUZKHQQRWLQXQLIRUPDQGZKHQQRLQIHUHQFHRUDSSHDUDQFHRIRIILFLDOVSRQVRUVKLSDSSURYDORU
   HQGRUVHPHQWFDQUHDVRQDEO\EHGUDZQ
      M3DUWLFLSDWHIXOO\LQWKH)HGHUDO9RWLQJ$VVLVWDQFH3URJUDP
      N)ROORZIULHQGRUOLNHDSROLWLFDOSDUW\RUFDQGLGDWHUXQQLQJIRUSDUWLVDQRIILFH

   %±([DPSOHVRISURKLELWHGSROLWLFDODFWLYLWLHV
   $FFRUGLQJWRWKHVWDWXWRU\UHVWULFWLRQVLQ86&DQGWKHSROLFLHVHVWDEOLVKHGLQVHFWLRQGRI'R''DQG
   LPSOHPHQWHGLQFKDSWHURIWKLVUHJXODWLRQD6ROGLHURQDFWLYHGXW\ZLOOQRW²
      D3DUWLFLSDWH LQSDUWLVDQSROLWLFDOIXQGUDLVLQJDFWLYLWLHV H[FHSWDVSHUPLWWHGLQ SDUD%±J UDOOLHVFRQYHQWLRQV
    LQFOXGLQJPDNLQJVSHHFKHVLQWKHFRXUVHWKHUHRI PDQDJHPHQWRIFDPSDLJQVRUGHEDWHVHLWKHURQRQH¶VRZQEHKDOI
   RU RQ WKDW RI DQRWKHU ZLWKRXW UHVSHFW WR XQLIRUP RU LQIHUHQFH RU DSSHDUDQFH RI RIILFLDO VSRQVRUVKLS DSSURYDO RU
   HQGRUVHPHQW3DUWLFLSDWLRQLQFOXGHVPRUHWKDQPHUHDWWHQGDQFHDVDVSHFWDWRU VHHSDUD%±L 
      E8VHRIILFLDODXWKRULW\RULQIOXHQFHWRLQWHUIHUHZLWKDQHOHFWLRQDIIHFWWKHFRXUVHRURXWFRPHRIDQHOHFWLRQVROLFLW
   YRWHVIRUDSDUWLFXODUFDQGLGDWHRULVVXHRUUHTXLUHRUVROLFLWSROLWLFDOFRQWULEXWLRQVIURPRWKHUV
      F$OORZRUFDXVHWREHSXEOLVKHGSDUWLVDQSROLWLFDODUWLFOHVVLJQHGRUZULWWHQE\WKH6ROGLHUWKDWVROLFLWYRWHVIRURU
   DJDLQVWDSDUWLVDQSROLWLFDOSDUW\RUFDQGLGDWH7KLVLVGLVWLQJXLVKHGIURPDOHWWHUWRWKHHGLWRUDVSHUPLWWHGXQGHUWKH
   FRQGLWLRQVQRWHGLQSDUDJUDSK%±I
      G6HUYHLQDQ\RIILFLDOFDSDFLW\RUEHOLVWHGDVDVSRQVRURIDSDUWLVDQSROLWLFDOFOXE
      H6SHDNEHIRUHDSDUWLVDQSROLWLFDOJDWKHULQJLQFOXGLQJDQ\JDWKHULQJWKDWSURPRWHVDSDUWLVDQSROLWLFDOSDUW\FDQ
   GLGDWHRUFDXVH
      I3DUWLFLSDWHLQDQ\UDGLRWHOHYLVLRQRURWKHUSURJUDPRUJURXSGLVFXVVLRQDVDQDGYRFDWHIRURUDJDLQVWDSDUWLVDQ
   SROLWLFDOSDUW\FDQGLGDWHRUFDXVH
      J&RQGXFWDSROLWLFDORSLQLRQVXUYH\XQGHUWKHDXVSLFHVRIDSDUWLVDQSROLWLFDOFOXERUJURXSRUGLVWULEXWHSDUWLVDQ
   SROLWLFDOOLWHUDWXUH
      K3HUIRUPFOHULFDORURWKHUGXWLHVIRUDSDUWLVDQSROLWLFDOFRPPLWWHHGXULQJDFDPSDLJQRQDQHOHFWLRQGD\RUDIWHU
   DQHOHFWLRQGD\GXULQJWKHSURFHVVRIFORVLQJRXWDFDPSDLJQ




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      L6ROLFLWRURWKHUZLVHHQJDJHLQIXQGUDLVLQJDFWLYLWLHVLQ)HGHUDORIILFHVRUIDFLOLWLHVLQFOXGLQJPLOLWDU\UHVHUYD
   WLRQVIRUDQ\SROLWLFDOFDXVHRUFDQGLGDWH
      M0DUFKRUULGHLQDSDUWLVDQSROLWLFDOSDUDGH
      N'LVSOD\DODUJHSROLWLFDOVLJQEDQQHURUSRVWHU DVGLVWLQJXLVKHGIURPDEXPSHUVWLFNHU RQWKHWRSRUVLGHRID
   SULYDWHYHKLFOH
      O'LVSOD\DSDUWLVDQSROLWLFDOVLJQSRVWHUEDQQHURUVLPLODUGHYLFHYLVLEOHWRWKHSXEOLFDWRQH¶VUHVLGHQFHRQD
   PLOLWDU\LQVWDOODWLRQHYHQLIWKDWUHVLGHQFHLVSDUWRIDSULYDWL]HGKRXVLQJGHYHORSPHQW
      P3DUWLFLSDWHLQDQ\RUJDQL]HGHIIRUWWRSURYLGHYRWHUVZLWKWUDQVSRUWDWLRQWRWKHSROOVLIWKHHIIRUWLVRUJDQL]HGE\
   RUDVVRFLDWHGZLWKDSDUWLVDQSROLWLFDOSDUW\FDQGLGDWHRUFDXVH
      Q6HOOWLFNHWVIRURURWKHUZLVHDFWLYHO\SURPRWHSDUWLVDQSROLWLFDOGLQQHUVDQGVLPLODUIXQGUDLVLQJHYHQWV
      R$WWHQGSDUWLVDQSROLWLFDOHYHQWVDVDQRIILFLDOUHSUHVHQWDWLYHRIWKH$UPHG)RUFHVH[FHSWDVDPHPEHURIDMRLQW
   $UPHG)RUFHVFRORUJXDUGDWWKHRSHQLQJFHUHPRQLHVRIWKHQDWLRQDOFRQYHQWLRQVRIWKH5HSXEOLFDQ'HPRFUDWLFRU
   RWKHUSROLWLFDOSDUWLHVUHFRJQL]HGE\WKH)HGHUDO(OHFWLRQV&RPPLWWHHRUDVRWKHUZLVHDXWKRUL]HGE\WKH6(&$50<
      S%HDQRPLQHHRUFDQGLGDWHIRUFLYLORIILFHLQ)HGHUDO6WDWHRUORFDOJRYHUQPHQWH[FHSWDVDXWKRUL]HGLQWKLV
   UHJXODWLRQRU'R''RUHQJDJHLQSXEOLFRURUJDQL]HGVROLFLWLQJRIRWKHUVWREHFRPHSDUWLVDQFDQGLGDWHVIRU
   QRPLQDWLRQRUHOHFWLRQWRFLYLORIILFH
      T+ROGRUH[HUFLVHWKHIXQFWLRQVRID)HGHUDO6WDWHRUORFDOJRYHUQPHQWRIILFHDWWDLQHGE\HOHFWLRQRUDSSRLQWPHQW
   H[FHSWDVDXWKRUL]HGE\WKLVUHJXODWLRQRU'R''
      U0DNHDFDPSDLJQFRQWULEXWLRQWRRUUHFHLYHRUVROLFLW RQRQH¶VRZQEHKDOI DFDPSDLJQFRQWULEXWLRQIURPDQ\
   RWKHU PHPEHURIWKH $UPHG )RUFHVRQDFWLYHGXW\ $Q\FRQWULEXWLRQVQRWSURKLELWHGE\WKLV VXESDUDJUDSKUHPDLQ
   VXEMHFWWRWKHJLIWSURYLVLRQVRI6HFWLRQ3DUW7LWOH&RGHRI)HGHUDO5HJXODWLRQV &)5 WKURXJK
   &)56HHSDUDJUDSK%±DIRUJHQHUDOSURKLELWLRQVRQSDUWLVDQIXQGUDLVLQJDFWLYLW\
      V8VHFRQWHPSWXRXVZRUGVDJDLQVWWKHRIILFHKROGHUVGHVFULEHGLQ86&RUSDUWLFLSDWHLQDFWLYLWLHVSUHVFULEHG
   E\'R',DQG'R''
      W3RVWOLQNVWRVKDUHRUUHWZHHWFRPPHQWVRUWZHHWVIURPWKH)DFHERRNSDJHRUWZLWWHUDFFRXQWRIDSROLWLFDOSDUW\
   RIFDQGLGDWHUXQQLQJIRUSDUWLVDQRIILFH
      X&RPPHQWSRVWRUOLQNWRPDWHULDOWKDWFRXOGEHGHHPHGFRQWHPSWIRUSXEOLFRIILFLDOVRUXQSURIHVVLRQDOPDWHULDO
   WKDWLVSUHMXGLFLDOWRJRRGRUGHUDQGGLVFLSOLQHRU6HUYLFHGLVFUHGLWLQJ

   %±3ROLWLFDODFWLYLWLHVQRWH[SUHVVO\SHUPLWWHGRUSURKLELWHG
   6RPHDFWLYLWLHVQRWH[SUHVVO\SURKLELWHGPD\EHFRQWUDU\WRWKHVSLULWDQGLQWHQWRIWKLVUHJXODWLRQ$Q\DFWLYLW\PD\
   EHUHDVRQDEO\YLHZHGGLUHFWO\RULQGLUHFWO\DVVRFLDWLQJ'R'RU'$ZLWKDSDUWLVDQSROLWLFDODFWLYLW\RULVRWKHUZLVH
   FRQWUDU\WRWKHVSLULWDQGLQWHQWLRQRIWKLVUHJXODWLRQRU'R''ZLOOEHDYRLGHG

   %±/RFDOQRQSDUWLVDQSROLWLFDODFWLYLWLHV
   7KLVUHJXODWLRQGRHVQRWSUHFOXGHSDUWLFLSDWLRQLQORFDOQRQSDUWLVDQSROLWLFDOFDPSDLJQVLQLWLDWLYHVRUUHIHUHQGXPV$
   6ROGLHUWDNLQJSDUWLQORFDOQRQSDUWLVDQSROLWLFDODFWLYLW\KRZHYHUZLOOQRW²
      D:HDUDXQLIRUPRUXVHDQ\JRYHUQPHQWSURSHUW\RUIDFLOLWLHVZKLOHSDUWLFLSDWLQJ
      E$OORZSDUWLFLSDWLRQWRLQWHUIHUHZLWKRUSUHMXGLFHWKH6ROGLHU¶VSHUIRUPDQFHRIPLOLWDU\GXWLHV
      F(QJDJHLQFRQGXFWWKDWLQDQ\ ZD\PD\UHDVRQDEO\LPSO\WKDWWKH'$KDVWDNHQDQRIILFLDOSRVLWLRQRQRULV
   RWKHUZLVHLQYROYHGLQWKHORFDOSROLWLFDOFDPSDLJQRULVVXH

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      D*LYHIXOOWLPHDQGDWWHQWLRQWRWKHSHUIRUPDQFHRIPLOLWDU\GXWLHVGXULQJSUHVFULEHGGXW\KRXUV
      E$YRLGDQ\RXWVLGHDFWLYLWLHVWKDWPD\EHSUHMXGLFLDOWRWKHSHUIRUPDQFHRIPLOLWDU\GXWLHVRUDUHOLNHO\WREULQJ
   GLVFUHGLWXSRQWKH86$UP\
      F5HIUDLQIURPSDUWLFLSDWLQJLQDQ\SROLWLFDODFWLYLW\ZKLOHLQPLOLWDU\XQLIRUPDVSURVFULEHGE\$5 ± RU
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   XVLQJJRYHUQPHQWIDFLOLWLHVRUUHVRXUFHVIRUIXUWKHULQJSROLWLFDODFWLYLWLHV
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   0LOLWDU\(TXDO2SSRUWXQLW\3URIHVVLRQDO6WDIILQJ
   7KHIXQFWLRQDO SURSRQHQW IRU0(23ROLF\DQGWKH0(23URJUDPLVWKH'HSXW\ $VVLVWDQW6HFUHWDU\RI WKH $UP\
   (TXLW\DQG,QFOXVLRQ$JHQF\ 6$05 VW6WUHHW)RUW%HOYRLU9LUJLQLD ±             




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      D0(2SURIHVVLRQDOV(230V(26*0V(2DGYLVRUVDQG(2VSHFLDOLVWV 5$86$5 ZLOOEHDVVLJQHGWRWKH
   VSHFLDOVWDIIRIFRPPDQGHUVDW$&20$6&&DQG'586HQLRU&RPPDQGHURUJDQL]DWLRQVDQGDJHQFLHVWKDWDUH
   EULJDGHOHYHO RUHTXLYDOHQW DQGKLJKHU$VVLJQPHQWVZLOOQRWEHDFROODWHUDORUSDUWWLPHGXW\3ULPDU\GXW\SRVLWLRQ
   DXWKRUL]DWLRQVDQGUHTXLUHPHQWVWKDWFRPSO\ZLWKWKLVJXLGDQFHDUHWREHGRFXPHQWHGLQDSSOLFDEOHSHUVRQQHOPDQ
   DJHPHQWDXWKRUL]DWLRQGRFXPHQWV$XWKRUL]HGSRVLWLRQVZLOOQRWEHFKDQJHGZLWKRXWSULRUFRRUGLQDWLRQZLWK+4'$
   'HSXW\$VVLVWDQW6HFUHWDU\IRUWKH$UP\ (TXLW\DQG,QFOXVLRQ$JHQF\ 
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        (DFK%ULJDGH RUHTXLYDOHQWXQLW ZLOOKDYHDVDPLQLPXPRQHIXOOWLPH0(2SURIHVVLRQDOLQWKHUDQNRI6)&
   RUKLJKHU(DFKGLYLVLRQZLOOKDYHDVDPLQLPXPIRXU0(2SURIHVVLRQDOVRQHRIILFHU /7& DQGWKUHH1&2V RQH
   06*DQGWZR6)& &RUSVVWDIIZLOOKDYHDVDPLQLPXPIRXU0(2SURIHVVLRQDOVRQHRIILFHU /7& DQGWKUHH1&2V
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   2SHUDWLRQV&RPPDQGDQG86$UP\3DFLILF&RPPDQGZLOOKDYHDQDGGLWLRQDO1&2LQWKHJUDGHRI6)&7KH(LJKWK
   8QLWHG6WDWHV$UP\ZLOOKDYHDQDGGLWLRQDOWZR1&2VLQWKHJUDGHRI6)&75$'2&DQG)256&20ZLOOKDYHIRXU
   DGGLWLRQDO1&2V RQH06*DQGWKUHH6)&V 7KH0(2WUDLQLQJSURSRQHQWZLOOKDYHDVDPLQLPXPRIWKUHH0(2
   SURIHVVLRQDOVRQHRIILFHU /7& DQGWZR1&2V RQH6*0DQGRQH06* IRUDOO0(2WUDLQLQJ+4'$0(23ROLF\
   %UDQFKZLOOKDYHDVDPLQLPXPWKUHH0(2SURIHVVLRQDOVRQHRIILFHU /7& DQGWZR'$&LYLOLDQV
        ,QDGGLWLRQWRWKHXQLWVWDIILQJUHTXLUHPHQWVOLVWHGDERYHVPDOOLQVWDOODWLRQV IHZHUWKDQ6ROGLHUV RU
   EDVHVXSSRUWEDWWDOLRQV RUHTXLYDOHQW DUHDXWKRUL]HGWZRHQOLVWHG0(2SURIHVVLRQDOV 06*DQG6)& /DUJHLQVWDO
   ODWLRQV PRUHWKDQ DQGDUHDVXSSRUWJURXSV RUHTXLYDOHQW DUHDXWKRUL]HGIRXUHQOLVWHG0(2SURIHVVLRQDOV
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   IHVVLRQDOLQWKHLUVSHFLILFDUHDRIUHVSRQVLELOLW\6SHFLILFDUHDVRIUHVSRQVLELOLW\IRU0(2VXSSRUWDUHLGHQWLFDOWRWKH
   PLOLWDU\MXVWLFHDUHDVRIVXSSRUWUHVSRQVLELOLW\HVWDEOLVKHGLQ$5 ±  WRLQFOXGHDOODFWLYDWHG86$5XQLWVLQDF
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   FRUGDQFH ZLWK $5 ±  6HQLRUFRPPDQGHUV ZLOOHVWDEOLVKDQ 02$ ZLWKWHQDQW XQLWV ZLWKRXW0(2VXSSRUWWR
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   HQVXUHWKDWWKRVHWHQDQWXQLWVUHFHLYH0(2VXSSRUWIURPWKH6HQLRU&RPPDQGHUV0(2RIILFH6HQLRU0(2SURIHV
   VLRQDOVZLOODOVRVXSSRUWQRQGHSOR\LQJ6ROGLHUVZKRVHXQLW0(2SURIHVVLRQDOGHSOR\HGZLWKWKHLUXQLW
        7RVXEVWLWXWHFLYLOLDQVWDIILQJLQSODFHRIPLOLWDU\VWDIILQJUHTXLUHPHQWVDERYH&LYLOLDQVXEVWLWXWLRQVZLOOEH
   '(20,JUDGXDWHVZLWKDPLQLPXP\HDUVRISUHYLRXV0(2H[SHULHQFH$VVLJQPHQWRI0(2GXWLHVWR'$&LYLOLDQV
   ZLOOEHLQVWULFWDFFRUGDQFHZLWKDSSOLFDEOHSRVLWLRQFODVVLILFDWLRQVWDQGDUGVDQGJXLGHOLQHV$WWKHFRPPDQGHU¶VGLV
   FUHWLRQ'$&LYLOLDQVPD\SHUIRUPGXWLHVDVWKH30V
        ,QDGGLWLRQWRWKHDERYHVWDIILQJUHTXLUHPHQWVWKH86$5VWDIILQJZLOOKDYHDVDPLQLPXP²
       D 2QHRIILFHU /7& IRU+4'$0 5$(TXLW\DQG,QFOXVLRQ$JHQF\0(23ROLF\%UDQFK
       E 2QHRIILFHU /7& WZR1&2V 6*0DQG06* DQGWZR'$&LYLOLDQV *6 ± DQG*6±  IRU+HDGTXDUWHUV
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   86$5& WKUHHVWDUFRPPDQG 
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   OHYHOFRPPDQGV
       G 2QH1&2 6)& DWHDFKEULJDGHDQGEDWWDOLRQFRPPDQG GXHWRWKHXQLTXHVWUXFWXUHRIWKH86$5& 

   &±0LOLWDU\HTXDORSSRUWXQLW\SURIHVVLRQDOVHOHFWLRQDQGDVVLJQPHQWSROLF\
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   DQG1&2VIRUGXW\DV0(2SURIHVVLRQDOLQDFFRUGDQFHZLWKWKHIROORZLQJVHOHFWLRQUHTXLUHPHQWV
        5HFRUGRIRXWVWDQGLQJGXW\SHUIRUPDQFHDVGHPRQVWUDWHGE\ODVWILYHHYDOXDWLRQUHSRUWV
        )DYRUDEOHEHKDYLRUDOKHDOWKVFUHHQIRUSXUSRVHVRIDVVLJQPHQWWR0(2GXWLHVSHUIRUPHGE\DOLFHQVHGEHKDY
   LRUDOKHDOWKSURYLGHU7KLVDSSOLHVWRERWK5$DQG86$56ROGLHUVDQGRIILFHUV
        &RPPDQGHU /7&RUKLJKHU LQWHUYLHZDQGUHFRPPHQGDWLRQ7KHFRPPDQGHUZLOOSHUVRQDOO\LQWHUYLHZWKH
   6ROGLHURURIILFHU WKLVZLOOQRWEHGHOHJDWHG DQGHQVXUHWKDWWKH6ROGLHURIILFHUPHHWVSUHUHTXLVLWHV&RPPDQGHUVZLOO




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   FRQVLGHUWKH³ZKROH6ROGLHU´ZKHQPDNLQJWKHLUUHFRPPHQGDWLRQ,QSXWVKRXOGLQFOXGHEXWLVQRWOLPLWHGWRGHPRQ
   VWUDWHGOHDGHUVKLSDELOLW\DQGSRWHQWLDOSK\VLFDOILWQHVVFKDUDFWHUDQGRULQWHJULW\WKH6ROGLHUVRIILFHUVDELOLW\WRSHU
   IRUPLQVWUHVVIXOVLWXDWLRQVQRLQFLGHQWVRIDEXVHRIZKLFKWKHFKDLQRIFRPPDQGLVDZDUHDQGGHPRQVWUDWHGFRP
   PLWPHQWWRSULQFLSOHVRI0(2$OOQHJDWLYHHYDOXDWLRQVZLOOLQFOXGHDIXOOH[SODQDWLRQ
        3HUVRQDOUHDGLQHVV6ROGLHUZLOOQRWKDYHDKLVWRU\RIXQUHVROYHGSHUVRQDOGLVWUDFWLRQVFKURQLFLQGHEWHGQHVV
   H[FHVVLYHXVHRIDOFRKRORUDQ\XVHRILOOHJDOGUXJVGXULQJWKH\HDUVSUHFHGLQJWKHQRPLQDWLRQ
        :LOOQRWKDYHEHHQSXQLVKHGXQGHUWKHSURYLVLRQVRIWKH8&0-GXULQJWKH\HDUVSUHFHGLQJWKHQRPLQDWLRQ
        :LOOKDYHDPLQLPXPRI\HDUVRIVHUYLFHUHPDLQLQJXSRQFRPSOHWLRQRIWKH'(20,
        :LOOPHHW$UP\ILWQHVVDQGERG\IDWFRPSRVLWLRQVWDQGDUGV PLOLWDU\ 
        :LOOPHHWWKHPLQLPXPTXDOLILFDWLRQVIRUSURPRWLRQ
        :LOOQRWKDYHEHHQSUHYLRXVO\GHFOLQHGRUEHHQGLVHQUROOHG DFDGHPLFRUGLVFLSOLQDU\ IURPDQ2IILFHURU1RQ
   FRPPLVVLRQHG2IILFHU(GXFDWLRQ6\VWHPFRXUVH
        +DYHDJHQHUDOWHFKQLFDOVFRUHRIIRUDOO0(2SURIHVVLRQDOV ZDLYHUDEOHE\WKH+5&RU86$5&IRUWURRS
   SURJUDPXQLW 738 DSSOLFDQWV DQGZLWKPLQLPXPFUHGLWKRXUVIURPDQDFFUHGLWHGFROOHJHFUHGLWKRXUV
   ZLOOLQFOXGHDWPLQLPXPHLWKHUDQ(QJOLVKPDWKVFLHQFHRUKLVWRU\FRXUVHV
        0DLQWDLQDPLQLPXPSK\VLFDOXSSHUORZHUKHDULQJH\HVSV\FKLDWULFSURILOHRI
        :LOOSRVVHVVDIDYRUDEOHQDWLRQDODJHQF\FKHFNZLWKORFDOUHFRUGVDQGFUHGLWFKHFNRUKLJKHUSULRUWRVXEPLV
   VLRQRI0(2SDFNHW
        :LOOQRWKDYH7\SH VHH$5 ±  UHSRUWVRIXQIDYRUDEOHLQIRUPDWLRQGLVTXDOLILHUV DXWRPDWLFUHMHFWLRQ 
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   LQYROYLQJ²
       D $Q\FUHGLEOHHYLGHQFHRIFULPLQDODFWLYLW\LQYROYLQJVH[XDOKDUDVVPHQWVH[XDODVVDXOW 8&0-$UWV
   DQG )DPLO\PHPEHURUFKLOGDEXVHSDQGHULQJSURVWLWXWLRQDQ\FULPLQDORIIHQVHUHODWHGWRSRUQRJUDSK\ H[FHSW
   8&0-$UWYLRODWLRQV LQFHVWEHVWLDOLW\DGXOWHU\VH[XDODFWLYLW\ZLWKDVXERUGLQDWHRUIUDWHUQL]DWLRQDQGRUVWDON
   LQJ
       E &UHGLEOHHYLGHQFHRIFULPLQDODFWLYLW\LQYROYLQJGUXJDEXVH XVHSRVVHVVLRQGLVWULEXWLRQPDQXIDFWXULQJ WR
   LQFOXGHSUHVFULSWLRQPHGLFDWLRQDQGV\QWKHWLFGUXJV
       F &RQGXFWLQYLRODWLRQRIWKH$UP\¶VSROLF\UHJDUGLQJSDUWLFLSDWLRQLQH[WUHPLVWRUJDQL]DWLRQVRUDFWLYLWLHV
       G $Q\FRXUWPDUWLDOFRQYLFWLRQLQWKH6ROGLHU¶VFDUHHU
       H $Q\UHSHDWRUFRPELQDWLRQRI7\SHRIIHQVHV
       I 3HQGLQJPHGLFDOSK\VLFDOHYDOXDWLRQERDUG026$GPLQLVWUDWLYH5HWHQWLRQ5HYLHZ
       J $Q\³UHOLHIIRUFDXVH´1&2(5RU2(5
        :LOOQRWKDYH7\SHUHSRUWVRIXQIDYRUDEOHLQIRUPDWLRQRURIIHQVHVWKDWKDYHRFFXUUHGLQWKHODVW\HDUVRU
   RWKHUGLVTXDOLI\LQJFRQGLWLRQV6XFKRIIHQVHVPD\EHZDLYHGE\WKHUHVSRQVLEOHDSSRLQWPHQWDXWKRULW\,IDZDLYHULV
   DSSURYHGWKHZDLYHUDXWKRULW\ZLOOSUHSDUHDQGVLJQD0)57KH0)5ZLOODUWLFXODWHWKHUDWLRQDOHIRUWKHZDLYHUDQG
   ZK\WKHLQGLYLGXDOLVVWLOOWKHEHVWVXLWHGWRVHUYHLQWKDWSRVLWLRQ
        7\SHXQIDYRUDEOHLQIRUPDWLRQRURIIHQVHVLQYROYH²
       D $Q\VXEVWDQWLDWHGDOFRKROUHODWHGLQFLGHQWWRLQFOXGHEXWQRWOLPLWHGWRRSHUDWLQJDPRWRUYHKLFOHXQGHUWKH
   LQIOXHQFHRUZKLOHDELOLW\LVLPSDLUHG
       E 0LQRUDVVDXOWQRWOLVWHGDV7\SHDERYH
       F 6LQJXODUGUXJXVHRIIHQVHEH\RQG\HDUV
       G /DUFHQ\DQGRUWKHIWEHORZOHYHO
       H 0LVGHPHDQRUOHYHOWUDIILFRIIHQVHV IRUH[DPSOHUHFNOHVVGULYLQJ 
       I ,QLWLDOHQOLVWPHQWZDLYHUVIRUGHURJDWRU\LQIRUPDWLRQ QRWUHODWHGWRDQRIIHQVHOLVWHGLQ7\SH 
       J /HWWHUVRUPHPRUDQGDRIUHSULPDQGIRURIIHQVHVOLVWHGDERYHLQ7\SH
       K *RRGFRQGXFWPHGDOGLVTXDOLILFDWLRQPHPRUDQGXPV
       L 3UHYLRXVUHGXFWLRQLQUDQNRUUHPRYDOIURPSURPRWLRQOLVW
       M $³QR´IRUDQ\$UP\9DOXHVEORFNRQDQ1&2(5RU2(5
       N /2'RUPLVFRQGXFWUHSRUWVRILQYHVWLJDWLRQIRURIIHQVHVRWKHUWKDQWKRVHRIIHQVHVOLVWHGDERYHLQ7\SH
       O 5HYRNHGGHQLHGRUVXVSHQGHGVHFXULW\FOHDUDQFHV
       P 2WKHUXQIDYRUDEOHLQIRUPDWLRQ$Q\UHFRUGRIXQIDYRUDEOHLQIRUPDWLRQRWKHUWKDQWKHDERYHLQWKHSDVW\HDUV
        :LOOQRWKDYHDQ\RWKHUGLVTXDOLILHUVRUDQ\UHFRUGRIXQIDYRUDEOHLQIRUPDWLRQRWKHUWKDQOLVWHGDERYHLQWKH
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        7KH'LUHFWRURI(QOLVWHG3HUVRQQHO+5&LVWKHDSSRLQWLQJZDLYHUDXWKRULW\IRU7\SHRIIHQVHVDQGZLOOPDNH
   WKHILQDOGHFLVLRQRQDOOSRWHQWLDOO\GLVTXDOLI\LQJFDVHV+5&ZLOOVFUHHQDQGRUFRRUGLQDWHWKHIROORZLQJUHFRUGVIRU
   DOOSRWHQWLDO0(2FDQGLGDWHVEDVHGRQWKHFULWHULDOLVWHGDERYH
        7KHIROORZLQJUHFRUGVZLOOEHVFUHHQHGSULRUWRIDYRUDEOHFRQVLGHUDWLRQ



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       D 3HUVRQQHOVHFXULW\DQGFULPLQDOUHFRUGVLQGH[HGLQWKH'HIHQVH&OHDUDQFH,QYHVWLJDWLRQV,QGH[DVSUHVHQWLQ
   WKH86$UP\,QYHVWLJDWLYH5HFRUGV5HSRVLWRU\WKH86$UP\&ULPH5HFRUGV&HQWHU'HIHQVH6HFXULW\6HUYLFH
   '$,*UHFRUGVDQGRWKHU)HGHUDODJHQFLHVDQGPLOLWDU\GHSDUWPHQWV
       E 2IILFLDOPLOLWDU\SHUVRQQHOILOHUHVWULFWHGILOHV+5&$UP\3HUVRQQHO5HFRUGV'LYLVLRQ +5& ± 3'5± 5          




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   HPDLO 7KH HPDLO ZLOO LQFOXGH WKH QDPH RI WKH DJHQF\ WKDW UHSRUWHG WKH SRWHQWLDOO\ GLVTXDOLI\LQJ LQIRUPDWLRQ 7KH
   6ROGLHUZLOOEHLQIRUPHGWKDWWKH\PD\UHTXHVWDQDSSHDORIWKHGHFLVLRQE\VXEPLWWLQJDZULWWHQDSSHDOWRWKH&RP
   PDQGLQJ*HQHUDO86+XPDQ5HVRXUFHV&RPPDQG6SHFLDO$FWLRQV%UDQFK +5& ± (32± $ 6SHDUKHDG'L
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   YLVLRQ $YHQXH )RUW.QR[.< ±7KHDSSHDOUHTXHVW ZLOOEHHQGRUVHGE\WKHILUVW*2 LQWKHFKDLQRI
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   FRPPDQG7KH'LUHFWRU(QOLVWHG3HUVRQQHO0DQDJHPHQW'LUHFWRUDWHLVWKHDSSURYDODXWKRULW\IRUDOOZDLYHUVDQGPD\
   UHTXHVWDGHFLVLRQIURPWKH&*+5&RUWKH'&6*± ZKHQZDUUDQWHG
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        :LOOPDLQWDLQTXDOLILFDWLRQVWDQGDUGVWKURXJKRXWWRXUXQLWVZLOOQRWLI\+5&WKURXJKWKHFKDLQRIFRPPDQG
   ZKHQDQ0(2SURIHVVLRQDOIDLOVWRPHHWPLQLPXPTXDOLILFDWLRQVWDQGDUGV
        ,QDGGLWLRQWRWKHDERYHUHTXLUHPHQWVRIILFHUVZLOO²
       D +DYHDEDFKHORU VGHJUHH
       E %HDQRIILFHULQWKHJUDGHRI/7&RUDERYH
       F 2IILFHUVZLOOEHJUDGXDWHVRIRUKDYHUHFHLYHGPLOLWDU\HGXFDWLRQOHYHOIRXUFUHGLWVIRU&RPPDQGDQG*HQHUDO
   6WDII2IILFHU&RXUVH
        ,QDGGLWLRQWRUHTXLUHPHQWVDERYHDFWLYHGXW\DQG$UP\5HVHUYHHQOLVWHG6ROGLHUVZLOO²
       D %HDKLJKVFKRROJUDGXDWH RUHTXLYDOHQW DQGSRVVHVVWKHSRWHQWLDOWRFRPSOHWHFROOHJHOHYHOFRXUVHV
       E %HD66* 3 RUDERYHZLWKOHVVWKDQ\HDUV¶WLPH H[FHSW86$56ROGLHUV LQVHUYLFHXSRQFRPSOHWLRQRI
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       F +DYHVHUYHGLQDOHDGHUVKLSSRVLWLRQ
       G 0D\EHDVVLJQHGWREDFNWREDFNVSHFLDOGXW\DVVLJQPHQWV IRUH[DPSOH,*WR0(2SURIHVVLRQDORUPXOWLSOH
   0(2SURIHVVLRQDOWRXUV LIDVVLJQPHQWVVXSSRUWFDUHHUSURJUHVVLRQDQGDSSURYHG+5&DVVLJQPHQWPDQDJHU
      E9ROXQWHHUV$Q\DFWLYHGXW\RU$*5RIILFHUDQG1&2ZKRPHHWWKHVHOHFWLRQFULWHULDLQSDUDJUDSK&±DPD\
   YROXQWHHUIRUGXW\DVDQ0(2SURIHVVLRQDOE\VXEPLWWLQJDZULWWHQUHTXHVWWRWKHLUEUDQFKPDQDJHURUWKURXJKDSSUR
   SULDWHDQQRXQFHPHQWIRU86$5(QOLVWHGDQGRIILFHUUHTXHVWVZLOOEHVXEPLWWHGWKURXJKWKHILUVW&2/LQWKHFKDLQRI
   FRPPDQGDQGIRUZDUGHGWKURXJKWKH$&20$6&&DQG'580(230IRUHQGRUVHPHQW
      F7RXUOHQJWKVIRUPLOLWDU\HTXDORSSRUWXQLW\SURIHVVLRQDOV
        $FWLYHGXW\DQG$FWLYH*XDUG5HVHUYHHQOLVWHGDQGRIILFHUV7RXUVIRUSHUVRQQHODVVLJQHGWR&2186XQLWVZLOO
   EH  PRQWKV H[FOXVLYH RI WUDLQLQJ WLPH  ZLWK WKH SRVVLELOLW\ IRU DGGLWLRQDO \HDU H[WHQVLRQV 7RXUV IRU SHUVRQQHO
   DVVLJQHG2&2186ZLOOEHWKHSUHVFULEHGWRXUOHQJWKRIWKDWDVVLJQPHQWEDVHGRQVWDWXV DFFRPSDQLHGXQDFFRPSD
   QLHG 7KRVHSHUVRQQHODVVLJQHGWRD±\HDU2&2186WRXUZLOOEHIXUWKHUDVVLJQHGWRDQRWKHU0(2DVVLJQPHQWIRU
   WKHUHPDLQLQJ\HDUVRIXWLOL]DWLRQLQ&2186
        $UP\5HVHUYHWURRSSURJUDPXQLW6ROGLHUV8SRQFRPSOHWLRQRI'(20,0(2SURIHVVLRQDOVZLOOFRPSOHWHD
   ±\HDUWRXUZLWKDQRSWLRQRIDVHFRQG±\HDUWRXU7KH86$5&ZLOOREWDLQVFKRROTXRWDVWKURXJKWKH$7556IRU
   FRXUVHDWWHQGDQFHLQWKH±ZHHNUHVLGHQWFRXUVHDWWKH'(20,ZLWKLQPRQWKVRIDVVLJQPHQWDVDQ0(2SURIHV
   VLRQDO7386ROGLHUVZLOOEHUHTXLUHGWRDWWHQGDWZRSKDVHFRXUVH3KDVHLVGLVWDQFHOHDUQLQJDQG3KDVHLVD
   ZHHNUHVLGHQWFRXUVHDW'(20,XQOHVVWKHUHDUHDYDLODEOHWUDLQLQJVHDWVLQWKHORQJFRXUVHDQGORFDOFRPPDQGIXQGLQJ
   KDVEHHQDSSURYHG5HTXHVWVWRH[FHHGWKH±PRQWKFRPSOHWLRQUHTXLUHPHQWZLOOEHIRUZDUGHGWKURXJKWKHFKDLQRI
   FRPPDQGWRKHDGTXDUWHUV86$5&(DFKUHTXHVWZLOOEHKDQGOHGRQDFDVHE\FDVHEDVLVDQGUHTXLUHVMXVWLILFDWLRQRI
   WKH6ROGLHU VLQDELOLW\WRDWWHQGWKHFRXUVHZLWKLQWKHDOORWWHGWLPH)DLOXUHWRFRPSOHWHWKHFRXUVHZLOOUHVXOWLQUHPRYDO
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   &±$WWHQGDQFHDWWKH'HIHQVH(TXDO2SSRUWXQLW\0DQDJHPHQW,QVWLWXWH
      D0LOLWDU\SHUVRQQHODWWHQGDQFH2IILFHUDQGHQOLVWHGSHUVRQQHOVHOHFWHGIRU0(2GXW\ZLOODWWHQGWKH0(2$G
   YLVRU&RXUVHDW'(20,
        &HUWLILFDWLRQ8SRQVXFFHVVIXOFRPSOHWLRQRIWKH0(2$GYLVRU&RXUVH'(20,UHFRPPHQGVDZDUGLQJRIVNLOO
   TXDOLILFDWLRQVLGHQWLILHU 64, 4 HQOLVWHG DQG$6,7 RIILFHUV 7KH&*+5&ZLOODZDUGWKHDSSURSULDWHGHVLJQDWRU
   WR0(2SURIHVVLRQDOV
        6FKHGXOLQJRIWUDLQLQJ7KH&*+5&VFKHGXOHVTXDOLILHGDFWLYHGXW\$*5RIILFHUVDQG1&2VIRUWUDLQLQJDQG
   GXW\DV0(2SURIHVVLRQDOV&*+5&FRQWUROV'(20,WUDLQLQJVHDWVIRUDFWLYHGXW\$*5WKH&*86$5&FRQWUROV
   '(20,WUDLQLQJVHDWVIRU86$50(2SURIHVVLRQDOV&RPPDQGVZLOOXVHWKHIROORZLQJSURFHGXUHVWRDFTXLUHWKHVH
   DOORFDWLRQV




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       D &RPPDQGHUVGHVLULQJWRVHQGRIILFHUVDQG1&2VRQ7'<WR'(20,DQGWKHQUHWXUQWRWKHLUXQLWVDV0(2
   SURIHVVLRQDOVZLOOVHQGWKHLUUHTXHVWVWKURXJKWKHLU$&20V$6&&VRU'58V7KH$&20V$6&&VRU'58VZLOO
   IRUZDUG DSSOLFDWLRQV IRU RIILFHUV WR &RPPDQGHU 86 $UP\ +XPDQ 5HVRXUFHV &RPPDQG +5& ± 23&± $  
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       E &RPPDQGHUVDQG$&20$6&&DQG'580(230VZLOOUHTXHVWWUDLQLQJVHDWDOORFDWLRQVLQZULWLQJDQG
   UHTXHVWVZLOODUULYHDW+5&86$5&QRODWHUWKDQPRQWKVSULRUWRWKHVWDUWGDWHRIDUHTXHVWHGFODVV
       F 86$5SHUVRQQHOZLOOKDYHDQ$7556DOORFDWLRQDQGDYDOLG0(27'$SRVLWLRQ 86$56ROGLHUV WREHFRQ
   VLGHUHGIRUDWWHQGDQFHDW'(20,7KLVLVDSSOLFDEOHWR86$50(2SURIHVVLRQDOVDVVLJQHGWRDPDMRU$UP\5HVHUYH
   FRPPDQG
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   DWWHQGWKH0(2$GYLVRU5HVLGHQW&RXUVHDW'(20,
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   $GYLVRU&RXUVHLVGHVLJQDWHGWRWUDLQSHUVRQQHOIRUDVVLJQPHQWDVIXOOWLPH0(2SURIHVVLRQDO
        $OORFDWLRQV'$&LYLOLDQDOORFDWLRQVIRUWKH'(20,DUHFRQWUROOHGE\WKH&*+5&7KH&*86$5&FRQWUROV
   DOORFDWLRQVIRUWKHLUUHVSHFWLYH5HVHUYHHOHPHQWVDQGSUHVFULEHVWKHZD\LQZKLFK'$&LYLOLDQUHTXHVWVDUHVXEPLWWHG
        $SSOLFDWLRQ&RPPDQGHUVGHVLULQJWR VHQG'$&LYLOLDQV ZKRDUHRIILFLDOO\DVVLJQHGWRGXWLHVLQWKH $UP\
   0(2 3URJUDP WR '(20, ZLOO VHQG DQ DSSOLFDWLRQ WR WKH DSSURSULDWH $&20 $6&& RU '58 ,I DSSURYHG WKH
   $&20$6&&RU'58ZLOOUHTXHVWDWUDLQLQJVHDWWKURXJKWKH$7556,IDOOWUDLQLQJVHDWVDUHILOOHGWKHUHTXHVWZLOO
   EHFRQVLGHUHGIRUDODWHUFODVV5HTXHVWVIRUDOORFDWLRQVZLOOEHVXEPLWWHGLQZULWLQJWREHUHFHLYHGE\WKHDSSURYLQJ
   RIILFLDOQRODWHUWKDQPRQWKVEHIRUHWKHVWDUWGDWHRIWKHUHTXHVWHGFODVV
        'HIHQVH(TXDO2SSRUWXQLW\0DQDJHPHQW,QVWLWXWHQRWLILFDWLRQ8SRQDSSURYDOWKHDSSOLFDQWZLOOEHQRWLILHG
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        'HSDUWPHQWRIWKH$UP\&LYLOLDQSHUVRQQHOVHOHFWLRQUHTXLUHPHQWVDQGSUHUHTXLVLWHVIRUDWWHQGDQFHDWWKH'H
   IHQVH(TXDO2SSRUWXQLW\0DQDJHPHQW,QVWLWXWHDUHDVIROORZV
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       E 2FFXS\RUEHVFKHGXOHGWRRFFXS\DQRIILFLDOO\DVVLJQHGSRVLWLRQLQWKHPLOLWDU\(23URJUDPLQDFFRUGDQFH
   ZLWKDSSOLFDEOHSRVLWLRQFODVVLILFDWLRQVWDQGDUGVDQGJXLGHOLQHVIRU&DUHHU3URJUDP &3 ±  2IILFHRI3HUVRQQHO
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       D &ODVVGHVLUHGWRDWWHQG
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   WKDWPD[LPL]HVKXPDQSRWHQWLDOUHVXOWLQJLQFRKHVLRQDQGDFFRPSOLVKPHQWRIWKHFRPPDQGHU¶VPLVVLRQWKURXJKWKH
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        ([HPSOLILHVOHDGHUVKLSTXDOLWLHVWKDWKDYHPDGHVLJQLILFDQWFRQWULEXWLRQVWRKXPDQUHODWLRQV0(2GLYHUVLW\
   DQGOHDGHUVKLSSURJUDPVWKHUHE\DVVLVWLQJWKHFRPPDQGLQRYHUFRPLQJGLVFULPLQDWLRQDQGHOLPLQDWLQJEDUULHUV
        3URPRWHVDQGFRQGXFWVWUDLQLQJWKDWVXSSRUWDQGFRQWULEXWHWRXQGHUVWDQGLQJDQGYDOXLQJGLYHUVLW\¶VLPSDFWRQ
   UHDGLQHVVDQGIRVWHULQJDFOLPDWHWKDWSURPRWHVVXFFHVVIXOPLOLWDU\DQG'$&LYLOLDQFRPPXQLFDWLRQDQGFROODERUDWLRQ
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   WLPHWRVHOHFWWUDLQDQGDVVLJQDUHSODFHPHQWIRUWKHRXWJRLQJ0(2SURIHVVLRQDOWRHOLPLQDWHDJDSLQFRYHUDJH
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   ZLWKWKHFRPPDQGWRVHOHFWWUDLQDQGDVVLJQDUHSODFHPHQWIRUWKHUHOLHYHG0(2SURIHVVLRQDO
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   LQVLPLODUJRDOVDQGREMHFWLYHV%RWKDUH&RPPDQGHU¶VSURJUDPV7KHUHDUHDUHDVLQZKLFK0(2DQG((23URJUDPV
   FDQDQGVKRXOGEHLQWHJUDWHGZKHQGRLQJVRSURPRWHVXQGHUVWDQGLQJHIILFLHQF\HFRQRP\DQGFRPPRQLQWHUHVWVRI
   ERWKSURJUDPV7KHVHDUHDVLQFOXGH&&$VGLYHUVLW\LQLWLDWLYHVVRPHDVSHFWVRIWUDLQLQJDQGFRRUGLQDWLRQRIDGPLQ
   LVWUDWLYHVXSSRUW&RPPDQGHUVPD\FKRRVHWRFRQVROLGDWH0(2DQG((2RIILFHVXQGHUWKHGLUHFWLRQRIRQHRUWKH
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   HUVDQG6ROGLHUVWRWUHDWRQHDQRWKHUZLWKGLJQLW\DQGUHVSHFWDFKLHYHVEHWWHUPRUDOHJUHDWHUFRPPLWPHQWLQFUHDVHG
   WUXVWDQGFRKHVLRQDQGEHWWHUSHUIRUPDQFH0(2DQG+DUDVVPHQW3UHYHQWLRQDQG5HVSRQVHWUDLQLQJGLUHFWO\DIIHFWV
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   7UDLQLQJDQG'RFWULQH&RPPDQGPLOLWDU\HTXDORSSRUWXQLW\WUDLQLQJSURSRQHQWUHVSRQVLELOLWLHV
      D'HYHORSDQGPDLQWDLQWUDLQLQJIRUVSHFLILFOHYHOVRI30(DQGXQLWOHYHO0(2DQG+DUDVVPHQW3UHYHQWLRQDQG
   5HVSRQVHFRPPRQPDQGDWRU\WUDLQLQJ ZKLFKZLOOLQFOXGHKDUDVVPHQW 
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      H0(2DQG+DUDVVPHQW3UHYHQWLRQDQG5HVSRQVHWUDLQLQJLVDQ+4'$FRPPRQPDQGDWRU\WUDLQLQJVXEMHFWLQ
   DFFRUGDQFHZLWK$5 ± $VVXFKWKHVWDQGDUGL]HG0(2DQG+DUDVVPHQW3UHYHQWLRQDQG5HVSRQVH763LQVXSSRUW
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   RI+4'$0(2FRPPRQPDQGDWRU\WUDLQLQJZLOOEHPDLQWDLQHGLQWKH$UP\7UDLQLQJ0DQDJHPHQW6\VWHP $706 
   LQRUGHUWRDOORZIRUDVLQJOHSRLQWRIDFFHVVLELOLW\IRUWUDLQLQJ0(2DQG+DUDVVPHQW3UHYHQWLRQDQG5HVSRQVH763
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   GRFXPHQWWUDLQLQJRQWKHWUDLQLQJVFKHGXOHVDQGLQWKH'LJLWDO7UDLQLQJ0DQDJHPHQW6\VWHPLQDFFRUGDQFHZLWK$5
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   FRXUVHV30(VFKRROVZLOOLQFOXGHOHVVRQEORFNVRQWKHLPSRUWDQFHRIWKHVHWRSLFVDVDIRXQGDWLRQRIHIIHFWLYHOHDG
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   DQGGHPRQVWUDWHFDUHDQGFRQFHUQIRU6ROGLHUV,QVWUXFWRUVDW30(VFKRROVZLOOXWLOL]HWKH75$'2&0(2WUDLQLQJ
   SURSRQHQW763VPDLQWDLQHGRQ$706LQDFFRUGDQFHZLWK$5 ± 3URJUHVVLYH0(2DQG+DUDVVPHQW3UHYHQWLRQ
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   DQG5HVSRQVHWUDLQLQJFRPPHQVXUDWHZLWKUDQNZLOOHQDEOH6ROGLHUVLQVXSHUYLVRU\SRVLWLRQVWRUHFRJQL]HDQGUHVROYH
   SRWHQWLDOGLVFULPLQDWRU\DQGKDUDVVPHQWSUDFWLFHVDWWKHORZHVWOHYHO

   '±(TXDO2SSRUWXQLW\/HDGHUV&RXUVH
   7KH(2/&LVGHVLJQHGWRWUDLQVWXGHQWVWREHFRPH(2/V,WSURYLGHVWKHPLQLPXPWUDLQLQJUHTXLUHGIRU(2/VWRIXOILOO
   WKHLUGXWLHVDQGUHVSRQVLELOLWLHV7KLVFRXUVHLVDOVRGHVLJQHGWRHQVXUHLQGLYLGXDOVVHOHFWHGWRSHUIRUP(2/GXWLHVDUH
   WUDLQHGWRWKHVDPHOHYHODQGVWDQGDUGUHJDUGOHVVRIORFDWLRQ,WZLOOEHFRQGXFWHGTXDUWHUO\ RUDVQHHGHG DWLQVWDOOD
   WLRQOHYHOZLWKKHOSIURPXQLW0(2SURIHVVLRQDOV6ROGLHUVLGHQWLILHGWRVHUYHDV(2/VZLOOFRPSOHWHWKLVFRXUVHSULRU
   WREHLQJDVVLJQHGDVDQ(2/&RXUVHPDWHULDOVDUHFRQWUROOHGE\WKH75$'2&0(2WUDLQLQJSURSRQHQWDQGPDLQ
   WDLQHGRQWKH75$'2&$706DQGFDQRQO\EHUHTXHVWHGE\$&20$6&&RU'580(2RIILFHV

   '±$UP\+HULWDJH0RQWK
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        )RVWHUDFXOWXUHRIHTXLW\DQGLQFOXVLRQLQWKH$UP\
        5HFRJQL]HGLYHUVLW\ZLWKLQWKH$UP\WRWDOIRUFHDVDVWUHQJWKDQG)RUFH0XOWLSOLHU
        3URPRWHXQLWFRKHVLRQWHDPZRUNDQG(VSULWGH&RUSV
        5HFRJQL]HDQGFHOHEUDWH$UP\¶V+HULWDJHDQG%LUWKGD\
      E7KH'HSDUWPHQWRIWKH$UP\3XEOLF$IIDLUV2IILFHZLOOSURYLGHVWUDWHJLFFRPPXQLFDWLRQIRUWKH$UP\+HULWDJH
   0RQWKDQQXDOO\GXULQJWKHPRQWKRI-XQH
      F&RPPDQGHUVRI$&20V$6&&VDQG'58VDQGVHQLRUFRPPDQGHUV RUHTXLYDOHQW ZLOOFRQGXFW$UP\+HU
   LWDJH0RQWKGXULQJWKHPRQWKRI-XQHDQQXDOO\
      G$UP\+HULWDJH0RQWKPXVWDFFRPSOLVKWKHIROORZLQJREMHFWLYHV
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        5HFRJQL]HWKHDFKLHYHPHQWVDQGFRQWULEXWLRQVRI$UP\RUJDQL]DWLRQVZKLOHHQKDQFLQJDVHQVHRILQFOXVLRQDQG
   XQLWFRKHVLYHQHVVDPRQJGLYHUVHDWWHQGHHV
        (QKDQFHKHULWDJHDZDUHQHVVDQGXQGHUVWDQGLQJ
        )RFXVRQLQWHUDFWLRQQRWMXVWUHFRJQLWLRQWRSUHVHUYHWKHPHPRULHVRI6ROGLHUV'$&LYLOLDQVDQGWKHLUIDPLOLHV
   KRQRUWKHLUVHUYLFHDQGKHOSHGXFDWH$PHULFDQSXEOLFDERXWWKH$UP\DQGWKH$UP\)DPLOLHVFRQWULEXWLRQVWRWKH
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        8WLOL]HWKH$UP\+HULWDJH0RQWKUHFRJQLWLRQWRLQFOXGHORFDOFRPPXQLW\DQGFRPPXQLW\LQIOXHQFHUVWRSUR
   PRWHWKH$UP\DVDPRGHOHPSOR\HURIFLYLOLDQVDQGDZD\RIOLIHIRUSRWHQWLDOPLOLWDU\VHUYLFHLQGHIHQVHRIRXUJUHDW
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   LQJXQOHVVRWKHUZLVHGLUHFWHG²
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        ,QYLWHPHPEHUVRIWKHPLOLWDU\FRPPXQLW\WRSDUWLFLSDWHLQWKHSODQQLQJLPSOHPHQWDWLRQDQGFRQGXFWRI$UP\
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   FKDQQHOVWRLQFOXGHSULQWDQGVRFLDOPHGLDHQVXULQJZLGHVWGLVVHPLQDWLRQ
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      G&RPPDQGHUVDUHHQFRXUDJHWRXVHRIUHFUHDWLRQDOIDFLOLWLHVWRLQFOXGHWKHSRVWOLEUDU\UHFUHDWLRQFHQWHUWKHDWHU
   DQGVRIRUWKIRUXVHGXULQJ$UP\+HULWDJH0RQWKDFWLYLWLHV
      H$FWLYLWLHV VKRXOG EH VFKHGXOHG WR DOORZ IRU PD[LPXP DWWHQGDQFH E\ DOO 6ROGLHUV )DPLO\ PHPEHUV DQG '$
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      D3XUSRVH7KHSXUSRVHRIWKH&&$LVWRDVVLVWFRPPDQGHUVDQGVHQLRUUHVSRQVLEOHRIILFLDOV 652V DWDOOOHYHOV
   LQDVVHVVLQJWKHLURUJDQL]DWLRQDOFOLPDWHDQGWRPDNHUHFRPPHQGDWLRQVIRULPSURYHPHQWV
      E2EMHFWLYH7KHREMHFWLYHRIWKH&&$LVWRSURYLGHFRPPDQGHUV652VLQVLJKWLQWRSRVLWLYHDQGQHJDWLYHIDFWRUV
   WKDWPD\LPSDFWRUJDQL]DWLRQDOHIIHFWLYHQHVVDQGUHDGLQHVV
      F&RQILGHQWLDOLW\&&$LQIRUPDWLRQZLOOEHWUHDWHGDVFRQILGHQWLDO([FHSWLRQVWRFRQILGHQWLDOLW\ZLOOEHFRQVLVWHQW
   ZLWKWKH3ULYDF\$FW6WDWHPHQW WKDWLVUHVSRQGHQWVWDWHPHQWVDERXWEHLQJDWKUHDWWRWKHPVHOYHVRURWKHUVDOOHJDWLRQV
   RIFULPLQDOEHKDYLRUDQGRURSHUDWLRQDOO\VHQVLWLYHLQIRUPDWLRQ :KHQSDSHUDQGSHQFLOVXUYH\VDUHXVHGWKHRUJDQ
   L]DWLRQZLOOHQVXUHWKDWUHVSRQGHQWVFDQVXEPLWWKHLUVXUYH\LQDQLQFRQVSLFXRXVORFDWLRQ6XUYH\UHVXOWVZLOOQHYHUEH
   UHSRUWHGVRWKDWDQLQGLYLGXDO¶VUHVSRQVHVFDQEHLGHQWLILHG&&$UHVXOWVZLOOEHEULHIHGWRWKHQH[WKLJKHUOHYHOFRP
   PDQGHU652VDQGFRPPDQGHUV652VZLOOSURYLGHWLPHO\IHHGEDFNWRWKHRUJDQL]DWLRQ
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   KDVFRPSOHWHGWKHIROORZLQJEULHIHGWKHLUVXSHUYLVRUDQGSURYLGHGIHHGEDFNWRWKHRUJDQL]DWLRQVZRUNIRUFH&RPSOH
   WLRQRIWKH&&$LVDQLWHPWKDWLVFKHFNHGXQGHUWKH&,3DQGWKH0DQDJHUV¶,QWHUQDO&RQWURO3URJUDP
      H5ROHRIWKHHTXDORSSRUWXQLW\SURIHVVLRQDO7KH0(2SURIHVVLRQDOZLOOVHUYHDVWKH2UJDQL]DWLRQ&OLPDWH$V
   VHVVPHQW6XUYH\DGPLQLVWUDWRUDQGZLOOGLVFXVVDVVHVVPHQWUHVXOWVZLWKWKHFRPPDQGHU652WRDLGLQGHYHORSLQJD
   &&$$FWLRQ3ODQV7KH0(2SURIHVVLRQDOZLOOVHFXUHFRSLHVRIDOO&&$H[HFXWLYHVXPPDULHVDFWLRQSODQVDQGUHVXOWV
   ZLOOEHVWRUHGLQDFRQWUROOHGFRQWDLQHUIRU\HDUV
      I5ROHRIWKHHTXDORSSRUWXQLW\OHDGHU7KH(2/PD\DVVLVWWKH0(2SURIHVVLRQDOZLWKWKHPDQDJHPHQWRID&&$
    IRUH[DPSOHLVVXLQJVXUYH\QXPEHUVFRRUGLQDWLQJIDFLOLWLHVIRULQWHUYLHZVRUIRFXVJURXSVDQGVRIRUWK (2/VZLOO
   QRWVHUYHDV&&$VXUYH\DGPLQLVWUDWRUVQRUDVVLVWZLWKDQDO\]LQJRUDVVHVVLQJ&&$UHVXOWVDLGLQJFRPPDQGHU652
   ZLWKGHYHORSLQJ&&$$FWLRQ3ODQVVWRULQJ&&$GRFXPHQWDWLRQVRUWUDFNLQJFRPPDQGHUWLPHOLQHV
      J&RQGXFWLQJWKH&RPPDQG&OLPDWH$VVHVVPHQW&RPPDQGHUV652VPD\XVHWKHIROORZLQJWRROVLQGLYLGXDOO\
   RULQFRPELQDWLRQWRFRQGXFWWKH&&$VXUYH\GLVWULEXWLRQDQGDQDO\VLV6$9VLQGLYLGXDOLQWHUYLHZVREVHUYDWLRQV
   IRFXVJURXSVRUJDQL]DWLRQWUHQGGDWDDQGUHSRUWV7KH0(2SURIHVVLRQDOZLOODVVLVWWKHFRPPDQGHU652DQGREWDLQ
   WKHFRPPDQGHU¶V652¶VDSSURYDORIWKHPHWKRGVWREHXVHGWRDVVHVVWKHRUJDQL]DWLRQHIIHFWLYHQHVVSULRUWRFRQGXFW
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        $QRQ\PLW\7KHDQRQ\PLW\RILQGLYLGXDOVVXEPLWWLQJDVXUYH\ZLOODOZD\VEHSURWHFWHG0(2SURIHVVLRQDOV
   DGPLQLVWHULQJWKHVXUYH\DQGFROOHFWLQJWKHGDWDZLOOHQVXUHSURFHGXUHVDUHLQSODFHWRSURWHFWWKHDQRQ\PLW\RIUH
   VSRQGHQWVDQGWKHFRQILGHQWLDOLW\RIWKHUHVXOWV7KH&&$VXUYH\LVGHVLJQHGWRSURWHFWUHVSRQGHQWDQRQ\PLW\2UJDQ
   L]DWLRQUHVXOWVZLOOQRWEHEURNHQRXWE\GHPRJUDSKLFJURXSV VXFKDVUDFHVH[RUUDQN LIDVXEJURXS IRUH[DPSOH
   PDOH RU IHPDOH  KDV IHZHU WKDQ ILYH UHVSRQGHQWV +RZHYHU WKH DQVZHUV SURYLGHG WR IUHHUHVSRQVH TXHVWLRQV PD\
   UHYHDOWKH UHVSRQGHQW¶V LGHQWLW\7KHUHIRUH6ROGLHUVDQG'$ &LYLOLDQV ZLOOEHQRWLILHGRIH[FHSWLRQVWRDQRQ\PLW\
   EHIRUH WKH VXUYH\LVDGPLQLVWHUHG7KH\ ZLOODOVREHQRWLILHGLIWKHLUYHUEDWLPFRPPHQWV ZLOOEHSURYLGHGWRWKHLU
   FRPPDQGHU652FKDLQRIFRPPDQGRURWKHUV6SHFLILFDOO\UHVSRQGHQWVWDWHPHQWVDERXWEHLQJDWKUHDWWRWKHPVHOYHV
   RURWKHUVWKHFRPPHQWVLQYROYLQJFULPLQDODQGRSHUDWLRQDOO\VHQVLWLYHLQIRUPDWLRQPD\EHUHOHDVHGDQGLIQHFHVVDU\
   UHSRUWHG WR WKH SURSHU DXWKRULWLHV $Q\ DOOHJDWLRQV RU UHSRUWV RI VH[XDO DVVDXOW ZLOO EH LPPHGLDWHO\ UHSRUWHG WR
   86$&,'&,IDQ0(2SURIHVVLRQDOLVQDPHGLQWKHDVVHVVPHQWDQRWKHU0(2SURIHVVLRQDOZLOODGPLQLVWHUWKHVXUYH\
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   LQTXLULHVIURP,*LQYHVWLJDWLQJRIILFHUVUHTXHVWLQJFRSLHVRI&&$UHFRUGV/RFDOFRPPDQG,*LQYHVWLJDWLQJRIILFHUV
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   MXVWLILFDWLRQDQGRUJDQL]DWLRQVQDPHVXUYH\UHSRUWQXPEHUDQGRUVXUYH\ZLQGRZUHTXHVWLQJRIILFHU¶VUDQNILUVWDQG
   ODVWQDPH,QYHVWLJDWLQJRIILFHUV ZLOODOVRLQFOXGHDSSRLQWPHQWRUGHUV,QYHVWLJDWLQJUHSUHVHQWDWLYHVH[WHUQDOWRWKH
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   HUV652VDQG0(2SURIHVVLRQDOVPD\FROODERUDWH ZLWKRWKHURIILFHVWKDWDUHDQLQWHJUDOSDUWRIWKHRUJDQL]DWLRQ¶V
   FOLPDWH7KHVHDJHQFLHVLQFOXGHEXWDUHQRWOLPLWHGWR6-$((2,*QRQDSSURSULDWHGIXQGLQVWUXPHQWDOLWLHV$UP\
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  %ULJDGHRUHTXLYDOHQW      5$                        ,QIRUPWKHPHPEHUVRIWKHRUJDQL]DWLRQRIWKHXSFRPLQJDVVHVVPHQW
                              GD\VDQGDQQXDOO\       6XUYH\IRUEULJDGHVWDIIHOHPHQWDQGVXERUGLQDWHFRPPDQGWHDPV
                              WKHUHDIWHU                RQHOHYHOEHORZ
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  7DEOH( ±         




  &RPPDQG&OLPDWH$VVHVVPHQWJXLGDQFH ²&RQWLQXHG                        




  &RPPDQGOHYHO                                           )UHTXHQF\ GD\V            5HTXLUHPHQWV
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  &RPPDQGOHYHO                )UHTXHQF\ GD\V             5HTXLUHPHQWV
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   DVVHVVLQJWKHRYHUDOOFOLPDWHRIWKHRUJDQL]DWLRQ7KH\DUHDQLPSRUWDQWWRROEHFDXVHWKH\SURYLGHIRUVWDQGDUGL]DWLRQ
   DQGDQRQ\PLW\:KHQDGPLQLVWHULQJVXUYH\VFRPPDQGHUV652VZLOOXWLOL]HWKH'HSDUWPHQWRI'HIHQVH&RPPDQG
   &OLPDWH$VVHVVPHQW6XUYH\DQGWKH'DWD5HWULHYDO6\VWHP
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   SURYLGH VXERUGLQDWH RUJDQL]DWLRQV¶ VXUYH\ UHVXOWV ZLWKRXW UHTXLULQJ UHDGPLQLVWUDWLRQ RI GXSOLFDWH VXUYH\V WR WKHLU
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   ORRNLQJLQWRLQGLYLGXDORUJDQL]DWLRQVFRPPDQGFOLPDWHDUHQRWDXWKRUL]HGFRSLHVRI'56QRUVXUYH\UHSRUWV
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   IRFXVJURXSV6$9VRUWUHQGDQDO\VLV&RPPDQGHUV652VVKRXOGFRQVXOWWKHLU0(2SURIHVVLRQDOWRGHWHUPLQHWKH
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   VXPPDU\ ZLOO LQFOXGH VLJQLILFDQW ILQGLQJV RUJDQL]DWLRQDO VWUHQJWKV DQG DUHDV RI FRQFHUQV 7KH &&$ $FWLRQ 3ODQ
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   JHQXLQHUHSUHVHQWDWLRQRIWKHRUJDQL]DWLRQDQGSURYLGHWKHFRPPDQGHU652ZLWKDFWLRQDEOHLQIRUPDWLRQ
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      J(TXDORSSRUWXQLW\ SURIHVVLRQDOV 0(2 SURIHVVLRQDOV ZLOO VHUYH DV WKH EULJDGHDQGDERYHOHYHO FRP
   PDQGHU¶V652¶VVSHFLDOVWDIIRIILFHUIRURUJDQL]DWLRQDOFOLPDWHHIIHFWLYHQHVV2QO\0(2SURIHVVLRQDOVRQDFXUUHQW
   WRXURIGXW\FDQUHTXHVWDQGDGPLQLVWHUWKHVXUYH\DGPLQLVWHURWKHUDVVHVVPHQWWRROVDQGSUHSDUHDVVHVVPHQWDQDO\VLV
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   &LYLOLDQV0DQDJHPHQWZLOOHQVXUHDOODSSOLFDEOHFROOHFWLYHEDUJDLQLQJREOLJDWLRQVDUHIXOILOOHGSULRUWRLQLWLDWLQJD
   FRPPDQGFOLPDWHVXUYH\RUDVVHVVPHQWFRYHULQJEDUJDLQLQJXQLWHPSOR\HHV&RPPDQGHUV652VZLOOHQVXUHFRQWUDF
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   VXUYH\HGDXGLHQFHZLOOLQFOXGHDVXIILFLHQWQXPEHURISDUWLFLSDQWVLQRUGHUWRREWDLQDJHQXLQHUHSUHVHQWDWLRQRIWKH
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        &RPPDQGHUV652VZLOOSURYLGHWKHLUVXSHUYLVRUZLWKDQDQDO\VLVRIVXUYH\UHVSRQVHVIURPWKHUHVSRQGHQWV
   7KHDQDO\VLVZLOOLGHQWLI\IDFWRUVWKDWPD\LPSDFWRUJDQL]DWLRQHIIHFWLYHQHVVDQGFRKHVLRQ
      E6WDIIDVVLVWDQFHYLVLWV7KH6$9VSURYLGHFRPPDQGHUV652VDQRYHUDOODVVHVVPHQWRIWKHLUFRPPDQGFOLPDWH
   &RPPDQGHUV652VDQG0(2SURIHVVLRQDOVZLOOFRQGXFW6$9¶VDWHYHU\FRPPDQGRUJDQL]DWLRQOHYHORQDQDQQXDO
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      F,QWHUYLHZV&RQGXFWLQJLQWHUYLHZVLVDQLQWHJUDOSDUWRI&&$V&RPPDQGHUV652VDQG0(2SURIHVVLRQDOVZLOO
   FRQVLGHUWKHEHVWLQWHUYLHZPHWKRGZKHQJDWKHULQJGDWDVXFKDVLQGLYLGXDOLQWHUYLHZVIRFXVJURXSVRUJURXSLQWHU
   YLHZV
        6HOHFWLRQRISHUVRQQHO7KHQXPEHURISHUVRQQHOWREHLQWHUYLHZHGLVEDVHGRQWKHVL]HRIWKHRUJDQL]DWLRQDQG
   WKHFDSDELOLW\RIWKHWHDP
        6HOHFWDUHSUHVHQWDWLYHPL[RISHUVRQQHOLQWKHRUJDQL]DWLRQVEDVHGRQVH[UDFHQDWLRQDORULJLQJUDGHDQG
   RSHUDWLRQDOIXQFWLRQ026EUDQFKVSHFLDOW\DQGFDUHHUSURJUDP
        $OORZLQWHUYLHZHHVWRHODERUDWHRQFHUWDLQVXEMHFWVPD\XQFRYHUQHZVXEMHFWVRILQWHUHVWIRUWKHRUJDQL]DWLRQ
   $OVRWKHFRPPDQGHU652PD\FRQGXFWLQWHUYLHZVRQO\ZKHQWKH\KDYHVSHFLILFQHHGVLVVXHVDQGFRQFHUQVUHTXLULQJ
   FODULILFDWLRQ
        :KHQVXUYH\UHVSRQVHVUHYHDOFRQFHUQVVSHFLILFWRDJURXS IRUH[DPSOHJURXSPHPEHUVSHUFHLYHLQHTXLW\LQ
   GLVFLSOLQDU\DFWLRQVRUZRPHQSHUFHLYHVH[GLVFULPLQDWLRQWREHDSUREOHP LWPD\ EHLPSRUWDQWWRVFKHGXOHPRUH
   LQGLYLGXDOVIURPWKDWJURXSWRFODULI\WKHFRQFHUQ
        &RPPDQGHU652VRU0(2SURIHVVLRQDOZLOOLQIRUPRUJDQL]DWLRQPHPEHUVRIWKHVFKHGXOHDQGUHTXLUHPHQW
   IRUFRQGXFWLQJLQWHUYLHZV&RQGXFWLQWHUYLHZ V DWDQHXWUDOORFDWLRQDQGRIILFHVRUURRPVZLOOEHSULYDWHDQGGHGLFDWHG
   WR&&$WHDP,WLVUHFRPPHQGHGWRVFKHGXOH³ZDONLQ´WLPHVLQRUGHUWRDOORZIRUPHPEHUVZKRZDQWWRSURYLGHLQSXW
   PD\GRVR
        7KHVXUYH\VXUYH\DQDO\VLVDQGVSHFLILFFRPPDQGHU652FRQFHUQVDUHWKHNH\VRXUFHVIRUGHYHORSLQJLQWHU
   YLHZTXHVWLRQV:KHQUHTXLUHGWUHQGGDWDUHYLHZ IRUH[DPSOHFRPSODLQWVSHUVRQQHODFWLRQVRUOHJDODFWLRQV ZLOO
   DOVREHDVRXUFHIRUIROORZXSTXHVWLRQV,QDOOFDVHVFRPPDQGHUV652VZLOODSSURYDOLQWHUYLHZTXHVWLRQVGHYHORSHG
   E\0(2SURIHVVLRQDOV
      G2EVHUYDWLRQV3HUVRQDOREVHUYDWLRQE\WKHRUJDQL]DWLRQDOOHDGHUJDWKHUVDGGLWLRQDOFOLPDWHLQIRUPDWLRQWKDWPD\
   LPSDFWSHUVRQQHODQGWKHXQLW
        ,W LV WKH 0(2 SURIHVVLRQDO¶V UHVSRQVLELOLW\ WR VFKHGXOH DQ ³RXW DQG DERXW ZDON DURXQG´ ZLWK WKH FRP
   PDQGHU652RURWKHUVWDIIOHDGHUVKLS7KH0(2SURIHVVLRQDOZLOOHQVXUHXQLWOHDGHUVKLSUHFHLYHVDVXPPDU\RIRE
   VHUYDWLRQVIROORZLQJWKHZDONDURXQG2IIEDVHRXWDQGDERXWZDONDURXQGVZLOOILUVWEHDSSURYHGE\FRPPDQGHU652




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   SULRUWRFRQGXFWLQJZDONDURXQG7KHFRPPDQGHU652RU0(2SURIHVVLRQDOGHWHUPLQHVWKHQXPEHURIZDONDURXQGV
   WKDWZLOOEHFRQGXFWHG
        2EVHUYDWLRQVDQGGLVFXVVLRQVZLOOIRFXVRQFRPPDQGFOLPDWHDQGRUJDQL]DWLRQDOHIIHFWLYHQHVVIDFWRUVWKDWLP
   SDFWPRUDOHDQGPLVVLRQUHDGLQHVVWRLQFOXGHEXWQRWOLPLWHGWR²
       D ,QWHUSHUVRQDOFRPPXQLFDWLRQLQWHUDFWLRQRUSRODUL]DWLRQ EUHDNURRPVZRUNDUHDVUHFUHDWLRQHQWHUWDLQPHQW
   IDFLOLWLHVDQGVRIRUWK 
       E $FFHVVLELOLW\WRRUJDQL]DWLRQOHDGHUVKLS
       F %XOOHWLQERDUGVDQGSXEOLFGLVSOD\LWHPV LQGLYLGXDOJURXSUHFRJQLWLRQSROLF\OHWWHUVSRVWHUVDQGVRIRUWK 
       G :RUNSODFHFRQGLWLRQVDQGHQYLURQPHQWVIRUJUDIILWLDQGGLVSOD\VRISLFWXUHVSRVWHUVDQGDUWLIDFWV
        6XFKZDONDURXQGVZLOOEHSHUIRUPHGRQQROHVVWKDQWKUHHRIWKHDERYHHIIHFWLYHQHVVIDFWRUV
        ,QIRUPDWLRQJDWKHUHGGXULQJWKHZDONDURXQGVZLOOEHXVHGDVSDUWRIWKHRYHUDOO&&$
      H)RFXVJURXSV$IRFXVJURXSLVDIRUPRITXDOLWDWLYHUHVHDUFKLQZKLFKJURXSVRISHRSOHDUHDVNHGDERXWWKHLU
   SHUFHSWLRQVEHOLHIVDQGDWWLWXGHVWRZDUGOHDGHUVKLSDQGRUJDQL]DWLRQ4XHVWLRQVDUHDVNHGLQDQLQWHUDFWLYHJURXS
   VHWWLQJZKHUHSDUWLFLSDQWVDUHIUHHWRWDONZLWKRWKHUJURXSPHPEHUV)RFXVJURXSVDOVRSURYLGHDQRSSRUWXQLW\IRU
   GLVFORVXUHDPRQJRWKHUVLQDVHWWLQJZKHUHSDUWLFLSDQWVDUHYDOLGDWHG IRUH[DPSOHLQWKHFRQWH[WRIZRUNSODFHEXOO\
   LQJGLVFULPLQDWLQJEHKDYLRUVDQGVRIRUWK 
      I7UHQGVDQGDQDO\VLVUHSRUWV
        5HFRJQL]HWUHQGVDQGSRWHQWLDOSUREOHPDUHDVWKDWPD\DIIHFWRUJDQL]DWLRQDOHIIHFWLYHQHVV
        *DWKHU XQLW KLVWRULFDO WUHQG GDWD VXFK DV PLOLWDU\'$ &LYLOLDQ FRPSODLQW DQG LQFLGHQW GDWD SHUVRQQHO GDWH
    SHUIRUPDQFHUHSRUWVSURPRWLRQVDQGDZDUGV DQGOHJDOGDWD $UWLFOHDQG&RXUWV0DUWLDO 7KHNH\LVWKHDYDLOD
   ELOLW\RIUHOHYDQWGDWDDQGWKHVHOHFWLRQFRPSLODWLRQDQDO\VLVDQGSUHVHQWDWLRQRIWKHPDWHULDO
        ,IWUHQGVDUHLGHQWLILHGWKHUHDUHVHYHUDODJHQFLHVIURPZKLFKGDWDPD\EHJDWKHUHG7KHFRPPDQGHU652DQG
   0(2ZLOOUHYLHZLQIRUPDWLRQJDWKHUHGIURP0(26+$53,*6-$*± 6± WRGHWHUPLQHWUHQGVWKDWPD\LPSDFW
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   XQLWHIIHFWLYHQHVV,IDGGLWLRQDOLQYHVWLJDWLRQLVZDUUDQWHGWKHFRPPDQGHU652PD\LQLWLDWHDQLQTXLU\
      J2WKHULWHPVPXVWDOOEHUHYLHZHG
        )RUPDODQGLQIRUPDOFRPSODLQWVXPPDU\UHSRUWV
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      K&RPPDQG&OLPDWH$VVHVVPHQWVXPPDU\([HFXWLYHVXPPDULHVZLOOLQFOXGHVLJQLILFDQWILQGLQJVRUJDQL]DWLRQDO
   VWUHQJWKVDUHDVRIFRQFHUQVDQGUHFRPPHQGHGFRUUHFWLYHDFWLRQV &&$$FWLRQ3ODQ 

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       D $OO $&20 $6&& DQG '58 FRPPDQGHUV DQG 652V ZLOO VXEPLW &&$ GDWD QR ODWHU WKDQ  GD\V WKUHH
   087$ GD\V ±IRU86$5 XSRQUHFHLSWRIVXUYH\UHVXOWVE\FRPSOHWLQJWKH0(2GDWDEDVH&&$VFUHHQ
       E $&20$6&&DQG'58FRPPDQGHUV652VZLOOHVWDEOLVKLQWHUQDOUHSRUWLQJVXVSHQVH¶VIRUVXERUGLQDWHFRP
   PDQGV
       F 'HSOR\HGRUJDQL]DWLRQVZLOOVXEPLWWKHLUGDWDXQGHUWKHLUSDUHQW$&20$6&&DQG'58
        &&$H[HFXWLYHVXPPDU\
      E$OOFRPPDQGHUV RUHTXLYDOHQW 652VZLOOEULHIWKHLUVXSHUYLVRURUQH[WKLJKHUFRPPDQGHULQSHUVRQQRODWHU
   WKDQGD\VFDOHQGDUGD\V WZR087$ GD\V ±IRU86$5 XSRQUHFHLSWRIVXUYH\UHVXOWV&&$VXPPDU\DQG
   &&$$FWLRQ3ODQLQIRUPDWLRQZLOOEHUHSRUWHGLQ0(2GDWDEDVH
        ([HFXWLYHVXPPDULHVZLOOLQFOXGHVLJQLILFDQWILQGLQJVRUJDQL]DWLRQDOVWUHQJWKVDUHDVRIFRQFHUQDQGUHFRP
   PHQGFRUUHFWLYHDFWLRQSODQV
        6&V652V ZLOO XWLOL]H WKHVH RSSRUWXQLWLHV DV D PHQWRULQJ WRRO WR FRDFK DQG WHDFK VXERUGLQDWHV &RPPDQG
   HUV652VPD\XVHWKLVNQRZOHGJHWRDGYDQFHWKHLUFRQILGHQFHVNLOOVDQGFDSDELOLWLHVPD[LPL]LQJWKHLUSRWHQWLDO
   DQGJURZEH\RQGWKHLUH[SHFWDWLRQV
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       D 0(2 SURIHVVLRQDOV ZLOO EULHI FRPPDQGHU652 LQ SHUVRQ QR ODWHU WKDQ  FDOHQGDU GD\V QH[W 087$ ±  IRU
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   86$5 XSRQFRPSOHWLRQRID6$96$9VXPPDU\DQGDFWLRQSODQLQIRUPDWLRQZLOOEHUHSRUWHGLQ0(2GDWDEDVH
       E 6XPPDU\ZLOOLQFOXGHDV\QRSVLVRIWKH6$9DQDO\VLVUHSRUWFRPPHQWVJDWKHUHGIURPWKH6$9UHOHYDQWWUHQGV
   GDWHDQHFGRWDOFRPPHQWPDGHE\LQWHUYLHZHHVDQGSURSRVHGDFWLRQSODQ
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   (±,QWHUYLHZWHFKQLTXHVIRUFRPPDQGHUVVHQLRUUHVSRQVLEOHRIILFLDOVDQGOHDGHUV
      D([SODLQWRWKHLQWHUYLHZHHWKHSXUSRVHDQGREMHFWLYHRIWKHSHUVRQDOLQWHUYLHZIRFXVJURXSLQWHUYLHZRUJURXS
   LQWHUYLHZ
      E([SODLQWRWKHLQWHUYLHZHHWKDWWKH&&$WHDPPHPEHUVGRQRWKDYHFRQILGHQWLDOLW\DQGLIDOHJDOLVVXHRU8&0-
   YLRODWLRQVXUIDFHVWKH&&$WHDPZLOOWHUPLQDWHWKHLQWHUYLHZDQGLQIRUPWKHSURSHUDXWKRULWLHV
      F(PSKDVL]HWRWKHLQWHUYLHZHHWKDWSDUWLFLSDWLRQLVYROXQWDU\7KHLQWHUYLHZHHZLOOFRQFXUZLWKEHLQJLQWHUYLHZHG
   DQGFDQWHUPLQDWHWKHLQWHUYLHZDWDQ\WLPH
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      I$VNDOOTXHVWLRQVRQ\RXUOLVWLQDQLGHQWLFDOIDVKLRQ
      J/LPLWTXHVWLRQVWRDVLQJOHLGHDSHUTXHVWLRQ
      K8VHRSHQHQGHGTXHVWLRQVWKRVHIDFLOLWDWLQJRSHQGLDORJXHFRQFHUQLQJSRVLWLYHDQGQHJDWLYHLVVXHVDIIHFWLQJWKH
   RUJDQL]DWLRQ
      L3KUDVHTXHVWLRQVVRDVQRWWRVXJJHVWDQDSSURSULDWHUHVSRQVH
      M0RYHIURPWKHJHQHUDOWRVSHFLILFLQIRUPDWLRQLQRUGHUWRFDSWXUHXVHIXOGDWD
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   GLVFXVVLRQ
      P'RQRWEHMXGJPHQWDORUH[SUHVV\RXURZQYLHZVDERXWLQWHUYLHZHHUHVSRQVHV
      Q3DFHWKHLQWHUYLHZVRDOOTXHVWLRQVDUHFRYHUHGDVDUXOHLQGLYLGXDOLQWHUYLHZVZLOOQRWH[FHHGWRPLQXWHV
   ,ILQWHUYLHZHHGHVLUHVWRFRQWLQXHEH\RQGWKHLUDOORWWHGWLPHSURYLGHWKHPWKHRSWLRQWRYLVLW\RXURIILFHDWDODWHU
   WLPH
      R7DNHVKRUWFRQFLVHLQWHUYLHZQRWHVDQGDWWHPSWWRTXDQWLI\UHVSRQVHZKHUHSRVVLEOH
      S,IGXULQJWKHLQWHUYLHZDPLOLWDU\'$&LYLOLDQLQWHUYLHZHHPDNHVDUHTXHVWWRILOHDQ0(2((2FRPSODLQWWKH
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   $SSHQGL[)
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   7KLV VHFWLRQ SUHVFULEHV PLVVLRQ UHVSRQVLELOLWLHV SURFHGXUHV DQG SROLFLHV SHUWDLQLQJ WR LQVWDOODWLRQ OHYHO 6$5% DW
   LQVWDOODWLRQVDQGLQGHSOR\HGHQYLURQPHQWV,QDGHSOR\HGHQYLURQPHQWWKH6$5%ZLOOEHFRQYHQHGE\WKHEULJDGH
   FRPPDQGHU RU KLJKHUOHYHO FRPPDQGHU DV DSSURSULDWH DQG IROORZ WKH VDPH IRUPDW DV WKH LQVWDOODWLRQ 6$5% 7KH
   $UP\6$5%IXOILOOV'R',&DVH0DQDJHPHQW*URXSUHTXLUHPHQWVDQGLVFRQVLGHUHGHTXLYDOHQWIRUSROLF\
   DQGH[HFXWLRQSXUSRVHV7KH$UP\LGHQWLILHVWKH6$35'R',&DVH0DQDJHPHQW*URXSDVWKH6$5%DQG
   FRQVLGHUVLWWKHHTXLYDOHQWIRUSROLF\DQGH[HFXWLRQSXUSRVHV

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   7KHSULPDU\SXUSRVHRIWKH6$5%LVWRHQVXUHYLFWLPV¶SK\VLFDOHPRWLRQDODQGVSLULWXDOQHHGVDUHSURYLGHGIRUWKHLU
   ULJKWVDUHSURWHFWHGDQGWKHLUUHFRYHU\LVIDFLOLWDWHG7KH6$5%SURYLGHVH[HFXWLYHRYHUVLJKWSURFHGXUDOJXLGDQFH
   DQGIHHGEDFNFRQFHUQLQJWKHLQVWDOODWLRQ¶V6+$533URJUDP7KLVERDUGUHYLHZVWKHLQVWDOODWLRQ¶VSUHYHQWLRQSURJUDP
   DQGWKHUHVSRQVHWRDQ\XQUHVWULFWHGUHSRUWRIVH[XDODVVDXOWLQYROYLQJWKHLQVWDOODWLRQ7KLVLQFOXGHVUHYLHZLQJFDVHV
   DQGSURFHGXUHVWRLPSURYHSURFHVVHVV\VWHPDFFRXQWDELOLW\DQGYLFWLPDFFHVVWRTXDOLW\VHUYLFHV,QRUGHUWRHQVXUH
   WKH6$5%UHPDLQVYLFWLPFHQWULFDQGWRDYRLGSRWHQWLDOLQWHUIHUHQFHZLWKWKHDGPLQLVWUDWLRQRIMXVWLFHWKHVXEMHFWZLOO
   QRWEHGLVFXVVHGDWWKH6$5%H[FHSWZKHQUHWDOLDWRU\EHKDYLRULVEHLQJUHSRUWHGRUWKHVDIHW\RIWKHYLFWLPLVEHLQJ
   GLVFXVVHG

   )±6H[XDO$VVDXOW5HYLHZ%RDUGFRPSRVLWLRQ
      D7KH6&RUGHSXW\FRPPDQGHULVUHVSRQVLEOHIRUWKH6$5%DQGZLOOFRQYHQHWKLVPXOWLGLVFLSOLQDU\ERDUGRQD
   PRQWKO\EDVLV7KLVUHVSRQVLELOLW\FDQQRWEHGHOHJDWHG
      E7KH6$5%ZLOOFRQVLVWRIWKHIROORZLQJSURIHVVLRQDOV
        /HDG6$5& FRFKDLU 
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        86$&,'& RU RWKHU 6HUYLFH PLOLWDU\ FULPLQDO LQYHVWLJDWLYH RUJDQL]DWLRQ LI UHTXLUHG  ZKR KDV GHWDLOHG
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        69&
        3URYRVW0DUVKDORUUHSUHVHQWDWLYHODZHQIRUFHPHQW PLOLWDU\RUFLYLOLDQSROLFHVHUYLFHV 
        &KDSODLQ
        6H[XDODVVDXOWFOLQLFDOSURYLGHU
        &KLHI%HKDYLRUDO+HDOWK
        2WKHU PHPEHUV PD\ EH DSSRLQWHG E\ QDWXUH RI WKHLU UHVSRQVLELOLWLHV DV WKH\ SHUWDLQ WR VH[XDO DVVDXOW IRU
   H[DPSOHVSHFLDOYLFWLPZLWQHVVOLDLVRQV6+$5330VDQG$OFRKRODQG6XEVWDQFH$EXVH3URJUDPUHSUHVHQWDWLYHV 
      F$OOPHPEHUVRIWKH6$5%ZLOOEHDSSURSULDWHO\WUDLQHGDQGRQDSSRLQWPHQWRUGHUVEHIRUHDWWHQGLQJ
      G,IWKHLQVWDOODWLRQLVDMRLQWEDVHRULIWKHLQVWDOODWLRQKDVWHQDQWFRPPDQGVWKHFRPPDQGHURIWKHWHQDQWRUJDQ
   L]DWLRQDQGWKHGHVLJQDWHGOHDG6$5&ZLOOEHLQYLWHGWR6$5%PHHWLQJV7KHFRPPDQGHURIWKHWHQDQWRUJDQL]DWLRQ
   ZLOOSURYLGHDSSURSULDWHLQIRUPDWLRQWRWKHKRVWFRPPDQGHUWRHQDEOHWKHKRVWFRPPDQGHUWRSURYLGHWKHQHFHVVDU\
   VXSSRUWLQJVHUYLFHV
      H,IDOOPHPEHUVRIWKHVSHFLDOYLFWLPLQYHVWLJDWLRQDQGSURVHFXWLRQ 69,3 DUHSUHVHQWDWWKH6$5%WKH6$5%
   ZLOOVDWLVI\WKHPLQLPXPUHTXLUHPHQWRIDRQFHDPRQWKPHHWLQJWRDVVHVVSURJUHVVLQWKHLQYHVWLJDWLRQRUSURVHFXWLRQ
   RIDVH[XDODVVDXOWDQGWRKHOSHQVXUHDOOYLFWLP¶VQHHGVDUHEHLQJPHWLQDFFRUGDQFHZLWK'R',

   )±&DVHVGLVFXVVHGDWWKH6H[XDO$VVDXOW5HYLHZ%RDUG
      D7KH6& RUGHSXW\FRPPDQGHU ZLOOFKDLUWKH6$5%RQDPRQWKO\EDVLVWRUHYLHZLQGLYLGXDOFDVHVRIXQUHVWULFWHG
   UHSRUWLQJRIVH[XDODVVDXOWIDFLOLWDWHPRQWKO\YLFWLPXSGDWHVDQGGLUHFWV\VWHPFRRUGLQDWLRQDFFRXQWDELOLW\WUDLQLQJ
   RIFRPPDQGHUVDQGYLFWLPDFFHVVWRTXDOLW\VHUYLFHV7KH6&ZLOOZRUNFORVHO\ZLWKWKHVHUYLFLQJ-XGJH$GYRFDWHLQ
   DGYDQFHRIWKH6$5%DQGGXULQJWKH6$5%WRHQVXUHWKDWWKHUHYLHZRIVH[XDODVVDXOWFDVHVGRHVQRWLQWHUIHUHZLWK
   WKHDGPLQLVWUDWLRQRIMXVWLFH




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      E6$5%RYHUVLJKW IRUXQUHVWULFWHGUHSRUWVRIDGXOWVH[XDODVVDXOWLVOLPLWHGWRRSHQFDVHVLQ'6$,'WKDW ZHUH
   LQLWLDWHGE\D'')RUPRUDQLQYHVWLJDWLRQLQLWLDWHGE\86$&,'&RUDQRWKHU0&,2)RUFDVHVXQGHULQYHVWLJD
   WLRQE\&,'ZKHQWKHUHLVQRFRUUHVSRQGLQJXQUHVWULFWHG'')RUP²
        7KH6$5&ZLOOKDYHQRLQIRUPDWLRQIRUWKH6$5%PHPEHUV'XULQJWKH6$5%86$&,'&ZLOOSURYLGHFDVH
   PDQDJHPHQWLQIRUPDWLRQWRWKH6$5%
        7KH6$5& ZLOORSHQD FDVHLQ'6$,'LQGLFDWLQJWKHFDVHVWDWXVDV³2SHQ ZLWK/LPLWHG,QIRUPDWLRQ´7KH
   6$5&ZLOORQO\XVHLQIRUPDWLRQIURPWKH0&,2WRLQLWLDWHDQ³2SHQZLWK/LPLWHG,QIRUPDWLRQ´FDVHLQ'6$,',Q
   WKHHYHQWWKDWWKHUHZDVDUHVWULFWHGUHSRUWILOHGSULRUWRWKHLQGHSHQGHQWLQYHVWLJDWLRQWKH6$5&ZLOOQRWXVHDQ\
   LQIRUPDWLRQSURYLGHGE\WKHYLFWLPVLQFHWKDWLQIRUPDWLRQLVFRQILGHQWLDO
        &DVHVDULVLQJIURPUHVWULFWHGUHSRUWVZLOOQRWEHUHYLHZHGDWWKH6$5%
        )DPLO\$GYRFDF\3URJUDPFDVHVWKRVHLQYROYLQJWKHVH[XDODVVDXOWRIFKLOGUHQDQGFDVHVQRWXQGHULQYHVWLJD
   WLRQ E\ 86$&,'& RU RWKHU0&,2 ZLOO QRW EH UHYLHZHG DW WKH 6$5% LQ WKH DEVHQFH RI D VLJQHG '' )RUP 
   LQGLFDWLQJDQXQUHVWULFWHGUHSRUW
        (DFKFDVHZLOOEHUHYLHZHGLQGHSHQGHQWO\WKHYLFWLP¶VLPPHGLDWHFRPPDQGHUDQG9$ZLOOEHSUHVHQWRQO\
   ZKHQWKHFDVHWKH\DUHDVVRFLDWHGZLWKLVGLVFXVVHG

   )±5HVSRQVLELOLWLHV
       D$OO6$5%PHPEHUVZLOO²
         &DUHIXOO\FRQVLGHUDQGLPSOHPHQWLPPHGLDWHVKRUWWHUPDQGORQJWHUPPHDVXUHVWRKHOSIDFLOLWDWHDQGDVVXUH
   WKHYLFWLP¶VHPRWLRQDODQGSK\VLFDOVDIHW\DQGWKHLUUHFRYHU\7KH\ZLOOPRQLWRUHDFKYLFWLP¶VFDVHZKLOHHQVXULQJ
   WKHYLFWLP¶VSULYDF\
         3HUIRUPUHTXLUHGIXQFWLRQDOWDVNVDVGHVLJQDWHGE\DSSOLFDEOHUHJXODWLRQVDQGDVGLUHFWHGE\WKH6&
         3DUWLFLSDWHLQWUDLQLQJDVUHTXLUHG
         'HWHUPLQH 6+$53 WUDLQLQJ QHHGV RI HDFK DJHQF\ E\ PRQLWRULQJ HDFK XQUHVWULFWHG UHSRUW RI VH[XDO DVVDXOW
   ,GHQWLI\WUDLQLQJUHTXLUHPHQWVWRWKH6$5%
         :RUNWRHQVXUHWKDWYLFWLPV¶VHUYLFHVDUHSURYLGHGLQDQDSSURSULDWHO\FRRUGLQDWHGPDQQHU
       E7KH6&RUGHSXW\FRPPDQGHURQO\ZLOOFKDLUWKH6$5%DQGZLOO²
         &RQYHQH6$5%PHHWLQJVDWOHDVWPRQWKO\WRUHYLHZFDVHVDULVLQJIURPXQUHVWULFWHGUHSRUWVRIVH[XDODVVDXOW
   ,IWKHUHDUHQRFDVHVWRUHYLHZLQDJLYHQPRQWKWKH6$5%ZLOOVWLOOPHHWWRHQVXUHWUDLQLQJSURFHVVHVDQGSURFHGXUHV
   DUHFRPSOHWHIRUV\VWHPFRRUGLQDWLRQ
         3URYLGH6$5%ILQGLQJVWKURXJKWKHDSSURSULDWHFRPPDQGFKDQQHOVQRWLQJGHILFLHQFLHVLQSURFHVVHVDQGSUR
   FHGXUHVIRUSUHYHQWLQJRUUHVSRQGLQJWRVH[XDODVVDXOW
         ,PSOHPHQWSURFHVVLPSURYHPHQWVWRHQVXUHV\VWHPDFFRXQWDELOLW\DQGDQHIIHFWLYHYLFWLPVHUYLFHVSURJUDP
         (QVXUHWKDWWKH6+$53VHUYLFHSURYLGHUVDQGILUVWUHVSRQGHUVDUHUHFHLYLQJDSSURSULDWHWUDLQLQJDQGKDYHWKH
   QHFHVVDU\UHVRXUFHVWRSURYLGHDQHIIHFWLYHUHVSRQVHWRYLFWLPV
         )DFLOLWDWHPRQWKO\YLFWLPXSGDWHV
         (QVXUHWKH6$5&VDQG9$VDFWLYHO\SDUWLFLSDWHLQHDFK6$5%E\SUHVHQWLQJXSGDWHVRUDOO\7KLVZLOOEHGRQH
   ZLWKRXWYLRODWLQJYLFWLPFRQILGHQWLDOLW\RUGLVFORVLQJSURWHFWHGFRPPXQLFDWLRQV
         (QVXUHWKHEULJDGHHTXLYDOHQWFRPPDQGHU V  2 ±  RI6ROGLHUVXEMHFWVRIVH[XDODVVDXOWLQYHVWLJDWLRQVSURYLGH
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   DOOGLVSRVLWLRQLQIRUPDWLRQLQZULWLQJWRLQFOXGHDQ\DGPLQLVWUDWLYHRUMXGLFLDODFWLRQWDNHQVWHPPLQJIURPWKHVH[XDO
   DVVDXOWLQYHVWLJDWLRQWR86$&,'&
        D (QVXUHWKDWWKHDSSURSULDWHSDSHUZRUNLVVXEPLWWHGIRUHDFKFDVHGLVSRVLWLRQZLWKLQKRXUV7KLVLQIRUPDWLRQ
   ZLOOWKHQEHHQWHUHGLQWR'6$,'E\WKHYLFWLP¶VDVVLJQHG6$5&
        E (QVXUHWKDWWKHYLFWLPLVLQIRUPHGRIDOOFDVHGLVSRVLWLRQVLQFOXGLQJWKRVHGLVSRVHGRIE\QRQMXGLFLDOSXQLVK
   PHQWZLWKLQEXVLQHVVGD\VRIWKHILQDOGLVSRVLWLRQGHFLVLRQ
         ,QTXLUHLIDQ\YLFWLPPHPEHURIWKHYLFWLP¶V)DPLO\ZLWQHVVHVE\VWDQGHUV ZKRLQWHUYHQHG ILUVWUHVSRQGHUV
   RURWKHUSDUWLHVKDVH[SHULHQFHGDQ\IRUPRIUHWDOLDWLRQUHSULVDORVWUDFLVPRUPDOWUHDWPHQWIRUZRUNLQJZLWKDVSHFLILF
   YLFWLPRURQDSDUWLFXODUFDVH
        D ,IDQ\UHWDOLDWRU\EHKDYLRULVUHSRUWHGWKH/7& 2 ±  OHYHORUKLJKHUFRPPDQGHURIWKHYLFWLPRIWKHUHWDOLDWRU\
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   EHKDYLRUZLOOGHYHORSDSODQWRLPPHGLDWHO\DGGUHVVWKHUHWDOLDWRU\EHKDYLRUDQGIRUZDUGWKHSODQWRWKH6$5%FKDLU
        E 5HWDOLDWLRQUHSULVDORVWUDFLVPDQGPDOWUHDWPHQWLQYROYLQJWKHYLFWLP6$5&V9$V95VILUVWUHVSRQGHUVRU
   RWKHUSDUWLHV ZLOOUHPDLQRQWKHDJHQGD IRUVWDWXVXSGDWHV XQWLOWKH YLFWLP¶VFDVHLVFORVHGRUXQWLOWKHUHWDOLDWRU\
   EHKDYLRUKDVEHHQDSSURSULDWHO\DGGUHVVHG
        F &RPPDQGHUVDUHUHVSRQVLEOHIRUHQVXULQJWKDWUHWDOLDWLRQDQGUHSULVDODUHDSSURSULDWHO\DGGUHVVHGHYHQZKHQ
   WKH\DUHQRORQJHUWUDFNHGE\WKH6$5%EHFDXVHDYLFWLP¶VVH[XDODVVDXOWFDVHKDVEHHQFORVHG
         &RQILUPWKDWHDFKYLFWLPUHFHLYHVDVDIHW\DVVHVVPHQWDVVRRQDVSRVVLEOH



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        (QVXUHHIIHFWLYHDQGWLPHO\FRRUGLQDWLRQDPRQJ6$5%PHPEHUV
       D &RQILUPWKDWWKH86$&,'&DJHQWDVVLJQHGWRWKHVH[XDODVVDXOWLQYHVWLJDWLRQKDVQRWLILHGWKH6$5&DVVRRQ
   DVSRVVLEOHDIWHUWKHLQYHVWLJDWLRQLVLQLWLDWHG
       E &RQILUPWKDWDOOXQUHVWULFWHGUHSRUWVLQLWLDWHGE\D'')RUPRUDQLQYHVWLJDWLRQLQLWLDWHGE\DQ0&,2
   DUHHQWHUHGLQWR'6$,'ZLWKLQKRXUVRIWKH'')RUPEHLQJVLJQHGRUWKHLQYHVWLJDWLRQEHLQJLQLWLDWHG
       F &RQILUPWKDWFRPPDQGHUVDUHSURYLGLQJWKHILQDOGLVSRVLWLRQRIVH[XDODVVDXOWFDVHVWR86$&,'&
       G &RQILUPWKDWPHPEHUVRIWKH69,3WKDWLV86$&,'&VSHFLDODJHQWVVSHFLDOYLFWLPSURVHFXWRUVYLFWLPZLWQHVV
   OLDLVRQVDQGDGPLQLVWUDWLYHSDUDOHJDOVXSSRUWSHUVRQQHODUHZRUNLQJZLWK6$5&V9$VDQG95VGXULQJDOOVWDJHVRI
   WKHLQYHVWLJDWLYHDQGPLOLWDU\MXVWLFHSURFHVVWRWKHJUHDWHVWH[WHQWSRVVLEOH
       H &RQILUP WKDW 6$5&V 9$V 95V DQG 69&V KDYH HYHU\WKLQJ WKH\ QHHG WR SURYLGH DQ HIIHFWLYH UHVSRQVH WR
   YLFWLPV
        (QVXUHWKHLPPHGLDWHWUDQVIHURIDFDVHIURPRQH6$5&RU9$WRDQRWKHULQWKHHYHQWRID6$5&¶VRU9$¶V
   FKDQJHRIGXW\VWDWLRQWRHQVXUHFRQWLQXLW\RIFDUH
        (QVXUHWKDWHDFK6$5%PHPEHULQYROYHGZLWKDVSHFLILFFDVHSURYLGHVRUDOXSGDWHVZLWKRXWGLVFORVLQJSUR
   WHFWHGFRPPXQLFDWLRQVRUYLRODWLQJYLFWLPFRQILGHQWLDOLW\
        3URYLGHUHFRPPHQGDWLRQVDQGDVVLVWDQFHWR6$5&VDQG9$VWRHQVXUHDYLFWLP¶VFRQWLQXHGUHFRYHU\ZHOO
   EHLQJDQGVDIHW\
        0RQLWRUWKHVWDWXVRIHDFKH[SHGLWHGWUDQVIHUUHTXHVWDQG032
        ,IWKHYLFWLPKDVLQIRUPHGWKH6$5&RIDQH[LVWLQJ&32UHTXLUHWKH6$5&WRLQIRUPWKH6$5%RIWKH&32
   DQGLWVUHTXLUHPHQWV
        (QVXUHWKHDFFXUDF\RIDOOFRQWDFWLQIRUPDWLRQIRUWKH6$5&V86$&,'&03GHVN07)VHUYLFLQJOHJDO
   RIILFH 69& DQG FKDSODLQ IRU WKH LQVWDOODWLRQ SRVWHG RQ WKH 'R' 6DIH +HOSOLQH ZHEVLWH KWWSVVDIHKHOSOLQHRUJ 
   ,QDFFXUDWHLQIRUPDWLRQZLOOEHUHSRUWHGE\WKHOHDG6$5&WRWKHDSSURSULDWH$&20$6&&RU'5830ZLWKLQ
   KRXUVRIWKH6$5%
      F7KHOHDG6$5&ZLOO²
        6HUYHDVWKHFRFKDLURIWKH6$5%7KLVUHVSRQVLELOLW\ZLOOQRWEHGHOHJDWHG
        ,QIRUPRWKHU6$5%PHPEHUVRIFDVHVWREHGLVFXVVHGSULRUWRWKH6$5%WRDOORZ6$5%PHPEHUVWRUHYLHZ
   VHUYLFHVSURYLGHGDQGRQJRLQJQHHGVRIWKHYLFWLPVDUHDVIRULPSURYHPHQWLQWKHLURUJDQL]DWLRQ¶VUHVSRQVHDQGUH
   ODWHGLVVXHVXQGHUWKHLUFRJQL]DQFHIRUSUHVHQWDWLRQDWWKH6$5%
        5HTXHVWUHSRUWVRIFRPPDQGDFWLRQDQGFDVHGLVSRVLWLRQVDULVLQJIURPUHSRUWVRIUHWDOLDWRU\EHKDYLRURQWKH
   6$5%¶VDJHQGD
        &UHDWHDQ\VOLGHVGLVSOD\HGDWWKH6$5%HQVXULQJWKH\GRQRWFRQWDLQDQ\FRQILGHQWLDORUSULYLOHJHGLQIRU
   PDWLRQDQGFRQWDLQDOOUHTXLUHGLQIRUPDWLRQLQWKHIRUPDWSURYLGHGE\WKH'&6* ± $5'7KHFRQWHQWRIDYLFWLP¶V
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   VOLGHZLOOEHSURYLGHGDQGSUHVHQWHGE\WKHLUDVVLJQHG6$5&
        &RQILUPWKDWDOOUHSRUWHGVH[XDODVVDXOWVDUHHQWHUHGLQWR'6$,'ZLWKLQKRXUVRIWKHUHSRUWRIVH[XDODVVDXOW
   7KLVGHDGOLQHLVH[WHQGHGWRKRXUVLILQDGHSOR\HGORFDWLRQ
        &RQILUPWKDWRQO\DWUDLQHGFHUWLILHGIXOOWLPHEULJDGHOHYHO6$5&LVHQWHULQJLQIRUPDWLRQLQWR'6$,'
        3UHVHQWDFWLRQVWDNHQWRUHVROYHDOO'6$,'GDWDHUURUVDQGUHFRQFLOLDWLRQRI86$&,'&VH[XDODVVDXOWLQYHVWL
   JDWLRQVUHSRUWHGDVPLVVLQJRQWKHPRQWKO\4&UHSRUW
        .HHSPLQXWHVRIWKH6$5%WRLQFOXGHWKRVHLQDWWHQGDQFHDQGLVVXHVGLVFXVVHGQRWSURYLGLQJDQ\3,,RUYLR
   ODWLQJYLFWLPFRQILGHQWLDOLW\RIWKHYLFWLPV2QFHWKHPLQXWHVKDYHEHHQVLJQHGE\WKH&KDLUWKHOHDG6$5&ZLOOVHQG
   WKHPLQXWHVYLDHQFU\SWHGHPDLOWRWKHLU$&20$6&&'58OHYHO30
      G7KH86$&,'&DJHQWZLOO²
        3URYLGHDQ\DSSOLFDEOHLQIRUPDWLRQUHODWHGWRFDVHSURJUHVVLRQDVORQJDVLWGRHVQRWKLQGHUDQLQYHVWLJDWLRQ
        'RFXPHQWLQIRUPDWLRQUHJDUGLQJSURWHFWLYHRUGHUV &32752DQG032 WKDWLVSUHVHQWHGLQWKHLQYHVWLJDWLYH
   FDVHILOHWRLQFOXGHGRFXPHQWDWLRQIRU5&SHUVRQQHOLQ7LWOHVWDWXV
        'RFXPHQWWKH6$5%LQWKHLQYHVWLJDWLYHILOHDVDQ69,3PHHWLQJLIDOOUHTXLUHG PHPEHUVRIWKH69,3DUH
   SUHVHQWDWWKH6$5%
      H7KHYLFWLP¶VLPPHGLDWHFRPPDQGHUZLOO²
        $WWHQGDOO6$5%PHHWLQJVZKHUHFDVHVLQYROYLQJYLFWLPVXQGHUWKHLUFRPPDQGZLOOEHGLVFXVVHG
        (QVXUHWKH\DUHSUHVHQWRQO\GXULQJWKHGLVFXVVLRQRIFDVHVUHJDUGLQJYLFWLPVXQGHUWKHLUFRPPDQG
        8SGDWHWKHLU6ROGLHURQWKHVWDWXVRIWKHLUFDVHXVLQJLQIRUPDWLRQUHFHLYHGGXULQJWKH6$5%ZLWKLQKRXUV
   RIWKH6$5%7KLVUHVSRQVLELOLW\ZLOOQRWEHIXUWKHUGHOHJDWHG
        :KHQWKHYLFWLPLVDFLYLOLDQHLWKHUD'R'HPSOR\HHZKRLVHOLJLEOHIRUVHUYLFHVRUD)DPLO\PHPEHUWKH
   6$5%&KDLUZLOOVHUYHDVWKHYLFWLP¶VLPPHGLDWHFRPPDQGHUHQVXULQJDOOXSGDWHVDUHFRPSOHWHGZLWKLQKRXUV
      I6$5&VZLOO²



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                                                   $5±-XO\                                                 
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                                      365
   


        3URYLGHDQXSGDWHG6$5%VOLGHLQWKHRIILFLDOIRUPDWSURYLGHGE\WKH'&6* ± $5'WRWKHOHDG6$5&IRU
                                                                                                    




   HDFKRIWKHLUDVVLJQHGFDVHV
        3URYLGHOLPLWHGSHUWLQHQWGHWDLOVRIWKHDVVDXOWRQO\WKHILUVWWLPHWKHFDVHLVKHDUGDWWKH6$5%7KLVLQIRU
   PDWLRQZLOOEHVKDUHGLQDPDQQHUWKDWPDLQWDLQVWKHYLFWLP¶VGLJQLW\DQGSULYDF\
        3URYLGHDYHUEDOXSGDWHRIWKHYLFWLP¶VFDVHZLWKDVVLVWDQFHIURPWKHDVVLJQHGYLFWLPDGYRFDWH$QVZHUTXHV
   WLRQVUHJDUGLQJWKHFDVHDQGYLFWLPIURPRWKHU6$5%PHPEHUVZLWKRXWYLRODWLQJYLFWLPFRQILGHQWLDOLW\RUGLVFORVLQJ
   SULYLOHJHGFRPPXQLFDWLRQV
        &RQILUP WKDW WKH YLFWLP KDV EHHQ LQIRUPHG RI DYDLODEOH VHUYLFHV WR LQFOXGH FRXQVHOLQJ PHGLFDO DQG OHJDO
   UHVRXUFHVZLWKRXWYLRODWLQJYLFWLPFRQILGHQWLDOLW\
        8SGDWH'6$,'HQWU\IRUHDFKFDVHGLVFXVVHGDWWKH6$5%ZLWKLQKRXUV
      J6+$539$VDQG95VZLOO²
        3URYLGHWKHLU6$5&ZLWKXSGDWHGFDVHLQIRUPDWLRQSULRUWRWKH6$5%
        3URYLGHDYHUEDOXSGDWHRIWKHYLFWLP¶VFDVHZLWKDVVLVWDQFHIURPWKH6$5&$QVZHUTXHVWLRQVUHJDUGLQJWKH
   FDVHDQGYLFWLPIURPRWKHU6$5%PHPEHUVZLWKRXWYLRODWLQJYLFWLPFRQILGHQWLDOLW\RUGLVFORVLQJSULYLOHJHGFRPPX
   QLFDWLRQV
        &RQILUP WKDW WKH YLFWLP KDV EHHQ LQIRUPHG RI DYDLODEOH VHUYLFHV WR LQFOXGH FRXQVHOLQJ PHGLFDO DQG OHJDO
   UHVRXUFHVZLWKRXWYLRODWLQJYLFWLPFRQILGHQWLDOLW\
        (QVXUHWKH\DUHSUHVHQWRQO\ZKHQWKRVHFDVHVWRZKLFKWKH\DUHDVVLJQHGDUHGLVFXVVHG
      K$OORWKHU6$5%PHPEHUVZLOO²
        3HUIRUPUHTXLUHGIXQFWLRQDOWDVNVDVGHVLJQDWHGE\WKHDSSOLFDEOHUHJXODWLRQVDQGDVGLUHFWHGE\WKH6&
        &RQGXFWRQJRLQJUHYLHZVRIFXUUHQWSURFHGXUHVIRUHDFKFDVHIRUFRPSOLDQFHZLWKUHJXODWLRQVDQGORFDOSROLFLHV
   LQNHHSLQJZLWKWKHDFFHSWHGKLJKVWDQGDUGVRIYLFWLPFDUH
        0HHW DW OHDVW PRQWKO\ WR UHYLHZ WKH KDQGOLQJ DQG GLVSRVLWLRQ RI DOO FDVHV 3URYLGH UHFRPPHQGDWLRQV WR WKH
   6$5%RQZD\VWRLPSURYHWKHSURFHVVLQJRIVH[XDODVVDXOWFDVHV
        3DUWLFLSDWHLQWUDLQLQJDVUHTXLUHG'HWHUPLQH6+$53WUDLQLQJQHHGVRIHDFKDJHQF\E\PRQLWRULQJHDFKXQUH
   VWULFWHGUHSRUWRIVH[XDODVVDXOW,GHQWLI\WUDLQLQJUHTXLUHPHQWVWRWKH6$5%
        &RQGXFWUHYLHZVRI02$VZLWKRWKHU6HUYLFHVDQGFLYLOLDQDJHQFLHVUHJDUGLQJ6+$53VXSSRUW3URYLGHXS
   GDWHVWRWKH6$5%DQGUHFRPPHQGDWLRQVIRULPSURYHPHQWVDVQHFHVVDU\
      L2QDMRLQWEDVHRULIWKHLQVWDOODWLRQKDVWHQDQWFRPPDQGVWKH6$5%ZLOO²
        ([SORUHWKHIHDVLELOLW\RIMRLQWXVHRIH[LVWLQJ6+$53UHVRXUFHVWRLQFOXGHURWDWLQJRQFDOOVWDWXVRI6$5&V
   6+$539$VDQG95V
        (YDOXDWHWKHHIIHFWLYHQHVVRIFRPPXQLFDWLRQDPRQJ6$5&V6+$539$V95VDQGRWKHUILUVWUHVSRQGHUV

   )±+LJKULVNUHVSRQVHWHDP
   )RUXQUHVWULFWHGUHSRUWVWKH6$5%&KDLUZLOOIRUPDKLJKULVNUHVSRQVHWHDP +557 LIWKHYLFWLPLVDVVHVVHGE\WKH
   6$5&RUWKURXJKDVDIHW\DVVHVVPHQWWREHDWDKLJKULVNRIKDUPIURPWKHVXEMHFWSHRSOHDVVRFLDWHGZLWKWKHVXEMHFW
   RUKDUPWRWKHPVHOYHV
      D7KH6$5%FKDLUZLOOLPPHGLDWHO\VWDQGXSDPXOWLGLVFLSOLQDU\+557LIDYLFWLPLVDVVHVVHGWREHLQDKLJK
   ULVNVLWXDWLRQ7KHSXUSRVHDQGWKHUHVSRQVLELOLW\RIWKH+557LVWRFRQWLQXDOO\PRQLWRUWKHYLFWLP¶VVDIHW\E\DV
   VHVVLQJGDQJHUDQGGHYHORSLQJDSODQWRPDQDJHWKHVLWXDWLRQDQGLPSOHPHQWDUHVSRQVHDVQHHGHG
      E7KH +557 ZLOO EH FKDLUHG E\ WKH YLFWLP¶V LPPHGLDWH FRPPDQGHU DQG DW D PLQLPXP LQFOXGH WKH VXEMHFW¶V
   LPPHGLDWHFRPPDQGHUWKHYLFWLP¶V6$5&DQGDVVLJQHG6+$539$RU9586$&,'&DQGWKH9:/DVVLJQHGWR
   WKH FDVH YLFWLP¶V6$&3RUPHQWDOKHDOWKDQGFRXQVHOLQJVHUYLFHVSURYLGHUDQGWKHSHUVRQQHO ZKRFRQGXFWHGWKH
   VDIHW\DVVHVVPHQW7KHUHVSRQVLELOLW\RIWKH+557PHPEHUVWRDWWHQGWKH+557PHHWLQJVDQGDFWLYHO\SDUWLFLSDWHLQ
   WKHPZLOOQRWEHGHOHJDWHG7KH+557FKDLU¶VVHUYLFLQJOHJDODGYLVRURUDUHSUHVHQWDWLYHZLOOEHDYDLODEOHWRDGYLVH
   WKHFKDLU
      F7KH+557ZLOOPDNHWKHLUILUVWUHSRUWWRWKH6&6$5%FKDLUDQG6$5% FRFKDLUZLWKLQKRXUVRIEHLQJ
   DFWLYDWHG$EULHILQJVFKHGXOHIRUWKH6$5%FKDLUDQGFRFKDLUZLOOEHGHWHUPLQHGEXWEULHILQJVZLOORFFXUDWOHDVW
   RQFHDZHHNZKLOHWKHYLFWLPLVRQKLJKULVNVWDWXV
      G7KH+557DVVHVVPHQWRIWKHYLFWLPZLOOLQFOXGHEXWLVQRWOLPLWHGWRHYDOXDWLQJ²
        9LFWLP¶VVDIHW\FRQFHUQV
        6XEMHFW¶VDFFHVVWRWKHYLFWLPRUZKHWKHUWKHVXEMHFWLVVWDONLQJRUKDVVWDONHGWKHYLFWLP
        3UHYLRXVRUH[LVWLQJUHODWLRQVKLSRUIULHQGVKLSEHWZHHQWKHYLFWLPDQGWKHVXEMHFWRUWKHVXEMHFWDQGWKHYLFWLP¶V
   VSRXVHRUYLFWLP¶VGHSHQGHQWV7KHH[LVWHQFHRIFKLOGUHQLQFRPPRQ7KHVKDULQJ RUSULRUVKDULQJ RIDFRPPRQ
   GRPLFLOHLIWKHVXEMHFWDQGWKHYLFWLPKDYHFKLOGUHQLQFRPPRQRUDUHZHUHLQWLPDWHSDUWQHUVZKRVKDUHRUKDYHHYHU




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   VKDUHGDGRPLFLOHWKH+557ZLOOUHIHUWKHFDVHWR)DPLO\$GYRFDF\3URJUDPLQDFFRUGDQFHZLWK$5 ± 7KHVH
                                                                                                                




   FDVHVDUHQRWPDQDJHGE\WKH6$5&RUGLVFXVVHGDWWKH6$5%
        :KHWKHUWKHVXEMHFW RUWKHVXEMHFW¶VIULHQGVRU)DPLO\PHPEHUV KDVGHVWUR\HGYLFWLP¶VSURSHUW\WKUHDWHQHG
   RUDWWDFNHGWKHYLFWLPRUWKUHDWHQHGDWWHPSWHGRUKDVDSODQWRKDUPRUNLOOWKHYLFWLPRUWKHYLFWLP¶V)DPLO\PHP
   EHUVRULQWLPLGDWHGWKHYLFWLPWRZLWKGUDZSDUWLFLSDWLRQLQWKHLQYHVWLJDWLRQRUSURVHFXWLRQ
        :KHWKHUWKHVXEMHFWKDVWKUHDWHQHGDWWHPSWHGRUKDVDSODQWRFRPPLWVXLFLGH
        :KHWKHUWKHVXEMHFWKDVXVHGDZHDSRQWKUHDWHQHGWRXVHDZHDSRQRUKDVDFFHVVWRDZHDSRQWKDWPD\EH
   XVHGDJDLQVWWKHYLFWLP
        :KHWKHUWKHYLFWLPKDVVXVWDLQHGVHULRXVLQMXU\GXULQJWKHVH[XDODVVDXOWLQFLGHQW
        :KHWKHUWKHVXEMHFWKDVDKLVWRU\RIODZHQIRUFHPHQWLQYROYHPHQWUHJDUGLQJGRPHVWLFDEXVHDVVDXOWRURWKHU
   FULPLQDOEHKDYLRU
        :KHWKHUWKHYLFWLPKDVD&32RUFRPPDQGKDVDQ032DJDLQVWWKHVXEMHFWRUWKHVXEMHFWKDVYLRODWHGD&32
   RU032
        +LVWRU\RIGUXJRUDOFRKRODEXVHE\HLWKHUWKHYLFWLPRUWKHVXEMHFW
        :KHWKHUWKHVXEMHFWH[KLELWVHUUDWLFRUREVHVVLYHEHKDYLRUUDJHDJLWDWLRQRULQVWDELOLW\
        :KHWKHUWKHVXEMHFWLVDIOLJKWULVN
                                        




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                                               $5±-XO\                                            
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      $SSHQGL[*
      'HSDUWPHQWRI'HIHQVH6H[XDO$VVDXOW$GYRFDWH&HUWLILFDWLRQ3URJUDP5HTXLUHPHQWV
      7UDLQLQJDQG$GGLWLRQDO6NLOO,GHQWLILHU$VVLJQPHQW

      *±3XUSRVH
      7RHQVXUH6+$53SURIHVVLRQDOVDUHSURSHUO\EDFNJURXQGVFUHHQHG6+$53WUDLQHG' ± 6$$&3FHUWLILHGDQGKDYH                                




      UHFHLYHGDQDSSURSULDWHO\VLJQHGDSSRLQWPHQWPHPRDXWKRUL]LQJWKHPWRSURYLGHYLFWLPDGYRFDF\VHUYLFHVSULRUWR
      SURYLGLQJ6+$53VHUYLFHVWRYLFWLPVRIVH[XDODVVDXOW

      *±*HQHUDO
         D6ROGLHUVZKRVHUYHLQ6+$53SRVLWLRQVDQGLQWHUDFWZLWKYLFWLPVRIVH[XDODVVDXOWVHUYHLQSRVLWLRQVRIVLJQLIL
      FDQWWUXVWDQGDXWKRULW\DQGPXVWPHHWWKH$UP\¶VVXLWDELOLW\UHTXLUHPHQWV VHH$5 ±  '$&LYLOLDQVZKRVHUYH                    




      LQ6+$53SRVLWLRQVDQGLQWHUDFWZLWKYLFWLPVRIVH[XDODVVDXOWVHUYHLQ SXEOLFWUXVWSRVLWLRQVZLWKDPRGHUDWHULVN
      OHYHO
         E$OO6+$53SURIHVVLRQDOV 30V6$5&V6+$539$V95VDQGWUDLQHUV ZLOOEHDSSRLQWHGE\FRPPDQGHUV
      RUWKHDSSURSULDWHDSSRLQWLQJDXWKRULW\DQGZLOOEH' ± 6$$&3FHUWLILHGLQDFFRUGDQFHZLWK'R',DQG$6$
                                                                                                   




        0 5$ JXLGDQFHIRU'$&LYLOLDQ6+$533URJUDPSRVLWLRQVZLOOEHWUDLQHGDQGTXDOLILHGWRUHFHLYHIRUPDOFRP
      SODLQWVRIVH[XDOKDUDVVPHQWLQDFFRUGDQFHZLWK'R''KDYHXQGHUJRQHWKHUHTXLUHGEDFNJURXQGLQYHVWLJDWLRQ
      ZLWKLQWKHSDVW\HDUVDQGQRWKDYHDQ\GLVTXDOLI\LQJFRQGLWLRQV
         F$SSOLFDQWV ZLOOFRPSOHWHDQGVXEPLWWKH'')RUPDSSOLFDWLRQSDFNHW IRUQHZ DSSOLFDQWVRU'')RUP
      ±  'HSDUWPHQWRI'HIHQVH6H[XDO$VVDXOW$GYRFDWH&HUWLILFDWLRQ3URJUDP ' ± 6$$&3 $SSOLFDWLRQ3DFNHWIRU
                                                                                                                                 




      5HQHZDO$SSOLFDQWV IRUUHFHUWLILFDWLRQDQGDFHUWLILFDWHRIFRPSOHWLRQRIWKH6+$53&RXUVHUHTXLUHGIRUWKHLUSRVL
      WLRQ,QVWUXFWLRQVRQKRZWRFRPSOHWHWKHIRUPDQGZKHUHWRVXEPLWWKHPDUHSURYLGHGRQWKH'')RUP7KH''
      )RUPLVORFDWHGDWWKH'R')RUPV0DQDJHPHQW3URJUDPZHEVLWHDWKWWSZZZHVGZKVPLO
           30VZLOODSSO\LGHQWLI\WKHPVHOYHVDV6$5&VXVLQJWKH'')RUP
           7UDLQLQJ,QVWUXFWRUVZLOODSSO\LGHQWLI\WKHPVHOYHVDV9$VXVLQJWKH'')RUP
           95VZLOODSSO\LGHQWLI\WKHPVHOYHVDV9$VXVLQJWKH'')RUP
         G6ROGLHUVZKRDUHVXEMHFWVRIDQRSHQFULPLQDO,*LQYHVWLJDWLRQRUFRPPDQGGLUHFWHGLQYHVWLJDWLRQUHODWLQJWRD
      YLRODWLRQRIYLFWLPULJKWVRUZLWKDQH[XVWRWKHLU6+$53GXWLHVZLOOQRWVXEPLWUHTXHVWVIRU' ± 6$$&3FHUWLILFDWLRQ                              




         H$Q\DFWLRQVLQYROYLQJ'$&LYLOLDQVUHODWHGWREDFNJURXQGVFUHHQLQJDQG' ± 6$$&3VXVSHQVLRQUHYRFDWLRQRU
                                                                                                                       




      UHPRYDODFWLRQVZLOOEHFORVHO\FRRUGLQDWHGZLWKWKHVHUYLFLQJFLYLOLDQSHUVRQQHORIILFH &3$& 
         I7DEOH*± LVDOLVWRIUHTXLUHPHQWVWKDWZLOOEHPHWSULRUWRDQ\6ROGLHURU'$&LYLOLDQVHUYLQJLQD6+$53
                                         




      SRVLWLRQ
      
  7DEOH* ±            




  4XDOLILFDWLRQV ²&RQWLQXHG         




  3UHUHTXLVLWHVWR                          0LQLPXPUDQNJUDGH
  VHUYHLQ6+$53                             6$5&6)&&:0$-RU*6 ±         




  SURIHVVLRQDOSRVL                          6+$539$9566*&:/7RU*6 ±                        




  WLRQ                                       7UDLQLQJ,QVWUXFWRU%DVHGRQSRVLWLRQGHVFULSWLRQ
                                              30%DVHGRQSRVLWLRQGHVFULSWLRQ
                                               5DQNDQGJUDGHUHTXLUHPHQWVFDQEHZDLYHGRQO\DIWHUDQH[FHSWLRQWRSROLF\UHTXHVWKDVEHHQDSSURYHG
                                              DQGVLJQHGE\WKHILUVW*26(6LQWKH6$5&RU6+$539$FDQGLGDWH¶VFKDLQRIFRPPDQGDQGFRRUGLQDWHG
                                              DQGDSSURYHGE\WKH$&20$6&&RU'586+$5330DQG'&6* ±$5'           




                                             &RPPDQGLQWHUYLHZSULRUWRQRPLQDWLRQWRD6+$53SRVLWLRQ
                                             %HKDYLRUDOKHDOWKFDUHFKHFN²IRUPLOLWDU\IXOOWLPHRQO\
  6FUHHQLQJ                                 (YHU\\HDUV
  &HUWLILFDWLRQ                             '±6$$&3 PXVWEHUHQHZHGHYHU\\HDUVKRXUVRIFRQWLQXLQJHGXFDWLRQUHTXLUHGSHUUHQHZDO 
                                                  




  7UDLQLQJ                                   )XOOWLPH6$5&RU6+$539$ ±6$5&6+$539$&DUHHU&RXUVH
                                                                                   




                                              &ROODWHUDOGXW\6$5&6+$539$95 ±6+$53)RXQGDWLRQ&RXUVH
                                                                                                       




                                              7UDLQLQJ,QVWUXFWRU±6$5&6+$539$&DUHHU&RXUVHDQG6+$537UDLQHU&RXUVH
                                              30±6+$53)RXQGDWLRQ&RXUVHDQG6+$5330&RXUVH




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                                                                          $5±-XO\                                                            
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   


  7DEOH* ±     




  4XDOLILFDWLRQV ²&RQWLQXHG          




  $SSRLQWPHQWPHPR                                    $SSRLQWPHQWPHPRDSSURSULDWHO\VLJQHGZKLFKDFNQRZOHGJHVQRPLQHHKDVPHWDOOFRQGLWLRQVIRUWKH
                                                       6+$53SRVLWLRQDQGLVDXWKRUL]HGWRVHUYHDVD9$RU6$5&
  '$)RUP                                        '$)RUPIRU6+$53IXOOWLPHSRVLWLRQV


   *±&RPPDQGHUV¶UHVSRQVLELOLWLHV
          




       D'± 6$$&3FHUWLILFDWLRQ
                          




         &RPPDQGHUVZLOOHQVXUH6ROGLHUV 5$5HVHUYHDQG$51* DQG'$&LYLOLDQVZKRDUH6+$53SURIHVVLRQDOV
   SRVVHVVDQDFWLYH' ± 6$$&3FHUWLILFDWLRQDQGIDYRUDEOHEDFNJURXQGVFUHHQLQJ&RPPDQGHUVZLOOHQVXUH6ROGLHUVRU
                                                      




   '$&LYLOLDQVZLWKDQXQIDYRUDEOHRUH[SLUHGEDFNJURXQGVFUHHQLQJRUH[SLUHGRUUHYRNHG' ± 6$$&3FHUWLILFDWLRQDUH                




   QRW VHUYLQJ LQ 6+$53 SURIHVVLRQDO SRVLWLRQV &RPPDQGHUV ZLOO SURYLGH LQIRUPDWLRQ WR 6$5&V 6$35 9$V DQG
   6$3530VUHJDUGLQJWKHVHFXULW\FODVVLILFDWLRQRIWKHLUSRVLWLRQ8SRQQRWLILFDWLRQWKDWD6ROGLHUKDVDQXQIDYRUDEOH
   EDFNJURXQG VFUHHQLQJ WKH UHPRYDO DXWKRULW\ ZLOO LVVXH D PHPR DQG QRWLI\ WKHP LQ ZULWLQJ RI WKH UHYRFDWLRQ WKH
   UHTXLUHPHQWWRLPPHGLDWHO\FHDVHFRQWDFWZLWKYLFWLPVRIVH[XDODVVDXOWDQGWKHULJKWWRDSSHDO,ID6ROGLHUFKRRVHV
   WRDSSHDOWKHFRPPDQGZLOOLVVXHDVXVSHQVLRQPHPRUDQGXPXQWLOILQDOGLVSRVLWLRQRIWKHDSSHDO6ROGLHUVZKRKDYH
   DQXQIDYRUDEOHEDFNJURXQGVFUHHQLQJRUUHYRNHG' ± 6$$&3FHUWLILFDWLRQDUHQRWDXWKRUL]HGWRUHWDLQWKH6+$53$6,
                                                                                                      




   %RU+
         8SRQQRWLILFDWLRQWKDWD'$&LYLOLDQKDVDQXQIDYRUDEOHEDFNJURXQGVFUHHQLQJWKHUHPRYDODXWKRULW\ZLOOLVVXH
   DPHPRDQGQRWLI\WKHPLQZULWLQJRIWKHUHYRFDWLRQWKHUHTXLUHPHQWWRLPPHGLDWHO\FHDVHFRQWDFWZLWKYLFWLPVRI
   VH[XDO DVVDXOW DQG WKH ULJKW WR DSSHDO ,I D '$ &LYLOLDQ FKRRVHV WR DSSHDO WKH FRPPDQG ZLOO LVVXH D VXVSHQVLRQ
   PHPRUDQGXPXQWLOILQDOGLVSRVLWLRQRIWKHDSSHDO7KHDSSRLQWLQJZDLYHUUHPRYDODXWKRULW\ZLOOSURFHVV' ± 6$$&3                                   




   UHYRFDWLRQVDQGSRVLWLRQUHPRYDOVLQFORVHFRRUGLQDWLRQZLWKWKHVHUYLFLQJ&3$&DQGOHJDODGYLVRUDQGLQFRPSOLDQFH
   ZLWKDSSOLFDEOHJXLGDQFH
       E6ROGLHUDSSRLQWPHQW
         7KHDSSRLQWLQJDXWKRULW\IRU6ROGLHUVZLOOFRQGXFWSURIHVVLRQDOVHOHFWLRQLQWHUYLHZVZLWK6ROGLHUVLQWHQGHGWR
   ILOO 6+$53 SURIHVVLRQDO SRVLWLRQV VHH ' ± 6$$&3 &RPPDQGHUV *XLGH DW KWWSVDSUPLOSXEOLFGRFVGVDDFSG
                                                                                   




   VDDFSBFRPPDQGHUVBJXLGHBSGI 6XJJHVWHGWRSLFVRIGLVFXVVLRQPD\LQFOXGHUHDVRQVIRUZDQWLQJWRZRUN
   LQWKH6+$533URJUDPWUXVWDQGUHVSRQVLELOLW\ILQDQFLDOZHOOEHLQJWKHSULRULWL]DWLRQRI6+$53UHVSRQVLELOLWLHV
   WKH3URIHVVLRQDO&RGHRI(WKLFVFRGLILHGLQWKH' ± 6$$&3DSSOLFDWLRQSDFNHW '')RUPDQG'')RUP ± 
                                                                                                                                                             




   SDJHVDQG DQGDQ\WKLQJLQWKHLUSDVWRUSUHVHQWWKDWZRXOGSUHFOXGHWKHPIURPVHUYLQJLQDSRVLWLRQVRIVLJQLILFDQW
   WUXVWDQGDXWKRULW\RUEHLQJRQFDOO8SRQDFOHDUHGORFDOVFUHHQLQJWKHFRPPDQGHUZLOOQRPLQDWHWKH6ROGLHUWRWKH
   $&20$6&&'58$51*RU86$56+$5330IRU+5&EDFNJURXQGVFUHHQLQJ
         7KH6+$5330ZLOOFRQILUPWKH6ROGLHUKDVDIDYRUDEO\DGMXGLFDWHGORFDOVFUHHQLQJDQGIDYRUDEO\DGMXGLFDWHG
   +5&EURDGHQHGVFUHHQLQJLVDSSURYHGWRDWWHQGWKH6+$53FRXUVHDQGZLOOHQWHUWKLVLQIRUPDWLRQLQWR$UP\7UDLQ
   LQJ5HTXLUHPHQWVDQG5HVRXUFHV6\VWHP $7556 8SRQVXFFHVVIXOFRPSOHWLRQRIWKHUHTXLUHG6+$53FRXUVH V 
   WKH6+$5330ZLOORYHUVHHWKH' ± 6$$&3FHUWLILFDWLRQSURFHVV       




         2QO\6ROGLHUVVHOHFWHGWRVHUYHDV6+$53SURIHVVLRQDOVDUHDXWKRUL]HGWRDWWHQG6+$53FRXUVHV8SRQFRP
   SOHWLRQRIWKHFRPPDQGLQWHUYLHZIDYRUDEO\DGMXGLFDWHGVFUHHQLQJVXFFHVVIXOFRPSOHWLRQRIWUDLQLQJDQG' ± 6$$&3                                




   FHUWLILFDWLRQWKHDSSURSULDWHDSSRLQWLQJDXWKRULW\ZLOOSUHSDUHDSSRLQWPHQWRUGHUVIRUIXOOWLPHDQGWUDLQHGDQGFHUWL
   ILHGFROODWHUDOGXW\6$5&VDQG6+$539$V7KHDSSRLQWPHQWPHPRZLOOFRQILUPWKH6ROGLHUDIDYRUDEO\DGMXGLFDWHG
   EDFNJURXQGVFUHHQLQJVQRWPRUHWKDQ\HDUVROGKDVVXFFHVVIXOO\FRPSOHWHGWKHUHOHYDQW6+$53FRXUVHDQGSRV
   VHVVHVDQDFWLYH' ± 6$$&3FHUWLILFDWLRQ&RPPDQGHUVZLOOSUHSDUHD'$)RUPDQGVXEPLWLWWRWKH+5&IRU
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   6ROGLHUVILOOLQJIXOOWLPH6$5&DQG6+$539$SRVLWLRQV
       F'HSDUWPHQWRIWKH$UP\&LYLOLDQDSSRLQWPHQWWR6+$53SRVLWLRQV'$&LYLOLDQVDUHKLUHG RQERDUGHG LQWR
   IXOOWLPH6+$53SRVLWLRQVQRWQRPLQDWHG&RPPDQGHUVDQG6(6VZLOOZRUNZLWKWKHLUVHUYLFLQJ&3$&WRDQQRXQFH
   UHFUXLW DQG ILOO IXOOWLPH '$ &LYLOLDQ 6+$53 SURIHVVLRQDO SRVLWLRQV $SSRLQWLQJ DXWKRULWLHV ZLOO ILOO '$ &LYLOLDQ
   SRVLWLRQVIROORZLQJQRUPDOSHUVRQQHOSURFHVVHVDQGEDFNJURXQGVFUHHQLQJV'$&LYLOLDQVHOHFWHHVPD\EHRQERDUGHG
   DIWHUDQLQWHULPEDVLFVXLWDELOLW\GHWHUPLQDWLRQLVPDGHEDVHGRQUHVXOWVRIDQ)%,)LQJHUSULQWILOHVFKHFNDQGH[DPL
   QDWLRQRIDSSOLFDWLRQGRFXPHQWV7KHORFDO&$LVUHVSRQVLEOHWRPDNHWKHVHLQWHULPEDVLFVXLWDELOLW\GHWHUPLQDWLRQV
   '$&LYLOLDQVZLOOSRVVHVVHVDIDYRUDEO\DGMXGLFDWHGFRPSOHWHEDFNJURXQGVFUHHQLQJDQG' ± 6$$&3FHUWLILFDWLRQ                           




   SULRUWRDQ\FRQWDFWZLWKYLFWLPVRIVH[XDODVVDXOW
         2QO\WKH'&6* ± $5''LUHFWRULVDXWKRUL]HGWRDSSURYHUHYLVLRQVWR6+$53SRVLWLRQGHVFULSWLRQV
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                                                                                       $5±-XO\                                           
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       $'$&LYLOLDQZKRLVKLUHGLQWRD6+$53SRVLWLRQLVQRWDSSRLQWHGXQWLOWKHDSSURSULDWHDSSRLQWLQJDXWKRULW\
   KDVVLJQHGDQDSSRLQWPHQWPHPRDXWKRUL]LQJWKHPWRDFWDVD6$5&RU9$:LWKRXWWKLVDSSRLQWPHQWPHPRD'$
   &LYLOLDQFDQQRWRIIHU9LFWLP9LFWLP$GYRFDWH3ULYLOHJHDQGLVQRWDXWKRUL]HGWRKDYHFRQWDFWZLWKYLFWLPV

   *±'HSDUWPHQWRI'HIHQVH6H[XDO$VVDXOW$GYRFDWH&HUWLILFDWLRQ3URJUDP
      D$OO6+$53SURIHVVLRQDOVERWK0LOLWDU\DQG'$&LYLOLDQZLOOREWDLQDQGPDLQWDLQ' ± 6$$&3FHUWLILFDWLRQ
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      E7REHHOLJLEOHIRUWKH'± 6$$&3FHUWLILFDWLRQWKH6+$53FRXUVHZLOOKDYHEHHQVXFFHVVIXOO\FRPSOHWHGZLWKLQ
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   WKH\HDUVLPPHGLDWHO\SULRUWRWKHGDWHRIWKH'± 6$$&3DSSOLFDWLRQDQGWKHFDQGLGDWHZLOOSRVVHVVDFRPSOHWHGDQG
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   FOHDUHGEDFNJURXQGVFUHHQLQJ
      F6+$5330VDUHUHVSRQVLEOHIRUYDOLGDWLQJDQGVXEPLWWLQJ' ± 6$$&3FHUWLILFDWLRQSDFNHWVWRWKH1DWLRQDO2U
                                                                                              




   JDQL]DWLRQ IRU 9LFWLP $VVLVWDQFH $ FRPSOHWHG DQG FOHDUHG EDFNJURXQG VFUHHQLQJ LV UHTXLUHG LQ RUGHU WR VXEPLW
   '± 6$$&3FHUWLILFDWLRQUHTXHVWV3HUVRQQHOVHUYLQJLQ6+$53SRVLWLRQVZKRDUHGHWHUPLQHGWREHLQQRQFRPSOLDQFH
              




   ZLWKVFUHHQLQJUHTXLUHPHQWVZLOOKDYHWKHLU' ± 6$$&3FHUWLILFDWLRQDQG$6, 6ROGLHUVRQO\ UHYRNHG
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   *±5HFHUWLILFDWLRQ
      D5HFHUWLILFDWLRQLVUHTXLUHGHYHU\\HDUVDIWHUWKHLQLWLDOFHUWLILFDWLRQ
      E5HFHUWLILFDWLRQUHTXLUHVKRXUVRIFRQWLQXLQJHGXFDWLRQ KRXU FRQWLQXLQJHGXFDWLRQXQLW &(8 1R
   PRUHWKDQKRXUVFDQEH$UP\VSHFLILFLQIRUPDWLRQ WKDWLVSROLFLHVDQGSURFHGXUHV KRXUVPXVWEHYLFWLPDGYR
   FDF\HWKLFV7RSLFVVKRXOGEHUHODWHGWRYLFWLPDGYRFDF\DQGFDUHEXWGRQRWQHHGWREHGLUHFWO\UHODWHGWRWKHPLOLWDU\
   RUVH[XDODVVDXOW$SSOLFDQWVPXVWWDNHKRXUVRIYLFWLPDGYRFDF\HWKLFVWUDLQLQJDQGPXVWFRPSOHWHWKH6DIH+HOSOLQH
   WUDLQLQJERWKFRXQWWRZDUGVWKHKRXUUHTXLUHPHQW
      F7KH'&6*± $5'SHULRGLFDOO\RIIHUVZHELQDUVDQGPRVWDUHDSSURYHGIRUFRQWLQXLQJHGXFDWLRQFUHGLWV,Q
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   PRVWFDVHVSDUWLFLSDQWVZLOOEHDEOHWRHDUQ&(8V7KH&(8VDUHVDQFWLRQHGE\'R'6H[XDO$VVDXOW3URJUDP
   2IILFH7KHZHELQDUWRSLFVIDOOLQWKHIROORZLQJFDWHJRULHVIRU&(8VHWKLFVUHVSRQVHDGYRFDF\DQGRUSUHYHQWLRQ
        $FWLYLWLHVWKDWDUHQRWHGXFDWLRQDOLQQDWXUHGRQRWFRXQWWRZDUGVWKH' ± 6$$&3FRQWLQXLQJHGXFDWLRQWUDLQLQJ
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   FRXUVH UHTXLUHPHQWV IRU H[DPSOH SDUWLFLSDWLQJ LQ D UXQZDON HYHQW UHDGLQJ LQIRUPDWLRQ RQOLQH UHYLHZLQJ 6$35
   SURJUDPRUSROLF\XSGDWHVYROXQWHHULQJDWDVH[XDODVVDXOWDZDUHQHVVWDEOHRUERRWKRUVHUYLQJDVDQLQVWUXFWRULQD
   6$35WUDLQLQJ 
        $OO 6+$53 SURIHVVLRQDOV ZLOO DSSO\ IRU UHQHZDO RI WKHLU ' ± 6$$&3 FHUWLILFDWLRQ XVLQJ '' )RUP  ± 
                                                                                                                                        




   FRRUGLQDWLQJWKURXJKWKHLU30EHIRUHWKHH[SLUDWLRQRIWKHLULQLWLDO\HDUFHUWLILFDWLRQ6+$53SURIHVVLRQDOVZKRIDLO
   WRREWDLQUHQHZDODSSURYDOSULRUWRWKHH[SLUDWLRQRIWKHLUFXUUHQWFHUWLILFDWLRQZLOOKDYHWKHLUFHUWLILFDWLRQUHYRNHGE\
   1DWLRQDO2UJDQL]DWLRQIRU9LFWLP$VVLVWDQFHDQGPXVWUHDSSO\DVDQHZDSSOLFDQW
       D 6+$53SURIHVVLRQDOVZLOOPDLQWDLQDOOWUDLQLQJFHUWLILFDWHVWRYHULI\WUDLQLQJFRPSOHWLRQ
       E 6$5&VZLOOUHWDLQWKLVGRFXPHQWDWLRQIRUHDFK6+$539$DQG95LQWKHLUDUHDRIUHVSRQVLELOLW\DQGHQWHUWKH
   LQIRUPDWLRQLQWR'6$,'

   *±'HSDUWPHQWRI'HIHQVH6H[XDO$VVDXOW$GYRFDWH&HUWLILFDWLRQ3URJUDPVXVSHQVLRQ
      D$'± 6$$&3FHUWLILHGLQGLYLGXDOPXVWQRWLI\WKHFRPPDQGHUVXSHUYLVRURURWKHUDSSURSULDWHDXWKRULW\LPPH
                      




   GLDWHO\LIKHRUVKHLVFKDUJHGDUUHVWHGRUFRQYLFWHGRIDQ\FULPLQDODFWLYLW\RUKHRUVKHH[SHULHQFHVDQ\HYHQWWKDW
   SXUVXDQWWR'R'0DQXDOPXVWEHUHSRUWHGE\LQGLYLGXDOVHOLJLEOHIRUDVHQVLWLYHSRVLWLRQ8SRQQRWLILFDWLRQ
   WKHVXVSHQVLRQDXWKRULW\ZLOOLPPHGLDWHO\LQZULWLQJVXVSHQGDQGWHPSRUDULO\UHDVVLJQWKH' ± 6$$&3FHUWLILHGLQGL          




   YLGXDO7KHVXVSHQVLRQDXWKRULW\DQG' ± 6$$&3FHUWLILHGLQGLYLGXDOZLOOIROORZWKH'R'' ± 6$$&3VXVSHQVLRQDQG
                                                                                                                        




   UHYRFDWLRQJXLGHOLQHV VHH'R', 
      E6ROGLHUVXVSHQVLRQ
        ,QDGGLWLRQWRWKHUHTXLUHPHQWVRIWKH'R'' ± 6$$&3JXLGHOLQHVWKHFRPPDQGZLOOIODJ6ROGLHUVXQGHULQYHV
                                                                                      




   WLJDWLRQLQDFFRUGDQFHZLWK$5 ±  ±DQGPRQLWRUWKHLQYHVWLJDWLRQXQWLOLWLVFRPSOHWH
                                                        




        ,IWKHLQYHVWLJDWLRQGRHVQRWUHVXOWLQGLVTXDOLI\LQJLQIRUPDWLRQWKHFRPPDQGZLOOQRWLI\WKHVXVSHQVLRQDX
   WKRULW\ZKRZLOOOLIWWKHVXVSHQVLRQDQGUHLQVWDWHWKH6ROGLHUWRWKH6+$53SRVLWLRQ
        ,IWKHLQYHVWLJDWLRQUHVXOWVLQGLVTXDOLI\LQJLQIRUPDWLRQRULIWKHFRPPDQGUHFHLYHVFUHGLEOHHYLGHQFHWKDWWKH
   6ROGLHUKDVFRPPLWWHGDQRIIHQVHWKHFRPPDQGZLOOQRWLI\WKHUHPRYDODXWKRULW\ZKRSURFHVVHVUHYRFDWLRQUHPRYDO
   DFWLRQV
      F'HSDUWPHQWRIWKH$UP\&LYLOLDQVXVSHQVLRQ8SRQQRWLILFDWLRQWKDWD'$&LYLOLDQLVXQGHULQYHVWLJDWLRQIRUDQ
   RIIHQVHWKDWZRXOGGLVTXDOLI\WKHPIURPVHUYLQJLQD6+$53SRVLWLRQWKHVXVSHQVLRQDXWKRULW\ZLOOHQVXUHWKHVXV
   SHQVLRQLVSURFHVVHGLQFORVHFRRUGLQDWLRQZLWKWKHVHUYLFLQJ&3$&DQGOHJDODGYLVRUDQGLQFRPSOLDQFHZLWKDSSOL
   FDEOHSROLF\DQGSURFHGXUHV




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                                                                  $5±-XO\                                           
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   *±'HSDUWPHQWRI'HIHQVH6H[XDO$VVDXOW$GYRFDWH&HUWLILFDWLRQ3URJUDPUHYRFDWLRQDQG
   UHPRYDO
      D6ROGLHUUHYRFDWLRQUHPRYDO
        7KHUHYRFDWLRQUHPRYDODXWKRULW\ZLOOQRWLI\D6ROGLHUZKRLVGLVTXDOLILHGIURPVHUYLQJLQD 6+$53SURIHV
   VLRQDOSRVLWLRQLQZULWLQJRIWKHEDVLVIRUWKHSURSRVHGUHPRYDOWKH6ROGLHU¶VULJKWWRFRQVXOWZLWKOHJDOFRXQVHOWKH
   6ROGLHU¶VULJKWWRUHTXHVWDZDLYHULIDXWKRUL]HGDQGWKH6ROGLHU¶VULJKWWRVXEPLWPDWWHUVLQGHIHQVHH[WHQXDWLRQRU
   PLWLJDWLRQ7KHZDLYHUUHPRYDODXWKRULW\ZLOODOVRSURYLGHWKH6ROGLHUZLWKDFRS\RIWKHGLVTXDOLI\LQJLQIRUPDWLRQ
        $WDQ\WLPHDFRPPDQGHUEHFRPHVDZDUHD6ROGLHUZLWK' ± 6$$&3FHUWLILFDWLRQLVLQWKHLUDUHDRIRSHUDWLRQV
                                                                                




   DQGKDVDQXQIDYRUDEOHEDFNJURXQGVFUHHQLQJWKHFXUUHQWFRPPDQGHUZLWKUHPRYDODXWKRULW\LVUHVSRQVLEOHIRULVVXLQJ
   DPHPRDQGQRWLI\LQJWKH6ROGLHURI' ± 6$$&3FHUWLILFDWLRQUHYRFDWLRQDQGLIDSSOLFDEOHUHPRYDOIURPWKH6+$53
                                                     




   DVVLJQPHQWWKHUHTXLUHPHQWWRLPPHGLDWHO\FHDVH SURYLGLQJ6+$53VHUYLFHVWRYLFWLPVRIVH[XDODVVDXOWDQGWKH
   6ROGLHUVULJKWWRDSSHDO
        7KHUHYRFDWLRQUHPRYDOUHYLHZDXWKRULW\ZLOOGRFXPHQWWKHGHFLVLRQLQZULWLQJWRUHPRYHD6ROGLHUIURPD
   6+$53SRVLWLRQDQGSURYLGHWKDWGRFXPHQWDWLRQWR+5&ZKLFKZLOODSSO\WKHDSSURSULDWHSHUVRQQHOPDQDJHPHQW
   FRGHVDQGUHPRYHWKH$6,RIWKH6ROGLHU¶VILOH
        $5 ± DGGUHVVHVDPHQGPHQWRILQDFFXUDWHRULUUHOHYDQWUHFRUGV
                     




        '$&LYLOLDQUHYRFDWLRQUHPRYDO7KHUHYRFDWLRQUHPRYDODXWKRULW\IRU'$&LYLOLDQVLQFORVHFRRUGLQDWLRQZLWK
   WKHVHUYLFLQJ&3$&DQGOHJDODGYLVRUDQGLQFRPSOLDQFHZLWKDSSOLFDEOHJXLGDQFHZLOOUHYRNH' ± 6$$&3FHUWLILFD
                                                                                                                      




   WLRQIRU'$&LYLOLDQVZKRKDYHXQIDYRUDEOHVFUHHQLQJ
      E8SRQUHFHLSWRIDQDOOHJDWLRQWKHILUVW*26(6LQWKH6+$53SURIHVVLRQDO¶VFKDLQRIFRPPDQGZLOO²
        (QVXUHDWLPHO\DQGFRPSUHKHQVLYHLQTXLU\LVFRQGXFWHG
        1RWLI\WKH6+$53SURIHVVLRQDOLQZULWLQJWKDWDQDOOHJDWLRQKDVEHHQUHFHLYHGDQLQTXLU\KDVEHHQLQLWLDWHG
   DQGWKHLUDXWKRULW\WRSHUIRUP6+$53GXWLHVLVVXVSHQGHGSHQGLQJWKHRXWFRPHRIWKHLQYHVWLJDWLRQE\WKHUHVSRQVLEOH
   FRPPDQGHU
        ,I D 6+$53 SURIHVVLRQDO LV UHSRUWHG WR KDYH FRPPLWWHG D VH[XDO DVVDXOW WKH FRPPDQGHU ZLOO LPPHGLDWHO\
   UHSRUWDQ\DQGDOOXQUHVWULFWHGUHSRUWVRIVH[XDODVVDXOWWR86$&,'&DQGHQVXUHD6$,52LVFRPSOHWHG
      F5HIHUWR'R',IRUWKHLQTXLU\SURFHVVIRUDGYHUVHDFWLRQDGPLQLVWUDWLYHLQTXLU\RULQYHVWLJDWLYHSURFH
   GXUHVSHUWDLQLQJWRWKH' ± 6$$&3FHUWLILHG6+$53SURIHVVLRQDO
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      G,IWKHILUVW*2LQWKHFKDLQRIFRPPDQGGHWHUPLQHVLQFRQVXOWDWLRQZLWKWKHDVVLJQHG6$5&6-$DQGKXPDQ
   UHVRXUFHVRIILFHWKHUHLVSUHSRQGHUDQFHRIHYLGHQFHWRVXSSRUWWKHFRPSODLQWEDVHGRQWKHQH[XVRIWKHUHSRUWHGPLV
   FRQGXFWWRWKH6+$53SURIHVVLRQDO¶VGXWLHVKHRUVKHZLOOGHWHUPLQHZKHWKHUWRVXVSHQGRUUHYRNHWKH' ± 6$$&3               




   FHUWLILFDWLRQ
      H7KHILUVW*2LQWKHFKDLQRIFRPPDQGZLOOQRWLI\WKH6+$53SURIHVVLRQDOLQZULWLQJLIDGHFLVLRQKDVEHHQPDGH
   WRVXVSHQGRUUHYRNHD' ± 6$$&3FHUWLILFDWLRQDQGZLOOSURYLGHDFRS\RIWKHQRWLILFDWLRQOHWWHUWR'&6* ± $5'
                                                                                                                                    




   7KLVQRWLILFDWLRQOHWWHUZLOOLQFOXGH²
        7KHHIIHFWLYHGDWHRIWKHVXVSHQVLRQRUUHYRFDWLRQRIFHUWLILFDWLRQ
        7KHJURXQGVIRUWKHVXVSHQVLRQRUUHYRFDWLRQLQFOXGLQJWKHVSHFLILFPLVFRQGXFWHWKLFDOYLRODWLRQVXEVWDQGDUG
   SHUIRUPDQFH SURIHVVLRQDO RU SHUVRQDO LPSDLUPHQW RU WKH UHDVRQ WKH FRPPDQGHU ORVW IDLWK DQG FRQILGHQFH LQ WKH
   6+$53SURIHVVLRQDOWRSHUIRUPDVVLJQHGGXWLHV
        7KHGLUHFWLRQIRUWKH6+$53SURIHVVLRQDOWRVXUUHQGHUWKHLU' ± 6$$&3FHUWLILFDWHDQGZDOOHWLGHQWLILFDWLRQ
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   FDUGWRWKHILUVWSHUVRQLQWKHFKDLQRIFRPPDQGRUVXSHUYLVRUZLWKLQKRXUVRIUHFHLSWRIWKHOHWWHU
        1RWLILFDWLRQRIWKH6+$53SURIHVVLRQDO¶VULJKWWRDSSHDOWKHGHFLVLRQDQGGHVFULSWLRQRIWKHDSSHDOVSURFHGXUHV
      I7KHFRPPDQGHUZLOOSURYLGHDUHSRUWWR'&6* ± $5'ZLWKLQEXVLQHVVGD\VRIFRQFOXGLQJDQLQTXLU\7KH
                                                                    




   UHSRUWZLOOGRFXPHQWLQIRUPDWLRQVSHFLILHGE\'R',
      J7KH '&6 *±  $5' ZLOO SURYLGHWKH'R'6$35RIILFH ZLWK ZULWWHQ QRWLILFDWLRQ ZLWKLQEXVLQHVVGD\VRI
                             




   UHFHLYLQJWKHFRPPDQGHU¶VQRWLILFDWLRQWRVXVSHQGRUUHYRNHWKH6+$53SURIHVVLRQDO¶V' ± 6$$&3FHUWLILFDWLRQ
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      K6KRXOGWKHFRPSODLQWSURYHXQIRXQGHGWKHFRPPDQGHUPD\UHLQVWDWHWKH6+$53SURIHVVLRQDO
      L'$&LYLOLDQUHYRFDWLRQZLOOEHSURFHVVHGSHUSURFHGXUHVLQ*XLGDQFHIRU&LYLOLDQ6H[XDO+DUDVVPHQW$VVDXOW
   5HVSRQVH3URJUDP3RVLWLRQVSXEOLVKHGE\$6$ 0 5$ LQFORVHFRRUGLQDWLRQZLWKWKHVHUYLFLQJ&3$&DQGOHJDO
   DGYLVRUDQGLQFRPSOLDQFHZLWKDSSOLFDEOHJXLGDQFH'$&LYLOLDQVKDYHWKHULJKWWRDSSHDO' ± 6$$&3VXVSHQVLRQ
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   DQGUHYRFDWLRQLQZULWLQJZLWKLQEXVLQHVVGD\VRIQRWLILFDWLRQRIWKHVXVSHQVLRQRUUHYRFDWLRQ

   *±'HSDUWPHQWRI'HIHQVH6H[XDO$VVDXOW$GYRFDWH&HUWLILFDWLRQ3URJUDPUHLQVWDWHPHQW
   JXLGHOLQHV
     D,ID6+$53SURIHVVLRQDO¶VFHUWLILFDWLRQKDVEHHQVXVSHQGHGRUUHYRNHGGXHWRDQDGPLQLVWUDWLYHHUURUWKHILUVW
   *2LQWKHFKDLQRIFRPPDQGRUILUVW6(6LQWKHVXSHUYLVRU\FKDLQPXVWLVVXHDUHLQVWDWHPHQWOHWWHUWRWKH' ± 6$$&3           




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   DGPLQLVWUDWRUWRUHLQVWDWHWKHLQGLYLGXDO$FRS\RIWKLVOHWWHUZLOOEHIRUZDUGHGWR'&6* ± $5'ZLWKLQEXVLQHVV
                                                                                                      




   GD\V7KHUHSRUWZLOOGRFXPHQWWKHDGPLQLVWUDWLYHHUURUDQGWKHUHLQVWDWHPHQW
       E7KHVWDQGDUGIRUUHLQVWDWHPHQWWRWKLVVHQVLWLYHDQGWUXVWHGSRVLWLRQH[WHQGVEH\RQGZKHWKHUWKHUHZDVDFRQYLF
   WLRQRUIRXQGHGFODLP$OODOOHJDWLRQVZLOOEHFRQVLGHUHGE\WKHFRPPDQGHURUDSSURSULDWHDSSRLQWLQJDXWKRULW\ZKR
   ZLOOGHWHUPLQHLIWKH\DUHLQFRQVLVWHQWZLWK6+$53FRUHGXWLHV
       F7KH'± 6$$&35HYLHZ&RPPLWWHHVWDIIZLOOGHWHUPLQHWKHVWHSVQHFHVVDU\WRUHLQVWDWHWKHFHUWLILFDWLRQ WKDWLV
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   LIDQHZRUUHQHZDODSSOLFDWLRQDQGFRPPLWWHHUHYLHZLVUHTXLUHGGXHWRWKHRULJLQDOFHUWLILFDWLRQH[SLUDWLRQGDWH 7KH
   '± 6$$&35HYLHZ&RPPLWWHHVWDIIZLOOFRPPXQLFDWHGLUHFWO\ZLWKWKHDSSOLFDQWDERXWWKHVHUHTXLUHPHQWV
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   *±$UP\6WDII$UP\FRPPDQGV$UP\VHUYLFHFRPSRQHQWFRPPDQGVDQGGLUHFWUHSRUWLQJ
   XQLWV6+$53SURJUDPPDQDJHUV
      D6+$5330VDUHUHVSRQVLEOHIRUUHTXHVWLQJ+5&EDFNJURXQGVFUHHQLQJIRU6ROGLHUVRQFHFRPPDQGHUVKDYH
   YHULILHGDFOHDUHGORFDOVFUHHQLQJ6ROGLHUVZLOOKDYH6+$5330DSSURYDODQGYHULILFDWLRQRIFOHDUHGVFUHHQLQJWR
   DWWHQG6+$53WUDLQLQJ6+$5330VZLOOHQVXUH6ROGLHUVZKRDWWHQG6+$53WUDLQLQJZLOOEHDSSRLQWHGWR6+$53
   SRVLWLRQV6+$5330VZLOOHQVXUH6ROGLHUVPHHWWKHUHTXLUHPHQWVWRVHUYHLQD6+$53SURIHVVLRQDOSRVLWLRQ6+$53
   30VPD\DSSURYH6ROGLHUVWRDWWHQGWUDLQLQJZLWKDFOHDUHGORFDOVFUHHQLQJDQGDFOHDUHGEURDGHQHG+5&EDFNJURXQG
   VFUHHQLQJ6ROGLHUVZKRGRQRWKDYHDIDYRUDEOHVFUHHQLQJZLOOQRWSRVVHVV' ± 6$$&3FHUWLILFDWLRQWKH$6,%RU
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   +DQGFDQQRWVHUYHLQ6+$53SRVLWLRQV6KRXOGXQIDYRUDEOHVFUHHQLQJUHVXOWVEHGLVFRYHUHGZKLOHWKHVWXGHQWLVLQ
   FODVVWKHVWXGHQWZLOOEHUHPRYHGIURPFODVVDQGUHWXUQHGWRWKHLUFRPPDQG
      E6+$5330VZLOOPDLQWDLQGRFXPHQWDWLRQUHTXLUHGIRUSHUVRQQHOWRKROG6+$53SURIHVVLRQDOSRVLWLRQV7KH
   GRFXPHQWDWLRQZLOOLQFOXGHDWDPLQLPXPFRSLHVRIWKHQRPLQDWLRQIRU6ROGLHUVGRFXPHQWDWLRQLQGLFDWLQJFOHDUHG
   ORFDODQGEURDGHQHGVFUHHQLQJIRU6ROGLHUV&3$&FRQILUPDWLRQWKDW'$&LYLOLDQVKDYHFOHDUHGRUDGMXGLFDWHGVFUHHQ
   LQJ WUDLQLQJ FHUWLILFDWH $6, IRU 6ROGLHUV  DQG ' ± 6$$&3 FHUWLILFDWLRQ 2QO\ 6ROGLHUV DQG '$ &LYLOLDQV ZLWK
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   '± 6$$&3FHUWLILFDWLRQDUHDXWKRUL]HGWRSURYLGH6+$53VHUYLFHV
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      F7KH6+$5330ZLWKRYHUVLJKWIRUWKHLQVWDOODWLRQKRVWLQJWKH6+$53)RXQGDWLRQ&RXUVHZLOOFRRUGLQDWHZLWK
   WKH6+$53$FDGHP\WRHQWHUFRXUVHVLQWR$75563ULRUWRWKHEHJLQQLQJRIWKH6+$53FRXUVHWKH6+$5330ZLOO
   HQVXUHWKDWDOO6ROGLHUVDSSURYHGWRDWWHQGWUDLQLQJKDYHDFOHDUHGORFDOEDFNJURXQGVFUHHQLQJDFOHDUHG+5&VFUHHQ
   LQJDQGZLOOVHUYHLQD6+$53SURIHVVLRQDOSRVLWLRQ

   *±6FUHHQLQJDQGDGGLWLRQDOVNLOOLGHQWLILHU
      D6ROGLHUVZKRKDYHFOHDUHGEDFNJURXQGVFUHHQLQJDQGVXFFHVVIXOO\FRPSOHWHWKH6$5&9$&DUHHU&RXUVHTXDO
   LI\IRUWKH$6,+8SRQFRPSOHWLRQRIWKHFRXUVHWKH6+$53$FDGHP\ZLOOIRUZDUGWKH6ROGLHU¶VQDPHDQG661
   WR+5&IRUDZDUGRIWKH$6,+2OHYHOFRPPDQGHUVRUDERYHZLOOHQVXUHWKH$6,+LVUHPRYHGIRU6ROGLHUVZLWK
   DQXQIDYRUDEOHVFUHHQLQJ
      E6ROGLHUV ZKR KDYH FOHDUHG EDFNJURXQG VFUHHQLQJ DQG VXFFHVVIXOO\ FRPSOHWH WKH 6+$53 )RXQGDWLRQ &RXUVH
   TXDOLI\IRUWKH6+$53$6,%8SRQVXFFHVVIXOFRPSOHWLRQRIWUDLQLQJ6+$5330VZKRKRVWHGWKHWUDLQLQJZLOO
   IRUZDUGWKHWUDLQLQJFHUWLILFDWHV6ROGLHU¶VQDPHDQG661WR+5&IRUDZDUGRIWKH$6,%&RPPDQGHUVZLOOHQVXUH
   WKH$6,%LVUHPRYHGIRU6ROGLHUVZLWKDQXQIDYRUDEOHVFUHHQLQJ
      F6ROGLHUVZKRKDYHDQXQIDYRUDEOHVFUHHQLQJRUKDYHWKHLU' ± 6$$&3FHUWLILFDWLRQUHYRNHGZLOOKDYHWKHLU$6,
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   UHPRYHG
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   $SSHQGL[+
   5HWDOLDWLRQ3UHYHQWLRQDQG5HVSRQVH

   +±6H[XDO$VVDXOW
      D7KHIROORZLQJSURFHGXUHVRXWOLQHZKDWD6$5&ZLOOGRWRUHVSRQGWRDUHSRUWRIUHWDOLDWRU\EHKDYLRUIURPD
   XQLIRUPHGYLFWLPRIVH[XDODVVDXOWRUDXQLIRUPHGZLWQHVVE\VWDQGHURUILUVWUHVSRQGHUWRDVH[XDODVVDXOW$EULHI
   H[SODQDWLRQRIWKHW\SHVRIUHWDOLDWLRQLVSURYLGHGWRWKHYLFWLPZKHQVLJQLQJWKH'')RUPZLWKD6$5&6+$53
   9$RU95UHYLHZLQJWKHW\SHVRIUHWDOLDWRU\EHKDYLRU
        ,IDYLFWLPFRPHVWRD6$5&WRVSHDNDERXWUHWDOLDWRU\EHKDYLRUWKH6$5&ZLOO²
       D 'LVFXVVZKDWWKHLQGLYLGXDOLVH[SHULHQFLQJLQUHJDUGWRUHWDOLDWRU\EHKDYLRU
       E ([SODLQ WKH GLIIHUHQW W\SHV RI UHWDOLDWRU\ EHKDYLRU DQG WKH LQYHVWLJDWLYH HQWLWLHV ,* ODZ HQIRUFHPHQW
   86$&,'&DQGFRPPDQGHUV E\SURYLGLQJDQLQIRUPDWLRQDOVKHHW
       F ([SODLQWKDWWKHYLFWLPFDQJRWRDQ,*DWDQ\WLPHGXULQJWKHSURFHVV9LVLWVWRWKH,*PD\UDQJHIURPFRQVXO
   WDWLRQWRILOLQJDFRPSODLQW
       G 2IIHUVXSSRUWWKURXJKRXWWKHSURFHVVWRLQFOXGHSURYLGLQJUHIHUUDOV IRUH[DPSOH69&RUOHJDODVVLVWDQFHIRU
   OHJDODGYLFH DQGDFFRPSDQ\LQJWKHYLFWLPWRPHHWLQJVZLWKFRPPDQGLQYHVWLJDWRUVDQGRWKHUILUVWUHVSRQGHUSHU
   VRQQHOLIUHTXHVWHG
       H :ULWHD0)5WRUHFRUGGDWH RIGLVFXVVLRQDQ\UHIHUUDOVJLYHQDQGWKHSRLQWRIFRQWDFWDVVRFLDWHG ZLWKWKH
   UHIHUUDOV7KHVHUHIHUUDOVZLOOEHGRFXPHQWHGLQ'6$,'
       I 3ULRUWRHQJDJLQJDQLQYHVWLJDWLYHHQWLW\RUVHHNLQJDOWHUQDWLYH PHDQVIRUUHVROYLQJ WKHUHWDOLDWRU\EHKDYLRU
   GLVFXVVZLWKWKHYLFWLPWKHRSWLRQVWRFRQVXOWZLWKDQ,*69&RUDOHJDODVVLVWDQFHDWWRUQH\FRQFHUQLQJUHWDOLDWRU\
   EHKDYLRUUHSRUWLQJRSWLRQVDQGWKHLQYHVWLJDWLYHDQGPLOLWDU\MXVWLFHSURFHVVHVDVDSSURSULDWH
       J )ROORZXSZLWKWKHYLFWLPWRDVNLIWKHLQGLYLGXDOSURFHHGHGZLWKPDNLQJDUHWDOLDWLRQUHSRUWDIWHUVSHDNLQJ
   ZLWKWKH69&RUOHJDODVVLVWDQFHDWWRUQH\ LIWKHLQGLYLGXDOHOHFWHGWRVSHDNZLWKDQ69&RUOHJDODVVLVWDQFHDWWRUQH\ 
   RULIWKHYLFWLPZDQWVWKHUHWDOLDWRU\EHKDYLRUWREHGLVFXVVHGDW6$5%LQVWHDGRIJRLQJGLUHFWO\WRDQLQYHVWLJDWLYH
   HQWLW\
       K 5HFHLYHQRWLILFDWLRQRIWKHUHSRUWIURPDQLQYHVWLJDWLYHHQWLW\RUFRPPDQGDQGUHFRUGWKHUHSRUWLQWKHUHWDOLD
   WLRQGDWDFDOOVRURSHQDFDVHLQWKHUHWDOLDWLRQPRGXOHLQ'6$,'RQFHGHYHORSHG
       L ,IWKHYLFWLPPDGHDUHVWULFWHGUHSRUWWKH6$5&RU6+$539$ZLOOLQIRUPWKHYLFWLPWKDWIRUPDODFWLRQUH
   JDUGLQJWKHSHUFHLYHGUHWDOLDWLRQLVOLPLWHGDQGZLOOUHTXLUHFRQYHUVLRQWRDQXQUHVWULFWHGUHSRUWLIWKHLQWHQWLVWROLQN
   WKHUHWDOLDWLRQWRDUHSRUWRIVH[XDODVVDXOWRUKDYHWKHDOOHJDWLRQVLQYHVWLJDWHG6H[XDODVVDXOWYLFWLPVZKRPDGHD
   5HVWULFWHG5HSRUWGRQRWKDYHWRFRQYHUWWRDQ8QUHVWULFWHG5HSRUWWRILOHDFRPSODLQWZLWKDQ,*RUWKH'R'6DIH
   +HOSOLQH
        6$5%GLVFXVVLRQRIUHWDOLDWLRQ
       D 7KHOHDG6$5&ZLOOFRQILUPZLWKWKH6$5&VDQG6$359$VLIWKHUHLVDUHWDOLDWLRQUHSRUWWRGLVFXVVDWWKH
   6$5%
       E 7KHOHDG6$5&ZLOOSURYLGHWKHVHUYLFLQJ6-$RIILFHZLWKLQIRUPDWLRQRQUHWDOLDWLRQUHSRUWVWREHSUHVHQWHGDW
   WKH6$5%LIWKHOHDG6$5&KDVFRQFHUQVUHJDUGLQJSULYLOHJHGFRPPXQLFDWLRQV
       F 6$5%DWWHQGHHVZLOOGLVFXVVWKHUHWDOLDWLRQUHSRUWLQFOXGLQJZKHWKHUWKHYLFWLPLVUHSUHVHQWHG H[FHSWIRUFDVHV
   XQGHUWKHMXULVGLFWLRQRIWKH,*RUWKHGLVFXVVLRQZLOOFRPSURPLVHWKHLQWHJULW\RIDQLQYHVWLJDWLRQE\86$&,'&
   RWKHU0&,2RURWKHUODZHQIRUFHPHQWDJHQF\ 
       G $IWHUGLVFORVXUHRIWKHUHWDOLDWLRQUHSRUWDWWKH6$5%WKH6$5%&KDLUZLOOSURYLGHUHIHUUDOVWR86$&,'&,*
   0(2RUDVXERUGLQDWHFRPPDQGHURUVRPHRWKHUIROORZRQDFWLRQLIDFWLRQRUDQLQYHVWLJDWLRQLVQRWDOUHDG\XQGHU
   ZD\
       H ,IWKHUHWDOLDWLRQUHSRUWHULVDVH[XDODVVDXOWYLFWLPWKHLUFRPPDQGHUZLOOSURYLGHDQXSGDWHRQWKHVWDWXVRIWKH
   FDVHWRWKHYLFWLP&RPPDQGHUVZLOOSURYLGHXSGDWHVWRZLWQHVVHVE\VWDQGHUVRUILUVWUHVSRQGHUVWRDVH[XDODVVDXOW
        5HVROYLQJDUHWDOLDWLRQUHSRUW
       D 7KHOHDG6$5&ZLOOLQIRUPWKHUHWDOLDWLRQUHSRUWHU¶VFRPPDQGHULIWKHUHSRUWHUZLVKHVWRSXUVXHDFWLRQUHODWLQJ
   WRUHWDOLDWRU\EHKDYLRUWKDWGRHVQRWIDOOXQGHUWKHMXULVGLFWLRQRIWKH,*RU86$&,'&5HSRUWVRIUHVWULFWLRQRUUHSULVDO
   IDOOZLWKLQWKHMXULVGLFWLRQRIWKH,*LQDFFRUGDQFHZLWK86&DQGDVVXFKDQLQYHVWLJDWLYHGHWHUPLQDWLRQZLOO
   EHPDGHE\WKH,*'HSHQGLQJRQWKHIDFWVRIWKHFDVHUHSRUWVRIRVWUDFLVPPDOWUHDWPHQWRURWKHUUHWDOLDWRU\EHKDYLRU
   PD\IDOOZLWKLQWKHMXULVGLFWLRQRIWKH,*LIIRUH[DPSOHLWLVGHWHUPLQHGWKDWWKH\DUHLQH[WULFDEO\OLQNHGWRUHVWULFWLRQ
   RUUHSULVDO




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      7KHFRPPDQGHUZLOOWKHQGHFLGHZKHWKHUWRUHIHUWKHUHSRUWIRULQYHVWLJDWLRQE\ODZHQIRUFHPHQWRUVHHNUHVR
   OXWLRQWKURXJKRWKHUDSSURSULDWHPHDQV IRUH[DPSOHFRPPDQGGLUHFWHG,QYHVWLJDWLRQRUWKURXJKFRRUGLQDWLRQZLWK
   DQ69& 
      $QLQGLYLGXDOLQGHSHQGHQWRIWKHRULJLQDWLQJXQLWRURUJDQL]DWLRQRIWKHDOOHJHGUHWDOLDWLRQZLOOLQYHVWLJDWHWKH
   UHWDOLDWLRQUHSRUWVUHIHUUHGWRFRPPDQG
      7KH UHSRUWHUDQGWKH6$5&DQG6+$539$ ZLOOUHPDLQLQIRUPHGRIWKHLQYHVWLJDWLRQWKURXJKWKHFKDLQRI
   FRPPDQGLIGHVLUHG
        E 7KH6$5&DQG6+$539$ZLOOZRUNZLWKWKHUHSRUWHUPDNLQJDYDLODEOHDOWHUQDWLYHPHDQVIRUWKHUHSRUWHUWR
   UHVROYHWKHUHWDOLDWLRQDOOHJDWLRQV
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      :KHUHYHUDSSURSULDWHDQGGHVLUHGWKH6$5&DQG6+$539$PD\DVVLVWZLWKFRRUGLQDWLQJUHVROXWLRQDWWKH
   ORZHVWDSSURSULDWHOHYHO
      6$5&VDQG6+$539$VPD\UHTXHVWWKHDVVLVWDQFHRIWKHOHDG6$5&ZKHQQHHGHGWRVHUYHDVDUHVRXUFHDQG
   FRRUGLQDWHZLWKFRPPDQGDQG69&RU6-$WRDGGUHVVOHJDOTXHVWLRQVIURP6$5&V
        F ,IDVH[XDODVVDXOWYLFWLPUHSRUWVUHWDOLDWLRQWKURXJKWKH'R'+RWOLQHRUWKH$UP\,*WKHUHSRUWZLOOEHVHQWWR
   WKH'R',*7KH'R',*ZLOOWKHQUHYLHZWKHFDVHWRGHWHUPLQHLILWZLOOEHWKHLQYHVWLJDWLYHHQWLW\,IWKH'R',*
   GHFLGHVWRFRQGXFWWKHLQYHVWLJDWLRQLWZLOOQRWLI\WKHUHWDOLDWLRQUHSRUWHUDQGWKH$UP\,*RIWKHLQYHVWLJDWLRQ
        G 7KHOHDG6$5&ZLOOQRWLI\WKHDSSURSULDWHOHYHORIFRPPDQGRIWKHUHWDOLDWLRQUHSRUWDVVRRQDVSRVVLEOH LIWKH
   UHWDOLDWLRQ UHSRUW LV DJDLQVW WKH LPPHGLDWH FRPPDQGHU RU ILUVWOLQH VXSHUYLVRU WKH QH[W OHYHO RI FRPPDQG ZLOO EH
   QRWLILHG ,IWKH6$5&KDVFRQFHUQVDERXWYLRODWLQJSULYLOHJHGFRPPXQLFDWLRQVWKH6$5&ZLOOFRQVXOWZLWKWKHVHU
   YLFLQJ6-$RIILFHSULRUWRQRWLI\LQJFRPPDQG
        H 7KHOHDG6$5&ZLOOPDNHHYHU\HIIRUWWRSURYLGHXSGDWHVWRFRPPDQGHUVZKRVHSHUVRQQHODUHLQYROYHGLQD
   UHWDOLDWLRQUHSRUW
        I 7KHFRPPDQGHU V RIWKH6ROGLHUZKRLVDVXEMHFWRIDUHWDOLDWLRQUHSRUWZLOOSURYLGHLQZULWLQJDFDVHVWDWXV
   DQGDOOGLVSRVLWLRQGDWDWRLQFOXGHDQ\DGPLQLVWUDWLYHRUMXGLFLDODFWLRQWDNHQVWHPPLQJIURPDUHWDOLDWLRQLQYHVWLJD
   WLRQWRWKHOHDG6$5&
      E,IWKHVH[XDODVVDXOWYLFWLP RUXQLIRUPHGZLWQHVVHVE\VWDQGHUVDQGILUVWUHVSRQGHUVLQYROYHGLQDVH[XDODVVDXOW
   UHSRUW UHSRUWVDUHWDOLDWRU\DFWLRQEHFDXVHWKH\DUH ZHUH EHLQJSURFHVVHGIRUDGPLQLVWUDWLYHVHSDUDWLRQZLWKLQ\HDU
   RI WKH ILQDO GLVSRVLWLRQ RI WKH YLFWLP¶V VH[XDO DVVDXOW FDVH WKHQ WKDW 6ROGLHU ZKR LV EHLQJ SURFHVVHG RU KDV EHHQ
   SURFHVVHG IRUDGPLQLVWUDWLYHVHSDUDWLRQPD\UHTXHVWWKDWWKHDSSURSULDWH*2LQWKHLUFKDLQRIFRPPDQGUHYLHZWKH
   VHSDUDWLRQ6$5&VDQG6+$539$VZLOOQRWLI\WKHVHSHUVRQQHORIWKLVSROLF\SURYLVLRQ
      F6H[XDODVVDXOWYLFWLPVXQLIRUPHGZLWQHVVHVE\VWDQGHUVDQGILUVWUHVSRQGHUVLQYROYHGLQDVH[XDODVVDXOWUHSRUW
   KDYHWKHULJKWWRGLVFXVVWKHFDUHHULPSDFWVZLWKD*2LIWKH\EHOLHYHWKHUHZHUHRWKHULPSDFWVWRWKHLUPLOLWDU\FDUHHU
   EHFDXVHWKH\UHSRUWHGUHWDOLDWLRQ

   +±6H[XDOKDUDVVPHQW
   7KHIROORZLQJSURFHGXUHVRXWOLQHZKDW6+$53SURIHVVLRQDOVZLOOGRWRUHVSRQGWRDUHSRUWRIUHWDOLDWRU\EHKDYLRU
   IURPDXQLIRUPHGVH[XDOKDUDVVPHQWFRPSODLQDQWRUDXQLIRUPHGZLWQHVVE\VWDQGHURUILUVWUHVSRQGHUWRDVH[XDO
   KDUDVVPHQW
      D,IWKHLQGLYLGXDOFRPHVWRD6+$53SURIHVVLRQDOWRVSHDNDERXWUHWDOLDWLRQWKH6+$53SURIHVVLRQDOZLOOFRRU
   GLQDWHZLWKDEULJDGH6$5&7KHEULJDGH6$5&ZLOO²
        'LVFXVVZKDWWKHLQGLYLGXDOLVH[SHULHQFLQJFRQFHUQLQJSHUFHLYHGUHWDOLDWLRQ
        ([SODLQWKHW\SHVRIUHWDOLDWLRQDQGLQYHVWLJDWLYHHQWLWLHV IRUH[DPSOH,*ODZHQIRUFHPHQW86$&,'&DQG
   FRPPDQG DQGSURYLGHDQLQIRUPDWLRQDOVKHHW
        ([SODLQWKDWWKHLQGLYLGXDOFDQJRWRDQ,*DWDQ\WLPHGXULQJWKHSURFHVV9LVLWVWRWKH,*PD\UDQJHIURP
   FRQVXOWDWLRQWRILOLQJDFRPSODLQW
        2IIHU VXSSRUW WKURXJKRXW WKH SURFHVV WR LQFOXGH SURYLGLQJ UHIHUUDOV IRU H[DPSOH OHJDO DVVLVWDQFH IRU OHJDO
   DGYLFHEHKDYLRUDOKHDOWK DQGDFFRPSDQ\LQJWKHLQGLYLGXDOWRPHHWLQJVZLWKFRPPDQGLQYHVWLJDWRUVDQGRWKHUILUVW
   UHVSRQGHUSHUVRQQHOLIUHTXHVWHG
        :ULWHD0HPRUDQGXPIRU5HFRUGWRUHFRUGGDWHRIGLVFXVVLRQDQ\UHIHUUDOVJLYHQDQGWKHSRLQWRIFRQWDFW
   DVVRFLDWHGZLWKWKHUHIHUUDO WKLVSURFHGXUHLVRSWLRQDO 
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   RUWKHLQYHVWLJDWLYHHQWLW\GLVFXVVHVWKHUHSRUWDWWKH6$5%
        'LVFXVVZLWKWKHLQGLYLGXDOWKHRSWLRQVWRFRQVXOWZLWKDQ,*RUDOHJDODVVLVWDQFHDWWRUQH\FRQFHUQLQJUHWDOLDWRU\
   EHKDYLRUUHSRUWLQJRSWLRQVDQGWKHLQYHVWLJDWLYHDQGPLOLWDU\MXVWLFHSURFHVVHVDVDSSURSULDWHDQGSULRUWRHQJDJLQJ
   DQLQYHVWLJDWLYHHQWLW\RUVHHNLQJDOWHUQDWLYHPHDQVIRUUHVROYLQJWKHUHWDOLDWRU\EHKDYLRUUHSRUW



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   DOHJDODVVLVWDQFHDWWRUQH\ LIWKHLQGLYLGXDOHOHFWHGWRVSHDNZLWKDOHJDODVVLVWDQFHDWWRUQH\ RULIWKHLQGLYLGXDOZDQWV
   WKHDOOHJDWLRQWREHGLVFXVVHGDW6$5%LQVWHDGRIJRLQJGLUHFWO\WRDQLQYHVWLJDWLYHHQWLW\
       E5HFHLYHQRWLILFDWLRQRIWKHUHSRUWIURPWKHOHDG6$5&DQGUHFRUGWKHUHSRUWLQWKHUHWDOLDWLRQGDWDFDOOVRURSHQ
   DUHSRUWLQ,&56
         6$5%GLVFXVVLRQRIUHWDOLDWLRQUHSRUWV²
         7KHOHDG6$5&ZLOOFRRUGLQDWHZLWKWKHEULJDGH6$5&WKHLQGLYLGXDOLVVHHNLQJOHJDODVVLVWDQFHDQGRULIWKHUH
   LVDUHWDOLDWLRQUHSRUWWRGLVFXVVDWWKH6$5%
         7KHOHDG6$5&ZLOOSURYLGHWKHVHUYLFLQJ6-$RIILFHZLWKLQIRUPDWLRQRQUHWDOLDWLRQUHSRUWVWREHGLVFXVVHGDW
   WKH6$5%WRUHYLHZDQ\FRQFHUQVUHJDUGLQJSULYLOHJHGFRPPXQLFDWLRQV
         $WWHQGHHVZLOOGLVFXVVWKHUHWDOLDWLRQUHSRUWVXQOHVVWKHGLVFXVVLRQZLOOFRPSURPLVHWKHLQWHJULW\RIWKHLQYHV
   WLJDWLRQE\86$&,'&RURWKHUODZHQIRUFHPHQWDJHQF\RUFRPSURPLVHSULYLOHJHGFRPPXQLFDWLRQVSHU6-$GHWHU
   PLQDWLRQ
         &DVHVXQGHUWKHMXULVGLFWLRQRI,*ZLOOQRWEHSUHVHQWHGGLVFXVVHGRUWUDFNHGDWWKH6$5%
         $IWHUGLVFXVVLRQRIWKHUHWDOLDWLRQUHSRUWDWWKH6$5%WKHFKDLUZLOOSURYLGHUHIHUUDOVWRWKHDSSURSULDWHLQYHV
   WLJDWLYHHQWLWLHVIRUDFWLRQLQFOXGLQJODZHQIRUFHPHQWDJHQF\$UP\,*'R',*'R'+RWOLQHRUDVXERUGLQDWHFRP
   PDQGHUDVDSSURSULDWH
         7KHEULJDGH6$5&LQFRRUGLQDWLRQZLWKWKHOHDG6$5&DQGRUVHUYLFLQJOHJDODVVLVWDQFHSHUVRQQHOZLOOSUR
   YLGHXSGDWHVWRWKHUHSRUWLQJLQGLYLGXDO
       F5HVROYLQJDUHWDOLDWLRQUHSRUW²
         7KHOHDG6$5&XSRQEHLQJLQIRUPHGE\WKHEULJDGH6$5&ZLOOLQIRUPWKHUHWDOLDWLRQUHSRUWHU¶VFRPPDQGHU
   LIWKHUHSRUWHUZLVKHVWRSXUVXHDFWLRQUHODWLQJWRUHSRUWHGFRQGXFWWKDWGRHVQRWIDOOXQGHUWKHMXULVGLFWLRQRIWKH,*RU
   0&,2$OOHJDWLRQVRIUHVWULFWLRQRUUHSULVDOIDOOZLWKLQWKHMXULVGLFWLRQRIWKH,*LQDFFRUGDQFHZLWK86&
   DQGDVVXFKDQLQYHVWLJDWLYHGHWHUPLQDWLRQZLOOEHPDGHE\WKH,*'HSHQGLQJRQWKHIDFWVRIWKHFDVHRVWUDFLVP
   PDOWUHDWPHQWRURWKHUUHWDOLDWRU\EHKDYLRUPD\IDOOZLWKLQWKHMXULVGLFWLRQRIWKH,*LIIRUH[DPSOHLWLVGHWHUPLQHG
   WKDWWKH\DUHLQH[WULFDEO\OLQNHGWRUHVWULFWLRQRUUHSULVDO
        D 7KHFRPPDQGHUZLOOWKHQGHFLGHZKHWKHUWRUHIHUWKHUHSRUWIRULQYHVWLJDWLRQE\ODZHQIRUFHPHQWRUVHHNUHV
   ROXWLRQWKURXJKRWKHUDSSURSULDWHLQYHVWLJDWLYHPHDQV IRUH[DPSOH$5 ± LQYHVWLJDWLRQ 
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        E :KHQUHIHUUHGWRFRPPDQGIRULQYHVWLJDWLRQDQLQGLYLGXDOLQGHSHQGHQWRIWKHRULJLQDWLQJXQLWRURUJDQL]DWLRQ
   RIWKHUHSRUWHGUHWDOLDWLRQZLOOLQYHVWLJDWHWKHUHWDOLDWLRQUHSRUWVUHIHUUHGWRWKHFRPPDQG
         7KHFKDLQRIFRPPDQGZLOOHQVXUHWKDWWKHOHDG6$5&DQGWKHEULJDGH6$5&DOOUHPDLQLQIRUPHGWKURXJKRXW
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        D /HJDODVVLVWDQFHSHUVRQQHODUHDYDLODEOHWRKHOSWKHUHWDOLDWLRQUHSRUWHULQDYDULHW\RIZD\VVXFKDVFRPPXQL
   FDWLQJZLWKWKHUHSRUWHGUHWDOLDWRUYHUEDOO\RULQZULWLQJWRDGGUHVVUHSRUWHUFRQFHUQVUHTXHVWLQJLQWHUYHQWLRQIURPD
   FRZRUNHUXWLOL]LQJWKHUHSRUWHU¶VFKDLQRIFRPPDQGRURWKHUPHDQVRIDFWLRQ
        E :KHUHYHUDSSURSULDWHDQGGHVLUHGWKHEULJDGH6$5& PD\DVVLVW ZLWKFRRUGLQDWLQJ UHVROXWLRQDWWKH ORZHVW
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         %ULJDGH6$5&VPD\UHTXHVWWKHDVVLVWDQFHRIWKHOHDG6$5&WRVHUYHDVDUHVRXUFHDQGFRRUGLQDWHZLWKFRP
   PDQGDQGOHJDODVVLVWDQFHDWWRUQH\VRU6-$WRDGGUHVVOHJDOTXHVWLRQVIURP6$5&V
         7KHOHDG6$5&ZLOOQRWLI\WKHDSSURSULDWHOHYHORIFRPPDQGRIWKHUHWDOLDWLRQUHSRUWDVVRRQDVSRVVLEOH,IWKH
   UHWDOLDWLRQUHSRUWLVDJDLQVWWKHLPPHGLDWHFRPPDQGHURUILUVWOLQHVXSHUYLVRUWKHQWKHQH[WOHYHORIFRPPDQGZLOOEH
   QRWLILHGDQGDVVXPHUHVSRQVLELOLW\IRUWKHFDVH
         7KHOHDG6$5&LQFRRUGLQDWLRQZLWKWKHEULJDGH6$5&ZLOOPDNHHYHU\HIIRUWWRSURYLGHXSGDWHVWRFRP
   PDQGHUVZKRVHSHUVRQQHODUHLQYROYHGLQDUHWDOLDWLRQUHSRUWDQGRUUHWDOLDWLRQLQYHVWLJDWLRQ
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   DOOGLVSRVLWLRQGDWDWRLQFOXGHDQ\DGPLQLVWUDWLYHRUMXGLFLDODFWLRQWDNHQVWHPPLQJIURPDUHWDOLDWLRQLQYHVWLJDWLRQ
   WRWKHOHDG6$5&,IWKH6$5&KDVFRQFHUQVDERXWYLRODWLQJSULYLOHJHGFRPPXQLFDWLRQVWKH6$5&ZLOOFRQVXOWZLWK
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   VHQWWRWKH'R',*7KH'R',*ZLOOWKHQUHYLHZWKHFDVHWRGHWHUPLQHLILWZLOOEHWKHLQYHVWLJDWLYHHQWLW\,IWKH'R'
   ,*GHFLGHVWRFRQGXFWWKHLQYHVWLJDWLRQLWZLOOQRWLI\WKHUHWDOLDWLRQUHSRUWHUDQGWKH$UP\,*RIWKHLQYHVWLJDWLRQ
         6ROGLHUV ZKR UHSRUW UHWDOLDWLRQ DVVRFLDWHG ZLWK ILOLQJ D VH[XDO KDUDVVPHQW FRPSODLQW RU EHLQJ D XQLIRUPHG
   ZLWQHVVE\VWDQGHURUILUVWUHVSRQGHUUHODWHGWRWKHVH[XDOKDUDVVPHQWFRPSODLQWZLOOEHDIIRUGHGWKHRSSRUWXQLW\WR
   FRPPXQLFDWHZLWKD*2LQWKHLUFKDLQRIFRPPDQGUHJDUGLQJFDUHHUUHODWHGLPSDFWVDQGDGPLQLVWUDWLYHVHSDUDWLRQ



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   DFWLRQVWKH\SHUFHLYHWREHDVVRFLDWHGZLWKWKHFRPSODLQWRULQYROYHPHQWLQWKHLQFLGHQW6$5&VDQG6+$539$V
   ZLOOQRWLI\6ROGLHUFRPSODLQDQWVRIVH[XDOKDUDVVPHQWDVZHOODVXQLIRUPHGZLWQHVVHVE\VWDQGHUVDQGILUVWUHVSRQGHUV
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   (&DQG)³5HWDOLDWLRQ5HVSRQVH3URFHGXUHV´RIWKH'R'5HWDOLDWLRQ3UHYHQWLRQDQG5HVSRQVH6WUDWHJ\,PSOHPHQ
   WDWLRQ3ODQZLOOEHLQFRUSRUDWHGLQWRH[LVWLQJWUDLQLQJDVSUDFWLFDEOH
      E5HWDOLDWLRQGDWDZLOOEHLQFOXGHGLQWKHUHVSRQVHVWRWKH'&6* ± $5'DQGWKH0 5$(TXLW\DQG,QFOXVLRQ
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   SRLQWWKH'6$,',&56(256UHWDOLDWLRQPRGXOH V ZLOOEHXWLOL]HG
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   RU'58VPD\EHDVNHGWRSURYLGHLQIRUPDWLRQWRVXSSRUWWKHVHPHWULFV7KHDFFRXQWRIWKHVHPHWULFVZLOODSSHDULQ
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   ,±*HQHUDO
   6ROGLHUVZKRILOHXQUHVWULFWHGVH[XDODVVDXOWUHSRUWVPD\UHTXHVWDQH[SHGLWHGWUDQVIHU7KHLQWHQWEHKLQGWKH([SHGLWHG
   7UDQVIHUSROLF\LVWRDGGUHVVVLWXDWLRQVZKHUHDYLFWLPIHHOVVDIHEXWXQFRPIRUWDEOH$QH[DPSOHRIZKHUHDYLFWLP
   IHHOVXQFRPIRUWDEOHLVZKHUHDYLFWLPPD\EHH[SHULHQFLQJRVWUDFLVPDQGRUUHWDOLDWLRQ7KHLQWHQWEHKLQGWKH([SH
   GLWHG7UDQVIHUSROLF\LVWRDVVLVWLQWKHYLFWLP¶VUHFRYHU\E\PRYLQJWKHYLFWLPWRDQHZORFDWLRQZKHUHQRRQHNQRZV
   RIWKHVH[XDODVVDXOW

   ,±*XLGHOLQHV
      D,WLV$UP\SROLF\WKDWWKHUHLVDSUHVXPSWLRQLQIDYRURIWUDQVIHUULQJRUUHDVVLJQLQJDVH[XDODVVDXOWYLFWLPDWKLV
   RUKHUUHTXHVWIROORZLQJWKDWYLFWLP¶VFUHGLEOHUHSRUWRIVH[XDODVVDXOW&RPPDQGHUVDQG'$&LYLOLDQOHDGHUVZLOO
   FRQVLGHUUHTXHVWVIRUWUDQVIHURUUHDVVLJQPHQWLQDQH[SHGLWHGPDQQHU
      E6ROGLHUVZKRILOHDQXQUHVWULFWHGUHSRUWRIVH[XDODVVDXOWZLOOEHLQIRUPHGE\WKH6$5&6+$539$95RU
   WKHFRPPDQGHURU'$&LYLOLDQVXSHUYLVRUHTXLYDOHQW LIDSSOLFDEOH DWWKHWLPHRIPDNLQJWKHUHSRUWRUDVVRRQDV
   SUDFWLFDEOHRIWKHRSWLRQWRUHTXHVWDQH[SHGLWHGWUDQVIHUIURPWKHLUDVVLJQHGFRPPDQGRULQVWDOODWLRQRUWRDGLIIHUHQW
   ORFDWLRQZLWKLQWKHLUDVVLJQHGFRPPDQGRULQVWDOODWLRQ7KH6ROGLHUPD\DOVRUHTXHVWDQDVVLJQPHQWGHOHWLRQZKHQWKH
   UHSRUWHGRIIHQGHULVDVVLJQHGRULQERXQGWRWKH6ROGLHU¶VJDLQLQJORFDWLRQ
      F)RUDQ\QXPEHURIUHDVRQVYLFWLPVPD\QRWZLVKWRUHPDLQLQWKHLUFXUUHQWXQLWVRURUJDQL]DWLRQVDIWHUDVH[XDO
   DVVDXOW5HTXLULQJWKHPWRUHPDLQZKHQWKH\KDYHDGHVLUHWROHDYHWKHXQLWRURUJDQL]DWLRQFDQQHJDWLYHO\DIIHFWWKHLU
   VDIHW\DQGHPRWLRQDOZHOOEHLQJDVZHOODVWKHIXQFWLRQLQJRIWKHXQLWRURUJDQL]DWLRQ([SHGLWLQJUHYLHZDQGDFWLRQ
   RQDYLFWLP¶VUHTXHVWIRUWUDQVIHURUUHDVVLJQPHQWLVDQLPSRUWDQWFRPSRQHQWRIDOHDGHU¶VUHVSRQVHWRDFUHGLEOHUHSRUW
   RIVH[XDODVVDXOW
      G)RUWKHSXUSRVHVRIWKLVSROLF\DUHSRUWRIVH[XDODVVDXOWLVFUHGLEOHZKHQWKHEDWWDOLRQFRPPDQGHURUDERYH
   DIWHUFRQVLGHULQJDOODYDLODEOHHYLGHQFHIURP86$&,'&RURWKHULQYHVWLJDWLYHDJHQF\DQGWKHDGYLFHRIWKHVHUYLFLQJ
   OHJDORIILFHFRQFOXGHVWKDWWKHUHDUHUHDVRQDEOHJURXQGVWREHOLHYHWKDWDQRIIHQVHFRQVWLWXWLQJVH[XDODVVDXOWKDVEHHQ
   FRPPLWWHGDJDLQVWWKHSHUVRQUHTXHVWLQJWKHWUDQVIHURUUHDVVLJQPHQW)RUSXUSRVHVRIWKLVSROLF\DFUHGLEOHUHSRUWLV
   OLPLWHGWRUHSRUWVRIFULPHVEHLQJLQYHVWLJDWHGE\86$&,'&RWKHU0&,2RURWKHULQYHVWLJDWLYHDJHQFLHV
      H5HTXHVWVIRUDWUDQVIHURUUHDVVLJQPHQWZLOOEHVXEPLWWHGLQZULWLQJRQD'$)RUPDQGSURFHVVHGXVLQJ
   WKHSURFHGXUHLQ$5 ± DQG$5 ± 
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      I,QPDNLQJDGHFLVLRQRQDYLFWLP¶VUHTXHVWWKHFRPPDQGHUZLOOVWDUWZLWKDSUHVXPSWLRQLQIDYRURIWUDQVIHUULQJ
   RUUHDVVLJQLQJWKHYLFWLP$WUDQVIHURUUHDVVLJQPHQWLQFOXGHVEXWLVQRWOLPLWHGWRWKHYLFWLP¶VWHPSRUDU\RUSHUPD
   QHQWPRYHPHQWWRDXQLWZLWKLQWKHVDPHEDWWDOLRQRUEULJDGHWRDXQLWZLWKLQWKHVDPHGLYLVLRQWRDXQLWRQWKHVDPH
   LQVWDOODWLRQRUWRDXQLWDWDGLIIHUHQWJHRJUDSKLFORFDWLRQ)RU5&PHPEHUVDWUDQVIHURUUHDVVLJQPHQWPLJKWLQFOXGH
   SURYLVLRQVWRSHUIRUPLQDFWLYHGXW\WUDLQLQJ RQGLIIHUHQWZHHNHQGVRUDWGLIIHUHQWWLPHVIURPWKHVXEMHFWRUZLWKD
   GLIIHUHQWXQLWLQWKHKRPHGULOOLQJORFDWLRQ
      J6ROGLHUVUHTXHVWLQJWKHWUDQVIHUZLOOEHLQIRUPHGWKDWWKH\PD\KDYHWRUHWXUQIRUWKHSURVHFXWLRQRIWKHFDVHLI
   WKHGHWHUPLQDWLRQLVPDGHWKDWSURVHFXWLRQLVWKHDSSURSULDWHDFWLRQ
      K:KHQDQH[SHGLWHGWUDQVIHULVDSSURYHGQRWLILFDWLRQIURPWKHORVLQJFRPPDQGHU WKDWLVQRORZHUWKDQDEULJDGH
   FRPPDQGHU DWDPLQLPXPDQ2 ±  WRWKHJDLQLQJFRPPDQGHU WKDWLVQRORZHUWKDQD EULJDGHFRPPDQGHU DWD
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   PLQLPXPDQ2 ±  ZLOOGHSHQGRQZKHWKHUWKHUHLVDQRSHQFDVHDQGWKHFRQWLQXDWLRQRIVHUYLFHV,IWKHUHLVQHLWKHU
                       




   DQRSHQFDVHQRUDFRQWLQXDWLRQRIVHUYLFHVUHTXLUHPHQWQRRWKHUDFWLRQLVQHHGHG,IWKHUHLVDQRSHQFDVHRUVHUYLFHV
   DUHUHTXHVWHGWKHQQRWLILFDWLRQWRWKHJDLQLQJFRPPDQGHU WKDWLVQRORZHUWKDQDEULJDGHFRPPDQGHU DWDPLQLPXP
   DQ2±  ZLOORFFXUWRIDFLOLWDWHWKHLQYHVWLJDWLRQDQGRUDFFHVVWRVHUYLFHVDVDSSOLFDEOH7KLVSURFHGXUHDSSOLHVWR
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   DQ\VH[XDODVVDXOWYLFWLPPRYH IRUH[DPSOH3&6HLWKHURQRUEHIRUHWKH6ROGLHU¶VQRUPDOURWDWLRQGDWH7'<LQVLGH
   RURXWRIORFDODUHDFRPSDVVLRQDWHUHDVVLJQPHQW 
        :KHQ DQ H[SHGLWHG WUDQVIHU LV DSSURYHG WKH ORVLQJ FRPPDQGHU ZLOO LQIRUP WKH JDLQLQJ FRPPDQGHU RI WKH
   VH[XDODVVDXOWZKHQRQHRIWKHIROORZLQJDSSOLHV
       D $FWLYHFULPLQDOLQYHVWLJDWLRQ
       E $FWLYHOHJDOSURFHHGLQJ
       F 2QJRLQJYLFWLPKHDOWKFDUH PHGLFDORUPHQWDOKHDOWK QHHGVWKDWDUHGLUHFWO\UHODWHGWRWKHVH[XDODVVDXOW
       G 2QJRLQJPRQWKO\6$5%RYHUVLJKWLQYROYLQJWKHYLFWLP
       H $FWLYH6+$53YLFWLPVXSSRUWVHUYLFHV




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         :KHQDQH[SHGLWHGWUDQVIHULVDSSURYHGWKHORVLQJFRPPDQGHU WKDWLVQRORZHUWKDQDEULJDGHFRPPDQGHU DW
    DPLQLPXPDQ2 ±  ZLOOLQIRUPWKHJDLQLQJFRPPDQGHURIWKHLQERXQGH[SHGLWHGWUDQVIHULIDQ\RIWKHDIRUHPHQ
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    WLRQHGFLUFXPVWDQFHVDUHRFFXUULQJ7KHORVLQJFRPPDQGHUZLOOOLPLWWKHLQIRUPDWLRQJLYHQWRREMHFWLYHIDFWVDERXW
    YLFWLPFDUHSURYLGHGVWDWXVRIRSHQLQYHVWLJDWLRQVDQGWKHVWDWXVRIRQJRLQJOHJDOSURFHHGLQJVLQRUGHUWRSURYLGHWKH
    JDLQLQJFRPPDQGHUZLWKVRPHFRQWH[WIRUYLFWLPEHKDYLRUDQGWRIDFLOLWDWHWKHYLFWLP¶VDFFHVVWRDGYRFDF\KHDOWKFDUH
    86$&,'&DQGOHJDOFRXQVHO
         6+$53FDVHGRFXPHQWVZLOOQRWEHWUDQVIHUUHGWRWKHJDLQLQJ6$5&ZLWKRXWWKHYLFWLP¶VFRQVHQW
         7KHUHFHLYLQJFRPPDQGHUZLOODGRSWSURFHVVHVWRDVVXUHVWULFWFRQILGHQWLDOLW\2QO\WKHLPPHGLDWHFRPPDQGHU
    RI WKH YLFWLP ZLOO EH QRWLILHG 7KH LPPHGLDWH FRPPDQGHU PD\ VKDUH WKH QRWLILFDWLRQ ZLWK WKH VHQLRU HQOLVWHG
      6*&60 DGYLVRULIGHHPHGQHFHVVDU\WRVXSSRUWWKHYLFWLP$OOLQIRUPDWLRQZLOOEHNHSWFRQILGHQWLDOWRWKHH[WHQW
    DXWKRUL]HG E\ ODZ $GGLWLRQDO SHUVRQQHO ZLOO EH QRWLILHG E\ WKH FRPPDQGHU RQO\ LI WKH\ KDYH GLUHFW LQSXW WR WKH
    PRQWKO\6$5%PHHWLQJ(YHU\DWWHPSWZLOOEHPDGHWROLPLWDFFHVVWRWKHLQIRUPDWLRQUHODWHGWRH[SHGLWHGWUDQVIHUV
         ([SHGLWHGWUDQVIHUSURFHGXUHVIRU86$5PD\DOORZIRUVHSDUDWHWUDLQLQJRQGLIIHUHQWZHHNHQGVRUWLPHVIURP
    WKHVXEMHFWRUZLWKDGLIIHUHQWXQLWLQWKHKRPHGULOOLQJORFDWLRQWRHQVXUHXQGXHEXUGHQLVQRWSODFHGRQWKH6ROGLHURU
    WKHLU)DPLO\E\WKHWUDQVIHU3RWHQWLDOWUDQVIHURIWKHUHSRUWHGRIIHQGHULQVWHDGRIWKH6ROGLHUVKRXOGDOVREHFRQVLGHUHG
    $WDPLQLPXPWKHUHSRUWHGRIIHQGHU¶VDFFHVVWRWKH6ROGLHUZKRPDGHWKHXQUHVWULFWHGUHSRUWZLOOEHFRQWUROOHGDV
    DSSURSULDWH
         (YHQLQWKRVHFRXUWPDUWLDOFDVHVLQZKLFKWKHVXEMHFWKDVEHHQDFTXLWWHGWKHVWDQGDUGIRUDSSURYLQJDQH[SH
    GLWHGWUDQVIHUVWLOOUHPDLQVZKHWKHUDFUHGLEOHUHSRUWKDVEHHQILOHG7KHFRPPDQGHUZLOOFRQVLGHUDOOWKHIDFWVDQG
    FLUFXPVWDQFHVVXUURXQGLQJWKHFDVHDQGWKHEDVLVIRUWKHWUDQVIHUUHTXHVW
         ,IDYLFWLPWUDQVIHUVWKHQSURFHVVHVLQWDEOH,± DSSO\
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  7DEOH, ±
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  9LFWLPWUDQVIHUSURFHVVHV ²&RQWLQXHG
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  ,I                                                                  7KHQ
  ²7KHYLFWLPGRHVQRWVHHNFRQWLQXHGVHUYLFHVRID6$5&RU           ²7KH6$5%UHVSRQVLELOLW\UHPDLQVZLWKWKHRULJLQDOLQVWDOODWLRQ¶V
  6+$539$95DWWKHQHZORFDWLRQDQG                                6$5%FKDLU
  ²7KHLQYHVWLJDWLRQRUOHJDOSURFHHGLQJLVRQJRLQJDWWKHRULJLQDO   ²7KHYLFWLPZLOOEHDVNHGLIWKH\ZRXOGOLNHWRUHFHLYHWKH
  LQVWDOODWLRQ                                                       PRQWKO\XSGDWHIURPWKH6$5%PHHWLQJV
                                                                       ²,IWKHYLFWLPZDQWVWKH6$5%XSGDWHVWKHQWKHYLFWLP¶VQHZ
                                                                       FRPPDQGHUZLOOSDUWLFLSDWHLQSHUVRQRUFDOOLQWRWKH6$5%PHHW
                                                                       LQJVDQGWKLVFDOOLQZLOOEHGRFXPHQWHGLQWKHPLQXWHVRIWKH
                                                                       6$5%
                                                                       ²7KHQHZFRPPDQGHUZLOOSURYLGHWKHYLFWLPDPRQWKO\XSGDWH
                                                                       RIKHURUKLVFDVHZLWKLQKRXUVRIWKHODVW6$5%
  ²7KHYLFWLPGRHVVHHN6+$539$95VHUYLFHVDWWKHQHZORFD          ²7KHDGYRFDF\UHVSRQVLELOLW\WUDQVIHUVWRWKHUHFHLYLQJ6$5&DW
  WLRQ                                                               WKHYLFWLP¶VQHZLQVWDOODWLRQ LIWKHYLFWLPFRQVHQWVWRVHHN
                                                                       6+$53VHUYLFHVDWQHZORFDWLRQ DQGWKHQWKH6$5%UHVSRQVL
                                                                       ELOLW\PD\WUDQVIHUWRWKHQHZORFDWLRQ
                                                                       ²,IWKH6$5%GRHVWUDQVIHUWRWKHORFDWLRQRIWKHYLFWLPWKHQ
                                                                       86$&,'&DWWKHRULJLQDOLQVWDOODWLRQ LIWKHUHLVDQRQJRLQJLQYHV
                                                                       WLJDWLRQ DQGWKHOHJDORIILFHUDWWKHRULJLQDOLQVWDOODWLRQ LIWKHUH
                                                                       DUHRQJRLQJOHJDOSURFHHGLQJV DUHUHTXLUHGWRFDOOLQWRWKH
                                                                       6$5%7KLV86$&,'&DQGOHJDORIILFHUFDOOLQZLOOEHGRFXPHQWHG
                                                                       LQWKH6$5%QRWHV
                                                                       ²7KH6$5&DWWKHQHZORFDWLRQZLOOFDOOLQWRWKH6$5%PHHWLQJ
  ²7KHYLFWLPVHHNV6+$539 $  9 5  VHUYLFHVDWWKHQHZORFDWLRQ
                                                                       DWWKHRULJLQDOORFDWLRQWRUHSRUWRQYLFWLPVHUYLFHVDQGDQ\VDIHW\
  DQG
                                                                       RUUHWDOLDWLRQUHODWHGLVVXHV7KLV6$5&FDOOLQZLOOEHGRFXPHQWHG
  ²7KHFRPPDQGHUGHWHUPLQHVWKDWWKH6$5%VKRXOGVWD\DWWKH
                                                                       LQWKH6$5%QRWHV
  RULJLQDOLQVWDOODWLRQ
                                                                       ²7KHYLFWLP¶VQHZFRPPDQGHUZLOODOVRFDOOLQWRWKH6$5%PHHW
                                                                       LQJDQGZLOOSURYLGHWKHYLFWLPDPRQWKO\XSGDWHRIKHURUKLVFDVH
                                                                       ZLWKLQKRXUVRIWKHODVW6$5%
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   $SSHQGL[-
   6H[XDO+DUDVVPHQW$VVDXOW5HVSRQVHDQG3UHYHQWLRQ&RPPDQGHU¶V&ULWLFDO,QIRUPDWLRQ
   5HTXLUHPHQW V 
   6WDQGDUGL]HGSURFHVVIRU&&,5VUHJDUGLQJFRPSODLQWVRIVH[XDOKDUDVVPHQWDQGUHSRUWVRIVH[XDODVVDXOW

   -±5HSRUWLQJFDWHJRULHV
   $&20$6&&DQG'58RUJDQL]DWLRQVZLOOUHSRUWIRUPDOVH[XDOKDUDVVPHQWFRPSODLQWVDQGXQUHVWULFWHGUHSRUWVRI
   VH[XDODVVDXOWLQYROYLQJWKHIROORZLQJLQFLGHQWFDWHJRULHVWRWKH$2&DQG'&6* ±  '$3( ± 03(± 3& 3&&ZLWKLQ
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   KRXUVRIQRWLILFDWLRQ
      D&DWHJRU\6XEMHFWLVDFRPPDQGHU2 ±  3 DQGDERYH(±&60RUVHQLRU'$&LYLOLDQVXSHUYLVRU *6 ± 
                                                                                                                                 




   RU6(6 
      E&DWHJRU\6XEMHFWIDOOVZLWKLQRQHRIWKHIROORZLQJFDWHJRULHV
        6+$53SURIHVVLRQDOFXUUHQWO\VHUYLQJRUZLWKDQDFWLYH' ± 6$$&3FHUWLILFDWLRQ UHJDUGOHVVLIFXUUHQWO\VHUYLQJ
                                                                                   




   LQWKHSRVLWLRQ 
        6WDIIPHPEHURIWKH'&6* ± $5'RUFRPPDQG6+$53RIILFHVRUDQ\RQHZKRKDVDQDFWLYH' ± 6$$&3
                                                                                                                         




   FHUWLILFDWLRQ UHJDUGOHVVLIWKH\DUHVWLOOVHUYLQJLQWKHSRVLWLRQ 
        6SHFLDO9LFWLPV¶&RXQVHO6SHFLDO9LFWLPV¶3URVHFXWRU86$&,'&6H[XDO$VVDXOW,QYHVWLJDWRURU6SHFLDO9LF
   WLP:LWQHVV/LDLVRQ
        'ULOO6HUJHDQW$GYDQFHG,QGLYLGXDO7UDLQLQJ3ODWRRQ6HUJHDQW LQFOXGHGLQWKHPHPREXWSRVLWLRQQRORQJHU
   UHFRJQL]HG RU5HFUXLWHU
        &KDSODLQ
        6H[XDO$VVDXOW1XUVH([DPLQHUVDQG6H[XDO$VVDXOW0HGLFDO)RUHQVLF([DPLQHUV
      F&DWHJRU\&XULRXVFDVHVLQFOXGLQJEXWQRWOLPLWHGWRWKHIROORZLQJ
        0XOWLSOHUHSRUWVRULJLQDWLQJIURPDVLQJOHXQLWRURUJDQL]DWLRQZLWKLQDWLPHSHULRGGHILQHGE\DOHDG6$5&RU
   30WKDWZRXOGZDUUDQWLQIRUPLQJWKH$UP\* ± DQGRU$UP\6HQLRU/HDGHUV
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        $SDWWHUQRIUHSRUWVUHFRJQL]HGE\DOHDG6$5&RU30WKDWVXJJHVWVDVHULDORIIHQGHUDQGZRXOGZDUUDQWLQ
   IRUPLQJWKH$UP\* ± DQGRU$UP\6HQLRU/HDGHUV
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        ([WUHPHYLROHQFH YLFWLPUHTXLUHVKRVSLWDOL]DWLRQUREEHU\PXUGHU 
        2WKHUDEQRUPDOVLWXDWLRQVWKDWPD\ZDUUDQWLQIRUPLQJWKH'&6* ± DQGRU$UP\VHQLRUOHDGHUV
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      G&DWHJRU\&DVHVH[SHFWHGWRDWWUDFWKLJKPHGLDRU&RQJUHVVLRQDODWWHQWLRQ

   -±6XEPLVVLRQRIFRPPDQGHU¶VFULWLFDOLQIRUPDWLRQUHTXLUHPHQW V 
   6XEPLW&&,5VLQWKHIROORZLQJIRUPDW
      D,QFLGHQWW\SH&DWHJRU\WKURXJK
      E:KR6XEMHFW V QDPH JUDGH RUUDQNJHQGHUXQLWRIDVVLJQPHQW DQGSRVLWLRQ9LFWLP V  JUDGH RUUDQNDQG
   JHQGHU2PLWRWKHU3,,RIWKHYLFWLPHYHQLILWLVSXEOLFNQRZOHGJHRUKDVEHHQUHSRUWHGLQWKHPHGLD,IWKHYLFWLP¶V
   JUDGHUDQNRUJHQGHUFRXOGSRVVLEO\LGHQWLI\WKHPRPLWWKDWLQIRUPDWLRQ
      F:KDW'HVFULSWLRQRIWKHLQFLGHQW )RUVH[XDODVVDXOWZKDWFULPH86$&,'&LVLQYHVWLJDWLQJGRQRWLQFOXGH
   VSHFLILFGHWDLOVRIWKHDVVDXOW)RUVH[XDOKDUDVVPHQWZKDWW\SHRIVH[XDOKDUDVVPHQW TXLGSURTXRKRVWLOHHQYLURQ
   PHQWDQGVRIRUWK GRQRWLQFOXGHVSHFLILFGHWDLOVRIWKHKDUDVVPHQW
      G:KHQ'DWHDQGWLPHRILQFLGHQWDQGRUUHSRUW
      H:KHUH/RFDWLRQRILQFLGHQWWRLQFOXGHHUHSRUWLQJLQVWDOODWLRQDQGZKHWKHUWKHLQFLGHQWRFFXUUHGRQRURIISRVW
      I$FWLRQVWDNHQ5HVSRQVHWRGDWH H[DPSOH86$&,'&LQYHVWLJDWLRQLQLWLDWHGZLWKFDVHQXPEHUDSSRLQWPHQWRI
   DQLQYHVWLJDWLQJRIILFHUVXVSHQVLRQRIDFRPPDQGHUUHYRFDWLRQRID6+$53SURIHVVLRQDO¶VDSSRLQWPHQWRUGHUV 
      J2WKHUIDFWRUV.QRZQRUH[SHFWHGPHGLDRULQWHUQDWLRQDOLQWHUHVWVDIHW\RIYLFWLPRUDQ\RWKHUSHUWLQHQWLQIRU
   PDWLRQUHJDUGLQJWKHYLFWLP¶VZHOOEHLQJ

   -±1RWLILFDWLRQSURFHVV
       D$&20$6&&DQG'58VVXEPLWLQLWLDO&&,5VWRWKH$2&DQG32&7KH$2&IRUZDUGVWKH&&,5WRWKH3&&
   LILWPHHWVRQHRIWKHIRXUFDWHJRULHVOLVWHGLQSDUDJUDSK.± 2FFDVLRQDOO\WKH3&&PD\UHFHLYHWKHLQLWLDO86$&,'&
                                                                           




   UHSRUWLQLWLDWLQJWKH&&,5SURFHVVDQGWKH6+$53&&,5237FRQVLVWLQJRI;2'$6;2$6$ 0 5$ ;2
   '&6*;2'&6* ± ;22&3$;22&//6+$53'LUHFWRU;227-$*&KLHI&ULPLQDO/DZ'LYL
                                   




   VLRQ27-$*$UP\3URYRVW0DUVKDODQG3&&&KLHI$&20$6&&'586+$5330VZLOOLPPHGLDWHO\QRWLI\WKH
   '&6*± $5'RIIRUWKFRPLQJ&&,5V
              




       E7KH3&&WKHQQRWLILHVWKH'&6* ± $5''LUHFWRU
                                                   




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                                                           $5±-XO\                                           
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        )RUFDWHJRU\LQFLGHQWVLQYROYLQJ6+$53SURIHVVLRQDOVWKH'&6* ± $5''LUHFWRUZLOO²
                                                                                                




       D 9DOLGDWHWKHLQGLYLGXDO¶VFHUWLILFDWLRQLQWKH' ± 6$$&39DOLGDWLRQZLOORFFXUVDPHGD\LIQRWLILFDWLRQRFFXUV
                                                                        




   GXULQJWKHGXW\GD\RUWKHQH[WEXVLQHVVGD\LIDIWHUGXW\KRXUV,IWKHLQGLYLGXDOLVQRW' ± 6$$&3FHUWLILHGYHULI\LI
                                                                                                        




   WKH\DUHFXUUHQWO\VHUYLQJDVD6+$53SURIHVVLRQDO
       E ,QIRUP WKH VXEMHFW¶V 30 LI QRW DOUHDG\ QRWLILHG $GYLVH WKH 30 RI WKH UHTXLUHPHQW WR VXEPLW D ' ± 6$$&3
                                                                                                                           




   VXVSHQVLRQRUUHYRFDWLRQPHPRWRWKH'&6*± $5''LUHFWRUZLWKLQKRXUV&RPPDQGHUVFDQVXVSHQGD6+$53
                                                        




   SURIHVVLRQDO¶V' ± 6$$&3FHUWLILFDWLRQLPPHGLDWHO\YLDYHUEDORUGHURIWKHFRPPDQGHU7KH30ZLOOFRQILUPWKDWWKH
                             




   LQGLYLGXDO¶V'± 6$$&3FDUGLVVHL]HGLPPHGLDWHO\
                     




       F ,PPHGLDWHO\VXVSHQGDFFHVVIRUVXEMHFWVZLWK'6$,'DQG,&56DFFRXQWV
        )RUDOOVH[XDODVVDXOWLQFLGHQWVLQYROYLQJ2FRPPDQGHUVDQGDERYHD6+$53SURIHVVLRQDOVWDIIPHPEHUDQG
   DOO&DWHJRU\DQGVH[XDODVVDXOWLQFLGHQWV²
       D 7KH3&&VXEPLWVWKH&&,5WRWKH1DWLRQDO0LOLWDU\&RPPDQG&HQWHU 10&& 1DWLRQDO-RLQW2SHUDWLRQV
   DQG,QWHOOLJHQFH&HQWHU 1-2,& 
       E 7KH10&&1-2,&WKHQQRWLILHV6$352WKH-RLQW6WDII7KH8QGHUVHFUHWDU\RI'HIHQVHIRU3HUVRQQHODQG
   5HDGLQHVVDQGWKH2IILFHRIWKH6HFUHWDU\RI'HIHQVH3XEOLF$IIDLUV
        7KH'&6*± $5''LUHFWRUQRWLILHVWKH'$6$ ± '/IRUDOOVH[XDODVVDXOWDQGVH[XDOKDUDVVPHQW&&,5LQFL
                                                                              




   GHQWV
        7KH'&6*± $5''LUHFWRUQRWLILHVWKH'R'6$352GLUHFWRURIDOOLQFLGHQWVWKDWPHHWWKH'R'6$35&&,5
                                         




   UHSRUWLQJJXLGHOLQHV7KLVLQFOXGHVDOOVH[XDODVVDXOWLQFLGHQWVLQYROYLQJ2 ± FRPPDQGHUVDQGDERYHD6+$53SUR
                                                                                        




   IHVVLRQDORU6+$53VWDIIPHPEHUDQGDOOFDWHJRU\DQGVH[XDODVVDXOWLQFLGHQWV
      F)ROORZXSUHSRUWLQJIRU&&,5VZLOOEHUHSRUWHGWKURXJK$&20V$6&&VDQG'58VWRWKH$2&DQG3&&
   5HSRUWVZLOOLQGLFDWHDFWLRQVFRQGXFWHGDVXPPDU\RIWKHILQGLQJVIURP86$&,'&DQGRU$5 ± LQYHVWLJDWLRQV
                                                                                                                   




    LIDYDLODEOHDQGUHOHDVDEOH DQGVWHSVWDNHQWRDVVLVWWKHFRPSODLQDQWYLFWLP LIDSSOLFDEOH 
      G,ID ZULWWHQH[WUDFWIURPORFDOSROLFHLQWHOOLJHQFHILOHVLVSURYLGHGWRDQDXWKRUL]HGDJHQF\RULQGLYLGXDOWKH
   IROORZLQJZLOOEHLQFOXGHGRQWKHWUDQVPLWWDOGRFXPHQWV³7KLVGRFXPHQWLVSURYLGHGIRULQIRUPDWLRQDQGXVH&RSLHV
   RIWKLVGRFXPHQWHQFORVXUHVWKHUHWRDQGLQIRUPDWLRQWKHUHIURPZLOOQRWEHIXUWKHUUHOHDVHGZLWKRXWWKHSULRUDSSURYDO
   RIWKHYLFWLPDQG2IILFHRIWKH3URYRVW0DUVKDO*HQHUDO´

   -±&ULVLVDFWLRQWHDP
   7KH'LUHFWRURIWKH$UP\6WDIIPD\FRQYHQHDFULVLVDFWLRQWHDPIRUFDWHJRU\&&,5VH[SHFWHGWRUHFHLYH&RQJUHV
   VLRQDORUKLJKPHGLDDWWHQWLRQ7KH$UP\'&6* ± $5''LUHFWRUZLOOZRUNZLWKWKHFRPPDQG3$2WKH'&6* ± 
                                                                                                                                  




   3$2DQGWKH2IILFHRIWKH&KLHI3XEOLF$IIDLUVWRGUDIWSXEOLFDIIDLUVJXLGDQFHDVQHHGHG
                                      




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                                                   $5±-XO\                                                   
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   $SSHQGL[.
   6H[XDO$VVDXOW,QFLGHQW5HVSRQVH2YHUVLJKW5HSRUW

   .±3XUSRVH
   7KH6$,52UHSRUWGHWDLOVWKHDFWLRQVWDNHQRULQSURJUHVVWRSURYLGHFDUHDQGVXSSRUWWRWKHYLFWLPHQVXUHVWKDWUHSRUWV
   DUHUHIHUUHGWRWKHDSSURSULDWHLQYHVWLJDWRU\DJHQFLHVDQGWRSURYLGHLQLWLDOQRWLILFDWLRQWRDSSURSULDWHFRPPDQGHUV
   7KH6$,52UHSRUWZLOOQRWGHOD\DFRPPDQGHU¶VLPPHGLDWHUHSRUWLQJWR86$&,'&RURSHUDWLRQDOUHSRUWLQJWKURXJK
   DSSURSULDWHFKDQQHOV

   .±5HSRUWUHTXLUHPHQWV
      D6$,52UHSRUWUHTXLUHPHQWV
        3UHSDUDWLRQ7KHEDWWDOLRQOHYHOFRPPDQGHUZLOOSUHSDUHWKH6$,52UHSRUWLQDFFRUGDQFHZLWKWKHJXLGDQFH
   LQWKLVDSSHQGL[ZLWKLQSXWIURPWKH6$5&DQG86$&,'&7KH6$,52UHSRUWZLOOIROORZWKHVHVWDQGDUGV
       D 7KH DVVLJQHGFRPPDQGHU ZLOOVXEPLWWKH6$,52UHSRUW ZLWKLQFDOHQGDUGD\VRIDQXQUHVWULFWHGUHSRUWRI
   VH[XDODVVDXOW$QXQUHVWULFWHGUHSRUWFDQEHHLWKHU DQXQUHVWULFWHGUHSRUWRIVH[XDODVVDXOWPDGHWRD6$5&6+$53
   9$RU95WKDWLVGRFXPHQWHGE\DVLJQHG'')RUPRU DQLQYHVWLJDWLRQLQLWLDWHGE\86$&,'&RU RWKHU
   0&,27KHGD\WLPHIUDPHEHJLQVRQFHWKH'')RUPLVVLJQHGRUWKHDVVLJQHGFRPPDQGHUUHFHLYHVDQRWLIL
   FDWLRQRIDQLQYHVWLJDWLRQIURP86$&,'&
       E 7KH6$,52GRHVQRWUHSODFHWKH6$5&¶VUHTXLUHPHQWWRFRQWDFWWKH6&
       F ,IWKHYLFWLPILOHVDUHVWULFWHGUHSRUWDQGWKHQFRQYHUWVWRDQXQUHVWULFWHGUHSRUWWKHGD\WLPHIUDPHEHJLQV
   ZKHQWKHYLFWLPUHYLVHVWKH'')RUPWRDQXQUHVWULFWHGUHSRUW
        :KHQUHTXLUHG$6$,52UHSRUWLVUHTXLUHGZKHQWKHYLFWLPRUVXEMHFWLVD6ROGLHUDWWKHWLPHRIUHSRUWLQJ
   HYHQLIWKHVH[XDODVVDXOWRFFXUUHGEHIRUHWKHHQOLVWPHQWRUFRPPLVVLRQLQJRIWKH6ROGLHUYLFWLP7KLVUHTXLUHPHQW
   RQO\DSSOLHVWRXQUHVWULFWHGUHSRUWVDQGLQGHSHQGHQWLQYHVWLJDWLRQVDQGGRHVQRWDSSO\WR)DPLO\$GYRFDF\3URJUDP
   FDVHV
        )RUPDW7KH6$,52UHSRUWZLOOIROORZWKHZULWWHQIRUPDWODLGRXWLQVXESDUDJUDSK.±EEHORZ
        5HSRUWLQJUHVSRQVLELOLWLHV6HHWDEOH.± 
                                                      




       D :LWKLQFDOHQGDUGD\VRIWKHXQUHVWULFWHGUHSRUWRUQRWLILFDWLRQWRWKHFRPPDQGHUWKDWDQLQGHSHQGHQWLQYHVWL
   JDWLRQLVXQGHUZD\RIDQDGXOWVH[XDODVVDXOWLQYROYLQJDYLFWLPDQGVXEMHFWZKRDUH6ROGLHUVWKHLPPHGLDWHFRP
   PDQGHUZLOOVXEPLWDZULWWHQ6$,52UHSRUW
       E ,IWKHYLFWLPDQGVXEMHFWDUH6ROGLHUVLQWKHVDPHXQLWWKHLPPHGLDWHFRPPDQGHUZLOOSUHSDUHDQGVXEPLWWKH
   UHSRUW
       F ,IWKHYLFWLPDQGVXEMHFWDUH6ROGLHUVLQGLIIHUHQWXQLWVWKHYLFWLP VLPPHGLDWHFRPPDQGHUZLOOSUHSDUHDQG
   VXEPLWWKHUHSRUW
       G ,IWKHLPPHGLDWHFRPPDQGHULVWKHVXEMHFWWKHQH[WKLJKHUFRPPDQGHULQWKHFKDLQRIFRPPDQGZLOOSUHSDUH
   DQGVXEPLWWKHUHSRUW
       H ,IWKHVH[XDODVVDXOWYLFWLPLVD6ROGLHUVDQGWKHVXEMHFWLVDFLYLOLDQWKHYLFWLP VLPPHGLDWHFRPPDQGHUZLOO
   SUHSDUHDQGVXEPLWWKH6$,52UHSRUWZLWKLQFDOHQGDUGD\VRIWKHXQUHVWULFWHGUHSRUW
       I ,IWKHVH[XDODVVDXOWYLFWLPLVDFLYLOLDQZKRLVHOLJLEOHIRU6+$53VHUYLFHVDQGWKHVXEMHFWLVD6ROGLHUWKH
   LPPHGLDWH FRPPDQGHURIWKHVXEMHFW ZLOOVXEPLWDQDEEUHYLDWHG6$,52UHSRUW ZLWKWKH XQGHUVWDQGLQJWKDWVRPH
   YLFWLPRUVXEMHFWLQIRUPDWLRQPD\QRWEHDFFHVVLEOH7KHDEEUHYLDWHG6$,52ZLOOLQFOXGH³,QFLGHQW'DWD´DQG³,Q
   YHVWLJDWLRQ´
       J ,IWKHVH[XDODVVDXOWYLFWLPLVDFLYLOLDQZKRLVQRWHOLJLEOHIRU6+$53VHUYLFHVDQGWKHVXEMHFWLVD6ROGLHUWKH
   LPPHGLDWH FRPPDQGHURIWKHVXEMHFW ZLOOVXEPLWDQDEEUHYLDWHG6$,52UHSRUW ZLWKWKHXQGHUVWDQGLQJWKDWVRPH
   YLFWLPRUVXEMHFWLQIRUPDWLRQPD\QRWEHDFFHVVLEOH7KHDEEUHYLDWHG6$,52ZLOOLQFOXGH³,QFLGHQW'DWD´DQG³,Q
   YHVWLJDWLRQ´
       K ,IWKHVXEMHFWLVWKHYLFWLP VLPPHGLDWHFRPPDQGHUWKHILUVW2 ± LQWKHYLFWLP VFKDLQRIFRPPDQGZLOOVXEPLW
                                                                              




   WKH6$,52UHSRUW+RZHYHULIWKHVXEMHFWLVWKHYLFWLP VLPPHGLDWHFRPPDQGHUDQGWKH2 ± LQWKHFKDLQWKHQWKH
                                                                                                       




   ILUVW*2LQWKHYLFWLP VFKDLQRIFRPPDQGZLOOVXEPLWWKHUHSRUW
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                                                 $5±-XO\                                               
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  7DEOH.±    




  6H[XDO$VVDXOW,QFLGHQW5HVSRQVH2YHUVLJKWUHSRUWUHSRUWLQJUHVSRQVLELOLWLHV²&RQWLQXHG
                                                                                   




                                                   5HVSRQVLELOLW\IRU
                                                                                                           7ULJJHUIRUGD\
  9LFWLP             6XEMHFW     8QLW           SUHSDULQJDQG         5HSRUWOHQJWK
                                                                                                           WLPHIUDPH
                                                   VXEPLWWLQJ6$,52
  6ROGLHU            6ROGLHU     %RWKLQ        9LFWLP VLPPHGLDWH    )XOOUHSRUW                     6LJQHG'')RUP
                                   VDPHXQLW      FRPPDQGHU                                              RU86$&,'&RURWKHU
                                                                                                           0&,2QRWLILHVLPPHGL
                                                                                                           DWHFRPPDQGHU
  6ROGLHU            6ROGLHU     ,QGLIIHUHQW   9LFWLP VLPPHGLDWH    )XOOUHSRUW                     6LJQHG'')RUP
                                   XQLWV          FRPPDQGHU                                              RU86$&,'&RURWKHU
                                                                                                           0&,2QRWLILHVLPPHGL
                                                                                                           DWHFRPPDQGHU
  6ROGLHU            &LYLOLDQ    1$            9LFWLP VLPPHGLDWH    )XOOUHSRUW                     6LJQHG'')RUP
                                                   FRPPDQGHU                                             RU86$&,'&RURWKHU
                                                                                                           0&,2QRWLILHVLPPHGL
                                                                                                           DWHFRPPDQGHU
  &LYLOLDQZKRLV   6ROGLHU     1$            6XEMHFW VLPPHGLDWH   $EEUHYLDWHGUHSRUWFRQWDLQLQJ   6LJQHG'')RUP
  HOLJLEOHIRU                                    FRPPDQGHU             ,QFLGHQW'DWDDQG³,QYHVWL    RU86$&,'&RURWKHU
  6+$53VHUYLFHV                                                         JDWLRQLQIRUPDWLRQRXWOLQHG    0&,2QRWLILHVLPPHGL
                                                                          LQWKLVHQFORVXUH               DWHFRPPDQGHU
  &LYLOLDQZKRLV    6ROGLHU     1$            6XEMHFW VLPPHGLDWH   $EEUHYLDWHGUHSRUWFRQWDLQLQJ   86$&,'&RURWKHU
  QRWHOLJLEOHIRU                                FRPPDQGHU             ,QFLGHQW'DWDDQG,QYHVWL    0&,2QRWLILHVLPPHGL
  6+$53VHUYLFHV                                                         JDWLRQLQIRUPDWLRQRXWOLQHG    DWHFRPPDQGHU
                                                                          LQWKLVHQFORVXUH
    
       E5HTXLUHGLQIRUPDWLRQ
         5HTXLUHG7KHLQIRUPDWLRQUHTXLUHGZLOOEHREWDLQHGIURPWKH6$5&DQG86$&,'&,QIRUPDWLRQZLOOQRWEH
    DFTXLUHGWKURXJKDFRPPDQGGLUHFWHGSUHOLPLQDU\LQYHVWLJDWLRQ 'R',SURKLELWVFRPPDQGGLUHFWHGLQYHVWL
    JDWLRQVIRUVH[XDODVVDXOWV 3URYLGHSUHOLPLQDU\LQIRUPDWLRQDERXWWKHVH[XDODVVDXOWWKDWLQFOXGHVDWDPLQLPXP²
        D 9LFWLPJHQGHUGXW\VWDWXV6HUYLFHDIILOLDWLRQDVVLJQHGXQLWUDQNRUJUDGHDQGFXUUHQWJHRJUDSKLFDUHDZKHUH
    WKHYLFWLPLVVWDWLRQHGDQGOLYHV,IQRWD6ROGLHURU'$&LYLOLDQHPSOR\HHLQGLFDWHZKHWKHUWKHYLFWLPLVD)DPLO\
    PHPEHU'R'FRQWUDFWRUIRUHLJQQDWLRQDORUQRQJRYHUQPHQWFLYLOLDQ'RQRWLQFOXGH3,,7KH6$5&ZLOOUHSRUWQRQ
    3,,FRQFHUQLQJVH[XDODVVDXOWLQFLGHQWV ZLWKRXWLQIRUPDWLRQWKDWFRXOGUHDVRQDEO\OHDGWRLGHQWLILFDWLRQRIWKHYLFWLP
    RUVXEMHFW )RUH[DPSOHGHSHQGLQJRQWKHVL]HRIWKHORFDWLRQRUWKHJHQGHUPDNHXSRIWKHXQLWWKH6$5&PD\QRW
    EHDEOHWRLQFOXGHYLFWLPJHQGHUUDQNRUJUDGH
       )RU6$,52UHSRUWVWULJJHUHGE\XQUHVWULFWHGUHSRUWVWKH6$5&LVUHVSRQVLEOHIRUSURYLGLQJDOOYLFWLPLQIRU
    PDWLRQDQG86$&,'&ZLOOSURYLGHWKHLQFLGHQWGDWDDQGLQYHVWLJDWLRQLQIRUPDWLRQ
       )RU6$,52UHSRUWVWULJJHUHGE\DQLQGHSHQGHQWLQYHVWLJDWLRQ86$&,'&LVUHVSRQVLEOHIRUSURYLGLQJWKHDYDLO
    DEOHLQIRUPDWLRQDQGQRLQIRUPDWLRQZLOOEHUHTXHVWHGIURPWKH6$5&
        E 6XEMHFWJHQGHUGXW\VWDWXV6HUYLFHDIILOLDWLRQDVVLJQHGXQLWUDQNRUJUDGHDQGFXUUHQWJHRJUDSKLFDUHDZKHUH
    WKHVXEMHFWLVVWDWLRQHGDQGOLYHV,IWKHVXEMHFWLVQRWD6ROGLHURU'R'&LYLOLDQHPSOR\HHLQGLFDWHZKHWKHUWKHVXEMHFW
    LVDPLOLWDU\GHSHQGHQW'R'FRQWUDFWRUIRUHLJQQDWLRQDORUQRQJRYHUQPHQWFLYLOLDQ'RQRWLQFOXGH3,,
        F 7KHPRVWVHULRXVVH[XDODVVDXOWRIIHQVHUHSRUWHGLQWKHLQYHVWLJDWLRQ
        G /RFDWLRQZKHUHWKHUHSRUWHGVH[XDODVVDXOWRIIHQVHRFFXUUHG IRUH[DPSOHLQGLFDWHLIRQDQLQVWDOODWLRQ 3UR
    YLGHDGGLWLRQDOGHWDLOVLIDYDLODEOH IRUH[DPSOHLQEDUUDFNVRIIEDVHKRXVLQJVKRZHUVDQGVRIRUWK 
        H 'DWHDQGWLPHRIWKHUHSRUWHGVH[XDODVVDXOW
        I 'DWHWKHYLFWLPZDVUHIHUUHGWRWKH6$5&6+$539$RU95
        J ,IDQXQUHVWULFWHGUHSRUWZDVPDGHWRD6$5&6+$539$RU95GDWHZKHQWKH'')RUPZDVFRPSOHWHG
    E\WKH6$5&6+$539$RU95
        K 'DWHWKHVH[XDODVVDXOWZDVUHSRUWHGWR86$&,'&RURWKHU0&,2LQFOXGLQJWKHRUJDQL]DWLRQQRWLILHG
        L ,IWKHVXEMHFWLVD6ROGLHULQGLFDWHZKHWKHUWKHVXEMHFWKDVEHHQWHPSRUDULO\WUDQVIHUUHGRUUHPRYHGIURPDQ
    DVVLJQHGELOOHWRUGHUHGWRSUHWULDOFRQILQHPHQWRURWKHUZLVHUHVWULFWHGLIDSSOLFDEOH
        M $Q\RWKHUUHOHYDQWLQIRUPDWLRQUHODWHGWRWKHVXEMHFWH[FOXGLQJYLFWLPSKRWRJUDSKVRUDGGLWLRQDOLQFLGHQWLQIRU
    PDWLRQWKDWFRXOGUHDVRQDEO\OHDGWRSHUVRQDOLGHQWLILFDWLRQRIWKHYLFWLPRUVXEMHFW



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        $GYRFDF\VHUYLFHVRIIHUHG6+$53DGYRFDF\VHUYLFHVRID6$5&DQG6+$539$RU95ZLOOEHRIIHUHGLI
   WKHYLFWLPLVD6ROGLHURUDGXOWPLOLWDU\GHSHQGHQWRURWKHUZLVHHOLJLEOHIRU6+$53VHUYLFHV7KH6$5&ZLOOSURYLGH
   WKHLPPHGLDWHFRPPDQGHUZKRLVSUHSDULQJWKH6$,52UHSRUW²
       D &RQILUPDWLRQWKDWWKH6$5&HQWHUHGLQIRUPDWLRQLQWR'6$,'ZLWKLQKRXUV KRXUVLILQDGHSOR\HGHQYL
   URQPHQWZLWKFRQQHFWLYLW\LVVXHV 
       E ,I WKH YLFWLPDFFHSWHGDGYRFDF\ VHUYLFHVDGHVFULSWLRQRIDQ\FLUFXPVWDQFHVLQWKH UHVSRQVHWKDWDGYHUVHO\
   DIIHFWHGWKHFRPPDQG VDELOLW\WRDGGUHVVWKHYLFWLP VQHHGVLIWKHYLFWLPDFFHSWHGDGYRFDF\VHUYLFHV IRUH[DPSOH
   WLPHOLQHVVVHQVLWLYLW\REVWDFOHVWRFDUHDQGFRHUFLRQUHWDOLDWLRQDQGRUUHSULVDOLIDQ\ 7KH6$5&ZLOOLQFOXGHDQ\
   YLFWLPLQSXWSURYLGHGZLWKGRFXPHQWHGYLFWLPFRQVHQWIRUGLVFORVXUHRISULYLOHJHGFRPPXQLFDWLRQV7KH6$5&ZLOO
   DOVRLQIRUPWKHYLFWLPLIKHRUVKHPD\EHHOLJLEOHWRVSHDNZLWKDPLOLWDU\OHJDODVVLVWDQFHVDWWRUQH\RUDQ69&EHIRUH
   SURYLGLQJFRQVHQWIRUUHOHDVHRISULYLOHJHGFRPPXQLFDWLRQV
       F $VXPPDU\RIWKH6+$53VHUYLFHVRIIHUHG
       G 7KHGDWHZKHQWKHQH[W6$5%PHHWLQJLVVFKHGXOHGWRSURYLGHRYHUVLJKWIRUWKLVFDVH&RQILUPWKDWWKH6&RI
   GHSXW\FRPPDQGHUZLOOFKDLUWKH6$5%7KHYLFWLP VLPPHGLDWHFRPPDQGHULVDPDQGDWRU\PHPEHURIWKH6$5%LQ
   DFFRUGDQFHZLWK'R',
        ,QSXWRIYLFWLP VFRPPDQGHU )RU6ROGLHUYLFWLPVRQO\ ,QFOXGHDGGLWLRQDOFRPPHQWVE\WKHYLFWLP VFRP
   PDQGHULIDQ\
        +HDOWKFDUH:KHQSURYLGLQJKHDOWKFDUHLQIRUPDWLRQGRQRWLQFOXGH3,,RULQGLYLGXDOO\LGHQWLILDEOHKHDOWKLQ
   IRUPDWLRQSURWHFWHGXQGHU'R'0RUWKH+HDOWK,QVXUDQFH3RUWDELOLW\DQG$FFRXQWDELOLW\$FWRI,IWKH
   YLFWLPLVD6ROGLHURURWKHUZLVHHOLJLEOHIRUKHDOWKFDUHDWD07)SURYLGHWKHGDWHZKHQWKHYLFWLPZDVRIIHUHG²
       D 0HGLFDOFDUH
       E 0HQWDOKHDOWKFDUH
       F $6$)(DWWKHDSSURSULDWHORFDWLRQEDVHGRQHOLJLELOLW\UHTXLUHPHQWV,ID6$)(ZDVQRWRIIHUHGH[SODLQZK\
        ,QYHVWLJDWLRQ7KH86$&,'&ZLOOSURYLGHWKHLPPHGLDWHFRPPDQGHUDVVLJQHGWRSUHSDUHWKH6$,52UHSRUW
   ZLWK²
       D 7KH86$&,'&FDVHILOHQXPEHU,IQR86$&,'&FDVHQXPEHULVDYDLODEOHH[SODLQZK\DQGLQFOXGHWKHLQ
   YHVWLJDWLQJMXULVGLFWLRQQRWLILHGDQGWKHGDWHRIWKHQRWLILFDWLRQ,QIRUPDWLRQIURPFLYLOLDQODZHQIRUFHPHQWPD\QRW
   EHDYDLODEOH
       E &RQILUPDWLRQWKDWWKHYLFWLPKDVDFRS\RIWKH'')RUP
        6DIHW\,IWKHYLFWLPLVD6ROGLHURUDQDGXOWPLOLWDU\GHSHQGHQWWKH6$5&ZLOOSURYLGHWKHLPPHGLDWHFRP
   PDQGHUSUHSDULQJDQGVXEPLWWLQJWKH6$,52UHSRUW²
       D 'DWHWKHVDIHW\DVVHVVPHQWRIWKHYLFWLPZDVFRQGXFWHG
       E :KHWKHULWZDVQHFHVVDU\WRDVVHPEOHD+557
       F 'DWHWKHYLFWLPZDVJLYHQLQIRUPDWLRQUHJDUGLQJ032VDQG&32V
       G 5HSRUWRQZKHWKHUWKH032RU&32ZHUHLVVXHG
       H 'HVFULSWLRQRIWKHVDIHW\PHDVXUHVWDNHQIRUWKHYLFWLP IRU6ROGLHUVDQGRWKHU6HUYLFHPHPEHUVIRUHLJQVHUYLFH
   PHPEHUVRUORFDOQDWLRQDOVXEMHFWV LIWKHHYHQW V KDSSHQHG2&2186LQFOXGLQJGHSOR\HGHQYLURQPHQWV
        ([SHGLWHGWUDQVIHUV7KH6$5&ZLOOSURYLGHWKHLPPHGLDWHFRPPDQGHUSUHSDULQJDQGVXEPLWWLQJWKH6$,52
   UHSRUW²
       D 'DWHWKHYLFWLPZDVJLYHQLQIRUPDWLRQUHJDUGLQJH[SHGLWHGWUDQVIHUV
       E 5HSRUWRQZKHWKHURUQRWWKHYLFWLPUHTXHVWHGDQH[SHGLWHGWUDQVIHUDQGLIVRWKHSURFHVVLQJVWDWXV LQFOXGLQJ
   GDWHUHFHLYHG 
        /HJDOVHUYLFHV,IWKHYLFWLPLVHOLJLEOHIRU6+$53VHUYLFHVWKH6$5&ZLOOSURYLGHWKHLPPHGLDWHFRPPDQGHU
   SUHSDULQJDQGVXEPLWWLQJWKH6$,52UHSRUWWKHGDWHZKHQWKHYLFWLPZDVLQIRUPHGRIWKH69&3URJUDP
        1HHGWRNQRZ7KH LQIRUPDWLRQ LQ WKH 6$,52 UHSRUW ZLOO EH OLPLWHG WR SHUVRQQHO ZLWK DQ RIILFLDO QHHGWR
   NQRZ
        3URFHGXUH7KH6$,52UHSRUWZLOOEHSURYLGHGWR²
       D 7KH6&LIWKHVH[XDODVVDXOWRFFXUUHGRQRULQWKHYLFLQLW\RIDPLOLWDU\LQVWDOODWLRQ
       E 7KHILUVW2± DQGILUVW*2LQWKHYLFWLP¶VFKDLQRIFRPPDQG
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       F 7KHILUVW2± DQGILUVW*2LQWKHVXEMHFW¶VFKDLQRIFRPPDQG
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       G 7KH QH[WKLJKHUFRPPDQGHULIWKH ILUVWRIILFHULQWKHJUDGH RI2 ± DQGILUVW*2 LQWKH FKDLQRIFRPPDQG
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   GHVLJQDWHGWRUHFHLYHWKHUHSRUWLVWKHVXEMHFW
       H 7KH6$,52UHSRUWZLOOQRWEHVHQWWRDQ\RWKHUSHUVRQQHO
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   $SSHQGL[/
   &RQILGHQWLDOLW\*XLGHOLQHVIRU5HVWULFWHG8QUHVWULFWHG5HSRUWLQJ

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   7KLVDSSHQGL[HVWDEOLVKHVWKH$UP\¶VJXLGHOLQHVIRUUHVWULFWHGDQGXQUHVWULFWHGUHSRUWLQJE\YLFWLPVRIVH[XDODVVDXOW

   /±0LVVLRQ
   7KH $UP\ LV FRPPLWWHG WR HQVXULQJ YLFWLPV RI VH[XDO DVVDXOW DUH SURWHFWHG WUHDWHG ZLWK GLJQLW\ DQG UHVSHFW DQG
   SURYLGHGVXSSRUWDGYRFDF\DQGFDUH$UP\SROLF\VWURQJO\VXSSRUWVHIIHFWLYHFRPPDQGDZDUHQHVVDQGSUHYHQWLRQ
   SURJUDPVDQGODZHQIRUFHPHQWDQGFULPLQDOMXVWLFHDFWLYLWLHVWKDWZLOOPD[LPL]HDFFRXQWDELOLW\DQGSURVHFXWLRQRI
   VH[XDODVVDXOWSHUSHWUDWRUV7RDFKLHYHWKHVHGXDOREMHFWLYHVWKH$UP\SUHIHUVXQUHVWULFWHGUHSRUWLQJRIVH[XDODVVDXOWV
   WRDFWLYDWHERWK YLFWLPV¶VHUYLFHVDQGDFFRXQWDELOLW\DFWLRQV+RZHYHUUHFRJQL]LQJWKDW D PDQGDWH RIXQUHVWULFWHG
   UHSRUWLQJPD\UHSUHVHQWDEDUULHUIRUYLFWLPVWREHDEOHWRDFFHVVVHUYLFHVZKHQWKHYLFWLPGHVLUHVQRFRPPDQGRUODZ
   HQIRUFHPHQWLQYROYHPHQWDQHHGH[LVWVWRSURYLGHDQRSWLRQIRUUHVWULFWHGUHSRUWLQJ

   /±&RPPDQGHU¶VUHVSRQVLELOLW\
   $VVXULQJSULYDF\DQGSURYLGLQJDFRQILGHQWLDOGLVFORVXUHRSWLRQIRUVH[XDODVVDXOWYLFWLPVLVFULWLFDOWRGLVFKDUJLQJ
   RXUFRPPLWPHQW6H[XDODVVDXOWLVWKHPRVWXQGHUUHSRUWHGYLROHQWFULPHLQERWKRXUVRFLHW\DQGWKHPLOLWDU\$OWKRXJK
   WKHYLFWLP¶VGHFLVLRQWRUHSRUWLVDFUXFLDOVWHSIROORZLQJDVH[XDODVVDXOWUHSRUWLQJLVRIWHQSUHFOXGHGE\WKHYLFWLP¶V
   GHVLUHIRUQRRQHWRNQRZZKDWKDSSHQHG&RPPDQGHUVKDYHDUHVSRQVLELOLW\WRHQVXUHFRPPXQLW\VDIHW\DQGGXH
   SURFHVVRIODZEXWWKH\ZLOODOVRUHFRJQL]HWKHLPSRUWDQFHRISURWHFWLQJWKHSULYDF\RIYLFWLPVXQGHUWKHLUFRPPDQG
   6XEMHFWPDWWHUH[SHUWVDJUHHWKDWDV\VWHPWKDWSURPRWHVSULYDF\FRQILGHQWLDOLW\FDQKDYHDSRVLWLYHLPSDFWLQEULQJLQJ
   YLFWLPVIRUZDUGWRSURYLGHLQIRUPDWLRQDERXWEHLQJDVVDXOWHG

   /±&RQILGHQWLDOLW\DQGUHSRUWLQJ
   &RQILGHQWLDOLW\IRUYLFWLPVLVDIXQGDPHQWDOSULQFLSOHDWWKHFRUHRIYLFWLPV¶VHUYLFHVDQGRQHRIWKHFRUQHUVWRQHVRI
   WKH6+$533URJUDP+DYLQJFRQWURORYHUWKHUHOHDVHRILQIRUPDWLRQUHJDUGLQJWKHLUYLFWLPL]DWLRQSUHVHUYHVDYLFWLP¶V
   GLJQLW\HPSRZHUVYLFWLPVDQGHVWDEOLVKHVWUXVWEHWZHHQYLFWLPVDQGWKH6+$533URJUDP5HJDUGOHVVRIDYLFWLP¶V
   FKRLFHLQKRZWKH\UHSRUWHLWKHUUHVWULFWHGRUXQUHVWULFWHGYLFWLPV¶FRPPXQLFDWLRQZLOOEHFRQILGHQWLDOUHOHDVHGRQO\
   RQDQRIILFLDOQHHGWRNQRZEDVLV
      D5HVWULFWHG UHSRUWLQJ$ 6ROGLHU RU )DPLO\ PHPEHU  \HDUV RI DJH DQG ROGHU ZKR LV VH[XDOO\ DVVDXOWHG DQG
   GHVLUHVPHGLFDOFDUHFRXQVHOLQJDQGYLFWLPDGYRFDF\ZLWKRXWLQLWLDWLQJWKHLQYHVWLJDWLYHSURFHVVVKRXOGXVHWKHUH
   VWULFWHGUHSRUWLQJRSWLRQ5HVWULFWHGUHSRUWLQJDOORZVDVH[XDODVVDXOWYLFWLPWRFRQILGHQWLDOO\GLVFORVHWKHGHWDLOVRI
   WKHLUDVVDXOWWRVSHFLILFDOO\LGHQWLILHGLQGLYLGXDOVDQGUHFHLYHPHGLFDOWUHDWPHQWDQGFRXQVHOLQJZLWKRXWWULJJHULQJWKH
   RIILFLDOLQYHVWLJDWLYHSURFHVV5HVWULFWHGUHSRUWLQJLVLQWHQGHGWRJLYHYLFWLPVDGGLWLRQDOWLPHDQGLQFUHDVHGFRQWURO
   RYHUWKHUHOHDVHDQGPDQDJHPHQWRIWKHLUSHUVRQDOLQIRUPDWLRQDQGWRHPSRZHUWKHPWRVHHNUHOHYDQWLQIRUPDWLRQ
   DQGVXSSRUWWRPDNHPRUHLQIRUPHGGHFLVLRQVDERXWSDUWLFLSDWLQJLQWKHFULPLQDOLQYHVWLJDWLRQ$YLFWLPZKRUHFHLYHV
   DSSURSULDWHFDUHDQGWUHDWPHQWDQGLVSURYLGHGDQRSSRUWXQLW\WRPDNHDQLQIRUPHGGHFLVLRQDERXWDFULPLQDOLQYHV
   WLJDWLRQLVPRUHOLNHO\WRGHYHORSLQFUHDVHGWUXVWWKDWWKHLUQHHGVDUHRISULPDU\FRQFHUQWRWKHFRPPDQGDQGPD\
   HYHQWXDOO\GHFLGHWRSXUVXHDQLQYHVWLJDWLRQ(YHQLIWKHYLFWLPFKRRVHVQRWWRSXUVXHDFULPLQDOLQYHVWLJDWLRQWKLV
   DGGLWLRQDOUHSRUWLQJDYHQXHJLYHVFRPPDQGHUVDFOHDUHUSLFWXUHRIWKHVH[XDOYLROHQFHZLWKLQWKHLUFRPPDQGDQG
   HQKDQFHVDFRPPDQGHU¶VDELOLW\WRSURYLGHDQHQYLURQPHQWWKDWLVVDIHDQGFRQWULEXWHVWRWKHZHOOEHLQJDQGPLVVLRQ
   UHDGLQHVVRIDOORILWVPHPEHUV5HVWULFWHGUHSRUWLQJSURFHGXUHVDUHDVIROORZV
        6ROGLHUVRU)DPLO\PHPEHUV\HDUVRIDJHRUROGHUZKRDUHVH[XDOO\DVVDXOWHGDQGGHVLUHUHVWULFWHGUHSRUWLQJ
   XQGHUWKLVSROLF\VKRXOGUHSRUWWKHDVVDXOWWRWKH6$5&D6+$539$95RUDKHDOWKFDUHSURYLGHU
       D +HDOWKFDUHSHUVRQQHOLQFOXGLQJEHKDYLRUDOKHDOWKFDQQRWFRPSOHWHD'')RUPZLWKDYLFWLPLQRUGHUWR
   WDNHDUHVWULFWHGUHSRUW+HDOWKFDUHSHUVRQQHOZKRUHFHLYHDUHSRUWRIVH[XDODVVDXOWZLOOLPPHGLDWHO\FRQWDFWD6$5&
   6+$539$RU95WRHQVXUHWKDWDYLFWLPLVRIIHUHG6+$53VHUYLFHVDQG WKDWDYLFWLPFDQFRPSOHWHD'')RUP
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       E +HDOWKFDUHSHUVRQQHOFDQSUHVHUYHWKHUHVWULFWHGUHSRUWLQJRSWLRQXQOHVVDQGXQWLOD'')RUPLVFRP
   SOHWHGGRFXPHQWLQJDUHVWULFWHGUHSRUWWKHYLFWLPFDQQRWLQYRNHDUHVWULFWHGUHSRUW¶VSURWHFWLRQV
       F 9LFWLPVPD\DOVRGLVFXVVWKHLUVH[XDODVVDXOWZLWKDFKDSODLQOHJDODVVLVWDQFHDWWRUQH\RU69&'LVFXVVLQJD
   VH[XDO DVVDXOW ZLWK WKHVH SHUVRQQHO LV QRW D UHVWULFWHG UHSRUW EXW LV SURWHFWHG XQGHU 05( DQG 05( 7KH
   UHVWULFWHGUHSRUWLQJSURFHVVGRHVQRWDIIHFWDQ\SULYLOHJHUHFRJQL]HGXQGHU05(3URWHFWLRQVSURYLGHGE\'R'DQG
   $UP\SROLFLHVRQUHVWULFWHGUHSRUWLQJDUHLQDGGLWLRQDOWRWKHSURWHFWLRQVDIIRUGHGE\SULYLOHJHGFRPPXQLFDWLRQVZLWK



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   DFKDSODLQOHJDODVVLVWDQFHDWWRUQH\RU69&DQGGRHVQRWDOWHURUDIIHFWWKRVHSURWHFWLRQV'XULQJDSULYLOHJHGFRP
   PXQLFDWLRQZLWKDFKDSODLQRU69&LIDYLFWLPLQGLFDWHVWKDWWKH\ZDQWWRILOHDUHVWULFWHGUHSRUWWKHFKDSODLQOHJDO
   DVVLVWDQFHDWWRUQH\RU69&ZLOOZLWKWKHYLFWLP¶VFRQVHQWIDFLOLWDWHFRQWDFWZLWKD6$5&6+$539$RU95WR
   HQVXUHWKDWWKHYLFWLPLVRIIHUHG6+$53VHUYLFHVDQGVRWKDWD'')RUPFDQEHFRPSOHWHG
       G ,IDYLFWLPFKRRVHVQRWWRFRPSOHWHD'')RUPDQGILOHDUHVWULFWHGUHSRUWDIWHUGLVFORVLQJDVH[XDODVVDXOW
   GXULQJDSULYLOHJHGFRPPXQLFDWLRQWKHGLVFORVXUHUHPDLQVSULYLOHJHG
        8SRQQRWLILFDWLRQRIDUHSRUWHGVH[XDODVVDXOWWKH6$5&ZLOOLPPHGLDWHO\DVVLJQD6+$539$RU95ZLWK
   WKHYLFWLP¶VFRQVHQW
        7KH DVVLJQHG 6+$53 9$ RU 95 ZLOO SURYLGH WKH YLFWLP DFFXUDWH LQIRUPDWLRQ RQ WKH UHSRUWLQJ SURFHVV WR
   LQFOXGHWKHGLIIHUHQFHVEHWZHHQUHVWULFWHGDQGXQUHVWULFWHGUHSRUWLQJ
        7KH 6$5& 6+$53 9$ RU 95 ZLOO HQVXUH WKH YLFWLP DFNQRZOHGJHV LQ ZULWLQJ RQ D '' )RUP  WKHLU
   XQGHUVWDQGLQJWKDWUHVWULFWHGUHSRUWLQJPD\OLPLWWKHDELOLW\RIWKHJRYHUQPHQWWRSURVHFXWHWKHVXEMHFWUHVWULFWWKH
   $UP\¶VDELOLW\WRSURYLGHDGHTXDWHPHDVXUHVWROLPLWFRQWDFWEHWZHHQWKHYLFWLPDQGWKHVXEMHFWDQGDQXQGHUVWDQGLQJ
   RIWKHUHDVRQV$UP\SROLF\IDYRUVXQUHVWULFWHGUHSRUWLQJ
        +HDOWKFDUHSURYLGHUVZLOOZLWKWKHFRQVHQWRIWKHYLFWLPLQLWLDWHWKHDSSURSULDWHFDUHDQGWUHDWPHQW+HDOWKFDUH
   SURYLGHUVZLOOUHSRUWWKHVH[XDODVVDXOWWRWKH6$5&LQOLHXRIUHSRUWLQJWKHDVVDXOWWRODZHQIRUFHPHQWRUWKHFKDLQRI
   FRPPDQG$GGLWLRQDOO\DWWKHYLFWLP¶VGLVFUHWLRQUHTXHVWWKH6$0)(ZLOOFRQGXFWDIRUHQVLFPHGLFDOH[DPLQDWLRQ
   ZKLFKPD\LQFOXGHWKHFROOHFWLRQRIHYLGHQFH'LVSRVLWLRQLQVWUXFWLRQVIRUVXFKHYLGHQFHDUHSURYLGHGLQ$5 ±        




        ,ID'R'KHDOWKFDUHSURYLGHULVQRWDYDLODEOHWKHYLFWLPZLOOEHDSSURSULDWHO\UHIHUUHGWRDFLYLOLDQSURYLGHUIRU
   WKHIRUHQVLFH[DPLQDWLRQLIWKHYLFWLPUHTXHVWVVXFKDIRUHQVLFH[DPLQDWLRQ
       D &RPPDQGHUVZLWKWKHLU6$5&VZLOOGHYHORSSURWRFROVWRSURWHFWWKHUHVWULFWHGUHSRUWLQJRSWLRQZKLOHSURYLG
   LQJWUDQVSRUWDWLRQWRKDYHD6$)(FRPSOHWHG
      6WDWHRUKRVWQDWLRQODZVPD\LPSDFWWKHDELOLW\WRPDNHDUHVWULFWHGUHSRUW
      +HDOWKFDUHDQGDIRUHQVLFH[DPLQDWLRQPDQ\EHSHUIRUPHGLQDFLYLOLDQPHGLFDOIDFLOLW\LQDMXULVGLFWLRQERXQG
   E\ODZVWKDWUHTXLUHKHDOWKFDUHSHUVRQQHOWRUHSRUWWKHVH[XDODVVDXOWWRFLYLOLDQDJHQFLHVRUODZHQIRUFHPHQW&LYLOLDQ
   ODZHQIRUFHPHQWPD\WDNHMXULVGLFWLRQRIWKHFDVHRULQIRUP86$&,'&WKDWDVH[XDODVVDXOWZDVUHSRUWHG,QVXFK
   LQVWDQFHVILOLQJDUHVWULFWHGUHSRUWPD\QRWEHSRVVLEOH
       E 6+$53SURIHVVLRQDOVZLOOQRWXVHWKHLURZQYHKLFOHVWRSURYLGHWUDQVSRUWDWLRQIRUDYLFWLP
        9LFWLPVPD\GLVFORVHWKDWWKH\ZHUHVH[XDOO\DVVDXOWHGWRDQRWKHUSHUVRQDQGPDLQWDLQWKHLUDELOLW\WRILOHD
   UHVWULFWHGUHSRUW
       D ,IWKHSHUVRQWRZKRPWKHYLFWLPGLVFORVHGWKHLUVH[XDODVVDXOWLVLQWKHYLFWLP¶VFKDLQRIFRPPDQGRU'R'ODZ
   HQIRUFHPHQWWKHYLFWLPFDQQRWILOHDUHVWULFWHGUHSRUW
       E ,IWKH6$5&LVLQIRUPHGRIDQLQYHVWLJDWLRQLQWRDYLFWLP¶VVH[XDODVVDXOWWKHYLFWLPFDQQRWILOHDUHVWULFWHG
   UHSRUW
       F ,IDQLQYHVWLJDWLRQLQWRDYLFWLP¶VVH[XDODVVDXOWEHJLQVDIWHUWKHYLFWLPKDVVLJQHGD'')RUPVHOHFWLQJ
   WKHUHVWULFWHGUHSRUWLQJRSWLRQWKHLQYHVWLJDWLRQKDVQRLPSDFWRQWKHYLFWLP¶VUHVWULFWHGUHSRUWDQGWKHYLFWLP¶VFRP
   PXQLFDWLRQVDQG6$)(.LWUHPDLQFRQILGHQWLDOWRWKHH[WHQWSURYLGHGE\ODZ
      E8QUHVWULFWHGUHSRUWLQJ$6ROGLHURU'$&LYLOLDQZKRLVVH[XDOO\DVVDXOWHGDQGGHVLUHVPHGLFDOWUHDWPHQWFRXQ
   VHOLQJDQGDQRIILFLDOLQYHVWLJDWLRQRIWKHLUVH[XDODVVDXOWVKRXOGXVHFXUUHQWUHSRUWLQJFKDQQHOVIRUH[DPSOHFKDLQ
   RIFRPPDQGODZHQIRUFHPHQWRUUHSRUWWKHLQFLGHQWWRWKH6$5&+HDOWKFDUHSURYLGHUVZLOOFRQWDFWWKH6$5&LID
   SDWLHQWGLVFORVHVWKDWWKH\DUHDYLFWLPRIVH[XDODVVDXOW'HWDLOVUHJDUGLQJWKHVH[XDODVVDXOWZLOOEHOLPLWHGWRRQO\
   WKRVHSHUVRQQHOZKRKDYHDOHJLWLPDWHQHHGWRNQRZVSHFLILFDOO\WKRVHLQYROYHGLQWKHLQYHVWLJDWLRQRULQHQVXULQJ
   WKHYLFWLP¶VFDUH
      F9LFWLPUHSRUWLQJSUHIHUHQFHVWDWHPHQW7KH6$5&ZLOOHQVXUHWKDWYLFWLPVUHFHLYHDFRS\RIWKHLUVLJQHG''
   )RUPDQGWKDWWKH\RUWKH6+$539$RU95ZKRKDVFRPSOHWHGWKH'')RUPZLWKWKHYLFWLPKDVHPSKD
   VL]HGWKHLPSRUWDQFHRIVDIHJXDUGLQJWKHGRFXPHQW
      G$YLFWLPLVQRWUHTXLUHGWRVLJQD'')RUP$YLFWLPPD\PDNHDUHSRUWRIVH[XDODVVDXOWWR86$&,'&
   RUDFFHVVDQ\PHGLFDODQGEHKDYLRUDOKHDOWKVHUYLFHVWRZKLFKWKH\DUHHQWLWOHGZLWKRXWZRUNLQJZLWKWKH6+$53
   3URJUDPRUPDNLQJDUHVWULFWHGRUXQUHVWULFWHGUHSRUWRQD'')RUP,IDYLFWLPDSSURDFKHVD6$5&6+$53
   9$RU95DQGEHJLQVWRPDNHDUHSRUWEXWWKHQFKDQJHVWKHLUPLQGDQGGRHVQRWVLJQWKH'')RUPGRFXPHQWLQJ
   WKHLUFKRVHQUHSRUWLQJRSWLRQWKH6$5&6+$539$RU95ZLOOQRWLQIRUPLQYHVWLJDWRUVRUFRPPDQGHUVDERXWWKH
   DWWHPSWHGUHSRUWRUGLVFORVHWKHFRPPXQLFDWLRQVXUURXQGLQJWKHUHSRUW,IFRPPDQGHUVRUODZHQIRUFHPHQWDVNDERXW
   WKHUHSRUWGLVFORVXUHVFDQRQO\EHPDGHLQDFFRUGDQFHZLWKH[FHSWLRQVWRWKH05(SULYLOHJH
      H1RQSDUWLFLSDWLQJYLFWLP)RUYLFWLPVZKRPDNHHLWKHUDUHVWULFWHGRUXQUHVWULFWHGUHSRUWWKHIROORZLQJJXLGH
   OLQHVDSSO\




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        'HWDLOVUHJDUGLQJWKHVH[XDODVVDXOWZLOOEHOLPLWHGWRRQO\WKRVHSHUVRQQHOZKRKDYHDQRIILFLDOQHHGWRNQRZ
   7KH YLFWLP¶VGHFLVLRQWRGHFOLQHWRSDUWLFLSDWH LQDQLQYHVWLJDWLRQRUSURVHFXWLRQ ZLOOEH KRQRUHGE\DOOSHUVRQQHO
   FKDUJHGZLWKWKHLQYHVWLJDWLRQDQGSURVHFXWLRQRIVH[XDODVVDXOWFDVHVLQFOXGLQJEXWQRWOLPLWHGWRFRPPDQGHUV
   86$&,'&DJHQWVDQGSHUVRQQHOLQWKHYLFWLP¶VFKDLQRI FRPPDQG,IDWDQ\WLPHD YLFWLP ZKRRULJLQDOO\FKRVH
   XQUHVWULFWHGUHSRUWLQJGHFOLQHVWRSDUWLFLSDWHLQDQLQYHVWLJDWLRQRUSURVHFXWLRQWKDWGHFLVLRQVKRXOGEHKRQRUHGLQ
   DFFRUGDQFHZLWKWKLVVXESDUDJUDSK+RZHYHUWKHYLFWLPFDQQRWFKDQJHIURPDQXQUHVWULFWHGWRDUHVWULFWHGUHSRUW7KH
   YLFWLPZLOOEHLQIRUPHGE\WKH6$5&6+$539$RU95WKDWWKHLQYHVWLJDWLRQPD\FRQWLQXHUHJDUGOHVVRIZKHWKHU
   WKHYLFWLPSDUWLFLSDWHV
        7KH YLFWLP¶V GHFLVLRQ QRW WR SDUWLFLSDWH LQ DQ LQYHVWLJDWLRQ RU SURVHFXWLRQ GRHV QRW DIIHFW DFFHVV WR 6$5&
   6+$539$DQG95VHUYLFHVPHGLFDODQGSV\FKRORJLFDOFDUHRUVHUYLFHVIURPDQ69&7KHVHVHUYLFHVZLOOEHPDGH
   DYDLODEOHWRDOOHOLJLEOHVH[XDODVVDXOWYLFWLPV
        ,IDYLFWLPDSSURDFKHVD6$5&6+$539$95RUKHDOWKFDUHSURYLGHUDQGEHJLQVWRPDNHDUHSRUWEXWWKHQ
   FKDQJHVWKHLUPLQGDQGOHDYHVZLWKRXWVLJQLQJWKH'')RUPWKH6+$53SURIHVVLRQDORUKHDOWKFDUHSURYLGHULV
   QRWXQGHUDQ\REOLJDWLRQRUGXW\WRLQIRUPLQYHVWLJDWRUVRUFRPPDQGHUVDERXWWKLVUHSRUWDQGZLOOQRWSURGXFHWKH
   UHSRUWRUGLVFORVHWKHFRPPXQLFDWLRQVVXUURXQGLQJWKHUHSRUW,IFRPPDQGHUVRUODZHQIRUFHPHQWDVNDERXWWKHUHSRUW
   GLVFORVXUHVFDQRQO\EHPDGHLQDFFRUGDQFHZLWKH[FHSWLRQVWRWKH05(SULYLOHJHDVDSSOLFDEOH

   /±&RQILGHQWLDOFRPPXQLFDWLRQ
      D5HJDUGOHVVRI ZKHWKHUWKH6ROGLHUHOHFWVUHVWULFWHGRUXQUHVWULFWHGUHSRUWLQJFRQILGHQWLDOLW\RIPHGLFDOLQIRU
   PDWLRQZLOOEHPDLQWDLQHGLQDFFRUGDQFHZLWKFXUUHQWJXLGHOLQHVRQWKH+HDOWK,QVXUDQFH3RUWDELOLW\DQG$FFRXQWDELO
   LW\$FW
      E&RYHUHGFRPPXQLFDWLRQVDUHRUDOZULWWHQRUHOHFWURQLFFRPPXQLFDWLRQVPDGHE\DYLFWLPWRWKH6$5&DV
   VLJQHG6+$539$RU95RUWRDKHDOWKFDUHSURYLGHUUHODWHGWRWKHLUVH[XDODVVDXOW
      F,QFDVHVZKHUHDYLFWLPHOHFWVUHVWULFWHGUHSRUWLQJWKH6$5&DVVLJQHG6+$539$RU95DQGKHDOWKFDUHSUR
   YLGHUVZLOOQRWGLVFORVHFRYHUHGFRPPXQLFDWLRQVRUWKH6$)(DQGWKHDFFRPSDQ\LQJNLWWRODZHQIRUFHPHQWRUFRP
   PDQGDXWKRULWLHVHLWKHUZLWKLQRURXWVLGHWKH$UP\RU'R'H[FHSWDVSURYLGHGLQWKLVUHJXODWLRQRU'R',
      G)RUSXUSRVHVRISXEOLFVDIHW\DQGFRPPDQGUHVSRQVLELOLW\ZKHQDUHVWULFWHGUHSRUWLVPDGHWKH6$5&LVUH
   VSRQVLEOHIRUUHSRUWLQJLQIRUPDWLRQFRQFHUQLQJVH[XDODVVDXOWZLWKRXWLQIRUPDWLRQWKDWFRXOGUHDVRQDEO\OHDGWRWKH
   LGHQWLILFDWLRQRIWKHYLFWLPRUWKHUHSRUWHGRIIHQGHUWRWKH6&ZLWKLQKRXUVRIWKHUHSRUW
         7KLVQRWLILFDWLRQPD\EHH[WHQGHGWRKRXUVDIWHUWKHUHVWULFWHGUHSRUWLVPDGHLQWKHSUHVHQFHRIH[WHQXDWLQJ
   FLUFXPVWDQFHVLQGHSOR\HGHQYLURQPHQWV
         7KH6$5&ZLOOFRQILUPLQWKHLUUHSRUWWRWKH6&WKDWWKHYLFWLPKDVEHHQRIIHUHG6+$53DGYRFDF\VHUYLFHV
   DQH[SODQDWLRQRIWKHQRWLILFDWLRQVLQ'')RUPPHGLFDODQGPHQWDOKHDOWKFDUHDQGLQIRUPHGRIWKHLUHOLJLELOLW\
   IRUDQ69&
         $YLFWLPKDVWKHULJKWWRUHIXVHWRGLVFORVHDQGWRSUHYHQWDQ\RWKHUSHUVRQIURPGLVFORVLQJDFRQILGHQWLDO
   FRPPXQLFDWLRQPDGHEHWZHHQWKHYLFWLPDQGDYLFWLPDGYRFDWHLQDFDVHDULVLQJXQGHUWKH8&0-LIVXFKFRPPXQL
   FDWLRQLVPDGHIRUWKHSXUSRVHRIIDFLOLWDWLQJDGYLFHRUVXSSRUWLYHDVVLVWDQFHWRWKHYLFWLP:LWKLQWKH6+$533URJUDP
   WKLVSULYLOHJHDSSOLHVWRDQ\6+$53SURIHVVLRQDO 306$5&6+$539$95RUWUDLQHU ZLWKDQDFWLYH' ± 6$$&3            




   FHUWLILFDWLRQDQGDQDSSURSULDWHO\VLJQHGDSSRLQWPHQWPHPRDXWKRUL]LQJWKHPWRSHUIRUPGXWLHVDVD9$
        D 7KLVSULYLOHJHDSSOLHVWRDOOVWDJHVRID8&0-SURFHHGLQJIURPDQLQLWLDOLQYHVWLJDWLRQRIWKHFULPHE\ODZ
   HQIRUFHPHQWWRDFRXUWPDUWLDO
        E :LWKWKLVSULYLOHJHVWDWHPHQWVEHWZHHQDYLFWLPDQGD9$DUHJLYHQVLPLODUSURWHFWLRQDVVWDWHPHQWVEHWZHHQ
   DSDWLHQWDQGDPHQWDOKHDOWKSURIHVVLRQDO
      H,QWKHHYHQWWKDWLQIRUPDWLRQDERXWDVH[XDODVVDXOWLVGLVFORVHGWRWKHFRPPDQGHUIURPDVRXUFHLQGHSHQGHQWRI
   WKHUHVWULFWHGUHSRUWLQJDYHQXHVRUWRODZHQIRUFHPHQWIURPRWKHUVRXUFHVWKHFRPPDQGHUZLOOUHSRUWWKHLQIRUPDWLRQ
   WR86$&,'&DQG86$&,'&LVDXWKRUL]HGWRLQLWLDWHLWVRZQLQGHSHQGHQWLQYHVWLJDWLRQRIWKHVH[XDODVVDXOW,QWKHVH
   FDVHV 6+$53 SURIHVVLRQDOV DQG KHDOWKFDUH SHUVRQQHO DUH SUHYHQWHG IURP GLVFORVLQJ FRQILGHQWLDO FRPPXQLFDWLRQV
   XQGHUUHVWULFWHGUHSRUWLQJXQOHVVDQH[FHSWLRQDSSOLHV
      I$YLFWLP¶VGLVFORVXUHRIWKHLUVH[XDODVVDXOWWRSHUVRQVRXWVLGHWKHSURWHFWLYHVSKHUHRIWKHSHUVRQVFRYHUHGE\
   WKLVSROLF\PD\UHVXOWLQDQLQYHVWLJDWLRQRIWKHVH[XDODVVDXOW6+$53SURIHVVLRQDOVDQGKHDOWKFDUHSHUVRQQHOZLOO
   QRWGLVFORVHFRYHUHGFRPPXQLFDWLRQVLQFOXGLQJWKHH[LVWHQFHRIDUHVWULFWHGUHSRUWRUSULRUFRQWDFWZLWKWKHYLFWLP
   XQOHVVDQGXQWLOWKHYLFWLPDXWKRUL]HVWKHGLVFORVXUHLQZULWLQJRUDQRWKHUH[FHSWLRQDSSOLHV
         $QLQGHSHQGHQWLQYHVWLJDWLRQGRHVQRWLQDQGRILWVHOIFKDQJHDUHVWULFWHGUHSRUWWRXQUHVWULFWHG
         2QFHDYLFWLPVLJQVD'')RUPGRFXPHQWLQJDUHVWULFWHGUHSRUWLWUHPDLQVUHVWULFWHGXQOHVVWKDWYLFWLP
   FKDQJHVWKHLUUHSRUWLQJRSWLRQLQZULWLQJ




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        $YLFWLP¶VFRPPXQLFDWLRQZLWKDQRWKHUSHUVRQ IRUH[DPSOHURRPPDWHIULHQG)DPLO\PHPEHU GRHVQRWLQ
   DQGRILWVHOISUHYHQWWKHYLFWLPIURPODWHUHOHFWLQJWRPDNHDUHVWULFWHGUHSRUW5HVWULFWHGUHSRUWLQJLVFRQILGHQWLDOQRW
   DQRQ\PRXVUHSRUWLQJ+RZHYHULIWKHSHUVRQWRZKRPWKHYLFWLPFRQILGHGWKHLQIRUPDWLRQ IRUH[DPSOHURRPPDWH
   IULHQG)DPLO\ PHPEHU LVLQ WKH YLFWLP¶VFKDLQRIFRPPDQGRU'R'ODZHQIRUFHPHQW WKHUHFDQEHQRUHVWULFWHG
   UHSRUW
        &RPPXQLFDWLRQVEHWZHHQWKHYLFWLPDQGDSHUVRQRWKHUWKDQWKH6$5&6+$539$95KHDOWKFDUHSHUVRQQHO
   DQGDVVLJQHG69&DUHQRWFRQILGHQWLDODQGGRQRWUHFHLYHWKHSURWHFWLRQVRIUHVWULFWHGUHSRUWLQJ,PSURSHUGLVFORVXUH
   RIFRYHUHGFRPPXQLFDWLRQVLPSURSHUUHOHDVHRIPHGLFDOLQIRUPDWLRQDQGRWKHUYLRODWLRQVRIWKLVSROLF\DUHSURKLELWHG
   DQGPD\UHVXOWLQGLVFLSOLQHXQGHUWKH8&0-ORVVRIFHUWLILFDWLRQRURWKHUDGYHUVHSHUVRQQHORUDGPLQLVWUDWLYHDFWLRQV
       D ,ID6+$539$RU95PDNHVDQLQDGYHUWHQWXQDXWKRUL]HGGLVFORVXUHRIDFRQILGHQWLDOFRPPXQLFDWLRQWKH\
   DQGWKHRWKHUSDUW\WRWKHFRPPXQLFDWLRQZLOOLPPHGLDWHO\QRWLI\WKH6$5&
       E 6$5&VZLOOLPPHGLDWHO\QRWLI\WKH6&RIDQ\LQDGYHUWHQWXQDXWKRUL]HGGLVFORVXUHRIDFRQILGHQWLDOFRPPXQL
   FDWLRQ
       F 7KH6$5&ZLOOQRWLI\WKHYLFWLPRIWKHLQDGYHUWHQWGLVFORVXUHDQGUHYLHZWKHSURFHVVRUFLUFXPVWDQFHWKDWOHG
   WRWKHXQDXWKRUL]HGGLVFORVXUHDVVRRQDVWKH6&KDVEHHQQRWLILHG

   /±,QGHSHQGHQWLQYHVWLJDWLRQV
   ,QGHSHQGHQW LQYHVWLJDWLRQV DUH QRW LQLWLDWHG E\ WKH YLFWLP ,I LQIRUPDWLRQ DERXW D VH[XDO DVVDXOW FRPHV WR D FRP
   PDQGHU¶VDWWHQWLRQIURPDVRXUFHRWKHUWKDQDYLFWLP YLFWLPPD\KDYHHOHFWHGUHVWULFWHGUHSRUWLQJRUZKHUHQRUHSRUW
   KDVEHHQPDGHE\WKHYLFWLP WKDWFRPPDQGHUZLOOLPPHGLDWHO\UHSRUWWKHPDWWHUWRDQ0&,2DQGDQRIILFLDO LQGH
   SHQGHQW LQYHVWLJDWLRQPD\EHLQLWLDWHGEDVHGRQWKDWLQGHSHQGHQWO\DFTXLUHGLQIRUPDWLRQ
      D,IWKHUH LVDQRQJRLQJLQGHSHQGHQWLQYHVWLJDWLRQWKH VH[XDODVVDXOW YLFWLP ZLOO QRORQJHU KDYHWKHRSWLRQRI
   UHVWULFWHGUHSRUWLQJZKHQ²
        'R'ODZHQIRUFHPHQWLQIRUPVWKH6$5&RIWKHLQYHVWLJDWLRQDQG
        7KHYLFWLPKDVQRWDOUHDG\HOHFWHGUHVWULFWHGUHSRUWLQJ
      E7KHWLPLQJRIILOLQJDUHVWULFWHGUHSRUWLVFUXFLDO,QRUGHUWRWDNHDGYDQWDJHRIWKHUHVWULFWHGUHSRUWLQJRSWLRQ
   WKHYLFWLPZLOOILOHDUHVWULFWHGUHSRUWE\VLJQLQJD'')RUPEHIRUHWKH6$5&LVLQIRUPHGRIDQRQJRLQJLQGH
   SHQGHQWLQYHVWLJDWLRQRIWKHVH[XDODVVDXOW
        ,ID6$5&LVQRWLILHGRIDQRQJRLQJLQGHSHQGHQWLQYHVWLJDWLRQDQGWKHYLFWLPKDVQRWVLJQHGD'')RUP
   HOHFWLQJUHVWULFWHGUHSRUWWKH6$5&ZLOOLQIRUPWKHYLFWLPWKDWWKHRSWLRQWRILOHDUHVWULFWHGUHSRUWLVQRORQJHUDYDLO
   DEOH+RZHYHUDOOFRPPXQLFDWLRQVEHWZHHQWKHYLFWLPDQG6+$53SURIHVVLRQDOVZLOOUHPDLQSULYLOHJHG
        ,IDQLQGHSHQGHQWLQYHVWLJDWLRQEHJLQVDIWHUWKHYLFWLPKDVIRUPDOO\HOHFWHGUHVWULFWHGUHSRUWLQJ E\VLJQLQJWKH
   '')RUP WKHLQGHSHQGHQWLQYHVWLJDWLRQKDVQRLPSDFWRQWKHYLFWLP¶VUHVWULFWHG
        ,ILQIRUPDWLRQDERXWDUHVWULFWHGUHSRUWRIVH[XDODVVDXOWFRPHVWRWKHFRPPDQGHU VDWWHQWLRQDVDUHVXOWRID
   GLVFORVXUHWKDWLVUHTXLUHGIRUILWQHVVRIGXW\RUGLVDELOLW\GHWHUPLQDWLRQWKHFRPPDQGHUZLOOQRWUHSRUWWKHPDWWHUWR
   86$&,'&DQGWKHUHVWULFWHGQDWXUHRIWKHUHSRUWZLOOUHPDLQ

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      D7KH6$5&ZLOOHYDOXDWHWKHFRQILGHQWLDOLQIRUPDWLRQSURYLGHGXQGHUWKHUHVWULFWHGUHSRUWWRGHWHUPLQHZKHWKHU
   DQH[FHSWLRQDSSOLHV
        7KH6$5&ZLOOGLVFORVHWKHRWKHUZLVHSURWHFWHGFRQILGHQWLDOLQIRUPDWLRQRQO\DIWHUFRQVXOWDWLRQZLWKWKH6-$
   RIWKH6&VXSSRUWLQJMXGJHDGYRFDWHRURWKHUOHJDODGYLVRUFRQFHUQHGZKRZLOODGYLVHWKH6$5&ZKHWKHUDQH[FHS
   WLRQWRUHVWULFWHGUHSRUWLQJDSSOLHV,QDGGLWLRQWKH6-$VXSSRUWLQJMXGJHDGYRFDWHRURWKHUOHJDODGYLVRUFRQFHUQHG
   ZLOODQDO\]HWKHLPSDFWRQWKHFRPPXQLFDWLRQV
        :KHQWKHUHLVXQFHUWDLQW\RUGLVDJUHHPHQWRQZKHWKHUDQH[FHSWLRQWRUHVWULFWHGUHSRUWLQJDSSOLHVWKHPDWWHU
   ZLOOEHEURXJKWWRWKHDWWHQWLRQRIWKH6&IRUILQDOGHFLVLRQZLWKRXWLGHQWLI\LQJWKHYLFWLP XVLQJQRQ3,,LQIRUPDWLRQ 
   ,PSURSHUGLVFORVXUHRIFRQILGHQWLDOFRPPXQLFDWLRQVXQGHUUHVWULFWHGDQGXQUHVWULFWHGUHSRUWLQJLPSURSHUUHOHDVHRI
   PHGLFDOLQIRUPDWLRQDQGRWKHUYLRODWLRQVRIWKLVJXLGDQFHDUHSURKLELWHGDQGPD\UHVXOWLQGLVFLSOLQHSXUVXDQWWRWKH
   8&0-RU6WDWHVWDWXWHORVVRISULYLOHJHVORVVRIFHUWLILFDWLRQRUFUHGHQWLDOLQJRURWKHUDGYHUVHSHUVRQQHORUDGPLQLV
   WUDWLYHDFWLRQV
      E7KHIROORZLQJH[FHSWLRQVWRWKHSURKLELWLRQDJDLQVWGLVFORVXUHVRIUHVWULFWHGUHSRUWVDXWKRUL]HDGLVFORVXUHRID
   UHVWULFWHGUHSRUWRQO\ ZKHQ DQ6-$FRQVXOWDWLRQKDVRFFXUUHGDQGRQO\LIRQHRUPRUHRIWKHIROORZLQJFRQGLWLRQV
   DSSO\
        $QDXWKRUL]DWLRQE\WKHYLFWLPLQZULWLQJ
        1HFHVVDU\WRSUHYHQWRUPLWLJDWHDVHULRXVDQGLPPLQHQWWKUHDWWRWKHKHDOWKRUVDIHW\RIWKHYLFWLPRUDQRWKHU
   SHUVRQIRUH[DPSOHPXOWLSOHUHSRUWVLQYROYLQJWKHVDPHVXEMHFW UHSHDWRIIHQGHU FRXOGPHHWWKLVFULWHULRQ



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   QHFHVVDU\WRSURFHVVGXW\RUGLVDELOLW\GHWHUPLQDWLRQVIRU6ROGLHUV'LVFORVXUHRIDUHVWULFWHGUHSRUWXQGHUWKHVHFLU
   FXPVWDQFHVGRHVQRWFKDQJHWKHQDWXUHRIWKHYLFWLP¶VUHVWULFWHGUHSRUWQRUGRHVLWFUHDWHDQREOLJDWLRQIRUUHSRUWLQJ
   WRODZHQIRUFHPHQWRUFRPPDQGIRULQYHVWLJDWLRQ
        5HTXLUHGIRUWKHVXSHUYLVLRQRIFRRUGLQDWLRQRIGLUHFWYLFWLPKHDOWKFDUHRUVHUYLFHV7KH6$5&6+$539$
   RUKHDOWKFDUHSHUVRQQHOFDQGLVFORVHVSHFLILFDOO\UHTXHVWHGLQIRUPDWLRQWRWKRVHLQGLYLGXDOVZLWKDQRIILFLDOQHHGWR
   NQRZRUDVUHTXLUHGE\ODZRUUHJXODWLRQ
        2UGHUHGE\D PLOLWDU\RIILFLDO IRUH[DPSOHDGXO\DXWKRUL]HGVXESRHQD LQD 8&0-FDVH )HGHUDORU6WDWH
   MXGJHRUDVUHTXLUHGE\D)HGHUDORU6WDWHVWDWXWHRUDSSOLFDEOH86LQWHUQDWLRQDODJUHHPHQW6$5&V6+$539$V
   95VDQGKHDOWKFDUHSURYLGHUVZLOOFRQVXOWZLWKWKHVHUYLFLQJOHJDORIILFHLQWKHVDPHPDQQHUDVRWKHUUHFLSLHQWVRI
   SULYLOHJHGLQIRUPDWLRQWRGHWHUPLQHLIWKHFULWHULDDSSO\DQGWKH\KDYHDGXW\WRREH\7KH6-$ZLOODOVRDGGUHVVDQ\
   UHOHDVHRILQIRUPDWLRQWKDWLVSURWHFWHG8QWLOWKRVHGHWHUPLQDWLRQVDUHPDGHRQO\QRQLGHQWLI\LQJLQIRUPDWLRQVKRXOG
   EHGLVFORVHG
      F+HDOWKFDUHSURYLGHUVPD\FRQYH\WRWKHFRPPDQGDQ\SRVVLEOHDGYHUVHGXW\LPSDFWUHODWHGWRWKHYLFWLP¶VPHG
   LFDOFRQGLWLRQDQGSURJQRVLVLQDFFRUGDQFHZLWK'R'06XFKFLUFXPVWDQFHVKRZHYHUGRQRWRWKHUZLVHZDU
   UDQWDQH[FHSWLRQWRSROLF\DQGWKHUHIRUHQHLWKHUWKHVSHFLILFGHWDLOVRIWKHVH[XDODVVDXOWQRUFRQILGHQWLDOFRPPXQL
   FDWLRQVPD\EHGLVFORVHG
      G$VH[XDODVVDXOWYLFWLPFHUWLILHGXQGHUWKH$UP\6XLWDELOLW\3URJUDPLVHOLJLEOHIRUERWKWKHUHVWULFWHGDQGXQUH
   VWULFWHGUHSRUWLQJRSWLRQV,IHOHFWLQJUHVWULFWHGUHSRUWLQJWKHYLFWLPLVUHTXLUHGWRDGYLVHWKHFRPSHWHQWPHGLFDODX
   WKRULW\RIDQ\IDFWRUVWKDWFRXOGKDYHDQDGYHUVHLPSDFWRQWKHYLFWLP¶VSHUIRUPDQFHUHOLDELOLW\RUVDIHW\ZKLOHSHU
   IRUPLQJ$UP\6XLWDELOLW\3URJUDPGXWLHV,IQHFHVVDU\WKHFRPSHWHQWPHGLFDODXWKRULW\ZLOOLQIRUPWKHFHUWLI\LQJ
   RIILFLDOWKDWWKHSHUVRQLQTXHVWLRQVKRXOGEHWHPSRUDULO\VXVSHQGHGRUWHPSRUDULO\GHFHUWLILHGIURP$UP\6XLWDELOLW\
   3URJUDPVWDWXVDVDSSURSULDWH ZLWKRXWUHYHDOLQJWKDWWKH SHUVRQLVDYLFWLPRIVH[XDODVVDXOWWKXVSUHVHUYLQJWKH
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      H7KH6$5&RU6+$53ZLOOLQIRUPWKHYLFWLPZKHQDGLVFORVXUHLVPDGH:KHQHYHUSRVVLEOHWKHYLFWLPVKRXOG
   EHQRWLILHGLQDGYDQFHRIWKHGLVFORVXUH
      I8QDXWKRUL]HGGLVFORVXUHKDVQRLPSDFWRQWKHVWDWXVRIWKHUHVWULFWHGUHSRUW$OOUHVWULFWHGUHSRUWLQJLQIRUPDWLRQ
   LVVWLOOFRQILGHQWLDODQGSURWHFWHG+RZHYHUXQDXWKRUL]HGRULQDGYHUWHQWGLVFORVXUHV PDGHWRDFRPPDQGHURUODZ
   HQIRUFHPHQWZLOOUHVXOWLQQRWLILFDWLRQWR86$&,'&

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      D,PSURSHUGLVFORVXUHRIFRYHUHGFRPPXQLFDWLRQVLPSURSHUUHOHDVHRIPHGLFDOLQIRUPDWLRQDQGRWKHUYLRODWLRQV
   RIWKLVSROLF\DUHSURKLELWHGDQGPD\UHVXOWLQGLVFLSOLQHXQGHUWKH8&0-ORVVRIFHUWLILFDWLRQRURWKHUDGYHUVHSHU
   VRQQHORUDGPLQLVWUDWLYHDFWLRQV
      E,QWKHHYHQWWKDWLQIRUPDWLRQDERXWDVH[XDODVVDXOWLVGLVFORVHGWRWKHFRPPDQGHUIURPDVRXUFHLQGHSHQGHQWRI
   WKHUHVWULFWHGUHSRUWLQJDYHQXHVRUWRODZHQIRUFHPHQWIURPRWKHUVRXUFHVWKHFRPPDQGHUZLOOUHSRUWWKHPDWWHUWR
   ODZHQIRUFHPHQWDQGODZHQIRUFHPHQWUHPDLQVDXWKRUL]HGWRLQLWLDWHLWVRZQLQGHSHQGHQWLQYHVWLJDWLRQRIWKHPDWWHU
   SUHVHQWHG$GGLWLRQDOO\DYLFWLP¶VGLVFORVXUHRIWKHLUVH[XDODVVDXOWWRSHUVRQVRXWVLGHWKHSURWHFWLYHVSKHUHRIWKH
   SHUVRQVFRYHUHGE\WKLVSROLF\PD\UHVXOWLQDQLQYHVWLJDWLRQRIWKHGLVFORVXUH
      F7KLVSROLF\GRHVQRWFUHDWHDQ\DFWLRQDEOHULJKWVIRUWKHVXEMHFWRUWKHYLFWLPQRUFRQVWLWXWHDJUDQWRILPPXQLW\
   IRUDQ\DFWLRQDEOHFRQGXFWE\WKHRIIHQGHURUWKHYLFWLP&RYHUHGFRPPXQLFDWLRQVWKDWKDYHEHHQGLVFORVHGPD\EH
   XVHGLQGLVFLSOLQDU\SURFHHGLQJVDJDLQVWWKHRIIHQGHURUWKHYLFWLPHYHQLIVXFKFRPPXQLFDWLRQVZHUHLPSURSHUO\
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      G7KH$UP\UHFRJQL]HVWKHSRWHQWLDOLPSDFWRIUHVWULFWHGUHSRUWLQJRQLQYHVWLJDWLRQVDQGWKHFRPPDQGHU¶VDELOLW\
   WRKROGSHUSHWUDWRUVDFFRXQWDEOHDQGWKLVSROLF\GHFLVLRQUHSUHVHQWVWKHMXGJPHQWWKDWVXFKULVNVKDYHEHHQFDUHIXOO\
   FRQVLGHUHGEXWZHUHRXWZHLJKHGE\WKHRYHUDOOLQWHUHVWLQSURYLGLQJVH[XDODVVDXOWYLFWLPVWKLVIRUPRIVXSSRUW7KLV
   SROLF\VXSHUVHGHVDOOUHJXODWRU\DQGSROLF\JXLGDQFHZLWKLQWKH'HSDUWPHQWRI$UP\QRWH[SUHVVO\PDQGDWHGE\ODZ
   WKDWLVLQFRQVLVWHQWZLWKLWVSURYLVLRQVRUZRXOGSUHFOXGHH[HFXWLRQ

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      D&RPPXQLFDWLRQVEHWZHHQDVH[XDOKDUDVVPHQWFRPSODLQDQWRUYLFWLPDQGD6+$53SURIHVVLRQDOQRWLQWHQGHG
   WREHGLVFORVHGWRWKLUGSHUVRQVDUHFRQILGHQWLDOZKHQPDGHLQIXUWKHUDQFHRIWKHUHQGLWLRQRIDGYLFHRUDVVLVWDQFHWR
   WKHFRPSODLQDQWRUYLFWLP,QIRUPDWLRQUHJDUGLQJVH[XDOKDUDVVPHQWFRPSODLQWVVKRXOGRQO\EHVKDUHGRQDQHHGWR
   NQRZEDVLVLQRUGHUWRVXFFHVVIXOO\SURFHVVWKHFRPSODLQWFRPSOHWHDQLQYHVWLJDWLRQDQGSURYLGHVHUYLFHVWRFRP
   SODLQDQWVDQGYLFWLPV
      E$Q\TXHVWLRQVUHJDUGLQJWKHUHOHDVHRILQIRUPDWLRQZLOOEHFRRUGLQDWHGZLWKWKHVHUYLFLQJOHJDORIILFH



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   VWDOODWLRQ6+$53KRWOLQHV7KH'R'6DIH+HOSOLQHSURYLGHVZRUOGZLGHDQRQ\PRXVDQGFRQILGHQWLDODVVLVWDQFH
   DQGDGGLWLRQDODYHQXHVIRU6ROGLHUVH[XDODVVDXOWYLFWLPVWRUHFHLYHFULVLVVXSSRUWDQGLQIRUPDWLRQDERXWVHFXUHDQG
   DQRQ\PRXVUHSRUWLQJ6ROGLHUVZLVKLQJWRILOHDVH[XDOKDUDVVPHQWFRPSODLQWPD\DOVRXVHWKH6+/DQGLQVWDOODWLRQ
   6+$53KRWOLQHWRFRQWDFWD6$5&RU9$IRUDGGLWLRQDOLQIRUPDWLRQRUD6$5&WRILOHDVH[XDOKDUDVVPHQWFRPSODLQW

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   FDSDEOHRIWDNLQJDUHVWULFWHGRUXQUHVWULFWHGUHSRUWRIVH[XDODVVDXOWDQGLQIRUPDWLRQUHJDUGLQJILOLQJDVH[XDOKDUDVV
   PHQWFRPSODLQW7KH6&ZLOOHQVXUHWKDW6+$53KRWOLQHUHVSRQGHUVKDYHWKHFXUUHQWOLVWLQJRIVXERUGLQDWHXQLW
   LQIRUPDWLRQVRWKDWWKH\FDQFRRUGLQDWHDVUHTXLUHG6XERUGLQDWHOHYHOSKRQHLQIRUPDWLRQZLOOQRW XQGHUDQ\
   FLUFXPVWDQFHVEHSRVWHGRQWKH6+/ZHEVLWHRURIILFLDO$UP\ZHEVLWHV
      E7KH6&ZLOOHQVXUHZULWWHQSURFHGXUHVDUHLQSODFHIRU6+$53KRWOLQHUHVSRQGHUVDQGDOOUHVSRQGHUVDUH
   WUDLQHGLQWKHSURFHGXUHV
      F:KHQWKHLQVWDOODWLRQ6+$53KRWOLQHUHVSRQGHUFDQQRWLPPHGLDWHO\DQVZHUWKHSKRQHFDOOWKHUHVSRQGHU
   ZLOOFRQWDFWWKHFDOOHUZLWKLQPLQXWHV7KHLQVWDOODWLRQ6+$53KRWOLQHWHOHSKRQHQXPEHUZLOOKDYHDYRLFHPDLO
   JUHHWLQJWKDWDGYLVHVFDOOHUVWKDWOLYHFULVLVVXSSRUWLVDYDLODEOHE\FDOOLQJWKH6+/DW ± ±  ±DQGWKDWLIWKH                                              




   FDOOHUSURYLGHVFRQWDFWLQIRUPDWLRQWKHLUFDOOZLOOEHUHWXUQHGZLWKLQPLQXWHV)RUH[DPSOH³+HOORWKLVLV 1$0( 
    6H[XDO $VVDXOW 5HVSRQVH &RRUGLQDWRU RU 9LFWLP $GYRFDWH  DW 2UJDQL]DWLRQ ,GHQWLILHG  LI WKLV LV DQ HPHUJHQF\
   SOHDVHFDOO,¶PVRUU\,FDQQRWWDNH\RXUFDOOULJKWQRZ3OHDVHOHDYHPHDPHVVDJHZLWK\RXUQDPHDQGSKRQH
   QXPEHUDQG,ZLOOUHWXUQ\RXUFDOOZLWKLQPLQXWHV)RULPPHGLDWHKHOSOLYHFULVLVVXSSRUWLVDYDLODEOHE\FDOOLQJ
   WKH6+/DW ±  ±  ± ´
                                                  




      G:KHQUHVSRQGLQJWRFDOOVWKHUHVSRQGHUZLOOLGHQWLI\WKHPVHOYHVWKHLUUROHDQGORFDWLRQVXFKDV³+HOORWKLVLV
    1$0(  7,7/(IRUH[DPSOH6H[XDO$VVDXOW5HVSRQVH&RRUGLQDWRURU9LFWLP$GYRFDWH DW 2UJDQL]DWLRQ,GHQWL
   ILHG +RZPD\,KHOS\RX"´

   0±4XDOLW\FRQWUROUHTXLUHPHQWV
      D'DLO\FKHFNV7KH$UP\2SHUDWLRQV&HQWHU $2& ZLOOFRQGXFWGDLO\DIWHUGXW\KRXUFKHFNVIRU$UP\LQVWDO
   ODWLRQ6+$53KRWOLQHV7KH$2&ZLOOFDOORQHLQVWDOODWLRQHDFKGD\DQGUHSRUWWKHUHVXOWRIWKHFDOOWRWKH'&6
   *± $5'GDLO\
          




      E4XDOLW\FRQWUROFKHFNV'&6* ± $5'ZLOOLQGHSHQGHQWO\FRQGXFWTXDOLW\FRQWUROFKHFNVRIDOO$UP\LQVWDO
                                                                      




   ODWLRQUHVSRQGHUSKRQHQXPEHUVSRVWHGRQWKH6+/ZHEVLWH7KH'&6* ± $5'ZLOOFRRUGLQDWHXQVXFFHVVIXOFDOOV
                                                                                                                  




   ZLWK$&20$6&&'58DQG$UP\5HVHUYH3URJUDP0DQDJHUV'&6* ± $5'ZLOOQRWLI\WKH'HSXW\&KLHIRI                       




   6WDII*± LIDQ\RIWKHIROORZLQJFRQGLWLRQVRFFXUIRUWZRFRQVHFXWLYHPRQWKV $ VH[XDODVVDXOWSKRQHQXPEHU
                  




   WKDWLVLQFRUUHFWDQGKDVQRWEHHQUHFRQFLOHGE\WKHFRPPDQGLQVWDOODWLRQRU 7KHFRPPDQGGRHVQRWVXEPLWD6+/
   UHSRUWDVSUHVFULEHGLQWKLVSROLF\
      F&RQVROLGDWLRQ7KH'&6*± $5'ZLOOFRQVROLGDWHWKHUHVXOWVRILWVTXDOLW\FRQWUROFDOOVDORQJZLWKWKRVHRI
                                                              




   WKH$2&$&20V$6&&VDQG'58VDQGUHSRUWWKHUHVXOWVWRWKH$UP\6+$53'LUHFWRULQDPRQWKO\PHPRUDQGXP
   IRUUHFRUG
      G&RUUHFWQXPEHUV7KH$&20$6&&'58DQG86$530ZLOOHQVXUHWKDWWKH6$5&&KDSODLQ69&07)
   DQG03QXPEHUVDUHFRUUHFWDQGWKDWUHTXLUHGXSGDWHVDUHVXEPLWWHGWRWKH'&6* ± $5'ZLWKLQRQHEXVLQHVVGD\                             




      H6H[XDODVVDXOWUHYLHZERDUG6&VDQGOHDG6$5&VZLOOLQFOXGHPDLQWDLQLQJDFFXUDWH6+/SKRQHQXPEHULQIRU
   PDWLRQDVDQDJHQGDLWHPIRUWKH6$5%7KH6$5%ZLOODOVRDGGUHVVDFFXUDWHLQVWDOODWLRQZHEVLWHLQIRUPDWLRQDQG
   WKHSUHYLRXVPRQWK¶VTXDOLW\FRQWUROWHVWFDOOUHVXOWVRIWKH6+$53KRWOLQH$OO6$5%GXHRXWVXSGDWHVDQGRU
   V\VWHPVFRUUHFWLRQVZLOOEHDGGUHVVHGZLWKLQRQHEXVLQHVVGD\RIWKH6$5%DQGZLOOEHLQFOXGHGDVDQXSGDWHDWWKH
   QH[W6$5%
      I5HTXLUHPHQWVIRUVH[XDODVVDXOWUHVSRQVHKRWOLQHVDQGZHEVLWHLQIRUPDWLRQ
        6H[XDODVVDXOWYLFWLPVFDQFRQWDFWWKH'R'6DIH+HOSOLQHE\FDOOLQJ ±  ±WH[WLQJWKHLUORFDWLRQRU                                  




   ]LSFRGHWR ±ZLWKLQ&2186RU ±  ± 2&2186RUFKDWRQOLQHZLWKDFRXQVHORUDWKWWSVVDIHKHOS
                                                                                    




   OLQHRUJKRXUVDGD\




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                                                                                  $5±-XO\                                                                           
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        7KHIROORZLQJUHVSRQGHU¶VSKRQHQXPEHUVZLOOEHSURYLGHGWRWKH'R'6DIH+HOSOLQH6$5&VFKDSODLQV69&
   PHGLFDOSHUVRQQHODQGPLOLWDU\SROLFH'&6* ± $5'LVUHTXLUHGWRSURYLGH'R'6DIH+HOSOLQHDGPLQLVWUDWRUVDQ\
                                                        




   FKDQJHVWRWKHVHSKRQHQXPEHUV
        (DFKLQVWDOODWLRQZLOOKDYHDORFDOVH[XDODVVDXOWUHVSRQVHSKRQHQXPEHUWKDWZLOOEHSRVWHGRQWKH'R'
   6DIH+HOSOLQHZHEVLWHRUOLVW
        $&20$6&&'58DQG5&FRPPDQGVZLOOFRQWDFWWKH'&6* ± $5'IRUUHYLVLRQVUHTXLUHGWRWKHSULPDU\
                                                                                  




   FRPPDQGRULQVWDOODWLRQDQGGXW\KRXU¶VSKRQHLQIRUPDWLRQSRVWHGRQWKH'R'6DIH+HOSOLQH7KH'R'6DIH
   +HOSOLQHZLOORQO\UHIOHFWWKHSULPDU\PDLQVH[XDODVVDXOWSKRQHQXPEHUVRI$UP\JDUULVRQVLQVWDOODWLRQV
        &RPPDQGHUVZLOOHQVXUHWKH'R'6DIH+HOSOLQHSKRQHQXPEHUDQGZHEVLWHLVSRVWHGRQWKHLUJDUULVRQZHEVLWHV
   DQGPHGLDWRHQVXUHLPPHGLDWHVH[XDODVVDXOWYLFWLPDVVLVWDQFH
        $OO$UP\DFWLYLW\ZHEVLWHVWRLQFOXGH5&ZHEVLWHVZLOORQO\UHIOHFWWZRVH[XDODVVDXOWUHVSRQVHSKRQH
   QXPEHUVRQLWVKRPHSDJH WKH'R'6DIH+HOSOLQHDQG WKHSULPDU\6+$53KRWOLQHQXPEHUIRUWKHLQVWDOOD
   WLRQWKDWLVSRVWHGRQWKH'R'6DIH+HOSOLQH7KH'R'6DIH+HOSOLQHZLOORQO\UHIOHFWWKHSULPDU\RUPDLQVH[XDO
   DVVDXOWSKRQHQXPEHUVIRU$UP\JDUULVRQVDQGLQVWDOODWLRQV
        $OOFRPPDQGHUVZLOOFRRUGLQDWHZLWKWKHLUDSSURSULDWHZHEVLWHDGPLQLVWUDWRUVWRHQVXUHWKDWWKHLURIILFLDO$UP\
   ZHEVLWHVFRPSO\$Q\IXWXUHFKDQJHVWRLQVWDOODWLRQ6+$53KRWOLQHQXPEHUVZLOOUHTXLUHLPPHGLDWHFKDQJHVWR
   ZHEVLWHV&RPPDQGVDQGLQVWDOODWLRQVDUHUHVSRQVLEOHIRUXSGDWLQJWKHLUFRPPDQGSDJHVWKURXJKFRRUGLQDWLRQZLWK
   &KLHI,QIRUPDWLRQ2IILFHU* ± RUDSSURSULDWHZHEVLWHDGPLQLVWUDWRU
                                   




        7KH'&6*± $5'ZLOOFRRUGLQDWHZLWKRIILFHRIWKH&KLHI,QIRUPDWLRQ2IILFHU* ± ZKRZLOOEHUHVSRQVLEOH
                                                                                                       




   IRUXSGDWLQJRIILFLDO $UP\ ZHESDJHVDQG PHGLDWKDWDUH PDQDJHGDQGRUXVHGIRU+4'$DQGWKH $567$) )RU
   H[DPSOHKWWSVZZZDUP\PLO$.286$UP\)DFHERRNDQGVRIRUWK 
        $&20$6&&'58DQG5&FRPPDQGVZLOO²
       D 3XEOLVKSROLF\JRYHUQLQJSURFHGXUHVUHTXLUHGWRHQVXUHDFFXUDF\RILQVWDOODWLRQDQGVXERUGLQDWHZHEVLWHVDQG
   PDLQWDLQLQJDFFXUDWHVXERUGLQDWHSKRQHQXPEHUV
       E (QVXUH 6+$53 30V RU OHDG 6$5&V DGYLVH WKH '&6 * ±  $5' ZLWKLQ  EXVLQHVV GD\ ZKHQ UHYLVLRQV DUH
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   UHTXLUHGWRWKHLQVWDOODWLRQ6+$53KRWOLQHSKRQHQXPEHUVSXEOLVKHGRQWKH'R'6DIH+HOSOLQH
        $&20 $6&&'58DQG5& 6+$5330VRUOHDG6$5&VDQG $2& PRQLWRUVH[XDODVVDXOWSKRQH
   QXPEHUVDWOHDVWPRQWKO\5HSRUWFKDQJHVZLWKLQEXVLQHVVGD\WR$&20$6&&RU'586+$5330(QVXUHDOO
   SKRQHUHVSRQGHUVDUHDZDUHRIDSSOLFDEOHSROLFLHV
        7KH$&20$6&&'58DQG5&6+$5330LVUHVSRQVLEOHWRHQVXUHWKDWWKH6$5&VFKDSODLQV69&
   PHGLFDOSHUVRQQHODQGPLOLWDU\SROLFHQXPEHUVDUHFRUUHFWDQGWKDWUHTXLUHGXSGDWHVDUHVXEPLWWHGWR'&6* ± $5'     




   ZLWKLQEXVLQHVVGD\
        &RPPDQGHUV DQG OHDG 6$5&V ZLOO LQFOXGH PDLQWDLQLQJ DFFXUDWH 'R' 6DIH +HOSOLQH VH[XDO DVVDXOW SKRQH
   QXPEHU LQIRUPDWLRQ DV DQ DJHQGD LWHP IRU WKH PRQWKO\ 6$5% 7KH 6$5% ZLOO DOVR DGGUHVV DFFXUDWH LQVWDOODWLRQ
   ZHEVLWHLQIRUPDWLRQDQGWKHSUHYLRXVPRQWK¶V4&WHVWFDOOUHVXOWVRIDOOVH[XDODVVDXOWSKRQHQXPEHUVZLWKLQWKH
   JDUULVRQ
      J'HVFULEHWKHTXDOLW\FRQWUROUHTXLUHPHQWV
        $&20$6&&'58DQG5&FRPPDQGHUVZLOOFRQGXFWPRQWKO\4&WHVWFDOOVWRDPLQLPXPRISHUFHQWRI
   WKHWRWDOLQYHQWRU\RIEULJDGHVH[XDODVVDXOWSKRQHQXPEHUVZLWKLQWKHLUUHVSHFWLYHFRPPDQGV
        $&20$6&&'58DQG5&FRPPDQGHUVZLOOVXEPLWDPRQWKO\UHSRUWRIFRPPDQGLQVWDOODWLRQWHVWFDOOV
   PDGHWRWKHVH[XDODVVDXOWDQGGXW\KRXUVUHVSRQVHWHOHSKRQHQXPEHUVWR'&6* ± $5'QRODWHUWKDQWKHWK
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   RIHDFKPRQWK7KLVLQFOXGHVPDNLQJWHVWFDOOVDQGHQVXULQJDFFXUDF\RIDOOVH[XDODVVDXOWSKRQHQXPEHUVZLWKWKH
   $&20$6&&DQG'58EULJDGHIRRWSULQW&RPPDQGHUVZLOOHQVXUHVH[XDODVVDXOWSKRQHQXPEHUVSRVWHGRQWKH
   'R'6DIH+HOSOLQHDUHDFFXUDWH5HYLVLRQVUHTXLUHGZLOOEHUHSRUWHGZLWKLQEXVLQHVVGD\WRWKH'&6* ± $5'
                                                                                                                     




        7KH+4'$3URJUDP6WDIIZLOOSURYLGHD4&UHSRUWWHPSODWHWR$&20V$6&&V'58VDQG5&V,QIRUPDWLRQ
   UHFHLYHGIURP $&20V $6&&VRU'58V QRWXVLQJ WKH WHPSODWHRUWKDWDUH LQFRPSOHWH ZLOOEH VHQWEDFN WRWKH
   FRPPDQGIRUFRUUHFWLRQV7HVWFDOOSRSXODWLRQZLOOEHHVWDEOLVKHGDQGGRFXPHQWHGRQHDFKPRQWK¶VUHSRUW
        7KH'$6+$533URJUDPZLOOFRPSLOHLQIRUPDWLRQVXEPLWWHGE\WKH$&20V$6&&V'58VDQG5&VLQWRD
   PHPRUDQGXPUHSRUWZLWKVXSSRUWHQFORVXUHVDQGSURYLGHWKHUHSRUWWRWKH'LUHFWRURIWKH'$6+$533URJUDPQR
   ODWHUWKDQWKHWKRIHDFKPRQWK,IWKHWKLVDKROLGD\RUZHHNHQGWKHUHSRUWDQGVXSSRUWHQFORVXUHVDUHGXHWKHQH[W
   EXVLQHVVGD\
        &RPPDQGVWKDWGRQ¶WVXEPLWWKHLUPRQWKO\WHVWFDOOGDWDWRWKH'$6+$533URJUDPLQDFFRUGDQFHZLWKJXLG
   DQFHZLOOEHUHFRUGHGDVXQVXFFHVVIXOIRUDOORIWKHHQWULHVIRUWKDWPRQWK
        )RUDQ\DFWLYLW\XVLQJDVHSDUDWHVHUYLFHVXFKDVWKH)RUW)DPLO\+RWOLQHIRUWKH5&WRFRQQHFWYLFWLPVZLWKD
   VH[XDOUHVSRQVHFRRUGLQDWRURU9$ZLOOLQFRUSRUDWHYHULI\LQJWKHDFFXUDF\RIWKHSKRQHQXPEHUVOLVWHGZLWKWKHVHS
   DUDWHVHUYLFHDVDSDUWRILWVSHUFHQWPRQWKO\WHVWFDOOV



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                                                 $5±-XO\                                                       
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      K5HVSRQVLELOLW\2IILFHRIWKH'&6* ± +4'$3URJUDP2YHUVLJKWRIWKHPRQWKO\4&7KH'&6* ± $5'
                                                                                                                   




   ZLOO²
        ,QGHSHQGHQWO\FRQGXFWPRQWKO\4&FKHFNVRIWKHLQVWDOODWLRQ6+$53 KRWOLQHUHVSRQVHSKRQHQXPEHUV
   SRVWHGRQWKH'R'6DIH+HOSOLQHDQGFRRUGLQDWHILQGLQJVZLWK$&20V$6&&V'58VDQG5&30V&KDQJHVWRWKH
   LQVWDOODWLRQ6+$53KRWOLQHSKRQHQXPEHUVZLOORQO\EHPDGHXSRQFRQFXUUHQFHIURPWKH$&20$6&&RU
   '58RU5&
        1RWLI\WKH'&6*± XQGHUDQ\RIWKHIROORZLQJFRQGLWLRQVIRUFRQVHFXWLYHPRQWKV DVH[XDODVVDXOWSKRQH
                               




   QXPEHUWKDWLVLQFRUUHFWDQGKDVQRWEHHQUHFRQFLOHGE\WKHFRPPDQGLQVWDOODWLRQRU WKHFRPPDQGGRHVQRWVXEPLW
   D'R'6DIH+HOSOLQHUHSRUWDVSUHVFULEHGLQWKLVSROLF\7KH'&6* ± ZLOOFRQWDFWWKHVHQLRUUHVSRQVLEOH*2GLUHFWO\
                                                                              




        &RQVROLGDWHWKHUHVXOWVRIWKH+4'$6+$53$2&$&20V$6&&V'58VDQG5&V¶4&WHVWLQJRISULPDU\
   VH[XDODVVDXOWUHVSRQVHSKRQHQXPEHUVSRVWHGRQWKH'R'6DIH+HOSOLQHDQGUHSRUWWKHUHVXOWVWRWKH6(&$50<
   TXDUWHUO\ZLWKQHJDWLYHILQGLQJVRQO\,IWKHKRWOLQHLVDQVZHUHGRUFDOOUHWXUQHGZLWKLQWKHDSSURSULDWHWLPHIUDPH
   WKH'&6*± DQG6(&$50<ZLOOQRWEHQRWLILHG
                    




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                                                      $5±-XO\                                          
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   $SSHQGL[1
   6H[XDO+DUDVVPHQW$VVDXOW5HVSRQVHDQG3UHYHQWLRQ3URJUDP2UJDQL]DWLRQ,QVSHFWLRQ
   3URJUDP
   7KLVJXLGDQFHSUHVFULEHVWKHPHWKRGWRPDLQWDLQDFFRXQWDELOLW\DQGRYHUVLJKWRIVH[XDODVVDXOWDQGVH[XDOKDUDVVPHQW
   SURFHVVHVDQGVHUYLFHV

   1±*HQHUDOUHTXLUHPHQWV
      D7KH$UP\6+$533URJUDP2,3FKHFNOLVWLVWKHVWDQGDUGGRFXPHQWIRUDOORIILFLDOLQVSHFWLRQVDQGZLOOEHXVHG
   ZKHQ²
        $30WUDQVLWLRQVLQRXWRIWKHSRVLWLRQRU
        2QFHSHUFDOHQGDU\HDUZKHQQRWUDQVLWLRQVRFFXU
      E:KHQLQLWLDWLQJFRQGXFWLQJWKHLQVSHFWLRQREWDLQWKHPRVWFXUUHQW2,3FKHFNOLVWIURP+4'$&RPPDQGVPD\
   DOVRDGGFRPPDQGVSHFLILFTXHVWLRQVRUFRQFHUQVWRWKHLUSURJUDPLQVSHFWLRQ
      F(DFK30OHYHOLQVSHFWLRQZLOOLQFOXGHWKHLQVSHFWLRQRIDWOHDVWRQHLPPHGLDWHVXERUGLQDWHFRPPDQG
      G'LYLVLRQOHYHORUJDQL]DWLRQVZLOOUHTXHVWDQLQVSHFWLRQRILWV6+$533URJUDPIURPLWVLPPHGLDWHKLJKHUFRP
   PDQGZKHQHYHUWKH30RUOHDG6$5&DVDSSOLFDEOHWUDQVLWLRQVLQRXWRIWKHSRVLWLRQ
      H%ULJDGHOHYHORUJDQL]DWLRQVZLOOUHTXHVWDQLQVSHFWLRQRILWV6+$533URJUDPIURPLWVLPPHGLDWHKLJKHUFRP
   PDQGZKHQHYHUWKH6$5&WUDQVLWLRQVLQRXWRIWKHSRVLWLRQ
      I7KH2,3FKHFNOLVWPD\DOVREHXVHGGXULQJVWDIIDVVLVWDQFHYLVLWVIRUUDQGRPSURJUDPVSRWFKHFNVDQGDQ\RWKHU
   PHDQVWKHFRPPDQGVHHVILWIRUHYDOXDWLQJFRDFKLQJDQGPHQWRULQJSHUVRQQHORQ6+$53UHTXLUHPHQWV

   1±8VDJH
      D$OORUJDQL]DWLRQZLOOKDYHDOOUHIHUHQFHVDQGVXSSRUWLQJGRFXPHQWVDYDLODEOHDWWKHWLPHRIWKHLQVSHFWLRQ(LWKHU
   KDUGFRS\RUHOHFWURQLFGRFXPHQWVZLOOEHRUJDQL]HGHDVLO\DFFHVVLEOHDQGDSSURSULDWHO\SURWHFWHG
      E,QVSHFWRUVZLOOUHSRUWDOOGLVFUHSDQFLHVDWWKHWLPHRILQVSHFWLRQLQFOXGLQJWKRVHWKDWZHUHFRUUHFWDEOHSULRUWR
   WKHFRQFOXVLRQRIWKHLQVSHFWLRQ,QVSHFWRUVZLOODQQRWDWHWKHRQVLWHFRUUHFWLRQVLQWKHUHPDUNVVHFWLRQVIRUHDFKGLV
   FUHSDQF\IRXQG

   1±&RQVLGHUDWLRQVE\$UP\&RPSRQHQW
      D(DFK$&20$6&&DQG'58ZLOOFRQGXFWDQRUJDQL]DWLRQDOLQVSHFWLRQRILWVSURJUDPRIILFHHYHU\\HDUV
      E86$5RUJDQL]DWLRQDODQGIXQFWLRQDOFRPPDQGVVXSSRUWFRPPDQGVDQGWUDLQLQJFRPPDQGVZLOOSHUIRUPLQ
   VSHFWLRQVZKHQFRQGXFWLQJDQQXDOWUDLQLQJRUPRELOL]HGIRUFRQWLQJHQF\RSHUDWLRQVZLWKLQWKHFDOHQGDU\HDU
      F$51*EULJDGHVL]HGXQLWVIURPHDFKVWDWHZLOOFRQGXFWLQVSHFWLRQVZKHQFRQGXFWLQJDQQXDOWUDLQLQJRUPREL
   OL]LQJZKLOHXQGHU7LWOH86&VWDWXV

   1±0RELOL]LQJDQGGHSOR\LQJXQLWV
   7KLVDSSOLHVWRDOOXQLWVWKDWGHSOR\RUPRELOL]HIRUPRUHWKDQGD\VZLWKLQWKHFDOHQGDU\HDU
      D%ULJDGHVL]HGRUJDQL]DWLRQVDQGODUJHUZLOOXVHWKHIXOOLQVSHFWLRQFKHFNOLVWIRUDOOFRPSRQHQWVZLWKLQWKHLUUH
   VSRQVLELOLW\SULRUWRGHSOR\PHQW7KLVLQFOXGHVXVLQJWKH$51*SRUWLRQVRIWKHFKHFNOLVWIRU$51*XQLWVWKDWDUHFR
   ORFDWHGDQGDWWDFKHG23&21RU$'&21ZKHQPRELOL]HG
      E7KHXQLWOHYHOSRUWLRQRIWKHFKHFNOLVWVKRXOGDOVREHXVHGIRUEDWWDOLRQVL]HGXQLWVRUJDQL]DWLRQDOKHDGTXDUWHUV
   RUHTXLYDOHQWO\VL]HGRUJDQL]DWLRQV
      F$OOSUHGHSOR\PHQWLQVSHFWLRQVZLOOEHILQDOL]HGZLWKLQGD\VRIGHSOR\PHQWLQRUGHUWRJLYHWKHXQLWWLPHWR
   FRUUHFWGHILFLHQFLHV$OORWKHUPRELOL]DWLRQLQVSHFWLRQVZLOOEHFRPSOHWHZLWKLQGD\VDIWHUPRELOL]DWLRQRUZLWKLQ
   GD\VRIWKHGHPRELOL]DWLRQGDWHZKLFKHYHUFRPHVILUVW
      G5$DQG86$5FRPPDQGVXQLWVZLOOFRQGXFWDUHVHWLQVSHFWLRQZLWKLQPRQWKVRIUHGHSOR\PHQWRUGHPRELOL
   ]DWLRQ

   1±5HSRUWLQJDQGDFFRXQWDELOLW\
      D$&20V$6&&DQG'58VZLOOSURYLGHDQDQQXDOUHSRUWRIWKHLU2,3VDQG6$9VWRWKH'&6* ± $5'     




      E7KHVHUHSRUWVVKRXOGLQFOXGHWKHRYHUDOODVVHVVPHQWRIKRZZHOOWKHFRPPDQGLVPHHWLQJWKHUHTXLUHPHQWVLQ
   WKHFKHFNOLVWVSHFLILFDOO\KLJKOLJKWLQJWKRVHLWHPVWKDWZHUHQRWFRPSOLDQWWKHXQLW¶VDVVHVVPHQWRIVXERUGLQDWHRU
   JDQL]DWLRQVLIDSSOLFDEOHDQGKRZWKHXQLWKDVDGGUHVVHGRUSODQVWRDGGUHVVGHILFLHQFLHVLQFRPSOLDQFH
      F$Q\SODQVKRXOGLQFOXGHWKHDQWLFLSDWHGWLPHOLQHDQGUHFRQFLOLDWLRQPHWKRGV




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      D&RPPDQGVXQLWVDQGRUJDQL]DWLRQVGHSOR\HGIRUPRUHWKDQ\HDURUWKDWKDYHFRPSOHWHGDQLQVSHFWLRQOHVV
   WKDQGD\VIURPWKHGHSOR\PHQWPRELOL]DWLRQQRWLILFDWLRQGDWHDUHQRWUHTXLUHGWRFRQGXFWLQVSHFWLRQV5HDUGHWDFK
   PHQWSHUVRQQHOZLOOPDLQWDLQPHPRUDQGXPVIRUUHFRUGRQEHKDOIRIWKHLUIRUZDUGHOHPHQWVWKDWLGHQWLI\WKHPLQD
   GHSOR\HGVWDWXV
      E$51*FRPPDQGVXQLWVDQGRUJDQL]DWLRQVDUHSHUPLWWHGWRVXEPLWD0)5DORQJZLWKDFRS\RIWKHLQVSHFWLRQ
   UHVXOWVLQVWHDGRIFRQGXFWLQJDQLQVSHFWLRQLIWKHFRPPDQGWKHVWDWH-)+4RUDQRWKHURUJDQL]DWLRQGHVLJQHGE\WKH
   VWDWH-)+4RU1*%FRQGXFWVDQGLQVSHFWLRQRIWKHLU6+$533URJUDPGXULQJWKHFDOHQGDU\HDUZKLOHXQGHU7LWOH
   86&VWDWXV
      F86$5DQG$51*FRPPDQGVXQLWVDQGRUJDQL]DWLRQVDUHDOVRH[HPSWIURPLQVSHFWLRQRIWKH\FRQGXFWHGDQ
   LQVSHFWLRQZKLOHXQGHU7LWOH86&VWDWXVZLWKLQGD\VRIDQ\PLVVLRQRUDFWLYLW\WKDWUHTXLUHVDQLQVSHFWLRQRI
   WKH6+$533URJUDP7KHFRPPDQGXQLWRUJDQL]DWLRQZLOOSURYLGHWKHVHUHVXOWVWRWKHLQVSHFWLQJRUJDQL]DWLRQDVSURRI
   RIWKHLQVSHFWLRQDQGD0)5WKDWRXWOLQHVLWVFRUUHFWLYHDFWLRQVLQFHWKHLQVSHFWLRQDVQHHGHG
      G$Q\RWKHUH[FHSWLRQVZLOOEHGLUHFWHGWRWKH'&6* ± $5'IRUDSSURYDOE\WKH6(&$50<
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   $SSHQGL[2
   ,QVSHFWRU*HQHUDO$FWLYLWLHVLQ6XSSRUWRIWKH&RPPDQGHU

   2±7KHLQVSHFWRUJHQHUDOV\VWHP
      D'XDOUHVSRQVLELOLWLHV7KH$UP\,*V\VWHPLVXQLTXHLQERWKLWVVFRSHDQGLWVLPSOHPHQWDWLRQ,*VZRUNRQO\
   IRUWKHFRPPDQGHURUKHDGRIDQDJHQF\WKHGLUHFWLQJDXWKRULW\IRU,*LQVSHFWLRQVLQYHVWLJDWLRQVDVVLVWDQFHDQG
   WHDFKLQJDQGWUDLQLQJVWDQGDUGV+RZHYHU,*VUHVSRQGWRWKH6(&$50<DQG&6$UHTXLUHPHQWVWKURXJK7,*ZKR
   VHUYHV DV WKH ,* V\VWHP¶V SURSRQHQW 7KH V\VWHP FRPSOHPHQWV DQG VXSSRUWV FRPPDQGV ZKLOH SURYLGLQJ WKH
   6(&$50<DQG&6$YLVLELOLW\RQV\VWHPLFLVVXHVDFURVVWKHIRUFH7KLVGXDOZLQGRZDOORZVWKH6(&$50<DQG
   &6$WRDGGUHVVFULWLFDO$UP\ZLGHLVVXHVWKDWFRXOGDGYHUVHO\DIIHFWWKH$UP\ VUHDGLQHVV
      E$VVLJQPHQWRILQVSHFWRUVJHQHUDO,*VDUHDVVLJQHGWRFRPPDQGVDJHQFLHVDFWLYLWLHVFHQWHUVFRPPXQLWLHV
   LQVWDOODWLRQVDQG6WDWHVLQDFFRUGDQFHZLWKHVWDEOLVKHGDXWKRUL]DWLRQGRFXPHQWV WKHPRGLILHGWDEOHRIRUJDQL]DWLRQ
   DQGHTXLSPHQWDQGWKH7'$ *2VZKRDUHFRPPDQGHUVDQG6(6'$&LYLOLDQVLQOHDGGLUHFWRUSRVLWLRQVZLOOKDYH
   DQDVVLJQHGFRPPDQG,*RQWKHLUSHUVRQDOVWDIIVFRPSOHWHZLWKDQ,*VWDIIVHFWLRQ7KHILUVWFRPPDQGHFKHORQWKDW
   QRUPDOO\KDVDQDVVLJQHGFRPPDQG,*LVWKHGLYLVLRQKHDGTXDUWHUV$VDUHVXOWWKHGLYLVLRQ,*VWDIIVHFWLRQLVWKH
   EDVLFEXLOGLQJEORFNRIWKH$UP\,*V\VWHP VIRUFHVWUXFWXUH
      F,QVSHFWRUJHQHUDODWWULEXWHV7KH$UP\,*V\VWHPLVFRPSULVHGRIRIILFHUV1&2VDQG'$&LYLOLDQVZKRHP
   EUDFHDQGH[HPSOLI\$UP\9DOXHVWKH:DUULRU(WKRVDQGWKH'$&LYLOLDQ&RUSV&UHHG7KH,*KROGVDSRVLWLRQRI
   SXEOLFWUXVWVREURDGH[SHULHQFHVWURQJFRPPXQLFDWLRQVNLOOVDQGLPSHFFDEOHHWKLFVDUHNH\DWWULEXWHVWKDWVWUHQJWKHQ
   DQGFRQWLQXDOO\EXLOGXSRQWKHYLDELOLW\DQGHIIHFWLYHQHVVRIWKH$UP\,*V\VWHP
      G7KHIRXULQVSHFWRUJHQHUDOIXQFWLRQV$OO,*VVHUYHWKHLUFRPPDQGHUVDQGWKHLUFRPPDQGVE\SHUIRUPLQJWKH
   IRXU,*IXQFWLRQV²LQVSHFWLRQVDVVLVWDQFHLQYHVWLJDWLRQVDQGWHDFKLQJDQGWUDLQLQJ²IRUWKHVSHFLILFSXUSRVHRIHQ
   KDQFLQJWKHFRPPDQG VUHDGLQHVVDQGZDUILJKWLQJFDSDELOLW\7KH,*VXVHWKHVHIXQFWLRQVWRVHHNRXWV\VWHPLFLVVXHV
   WKDWDGYHUVHO\DIIHFWWKHFRPPDQGDQGWKH$UP\DQGWKHQLQVSHFWWKRVHV\VWHPLFLVVXHVWRLGHQWLI\SUREOHPDUHDVDQG
   PDNH UHFRPPHQGDWLRQV WKDW GLUHFWO\ DGGUHVV WKH FDXVHV RI WKHVH SUREOHP DUHDV 7KH WZR PDLQ FRQFHSWV WKDW EHDU
   GLUHFWO\XSRQDQGRIWHQFKDUDFWHUL]HWKHH[HFXWLRQRIWKHVHIRXUIXQFWLRQVDUHWKH,*WHQHWRIFRQILGHQWLDOLW\DQGWKH
   UHVWULFWLRQVSODFHGRQWKHGLVWULEXWLRQDQGXVHRI,*UHFRUGV
        $OO,*VIXQFWLRQ ZLWKLQDV\VWHPRI$UP\ZLGH,*V ZKRFRRSHUDWH DQGDVVLVWHDFK RWKHULQH[HFXWLQJWKHVH
   IXQFWLRQVRQEHKDOIRIWKHLUUHVSHFWLYHFRPPDQGV²HYHQWKRXJKWKH\VHUYHRWKHUFRPPDQGVDQGFRPPDQGHUV7KH
   HIIHFWLYHIXQFWLRQLQJRIWKH,*V\VWHPGHSHQGVRQWKHPXWXDOFRRSHUDWLRQRIDOO,*VWKURXJK,*WHFKQLFDOFKDQQHOV
   QRWVLPSO\ZLWKLQHDFKSDUWLFXODUFRPPDQGRU6WDWHEXWWKURXJKRXWWKH$UP\DVDZKROH
        $OO,*VRSHUDWHZLWKLQDQHQYLURQPHQWFRQVLVWLQJRIWKHFRPPDQGHUWKHFRPPDQGHU VVWDIIWKHFRPPDQGHU V
   6ROGLHUV)DPLO\PHPEHUV'$&LYLOLDQHPSOR\HHVUHWLUHHVDQGFRQWUDFWHPSOR\HHVDQGRWKHUFLYLOLDQV7KHVHLQGL
   YLGXDOVUHSUHVHQWWKH,* VFRQVWLWXHQF\DQGDOO,*VEROVWHUWKHFKDLQRIFRPPDQGE\SHUIRUPLQJWKHIRXU,*IXQFWLRQV
   LQVXSSRUWRIWKLVFRQVWLWXHQF\
        $OO,*VDUHFRQILGHQWLDODGYLVRUVDQGIDFWILQGHUVWRWKHFRPPDQGHU6HOIOHVVVHUYLFHLVWKHFDUGLQDODWWULEXWHRI
   VXFFHVVIXO,*VDQGDOO,*VZLOODGKHUHWR²DQGEHDGYRFDWHVRI²WKH$UP\9DOXHVWKH:DUULRU(WKRVDQGWKH$UP\
   &LYLOLDQ&RUSV&UHHG(YHU\RQHZLWKLQDFRPPDQGZLOOUHVSHFW,*VIRUWKHLUOHYHORIH[SHUWLVHFDQGRUFUHGLELOLW\
   UHOLDELOLW\DQGWUXVWZRUWKLQHVV
        7KH,*VHOHFWVXQLIRUPHG$UP\,*VXVLQJDQRPLQDWLYHSURFHVVDQGFRPPDQG,*VVHOHFWFLYLOLDQ,*VWKURXJK
   QRUPDOSHUVRQQHOUHFUXLWPHQWSURFHGXUHV7KHEHVW,*VDUHWKRVHQRPLQDWHGE\WKHFRPPDQGHUGLUHFWLQJDXWKRULW\LQ
   FRRUGLQDWLRQZLWK+5&1*%DQG86$5&&RPPDQGHUVVKRXOGLGHQWLI\DQGORFDOO\QRPLQDWHRIILFHUV1&2VDQG
   '$&LYLOLDQVZLWKLPSHFFDEOHUHSXWDWLRQVRIKRQHVW\LQWHJULW\DGKHUHQFHWR$UP\9DOXHVDQGNQRZOHGJHRIKRZ
   WKH$UP\UXQVWR7,*IRUGHWDLOHGDVVLJQPHQWDV,*V7KHQRPLQDWLRQSURFHVVLVRXWOLQHGLQDSSHQGL[%RI$5 ±         




   2±7KHLQVSHFWRUJHQHUDODQGFRPPDQGHUUHODWLRQVKLS
      D7KHLQVSHFWRUJHQHUDOV\VWHP VIRXQGDWLRQ7KHUHODWLRQVKLSEHWZHHQWKHFRPPDQG,*DQGWKHFRPPDQGHUUHS
   UHVHQWVWKHIRXQGDWLRQRIWKH$UP\,*V\VWHP7KHFRPPDQG,*PXVWEHFRPHWKHFRPPDQGHU VFRQILGDQW²RQHRI
   WKHLQGLYLGXDOVZLWKZKRPWKHFRPPDQGHUFDQGLVFXVVZLWKFRPSOHWHWUXVWDQ\DVSHFWRIWKHFRPPDQGLQWLPHVRI
   ERWKZDUDQGSHDFH,*VH[WHQGWKHH\HVHDUVYRLFHDQGFRQVFLHQFHRIWKHLUFRPPDQGHUVE\SURYLGLQJ,*REVHUYD
   WLRQV ILQGLQJVDQGLPSUHVVLRQVRQDOODVSHFWVRI WKHFRPPDQG WKDW PLJKWKLQGHUWKHRUJDQL]DWLRQ VUHDGLQHVVDQG
   ZDUILJKWLQJFDSDELOLW\7KHFRPPDQGHUKDVDUHVSRQVLELOLW\WROHDUQDQGXQGHUVWDQGWKH,*FRQFHSWDQGV\VWHPDQGWR
   DGYLVHWKHFRPPDQG,*RQKRZWKH,*VWDIIVHFWLRQFDQVHUYHWKHFRPPDQGHIIHFWLYHO\
      E7KHFRPPDQGLQVSHFWRUJHQHUDO0RVW*2VVHUYLQJLQDFRPPDQGSRVLWLRQZLOOKDYHDFRPPDQG,*DQGDQ
   DFFRPSDQ\LQJ,*VWDIIVHFWLRQ7KHFRPPDQG,*LVDFRPPLVVLRQHGRIILFHURU'$&LYLOLDQ RQO\5$FRPPLVVLRQHG



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   RIILFHUVPD\VHUYHDV6WDWHFRPPDQGV,*V 7KHFRPPDQG,*OHDGVWKH,*VWDIIVHFWLRQDQGZRUNVGLUHFWO\IRUWKH
   FRPPDQGHURULQWKHFDVHRIWKH6WDWHVWKH6WDWHDGMXWDQWJHQHUDO&RPPDQGHUVVKRXOGQRWDOWHUWKHLUFRPPDQG¶V,*
   VWDIIVWUXFWXUHSULRUWRFRQVXOWLQJZLWK7,*DQG'$,* VIRUFHPDQDJHUV
         7KHWUXVWDQGFRQILGHQFHVKDUHGEHWZHHQDOO,*VDQGWKHLUFRPPDQGHUVH[WHQGEH\RQGRWKHUFRQILGHQWLDOUHOD
   WLRQVKLSVEHWZHHQFRPPDQGHUVDQGWKHLUVWDIIV
         7RSURWHFW WKLVUHODWLRQVKLSWKH FRPPDQG,*LVDPHPEHURIWKHFRPPDQGHU¶VSHUVRQDOVWDIIDQGRQO\WKH
   FRPPDQGHUUDWHVWKH,* VHH$5 ±  ,QDGGLWLRQWKHFRPPDQGHUVKRXOGVHQLRUUDWHWKRVH,*VZLWKLQWKH,*VWDII
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   VHFWLRQZKRPWKHFRPPDQG,*UDWHV7KHFRPPDQGHUVKRXOGSXEOLFDOO\LVVXHWKH,*RDWKWRDOOQHZ,*VZKHQDVVLJQHG
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         &RPPDQG,*VDQGWKH,*VWDIIVHFWLRQVZLOOUHPDLQVROHO\XQGHUWKHFRPPDQGDQGFRQWURORIWKHFRPPDQGHU
   WRDYRLGDQ\SRVVLELOLW\RUSHUFHSWLRQRIH[WHUQDOLQIOXHQFHRQWKHVWDIIVHFWLRQ¶VSHUVRQQHOEXGJHWDQGRSHUDWLRQV
   7KLVUHTXLUHPHQWLVGHVLJQHGWRSURWHFWWKHWULDQJOHRIFRQILGHQWLDOLW\EHWZHHQWKHFRPPDQGHUWKH,*DQGWKHVRXUFH
   RIDQ\LQIRUPDWLRQ3URWHFWLQJWKLVUHODWLRQVKLSLVHVVHQWLDO
         &RPPDQGHUVDQG,*VPXVWGHYHORSDUHODWLRQVKLSRIWUXVWDQGFRQILGHQFHIRUWKHV\VWHPWRZRUNSURSHUO\$V
   VXFKWKHFRPPDQGHUZLOODIIRUGWKHFRPPDQG,* DQGDOO,*VZLWKLQWKH,*VWDIIVHFWLRQ DKLJKGHJUHHRILQGHSHQG
   HQFHDVZHOODVXQOLPLWHGDFFHVVWRLQIRUPDWLRQQHFHVVDU\WRSHUIRUP,*GXWLHV
       F7KHLQVSHFWRUJHQHUDO VVSKHUHRIDFWLYLW\7KH,* VVSKHUHRIDFWLYLW\LQFOXGHVHYHU\WKLQJIRUZKLFKWKHFRP
   PDQGHULVUHVSRQVLEOHDQGRYHUZKLFKWKHFRPPDQGHURU6WDWHDGMXWDQWJHQHUDOKDV)HGHUDODXWKRULW\7KH,*VPXVW
   EHIXOO\DZDUHRIWKLVVSKHUHRIDFWLYLW\ZKHQGHWHUPLQLQJMXULVGLFWLRQRI,QVSHFWRU*HQHUDO$FWLRQ5HTXHVWV ,*$5V 
   DQG,*LVVXHVZLWKLQWKH,*V\VWHP7KH,*LVUHVSRQVLEOHIRU,*$5VIURPZLWKLQWKH,* VVSKHUHRIDFWLYLW\*HQHUDOO\
   LIWKH,* VFRPPDQGHULVUHVSRQVLEOHIRUUHVROYLQJWKHLVVXHVRUDOOHJDWLRQVEHFDXVHWKH\UHVLGHLQWKHFRPPDQGHU V
   DUHDRIUHVSRQVLELOLW\WKHQWKDWFRPPDQGHU V,*LVUHVSRQVLEOHIRUWKH,*$5

   2±$VVLVWDQFHDVDFRPPDQGHUDQGLQVSHFWRUJHQHUDOIXQFWLRQ
      D,PSRUWDQFHWRWKHFRPPDQGHUDQGWKHXQLW2IWKHIRXU,*IXQFWLRQV,*VSUREDEO\VSHQGWKHPRVWWLPHSURYLG
   LQJDVVLVWDQFHWR6ROGLHUV)DPLO\PHPEHUV'$&LYLOLDQVUHWLUHHVFRQWUDFWHPSOR\HHVDQGFLYLOLDQV6HHNLQJKHOS
   IURPDQ,*RQPDWWHUVDIIHFWLQJKHDOWKZHOIDUHDQGSHUVRQDOUHDGLQHVVLVFULWLFDOWRPRUDOHDQGRSHUDWLRQDOUHDGLQHVV
   DQGKHOSVUHVROYHV\VWHPLFLVVXHV&RPPDQGHUVDWDOOOHYHOVPXVWHQVXUHWKDWDOOSHUVRQQHOZLWKLQWKHLUFRPPDQGKDYH
   DFFHVVWR,*VDQGNQRZKRZWRFRQWDFWWKH,*ZKHQQHHGHG
      E7KHLQVSHFWRUJHQHUDO¶VUROHDVWKHFRPPDQGHU¶VUHSUHVHQWDWLYH7KH,*GRHVQRWUHSODFHWKHFKDLQRIFRPPDQG
   EXWDXJPHQWVXQLWOHDGHUVWRKHOSUHVROYHLVVXHV
      F&RPPDQGHUUHTXLUHPHQWV&RPPDQGHUVZLOOSURGXFHPHPRUDQGXPVIRU6ROGLHUVDQG'$&LYLOLDQVDVWRWKHLU
   ULJKWWRSUHVHQWFRPSODLQWVDQGVHHNDVVLVWDQFHIURPWKH,*LQDFFRUGDQFHZLWK$5 ±           




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   QHQWO\DQGSHUPDQHQWO\7KHVHPHPRUDQGXPVVKRXOGDOVREHSURYLGHGDVDOLQNRQWKHFRPPDQGHU¶VRUXQLW¶VKRPHS
   DJH
        ,QFRPLQJFRPPDQGHUVZLOOXSGDWHWKHPHPRUDQGXPVDIWHUHDFKFKDQJHRIFRPPDQG

   2±,QVSHFWRUJHQHUDORIILFHVSDFH
      D/RFDWLRQ7KH ,* VHFWLRQ V RIILFH VSDFH VKRXOG QRW EH ORFDWHG LQ RU QH[W WR WKH KHDGTXDUWHUV RU LQ D UHPRWH
   ORFDWLRQWKDWLVQRWUHDGLO\DFFHVVLEOHWRQRQ,*V7KHLGHDOORFDWLRQLVLQDKHDYLO\WUDIILFNHGDUHDZKHUH6ROGLHUV'$
   &LYLOLDQVDQGRWKHUVFDQEOHQGLQDQGQRWDSSHDUFRQVSLFXRXVZKHQHQWHULQJWKH,*RIILFHZKLFKUHLQIRUFHVFRQIL
   GHQWLDOLW\DQGUHGXFHVWKHSRWHQWLDOIRUUHSULVDO
      E&RORFDWLRQZLWKRWKHUVWDIIHOHPHQWV,*VFDQQRWVKDUHRSHQRIILFHVSDFHZLWKQRQ,*V7KLVUHTXLUHPHQWVWHPV
   IURPWKHSRWHQWLDOEUHDFKRIFRQILGHQWLDOLW\ZKHQFRPSODLQDQWVYLVLWWKHVWDIIVHFWLRQ VRIILFHDQGEHFDXVHRIWKHSR
   WHQWLDOIRUQRQ,*VWRRYHUKHDUFRQILGHQWLDO,*WHOHSKRQHFRQYHUVDWLRQVYLHZ,*LQIRUPDWLRQRQGHVNVDQGFRPSXWHU
   VFUHHQVDQGRYHUKHDUFRQYHUVDWLRQVEHWZHHQDQGDPRQJ,*V
      F2IILFHVSDFHUHVRXUFHV&RPPDQGVPXVWDFFRPPRGDWHWKHVH,*RIILFHVSDFHUHTXLUHPHQWVZLWKLQUHVRXUFHFRQ
   VWUDLQWV

   2±,QVSHFWRUJHQHUDOGXW\UHVWULFWLRQV
   2IILFHUV:2V1&2VDQG'$&LYLOLDQVVHUYLQJDV,*VPXVWQRWSHUIRUPGXWLHVWKDWPLJKWLQWHUIHUHZLWKWKHLUVWDWXV
   DVIDLULPSDUWLDOIDFWILQGHUVDQGFRQILGDQWVZLWKLQWKHFRPPDQG,QVSHFWRUVJHQHUDODUHQHYHURIIWKHUHFRUG,*VGR
   QRWHVWDEOLVKFRPPDQGSROLF\DQG,*VGRQRWUHFRPPHQGDGYHUVHSHUVRQQHODFWLRQ7KHUHVWULFWLRQVVHWIRUWKLQWKLV



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   SDUDJUDSKDUHLQWHQGHGWRSUHFOXGHFRQIOLFWVRILQWHUHVWSUHYHQWWKHSUHMXGLFHRILPSDUWLDOLW\DQGSURWHFWWKHLQWHJULW\
   RIWKH,*V\VWHPEXWQRWWRH[FOXGH,*VIURPSHUIRUPLQJPDQDJHPHQWIXQFWLRQVQRUPDOIRUVWDIIVHFWLRQVVXFKDV
   EXGJHWLQJDQGFRQWULEXWLQJWRJRDOVHWWLQJIRUWKHFRPPDQG&RPPDQGHUVPXVWJDLQ7,*DSSURYDOWRXVHWKHLU,*V
   IRUQRQ,*GXWLHVGXHWRRSHUDWLRQDOUHTXLUHPHQWVWDVNLQJVDQGRWKHUGHPDQGV²HYHQLIWKHWDVNLQJRUUHTXLUHPHQW
   LVRQO\IRUGD\LQGXUDWLRQ6HH$5 ± IRUDOLVWRIVSHFLILFGXW\UHVWULFWLRQV
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   5HOLJLRXV$FFRPPRGDWLRQ

   3±3URFHVVLQJUHTXHVWVUHODWHGWRZRUVKLSDQGGLHWDU\SUDFWLFHV
   $Q\FRPPDQGHUPD\DSSURYHRUGLVDSSURYHUHTXHVWVIRUDFFRPPRGDWLRQWKDWFRQFHUQZRUVKLSSUDFWLFHVDQGGLHWDU\
   SUDFWLFHV XQOHVV WKH UHTXHVW ZRXOG UHTXLUH D ZDLYHU RI $UP\ SROLF\ )RU H[DPSOH UHTXHVWV WR XVH SRVVHVV RU
   WUDQVSRUW3H\RWHRURWKHUVXEVWDQFHSURKLELWHGE\ODZRUSROLF\IRUUHOLJLRXVXVHPXVWEHIRUZDUGHGWRWKH6(&$50<
   RUGHVLJQHHXVLQJWKHZDLYHUSURFHGXUHVLQSDUD3±E 'LVDSSURYDOVE\DFRPPDQGHUPD\EHDSSHDOHGWRWKHQH[W
   KLJKHUFRPPDQGHUXSWRWKH6(&$50<'LVDSSURYDOVE\WKH6(&$50<RU6(&$50<GHVLJQHHDUHILQDO
       D:RUVKLSSUDFWLFHV:RUVKLSVHUYLFHVKRO\GD\V6DEEDWKDQGVLPLODUUHOLJLRXVREVHUYDQFHUHTXHVWVZLOOEHDF
   FRPPRGDWHGWRWKHH[WHQWSRVVLEOHFRQVLVWHQWZLWKPLVVLRQDFFRPSOLVKPHQW,IWKHWLPHUHTXLUHGIRUUHOLJLRXVZRUVKLS
   IDOOVZLWKLQQRUPDOGXW\KRXUVRUGXW\URVWHUVWKH6ROGLHUPD\UHTXHVWH[FHSWLRQIURPWKRVHKRXUVDQGURVWHUV7KH
   6ROGLHUKRZHYHUPXVWEHSUHSDUHGWRSHUIRUPDOWHUQDWLYHGXW\RUGXW\KRXUV&RPPDQGHUVKDYHWKHRSWLRQRIJUDQWLQJ
   WR6ROGLHUVRUGLQDU\OHDYHRUDVSHFLDOSDVVIRUUHOLJLRXVREVHUYDQFHVZKHQVXFKREVHUYDQFHVZRXOGLQWHUIHUHZLWKWKH
   SHUIRUPDQFHRIQRUPDOGXWLHV
       E'LHWDU\SUDFWLFHV,QDFFRUGDQFHZLWK$5 ± FRPPDQGHUVZLOOHQVXUHDGHTXDWHPHQXSODQQLQJDQGRSHUD
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   WLRQDOUDWLRQVIRU6ROGLHUVZLWKUHOLJLRXVGLHWDU\UHTXLUHPHQWV7KH6ROGLHUPD\DOVRUHTXHVWSHUPLVVLRQWRWDNHSHU
   VRQDO VXSSOHPHQWDO UDWLRQV ZKHQ LQ D ILHOG RU FRPEDW HQYLURQPHQW &RPPDQGHUV ZLOO FRQVLGHU UHOLJLRXV SUDFWLFHV
   ZKHQDFWLQJRQUHTXHVWVIRUVHSDUDWHUDWLRQV
       F5HTXHVWSURFHGXUHV$6ROGLHUPD\PDNHDUHTXHVWRUDOO\RULQZULWLQJ7KHFRPPDQGHUPD\DSSURYHWKHUH
   TXHVWHLWKHULQIRUPDOO\RUIRUPDOO\ LQZULWLQJ RUIRUPDOO\GLVDSSURYHLW LQZULWLQJ &RPPDQGHUVZLOOUHVSRQGWR
   UHTXHVWVIRUUHOLJLRXVDFFRPPRGDWLRQZLWKLQZRUNLQJGD\VRIUHFHLSWRIWKHUHTXHVW
         ,IWKHFRPPDQGHUDSSURYHVDUHTXHVWLQIRUPDOO\WKHLVVXHLVFORVHGH[FHSWWKDWWKHFRPPDQGHUZLOODVVLVWWKH
   6ROGLHU LQ FRPSOHWLQJ WKRVH DFWLRQV QHFHVVDU\ WR WKH DFFRPPRGDWLRQ IRU H[DPSOH REWDLQLQJ SHUPLVVLRQ WR UDWLRQ
   VHSDUDWHO\RUDGMXVWLQJWKHXQLWGXW\URVWHU 
         ,IWKHFRPPDQGHUDSSURYHVDUHTXHVWIRUPDOO\WKHFRPPDQGHUZLOOSURYLGHWKH6ROGLHUZLWKZULWWHQQRWLFHRI
   WKHDFFRPPRGDWLRQDQGPDLQWDLQDFRS\LQXQLWILOHV7KHDFFRPPRGDWLRQZLOOWKHQUHPDLQLQHIIHFWXQOHVVUHYRNHG
   LQZULWLQJE\WKHFRPPDQGHUZKRRULJLQDOO\JUDQWHGLW GXHWRFKDQJHGFRQGLWLRQV E\DVXEVHTXHQWFRPPDQGHURI
   WKDWXQLWE\DFRPPDQGHURIDJDLQLQJXQLWLIWKH6ROGLHULVWUDQVIHUUHGRUE\DKLJKHUFRPPDQGHU&RPPDQGHUV
   VKRXOGUHYLHZDOODSSURYHGUHOLJLRXVDFFRPPRGDWLRQVWRGHWHUPLQHZKHWKHUFRQGLWLRQVXQGHUZKLFKWKHDFFRPPRGD
   WLRQZDVJUDQWHGVWLOODSSO\5HYRFDWLRQPXVWEHEDVHGXSRQRQHRUPRUHRIWKHFULWHULDGLVFXVVHGLQSDUDJUDSK±D
   ,I WKH DFFRPPRGDWLRQ LV UHYRNHG WKH 6ROGLHU PD\ DSSHDO WKH UHYRFDWLRQ WR WKH QH[W KLJKHU FRPPDQGHU XVLQJ WKH
   SURFHGXUHVLQSDUDJUDSKG
         ,IWKH FRPPDQGHUGLVDSSURYHVWKH UHTXHVW WKHFRPPDQGHUZLOOSURYLGHWKH6ROGLHUZLWK ZULWWHQQRWLFHDQG
   PDLQWDLQDFRS\LQXQLWILOHV'LVDSSURYDOPXVWEHEDVHGXSRQRQHRUPRUHRIWKHFULWHULDGLVFXVVHGLQSDUDJUDSK±
   D7KH6ROGLHUPD\DSSHDODGLVDSSURYDOWRWKHQH[WKLJKHUFRPPDQGHUXVLQJWKHSURFHGXUHVLQSDUDJUDSKGEHORZ
       G$SSHDOSURFHGXUHV
         $6ROGLHUPD\DSSHDODGLVDSSURYDORUUHYRFDWLRQWRWKHQH[WKLJKHUFRPPDQGHU$SSHDOVPXVWEHLQZULWLQJ
   DQGH[SODLQWKHW\SHRIDFFRPPRGDWLRQUHTXHVWHGDQGWKHUHOLJLRXVEDVLVIRUWKHUHTXHVW2WKHUGRFXPHQWDWLRQVXFK
   DVOHWWHUVIURPDUHOLJLRXVOHDGHURUFRSLHVRIUHOLJLRXVWH[WVLVRSWLRQDOEXWPD\DVVLVWFRPPDQGHUVHYDOXDWLQJWKH
   UHTXHVW
         7KHFRPPDQGHUZLOODUUDQJHDQLQSHUVRQRUWHOHSKRQLFLQWHUYLHZEHWZHHQWKHUHTXHVWRUDQGWKHDVVLJQHGXQLW
   FKDSODLQRURWKHUFKDSODLQGHWHUPLQHGE\WKHVHQLRUFKDSODLQSUHVHQW7KHFKDSODLQPXVWSURYLGHDPHPRUDQGXPWKDW
   VXPPDUL]HVWKHLQWHUYLHZDQGDGGUHVVHVWKHUHOLJLRXVEDVLVDQGVLQFHULW\RIWKH6ROGLHU¶VUHTXHVW7KHFKDSODLQLVQRW
   UHTXLUHG WR UHFRPPHQG DSSURYDO RU GLVDSSURYDO EXW PD\ GR VR 0HPRUDQGXPV IURP RWKHU FKDSODLQV RU UHOLJLRXV
   OHDGHUVPD\DFFRPSDQ\WKHUHTXHVWDVRSWLRQDODWWDFKPHQWVEXWGRQRWPHHWWKHUHTXLUHPHQWIRULQWHUYLHZE\WKH
   DVVLJQHGXQLWFKDSODLQRURQHGHWHUPLQHGE\WKHVHQLRUFKDSODLQSUHVHQW
         ,IDFRPPDQGHUDWDQ\OHYHODSSURYHVWKHUHTXHVWIRUDFFRPPRGDWLRQZULWWHQDSSURYDOZLOOEHUHWXUQHGWRWKH
   6ROGLHUWKURXJKFKDQQHOV,IWKHFRPPDQGHUGLVDSSURYHVLWWKHDSSHDOSDFNHWZLOOEHVRHQGRUVHGDQGIRUZDUGHGWR
   WKHQH[WKLJKHUOHYHORIFRPPDQG
         ,IDOOOHYHOVRIFRPPDQGGLVDSSURYHWKHUHTXHVWIRUDFFRPPRGDWLRQWKHDSSHDOSDFNHWZLOOEHIRUZDUGHGWRWKH
   '&6*±  '$3( ± 03& IRUILQDOGHFLVLRQE\WKH6(&$50<RUGHVLJQHH
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   UHTXHVWSDFNHWIRUOHJDOVXIILFLHQF\DQGPD\PDNHDUHFRPPHQGDWLRQIRUGLVSRVLWLRQRIWKHUHTXHVW7KHUHYLHZZLOO
   DOVRVWDWHZKHWKHUWKHUHTXHVWDQGHQFORVXUHVDUHFRPSOHWH



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   WKURXJKFKDQQHOVWRWKH6ROGLHUUHTXHVWLQJDFFRPPRGDWLRQZLWKLQGD\VDIWHUUHFHLSWRIWKHUHTXHVWE\'&6* ±               




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   VXEVWDQWLDOO\GLIIHUHQWJURXQGVRUVXSSRUWHGE\VXEVWDQWLDOO\QHZHYLGHQFH

   3±3URFHVVLQJUHTXHVWVUHODWHGWRPHGLFDOFDUH
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   RU QRQOLIHWKUHDWHQLQJ LOOQHVVHV DQG LQMXULHV $FFRPPRGDWLRQV IRU PHGLFDO FDUH DUH IDFW VSHFLILF %ODQNHW UHTXHVWV
   FRYHULQJXQVSHFLILHGIXWXUHPHGLFDOFDUHZLOOQRWEHDSSURYHG8QLWFRPPDQGHUVPD\FRQVXOWZLWK07)SHUVRQQHO
   DERXWPHGLFDOWUHDWPHQWRSWLRQVLQFOXGLQJWHPSRUDULO\GHIHUULQJPHGLFDOWUHDWPHQWWRDFFRPPRGDWHD6ROGLHU¶VUHOL
   JLRXVSUDFWLFHVZKLOHDUHTXHVWLVSHQGLQJ&RPPDQGHUVZLOOIROORZ'+$RU'R'SROLFLHVDQGSURFHGXUHV,I'+$
   RU'R'SURFHGXUHVDUHQRWSUHVFULEHGDQ07)FRPPDQGHUZLOOHQJDJHLQWKHIROORZLQJSURFHGXUHV VHH0HPRUDQGXP
   RI $JUHHPHQW EHWZHHQ 'HIHQVH +HDOWK $JHQF\ DQG WKH $UP\ 2IILFH RI WKH 6XUJHRQ *HQHUDO DQG WKH 86 $UP\
   0HGLFDO&RPPDQGIRUWKH'LUHFW6XSSRUWWRWKH'HIHQVH+HDOWK$JHQF\IRU0HGLFDO7UHDWPHQW)DFLOLW\$GPLQLVWUD
   WLRQDQG0DQDJHPHQW6HSWHPEHU 
        7KH07)FRPPDQGHUZLOOFRQYHQHDQDGKRFFRPPLWWHHWRDVVHVVDQ\UHTXHVWWRZLWKKROGUHFRPPHQGHGPHG
   LFDOWUHDWPHQWEHFDXVHRIUHOLJLRXVREMHFWLRQV7KHFRPPLWWHHZLOOEHFKDLUHGE\D0HGLFDO&RUSVRIILFHUDQGPXVW
   LQFOXGHDFKDSODLQ$OOFRPPLWWHHPHPEHUVPXVWEHRIILFHUVRUIXOOWLPHHPSOR\HHVRIWKH)HGHUDO*RYHUQPHQW
        7KHFRPPLWWHHZLOOSUHSDUHDUHSRUWZKLFKLQFOXGHVWKHIROORZLQJLQIRUPDWLRQ
       D 3URSRVHGWUHDWPHQWWRUHOLHYHLQFDSDFLW\DQGDLGWKH6ROGLHU¶VUHWXUQWRGXW\VWDWXV
       E 7KHQHHGIRUWKHWUHDWPHQW
       F $QDVVHVVPHQWRIWKHOLNHO\PHGLFDORXWFRPHDQGSRWHQWLDOULVNVWRWKH6ROGLHU¶VKHDOWKRIZLWKKROGLQJWUHDWPHQW
   EDVHGRQWKH6ROGLHU¶VDJHDQGJHQHUDOSK\VLFDOFRQGLWLRQ
       G $QDVVHVVPHQWRIWKHSRVVLEOHHIIHFWVRQWKHKHDOWKRIRWKHUVDQGWKHPLOLWDU\PHGLFDOV\VWHP
       H (YLGHQFHWKDWWKH 6ROGLHU ZDVJLYHQWKHRSSRUWXQLW\WRDSSHDU EHIRUHWKHERDUGLQSHUVRQVXEPLWD ZULWWHQ
   VWDWHPHQWRUVXEPLWZULWWHQVWDWHPHQWVIURPDPHPEHURIWKHLUIDLWKJURXS,IFLUFXPVWDQFHVGRQRWSHUPLWWKH6ROGLHU
   WRDSSHDULQSHUVRQRUVXEPLWDZULWWHQVWDWHPHQW RUERWK RUWKH6ROGLHUGHFOLQHVWRDSSHDULQSHUVRQRUVXEPLWD
   ZULWWHQVWDWHPHQWWKHQWKHERDUGZLOOLQFOXGHWKLVLQIRUPDWLRQLQWKHUHSRUW
        6ROGLHUVPD\KDYHDUHSUHVHQWDWLYH$UHSUHVHQWDWLYHZLOOEHDSSRLQWHGIRU6ROGLHUVEHOLHYHGWREHLQFRPSHWHQW
   7KHUHSUHVHQWDWLYHQHHGQRWEHOHJDOO\TXDOLILHG7KHUHSRUWZLOOLQFOXGHWKHUDWLRQDOHIRUDQ\GHWHUPLQDWLRQRILQFRP
   SHWHQF\
        8QLWDQG07)FRPPDQGHUVZLOOUHYLHZWKHFRPPLWWHHUHSRUWDQGDQ\PDWWHUVVXEPLWWHGE\WKH6ROGLHUDQG
   FRQVLGHUWKHHIIHFWVRIDFFRPPRGDWLRQRQPLOLWDU\QHFHVVLW\LQDFFRUGDQFHZLWKSDUDJUDSK±D
        ,IDIWHUFRQVXOWLQJZLWKWKH07)FRPPDQGHUDQGFRQGXFWLQJWKHUHTXLVLWHDQDO\VLVLQDFFRUGDQFHZLWK SDUD
   JUDSK±DWKHXQLWFRPPDQGHUGHWHUPLQHVWKDWPLOLWDU\QHFHVVLW\UHTXLUHVWKDWPHGLFDOFDUHEHSURYLGHGWRD6ROGLHU
   WKHXQLWFRPPDQGHUZLOOLQIRUPWKH6ROGLHUE\ZULWWHQPHPRUDQGXP,IWKH6ROGLHUUHTXHVWVDQDSSHDORUUHIXVHVFDUH
   WKH07)FRPPDQGHUZLOOIRUZDUGWKHFRPPLWWHHUHSRUWDQGWKHXQLWFRPPDQGHU¶VGHFLVLRQPHPRUDQGXPWKURXJK
   FRPPDQGFKDQQHOVWR76*IRUILQDODFWLRQ
        76* ZLOO SURYLGH D FRS\ RI WKH ILQDO GHWHUPLQDWLRQ WR WKH 2IILFH RI WKH 'HSXW\ &KLHI RI 6WDII * ±        




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        ,I76*GLVDSSURYHVWKH UHTXHVW IRUDFFRPPRGDWLRQWKH6ROGLHU ZLOOEH JLYHQWKH RSSRUWXQLW\WR DFFHSWWKH
   WUHDWPHQW,IWKH6ROGLHUUHIXVHVWKH07)FRPPDQGHUZLOOUHIHUWKHPDWWHUWRWKH6ROGLHU¶V63&0&$IRUDSSURSULDWH
   DFWLRQ
        ,QHPHUJHQF\VLWXDWLRQVWKH07)FRPPDQGHUPD\RUGHURUWKHDWWHQGLQJKHDOWKFDUHSURYLGHUPD\WDNHLP
   PHGLDWHVWHSVLQDFFRUGDQFHZLWKORFDO07)SROLF\WRVDYHD6ROGLHU¶VOLIHUHJDUGOHVVRIUHOLJLRXVSUDFWLFHVRUREMHF
   WLRQV
      E,PPXQL]DWLRQV,PPXQL]DWLRQUHTXLUHPHQWVIRU6ROGLHUVDUHGHVFULEHGLQ$5 ± 6ROGLHUVZKRVHUHOLJLRXV
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   SUDFWLFHVFRQIOLFWZLWKLPPXQL]DWLRQUHTXLUHPHQWVPD\UHTXHVWDQH[HPSWLRQWKURXJKFRPPDQGFKDQQHOVIURPFRP
   SDQ\RULPPHGLDWHFRPPDQGHUWKURXJKEDWWDOLRQEULJDGHGLYLVLRQDQG*&0&$FRPPDQGHUVWR76*76*LVWKH
   RQO\DSSURYDORUGLVDSSURYDODXWKRULW\IRULPPXQL]DWLRQDFFRPPRGDWLRQUHTXHVWV
   1RWH$FFHVVLRQDJHQFLHVDQGFRPPDQGVDUHDXWKRUL]HGWRHVWDEOLVKURXWLQJFKDLQVIRUSUHDFFHVVLRQUHTXHVWVZKLFK
   PD\QRWLQFOXGHDOOOHYHOVRILQWHUPHGLDWHFRPPDQGEXWPXVWEHURXWHGWKURXJKD*&0&$




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        5HTXHVWVIRUUHOLJLRXVH[HPSWLRQPXVWLQFOXGHQDPHUDQN026EUDQFKDQGDGHVFULSWLRQRIWKHUHOLJLRXVWHQHW
   RUEHOLHIFRQWUDU\WRLPPXQL]DWLRQ2WKHUGRFXPHQWDWLRQVXFKDVOHWWHUVIURPDUHOLJLRXVOHDGHULVRSWLRQDOEXWPD\
   DVVLVWFRPPDQGHUVHYDOXDWLQJWKHUHTXHVW
        7KHFRPPDQGHUZLOODUUDQJHDQLQSHUVRQRUWHOHSKRQLFLQWHUYLHZEHWZHHQWKHUHTXHVWRUDQGWKHDVVLJQHGXQLW
   FKDSODLQRURWKHUFKDSODLQGHWHUPLQHGE\WKHVHQLRUFKDSODLQSUHVHQW7KHFKDSODLQPXVWSURYLGHDPHPRUDQGXPWKDW
   VXPPDUL]HVWKLVLQWHUYLHZDQGDGGUHVVHVWKHUHOLJLRXVEDVLVDQGVLQFHULW\RIWKH6ROGLHU¶VUHTXHVW7KHFKDSODLQLVQRW
   UHTXLUHG WR UHFRPPHQG DSSURYDO RU GLVDSSURYDO EXW PD\ GR VR 0HPRUDQGXPV IURP RWKHU FKDSODLQV RU UHOLJLRXV
   OHDGHUVPD\DFFRPSDQ\WKHUHTXHVWDVRSWLRQDODWWDFKPHQWVEXWGRQRWPHHWWKHUHTXLUHPHQWIRULQWHUYLHZE\WKH
   DVVLJQHGXQLWFKDSODLQRURQHGHWHUPLQHGE\WKHVHQLRUFKDSODLQSUHVHQW
        $OLFHQVHGKHDOWKFDUHSURYLGHUPXVWFRXQVHOWKHDSSOLFDQW7KHKHDOWKFDUHSURYLGHUVKRXOGHQVXUHWKDWWKHDS
   SOLFDQWLVPDNLQJDQLQIRUPHGGHFLVLRQDQGVKRXOGDGGUHVVDWDPLQLPXPWKHIROORZLQJ
       D 6SHFLILFLQIRUPDWLRQDERXWWKHGLVHDVHVFRQFHUQHG
       E 6SHFLILFYDFFLQHLQIRUPDWLRQLQFOXGLQJEHQHILWVDQGULVNVDQG
       F 3RWHQWLDOULVNVRILQIHFWLRQLQFXUUHGE\XQLPPXQL]HGLQGLYLGXDOV
        7KHDSSOLFDQW¶VLPPHGLDWHFRPPDQGHUPXVWFRXQVHOWKHDSSOLFDQWDQGUHFRPPHQGDSSURYDORUGHQLDORIWKH
   H[HPSWLRQUHTXHVW7KHFRPPDQGHUPXVWFRXQVHOWKDWQRQFRPSOLDQFHZLWKLPPXQL]DWLRQUHTXLUHPHQWVPD\DGYHUVHO\
   LPSDFWGHSOR\DELOLW\DVVLJQPHQWRULQWHUQDWLRQDOWUDYHODQGWKDWWKHH[HPSWLRQPD\EHUHYRNHGXQGHULPPLQHQWULVN
   FRQGLWLRQV7KHFRPPDQGHU¶VUHFRPPHQGDWLRQZLOODGGUHVVWKHIDFWRUVRIPLOLWDU\QHFHVVLW\GHVFULEHGLQ SDUDJUDSK
   ±D
        &RPPDQGHUVZLOOIRUZDUGH[HPSWLRQUHTXHVWVWKURXJKFRPPDQGFKDQQHOVWR76*76*ZLOODSSURYHRUGLV
   DSSURYHWKHUHTXHVWHGH[HPSWLRQDQGUHWXUQWKHGHFLVLRQWRWKH6ROGLHU¶VFRPPDQGHUWKURXJKFRPPDQGFKDQQHOV
        76*PD\DXWKRUL]HH[HPSWLRQVIRUWKHFDUHHURID6ROGLHU VXEMHFWWRUHYRFDWLRQ RULVVXHDVLQJOHVSHFLILF
   H[HPSWLRQRUPD\GLVDSSURYHWKHUHTXHVW,I76*GLVDSSURYHVDUHTXHVWHGH[HPSWLRQDQGWKH6ROGLHUVWLOOUHIXVHVWKH
   LPPXQL]DWLRQSDUDJUDSK±J  DSSOLHV
        76*ZLOOSURYLGHDFRS\RIWKHGHWHUPLQDWLRQWRWKH2IILFHRIWKH'HSXW\&KLHIRI6WDII* ±  '$3( ± 03& 
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   LPPXQL]DWLRQLVDYDLODEOH

   3±3URFHVVLQJUHTXHVWVUHODWHGWRXQLIRUPDQGJURRPLQJ
      D%HDUGVKLMDEVDQGWXUEDQV&RPPDQGHUVDWWKH*&0&$RUWKHILUVWJHQHUDORIILFHULQWKHFKDLQRIFRPPDQG
   DQGDERYHPD\DSSURYHGLVDSSURYHRUHOHYDWHUHOLJLRXVDFFRPPRGDWLRQUHTXHVWVIRUEHDUGVKLMDEVDQGWXUEDQVZRUQ
   LQDFFRUGDQFHZLWKWKHVWDQGDUGVSURYLGHGLQ$5 ±  VHHWDEOH3 ±  5HTXHVWVPXVWEHDSSURYHGRUIRUZDUGHGWR
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   WKH'&6*± ZLWKDUHFRPPHQGDWLRQIRUGLVDSSURYDOZLWKLQFDOHQGDUGD\VRILQLWLDOVXEPLVVLRQIRUSUHDFFHVVLRQ
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   UHTXHVWVDQG5$UHTXHVWVZLWKLQFDOHQGDUGD\VRILQLWLDOVXEPLVVLRQIRU$51*DQG86$5UHTXHVWV2QO\WKH'&6
   *± RUGHVLJQHHPD\JUDQWDUHTXHVWIRUH[WHQVLRQRIWKHVHWLPHOLQHV
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   1RWH$FFHVVLRQDJHQFLHVDQGFRPPDQGVPD\GHVLJQDWHDQRIILFHULQWKHJUDGHRI%*2 ± RUKLJKHUZKRLVQRWD
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   FRPPDQGHUWRVHUYHDVWKH*&0&$DSSURYDODXWKRULW\IRUSXUSRVHVRIHYDOXDWLQJDQGDSSURYLQJUHTXHVWVIRUUHOLJLRXV
   DFFRPPRGDWLRQ GHVFULEHG LQ WKLV SDUDJUDSK $OO UROHV DQG UHVSRQVLELOLWLHV DVVLJQHG WR *&0&$ FRPPDQGHUV DOVR
   DSSO\WRGHVLJQDWHG*&0&$DSSURYDODXWKRULWLHVIRUSUHDFFHVVLRQUHTXHVWV
        $OOUHTXHVWVPXVWEHLQZULWLQJDQGPXVWH[SODLQWKHW\SHRIDFFRPPRGDWLRQUHTXHVWHGDQGWKHUHOLJLRXVEDVLV
   IRUWKHUHTXHVW2WKHUGRFXPHQWDWLRQVXFKDVSKRWRVRIWKHUHTXHVWHGDFFRPPRGDWLRQFRSLHVRIUHOLJLRXVWH[WVRU
   OHWWHUVIURPDUHOLJLRXVOHDGHULVRSWLRQDOEXWPD\DVVLVWFRPPDQGHUVHYDOXDWLQJWKHUHTXHVW
   1RWH5HTXHVWRUV RWKHU WKDQ SUHDFFHVVLRQ UHTXHVWV  PXVW FRQWLQXH WR FRPSO\ ZLWK $5  ±  VWDQGDUGV IRU QRQ
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   DFFRPPRGDWHG6ROGLHUVZKLOHWKHUHTXHVWLVSHQGLQJ
        &RPPDQGHUVUHFHLYLQJDQLQLWLDODFFRPPRGDWLRQUHTXHVW LPPHGLDWHFRPPDQGHU ZLOOLPPHGLDWHO\QRWLI\WKH
   2IILFHRIWKH'&6*±  '$3( ± 03& &RPPDQG3ROLF\'LYLVLRQDWXVDUP\SHQWDJRQKTGDGFVJPE[FRPPDQG
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   SROLF\#PDLOPLO1RWLILFDWLRQZLOOLQFOXGHWKHUHTXHVWRU¶VQDPHUDQN LIDSSOLFDEOH XQLW026 RUSURVSHFWLYH026
   LINQRZQ DQGDFRS\RIWKHUHTXHVWGRFXPHQWV
        7KHFRPPDQGHUZLOODUUDQJHDQLQSHUVRQRUWHOHSKRQLFLQWHUYLHZEHWZHHQWKHUHTXHVWRUDQGWKHDVVLJQHGXQLW
   FKDSODLQRURWKHUFKDSODLQGHWHUPLQHGE\WKHVHQLRUFKDSODLQSUHVHQW7KHFKDSODLQPXVWSURYLGHDPHPRUDQGXPZKLFK
   VXPPDUL]HVWKLVLQWHUYLHZDQGDGGUHVVHVWKHUHOLJLRXVEDVLVDQGVLQFHULW\RIWKH6ROGLHU¶VUHTXHVW7KHFKDSODLQLVQRW
   UHTXLUHG WR UHFRPPHQG DSSURYDO RU GLVDSSURYDO EXW PD\ GR VR 0HPRUDQGXPV IURP RWKHU FKDSODLQV RU UHOLJLRXV




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   OHDGHUVPD\DFFRPSDQ\WKHUHTXHVWDVRSWLRQDODWWDFKPHQWVEXWGRQRWPHHWWKHUHTXLUHPHQWIRULQWHUYLHZE\WKH
   DVVLJQHGXQLWFKDSODLQRURQHGHWHUPLQHGE\WKHVHQLRUFKDSODLQSUHVHQW
        7KHLPPHGLDWHFRPPDQGHUZLOOUHYLHZWKHFKDSODLQPHPRUDQGXPDQGFRPSOHWHDUHFRPPHQGDWLRQPHPRUDQ
   GXP$QH[SODQDWLRQLVUHTXLUHGLIWKHFRPPDQGHUUHFRPPHQGVGLVDSSURYDORIWKHUHTXHVW7KHLPPHGLDWHFRPPDQGHU
   ZLOOIRUZDUGWKHUHTXHVWSDFNHWWKURXJKLQWHUPHGLDWHFRPPDQGHUVWRWKHEULJDGHOHYHOFRPPDQGHU
   1RWH$FFHVVLRQDJHQFLHVDQGFRPPDQGVDUHDXWKRUL]HGWRHVWDEOLVKURXWLQJFKDLQVIRUSUHDFFHVVLRQUHTXHVWVZKLFK
   PD\QRWLQFOXGHDOOOHYHOVRILQWHUPHGLDWHFRPPDQGHUV
         7KH*&0&$ZLOOFRQVLGHUHYHU\UHOLJLRXVDFFRPPRGDWLRQUHTXHVWRQDFDVHE\FDVHEDVLV
         :KHQHYDOXDWLQJVLQFHULW\FRPPDQGHUVPD\FRQVLGHUWKHFUHGLELOLW\DQGGHPHDQRURIWKHDSSOLFDQWDQGWKH
   FLUFXPVWDQFHVRIWKHUHTXHVW$OWKRXJKDUHOLJLRXVSUDFWLFHGRHVQRWKDYHWREHFRPSHOOHGE\RUFHQWUDOWRDV\VWHP
   RIUHOLJLRXVEHOLHIFRPPDQGHUVPD\HYDOXDWHWKH6ROGLHU¶VDELOLW\WRDUWLFXODWHWKHUHOLJLRXVEDVLVDQGUHOLJLRXVLP
   SRUWDQFHRIWKHUHTXHVW
         %HIRUHDFWLQJRQDUHTXHVWWKH*&0&$ZLOOGLUHFWKLVRUKHUVWDIIWR²
        D 2EWDLQ D OHJDO UHYLHZ FRQGXFWHG LQ FRQVXOWDWLRQ ZLWK WKH 2IILFH RI WKH -XGJH $GYRFDWH *HQHUDO 27-$* 
   ZKLFKPD\EHFRQWDFWHGDWXVDUP\SHQWDJRQKTGDRWMDJPE[JODZ#PDLOPLO
        E &RQVXOWWKH'&6* ± &RPPDQG3ROLF\'LYLVLRQWRDVNIRUDUHYLHZRIWKHSUHOLPLQDU\UHTXHVWPDWHULDOVDQG
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   DSSURYDORUGLVDSSURYDOPHPRUDQGXPWRHQVXUHFRQVLVWHQWVWDQGDUGVLQSURFHVVLQJUHTXHVWVIRUUHOLJLRXVDFFRPPR
   GDWLRQV 7KH GLYLVLRQ PD\ EH FRQWDFWHG DW  ±  ±  DQG XVDUP\SHQWDJRQKTGDGFVJPE[FRPPDQGSRO
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   LF\#PDLOPLO
        F &RQVXOWZLWKWKH2IILFHRIWKH&KLHIRI&KDSODLQVWRHYDOXDWHWKHUHOLJLRXVEDVLVDQGVLQFHULW\RIWKHUHTXHVW
   DQGWRHQVXUHFRQVLVWHQF\DQGIDLUQHVVDFURVVWKHIRUFH&KDSODLQ2SHUDWLRQV PD\EHFRQWDFWHGDW ±±                                                                            




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        G &RQVXOWZLWK86$UP\&RUUHFWLRQV&RPPDQGZKHQWKHUHTXHVWRULVDSULVRQHUFRQILQHGLQDQ$UP\FRUUHF
   WLRQDOIDFLOLW\$UP\&RUUHFWLRQV&RPPDQG2SHUDWLRQVPD\EHFRQWDFWHGDWXVDUP\SHQWDJRQFRUUHFWLRQVFPGOLVWDG
   PLQRSHUDWLRQVQSHPJW#PDLOPLO
         7KHFRPPDQGHUZLOOQRWLI\WKH6ROGLHUDQGIRUZDUGDFRS\RIWKHUHTXHVWSDFNHWDQGDSSURYDORUGLVDSSURYDO
   PHPRUDQGXP WR WKH '&6 * ± 7KH '&6 * ±  ZLOO ZHE XSORDG WKH DSSURYDO PHPR WR WKH LQWHUDFWLYH 3HUVRQQHO
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   (OHFWURQLF5HFRUGV0DQDJHPHQW6\VWHP L3(506 IRUILOLQJLQWKH6ROGLHU¶V$UP\0LOLWDU\+XPDQ5HVRXUFH5HFRUG
    $0+55 SHU$5 ±  ±6ROGLHUVDUHQRWLQLWLDWHGWRDFRS\RIWKHSDFNHWSURYLGHGWRWKH*&0&$H[FHSWDV
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   DXWKRUL]HGWKURXJKDUHTXHVWXQGHUWKH)UHHGRPRI,QIRUPDWLRQ$FW )2,$ 
         ,IWKH*&0&$HOHYDWHVWKHUHTXHVWWKH*&0&$ZLOOIRUZDUGWKHUHTXHVWWRWKH'&6* ± ZLWKDUHFRPPHQ                                                          




   GDWLRQIRUDSSURYDORUGHQLDODQGWKHUHDVRQ V IRUWKHDSSURYDORUGHQLDO7KH*&0&$ZLOOQRWLI\WKH6ROGLHU2QFH
   WKHSDFNHWLVUHFHLYHGE\WKH'&6* ± DOHJDODGYLVRUZLOOUHYLHZWKHUHTXHVWSDFNHWIRUOHJDOVXIILFLHQF\7KHUHYLHZ
                                                                                      




   ZLOO DOVR VWDWH ZKHWKHU WKH UHTXHVW DQG HQFORVXUHV DUH FRPSOHWH ZLWKLQ WKH SURYLVLRQV RI WKLV UHJXODWLRQ 2QO\ WKH
   6(&$50<RUWKHLUGHVLJQHHPD\WDNHILQDODFWLRQWRDSSURYHRUGLVDSSURYHWKHHOHYDWHGUHTXHVW
         7KHGHFLVLRQRIWKH6(&$50<RUWKHLUGHVLJQHHZLOOEHWUDQVPLWWHGWKURXJKFRPPDQGFKDQQHOVWRWKH6ROGLHU
   UHTXHVWLQJDFFRPPRGDWLRQZLWKLQGD\VDIWHUUHFHLSWRIWKHILQDOUHTXHVWSDFNHWE\'&6* ± 8SRQWKH6(&$50<                                     




   RUWKHLUGHVLJQHH¶VGHFLVLRQDFRS\RIWKHGHFLVLRQGRFXPHQWVZLOOEHZHEXSORDGHGWRL3(506E\WKH'&6* ± IRU                                                                               




   ILOLQJLQWKH6ROGLHU¶V$0+55SHU$5 ±  ± )RULQGLYLGXDOVZLWKRXWDQHVWDEOLVKHG$0+55WKH2IILFHRI
                                                                                                                




   WKH'&6*± ZLOOPDLQWDLQFRSLHVDQGWKHXQLWSHUVRQQHOILOHXQWLOXSORDGWRWKH$0+55LVSRVVLEOH6ROGLHUVDUH
                              




   QRWHQWLWOHGWRDFRS\RIWKHSDFNHWSURYLGHGWRWKH6(&$50<KLVGHVLJQHHRUWKH'&6* ± H[FHSWDVDXWKRUL]HG                                       




   WKURXJKD)2,$UHTXHVW
         7KH'&6*± ZLOOWUDFNDSSURYHGUHOLJLRXVDFFRPPRGDWLRQVWRHQVXUHWKDWLQGLYLGXDOVDQGFRPPDQGHUVDUH
                                      




   QRWLILHGRIDQ\FKDQJHVLQHTXLSPHQWRUSROLFLHVZKLFKPD\DIIHFWDFFRPPRGDWLRQV
         'LVDSSURYDOVE\WKH6(&$50<RUWKHLUGHVLJQHHDUHILQDO6XEVHTXHQWUHTXHVWVZLOORQO\EHFRQVLGHUHGLI
   EDVHGRQVXEVWDQWLDOO\GLIIHUHQWJURXQGVRUVXSSRUWHGE\VXEVWDQWLDOO\QHZHYLGHQFH
       E:DLYHUUHTXHVWV$UHOLJLRXVDFFRPPRGDWLRQUHTXHVWZKLFKUHTXLUHVDZDLYHURI$5 ± RUDQ\RWKHU$UP\                                                   




   SROLF\PD\RQO\EHDSSURYHGRUGLVDSSURYHGE\WKH6(&$50<RUGHVLJQHH,IFRPPDQGHUVKDYHDQ\TXHVWLRQVDERXW
   ZKHWKHUDUHTXHVWUHTXLUHVDZDLYHUWKH\VKRXOGFRQWDFWWKH2IILFHRIWKH'&6* ±  '$3( ± 03& &RPPDQG3ROLF\                                   




   'LYLVLRQ DW XVDUP\SHQWDJRQKTGDGFVJPE[FRPPDQGSROLF\#PDLOPLO :DLYHU UHTXHVW SDFNHWV PXVW EH IRU
   ZDUGHGWRWKH'&6* ± ZLWKLQGD\VRIWKHLQLWLDOUHTXHVWIRU5$UHTXHVWVDQGSUHDFFHVVLRQUHTXHVWVIURPDOO
                                                  




   FRPSRQHQWVDQGZLWKLQGD\VIRU86$5DQG$51*UHTXHVWV2QO\WKH'&6* ± RUGHVLJQHHPD\JUDQWDUHTXHVW                             




   IRUH[WHQVLRQRIWKHVHWLPHOLQHV




   
                                                                                              $5±-XO\                                                                                   
Case 1:21-cv-02228-RM-STV Document 37-14 Filed 11/23/21 USDC Colorado Page 212 of
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        $OOUHTXHVWVPXVWEHLQZULWLQJDQGPXVWH[SODLQWKHW\SHRIDFFRPPRGDWLRQUHTXHVWHGDQGWKHUHOLJLRXVEDVLV
   IRUWKHUHTXHVW2WKHUGRFXPHQWDWLRQ VXFKDVSKRWRVRIWKHUHTXHVWHGDFFRPPRGDWLRQFRSLHVRIUHOLJLRXVWH[WVRU
   OHWWHUVIURPDUHOLJLRXVOHDGHULVRSWLRQDOEXWPD\DVVLVWFRPPDQGHUVHYDOXDWLQJWKHUHTXHVW
   1RWH5HTXHVWRUV RWKHU WKDQ SUHDFFHVVLRQ UHTXHVWV  PXVW FRQWLQXH WR FRPSO\ ZLWK $5 ±  VWDQGDUGV IRU QRQ
                                                                                                                            




   DFFRPPRGDWHG6ROGLHUVZKLOHWKHUHTXHVWLVSHQGLQJ
        8QLWFRPPDQGHUVUHFHLYLQJDQLQLWLDODFFRPPRGDWLRQUHTXHVW LPPHGLDWHFRPPDQGHU ZLOOLPPHGLDWHO\QRWLI\
   WKH2IILFHRIWKH'&6* ±  '$3( ± 03& &RPPDQG3ROLF\'LYLVLRQDWXVDUP\SHQWDJRQKTGDGFVJPE[FRP
                                            




   PDQGSROLF\#PDLOPLO1RWLILFDWLRQZLOOLQFOXGHWKHUHTXHVWRU¶VQDPHUDQN LIDSSOLFDEOH XQLW026 RUSURVSHFWLYH
   026LINQRZQ DQGDFRS\RIWKHUHTXHVWGRFXPHQWV
        7KHFRPPDQGHUZLOODUUDQJHDQLQSHUVRQRUWHOHSKRQLFLQWHUYLHZEHWZHHQWKHUHTXHVWRUDQGWKHDVVLJQHGXQLW
   FKDSODLQRURWKHUFKDSODLQGHWHUPLQHGE\WKHVHQLRUFKDSODLQSUHVHQW7KHFKDSODLQPXVWSURYLGHDPHPRUDQGXPWKDW
   VXPPDUL]HVWKLVLQWHUYLHZDQGDGGUHVVHVWKHUHOLJLRXVEDVLVDQGVLQFHULW\RIWKH6ROGLHU¶VUHTXHVW7KHFKDSODLQLVQRW
   UHTXLUHG WR UHFRPPHQG DSSURYDO RU GLVDSSURYDO EXW PD\ GR VR 0HPRUDQGXPV IURP RWKHU FKDSODLQV RU UHOLJLRXV
   OHDGHUVPD\DFFRPSDQ\WKHUHTXHVWDVRSWLRQDODWWDFKPHQWVEXWGRQRWPHHWWKHUHTXLUHPHQWIRULQWHUYLHZE\WKH
   DVVLJQHGXQLWFKDSODLQRURQHGHWHUPLQHGE\WKHVHQLRUFKDSODLQSUHVHQW
        7KHLPPHGLDWHFRPPDQGHUZLOOUHYLHZWKHFKDSODLQPHPRUDQGXPDQGFRPSOHWHDUHFRPPHQGDWLRQPHPRUDQ
   GXP$QH[SODQDWLRQLVUHTXLUHGLIWKHFRPPDQGHUUHFRPPHQGVGLVDSSURYDORIWKHUHTXHVW7KHLPPHGLDWHFRPPDQGHU
   ZLOOIRUZDUGWKHUHTXHVWSDFNHWWKURXJKLQWHUPHGLDWHFRPPDQGHUVWRWKH*&0&$
   1RWH$FFHVVLRQDJHQFLHVDQGFRPPDQGVDUHDXWKRUL]HGWRHVWDEOLVKURXWLQJFKDLQVIRUSUHDFFHVVLRQUHTXHVWVZKLFK
   PD\QRWLQFOXGHDOOOHYHOVRILQWHUPHGLDWHFRPPDQG
        $OHJDOUHYLHZLVUHTXLUHGE\WKH*&0&$¶V6-$SULRUWRIRUZDUGLQJDUHTXHVWWRWKH'&6* ± $OHJDODGYLVRU                  




   ZLOOUHYLHZWKHUHTXHVWSDFNHWIRUOHJDOVXIILFLHQF\DQGPD\PDNHDUHFRPPHQGDWLRQIRUGLVSRVLWLRQRIWKHUHTXHVW
   7KHUHYLHZZLOODOVRVWDWHZKHWKHUWKHUHTXHVWDQGHQFORVXUHVDUHFRPSOHWHZLWKLQWKHSURYLVLRQVRIWKLVUHJXODWLRQ
        7KH*&0&$ZLOOIRUZDUGWKHUHTXHVWZLWKUHFRPPHQGDWLRQVGLUHFWO\WRWKH'&6* ±  '$3( ± 03& &RP
                                                                                                                                                  




   PDQG3ROLF\'LYLVLRQDQGSURYLGHFRQFXUUHQWQRWLILFDWLRQWKURXJKFRPPDQGFKDQQHOV6HQLRUFRPPDQGHUVPD\SUR
   YLGHFRQFXUULQJFRPPHQWVRUREMHFWLRQVWRWKH'&6* ± LIGHVLUHGEXWDGGLWLRQDOSURFHVVLQJWLPHZLOOQRWEHSUR
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   YLGHG
        7KHGHFLVLRQRIWKH6(&$50<RUWKHLUGHVLJQHHZLOOEHWUDQVPLWWHGWKURXJKFKDQQHOVWRWKH6ROGLHUUHTXHVWLQJ
   DFFRPPRGDWLRQZLWKLQGD\VDIWHUUHFHLSWRIWKHUHTXHVWE\'&6* ± 8SRQWKH6(&$50<RUWKHLUGHVLJQHH¶V
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   GHFLVLRQ D FRS\ RI WKH GHFLVLRQ GRFXPHQWV ZLOO EH ZHE XSORDGHG WR L3(506 E\ WKH '&6 * ±  IRU ILOLQJ LQ WKH
                                                                                                                                        




   6ROGLHU¶V$0+55)RULQGLYLGXDOVZLWKRXWDQHVWDEOLVKHG$0+55WKH2IILFHRIWKH'&6* ± ZLOOPDLQWDLQFRSLHV
                                                                                                                        




   DQGWKHXQLWSHUVRQQHOILOHXQWLOXSORDGWRWKH$0+55LVSRVVLEOH
        7KH'&6*± ZLOOWUDFNDSSURYHGUHOLJLRXVDFFRPPRGDWLRQZDLYHUVWRHQVXUHWKDWLQGLYLGXDOVDQGFRPPDQG
                           




   HUVDUHQRWLILHGRIDQ\FKDQJHVLQHTXLSPHQWRUSROLFLHVZKLFKPD\DIIHFWDFFRPPRGDWLRQV
        'LVDSSURYDOVE\WKH6(&$50<RUWKHLUGHVLJQHHDUHILQDO6XEVHTXHQWUHTXHVWV ZLOORQO\EHFRQVLGHUHGLI
   EDVHGRQVXEVWDQWLDOO\GLIIHUHQWJURXQGVRUVXSSRUWHGE\VXEVWDQWLDOO\QHZHYLGHQFH
      F'XW\FRQVLGHUDWLRQV
        $UHOLJLRXVDFFRPPRGDWLRQFRQVLVWHQWZLWKWKHXQLIRUPZHDUDQGJURRPLQJVWDQGDUGVLQ$5 ± ZLOOQRW                                        




   DIIHFWD6ROGLHU¶VDVVLJQPHQWRI026RUEUDQFKGXW\ORFDWLRQRUDWWHQGDQFHDWPLOLWDU\VFKRROVH[FHSWDVGHVFULEHG
   LQSDUDJUDSKEIRU6ROGLHUVZLWKEHDUGVRUIRUXQLWVZLWKVSHFLILFXQLIRUPUHTXLUHPHQWVWKDWVXSHUVHGH$5 ± ,I                                          




   D*&0&$DKLJKHUOHYHOFRPPDQGHURUDQ026SURSRQHQWLGHQWLILHVDGGLWLRQDOVSHFLILFKD]DUGVDQDFFRPPRGDWLRQ
   FUHDWHGWKDWFDQQRWEHUHDVRQDEO\PLWLJDWHGWKH\PXVWLPPHGLDWHO\LQIRUPWKH2IILFHRIWKH'&6* ± &RPPDQG                                  




   3ROLF\'LYLVLRQDWXVDUP\SHQWDJRQKTGDGFVJPE[FRPPDQGSROLF\#PDLOPLO
        6WXG\UHVXOWVVKRZWKDWEHDUGJURZWKFRQVLVWHQWO\GHJUDGHVWKHSURWHFWLRQIDFWRUSURYLGHGE\WKHSURWHFWLYH
   PDVNVFXUUHQWO\LQWKH$UP\LQYHQWRU\WRDQXQDFFHSWDEOHGHJUHH8QWLOWKH$UP\FDQILHOGVXFKSURWHFWLYHJHDUWKDW
   PHHWVVDIHW\VWDQGDUGVLQFRQMXQFWLRQZLWKEHDUGJURZWKWKHVHUHVWULFWLRQVDSSO\
       D 6ROGLHUV ZLWK D UHOLJLRXV DFFRPPRGDWLRQ DOORZLQJ D EHDUG PD\ QRW DWWHQG PLOLWDU\ VFKRROV UHTXLULQJ WR[LF
   FKHPLFDODJHQWWUDLQLQJDQGPD\QRWEHDVVLJQHGWRSRVLWLRQVUHTXLULQJFRPSOLDQFHZLWKELRORJLFDOFKHPLFDORUQX
   FOHDU VXUHW\ UHTXLUHPHQWV LQ DFFRUGDQFH ZLWK $5  ±  DQG $5  ±  )RU H[DPSOH WKH\ PD\ QRW VHUYH DV $
                                                                                 




   &KHPLFDO%LRORJLFDO5DGLRORJLFDO1XFOHDU &%51 2IILFHUV$&%517HFKQLFLDQVRU'&%516SHFLDOLVWV
       E $QDFFRPPRGDWLRQIRUDEHDUGPD\EHWHPSRUDULO\VXVSHQGHGZKHQDWKUHDWRIH[SRVXUHWRWR[LF&%51DJHQWV
   H[LVWVWKDWUHTXLUHVDOO6ROGLHUVWREHFOHDQVKDYHQLQFOXGLQJWKRVHZLWKPHGLFDOSURILOHV)ROORZLQJWKHSURFHGXUHVLQ
   SDUDJUDSK3±GFRPPDQGHUVPD\UHTXLUHD6ROGLHUWRVKDYHLIWKHXQLWLVLQRUDERXWWRHQWHUDWDFWLFDOVLWXDWLRQ
   ZKHUHXVHRIDSURWHFWLYHPDVNZLOOOLNHO\EHUHTXLUHGDQGZKHUHWKHLQDELOLW\WRVDIHO\XVHWKHPDVNFRXOGHQGDQJHU



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                                                    $5±-XO\                                                                                           
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   WKH6ROGLHUDQGWKHXQLW$6ROGLHUPD\ZHDUDEHDUGZKLOHSDUWLFLSDWLQJLQWUDLQLQJRUWDFWLFDOVLPXODWLRQVGHVLJQHGWR
   HQVXUHWKDWWKH6ROGLHULVIXOO\IDPLOLDUZLWKXVHRIWKHSURWHFWLYHPDVN
      G6XVSHQVLRQSURFHGXUHV
        :KHQDQDFFRPPRGDWHG6ROGLHU¶V*&0&$LGHQWLILHVDVSHFLILFWKUHDWWRKHDOWKDQGVDIHW\EDVHGRQWKHDF
   FRPPRGDWLRQ VXFKDVWKUHDWRIH[SRVXUHWRWR[LF&%51DJHQWVWKDWPD\PHULWDKHLJKWHQHGSURWHFWLYHSRVWXUH RUWKH
   *&0&$LGHQWLILHVDQLVVXHRIVLQFHULW\WKH*&0&$DIWHUFRQVXOWDWLRQZLWKWKH6WDII-XGJH$GYRFDWHZLOOQRWLI\
   WKH6ROGLHURIWKHQHHGWRVXVSHQGWKHUHOLJLRXVDFFRPPRGDWLRQWKHEDVLVIRUWKHVXVSHQVLRQWKHGDWHWKHVXVSHQVLRQ
   ZLOOOLNHO\JRLQWRHIIHFWDQGWKH6ROGLHU¶VULJKWWRDSSHDO,IWKH6ROGLHUUHTXHVWVDQDSSHDOWKH6ROGLHUZLOOKDYH
   GD\VWRVXEPLW PDWWHUVWRWKH2IILFH RIWKH'&6 * ± &RPPDQG3ROLF\'LYLVLRQDW XVDUP\SHQWDJRQKTGDGFVJ
                                                                  




   PE[FRPPDQGSROLF\#PDLOPLO7KHDFFRPPRGDWLRQZLOOQRWEHVXVSHQGHGEHIRUH,RUP\GHVLJQHHWDNHDFWLRQRQ
   WKHDSSHDO
        ,QH[LJHQWFLUFXPVWDQFHVLQYROYLQJLPPLQHQWWKUHDWWRKHDOWKDQGVDIHW\WKH*&0&$PD\VKRUWHQWKHWLPHIRU
   DSSHDODQGPD\UHTXLUHLPPHGLDWHVXVSHQVLRQRIWKHDFFRPPRGDWLRQ7KH*&0&$ZLOOQRWLI\WKH'&6*± &RP                      




   PDQG3ROLF\'LYLVLRQRIWKHGHFLVLRQDQGLWVEDVLVDVVRRQDVSRVVLEOHDWXVDUP\SHQWDJRQKTGDGFVJPE[FRP
   PDQGSROLF\#PDLOPLO
        7KH*&0&$ZLOOUHLQVWDWHWKHVXVSHQGHGDFFRPPRGDWLRQZKHQWKHVSHFLILFDQGFRQFUHWHWKUHDWWRKHDOWKDQG
   VDIHW\DVDUHVXOWRIWKHDFFRPPRGDWLRQQRORQJHUH[LVWV
   
  7DEOH3 ±
              




  3URFHVVIRU*HQHUDO&RXUW0DUWLDO&RQYHQLQJ$XWKRULW\XQLIRUPDQGJURRPLQJUHTXHVWVDQGDOOZDLYHUUHTXHVWV ²&RQWLQXHG
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  5HTXHVWRU
  6XEPLWVDFFRPPRGDWLRQUHTXHVWWRLPPHGLDWHFRPPDQGHU
  ,QZULWLQJ
  ([SODLQW\SHRIDFFRPPRGDWLRQUHTXHVWHGDQGUHOLJLRXVEDVLVIRUWKHUHTXHVW
  $GGLWLRQDOGRFXPHQWDWLRQ SKRWRVOHWWHUVDQGVRIRUWK LVRSWLRQDO
  &XUUHQWO\VHUYLQJ6ROGLHUVPXVWFRQWLQXHWRFRPSO\ZLWKDOO$UP\VWDQGDUGVIRUQRQDFFRPPRGDWHG6ROGLHUVXQOHVVWKHUHTXHVWLV
  DSSURYHG
  ,PPHGLDWHFRPPDQGHU
  5HYLHZVUHTXHVW
  (PDLOVWKHUHTXHVWHU VQDPHUDQN LIDSSOLFDEOH XQLW026 RUSURVSHFWLYH026LINQRZQ DQGDFRS\RIWKHUHTXHVWGRFXPHQWV
  WRWKH'&6* ± '$3( ±03& &RPPDQG3ROLF\'LYLVLRQDWXVDUP\SHQWDJRQKTGDGFVJPE[FRPPDQGSROLF\#PDLOPLO
                            




  6FKHGXOHVDQLQSHUVRQRUWHOHSKRQLFLQWHUYLHZEHWZHHQWKHUHTXHVWRUDQGWKHDVVLJQHGXQLWFKDSODLQRURWKHUFKDSODLQGHWHUPLQHG
  E\WKHVHQLRUFKDSODLQSUHVHQW
  &KDSODLQ
  ,QWHUYLHZVUHTXHVWRU
  &RPSOHWHVDPHPRZLWKGDWHRILQWHUYLHZDQGDGGUHVVHVWKHUHOLJLRXVEDVLVDQGVLQFHULW\RIWKHUHTXHVW
  5HFRPPHQGDWLRQRQDSSURYDOGLVDSSURYDOLVRSWLRQDO
  ,PPHGLDWHFRPPDQGHU
  5HYLHZVFKDSODLQPHPR
  &RPSOHWHVUHFRPPHQGDWLRQPHPR H[SODQDWLRQUHTXLUHGLIUHFRPPHQGLQJGLVDSSURYDO 
  )RUZDUGVUHTXHVWSDFNHWZLWKUHFRPPHQGDWLRQDQGFKDSODLQPHPR
  ,QWHUPHGLDWHFRPPDQGHU V  LIDSSOLFDEOH 
  5HYLHZVFKDSODLQPHPR
  &RPSOHWHVUHFRPPHQGDWLRQPHPR H[SODQDWLRQUHTXLUHGLIUHFRPPHQGLQJGLVDSSURYDO 
  )RUZDUGVUHTXHVWSDFNHWZLWKUHFRPPHQGDWLRQ
  ,IWKHUHTXHVWLV²
  )RURQHRUPRUHRIWKHIROORZLQJ                                  )RUDZDLYHURI$UP\SROLF\
  %HDUG
  7XUEDQ ZLWKXQFXWKDLU RU
  +LMDE
  :RUQLQDFFRUGDQFHZLWK$5 ±VWDQGDUGV
                                         




  )RUZDUGWR*&0&$                                                    )RUZDUGWR*&0&$
  /HJDOUHYLHZ                                                        /HJDOUHYLHZ
  *&0&$                                                               *&0&$




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                                                      $5±-XO\                                                       
Case 1:21-cv-02228-RM-STV Document 37-14 Filed 11/23/21 USDC Colorado Page 214 of
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  7DEOH3 ±   




  3URFHVVIRU*HQHUDO&RXUW0DUWLDO&RQYHQLQJ$XWKRULW\XQLIRUPDQGJURRPLQJUHTXHVWVDQGDOOZDLYHUUHTXHVWV ²&RQWLQXHG                        




  5HYLHZVSDFNHW                                                                        5HYLHZVSDFNHW
  &RQVXOWZLWK27-$*                                                                    &RPSOHWHVUHFRPPHQGDWLRQPHPR H[SODQDWLRQUHTXLUHGLI
  &RQVXOWZLWK'&6* ±&RPPDQG3ROLF\
                                                                                           UHFRPPHQGLQJGLVDSSURYDO 
  &RQVXOWZLWK2IILFHRIWKH&KLHIRI&KDSODLQV                                         )RUZDUGSDFNHWGLUHFWO\WR'&6* ±IRUGHFLVLRQE\WKH
                                                                                                                                    




  &RQVXOWZLWK$UP\&RUUHFWLRQV&RPPDQG IRUSULVRQHUUH                                6(&$50<RUGHVLJQHH
  TXHVWV 
  $SSURYHVUHTXHVW
  &RPSOHWHDSSURYDOPHPR
  1RWLI\UHTXHVWRUZLWKFRS\RIDSSURYDO
  )RUZDUGVDSSURYDODQGSDFNHWWR'&6* ±'&6* ±XS
                                                                              




  ORDGVDSSURYDOPHPRWRL3(506IRUILOLQJLQUHTXHVWRU¶V
  $0+55
  RU
  'LVDSSURYHVUHTXHVW
  ([SODQDWLRQUHTXLUHG
  &RPSOHWHGLVDSSURYDOPHPR
  1RWLI\UHTXHVWRUZLWKFRS\RIGLVDSSURYDO
  )RUZDUGSDFNHWGLUHFWO\WR'&6* ±'&6* ±XSORDGV
                                                                    




  GLVDSSURYDOPHPRWRL3(506IRUILOLQJLQUHTXHVWRU¶V$0+55
  RU
  (OHYDWHVUHTXHVW
  &RPSOHWHUHFRPPHQGDWLRQPHPR
  1RWLI\UHTXHVWRUZLWKFRS\RIUHFRPPHQGDWLRQPHPR
  )RUZDUGSDFNHWGLUHFWO\WR'&6* ±IRUGHFLVLRQE\WKH
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  6(&$50<RUGHVLJQHH
  7LPHOLQHV
  5HTXHVWVPXVWEHDSSURYHGRUIRUZDUGHGWR+4'$ LIUHFRP                                  5HTXHVWSDFNHWVPXVWEHIRUZDUGHGWR+4'$ZLWKLQ²
  PHQGLQJGLVDSSURYDO ZLWKLQ²                                                             GD\V±3UHDFFHVVLRQ DOOFRPSRQHQWV DQG5$
  GD\V±3UHDFFHVVLRQ DOOFRPSRQHQWV DQG5$                                            GD\V±86$5DQG$51*
  GD\V±86$5DQG$51*
   1RWHV
   
    0HPRUDQGXPVIURPRWKHUFKDSODLQVRUUHOLJLRXVOHDGHUVPD\DFFRPSDQ\WKHUHTXHVWDVRSWLRQDODWWDFKPHQWVEXWGRQRWPHHWWKHUHTXLUHPHQWIRU
   LQWHUYLHZE\WKHDVVLJQHGXQLWFKDSODLQRURQHGHWHUPLQHGE\WKHVHQLRUFKDSODLQ
   
    5HTXHVWVIRUDFFRPPRGDWLRQVFRQVLVWHQWZLWKSXEOLVKHGVWDQGDUGVZLOOEHDSSURYHGXQOHVVWKHFRPPDQGHUGHWHUPLQHVWKHUHTXHVWLVQRWEDVHGRQD
   VLQFHUHO\KHOGUHOLJLRXVEHOLHIRUWKHFRPPDQGHULGHQWLILHVDVSHFLILFKD]DUGUHVXOWLQJIURPWKHDFFRPPRGDWLRQQRWRWKHUZLVHDGGUHVVHGLQSROLF\
   
       6&VPD\SURYLGHFRQFXUULQJFRPPHQWVRUREMHFWLRQVWRWKH'&6* ± EXWDGGLWLRQDOSURFHVVLQJWLPHLVQRWDXWKRUL]HG
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   $SSHQGL[4
   ,QWHUQDO&RQWURO(YDOXDWLRQ

   4±)XQFWLRQ
   7KLVLQWHUQDOHYDOXDWLRQFKHFNOLVWSURYLGHVLQWHUQDOFRQWUROVIRUWKHHYDOXDWLRQRI$&20VDQGFRPPDQGHUV

   4±3XUSRVH
   7KHSXUSRVHRIWKLVHYDOXDWLRQLVWRDVVLVWFRPPDQGHUVDQGRWKHU$UP\OHDGHUVLQHYDOXDWLQJWKHNH\LQWHUQDOFRQWUROV
   OLVWHG,WLVLQWHQGHGDVDJXLGHDQGGRHVQRWFRYHUDOOFRQWUROV

   4±,QVWUXFWLRQV
   $QVZHUVPXVWEHEDVHGRQWKHDFWXDOWHVWLQJRINH\LQWHUQDOFRQWUROV IRUH[DPSOHGRFXPHQWDQDO\VLVGLUHFWREVHUYD
   WLRQ VDPSOLQJ VLPXODWLRQ RWKHU  $QVZHUV WKDW LQGLFDWH GHILFLHQFLHV PXVW EH H[SODLQHG DQG WKH FRUUHFWLYH DFWLRQ
   LGHQWLILHGLQVXSSRUWLQJGRFXPHQWDWLRQ7KHVHLQWHUQDOFRQWUROVPXVWEHHYDOXDWHGDWOHDVWRQFHHYHU\ILYH\HDUV&HU
   WLILFDWLRQWKDWWKHHYDOXDWLRQKDVEHHQFRQGXFWHGPXVWEHDFFRPSOLVKHGRQ'$)RUP ±  ,QWHUQDO&RQWURO(YDOXDWLRQ
                                                                                                                  




   &HUWLILFDWLRQ 

   4±7HVWTXHVWLRQV
       D'RHVWKHFRPPDQGHUKDYHSRVWHGFRPPDQGSROLFLHVRQ²
         2SHQGRRUSROLF\ SDUD± "
                                          




         +DUDVVPHQW SDUD±E  "
         0(2 SDUDL  "
         3UHYHQWLRQRIVH[XDOKDUDVVPHQW SDUD±R "
         0(2FRPSODLQWSURFHGXUHV VHHFKDS "
       E'R6ROGLHUVUHFHLYHUHJXODUSHUIRUPDQFHFRXQVHOLQJ SDUD±  "      




       F,QFDVHRIDUHOLHIIRUFDXVHGLGD*2GLUHFWWKHUHOLHIIRUFDXVH SDUD±  "     




       G'LGWKHFRPPDQGHUVXEPLW'$)RUPZLWKLQGD\VRIRIIHQVHQRWLILFDWLRQ SDUD±  "                             




       H$UHPHPEHUVKLSFDPSDLJQVIRUYROXQWDU\RUJDQL]DWLRQVWUXO\YROXQWDU\ SDUD ±  "               




       I'RHV WKH FRPPDQGHU DOHUW IRU VLJQV RI H[WUHPLVW WHUURULVW RU FULPLQDO JDQJ RUJDQL]DWLRQV RU DFWLYLWLHV SDUD
    ±  "
              




       J'RHVWKHFRPPDQGHUHQIRUFH$UP\SROLF\RQIUDWHUQL]DWLRQ SDUDV± WKURXJK±  "
                                                                                                                        




       K'RHVWKHFRPPDQGHUHQIRUFHWKH'RPHVWLF9LROHQFH$PHQGPHQWWRWKH*XQ&RQWURO$FWRI /DXWHQEHUJ
   $PHQGPHQW SDUD±  "   




       L'RHVWKHFRPPDQGHUHQIRUFHWKHSROLF\WKDWRIILFHUV:2VDQGHQOLVWHGPHPEHUVDERYHWKHJUDGHRI( ± VHOI                                  




   UHSRUWFULPLQDOFRQYLFWLRQV SDUD ±  "    




       M'RHVWKHFRPPDQGHUUHTXLUHDSSURSULDWH6ROGLHUVWRILOHDQGUHJXODUO\XSGDWH)DPLO\FDUHSODQV SDUD± "                                




       N,IWKHFRPPDQGHUGHQLHVDUHOLJLRXVDFFRPPRGDWLRQGRHVWKHFRPPDQGHUDIIRUGWKH6ROGLHUWKHRSSRUWXQLW\WR
   DSSHDOWKHGLVDSSURYDO SDUD±I  D "
       O'RHVWKHFRPPDQGHUSURKLELWDFWVRIUHSULVDOIRUILOLQJDFRPSODLQWRIXQODZIXOGLVFULPLQDWLRQRUVH[XDOKDUDVV
   PHQWFRPPXQLFDWLQJZLWKD0HPEHURI&RQJUHVVWKH,*RUDQ\RWKHUDXWKRUL]HGDJHQF\ SDUD ±  "                                  




   4±6XSHUVHVVLRQ
   1RWDSSOLFDEOH

   4±&RPPHQWV
   +HOS PDNH WKLV D EHWWHU WRRO IRU HYDOXDWLQJ LQWHUQDO FRQWUROV 6XEPLW FRPPHQWV WR 'HSXW\ 6WDII RI 6WDII * ±                                 




     '$3( ± 03 $UP\3HQWDJRQ:DVKLQJWRQ'&± 
                                                                       




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                                                      $5±-XO\                                                                               
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   *ORVVDU\
   6HFWLRQ,
   $EEUHYLDWLRQV
   $&
   $FWLYH&RPSRQHQW
   $&20
   $UP\FRPPDQG
   $'53
   $UP\GRFWULQHUHIHUHQFHSXEOLFDWLRQ
   $*5
   $FWLYH*XDUG5HVHUYH
   $.2
   $UP\.QRZOHGJH2QOLQH
   $/(576
   $UP\/DZ(QIRUFHPHQW5HSRUWLQJDQG7UDFNLQJ6\VWHP
   $0&
   86$UP\0DWHULHO&RPPDQG
   $0(''
   $UP\0HGLFDO'HSDUWPHQW
   $0+55
   $UP\0LOLWDU\+XPDQ5HVRXUFH5HFRUG
   $2&
   $UP\2SHUDWLRQV&HQWHU
   $5
   $UP\5HJXODWLRQ
   $5,06
   $UP\5HFRUGV,QIRUPDWLRQ0DQDJHPHQW6\VWHP
   $51*
   $UP\1DWLRQDO*XDUG
   $51*86
   $UP\1DWLRQDO*XDUGRIWKH8QLWHG6WDWHV
   $567$)
   $UP\6WDII
   $UW
   $UWLFOHV
   $6$
   $VVLVWDQW6HFUHWDU\RIWKH$UP\
   $6$ )0 & 
   $VVLVWDQW6HFUHWDU\RIWKH$UP\ )LQDQFLDO0DQDJHPHQWDQG&RPSWUROOHU 
   $6$ ,( ( 
   $VVLVWDQW6HFUHWDU\RIWKH$UP\ ,QVWDOODWLRQV(QHUJ\DQG(QYLURQPHQW 
   $6$ 0 5$ 
   $VVLVWDQW6HFUHWDU\RIWKH$UP\ 0DQSRZHUDQG5HVHUYH$IIDLUV 
   $6&&
   $UP\VHUYLFHFRPSRQHQWFRPPDQG



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                                              $5±-XO\      
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                                      365
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   $6,
   $GGLWLRQDOVNLOOLGHQWLILHU
   $706
   $UP\7UDLQLQJ0DQDJHPHQW6\VWHP
   $7556
   $UP\7UDLQLQJ5HTXLUHPHQWVDQG5HVRXUFH6\VWHP
   %'(
   %ULJDGH
   %*
   %ULJDGLHU*HQHUDO
   %266
   %HWWHU2SSRUWXQLWLHVIRU6LQJOH6ROGLHUV
   &$5
   &KLHI$UP\5HVHUYH
   &&$
   &RPPDQG&OLPDWH$VVHVVPHQW
   &&,5
   &RPPDQGHU¶V&ULWLFDO,QIRUPDWLRQ5HTXLUHPHQW
   &'7
   &DGHW
   &(8
   &RQWLQXLQJ(GXFDWLRQ8QLW
   &)5
   &RGHRI)HGHUDO5HJXODWLRQV
   &*
   &RPPDQGLQJ*HQHUDO
   &,3
   &RPPDQG,QVSHFWLRQ3URJUDP
   &1*%,
   &KLHIRI1DWLRQDO*XDUG%XUHDX,QVWUXFWLRQ
   &2/
   &RORQHO
   &2186
   &RQWLQHQWDO8QLWHG6WDWHV
   &3/
   &RUSRUDO
   &32
   &LYLOLDQ3URWHFWLRQ2UGHU
   &37
   &DSWDLQ
   &5&
   &RPPDQGHU¶V5HDG\DQG5HVLOLHQW&RXQFLO
   &6$
   &KLHIRI6WDII$UP\
   &60
   &RPPDQG6HUJHDQW0DMRU



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   &:
   &KLHI:DUUDQW2IILFHU7ZR
   &:
   &KLHI:DUUDQW2IILFHU7KUHH
   &:
   &KLHI:DUUDQW2IILFHU)RXU
   &:
   &KLHI:DUUDQW2IILFHU)LYH
   '$
   'HSDUWPHQWRIWKH$UP\
   '$,*
   'HSDUWPHQWRIWKH$UP\,QVSHFWRU*HQHUDO
   '$6$±( ,$
   'HSXW\$VVLVWDQW6HFUHWDU\RIWKH$UP\(TXLW\DQG,QFOXVLRQ$JHQF\
   '&6
   'HSXW\&KLHIRI6WDII
   ''
   'HSDUWPHQWRI'HIHQVH IRUPV 
   '((56
   'HIHQVH(QUROOPHQW(OLJLELOLW\5HSRUWLQJ6\VWHP
   '(20,
   'HIHQVH(TXDO2SSRUWXQLW\0DQDJHPHQW,QVWLWXWH
   '(3
   'HOD\HG(QWU\3URJUDP
   '(6
   'LUHFWRURI(PHUJHQF\6HUYLFHV
   ')$6
   'HIHQVH)LQDQFHDQG$FFRXQWLQJ6HUYLFH
   '+$
   'HIHQVH+HDOWK$JHQF\
   'R'
   'HSDUWPHQWRI'HIHQVH
   'R'&$)
   'HSDUWPHQWRI'HIHQVH&HQWUDO$GMXGLFDWLRQ)DFLOLW\
   'R''
   'HSDUWPHQWRI'HIHQVHGLUHFWLYH
   'R'±(&:RUNIRUFH
   'R'([SHGLWLRQDU\&LYLOLDQ:RUNIRUFH
   'R',
   'HSDUWPHQWRI'HIHQVHLQVWUXFWLRQ
   '25
   'DWHRI5DQN
   '56
   'DWD5HWULHYDO6\VWHP
   '58
   'LUHFW5HSRUWLQJ8QLW



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   '±6$$&3
   'HSDUWPHQWRI'HIHQVH6H[XDO$VVDXOW$GYRFDWH&HUWLILFDWLRQ3URJUDP
   '6$,'
   'HIHQVH6H[XDO$VVDXOW,QFLGHQW'DWDEDVH
   '61
   'HIHQVH6ZLWFKHG1HWZRUN
   ((2
   (TXDO(PSOR\PHQW2SSRUWXQLW\
   (2
   (TXDO2SSRUWXQLW\
   (2/
   (TXDO2SSRUWXQLW\/HDGHU
   (2/&
   (TXDO2SSRUWXQLW\/HDGHUV&RXUVH
   )0
   )LHOG0DQXDO
   )2,$
   )UHHGRPRI,QIRUPDWLRQ$FW
   )256&20
   )RUFHV&RPPDQG
   )3
   )RUFH3URWHFWLRQ
   )71*'
   )XOOWLPH1DWLRQDO*XDUG'XW\
   *&
   *DUULVRQ&RPPDQGHU
   *&0&$
   *HQHUDO&RXUW0DUWLDO&RQYHQLQJ$XWKRULW\
   *(1
   *HQHUDO
   *2
   *HQHUDO2IILFHU
   *6
   *HQHUDO6FKHGXOH
   +&3
   +HDOWKFDUHSURYLGHU
   +4'$
   +HDGTXDUWHUV'HSDUWPHQWRIWKH$UP\
   +5&
   +XPDQ5HVRXUFHV&RPPDQG
   +557
   +LJK5LVN5HVSRQVH7HDP
   ,&56
   ,QWHJUDWHG&DVH5HSRUWLQJ6\VWHP
   ,*
   ,QVSHFWRU*HQHUDO



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   ,*$5
   ,QVSHFWRU*HQHUDO$FWLRQ5HTXHVW
   ,0&20
   86$UP\,QVWDOODWLRQ0DQDJHPHQW&RPPDQG
   ,07
   ,QLWLDO0LOLWDU\7UDLQLQJ
   L3(506
   LQWHUDFWLYH3HUVRQQHO(OHFWURQLF5HFRUGV0DQDJHPHQW6\VWHP
   ,55
   ,QGLYLGXDO5HDG\5HVHUYH
   ,7
   ,QIRUPDWLRQ7HFKQRORJ\
   -%&
   -RLQW%DVH&RPPDQGHU
   -)+4
   -RLQW)RUFHV+HDGTXDUWHUV
   -026
   -RLQW0DQDJHPHQW2YHUVLJKW6WUXFWXUH
   -3$6
   -RLQW3HUVRQQHO$GMXGLFDWLRQ6\VWHP
   -75
   -RLQW7UDYHOUHJXODWLRQ
   /2'
   /LQHRI'XW\
   /7&
   /LHXWHQDQW&RORQHO
   /7*
   /LHXWHQDQW*HQHUDO
   0$-
   0DMRU
   0&,2
   0LOLWDU\&ULPLQDO,QYHVWLJDWLRQ2UJDQL]DWLRQ
   0&0
   0DQXDOIRU&RXUWV0DUWLDO
   0(2
   0LOLWDU\(TXDO2SSRUWXQLW\
   0)5
   0HPRUDQGXPIRU5HFRUG
   0*
   0DMRU*HQHUDO
   02$
   0HPRUDQGXPRI$JUHHPHQW
   026
   0LOLWDU\2FFXSDWLRQDO6SHFLDOW\
   028
   0HPRUDQGXPRI8QGHUVWDQGLQJ



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   03
   0LOLWDU\3ROLFH
   032
   0LOLWDU\3URWHFWLYH2UGHU
   05(
   0LOLWDU\5XOHVRI(YLGHQFH
   06*
   0DVWHU6HUJHDQW
   07)
   0LOLWDU\7UHDWPHQW)DFLOLW\
   087$
   0XOWLSOH8QLW7UDLQLQJ$VVHPEO\
   0:5
   0RUDOH:HOIDUHDQG5HFUHDWLRQ
   1$
   1RWDSSOLFDEOH
   1&2
   1RQFRPPLVVLRQHG2IILFHU
   1&2(5
   1RQFRPPLVVLRQHG2IILFHU(YDOXDWLRQ5HSRUW
   1*%
   1DWLRQDO*XDUG%XUHDX
   1*5
   1DWLRQDO*XDUGUHJXODWLRQ
   1,351(7
   1RQVHFXUH,QWHUQHW3URWRFRO5RXWHU1HWZRUN
   1/7
   1RODWHUWKDQ
   2&
   2IILFHU&DQGLGDWH
   2&2186
   2XWVLGHWKH&RQWLQHQWDO8QLWHG6WDWHV
   2(5
   2IILFHU(YDOXDWLRQ5HSRUW
   2,3
   2UJDQL]DWLRQ,QVSHFWLRQ3URJUDP
   236(&
   2SHUDWLRQV6HFXULW\
   27-$*
   2IILFHRI7KH-XGJH$GYRFDWH*HQHUDO
   276*
   2IILFHRI7KH6XUJHRQ*HQHUDO
   3$2
   3XEOLF$IIDLUV2IILFH
   3&&
   3HUVRQQHO&RQWLQJHQF\&HOO



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   3&6
   3HUPDQHQW&KDQJHRI6WDWLRQ
   3)&
   3ULYDWH)LUVW&ODVV
   3,,
   3HUVRQDOO\,GHQWLILDEOH,QIRUPDWLRQ
   30
   3URJUDP0DQDJHU
   30(
   3URIHVVLRQDO0LOLWDU\(GXFDWLRQ
   302
   3URYRVW0DUVKDO2IILFH
   320
   3URJUDP2EMHFWLYH0HPRUDQGXP
   37
   3K\VLFDO7UDLQLQJ
   39
   3ULYDWH
   39
   3ULYDWH(QOLVWHG7ZR
   4&
   4XDOLW\&RQWURO
   5
   5HDG\DQG5HVLOLHQW
   5$
   5HJXODU$UP\
   5&
   5HVHUYH&RPSRQHQW
   5&0
   5XOHIRU&RXUW0DUWLDO
   527&
   5HVHUYH2IILFHUV¶7UDLQLQJ&RUSV
   556±$
   $UP\5HFRUGV5HWHQWLRQ6FKHGXOH$UP\
   56&
   5HJLRQDO6XSSRUW&RPPDQG
   6$$30
   6H[XDO$VVDXOW$ZDUHQHVVDQG3UHYHQWLRQ0RQWK
   6$(&
   6HQLRU$UP\(OHPHQW&RPPDQGHU
   6$)(
   6H[XDO$VVDXOW)RUHQVLF([DPLQDWLRQ
   6$,52
   6H[XDO$VVDXOW,QFLGHQW5HVSRQVH2YHUVLJKW
   6$0)(
   6H[XDO$VVDXOW0HGLFDO)RUHQVLF([DPLQHU



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   6$35
   6H[XDO$VVDXOW3UHYHQWLRQDQG5HVSRQVH
   6$5%
   6H[XDO$VVDXOW5HYLHZ%RDUG
   6$5&
   6H[XDODVVDXOWUHVSRQVHFRRUGLQDWRU
   6$9
   VWDIIDVVLVWDQFHYLVLW
   6&
   VHQLRUFRPPDQGHU
   6(&$50<
   6HFUHWDU\RIWKH$UP\
   6(6
   6HQLRU([HFXWLYH6HUYLFH
   6)&
   VHUJHDQWILUVWFODVV
   6)5*
   6ROGLHUDQG)DPLO\5HDGLQHVV*URXS
   6*0
   6HUJHDQW0DMRU
   6*7
   VHUJHDQW
   6+$53
   6H[XDO+DUDVVPHQW$VVDXOW5HVSRQVHDQG3UHYHQWLRQ
   6+/
   6DIH+HOSOLQH
   6,351(7
   VHFXUHLQWHUQHWSURWRFROURXWHUQHWZRUN
   6-$
   VWDIIMXGJHDGYRFDWH
   60$
   6HUJHDQW0DMRURIWKH$UP\
   63&
   VSHFLDOLVW
   63&0&$
   VSHFLDOFRXUWPDUWLDOFRQYHQLQJDXWKRULW\
   64,
   VNLOOTXDOLILFDWLRQVLGHQWLILHU
   652
   VHQLRUUHVSRQVLEOHRIILFLDO
   66*
   VWDIIVHUJHDQW
   661
   VRFLDOVHFXULW\QXPEHU
   69&
   VSHFLDOYLFWLPV¶FRXQVHO



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   69,3
   VSHFLDOYLFWLPLQYHVWLJDWLRQDQGSURVHFXWLRQ
   7'$
   WDEOHRIGLVWULEXWLRQDQGDOORZDQFHV
   7'<
   WHPSRUDU\GXW\
   7,*
   7KH,QVSHFWRU*HQHUDO
   7-$*
   7KH-XGJH$GYRFDWH*HQHUDO
   703
   WUDQVSRUWDWLRQPRWRUSRRO
   738
   WURRSSURJUDPXQLW
   75$'2&
   86$UP\7UDLQLQJDQG'RFWULQH&RPPDQG
   75,&$5(
   7UL6HUYLFH0HGLFDO&DUH
   76*
   7KH6XUJHRQ*HQHUDO
   763
   WUDLQLQJVXSSRUWSDFNDJH
   8&0-
   8QLIRUP&RGHRI0LOLWDU\-XVWLFH
   86$&,'&
   86$UP\&ULPLQDO,QYHVWLJDWLRQ&RPPDQG
   86$5
   86$UP\5HVHUYH
   86$5&
   86$UP\5HVHUYH&RPPDQG
   86&
   8QLWHG6WDWHV&RGH
   860$
   8QLWHG6WDWHV0LOLWDU\$FDGHP\
   9$
   YLFWLPDGYRFDWH
   9&6$
   9LFH&KLHIRI6WDII$UP\
   95
   YLFWLPUHSUHVHQWDWLYH
   :2
   ZDUUDQWRIILFHU
   :2
   ZDUUDQWRIILFHURQH
   :2&
   ZDUUDQWRIILFHUFDQGLGDWH



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   ILUVWOLHXWHQDQW
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   ILUVWVHUJHDQW
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   VHFRQGOLHXWHQDQW

   6HFWLRQ,,
   7HUPV
   $FWLYHGXW\
   )XOOWLPHGXW\LQWKHDFWLYHPLOLWDU\6HUYLFHRIWKH8QLWHG6WDWHVLQFOXGLQJIXOOWLPHWUDLQLQJGXW\DQQXDOWUDLQLQJ
   GXW\DWWHQGDQFHZKLOHLQWKHDFWLYHPLOLWDU\6HUYLFHDWDVFKRROGHVLJQDWHGDVD6HUYLFHVFKRROE\ODZRUE\VHFUHWDU\
   RIWKHPLOLWDU\GHSDUWPHQWFRQFHUQHG7KLVWHUPGRHVQRWLQFOXGH)71*'
   $FWLYHVWDWXV
   7KHVWDWXVRIDPHPEHURID5&QRWLQWKHLQDFWLYH$51*RQLQDFWLYHVWDWXVOLVWRULQWKH5HWLUHG5HVHUYH
   $QRQ\PRXVFRPSODLQW
   $QRQ\PRXVUHSRUWLQJLVGHILQHGDVDQDOOHJDWLRQUHSRUWRIVH[XDOKDUDVVPHQWUHJDUGOHVVRIWKHPHDQVRIWUDQVPLVVLRQ
   IURPDQXQNQRZQXQLGHQWLILHGVRXUFH7KHLQGLYLGXDOUHSRUWLQJWKHLQIRUPDWLRQLVQRWUHTXLUHGWRGLYXOJHDQ\3,,
   &RPPDQGHUVZLOOSXEOLFL]HDQGHQDEOHDQRQ\PRXVUHSRUWLQJWKURXJKRUJDQL]DWLRQDOKRWOLQHVHPDLODQGRIILFLDOWHO
   HSKRQHOLQHV$QRQ\PRXVUHSRUWVRIVH[XDOKDUDVVPHQWRFFXUULQJLQFRQILQHPHQWIDFLOLWLHVLQYROYLQJPLOLWDU\LQPDWHV
   ZLOODGKHUHWRWKH3ULVRQ5DSH(OLPLQDWLRQ$FW
   $UP\1DWLRQDO*XDUG
   7KH$UP\SRUWLRQRIWKHUHFRJQL]HGPLOLWLDRIWKHVHYHUDOVWDWHV&RPPRQZHDOWKRI3XHUWR5LFRDQG'LVWULFWRI&R
   OXPELDZKRVHXQLWVDQGPHPEHUVDUHIHGHUDOO\UHFRJQL]HG
   $UP\1DWLRQDO*XDUGRIWKH8QLWHG6WDWHV
   $5&RIWKH$UP\DOORIZKRVHPHPEHUVDUHPHPEHUVRIWKH$51*
   $UP\UHFUXLW
   $Q$UP\UHFUXLWLVDQLQGLYLGXDOZKRKDVMRLQHGWKH$UP\LQFOXGLQJ86$UP\0LOLWDU\$FDGHP\FDGHWV527&
   FDGHWV ZKRDUHXQGHUFRQWUDFW DQGLQGLYLGXDOVLQWKH'(3 )XWXUH6ROGLHUV3URJUDP 'HOD\HG7UDLQLQJ3URJUDP
   5HFUXLW6XVWDLQPHQW3URJUDPRUVLPLODUSURJUDPV
   %HOLHIV
   -XGJPHQWVRUH[SHFWDQFLHVZKLFKRQHPD\KROG
   &DWHJRU\
   $VSHFLILFDOO\GHILQHGGLYLVLRQLQDV\VWHPRIFODVVLILFDWLRQ
   &KDLQRIFRPPDQG
   7KHVXFFHVVLRQRI&2VIURPDVXSHULRUWRDVXERUGLQDWHWKURXJKZKLFKFRPPDQGLVH[HUFLVHG
   &LYLORIILFH
   $QRQPLOLWDU\RIILFHLQYROYLQJWKHH[HUFLVHRIWKHSRZHUVRIDXWKRULW\RIFLYLOJRYHUQPHQWWRLQFOXGHHOHFWLYHRUDQ
   DSSRLQWHGRIILFHLQWKHJRYHUQPHQWD86WHUULWRU\RUSRVVHVVLRQ6WDWHFRXQW\PXQLFLSDOLW\RURIILFLDOVXEGLYLVLRQ
   WKHUHRI
   &RPPDQG&OLPDWH$VVHVVPHQW
   $GHWHUPLQDWLRQRIWKHKHDOWKDQGIXQFWLRQLQJHIIHFWLYHQHVVRIDQRUJDQL]DWLRQE\H[DPLQLQJVXFKIDFWRUVDVOHDGHU
   VKLSXQLWFRKHVLRQPRUDOHWHDPZRUNDQGFRPPXQLFDWLRQ7KLVDFFRPSOLVKHGWKURXJKVRPHRUDOORIWKHIROORZLQJ
   JURXSDQGRULQGLYLGXDOLQWHUYLHZVREVHUYDWLRQVVXUYH\VRUTXHVWLRQQDLUHVDQGUHYLHZRIUHFRUGVDQGUHSRUWV
   &RPPRQOHYHOVRIVXSSRUW
   &RPPRQOHYHOVRIVXSSRUWDUHWKH,0&20GHWHUPLQHGOHYHOVIRUWKHFRPPRQVHUYLFHVWKDWDUHSURYLGHGE\DJDUULVRQ
   &RPPRQOHYHOVRIVXSSRUWUHIHUVWRWKHPHWKRGE\ZKLFK,0&20GLUHFWVDOOJDUULVRQVWRGHOLYHUVSHFLILFHOHPHQWVRI
   LQVWDOODWLRQVXSSRUWVHUYLFHV 6HUYLFH6XSSRUW3URJUDPV DWD,0&20DSSURYHGSUHGHWHUPLQHGOHYHORIVHUYLFH7KLV




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   VWUDWHJ\LVDLPHGDWDFKLHYLQJVWDQGDUGL]DWLRQRILQVWDOODWLRQVHUYLFHVDFURVVWKH$UP\WKURXJKHTXLWDEOHGLVWULEXWLRQ
   RIUHVRXUFHVDQGJDUULVRQDFFRXQWDELOLW\IRUVHUYLFHGHOLYHU\SHUIRUPDQFH
   &RPSODLQDQW
   $6ROGLHUPLOLWDU\)DPLO\PHPEHURU'$FLYLOLDQHPSOR\HHZKRVXEPLWVDFRPSODLQW
   &RPSODLQW HTXDORSSRUWXQLW\ 
   $QDOOHJDWLRQRIGLVFULPLQDWLRQEDVHGRQUDFHFRORUVH[ LQFOXGLQJJHQGHULGHQWLW\ QDWLRQDORULJLQUHOLJLRQRUVH[XDO
   RULHQWDWLRQRUDOOHJDWLRQRIKDUDVVPHQW KD]LQJEXOO\LQJRUGLVFULPLQDWRU\KDUDVVPHQW 
   &RPSODLQW HTXDORSSRUWXQLW\ IRUPDO
   $QDOOHJDWLRQRIGLVFULPLQDWLRQRUKDUDVVPHQW KD]LQJEXOO\LQJRUGLVFULPLQDWRU\KDUDVVPHQW VXEPLWWHGLQZULWLQJ
   RQD'$)RUPWRDFRPPDQGHUVXSHUYLVRURUPLOLWDU\HTXDORSSRUWXQLW\SURIHVVLRQDORUDQDOOHJDWLRQLGHQWLILHG
   E\WKHFRPPDQGHUWREHLQYHVWLJDWHGWKURXJKWKHIRUPDOFRPSODLQWSURFHVV
   &RPSODLQW HTXDORSSRUWXQLW\ LQIRUPDO
   $QDOOHJDWLRQRIGLVFULPLQDWLRQRUKDUDVVPHQW KD]LQJEXOO\LQJRUGLVFULPLQDWRU\KDUDVVPHQW PDGHHLWKHUYHUEDOO\
   RULQZULWLQJWKDWLVQRWVXEPLWWHGDVDIRUPDOFRPSODLQWWRDQ0(2SURIHVVLRQDO QRWDQ(2/ 
   &RQVHQW
   $VXVHGLQWKHFRQWH[WRIVH[XDODVVDXOWFRQVHQWLVDIUHHO\JLYHQDJUHHPHQWWRWKHFRQGXFWDWLVVXHE\DFRPSHWHQW
   SHUVRQ$QH[SUHVVLRQRIODFNRIFRQVHQWWKURXJKZRUGVRUFRQGXFWPHDQVWKHUHLVQRFRQVHQW/DFNRIYHUEDOUHVLVWDQFH
   RUVXEPLVVLRQUHVXOWLQJIURPWKHXVHRIIRUFHWKUHDWRIIRUFHRUSODFLQJDQRWKHUSHUVRQLQIHDUGRHVQRWFRQVWLWXWH
   FRQVHQW$FXUUHQWRUSUHYLRXVGDWLQJRUVRFLDORUVH[XDOUHODWLRQVKLSE\LWVHOIRUWKHPDQQHURIGUHVVRIWKHSHUVRQ
   LQYROYHGZLWKWKHDFFXVHGLQWKHFRQGXFWDWLVVXHGRHVQRWFRQVWLWXWHFRQVHQW$VOHHSLQJXQFRQVFLRXVRULQFRPSHWHQW
   SHUVRQFDQQRWFRQVHQW
   &XOWXUDOGLYHUVLW\
   $FRQGLWLRQLQDJURXSRISHRSOHRURUJDQL]DWLRQEURXJKWDERXWE\WKHVH[UHOLJLRQUDFLDOFXOWXUDODQGVRFLDOGLIIHU
   HQFHVWKDWWKHLQGLYLGXDOVQDWXUDOO\EULQJWRWKHJURXSRURUJDQL]DWLRQ
   &XOWXUH
   7KHOHDUQHGDQGVKDUHGEHKDYLRUVDQGSHUFHSWLRQVRIDJURXSZKLFKKDYHEHHQWUDQVPLWWHGIURPJHQHUDWLRQWRJHQHU
   DWLRQWKURXJKDVKDUHGV\PEROV\VWHP
   'DWHRIUDQN
   7KHGDWHRQZKLFKDQRIILFHURUHQOLVWHG6ROGLHUDFWXDOO\RUFRQVWUXFWLYHO\ZDVDSSRLQWHGLQDSDUWLFXODUJUDGH7KH
   GDWHZLOOEHFDOFXODWHGRQWKHEDVLVRIFULWHULDHVWDEOLVKHGLQWKLVUHJXODWLRQDQGLVWKHILUVWUXOHIRUGHWHUPLQLQJUHODWLYH
   VHQLRULW\IRURIILFHUVDQGHQOLVWHGKROGLQJWKHVDPHJUDGH
   'HOD\HG(QWU\3URJUDP
    )XWXUH6ROGLHU3URJUDP 'HOD\HG7UDLQLQJ3URJUDPDQGWKH5HFUXLW6XVWDLQPHQW3URJUDP8QGHUWKHVHSURJUDPV
   DQLQGLYLGXDOPD\HQOLVWLQD5&RIWKH$UP\RURWKHUPLOLWDU\6HUYLFHDQGVSHFLI\DIXWXUHUHSRUWLQJGDWHIRUHQWU\RQ
   DFWLYHGXW\WKDWZRXOGFRLQFLGHZLWKWKHDYDLODELOLW\RIWUDLQLQJVSDFHVDQGSHUVRQDOSODQVVXFKDVKLJKVFKRROJUDGX
   DWLRQ7KLVSROLF\DOVRFRYHUVDQ\VLPLODUSURJUDP
   'HSDUWPHQWRI'HIHQVH0LOLWDU\(TXDO2SSRUWXQLW\3URJUDP
   7KH'R'ZLGHPLOLWDU\SURJUDPRI0(2WKDWLVDFFRPSOLVKHGWKURXJKHIIRUWVE\WKH'R'FRPSRQHQWV,WSURYLGHV
   DQHQYLURQPHQWLQZKLFK6ROGLHUVDUHHQVXUHGDQRSSRUWXQLW\WRULVHWRWKHKLJKHVWOHYHORIUHVSRQVLELOLW\SRVVLEOHLQ
   WKHPLOLWDU\SURIHVVLRQGHSHQGHQWRQO\RQPHULWSHUIRUPDQFHDQGSRWHQWLDO
   'LUHFWVXSSRUW
   $VXSSRUWUHODWLRQVKLSUHTXLULQJDIRUFHWRVXSSRUWDQRWKHUVSHFLILFIRUFHVDQGDXWKRUL]LQJLWWRDQVZHUGLUHFWO\WRWKH
   VXSSRUWHGIRUFH¶VUHTXHVWIRUDVVLVWDQFH
   'LVFULPLQDWLRQ
   7KHDFWSROLF\RUSURFHGXUHWKDWDUELWUDULO\GHQLHV(2RU((2EHFDXVHRIUDFHFRORUVH[ LQFOXGLQJJHQGHULGHQWLW\ 
   QDWLRQDORULJLQUHOLJLRQRUVH[XDORULHQWDWLRQWRDQLQGLYLGXDORUJURXSRILQGLYLGXDOV
   'LVFULPLQDWLRQW\SHV
   7KHIROORZLQJGHILQLWLRQRIGLVFULPLQDWLRQW\SHVDSSO\WRWKH0LOLWDU\(TXDO2SSRUWXQLW\SURJUDP




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   D&RORUGLVFULPLQDWLRQ 2FFXUVZKHQDQLQGLYLGXDOLVWUHDWHGGLIIHUHQWO\EDVHGRQWKHOLJKWQHVVGDUNQHVVRUWRQHU
   FRORUFKDUDFWHULVWLFVRIWKHSHUVRQ7KLVW\SHRIGLVFULPLQDWLRQFDQRFFXUZLWKUDFHGLVFULPLQDWLRQ&RORUGLVFULPLQD
   WLRQFDQRFFXUEHWZHHQSHUVRQVRIGLIIHUHQWUDFHVRUHWKQLFLWLHV,WFDQDOVRRFFXUZKHQPHPEHUVRIWKHVDPHUDFHWUHDW
   HDFKRWKHUGLIIHUHQWO\EHFDXVHRIOLJKWQHVVRUGDUNQHVVRIWKHLUVNLQ
   E6H[GLVFULPLQDWLRQ2FFXUVZKHQDQLQGLYLGXDOLVGHSULYHGRIDQRSSRUWXQLW\EHFDXVHRIWKHLUVH[ LQFOXGLQJJHQGHU
   LGHQWLW\DQGSUHJQDQF\ RUZKHQGHFLVLRQVDUHPDGHEDVHGRQVWHUHRW\SHVDQGDVVXPSWLRQVDERXWDELOLWLHVWUDLWVRU
   WKHSHUIRUPDQFHRILQGLYLGXDOVRQWKHEDVLVRIVH[
   F5DFLDOGLVFULPLQDWLRQ2FFXUVZKHQDQLQGLYLGXDOLVWUHDWHGGLIIHUHQWO\EHFDXVHRIWKHLUUDFLDOJURXSUDFLDOFKDUDF
   WHULVWLFV IRUH[DPSOHKDLUWH[WXUHFRORUIDFLDOIHDWXUHV RUEHFDXVHRIWKHLUUHODWLRQVKLSRUDVVRFLDWLRQZLWKVRPHRQH
   RIDSDUWLFXODUUDFH
   G5HOLJLRXVGLVFULPLQDWLRQ2FFXUVZKHQDQLQGLYLGXDOLVWUHDWHGPRUHRUOHVVIDYRUDEO\EHFDXVHRIWKHLUUHOLJLRXV
   EHOLHIVRUSUDFWLFHV²H[FHSW WRWKHH[WHQWDUHOLJLRXVDFFRPPRGDWLRQLV ZDUUDQWHG )RUH[DPSOH LPSRVLQJVWULFWHU
   SURPRWLRQUHTXLUHPHQWVIRUDSHUVRQRIDFHUWDLQUHOLJLRXVRULPSRVLQJPRUHRUGLIIHUHQWZRUNUHTXLUHPHQWVRQDQ
   LQGLYLGXDOEHFDXVHRIWKHLUUHOLJLRXVEHOLHIVRUSUDFWLFHVRUIRUFLQJDQLQGLYLGXDOWRSDUWLFLSDWH²RUQRWSDUWLFLSDWH²
   LQDUHOLJLRXVDFWLYLW\
   H1DWLRQDORULJLQGLVFULPLQDWLRQ2FFXUVZKHQDQLQGLYLGXDOLVWUHDWHGOHVVIDYRUDEO\EHFDXVHRIWKHLURULJLQHWKQLFLW\
   RUDFFHQWRUEHFDXVHLWLVEHOLHYHGWKH\DUHDSDUWLFXODUQDWLRQDOLW\
   I6H[XDORULHQWDWLRQGLVFULPLQDWLRQ2QH¶VHPRWLRQDORUSK\VLFDODWWUDFWLRQWRWKHVDPHDQGRURSSRVLWHVH[ KRPR
   VH[XDOLW\ELVH[XDOLW\RUKHWHURVH[XDOLW\ &RPSODLQWVPD\EHEDVHGRQDFWXDORUSHUFHLYHGVH[XDORULHQWDWLRQDVZHOO
   DVDVVRFLDWLRQZLWKDQLQGLYLGXDORUDIILQLW\JURXSDVVRFLDWHGZLWKDSDUWLFXODUVH[XDORULHQWDWLRQ
   'LVSDUDJLQJWHUPV
   7HUPVXVHGWRGHJUDGHEHOLWWOHLQVXOWRUQHJDWLYHVWDWHPHQWVSHUWDLQLQJWRUDFHFRORUVH[ LQFOXGLQJJHQGHULGHQWLW\ 
   QDWLRQDORULJLQRUUHOLJLRQ7KHVHWHUPVLQFOXGHLQVXOWVSULQWHGPDWHULDOYLVXDOPDWHULDOVLJQVV\PEROVSRVWHUVRU
   LQVLJQLD7KHGHWHUPLQLQJIDFWRUZKHWKHUDWHUPLVGLVSDUDJLQJLVQRWWKHLQWHQWEXWWKHLPSDFWLWKDVRQWKHUHFLSLHQW
   RUDUHDVRQDEOHSHUVRQ7KHXVHRIWKHVHWHUPVPD\FRQWULEXWHWRDQXQODZIXOKRVWLOHZRUNHQYLURQPHQWLILWRFFXUV
   ZLWKUHVSHFWWRDSHUVRQ¶VUDFHFRORUVH[ LQFOXGLQJJHQGHULGHQWLW\ QDWLRQDORULJLQRUUHOLJLRQDQG PXVWQRWEH
   WROHUDWHG
   'LVSDUDJLQJWUHDWPHQW
   7UHDWPHQW WKDW LV GLIIHUHQW DQG XQHTXDO EHFDXVH RI UDFH FRORU VH[ LQFOXGLQJ JHQGHU LGHQWLW\  QDWLRQDO RULJLQ RU
   UHOLJLRQRUVH[XDORULHQWDWLRQ
   'LYHUVLW\
   'LYHUVLW\LQWKH$UP\LVGHILQHGDVWKHGLIIHUHQWDWWULEXWHVH[SHULHQFHVDQGEDFNJURXQGVRIRXU6ROGLHUV'$&LYLOLDQV
   DQG)DPLO\PHPEHUVWKDWIXUWKHUHQKDQFHRXUJOREDOFDSDELOLWLHVDQGFRQWULEXWHWRDQDGDSWLYHFXOWXUDOO\DVWXWH$UP\
   ,WLVWKHFRPSRVLWHRILQGLYLGXDOFKDUDFWHULVWLFVH[SHULHQFHVDQGDELOLWLHVFRQVLVWHQWZLWKWKH$UP\&RUH9DOXHVDQG
   WKH$UP\0LVVLRQ$UP\GLYHUVLW\LQFOXGHVEXWLVQRWOLPLWHGWRSHUVRQDOOLIHH[SHULHQFHVJHRJUDSKLFEDFNJURXQG
   VRFLRHFRQRPLFEDFNJURXQGFXOWXUDONQRZOHGJHHGXFDWLRQDOEDFNJURXQGZRUNEDFNJURXQGODQJXDJHDELOLWLHVSK\V
   LFDODELOLWLHVSKLORVRSKLFDOVSLULWXDOSHUVSHFWLYHVDJHUDFHHWKQLFLW\DQGJHQGHU
   'XDOPLOLWDU\FRXSOH
   $6ROGLHU 5$RU86$5 PDUULHGWRDQRWKHU6ROGLHU 5$RU86$5 RIWKH$UP\$LU)RUFH1DY\0DULQHVRU&RDVW
   *XDUG$GXDOPLOLWDU\SDUHQWLVRQH ZKRVKDUHV ZLWKWKHLUPLOLWDU\ VSRXVH DOOSDUHQWDOUHVSRQVLELOLWLHVIRU)DPLO\
   PHPEHUVDFTXLUHGWKURXJKELUWKRUOHJDOGHFUHHZKRDUHLQSK\VLFDOFXVWRG\RIWKH6ROGLHUDQGZKRDUHXQGHUWKHDJH
   RI\HDUVRUZKRDUHEH\RQG\HDUVEXWDUHPHQWDOO\RUSK\VLFDOO\LQFDSDEOHRIVHOIFDUH
   (PHUJHQF\PHGLFDOFDUH
   ,PPHGLDWHLQWHUYHQWLRQWRSUHYHQWWKHORVVRIOLIHOLPEVLJKWRUERG\WLVVXHRUWRSUHYHQWXQGXHVXIIHULQJ
   (QWU\OHYHOWUDLQLQJ
   (QWU\OHYHOWUDLQLQJLQFOXGHVEXWLVQRWOLPLWHGWRUHFUXLWDQGLQLWLDOVNLOOWUDLQLQJLQFOXGLQJHQOLVWHGEDVLFFRPEDW
   WUDLQLQJDGYDQFHGLQGLYLGXDO WUDLQLQJDQGRQHVWDWLRQ XQLW WUDLQLQJRIILFHUDFTXLVLWLRQWUDLQLQJ VXFKDV WKH%DVLF
   2IILFHU/HDGHU&RXUVH2IILFHU&DQGLGDWH6FKRRO:2%DVLF&RXUVHDQG:2&6FKRRODQG0LOLWDU\$FDGHP\DQG
   &DGHW&RPPDQGFRQGXFWHGWUDLQLQJ LQFOXGLQJ527&FRXUVHV ,WLQFOXGHVVWXGHQWVLQWUDLQLQJDQGKROGLQJVWDWXV
   (TXDO(PSOR\PHQW2SSRUWXQLW\3URJUDP
   7KH FRPSUHKHQVLYHSURJUDP WKURXJK ZKLFKWKH $UP\LPSOHPHQWVLWVSROLF\WRSURYLGH(2LQHPSOR\PHQWIRUDOO
   TXDOLILHGFXUUHQWDQGIRUPHU'$&LYLOLDQVDQGDSSOLFDQWVIRUHPSOR\PHQW $5 ±           




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   (TXDORSSRUWXQLW\
   7KHULJKWRIDOOSHUVRQVWRSDUWLFLSDWHLQDQGEHQHILWIURPSURJUDPVDQGDFWLYLWLHVIRUZKLFKWKH\DUHTXDOLILHG7KHVH
   SURJUDPVDQGDFWLYLWLHVZLOOEHIUHHIURPVRFLDOSHUVRQDORULQVWLWXWLRQDOEDUULHUVWKDWSUHYHQWSHRSOHIURPULVLQJWR
   WKH KLJKHVW OHYHO RI DFFRXQWDELOLW\ SRVVLEOH 3HUVRQV ZLOO EH HYDOXDWHG RQO\ RQ LQGLYLGXDO PHULW SHUIRUPDQFH DQG
   SRWHQWLDO UHJDUGOHVV RI UDFH FRORU VH[ LQFOXGLQJ JHQGHU LGHQWLW\  QDWLRQDO RULJLQ UHOLJLRQ RU VH[XDO RULHQWDWLRQ
   H[FHSWDVSUHVFULEHGE\VWDWXWHRURWKHU6HUYLFHSROLF\
   (TXDORSSRUWXQLW\FRPSODLQWUHYLHZ
   3ULRUWRVXEPLVVLRQRIWKH0(2FRPSODLQWUHSRUWWRWKHOHJDODGYLVRUWKHLQYHVWLJDWLQJRIILFHUDQG0(2SURIHVVLRQDO
   ZLOOPHHWDQGUHYLHZWKHUHSRUW7KH0(2SURIHVVLRQDOZLOOSURYLGHWKHLQYHVWLJDWLQJRIILFHUDPHPRUDQGXPGRFX
   PHQWLQJWKHUHYLHZ
   (TXDORSSRUWXQLW\OHDGHU
   $PLOLWDU\PHPEHUZKRLVFROODWHUDOO\DSSRLQWHGWRVHUYHDWWKHFRPSDQ\DQGEDWWDOLRQ RUHTXLYDOHQW WRDVVLVWFRP
   PDQGHUVLQFDUU\LQJRXWWKH0(23URJUDPZLWKLQWKHLUXQLWDVDQDGGLWLRQDOGXW\
   (TXDORSSRUWXQLW\SURIHVVLRQDO HTXDORSSRUWXQLW\SURJUDPPDQDJHUVHUJHDQWPDMRU*0HTXDORSSRUWXQLW\
   DGYLVRURUVSHFLDOLVW $FWLYH&RPSRQHQW5HVHUYH&RPSRQHQW 
   $PLOLWDU\PHPEHURU'$&LYLOLDQHPSOR\HHZKRSHUIRUPV0(2GXWLHVRQDIXOOWLPHEDVLVDQGZKRKDYHFRPSOHWHG
   UHTXLUHG'(20,0(2$GYLVRU&RXUVH
   (VWDEOLVKPHQW
   $QHQWLW\WKDWHLWKHUUHFRJQL]HVLWVHOIRULVUHFRJQL]HGDVVXFKE\WKHFRPPXQLW\DWODUJH6SHFLILFDOO\DQ\FRUSRUDWLRQ
   SDUWQHUVKLSVFKRROWUDLQLQJFHQWHURUHGXFDWLRQDOLQVWLWXWLRQFOXEIUDWHUQDOVRFLDORUSROLWLFDOJURXS
   (WKQLFJURXS
   $VHJPHQWRIWKHSRSXODWLRQWKDWSRVVHVVHVFRPPRQFKDUDFWHULVWLFVDQGDFXOWXUDOKHULWDJHEDVHGWRVRPHGHJUHHRQ
   IDLWKRUIDLWKVVKDUHGWUDGLWLRQVYDOXHVRUV\PEROVOLWHUDWXUHIRONORUHRUPXVLFDQLQWHUQDOVHQVHRIGLVWLQFWLYHQHVV
   DQGRUDQH[WHUQDOSHUFHSWLRQRIGLVWLQFWLYHQHVV
   (WKQLFRULJLQ
   7KHTXDOLW\RIEHLQJGLVWLQJXLVKDEOHIURPWKHJHQHUDOSRSXODWLRQRQWKHEDVLVRIDFWXDORUSHUFHLYHGFXOWXUDOFULWHULD
   VXFKDVODQJXDJHUHOLJLRQDQGPRUH)RUSXUSRVHVRIWKLVUHJXODWLRQHWKQLFRULJLQLVLQFOXGHGZLWKLQWKHPHDQLQJRI
   QDWLRQDORULJLQ
   (WKQLFLW\
   7KDWZKLFKVHWVRIIDJURXSE\UDFH GHILQHGDVJHQHWLF UHOLJLRQ SUHIHUUHGGHQRPLQDWLRQ QDWLRQDORULJLQ FRXQWU\
   RIRQH VDQFHVWRUV RUVRPHFRPELQDWLRQRIWKHVHFDWHJRULHV
   ([WHQGHGDFWLYHGXW\
   $FWLYHGXW\XQGHUDFDOORURUGHUSHUIRUPHGE\DPHPEHURI$51*86RU86$5ZKHQHQGVWUHQJWKDFFRXQWDELOLW\
   SDVVHVIURPWKH$51*RU86$5WRWKH5$
   )DPLO\PHPEHU
   $FKLOGXQGHUWKHDJHRIRUDQ\RWKHUPHPEHUZKRGHSHQGVXSRQWKHVSRQVRUIRUWRWDOVXSSRUWDQGRUFDUH
   )DPLO\UHDGLQHVVOLDLVRQ
   $QRIILFLDOFRPPDQGVSRQVRUHGLQGLYLGXDOZKRSURYLGHVOLDLVRQEHWZHHQ6ROGLHUVDQGWKHLU)DPLOLHVDQGWKHFRP
   PDQGSURPRWLQJDFXOWXUHRIPXWXDOVXSSRUWDQGFRPPXQLFDWLRQ
   )RUPDOFRPSODLQW
   $OOHJDWLRQRIXQODZIXOGLVFULPLQDWLRQDQGRUKDUDVVPHQWWKDWLVVXEPLWWHGLQZULWLQJWRSURSHUDXWKRULW\DQGSURFHVVHG
   WKURXJKRIILFLDOFRPSODLQWFKDQQHOV
   *DUULVRQ
   $Q,0&20XQLWWKDWSURYLGHVDSSURSULDWHDQGHTXLWDEOHVHUYLFHVLQDFFRUGDQFHZLWK+4'$GLUHFWHGFRPPRQOHYHOV
   RIVXSSRUWWRWHQDQWV6ROGLHUVRWKHU6HUYLFHPHPEHUV)DPLOLHV'$&LYLOLDQVDQGFLYLOLDQVLQWKHJDUULVRQDUHDRI
   UHVSRQVLELOLW\
   *HQGHULGHQWLW\
   7KHLQWHUQDOSHUFHSWLRQH[SHULHQFHRUVHQVHRIEHLQJPDOHRUIHPDOH,QFOXGHVKRZDSHUVRQODEHOVWKHPVHOYHVEDVHG
   RQKRZPXFKWKH\DOLJQRUGRQRWDOLJQZLWKZKDWWKH\XQGHUVWDQGWKHLURSWLRQVIRUJHQGHUWREH&RPPRQLGHQWLW\




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   ODEHOVLQFOXGHPDQZRPDQWUDQVRUWUDQVVH[XDODQGJHQGHUIOXLGDPRQJRWKHUV*HQGHULGHQWLW\PD\RUPD\QRW
   DOLJQZLWKRQH¶VSK\VLFDODQDWRP\
   *RDOV
   $QREMHFWLYHEDVHGRQUHDOLVWLFPHDVXUDEOHSURVSHFWVRIDWWDLQPHQW
   *UDGH
   $VWHSRUGHJUHHLQDJUDGXDWHGVFDOHRIRIILFHRUUDQNWKDWLVHVWDEOLVKHGDQGGHVLJQDWHGDVDJUDGHE\ODZRUUHJXODWLRQ
   )RUH[DPSOH/7&376)&&:DUHJUDGHV
   +RVWLOHZRUNHQYLURQPHQW
   $KRVWLOHZRUNHQYLURQPHQWLVDVHULHVRIDFWVWKDWDUHVRVHYHUHDQGSHUYDVLYHDVWRDOWHUDQLQGLYLGXDO¶VZRUNFRQGL
   WLRQV7KHDFWVPD\EHGLVFUHHWDFWVZKLFKDUHRIIHQVLYHLQWLPLGDWLQJRUDEXVLYHWRDQRWKHUSHUVRQXVLQJWKHUHDVRQ
   DEOHSHUVRQVWDQGDUG7KH\QHHGQRWUHVXOWLQFRQFUHWHSV\FKRORJLFDOKDUPEXWQHHGRQO\EHSHUFHLYHGE\DUHDVRQDEOH
   SHUVRQDVKRVWLOHRURIIHQVLYH
   +RXVLQJGLVFULPLQDWLRQ
   'HQ\LQJRUDWWHPSWLQJWRGHQ\KRXVLQJWR$UP\SHUVRQQHOEHFDXVHRIUDFHFRORUVH[ LQFOXGLQJJHQGHULGHQWLW\ 
   QDWLRQDORULJLQUHOLJLRQRUVH[XDORULHQWDWLRQ+RXVLQJRIXQPDUULHGSHUVRQQHORQWKHEDVLVRIJHQGHU IRUH[DPSOH
   IHPDOHRQO\RUPDOHRQO\EDUUDFNV LVQRWFRQVLGHUHGGLVFULPLQDWRU\ZLWKLQWKHLQWHUHVWRIWKLVUHJXODWLRQ
   +XPDQUHODWLRQV
   7KHVRFLDOUHODWLRQVEHWZHHQKXPDQEHLQJVDFRXUVHVWXG\RUSURJUDPGHVLJQHGWRGHYHORSEHWWHULQWHUSHUVRQDODQG
   LQWHUJURXSDGMXVWPHQWV
   ,QIRUPDOFRPSODLQW
   $OOHJDWLRQVRIXQODZIXOGLVFULPLQDWLRQKDUDVVPHQW KD]LQJEXOO\LQJRUGLVFULPLQDWRU\KDUDVVPHQW RUVH[XDOKDU
   DVVPHQWWKDWGRQRWUHTXLUHZULWWHQGRFXPHQWDWLRQ7KHVHFRPSODLQWVPD\EHYRLFHGWRWKHRIIHQGLQJSDUW\WRVRPHRQH
   LQDSRVLWLRQRIDXWKRULW\RUERWK7KHLQWHQWLRQLVWKDWWKHRIIHQGLQJEHKDYLRUZLOOFHDVHZLWKQRIXUWKHUDFWLRQUH
   TXLUHG
   ,QVWDOODWLRQ
   $Q DJJUHJDWLRQ RI FRQWLJXRXV RU QHDU FRQWLJXRXV UHDO SURSHUW\ KROGLQJ FRPPDQGHG E\ D FHQWUDOO\ VHOHFWHG FRP
   PDQGHU,QVWDOODWLRQVUHSUHVHQWPDQDJHPHQWRUJDQL]DWLRQV$QLQVWDOODWLRQPD\EHPDGHRIRQHRUPRUHVLWHV
   ,QYHVWLJDWLRQ
   $QH[DPLQDWLRQLQWRDOOHJDWLRQVRIZURQJGRLQJRUPLVFRQGXFW
   -RLQW6HUYLFHHQYLURQPHQW
   $ORFDOLW\IURPZKLFKRSHUDWLRQVRIWZRRUPRUHRIWKH0LOLWDU\'HSDUWPHQWVDUHSURMHFWHGRUVXSSRUWHGDQGZKLFKLV
   PDQQHGE\VLJQLILFDQWHOHPHQWVRIWZRRUPRUH0LOLWDU\'HSDUWPHQWVRULQZKLFKVLJQLILFDQWHOHPHQWVRIWZRRUPRUH
   0LOLWDU\'HSDUWPHQWVDUHORFDWHG,QFOXGHVMRLQWFRPPDQGVMRLQWEDVHV'HIHQVHDJHQFLHVDQGMRLQWILHOGDFWLYLWLHV
   WKDWLQYROYHPRUHWKDQRQHEUDQFKRI0LOLWDU\6HUYLFH
   /HJDOVXIILFLHQF\UHYLHZ
   7KHUHYLHZRIDQLQYHVWLJDWLRQLQWRDIRUPDOFRPSODLQWRIGLVFULPLQDWLRQRUKDUDVVPHQW KD]LQJEXOO\LQJRUGLVFULP
   LQDWRU\KDUDVVPHQW WRGHWHUPLQHZKHWKHU
   D:KHWKHUWKHSURFHHGLQJVFRPSOLHGZLWKOHJDOUHTXLUHPHQWVLQFOXGLQJWKHUHTXLUHPHQWVHVWDEOLVKHGLQWKHDSSRLQWLQJ
   PHPRUDQGXP
   E:KHWKHUWKHUHDUHHUURUVDQGLIVRZKHWKHUWKHHUURUVDUHVXEVWDQWLDORUKDUPOHVVWKHHIIHFWLIDQ\WKDWWKHHUURUV
   KDGRQWKHSURFHHGLQJVDQGZKDWDFWLRQLIDQ\LVUHFRPPHQGHGWRUHPHGLDWHWKHHUURUV
   F:KHWKHUWKH ILQGLQJVRI WKHLQYHVWLJDWLRQRUERDUGRUWKRVH VXEVWLWXWHGRUDGGHGE\ WKH DSSURYDODXWKRULW\DUH
   VXSSRUWHGE\DJUHDWHUZHLJKWRIWKHHYLGHQFHWKDQVXSSRUWVDFRQWUDU\FRQFOXVLRQ
   G:KHWKHUWKHUHFRPPHQGDWLRQVDUHFRQVLVWHQWZLWKWKHILQGLQJV
   0LOLWDU\FULPLQDOLQYHVWLJDWLYHRUJDQL]DWLRQV
   7KH 86 $UP\ &ULPLQDO ,QYHVWLJDWLRQ &RPPDQG 1DYDO &ULPLQDO ,QYHVWLJDWLYH 6HUYLFH DQG $LU )RUFH 2IILFH RI
   6SHFLDO,QYHVWLJDWLRQV
   0LOLWDU\(TXDO2SSRUWXQLW\3URJUDP
   7KH'R'0(23URJUDPWKDWSURYLGHVDQHQYLURQPHQWLQZKLFK6ROGLHUVDUHHQVXUHGDQRSSRUWXQLW\WRULVHWRWKH
   KLJKHVWOHYHORUUHVSRQVLELOLW\SRVVLEOHLQWKHPLOLWDU\SURIHVVLRQGHSHQGHQWRQO\RQPHULWSHUIRUPDQFHDQGSRWHQWLDO




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   1DWLRQDORULJLQ
   $QLQGLYLGXDO¶VRUDQFHVWRU¶VSODFHRIRULJLQ$OVRDSSOLHVWRDSHUVRQZKRKDVWKHSK\VLFDOFXOWXUDORUOLQJXLVWLF
   FKDUDFWHULVWLFVRIDQDWLRQDOJURXS
   1RQSDUWLVDQSROLWLFDODFWLYLW\
   $FWLYLW\VXSSRUWLQJRUUHODWLQJWRFDQGLGDWHVQRWUHSUHVHQWLQJRULVVXHVQRWVSHFLILFDOO\LGHQWLILHGZLWKQDWLRQDORU
   6WDWHSROLWLFDOSDUWLHVDQGDVVRFLDWHGRUDQFLOODU\RUJDQL]DWLRQV,VVXHVUHODWLQJWR&RQVWLWXWLRQDODPHQGPHQWVUHIHU
   HQGXPVDSSURYDORIPXQLFLSDORUGLQDQFHVDQGRWKHUVRIVLPLODUFKDUDFWHUDQGDUHQRWFRQVLGHUHGXQGHUWKLVUHJXODWLRQ
   DVVSHFLILFDOO\EHLQJLGHQWLILHGZLWKQDWLRQDORU6WDWHSROLWLFDOSDUWLHV
   2EMHFWLYH
   'HILQHVWKHEDVLFUHVXOWVGHVLUHG
   2ULJLQDODSSRLQWPHQW
   $Q\DSSRLQWPHQWLQD5HVHUYHRUUHJXODUFRPSRQHQWRIWKH$UPHG)RUFHVWKDWLVQHLWKHUDSURPRWLRQQRUDGHPRWLRQ
   2IILFHUVPD\UHFHLYHPRUHWKDQRQH³RULJLQDODSSRLQWPHQW´
   2WKHUVH[UHODWHGRIIHQVHV
   $OORWKHUVH[XDODFWVRUDFWVLQYLRODWLRQRIWKH8&0-WKDWGRQRWPHHWWKHGHILQLWLRQRIVH[XDODVVDXOWRUWKHGHILQLWLRQ
   RIVH[XDOKDUDVVPHQWDVSURPXOJDWHGLQ'R''([DPSOHVRIRWKHUVH[UHODWHGRIIHQVHVFRXOGLQFOXGHLQGHFHQW
   DFWVZLWKDQRWKHUDQGDGXOWHU\ )RUWKHVSHFLILFDUWLFOHVRIVH[XDODVVDXOWRIIHQVHVXQGHUWKH8&0-VHHWKH0&0 
   3DUWLVDQSROLWLFDODFWLYLW\
   $FWLYLW\VXSSRUWLQJRUUHODWLQJWRFDQGLGDWHVUHSUHVHQWLQJRULVVXHVVSHFLILFDOO\LGHQWLILHGZLWKQDWLRQDORU6WDWHSR
   OLWLFDOSDUWLHVDQGDVVRFLDWHGRUDQFLOODU\RUJDQL]DWLRQ
   3HUPDQHQWSDUW\SHUVRQQHO
   $Q\6ROGLHUDVVLJQHGWRDQLQVWDOODWLRQYLD3&6RUGHUV
   3ODFHPHQWRQWKHDFWLYHGXW\OLVW
   7KHGDWHRQZKLFKDFRPPLVVLRQHGRIILFHUHQWHUHGRQDFWLYHGXW\RQWKHLUFXUUHQWWRXURIVHUYLFHRQWKHDFWLYHGXW\
   OLVW
   3UHMXGLFH
   $QDWWLWXGHMXGJPHQWRURSLQLRQZLWKRXWUHJDUGWRSHUWLQHQWIDFWWKDWLVW\SLFDOO\H[SUHVVHGLQVXVSLFLRQIHDUKRV
   WLOLW\RULQWROHUDQFHRIFHUWDLQSHRSOHFXVWRPVDQGLGHDV
   3UHSRQGHUDQFHRIHYLGHQFH
   (YLGHQFHZKLFKLVRIJUHDWHUZHLJKWRUPRUHFRQYLQFLQJWKDQWKHHYLGHQFHZKLFKLVRIIHUHGLQRSSRVLWLRQWRLWWKDWLV
   HYLGHQFHZKLFKDVDZKROHVKRZVWKDWWKHIDFWVRXJKWWREHSURYHGLVPRUHSUREDEOHWKDQQRW3UHSRQGHUDQFHRIWKH
   HYLGHQFHPD\QRWEHGHWHUPLQHGE\WKHQXPEHURIZLWQHVVHVEXWE\WKHJUHDWHUZHLJKWRIDOOHYLGHQFH
   3URSRVHGFRUUHFWLYHDFWLRQ
   3ODQRIDFWLRQGHYHORSHGWRUHVROYHLGHQWLILHGDUHDVRIFRQFHUQ
   3URVSHFW
   $Q\SHUVRQZKRKDVH[SUHVVHGDQLQWHUHVWWRUHFUXLWLQJSHUVRQQHOLQHQOLVWLQJRUUHFHLYLQJDQDSSRLQWPHQWLQWKH$UP\
   RUDQ\RWKHUPLOLWDU\6HUYLFHDQGZKRDSSHDUVWRSRVVHVVRUZKRPD\LQWKHIXWXUHSRVVHVVWKHSRWHQWLDODQGTXDOLIL
   FDWLRQVIRUHQOLVWPHQWRUDSSRLQWPHQWLQWKH$UP\RURWKHUPLOLWDU\6HUYLFH)RUWKHSXUSRVHRIWKHSROLF\DQLQGLYLG
   XDOZKRH[SUHVVHVDORVVRILQWHUHVWLQHQOLVWPHQWRUDSSRLQWPHQWZLOOFRQWLQXHWREHDSURVSHFWIRUDSHULRGRI\HDU
   IURPWKHGDWHWKH\H[SUHVVWKHLUORVVRILQWHUHVWWRUHFUXLWLQJSHUVRQQHO,QGLYLGXDOVZKRSRVVHVVWKHSRWHQWLDORUTXDO
   LILFDWLRQVIRUHQOLVWPHQWRUDSSRLQWPHQWDWVRPHSRLQWLQWKHIXWXUHPD\LQFOXGHEXWDUHQRWOLPLWHGWRLQGLYLGXDOV
   ZKRGRQRWPHHWPLQLPXPDJHUHTXLUHPHQWVZKRVFRUHGWRRORZRQWKHTXDOLILFDWLRQWHVWLQJEXW ZLOOEHHOLJLEOHWR
   UHWHVWRUZKRKDYHQRWFRPSOHWHGWKHLUHGXFDWLRQ$QLQGLYLGXDOZKRH[SUHVVHVDQLQWHUHVWLQHQOLVWPHQWRUDSSRLQW
   PHQWEXWLVSHUPDQHQWO\EDUUHGXQGHUH[LVWLQJUHJXODWLRQVLVQRWDSURVSHFW
   3URWHFWHGFRPPXQLFDWLRQ 0LOLWDU\:KLVWOHEORZHU3URWHFWLRQ$FW 
   $ODZIXOFRPPXQLFDWLRQWRDQ\PHPEHURIWKHFKDLQRIFRPPDQGD0HPEHURI&RQJUHVVDQ,*RUDQ\PHPEHURID
   'R'DXGLWLQVSHFWLRQRUODZHQIRUFHPHQWRUJDQL]DWLRQLQFOXGLQJDQ\RIILFHRUFRPPDQGRIILFLDOGHVLJQDWHGWRUH
   FHLYH0(2FRPSODLQWVIURP6ROGLHUVLQZKLFKDPLOLWDU\PHPEHUPDNHVDFRPSODLQWRUGLVFORVHVLQIRUPDWLRQWKDWKH
   RUVKHUHDVRQDEO\EHOLHYHVHYLGHQFHVDYLRODWLRQRIODZRUUHJXODWLRQJURVVPLVPDQDJHPHQWDJURVVZDVWHRIIXQGV
   DJURVVDEXVHRIDXWKRULW\RUDVXEVWDQWLDODQGVSHFLILFGDQJHUWRSXEOLFKHDOWKRUVDIHW\




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   5DFH
   $GLYLVLRQRIKXPDQVLGHQWLILHGE\WKHSRVVHVVLRQRIWUDLWVWKDWDUHWUDQVPLVVLEOHE\GHVFHQWDQGWKDWDUHVXIILFLHQWWR
   FKDUDFWHUL]HSHUVRQVSRVVHVVLQJWKHVHWUDLWVDVDGLVWLQFWLYHKXPDQJHQRW\SH
   5DFHHWKQLFJURXSV
   7KHUDFHHWKQLFJURXSVIRU$UP\UHSRUWLQJDUHWKHVDPHDVOLVWHGXQGHUHWKQLFDQGUDFLDOFDWHJRULHV
   5DQN
   7KHRUGHURISUHFHGHQFHDPRQJPHPEHUVRIWKH$UPHG)RUFHV0LOLWDU\UDQNDPRQJRIILFHUVRIWKHVDPHJUDGHRURI
   HTXLYDOHQWJUDGHLVGHWHUPLQHGE\FRPSDULQJGDWHVRIUDQN$QRIILFHUZKRVH'25LVHDUOLHUWKDWWKH'25RIDQRWKHU
   RIILFHURIWKHVDPHRUHTXLYDOHQWJUDGHLVVHQLRUWRWKDWRIILFHU
   5HDVRQDEOHSHUVRQVWDQGDUG
   $QREMHFWLYHWHVWXVHGWRGHWHUPLQHLIEHKDYLRUFRQVWLWXWHVGLVFULPLQDWLRQRUKDUDVVPHQW KD]LQJEXOO\LQJRUGLVFULP
   LQDWRU\KDUDVVPHQW 7KLVVWDQGDUGFRQVLGHUVZKDWDUHDVRQDEOHSHUVRQ VUHDFWLRQZRXOGKDYHEHHQXQGHUVLPLODUFLU
   FXPVWDQFHVDQGLQDVLPLODUHQYLURQPHQW7KHUHDVRQDEOHSHUVRQVWDQGDUGFRQVLGHUVWKHUHFLSLHQW VSHUVSHFWLYHDQGQRW
   VWHUHRW\SHGQRWLRQVRIDFFHSWDEOHEHKDYLRU)RUH[DPSOHDZRUNHQYLURQPHQWLQZKLFKUDFLDOVOXUVWKHGLVSOD\RI
   UDFLDOPDWHULDORURWKHURIIHQVLYHUDFLDOEHKDYLRUDERXQGFDQFRQVWLWXWHGLVFULPLQDWLRQHYHQLIRWKHUSHRSOHPLJKWGHHP
   LWWREHKDUPOHVVRULQVLJQLILFDQW
   5HFLSLHQW
   $Q\SHUVRQVXEMHFWHGWRGLVFULPLQDWLRQRUKDUDVVPHQW KD]LQJEXOO\LQJRUGLVFULPLQDWRU\KDUDVVPHQW  DOVRUHIHUUHG
   WRDVFRPSODLQDQW 
   5HFUXLW V)DPLO\
   7KHQHDUUHODWLYHVRIDQ$UP\UHFUXLWLQFOXGLQJWKHJXDUGLDQSDUHQWPRWKHUIDWKHUVLEOLQJVDQGVSRXVHRIWKHUHFUXLW
   5HOLJLRQ
   $SHUVRQDOVHWRULQVWLWXWLRQDOL]HGV\VWHPRIDWWLWXGHVPRUDORUHWKLFDOEHOLHIVDQGSUDFWLFHVKHOGZLWKWKHVWUHQJWKRI
   WUDGLWLRQDOYLHZVFKDUDFWHUL]HGE\DUGRUDQGIDLWKDQGJHQHUDOO\HYLGHQFHGWKURXJKVSHFLILFREVHUYDQFHV
   5HSULVDO
   7DNLQJRUWKUHDWHQLQJWRWDNHDQXQIDYRUDEOHSHUVRQQHODFWLRQRUZLWKKROGLQJRUWKUHDWHQLQJWRZLWKKROGDIDYRUDEOH
   SHUVRQQHODFWLRQRUDQ\RWKHUDFWRIUHWDOLDWLRQDJDLQVWD6ROGLHURU)DPLO\PHPEHUIRUPDNLQJRUSUHSDULQJDIRUPDO
   0(2FRPSODLQWD'$&LYLOLDQIRUHQJDJLQJLQDFWLYLW\LQRSSRVLWLRQWRSHUFHLYHGGLVFULPLQDWLRQRUDJDLQVWDQDOOHJHG
   VXEMHFWXQGHULQYHVWLJDWLRQ
   5HVWULFWHGUHSRUWLQJ
   5HVWULFWHGUHSRUWLQJDOORZVD6ROGLHUDQGRUDQGDGXOW)DPLO\PHPEHU\HDUVRUROGHUZKRLVDVH[XDODVVDXOWYLFWLP
   RQDFRQILGHQWLDOEDVLVWRGLVFORVHWKHGHWDLOVRIKLVKHUDVVDXOWWRVSHFLILFDOO\LGHQWLILHGLQGLYLGXDOVDQGUHFHLYHPHG
   LFDO WUHDWPHQW DQG FRXQVHOLQJ ZLWKRXW WULJJHULQJ WKH RIILFLDO LQYHVWLJDWLYH SURFHVV 6ROGLHUV DQG TXDOLILHG )DPLO\
   PHPEHUVZKRDUHVH[XDOO\DVVDXOWHGDQGGHVLUHUHVWULFWHGUHSRUWLQJXQGHUWKLVSROLF\VKRXOGUHSRUWWKHDVVDXOWWRWKH
   6$5&9$RUDKHDOWKFDUHSURYLGHU 6HHDSS*IRUDGHWDLOHGH[SODQDWLRQRIUHVWULFWHGDQGXQUHVWULFWHGUHSRUWLQJ 
   5HWDOLDWLRQ
   $Q\SHUVRQVXEMHFWWRWKH8&0-ZKRZURQJIXOO\WDNHVRUWKUHDWHQVWRWDNHDQDGYHUVHSHUVRQQHODFWLRQRUZURQJIXOO\
   ZLWKKROGVRUWKUHDWHQVWRZLWKKROGDIDYRUDEOHSHUVRQQHODFWLRQZLWKWKHLQWHQWWRGLVFRXUDJHRUUHWDOLDWHDJDLQVWDQ\
   SHUVRQIRUUHSRUWLQJRUSODQQLQJWRUHSRUWDFULPLQDORIIHQVHRUPDNLQJRUSODQQLQJWRPDNHDSURWHFWHGFRPPXQLFD
   WLRQ 6HH$UWLFOH8&0-  
   6HQLRUFRPPDQGHU
   $QRIILFHUGHVLJQDWHGRQRUGHUVIURP+4'$DVWKH6&RIDQLQVWDOODWLRQ1RUPDOO\WKHVHQLRU*2DWWKHLQVWDOODWLRQ
   7KH6&¶VPLVVLRQLVWKHFDUHRI6ROGLHUV)DPLOLHVDQG'$&LYLOLDQVDQGWRHQDEOHXQLWUHDGLQHVV:KLOHWKHGHOHJDWLRQ
   RIVHQLRUFRPPDQGDXWKRULW\LVGLUHFWIURP+4'$WKH6&ZLOOURXWLQHO\UHVROYHLQVWDOODWLRQLVVXHVZLWK,0&20DQG
   DVQHHGHGWKHDVVRFLDWHG$&20$6&&RU'58
   6HQLRUUHJXODUO\DVVLJQHG$UP\RIILFHU
   7KHRIILFHUZKRVHDSSRLQWHGSODFHRIGXW\LVWKHFRPSDQ\EDWWDOLRQRUEULJDGHWRZKLFKDVVLJQHG,IWKHFRPSDQ\
   FRPPDQGHULVDEVHQW WKH H[HFXWLYH RIILFHULIWKH\DUHWKH VHQLRURIILFHU ZKRSHUIRUPV GXW\LQWKHFRPSDQ\ ZLOO
   DVVXPHFRPPDQG/LNHZLVHLIWKHEDWWDOLRQFRPPDQGHULVDEVHQWWKHVHQLRURIILFHUDVVLJQHGWRWKHEDWWDOLRQ QRU
   PDOO\WKHH[HFXWLYHRIILFHU ZLOODVVXPHFRPPDQG,IDQRIILFHULVVHQLRUWRWKHH[HFXWLYHRIILFHUDQGLVDVVLJQHGWR




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   WKHFRPSDQ\RUEDWWDOLRQEXWZKRZRUNVLQWKHGLYLVLRQKHDGTXDUWHUVRUDPDLQWHQDQFHXQLWWKHH[HFXWLYHRIILFHU
   ZRXOGVWLOODVVXPHFRPPDQG
   6HQLRUUHVSRQVLEOHRIILFLDOV
   /HDGHUVRIQRQFRPPDQGW\SHRUJDQL]DWLRQVWKDWVXSHUYLVHPLOLWDU\DQGRU'$&LYLOLDQSHUVRQQHO IRUH[DPSOHWKH
   '&6*± RUDGLUHFWRUXQGHUWKH86$UP\0DWHULHO&RPPDQG 
              




   6HUYLFHPHPEHU
   $ 5HJXODURU5HVHUYH &RPSRQHQWRIILFHU FRPPLVVLRQHG RU ZDUUDQW RUHQOLVWHG PHPEHURIWKH $UP\1DY\ $LU
   )RUFH0DULQH&RUSVDQGWKH&RDVW*XDUG ZKHQLWLVRSHUDWLQJDVD6HUYLFHLQWKH1DY\ RQDFWLYHGXW\
   6H[XDODVVDXOW
   ,QWHQWLRQDOVH[XDOFRQWDFWFKDUDFWHUL]HGE\XVHRIIRUFHWKUHDWVLQWLPLGDWLRQRUDEXVHRIDXWKRULW\RUZKHQWKHYLFWLP
   GRHVQRWRUFDQQRWFRQVHQW7KHWHUPLQFOXGHVDEURDGUDQJHRIVH[XDORIIHQVHVLQFOXGLQJWKHIROORZLQJVSHFLILF8&0-
   RIIHQVHVUDSHVH[XDODVVDXOWDJJUDYDWHGVH[XDOFRQWDFWDEXVLYHVH[XDOFRQWDFWIRUFLEOHVRGRP\ IRUFHGRUDORUDQDO
   VH[ DQGDWWHPSWVWRFRPPLWWKHVHDFWV
   6H[XDOKDUDVVPHQW
   &RQGXFWWKDWLQYROYHVXQZHOFRPHVH[XDODGYDQFHVUHTXHVWVIRUVH[XDOIDYRUVDQGGHOLEHUDWHRUUHSHDWHGRIIHQVLYH
   FRPPHQWVRIDJHQHUDOQDWXUHZKHQ6XEPLVVLRQWRVXFKFRQGXFWLVHLWKHUH[SOLFLWO\RULPSOLFLWO\DWHUPRUFRQGLWLRQ
   RIDSHUVRQ¶VMRESD\RUFDUHHURUVXEPLVVLRQWRRUUHMHFWLRQRIVXFKFRQGXFWE\DSHUVRQLVXVHGDVDEDVLVIRUFDUHHU
   RUHPSOR\PHQWGHFLVLRQVDIIHFWLQJWKDWSHUVRQRUVXFKFRQGXFWKDVWKHSXUSRVHRUHIIHFWRIXQUHDVRQDEO\LQWHUIHULQJ
   ZLWKDQLQGLYLGXDO¶VZRUNSHUIRUPDQFHRUFUHDWHVDQLQWLPLGDWLQJKRVWLOHRURIIHQVLYHZRUNLQJHQYLURQPHQWDQGLVVR
   VHYHUHRUSHUYDVLYHWKDWDUHDVRQDEOHSHUVRQZRXOGSHUFHLYHDQGWKHYLFWLPGRHVSHUFHLYHWKHHQYLURQPHQWDVKRVWLOH
   RIRIIHQVLYH$Q\XVHRUFRQGRQDWLRQE\DQ\SHUVRQLQDVXSHUYLVRU\RUFRPPDQGSRVLWLRQRIDQ\IRUPRIVH[XDO
   EHKDYLRU WR FRQWURO LQIOXHQFH RU DIIHFW WKH FDUHHU SD\ RUMRE RI D PHPEHU RI WKH DUPHG IRUFHV RU D '$ &LYLOLDQ
   HPSOR\HH$Q\GHOLEHUDWHRUUHSHDWHGXQZHOFRPHYHUEDOFRPPHQWRUJHVWXUHRIDVH[XDOQDWXUHUHODWHGWRWKHZRUN
   HQYLURQPHQWE\DQ\PHPEHURIWKH$UPHG)RUFHVRU'$&LYLOLDQHPSOR\HH
   6H[XDORULHQWDWLRQ
   7KHW\SHRIVH[XDOURPDQWLFDQGRUSK\VLFDODWWUDFWLRQDQLQGLYLGXDOIHHOVWRZDUGRWKHUVRIWKHVDPHRURSSRVLWHVH[
   6LQJOHSDUHQW
   $6ROGLHUZKRLVWKHUHVSRQVLEOHDGXOWZKRE\UHDVRQRIELUWKRUOHJDOGHFUHHKDVSK\VLFDOFXVWRG\RIDQGWKHOHJDO
   DQGPRUDOUHVSRQVLELOLW\WRSURYLGHIRUWKHFDUHDQGZHOOEHLQJRIDFKLOGXQGHUWKHDJHRI\HDUVRUIRUDSHUVRQ
   EH\RQG\HDUVRIDJHZKRLVPHQWDOO\RUSK\VLFDOO\LQFDSDEOHRIVHOIFDUH3HUVRQVZKRILWWKLVFDWHJRU\DUHJHQHUDOO\
   UHJDUGHGDVSDUHQWVZLWKIXOORUMRLQWFXVWRG\RIFKLOGUHQDQGZKRDUHXQPDUULHGGLYRUFHGZLGRZHGRUUHVLGLQJDSDUW
   IURPWKHLUVSRXVH
   6LWH
   $SK\VLFDOO\GHILQHGORFDWLRQZKLFKFDQEHVXSSRUWHGE\DOHJDOERXQGDU\VXUYH\ZKLFKFORVHVDSRO\JRQ,WFDQEH
   RZQHGOHDVHGRURWKHUZLVHSRVVHVVHGRUXVHG$VLWHPD\H[LVWLQRQHRIWKUHHIRUPVODQGRQO\IDFLOLW\RUIDFLOLWLHV
   RQO\RUODQGDQGDOOIDFLOLWLHVRQLW$VLWHLVDVXPRIDOOUHDOSURSHUW\DWDVSHFLILFORFDWLRQ
   6RFLDOPHGLD
   :HEEDVHGWRROVZHEVLWHVDSSOLFDWLRQVDQGPHGLDWKDWFRQQHFWXVHUVDQGDOORZWKHPWRHQJDJHLQGLDORJXHVKDUH
   LQIRUPDWLRQFROODERUDWHDQGLQWHUDFW
   6SRXVH
   7KHKXVEDQGRUZLIHRID6ROGLHU,IVXFKSHUVRQLVDOVRLQWKHPLOLWDU\VHHWKHWHUP³GXDOPLOLWDU\FRXSOH´
   6WUDWHJLF6XSSRUW$UHD
   7KHDUHDRIFURVVFRPEDWDQWFRPPDQGFRRUGLQDWLRQWRLQFOXGHWKHVWUDWHJLFVHDDQGDLUOLQHVRIFRPPXQLFDWLRQVDQG
   WKHKRPHODQG-RLQWVXVWDLQPHQWIXQFWLRQVUHTXLUHGWRVXSSRUW0XOWL'RPDLQ2SHUDWLRQVFDPSDLJQLQJWKURXJKRXWWKH
   FRPSHWLWLRQFRQWLQXXPHPDQDWHIURPWKH6WUDWHJLF6XSSRUW$UHD
   6XEMHFW
   $SHUVRQRUDJURXSRISHRSOHZKRDUHDOOHJHGWRKDYHFRPPLWWHGWKHDFWLRQRURIIHQVHWKDWLVWKHEDVLVIRUDIRUPDO
   RULQIRUPDOFRPSODLQWRULQYHVWLJDWLRQ




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   


   6XEVWDQWLDWHGHTXDORSSRUWXQLW\FRPSODLQW
   $VXEVWDQWLDWHGILQGLQJRFFXUVZKHQDSUHSRQGHUDQFHRIWKHHYLGHQFHVXSSRUWV PRUHOLNHO\WRKDYHRFFXUUHGWKDQQRW
   RFFXUUHG WKHFRPSODLQDQW¶VDOOHJDWLRQRIDYLRODWLRQRIODZUHJXODWLRQRU$UP\SROLF\RUVWDQGDUGV7KHGRFXPHQWHG
   IDFWVLQGLFDWHWKDWDYLRODWLRQRFFXUUHG
   6XEVWDQWLDWHGYLRODWLRQ
   $YLRODWLRQZLOOEHWUHDWHGDVVXEVWDQWLDWHGLIDYLRODWLRQRIWKHSROLF\UHVXOWVLQDFRXUWPDUWLDOFRQYLFWLRQEXWWKH
   DGMXGJHGVHQWHQFHGRHVQRWLQFOXGHGLVFKDUJHRUGLVPLVVDORULIDQRQMXGLFLDOSXQLVKPHQWDXWKRULW\XQGHU86&
    UHIHUHQFH D  KDV GHWHUPLQHG WKDW D 6ROGLHU KDV FRPPLWWHG DQ RIIHQVH LQ YLRODWLRQ RI WKH SROLF\ DQG LPSRVHG
   QRQMXGLFLDOSXQLVKPHQWXSRQWKDW6ROGLHU)RUFRQWUDFWRUUHFUXLWHUVDQGWUDLQHUVSURYLGLQJHQWU\OHYHOWUDLQLQJDYLR
   ODWLRQZLOOEHWUHDWHGDVVXEVWDQWLDWHGLIWKHFKDUJHLVVXSSRUWHGE\DSUHSRQGHUDQFHRIWKHHYLGHQFH
   6XSHUYLVRU
   $FRPPLVVLRQHGRIILFHUQRQFRPPLVVLRQHGRIILFHURU'R'&LYLOLDQHPSOR\HHLQDVXSHUYLVRU\SRVLWLRQ
   6XSSRUWHGFRPPDQGHU
   ,Q WKH FRQWH[W RI WKH VXSSRUW FRPPDQG UHODWLRQVKLS WKH FRPPDQGHU ZKR UHFHLYHV DVVLVWDQFH IURP DQRWKHU FRP
   PDQGHU¶VIRUFHRUFDSDELOLWLHVDQGZKRLVUHVSRQVLEOHIRUHQVXULQJWKDWWKHVXSSRUWLQJFRPPDQGHUXQGHUVWDQGVWKH
   DVVLVWDQFHUHTXLUHG
   6XSSRUWLQJFRPPDQGHU
   ,QWKHFRQWH[WRIDVXSSRUWFRPPDQGUHODWLRQVKLSWKHFRPPDQGHUZKRDLGVSURWHFWVFRPSOHPHQWVRUVXVWDLQVDQRWKHU
   FRPPDQGHU¶VIRUFHDQGZKRLVUHVSRQVLEOHIRUSURYLGLQJWKHDVVLVWDQFHUHTXLUHGE\WKHVXSSRUWHGFRPPDQGHU
   7KLUGSDUW\
   $SHUVRQRURUJDQL]DWLRQWKDWDWWHPSWVWRSUHVHQWDOOHJDWLRQVRQEHKDOIRIDQRWKHULQGLYLGXDO
   7UDQVJHQGHU
   $SHUVRQZKROLYHVDVDPHPEHURIDJHQGHURWKHUWKDQWKDWH[SHFWHGEDVHGRQWKHLUVH[DVVLJQHGDWELUWK0D\DOVR
   EHXVHGDVDQXPEUHOODWHUPWRFRYHUDQGGHVFULEHDUDQJHRILGHQWLWLHVWKDWWUDQVJUHVVVRFLDOO\GHILQHGJHQGHUQRUPV
   8QLIRUPHG6HUYLFH
   7KH$UP\1DY\$LU)RUFH0DULQH&RUSV&RDVW*XDUGWKH&RPPLVVLRQHG&RUSVRIWKH3XEOLF+HDOWK6HUYLFHDQG
   WKH&RPPLVVLRQHG&RUSVRIWKH1DWLRQDO2FHDQLFDQG$WPRVSKHULF$GPLQLVWUDWLRQ
   8QUHVWULFWHGUHSRUWLQJ
   8QUHVWULFWHGUHSRUWLQJDOORZVD6ROGLHURUHOLJLEOH'$&LYLOLDQZKRLVVH[XDOO\DVVDXOWHGDQGGHVLUHVPHGLFDOWUHDW
   PHQWFRXQVHOLQJDQGDQRIILFLDOLQYHVWLJDWLRQRIWKHLUDOOHJDWLRQWRXVHFXUUHQWUHSRUWLQJFKDQQHOV IRUH[DPSOHWKH
   FKDLQRIFRPPDQGRUODZHQIRUFHPHQW RUWKH\PD\UHSRUWWKHLQFLGHQWWRWKH6$5&RU6+$539$8SRQQRWLILFDWLRQ
   RIDUHSRUWHGVH[XDODVVDXOWWKH6$5&ZLOOLPPHGLDWHO\QRWLI\D6+$539$$GGLWLRQDOO\ZLWKWKHYLFWLP¶VFRQVHQW
   WKHKHDOWKFDUHSURYLGHUZLOOFRQGXFWDIRUHQVLFH[DPLQDWLRQZKLFKPD\LQFOXGHWKHFROOHFWLRQRIHYLGHQFH'HWDLOV
   UHJDUGLQJWKHLQFLGHQWZLOOEHOLPLWHGWRRQO\WKRVHSHUVRQQHOZKRKDYHDOHJLWLPDWHQHHGWRNQRZ 6HHDSS*IRUD
   GHWDLOHGH[SODQDWLRQRIUHVWULFWHGDQGXQUHVWULFWHGUHSRUWLQJ 
   8QZHOFRPH
   &RQGXFWWKDWLVQRWVROLFLWHGDQGZKLFKLVFRQVLGHUHGREMHFWLRQDEOHE\WKHSHUVRQWRZKRPLWLVGLUHFWHGDQGZKLFKLV
   IRXQGWREHXQGHVLUDEOHRURIIHQVLYHXVLQJDUHDVRQDEOHSHUVRQVWDQGDUG
   9DOXHV
   7KRVHWKLQJVSHRSOHDQGLGHDVWKDWDUHLPSRUWDQWWRDQLQGLYLGXDO
   9HUEDWLPFRPPHQWV
   &RPPHQWVPDGHE\DVXUYH\UHVSRQGHQWWKDWDUHUHFRUGHGH[DFWO\DVWKH\DSSHDULQWKHVXUYH\DQGDUHWUDQVIHUUHGWR
   WKHDQDO\VLVUHSRUW9HUEDWLPFRPPHQWVUHWDLQDOOWKHVSHOOLQJDQGJUDPPDWLFDOFRQWHQWRIWKHRULJLQDODORQJZLWKDV
   PXFKVW\OLVWLFRUHPSKDWLFPDUNLQJVDVLVSRVVLEOH
   9LFWLP
   ,QWKH6+$53FRQWH[WDSHUVRQZKRDVVHUWVGLUHFWSK\VLFDOHPRWLRQDORUSHFXQLDU\KDUPDVDUHVXOWRIWKHFRPPLV
   VLRQRID VH[XDODVVDXOWRUDQDFWRIVH[XDOKDUDVVPHQW 7KHWHUPHQFRPSDVVHVDOO SHUVRQVDQGRYHUHOLJLEOHWR
   UHFHLYHWUHDWPHQWLQPLOLWDU\PHGLFDOWUHDWPHQWIDFLOLWLHV




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   FRAGO 6 TO HQDA EXORD 225-21 COVID-19 STEADY STATE
   OPERATIONS (1
     Originator:DA WASHINGTON DC
           TOR: 10/07/2021 18:07:03
           DTG: 071800Z Oct 21
           Prec:Priority
           DAC: General
                ARLINGTON NATIONAL CEMETERY ARLINGTON VA, ARNG NGB COMOPS ARLINGTON VA, ARNG NGB J3 JOC WASHINGTON DC,
                ARNGRC ARLINGTON VA, ARNGRC WATCH ARLINGTON VA, CDR 5 ARMY NORTH AOC FT SAM HOUSTON TX, CDR ARMY FUTURES
                COMMAND AUSTIN TX, CDR ATEC ABERDEEN PROVING GROUND MD, CDR FORSCOM DCS G3 CENTRAL TASKING DIV FT BRAGG NC,
                CDR FORSCOM DCS G3 CURRENT OPS FT BRAGG NC, CDR FORSCOM DCS G3 CURRENT OPS FT BRAGG NC, CDR FORSCOM DCS G3
                WATCH OFFICER FT BRAGG NC, CDR FORSCOM DCS G3 WATCH OFFICER FT BRAGG NC, CDR MDW J3 FT MCNAIR DC, CDR MDW
                JFHQ-NCR FT MCNAIR DC, CDR NETCOM 9THSC FT HUACHUCA AZ, CDR TRADOC CG FT EUSTIS VA, CDR TRADOC DCS G-3-5-7 OPNS
                CTR FT EUSTIS VA, CDR USAR NORTH FT SAM HOUSTON TX, CDR USARCENT SHAW AFB SC, CDR USASOC COMMAND CENTER FT
                BRAGG NC, CDR USASOC FT BRAGG NC, CDR USASOC MESSAGE CENTER FT BRAGG NC, CDR3RD ARMY USARCENT WATCH OFFICER
                SHAW AFB SC, CDRAMC REDSTONE ARSENAL AL, CDRFORSCOM FT BRAGG NC, CDRHRC G3 DCSOPS FT KNOX KY, CDRINSCOM FT
                BELVOIR VA, CDRINSCOMIOC FT BELVOIR VA, CDRMDW WASHINGTON DC, CDRUSACE WASHINGTON DC, CDRUSACIDC FT BELVOIR
            To: VA, CDRUSACYBER FT BELVOIR VA, CDRUSACYBER G3 FT BELVOIR VA, CDRUSACYBER G33 FT BELVOIR VA, CDRUSAEIGHT G3 CUROPS
                SEOUL KOR, CDRUSAEIGHT SEOUL KOR, CDRUSAMEDCOM FT SAM HOUSTON TX, CDRUSARC G33 READ FT BRAGG NC,
                CDRUSARCYBER WATCH OFFICER FT BELVOIR VA, CDRUSARPAC CG FT SHAFTER HI, CDRUSARPAC FT SHAFTER HI, COMDT USAWC
                CARLISLE BARRACKS PA, HQ IMCOM FT SAM HOUSTON TX, HQ INSCOM IOC FT BELVOIR VA, HQ SDDC CMD GROUP SCOTT AFB IL,
                HQ SDDC OPS MSG CNTR SCOTT AFB IL, HQ USARSO FT SAM HOUSTON TX, HQ USARSO G3 FT SAM HOUSTON TX, HQDA ARMY
                STAFF WASHINGTON DC, HQDA CSA WASHINGTON DC, HQDA EXEC OFFICE WASHINGTON DC, HQDA IMCOM OPS DIV
                WASHINGTON DC, HQDA SEC ARMY WASHINGTON DC, HQDA SECRETARIAT WASHINGTON DC, HQDA SURG GEN WASHINGTON DC,
                MEDCOM HQ EOC FT SAM HOUSTON TX, NETCOM G3 CURRENT OPS FT HUACHUCA AZ, NGB WASHINGTON DC, SMDC ARSTRAT CG
                ARLINGTON VA, SMDC ARSTRAT G3 ARLINGTON VA, SUPERINTENDENT USMA WEST POINT NY, SURGEON GEN FALLS CHURCH VA,
                USAR AROC FT BRAGG NC, USAR CMD GRP FT BRAGG NC, USAR DCS G33 OPERATIONS FT BRAGG NC, USARCENT G3 FWD, USARPAC
                COMMAND CENTER FT SHAFTER HI, CDR USAREUR-AF WIESBADEN GE, CDR SETAF-AF VICENZA IT
           CC: HQDA AOC DAMO ODO OPS AND CONT PLANS WASHINGTON DC, HQDA AOC G3 DAMO CAT OPSWATCH WASHINGTON DC, HQDA
                AOC G3 DAMO OD DIR OPS READ AND MOB WASHINGTON DC
                (CUI) ANNEX J IMPLEMENTATION OF REQUIRED COVID 19 PROTECTIONS PUBLIC AFFAIRS GUIDANCE.pdf, (U) ANNEX AAA REQUEST
                FOR PERMANENT MEDICAL EXEMPTION TO COVID 19 VACCINATION TEMPLATE MEMORANDUM.pdf, (U) ANNEX BBB ARMY
                DIRECTIVE 2021 33 APPROVAL AND APPEAL AUTHORITIES FOR MILITARY AND MEDICAL ADMINISTRATIVE IMMUNIZATION
                EXEMPTIONS.pdf, (U) ANNEX CCC SFWF TF COVID 19 WORKPLACE SAFETY AGENCY MODEL SAFETY PRINCIPLES.pdf, (U) ANNEX DDD
                SFWF TF COVID 19 WORKPLACE SAFETY GUIDANCE FOR FEDERAL CONTRACTORS AND SUBCONTRACTORS.pdf, (U) ANNEX EEE
   Attachments: MANDATORY CORONAVIRUS DISEASE 2019 VACCINATION OF DOD CIVILIAN EMPLOYEES.pdf, (U) ANNEX FFF OFFICE OF PERSONNEL
                MANAGMENT (OPM) AND SAFER FEDERAL WORKFORCE TASK FORCE GUIDANCE ON VACCINATION REQUIREMENTS 5 OCTOBER
                2021.pdf, (U) ANNEX JJ MANDATORY VACCINATION OF SERVICE MEMBERS USING THE PFIZER-BIONTECH COVID-19 AND
                COMIRNATY COVID-19 VACCINES.pdf, (U) ANNEX KK DD 3150 CERTIFICATION OF VACCINATION.pdf, (U) ANNEX MM UPDATED
                CORONAVIRUS DISEASE 2019 GUIDANCE RELATED TO TRAVEL AND MEETINGS.pdf, (U) ANNEX PP EO 14043 OF SEPTEMBER 09 2021
                REQUIRING VACCINATION FOR FEDERAL EMPLOYEES.pdf, (U) ANNEX QQ EO 14042 OF SEPT 9 2021 ENSURING ADEQUATE COVID
                SAFETY PROTOCOLS FOR FEDERAL CONTRACTORS.pdf

   PAAUZATZ RUEADWD4860 2801806-UUUU--RUIAAAA RUEADWD.
   ZNR UUUUU
   P 071800Z OCT 21
   FM DA WASHINGTON DC
   TO RUIAAAA/ARLINGTON NATIONAL CEMETERY ARLINGTON VA
   RUIAAAA/ARNG NGB COMOPS ARLINGTON VA
   RUIAAAA/ARNG NGB J3 JOC WASHINGTON DC
   RUIAAAA/ARNGRC ARLINGTON VA
   RUIAAAA/ARNGRC WATCH ARLINGTON VA
   RUIAAAA/CDR 5 ARMY NORTH AOC FT SAM HOUSTON TX
   RUIAAAA/CDR ARMY FUTURES COMMAND AUSTIN TX
   RUIAAAA/CDR ATEC ABERDEEN PROVING GROUND MD



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   RUJAAAA/CDR FORSCOM DCS G3 CENTRAL TASKING DIV FT BRAGG NC
   RUJAAAA/CDR FORSCOM DCS G3 CURRENT OPS FT BRAGG NC
   RUIAAAA/CDR FORSCOM DCS G3 CURRENT OPS FT BRAGG NC
   RUJAAAA/CDR FORSCOM DCS G3 WATCH OFFICER FT BRAGG NC
   RUIAAAA/CDR FORSCOM DCS G3 WATCH OFFICER FT BRAGG NC
   RUIAAAA/CDR MDW J3 FT MCNAIR DC
   RUIAAAA/CDR MDW JFHQ-NCR FT MCNAIR DC
   RUIAAAA/CDR NETCOM 9THSC FT HUACHUCA AZ
   RUIAAAA/CDR TRADOC CG FT EUSTIS VA
   RUIAAAA/CDR TRADOC DCS G-3-5-7 OPNS CTR FT EUSTIS VA
   RUIAAAA/CDR USAR NORTH FT SAM HOUSTON TX
   RUIAAAA/CDR USARCENT SHAW AFB SC
   RUIAAAA/CDR USASOC COMMAND CENTER FT BRAGG NC
   RUIAAAA/CDR USASOC FT BRAGG NC
   RUIAAAA/CDR USASOC MESSAGE CENTER FT BRAGG NC
   RUIAAAA/CDR3RD ARMY USARCENT WATCH OFFICER SHAW AFB SC
   RUIAAAA/CDRAMC REDSTONE ARSENAL AL
   RUIAAAA/CDRFORSCOM FT BRAGG NC
   RUIAAAA/CDRHRC G3 DCSOPS FT KNOX KY
   RUIAAAA/CDRINSCOM FT BELVOIR VA
   RUIAAAA/CDRINSCOMIOC FT BELVOIR VA
   RUIAAAA/CDRMDW WASHINGTON DC
   RUIAAAA/CDRUSACE WASHINGTON DC
   RUIAAAA/CDRUSACIDC FT BELVOIR VA
   RUIAAAA/CDRUSACYBER FT BELVOIR VA
   RUIAAAA/CDRUSACYBER G3 FT BELVOIR VA
   RUIAAAA/CDRUSACYBER G33 FT BELVOIR VA
   RUIAAAA/CDRUSAEIGHT G3 CUROPS SEOUL KOR
   RUIAAAA/CDRUSAEIGHT SEOUL KOR
   RUIAAAA/CDRUSAMEDCOM FT SAM HOUSTON TX
   RUIAAAA/CDRUSARC G33 READ FT BRAGG NC
   RUIAAAA/CDRUSARCYBER WATCH OFFICER FT BELVOIR VA
   RUIAAAA/CDRUSARPAC CG FT SHAFTER HI
   RUIAAAA/CDRUSARPAC FT SHAFTER HI
   RUIAAAA/COMDT USAWC CARLISLE BARRACKS PA
   RUIAAAA/HQ IMCOM FT SAM HOUSTON TX
   RUIAAAA/HQ INSCOM IOC FT BELVOIR VA
   RUIAAAA/HQ SDDC CMD GROUP SCOTT AFB IL
   RUIAAAA/HQ SDDC OPS MSG CNTR SCOTT AFB IL
   RUIAAAA/HQ USARSO FT SAM HOUSTON TX
   RUIAAAA/HQ USARSO G3 FT SAM HOUSTON TX
   RUEADWD/HQDA ARMY STAFF WASHINGTON DC
   RUEADWD/HQDA CSA WASHINGTON DC
   RUEADWD/HQDA EXEC OFFICE WASHINGTON DC
   RUEADWD/HQDA IMCOM OPS DIV WASHINGTON DC
   RUEADWD/HQDA SEC ARMY WASHINGTON DC
   RUEADWD/HQDA SECRETARIAT WASHINGTON DC
   RUEADWD/HQDA SURG GEN WASHINGTON DC
   RUIAAAA/MEDCOM HQ EOC FT SAM HOUSTON TX
   RUIAAAA/NETCOM G3 CURRENT OPS FT HUACHUCA AZ
   RUIAAAA/NGB WASHINGTON DC
   RUIAAAA/SMDC ARSTRAT CG ARLINGTON VA
   RUIAAAA/SMDC ARSTRAT G3 ARLINGTON VA
   RUIAAAA/SUPERINTENDENT USMA WEST POINT NY
   RUIAAAA/SURGEON GEN FALLS CHURCH VA
   RUIAAAA/USAR AROC FT BRAGG NC
   RUIAAAA/USAR CMD GRP FT BRAGG NC
   RUIAAAA/USAR DCS G33 OPERATIONS FT BRAGG NC
   RUIAAAA/USARCENT G3 FWD
   RUIAAAA/USARPAC COMMAND CENTER FT SHAFTER HI
   RUIAAAA/CDR USAREUR-AF WIESBADEN GE
   RUIPAAA/CDR SETAF-AF VICENZA IT



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   INFO RUIAAAA/HQDA AOC DAMO ODO OPS AND CONT PLANS WASHINGTON DC
   RUIAAAA/HQDA AOC G3 DAMO CAT OPSWATCH WASHINGTON DC
   RUIAAAA/HQDA AOC G3 DAMO OD DIR OPS READ AND MOB WASHINGTON DC
   BT
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   SUBJ/FRAGO 6 TO HQDA EXORD 225-21 COVID-19 STEADY STATE OPERATIONS (1
   of 2)
   CUI//
   CONTROLLED BY: HQDA DCS, G-3/5/7
   CONTROLLED BY: DAMO-OD
   CUI CATEGORY: OPSEC
   LIMITED DISSEMINATION CONTROL: FEDCON
   POC: LTC NYKEBA L. ANTHONY 703-692-2804

   SUBJECT: (U) FRAGO 6 TO HQDA EXORD 225-21 COVID-19 STEADY STATE
   OPERATIONS//
   (U) REFERENCES.
   REF//A/ THROUGH REF/HH/ NO CHANGE.
   REF//II/ [ADD] FRAGO 5 TO HQDA EXORD 225-21 COVID-19 STEADY STATE
   OPERATIONS, DTG 141712Z SEP 21 //
   REF//JJ/ [ADD] (U) FORCE HEALTH PROTECTION SUPPLEMENT 23, DEPARTMENT
   OF DEFENSE GUIDANCE FOR CORONAVIRUS DISEASE 2019 VACCINATION
   ATTESTATION AND SCREENING TESTING FOR UNVACCINATED PERSONNEL, 7
   SEPTEMBER 2021//

   1. (U) SITUATION.

   1.A. THROUGH 1.G. NO CHANGE.

   l.H. (U) [ADD] ON 9 SEPTEMBER 2021, THE PRESIDENT ISSUED EXECUTIVE
   ORDERS 14043 AND 14042 REQUIRING VACCINATION FOR ALL FEDERAL
   EMPLOYEES AND CONTRACTORS, RESPECTIVELY. SUBSEQUENTLY, ON 1 OCTOBER
   2021, THE DEPUTY SECRETARY OF DEFENSE DIRECTED ALL CIVILIAN FEDERAL
   EMPLOYEES TO BE VACCINATED NLT 22 NOVEMBER 2021.

   1.I. (U) [ADD] IAW DEPUTY SECRETARY OF DEFENSE MEMORANDUM DATED 24
   SEPTEMBER 2021 (SEE ANNEX MM), THIS ORDER ALSO ADDRESSES UPDATED
   GUIDANCE ON MEETINGS AND TRAVEL.
   2. (U) MISSION. NO CHANGE.

   3. (U) EXECUTION.
   3.A. (U) NO CHANGE.
   3.B. (U) CONCEPT OF THE OPERATION.
   3.B.1. THROUGH 3.B.3. NO CHANGE.
   3.B.4. (U) [ADD] READ AND BE PREPARED TO COMPLY WITH ANNEXES PP, QQ,
   AND EEE, PRESIDENTIAL EXECUTIVE ORDERS 14043 AND 14042, AND DEPUTY
   SECRETARY OF DEFENSE MEMORANDUM "MANDATORY CORONAVIRUS DISEASE 2019
   VACCINATION OF DOD CIVILIAN EMPLOYEES" TO VACCINATE ALL FEDERAL
   EMPLOYEES.

   3.B.4.A. (U) [ADD] DOD CIVILIAN EMPLOYEES ARE CURRENTLY ELIGIBLE TO
   VOLUNTARILY RECEIVE THE COVID-19 VACCINE AT ANY DOD VACCINATION SITE,
   INCLUDING MILITARY MEDICAL TREATMENT FACILITIES. AS SPECIFICALLY
   STATED IN ANNEX EEE, THOSE CIVILIAN EMPLOYEES WITH PREVIOUS COVID-19
   INFECTION(S) OR PREVIOUS SEROLOGY ARE NOT CONSIDERED FULLY VACCINATED



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   ON THAT BASIS FOR THE PURPOSES OF THIS MANDATE.
   3.B.4.B. (U) [ADD] SUPERVISORS WILL ENSURE CIVILIAN EMPLOYEES ARE
   NOTIFIED OF THE VACCINATION DEADLINES CONTAINED IN ANNEX EEE:
   11 OCT 21: FIRST DOSE DEADLINE (IF RECEIVING MODERNA VACCINE)
   18 OCT 21: FIRST DOSE DEADLINE (IF RECEIVING THE
   COMIRNATY/PFIZER-BIONTECH VACCINE)
   8 NOV 21: SECOND DOSE DEADLINE (IF RECEIVING THE MODERNA AND
   COMIRNATY/PFIZER-BIONTECH VACCINES)
   8 NOV 21: FIRST (ONLY) DOSE DEADLINE (IF RECEIVING THE JOHNSON &
   JOHNSON / JANSSEN VACCINE)
   22 NOV 21: FULLY VACCINATED

   3.B.4.C. (U) [ADD] SUPERVISORS AND FEDERAL EMPLOYEES SHOULD BE
   PREPARED TO UTILIZE THE APPROPRIATE DD FORM (3150 OR 3175) AS AND
   WHEN DIRECTED IN FORCE HEALTH PROTECTION SUPPLEMENT (FHP) 23,
   REVISION 1 WHEN PUBLISHED. EMPLOYEES MAY VOLUNTARILY ATTEST TO THEIR
   VACCINATION STATUS AT ANY TIME, HOWEVER SUPERVISORS WILL TAKE NO
   ACTION SEEKING AN ATTESTATION FORM/DOCUMENTATION FROM AN EMPLOYEE TO
   VERIFY VACCINATION STATUS UNTIL DIRECTED.
   3.B.4.C.1. (U) [ADD] FOR SUPERVISOR AND EMPLOYEE PLANNING PURPOSES,
   EMPLOYEES SHOULD BE INFORMED THAT WHEN DIRECTED TO PROVIDE PROOF OF
   VACCINATION, SUCH PROOF COULD INCLUDE, BUT MAY NOT BE LIMITED TO, A
   COPY OF THE RECORD OF IMMUNIZATION FROM A HEALTH CARE PROVIDER OR
   PHARMACY, A COPY OF THE COVID-19 VACCINATION RECORD CARD, A COPY OF
   MEDICAL RECORDS DOCUMENTING THE VACCINATION, A COPY OF IMMUNIZATION
   RECORDS FROM A PUBLIC HEALTH OR STATE IMMUNIZATION INFORMATION
   SYSTEM, OR A COPY OF ANY OTHER OFFICIAL DOCUMENTATION.

   3.B.4.C.2. (U) [ADD] INFORMATION ON THE PROCESS FOR CIVILIAN
   EMPLOYEES TO REQUEST AN EXEMPTION IS ANTICIPATED TO BE PUBLISHED IN
   FHP 23, REVISION 1. CIVILIAN EMPLOYEES ANTICIPATING SUBMISSION OF AN
   EXEMPTION FOR MEDICAL REASONS THROUGH THEIR SUPERVISORY CHAIN SHOULD
   BEGIN THE PROCESS OF COORDINATION WITH THEIR HEALTH CARE PROVIDER(S)
   FOR CONSULTATION AND SUPPORTING DOCUMENTATION TO SUPPORT EXEMPTION
   REQUESTS IN PREPARATION FOR SUBMISSION. DISCIPLINARY ACTION WILL NOT
   BE INITIATED AGAINST CIVILIAN EMPLOYEES WHO WILL NOT ACHIEVE FULLY
   VACCINATED STATUS BY 22 NOV 21 IF THEY ARE PENDING A DECISION ON A
   MEDICAL OR RELIGIOUS EXEMPTION REQUEST. EXEMPTION REQUESTS WILL BE
   HANDLED ON A CASE BY CASE BASIS AS PER PENDING FHP 23 REVISION 1 AND
   ANY ADDITIONAL ARMY GUIDANCE ISSUED, AND CIVILIAN EMPLOYEES SHOULD BE
   PREPARED TO INITIATE VACCINE SEQUENCE IMMEDIATELY IF EXEMPTION
   REQUESTS ARE DENIED OR THE EMPLOYEE IS UNABLE TO MEET EXEMPTION
   CRITERIA ONCE IDENTIFIED.
   3.B.5. (U) [ADD] CIVILIAN EMPLOYEES WHO ARE ALSO MEMBERS OF THE
   RESERVE COMPONENT (RESERVE OR NATIONAL GUARD) AND NOT ON ACTIVE DUTY
   ORDERS WILL COMPLETE VACCINATION IN ACCORDANCE WITH PUBLISHED
   CIVILIAN EMPLOYEE VACCINATION GUIDELINES.
   3.C. (U) TASKS TO ARMY STAFF AND SUBORDINATE COMMANDS.
   3.C.1. THROUGH 3.C.1.D. NO CHANGE.
   3.C.2. (U) THE DIRECTOR OF THE ARMY NATIONAL GUARD (DARNG).

   3.C.2.A. THROUGH 3.C.2.E. NO CHANGE.
   3.C.2.F. (U) [ADD] ALL ACTIVATED U.S. ARMY NATIONAL GUARD (USARNG)
   SOLDIERS MOBILIZED AFTER 15 DECEMBER 2021 WILL BE FULLY VACCINATED



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   PRIOR TO DEPARTING HOME STATION OR HOME OF RECORD IN ORDER TO ENSURE
   MISSION READINESS FOR MOBILIZATION AT THE MULTI-FORCE GENERATION
   INSTALLATIONS (MFGIS). THESE REQUIREMENTS APPLY TO ALL TITLE 10
   ACTIVATION / MOBILIZATION PROCESSES WHETHER OCONUS OR CONUS AND
   WORLDWIDE INDIVIDUAL AUGMENTATION SYSTEM (WIAS) MOBILIZATIONS.
   3.C.2.G. (U) [ADD] USARNG UNITS WILL ROUTE PERMANENT MEDICAL
   EXEMPTION REQUESTS THROUGH THEIR COMMAND'S STATE SURGEONS AND USARNG
   CHIEF SURGEON TO THE RESPECTIVE MEDCOM REGIONAL HEALTH COMMANDS.
   3.C.3. (U) THE CHIEF OF ARMY RESERVE (OCAR)/COMMANDING GENERAL
   UNITED STATES ARMY RESERVE COMMAND (USARC).

   3.C.3.A. THROUGH 3.C.3.C. NO CHANGE.
   3.C.3.D. (U) [ADD] ALL ACTIVATED USAR SOLDIERS MOBILIZED AFTER 15
   DECEMBER 2021 WILL BE FULLY VACCINATED PRIOR TO DEPARTING HOME
   STATION OR HOME OF RECORD IN ORDER TO ENSURE MISSION READINESS FOR
   MOBILIZATION AT THE MFGIS. THESE REQUIREMENTS APPLY TO ALL TITLE 10
   ACTIVATION / MOBILIZATION PROCESSES WHETHER OCONUS OR CONUS AND WIAS
   MOBILIZATIONS.
   3.C.3.E. NO CHANGE.

   3.C.3.F. (U) [ADD] USAR WILL ROUTE PERMANENT MEDICAL EXEMPTION
   REQUESTS THROUGH MEDCOM, REGIONAL HEALTH COMMAND - ATLANTIC.
   3.C.3.G. (U) [ADD] USAR WILL REQUIRE SOLDIERS WHO RECEIVE
   VACCINATIONS OUTSIDE OF MILITARY MEDICAL TREATMENT FACILITIES, SUCH
   AS FROM CIVILIAN EMPLOYERS OR ON THE LOCAL MARKET, TO SUBMIT TO
   RESERVE HEALTH READINESS PROGRAM THROUGH LOGISTICS HEALTH
   INCORPORATED'S "LHI.CARE" WEBSITE (HTTPS://LHI.CARE) UPLOAD, OR
   PROVIDE TO UNIT MEDICAL PROTECTION SYSTEM (MEDPROS) COORDINATOR TO
   ENTER DATA THROUGH THE MEDPROS WEB DATA ENTRY (MWDE) MODULE.
   3.C.4. NO CHANGE.

   3.C.5. (U) COMMANDER, U.S. ARMY TRAINING AND DOCTRINE COMMAND
   (TRADOC).
   3.C.5.A. (U) [ADD] NLT 22 OCTOBER 2021, DEVELOP AN INTEGRATED PLAN
   WITH U.S. MILITARY ACADEMY (USMA) IN COORDINATION WITH U.S. ARMY
   MEDICAL COMMAND (MEDCOM)(IN ACCORDANCE WITH AR 40-562 AND OTHER
   APPLICABLE REGULATIONS), HQDA DEPUTY CHIEF OF STAFF (DCS), G-1 AND
   THE ASSISTANT SECRETARY OF THE ARMY FOR MANPOWER AND RESERVE AFFAIRS
   (ASA(M&RA)) THAT OUTLINES PROCESSES TO ADDRESS THE VACCINE MANDATE,
   TO INCLUDE REFUSALS AND EXEMPTION REQUESTS, FOR PRE-ACCESSIONS AND
   COMMISSIONING POPULATIONS. DIRLAUTH WITH USMA, MEDCOM, HQDA DCS, G-1,
   AND ASA(M&RA) IS AUTHORIZED. REPORT THE PROCESS FOR APPROVAL TO HQDA
   DCS, G-1 AND ASA(M&RA).
   3.C.6. THROUGH 3.C.15. NO CHANGE.
   3.C.16. (U) COMMANDER, U.S. ARMY MEDICAL COMMAND (MEDCOM).
   3.C.16.A. THROUGH 3.C.16.M. NO CHANGE.

   3.C.16.N. (U) [ADD] NLT 22 OCTOBER 2021, COORDINATE WITH TRADOC,
   USMA, AND HQDA DCS, G-1 IN ACCORDANCE WITH AR 40-562 AND OTHER
   APPLICABLE REGULATIONS TO SUPPORT AN INTEGRATED PLAN THAT OUTLINES
   PROCESSES TO ADDRESS THE VACCINE MANDATE, TO INCLUDE REFUSALS AND
   EXEMPTION REQUESTS, FOR PRE-ACCESSIONS AND COMMISSIONING POPULATIONS.



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   DIRLAUTH WITH TRADOC, HQDA DCS G-1, AND ASA(M&RA) IS AUTHORIZED.
   3.C.17. NO CHANGE.
   3.C.18. (U) SUPERINTENDENT, U.S. MILITARY ACADEMY (USMA).
   3.C.18.A. (U) [ADD] NLT 22 OCTOBER 2021, DEVELOP AN INTEGRATED PLAN
   WITH TRADOC IN COORDINATION WITH MEDCOM (IN ACCORDANCE WITH AR 40-562
   AND OTHER APPLICABLE REGULATIONS), HQDA DCS, G-1 AND(ASA(M&RA)) THAT
   OUTLINES PROCESSES TO ADDRESS THE VACCINE MANDATE, TO INCLUDE
   REFUSALS AND EXEMPTION REQUESTS, FOR PRE-ACCESSIONS AND COMMISSIONING
   POPULATIONS. DIRLAUTH WITH TRADOC, MEDCOM, HQDA DCS, G-1, AND
   ASA(M&RA) IS AUTHORIZED. REPORT PROCESS FOR APPROVAL TO HQDA DCS, G-1
   AND ASA(M&RA).
   3.C.19. THROUGH 3.C.29. NO CHANGE.
   3.C.30. (U) DEPUTY CHIEFS OF STAFF, HEADQUARTERS DEPARTMENT OF THE
   ARMY (HQDA DCS).
   3.C.30.A. (U) HQDA, DEPUTY CHIEF OF STAFF G-1.
   3.C.30.A.1. THROUGH 3.C.30.A.2. NO CHANGE.

   3.C.30.A.3. (U) [ADD] NLT 22 OCTOBER 2021, COORDINATE WITH TRADOC,
   USMA, AND MEDCOM TO SUPPORT AN INTEGRATED PLAN THAT OUTLINES
   PROCESSES TO ADDRESS THE VACCINE MANDATE, TO INCLUDE REFUSALS AND
   EXEMPTION REQUESTS, FOR PRE-ACCESSIONS AND COMMISSIONING POPULATIONS.
   DIRLAUTH WITH TRADOC, USMA, AND MEDCOM IS AUTHORIZED.

   3.C.30.B. NO CHANGE.
   3.C.31. (U) [ADD] DIRECTOR OF THE ARMY STAFF(DAS).
   3.C.31.A. (U) [ADD] ASSISTANT SECRETARY OF THE ARMY FOR MANPOWER AND
   RESERVE AFFAIRS (ASA(M&RA)).

   3.C.31.A.1. (U) [ADD] NLT 22 OCTOBER 2021, COORDINATE WITH TRADOC,
   USMA, HQDA DCS, G-1, AND MEDCOM TO SUPPORT INTEGRATED PLANS THAT
   OUTLINE PROCESSES TO ADDRESS THE VACCINE MANDATE, INCLUDING REFUSALS
   AND EXEMPTION REQUESTS, FOR PRE-ACCESSIONS AND COMMISSIONING
   POPULATIONS.

   3.C.31.A.2. (U) [ADD] NLT 1 NOVEMBER 2021, PROVIDE DRAFT
   IMPLEMENTATION GUIDANCE FOR DECISION TO THE SECRETARY OF THE ARMY FOR
   APPROVAL OF INTEGRATED PLANS THAT OUTLINE PROCESSES TO ADDRESS THE
   VACCINE MANDATE, INCLUDING REFUSALS AND EXEMPTION REQUESTS, FOR
   PRE-ACCESSIONS AND COMMISSIONING POPULATIONS.
   3.D. (U) COORDINATING INSTRUCTIONS.
   3.D.1. THROUGH 3.D.7.E. NO CHANGE.
   3.D.7.E.1. (U) [CHANGE TO READ] UNITS MUST ENSURE APPROPRIATE
   CLINICAL LABORATORY IMPROVEMENT PROGRAM (CLIP) CERTIFICATION THROUGH
   DEPARTMENT OF DEFENSE CENTER FOR LABORATORY MEDICINE SERVICES (CLMS).
   THE CLIP-WAIVED COMPLEXITY REGISTRATION FORM AT ANNEX M CAN BE
   SUBMITTED ONLINE AT
   HTTPS://INFO.HEALTH.MIL/SITES/CLMS/PROD/SITEPAGES/CLMSLABDASHBOARD.AS
   PX.
   CONTACT CLMS FOR ASSISTANCE AT
   DHA.NCR.CLINIC-SUPPORT.MBX.CLMS@MAIL.MIL, (703) 681-5948, DSN (312)



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   761-5948.
   3.D.7.F. THROUGH 3.D.7.H. NO CHANGE.
   3.D.8. NO CHANGE.
   3.D.8.A. NO CHANGE.
   3.D.8.A.1. THROUGH 3.D.8.A.2. NO CHANGE.
   3.D.8.A.3. (U) [ADD] READ AND COMPLY WITH ANNEX JJ, ASSISTANT
   SECRETARY OF DEFENSE FOR HEALTH AFFAIRS (ASD(HA)) GUIDANCE "MANDATORY
   VACCINATION OF SERVICE MEMBERS USING THE PFIZER-BIONTECH COVID-19 AND
   COMIRNATY COVID-19 VACCINES."
   3.D.8.B. NO CHANGE.
   3.D.8.B.1. NO CHANGE.
   3.D.8.B.1.A. (U) [CHANGE TO READ] COMMANDERS, COMMAND SERGEANTS
   MAJORS, NOMINATIVE AND KEY BILLET SERGEANTS MAJORS (SGM), FIRST
   SERGEANTS, AND OFFICERS ON THE CENTRALIZED SELECT LIST (CSL) KEY
   BILLETS WHO REFUSE THE MANDATORY VACCINATION ORDER, AND WHO ARE NOT
   PENDING FINAL DECISION REGARDING AN EXEMPTION REQUEST, WILL BE
   SUSPENDED, NOTIFIED IN WRITING OF THEIR PENDING RELIEF OF DUTIES,
   PROVIDED A REASONABLE PERIOD NOT TO EXCEED 5 CALENDAR DAYS TO
   RESPOND, AND WILL BE SUBJECT TO RELIEF OF THEIR DUTIES DUE TO
   CONTINUING REFUSAL. THIS AUTHORITY IS WITHHELD TO THE FIRST GENERAL
   OFFICER IN THE CHAIN OF COMMAND. THE GENERAL OFFICER DIRECTING THIS
   ACTION WILL PROVIDE IMMEDIATE NOTIFICATION TO THE ARMY COMMAND
   (ACOM), ARMY SERVICE COMPONENT COMMANDS (ASCC), OR HQDA AS
   APPROPRIATE, AND TO ARMY HUMAN RESOURCES COMMAND (HRC). RESERVE AND
   ARMY NATIONAL GUARD WILL FOLLOW COMPONENT AND STATE SPECIFIC POLICIES
   FOR DEFERRAL AND REMOVAL OF PERSONNEL FROM COMMAND, KEY BILLET
   POSITIONS, AND SELECTION LISTS.
   3.D.8.B.1.A.1. (U) [ADD] FOR COMMANDERS AND OFFICERS IN CSL KEY
   BILLETS, THE GENERAL OFFICER DIRECTING THIS ACTION WILL PROVIDE
   IMMEDIATE NOTIFICATION THROUGH THE ACOM/ASCC/DRU TO THE CG, HRC, AND
   THE HQDA DCS, G-1. THE VICE CHIEF OF STAFF OF THE ARMY (VCSA) WILL BE
   INCLUDED IN THE NOTIFICATION FOR ALL ACTIONS INVOLVING O-6'S. UNIT
   G-1S WILL COMPLETE AND FORWARD A CHIEF OF STAFF OF THE ARMY (CSA)
   CCIR LOCATED AT: HTTPS://WWW.HRC.ARMY.MIL/CONTENT/CSL%20ACTIONS TO
   COMMAND MANAGEMENT DIVISION, HRC.
   3.D.8.B.1.A.2. (U) [ADD] FOR COMMAND SERGEANTS MAJORS (CSMS) AND
   NOMINATIVE AND KEY BILLET SGMS, THE GENERAL OFFICER DIRECTING THIS
   ACTION WILL PROVIDE IMMEDIATE NOTIFICATION THROUGH THE ACOM/ASCC/DRU
   TO SERGEANT MAJOR MANAGEMENT DIVISION, HRC
   (RAYMOND.A.BUTLER4.MIL@ARMY.MIL). ENLISTED PERSONNEL WILL BE REPORTED
   USING THE SMA CRITICAL INFORMATION REPORT (SCIR) FORMAT LOCATED AT
   HTTPS://WWW.HRC.ARMY.MIL/CONTENT/SERGEANTS%20MAJOR%20MANAGEMENT%20DI
   ISION%20NEWS.
   3.D.8.B.1.A.3. (U) [ADD] FOR COMPANY COMMANDERS AND FIRST SERGEANTS,
   THE GENERAL OFFICER DIRECTING THIS ACTION WILL FOLLOW ACOM/ASCC/DRU
   REPORTING GUIDANCE FOR SUSPENDING AND REMOVING PERSONNEL IN THESE
   BILLETS. ACOMS/ASCC/DRUS WILL SUBMIT DODID AND DATE OF RELIEF TO
   USARMY.PENTAGON.HQDA.MBX.PCCIMA04@ARMY.MIL WEEKLY NLT 1500 EST ON
   THURSDAYS.
   3.D.8.B.1.B. (U) [CHANGE TO READ] OFFICERS SELECTED FOR, AND WAITING



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   TO ASSUME, A CSL COMMAND/KEY BILLET POSITION WHO REFUSE THE MANDATORY
   VACCINATION ORDER, AND WHO ARE NOT PENDING FINAL DECISION REGARDING
   AN EXEMPTION REQUEST, WILL BE DEFERRED FROM THE CSL COMMAND/KEY
   BILLET POSITION, NOTIFIED IN WRITING OF THEIR DEFERRAL, PROVIDED A
   REASONABLE PERIOD NOT TO EXCEED 5 CALENDAR DAYS TO RESPOND, AND WILL
   THEN BE SUBJECT TO REMOVAL FROM THE CSL/KEY BILLET LIST BY THE VCSA
   DUE TO CONTINUING REFUSAL. THE FIRST GENERAL OFFICER IN THE CHAIN OF
   COMMAND WILL PROVIDE IMMEDIATE NOTIFICATION OF THE OFFICER'S
   CONTINUING REFUSAL THROUGH ACOM/ASCC/DRU TO THE CG, HRC AND THE HQDA
   DCS, G-1. THE VCSA WILL BE INCLUDED IN THE NOTIFICATION FOR ALL
   ACTIONS INVOLVING O-6'S. UNIT G-1 WILL COMPLETE AND FORWARD A CSA
   CCIR LOCATED AT: HTTPS://WWW.HRC.ARMY.MIL/CONTENT/CSL%20ACTIONS TO
   COMMAND MANAGEMENT DIVISION, HRC. THE CG, HRC, WILL NOTIFY AND DEFER
   CSL COMMAND/KEY BILLET SELECTS IN THE RANK OF LIEUTENANT COLONEL
   (O-5) AND THE VCSA WILL NOTIFY AND DEFER CSL COMMAND/KEY BILLET
   SELECTS IN THE RANK OF COLONEL (O-6). ONLY THE VCSA CAN REMOVE
   OFFICERS FROM THE CSL COMMAND/KEY BILLET LIST.
   3.D.8.B.1.C. (U) [CHANGE TO READ] ENLISTED SOLDIERS SELECTED FOR,
   AND WAITING TO ASSUME, A NOMINATIVE SERGEANT MAJOR OR COMMAND
   SERGEANT MAJOR/KEY BILLET POSITION WHO REFUSE THE MANDATORY
   VACCINATION ORDER, AND WHO ARE NOT PENDING FINAL DECISION REGARDING
   AN EXEMPTION REQUEST, WILL BE NOTIFIED IN WRITING THAT THEY ARE
   SUBJECT TO REMOVAL, PROVIDED A REASONABLE PERIOD NOT TO EXCEED 5
   CALENDAR DAYS TO RESPOND, AND WILL THEN BE SUBJECT TO REMOVAL
   PROCEEDINGS DUE TO CONTINUING REFUSAL. THE FIRST GENERAL OFFICER IN
   THE CHAIN OF COMMAND WILL PROVIDE IMMEDIATE NOTIFICATION OF THE
   SOLDIER'S CONTINUING REFUSAL THROUGH ACOM/ASCC/DRU TO THE SERGEANT
   MAJOR MANAGEMENT DIVISION, HRC, (RAYMOND.A.BUTLER4.MIL@ARMY.MIL)
   USING THE SMA SCIR FORMAT LOCATED AT
   HTTPS://WWW.HRC.ARMY.MIL/CONTENT/SERGEANTS%20MAJOR%20MANAGEMENT%20DIV
   ISION%20NEWS.
   REMOVAL PROCEEDINGS WILL BE CONDUCTED PRIOR TO THE SOLDIER ASSUMING
   THE POSITION AND WILL BE IN ACCORDANCE WITH THE PROCEDURES IN AR
   614-200 (ENLISTED ASSIGNMENTS AND UTILIZATION MANAGEMENT). THE
   RESERVE COMPONENT (US ARMY RESERVE AND ARMY NATIONAL GUARD) WILL
   FOLLOW COMPONENT AND STATE SPECIFIC POLICIES FOR ENLISTED PERSONNEL
   FROM NOMINATIVE SERGEANT MAJOR OR COMMAND SERGEANT MAJOR/KEY BILLETS
   AND SELECTION LISTS.
   3.D.8.B.1.D. THROUGH 3.D.8.B.1.F. NO CHANGE.
   3.D.8.B.1.G. (U) [ADD] SECURITY CLEARANCES AND REPORTING
   RESPONSIBILITIES. COMMANDERS WILL COORDINATE WITH THEIR SERVICING
   SECURITY OFFICE TO DETERMINE DEROGATORY INFORMATION REPORTING
   REQUIREMENTS FOR PERSONNEL RECEIVING ADVERSE ACTION FOR VIOLATING A
   LAWFUL ORDER. THESE REQUIREMENTS APPLY THROUGHOUT ALL PHASES. A
   PENDING OR APPROVED EXEMPTION REQUEST IS NOT DEROGATORY INFORMATION.
   3.D.8.B.2. THROUGH 3.D.8.B.4. NO CHANGE.
   3.D.8.B.5. (U) [CHANGE TO READ] PROCESS WHEN A SOLDIER DECLINES
   IMMUNIZATION: IF A SOLDIER DECLINES IMMUNIZATION, THE COMMANDER WILL
   COUNSEL THE SOLDIER USING DA FORM 4856 IAW ANNEX NN AND OO. THE
   COMMANDER THEN DIRECTS THE SOLDIER TO VIEW THE MANDATORY EDUCATIONAL
   VIDEO ON THE BENEFITS OF THE VACCINE. THE VIDEO IS FOUND AT THE CDC
   WEB PAGE "KEY THINGS TO KNOW ABOUT COVID-19 VACCINES
   (HTTPS://WWW.CDC.GOV/CORONAVIRUS/2019-NCOV/VACCINES/KEYTHINGSTOKNOW.H
   TML)
   UNDER THE "WHAT WE KNOW" SECTION. THE VIDEO CAN ALSO BE FOUND ON
   MILTUBE AT HTTPS://WWW.MILSUITE.MIL/VIDEO/WATCH/VIDEO/47281 TITLED
   "COVID-19 VACCINES: HOW DO WE KNOW THEY ARE SAFE?". (MILTUBE WEB



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   ADDRESS IS CASE SENSITIVE AND MUST BE IN ALL LOWERCASE IF ENTERED
   INTO A WEB BROWSER) FOLLOWING THE MANDATORY VIDEO, THE SOLDIER'S
   IMMEDIATE COMMANDER WILL ORDER THE SOLDIER TO COMPLY WITH THE ORDER
   TO RECEIVE THE VACCINE.
   3.D.8.B.5.A. THROUGH 3.D.8.B.6.A.2. NO CHANGE.
   3.D.8.B.6.A.2.A. (U) [ADD] MEDICAL PROVIDERS WILL FOLLOW ANNEX YY TO
   SUBMIT PERMANENT MEDICAL EXEMPTIONS ON BEHALF OF SOLDIERS THROUGH THE
   MEDCOM VACCINE EXEMPTION REQUEST PORTAL.
   3.D.8.B.6.A.2.B. (U) [ADD] MEDCOM, REGIONAL HEALTH COMMAND
   COMMANDING GENERALS WILL FACILITATE PERMANENT MEDICAL EXEMPTIONS FOR
   SOLDIERS UNABLE TO MEET WITH A MILITARY HEALTH SYSTEM MEDICAL
   PROVIDER THROUGH SUPPORTED ARMY COMMAND SURGEONS. SUPPORTING MEDCOM,
   REGIONAL HEALTH COMMANDS ARE OUTLINED IN ANNEX ZZ.
   3.D.8.B.6.A.2.C. (U) [ADD] PURSUANT TO ANNEX YY, SOLDIERS WILL
   SUBMIT APPEALS FOR PERMANENT MEDICAL EXEMPTION REQUESTS THROUGH THE
   MEDCOM VACCINE EXEMPTION REQUEST PORTAL.
   3.D.8.B.6.B. (U) [CHANGE TO READ] RELIGIOUS EXEMPTION. STRICTLY
   FOLLOW THE PROCESS IAW REF II. (FRAGO 5 TO EXORD 225-21) SOLDIER MUST
   HAVE DOCUMENTATION, I.E. COUNSELING FORM OR MEMORANDUM, FROM PCM IN
   ORDER TO AVOID DELAYS AND FACILITATE PROCESSING. PURSUANT TO AR
   600-20, APPENDIX P-2B, SOLDIERS WITH RELIGIOUS PRACTICES IN CONFLICT
   WITH IMMUNIZATION REQUIREMENTS MAY REQUEST AN EXEMPTION THROUGH
   COMMAND CHANNELS. TSG IS THE ONLY APPROVAL OR DISAPPROVAL AUTHORITY
   FOR IMMUNIZATION ACCOMMODATION REQUESTS. THE ASSISTANT SECRETARY OF
   THE ARMY FOR MANPOWER AND RESERVE AFFAIRS (ASA(M&RA)) IS THE FINAL
   APPEAL AUTHORITY. ANY RELIGIOUS ACCOMMODATION REQUEST FOR AN
   IMMUNIZATION EXEMPTION MUST COMPLY WITH THE REQUIREMENTS DESCRIBED IN
   AR 600-20, APPENDIX P-2B, AND DODI 1300.17, "RELIGIOUS LIBERTY IN THE
   MILITARY SERVICES," SEPTEMBER 1, 2020.
   3.D.8.B.6.B.1. (U) [CHANGE TO READ] THE COMMANDER MUST COUNSEL THE
   SOLDIER THAT NONCOMPLIANCE WITH THE LAWFUL IMMUNIZATION ORDER MAY
   ADVERSELY IMPACT DEPLOYABILITY, ASSIGNMENT, RETENTION OF SECURITY
   CLEARANCE, OR INTERNATIONAL TRAVEL, AND THAT THE EXEMPTION MAY BE
   REVOKED UNDER IMMINENT RISK CONDITIONS. IAW AR 600-20, APPENDIX P-2B,
   COMMANDERS WILL ARRANGE FOR AN IN-PERSON OR TELEPHONIC INTERVIEW
   BETWEEN A SOLDIER REQUESTING A RELIGIOUS ACCOMMODATION AND THE UNIT
   OR OTHER ASSIGNED CHAPLAIN. THE CHAPLAIN ASSESSES THE BASIS AND
   SINCERITY OF THE BELIEF AND MUST PROVIDE A WRITTEN MEMORANDUM TO THE
   CHAIN OF COMMAND PURSUANT TO THE REQUIREMENTS OF AR 600-20, APPENDIX
   P-2B (2). A LICENSED HEALTH CARE PROVIDER WILL COUNSEL THE APPLICANT
   TO ENSURE THE APPLICANT IS MAKING AN INFORMED DECISION IAW AR 600-20,
   APPENDIX P-2B (3).
   3.D.8.B.6.B.2. THROUGH 3.D.8.B.6.C. NO CHANGE.
   3.D.8.B.6.D. (U) [ADD] COMMANDERS WILL CONSISTENTLY REVIEW AND
   VALIDATE EXEMPTIONS IN MEDPROS.
   3.D.8.B.6.D.1. (U) [ADD] RESUBMIT ANY PERMANENT MEDICAL EXEMPTION
   CODES FOR COVID-19 VACCINE THAT HAVE NOT BEEN APPROVED BY YOUR
   SUPPORTING RHC CG.

   3.D.8.B.6.D.2. (U) [ADD] EXEMPTION CODES WILL NOT BE ENTERED INTO
   MEDPROS AND VACCINATION STATUS WILL REMAIN BLANK FOR SOLDIERS WHO
   REFUSE MANDATORY VACCINATION AND ARE NOT PENDING ADJUDICATION OF
   EXEMPTION REQUESTS.



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   3.D.8.C. THROUGH 3.D.8.D. NO CHANGE.
   3.D.8.E. (U) [RESTATED] MEDCOM IS DELEGATED AUTHORITY TO CROSS-LEVEL
   COVID-19 VACCINE INTERNAL TO THE ARMY TO MATCH PRODUCT TO
   INSTALLATION DEMAND AND PREVENT SPOILAGE.
   3.D.8.E.1. NO CHANGE.
   3.D.8.E.2. (U) [ADD] READ AND COMPLY IAW ANNEX SS, MMQC-21-1538
   DISPOSITION FOR MODERNA VACCINE. MILITARY MEDICAL TREATMENT
   FACILITIES (MTFS) WILL QUARANTINE EXPIRED MODERNA COVID VACCINE AND
   MAINTAIN WITHIN PROPER COLD CHAIN STORAGE INSTEAD OF DISCARDING IAW
   PREVIOUS GUIDANCE. UNLESS FUTURE GUIDANCE IS PUBLISHED FOR A SHELF
   LIFE EXTENSION, THIS EXPIRED AND QUARANTINED VACCINE WILL NOT BE
   ADMINISTERED UNDER ANY CIRCUMSTANCES.
   3.D.8.F. THROUGH 3.D.8.I. NO CHANGE.
   3.D.8.J. (U) [RESTATED] IAW ASSISTANT SECRETARY OF DEFENSE
   MEMORANDUM, CO-ADMINISTRATION OF CORONAVIRUS DISEASE 2019 VACCINES
   WITH OTHER VACCINES, 03 JUNE 2021, ANNEX O, COVID-19 VACCINE PRODUCTS
   (E.G., MODERNA, PFIZER, AND J&J VACCINES) MAY BE CO-ADMINISTERED WITH
   OTHER VACCINES WITHOUT REGARD TO TIMING. THESE AUTHORIZED COVID-19
   VACCINES MAY BE ADMINISTERED EITHER SIMULTANEOUSLY, OR WITHIN ANY
   OTHER TIME INTERVAL OF OTHER VACCINES, TO INCLUDE CO-ADMINISTRATION
   WITHIN 14 DAYS OF OTHER VACCINES.
   3.D.8.J.1. (U) [ADD] CO-ADMINISTRATION OF INFLUENZA VACCINE WITH
   AUTHORIZED AND APPROVED COVID-19 VACCINES IS RECOMMENDED BY THE
   CENTERS FOR DISEASE CONTROL AND PREVENTION (CDC), ADVISORY COMMITTEE
   ON IMMUNIZATION PRACTICES (ACIP). COVID-19 VACCINES MAY BE
   ADMINISTERED WITHOUT REGARD TO TIMING OF OTHER VACCINES. MEDICAL
   PROVIDERS SHOULD BE CONSULTED BEFORE ADMINISTRATION OF VACCINES.
   3.D.8.K. THROUGH 3.D.8.O. NO CHANGE.

   3.D.8.P. (U) [ADD] MTFS ARE AUTHORIZED TO BEGIN ADMINISTERING A
   SINGLE PFIZER-BIONTECH / COMIRNATY COVID-19 VACCINE BOOSTER DOSE TO
   ELIGIBLE INDIVIDUALS WHO COMPLETED THE TWO-DOSE PFIZER-BIONTECH /
   COMIRNATY COVID-19 PRIMARY SERIES AT LEAST SIX MONTHS AGO.
   3.D.8.P.1. (U) [ADD] A BOOSTER IS AN ADDITIONAL VACCINE DOSE
   ADMINISTERED TO RE-ENGAGE THE IMMUNE SYSTEM. IT WILL BE ADMINISTERED
   AT LEAST 6 MONTHS AFTER COMPLETING THE TWO-DOSE PFIZER-BIONTECH /
   COMIRNATY SERIES.
   3.D.8.P.2. (U) [ADD] THIS BOOSTER IS DIFFERENT THAN THE AUTHORIZED
   "THIRD DOSE" RECOMMENDED FOR IMMUNOCOMPROMISED (ANNEX II).
   IMMUNOCOMPROMISED PATIENTS SHOULD RECEIVE THE THIRD DOSE 28 DAYS
   FOLLOWING THE TWO-DOSE REGIMEN.
   3.D.8.P.3. (U) [ADD] BOOSTER DOSES ARE NOT A MANDATORY COVID-19
   VACCINE REQUIREMENT AT THIS TIME.
   3.D.8.P.4. (U) [ADD] INDIVIDUALS MEETING THE FOLLOWING CRITERIA
   SHOULD RECEIVE THE BOOSTER: PEOPLE ?65 AND RESIDENTS IN LONG TERM
   CARE FACILITIES OR PEOPLE 50-64 YEARS WITH UNDERLYING MEDICAL
   CONDITIONS.
   3.D.8.P.5. (U) [ADD] INDIVIDUALS MEETING THE FOLLOWING CRITERIA MAY
   RECEIVE THE BOOSTER: THOSE WHO ARE 65 AND OLDER, PEOPLE 18-49 YEARS



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   WITH UNDERLYING MEDICAL CONDITIONS OR THOSE THAT ARE 18-64 YEARS OF
   AGE WHO ARE AT AN INCREASED RISK FOR COVID-19 EXPOSURE AND
   TRANSMISSION BECAUSE OF OCCUPATIONAL OR INSTITUTIONAL SETTINGS (AS
   HEALTH CARE WORKERS, FRONT LINE ESSENTIAL WORKERS, FIREFIGHTERS,
   POLICE, AND OTHERS).
   3.D.9. (U) [CHANGE TO READ] OFFICE OF PUBLIC AFFAIRS GUIDANCE IS
   PUBLISHED IN ANNEX J. ADDITIONALLY, A RISK COMMUNICATION STRATEGY TO
   HELP LEADERSHIP GUIDE DISCUSSIONS AND ADDRESS SERVICE MEMBER AND DOD
   CIVILIAN CONCERNS AND EMOTIONS REGARDING MANDATORY COVID-19
   VACCINATION AND SUPPORTING EVALUATION FINDINGS ARE AVAILABLE AT:
   HTTPS://WWW.MILSUITE.MIL/BOOK/GROUPS/ARMY-PUBLIC-HEALTH-CENTERS-MEDIC
   AL-THREAT-BRIEFINGS/CONTENT?FILTERID=CONTENTSTATUS%5BPUBLISHED%5D~CAT
   EGORY%5BCOVID-19-MANDATORY-VACCINATION%5D
   (CAC-ENABLED AND WEB ADDRESS IS CASE SENSITIVE AND MUST BE IN ALL
   LOWERCASE IF ENTERED INTO A WEB BROWSER).
   3.D.10. THROUGH 3.D.14. NO CHANGE.
   3.D.15. (U) [ADD] READ AND COMPLY WITH ANNEX MM, DEPUTY SECRETARY OF
   DEFENSE MEMO, "UPDATED CORONAVIRUS DISEASE 2019 GUIDANCE RELATED TO
   TRAVEL AND MEETINGS," 24 SEPTEMBER 2021.

   3.D.15.A. (U) [ADD] FULLY VACCINATED INDIVIDUALS ARE NOT RESTRICTED
   FROM OFFICIAL TRAVEL, BOTH DOMESTIC AND INTERNATIONAL.
   3.D.15.B. (U) [ADD] INDIVIDUALS (MIL, CIV, OR CTR) WHO ARE
   UNVACCINATED OR DECLINE TO PROVIDE INFORMATION REGARDING VACCINATION
   STATUS ARE LIMITED TO MISSION-CRITICAL OFFICIAL TRAVEL, BOTH DOMESTIC
   AND INTERNATIONAL. MISSION CRITICAL IS DETERMINED BY THE SECRETARY OF
   THE ARMY.
   3.D.15.C. (U) [ADD] ANY IN PERSON MEETINGS, EVENTS, AND CONFERENCES
   SPONSORED BY THE ARMY WITH MORE THAN 50 PARTICIPANTS WILL REQUIRE
   APPROVAL FROM THE SECRETARY OF THE ARMY. MEETINGS DO NOT INCLUDE
   MILITARY TRAINING AND EXERCISES. ROUTE ALL REQUESTS FOR APPROVAL
   THROUGH CHAIN OF COMMAND.

   3.D.15.D. (U) [ADD] ATTENDEES OF IN PERSON MEETINGS, EVENTS, AND
   CONFERENCES SPONSORED BY THE ARMY WILL BE REQUIRED TO COMPLETE DD
   FORM 3150, "COVID-19 CERTIFICATION OF VACCINATION." ATTENDEES WHO
   ARE UNVACCINATED OR DECLINE TO COMPLETE THE DD FORM 3150 WILL BE
   REQUIRED TO SHOW PROOF OF A NEGATIVE COVID-19 VIRAL TEST NO EARLIER
   THAN 72 HOURS PRIOR TO THE MEETING AND AT LEAST WEEKLY IF THE MEETING
   IS GREATER THAN 1 WEEK IN DURATION. ATTENDEES MAY NOT ATTEND THE
   MEETING IF THEY DO NOT FILL OUT THE DD FORM 3150 OR PROVIDE NEGATIVE
   TEST RESULTS.
   4. (U) SUSTAINMENT. NOT USED.

   5. (U) COMMAND AND SIGNAL.
   5.A. (U) COMMAND. NOT USED.
   5.B. (U) SIGNAL.
   5.B.1. (U) HEADQUARTERS DEPARTMENT OF THE ARMY COVID-19 POINTS OF
   CONTACT (POC). HQDA COVID-19 OPT AT
   USARMY.PENTAGON.HQDA-DCS-G-3-5-7.MBX.COVID-OPT@ARMY.MIL.
   5.B.1.A. (U) G-1 POC IS COL MICHAEL A. ZWEIFEL,
   MICHAEL.A.ZWEIFEL.MIL@MAIL.MIL, (703) 697-8469.



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   5.B.1.B. (U) G-2 POC IS COL MANUEL F. RAMIREZ,
   MANUEL.F.RAMIREZ.MIL@MAIL.MIL, (703) 697-5484.
   5.B.1.C. (U) G-4 POC IS G4 ALOC
   USARMY.PENTAGON.HQDA.MBX.AALOCATC@MAIL.MIL, (703) 614-2149.
   5.B.1.D. (U) LABORATORY RESPONSE NETWORK POC IS DR. WILLIAM
   NAUSCHUETZ, LABORATORY BIO PREPAREDNESS COORDINATOR USAMEDCOM,
   WILLIAM.F.NAUSCHUETZ.CIV@MAIL.MIL, (210) 295-7269 OR (210) 386-1480.
   5.B.1.E. (U) USAMEDCOM PUBLIC HEALTH POC IS COL RICK CHAVEZ,
   RODRIGO.CHAVEZ5.MIL@MAIL.MIL, (703) 681-9510 OR COL MICHELE A.
   SOLTIS, MICHELE.A.SOLTIS.MIL@MAIL.MIL, (703) 681- 6043.
   5.B.1.F. (U) ARMY PUBLIC HEALTH CENTER POC IS DR. STEVEN CERSOVSKY,
   STEVEN.B.CERSOVSKY.CIV@MAIL.MIL, (410) 436-4311.
   5.B.1.G. (U) ARMY PUBLIC AFFAIRS POC IS LTC TERENCE KELLEY,
   TERENCE.M.KELLEY.MIL@MAIL.MIL., (703) 659-0378
   5.B.1.H. (U) OFFICE OF THE JUDGE ADVOCATE GENERAL POC LTC JAMES
   MCINERNEY, JAMES.A.MCINERNEY.MIL@MAIL.MIL, (703) 692-9202,

   5.B.1.I. (U) ARMY NATIONAL GUARD POC IS MAJ TIMOTHY MCCORMIC,
   TIMOTHY.A.MCCORMIC.MIL@MAIL.MIL, (703) 601-7620.
   5.B.1.J. (U) UNITED STATES ARMY RESERVE POC IS LTC RAYMOND D.
   HARPER, RAYMOND.D.HARPER4.MIL@MAIL.MIL, (703) 614-5271.

   5.B.1.K. (U) OFFICE OF THE SURGEON GENERAL POC IS COL DUBRAY KINNEY,
   DUBRAY.KINNEY2.MIL@MAIL.MIL, (703) 681-8197.
   5.B.1.L. (U) ASSISTANT SECRETARY OF THE ARMY (FINANCIAL MANAGEMENT
   AND COMPTROLLER) POC IS COL PERNELL A. ROBINSON,
   PERNELL.A.ROBINSON.MIL@MAIL.MIL, (703) 614-1618.

   5.B.1.M. (U) HEADQUARTERS DEPARTMENT OF THE ARMY WATCH: NIPR EMAIL:
   USARMY.PENTAGON.HQDA.MBX.ARMYWATCH@MAIL.MIL, SIPR EMAIL:
   USARMY.PENTAGON.HQDA.MBX.ARMYWATCH@MAIL.SMIL.MIL.
   5.B.1.N. (U) HEADQUARTERS DEPARTMENT OF THE ARMY COVID-19 CRISIS
   ACTION TEAM INFO:
   NIPR PORTAL:
   HTTPS://G357.ARMY.PENTAGON.MIL/OD/ODO/ARMYOPCENTER/CAWG/CAT/SITEPAGES
   CORONAVIRUS%20(COVID-19).ASPX
   SIPR PORTAL:

   HTTPS://G357.ARMY.PENTAGON.SMIL.MIL/OD/ODO/ARMYOPCENTER/CRISISACTIONP
   AGE/SITEPAGES/HOME.ASPX

   DOMS NIPR OMB:
   USARMY.PENTAGON.HQDA-DCS-G-3-5-7.MBX.DOMS-OPERATIONS@MAIL.MIL
   DOMS SIPR OMB:
   USARMY.PENTAGON.HQDA-DCS-G-3-5-7.MBX.AOC-DOMS-TEAM@MAIL.SMIL.MIL
   6. (U) THE EXPIRATION DATE OF THIS MESSAGE IS 31 DECEMBER 2026,
   UNLESS FORMALLY RESCINDED OR SUPERSEDED.



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   ATTACHMENT:
   ANNEX A - ARMY INSTALLATION GATING CRITERIA REPORT.
   ANNEX B - SECRETARY OF DEFENSE MEMORANDUM, "UPDATE TO
   CONDITIONS-BASED APPROACH TO CORONAVIRUS DISEASE 2019 PERSONNEL
   MOVEMENT AND TRAVEL RESTRICTIONS," 15 MARCH 2021.
   ANNEX C - COVID-19 PERSONAL PROTECTIVE EQUIPMENT, LOGSTAT REPORT.
   ANNEX D - HQDA COVID-19 POSITIVE CASE AND ROM TRACKER.
   ANNEX E - SECRETARY OF THE ARMY MEMORANDUM, "DELEGATION OF AUTHORITY
   TO APPROVE TRAVEL OF ARMY PERSONNEL-TRANSITION FRAMEWORK," 20 APRIL
   2021.
   ANNEX F - SECRETARY OF DEFENSE MEMORANDUM, "GUIDANCE FOR COMMANDERS'
   RISK-BASED RESPONSES AND IMPLEMENTATION OF THE HEALTH PROTECTION
   CONDITION (HPCON) FRAMEWORK DURING THE CORONAVIRUS DISEASE 2019
   PANDEMIC," 29 APRIL 2021.
   ANNEX G - FORCE HEALTH PROTECTION SUPPLEMENT 20, DEPARTMENT OF
   DEFENSE GUIDANCE FOR PERSONNEL TRAVELING DURING THE CORONAVIRUS
   DISEASE 2019 PANDEMIC, 12 APRIL 2021.
   ANNEX H - FORCE HEALTH PROTECTION SUPPLEMENT 16.1, DEPARTMENT OF
   DEFENSE GUIDANCE DEPLOYMENT AND REDEPLOYMENT OF INDIVIDUALS AND
   UNITS, 04 MAY 2021.
   ANNEX I - FORCE HEALTH PROTECTION SUPPLEMENT 15.2, DEPARTMENT OF
   DEFENSE GUIDANCE FOR CORONAVIRUS DISEASE 2019 LABORATORY TESTING
   SERVICES, 02 JULY 2021.
   [CHANGE TO READ] ANNEX J - IMPLEMENTATION OF REQUIRED COVID-19
   PROTECTIONS PUBLIC AFFAIRS GUIDANCE.
   ANNEX K - TIER 4 TESTING CONCEPT AND APPROVAL AUTHORITY.
   ANNEX L - DOD COVID TASK FORCE, COVID-19 TESTING PROTOCOLS, 08 MARCH
   2021.
   ANNEX M - CLMS FORM 1D, CLINICAL LABORATORY IMPROVEMENT PROGRAM
   WAIVED COMPLEXITY REGISTRATION/RENEWAL FORM.
   ANNEX N - DEPUTY SECRETARY OF DEFENSE MEMORANDUM, "METHODS TO ENABLE
   AND ENCOURAGE VACCINATION AGAINST CORONAVIRUS DISEASE 2019," 20 MAY
   2021.
   ANNEX O - SECRETARY OF DEFENSE MEMORANDUM, "CO-ADMINISTRATION OF
   CORONAVIRUS DISEASE 2019 VACCINES WITH OTHER VACCINES," 03 JUNE 2021.

   ANNEX P - DEPUTY SECRETARY OF DEFENSE MEMORANDUM, "CORONAVIRUS
   DISEASE 19 VACCINE GUIDANCE," 07 DECEMBER 2020.
   ANNEX Q - UNDER SECRETARY OF DEFENSE MEMORANDUM SUPPLEMENTAL GUIDANCE
   FOR PROVIDING DOD CORONAVIRUS DISEASE 2019 VACCINE TO DOD CONTRACTOR
   EMPLOYEES AND SELECT FOREIGN NATIONALS, 31 DECEMBER 2020.
   ANNEX R - SECRETARY OF DEFENSE MEMORANDUM, SECRETARIAL DESIGNEE
   STATUS FOR SELECT DEPARTMENT OF DEFENSE CIVILIAN EMPLOYEE AND
   CONTRACTOR EMPLOYEE DEPENDENTS OUTSIDE THE UNITED STATES FOR THE
   LIMITED PURPOSE OF RECEIVING CORONAVIRUS DISEASE 2019 VACCINATIONS,
   03 JUNE 2021.
   ANNEX S - SECRETARY OF DEFENSE MEMORANDUM, USE OF MASKS AND OTHER
   PUBLIC HEALTH MEASURES, 04 FEBRUARY 2021.
   ANNEX T - FORCE HEALTH PROTECTION SUPPLEMENT 17.1, DEPARTMENT OF
   DEFENSE GUIDANCE FOR THE USE OF MASKS, PPE, AND NPI, 22 JUNE 2021.
   ANNEX U - SECRETARY OF ARMY MEMORANDUM, USE OF MASKS AND DELEGATION
   OF AUTHORITY TO GRANT EXCEPTIONS, 24 FEBRUARY 2021.
   ANNEX V - [RESCINDED]
   ANNEX W - POOLED TESTING GUIDANCE AND STRATEGY, 02 JUNE 2021.
   ANNEX X - UNDER SECRETARY OF DEFENSE MEMORANDUM GUIDANCE FOR
   PARTICIPATION OF INTERNATIONAL MILITARY STUDENTS AND TRAINEES, 07 MAY
   2021.
   ANNEX Y - UNDER SECRETARY OF DEFENSE MEMORANDUM SUPPLEMENTAL GUIDANCE
   ON ETP PROCESS, 08 JUNE 2021.
   ANNEX Z - SECRETARY OF THE ARMY MEMORANDUM, DELEGATION OF AUTHORITY



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   FOR HEALTH PROTECTION CONDITION (HPCON) IMPLEMENTATION AND OCCUPANCY
   REQUIREMENTS, 09 JUNE 2021.
   ANNEX AA - FORCE HEALTH PROTECTION SUPPLEMENT 22, DOD GUIDANCE FOR
   CORONAVIRUS DISEASE 2019 SURVEILLANCE AND SCREENING TESTING, 21 JULY
   2021.
   ANNEX BB - UPDATED MASK GUIDANCE FOR ALL DOD INSTALLATIONS AND OTHER
   FACILITIES, 28 JULY 2021.
   ANNEX CC - CDC GUIDANCE FOR IMPLEMENTING COVID-19 PREVENTION
   STRATEGIES, 27 JULY 2021.
   ANNEX DD - MEDICAL MATERIAL QUALITY CONTROL MESSAGE, MMQC-21-1419,
   (J&J) JANSSEN COVID-19 VACCINE SHELF-LIFE EXTENSION, 28 JULY 2021.
   ANNEX EE - COVID-19 VACCINATION REQUIREMENT REPORT.
   ANNEX FF - MANDATORY CORONAVIRUS DISEASE 2019 VACCINATION OF
   DEPARTMENT OF DEFENSE SERVICE MEMBERS, 24 AUGUST 2021
   ANNEX GG - MEDICAL MATERIAL QUALITY CONTROL MESSAGE, MMQC-21-1463,
   PFIZER LICENSE AND SHELF LIFE EXTENSION, 24 AUGUST 2021.
   ANNEX HH - MEDICAL MATERIAL QUALITY CONTROL MESSAGE, MMQC-21-1425,
   UPDATED COVID-19 VACCINE ORDERING GUIDELINES, 09 AUGUST 2021.
   ANNEX II - MEDICAL MATERIAL QUALITY CONTROL MESSAGE, MMQC 21 1454
   ADDITIONAL DOSE OF COVID 19 VACCINE FOR IMMUNOCOMPROMISED PERSONS,13
   AUGUST 2021.
   [ADD] ANNEX JJ - MANDATORY VACCINATION OF SERVICE MEMBERS USING THE
   PFIZER-BIONTECH COVID-19 AND COMIRNATY COVID-19 VACCINES, 14
   SEPTEMBER 2021.
   [ADD] ANNEX KK - DD FORM 3150, CERTIFICATION OF VACCINATION,
   SEPTEMBER 2021.
   ANNEX LL - VACCINE INFORMATION FACT SHEET
   [ADD] ANNEX MM - UPDATED CORONAVIRUS DISEASE 2019 GUIDANCE RELATED TO
   TRAVEL AND MEETINGS, 24 SEPTEMBER 2021.
   ANNEX NN - SAMPLE DA FORM 4856 FOR ENLISTED VACCINE REFUSALS.
   ANNEX OO - SAMPLE DA FORM 4856 FOR OFFICER VACCINE REFUSALS.
   [ADD] ANNEX PP - EXECUTIVE ORDER 14043 OF SEPTEMBER 9, 2021,
   REQUIRING VACCINATION FOR FEDERAL EMPLOYEES.
   [ADD] ANNEX QQ - EXECUTIVE ORDER 14042 OF SEPTEMBER 9, 2021, ENSURING
   ADEQUATE COVID SAFETY PROTOCOLS FOR FEDERAL CONTRACTORS.
   [ADD] ANNEX RR - ABBOTT BINAXNOW COVID-19 AG CARD PRODUCT EXPIRY
   UPDATE, MAY 2021.
   [ADD] ANNEX SS - MEDICAL MATERIAL QUALITY CONTROL MESSAGE,
   MMQC-21-1538, DISPOSITION GUIDANCE FOR MODERNA COVID VACCINE, 23
   SEPTEMBER 2021.
   [ADD] ANNEX TT - MEDICAL MATERIAL QUALITY CONTROL MESSAGE,
   MMQC-21-1549, PFIZER-BIONTECH/COMIRNATY COVID-19 VACCINE BOOSTER DOSE
   RECOMMENDATIONS, 27 SEPTEMBER 2021.
   [ADD] ANNEX UU - MEDICAL MATERIAL QUALITY CONTROL MESSAGE,
   MMQC-21-1549, SUPPLEMENT 1, KEY MESSAGES AND TALKING POINTS, 27
   SEPTEMBER 2021.
   [ADD] ANNEX VV - MEDICAL MATERIAL QUALITY CONTROL MESSAGE,
   MMQC-21-1549, SUPPLEMENT 2, FACT SHEET FOR HEALTHCARE PROVIDERS
   ADMINISTERING VACCINE (VACCINATION PROVIDERS), 27 SEPTEMBER 2021.
   [ADD] ANNEX WW - MEDICAL MATERIAL QUALITY CONTROL MESSAGE,
   MMQC-21-1549, SUPPLEMENT 3, VACCINE INFORMATION FACT SHEET FOR
   RECIPIENTS AND CAREGIVERS ABOUT COMIRNATY (COVID-19 VACCINE, MRNA)
   AND PFIZER-BIONTECH COVID-19 VACCINE TO PREVENT CORONAVIRUS DISEASE
   2019 (COVID-19), 27 SEPTEMBER 2021.
   ANNEX XX - REFUSALS AND MEDICAL/RELIGIOUS EXEMPTIONS PROCESS.
   [ADD] ANNEX YY - COVID-19 VACCINATION PERMANENT MEDICAL EXEMPTION
   REQUEST STANDARD OPERATION PROCEDURE.
   [ADD] ANNEX ZZ - PERMANENT MEDICAL EXEMPTION REQUEST PROCESS
   ASSIGNMENTS.
   [ADD] ANNEX AAA - REQUEST FOR PERMANENT MEDICAL EXEMPTION TO COVID-19
   VACCINATION TEMPLATE MEMORANDUM.
   [ADD] ANNEX BBB - ARMY DIRECTIVE 2021-33 (APPROVAL AND APPEAL



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   AUTHORITIES FOR MILITARY AND MEDICAL ADMINISTRATIVE IMMUNIZATION
   EXEMPTIONS), 24 SEPTEMBER 2021.
   [ADD] ANNEX CCC - SAFER FEDERAL WORKFORCE TASK FORCE, COVID-19
   WORKPLACE SAFETY: AGENCY MODEL SAFETY PRINCIPLES, LAST UPDATED 13
   SEPTEMBER 2021.
   [ADD] ANNEX DDD - SAFER FEDERAL WORKFORCE TASK FORCE, COVID-19
   WORKPLACE SAFETY: GUIDANCE FOR FEDERAL CONTRACTORS AND
   SUBCONTRACTORS, ISSUED 24 SEPTEMBER 2021.
   [ADD] ANNEX EEE - MANDATORY CORONAVIRUS DISEASE 2019 VACCINATION OF
   DOD CIVILIAN EMPLOYEES, ISSUED 1 OCTOBER 2021.
   [ADD] ANNEX FFF - OFFICE OF PERSONNEL MANAGMENT (OPM) AND SAFER
   FEDERAL WORKFORCE TASK FORCE GUIDANCE ON VACCINATION REQUIREMENTS, 5
   OCTOBER 2021.
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   FRAGO 7 TO HQDA EXORD 225-21 COVID-19 STEADY STATE
   OPERATIONS
   Originator:DA WASHINGTON DC//AOC//
         TOR: 10/20/2021 21:44:41
         DTG: 202142Z Oct 21
         Prec:Priority
         DAC: General
              ARLINGTON NATIONAL CEMETERY ARLINGTON VA, ARNG NGB COMOPS ARLINGTON VA, ARNG NGB COMOPS ARLINGTON VA, ARNG
              NGB J3 JOC WASHINGTON DC, ARNG NGB J3 JOC WASHINGTON DC, ARNGRC ARLINGTON VA, ARNGRC ARLINGTON VA, ARNGRC WATCH
              ARLINGTON VA, ARNGRC WATCH ARLINGTON VA, CDR 5 ARMY NORTH AOC FT SAM HOUSTON TX, CDR 5 ARMY NORTH AOC FT SAM
              HOUSTON TX, CDR ARMY FUTURES COMMAND AUSTIN TX, CDR ARMY FUTURES COMMAND AUSTIN TX, CDR ATEC ABERDEEN PROVING
              GROUND MD, CDR FORSCOM DCS G3 CENTRAL TASKING DIV FT BRAGG NC, CDR FORSCOM DCS G3 CENTRAL TASKING DIV FT BRAGG
              NC, CDR FORSCOM DCS G3 CURRENT OPS FT BRAGG NC, CDR FORSCOM DCS G3 CURRENT OPS FT BRAGG NC, CDR FORSCOM DCS G3
              WATCH OFFICER FT BRAGG NC, CDR FORSCOM DCS G3 WATCH OFFICER FT BRAGG NC, CDR MDW J3 FT MCNAIR DC, CDR MDW J3 FT
              MCNAIR DC, CDR MDW JFHQ-NCR FT MCNAIR DC, CDR MDW JFHQ-NCR FT MCNAIR DC, CDR NETCOM 9THSC FT HUACHUCA AZ, CDR
              TRADOC CG FT EUSTIS VA, CDR TRADOC CG FT EUSTIS VA, CDR TRADOC DCS G-3-5-7 OPNS CTR FT EUSTIS VA, CDR USAR NORTH FT SAM
              HOUSTON TX, CDR USARCENT SHAW AFB SC, CDR USASOC COMMAND CENTER FT BRAGG NC, CDR USASOC FT BRAGG NC, CDR USASOC
              MESSAGE CENTER FT BRAGG NC, CDR3RD ARMY USARCENT WATCH OFFICER SHAW AFB SC, CDRAMC REDSTONE ARSENAL AL, CDRAMC
              REDSTONE ARSENAL AL, CDRFORSCOM FT BRAGG NC, CDRHRC G3 DCSOPS FT KNOX KY, CDRHRC G3 DCSOPS FT KNOX KY, CDRINSCOM
              FT BELVOIR VA, CDRINSCOM FT BELVOIR VA, CDRINSCOMIOC FT BELVOIR VA, CDRINSCOMIOC FT BELVOIR VA, CDRMDW
          To: WASHINGTON DC, CDRMDW WASHINGTON DC, CDRUSACE WASHINGTON DC, CDRUSACE WASHINGTON DC, CDRUSACIDC FT BELVOIR
              VA, CDRUSACIDC FT BELVOIR VA, CDRUSACYBER FT BELVOIR VA, CDRUSACYBER G3 FT BELVOIR VA, CDRUSACYBER G33 FT BELVOIR VA,
              CDRUSAEIGHT G3 CUROPS SEOUL KOR, CDRUSAEIGHT SEOUL KOR, CDRUSAMEDCOM FT SAM HOUSTON TX, CDRUSARC G33 READ FT
              BRAGG NC, CDRUSARC G33 READ FT BRAGG NC, CDRUSARCYBER WATCH OFFICER FT BELVOIR VA, CDRUSARPAC CG FT SHAFTER HI,
              CDRUSARPAC FT SHAFTER HI, COMDT USAWC CARLISLE BARRACKS PA, COMDT USAWC CARLISLE BARRACKS PA, HQ IMCOM FT SAM
              HOUSTON TX, HQ IMCOM FT SAM HOUSTON TX, HQ INSCOM IOC FT BELVOIR VA, HQ SDDC CMD GROUP SCOTT AFB IL, HQ SDDC CMD
              GROUP SCOTT AFB IL, HQ SDDC OPS MSG CNTR SCOTT AFB IL, HQ SDDC OPS MSG CNTR SCOTT AFB IL, HQ USARSO FT SAM HOUSTON
              TX, HQ USARSO FT SAM HOUSTON TX, HQ USARSO G3 FT SAM HOUSTON TX, HQ USARSO G3 FT SAM HOUSTON TX, HQDA ARMY STAFF
              WASHINGTON DC, HQDA CSA WASHINGTON DC, HQDA EXEC OFFICE WASHINGTON DC, HQDA IMCOM OPS DIV WASHINGTON DC,
              HQDA SEC ARMY WASHINGTON DC, HQDA SECRETARIAT WASHINGTON DC, HQDA SURG GEN WASHINGTON DC, MEDCOM HQ EOC FT
              SAM HOUSTON TX, NETCOM G3 CURRENT OPS FT HUACHUCA AZ, NETCOM G3 CURRENT OPS FT HUACHUCA AZ, NGB WASHINGTON DC,
              SMDC ARSTRAT CG ARLINGTON VA, SMDC ARSTRAT CG ARLINGTON VA, SMDC ARSTRAT G3 ARLINGTON VA, SUPERINTENDENT USMA
              WEST POINT NY, SURGEON GEN FALLS CHURCH VA, USAR AROC FT BRAGG NC, USAR AROC FT BRAGG NC, USAR CMD GRP FT BRAGG NC,
              USAR CMD GRP FT BRAGG NC, USAR DCS G33 OPERATIONS FT BRAGG NC, USAR DCS G33 OPERATIONS FT BRAGG NC, USARCENT G3
              FWD, USARPAC COMMAND CENTER FT SHAFTER HI, CDR USAREUR-AF WIESBADEN GE, CDR SETAF-AF VICENZA IT
          CC: HQDA AOC DAMO ODO OPS AND CONT PLANS WASHINGTON DC, HQDA AOC G3 DAMO CAT OPSWATCH WASHINGTON DC, HQDA
              AOC G3 DAMO OD DIR OPS READ AND MOB WASHINGTON DC

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   FM DA WASHINGTON DC//AOC//
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   RUJAAAA/ARNG NGB COMOPS ARLINGTON VA
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   RUIAAAA/ARNG NGB J3 JOC WASHINGTON DC
   RUJAAAA/ARNGRC ARLINGTON VA
   RUIAAAA/ARNGRC ARLINGTON VA
   RUJAAAA/ARNGRC WATCH ARLINGTON VA
   RUIAAAA/ARNGRC WATCH ARLINGTON VA
   RUJAAAA/CDR 5 ARMY NORTH AOC FT SAM HOUSTON TX
   RUIAAAA/CDR 5 ARMY NORTH AOC FT SAM HOUSTON TX
   RUJAAAA/CDR ARMY FUTURES COMMAND AUSTIN TX
   RUIAAAA/CDR ARMY FUTURES COMMAND AUSTIN TX
   RUJAAAA/CDR ATEC ABERDEEN PROVING GROUND MD



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   RUJAAAA/CDR FORSCOM DCS G3 CENTRAL TASKING DIV FT BRAGG NC
   RUIAAAA/CDR FORSCOM DCS G3 CENTRAL TASKING DIV FT BRAGG NC
   RUJAAAA/CDR FORSCOM DCS G3 CURRENT OPS FT BRAGG NC
   RUIAAAA/CDR FORSCOM DCS G3 CURRENT OPS FT BRAGG NC
   RUJAAAA/CDR FORSCOM DCS G3 WATCH OFFICER FT BRAGG NC
   RUIAAAA/CDR FORSCOM DCS G3 WATCH OFFICER FT BRAGG NC
   RUJAAAA/CDR MDW J3 FT MCNAIR DC
   RUIAAAA/CDR MDW J3 FT MCNAIR DC
   RUJAAAA/CDR MDW JFHQ-NCR FT MCNAIR DC
   RUIAAAA/CDR MDW JFHQ-NCR FT MCNAIR DC
   RUJAAAA/CDR NETCOM 9THSC FT HUACHUCA AZ
   RUJAAAA/CDR TRADOC CG FT EUSTIS VA
   RUIAAAA/CDR TRADOC CG FT EUSTIS VA
   RUJAAAA/CDR TRADOC DCS G-3-5-7 OPNS CTR FT EUSTIS VA
   RUJAAAA/CDR USAR NORTH FT SAM HOUSTON TX
   RUJAAAA/CDR USARCENT SHAW AFB SC
   RUIAAAA/CDR USASOC COMMAND CENTER FT BRAGG NC
   RUIAAAA/CDR USASOC FT BRAGG NC
   RUIAAAA/CDR USASOC MESSAGE CENTER FT BRAGG NC
   RUIAAAA/CDR3RD ARMY USARCENT WATCH OFFICER SHAW AFB SC
   RUJAAAA/CDRAMC REDSTONE ARSENAL AL
   RUIAAAA/CDRAMC REDSTONE ARSENAL AL
   RUIAAAA/CDRFORSCOM FT BRAGG NC
   RUJAAAA/CDRHRC G3 DCSOPS FT KNOX KY
   RUIAAAA/CDRHRC G3 DCSOPS FT KNOX KY
   RUIAAAA/CDRINSCOM FT BELVOIR VA
   RUEPINM/CDRINSCOM FT BELVOIR VA
   RUIAAAA/CDRINSCOMIOC FT BELVOIR VA
   RUEPINF/CDRINSCOMIOC FT BELVOIR VA
   RUJAAAA/CDRMDW WASHINGTON DC
   RUIAAAA/CDRMDW WASHINGTON DC
   RUJAAAA/CDRUSACE WASHINGTON DC
   RUIAAAA/CDRUSACE WASHINGTON DC
   RUJAAAA/CDRUSACIDC FT BELVOIR VA
   RUIAAAA/CDRUSACIDC FT BELVOIR VA
   RUJAAAA/CDRUSACYBER FT BELVOIR VA
   RUJAAAA/CDRUSACYBER G3 FT BELVOIR VA
   RUIAAAA/CDRUSACYBER G33 FT BELVOIR VA
   RUIAAAA/CDRUSAEIGHT G3 CUROPS SEOUL KOR
   RUJAAAA/CDRUSAEIGHT SEOUL KOR
   RUIAAAA/CDRUSAMEDCOM FT SAM HOUSTON TX
   RUJAAAA/CDRUSARC G33 READ FT BRAGG NC
   RUIAAAA/CDRUSARC G33 READ FT BRAGG NC
   RUIAAAA/CDRUSARCYBER WATCH OFFICER FT BELVOIR VA
   RUIAAAA/CDRUSARPAC CG FT SHAFTER HI
   RUIAAAA/CDRUSARPAC FT SHAFTER HI
   RUJAAAA/COMDT USAWC CARLISLE BARRACKS PA
   RUIAAAA/COMDT USAWC CARLISLE BARRACKS PA
   RUJAAAA/HQ IMCOM FT SAM HOUSTON TX
   RUIAAAA/HQ IMCOM FT SAM HOUSTON TX
   RUIAAAA/HQ INSCOM IOC FT BELVOIR VA
   RUJAAAA/HQ SDDC CMD GROUP SCOTT AFB IL
   RUIAAAA/HQ SDDC CMD GROUP SCOTT AFB IL
   RUJAAAA/HQ SDDC OPS MSG CNTR SCOTT AFB IL
   RUIAAAA/HQ SDDC OPS MSG CNTR SCOTT AFB IL
   RUJAAAA/HQ USARSO FT SAM HOUSTON TX
   RUIAAAA/HQ USARSO FT SAM HOUSTON TX
   RUJAAAA/HQ USARSO G3 FT SAM HOUSTON TX
   RUIAAAA/HQ USARSO G3 FT SAM HOUSTON TX
   RUEADWD/HQDA ARMY STAFF WASHINGTON DC
   RUEADWD/HQDA CSA WASHINGTON DC
   RUEADWD/HQDA EXEC OFFICE WASHINGTON DC



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   RUEADWD/HQDA IMCOM OPS DIV WASHINGTON DC
   RUEADWD/HQDA SEC ARMY WASHINGTON DC
   RUEADWD/HQDA SECRETARIAT WASHINGTON DC
   RUEADWD/HQDA SURG GEN WASHINGTON DC
   RUJAAAA/MEDCOM HQ EOC FT SAM HOUSTON TX
   RUJAAAA/NETCOM G3 CURRENT OPS FT HUACHUCA AZ
   RUIAAAA/NETCOM G3 CURRENT OPS FT HUACHUCA AZ
   RUJAAAA/NGB WASHINGTON DC
   RUJAAAA/SMDC ARSTRAT CG ARLINGTON VA
   RUIAAAA/SMDC ARSTRAT CG ARLINGTON VA
   RUJAAAA/SMDC ARSTRAT G3 ARLINGTON VA
   RUJAAAA/SUPERINTENDENT USMA WEST POINT NY
   RUEAUSA/SURGEON GEN FALLS CHURCH VA
   RUJAAAA/USAR AROC FT BRAGG NC
   RUIAAAA/USAR AROC FT BRAGG NC
   RUJAAAA/USAR CMD GRP FT BRAGG NC
   RUIAAAA/USAR CMD GRP FT BRAGG NC
   RUJAAAA/USAR DCS G33 OPERATIONS FT BRAGG NC
   RUIAAAA/USAR DCS G33 OPERATIONS FT BRAGG NC
   RUIAAAA/USARCENT G3 FWD
   RUIAAAA/USARPAC COMMAND CENTER FT SHAFTER HI
   RUIAAAA/CDR USAREUR-AF WIESBADEN GE
   RUIPAAA/CDR SETAF-AF VICENZA IT
   INFO RUIAAAA/HQDA AOC DAMO ODO OPS AND CONT PLANS WASHINGTON DC
   RUIAAAA/HQDA AOC G3 DAMO CAT OPSWATCH WASHINGTON DC
   RUIAAAA/HQDA AOC G3 DAMO OD DIR OPS READ AND MOB WASHINGTON DC
   BT
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   SUBJ/FRAGO 7 TO HQDA EXORD 225-21 COVID-19 STEADY STATE OPERATIONS
   CUI//
   CONTROLLED BY: HQDA DCS, G-3/5/7
   CONTROLLED BY: DAMO-OD
   CUI CATEGORY: OPSEC
   LIMITED DISSEMINATION CONTROL: FEDCON
   POC: LTC NYKEBA L. ANTHONY 703-692-2804
   SUBJECT: (U) FRAGO 7 TO HQDA EXORD 225-21 COVID-19 STEADY STATE
   OPERATIONS//
   (U) REFERENCES.
   REF//A/ THROUGH REF/JJ/ NO CHANGE.
   REF//KK/ [ADD] FRAGO 6 TO HQDA EXORD 225-21 COVID-19 STEADY STATE
   OPERATIONS, DTG 071800Z OCT 21 //
   1. (U) SITUATION. NO CHANGE.
   2. (U) MISSION. NO CHANGE.
   3. (U) EXECUTION.

   3.A. (U) COMMANDER'S INTENT. NO CHANGE.
   3.B. (U) CONCEPT OF THE OPERATION.
   3.B.5. NO CHANGE.
   3.B.5.A. (U) [ADD] ARNG PERSONNEL WHO ARE SERVING AS DUAL-STATUS
   MILITARY TECHNICIANS (TITLE 32 USC ? 709) ARE SUBJECT TO THE MILITARY
   VACCINATION MANDATE AND ESTABLISHED ARNG VACCINATION GUIDANCE. STATE
   ADJUTANTS GENERAL MAY INSTITUTE MORE AGGRESSIVE VACCINATION TIMELINES
   FOR ARNG MEMBERS TO INCLUDE DUAL-STATUS MILITARY TECHNICIANS IN
   ACCORDANCE WITH 32 USC 709.



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   3.B.6. (U) [ADD] THE ASSISTANT SECRETARY OF THE ARMY FOR MANPOWER
   AND
   RESERVE AFFAIRS (ASA(M&RA)) WILL SERVE AS THE PROPONENT FOR ARMY
   POLICY FOR DEPARTMENT OF THE ARMY CIVILIAN PERSONNEL. THIS WILL
   INCLUDE GUIDANCE AND ACCOUNTABILITY FOR COVID-19 VACCINATION,
   COVID-19
   VACCINATION EXEMPTIONS, AND TESTING ONCE APPROVED BY THE SECRETARY OF
   THE ARMY (SECARMY).
   3.C. (U) TASKS TO ARMY STAFF AND SUBORDINATE COMMANDS.
   3.C.1. NO CHANGE.

   3.C.2. (U) THE DIRECTOR OF THE ARMY NATIONAL GUARD (DARNG).
   3.C.2.A. THROUGH 3.C.2.G. NO CHANGE.
   3.C.2.H. (U) [ADD] NLT 5 NOVEMBER 2021, COORDINATE WITH U.S. ARMY
   TRAINING AND DOCTRINE COMMAND (TRADOC), U.S. ARMY MEDICAL COMMAND
   (MEDCOM), THE OFFICE OF THE CHIEF OF ARMY RESERVE (OCAR)/UNITED
   STATES
   ARMY RESERVE COMMAND (USARC), HQDA DEPUTY CHIEF OF STAFF (DCS), G-1,
   HQDA DCS, HQDA G-3/5/7 DEPARTMENT OF ARMY MANAGEMENT OFFICE-TRAINING
   (DAMO-TR), AND OASA(M&RA) TO SUPPORT DEVELOPMENT OF A DECISION BRIEF
   TO THE SECARMY THAT ADDRESSES THE REQUIREMENT FOR SOLDIERS SCHEDULED
   FOR PROFESSIONAL MILITARY EDUCATION (PME), OFFICER CANDIDATE SCHOOL
   (OCS), OR FUNCTIONAL TRAINING IAW AR 350-1 AND 621-1 TO BE FULLY
   VACCINATED AGAINST COVID-19 PRIOR TO ARRIVAL AT TRAINING LOCATION(S).
   DIRLAUTH WITH TRADOC, MEDCOM, OCAR/USARC, HQDA DCS G-1, HQDA G-3/5/7
   DAMO-TR, AND OASA(M&RA) IS AUTHORIZED.
   3.C.3. (U) THE CHIEF OF ARMY RESERVE (OCAR)/COMMANDING GENERAL
   UNITED
   STATES ARMY RESERVE COMMAND (USARC).
   3.C.3.A. THROUGH 3.C.3.G. NO CHANGE.

   3.C.3.H. (U) [ADD] NLT 5 NOVEMBER 2021, COORDINATE WITH TRADOC,
   MEDCOM, U.S. ARMY NATIONAL GUARD (USARNG), HQDA DCS G-1, HQDA G-3/5/7
   DAMO-TR, AND OASA(M&RA) TO SUPPORT DEVELOPMENT OF A DECISION BRIEF TO
   THE SECARMY THAT ADDRESSES THE REQUIREMENT FOR SOLDIERS SCHEDULED FOR
   PME, OCS, OR FUNCTIONAL TRAINING IAW AR 350-1 AND 621-1 TO BE FULLY
   VACCINATED AGAINST COVID-19 PRIOR TO ARRIVAL AT TRAINING LOCATION(S).
   DIRLAUTH WITH TRADOC, MEDCOM, USARNG, HQDA DCS G-1, HQDA G-3/5/7
   DAMO-
   TR, AND OASA(M&RA) IS AUTHORIZED.
   3.C.4. NO CHANGE.

   3.C.5. (U) COMMANDER, U.S. ARMY TRAINING AND DOCTRINE COMMAND
   (TRADOC).
   3.C.5.A. NO CHANGE.
   3.C.5.B. (U) [ADD] NLT 5 NOVEMBER 2021, DEVELOP A DECISION BRIEF TO
   THE SECARMY IN COORDINATION WITH MEDCOM, OCAR/USARC, USARNG, HQDA DCS
   G-1, HQDA G-3/5/7 DAMO-TR, AND OASA(M&RA) THAT ADDRESSES THE
   REQUIREMENT FOR SOLDIERS SCHEDULED FOR PME, OCS, OR FUNCTIONAL
   TRAINING IAW AR 350-1 AND 621-1 TO BE FULLY VACCINATED AGAINST COVID-
   19 PRIOR TO ARRIVAL AT TRAINING LOCATION(S). DIRLAUTH WITH MEDCOM,
   OCAR/USARC, USARNG, HQDA DCS G-1, HQDA G-3/5/7 DAMO-TR, AND



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   OASA(M&RA)
   IS AUTHORIZED. PROVIDE BRIEF TO ASA(M&RA) FOR APPROVAL.
   3.C.6. THROUGH 3.C.15.
   3.C.16. (U) COMMANDER, U.S. ARMY MEDICAL COMMAND (MEDCOM).
   3.C.16.A. THROUGH 3.C.16.N.
   3.C.16.O. (U) [ADD] NLT 5 NOVEMBER 2021, COORDINATE WITH TRADOC,
   HQDA
   G-3/5/7 DAMO-TR, OCAR/USARC, USARNG, HQDA DCS G-1, AND OASA(M&RA) TO
   SUPPORT DEVELOPMENT OF A DECISION BRIEF TO THE SECARMY THAT ADDRESSES
   THE REQUIREMENT FOR SOLDIERS SCHEDULED FOR PME, OCS, OR FUNCTIONAL
   TRAINING IAW AR 350-1 AND 621-1 TO BE FULLY VACCINATED AGAINST COVID-
   19 PRIOR TO ARRIVAL AT TRAINING LOCATION(S). DIRLAUTH WITH TRADOC,
   OCAR/USARC, USARNG, HQDA DCS G-1, HQDA G-3/5/7 DAMO-TR, AND
   OASA(M&RA)
   IS AUTHORIZED.
   3.C.16.P. (U) [ADD] NLT 5 NOVEMBER 2021, COORDINATE WITH U.S. ARMY
   HUMAN RESOURCES COMMAND (HRC) AND OASA(M&RA) TO SUPPORT DEVELOPMENT
   OF
   A DECISION BRIEF TO SECARMY THAT ADDRESSES THE SECDEF COVID-19
   VACCINATION MANDATE IMPLEMENTATION FOR INDIVIDUAL READY RESERVE (IRR)
   SOLDIERS. DIRLAUTH WITH HRC AND OASA(M&RA) IS AUTHORIZED.
   3.C.16.Q. (U) [ADD] NLT 5 NOVEMBER 2021, COORDINATE WITH PROVOST
   MARSHAL GENERAL (DAPM), OFFICE OF THE JUDGE ADVOCATE GENERAL (OTJAG),
   AND OASA(M&RA) TO SUPPORT DEVELOPMENT OF A DECISION BRIEF TO THE
   SECARMY THAT ADDRESSES THE SECDEF COVID-19 VACCINATION MANDATE
   IMPLEMENTATION FOR PRISONERS. DIRLAUTH WITH DAPM, OTJAG, AND
   OASA(M&RA) IS AUTHORIZED.
   3.C.17. THROUGH 3.C.20. NO CHANGE.
   3.C.21. (U) COMMANDER, U.S. ARMY HUMAN RESOURCES COMMAND (HRC).

   3.C.21.A. (U)   [ADD] NLT 5 NOVEMBER 2021, COORDINATE WITH MEDCOM AND
   OASA(M&RA) TO   SUPPORT DEVELOPMENT OF A DECISION BRIEF TO SECARMY THAT
   ADDRESSES THE   SECDEF COVID-19 VACCINATION MANDATE IMPLEMENTATION FOR
   IRR SOLDIERS.   DIRLAUTH WITH MEDCOM AND OASA(M&RA) IS AUTHORIZED.

   3.C.22. THROUGH 3.C.29. NO CHANGE.
   3.C.30. (U) DEPUTY CHIEFS OF STAFF, HEADQUARTERS DEPARTMENT OF THE
   ARMY (HQDA DCS).
   3.C.30.A. (U) HQDA, DEPUTY CHIEF OF STAFF G-1.

   3.C.30.A.1. THROUGH 3.C.30.A.3. NO CHANGE.
   3.C.30.A.4. (U) [ADD] NLT 5 NOVEMBER 2021, COORDINATE WITH TRADOC,
   MEDCOM, HQDA G-3/5/7 DAMO-TR, OCAR/USARC, USARNG, AND OASA(M&RA) TO
   SUPPORT DEVELOPMENT OF A DECISION BRIEF TO THE SECARMY THAT ADDRESSES
   THE REQUIREMENT FOR SOLDIERS SCHEDULED FOR PME, OCS, OR FUNCTIONAL
   TRAINING IAW AR 350-1 AND 621-1 TO BE FULLY VACCINATED AGAINST COVID-
   19 PRIOR TO ARRIVAL AT TRAINING LOCATION(S). DIRLAUTH WITH TRADOC,
   MEDCOM, OCAR/USARC, HQDA DCS G-3/5/7 DAMO-TR, USARNG, AND OASA(M&RA)
   IS AUTHORIZED.
   3.C.30.B. NO CHANGE.



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   3.C.31. (U) DIRECTOR OF THE ARMY STAFF(DAS).
   3.C.31.A. (U) MOVED TO 3.C.32.
   3.C.31.B. (U) PROVOST MARSHAL GENERAL (DAPM).
   3.C.31.B.1. (U) [ADD] NLT 5 NOVEMBER 2021, DEVELOP A DECISION BRIEF
   TO THE SECARMY IN COORDINATION WITH MEDCOM, OTJAG, AND OASA(M&RA)
   THAT
   ADDRESSES THE SECDEF COVID-19 VACCINATION MANDATE IMPLEMENTATION FOR
   PRISONERS. DIRLAUTH WITH MEDCOM, OTJAG, AND OASA(M&RA) IS AUTHORIZED.
   PROVIDE BRIEF TO ASA(M&RA) FOR APPROVAL.

   3.C.31.C. (U) THE JUDGE ADVOCATE GENERAL (OTJAG).
   3.C.31.C.1. (U) [ADD] NLT 5 NOVEMBER 2021, COORDINATE WITH DAPM,
   MEDCOM, AND OASA(M&RA) TO SUPPORT DEVELOPMENT OF A DECISION BRIEF TO
   THE SECARMY THAT ADDRESSES THE SECDEF COVID-19 VACCINATION MANDATE
   IMPLEMENTATION FOR PRISONERS. DIRLAUTH WITH DAPM, MEDCOM, AND
   OASA(M&RA) IS AUTHORIZED.
   3.C.32. (U) ASSISTANT SECRETARY OF THE ARMY FOR MANPOWER AND RESERVE
   AFFAIRS (ASA(M&RA)).
   3.C.32.A.1. THROUGH 3.C.32.A.2. NO CHANGE.
   3.C.32.A.3. (U) [ADD] NLT 5 NOVEMBER 2021, DEVELOP A DECISION BRIEF
   TO THE SECARMY IN COORDINATION WITH MEDCOM AND HRC THAT ADDRESSES THE
   SECDEF COVID-19 VACCINATION MANDATE IMPLEMENTATION FOR IRR SOLDIERS.
   DIRLAUTH WITH MEDCOM AND HRC IS AUTHORIZED.
   3.C.32.A.4. (U) [ADD] NLT 5 NOVEMBER 2021, COORDINATE WITH TRADOC,
   DAPM, MEDCOM, OCAR/USARC, USARNG, OTJAG, AND HQDA DCS G-1 TO SUPPORT
   DEVELOPMENT OF A DECISION BRIEFS TO THE SECARMY THAT ADDRESSES THE
   FOLLOWING: 1) THE REQUIREMENT FOR SOLDIERS SCHEDULED FOR PME, OCS, OR
   FUNCTIONAL TRAINING IAW AR 350-1 AND 621-1 TO BE FULLY VACCINATED
   AGAINST COVID-19 PRIOR TO ARRIVAL AT TRAINING LOCATION(S) AND 2) THE
   SECDEF COVID-19 VACCINATION MANDATE IMPLEMENTATION FOR PRISONERS.
   DIRLAUTH WITH TRADOC, DAPM, MEDCOM, OCAR/USARC, USARNG, OTJAG, AND
   HQDA DCS G-1 IS AUTHORIZED.
   3.C.32.A.5. (U) [ADD] NLT 8 NOVEMBER 2021, SERVE AS FINAL APPROVAL
   AUTHORITY FOR DECISION BRIEFS TO THE SECARMY ON: 1) THE REQUIREMENT
   FOR SOLDIERS SCHEDULED FOR PME, OCS, OR FUNCTIONAL TRAINING IAW AR
   350-1 AND 621-1 TO BE FULLY VACCINATED AGAINST COVID-19 PRIOR TO
   ARRIVAL AT TRAINING LOCATION(S); 2) THE SECDEF COVID-19 VACCINATION
   MANDATE IMPLEMENTATION FOR IRR SOLDIERS; AND 3) THE SECDEF COVID-19
   VACCINATION MANDATE IMPLEMENTATION FOR PRISONERS.

   3.C.32.A.6. (U) [ADD] SERVE AS THE PROPONENT FOR ARMY POLICY FOR
   DEPARTMENT OF THE ARMY CIVILIAN PERSONNEL. THIS WILL INCLUDE GUIDANCE
   AND ACCOUNTABILITY FOR COVID-19 VACCINATION, COVID-19 VACCINATION
   EXEMPTIONS, AND TESTING ONCE APPROVED BY THE SECARMY.
   3.D. (U) COORDINATING INSTRUCTIONS.
   3.D.1. THROUGH 3.D.7. NO CHANGE.

   3.D.8.A. NO CHANGE.
   3.D.8.B. NO CHANGE.



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   3.D.8.B.1. NO CHANGE.
   3.D.8.B.1.A. THROUGH 3.D.8.B.1.G. NO CHANGE.
   3.D.8.B.1.H. (U) [ADD] COMMANDERS WILL ENSURE THEIR SERVICING STAFF
   JUDGE ADVOCATE IS INITIATING AND RECORDING ALL COVID VACCINE REFUSAL
   REPRIMANDS IN MILITARY JUSTICE ONLINE (MJO), INCLUDING THE BASIC DATA
   FOR SOLDIERS AND THE ADMINISTRATIVE PROCESSING TIMELINE, IN ORDER TO
   IDENTIFY TRENDS, TRACK MISCONDUCT, AND INFORM ARMY SENIOR LEADERS AS
   NECESSARY.
   3.D.8.B.2. THROUGH 3.D.8.B.9. NO CHANGE.

   3.D.8.C. THROUGH 3.D.8.P. NO CHANGE.
   3.D.9. THROUGH 3.D.15. NO CHANGE.
   4. (U) SUSTAINMENT. NOT USED.
   5. (U) COMMAND AND SIGNAL.
   5.A. (U) COMMAND. NOT USED.

   5.B. (U) SIGNAL.
   5.B.1. (U) HEADQUARTERS DEPARTMENT OF THE ARMY COVID-19 POINTS OF
   CONTACT (POC). HQDA COVID-19 OPT AT USARMY.PENTAGON.HQDA-DCS-G-3-5-
   7.MBX.COVID-OPT@ARMY.MIL;

   5.B.1.A. (U) G-1 POC IS COL MICHAEL A. ZWEIFEL,
   MICHAEL.A.ZWEIFEL.MIL@ARMY.MIL, (703) 697-8469.
   5.B.1.B. (U) G-2 POC IS LTC LEON SATCHELL,
   LEON.R.SATCHELL.MIL@ARMY.MIL, (703)697-5484.
   5.B.1.C. (U) G-4 POC IS G4 ALOC
   USARMY.PENTAGON.HQDA.MBX.AALOCATC@ARMY.MIL, (703) 614-2149.
   5.B.1.D. (U) LABORATORY RESPONSE NETWORK POC IS DR. WILLIAM
   NAUSCHUETZ, LABORATORY BIOPREPAREDNESS COORDINATOR,
   WILLIAM.F.NAUSCHUETZ.CIV@MAIL.MIL, (210) 295-7269 OR (210) 386-1480.

   5.B.1.E. (U) USAMEDCOM PUBLIC HEALTH POC IS COL RICK CHAVEZ,
   RODRIGO.CHAVEZ5.MIL@MAIL.MIL, (703) 681-9510 OR COL MICHELE A.
   SOLTIS,
   MICHELE.A.SOLTIS.MIL@MAIL.MIL, (703) 681- 6043.
   5.B.1.F. (U) ARMY PUBLIC HEALTH CENTER POC IS DR. STEVEN CERSOVSKY,
   STEVEN.B.CERSOVSKY.CIV@MAIL.MIL, (410) 436-4311.
   5.B.1.G. (U) ARMY PUBLIC AFFAIRS POC IS LTC TERENCE KELLEY,
   TERENCE.M.KELLEY.MIL@ARMY.MIL.
   5.B.1.H. (U) OFFICE OF THE JUDGE ADVOCATE GENERAL POC LTC JAMES
   MCINERNEY, JAMES.A.MCINERNEY.MIL@ARMY.MIL, (703) 614-4630,
   5.B.1.I. (U) ARMY NATIONAL GUARD POC IS MAJ TIMOTHY MCCORMIC,
   TIMOTHY.A.MCCORMIC.MIL@MAIL.MIL, (703) 601-7620.
   5.B.1.J. (U) UNITED STATES ARMY RESERVES POC IS LTC RAYMOND D.
   HARPER, RAYMOND.D.HARPER4.MIL@MAIL.MIL, 703.614-5271.



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   5.B.1.K. (U) OFFICE OF THE SURGEON GENERAL POC IS COL DUBRAY KINNEY,
   DUBRAY.KINNEY2.MIL@MAIL.MIL, (703) 681-9672.
   5.B.1.L. (U) ASSISTANT SECRETARY OF THE ARMY (FINANCIAL MANAGEMENT
   AND COMPTROLLER) POC IS COL PERNELL A. ROBINSON,
   PERNELL.A.ROBINSON.MIL@ARMY.MIL, (703) 614-1618.
   5.B.1.M. (U) HEADQUARTERS DEPARTMENT OF THE ARMY WATCH: NIPR EMAIL
   USARMY.PENTAGON.HQDA.MBX.ARMYWATCH@ARMY.MIL, SIPR EMAIL
   USARMY.PENTAGON.HQDA.MBX.ARMYWATCH@MAIL.SMIL.MIL.
   5.B.1.N. (U) HEADQUARTERS DEPARTMENT OF THE ARMY COVID-19 CRISIS
   ACTION TEAM INFO:
   NIPR PORTAL:
   HTTPS://G357.ARMY.PENTAGON.MIL/OD/ODO/ARMYOPCENTER/CAWG/CAT/SITEPAGES
   C
   ORONAVIRUS%20(COVID-19).ASPX
   SIPR PORTAL:
   HTTPS://G357.ARMY.PENTAGON.SMIL.MIL/OD/ODO/ARMYOPCENTER/CRISISACTIONP
   A
   GE/SITEPAGES/HOME.ASPX
   DOMS NIPR OMB:
   USARMY.PENTAGON.HQDA-DCS-G-3-5-7.MBX.DOMS-OPERATIONS@ARMY.MIL
   DOMS SIPR OMB:
   USARMY.PENTAGON.HQDA-DCS-G-3-5-7.MBX.AOC-DOMS-TEAM@MAIL.SMIL.MIL

   6. (U) THE EXPIRATION DATE OF THIS MESSAGE IS 31 DECEMBER 2026,
   UNLESS FORMALLY RESCINDED OR SUPERSEDED.

   ATTACHMENT:
   ANNEX A - ARMY INSTALLATION GATING CRITERIA REPORT.
   ANNEX B - SECRETARY OF DEFENSE MEMORANDUM, "UPDATE TO
   CONDITIONS-BASED
   APPROACH TO CORONAVIRUS DISEASE 2019 PERSONNEL MOVEMENT AND TRAVEL
   RESTRICTIONS," 15 MARCH 2021.
   ANNEX C - COVID-19 PERSONAL PROTECTIVE EQUIPMENT, LOGSTAT REPORT.
   ANNEX D - HQDA COVID-19 POSITIVE CASE AND ROM TRACKER.
   ANNEX E - SECRETARY OF THE ARMY MEMORANDUM, "DELEGATION OF AUTHORITY
   TO APPROVE TRAVEL OF ARMY PERSONNEL-TRANSITION FRAMEWORK," 20 APRIL
   2021.
   ANNEX F - SECRETARY OF DEFENSE MEMORANDUM, "GUIDANCE FOR COMMANDERS'
   RISK-BASED RESPONSES AND IMPLEMENTATION OF THE HEALTH PROTECTION
   CONDITION (HPCON) FRAMEWORK DURING THE CORONAVIRUS DISEASE 2019
   PANDEMIC," 29 APRIL 2021.
   ANNEX G - FORCE HEALTH PROTECTION SUPPLEMENT 20, DEPARTMENT OF
   DEFENSE
   GUIDANCE FOR PERSONNEL TRAVELING DURING THE CORONAVIRUS DISEASE 2019
   PANDEMIC, 12 APRIL 2021.
   ANNEX H - FORCE HEALTH PROTECTION SUPPLEMENT 16.1, DEPARTMENT OF
   DEFENSE GUIDANCE DEPLOYMENT AND REDEPLOYMENT OF INDIVIDUALS AND
   UNITS,
   04 MAY 2021.
   ANNEX I - FORCE HEALTH PROTECTION SUPPLEMENT 15.2, DEPARTMENT OF
   DEFENSE GUIDANCE FOR CORONAVIRUS DISEASE 2019 LABORATORY TESTING
   SERVICES, 02 JULY 2021.
   ANNEX J - PUBLIC AFFAIRS GUIDANCE TO BE PUBLISHED.



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   (CUI) FRAGO 9 TO HQDA EXORD 225-21 (PART 1 OF 2) COVID-19
   STEADY
     Originator:DA WASHINGTON DC
           TOR: 11/11/2021 02:26:22
           DTG: 110221Z Nov 21
           Prec:Priority
           DAC: General
                ARLINGTON NATIONAL CEMETERY ARLINGTON VA, ARNG NGB COMOPS ARLINGTON VA, ARNG NGB J3 JOC WASHINGTON DC,
                ARNGRC ARLINGTON VA, ARNGRC WATCH ARLINGTON VA, CDR 5 ARMY NORTH AOC FT SAM HOUSTON TX, CDR ARMY FUTURES
                COMMAND AUSTIN TX, CDR ATEC ABERDEEN PROVING GROUND MD, CDR FORSCOM DCS G3 CENTRAL TASKING DIV FT BRAGG NC,
                CDR FORSCOM DCS G3 CURRENT OPS FT BRAGG NC, CDR FORSCOM DCS G3 CURRENT OPS FT BRAGG NC, CDR FORSCOM DCS G3
                WATCH OFFICER FT BRAGG NC, CDR FORSCOM DCS G3 WATCH OFFICER FT BRAGG NC, CDR MDW J3 FT MCNAIR DC, CDR MDW
                JFHQ-NCR FT MCNAIR DC, CDR NETCOM 9THSC FT HUACHUCA AZ, CDR TRADOC CG FT EUSTIS VA, CDR TRADOC DCS G-3-5-7 OPNS
                CTR FT EUSTIS VA, CDR USAR NORTH FT SAM HOUSTON TX, CDR USARCENT SHAW AFB SC, CDR USASOC COMMAND CENTER FT
                BRAGG NC, CDR USASOC FT BRAGG NC, CDR USASOC MESSAGE CENTER FT BRAGG NC, CDR3RD ARMY USARCENT WATCH OFFICER
                SHAW AFB SC, CDRAMC REDSTONE ARSENAL AL, CDRFORSCOM FT BRAGG NC, CDRHRC G3 DCSOPS FT KNOX KY, CDRINSCOM FT
                BELVOIR VA, CDRINSCOMIOC FT BELVOIR VA, CDRMDW WASHINGTON DC, CDRUSACE WASHINGTON DC, CDRUSACIDC FT BELVOIR
            To: VA, CDRUSACYBER FT BELVOIR VA, CDRUSACYBER G3 FT BELVOIR VA, CDRUSACYBER G33 FT BELVOIR VA, CDRUSAEIGHT G3 CUROPS
                SEOUL KOR, CDRUSAEIGHT SEOUL KOR, CDRUSAMEDCOM FT SAM HOUSTON TX, CDRUSARC G33 READ FT BRAGG NC,
                CDRUSARCYBER WATCH OFFICER FT BELVOIR VA, CDRUSARPAC CG FT SHAFTER HI, CDRUSARPAC FT SHAFTER HI, COMDT USAWC
                CARLISLE BARRACKS PA, HQ IMCOM FT SAM HOUSTON TX, HQ INSCOM IOC FT BELVOIR VA, HQ SDDC CMD GROUP SCOTT AFB IL,
                HQ SDDC OPS MSG CNTR SCOTT AFB IL, HQ USARSO FT SAM HOUSTON TX, HQ USARSO G3 FT SAM HOUSTON TX, HQDA ARMY
                STAFF WASHINGTON DC, HQDA CSA WASHINGTON DC, HQDA EXEC OFFICE WASHINGTON DC, HQDA IMCOM OPS DIV
                WASHINGTON DC, HQDA SEC ARMY WASHINGTON DC, HQDA SECRETARIAT WASHINGTON DC, HQDA SURG GEN WASHINGTON DC,
                MEDCOM HQ EOC FT SAM HOUSTON TX, NETCOM G3 CURRENT OPS FT HUACHUCA AZ, NGB WASHINGTON DC, SMDC ARSTRAT CG
                ARLINGTON VA, SMDC ARSTRAT G3 ARLINGTON VA, SUPERINTENDENT USMA WEST POINT NY, SURGEON GEN FALLS CHURCH VA,
                USAR AROC FT BRAGG NC, USAR CMD GRP FT BRAGG NC, USAR DCS G33 OPERATIONS FT BRAGG NC, USARCENT G3 FWD, USARPAC
                COMMAND CENTER FT SHAFTER HI, CDR USAREUR-AF WIESBADEN GE, CDR SETAF-AF VICENZA IT
           CC: HQDA AOC DAMO ODO OPS AND CONT PLANS WASHINGTON DC, HQDA AOC G3 DAMO CAT OPSWATCH WASHINGTON DC, HQDA
                AOC G3 DAMO OD DIR OPS READ AND MOB WASHINGTON DC
                (U) ANNEX III UPDATED GUIDANCE ON CO ADMINISTRATION OF CORONAVIRUS DISEASE 2019 VACCINE WITH OTHER VACCINES 7
                OCTOBER 2021.pdf, (U) ANNEX JJJ CORONAVIRUS DISEASE 2019 VACCINATION FOR PREGNANT AND BREASTFEEDING SERVICE
   Attachments: MEMBERS 5 OCTOBER 2021.pdf, (U) ANNEX KKK DELEGATION OF AUTHORITY ADDITIONAL COVID 19 GUIDANCE RELATED TO
                TRAVEL AND MEETINGS 12 OCTOBER 2021.pdf, (U) ANNEX LLL MMQC 21 1613 MODERNA SHELF LIFE EXTENSION 28 OCTOBER
                2021.pdf, (U) ANNEX MMM DCPAS MESSAGE COVERAGE FOR INJURIES FROM COVID 19 VACCINATIONS 14 OCTOBER 2021.pdf, (U)
                ANNEX NN SAMPLE DA FORM 4856 FOR ENLISTED VACCINE REFUSALS.pdf

   PAAUZATZ RUEADWD3826 3150225-UUUU--RUIAAAA RUEADWD.
   ZNR UUUUU
   P 110221Z NOV 21
   FM DA WASHINGTON DC
   TO RUIAAAA/ARLINGTON NATIONAL CEMETERY ARLINGTON VA
   RUIAAAA/ARNG NGB COMOPS ARLINGTON VA
   RUIAAAA/ARNG NGB J3 JOC WASHINGTON DC
   RUIAAAA/ARNGRC ARLINGTON VA
   RUIAAAA/ARNGRC WATCH ARLINGTON VA
   RUIAAAA/CDR 5 ARMY NORTH AOC FT SAM HOUSTON TX
   RUIAAAA/CDR ARMY FUTURES COMMAND AUSTIN TX
   RUIAAAA/CDR ATEC ABERDEEN PROVING GROUND MD
   RUJAAAA/CDR FORSCOM DCS G3 CENTRAL TASKING DIV FT BRAGG NC
   RUJAAAA/CDR FORSCOM DCS G3 CURRENT OPS FT BRAGG NC
   RUIAAAA/CDR FORSCOM DCS G3 CURRENT OPS FT BRAGG NC
   RUJAAAA/CDR FORSCOM DCS G3 WATCH OFFICER FT BRAGG NC
   RUIAAAA/CDR FORSCOM DCS G3 WATCH OFFICER FT BRAGG NC
   RUIAAAA/CDR MDW J3 FT MCNAIR DC



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   RUIAAAA/CDR MDW JFHQ-NCR FT MCNAIR DC
   RUIAAAA/CDR NETCOM 9THSC FT HUACHUCA AZ
   RUIAAAA/CDR TRADOC CG FT EUSTIS VA
   RUIAAAA/CDR TRADOC DCS G-3-5-7 OPNS CTR FT EUSTIS VA
   RUIAAAA/CDR USAR NORTH FT SAM HOUSTON TX
   RUIAAAA/CDR USARCENT SHAW AFB SC
   RUIAAAA/CDR USASOC COMMAND CENTER FT BRAGG NC
   RUIAAAA/CDR USASOC FT BRAGG NC
   RUIAAAA/CDR USASOC MESSAGE CENTER FT BRAGG NC
   RUIAAAA/CDR3RD ARMY USARCENT WATCH OFFICER SHAW AFB SC
   RUIAAAA/CDRAMC REDSTONE ARSENAL AL
   RUIAAAA/CDRFORSCOM FT BRAGG NC
   RUIAAAA/CDRHRC G3 DCSOPS FT KNOX KY
   RUIAAAA/CDRINSCOM FT BELVOIR VA
   RUIAAAA/CDRINSCOMIOC FT BELVOIR VA
   RUIAAAA/CDRMDW WASHINGTON DC
   RUIAAAA/CDRUSACE WASHINGTON DC
   RUIAAAA/CDRUSACIDC FT BELVOIR VA
   RUIAAAA/CDRUSACYBER FT BELVOIR VA
   RUIAAAA/CDRUSACYBER G3 FT BELVOIR VA
   RUIAAAA/CDRUSACYBER G33 FT BELVOIR VA
   RUIAAAA/CDRUSAEIGHT G3 CUROPS SEOUL KOR
   RUIAAAA/CDRUSAEIGHT SEOUL KOR
   RUIAAAA/CDRUSAMEDCOM FT SAM HOUSTON TX
   RUIAAAA/CDRUSARC G33 READ FT BRAGG NC
   RUIAAAA/CDRUSARCYBER WATCH OFFICER FT BELVOIR VA
   RUIAAAA/CDRUSARPAC CG FT SHAFTER HI
   RUIAAAA/CDRUSARPAC FT SHAFTER HI
   RUIAAAA/COMDT USAWC CARLISLE BARRACKS PA
   RUIAAAA/HQ IMCOM FT SAM HOUSTON TX
   RUIAAAA/HQ INSCOM IOC FT BELVOIR VA
   RUIAAAA/HQ SDDC CMD GROUP SCOTT AFB IL
   RUIAAAA/HQ SDDC OPS MSG CNTR SCOTT AFB IL
   RUIAAAA/HQ USARSO FT SAM HOUSTON TX
   RUIAAAA/HQ USARSO G3 FT SAM HOUSTON TX
   RUEADWD/HQDA ARMY STAFF WASHINGTON DC
   RUEADWD/HQDA CSA WASHINGTON DC
   RUEADWD/HQDA EXEC OFFICE WASHINGTON DC
   RUEADWD/HQDA IMCOM OPS DIV WASHINGTON DC
   RUEADWD/HQDA SEC ARMY WASHINGTON DC
   RUEADWD/HQDA SECRETARIAT WASHINGTON DC
   RUEADWD/HQDA SURG GEN WASHINGTON DC
   RUIAAAA/MEDCOM HQ EOC FT SAM HOUSTON TX
   RUIAAAA/NETCOM G3 CURRENT OPS FT HUACHUCA AZ
   RUIAAAA/NGB WASHINGTON DC
   RUIAAAA/SMDC ARSTRAT CG ARLINGTON VA
   RUIAAAA/SMDC ARSTRAT G3 ARLINGTON VA
   RUIAAAA/SUPERINTENDENT USMA WEST POINT NY
   RUIAAAA/SURGEON GEN FALLS CHURCH VA
   RUIAAAA/USAR AROC FT BRAGG NC
   RUIAAAA/USAR CMD GRP FT BRAGG NC
   RUIAAAA/USAR DCS G33 OPERATIONS FT BRAGG NC
   RUIAAAA/USARCENT G3 FWD
   RUIAAAA/USARPAC COMMAND CENTER FT SHAFTER HI
   RUIAAAA/CDR USAREUR-AF WIESBADEN GE
   RUIPAAA/CDR SETAF-AF VICENZA IT
   INFO RUIAAAA/HQDA AOC DAMO ODO OPS AND CONT PLANS WASHINGTON DC
   RUIAAAA/HQDA AOC G3 DAMO CAT OPSWATCH WASHINGTON DC
   RUIAAAA/HQDA AOC G3 DAMO OD DIR OPS READ AND MOB WASHINGTON DC
   BT
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   SUBJ/(CUI) FRAGO 9 TO HQDA EXORD 225-21 (PART 1 OF 2) COVID-19 STEADY



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   STATE OPERATIONS
   CUI//
   CONTROLLED BY: HQDA DCS, G-3/5/7
   CONTROLLED BY: DAMO-OD
   CUI CATEGORY: OPSEC
   LIMITED DISSEMINATION CONTROL: FEDCON
   POC: LTC NYKEBA L. ANTHONY 703-692-2804
   SUBJECT: (CUI) FRAGO 9 TO HQDA EXORD 225-21 COVID-19 STEADY STATE
   OPERATIONS//
   (U) REFERENCES.
   REF//A/ THROUGH REF/W/ NO CHANGE.
   REF//X/ (U) [RESTATED] HQDA EXORD 222-17 HQDA SENIOR LEADER
   COMMANDER'S CRITICAL INFORMATION REQUIREMENTS (CCIR) AND ALL FRAGOS
   //
   REF//Y/ THROUGH REF/LL/ NO CHANGE.
   REF//MM/ [ADD] FRAGO 8 TO HQDA EXORD 225-21 COVID-19 STEADY STATE
   OPERATIONS, DTG 012359Z NOV 21 //
   REF//NN/ [ADD] OFFICE OF THE UNDER SECRETARY OF DEFENSE FOR
   ACQUISITION AND SUSTAINMENT MEMORANDUM, "CLASS DEVIATION
   2021-O0009-ENSURING ADEQUATE COVID-19 SAFETY PROTOCOLS FOR FEDERAL
   CONTRACTORS," 1 OCTOBER 2021 //
   REF//OO/ [ADD] OFFICE OF THE UNDER SECRETARY OF DEFENSE FOR
   ACQUISITION AND SUSTAINMENT MEMORANDUM, "GUIDANCE FOR REPORTING THE
   USE OF CLAUSE 252.223-7999, "ENSURING ADEQUATE COVID-19 SAFETY
   PROTOCOLS FOR FEDERAL CONTRACTORS" (CLASS DEVIATION 2021-O0009) AND
   OTHER TRANSACTIONS CLAUSE "ENSURING ADEQUATE COVID-19 SAFETY
   PROTOCOLS FOR FEDERAL CONTRACTORS" TO FEDERAL PROCUREMENT DATA
   SYSTEM," 20 OCTOBER 2021 //
   REF//PP/ [ADD] THE PER DIEM, TRAVEL, AND TRANSPORTATION ALLOWANCE
   COMMITTEE, "THE JOINT TRAVEL REGULATIONS (JTR)," 1 OCTOBER 2021 //
   1. (U) SITUATION.
   1.A. NO CHANGE.

   1.B. (U) [CHANGE TO READ] COVID-19 VACCINES AUTHORIZED OR APPROVED BY
   THE U.S. FOOD AND DRUG ADMINISTRATION (FDA) ARE THE MOST EFFECTIVE
   MEDICAL COUNTERMEASURES CURRENTLY AVAILABLE TO COMBAT COVID-19. THE
   ARMY CONTINUES TO ENSURE VACCINE AVAILABILITY TO EVERY DOD
   BENEFICIARY AND CIVILIAN EMPLOYEE SUPPORTED BY THE ARMY HEALTH
   SYSTEM. COMMANDERS AT EVERY ECHELON ARE EXPECTED TO UNDERSTAND THEIR
   FORCE HEALTH PROTECTION STATUS, SUPPORT MANDATORY VACCINATION, AND
   ENCOURAGE COMMUNITY VACCINATION EFFORTS TO OPTIMIZE UNIT
   HEALTH-READINESS.
   1.C. THROUGH 1.J. NO CHANGE.
   2. (U) MISSION. NO CHANGE.
   3. (U) EXECUTION.
   3.A. (U) NO CHANGE.
   3.B. (U) CONCEPT OF THE OPERATION.

   3.B.1. THROUGH 3.B.3. NO CHANGE.
   3.B.4. NO CHANGE.
   3.B.4.A. THROUGH 3.B.4.B. NO CHANGE.



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   3.B.4.C. (U) [CHANGE TO READ] SUPERVISORS AND CIVILIAN EMPLOYEES
   WILL READ AND COMPLY WITH ANNEX NNN, ASSISTANT SECRETARY OF THE ARMY
   FOR MANPOWER AND RESERVE AFFAIRS (ASA(M&RA)) MEMORANDUM IMPLEMENTING
   FORCE HEALTH PROTECTION GUIDANCE (SUPPLEMENT 23) - REVISION 2 -
   DEPARTMENT OF DEFENSE GUIDANCE FOR CORONAVIRUS DISEASE 2019
   VACCINATION ATTESTATION, SCREENING TESTING AND VACCINATION
   VERIFICATION.
   3.B.4.C.1 THROUGH 3.B.4.C.12. [RESCIND]
   3.B.5. (U) [CHANGE TO READ] SERVICE MEMBERS WHO ARE NOT ON ACTIVE
   DUTY AND WHO ARE ALSO DOD CIVILIAN EMPLOYEES OR DOD CONTRACTORS MUST
   FOLLOW THE APPLICABLE REQUIREMENTS IN ANNEX GGG AND ARE SUBJECT TO
   DOD CIVILIAN OR DOD CONTRACTOR REQUIREMENTS, RESPECTIVELY.
   3.B.5.A. NO CHANGE.
   3.B.6. (U) [RESTATED] THE ASSISTANT SECRETARY OF THE ARMY FOR
   MANPOWER AND RESERVE AFFAIRS (ASA(M&RA)) WILL SERVE AS THE PROPONENT
   FOR ARMY POLICY FOR DEPARTMENT OF THE ARMY CIVILIAN PERSONNEL. THIS
   WILL INCLUDE GUIDANCE AND ACCOUNTABILITY FOR COVID-19 VACCINATION,
   COVID-19 VACCINATION EXEMPTIONS, AND TESTING ONCE APPROVED BY THE
   SECARMY.
   3.C. (U) TASKS TO ARMY STAFF AND SUBORDINATE COMMANDS.
   3.C.1. NO CHANGE.
   3.C.2. (U) THE DIRECTOR OF THE ARMY NATIONAL GUARD (DARNG).

   3.C.2.A. THROUGH 3.C.2.E. NO CHANGE.
   3.C.2.F. (U) [CHANGE TO READ] ALL ACTIVATED U.S. ARMY NATIONAL GUARD
   (USARNG) SOLDIERS AFTER 15 DECEMBER 2021 WILL BE FULLY VACCINATED
   PRIOR TO DEPARTING HOME STATION OR HOME OF RECORD IN ORDER TO ENSURE
   MISSION READINESS. VACCINATION WILL BE COMPLETE PRIOR TO ARRIVAL AT
   THE MOBILIZATION-FORCE GENERATION INSTALLATIONS (MFGIS). THESE
   REQUIREMENTS APPLY TO ALL TITLE 10 ACTIVATION / MOBILIZATION
   PROCESSES WHETHER OCONUS OR CONUS AND WORLDWIDE INDIVIDUAL
   AUGMENTATION SYSTEM (WIAS) MOBILIZATIONS.
   3.C.2.G. THROUGH 3.C.2.H. NO CHANGE.
   3.C.3. (U) THE CHIEF OF ARMY RESERVE (OCAR)/COMMANDING GENERAL
   UNITED STATES ARMY RESERVE COMMAND (USARC).
   3.C.3.A. THROUGH 3.C.3.C NO CHANGE.
   3.C.3.D. (U) [CHANGE TO READ] ALL ACTIVATED U.S. ARMY RESERVE (USAR)
   SOLDIERS AFTER 15 DECEMBER 2021 WILL BE FULLY VACCINATED PRIOR TO
   DEPARTING HOME STATION OR HOME OF RECORD IN ORDER TO ENSURE MISSION
   READINESS. VACCINATION WILL BE COMPLETE PRIOR TO ARRIVAL AT THE
   MFGIS. THESE REQUIREMENTS APPLY TO ALL TITLE 10 ACTIVATION /
   MOBILIZATION PROCESSES WHETHER OCONUS OR CONUS AND WIAS
   MOBILIZATIONS.
   3.C.3.E. THROUGH 3.C.3.H. NO CHANGE.

   3.C.4. THROUGH 3.C.15. NO CHANGE.
   3.C.16. (U) COMMANDER, U.S. ARMY MEDICAL COMMAND (MEDCOM).



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   3.C.16.A. THROUGH 3.C.16.O.
   3.C.16.P. (U) [RESCIND]
   3.C.16.Q. (U) [RESCIND]
   3.C.16.R. (U) [ADD] NLT 17 NOVEMBER 2021, SUPPORT ASA(M&RA) TO
   DEVELOP AN INTEGRATED PLAN THAT ADDRESSES COVID-19 TESTING. THE PLAN
   SHOULD ADDRESS FUNDING RESPONSIBILITIES, PROCUREMENT MECHANISMS, AND
   ESSENTIAL PROCESSES/PROCEDURES. COORDINATE WITH OTHER SUPPORTING
   ENTITIES TO INCLUDE, HQDA, DEPUTY CHIEF OF STAFF G-4 (HQDA DCS G-4),
   AND ASSISTANT SECRETARY OF THE ARMY FOR FINANCIAL MANAGEMENT AND
   COMPTROLLER (ASA(FM&C)). DIRLAUTH WITH ASA(M&RA), HQDA DCS G-4, AND
   ASA(FM&C) IS AUTHORIZED.
   3.C.17. THROUGH 3.C.20. NO CHANGE.
   3.C.21. (U) COMMANDER, U.S. ARMY HUMAN RESOURCES COMMAND (HRC).
   3.C.21.A. (U) [RESCIND]
   3.C.22. THROUGH 3.C.29. NO CHANGE.

   3.C.30. (U) DEPUTY CHIEFS OF STAFF, HEADQUARTERS DEPARTMENT OF THE
   ARMY (HQDA DCS).
   3.C.30.A. (U) HQDA, DEPUTY CHIEF OF STAFF G-1 (HQDA DCS G-1).
   3.C.30.A.1. THROUGH 3.C.30.A.4. NO CHANGE.

   3.C.30.A.5. (U) [ADD] NLT 24 NOVEMBER 2021, ESTABLISH THE SUBMISSION
   PACKET REQUIREMENTS AND THE ROUTING PROCESS FOR UNDER SECRETARY OF
   THE ARMY APPROVAL FOR INDOOR AND OUTDOOR MEETINGS, EVENTS, AND
   CONFERENCES SPONSORED BY THE ARMY WITH MORE THAN 50 PARTICIPANTS.
   3.C.30.B. (U) HQDA, DEPUTY CHIEF OF STAFF G-4 (HQDA DCS G-4).

   3.C.30.B.1. NO CHANGE.
   3.C.30.B.2. (U) [ADD] NLT 17 NOVEMBER 2021, SUPPORT ASA(M&RA) TO
   DEVELOP AN INTEGRATED PLAN THAT ADDRESSES COVID-19 TESTING. THE PLAN
   SHOULD ADDRESS FUNDING RESPONSIBILITIES, PROCUREMENT MECHANISMS, AND
   ESSENTIAL PROCESSES/PROCEDURES. COORDINATE WITH OTHER SUPPORTING
   ENTITIES TO INCLUDE, MEDCOM AND ASA(FM&C). DIRLAUTH WITH ASA(M&RA),
   MEDCOM, AND ASA(FM&C) IS AUTHORIZED.
   3.C.31. (U) DIRECTOR OF THE ARMY STAFF (DAS).
   3.C.31.A. NO CHANGE.
   3.C.31.B. (U) PROVOST MARSHAL GENERAL (DAPM).
   3.C.31.B.1. (U) [RESCIND]
   3.C.31.C. (U) THE JUDGE ADVOCATE GENERAL (OTJAG).
   3.C.31.C.1. (U) [RESCIND]

   3.C.32. (U) ASSISTANT SECRETARY OF THE ARMY FOR MANPOWER AND RESERVE
   AFFAIRS (ASA(M&RA)).




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   3.C.32.A.1. THROUGH 3.C.32.A.6. NO CHANGE.
   3.C.32.A.7. (U) [ADD] NLT 17 NOVEMBER 2021, LEAD THE DEVELOPMENT OF
   AN INTEGRATED PLAN IN COORDINATION WITH MEDCOM, HQDA DCS G-4, AND
   ASA(FM&C) THAT ADDRESSES COVID-19 TESTING. THE PLAN SHOULD ADDRESS
   FUNDING RESPONSIBILITIES, PROCUREMENT MECHANISMS, AND ESSENTIAL
   PROCESSES/PROCEDURES. DIRLAUTH WITH MEDCOM, HQDA DCS G-4, AND
   ASA(FM&C) IS AUTHORIZED.
   3.C.32.A.8. (U) [ADD] NLT 17 NOVEMBER 2021, LEAD THE DEVELOPMENT OF
   DETAILED ARMY-SPECIFIC IMPLEMENTATION GUIDANCE AND DIRECTION IAW
   ANNEX GGG (FHP 23.2) FOR THE FOLLOWING PROCESSES: 1) CIVILIAN
   VERIFICATION AND VACCINATION REPORTING, 2) NEW CIVILIAN HIRING, 3)
   CIVILIAN EXEMPTIONS, 4) CIVILIAN ENFORCEMENT (DISCIPLINARY ACTIONS),
   AND 5) CONTRACTOR AND OFFICIAL VISITORS ATTESTATION & VERIFICATION.
   3.C.33.A. (U) [ADD] ASSISTANT SECRETARY OF THE ARMY FOR FINANCIAL
   MANAGEMENT AND COMPTROLLER (ASA(FM&C))
   3.C.33.A.1. (U) [ADD] NLT 17 NOVEMBER 2021, SUPPORT ASA(M&RA) TO
   DEVELOP AN INTEGRATED PLAN THAT ADDRESSES COVID-19 TESTING. THE PLAN
   SHOULD ADDRESS FUNDING RESPONSIBILITIES, PROCUREMENT MECHANISMS, AND
   ESSENTIAL PROCESSES/PROCEDURES. COORDINATE WITH OTHER SUPPORTING
   ENTITIES TO INCLUDE, MEDCOM AND HQDA DCS G-4. DIRLAUTH WITH
   ASA(M&RA), MEDCOM, AND HQDA DCS G-4 IS AUTHORIZED.
   3.D. (U) COORDINATING INSTRUCTIONS.
   3.D.1. NO CHANGE.

   3.D.1.A. NO CHANGE.
   3.D.1.B. (U) [CHANGE TO READ] TRAVEL FROM, TO, AND THROUGH LOCATIONS
   THAT ARE RESTRICTED REQUIRES AN EXEMPTION OR A WAIVER, AS OUTLINED IN
   ANNEX E. RESTRICTED LOCATIONS ARE TRACKED IAW 3.C.1.A.1.
   3.D.1.B.1. (U) [RESTATED] SECRETARY OF THE ARMY (SECARMY)
   MEMORANDUM, "DELEGATION OF AUTHORITY TO APPROVE TRAVEL OF ARMY
   PERSONNEL TRANSITION FRAMEWORK," 20 APRIL 2021, ANNEX E, PROVIDES
   GUIDANCE ON RESTRICTED TRAVEL WAIVER AUTHORITY. ANNEX E ALSO LISTS
   THE 12 EXEMPTIONS TO TRAVEL RESTRICTIONS INCLUDING AUTHORIZED LEAVE.
   UNIT-LEVEL COMMANDERS AND OTHER LEAVE APPROVAL AUTHORITIES PURSUANT
   TO AR 600-8-10, NOT BELOW THE COMPANY, BATTERY, OR DETACHMENT LEVEL,
   WILL USE THE PROCEDURES IN AR 600-8-10 TO PROCESS LEAVE AND PASS
   REQUESTS FOR SOLDIERS. THIS AUTHORITY MAY BE FURTHER RESTRICTED BY
   COMMANDERS AND SUPERVISORS IN THE CHAIN OF COMMAND OR SUPERVISION.
   3.D.1.B.1.A. (U) [ADD] FULLY VACCINATED CIVILIAN EMPLOYEES ARE
   AUTHORIZED FOR OFFICIAL TRAVEL, BOTH DOMESTIC AND INTERNATIONAL, AND
   MUST COMPLY WITH PERSONNEL MOVEMENT AND TRAVEL RESTRICTIONS IAW ANNEX
   B AND ANNEX E.
   3.D.1.B.1.B. (U) [ADD] ALL OFFICIAL TRAVEL AND GOVERNMENT-FUNDED
   TRAVEL FOR UNVACCINATED CIVILIAN EMPLOYEES, TO INCLUDE CIVILIAN
   EMPLOYEES WITH A VACCINATION EXEMPTION, MUST BE DETERMINED AS A
   MISSION-CRITICAL TRAVEL BY THE UNDER SECRETARY OF ARMY IAW ANNEX KKK.

   3.D.2. THROUGH 3.D.7. NO CHANGE.
   3.D.8. NO CHANGE.
   3.D.8.A. NO CHANGE.



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   3.D.8.B. NO CHANGE.
   3.D.8.B.1. THROUGH 3.D.8.B.5 NO CHANGE.
   3.D.8.B.6. (U) [CHANGE TO READ] EXEMPTIONS. THE TWO TYPES OF
   EXEMPTIONS FOR SERVICE MEMBERS FROM IMMUNIZATION ARE MEDICAL AND
   ADMINISTRATIVE. ADMINISTRATIVE EXEMPTIONS INCLUDE RELIGIOUS
   ACCOMMODATIONS, AS WELL AS OTHERS ENUMERATED IN AR 40-562, TABLE C-2
   (IMMUNIZATIONS AND CHEMOPROPHYLAXIS FOR THE PREVENTION OF INFECTIOUS
   DISEASES). COMMANDERS WILL REFER TO AR 40-562, PARAGRAPH 2-6, AND AR
   600-20, APPENDIX P-2, WHEN PROCESSING IMMUNIZATION EXEMPTION
   REQUESTS. SERVICE MEMBERS WITH PREVIOUS INFECTIONS OR POSITIVE
   SEROLOGY ARE NOT AUTOMATICALLY EXEMPT FROM FULL VACCINATION
   REQUIREMENTS AND SHOULD CONSULT WITH THEIR HEALTHCARE PROVIDER(HCP).
   3.D.8.B.6.A. NO CHANGE.
   3.D.8.B.6.B. NO CHANGE.
   3.D.8.B.6.B.1. (U) [CHANGE TO READ] THE COMMANDER MUST COUNSEL THE
   SOLDIER THAT NONCOMPLIANCE WITH THE LAWFUL IMMUNIZATION ORDER MAY
   ADVERSELY IMPACT DEPLOYABILITY, ASSIGNMENT, RETENTION OF SECURITY
   CLEARANCE, OR INTERNATIONAL TRAVEL, AND THAT THE EXEMPTION MAY BE
   REVOKED UNDER IMMINENT RISK CONDITIONS. IAW AR 600-20, APPENDIX P-2B,
   COMMANDERS WILL ARRANGE FOR AN IN-PERSON OR TELEPHONIC INTERVIEW
   BETWEEN A SOLDIER REQUESTING A RELIGIOUS ACCOMMODATION AND THE UNIT
   OR OTHER ASSIGNED CHAPLAIN, AS ADVISED BY THE SENIOR CHAPLAIN
   PRESENT. THE CHAPLAIN ASSESSES THE BASIS AND SINCERITY OF THE BELIEF
   AND MUST PROVIDE A WRITTEN MEMORANDUM TO THE CHAIN OF COMMAND
   PURSUANT TO THE REQUIREMENTS OF AR 600-20, APPENDIX P-2B (2). A
   LICENSED HEALTH CARE PROVIDER WILL COUNSEL THE APPLICANT TO ENSURE
   THE APPLICANT IS MAKING AN INFORMED DECISION IAW AR 600-20, APPENDIX
   P-2B (3) AND SHOULD DOCUMENT THE CURRENT INDIVIDUAL MEDICAL READINESS
   IMMUNIZATION STATUS OF ALL VACCINATIONS TO INCLUDE COVID-19 OF THE
   APPLICANT IN THE COUNSELING.

   3.D.8.B.6.B.2. (U) [CHANGE TO READ] THE IMMEDIATE COMMANDER THROUGH
   THE GENERAL COURT-MARTIAL CONVENING AUTHORITY (GCMCA) MUST REVIEW THE
   REQUEST AND RECOMMEND APPROVAL OR DENIAL TO TSG. CHAIN-OF-COMMAND
   RECOMMENDATIONS WILL ADDRESS THE FACTORS OF MILITARY NECESSITY
   DESCRIBED IN AR 600-20, PARAGRAPH 5-6A. A LEGAL REVIEW MUST BE
   CONDUCTED AT THE GCMCA LEVEL PRIOR TO FORWARDING THE REQUEST. UPON
   COMPLETION, THE GCMCA WILL UPLOAD THE REQUEST INTO ENTERPRISE TASK
   MANAGEMENT SOFTWARE SOLUTION (ETMS2; FORMERLY TASK MANAGEMENT TOOL
   (TMT)) (DASG-VACC-RA) FOR STAFFING TO TSG. COMMANDERS WILL HAVE CODE
   "AT" (NOT "AR") ENTERED IN MEDPROS FOR SOLDIERS WITH A PENDING
   RELIGIOUS EXEMPTION REQUEST.
   3.D.8.B.6.B.3. (U) [ADD] SOLDIERS WHO ARE DENIED RELIGIOUS
   EXEMPTIONS BY THE SURGEON GENERAL MAY APPEAL THE DECISION TO THE
   ASSISTANT SECRETARY OF THE ARMY FOR MANPOWER AND RESERVE AFFAIRS
   (ASA(M&RA)). ACTIVE COMPONENT SOLDIERS MUST SUBMIT THEIR WRITTEN
   APPEAL, INCLUDING THE SURGEON GENERAL'S DENIAL DECISION MEMO THROUGH
   THEIR IMMEDIATE COMMANDER TO THE GENERAL COURT-MARTIAL CONVENING
   AUTHORITY (GCMCA) WITHIN SEVEN CALENDAR DAYS OF RECEIPT OF THEIR
   DENIED RELIGIOUS EXEMPTION REQUEST. RESERVE COMPONENT SOLDIERS MUST
   SUBMIT THEIR WRITTEN APPEAL AND SURGEON GENERAL DENIAL DECISION MEMO
   THROUGH THEIR IMMEDIATE COMMANDER TO THE GCMCA WITHIN 30 CALENDAR
   DAYS OF RECEIPT OF THEIR DENIED RELIGIOUS EXEMPTION REQUEST.
   COMMANDERS ARE REQUIRED TO PROVIDE RECOMMENDATIONS TO THE ASA(M&RA)
   WHEN SOLDIERS PROVIDE NEW INFORMATION IN THEIR APPEAL. COMMANDERS ARE



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   ENCOURAGED, BUT NOT REQUIRED, TO PROVIDE RECOMMENDATIONS TO THE
   ASA(M&RA) WHEN SOLDIERS DO NOT PROVIDE ANY NEW INFORMATION. THE GCMCA
   WILL UTILIZE ETMS2 (DASG-VACC-RM) TO SUBMIT THE APPEAL TO THE OFFICE
   OF THE SURGEON GENERAL FOR FURTHER PROCESSING TO THE ASA(M&RA).
   ASA(M&RA) DECISIONS ARE FINAL AND WILL BE CONVEYED BACK TO THE GCMCA
   FOR NOTIFICATION TO THE SOLDIERS. COMMANDERS ARE RESPONSIBLE FOR
   FACILITATING DOCUMENTATION FOR SOLDIERS INTO ETMS2.
   3.D.8.B.6.C. THROUGH 3.D.8.B.6.D. NO CHANGE.
   3.D.8.B.6.E. (U) [ADD] COMMANDERS WILL INFORM SOLDIERS OF THE UPDATED
   COUNSELING FORMS THAT MAY BE FOUND IN ANNEX NN AND ANNEX OO.
   EFFECTIVE IMMEDIATELY, PREVIOUS COUNSELINGS CONDUCTED ARE STILL VALID
   AND MAY BE UPDATED AS NECESSARY.
   3.D.8.B.7. THROUGH 3.D.8.B.9. NO CHANGE.
   3.D.8.C. THROUGH 3.D.8.I. NO CHANGE.
   3.D.8.J. (U) [CHANGE TO READ] READ AND COMPLY IAW ANNEX III,
   ASSISTANT SECRETARY OF DEFENSE MEMORANDUM, UPDATED GUIDANCE ON
   CO-ADMINISTRATION OF CORONAVIRUS DISEASE 2019 VACCINES WITH OTHER
   VACCINES, 7 OCTOBER 2021. COVID-19 VACCINE PRODUCTS (E.G., MODERNA,
   PFIZER, AND J&J VACCINES) MAY BE CO-ADMINISTERED WITH OTHER VACCINES
   WITHOUT REGARD TO TIMING, WITH THE EXCEPTION OF LIVE SMALLPOX VACCINE
   (ACAM2000).
   3.D.8.J.1. NO CHANGE.

   3.D.8.J.2. (U) [ADD] HEALTH CARE PROVIDERS WILL AVOID
   CO-ADMINISTRATION OF LIVE SMALLPOX VACCINE (ACAM2000) AND AN MRNA
   COVID-19 VACCINE. IT IS RECOMMENDED TO SEPARATE ADMINISTRATION OF
   LIVE SMALLPOX VACCINE (ACAM2000) AND MRNA COVID-19 VACCINE BY AT
   LEAST 28 DAYS.
   3.D.8.K. NO CHANGE.

   3.D.8.L. (U) [CHANGE TO READ] FDA HAS APPROVED COVID-19 VACCINE
   SHELF LIFE EXTENSIONS.
   3.D.8.L.1. (U) [ADD] IAW ANNEX GG, PFIZER COVID-19 VACCINE RECEIVED
   A 90-DAY SHELF LIFE EXTENSION FOR DOSES MAINTAINED AT ULTRA COLD
   STORAGE (-90C TO -60C) WITH EXPIRATION DATES IN AUGUST 2021 THROUGH
   FEBRUARY 2022.
   3.D.8.L.2. (U) [ADD] EFFECTIVE 28 OCTOBER 2021, MODERNA COVID-19
   VACCINE RECEIVED A 60-DAY SHELF LIFE EXTENSION FOR SPECIFIC DOSES
   MAINTAINED AT IN A FROZEN STATE. SPECIFIC EXPIRATION DATES ARE LISTED
   IN ANNEX LLL OR MAY BE FOUND AT THE CASE SENSITIVE WEB LINK THAT IS
   FOUND IN ANNEX LLL.
   3.D.8.M. NO CHANGE.
   3.D.8.N. (U) [CHANGE TO READ] READ AND COMPLY IAW ANNEX JJJ, UNDER
   SECRETARY OF DEFENSE MEMORANDUM, "CORONAVIRUS DISEASE 2019
   VACCINATION FOR PREGNANT AND BREASTFEEDING SERVICE MEMBERS," ISSUED 5
   OCTOBER 2021.

   3.D.8.O. NO CHANGE.
   3.D.8.P. (U) [CHANGE TO READ] MTFS ARE AUTHORIZED TO BEGIN
   ADMINISTERING COVID-19 VACCINE BOOSTER DOSES TO ELIGIBLE INDIVIDUALS.



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   3.D.8.P.1. (U) [CHANGE TO READ] A BOOSTER IS AN ADDITIONAL VACCINE
   DOSE ADMINISTERED TO RE-ENGAGE THE IMMUNE SYSTEM. A BOOSTER MAY BE
   ADMINISTERED AT LEAST SIX (6) MONTHS AFTER COMPLETING THE TWO-DOSE
   PFIZER-BIONTECH / COMIRNATY SERIES OR TWO-DOSE MODERNA SERIES. A
   BOOSTER MAY BE ADMINISTER AT LEAST TWO (2) MONTHS AFTER COMPLETING
   PRIMARY VACCINATION WITH J&J COVID-19 VACCINE.
   3.D.8.P.2. (U) [CHANGE TO READ] THIS BOOSTER IS DIFFERENT THAN THE
   AUTHORIZED "THIRD DOSE" RECOMMENDED FOR IMMUNOCOMPROMISED (ANNEX II).
   IMMUNOCOMPROMISED PATIENTS SHOULD RECEIVE THE THIRD DOSE OF AN MRNA
   COVID-19 VACCINE 28 DAYS FOLLOWING THE TWO-DOSE REGIMEN OF AN MRNA
   COVID-19 VACCINE.

   3.D.8.P.3. (U) [RESTATED] BOOSTER DOSES ARE NOT A MANDATORY COVID-19
   VACCINE REQUIREMENT AT THIS TIME.
   3.D.8.P.4. (U) [CHANGE TO READ] FOR MRNA COVID-19 VACCINES,
   INDIVIDUALS MEETING THE FOLLOWING CRITERIA ARE ELIGIBLE TO RECEIVE A
   BOOSTER: ?65 YEARS OF AGE, AGE 18+ WHO LIVE IN LONG-TERM CARE
   SETTINGS, AGE 18+ WHO HAVE UNDERLYING MEDICAL CONDITIONS, AND AGE 18+
   WHO WORK OR LIVE IN HIGH-RISK SETTINGS.

   3.D.8.P.5. (U) [CHANGE TO READ] FOR THE J&J COVID-19 VACCINE,
   INDIVIDUALS MEETING THE FOLLOWING CRITERIA ARE ELIGIBLE TO RECEIVE A
   BOOSTER: AGE 18+.
   3.D.8.P.6. (U) [ADD] ELIGIBLE INDIVIDUALS MAY CHOOSE WHICH VACCINE
   THEY RECEIVE AS A BOOSTER DOSE. SOME PEOPLE MAY HAVE A PREFERENCE FOR
   THE VACCINE TYPE THAT THEY ORIGINALLY RECEIVED AND OTHERS MAY PREFER
   TO GET A DIFFERENT BOOSTER. THE CENTERS FOR DISEASE CONTROL AND
   PREVENTION RECOMMENDATIONS NOW ALLOW FOR THIS TYPE OF MIX AND MATCH
   DOSING FOR BOOSTER SHOTS.
   3.D.8.Q. (U) [ADD] IAW ANNEX RRR, ALL SERVICE MEMBERS IN THE DOD ARE
   REQUIRED TO COMPLY WITH APPLICABLE MEDICAL READINESS REQUIREMENTS.
   ONE SUCH REQUIREMENT IS THAT UPON ARRIVAL AT INITIAL ENTRY TRAINING,
   ALL SERVICE MEMBERS MUST RECEIVE, IF NOT ALREADY INOCULATED,
   IMMUNIZATIONS REQUIRED BY THE JOINT REGULATION FOR IMMUNIZATIONS AND
   CHEMOPROPHYLAXIS FOR THE PREVENTION OF INFECTIOUS DISEASES AND OTHER
   APPLICABLE DOD GUIDANCE. THESE VACCINATIONS INCLUDE BUT ARE NOT
   LIMITED TO COVID-19, MENINGOCOCCAL, MEASLES/MUMPS/RUBELLA,
   TETANUS-DIPHTHERIA-PERTUSSIS, AND VARICELLA. APPLICANTS FOR MILITARY
   SERVICE AND SERVICE MEMBERS MAY SEEK AN EXEMPTION FOR VACCINATION
   REQUIREMENTS BASED ON A QUALIFYING MEDICAL OR RELIGIOUS BASIS FROM
   THE MILITARY SERVICE CONCERNED. SHOULD AN EXEMPTION BE DENIED, THE
   MEMBER WILL BE REQUIRED TO COMPLY WITH APPLICABLE MEDICAL READINESS
   REQUIREMENTS.
   3.D.9. THROUGH 3.D.11. NO CHANGE.
   3.D.12. (U) COMMANDERS CRITICAL INFORMATION REQUIREMENTS (CCIR)
   3.D.12.A. THROUGH 3.D.12.J.
   3.D.12.K. (U) [ADD] SENIOR COMMANDERS AND INSTALLATION/FACILITY
   MANAGERS WILL NOTIFY THE ARMY WATCH PRIOR TO A DECISION TO CHANGE THE
   POSTURE OF MASK WEARING IAW CDC COMMUNITY TRANSMISSION GUIDANCE IN
   3.D.5.
   3.D.13. NO CHANGE.




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   3.D.14. (U) [CHANGE TO READ] TOTAL ARMY COMPLETION GOALS: COMPO 1
   WILL ACHIEVE 100% COMPLETE VACCINATION NLT 15 DECEMBER 2021. COMPO 2
   AND COMPO 3 WILL ACHIEVE 100% COMPLETE VACCINATION NLT 30 JUNE 2022.
   CIVILIANS WILL ACHIEVE 100% COMPLETE VACCINATION NLT 22 NOVEMBER
   2021. COMMANDERS WILL EXHAUST SUPPLIES ON HAND WITH URGENCY IN
   PURSUIT OF 100% VACCINATION.
   3.D.14.A. (U) [ADD] COMMANDERS EXECUTE THESE KEY MILESTONES FOR THE
   ARMY IMPLEMENTATION TIMELINE:
   22 NOV 21: DOD CIVILIAN FULLY VACCINATED MANDATE DEADLINE.
   22 NOV 21: DOD CIVILIAN EXEMPTION REQUEST SUBMISSION DUE.
   22 NOV 21: 100% COMPLETION OF DOD CIVILIAN EMPLOYEE VERIFICATION ON
   MILCONNECT (PRIMARY IF AVAILABLE) OR HARD COPY DD FORM 3175.
   23 NOV 21: 100% COMPLETION OF SUPERVISOR VERIFICATION FOR THEIR DOD
   CIVILIAN EMPLOYEES ON MILCONNECT (PRIMARY IF AVAILABLE) OR HARD COPY
   DD FORM 3175.
   23 NOV 21: BPT CONDUCT 100% SCREENING TEST FOR UNVACCINATED DOD
   CIVILIANS WHO ARE UNVACCINATED EVEN IF REQUESTING AN EXEMPTION OR
   HAVE RECEIVED AN APPROVED EXEMPTION.
   23 NOV 21: OFFICIAL VISITOR ACCESS ATTESTATION ON THE DD FROM 3150
   AND REVIEW OF A NEGATIVE COVID-19 TEST RESULT WITHIN 72 HOURS FOR
   THOSE INDIVIDUALS THAT ARE UNVACCINATED OR CHOOSE NOT TO DISCLOSE A
   STATUS.
   23 NOV 21: DOD CIVILIAN ENFORCEMENT/DISCIPLINARY ACTION WILL NOT BE
   PURSUED AGAINST 1) CIVILIAN EMPLOYEES PRIOR TO 23 NOV 21, 2)
   EMPLOYEES WITH AN APPROVED EXEMPTION, OR 3) EMPLOYEES WHO ARE PENDING
   A DECISION ON A REQUESTED EXEMPTION.
   08 DEC 21: DOD CONTRACTOR FULLY VACCINATED MANDATE DEADLINE. DOD
   VENDORS MUST VERIFY THAT THEIR CONTRACTORS ARE FULLY VACCINATED.
   09 DEC 21: BPT CONDUCT 100% SCREENING TEST FOR CONTRACTORS THAT
   ATTEST TO BEING UNVACCINATED OR CHOOSE NOT TO DISCLOSE A STATUS.
   15 DEC 21: COMPO 1 FULLY VACCINATED MANDATE DEADLINE.
   16 DEC 21: BPT CONDUCT 100% SCREENING TEST FOR UNVACCINATED COMPO 1
   SERVICE MEMBERS THAT ARE UNVACCINATED EVEN IF REQUESTING AN EXEMPTION
   OR RECEIVED AN APPROVED EXEMPTION.
   30 JUN 22: COMPO 2/3 FULLY VACCINATED MANDATE DEADLINE.
   01 JUL 22: BPT CONDUCT 100% SCREENING TEST FOR UNVACCINATED COMPO
   2/3 SERVICE MEMBERS THAT ARE UNVACCINATED EVEN IF REQUESTING AN
   EXEMPTION OR RECEIVED AN APPROVED EXEMPTION.
   3.D.15. NO CHANGE.

   3.D.15.A. NO CHANGE.
   3.D.15.B. (U) [CHANGE TO READ] INDIVIDUALS (MIL, CIV, OR CTR) WHO
   ARE UNVACCINATED OR DECLINE TO PROVIDE INFORMATION REGARDING
   VACCINATION STATUS ARE LIMITED TO MISSION-CRITICAL OFFICIAL TRAVEL,
   BOTH DOMESTIC AND INTERNATIONAL. MISSION CRITICAL IS DETERMINED BY
   THE UNDER SECRETARY OF THE ARMY IAW ANNEX KKK.
   3.D.15.B.1. (U) [ADD] DETAILED GUIDANCE ON MISSION CRITICAL OFFICIAL
   TRAVEL FROM THE UNDER SECRETARY OF THE ARMY WILL BE FORTHCOMING.
   3.D.15.C. (U) [CHANGE TO READ] ANY IN PERSON INDOOR OR OUTDOOR
   MEETINGS, EVENTS, AND CONFERENCES SPONSORED BY THE ARMY WITH MORE
   THAN 50 PARTICIPANTS WILL REQUIRE APPROVAL FROM THE UNDER SECRETARY
   OF THE ARMY. MEETINGS DO NOT INCLUDE MILITARY TRAINING AND EXERCISES.
   3.D.15.C.1. (U) [ADD] ADDITIONAL GUIDANCE AND DIRECTION FROM HQDA
   DCS G-1 WILL BE FORTHCOMING ON THE SUBMISSION PACKET REQUIREMENTS FOR
   INDOOR AND OUTDOOR MEETINGS, EVENTS, AND CONFERENCES SPONSORED BY THE



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   ARMY, WITH MORE THAN 50 PARTICIPANTS.
   3.D.15.D. (U) [CHANGE TO READ] IAW ANNEX KKK, FOR APPROVED IN-PERSON
   MEETINGS, THE MEETING ORGANIZER WILL REQUIRE ALL NON-MILITARY
   ATTENDEES TO SHOW PROOF OF VACCINATION ON A COMPLETED DD FORM 3150.
   IN-PERSON ATTENDEES WHO ARE NOT FULLY VACCINATED, OR WHO DECLINE TO
   PROVIDE INFORMATION ABOUT THEIR VACCINATION STATUS, MAY NOT ATTEND
   THE MEETING IF THEY DO NOT SHOW THE MEETING ORGANIZER PROOF OF A
   NEGATIVE FOOD AND DRUG ADMINISTRATION-AUTHORIZED OR APPROVED COVID-19
   TEST COMPLETED NO EARLIER THAN 72 HOURS PRIOR TO THE MEETING AND AT
   LEAST WEEKLY IF THE MEETING EXCEEDS ONE (1) WEEK IN DURATION.
   3.D.16. (U) [CHANGE TO READ] THIS ORDER IMPLEMENTS ANNEX GGG, FHP
   23.2, AND ANNEX NNN, ASA(M&RA) GUIDANCE ON FHP 23.2. THESE
   MEMORANDUMS INFORM COMMANDERS AND SUPERVISORS OF THE SPECIFIC DOD
   DATES FOR MEETING CIVILIAN VACCINATION REQUIREMENTS.
   3.D.16.A. (U) [ADD] EMPLOYEES AND SUPERVISORS SHOULD COMPLETE THEIR
   PORTIONS OF DD FORM 3175 IMMEDIATELY IN MILCONNECT, OR USE A
   HARD-COPY (ANNEX HHH) IF MILCONNECT IS NOT ACCESSIBLE.
   3.D.16.A.1. (U) [ADD] SUPERVISORS WILL SEEK THE ADVICE OF THEIR
   SERVICING HUMAN RESOURCES, MEDICAL, AND LEGAL OFFICES REGARDING
   STORAGE OF HARD-COPY DD FORM 3175S (ANNEX HHH) AND ALL ADDITIONAL
   MEDICAL INFORMATION SUCH AS PROOF OF VACCINATION. INFORMATION
   COLLECTED MUST BE HANDLED IN ACCORDANCE WITH PRIVACY REQUIREMENTS.
   3.D.16.B. (U) [ADD] COMMANDERS/DIRECTORS WILL DIRECT SUPERVISORS TO
   ISSUE A STANDARDIZED NOTICE MEMORANDUM (ANNEX OOO) TO THEIR CIVILIAN
   EMPLOYEES. THE ASA(M&RA), ASSISTANT G-1 (CIVILIAN PERSONNEL) HAS
   PROVIDED A NUMBERED MESSAGE (# 2021082) CONTAINING THE STANDARDIZED
   MEMORANDUM THAT MUST BE USED, SUBJECT: EMPLOYEE NOTIFICATION,
   MANDATORY COVID-19 VACCINATION FOR FEDERAL EMPLOYEES. EXAMPLE IS
   PROVIDED AS ANNEX OOO, REFER TO NUMBERED MESSAGE FOR WORKING COPY.
   3.D.16.B.1. (U) [ADD] THE STANDARDIZED NOTICE MEMORANDUM MUST BE
   PRESENTED TO ALL CIVILIAN EMPLOYEES. THIS INCLUDES EMPLOYEES ON
   TELEWORK, EMPLOYEES WORKING REMOTLY, AND EMPLOYEES WHO HAVE ALREADY
   BEEN FULLY VACCINATED. EMPLOYEES MUST ACKNOWLEDGE RECEIPT OF THE
   NOTIFICATION AND RETURN A SIGNED COPY TO THEIR SUPERVISOR NO LESS
   THAN 5 WORK DAYS FROM THE DATE OF THE SUPERVISOR'S MEMORANDUM.
   3.D.16.C. (U) [ADD] COMMANDERS/DIRECTORS WILL DIRECT SUPERVISORS TO
   INFORM ALL EMPLOYEES THAT EXEMPTION REQUESTS SHOULD BE SUBMITTED NO
   LATER THAN 22 NOVEMBER 2021, ABSENT EXTENUATING CIRCUMSTANCES.
   EMPLOYEES MUST PROVIDE AN OFFICIAL STATEMENT TO THEIR SUPERVISOR THAT
   DESCRIBES THE MEDICAL OR RELIGIOUS REASON FOR OBJECTION TO
   VACCINATION AGAINST COVID-19.
   3.D.16.C.1. (U) [ADD] EMPLOYEES SHOULD USE DD FORM 3176 "REQUEST FOR
   A MEDICAL EXEMPTION OR DELAY TO THE COVID-19 VACCINATION
   REQUIREMENT," (ANNEX PPP) OR DD FORM 3177, "REQUEST FOR A RELIGIOUS
   EXEMPTION TO THE COVID-19 VACCINATION REQUIREMENT," (ANNEX QQQ). IN
   THE EVENT EMPLOYEES HAVE SUBMITTED EXEMPTIONS, SUPERVISORS SHOULD
   HOLD UNTIL FURTHER GUIDANCE.
   3.D.16.C.2. (U) [ADD] CIVILIAN EMPLOYEES SHOULD BE PREPARED TO
   INITIATE VACCINE SEQUENCE IMMEDIATELY IF EXEMPTION REQUESTS ARE
   DENIED.
   3.D.16.C.3. (U) [ADD] ADDITIONAL GUIDANCE FROM ASA(M&RA) WILL BE
   FORTHCOMING ON THE CIVILIAN EMPLOYEE EXEMPTION PROCESS.



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   3.D.16.D. (U) [ADD] EMPLOYEES WHO REFUSE TO BE VACCINATED, OR TO
   PROVIDE PROOF OF VACCINATION, ARE SUBJECT TO DISCIPLINARY MEASURES,
   UP TO AND INCLUDING REMOVAL FROM FEDERAL SERVICE.
   3.D.16.D.1. (U) [ADD] DISCIPLINARY ACTIONS RELATED TO THE
   VACCINATION REQUIREMENT WILL NOT BE PURSUED AGAINST 1) CIVILIAN
   EMPLOYEES PRIOR 23 NOVEMBER 2021, 2) EMPLOYEES WITH AN APPROVED
   EXEMPTION, OR 3) EMPLOYEES WHO ARE PENDING A DECISION ON A REQUESTED
   EXEMPTION.
   3.D.16.D.2. (U) [ADD] PROGRESSIVE ENFORCEMENT ACTIONS INCLUDE, BUT
   ARE NOT LIMITED TO: 1) A 5 CALENDAR-DAY PERIOD OF COUNSELING AND
   EDUCATION. 2) A SHORT SUSPENSION WITHOUT PAY, GENERALLY 14 CALENDAR
   DAYS OR LESS, WITH AN APPROPRIATE NOTICE PERIOD. SENIOR EXECUTIVE
   SERVICE MEMBERS MAY ONLY BE SUSPENDED FRO MORE THAN 14 CALENDAR DAYS.
   3) REMOVAL FROM FEDERAL SERVICE FOR FAILING TO FOLLOW A DIRECT ORDER.
   3.D.16.D.3. (U) [ADD] ADDITIONAL GUIDANCE FROM ASA(M&RA) ON
   DISCIPLINARY ACTIONS (CIVILIAN COVID-19 VACCINATION ENFORCEMENT) WILL
   BE FORTHCOMING.
   3.D.16.E. (U) [ADD] CIVILIAN EMPLOYEES UNABLE TO OBTAIN A REQUIRED
   VACCINATION AT A MILITARY TREATMENT FACILITY (MTF) MAY BE AUTHORIZED
   THE STANDARD TRAVEL AND TRANSPORTATION ALLOWANCES IAW REF PP
   PARAGRAPH 033012.
   3.D.16.F. (U) [ADD] IAW ANNEX MMM, CIVILIAN EMPLOYEES WHO RECEIVED
   THE REQUIRED COVID-19 VACCINATIONS ON OR AFTER 9 SEPTEMBER 21 MAY BE
   AFFORDED COVERAGE UNDER THE FEDERAL EMPLOYEES COMPENSATION ACT (FECA)
   FOR 1) ADVERSE REACTIONS TO THE VACCINE ITSELF, AND 2) INJURIES
   SUSTAINED AS THE DIRECT RESULT OF AN EMPLOYEE RECEIVING THEIR
   MANDATED VACCINATION.
   3.D.16.G. (U) [ADD] DETAILED ARMY-SPECIFIC IMPLEMENTING GUIDANCE AND
   DIRECTION FROM ASA(M&RA) WILL BE FORTHCOMING ON CIVILIAN VACCINATION
   REPORTING AND NEW CIVILIAN HIRING.

   3.D.17. (U) [ADD] IAW ANNEX GGG, COMMANDERS BE PREPARED TO INITIATE
   ON-SITE COVID-19 SCREENING TESTING (NON-CLINICAL) FOR INDIVIDUALS WHO
   ARE UNVACCINATED, HAVE A VALID EXEMPTION, OR ARE PENDING
   DETERMINATION OF A SUBMITTED EXEMPTION.

   3.D.17.A. (U) [ADD] ORDERING INFORMATION FOR OVER-THE-COUNTER
   NON-CLINICAL TESTS MAY BE FOUND IN ANNEX SSS.
   3.D.17.B. (U) [ADD] ARMY-SPECIFIC IMPLEMENTING GUIDANCE ON COVID-19
   TESTING FROM ASA(M&RA) WILL BE FORTHCOMING.
   3.D.18. (U) [ADD] SENIOR MISSION COMMANDERS AND
   INSTALLATION/FACILITY MANAGERS WILL DEVELOP INTEGRATED PLANS THAT
   DIRECT RESPONSIBILITIES AND AUTHORITIES FOR REVIEWING COVID-19
   VACCINATION ATTESTATION DOCUMENTATION (DD FORM 3150) AND VERIFICATION
   OF TESTING DOCUMENTATION TO CONTROL ACCESS OF CONTRACTORS AND
   OFFICIAL VISITORS TO THEIR DOD FACILITIES IN ACCORDANCE WITH ANNEX
   GGG, FHP 23.2.
   3.D.18.A. (U) [ADD] ADDITIONAL GUIDANCE ON IMPLEMENTATION FOR REVIEW
   OF COVID-19 VACCINATION ATTESTATION DOCUMENTATION AND VERIFICATION OF
   TESTING DOCUMENTATION WILL BE FORTHCOMING.
   4. (U) SUSTAINMENT. NOT USED.



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   5. (U) COMMAND AND SIGNAL.
   5.A. (U) COMMAND. NOT USED.
   5.B. (U) SIGNAL.
   5.B.1. (U) HEADQUARTERS DEPARTMENT OF THE ARMY COVID-19 POINTS OF
   CONTACT (POC). HQDA COVID-19 OPT AT
   USARMY.PENTAGON.HQDA-DCS-G-3-5-7.MBX.COVID-OPT@ARMY.MIL;
   5.B.1.A. (U) G-1 POC IS COL MICHAEL A. ZWEIFEL,
   MICHAEL.A.ZWEIFEL.MIL@ARMY.MIL, (703) 697-8469.

   5.B.1.B. (U) G-2 POC IS LTC LEON SATCHELL,
   LEON.R.SATCHELL.MIL@ARMY.MIL, (703)697-5484.
   5.B.1.C. (U) G-4 POC IS G4 ALOC
   USARMY.PENTAGON.HQDA.MBX.AALOCATC@ARMY.MIL, (703) 614-2149.
   5.B.1.D. (U) LABORATORY RESPONSE NETWORK POC IS DR. WILLIAM
   NAUSCHUETZ, LABORATORY BIOPREPAREDNESS COORDINATOR,
   WILLIAM.F.NAUSCHUETZ.CIV@MAIL.MIL, (210) 295-7269 OR (210) 386-1480.

   5.B.1.E. (U) USAMEDCOM PUBLIC HEALTH POC IS COL RICK CHAVEZ,
   RODRIGO.CHAVEZ5.MIL@MAIL.MIL, (703) 681-9510 OR COL MICHELE A.
   SOLTIS, MICHELE.A.SOLTIS.MIL@MAIL.MIL, (703) 681- 6043.
   5.B.1.F. (U) ARMY PUBLIC HEALTH CENTER POC IS DR. STEVEN CERSOVSKY,
   STEVEN.B.CERSOVSKY.CIV@MAIL.MIL, (410) 436-4311.

   5.B.1.G. (U) ARMY PUBLIC AFFAIRS POC IS LTC TERENCE KELLEY,
   TERENCE.M.KELLEY.MIL@ARMY.MIL.
   5.B.1.H. (U) OFFICE OF THE JUDGE ADVOCATE GENERAL POC LTC JAMES
   MCINERNEY, JAMES.A.MCINERNEY.MIL@ARMY.MIL, (703) 614-4630,

   5.B.1.I. (U) ARMY NATIONAL GUARD POC IS MAJ TIMOTHY MCCORMIC,
   TIMOTHY.A.MCCORMIC.MIL@MAIL.MIL, (703) 601-7620.
   5.B.1.J. (U) UNITED STATES ARMY RESERVES POC IS LTC RAYMOND D.
   HARPER, RAYMOND.D.HARPER4.MIL@MAIL.MIL, 703.614-5271.

   5.B.1.K. (U) OFFICE OF THE SURGEON GENERAL POC IS COL DUBRAY KINNEY,
   DUBRAY.KINNEY2.MIL@MAIL.MIL, (703) 681-9672.
   5.B.1.L. (U) [CHANGE TO READ] ASSISTANT SECRETARY OF THE ARMY
   (FINANCIAL MANAGEMENT AND COMPTROLLER) POC IS LTC DALE BERRY,
   DALE.E.BERRY2.MIL@ARMY.MIL, (703) 614-1680.

   5.B.1.M. (U) ASSISTANT SECRETARY OF THE ARMY (MANPOWER AND RESERVE
   AFFAIRS) POCS ARE MS. CONSTANCE B. RAY,
   CONSTANCE.B.RAY2.CIV@ARMY.MIL, (703) 344-8047 OR COL BENITO
   RODRIGUEZ, BENITO.E.RODRIGUEZ.MIL@MAIL.MIL, (703) 695-4402.
   5.B.1.N. (U) [ADD] ARMY CONFERENCES PROGRAM, OFFICE OF THE
   ADMINISTRATIVE ASSISTANT TO THE SECRETARY OF THE ARMY POC:
   HQDA.CONFERENCES.INBOX@MAIL.MIL.

   5.B.1.O. (U) [ADD] (U) ASSISTANT SECRETARY OF THE ARMY (ACQUISITION,
   LOGISTICS AND TECHNOLOGY) POCS ARE LTC RACHAEL M. HOAGLAND,
   RACHAEL.M.HOAGLAND.MIL@ARMY.MIL, (703) 614-2500 OR COL ROBERT L. VON



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   TERSCH, ROBERT.L.VONTERSCH.MIL@ARMY.MIL, (703) 614-6586.
   5.B.1.P. (U) HEADQUARTERS DEPARTMENT OF THE ARMY WATCH: NIPR EMAIL
   USARMY.PENTAGON.HQDA.MBX.ARMYWATCH@ARMY.MIL, SIPR EMAIL
   USARMY.PENTAGON.HQDA.MBX.ARMYWATCH@MAIL.SMIL.MIL.
   5.B.1.Q. (U) HEADQUARTERS DEPARTMENT OF THE ARMY COVID-19 CRISIS
   ACTION TEAM INFO:
   NIPR PORTAL:
   HTTPS://G357.ARMY.PENTAGON.MIL/OD/ODO/ARMYOPCENTER/CAWG/CAT/SITEPAGES
   CORONAVIRUS%20(COVID-19).ASPX


   SIPR PORTAL:
   HTTPS://G357.ARMY.PENTAGON.SMIL.MIL/OD/ODO/ARMYOPCENTER/CRISISACTIONP
   AGE/SITEPAGES/HOME.ASPX

   DOMS NIPR OMB:
   USARMY.PENTAGON.HQDA-DCS-G-3-5-7.MBX.DOMS-OPERATIONS@ARMY.MIL

   DOMS SIPR OMB:
   USARMY.PENTAGON.HQDA-DCS-G-3-5-7.MBX.AOC-DOMS-TEAM@MAIL.SMIL.MIL
   6. (U) THE EXPIRATION DATE OF THIS MESSAGE IS 31 DECEMBER 2026,
   UNLESS FORMALLY RESCINDED OR SUPERSEDED.


   ATTACHMENT:
   ANNEX A - ARMY INSTALLATION GATING CRITERIA REPORT.
   ANNEX B - SECRETARY OF DEFENSE MEMORANDUM, "UPDATE TO
   CONDITIONS-BASED APPROACH TO CORONAVIRUS DISEASE 2019 PERSONNEL
   MOVEMENT AND TRAVEL RESTRICTIONS," 15 MARCH 2021.
   ANNEX C - COVID-19 PERSONAL PROTECTIVE EQUIPMENT, LOGSTAT REPORT.
   ANNEX D - HQDA COVID-19 POSITIVE CASE AND ROM TRACKER.
   ANNEX E - SECRETARY OF THE ARMY MEMORANDUM, "DELEGATION OF AUTHORITY
   TO APPROVE TRAVEL OF ARMY PERSONNEL-TRANSITION FRAMEWORK," 20 APRIL
   2021.
   ANNEX F - SECRETARY OF DEFENSE MEMORANDUM, "GUIDANCE FOR COMMANDERS'
   RISK-BASED RESPONSES AND IMPLEMENTATION OF THE HEALTH PROTECTION
   CONDITION (HPCON) FRAMEWORK DURING THE CORONAVIRUS DISEASE 2019
   PANDEMIC," 29 APRIL 2021.
   ANNEX G - FORCE HEALTH PROTECTION SUPPLEMENT 20, DEPARTMENT OF
   DEFENSE GUIDANCE FOR PERSONNEL TRAVELING DURING THE CORONAVIRUS
   DISEASE 2019 PANDEMIC, 12 APRIL 2021.
   ANNEX H - FORCE HEALTH PROTECTION SUPPLEMENT 16.1, DEPARTMENT OF
   DEFENSE GUIDANCE DEPLOYMENT AND REDEPLOYMENT OF INDIVIDUALS AND
   UNITS, 04 MAY 2021.
   ANNEX I - FORCE HEALTH PROTECTION SUPPLEMENT 15.2, DEPARTMENT OF
   DEFENSE GUIDANCE FOR CORONAVIRUS DISEASE 2019 LABORATORY TESTING
   SERVICES, 02 JULY 2021.
   [CHANGE TO READ] ANNEX J - IMPLEMENTATION OF REQUIRED COVID-19
   PROTECTIONS PUBLIC AFFAIRS GUIDANCE.
   ANNEX K - TIER 4 TESTING CONCEPT AND APPROVAL AUTHORITY.
   ANNEX L - DOD COVID TASK FORCE, COVID-19 TESTING PROTOCOLS, 08 MARCH
   2021.
   ANNEX M - CLMS FORM 1D, CLINICAL LABORATORY IMPROVEMENT PROGRAM
   WAIVED COMPLEXITY REGISTRATION/RENEWAL FORM.
   ANNEX N - DEPUTY SECRETARY OF DEFENSE MEMORANDUM, "METHODS TO ENABLE



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   AND ENCOURAGE VACCINATION AGAINST CORONAVIRUS DISEASE 2019," 20 MAY
   2021.
   [RESCIND] ANNEX O - SECRETARY OF DEFENSE MEMORANDUM,
   "CO-ADMINISTRATION OF CORONAVIRUS DISEASE 2019 VACCINES WITH OTHER
   VACCINES," 03 JUNE 2021.
   ANNEX P - DEPUTY SECRETARY OF DEFENSE MEMORANDUM, "CORONAVIRUS
   DISEASE 19 VACCINE GUIDANCE," 07 DECEMBER 2020.
   ANNEX Q - UNDER SECRETARY OF DEFENSE MEMORANDUM SUPPLEMENTAL GUIDANCE
   FOR PROVIDING DOD CORONAVIRUS DISEASE 2019 VACCINE TO DOD CONTRACTOR
   EMPLOYEES AND SELECT FOREIGN NATIONALS, 31 DECEMBER 2020.
   ANNEX R - SECRETARY OF DEFENSE MEMORANDUM, SECRETARIAL DESIGNEE
   STATUS FOR SELECT DEPARTMENT OF DEFENSE CIVILIAN EMPLOYEE AND
   CONTRACTOR EMPLOYEE DEPENDENTS OUTSIDE THE UNITED STATES FOR THE
   LIMITED PURPOSE OF RECEIVING CORONAVIRUS DISEASE 2019 VACCINATIONS,
   03 JUNE 2021.
   ANNEX S - SECRETARY OF DEFENSE MEMORANDUM, USE OF MASKS AND OTHER
   PUBLIC HEALTH MEASURES, 04 FEBRUARY 2021.
   ANNEX T - FORCE HEALTH PROTECTION SUPPLEMENT 17.1, DEPARTMENT OF
   DEFENSE GUIDANCE FOR THE USE OF MASKS, PPE, AND NPI, 22 JUNE 2021.
   ANNEX U - SECRETARY OF ARMY MEMORANDUM, USE OF MASKS AND DELEGATION
   OF AUTHORITY TO GRANT EXCEPTIONS, 24 FEBRUARY 2021.
   ANNEX V - [RESCINDED]
   ANNEX W - POOLED TESTING GUIDANCE AND STRATEGY, 02 JUNE 2021.
   ANNEX X - UNDER SECRETARY OF DEFENSE MEMORANDUM GUIDANCE FOR
   PARTICIPATION OF INTERNATIONAL MILITARY STUDENTS AND TRAINEES, 07 MAY
   2021.
   ANNEX Y - UNDER SECRETARY OF DEFENSE MEMORANDUM SUPPLEMENTAL GUIDANCE
   ON ETP PROCESS, 08 JUNE 2021.
   ANNEX Z - SECRETARY OF THE ARMY MEMORANDUM, DELEGATION OF AUTHORITY
   FOR HEALTH PROTECTION CONDITION (HPCON) IMPLEMENTATION AND OCCUPANCY
   REQUIREMENTS, 09 JUNE 2021.
   ANNEX AA - FORCE HEALTH PROTECTION SUPPLEMENT 22, DOD GUIDANCE FOR
   CORONAVIRUS DISEASE 2019 SURVEILLANCE AND SCREENING TESTING, 21 JULY
   2021.
   ANNEX BB - UPDATED MASK GUIDANCE FOR ALL DOD INSTALLATIONS AND OTHER
   FACILITIES, 28 JULY 2021.
   ANNEX CC - CDC GUIDANCE FOR IMPLEMENTING COVID-19 PREVENTION
   STRATEGIES, 27 JULY 2021.
   ANNEX DD - MEDICAL MATERIAL QUALITY CONTROL MESSAGE, MMQC-21-1419,
   (J&J) JANSSEN COVID-19 VACCINE SHELF-LIFE EXTENSION, 28 JULY 2021.
   ANNEX EE - COVID-19 VACCINATION REQUIREMENT REPORT.
   ANNEX FF - MANDATORY CORONAVIRUS DISEASE 2019 VACCINATION OF
   DEPARTMENT OF DEFENSE SERVICE MEMBERS, 24 AUGUST 2021.
   ANNEX GG - MEDICAL MATERIAL QUALITY CONTROL MESSAGE, MMQC-21-1463,
   PFIZER LICENSE AND SHELF LIFE EXTENSION, 24 AUGUST 2021.
   ANNEX HH - MEDICAL MATERIAL QUALITY CONTROL MESSAGE, MMQC-21- 1425,
   UPDATED COVID-19 VACCINE ORDERING GUIDELINES, 09 AUGUST 2021.
   ANNEX II - MMQC 21 1454 ADDITIONAL DOSE OF COVID 19 VACCINE FOR
   IMMUNOCOMPROMISED PERSONS,13 AUGUST 2021.
   ANNEX JJ - MANDATORY VACCINATION OF SERVICE MEMBERS USING THE
   PFIZER-BIONTECH COVID-19 AND COMIRNATY COVID-19 VACCINES, 14
   SEPTEMBER 2021.
   ANNEX KK - DD FROM 3150, CONTRACTOR PERSONNEL AND VISITOR
   CERTIFICATION OF VACCINATION, OCTOBER 2021.
   ANNEX LL - VACCINE INFORMATION FACT SHEET
   ANNEX MM - UPDATED CORONAVIRUS DISEASE 2019 GUIDANCE RELATED TO
   TRAVEL AND MEETINGS, 24 SEPTEMBER 2021.
   [CHANGE TO READ] ANNEX NN - SAMPLE DA FORM 4856 FOR ENLISTED VACCINE
   REFUSALS.
   [CHANGE TO READ] ANNEX OO - SAMPLE DA FORM 4856 FOR OFFICER VACCINE
   REFUSALS.
   ANNEX PP - EXECUTIVE ORDER 14043 OF SEPTEMBER 9, 2021, REQUIRING



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   VACCINATION FOR FEDERAL EMPLOYEES.
   ANNEX QQ - EXECUTIVE ORDER 14042 OF SEPTEMBER 9, 2021, ENSURING
   ADEQUATE COVID SAFETY PROTOCOLS FOR FEDERAL CONTRACTORS.
   ANNEX RR - ABBOTT BINAXNOW COVID-19 AG CARD PRODUCT EXPIRY UPDATE,
   MAY 2021.
   ANNEX SS - MEDICAL MATERIAL QUALITY CONTROL MESSAGE, MMQC-21-1538,
   DISPOSITION GUIDANCE FOR MODERNA COVID VACCINE, 23 SEPTEMBER 2021.
   ANNEX TT - MEDICAL MATERIAL QUALITY CONTROL MESSAGE, MMQC-21-1549,
   PFIZER-BIONTECH/COMIRNATY COVID-19 VACCINE BOOSTER DOSE
   RECOMMENDATIONS, 27 SEPTEMBER 2021.
   ANNEX UU - MEDICAL MATERIAL QUALITY CONTROL MESSAGE, MMQC-21-1549,
   SUPPLEMENT 1, KEY MESSAGES AND TALKING POINTS, 27 SEPTEMBER 2021.
   ANNEX VV - MEDICAL MATERIAL QUALITY CONTROL MESSAGE, MMQC-21-1549,
   SUPPLEMENT 2, FACT SHEET FOR HEALTHCARE PROVIDERS ADMINISTERING
   VACCINE (VACCINATION PROVIDERS), 27 SEPTEMBER 2021.
   ANNEX WW - MEDICAL MATERIAL QUALITY CONTROL MESSAGE, MMQC-21-1549,
   SUPPLEMENT 3, VACCINE INFORMATION FACT SHEET FOR RECIPIENTS AND
   CAREGIVERS ABOUT COMIRNATY (COVID-19 VACCINE, MRNA) AND
   PFIZER-BIONTECH COVID-19 VACCINE TO PREVENT CORONAVIRUS DISEASE 2019
   (COVID-19), 27 SEPTEMBER 2021.
   ANNEX XX - REFUSALS AND MEDICAL/RELIGIOUS EXEMPTIONS PROCESS.
   ANNEX YY - COVID-19 VACCINATION PERMANENT MEDICAL EXEMPTION REQUEST
   STANDARD OPERATION PROCEDURE.
   ANNEX ZZ - PERMANENT MEDICAL EXEMPTION REQUEST PROCESS ASSIGNMENTS.
   ANNEX AAA - REQUEST FOR PERMANENT MEDICAL EXEMPTION TO COVID-19
   VACCINATION TEMPLATE MEMORANDUM.
   ANNEX BBB - ARMY DIRECTIVE 2021-33 (APPROVAL AND APPEAL AUTHORITIES
   FOR MILITARY AND MEDICAL ADMINISTRATIVE IMMUNIZATION EXEMPTIONS), 24
   SEPTEMBER 2021.
   ANNEX CCC - SAFER FEDERAL WORKFORCE TASK FORCE, COVID-19 WORKPLACE
   SAFETY: AGENCY MODEL SAFETY PRINCIPLES, LAST UPDATED 13 SEPTEMBER
   2021.
   ANNEX DDD - SAFER FEDERAL WORKFORCE TASK FORCE, COVID-19 WORKPLACE
   SAFETY: GUIDANCE FOR FEDERAL CONTRACTORS AND SUBCONTRACTORS, ISSUED
   24 SEPTEMBER 2021.
   ANNEX EEE - MANDATORY CORONAVIRUS DISEASE 2019 VACCINATION OF DOD
   CIVILIAN EMPLOYEES, ISSUED 1 OCTOBER 2021.
   ANNEX FFF - OFFICE OF PERSONNEL MANAGEMENT (OPM) AND SAFER FEDERAL
   WORKFORCE TASK FORCE GUIDANCE ON VACCINATION REQUIREMENTS, 5 OCTOBER
   2021.
   ANNEX GGG - UNDER SECRETARY OF DEFENSE FOR PERSONNEL AND READINESS
   MEMORANDUM, "FORCE HEALTH PROTECTION GUIDANCE (SUPPLEMENT 23)
   REVISION 2 - DEPARTMENT OF DEFENSE GUIDANCE FOR CORONAVIRUS DISEASE
   2019 VACCINATION ATTESTATION, SCREENING TESTING, AND VACCINATION
   VERIFICATION," 29 OCTOBER 2021.
   ANNEX HHH - DD FORM 3175, CIVILIAN EMPLOYEE CERTIFICATION OF
   VACCINATION, OCTOBER 2021.
   [ADD] ANNEX III - ASSISTANT SECRETARY OF DEFENSE FOR HEALTH AFFAIRS
   MEMORANDUM, "UPDATED GUIDANCE ON CO-ADMINISTRATION OF CORONAVIRUS
   DISEASE 2019 VACCINE WITH OTHER VACCINES," 7 OCTOBER 2021.
   [ADD] ANNEX JJJ - UNDER SECRETARY OF DEFENSE FOR PERSONNEL AND
   READINESS MEMORANDUM, "CORONAVIRUS DISEASE 2019 VACCINATION FOR
   PREGNANT AND BREASTFEEDING SERVICE MEMBERS," 5 OCTOBER 2021.
   [ADD] ANNEX KKK - SECRETARY OF THE ARMY MEMORANDUM, "DELEGATION OF
   AUTHORITY-ADDITIONAL CORONAVIRUS DISEASE 2019 GUIDANCE RELATED TO
   TRAVEL AND MEETINGS," 12 OCTOBER 2021.
   [ADD] ANNEX LLL - MEDICAL MATERIAL QUALITY CONTROL MESSAGE,
   MMQC-21-1613, "DISPOSITION GUIDANCE FOR MODERNA COVID VACCINE," 28
   OCTOBER 2021.
   [ADD] ANNEX MMM - DEFENSE CIVILIAN PERSONNEL ADVISORY SERVICE
   MESSAGE, "COVERAGE FOR INJURIES RESULTING FROM THE COVID-19
   VACCINATION MANDATE FOR FEDERAL EMPLOYEES," 14 OCTOBER 2021.



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   [ADD] ANNEX NNN - ASSISTANT SECRETARY OF THE ARMY FOR MANPOWER AND
   RESERVE AFFAIRS MEMORANDUM, "FORCE HEALTH PROTECTION GUIDANCE
   (SUPPLEMENT 23) - REVISION 2 - DEPARTMENT OF DEFENSE GUIDANCE FOR
   CORONAVIRUS DISEASE 2019 VACCINATION ATTESTATION, SCREENING TESTING,
   AND VACCINATION VERIFICATION," 8 NOVEMBER 2021.
   [ADD] ANNEX OOO - ASSISTANT SECRETARY OF THE ARMY FOR MANPOWER AND
   RESERVE AFFAIRS, ASSISTANT G-1 (CIVILIAN PERSONNEL) NUMBERED MESSAGE
   (# 2021082) ARMY TEMPLATE MEMO FOR EMPLOYEE NOTIFICATION OF COVID-19
   VACCINATION REQUIREMENT, "SUBJECT: EMPLOYEE NOTIFICATION, MANDATORY
   COVID-19 VACCINATION FOR FEDERAL EMPLOYEES."
   [ADD] ANNEX PPP - DD FORM 3176, "REQUEST FOR MEDICAL EXEMPTION OR
   DELAY TO THE COVID-19 VACCINATION REQUIREMENT," OCTOBER 2021.
   [ADD] ANNEX QQQ - DD FORM 3177, "REQUEST FOR RELIGIOUS EXEMPTION TO
   THE COVID-19 VACCINATION REQUIREMENT," OCTOBER 2021.
   [ADD] ANNEX RRR - OFFICE OF THE ASSISTANT SECRETARY OF DEFENSE FOR
   MANPOWER AND RESERVE AFFAIRS MEMORANDUM, "VACCINATION ADVISORY
   STATEMENT FOR NON-USMEPCOM ACCESSIONS," 22 OCTOBER 21.
   [ADD] ANNEX SSS - DEFENSE LOGISTICS AGENCY, "COVID-19 HOME TEST KITS
   ORDERING PROCEDURES," 5 NOVEMBER 2021.
   BT
   #3826




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   (CUI) FRAGO 9 TO HQDA EXORD 225-21 (PART 2 OF 2) COVID-19
   STEADY
     Originator:DA WASHINGTON DC
           TOR: 11/11/2021 02:35:17
           DTG: 110232Z Nov 21
           Prec:Priority
           DAC: General
                ARLINGTON NATIONAL CEMETERY ARLINGTON VA, ARNG NGB COMOPS ARLINGTON VA, ARNG NGB J3 JOC WASHINGTON DC,
                ARNGRC ARLINGTON VA, ARNGRC WATCH ARLINGTON VA, CDR 5 ARMY NORTH AOC FT SAM HOUSTON TX, CDR ARMY FUTURES
                COMMAND AUSTIN TX, CDR ATEC ABERDEEN PROVING GROUND MD, CDR FORSCOM DCS G3 CENTRAL TASKING DIV FT BRAGG NC,
                CDR FORSCOM DCS G3 CURRENT OPS FT BRAGG NC, CDR FORSCOM DCS G3 CURRENT OPS FT BRAGG NC, CDR FORSCOM DCS G3
                WATCH OFFICER FT BRAGG NC, CDR FORSCOM DCS G3 WATCH OFFICER FT BRAGG NC, CDR MDW J3 FT MCNAIR DC, CDR MDW
                JFHQ-NCR FT MCNAIR DC, CDR NETCOM 9THSC FT HUACHUCA AZ, CDR TRADOC CG FT EUSTIS VA, CDR TRADOC DCS G-3-5-7 OPNS
                CTR FT EUSTIS VA, CDR USAR NORTH FT SAM HOUSTON TX, CDR USARCENT SHAW AFB SC, CDR USASOC COMMAND CENTER FT
                BRAGG NC, CDR USASOC FT BRAGG NC, CDR USASOC MESSAGE CENTER FT BRAGG NC, CDR3RD ARMY USARCENT WATCH OFFICER
                SHAW AFB SC, CDRAMC REDSTONE ARSENAL AL, CDRFORSCOM FT BRAGG NC, CDRHRC G3 DCSOPS FT KNOX KY, CDRINSCOM FT
                BELVOIR VA, CDRINSCOMIOC FT BELVOIR VA, CDRMDW WASHINGTON DC, CDRUSACE WASHINGTON DC, CDRUSACIDC FT BELVOIR
            To: VA, CDRUSACYBER FT BELVOIR VA, CDRUSACYBER G3 FT BELVOIR VA, CDRUSACYBER G33 FT BELVOIR VA, CDRUSAEIGHT G3 CUROPS
                SEOUL KOR, CDRUSAEIGHT SEOUL KOR, CDRUSAMEDCOM FT SAM HOUSTON TX, CDRUSARC G33 READ FT BRAGG NC,
                CDRUSARCYBER WATCH OFFICER FT BELVOIR VA, CDRUSARPAC CG FT SHAFTER HI, CDRUSARPAC FT SHAFTER HI, COMDT USAWC
                CARLISLE BARRACKS PA, HQ IMCOM FT SAM HOUSTON TX, HQ INSCOM IOC FT BELVOIR VA, HQ SDDC CMD GROUP SCOTT AFB IL,
                HQ SDDC OPS MSG CNTR SCOTT AFB IL, HQ USARSO FT SAM HOUSTON TX, HQ USARSO G3 FT SAM HOUSTON TX, HQDA ARMY
                STAFF WASHINGTON DC, HQDA CSA WASHINGTON DC, HQDA EXEC OFFICE WASHINGTON DC, HQDA IMCOM OPS DIV
                WASHINGTON DC, HQDA SEC ARMY WASHINGTON DC, HQDA SECRETARIAT WASHINGTON DC, HQDA SURG GEN WASHINGTON DC,
                MEDCOM HQ EOC FT SAM HOUSTON TX, NETCOM G3 CURRENT OPS FT HUACHUCA AZ, NGB WASHINGTON DC, SMDC ARSTRAT CG
                ARLINGTON VA, SMDC ARSTRAT G3 ARLINGTON VA, SUPERINTENDENT USMA WEST POINT NY, SURGEON GEN FALLS CHURCH VA,
                USAR AROC FT BRAGG NC, USAR CMD GRP FT BRAGG NC, USAR DCS G33 OPERATIONS FT BRAGG NC, USARCENT G3 FWD, USARPAC
                COMMAND CENTER FT SHAFTER HI, CDR USAREUR-AF WIESBADEN GE, CDR SETAF-AF VICENZA IT
           CC: HQDA AOC DAMO ODO OPS AND CONT PLANS WASHINGTON DC, HQDA AOC G3 DAMO CAT OPSWATCH WASHINGTON DC, HQDA
                AOC G3 DAMO OD DIR OPS READ AND MOB WASHINGTON DC
                (U) ANNEX NNN ASA MRA FHP 23 REV 2 DOD GUIDANCE FOR CV19 VACCINATION ATTESTATION SCREENING TESTING AND
                VACCINATION VERIFICATION 8 NOVEMBER 2021.pdf, (U) ANNEX OO SAMPLE DA FORM 4856 FOR OFFICER VACCINE REFUSALS.pdf,
                (U) ANNEX OOO ARMY TEMPLATE MEMO FOR EMPLOYEE NOTIFICATION OF COVID-19 VACCINATION REQUIREMENT.pdf, (U) ANNEX
   Attachments: PPP DD FORM 3176 REQUEST FOR MEDICAL EXEMPTION OCTOBER 2021.pdf, (U) ANNEX QQQ DD FORM 3177 REQUEST FOR
                RELIGIOUS EXEMPTION OCTOBER 2021.pdf, (U) ANNEX RRR VACCINATION ADVISORY STATEMENT FOR NON USMEPCOM
                ACCESSIONS 22 OCTOBER 2021.pdf, (U) ANNEX SSS DLA COVID NON-CLINICAL TEST KITS ORDERING INFORMATION 5 NOVEMBER
                2021.pdf

   PAAUZATZ RUEADWD3845 3150234-UUUU--RUIAAAA RUEADWD.
   ZNR UUUUU
   P 110232Z NOV 21
   FM DA WASHINGTON DC
   TO RUIAAAA/ARLINGTON NATIONAL CEMETERY ARLINGTON VA
   RUIAAAA/ARNG NGB COMOPS ARLINGTON VA
   RUIAAAA/ARNG NGB J3 JOC WASHINGTON DC
   RUIAAAA/ARNGRC ARLINGTON VA
   RUIAAAA/ARNGRC WATCH ARLINGTON VA
   RUIAAAA/CDR 5 ARMY NORTH AOC FT SAM HOUSTON TX
   RUIAAAA/CDR ARMY FUTURES COMMAND AUSTIN TX
   RUIAAAA/CDR ATEC ABERDEEN PROVING GROUND MD
   RUJAAAA/CDR FORSCOM DCS G3 CENTRAL TASKING DIV FT BRAGG NC
   RUJAAAA/CDR FORSCOM DCS G3 CURRENT OPS FT BRAGG NC
   RUIAAAA/CDR FORSCOM DCS G3 CURRENT OPS FT BRAGG NC
   RUJAAAA/CDR FORSCOM DCS G3 WATCH OFFICER FT BRAGG NC
   RUIAAAA/CDR FORSCOM DCS G3 WATCH OFFICER FT BRAGG NC



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   RUIAAAA/CDR MDW J3 FT MCNAIR DC
   RUIAAAA/CDR MDW JFHQ-NCR FT MCNAIR DC
   RUIAAAA/CDR NETCOM 9THSC FT HUACHUCA AZ
   RUIAAAA/CDR TRADOC CG FT EUSTIS VA
   RUIAAAA/CDR TRADOC DCS G-3-5-7 OPNS CTR FT EUSTIS VA
   RUIAAAA/CDR USAR NORTH FT SAM HOUSTON TX
   RUIAAAA/CDR USARCENT SHAW AFB SC
   RUIAAAA/CDR USASOC COMMAND CENTER FT BRAGG NC
   RUIAAAA/CDR USASOC FT BRAGG NC
   RUIAAAA/CDR USASOC MESSAGE CENTER FT BRAGG NC
   RUIAAAA/CDR3RD ARMY USARCENT WATCH OFFICER SHAW AFB SC
   RUIAAAA/CDRAMC REDSTONE ARSENAL AL
   RUIAAAA/CDRFORSCOM FT BRAGG NC
   RUIAAAA/CDRHRC G3 DCSOPS FT KNOX KY
   RUIAAAA/CDRINSCOM FT BELVOIR VA
   RUIAAAA/CDRINSCOMIOC FT BELVOIR VA
   RUIAAAA/CDRMDW WASHINGTON DC
   RUIAAAA/CDRUSACE WASHINGTON DC
   RUIAAAA/CDRUSACIDC FT BELVOIR VA
   RUIAAAA/CDRUSACYBER FT BELVOIR VA
   RUIAAAA/CDRUSACYBER G3 FT BELVOIR VA
   RUIAAAA/CDRUSACYBER G33 FT BELVOIR VA
   RUIAAAA/CDRUSAEIGHT G3 CUROPS SEOUL KOR
   RUIAAAA/CDRUSAEIGHT SEOUL KOR
   RUIAAAA/CDRUSAMEDCOM FT SAM HOUSTON TX
   RUIAAAA/CDRUSARC G33 READ FT BRAGG NC
   RUIAAAA/CDRUSARCYBER WATCH OFFICER FT BELVOIR VA
   RUIAAAA/CDRUSARPAC CG FT SHAFTER HI
   RUIAAAA/CDRUSARPAC FT SHAFTER HI
   RUIAAAA/COMDT USAWC CARLISLE BARRACKS PA
   RUIAAAA/HQ IMCOM FT SAM HOUSTON TX
   RUIAAAA/HQ INSCOM IOC FT BELVOIR VA
   RUIAAAA/HQ SDDC CMD GROUP SCOTT AFB IL
   RUIAAAA/HQ SDDC OPS MSG CNTR SCOTT AFB IL
   RUIAAAA/HQ USARSO FT SAM HOUSTON TX
   RUIAAAA/HQ USARSO G3 FT SAM HOUSTON TX
   RUEADWD/HQDA ARMY STAFF WASHINGTON DC
   RUEADWD/HQDA CSA WASHINGTON DC
   RUEADWD/HQDA EXEC OFFICE WASHINGTON DC
   RUEADWD/HQDA IMCOM OPS DIV WASHINGTON DC
   RUEADWD/HQDA SEC ARMY WASHINGTON DC
   RUEADWD/HQDA SECRETARIAT WASHINGTON DC
   RUEADWD/HQDA SURG GEN WASHINGTON DC
   RUIAAAA/MEDCOM HQ EOC FT SAM HOUSTON TX
   RUIAAAA/NETCOM G3 CURRENT OPS FT HUACHUCA AZ
   RUIAAAA/NGB WASHINGTON DC
   RUIAAAA/SMDC ARSTRAT CG ARLINGTON VA
   RUIAAAA/SMDC ARSTRAT G3 ARLINGTON VA
   RUIAAAA/SUPERINTENDENT USMA WEST POINT NY
   RUIAAAA/SURGEON GEN FALLS CHURCH VA
   RUIAAAA/USAR AROC FT BRAGG NC
   RUIAAAA/USAR CMD GRP FT BRAGG NC
   RUIAAAA/USAR DCS G33 OPERATIONS FT BRAGG NC
   RUIAAAA/USARCENT G3 FWD
   RUIAAAA/USARPAC COMMAND CENTER FT SHAFTER HI
   RUIAAAA/CDR USAREUR-AF WIESBADEN GE
   RUIPAAA/CDR SETAF-AF VICENZA IT
   INFO RUIAAAA/HQDA AOC DAMO ODO OPS AND CONT PLANS WASHINGTON DC
   RUIAAAA/HQDA AOC G3 DAMO CAT OPSWATCH WASHINGTON DC
   RUIAAAA/HQDA AOC G3 DAMO OD DIR OPS READ AND MOB WASHINGTON DC
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   SUBJ/(CUI) FRAGO 9 TO HQDA EXORD 225-21 (PART 2 OF 2) COVID-19 STEADY
   STATE OPERATIONS
   CUI//
   CONTROLLED BY: HQDA DCS, G-3/5/7
   CONTROLLED BY: DAMO-OD
   CUI CATEGORY: OPSEC
   LIMITED DISSEMINATION CONTROL: FEDCON
   POC: LTC NYKEBA L. ANTHONY 703-692-2804
   SUBJECT: (CUI) FRAGO 9 TO HQDA EXORD 225-21 PART 2 COVID-19 STEADY
   STATE OPERATIONS//
   (U) REFERENCES.
   REF//A/ THROUGH REF/W/ NO CHANGE.
   REF//X/ (U) [RESTATED] HQDA EXORD 222-17 HQDA SENIOR LEADER
   COMMANDER'S CRITICAL INFORMATION REQUIREMENTS (CCIR) AND ALL FRAGOS
   //
   REF//Y/ THROUGH REF/LL/ NO CHANGE.
   REF//MM/ [ADD] FRAGO 8 TO HQDA EXORD 225-21 COVID-19 STEADY STATE
   OPERATIONS, DTG 012359Z NOV 21 //
   REF//NN/ [ADD] OFFICE OF THE UNDER SECRETARY OF DEFENSE FOR
   ACQUISITION AND SUSTAINMENT MEMORANDUM, "CLASS DEVIATION
   2021-O0009-ENSURING ADEQUATE COVID-19 SAFETY PROTOCOLS FOR FEDERAL
   CONTRACTORS," 1 OCTOBER 2021 //
   REF//OO/ [ADD] OFFICE OF THE UNDER SECRETARY OF DEFENSE FOR
   ACQUISITION AND SUSTAINMENT MEMORANDUM, "GUIDANCE FOR REPORTING THE
   USE OF CLAUSE 252.223-7999, "ENSURING ADEQUATE COVID-19 SAFETY
   PROTOCOLS FOR FEDERAL CONTRACTORS" (CLASS DEVIATION 2021-O0009) AND
   OTHER TRANSACTIONS CLAUSE "ENSURING ADEQUATE COVID-19 SAFETY
   PROTOCOLS FOR FEDERAL CONTRACTORS" TO FEDERAL PROCUREMENT DATA
   SYSTEM," 20 OCTOBER 2021 //
   REF//PP/ [ADD] THE PER DIEM, TRAVEL, AND TRANSPORTATION ALLOWANCE
   COMMITTEE, "THE JOINT TRAVEL REGULATIONS (JTR)," 1 OCTOBER 2021 //
   1. (U) SITUATION.
   1.A. NO CHANGE.

   1.B. (U) [CHANGE TO READ] COVID-19 VACCINES AUTHORIZED OR APPROVED BY
   THE U.S. FOOD AND DRUG ADMINISTRATION (FDA) ARE THE MOST EFFECTIVE
   MEDICAL COUNTERMEASURES CURRENTLY AVAILABLE TO COMBAT COVID-19. THE
   ARMY CONTINUES TO ENSURE VACCINE AVAILABILITY TO EVERY DOD
   BENEFICIARY AND CIVILIAN EMPLOYEE SUPPORTED BY THE ARMY HEALTH
   SYSTEM. COMMANDERS AT EVERY ECHELON ARE EXPECTED TO UNDERSTAND THEIR
   FORCE HEALTH PROTECTION STATUS, SUPPORT MANDATORY VACCINATION, AND
   ENCOURAGE COMMUNITY VACCINATION EFFORTS TO OPTIMIZE UNIT
   HEALTH-READINESS.
   1.C. THROUGH 1.J. NO CHANGE.

   2. (U) MISSION. NO CHANGE.
   3. (U) EXECUTION.
   3.A. (U) NO CHANGE.
   3.B. (U) CONCEPT OF THE OPERATION.

   3.B.1. THROUGH 3.B.3. NO CHANGE.
   3.B.4. NO CHANGE.




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   3.B.4.A. THROUGH 3.B.4.B. NO CHANGE.
   3.B.4.C. (U) [CHANGE TO READ] SUPERVISORS AND CIVILIAN EMPLOYEES
   WILL READ AND COMPLY WITH ANNEX NNN, ASSISTANT SECRETARY OF THE ARMY
   FOR MANPOWER AND RESERVE AFFAIRS (ASA(M&RA)) MEMORANDUM IMPLEMENTING
   FORCE HEALTH PROTECTION GUIDANCE (SUPPLEMENT 23) - REVISION 2 -
   DEPARTMENT OF DEFENSE GUIDANCE FOR CORONAVIRUS DISEASE 2019
   VACCINATION ATTESTATION, SCREENING TESTING AND VACCINATION
   VERIFICATION.
   3.B.4.C.1 THROUGH 3.B.4.C.12. [RESCIND]
   3.B.5. (U) [CHANGE TO READ] SERVICE MEMBERS WHO ARE NOT ON ACTIVE
   DUTY AND WHO ARE ALSO DOD CIVILIAN EMPLOYEES OR DOD CONTRACTORS MUST
   FOLLOW THE APPLICABLE REQUIREMENTS IN ANNEX GGG AND ARE SUBJECT TO
   DOD CIVILIAN OR DOD CONTRACTOR REQUIREMENTS, RESPECTIVELY.
   3.B.5.A. NO CHANGE.
   3.B.6. (U) [RESTATED] THE ASSISTANT SECRETARY OF THE ARMY FOR
   MANPOWER AND RESERVE AFFAIRS (ASA(M&RA)) WILL SERVE AS THE PROPONENT
   FOR ARMY POLICY FOR DEPARTMENT OF THE ARMY CIVILIAN PERSONNEL. THIS
   WILL INCLUDE GUIDANCE AND ACCOUNTABILITY FOR COVID-19 VACCINATION,
   COVID-19 VACCINATION EXEMPTIONS, AND TESTING ONCE APPROVED BY THE
   SECARMY.
   3.C. (U) TASKS TO ARMY STAFF AND SUBORDINATE COMMANDS.
   3.C.1. NO CHANGE.

   3.C.2. (U) THE DIRECTOR OF THE ARMY NATIONAL GUARD (DARNG).
   3.C.2.A. THROUGH 3.C.2.E. NO CHANGE.
   3.C.2.F. (U) [CHANGE TO READ] ALL ACTIVATED U.S. ARMY NATIONAL GUARD
   (USARNG) SOLDIERS AFTER 15 DECEMBER 2021 WILL BE FULLY VACCINATED
   PRIOR TO DEPARTING HOME STATION OR HOME OF RECORD IN ORDER TO ENSURE
   MISSION READINESS. VACCINATION WILL BE COMPLETE PRIOR TO ARRIVAL AT
   THE MOBILIZATION-FORCE GENERATION INSTALLATIONS (MFGIS). THESE
   REQUIREMENTS APPLY TO ALL TITLE 10 ACTIVATION / MOBILIZATION
   PROCESSES WHETHER OCONUS OR CONUS AND WORLDWIDE INDIVIDUAL
   AUGMENTATION SYSTEM (WIAS) MOBILIZATIONS.

   3.C.2.G. THROUGH 3.C.2.H. NO CHANGE.
   3.C.3. (U) THE CHIEF OF ARMY RESERVE (OCAR)/COMMANDING GENERAL
   UNITED STATES ARMY RESERVE COMMAND (USARC).
   3.C.3.A. THROUGH 3.C.3.C NO CHANGE.

   3.C.3.D. (U) [CHANGE TO READ] ALL ACTIVATED U.S. ARMY RESERVE (USAR)
   SOLDIERS AFTER 15 DECEMBER 2021 WILL BE FULLY VACCINATED PRIOR TO
   DEPARTING HOME STATION OR HOME OF RECORD IN ORDER TO ENSURE MISSION
   READINESS. VACCINATION WILL BE COMPLETE PRIOR TO ARRIVAL AT THE
   MFGIS. THESE REQUIREMENTS APPLY TO ALL TITLE 10 ACTIVATION /
   MOBILIZATION PROCESSES WHETHER OCONUS OR CONUS AND WIAS
   MOBILIZATIONS.

   3.C.3.E. THROUGH 3.C.3.H. NO CHANGE.
   3.C.4. THROUGH 3.C.15. NO CHANGE.




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   3.C.16. (U) COMMANDER, U.S. ARMY MEDICAL COMMAND (MEDCOM).
   3.C.16.A. THROUGH 3.C.16.O.
   3.C.16.P. (U) [RESCIND]
   3.C.16.Q. (U) [RESCIND]
   3.C.16.R. (U) [ADD] NLT 17 NOVEMBER 2021, SUPPORT ASA(M&RA) TO
   DEVELOP AN INTEGRATED PLAN THAT ADDRESSES COVID-19 TESTING. THE PLAN
   SHOULD ADDRESS FUNDING RESPONSIBILITIES, PROCUREMENT MECHANISMS, AND
   ESSENTIAL PROCESSES/PROCEDURES. COORDINATE WITH OTHER SUPPORTING
   ENTITIES TO INCLUDE, HQDA, DEPUTY CHIEF OF STAFF G-4 (HQDA DCS G-4),
   AND ASSISTANT SECRETARY OF THE ARMY FOR FINANCIAL MANAGEMENT AND
   COMPTROLLER (ASA(FM&C)). DIRLAUTH WITH ASA(M&RA), HQDA DCS G-4, AND
   ASA(FM&C) IS AUTHORIZED.
   3.C.17. THROUGH 3.C.20. NO CHANGE.
   3.C.21. (U) COMMANDER, U.S. ARMY HUMAN RESOURCES COMMAND (HRC).
   3.C.21.A. (U) [RESCIND]

   3.C.22. THROUGH 3.C.29. NO CHANGE.
   3.C.30. (U) DEPUTY CHIEFS OF STAFF, HEADQUARTERS DEPARTMENT OF THE
   ARMY (HQDA DCS).
   3.C.30.A. (U) HQDA, DEPUTY CHIEF OF STAFF G-1 (HQDA DCS G-1).

   3.C.30.A.1. THROUGH 3.C.30.A.4. NO CHANGE.
   3.C.30.A.5. (U) [ADD] NLT 24 NOVEMBER 2021, ESTABLISH THE SUBMISSION
   PACKET REQUIREMENTS AND THE ROUTING PROCESS FOR UNDER SECRETARY OF
   THE ARMY APPROVAL FOR INDOOR AND OUTDOOR MEETINGS, EVENTS, AND
   CONFERENCES SPONSORED BY THE ARMY WITH MORE THAN 50 PARTICIPANTS.

   3.C.30.B. (U) HQDA, DEPUTY CHIEF OF STAFF G-4 (HQDA DCS G-4).
   3.C.30.B.1. NO CHANGE.
   3.C.30.B.2. (U) [ADD] NLT 17 NOVEMBER 2021, SUPPORT ASA(M&RA) TO
   DEVELOP AN INTEGRATED PLAN THAT ADDRESSES COVID-19 TESTING. THE PLAN
   SHOULD ADDRESS FUNDING RESPONSIBILITIES, PROCUREMENT MECHANISMS, AND
   ESSENTIAL PROCESSES/PROCEDURES. COORDINATE WITH OTHER SUPPORTING
   ENTITIES TO INCLUDE, MEDCOM AND ASA(FM&C). DIRLAUTH WITH ASA(M&RA),
   MEDCOM, AND ASA(FM&C) IS AUTHORIZED.
   3.C.31. (U) DIRECTOR OF THE ARMY STAFF (DAS).

   3.C.31.A. NO CHANGE.
   3.C.31.B. (U) PROVOST MARSHAL GENERAL (DAPM).
   3.C.31.B.1. (U) [RESCIND]
   3.C.31.C. (U) THE JUDGE ADVOCATE GENERAL (OTJAG).

   3.C.31.C.1. (U) [RESCIND]
   3.C.32. (U) ASSISTANT SECRETARY OF THE ARMY FOR MANPOWER AND RESERVE
   AFFAIRS (ASA(M&RA)).



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   3.C.32.A.1. THROUGH 3.C.32.A.6. NO CHANGE.
   3.C.32.A.7. (U) [ADD] NLT 17 NOVEMBER 2021, LEAD THE DEVELOPMENT OF
   AN INTEGRATED PLAN IN COORDINATION WITH MEDCOM, HQDA DCS G-4, AND
   ASA(FM&C) THAT ADDRESSES COVID-19 TESTING. THE PLAN SHOULD ADDRESS
   FUNDING RESPONSIBILITIES, PROCUREMENT MECHANISMS, AND ESSENTIAL
   PROCESSES/PROCEDURES. DIRLAUTH WITH MEDCOM, HQDA DCS G-4, AND
   ASA(FM&C) IS AUTHORIZED.
   3.C.32.A.8. (U) [ADD] NLT 17 NOVEMBER 2021, LEAD THE DEVELOPMENT OF
   DETAILED ARMY-SPECIFIC IMPLEMENTATION GUIDANCE AND DIRECTION IAW
   ANNEX GGG (FHP 23.2) FOR THE FOLLOWING PROCESSES: 1) CIVILIAN
   VERIFICATION AND VACCINATION REPORTING, 2) NEW CIVILIAN HIRING, 3)
   CIVILIAN EXEMPTIONS, 4) CIVILIAN ENFORCEMENT (DISCIPLINARY ACTIONS),
   AND 5) CONTRACTOR AND OFFICIAL VISITORS ATTESTATION & VERIFICATION.
   3.C.33.A. (U) [ADD] ASSISTANT SECRETARY OF THE ARMY FOR FINANCIAL
   MANAGEMENT AND COMPTROLLER (ASA(FM&C))
   3.C.33.A.1. (U) [ADD] NLT 17 NOVEMBER 2021, SUPPORT ASA(M&RA) TO
   DEVELOP AN INTEGRATED PLAN THAT ADDRESSES COVID-19 TESTING. THE PLAN
   SHOULD ADDRESS FUNDING RESPONSIBILITIES, PROCUREMENT MECHANISMS, AND
   ESSENTIAL PROCESSES/PROCEDURES. COORDINATE WITH OTHER SUPPORTING
   ENTITIES TO INCLUDE, MEDCOM AND HQDA DCS G-4. DIRLAUTH WITH
   ASA(M&RA), MEDCOM, AND HQDA DCS G-4 IS AUTHORIZED.
   3.D. (U) COORDINATING INSTRUCTIONS.
   3.D.1. NO CHANGE.

   3.D.1.A. NO CHANGE.
   3.D.1.B. (U) [CHANGE TO READ] TRAVEL FROM, TO, AND THROUGH LOCATIONS
   THAT ARE RESTRICTED REQUIRES AN EXEMPTION OR A WAIVER, AS OUTLINED IN
   ANNEX E. RESTRICTED LOCATIONS ARE TRACKED IAW 3.C.1.A.1.

   3.D.1.B.1. (U) [RESTATED] SECRETARY OF THE ARMY (SECARMY)
   MEMORANDUM, "DELEGATION OF AUTHORITY TO APPROVE TRAVEL OF ARMY
   PERSONNEL TRANSITION FRAMEWORK," 20 APRIL 2021, ANNEX E, PROVIDES
   GUIDANCE ON RESTRICTED TRAVEL WAIVER AUTHORITY. ANNEX E ALSO LISTS
   THE 12 EXEMPTIONS TO TRAVEL RESTRICTIONS INCLUDING AUTHORIZED LEAVE.
   UNIT-LEVEL COMMANDERS AND OTHER LEAVE APPROVAL AUTHORITIES PURSUANT
   TO AR 600-8-10, NOT BELOW THE COMPANY, BATTERY, OR DETACHMENT LEVEL,
   WILL USE THE PROCEDURES IN AR 600-8-10 TO PROCESS LEAVE AND PASS
   REQUESTS FOR SOLDIERS. THIS AUTHORITY MAY BE FURTHER RESTRICTED BY
   COMMANDERS AND SUPERVISORS IN THE CHAIN OF COMMAND OR SUPERVISION.
   3.D.1.B.1.A. (U) [ADD] FULLY VACCINATED CIVILIAN EMPLOYEES ARE
   AUTHORIZED FOR OFFICIAL TRAVEL, BOTH DOMESTIC AND INTERNATIONAL, AND
   MUST COMPLY WITH PERSONNEL MOVEMENT AND TRAVEL RESTRICTIONS IAW ANNEX
   B AND ANNEX E.
   3.D.1.B.1.B. (U) [ADD] ALL OFFICIAL TRAVEL AND GOVERNMENT-FUNDED
   TRAVEL FOR UNVACCINATED CIVILIAN EMPLOYEES, TO INCLUDE CIVILIAN
   EMPLOYEES WITH A VACCINATION EXEMPTION, MUST BE DETERMINED AS A
   MISSION-CRITICAL TRAVEL BY THE UNDER SECRETARY OF ARMY IAW ANNEX KKK.

   3.D.2. THROUGH 3.D.7. NO CHANGE.
   3.D.8. NO CHANGE.




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   3.D.8.A. NO CHANGE.
   3.D.8.B. NO CHANGE.
   3.D.8.B.1. THROUGH 3.D.8.B.5 NO CHANGE.
   3.D.8.B.6. (U) [CHANGE TO READ] EXEMPTIONS. THE TWO TYPES OF
   EXEMPTIONS FOR SERVICE MEMBERS FROM IMMUNIZATION ARE MEDICAL AND
   ADMINISTRATIVE. ADMINISTRATIVE EXEMPTIONS INCLUDE RELIGIOUS
   ACCOMMODATIONS, AS WELL AS OTHERS ENUMERATED IN AR 40-562, TABLE C-2
   (IMMUNIZATIONS AND CHEMOPROPHYLAXIS FOR THE PREVENTION OF INFECTIOUS
   DISEASES). COMMANDERS WILL REFER TO AR 40-562, PARAGRAPH 2-6, AND AR
   600-20, APPENDIX P-2, WHEN PROCESSING IMMUNIZATION EXEMPTION
   REQUESTS. SERVICE MEMBERS WITH PREVIOUS INFECTIONS OR POSITIVE
   SEROLOGY ARE NOT AUTOMATICALLY EXEMPT FROM FULL VACCINATION
   REQUIREMENTS AND SHOULD CONSULT WITH THEIR HEALTHCARE PROVIDER(HCP).
   3.D.8.B.6.A. NO CHANGE.
   3.D.8.B.6.B. NO CHANGE.
   3.D.8.B.6.B.1. (U) [CHANGE TO READ] THE COMMANDER MUST COUNSEL THE
   SOLDIER THAT NONCOMPLIANCE WITH THE LAWFUL IMMUNIZATION ORDER MAY
   ADVERSELY IMPACT DEPLOYABILITY, ASSIGNMENT, RETENTION OF SECURITY
   CLEARANCE, OR INTERNATIONAL TRAVEL, AND THAT THE EXEMPTION MAY BE
   REVOKED UNDER IMMINENT RISK CONDITIONS. IAW AR 600-20, APPENDIX P-2B,
   COMMANDERS WILL ARRANGE FOR AN IN-PERSON OR TELEPHONIC INTERVIEW
   BETWEEN A SOLDIER REQUESTING A RELIGIOUS ACCOMMODATION AND THE UNIT
   OR OTHER ASSIGNED CHAPLAIN, AS ADVISED BY THE SENIOR CHAPLAIN
   PRESENT. THE CHAPLAIN ASSESSES THE BASIS AND SINCERITY OF THE BELIEF
   AND MUST PROVIDE A WRITTEN MEMORANDUM TO THE CHAIN OF COMMAND
   PURSUANT TO THE REQUIREMENTS OF AR 600-20, APPENDIX P-2B (2). A
   LICENSED HEALTH CARE PROVIDER WILL COUNSEL THE APPLICANT TO ENSURE
   THE APPLICANT IS MAKING AN INFORMED DECISION IAW AR 600-20, APPENDIX
   P-2B (3) AND SHOULD DOCUMENT THE CURRENT INDIVIDUAL MEDICAL READINESS
   IMMUNIZATION STATUS OF ALL VACCINATIONS TO INCLUDE COVID-19 OF THE
   APPLICANT IN THE COUNSELING.

   3.D.8.B.6.B.2. (U) [CHANGE TO READ] THE IMMEDIATE COMMANDER THROUGH
   THE GENERAL COURT-MARTIAL CONVENING AUTHORITY (GCMCA) MUST REVIEW THE
   REQUEST AND RECOMMEND APPROVAL OR DENIAL TO TSG. CHAIN-OF-COMMAND
   RECOMMENDATIONS WILL ADDRESS THE FACTORS OF MILITARY NECESSITY
   DESCRIBED IN AR 600-20, PARAGRAPH 5-6A. A LEGAL REVIEW MUST BE
   CONDUCTED AT THE GCMCA LEVEL PRIOR TO FORWARDING THE REQUEST. UPON
   COMPLETION, THE GCMCA WILL UPLOAD THE REQUEST INTO ENTERPRISE TASK
   MANAGEMENT SOFTWARE SOLUTION (ETMS2; FORMERLY TASK MANAGEMENT TOOL
   (TMT)) (DASG-VACC-RA) FOR STAFFING TO TSG. COMMANDERS WILL HAVE CODE
   "AT" (NOT "AR") ENTERED IN MEDPROS FOR SOLDIERS WITH A PENDING
   RELIGIOUS EXEMPTION REQUEST.

   3.D.8.B.6.B.3. (U) [ADD] SOLDIERS WHO ARE DENIED RELIGIOUS
   EXEMPTIONS BY THE SURGEON GENERAL MAY APPEAL THE DECISION TO THE
   ASSISTANT SECRETARY OF THE ARMY FOR MANPOWER AND RESERVE AFFAIRS
   (ASA(M&RA)). ACTIVE COMPONENT SOLDIERS MUST SUBMIT THEIR WRITTEN
   APPEAL, INCLUDING THE SURGEON GENERAL'S DENIAL DECISION MEMO THROUGH
   THEIR IMMEDIATE COMMANDER TO THE GENERAL COURT-MARTIAL CONVENING
   AUTHORITY (GCMCA) WITHIN SEVEN CALENDAR DAYS OF RECEIPT OF THEIR
   DENIED RELIGIOUS EXEMPTION REQUEST. RESERVE COMPONENT SOLDIERS MUST
   SUBMIT THEIR WRITTEN APPEAL AND SURGEON GENERAL DENIAL DECISION MEMO
   THROUGH THEIR IMMEDIATE COMMANDER TO THE GCMCA WITHIN 30 CALENDAR
   DAYS OF RECEIPT OF THEIR DENIED RELIGIOUS EXEMPTION REQUEST.
   COMMANDERS ARE REQUIRED TO PROVIDE RECOMMENDATIONS TO THE ASA(M&RA)



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   WHEN SOLDIERS PROVIDE NEW INFORMATION IN THEIR APPEAL. COMMANDERS ARE
   ENCOURAGED, BUT NOT REQUIRED, TO PROVIDE RECOMMENDATIONS TO THE
   ASA(M&RA) WHEN SOLDIERS DO NOT PROVIDE ANY NEW INFORMATION. THE GCMCA
   WILL UTILIZE ETMS2 (DASG-VACC-RM) TO SUBMIT THE APPEAL TO THE OFFICE
   OF THE SURGEON GENERAL FOR FURTHER PROCESSING TO THE ASA(M&RA).
   ASA(M&RA) DECISIONS ARE FINAL AND WILL BE CONVEYED BACK TO THE GCMCA
   FOR NOTIFICATION TO THE SOLDIERS. COMMANDERS ARE RESPONSIBLE FOR
   FACILITATING DOCUMENTATION FOR SOLDIERS INTO ETMS2.
   3.D.8.B.6.C. THROUGH 3.D.8.B.6.D. NO CHANGE.
   3.D.8.B.6.E. (U) [ADD] COMMANDERS WILL INFORM SOLDIERS OF THE UPDATED
   COUNSELING FORMS THAT MAY BE FOUND IN ANNEX NN AND ANNEX OO.
   EFFECTIVE IMMEDIATELY, PREVIOUS COUNSELINGS CONDUCTED ARE STILL VALID
   AND MAY BE UPDATED AS NECESSARY.
   3.D.8.B.7. THROUGH 3.D.8.B.9. NO CHANGE.
   3.D.8.C. THROUGH 3.D.8.I. NO CHANGE.
   3.D.8.J. (U) [CHANGE TO READ] READ AND COMPLY IAW ANNEX III,
   ASSISTANT SECRETARY OF DEFENSE MEMORANDUM, UPDATED GUIDANCE ON
   CO-ADMINISTRATION OF CORONAVIRUS DISEASE 2019 VACCINES WITH OTHER
   VACCINES, 7 OCTOBER 2021. COVID-19 VACCINE PRODUCTS (E.G., MODERNA,
   PFIZER, AND J&J VACCINES) MAY BE CO-ADMINISTERED WITH OTHER VACCINES
   WITHOUT REGARD TO TIMING, WITH THE EXCEPTION OF LIVE SMALLPOX VACCINE
   (ACAM2000).
   3.D.8.J.1. NO CHANGE.

   3.D.8.J.2. (U) [ADD] HEALTH CARE PROVIDERS WILL AVOID
   CO-ADMINISTRATION OF LIVE SMALLPOX VACCINE (ACAM2000) AND AN MRNA
   COVID-19 VACCINE. IT IS RECOMMENDED TO SEPARATE ADMINISTRATION OF
   LIVE SMALLPOX VACCINE (ACAM2000) AND MRNA COVID-19 VACCINE BY AT
   LEAST 28 DAYS.
   3.D.8.K. NO CHANGE.

   3.D.8.L. (U) [CHANGE TO READ] FDA HAS APPROVED COVID-19 VACCINE
   SHELF LIFE EXTENSIONS.
   3.D.8.L.1. (U) [ADD] IAW ANNEX GG, PFIZER COVID-19 VACCINE RECEIVED
   A 90-DAY SHELF LIFE EXTENSION FOR DOSES MAINTAINED AT ULTRA COLD
   STORAGE (-90C TO -60C) WITH EXPIRATION DATES IN AUGUST 2021 THROUGH
   FEBRUARY 2022.
   3.D.8.L.2. (U) [ADD] EFFECTIVE 28 OCTOBER 2021, MODERNA COVID-19
   VACCINE RECEIVED A 60-DAY SHELF LIFE EXTENSION FOR SPECIFIC DOSES
   MAINTAINED AT IN A FROZEN STATE. SPECIFIC EXPIRATION DATES ARE LISTED
   IN ANNEX LLL OR MAY BE FOUND AT THE CASE SENSITIVE WEB LINK THAT IS
   FOUND IN ANNEX LLL.
   3.D.8.M. NO CHANGE.
   3.D.8.N. (U) [CHANGE TO READ] READ AND COMPLY IAW ANNEX JJJ, UNDER
   SECRETARY OF DEFENSE MEMORANDUM, "CORONAVIRUS DISEASE 2019
   VACCINATION FOR PREGNANT AND BREASTFEEDING SERVICE MEMBERS," ISSUED 5
   OCTOBER 2021.
   3.D.8.O. NO CHANGE.
   3.D.8.P. (U) [CHANGE TO READ] MTFS ARE AUTHORIZED TO BEGIN



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   ADMINISTERING COVID-19 VACCINE BOOSTER DOSES TO ELIGIBLE INDIVIDUALS.
   3.D.8.P.1. (U) [CHANGE TO READ] A BOOSTER IS AN ADDITIONAL VACCINE
   DOSE ADMINISTERED TO RE-ENGAGE THE IMMUNE SYSTEM. A BOOSTER MAY BE
   ADMINISTERED AT LEAST SIX (6) MONTHS AFTER COMPLETING THE TWO-DOSE
   PFIZER-BIONTECH / COMIRNATY SERIES OR TWO-DOSE MODERNA SERIES. A
   BOOSTER MAY BE ADMINISTER AT LEAST TWO (2) MONTHS AFTER COMPLETING
   PRIMARY VACCINATION WITH J&J COVID-19 VACCINE.
   3.D.8.P.2. (U) [CHANGE TO READ] THIS BOOSTER IS DIFFERENT THAN THE
   AUTHORIZED "THIRD DOSE" RECOMMENDED FOR IMMUNOCOMPROMISED (ANNEX II).
   IMMUNOCOMPROMISED PATIENTS SHOULD RECEIVE THE THIRD DOSE OF AN MRNA
   COVID-19 VACCINE 28 DAYS FOLLOWING THE TWO-DOSE REGIMEN OF AN MRNA
   COVID-19 VACCINE.
   3.D.8.P.3. (U) [RESTATED] BOOSTER DOSES ARE NOT A MANDATORY COVID-19
   VACCINE REQUIREMENT AT THIS TIME.
   3.D.8.P.4. (U) [CHANGE TO READ] FOR MRNA COVID-19 VACCINES,
   INDIVIDUALS MEETING THE FOLLOWING CRITERIA ARE ELIGIBLE TO RECEIVE A
   BOOSTER: ?65 YEARS OF AGE, AGE 18+ WHO LIVE IN LONG-TERM CARE
   SETTINGS, AGE 18+ WHO HAVE UNDERLYING MEDICAL CONDITIONS, AND AGE 18+
   WHO WORK OR LIVE IN HIGH-RISK SETTINGS.

   3.D.8.P.5. (U) [CHANGE TO READ] FOR THE J&J COVID-19 VACCINE,
   INDIVIDUALS MEETING THE FOLLOWING CRITERIA ARE ELIGIBLE TO RECEIVE A
   BOOSTER: AGE 18+.
   3.D.8.P.6. (U) [ADD] ELIGIBLE INDIVIDUALS MAY CHOOSE WHICH VACCINE
   THEY RECEIVE AS A BOOSTER DOSE. SOME PEOPLE MAY HAVE A PREFERENCE FOR
   THE VACCINE TYPE THAT THEY ORIGINALLY RECEIVED AND OTHERS MAY PREFER
   TO GET A DIFFERENT BOOSTER. THE CENTERS FOR DISEASE CONTROL AND
   PREVENTION RECOMMENDATIONS NOW ALLOW FOR THIS TYPE OF MIX AND MATCH
   DOSING FOR BOOSTER SHOTS.
   3.D.8.Q. (U) [ADD] IAW ANNEX RRR, ALL SERVICE MEMBERS IN THE DOD ARE
   REQUIRED TO COMPLY WITH APPLICABLE MEDICAL READINESS REQUIREMENTS.
   ONE SUCH REQUIREMENT IS THAT UPON ARRIVAL AT INITIAL ENTRY TRAINING,
   ALL SERVICE MEMBERS MUST RECEIVE, IF NOT ALREADY INOCULATED,
   IMMUNIZATIONS REQUIRED BY THE JOINT REGULATION FOR IMMUNIZATIONS AND
   CHEMOPROPHYLAXIS FOR THE PREVENTION OF INFECTIOUS DISEASES AND OTHER
   APPLICABLE DOD GUIDANCE. THESE VACCINATIONS INCLUDE BUT ARE NOT
   LIMITED TO COVID-19, MENINGOCOCCAL, MEASLES/MUMPS/RUBELLA,
   TETANUS-DIPHTHERIA-PERTUSSIS, AND VARICELLA. APPLICANTS FOR MILITARY
   SERVICE AND SERVICE MEMBERS MAY SEEK AN EXEMPTION FOR VACCINATION
   REQUIREMENTS BASED ON A QUALIFYING MEDICAL OR RELIGIOUS BASIS FROM
   THE MILITARY SERVICE CONCERNED. SHOULD AN EXEMPTION BE DENIED, THE
   MEMBER WILL BE REQUIRED TO COMPLY WITH APPLICABLE MEDICAL READINESS
   REQUIREMENTS.

   3.D.9. THROUGH 3.D.11. NO CHANGE.
   3.D.12. (U) COMMANDERS CRITICAL INFORMATION REQUIREMENTS (CCIR)
   3.D.12.A. THROUGH 3.D.12.J.
   3.D.12.K. (U) [ADD] SENIOR COMMANDERS AND INSTALLATION/FACILITY
   MANAGERS WILL NOTIFY THE ARMY WATCH PRIOR TO A DECISION TO CHANGE THE
   POSTURE OF MASK WEARING IAW CDC COMMUNITY TRANSMISSION GUIDANCE IN
   3.D.5.
   3.D.13. NO CHANGE.



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   3.D.14. (U) [CHANGE TO READ] TOTAL ARMY COMPLETION GOALS: COMPO 1
   WILL ACHIEVE 100% COMPLETE VACCINATION NLT 15 DECEMBER 2021. COMPO 2
   AND COMPO 3 WILL ACHIEVE 100% COMPLETE VACCINATION NLT 30 JUNE 2022.
   CIVILIANS WILL ACHIEVE 100% COMPLETE VACCINATION NLT 22 NOVEMBER
   2021. COMMANDERS WILL EXHAUST SUPPLIES ON HAND WITH URGENCY IN
   PURSUIT OF 100% VACCINATION.
   3.D.14.A. (U) [ADD] COMMANDERS EXECUTE THESE KEY MILESTONES FOR THE
   ARMY IMPLEMENTATION TIMELINE:
   22 NOV 21: DOD CIVILIAN FULLY VACCINATED MANDATE DEADLINE.
   22 NOV 21: DOD CIVILIAN EXEMPTION REQUEST SUBMISSION DUE.
   22 NOV 21: 100% COMPLETION OF DOD CIVILIAN EMPLOYEE VERIFICATION ON
   MILCONNECT (PRIMARY IF AVAILABLE) OR HARD COPY DD FORM 3175.
   23 NOV 21: 100% COMPLETION OF SUPERVISOR VERIFICATION FOR THEIR DOD
   CIVILIAN EMPLOYEES ON MILCONNECT (PRIMARY IF AVAILABLE) OR HARD COPY
   DD FORM 3175.
   23 NOV 21: BPT CONDUCT 100% SCREENING TEST FOR UNVACCINATED DOD
   CIVILIANS WHO ARE UNVACCINATED EVEN IF REQUESTING AN EXEMPTION OR
   HAVE RECEIVED AN APPROVED EXEMPTION.
   23 NOV 21: OFFICIAL VISITOR ACCESS ATTESTATION ON THE DD FROM 3150
   AND REVIEW OF A NEGATIVE COVID-19 TEST RESULT WITHIN 72 HOURS FOR
   THOSE INDIVIDUALS THAT ARE UNVACCINATED OR CHOOSE NOT TO DISCLOSE A
   STATUS.
   23 NOV 21: DOD CIVILIAN ENFORCEMENT/DISCIPLINARY ACTION WILL NOT BE
   PURSUED AGAINST 1) CIVILIAN EMPLOYEES PRIOR TO 23 NOV 21, 2)
   EMPLOYEES WITH AN APPROVED EXEMPTION, OR 3) EMPLOYEES WHO ARE PENDING
   A DECISION ON A REQUESTED EXEMPTION.
   08 DEC 21: DOD CONTRACTOR FULLY VACCINATED MANDATE DEADLINE. DOD
   VENDORS MUST VERIFY THAT THEIR CONTRACTORS ARE FULLY VACCINATED.
   09 DEC 21: BPT CONDUCT 100% SCREENING TEST FOR CONTRACTORS THAT
   ATTEST TO BEING UNVACCINATED OR CHOOSE NOT TO DISCLOSE A STATUS.
   15 DEC 21: COMPO 1 FULLY VACCINATED MANDATE DEADLINE.
   16 DEC 21: BPT CONDUCT 100% SCREENING TEST FOR UNVACCINATED COMPO 1
   SERVICE MEMBERS THAT ARE UNVACCINATED EVEN IF REQUESTING AN EXEMPTION
   OR RECEIVED AN APPROVED EXEMPTION.
   30 JUN 22: COMPO 2/3 FULLY VACCINATED MANDATE DEADLINE.
   01 JUL 22: BPT CONDUCT 100% SCREENING TEST FOR UNVACCINATED COMPO
   2/3 SERVICE MEMBERS THAT ARE UNVACCINATED EVEN IF REQUESTING AN
   EXEMPTION OR RECEIVED AN APPROVED EXEMPTION.
   3.D.15. NO CHANGE.
   3.D.15.A. NO CHANGE.
   3.D.15.B. (U) [CHANGE TO READ] INDIVIDUALS (MIL, CIV, OR CTR) WHO
   ARE UNVACCINATED OR DECLINE TO PROVIDE INFORMATION REGARDING
   VACCINATION STATUS ARE LIMITED TO MISSION-CRITICAL OFFICIAL TRAVEL,
   BOTH DOMESTIC AND INTERNATIONAL. MISSION CRITICAL IS DETERMINED BY
   THE UNDER SECRETARY OF THE ARMY IAW ANNEX KKK.
   3.D.15.B.1. (U) [ADD] DETAILED GUIDANCE ON MISSION CRITICAL OFFICIAL
   TRAVEL FROM THE UNDER SECRETARY OF THE ARMY WILL BE FORTHCOMING.
   3.D.15.C. (U) [CHANGE TO READ] ANY IN PERSON INDOOR OR OUTDOOR
   MEETINGS, EVENTS, AND CONFERENCES SPONSORED BY THE ARMY WITH MORE
   THAN 50 PARTICIPANTS WILL REQUIRE APPROVAL FROM THE UNDER SECRETARY
   OF THE ARMY. MEETINGS DO NOT INCLUDE MILITARY TRAINING AND EXERCISES.
   3.D.15.C.1. (U) [ADD] ADDITIONAL GUIDANCE AND DIRECTION FROM HQDA
   DCS G-1 WILL BE FORTHCOMING ON THE SUBMISSION PACKET REQUIREMENTS FOR



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   INDOOR AND OUTDOOR MEETINGS, EVENTS, AND CONFERENCES SPONSORED BY THE
   ARMY, WITH MORE THAN 50 PARTICIPANTS.
   3.D.15.D. (U) [CHANGE TO READ] IAW ANNEX KKK, FOR APPROVED IN-PERSON
   MEETINGS, THE MEETING ORGANIZER WILL REQUIRE ALL NON-MILITARY
   ATTENDEES TO SHOW PROOF OF VACCINATION ON A COMPLETED DD FORM 3150.
   IN-PERSON ATTENDEES WHO ARE NOT FULLY VACCINATED, OR WHO DECLINE TO
   PROVIDE INFORMATION ABOUT THEIR VACCINATION STATUS, MAY NOT ATTEND
   THE MEETING IF THEY DO NOT SHOW THE MEETING ORGANIZER PROOF OF A
   NEGATIVE FOOD AND DRUG ADMINISTRATION-AUTHORIZED OR APPROVED COVID-19
   TEST COMPLETED NO EARLIER THAN 72 HOURS PRIOR TO THE MEETING AND AT
   LEAST WEEKLY IF THE MEETING EXCEEDS ONE (1) WEEK IN DURATION.

   3.D.16. (U) [CHANGE TO READ] THIS ORDER IMPLEMENTS ANNEX GGG, FHP
   23.2, AND ANNEX NNN, ASA(M&RA) GUIDANCE ON FHP 23.2. THESE
   MEMORANDUMS INFORM COMMANDERS AND SUPERVISORS OF THE SPECIFIC DOD
   DATES FOR MEETING CIVILIAN VACCINATION REQUIREMENTS.
   3.D.16.A. (U) [ADD] EMPLOYEES AND SUPERVISORS SHOULD COMPLETE THEIR
   PORTIONS OF DD FORM 3175 IMMEDIATELY IN MILCONNECT, OR USE A
   HARD-COPY (ANNEX HHH) IF MILCONNECT IS NOT ACCESSIBLE.
   3.D.16.A.1. (U) [ADD] SUPERVISORS WILL SEEK THE ADVICE OF THEIR
   SERVICING HUMAN RESOURCES, MEDICAL, AND LEGAL OFFICES REGARDING
   STORAGE OF HARD-COPY DD FORM 3175S (ANNEX HHH) AND ALL ADDITIONAL
   MEDICAL INFORMATION SUCH AS PROOF OF VACCINATION. INFORMATION
   COLLECTED MUST BE HANDLED IN ACCORDANCE WITH PRIVACY REQUIREMENTS.
   3.D.16.B. (U) [ADD] COMMANDERS/DIRECTORS WILL DIRECT SUPERVISORS TO
   ISSUE A STANDARDIZED NOTICE MEMORANDUM (ANNEX OOO) TO THEIR CIVILIAN
   EMPLOYEES. THE ASA(M&RA), ASSISTANT G-1 (CIVILIAN PERSONNEL) HAS
   PROVIDED A NUMBERED MESSAGE (# 2021082) CONTAINING THE STANDARDIZED
   MEMORANDUM THAT MUST BE USED, SUBJECT: EMPLOYEE NOTIFICATION,
   MANDATORY COVID-19 VACCINATION FOR FEDERAL EMPLOYEES. EXAMPLE IS
   PROVIDED AS ANNEX OOO, REFER TO NUMBERED MESSAGE FOR WORKING COPY.
   3.D.16.B.1. (U) [ADD] THE STANDARDIZED NOTICE MEMORANDUM MUST BE
   PRESENTED TO ALL CIVILIAN EMPLOYEES. THIS INCLUDES EMPLOYEES ON
   TELEWORK, EMPLOYEES WORKING REMOTLY, AND EMPLOYEES WHO HAVE ALREADY
   BEEN FULLY VACCINATED. EMPLOYEES MUST ACKNOWLEDGE RECEIPT OF THE
   NOTIFICATION AND RETURN A SIGNED COPY TO THEIR SUPERVISOR NO LESS
   THAN 5 WORK DAYS FROM THE DATE OF THE SUPERVISOR'S MEMORANDUM.

   3.D.16.C. (U) [ADD] COMMANDERS/DIRECTORS WILL DIRECT SUPERVISORS TO
   INFORM ALL EMPLOYEES THAT EXEMPTION REQUESTS SHOULD BE SUBMITTED NO
   LATER THAN 22 NOVEMBER 2021, ABSENT EXTENUATING CIRCUMSTANCES.
   EMPLOYEES MUST PROVIDE AN OFFICIAL STATEMENT TO THEIR SUPERVISOR THAT
   DESCRIBES THE MEDICAL OR RELIGIOUS REASON FOR OBJECTION TO
   VACCINATION AGAINST COVID-19.

   3.D.16.C.1. (U) [ADD] EMPLOYEES SHOULD USE DD FORM 3176 "REQUEST FOR
   A MEDICAL EXEMPTION OR DELAY TO THE COVID-19 VACCINATION
   REQUIREMENT," (ANNEX PPP) OR DD FORM 3177, "REQUEST FOR A RELIGIOUS
   EXEMPTION TO THE COVID-19 VACCINATION REQUIREMENT," (ANNEX QQQ). IN
   THE EVENT EMPLOYEES HAVE SUBMITTED EXEMPTIONS, SUPERVISORS SHOULD
   HOLD UNTIL FURTHER GUIDANCE.

   3.D.16.C.2. (U) [ADD] CIVILIAN EMPLOYEES SHOULD BE PREPARED TO
   INITIATE VACCINE SEQUENCE IMMEDIATELY IF EXEMPTION REQUESTS ARE
   DENIED.
   3.D.16.C.3. (U) [ADD] ADDITIONAL GUIDANCE FROM ASA(M&RA) WILL BE



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   FORTHCOMING ON THE CIVILIAN EMPLOYEE EXEMPTION PROCESS.
   3.D.16.D. (U) [ADD] EMPLOYEES WHO REFUSE TO BE VACCINATED, OR TO
   PROVIDE PROOF OF VACCINATION, ARE SUBJECT TO DISCIPLINARY MEASURES,
   UP TO AND INCLUDING REMOVAL FROM FEDERAL SERVICE.
   3.D.16.D.1. (U) [ADD] DISCIPLINARY ACTIONS RELATED TO THE
   VACCINATION REQUIREMENT WILL NOT BE PURSUED AGAINST 1) CIVILIAN
   EMPLOYEES PRIOR 23 NOVEMBER 2021, 2) EMPLOYEES WITH AN APPROVED
   EXEMPTION, OR 3) EMPLOYEES WHO ARE PENDING A DECISION ON A REQUESTED
   EXEMPTION.
   3.D.16.D.2. (U) [ADD] PROGRESSIVE ENFORCEMENT ACTIONS INCLUDE, BUT
   ARE NOT LIMITED TO: 1) A 5 CALENDAR-DAY PERIOD OF COUNSELING AND
   EDUCATION. 2) A SHORT SUSPENSION WITHOUT PAY, GENERALLY 14 CALENDAR
   DAYS OR LESS, WITH AN APPROPRIATE NOTICE PERIOD. SENIOR EXECUTIVE
   SERVICE MEMBERS MAY ONLY BE SUSPENDED FRO MORE THAN 14 CALENDAR DAYS.
   3) REMOVAL FROM FEDERAL SERVICE FOR FAILING TO FOLLOW A DIRECT ORDER.
   3.D.16.D.3. (U) [ADD] ADDITIONAL GUIDANCE FROM ASA(M&RA) ON
   DISCIPLINARY ACTIONS (CIVILIAN COVID-19 VACCINATION ENFORCEMENT) WILL
   BE FORTHCOMING.

   3.D.16.E. (U) [ADD] CIVILIAN EMPLOYEES UNABLE TO OBTAIN A REQUIRED
   VACCINATION AT A MILITARY TREATMENT FACILITY (MTF) MAY BE AUTHORIZED
   THE STANDARD TRAVEL AND TRANSPORTATION ALLOWANCES IAW REF PP
   PARAGRAPH 033012.
   3.D.16.F. (U) [ADD] IAW ANNEX MMM, CIVILIAN EMPLOYEES WHO RECEIVED
   THE REQUIRED COVID-19 VACCINATIONS ON OR AFTER 9 SEPTEMBER 21 MAY BE
   AFFORDED COVERAGE UNDER THE FEDERAL EMPLOYEES COMPENSATION ACT (FECA)
   FOR 1) ADVERSE REACTIONS TO THE VACCINE ITSELF, AND 2) INJURIES
   SUSTAINED AS THE DIRECT RESULT OF AN EMPLOYEE RECEIVING THEIR
   MANDATED VACCINATION.
   3.D.16.G. (U) [ADD] DETAILED ARMY-SPECIFIC IMPLEMENTING GUIDANCE AND
   DIRECTION FROM ASA(M&RA) WILL BE FORTHCOMING ON CIVILIAN VACCINATION
   REPORTING AND NEW CIVILIAN HIRING.
   3.D.17. (U) [ADD] IAW ANNEX GGG, COMMANDERS BE PREPARED TO INITIATE
   ON-SITE COVID-19 SCREENING TESTING (NON-CLINICAL) FOR INDIVIDUALS WHO
   ARE UNVACCINATED, HAVE A VALID EXEMPTION, OR ARE PENDING
   DETERMINATION OF A SUBMITTED EXEMPTION.
   3.D.17.A. (U) [ADD] ORDERING INFORMATION FOR OVER-THE-COUNTER
   NON-CLINICAL TESTS MAY BE FOUND IN ANNEX SSS.
   3.D.17.B. (U) [ADD] ARMY-SPECIFIC IMPLEMENTING GUIDANCE ON COVID-19
   TESTING FROM ASA(M&RA) WILL BE FORTHCOMING.

   3.D.18. (U) [ADD] SENIOR MISSION COMMANDERS AND
   INSTALLATION/FACILITY MANAGERS WILL DEVELOP INTEGRATED PLANS THAT
   DIRECT RESPONSIBILITIES AND AUTHORITIES FOR REVIEWING COVID-19
   VACCINATION ATTESTATION DOCUMENTATION (DD FORM 3150) AND VERIFICATION
   OF TESTING DOCUMENTATION TO CONTROL ACCESS OF CONTRACTORS AND
   OFFICIAL VISITORS TO THEIR DOD FACILITIES IN ACCORDANCE WITH ANNEX
   GGG, FHP 23.2.

   3.D.18.A. (U) [ADD] ADDITIONAL GUIDANCE ON IMPLEMENTATION FOR REVIEW
   OF COVID-19 VACCINATION ATTESTATION DOCUMENTATION AND VERIFICATION OF
   TESTING DOCUMENTATION WILL BE FORTHCOMING.




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   4. (U) SUSTAINMENT. NOT USED.
   5. (U) COMMAND AND SIGNAL.
   5.A. (U) COMMAND. NOT USED.
   5.B. (U) SIGNAL.
   5.B.1. (U) HEADQUARTERS DEPARTMENT OF THE ARMY COVID-19 POINTS OF
   CONTACT (POC). HQDA COVID-19 OPT AT
   USARMY.PENTAGON.HQDA-DCS-G-3-5-7.MBX.COVID-OPT@ARMY.MIL;
   5.B.1.A. (U) G-1 POC IS COL MICHAEL A. ZWEIFEL,
   MICHAEL.A.ZWEIFEL.MIL@ARMY.MIL, (703) 697-8469.
   5.B.1.B. (U) G-2 POC IS LTC LEON SATCHELL,
   LEON.R.SATCHELL.MIL@ARMY.MIL, (703)697-5484.
   5.B.1.C. (U) G-4 POC IS G4 ALOC
   USARMY.PENTAGON.HQDA.MBX.AALOCATC@ARMY.MIL, (703) 614-2149.
   5.B.1.D. (U) LABORATORY RESPONSE NETWORK POC IS DR. WILLIAM
   NAUSCHUETZ, LABORATORY BIOPREPAREDNESS COORDINATOR,
   WILLIAM.F.NAUSCHUETZ.CIV@MAIL.MIL, (210) 295-7269 OR (210) 386-1480.
   5.B.1.E. (U) USAMEDCOM PUBLIC HEALTH POC IS COL RICK CHAVEZ,
   RODRIGO.CHAVEZ5.MIL@MAIL.MIL, (703) 681-9510 OR COL MICHELE A.
   SOLTIS, MICHELE.A.SOLTIS.MIL@MAIL.MIL, (703) 681- 6043.

   5.B.1.F. (U) ARMY PUBLIC HEALTH CENTER POC IS DR. STEVEN CERSOVSKY,
   STEVEN.B.CERSOVSKY.CIV@MAIL.MIL, (410) 436-4311.
   5.B.1.G. (U) ARMY PUBLIC AFFAIRS POC IS LTC TERENCE KELLEY,
   TERENCE.M.KELLEY.MIL@ARMY.MIL.
   5.B.1.H. (U) OFFICE OF THE JUDGE ADVOCATE GENERAL POC LTC JAMES
   MCINERNEY, JAMES.A.MCINERNEY.MIL@ARMY.MIL, (703) 614-4630,

   5.B.1.I. (U) ARMY NATIONAL GUARD POC IS MAJ TIMOTHY MCCORMIC,
   TIMOTHY.A.MCCORMIC.MIL@MAIL.MIL, (703) 601-7620.
   5.B.1.J. (U) UNITED STATES ARMY RESERVES POC IS LTC RAYMOND D.
   HARPER, RAYMOND.D.HARPER4.MIL@MAIL.MIL, 703.614-5271.
   5.B.1.K. (U) OFFICE OF THE SURGEON GENERAL POC IS COL DUBRAY KINNEY,
   DUBRAY.KINNEY2.MIL@MAIL.MIL, (703) 681-9672.
   5.B.1.L. (U) [CHANGE TO READ] ASSISTANT SECRETARY OF THE ARMY
   (FINANCIAL MANAGEMENT AND COMPTROLLER) POC IS LTC DALE BERRY,
   DALE.E.BERRY2.MIL@ARMY.MIL, (703) 614-1680.
   5.B.1.M. (U) ASSISTANT SECRETARY OF THE ARMY (MANPOWER AND RESERVE
   AFFAIRS) POCS ARE MS. CONSTANCE B. RAY,
   CONSTANCE.B.RAY2.CIV@ARMY.MIL, (703) 344-8047 OR COL BENITO
   RODRIGUEZ, BENITO.E.RODRIGUEZ.MIL@MAIL.MIL, (703) 695-4402.
   5.B.1.N. (U) [ADD] ARMY CONFERENCES PROGRAM, OFFICE OF THE
   ADMINISTRATIVE ASSISTANT TO THE SECRETARY OF THE ARMY POC:
   HQDA.CONFERENCES.INBOX@MAIL.MIL.
   5.B.1.O. (U) [ADD] (U) ASSISTANT SECRETARY OF THE ARMY (ACQUISITION,
   LOGISTICS AND TECHNOLOGY) POCS ARE LTC RACHAEL M. HOAGLAND,



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   RACHAEL.M.HOAGLAND.MIL@ARMY.MIL, (703) 614-2500 OR COL ROBERT L. VON
   TERSCH, ROBERT.L.VONTERSCH.MIL@ARMY.MIL, (703) 614-6586.
   5.B.1.P. (U) HEADQUARTERS DEPARTMENT OF THE ARMY WATCH: NIPR EMAIL
   USARMY.PENTAGON.HQDA.MBX.ARMYWATCH@ARMY.MIL, SIPR EMAIL
   USARMY.PENTAGON.HQDA.MBX.ARMYWATCH@MAIL.SMIL.MIL.
   5.B.1.Q. (U) HEADQUARTERS DEPARTMENT OF THE ARMY COVID-19 CRISIS
   ACTION TEAM INFO:
   NIPR PORTAL:
   HTTPS://G357.ARMY.PENTAGON.MIL/OD/ODO/ARMYOPCENTER/CAWG/CAT/SITEPAGES
   CORONAVIRUS%20(COVID-19).ASPX

   SIPR PORTAL:
   HTTPS://G357.ARMY.PENTAGON.SMIL.MIL/OD/ODO/ARMYOPCENTER/CRISISACTIONP
   AGE/SITEPAGES/HOME.ASPX

   DOMS NIPR OMB:
   USARMY.PENTAGON.HQDA-DCS-G-3-5-7.MBX.DOMS-OPERATIONS@ARMY.MIL
   DOMS SIPR OMB:
   USARMY.PENTAGON.HQDA-DCS-G-3-5-7.MBX.AOC-DOMS-TEAM@MAIL.SMIL.MIL
   6. (U) THE EXPIRATION DATE OF THIS MESSAGE IS 31 DECEMBER 2026,
   UNLESS FORMALLY RESCINDED OR SUPERSEDED.


   ATTACHMENT:
   ANNEX A - ARMY INSTALLATION GATING CRITERIA REPORT.
   ANNEX B - SECRETARY OF DEFENSE MEMORANDUM, "UPDATE TO
   CONDITIONS-BASED APPROACH TO CORONAVIRUS DISEASE 2019 PERSONNEL
   MOVEMENT AND TRAVEL RESTRICTIONS," 15 MARCH 2021.
   ANNEX C - COVID-19 PERSONAL PROTECTIVE EQUIPMENT, LOGSTAT REPORT.
   ANNEX D - HQDA COVID-19 POSITIVE CASE AND ROM TRACKER.
   ANNEX E - SECRETARY OF THE ARMY MEMORANDUM, "DELEGATION OF AUTHORITY
   TO APPROVE TRAVEL OF ARMY PERSONNEL-TRANSITION FRAMEWORK," 20 APRIL
   2021.
   ANNEX F - SECRETARY OF DEFENSE MEMORANDUM, "GUIDANCE FOR COMMANDERS'
   RISK-BASED RESPONSES AND IMPLEMENTATION OF THE HEALTH PROTECTION
   CONDITION (HPCON) FRAMEWORK DURING THE CORONAVIRUS DISEASE 2019
   PANDEMIC," 29 APRIL 2021.
   ANNEX G - FORCE HEALTH PROTECTION SUPPLEMENT 20, DEPARTMENT OF
   DEFENSE GUIDANCE FOR PERSONNEL TRAVELING DURING THE CORONAVIRUS
   DISEASE 2019 PANDEMIC, 12 APRIL 2021.
   ANNEX H - FORCE HEALTH PROTECTION SUPPLEMENT 16.1, DEPARTMENT OF
   DEFENSE GUIDANCE DEPLOYMENT AND REDEPLOYMENT OF INDIVIDUALS AND
   UNITS, 04 MAY 2021.
   ANNEX I - FORCE HEALTH PROTECTION SUPPLEMENT 15.2, DEPARTMENT OF
   DEFENSE GUIDANCE FOR CORONAVIRUS DISEASE 2019 LABORATORY TESTING
   SERVICES, 02 JULY 2021.
   [CHANGE TO READ] ANNEX J - IMPLEMENTATION OF REQUIRED COVID-19
   PROTECTIONS PUBLIC AFFAIRS GUIDANCE.
   ANNEX K - TIER 4 TESTING CONCEPT AND APPROVAL AUTHORITY.
   ANNEX L - DOD COVID TASK FORCE, COVID-19 TESTING PROTOCOLS, 08 MARCH
   2021.
   ANNEX M - CLMS FORM 1D, CLINICAL LABORATORY IMPROVEMENT PROGRAM
   WAIVED COMPLEXITY REGISTRATION/RENEWAL FORM.



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   ANNEX N - DEPUTY SECRETARY OF DEFENSE MEMORANDUM, "METHODS TO ENABLE
   AND ENCOURAGE VACCINATION AGAINST CORONAVIRUS DISEASE 2019," 20 MAY
   2021.
   [RESCIND] ANNEX O - SECRETARY OF DEFENSE MEMORANDUM,
   "CO-ADMINISTRATION OF CORONAVIRUS DISEASE 2019 VACCINES WITH OTHER
   VACCINES," 03 JUNE 2021.
   ANNEX P - DEPUTY SECRETARY OF DEFENSE MEMORANDUM, "CORONAVIRUS
   DISEASE 19 VACCINE GUIDANCE," 07 DECEMBER 2020.
   ANNEX Q - UNDER SECRETARY OF DEFENSE MEMORANDUM SUPPLEMENTAL GUIDANCE
   FOR PROVIDING DOD CORONAVIRUS DISEASE 2019 VACCINE TO DOD CONTRACTOR
   EMPLOYEES AND SELECT FOREIGN NATIONALS, 31 DECEMBER 2020.
   ANNEX R - SECRETARY OF DEFENSE MEMORANDUM, SECRETARIAL DESIGNEE
   STATUS FOR SELECT DEPARTMENT OF DEFENSE CIVILIAN EMPLOYEE AND
   CONTRACTOR EMPLOYEE DEPENDENTS OUTSIDE THE UNITED STATES FOR THE
   LIMITED PURPOSE OF RECEIVING CORONAVIRUS DISEASE 2019 VACCINATIONS,
   03 JUNE 2021.
   ANNEX S - SECRETARY OF DEFENSE MEMORANDUM, USE OF MASKS AND OTHER
   PUBLIC HEALTH MEASURES, 04 FEBRUARY 2021.
   ANNEX T - FORCE HEALTH PROTECTION SUPPLEMENT 17.1, DEPARTMENT OF
   DEFENSE GUIDANCE FOR THE USE OF MASKS, PPE, AND NPI, 22 JUNE 2021.
   ANNEX U - SECRETARY OF ARMY MEMORANDUM, USE OF MASKS AND DELEGATION
   OF AUTHORITY TO GRANT EXCEPTIONS, 24 FEBRUARY 2021.
   ANNEX V - [RESCINDED]
   ANNEX W - POOLED TESTING GUIDANCE AND STRATEGY, 02 JUNE 2021.
   ANNEX X - UNDER SECRETARY OF DEFENSE MEMORANDUM GUIDANCE FOR
   PARTICIPATION OF INTERNATIONAL MILITARY STUDENTS AND TRAINEES, 07 MAY
   2021.
   ANNEX Y - UNDER SECRETARY OF DEFENSE MEMORANDUM SUPPLEMENTAL GUIDANCE
   ON ETP PROCESS, 08 JUNE 2021.
   ANNEX Z - SECRETARY OF THE ARMY MEMORANDUM, DELEGATION OF AUTHORITY
   FOR HEALTH PROTECTION CONDITION (HPCON) IMPLEMENTATION AND OCCUPANCY
   REQUIREMENTS, 09 JUNE 2021.
   ANNEX AA - FORCE HEALTH PROTECTION SUPPLEMENT 22, DOD GUIDANCE FOR
   CORONAVIRUS DISEASE 2019 SURVEILLANCE AND SCREENING TESTING, 21 JULY
   2021.
   ANNEX BB - UPDATED MASK GUIDANCE FOR ALL DOD INSTALLATIONS AND OTHER
   FACILITIES, 28 JULY 2021.
   ANNEX CC - CDC GUIDANCE FOR IMPLEMENTING COVID-19 PREVENTION
   STRATEGIES, 27 JULY 2021.
   ANNEX DD - MEDICAL MATERIAL QUALITY CONTROL MESSAGE, MMQC-21-1419,
   (J&J) JANSSEN COVID-19 VACCINE SHELF-LIFE EXTENSION, 28 JULY 2021.
   ANNEX EE - COVID-19 VACCINATION REQUIREMENT REPORT.
   ANNEX FF - MANDATORY CORONAVIRUS DISEASE 2019 VACCINATION OF
   DEPARTMENT OF DEFENSE SERVICE MEMBERS, 24 AUGUST 2021.
   ANNEX GG - MEDICAL MATERIAL QUALITY CONTROL MESSAGE, MMQC-21-1463,
   PFIZER LICENSE AND SHELF LIFE EXTENSION, 24 AUGUST 2021.
   ANNEX HH - MEDICAL MATERIAL QUALITY CONTROL MESSAGE, MMQC-21- 1425,
   UPDATED COVID-19 VACCINE ORDERING GUIDELINES, 09 AUGUST 2021.
   ANNEX II - MMQC 21 1454 ADDITIONAL DOSE OF COVID 19 VACCINE FOR
   IMMUNOCOMPROMISED PERSONS,13 AUGUST 2021.
   ANNEX JJ - MANDATORY VACCINATION OF SERVICE MEMBERS USING THE
   PFIZER-BIONTECH COVID-19 AND COMIRNATY COVID-19 VACCINES, 14
   SEPTEMBER 2021.
   ANNEX KK - DD FROM 3150, CONTRACTOR PERSONNEL AND VISITOR
   CERTIFICATION OF VACCINATION, OCTOBER 2021.
   ANNEX LL - VACCINE INFORMATION FACT SHEET
   ANNEX MM - UPDATED CORONAVIRUS DISEASE 2019 GUIDANCE RELATED TO
   TRAVEL AND MEETINGS, 24 SEPTEMBER 2021.
   [CHANGE TO READ] ANNEX NN - SAMPLE DA FORM 4856 FOR ENLISTED VACCINE
   REFUSALS.
   [CHANGE TO READ] ANNEX OO - SAMPLE DA FORM 4856 FOR OFFICER VACCINE
   REFUSALS.



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   ANNEX PP - EXECUTIVE ORDER 14043 OF SEPTEMBER 9, 2021, REQUIRING
   VACCINATION FOR FEDERAL EMPLOYEES.
   ANNEX QQ - EXECUTIVE ORDER 14042 OF SEPTEMBER 9, 2021, ENSURING
   ADEQUATE COVID SAFETY PROTOCOLS FOR FEDERAL CONTRACTORS.
   ANNEX RR - ABBOTT BINAXNOW COVID-19 AG CARD PRODUCT EXPIRY UPDATE,
   MAY 2021.
   ANNEX SS - MEDICAL MATERIAL QUALITY CONTROL MESSAGE, MMQC-21-1538,
   DISPOSITION GUIDANCE FOR MODERNA COVID VACCINE, 23 SEPTEMBER 2021.
   ANNEX TT - MEDICAL MATERIAL QUALITY CONTROL MESSAGE, MMQC-21-1549,
   PFIZER-BIONTECH/COMIRNATY COVID-19 VACCINE BOOSTER DOSE
   RECOMMENDATIONS, 27 SEPTEMBER 2021.
   ANNEX UU - MEDICAL MATERIAL QUALITY CONTROL MESSAGE, MMQC-21-1549,
   SUPPLEMENT 1, KEY MESSAGES AND TALKING POINTS, 27 SEPTEMBER 2021.
   ANNEX VV - MEDICAL MATERIAL QUALITY CONTROL MESSAGE, MMQC-21-1549,
   SUPPLEMENT 2, FACT SHEET FOR HEALTHCARE PROVIDERS ADMINISTERING
   VACCINE (VACCINATION PROVIDERS), 27 SEPTEMBER 2021.
   ANNEX WW - MEDICAL MATERIAL QUALITY CONTROL MESSAGE, MMQC-21-1549,
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   CAREGIVERS ABOUT COMIRNATY (COVID-19 VACCINE, MRNA) AND
   PFIZER-BIONTECH COVID-19 VACCINE TO PREVENT CORONAVIRUS DISEASE 2019
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   ANNEX XX - REFUSALS AND MEDICAL/RELIGIOUS EXEMPTIONS PROCESS.
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   ANNEX BBB - ARMY DIRECTIVE 2021-33 (APPROVAL AND APPEAL AUTHORITIES
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   ANNEX CCC - SAFER FEDERAL WORKFORCE TASK FORCE, COVID-19 WORKPLACE
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   24 SEPTEMBER 2021.
   ANNEX EEE - MANDATORY CORONAVIRUS DISEASE 2019 VACCINATION OF DOD
   CIVILIAN EMPLOYEES, ISSUED 1 OCTOBER 2021.
   ANNEX FFF - OFFICE OF PERSONNEL MANAGEMENT (OPM) AND SAFER FEDERAL
   WORKFORCE TASK FORCE GUIDANCE ON VACCINATION REQUIREMENTS, 5 OCTOBER
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   ANNEX GGG - UNDER SECRETARY OF DEFENSE FOR PERSONNEL AND READINESS
   MEMORANDUM, "FORCE HEALTH PROTECTION GUIDANCE (SUPPLEMENT 23)
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   2019 VACCINATION ATTESTATION, SCREENING TESTING, AND VACCINATION
   VERIFICATION," 29 OCTOBER 2021.
   ANNEX HHH - DD FORM 3175, CIVILIAN EMPLOYEE CERTIFICATION OF
   VACCINATION, OCTOBER 2021.
   [ADD] ANNEX III - ASSISTANT SECRETARY OF DEFENSE FOR HEALTH AFFAIRS
   MEMORANDUM, "UPDATED GUIDANCE ON CO-ADMINISTRATION OF CORONAVIRUS
   DISEASE 2019 VACCINE WITH OTHER VACCINES," 7 OCTOBER 2021.
   [ADD] ANNEX JJJ - UNDER SECRETARY OF DEFENSE FOR PERSONNEL AND
   READINESS MEMORANDUM, "CORONAVIRUS DISEASE 2019 VACCINATION FOR
   PREGNANT AND BREASTFEEDING SERVICE MEMBERS," 5 OCTOBER 2021.
   [ADD] ANNEX KKK - SECRETARY OF THE ARMY MEMORANDUM, "DELEGATION OF
   AUTHORITY-ADDITIONAL CORONAVIRUS DISEASE 2019 GUIDANCE RELATED TO
   TRAVEL AND MEETINGS," 12 OCTOBER 2021.
   [ADD] ANNEX LLL - MEDICAL MATERIAL QUALITY CONTROL MESSAGE,
   MMQC-21-1613, "DISPOSITION GUIDANCE FOR MODERNA COVID VACCINE," 28
   OCTOBER 2021.
   [ADD] ANNEX MMM - DEFENSE CIVILIAN PERSONNEL ADVISORY SERVICE
   MESSAGE, "COVERAGE FOR INJURIES RESULTING FROM THE COVID-19



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   VACCINATION MANDATE FOR FEDERAL EMPLOYEES," 14 OCTOBER 2021.
   [ADD] ANNEX NNN - ASSISTANT SECRETARY OF THE ARMY FOR MANPOWER AND
   RESERVE AFFAIRS MEMORANDUM, "FORCE HEALTH PROTECTION GUIDANCE
   (SUPPLEMENT 23) - REVISION 2 - DEPARTMENT OF DEFENSE GUIDANCE FOR
   CORONAVIRUS DISEASE 2019 VACCINATION ATTESTATION, SCREENING TESTING,
   AND VACCINATION VERIFICATION," 8 NOVEMBER 2021.
   [ADD] ANNEX OOO - ASSISTANT SECRETARY OF THE ARMY FOR MANPOWER AND
   RESERVE AFFAIRS, ASSISTANT G-1 (CIVILIAN PERSONNEL) NUMBERED MESSAGE
   (# 2021082) ARMY TEMPLATE MEMO FOR EMPLOYEE NOTIFICATION OF COVID-19
   VACCINATION REQUIREMENT, "SUBJECT: EMPLOYEE NOTIFICATION, MANDATORY
   COVID-19 VACCINATION FOR FEDERAL EMPLOYEES."
   [ADD] ANNEX PPP - DD FORM 3176, "REQUEST FOR MEDICAL EXEMPTION OR
   DELAY TO THE COVID-19 VACCINATION REQUIREMENT," OCTOBER 2021.
   [ADD] ANNEX QQQ - DD FORM 3177, "REQUEST FOR RELIGIOUS EXEMPTION TO
   THE COVID-19 VACCINATION REQUIREMENT," OCTOBER 2021.
   [ADD] ANNEX RRR - OFFICE OF THE ASSISTANT SECRETARY OF DEFENSE FOR
   MANPOWER AND RESERVE AFFAIRS MEMORANDUM, "VACCINATION ADVISORY
   STATEMENT FOR NON-USMEPCOM ACCESSIONS," 22 OCTOBER 21.
   [ADD] ANNEX SSS - DEFENSE LOGISTICS AGENCY, "COVID-19 HOME TEST KITS
   ORDERING PROCEDURES," 5 NOVEMBER 2021.
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                                                       DEVELOPMENTAL COUNSELING FORM
                                            For use of this form, see ATP 6-22.1; the proponent agency is TRADOC.
                                                     DATA REQUIRED BY THE PRIVACY ACT OF 1974
AUTHORITY:                      5 USC 301, Departmental Regulations; 10 USC 3013, Secretary of the Army.
PRINCIPAL PURPOSE:              To assist leaders in conducting and recording counseling data pertaining to subordinates.
ROUTINE USES:                   The DoD Blanket Routine Uses set forth at the beginning of the Army's compilation of systems or records notices also
                                apply to this system.
DISCLOSURE:                     Disclosure is voluntary.
                                                                 PART I - ADMINISTRATIVE DATA
Name (Last, First, MI)                                                                     Rank/Grade                            Date of Counseling

Organization                                                                                  Name and Title of Counselor


                                                       PART II - BACKGROUND INFORMATION
Purpose of Counseling: (Leader states the reason for the counseling, e.g. Performance/Professional or Event-Oriented counseling, and includes the
leader's facts and observations prior to the counseling.)

                     ***TEMPLATE COUNSELING STATEMENT FOR ENLISTED SOLDIERS DECLINING IMMUNIZATION***


On 24 August 2021, the Secretary of Defense directed the Secretary of the Army to begin full vaccination of the U.S. Army against the COVID-19 disease.


On _________________, you declined to receive the COVID-19 vaccine.




                                                          PART III - SUMMARY OF COUNSELING
                                          Complete this section during or immediately subsequent to counseling.
 Key Points of Discussion:
[The following is sample language for the counseling required by AR 600-20, paragraph 5-4g(2). Please note that this counseling must be tailored to the specific facts
of the case. Prior to issuing this counseling, Commanders will consult with their servicing Judge Advocate].

1. The purpose of the COVID-19 vaccines is to prevent the spread of the COVID-19 disease.

2. The COVID-19 disease may be present in a possible area of operation.

3. The COVID-19 vaccines are safe and effective at preventing the COVID-19 disease and reducing the risk of severe illness and death. COVID-19 vaccines reduce the
risk of people spreading the virus that causes COVID-19. While you may have side effects after your vaccination, these are normal and should go away within a few
days. It typically takes 2 weeks after vaccination for the body to build protection (immunity) against the virus that causes COVID-19. You are not fully vaccinated until
2 weeks after the second dose of a 2-dose vaccine or 2 weeks after a single dose vaccine. You can learn more about the COVID-19 vaccines at https://www.cdc.gov/
coronavirus/2019-ncov/vaccines/index.html. Additionally, you may discuss any concerns you have about receiving the vaccine with medical professionals.

4. You are hereby ordered to become fully vaccinated with a COVID-19 vaccine that has received full licensure from the Food and Drug Administration (FDA), in
accordance with FDA-approved labeling and guidance NLT ___________, subject to the availability of vaccines. This is a lawful order. Failure to obey this order may
result in punitive or adverse administrative action. Voluntary immunization with a COVID-19 vaccine under FDA Emergency Use Authorization or World Health
Organization Emergency Use Listing in accordance with applicable dose requirements prior to, or after receiving this order, constitutes compliance with this order.

5. If you believe you should be granted a medical exemption, then discuss this with your health care provider. If you have already been vaccinated, you must provide
valid proof of vaccination for inclusion in your medical records. If you wish to submit an administrative exemption request under AR 40-562, including a request for a
religious accommodation, you must request it through your chain-of-command. Soldiers with active pending immunization exemption requests will not be immunized
or subjected to adverse action for refusal to receive the vaccine, pending the outcome of their request or any appeal of a denied request. If you continue to refuse to be
immunized after final denial of your exemption request/appeal, you will be in violation of my order in paragraph 4 above. You are further advised IAW AR 600-20,
Appendix P-2b(4) that noncompliance with immunization requirements may adversely impact deployability, assignment, or international travel and that exemptions
may be revoked under imminent risk conditions.

I am counseling you for the conduct noted above. Continued conduct of this nature may result in initiation of a bar to reenlistment, administrative action to include
your separation from the service, and/or punitive action under the UCMJ. If this conduct continues, action may be initiated to involuntarily separate you from the
service under AR 635-200. If you are involuntarily separated, you could receive an Honorable, General Under Honorable Conditions, or Other Than Honorable
discharge. If you receive an Honorable Discharge, you will be qualified for most benefits resulting from your military service. If you receive a General Under
Honorable Conditions Discharge or an Other Than Honorable Discharge, you may be disqualified from reenlisting in the service for some period and you may be
ineligible for many, if not all, veterans benefits to include but not limited to the Montgomery G.I. Bill and post-9/11 G.I. Bill. If you receive a General Under
Honorable Conditions or Other Than Honorable Discharge, you may face difficulty obtaining civilian employment as employers may have low regard for less than
Honorable discharges.




                                                                OTHER INSTRUCTIONS
This form will be destroyed upon: reassignment (other than rehabilitative transfers), separation at ETS, or upon retirement. For separation requirements
and notification of loss of benefits/consequences see local directives and AR 635-200.

DA FORM 4856, JUL 2014                                        PREVIOUS EDITIONS ARE OBSOLETE.                                                                  Page 1 of 2
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 Plan of Action (Outlines actions that the subordinate will do after the counseling session to reach the agreed upon goal(s). The actions must be
 specific enough to modify or maintain the subordinate's behavior and include a specified time line for implementation and assessment (Part IV below)
MANDATORY VACCINATION DECLINATION:
(1) NLT 3 duty days after receipt of this counseling, the Service member will watch an educational video on the benefits of vaccination. The video is available at
https://www.cdc.gov/coronavirus/2019-ncov/vaccines/keythingstoknow.html. __________ (SM initial when complete) __________ (CDR initial when complete)
(2) NLT 3 duty days after the Service member watches the mandatory video, the immediate commander directs the Service member to comply with the order on
page 1, paragraph 4. __________ (SM initial when complete) __________ (CDR initial when complete)
(3) If the SM continues to refuse immunization, the commander directs the Soldier to meet with a medical professional (physician, physician assistant, or nurse
practitioner) to discuss the vaccine and any concerns. __________ (SM initial when complete) __________ (CDR initial when complete)
(4) NLT 3 duty days after the Service member consults with a medical professional, the immediate commander directs the Service member to comply with the order on
 page 1, paragraph 4. __________ (SM initial when complete) __________ (CDR initial when complete)
TEMPORARY OR PERMANENT MEDICAL EXEMPTION REQUESTS:
(1) If requesting a temporary or permanent medical exemption, the Service member will contact the Service member's Primary Care Manager (PCM) or equivalent
(physician, physician assistant, or nurse practitioner) NLT 3 duty days after receipt of this counseling. The Service member will schedule the next available
appointment with the PCM or equivalent. __________ (SM initial when complete) __________ (CDR initial when complete) The appointment is ___________
(2) If the request for a temporary medical exemption is denied, the Service member may request a second opinion NLT 3 duty days after notification of the denial. The
denial authority will provide information on requesting a second opinion. __________ (SM initial when complete) __________ (CDR initial when complete)
(3) If the Commanding General, Regional Health Command denies the permanent medical exemption request, the Service member may appeal to The Surgeon General
(TSG) through command channels NLT 3 duty days after notification of the denial. __________ (SM initial when complete) __________ (CDR initial when complete)
RELIGIOUS EXEMPTION REQUESTS:
(1) If requesting a religious exemption, the Service member will submit a written request for a religious exemption IAW AR 600-20, Appendix P-2b(1) to the
immediate commander NLT 3 duty days after receipt of this counseling. __________ (SM initial when complete) __________ (CDR initial when complete)
(2) The commander will arrange an interview with the assigned unit Chaplain or other Chaplain determined by the senior Chaplain present, NLT 3 duty days after the
commander receives the Service member's request for a religious exemption. __________ (SM initial when complete) __________ (CDR initial when complete)
(3) The commander will arrange for a PCM or equivalent to counsel the Service member to ensure the Service member is making an informed decision IAW
AR 600-20, Appendix P-2b(3)__________ (SM initial when complete) __________ (CDR initial when complete)
(4) If TSG denies the request, the Service member may appeal to the Assistant Secretary of the Army (Manpower and Reserve Affairs) through
command channels NLT 3 duty days after notification of the denial. __________ (SM initial when complete) __________ (CDR initial when complete)

Session Closing: (The leader summarizes the key points of the session and checks if the subordinate understands the plan of action. The subordinate
agrees/disagrees and provides remarks if appropriate.)
Individual counseled:      I agree             disagree with the information above.
Individual counseled remarks:




Signature of Individual Counseled:                                                                                        Date:

Leader Responsibilities: (Leader's responsibilities in implementing the plan of action.)

Leaders will ensure Service member has the opportunity to discuss any request for an administrative or medical exemption with the chain-of-command, medical,
Chaplain, and/or legal professionals, as appropriate.




            Signature of Counselor:                                                                                       Date:

                                                    PART IV - ASSESSMENT OF THE PLAN OF ACTION
Assessment: (Did the plan of action achieve the desired results? This section is completed by both the leader and the individual counseled and
provides useful information for follow-up counseling.)




Counselor:                                               Individual Counseled:                                                  Date of
                                                                                                                                Assessment:

            Note: Both the counselor and the individual counseled should retain a record of the counseling.
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                                                       DEVELOPMENTAL COUNSELING FORM
                                            For use of this form, see ATP 6-22.1; the proponent agency is TRADOC.
                                                     DATA REQUIRED BY THE PRIVACY ACT OF 1974
AUTHORITY:                      5 USC 301, Departmental Regulations; 10 USC 3013, Secretary of the Army.
PRINCIPAL PURPOSE:              To assist leaders in conducting and recording counseling data pertaining to subordinates.
ROUTINE USES:                   The DoD Blanket Routine Uses set forth at the beginning of the Army's compilation of systems or records notices also
                                apply to this system.
DISCLOSURE:                     Disclosure is voluntary.
                                                                 PART I - ADMINISTRATIVE DATA
Name (Last, First, MI)                                                                     Rank/Grade                            Date of Counseling

Organization                                                                                  Name and Title of Counselor


                                                       PART II - BACKGROUND INFORMATION
Purpose of Counseling: (Leader states the reason for the counseling, e.g. Performance/Professional or Event-Oriented counseling, and includes the
leader's facts and observations prior to the counseling.)

                             ***TEMPLATE COUNSELING STATEMENT FOR OFFICERS DECLINING IMMUNIZATION***


On 24 August 2021, the Secretary of Defense directed the Secretary of the Army to begin full vaccination of the U.S. Army against the COVID-19 disease.


On _________________, you declined to receive the COVID-19 vaccine.




                                                          PART III - SUMMARY OF COUNSELING
                                          Complete this section during or immediately subsequent to counseling.
 Key Points of Discussion:
[The following is sample language for the counseling required by AR 600-20, paragraph 5-4g(2). Please note that this counseling must be tailored to the specific facts
of the case. Prior to issuing this counseling, Commanders will consult with their servicing Judge Advocate].


1. The purpose of the COVID-19 vaccines is to prevent the spread of the COVID-19 disease.

2. The COVID-19 disease may be present in a possible area of operation.

3. The COVID-19 vaccines are safe and effective at preventing the COVID-19 disease and reducing the risk of severe illness and death. COVID-19 vaccines reduce the
risk of people spreading the virus that causes COVID-19. While you may have side effects after your vaccination, these are normal and should go away within a few
days. It typically takes 2 weeks after vaccination for the body to build protection (immunity) against the virus that causes COVID-19. You are not fully vaccinated until
2 weeks after the second dose of a 2-dose vaccine or 2 weeks after a single dose vaccine. You can learn more about the COVID-19 vaccines at https://www.cdc.gov/
coronavirus/2019-ncov/vaccines/index.html. Additionally, you may discuss any concerns you have about receiving the vaccine with medical professionals.

4. You are hereby ordered to become fully vaccinated with a COVID-19 vaccine that has received full licensure from the Food and Drug Administration (FDA), in
accordance with FDA-approved labeling and guidance NLT ___________, subject to the availability of vaccines. This is a lawful order. Failure to obey this order may
result in punitive or adverse administrative action. Voluntary immunization with a COVID-19 vaccine under FDA Emergency Use Authorization or World Health
Organization Emergency Use Listing in accordance with applicable dose requirements prior to, or after receiving this order, constitutes compliance with this order.

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valid proof of vaccination for inclusion in your medical records. If you wish to submit an administrative exemption request under AR 40-562, including a request for a
religious accommodation, you must request it through your chain-of-command. Soldiers with active pending immunization exemption requests will not be immunized
or subjected to adverse action for refusal to receive the vaccine, pending the outcome of their request or any appeal of a denied request. If you continue to refuse to be
immunized after final denial of your exemption request/appeal, you will be in violation of my order in paragraph 4 above. You are further advised IAW AR 600-20,
Appendix P-2b(4) that noncompliance with immunization requirements may adversely impact deployability, assignment, or international travel and that exemptions
may be revoked under imminent risk conditions.

I am counseling you for the conduct noted above. Be advised that continued conduct of this nature may result in administrative action to include your separation from
the service, and/or punitive action under the UCMJ. If this conduct continues, action may be initiated to involuntarily separate you from the service under AR
600-8-24. If you are involuntarily separated, you could receive an Honorable, General Under Honorable Conditions, or Other Than Honorable discharge. If you
receive an Honorable discharge, you will be qualified for most benefits resulting from your military service. If you receive a General Under Honorable Conditions
discharge or an Other Than Honorable discharge, you may be ineligible for many, if not all, veterans benefits. If you receive a General Under Honorable Conditions or
Other Than Honorable Discharge, you may face difficulty in obtaining civilian employment as employers may have a low regard for less than Honorable discharges.




                                                                OTHER INSTRUCTIONS
This form will be destroyed upon: reassignment (other than rehabilitative transfers), separation at ETS, or upon retirement. For separation requirements
and notification of loss of benefits/consequences see local directives and AR 635-200.

DA FORM 4856, JUL 2014                                        PREVIOUS EDITIONS ARE OBSOLETE.                                                                  Page 1 of 2
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(2) The commander will arrange an interview with the assigned unit Chaplain or other Chaplain determined by the senior Chaplain present, NLT 3 duty days after the
commander receives the Service member's request for a religious exemption. __________ (SM initial when complete) __________ (CDR initial when complete)
(3) The commander will arrange for a PCM or equivalent to counsel the Service member to ensure the Service member is making an informed decision IAW
AR 600-20, Appendix P-2b(3)__________ (SM initial when complete) __________ (CDR initial when complete)
(4) If TSG denies the request, the Service member may appeal to the Assistant Secretary of the Army (Manpower and Reserve Affairs) through
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Session Closing: (The leader summarizes the key points of the session and checks if the subordinate understands the plan of action. The subordinate
agrees/disagrees and provides remarks if appropriate.)
Individual counseled:      I agree             disagree with the information above.
Individual counseled remarks:




Signature of Individual Counseled:                                                                                        Date:

Leader Responsibilities: (Leader's responsibilities in implementing the plan of action.)

Leaders will ensure Service member has the opportunity to discuss any request for an administrative or medical exemption with the chain-of-command, medical,
Chaplain, and/or legal professionals, as appropriate.




            Signature of Counselor:                                                                                       Date:

                                                    PART IV - ASSESSMENT OF THE PLAN OF ACTION
Assessment: (Did the plan of action achieve the desired results? This section is completed by both the leader and the individual counseled and
provides useful information for follow-up counseling.)




Counselor:                                               Individual Counseled:                                                  Date of
                                                                                                                                Assessment:

            Note: Both the counselor and the individual counseled should retain a record of the counseling.
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                                               Army Regulation 600–37




                                               Personnel–General



                                               Unfavorable
                                               Information




                                              Headquarters
                                              Department of the Army
                                              Washington, DC
                                              2 October 2020



                              UNCLASSIFIED
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    SUMMARY of CHANGE
   AR 600–37
   Unfavorable Information

   This regulation is certified current on 2 October 2020. Aside from the following administrative changes, no other
   changes were made to certify the currency of this regulation—

   o   Updates Department of the Army signature authority and history statement (title page).

   o   Updates Uniform Code of Military Justice article number (para 3–4b(2)).

   o   Updates Uniform Code of Military Justice nomenclature (para 3–4b(5)).

   o   Updates titles of references and associated websites (app A).

   o   Adds “United States Code” to the glossary.
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    Headquarters                                                                            *Army Regulation 600–37
    Department of the Army
    Washington, DC
    2 October 2020                                                                          Effective 10 May 2018
                                                             Personnel–General
                                                      Unfavorable Information
                                                    Guard/Army National Guard of the            provisions in accordance with AR 11 –2
                                                    United States and the U.S. Army Reserve,    and identifies key internal controls that
                                                    unless otherwise stated.                    must be evaluated (see app B).
                                               Proponent and exception authority.               Supplementation. Supplementation
                                               The proponent of this regulation is the          of this regulation is prohibited without
                                               Deputy Chief of Staff, G –1. The propo-          prior approval from the Deputy Chief of
                                               nent has the authority to approve excep-         Staff, G–1 (DAPE–MPS), 300 Army Pen-
                                               tions or waivers to this regulation that are     tagon, Washington DC 20310 –0300.
                                               consistent with controlling law and regu-
                                                                                                Suggested improvements. Users
                                               lations. The proponent may delegate this
                                                                                                are invited to send comments and sug-
                                               approval authority, in writing, to a divi-
                                                                                                gested improvements on DA Form 2028
                                               sion chief within the proponent agency or
                                                                                                (Recommended Changes to Publications
                                               its direct reporting unit or field operating
                                                                                                and Blank Forms) direct to the Deputy
                                               agency, in the grade of colonel or the ci-
                                                                                                Chief of Staff, G–1 (DAPE– MPS), 300
                                               vilian equivalent. Activities may request a
   History. This regulation is certified cur- waiver to this regulation by providing jus-       Army Pentagon, Washington DC
   rent on 2 October 2020. Aside from the tification that includes a full analysis of           20310–0300.
   administrative changes listed in the sum- the expected benefits and must include a           Distribution. This publication is avail-
   mary of change, no other changes were formal review by the activity’s senior le-             able in electronic media only and is in-
   made to certify the currency of this regu- gal officer. All waiver requests will be en-      tended for the Regular Army, the Army
   lation.                                     dorsed by the commander or senior leader         National Guard/Army National Guard of
   Summary. This regulation implements of the requesting activity and forwarded                 the United States, and the U.S. Army Re-
   policies regarding unfavorable infor- through their higher headquarters to the               serve.
   mation considered for inclusion in official policy proponent. Refer to AR 25 –30 for
   personnel files.                            specific guidance.

   Applicability. This regulation applies           Army internal control process.
   to the Regular Army, the Army National           This regulation contains internal control



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   Records management (recordkeeping) requirements • 1–5, page 1
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   Assistant Secretary of the Army (Manpower and Reserve Affairs) • 2–2, page 1
   Deputy Chief of Staff, G–1 • 2–3, page 2
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    ers • 2–5, page 2


   *This regulation supersedes AR 600–37, 10 April 2018.
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   Filing of information exempt from the referral procedure • 3–3, page 3
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   Board membership and voting procedures • 6–1, page 9
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   Chapter 1
   Introduction

   1–1. Purpose
   This regulation sets forth policies and procedures to ensure the best interests of both the Army and Soldiers are served
   by authorizing unfavorable information to be placed in, transferred within, or removed from an individual’s Army
   Military Human Resource Record (AMHRR).

   1–2. References and forms
   See appendix A.

   1–3. Explanation of abbreviations and terms
   See glossary.

   1–4. Responsibilities
   See chapter 2.

   1–5. Records management (recordkeeping) requirements
   The records management requirement for all record numbers, associated forms, and reports required by this regulation
   are addressed in the Army Records Retention Schedule–Army (RRS–A). Detailed information for all related record
   numbers, forms, and reports are located in ARIMS/RRS –A at https://www.arims.army.mil. If any record numbers,
   forms, and reports are not current, addressed, and/or published correctly in ARIMS/RRS–A, see DA Pam 25–403 for
   guidance.

   1–6. Objectives
   Objectives of this regulation are to—
      a. Apply fair and just standards to all Soldiers.
      b. Protect the rights of individual Soldiers, and at the same time, permit the Army to consider all available relevant
   information when choosing Soldiers for positions of significant trust and authority (POSTA) or positions or appoint-
   ments screened for suitability (PASS) in accordance with Secretary of the Army (SECARMY) Memorandum, dated
   12 February 2014.
      c. Prevent adverse personnel actions based on unsubstantiated derogatory information, irrelevant or untimely in-
   formation, or mistaken identity.
      d. Provide a means of correcting injustices if they occur.
      e. Ensure that Soldiers of poor moral character are not continued in the Army or selected for POSTA or PASS.

   Chapter 2
   Responsibilities

   2–1. Headquarters, Department of the Army Principal Officials
   HQDA Principal Officials will—
     a. Ensure continuous screening of official records for suitability information, and refer unresolvable cases to the
   Department of the Army Suitability Evaluation Board (DASEB).
     b. Take necessary action(s) for carrying out the DASEB or Deputy Assistant Secretary of the Army (Review
   Boards) (DASA (RB)) decisions on cases that have been reviewed or referred to them by higher authority.

   2–2. Assistant Secretary of the Army (Manpower and Reserve Affairs)
   The ASA (M&RA) will—
      a. Oversee administration of the DASEB (a continuing board within the Army Review Boards Agency (ARBA))
   as the initial appeal authority for unfavorable information entered in the AMHRR under this regulation.
      b. Ensure the DASA (RB)—
      (1) Monitors DASEB membership and appoints a president, as required.
      (2) Prescribes policies governing operations of the DASEB.




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      (3) Approves, disapproves, or refers to higher authority for proper action(s) on all adverse DASEB determinations
   concerning the filing of unfavorable information in a Soldier’s AMHRR.
      (4) Directs actions on all other DASEB determinations as deemed proper (ensuring compliance with chap 6).
      (5) Monitors and oversees all DASEB activities not otherwise prescribed.
      (6) Delegates authority for responsibilities in paragraphs 2–2b(1) through 2–2b(5) to the Director, MRB, as appro-
   priate.
      c. Also, on behalf of the ASA (M&RA), DASEB will—
      (1) Determine whether unfavorable information should be filed in the performance portion of the AMHRR when
   cases or actions are referred. The DASEB may also recommend potential separation or elimination action(s) to the
   U.S. Army Human Resources Command (HRC).
      (2) Recommend the filing of unfavorable information to the DASA (RB). The DASEB will not recommend filing
   of unfavorable information that has not been referred to the recipient, even if such filing would be otherwise permis-
   sible under this regulation.
      (3) Review and evaluate evidence presented to support appeals for removing or transferring unfavorable infor-
   mation from the performance portion of the AMHRR.
      (4) Revise, alter, or remove unfavorable information covered by this regulation from the AMHRR that is deter-
   mined upon appeal to be untrue or unjust, in whole or in part (see chap 7).
      (5) Transfer those administrative memoranda of reprimand, admonition, or censure that are determined upon ap-
   peal to have served their intended purpose from the performance to the restricted portion of the AMHRR, when such
   transfer would be in the best interest of the Army. Transfer of such memoranda is subject to stipulations noted in
   paragraphs 7–2d(3).
      (6) Transfer records of non-judicial punishment (proceedings pursuant to Article 15, Uniform Code of Military
   Justice (UCMJ, Art. 15)) that are determined upon appeal to have served their intended purpose from the performance
   to the restricted portion of the AMHRR, when such transfer would be in the best interest of the Army. Transfer of
   such records is subject to stipulations noted in paragraph 7–2d(3).

   2–3. Deputy Chief of Staff, G –1
   The DCS, G–1 will establish policy pertaining to—
     a. The filing of unfavorable information in the AMHRR (see chap 3).
     b. Removing information under appeal procedures in chapter 7.
     c. Transferring information from the performance portion of a Soldier’s AMHRR to the restricted portion of the
   AMHRR (listed under appeal procedures in chap 7).
     d. Ensuring that the Commanding General, HRC initiates flagging actions under AR 600–8–2, pending a final
   decision on the proposed filing of unfavorable information in a Soldier’s AMHRR.

   2–4. Deputy Chief of Staff, G –2
   The DCS, G–2 will—
      a. Ensure the U.S. Army Intelligence and Security Command provides assistance to the DASEB by making nec-
   essary records available, as required.
      b. Set forth procedures to release information from counterintelligence and personnel security records to command-
   ers and the DASEB, as required.

   2–5. Commanders, Army commands, Army service component commands, direct reporting units,
   and other commanders
   Commanders, ACOMs, ASCCs, DRUs, and other commanders will—
      a. Ensure that subordinate commanders are properly informed, and take appropriate action(s) with reference to
   unfavorable information concerning members of their commands (prescribed in chaps 3 and 5).
      b. Refer cases to the DASEB, when, because of unusual circumstances or complexities, unfavorable information
   of a serious nature concerning members or former members of their commands cannot properly be acted upon in
   accordance with their authority.
      c. Commanders of law enforcement and Army intelligence agencies responsible for maintaining law enforcement
   and counterintelligence records may release such records as specified in this regulation, and those outlined in AR
   20–1, AR 40–66, AR 40–400, AR 190–45, and AR 381–45.
      d. Law enforcement agencies will (in accordance with AR 190 –45, AR 195–2, and chap 5 of this regulation)—
      (1) Advise the DASEB (or other proper Headquarters, Department of the Army (HQDA) adjudicating agencies)
   upon request, when unfavorable information is provided for criminal justice action on an individual.


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      (2) Provide file copies (or extracts thereof) to these requestors, as appropriate.
      (3) Ensure that the decisions of adjudicating agencies, relative to information provided, are attached to the file
   report.

   Chapter 3
   Unfavorable Information in Army Military Human Resources Record

   3–1. General
   Personnel management decisions will be based on the following:
      a. Review of a Soldier’s AMHRR when selecting Soldiers for POSTA or PASS.
      b. The knowledge and best judgment of the commander, board (based on direction given in the applicable memo-
   randum of instruction), or other responsible authority. Both favorable and unfavorable information regarding the Sol-
   dier will be considered.

   3–2. Policies
      a. Except as indicated in paragraph 3–3, unfavorable information will not be filed in the AMHRR unless the re-
   cipient has been given:
      (1) The opportunity to review the documentation that serves as the basis for the proposed filing—
      (a) The documentation will be reviewed by the release authority prior to forwarding to the recipient to ensure
   personally identifying information and other sensitive information, such as social security numbers and home ad-
   dresses, has been redacted.
      (b) Redactions should be minimal; however, to ensure the recipient is afforded full due process rights in providing
   a meaningful rebuttal.
      (c) The privileged and confidential nature of information in inspector general (IG) records requires special atten-
   tion. Provisions for requesting access and use of IG reports are addressed in AR 20–1.
      (2) A reasonable amount of time to make a written statement in response—
      (a) This statement may include evidence that rebuts, explains, or mitigates the unfavorable information (see para
   3–7).
      (b) The recipient may also elect to decline, in writing, the opportunity to provide a written response.
      b. The issuing authority should fully affirm and document unfavorable information to be considered for inclusion
   in the AMHRR.
      c. Unfavorable information filed in the AMHRR must meet Title 5, United States Code, Section 552a (5 USC
   552a), standards of accuracy, relevance, timeliness, and completeness. Access to the AMHRR is governed by AR
   600–8–104.
      d. Unfavorable information filed in the AMHRR that indicates sub-standard leadership ability, and a lack of pro-
   motion potential, morals, or integrity must be identified early, and shown in those permanent official personnel records
   that are available to personnel managers and selection board members for use in making POSTA or PASS personnel
   decisions. Other unfavorable character traits of a permanent nature should be similarly recorded.
      e. Unfavorable information that has been directed for filing in the restricted portion of the AMHRR may be con-
   sidered for making determinations under this regulation.
      f. Information reflecting a Soldier’s refusal to consent to a polygraph examination will not be recorded in the
   AMHRR.

   3–3. Filing of information exempt from the referral procedure
   The following information may be filed in the performance portion of the AMHRR without further referral to the
   recipient:
      a. Records. Records of courts-martial and court-martial orders and records of proceedings pursuant to UCMJ, Art.
   15 (see AR 600 –8–104).
      b. Proceedings of boards of officers. It must be clear the recipient has been given the opportunity to present evi-
   dence and cross-examine witnesses on his or her own behalf.
      c. Completed criminal investigative reports. These include criminal reports (or authenticated extracts) that have
   resulted in adverse administrative or disciplinary action against the person concerned. The investigative report will be
   referenced when it is not practical to include the entire report (or an extract).
      d. Certified judgments of civilian criminal convictions (to include the record of arrest) or extracts thereof may be
   included in the Army Military Human Resource Record. The certified judgment of conviction may include the record



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   of arrest. Records consisting solely of minor traffic violations (as outlined in AR 190 –45) are not to be filed in the
   AMHRR.
      e. Officer and enlisted evaluation reports. Administrative processing, and the appeal of evaluation instruments are
   governed by AR 623–3.
      f. General. Other unfavorable information of which the recipient had prior official knowledge and an adequate
   opportunity to refute (as prescribed by para 3–7).
   Note. The notation “AR 600–37 complied with” will be entered below the filing authority on unfavorable information.

   3–4. Filing of information on sex-related offenses
      a. Filing in the Army Military Human Resource Record. Commanders will ensure that a Soldier’s performance-
   disciplinary folder is annotated when a court-martial conviction, non-judicial punishment, or punitive administrative
   action for a sex-related offense is received. Punitive administrative action means any adverse administrative action
   initiated as a result of the sex-related offenses identified below and includes, but is not limited to, memoranda of
   reprimand, admonishment, or censure, from all levels of command.
      b. Applicability. This requirement applies to Soldiers in all components, regardless of grade. Commanders do not
   have the authority to designate any of the following documents be filed in the restricted folder of the AMHRR or
   locally (see para 3–5). Sex-related offenses include a violation of the following sections of 10 USC and equivalent
   articles of the UCMJ:
      (1) Section 920–Art. 120: Rape and sexual assault generally. This includes rape, sexual assault, aggravated sexual
   contact, and abusive sexual contact.
      (2) Section 930–Art. 130: Stalking.
      (3) Section 920b–Art. 120b: Rape and sexual assault of a child. This includes rape, sexual assault, and sexual abuse
   of a child.
      (4) Section 920c–Art. 120c: Other sexual misconduct. This includes indecent viewing, visual recording, or broad-
   casting.
      (5) Section 925–Art. 125: Kidnapping.
      (6) Section 880–Art. 80: Attempt (to commit any of the offenses listed in this paragraph).
      c. Action taken against a Soldier. If an action is taken against a Soldier resulting in an Army Law Enforcement
   Report in a civilian court, the disposition will be recorded on a DA Form 4833 (Commander’s Report of Disciplinary
   or Administrative Action) in accordance with AR 190–45. Possible action(s) taken against a Soldier may include
   military action, civilian action, or both.
      (1) The appropriate Army Criminal Investigation Division (CID) office will enter the law enforcement report into
   CID’s reporting system (The Army and state requirements to register as a sex offender contributes to this reporting, if
   applicable).
      (2) Cases where an Army Law Enforcement Report does not exist for a conviction in civilian court. Once the Army
   is made aware of the incident/conviction (that is, sexual offense), the appropriate CID office will generate a DA Form
   4833, and enter the report into CID’s reporting system (the Army and state requirements to register as a sex offender
   contributes to this reporting, if applicable).
      (3) Records of civil convictions for sexual offenses separate from military action/reports must be recorded in Na-
   tional Crime Information Center in accordance with AR 195 –5, and accessible by all agencies performing a criminal
   justice junction.
      d. Due process guarantee. Unless exempt from referral (see para 3–3), the Soldier will be given notice of the
   requirement to file the information in the AMHRR, and will be given the opportunity to respond before adverse ad-
   ministrative action is included in the Soldier’s performance-disciplinary folder. The Soldier’s response will be filed
   with the adverse administrative action.
      e. Mandatory filing in the performance folder. Documents will be filed in the performance-disciplinary folder of
   the AMHRR.
      f. Processing sex-related offenses.
      (1) Commanders will coordinate with his or her servicing Judge Advocate to ensure the offense meets the criteria
   for a sex-related offense (as stated in para 3–4b(1)). Offenses determined not to meet the criteria for a sex-related
   offense will be processed by the unit in accordance with AR 600 –8–104.
      (2) Commanders will forward packets including a sex-related offense to: Commander, Army Human Resources
   Command (AHRC–PLB (G3)), 1600 Spearhead Division Avenue, Fort Knox, KY 40122 –5120, or encrypted email
   to usarmy.knox.hrc.mbx.sex-offenses@mail.mil with subject line “Documented Sex-Related Offense for (Rank/Full
   Name)”. Packets must include Soldier’s full name, last four of social security number, and grade. Packets must include



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   supporting documents for the offense (Article 15/General Officer Memorandum of Reprimand, Court-Martial Con-
   viction) for filing in the AMHRR.
      (3) HRC–G3 will forward packets and supporting documents to the appropriate records custodian, as defined in
   AR 600–8–104, for web uploading to the AMHRR in the interactive Personnel Electronic Records Management Sys-
   tem.
      g. Coding record. The Commander, HRC, will designate and implement an appropriate assignment consideration
   code (ASCO) for use on Soldiers’ record briefs to identify those Soldiers with a court-martial conviction, non-judicial
   punishment, or punitive administrative action, for a sex-related offense. U.S. Army Reserve (USAR) Command and
   The Adjutant General for state/territory National Guard will enter the ASCO for Soldiers in their component
   (RCMS–R/SIDPERS).
      h. Command review. Lieutenant colonel-level commanders, or higher authority, will review the history of sex-
   related offenses documented in the AMHRR for any Soldier permanently assigned to their unit. Commanders will
   screen the record brief of current and incoming Soldiers for the ASCO indicating that the Soldier has received a court-
   martial conviction, non-judicial punishment, or punitive administrative action, for the sex-related offense. The purpose
   of this review is to ensure that commanders are aware of the history of sex-related offenses of Soldiers within their
   organizations.
      i. Appeal of filing. A Soldier may appeal the placement of the information in their AMHRR to the Army Board
   for Correction of Military Records (ABCMR).

   3–5. Filing of nonpunitive administrative memoranda of reprimand, admonition, or censure
      a. Authority for filing in the local file. There are only two filing options: filing in the performance portion of the
   AMHRR, or local filing. Commanders do not have the option to file memoranda in the restricted portion of the
   AMHRR. If local filing is intended, the memorandum does not need to be referred to a higher authority for review.
      (1) Authority to issue and direct the filing of a memorandum of reprimand, admonition, and/or censure in the local
   file (after referral to the person concerned pursuant to para 3–7) of enlisted personnel is restricted to the recipient’s
   immediate commander (or a higher commander in his or her chain of command), school commandants, any general
   officer (GO) (to include those frocked to the rank of brigadier general), or an officer exercising general court-martial
   jurisdiction over the recipient. Immediate supervisors of enlisted personnel also have authority to issue memoranda of
   reprimand, and may also direct filing in the local file, but only if serving in one of the capacities listed above.
      (2) Authority to issue and direct the filing of such memoranda in an officer’s local file is restricted to—
      (a) The recipient’s immediate commander or a higher-level commander in the chain of command (if such com-
   mander is senior in grade or date of rank to the recipient).
      (b) The designated rater, intermediate rater, or senior rater, under the officer evaluation reporting system (see AR
   623–3).
      (c) A GO (to include one frocked to the rank of brigadier general) who is senior to the recipient, or an officer who
   exercises general court-martial convening authority (GCMCA) jurisdiction over the recipient, or the designee of the
   GCMCA.
      (3) Statements furnished by the recipient following referral will be attached to the memorandum for filing in the
   local file (see para 3–7).
      b. Filing in Army Military Human Resource Records. A memorandum, regardless of the issuing authority, may be
   filed in the AMHRR, and managed by HRC or the proper State Adjutant General (for Army National Guard personnel)
   upon the order of a GO (to include one frocked to the rank of brigadier general). The GO directing filing must: exercise
   GCMCA over the recipient, or be the GCMCA’s designee or delegate; be a GO commander over the recipient; been
   a filing authority from the recipient’s losing command pursuant to paragraph 3–5f(1); be the Commander of HRC; be
   any HQDA staff principal, to include the Chief of Staff of the Army, Vice Chief of Staff of the Army (VCSA), or the
   DAS; be a State Adjutant General or designee; or be the chief, or his or her designee, of any designated special branch
   pursuant to 10 USC 3064–acting pursuant to their statutory authority over members of their respective special
   branches. Memoranda filed in the AMHRR will be filed in the performance folder. Directions for filing in the AMHRR
   will be contained in an endorsement or addendum to the memorandum.
   Note. All administrative actions for GOs are withheld to the VCSA.
     c. A memorandum containing unfavorable information, to be included in a Soldier’s Army Military Human Re-
   source Record will —
     (1) Be referred to the recipient concerned for comment (see para 3–7).
     (a) The referral will include reference to the intended filing of the memorandum.



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      (b) This referral will also include and list applicable portions of investigations, reports, and other documents that
   serve, in part or in whole, as the basis for the memorandum, provided the recipient was not previously provided an
   opportunity to respond to information reflected in that documentation.
      (c) Documents that require the approval from officials or agencies, other than the official issuing the memorandum,
   will be coordinated with the release authority prior to releasing to the recipient.
      (d) Statements and other evidence furnished by the recipient will be reviewed and considered by the officer au-
   thorized to direct filing in the AMHRR. The statements and evidence, and/or any applicable written correspondence
   thereof, will be attached as enclosures to the memorandum.
   Note. This will be done before a final determination is made to file the memorandum. Referral acknowledgment must
   be included with any unfavorable information directed for filing in the AMHRR (see para 3 –7).
      (e) If the filing authority desires to file allied documents with the memorandum, these documents must also be
   referred to the recipient for comment. This includes statements, previous reprimands, admonitions, or censure. Allied
   documents must also be specifically referenced in the memorandum or referral document. Care must be exercised to
   ensure additional unfavorable information is not included in the transmittal documentation, unless it has been properly
   referred for comment.
      (2) Contain a statement that indicates the memorandum has been imposed as an administrative measure, and not
   as a punishment under UCMJ, Art. 15.
      (3) Be signed by (or sent under the cover or signature of) an officer authorized to direct such filing.
      (4) Include a statement indicating the imposing authority’s intent for filing. This statement will provide the Soldier
   direction on how to correct his or her behavior, and will assist the DASEB in its deliberations in the event the Soldier
   appeals to have the document transferred to the restricted portion of the AMHRR.
      (5) Be forwarded for inclusion in the performance portion of the AMHRR, only after considering the circumstances
   and alternative non-punitive measures. Minor behavior infractions or developmental mistakes will not normally be
   recorded in a Soldier’s AMHRR. Once placed in the AMHRR; however, such information will be permanently filed,
   unless removed through the appeal process (see chap 7).
      (6) Names of victims and third party social security numbers will be redacted from all documents prior to filing
   locally or in the AMHRR.
      d. Decisions against filing memoranda in the Army Military Human Resource Record. If the GO (or GCMCA)
   elects not to place the memorandum in the AMHRR, the correspondence will be returned to the issuing authority who
   will advise the recipient of the decision not to file the memorandum in the AMHRR.
      e. Filing memoranda designated for local files. Local filing may only be filed for up to 18 months, or until reas-
   signment of the recipient to another general court-martial jurisdiction, whichever is sooner. Such a letter will state the
   length of time the letter is to remain in the local file, and provide a point of contact for the Soldier to contact after the
   expiration date to ensure removal. Both the Soldier and his or her unit are equally responsible for removing the letter
   from the local file after18 months.
      f. Circumstances affecting the imposition or processing of administrative memoranda of reprimand.
      (1) If/when a Soldier leaves the chain of command or supervision after a commander or supervisor has stated, in
   writing, the intent to impose a reprimand, but before the reprimand has been imposed, the action may be processed to
   completion by the losing command. In such cases, the losing command must coordinate reprimanding action(s) with
   the gaining command prior to imposition.
      (2) If/when the reprimanding official leaves the chain of command or supervision after stating in writing the intent
   to impose a reprimand, his or her successor may complete appropriate action on the reprimand. In such cases, the
   successor must be familiar with relevant information about the proposed reprimand.
      (3) If/when a former commander or supervisor discovers misconduct warranting a reprimand, an admonition, or
   censure without having previously stated in writing the intent to impose a reprimand, he or she may—
      (a) Send pertinent information to the Soldier’s current commander for action.
      (b) Personally initiate and process a memorandum of reprimand, admonition, or censure, as if the former command
   or supervisory relationship continued. In such cases, the current commander must be familiar with relevant information
   about the proposed reprimand.
   Note. Officials should consider the timeliness and relevance of the adverse information before taking administrative
   action at a later date.
     g. Reprimands and admonitions. Reprimands and admonitions imposed as non-judicial punishment (see UCMJ,
   Art. 15) are governed by AR 27–10.



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      h. Change from enlisted to officer status. If a status change from enlisted to officer was approved on or after 16
   December 1980, memoranda of reprimand, admonition, or censure, received while in an enlisted status and filed in
   the performance portion of the AMHRR, will be moved to the restricted portion of the AMHRR.

   3–6. Anonymous communications
   Anonymous communications will not be filed in a Soldier’s AMHRR or filed locally. If, after investigation or inquiry,
   unfavorable information is found to be true, relevant, proven, or supported, and not exempted under paragraph 3–3,
   the information must be referred to the Soldier before such information is filed in the AMHRR or filed locally (see
   para 3–7).

   3–7. Referral of information
      a. Except as provided in paragraph 3–3, unfavorable information will be shared with the recipient for acknowledg-
   ment of his or her rebuttal opportunity, prior to filing.
      b. Recipients will be provided 7 calendar days (active duty Soldiers (all components) or USAR Soldiers in Troop
   Program Units (TPUs)), or 30 calendar days (Army National Guard/Reserve Soldiers not on active duty) to make a
   statement, or to decline, in writing, to make such a statement. The notice will state the date by which the statement
   must be provided. The statement may include evidence that rebuts, explains, or mitigates the unfavorable information.
   Acknowledgment and rebuttal comments or documents will be submitted generally in the following form:
      (1) “I have read and understand the unfavorable information presented against me, and submit the following state-
   ment or document(s) on my behalf.”
      (2) “I have read and understand the unfavorable information presented against me, and elect not to make a state-
   ment.”
      c. If a recipient refuses to acknowledge the referral of unfavorable information, the reprimanding official will pre-
   pare the following statement: “On (insert date in YYYY/MM/DD format), (insert name in first, middle, last sequence)
   has been presented with the unfavorable information and refuses to acknowledge by signature.” The memorandum
   can then be directed for filing (see para 3–5).

   Chapter 4
   Unfavorable Information in Counterintelligence and Investigative Files

   4–1. General
   This chapter sets forth provisions for the disposition of unresolved unfavorable information in counterintelligence and
   investigative files.

   4–2. Security clearance
   Commanders will ensure that security clearance eligibility is not suspended in lieu of punishment under the UCMJ or
   other disciplinary measures. Recommendations to deny or revoke a security clearance will not be used as a punishment
   or disciplinary measure. Action to deny or revoke a security clearance will be taken only by the Department of Defense
   (DOD) Consolidated Adjudications Facility (see AR 380 –67).

   4–3. Resolution of unfavorable information in counterintelligence and investigative files
      a. Commander’s responsibility. When commanders receive information that may cast doubt on the suitability of
   a person to hold a security clearance, he or she will follow the procedures in AR 380–67 for reporting the information.
   When a commander receives information that may be reportable under the provisions of AR 381 –12, he or she will
   notify the supporting counterintelligence office. In addition, the commander will—
      (1) Follow incident procedures in accordance with AR 380 –67.
      (2) Initiate investigation under AR 15–6, AR 380–67, or AR 600–8–104, and forward the results through the chain
   of command.
      (3) Consider the appropriate action under AR 135 –175, AR 135–178, AR 600–8–24, AR 635–200, or the UCMJ.
      (4) Reassign the person to a non-sensitive position.
      (5) Commanders may use additional investigative resources available, such as military police, IG, U.S. Army
   Criminal Investigation Command (USACIDC), and/or investigating officers or a board of officers who may investi-
   gate matters within their assigned area of responsibility. This authority does not include the conduct of counterintelli-
   gence investigations.




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      b. Suspension of favorable personnel actions. Suspension of favorable personnel actions (under AR 600–8–2) will
   be considered. The suspension of favorable personnel actions on a Soldier is mandatory when military or civilian
   authorities initiate any investigation or inquiry that may potentially result in disciplinary or adverse administrative
   action.

   4–4. Use of counterintelligence and investigative files in personnel actions
      a. Counterintelligence and investigative files are not a part of the military personnel records system, as prescribed
   by AR 600–8–104. However, to ensure that the Army’s interests are protected when selecting a Soldier for a POSTA
   or PASS, commanders should (in accordance with all Army activities188/2014)—
      (1) Correlate significant verified information with information in personnel files.
      (2) Make all information available to personnel decision-makers.
      b. Current counterintelligence and investigative files may have unevaluated or dormant information which was not
   furnished to the Soldier for comment. These records may have sensitive information that may not be releasable either
   to the subject, or the board. If disclosed prematurely, the information could jeopardize current investigations or sources
   of information. For these reasons, counterintelligence and investigative files are not furnished to promotion selection
   boards or other personnel decision-makers except—
      (1) The DASEB, as outlined in chapters 2 and 6. This board merely determines what information will be considered
   for possible filing in the AMHRR, but does not make personnel decisions.
      (2) Personnel managers in highly intensified personnel management areas, as designated by the SECARMY, the
   Chief of Staff of the Army, or the DCS, G–1.
      (3) As the SECARMY may direct.

   Chapter 5
   Unfavorable Information in Army Law Enforcement Files

   5–1. Authorities for filing and using unfavorable information
   Statutory or regulatory authorities govern the filing and use of unfavorable material in military police or USACIDC
   crime records (see AR 190–45, AR 195–5, and AR 195–6; and paras 2–2 and 2–5). This chapter prescribes procedures
   for the disposition and referral of, and access to, information in Army law enforcement files.

   5–2. Disposition of information in law enforcement files
      a. Criminal justice action. Copies of criminal investigative case files, military police reports, or information from
   these files or reports are provided to commanders by law enforcement agencies for criminal justice disposition and
   ancillary actions.
      (1) Criminal justice disposition. As a result of command consideration, criminal justice disposition proceeds to
   one of the categories listed below. To this end, the proper authority may—
      (a) Start court-martial action.
      (b) Start action under the UCMJ, Art. 15.
      (c) Decline to consider further criminal justice proceedings.
      (2) Ancillary action. The actions described below do not replace criminal justice disposition, but are independent
   of criminal justice disposition.
      (a) Action to suspend favorable personnel actions reported according to AR 600 –8–2.
      (b) Elimination action under AR 135–175, AR 135–178, AR 600–8–24, or AR 635–200.
      (c) Action to suspend or deny access to classified information under AR 380–67 and, if needed, investigation under
   AR 381–20 to obtain more facts in the case.
      (d) Other administrative action, as appropriate.
      b. Non-criminal justice action. Independent of completing a criminal justice disposition (as listed in para 5–2a(1)),
   Army review of criminal investigative or military police cases about subject personnel, for suitability consideration,
   may result in action under one or more of the categories listed below.
      (1) Elimination action under AR 135–175, AR 135–178, AR 600–8–24, or AR 635–200.
      (2) Action to suspend or deny access to classified information under AR 380–67 and, if needed, investigation under
   AR 381–20 to develop the facts of the case.
      (3) Favorable closing of the case.




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   5–3. Access to law enforcement investigative files
      a. AR 25–55, AR 190–45, AR 195–2, and AR 195–6 set forth procedures for gaining access to law enforcement
   investigative files.
      b. Law enforcement records and reports are not a part of the military personnel records system as prescribed by
   AR 380–67.
      (1) To ensure that commanders and supervisors take proper action (see para 5–2), information from criminal in-
   vestigative and military police files is exchanged between USACIDC, or military police elements, and the command-
   ers whom they support.
      (2) AR 190–45, AR 195–2, and AR 195–6 set forth procedures to preclude the release of unfavorable information
   for purposes other than those described in paragraph 5–2.
      (3) Safeguards will be established to preclude unauthorized released of information in accordance with AR 195 –2.
      c. Criminal record data related to uses described by paragraph 5–2 are not provided to Army selection boards or
   other personnel decision-makers before an initial determination of guilt (based on criminal justice disposition). Ex-
   ceptions are as follows:
      (1) DASEB as outlined in chapters 2 and 6, subject to restrictions that may be imposed concerning secondary
   release.
      (2) Personnel managers of intensified personnel management areas, specifically designated by the SECARMY, the
   Chief of Staff of the Army, or the DCS, G–1.
      (3) As the SECARMY may direct.

   Chapter 6
   Organization and Procedures of the Department of the Army Suitability Evaluation Board

   6–1. Board membership and voting procedures
      a. The DASEB is a standing, continuous board within ARBA. The DASEB typically consists of officers in the
   grade of colonel; however, voting members on any case will be senior in grade to the recipient. The board membership
   will include at least one enlisted member in the grade of sergeant major when considering cases involving enlisted
   personnel. If the recipient is senior to the enlisted member(s) of the Board, three colonels will vote the case. The
   DASEB is authorized direct communication with all commanders, agencies, and individuals.
      b. A quorum of three members will be actively involved in every step of the case’s adjudication. Determination
   recommendations will be by majority vote. The DASEB may find that adverse suitability information can best be
   resolved by returning the case to the Soldier’s chain of command.
      c. No DASEB member will vote on a case in which he or she was personally involved, or in which he or she
   knowingly has any bias. In any event where a DASEB member is/was personally involved in a case, he or she will be
   removed from said case, and replaced with another suitable board member.
      d. The Director, Military Review Boards, will make the final decision regarding the DASEB’s recommendation to
   transfer unfavorable information from the performance to the restricted file in the AMHRR.
      e. The DASA (RB) will make the final decision regarding the DASEB’s recommendation to remove unfavorable
   information from the AMHRR.

   6–2. Department of the Army Suitability Evaluation Board Filing Determinations
      a. The DASEB will deliberate to determine whether unfavorable information requested by a commander or agency
   without filing authority should be filed in the AMHRR and, if so, whether to be placed in the performance or restricted
   portion.
      b. The DASEB will only consider and recommend the filing of unfavorable information for cases in which the
   recipient has been afforded an opportunity to explain or rebut the unfavorable information, and has not provided a
   satisfactory explanation or rebuttal.
      c. The DASEB may edit unfavorable information for cases in which the recipient has satisfactorily explained a
   portion of the unfavorable information in the rebuttal. The DASEB will then recommend the filing of the edited un-
   favorable information.
      d. The DASEB may determine that the unfavorable information should not be included in either the performance
   or restricted portion of the AMHRR. In such cases, the DASA (RB) will make the final determination, as they are the
   approval authority for DASEB determinations not to file unfavorable information in the AMHRR. This authority will
   not be further delegated. The DASEB will close such cases and notify the commander or agency of the outcome.




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      e. The DASEB makes determinations upon appeal of unfavorable information filed in a Soldier’s AMHRR. The
   DASEB may determine to revise, alter, or remove such unfavorable information if it is determined to be untrue or
   unjust, in whole or in part (see chap 7).
      f. The DASEB makes determinations, upon appeal, on requests to transfer unfavorable information from the per-
   formance to the restricted portion of the AMHRR (see chap 7). The DASEB may recommend the transfer of those
   administrative memoranda of reprimand when such transfer would be in the best interest of the Army. Transfer of
   such memoranda is further subject to the stipulations stated in paragraph 6–1d, paragraph 6–1e, and chapter 7.

   6–3. Department of the Army Suitability Evaluation Board process
       a. The Department of the Army Suitability Evaluation Board will review and consider the recipient’s response or
   rebuttal to the proposed filing of a case summary of unfavorable information in his or her Army Military Human
   Resource Record. The DASEB will adequately document its findings, conclusions, and recommendations. The
   DASEB will adjudicate cases under the following circumstances:
       (1) Commanders who do not have filing authority for unfavorable information may submit requests for a filing
   determination. This normally is any commander below the rank of brigadier general who does not have GCMA.
       (2) Agencies who possess, or are aware of, unfavorable information about a Soldier may submit a request for a
   filing determination when the information cannot be filed under the provisions of other regulatory policies or proce-
   dures.
       (3) Filing authorities who directed the filing in the AMHRR of an administrative memorandum of reprimand, ad-
   monition, or censure, may request its revision, alteration, or removal if later investigation determines it was untrue or
   unjust, in whole or in part.
       (4) Soldiers who believe unfavorable information filed in their AMHRR is untrue or unjust may submit an appeal
   to request the removal of that information on the basis that it is untrue or unjust. Such appeals must include sufficient
   clear and convincing evidence that shows the unfavorable information is either untrue or unjust in whole or in part.
       (5) Soldiers who believe that unfavorable information filed in their AMHRR, in the form of a memorandum of
   reprimand, admonition, or censure, or records or proceedings pursuant to UCMJ, Art. 15, have served their intended
   purpose, may submit an appeal in the case of an UCMJ, Art. 15, to request its transfer to the restricted portion of the
   AMHRR in accordance with paragraph 7–2d(3). Such appeals must include evidence that—
       (a) The intended purpose has been served.
       (b) The Soldier has received at least one evaluation report (not academic) since its imposition.
       (c) The transfer is in the best interest of the Army.
       (d) The Soldier’s chain of command at the time of the imposition and/or imposing authority support the transfer in
   the form of a memorandum.
   Note. In cases where an imposing authority/unit no longer exists, the Soldier’s next higher command/unit may support
   the transfer.
      (6) Soldiers who have had an appeal denied under paragraphs 6–3a may submit a request for reconsideration no
   earlier than 1 year from the date of notification of denial. The request for reconsideration must include evidence not
   previously considered.
      b. Case analysis.
      (1) The DASEB will review and evaluate the records of each case referred to the board to determine if—
      (a) Documents that contain unfavorable information submitted for filing considerations have sufficient credible
   evidence to support a finding, by preponderance of the evidence, that the unfavorable information is valid.
      (b) Unfavorable information is of such a serious nature that it should be made a part of the AMHRR. In doing so,
   the DASEB will consider serious individual incidents, as well as a pattern of lesser incidents, that may reflect unfa-
   vorably on the Soldier’s character, integrity, trustworthiness, or reliability.
      (2) The DASEB will presume that once an official document has been properly filed in the AMHRR, it is admin-
   istratively correct and was filed pursuant to an objective decision made by a competent authority. Thereafter, the
   burden of proof rests with the recipient responsible for providing clear and convincing evidence to support the docu-
   ment is either untrue or unjust, in whole or in part, thereby warranting its alteration or removal from the AMHRR; or
   has served its intended purpose, and it is in the best interest of the Army to transfer it to the restricted portion of the
   AMHRR.
      (3) The DASEB will review all cases, regardless of prior decisions made by commanders, courts-martial, elimina-
   tion boards, or other authorities.
   Note. AR 15–6 does not apply to DASEB proceedings.



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      (4) The DASEB will not consider appeals that merely allege an injustice or error without supporting evidence.
      (5) The DASEB will consider appeals for the transfer of unfavorable information to the restricted portion of the
   AMHRR when the recipient has submitted proof that the intended purpose has been served and the transfer is in the
   best interest of the Army. Requests for consideration include the following criteria:
      (a) (Required) Time elapsed since the filing.
      (b) (Required) The Soldier has indicated remorse for the actions which caused the unfavorable information to be
   filed.
      (c) (Required) At least one positive evaluation report, other than an academic evaluation, has been received since
   the filing.
      (d) (Required) There is no evidence or indication of a repeat of the offense.
      (e) (Recommended) Memorandum from the original imposing authority supporting the transfer.
      (f) (Optional) Memorandum of support from the current chain of command and the chain of command at the time
   of imposition.
      (6) The DASEB may obtain information from the recipient, Soldiers in the chain of command, or anyone thought
   to have firsthand knowledge relevant to the case. The DASEB is authorized direct communication with commanders,
   agencies, and individuals regarding matters before the board. The DASEB may request and consider any files, records,
   and reports believed to have relevance to a case under consideration. These include criminal records, official personnel
   files, counterintelligence and investigative files, law enforcement, and other investigative files. Except as set forth in
   10 USC 1556, a recipient will be provided copies of all correspondence and communications (including summaries
   of verbal communications) between DASEB and any entity or person outside ARBA pertaining to the recipient’s case
   or potentially having a material effect on the recipient’s case. The recipient will be given a reasonable opportunity to
   respond to such information before the DASEB renders a decision or recommendation.
      (7) The DASEB does not permit recipients or those on their behalf, to appear in person before the board.
      (8) The DASEB will document its findings and conclusions, and will state its recommendations in their record of
   proceedings. The recipient will receive a copy of the record of proceedings with the final decision.
      c. Case decisions.
      (1) The DASEB makes determinations and recommendations based on a majority vote of the board members,
   following the process outlined above.
      (2) The DASEB makes initial filing decisions based on its case review and analysis, and will determine one of the
   following:
      (a) The unfavorable information is already adequately reflected in the AMHRR so as to be meaningful to personnel
   managers and selection boards. Therefore, the case may be closed without further action except to properly notify the
   sender of this determination.
      (b) The unfavorable information is either not of such a serious nature or is not of the type that should be filed in
   the AMHRR. Therefore, the case may be closed without further action, except to properly notify the sender of the
   DASEB determination that the information will not be filed.
      (c) The unfavorable information is of such a serious nature as to warrant filing in the AMHRR. In such cases, a
   notification memorandum will be sent to the individual involved, in which his or her rights are explained.
   Note. The memorandum will include the unfavorable information proposed for filing in the AMHRR.
      (d) The recipient must be given an opportunity to review the evidence against them, and to submit a written rebuttal
   or explanation for the board’s consideration before any adverse finding or recommendation is made. Once the DASEB
   reviews the response, it will make a filing recommendation to the DASA (RB) for final filing decision action.
      (e) The adverse suitability information can best be resolved by returning the case to the current chain of command.
      (3) The DASEB makes removal decisions based on its case review and analysis, and will determine one of the
   following:
      (a) The unfavorable information is determined to be untrue or unjust, in whole or in part; therefore, there is suffi-
   cient reason to remove the document from the recipient’s AMHRR.
      (b) The unfavorable information is determined to be untrue or unjust, in whole or in part; therefore there is suffi-
   cient reason to require alteration of the unfavorable information as determined by the DASEB.
      (c) The unfavorable information is determined to be true and just, and will remain in the recipient’s AMHRR.
      (d) The DASEB determines the case does not meet the criteria for consideration by the board, and returns the
   appeal without action.




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   Chapter 7
   Appeals

   7–1. Appeal authority
   The DASEB is the initial appeal authority and makes recommendations for removal, alteration, or transfer of unfa-
   vorable information entered in the AMHRR. This chapter sets forth the policies and procedures whereby a person may
   seek removal of unfavorable information from his or her AMHRR, or transfer of unfavorable information from the
   performance file to the restricted file of his or her AMHRR.

   7–2. Policies and Standards
   An officer who directed the filing in the AMHRR of an administrative memorandum of reprimand, admonition, or
   censure, may request its revision, alteration, or removal if later investigation determines such information is untrue/un-
   just in whole or in part. The basis for such determination must be provided to the DASEB in sufficient detail so as to
   justify the request. The officer who directed the filing of such a letter in the AMHRR may not initiate an appeal on
   the basis that the memorandum has served its intended purpose. However, a memorandum of support may be submit-
   ted with the recipient’s appeal.
      a. Applicability.
      (1) Appeals for removal. This regulation applies to appeals for the removal of memoranda of reprimand, admoni-
   tion, or censure, already filed in the recipient’s AMHRR.
      (2) Appeals for transfer. This regulation applies to appeals for the transfer of memoranda of reprimand, admoni-
   tion, or censure for the transfer of records of proceedings under UCMJ, Art. 15, from the performance file to the
   restricted file of the recipient’s AMHRR.
      (3) Appeals involving documents with regulatory appeal authority. This regulation does not apply to documents
   that have their own regulatory appeal authority, such as evaluation reports or records of courts-martial.
      (4) Appeals for Article 15 removal (see AR 27–10). The DASEB will not consider appeals to remove a records of
   proceedings under UCMJ, Art. 15, from the AMHRR. The authority to adjudicate such claims rests with the ABCMR,
   under AR 15–185.
      b. Who may appeal? The DASEB will consider all appeals from Soldiers in the Regular Army, the Army National
   Guard of the United States/Army National Guard, USAR (in grades E –6 and above), officers, and warrant officers.
   The DASEB will consider appeals from Soldiers in grades below E –6 only as an exception to policy granted by the
   DCS, G–1.
      c. Veterans and retirees. The DASEB will not accept or consider appeals from individuals no longer in the military
   or members of the Inactive Ready Reserve. Those individuals must submit their requests to the ABCMR using DD
   Form 149 (Application for Correction of Military Record) (see para 7–7).
      d. Burden of proof and level of evidence required.
      (1) General. Once an official document has been properly filed in the AMHRR, it is presumed to be administra-
   tively correct, and to have been filed pursuant to an objective decision by a competent authority.
      (2) Removals.
      (a) There is no time restriction for submitting an appeal for removal of unfavorable information from the AMHRR.
      (b) The recipient has the burden of proof to show, by clear and convincing evidence, to support assertion that the
   document is either untrue or unjust, in whole or in part.
      (c) Evidence submitted in support of the appeal may include, but is not limited to: an official investigation showing
   the initial investigation was untrue or unjust; decisions made by an authority above the imposing authority overturning
   the basis for the adverse documents; notarized witness statements; historical records; official documents; and/or legal
   opinions.
      (d) The DASEB will not consider appeals that merely allege an injustice or error without supporting evidence or a
   compelling argument. Appeals such as these will be returned without action.
      (e) The DASA (RB) is the final decision authority for removal of unfavorable information from the AMHRR. This
   authority will not be further delegated.
      (3) Transfers.
      (a) Soldiers must have received at least one evaluation (other than academic) since imposition.
      (b) The recipient bears the burden of providing substantial evidence that the intended purpose of the document has
   been served in support of a request for the transfer of any official memoranda of reprimand, admonition, censure, or
   records of proceedings pursuant to UCMJ, Art. 15 from the performance file to the restricted file of the recipient’s
   AMHRR.



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      (c) The recipient must indicate how the transfer of the unfavorable information would be in the best interest of the
   Army, thereby warranting transfer of the document to the restricted file of the AMHRR. Such evidence may include,
   but is not limited to: statements of support from the imposing authority, the Soldier’s current chain of command, the
   Soldier’s chain of command at the time of imposition, and/or other memoranda of support; subsequent evaluation
   reports (other than academic); notarized witness statements; official documents; court documents; statements of re-
   morse; documents demonstrating rehabilitation; other documents proving the intended purpose of the document has
   been served; and legal documents.
      (d) The DASEB will not consider appeals that merely allege that the intent of the document has been served without
   supporting evidence. Appeals such as these will be returned without action.
      (e) The transfer of an unfavorable document to the restricted portion of the AMHRR will not normally serve as the
   sole basis for promotion reconsideration by a special selection board, unless approved as an exception to policy granted
   by the DCS, G–1 (based on the DASEB’s recommendation, and the DASA (RB)’s concurrence).
      (f) If the DASEB denies an appeal, a copy of the memorandum of notification regarding the denial will be placed
   in the commendatory and disciplinary portion of the performance record. The appeal itself and the record of the pro-
   ceedings will be placed in the restricted portion of the AMHRR.

   7–3. Processing appeals–Army Military Human Resource Record
     a. Preparation and submission.
     (1) All appeals must be submitted by, or on behalf of, the recipient in writing.
   Note. A sample Department of the Army Suitability Evaluation Board Appeal memorandum can be found at ARBA’s
   website: https://arba.army.pentagon.mil/unfavorable.html /.
      (2) All appeals must be accompanied by relevant, substantive evidence (see para 7–2d).
      (3) For active duty Soldiers (all components) and USAR Soldiers in TPU, appeals must be submitted to the DASEB
   at Army Review Boards Agency. The DASEB mailing address is: 251 18th Street South, Suite 385, Arlington, VA
   22202–3531.
      (4) For Army National Guard Soldiers not on active duty, appeals must be submitted through the applicable state
   Adjutant General and the Chief, National Guard Bureau, to the DASEB.
      (5) Retired, Separated, or Soldiers in the Individual Ready Reserve do not appeal to the DASEB; they must appeal
   to the ABCMR to remove from or move unfavorable information within their AMHRR (see para 7–7).
      (6) The appeal process is administrative and non-adversarial in nature.
   Note. The provisions of AR 15–6 do not apply.
      (7) Recipients, or those acting on their behalf, are not authorized to appear in person before the DASEB.
      b. Recipient awareness of the Department of the Army Suitability Evaluation Board process.
      (1) The DASEB may request and consider any files, records, and reports believed to have relevance to a case under
   consideration.
      (2) The DASEB may obtain corroboration from Soldiers in the chain of command, or anyone thought to have first-
   hand knowledge relevant to a case.
      (3) The DASEB may contact a recipient by official correspondence for specific information as necessary.
      (4) The DASEB may contact (whenever practical) the imposing authority for input regarding an appeal.
      (5) The DASEB will adhere to the notice requirements to recipients (see para 6–3).
      c. Filing authority to redress actions.
      (1) An officer who directed the filing in the AMHRR of an administrative memorandum of reprimand, admonition,
   or censure, may request its revision, alteration, or removal, if evidence or information indicates the basis for the ad-
   verse action was untrue or unjust, in whole or in part.
      (2) An officer who directed such a filing must provide the DASEB a copy of the new evidence or information to
   justify the request.

   7–4. Processing appeals–locally filed
   Procedures for requesting removal of such locally filed unfavorable documents.
      a. All appeals must be submitted by the recipient, in writing.
      b. All appeals must be accompanied by relevant, substantive evidence, justifying why the document should be
   removed prior to its specified removal date.
      c. Appeals to remove a locally filed memorandum of reprimand, admonition, or censure involving unfavorable
   information from the Soldier’s local file, prior to the designated removal date, should be directed to the individual


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   who initially directed the filing of the memorandum, or a higher-level commander in the chain of command for action
   on the request.

   7–5. Amendment rights
   This regulation does not limit or restrict a Soldier’s right to request amendment of his or her records under the Privacy
   Act. Nor does it limit or restrict the authority of the DASEB to act as an Access and Amendment Authority.

   7–6. Appeal review priorities
   Appeals are processed in the order of priority established by the DASEB.
      a. For officers appealing.
      (1) First-priority are appeals pertaining to officers who have been:
      (a) Twice non-selected for promotion and given a directed discharge, release, or mandatory retirement date within
   6 months.
      (b) Selected for release within 6 months by an HQDA elimination board or an Active Guard Reserve continuation
   board.
      (c) Recommended for elimination within 6 months. (Note. This also applies to officers who have applied for, and
   have been denied, voluntary indefinite category.)
      (2) Second-priority is all other officers.
      b. For noncommissioned officers appealing.
      (1) First-priority are appeals pertaining to noncommissioned officers (NCOs) who have been:
      (a) Twice non-selected for promotion in the primary zone of consideration and are within 6 months of discharge
   release from service (expiration term of service) or mandatory retirement date.
      (b) Selected for release under the HQDA or Army National Guard Qualitative Management Program, or the USAR
   Qualitative Retention Program.
      (c) Selected for release from Active Guard Reserve by an Active Guard Reserve continuation board.
      (d) Identified for referral within 6 months to an Active Guard Reserve continuation board.
      (2) Second-priority are appeals pertaining to NCOs who have been non-selected for promotion in the primary zone
   of consideration at least once, but who do not have a mandatory release date within 6 months.
      (3) Third-priority is all other NCOs.

   7–7. Correction of military records–Army Board for Correction of Military Records
      a. AR 15–185 contains policy and procedures for applying to the ABCMR for the purpose of correcting military
   records. Applications should be sent to the ABCMR to correct an error or remove an injustice only after all other
   means of administrative appeal have been exhausted, including available appeal actions provided in this regulation.
      b. Soldiers, Veterans, or their authorized representatives, may appeal adverse DASEB decisions to the ABCMR.
      c. If the Soldier or veteran is deceased or incompetent, the surviving spouse, next of kin, or a legal representative
   may apply. The application must include documentation to prove this relationship, such as a certified copy of a mar-
   riage license, death certificate, or power of attorney, as appropriate.




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   Appendix A
   References
   Section I
   Required Publications
   AR 15–6
   Procedures for Administrative Investigations and Boards of Officers (Cited in para 4–3a(2).)
   AR 15–185
   Army Board for Correction of Military Records (Cited in para 7–2a(4).)
   AR 20–1
   Inspector General Activities and Procedures (Cited in para 2–5c.)
   AR 25–55
   The Department of the Army Freedom of Information Act Program (Cited in para 5–3a.)
   AR 27–10
   Military Justice (Cited in para 3–5g.)
   AR 40–66
   Medical Record Administration and Heath Care Documentation (Cited in para 2–5c.)
   AR 40–400
   Patient Administration (Cited in para 2–5c.)
   AR 135–175
   Separation of Officers (Cited in para 4–3a(3).)
   AR 135–178
   Enlisted Administrative Separations (Cited in para 4–3a(3).)
   AR 190–45
   Law Enforcement Reporting (Cited in para 2–5c.)
   AR 195–2
   Criminal Investigation Activities (Cited in para 2–5d.)
   AR 195–5
   Evidence Procedures (Cited in para 3–4c(3).)
   AR 195–6
   Department of the Army Polygraph Activities (Cited in para 5–1.)
   AR 380–67
   Personnel Security Program (Cited in para 4–2.)
   AR 381–12
   Threat Awareness and Reporting Program (Cited in para 4–3a.)
   AR 381–20
   Army Counterintelligence Program (Cited in para 5–2a(2)(c).)
   AR 381–45
   Investigative Records Repository (Cited in para 2–5c.)
   AR 600–8–2
   Suspension of Favorable Personnel Actions (Flag) (Cited in para 2–3d.)
   AR 600–8–24
   Officer Transfers and Discharges (Cited in para 4–3a(3).)
   AR 600–8–104
   Army Military Human Resource Records Management (Cited in para 3–2c.)




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   AR 623–3
   Evaluation Reporting System (Cited in para 3–3e.)
   AR 635–200
   Active Duty Enlisted Administrative Separations (Cited in para 4–3a(3).)

   Section II
   Related Publications
   Unless otherwise indicated, DA forms are available on the Army Publishing Directorate website
   (https://armypubs.army.mil/). A related publication is a source of additional information. The user does not have to
   read it to understand this regulation. Code of Federal Regulations (CFR) material is available at https://www.ecfr.gov/
   and USC material is available at https://uscode.house.gov/. UCMJ Articles are available at https://jsc.defense.gov/.
   AR 11–2
   Managers’ Internal Control Program
   AR 25–30
   Army Publishing Program
   DA Pam 25–403
   Guide to Recordkeeping in the Army
   Homeland Security Presidential Directive–12
   Policy for a Common Identification Standard for Federal Employees and Contractors (Available at
   https://www.dhs.gov/homeland-security-presidential-directive-12.)
   SECARMY Memorandum, dated 12 February 2014
   Ensuring the Quality of Sexual Response Coordinators, Sexual Assault Prevention and Response Victim Advocates
   and Others in Identified Positions of Significant Trust and Authority (Available at https://www.sexu-
   alassault.army.mil/policy_orders.aspx.)
   UCMJ, Art. 15
   Commanding officer’s non-judicial punishment
   UCMJ, Art. 80
   Attempts
   UCMJ, Art. 120
   Rape and sexual assault generally
   UCMJ, Art. 120b
   Rape and sexual assault of a child
   UCMJ, Art. 120c
   Other sexual misconduct
   UCMJ, Art. 125
   Kidnapping
   UCMJ, Art. 130
   Stalking
   10 CFR
   Energy
   32 CFR
   National Defense
   5 USC 552a
   Records maintained on individuals (popularly known as the Privacy Act)
   10 USC
   Armed Forces




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   10 USC 1556
   Ex parte communications prohibited
   32 USC
   National Guard

   Section III
   Prescribed Forms
   This section contains no entries.

   Section IV
   Referenced Forms
   Unless otherwise indicated, DA forms are available on the Army Publishing Directorate website
   (https://armypubs.army.mil/). DD forms are available on the Executive Services Directorate website
   (https://www.esd.whs.mil/directives/forms/).
   DA Form 11–2
   Internal Control Evaluation Certification
   DA Form 2028
   Recommended Changes to Publications and Blank Forms
   DA Form 4833
   Commander’s Report of Disciplinary or Administrative Action
   DD Form 149
   Application for Correction of Military Record




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   Appendix B
   Internal Control Evaluation

   B–1. Function
   This function covered by this evaluation is the administration of the Manager’s Internal Control Program.

   B–2. Purpose
   The purpose of this evaluation is to assist commanders, security managers, and those involved with unfavorable in-
   formation to accurately understand procedures outlined in this regulation. It is not intended to cover all controls.

   B–3. Instructions
   These key internal controls must be formally evaluated at least once every 5 years or whenever the internal control
   administrator changes. Certification that this evaluation has been conducted must be accomplished on DA Form 11–2
   (Internal Control Evaluation Certification). Evaluation test questions are outlined in paragraph B–2, and are intended
   as a starting point for each applicable level of internal control evaluation. Answers must be based on the actual testing
   of key controls (for example, document, analysis, direct observation, sampling, simulation, or other). Answers that
   indicate deficiencies must be explained and corrective action indicated in supporting documentation.

   B–4. Test questions
      a. Who determines if unfavorable information should be filed in the performance portion of the AMHRR once
   cases / actions are referred?
      b. Unfavorable information will not be filed in the AMHRR unless what individual has been given an opportunity
   to review the documentation?
      c. When can anonymous communications be filed in a Soldier’s AMHRR?
      d. The DASEB is a board within what and consists of officers of what rank?
      e. Who is the initial appeal authority for entering unfavorable information in the AMHRR?

   B–5. Supersession
   This evaluation replaces the management control evaluation checklist previously published in AR 11 –2, dated 1 Au-
   gust 1994.

   B–6. Comments
   Help to make this a better tool for evaluating internal controls. Submit comments to Deputy Chief of Staff, G–1
   (DAPE–MPS), 300 Army Pentagon, Washington DC 20310–0300.




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   Glossary
   Section I
   Abbreviations
   ABCMR
   Army Board for Correction of Military Records
   ACOM
   Army command
   AMHRR
   Army Military Human Resource Record
   AR
   Army regulation
   ARBA
   Army Review Boards Agency
   ASA (M&RA)
   Assistant Secretary of the Army (Manpower and Reserve Affairs)
   ASCC
   Army service component command
   ASCO
   assignment consideration code
   CID
   Criminal Investigation Division
   DA Form
   Department of the Army form
   DA Pam
   Department of the Army pamphlet
   DASA (RB)
   Deputy Assistant Secretary of the Army (Review Boards)
   DASEB
   Department of the Army Suitability Evaluation Board
   DCS
   Deputy Chief of Staff
   DD Form
   Department of Defense form
   DOD
   Department of Defense
   DRU
   direct reporting unit
   GCMCA
   general court-martial convening authority
   GO
   general officer
   HQDA
   Headquarters, Department of the Army
   HRC
   U.S. Army Human Resources Command



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   IG
   Inspector General
   NCO
   noncommissioned officer
   PASS
   positions or appointments screened for suitability
   POSTA
   positions of significant trust and authority
   SECARMY
   Secretary of the Army
   TPU
   Troop Program Unit
   UCMJ
   Uniform Code of Military Justice
   USACIDC
   U.S. Army Criminal Investigation Command
   USAR
   U.S. Army Reserve
   USC
   United States Code
   VCSA
   Vice Chief of Staff of the Army

   Section II
   Terms
   Ancillary action
   Action attendant to or subsequent to criminal justice action.
   Army Military Human Resource Record
   Reports, forms, and records (in documents or data banks) maintained by the Army pursuant to AR 600 –8–104 for
   consideration when making personnel management decisions affecting the person concerned.
   Clear and convincing evidence
   Evidence of the measure or degree of proof which will produce in the mind a firm belief or conviction as to the facts
   sought to be established. The requirement of clear and convincing evidence does not call for unanswerable or conclu-
   sive evidence. Whether the evidence is clear and convincing requires weighing, comparing, testing, and judging its
   worth when considered in connection with all the facts and circumstances in evidence.
   Counterintelligence and personnel security, law enforcement, and other investigative files
   Reports, dossiers, and case materials (in documents or data banks) that belong to intelligence, law enforcement, or
   other investigative agencies. (Examples: files of the U.S. Army Investigative Records Repository, the USACIDC
   Crime Records Center, those pertaining to investigations conducted by General Court-Martial Convening authorities,
   and IG files at all IG files at all echelons.)
   Crime records
   Criminal Investigation Command reports of investigation, military police reports, and other reports maintained by (or
   belonging to) USACIDC. (Example: Criminal Investigation Command and military policy reports kept at the
   USACIDC Crime Records Center.)
   Favorable personnel action
   Any personnel or career management decision that enhances a Soldier’s status or position. Included are as follows:
   a. Promotions.
   b. Regular Army appointments.
   c. Selection for schooling.


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   d. Entry or continuation on active duty.
   e. Awards, decorations, and commendations.
   f. Voluntary reassignment.
   g. Voluntary retirement.
   h. Voluntary separation or release from active duty.
   i. Reenlistment.
   Note. Although the granting of a security clearance is a “favorable personnel action,” it is not governed by this regu-
   lation.
   Major commands
   In addition to the designated ACOMs, separate Department of the Army agencies and activities, continental United
   States armies, the U.S. Army Recruiting Command, the U.S. Military Entrance Processing Command, and Army
   General and Special Staff agencies are considered major commands for the purpose of processing cases under this
   regulation.
   Non–sensitive position
   Any position so designated within the DOD, the occupant of which could not bring about, by virtue of the nature of
   the position, a materially adverse effect on the national security.
   Personally identifiable information
   Any information about an individual which can be used to distinguish or trace an individual's identity such as name,
   social security number, date, and place of birth, mother's maiden name, and biometric records.
   Preponderance of the evidence
   Evidence which is of greater weight or more convincing than the evidence offered in opposition to it; that is, evidence
   which as a whole shows that the fact sought to be proved is more probable than not. Preponderance of the evidence
   may not be determined by the number of witnesses, but by the greater weight of all evidence.
   Punitive administrative action
   Any adverse administrative action initiated as a result of identified sex-related offenses including, but not limited to,
   memoranda of reprimand, admonishment, or censure from all levels of command.
   Recipient
   A Soldier who has had unfavorable information referred to them for refusal, explanation, or comment; who has re-
   ceived a memorandum of reprimand, admonition, or censure in accordance with this regulation; or who has otherwise
   been the subject of an adverse action, the resolution of which may implicate the provisions of this regulation.
   Sensitive position
   Any position so designated within the DOD, the occupant of which could bring about, by virtue of the nature of the
   position, a materially adverse effect on the national security.
   Substantial evidence
   Evidence which is sufficient for a reasonable, prudent fact finder to accept as adequate to support a conclusion. It is
   more than a mere scintilla of evidence but less that a preponderance of evidence.
   Suitability
   All vetting functions to include fitness, Homeland Security Presidential Directive–12 common access card credential-
   ing functions, the Personnel Reliability Program, information technology vetting of privileged users, health care per-
   sonnel, Army civilian police and security guards, continued reliability of positions having duties and responsibilities
   associated with law enforcement and security, unescorted access to arms, ammunition, and explosives and other access
   to credentials.
   Unfavorable information
   Any credible derogatory information that may reflect on a Soldier's character, integrity, trustworthiness, or reliability
   and includes letters of reprimand and UCMJ, Art. 15.
   Unresolvable cases
   Cases where, because of unusual circumstances or complexities, unfavorable information of a serious nature concern-
   ing members or former members of a command cannot properly be acted upon in accordance with the commander’s
   authority.




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                                              Army Regulation 15–185




                                              Boards, Commissions, and Committees



                                              Army Board for
                                              Correction of
                                              Military
                                              Records




                                              Headquarters
                                              Department of the Army
                                              Washington, DC
                                              31 March 2006

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    SUMMARY of CHANGE
AR 15–185
Army Board for Correction of Military Records

This rapid action revision dated 31 March 2006--

o   Updates policies and procedures in the reconsideration of Army Board for
    Correction of Military Records decision in order to comply with the United
    States District Court for the District of Columbia decision (Lipsman v.
    Secretary of the Army--Civil Action No. 02-0251, 2004 U.S. Dist. Lexis 17866)
    (para 2-15).

o   Updates appendix A.

This revision--

o   Updates information on the policy and procedures for the operation of the Army
    Board for Correction of Military Records.

o   Implements Department of Defense (DOD) Instruction 1336.6, Correction of
    Military Records (para 2-2a).

o   Implements that portion of section 1034 of title 10 of the U.S. Code and that
    portion of DOD Directive 7050.6, Military Whistleblower Protection, that
    pertain to actions by the Army Board for Correction of Military Records (para
    2-2b).

o   Prescribes DD Form 149 (Application for Correction of Military Record Under
    the Provisions of title 10, U.S. Code, section 1552) (para 2-3b).
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   Headquarters                                                                                  *Army Regulation 15–185
   Department of the Army
   Washington, DC
   31 March 2006                                                                                  Effective 1 May 2006


                                            Boards, Commissions, and Committees


                                Army Board for Correction of Military Records

                                                  heirs or legal representatives and other in-   This regulation contains management con-
                                                  dividuals, military or civilian, who are af-   trol provisions in accordance with AR
                                                  fected by a military record. Further, it       11–2, but does not identify key manage-
                                                  applies to the Defense Finance and Ac-         ment controls that must be evaluated.
                                                  counting Service in settling claims as a
                                                  result of correction of an Army military       Supplementation. Supplementation of
                                                  record. This regulation remains in full ef-    this regulation and establishment of com-
                                                  fect during mobilization.                      mand and local forms are prohibited with-
                                                  Proponent and exception authority.             out prior approval from HQDA, Assistant
                                                  The proponent of this regulation is the        Secretary of the Army (Manpower and
                                                  Assistant Secretary of the Army (Man-          Reserve Affairs) (SAMR–ZA), Army
                                                  power and Reserve Affairs). The propo-         Pentagon, Washington, DC 20310–0111.
                                                  nent has the authority to approve
                                                  exceptions or waivers to this regulation       Suggested improvements. Users are
                                                  that are consistent with controlling law       invited to send comments and suggested
                                                  and regulations. The proponent may dele-       improvements on DA Form 2028 (Recom-
   History. This publication is a rapid action    gate this approval authority, in writing, to   mended Changes to Publications and
   revision. The portions affected by this        a division chief within the proponent          Blank Forms) directly to the Department
   rapid action revision are listed in the        agency or its direct reporting unit or field   of the Army Review Boards Agency,
   summary of change.                             operating agency, in the grade of colonel      ATTN: SAMR–ARBA, 1941 Jefferson
   Summary. This regulation provides De-          or the civilian equivalent. Activities may     Davis Highway, Arlington, VA
   partment of the Army policy, criteria, and     request a waiver to this regulation by pro-    22202–4508.
   administrative instructions regarding an       viding justification that includes a full
                                                  analysis of the expected benefits and must     Distribution. This publication is availa-
   applicant’s request for the correction of a
   military record.                               include formal review by the activity’s        ble in electronic media only and is in-
                                                  senior legal officer. All waiver requests      tended for command levels C, D, and E
   Applicability. This regulation applies to      will be endorsed by the commander or           for the Active Army, Army National
   the Active Army, the Army National             senior leader of the requesting activity       Guard/Army National Guard of the United
   Guard/Army National Guard of the United        and forwarded through their higher head-       States, and the U.S. Army Reserve.
   States, and the U.S. Army Reserve unless       quarters to the policy proponent. Refer to
   otherwise stated. Also, it applies to former   AR 25–30 for specific guidance.
   soldiers of these organizations and their
                                                  Army management control process.




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   *This regulation supersedes AR 15–185, dated 29 February 2000.

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   Chapter 1
   Introduction
   Section I
   General

   1–1. Purpose
   This regulation prescribes the policies and procedures for correction of military records by the Secretary of the Army,
   acting through the Army Board for Correction of Military Records (ABCMR).

   1–2. References
   Required and related publications and prescribed and referenced forms are listed in appendix A.

   1–3. Explanation of abbreviations and terms
   Abbreviations and special terms used in this regulation are explained in the glossary.

   1–4. Statutory authority
   Section 1552, Title 10, United States Code (10 USC 1552) is the statutory authority for this regulation.

   Section II
   Responsibilities

   1–5. The Secretary of the Army
   The Secretary of the Army will oversee the operations of the ABCMR. The Secretary will take final action on
   applications, as appropriate.

   1–6. The Director, Army Board for Correction of Military Records
   The Director, ABCMR will manage the ABCMR day–to–day operations.

   1–7. The chair of an Army Board for Correction of Military Records panel
   The chair of a given ABCMR panel will—
     a. Preside over the panel.
     b. Conduct a hearing.
     c. Maintain order.
     d. Ensure the applicant receives a full and fair opportunity to be heard.
     e. Certify the written record of proceedings in pro forma and formal hearings as being true and correct.

   1–8. The Army Board for Correction of Military Records members
   The ABCMR members will—
     a. Review all applications that are properly before them to determine the existence of error or injustice.
     b. Direct or recommend changes in military records to correct the error or injustice, if persuaded that material error
   or injustice exists and that sufficient evidence exists on the record.
     c. Recommend a hearing when appropriate in the interest of justice.
     d. Deny applications when the alleged error or injustice is not adequately supported by the evidence and when a
   hearing is not deemed proper.
     e. Deny applications when the application is not filed within prescribed time limits and when it is not in the interest
   of justice to excuse the failure to file in a timely manner.

   1–9. The Director, Army Records Holding Agency
   The director of an Army records holding agency will—
     a. Take appropriate action on routine issues that may be administratively corrected under authority inherent in the
   custodian of the records and that do not require ABCMR action.
     b. Furnish all requested Army military records to the ABCMR.
     c. Request additional information from the applicant, if needed, to assist the ABCMR in conducting a full and fair
   review of the matter.
     d. Take corrective action directed by the ABCMR or the Secretary of the Army.
     e. Inform the Defense Finance and Accounting Service (DFAS), when appropriate; the applicant; the applicant’s
   counsel, if any; and the interested Members of Congress, if any, after a correction is complete.
     f. Return original records of the soldier or former soldier obtained from the Department of Veterans Affairs.



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1–10. The commanders of Army Staff agencies and commands
The commanders of Army Staff agencies and commands will—
  a. Furnish advisory opinions on matters within their areas of expertise upon request of the ABCMR and in a timely
manner.
  b. Obtain additional information or documentation as needed before providing the opinions to the ABCMR.
  c. Provide records, investigations, information, and documentation upon request of the ABCMR.
  d. Provide additional assistance upon request of the ABCMR.
  e. Take corrective action directed by the ABCMR or the Secretary of the Army.

1–11. The Director, Defense Finance and Accounting Service
At the request of the ABCMR staff, the Director, DFAS, will—
   a. Furnish advisory opinions on matters within the DFAS area of expertise upon request.
   b. Obtain additional information or documentation as needed before providing the opinions.
   c. Provide financial records upon request.
   d. Settle claims that are based on ABCMR final actions, on behalf of the Army.
   e. Report quarterly to the ABCMR Director on the monies expended as a result of ABCMR action and the names of
the payees.



Chapter 2
General
Section I
Army Board for Correction of Military Records Establishment and Functions

2–1. Army Board for Correction of Military Records establishment
The ABCMR operates pursuant to law (10 USC 1552) within the Office of the Secretary of the Army. The ABCMR
consists of civilians regularly employed in the executive part of the Department of the Army (DA) who are appointed
by the Secretary of the Army and serve on the ABCMR as an additional duty. Three members constitute a quorum.

2–2. Army Board for Correction of Military Records functions
   a. The ABCMR considers individual applications that are properly brought before it. In appropriate cases, it directs
or recommends correction of military records to remove an error or injustice.
   b. When an applicant has suffered reprisal under 10 USC 1034 and DODD 7050.6, the ABCMR may recommend to
the Secretary of the Army that disciplinary or administrative action be taken against any Army official who committed
an act of reprisal against the applicant.
   c. The ABCMR will decide cases on the evidence of record. It is not an investigative body. The ABCMR may, in its
discretion, hold a hearing (sometimes referred to as an evidentiary hearing or an administrative hearing in 10 USC
1034 and DODD 7050.6) or request additional evidence or opinions.

Section II
Application Procedures

2–3. Who may apply
   a. The ABCMR’s jurisdiction under 10 USC 1552 extends to any military record of the DA. It is the nature of the
record and the status of the applicant that define the ABCMR’s jurisdiction.
   b. Usually applicants are soldiers or former soldiers of the Active Army, the U.S. Army Reserve (USAR), and in
certain cases, the Army National Guard of the United States (ARNGUS) and other military and civilian individuals
affected by an Army military record. Requests are personal to the applicant and relate to military records. Requests are
submitted on DD Form 149 (Application for Correction of Military Record Under the Provisions of Title 10, U.S.
Code, Section 1552). Soldiers need not submit applications through their chain of command.
   c. An applicant with a proper interest may request correction of another person’s military records when that person
is incapable of acting on his or her own behalf, missing, or deceased. Depending on the circumstances, a child, spouse,
parent, or other close relative, heir, or legal representative (such as a guardian or executor) of the soldier or former
soldier may be able to demonstrate a proper interest. Applicants must send proof of proper interest with the application
when requesting correction of another person’s military records.

2–4. Time limits
Applicants must file an application within 3 years after an alleged error or injustice is discovered or reasonably should


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   have been discovered. The ABCMR may deny an untimely application. The ABCMR may excuse untimely filing in
   the interest of justice.

   2–5. Administrative remedies
   The ABCMR will not consider an application until the applicant has exhausted all administrative remedies to correct
   the alleged error or injustice.

   2–6. Stay of other proceedings
   Applying to the ABCMR does not stay other proceedings.

   2–7. Counsel
     a. Applicants may be represented by counsel, at their own expense.
     b. See DODD 7050.6 for provisions for counsel in cases processed under 10 USC 1034.

   Section III
   Actions by the Army Board for Correction of Military Records Director and Staff

   2–8. Criteria
   The ABCMR staff will review each application to determine if it meets the criteria for consideration by the ABCMR.
   The application may be returned without action if—
     a. The applicant fails to complete and sign the application.
     b. The applicant has not exhausted all other administrative remedies.
     c. The ABCMR does not have jurisdiction to grant the requested relief.
     d. No new evidence was submitted with a request for reconsideration.

   2–9. Burden of proof
   The ABCMR begins its consideration of each case with the presumption of administrative regularity. The applicant has
   the burden of proving an error or injustice by a preponderance of the evidence.

   2–10. Army Board for Correction of Military Records consideration
      a. A panel consisting of at least three ABCMR members will consider each application that is properly brought
   before it. One panel member will serve as the chair.
      b. The panel members may consider a case on the merits in executive session or may authorize a hearing.
      c. Each application will be reviewed to determine—
      (1) Whether the preponderance of the evidence shows that an error or injustice exists and—
      (a) If so, what relief is appropriate.
      (b) If not, deny relief.
      (2) Whether to authorize a hearing.
      (3) If the application is filed outside the statute of limitations and whether to deny based on untimeliness or to waive
   the statute in the interest of justice.

   Section IV
   Hearings and Disposition of Applications

   2–11. Army Board for Correction of Military Records hearings
   Applicants do not have a right to a hearing before the ABCMR. The Director or the ABCMR may grant a formal
   hearing whenever justice requires.

   2–12. Army Board for Correction of Military Records decisions
   The panel members’ majority vote constitutes the action of the ABCMR. The ABCMR’s findings, recommendations,
   and in the case of a denial, the rationale will be in writing.

   2–13. Army Board for Correction of Military Records final action
   The panel members’ majority vote constitutes the action of the ABCMR. The ABCMR’s findings, recommendations,
   and in the case of a denial, the rationale will be in writing.
     a. Except as otherwise provided, the ABCMR acts for the Secretary of the Army, and an ABCMR decision is final
   when it—
     (1) Denies any application (except for actions based on reprisals investigated under 10 USC 1034).
     (2) Grants any application in whole or in part without a hearing when—
     (a) The relief is as recommended by the proper staff agency in an advisory opinion.


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  (b) Is unanimously agreed to by the ABCMR panel.
  (c) Does not involve an appointment or promotion requiring confirmation by the Senate.
  b. The ABCMR will forward the decisional document to the Secretary of the Army for final decision in any case in
which—
  (1) A hearing was held.
  (2) The facts involve reprisals under the Military Whistleblower Protection Act, confirmed by the DOD Inspector
General (DODIG) under 10 USC 1034 and DODD 7050.6.
  (3) The ABCMR recommends relief but is not authorized to act for the Secretary of the Army on the application.

2–14. Decision of the Secretary of the Army
   a. The Secretary of the Army may direct such action as he or she deems proper on each case. Cases returned to the
Board for further consideration will be accompanied by a brief statement of the reasons for such action. If the Secretary
does not accept the ABCMR’s recommendation, adopts a minority position, or fashions an action that he or she deems
proper and supported by the record, that decision will be in writing and will include a brief statement of the grounds
for denial or revision.
   b. The Secretary of the Army will issue decisions on cases covered by the Military Whistleblower Protection Act
(10 USC 1034 and DODD 7050.6). In cases where the DODIG concluded that there was reprisal, these decisions will
be made within 180 days after receipt of the application and the investigative report by the DODIG, the DA Inspector
General (DAIG), or other Inspector General offices. Unless the full relief requested is granted, these applicants will be
informed of their right to request review of the decision by the Secretary of Defense.

2–15. Reconsideration of Army Board for Correction of Military Records decision
An applicant may request the reconsideration of an ABCMR decision under the following circumstances:
   a. If the ABCMR receives the request for reconsideration within 1 year of the ABCMR’s original decision and if the
ABCMR has not previously reconsidered the matter, the ABCMR staff will review the request to determine if it
contains evidence (including, but not limited to, any facts or arguments as to why relief should be granted) that was not
in the record at the time of the ABCMR’s prior consideration. If new evidence has been submitted, the request will be
submitted to the ABCMR for its determination of whether the new evidence is sufficient to demonstrate material error
or injustice. If no new evidence is found, the ABCMR staff will return the application to the applicant without action.
   b. If the ABCMR receives a request for reconsideration more than 1 year after the ABCMR’s original decision or
after the ABCMR has already considered one request for reconsideration, then the case will be returned without action
and the applicant will be advised the next remedy is appeal to a court of appropriate jurisdiction.



Chapter 3
Claims/Expenses
3–1. Authority
  a. The Army, by law, may pay claims for amounts due to applicants as a result of correction of military records.
  b. The Army may not pay any claim previously compensated by Congress through enactment of a private law.
  c. The Army may not pay for any benefit to which the applicant might later become entitled under the laws and
regulations managed by the Department of Veterans Affairs.

3–2. Settlement of claims
   a. The ABCMR will furnish DFAS copies of decisions potentially affecting monetary entitlement or benefits. The
DFAS will treat such decisions as claims for payment by or on behalf of the applicant.
   b. The DFAS will settle claims on the basis of the corrected military record. The DFAS will compute the amount
due, if any. The DFAS may require applicants to furnish additional information to establish their status as proper
parties to the claim and to aid in deciding amounts due. Earnings received from civilian employment during any period
for which active duty pay and allowances are payable will be deducted. The applicant’s acceptance of a settlement
fully satisfies the claim concerned.

3–3. Payment of expenses
The Army may not pay attorney’s fees or other expenses incurred by or on behalf of an applicant in connection with an
application for correction of military records under 10 USC 1552.




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   Chapter 4
   Miscellaneous Provisions
   4–1. Special standards
      a. Pursuant to the 27 November 1979 order of the United States District Court for the District of Columbia in Giles
   v. Secretary of the Army (Civil Action No. 77–0904), a former Army soldier is entitled to an honorable discharge if a
   less than honorable discharge was issued to the soldier on or before 27 November 1979 in an administrative proceeding
   in which the Army introduced evidence developed by or as a direct or indirect result of compelled urinalysis testing
   administered for the purpose of identifying drug abusers (either for the purposes of entry into a treatment program or to
   monitor progress through rehabilitation or follow-up).
      b. Applicants who believe that they fall within the scope of paragraph a, above, should place the term
   “CATEGORY G” in block 11b of DD Form 149. Such applications should be expeditiously reviewed by a designated
   official, who will either send the individual an honorable discharge certificate if the individual falls within the scope of
   paragraph a, above, or forward the application to the Discharge Review Board if the individual does not fall within the
   scope of paragraph a, above. The action of the designated official will not constitute an action or decision by the
   ABCMR.

   4–2. Public access to decisions
      a. After deletion of personal information, a redacted copy of each decision will be indexed by subject and made
   available for review and copying at a public reading room at Crystal Mall 4, 1941 Jefferson Davis Highway, Arlington,
   VA. The index will be in a usable and concise form so as to indicate the topic considered and the reasons for the
   decision. Under the Freedom of Information Act, records created on or after 1 November 1996 will be available by
   electronic means.
      b. Under the Freedom of Information Act and the Privacy Act of 1974, the ABCMR will not furnish to third parties
   information submitted with or about an application unless specific written authorization is received from the applicant
   or unless the Board is otherwise authorized by law.




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Appendix A
References
Section I
Required Publications
This section contains no entries.

Section II
Related Publications
A related publication is a source of additional information. The user does not have to read a related reference to
understand this publication.

AR 15–130
Army Clemency and Parole Board

AR 25–55
The Department of the Army Freedom of Information Act Program

AR 340–21
The Army Privacy Program

AR 600–8–104
Military Personnel Information Management/Records

DODD 7050.6
Military Whistleblower Protection

5 USC 552
Public information; agency rules, opinions, orders, records, and proceedings

10 USC 1034
Protected communications; prohibition of retaliatory personnel actions

10 USC 1552
Correction of military records: claims incident thereto

38 USC 5902
Recognition of representatives of organizations

Section III
Prescribed Forms
This prescribed form is available through the normal supply channels and the APD Web site http://www.apd.army.mil.

DD Form 149
Application for Correction of Military Record Under the Provisions of Title 10, U.S. Code, Section 1552 (prescribed in
para 2–3b).

Section IV
Referenced Forms
This section contains no entries.




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   Glossary
   Section I
   Abbreviations

   ABCMR
   Army Board for Correction of Military Records

   AR
   Army regulation

   ARNGUS
   Army National Guard of the United States

   ATTN
   Attention

   DA
   Department of the Army

   DAIG
   Department of the Army Inspector General

   DFAS
   Defense Finance and Accounting Service

   DOD
   Department of Defense

   DODD
   Department of Defense Directive

   DODIG
   Department of Defense Inspector General

   HQDA
   Headquarters, Department of the Army

   IG
   Inspector General

   U.S.
   United States (of America)

   USAR
   U.S. Army Reserve

   USC
   United States Code

   Section II
   Terms

   Applicant
   A person who applies to the ABCMR for correction of an Army military record.

   Counsel
   Includes individuals in good standing of the Federal bar or the bar of any state, territory or the District of Columbia;
   accredited representatives of veterans’ organizations recognized under 38 USC 5902; and other individuals determined
   by the ABCMR to be competent to represent the interests of the applicant. Army Judge Advocate General’s Corps
   officers may assist in the preparation and submission of an application to the ABCMR. However, they may not



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represent an applicant at a hearing, if one is granted, without written approval of The Judge Advocate General of the
Army.

Official military personnel file
The permanent, historical, and official record of a soldier’s military service.

Records Holding Agency
The agency responsible for the safe storage, maintenance, and control of records.

Secretary of the Army
Includes the Secretary’s designee to act on ABCMR matters.

Section III
Special Abbreviations and Terms
This section contains no entries.




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